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10

11                               UNITED STATES DISTRICT COURT

12                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

13

14 Kimberly Carleste Newman, Lisa Cabrera,            Case No. 5:20-cv-04011-LHK
   Catherine Jones, Denotra Nicole Lewis,
15 Andrew Hepkins, Harvey Stubbs, Khalif
   Muhammad, Keu Reyes and Osiris Ley,                THIRD AMENDED CLASS ACTION
16                                                    COMPLAINT FOR DECLARATORY
                 Plaintiffs,                          JUDGMENT, CIVIL RIGHTS
17                                                    VIOLATIONS, FALSE ADVERTISING,
          vs.                                         BREACH OF CONTRACT, DAMAGES
18                                                    AND EQUITABLE RELIEF
   Google LLC, YouTube LLC, Alphabet Inc.
19 and Does 1 through 100, inclusive,                 Judge: Hon. Judge Lucy H. Koh
                                                      Crtrm.: 8
20                 Defendants.

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     1911115.1                                                               Case No. 5:20-cv-04011 LHK
       THIRD AMENDED CLASS ACTION COMPLAINT FOR DECLARATORY JUDGMENT, CIVIL RIGHTS VIOLATIONS, FALSE
                      ADVERTISING, BREACH OF CONTRACT, DAMAGES AND EQUITABLE RELIEF
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 1               Plaintiffs, Kimberly Carleste Newman, Lisa Cabrera, Catherine Jones, Denotra Nicole

 2 Lewis, Andrew Hepkins, Harvey Stubbs, Khalif Muhammad, Keu Reyes and Osiris Ley bring this

 3 lawsuit (the “Lawsuit”), individually and on behalf of a putative class of similarly situated persons,

 4 against Defendant YouTube, LLC (“YouTube”), and its parent companies, Google LLC

 5 (“Google”) (collectively referred to as “Google/YouTube” or “Defendants,” unless otherwise

 6 specified).1

 7 I.            INTRODUCTION AND PREFATORY STATEMENT OF THE CASE
 8               1.     Defendants Google/YouTube are the largest Internet Service Providers (“ISPs”) in

 9 the world. Together, they operate the global video social media site known as “YouTube.”

10               2.     Defendants obtain the license, monetization, and other property rights to the content

11 and data to 95% of the publicly available video content in the world by entering into license

12 agreements with more than 2 billion public internet users who post, watch, engage, and

13 communicate about video content on YouTube. In return, Defendants promise to provide each user

14 with equal access to YouTube, and all of the benefits and services offered in connection with the

15 site, subject only to identity neutral, content based rules and terms of services (“TOS”) that are

16 governed solely by the internal laws of California.

17               3.     Defendants violated, and continue to violate those, and other promises and legal

18 obligations to Plaintiffs. Defendants filter, curate, restricted and deny equal access to Plaintiffs
19
20   1
       Substantial overlap exists between the claims, allegations, putative classes and issues in this
     Lawsuit, with a case pending before this Court, Divino Group, LLC et al., v. Google LLC, et al,
21   Case No. 5:19-cv-004749 – VKD (N.D. Cal.) (“Divino”). After reviewing Civil L.R. 3-12
22   governing related cases, it is unclear whether this Lawsuit technically meets the specific criteria
     and elements required for formal relation of the two cases under Local Rule 3-12. Specifically, this
23   Lawsuit does not involve all of “the same parties,” or the identical “property” owned by the same
     parties in Divino. It is also unclear whether the “transactions” are the same within the meaning of
24   Local Rule 3-12, or whether the “events” consist of the identical unlawful conduct of restricting of
     access to the YouTube platform based on the profiling and discriminatory use of a consumer’s
25   personal identity or viewpoint in Divino, in contrast with the racial identity profiling and
26   discrimination against Plaintiffs and the members of the Race Discrimination Class alleged in this
     Lawsuit. Consequently, while Plaintiffs do not believe that all of the requirements for designating
27   this lawsuit and Divino “related” are satisfied under Local Rule 3-12, Plaintiffs are not opposed to
     having this lawsuit related to, or coordinated with, the pending proceedings in Divino.
28

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 1 and other similarly situated users based on the user’s race, ethnicity, national origin, or other

 2 protected identity characteristics.

 3               4.   That is why experts and researchers in the field have accused Defendants of “digital

 4 redlining.” According to experts, “the power of algorithms in the age of neoliberalism and the

 5 ways those digital decisions reinforce oppressive social relationships and enact new modes of racial

 6 profiling,” which have been termed “technological redlining.” “The near-ubiquitous use of

 7 algorithmically driven software, both visible and invisible to everyday people,” results in the

 8 practice of racial redlining by Defendants that has been traditionally associated with “real estate

 9 and banking circles, creating and deepening inequalities by race, such that, for example, people of

10 color are more likely to pay higher interest rates or premiums just because they are Black or

11 Latino.” Safiya Umoja Noble, “Algorithms of Oppression.” Apple Books;

12 https://books.apple.com/us/book/algorithms-of-oppression/id1327926683.

13               5.   Defendants use all of their aggregated data about the race, ethnicity, and national

14 origin of Plaintiffs to make decisions about access to the YouTube platform and services. That

15 aggregated data is then “embedded in computer code and, increasingly, in artificial intelligence

16 technologies” that results in racial bias and discrimination by Defendants. Safiya Umoja Noble,

17 “Algorithms of Oppression.” Apple Books. https://books.apple.com/us/book/algorithms-of-

18 oppression/id1327926683.
19               6.   According to these researchers, “[r]acism is a standard protocol for organizing
20 behavior on the web” at Google/YouTube. “[O]ppression operates in the same formats, runs the

21 same scripts over and over,” and “is tweaked to be context specific. But, “it’s all the same source

22 code.” Excerpt From: Safiya Umoja Noble, “Algorithms of Oppression.” Apple Books.

23 https://books.apple.com/us/book/algorithms-of-oppression/id1327926683.

24               7.   Researchers have also confirmed what Defendants admitted back in 2017;

25 Defendants’ applications “track identity” in order to “surface targeted ads for users by analyzing

26 users’ web traces.” “[N]ot only do search engines increasingly remember the digital traces of

27 where we have been and what links we have clicked in order to provide more custom content (a

28 practice that has begun to gather more public attention after Google announced it would use past

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 1 search practices and link them to users in its privacy policy change in 2012),” but that information

 2 is part of a larger identity based data profile that Defendants use to filter, curate and restrict access

 3 to the YouTube platform and services. Excerpt From: Safiya Umoja Noble, “Algorithms of

 4 Oppression.” Apple Books. https://books.apple.com/us/book/algorithms-of-

 5 oppression/id1327926683.

 6               8.    Independent researchers are not the only ones to have found that Defendants are

 7 engaged in digital redlining by using race and other protected identity characteristics of users to

 8 make decisions regarding access to the YouTube platform and services. When it comes to content

 9 filtering and equal access for all on YouTube, African American, Hispanic, LGBTQ+, and other

10 protected YouTubers have been discriminated against and victimized by Defendants digital

11 redlining and identity legal transgression for years.

12               9.    Plaintiffs’ core allegation here is that since at least 2017, Defendants admitted that

13 they have knowingly and systematically have profiled, filtered, and used information and

14 aggregated personal digital data about race, ethnicity, national origin, or other protected identity

15 traits of users to regulate, restrict, and deny access to YouTube and its services. Defendants’ use of

16 race or other protected identity classifications in any way to make access, service, and benefit

17 decisions under a contract is, and has been for decades, illegal in California and the United States.

18 Yet, Defendants continue to engage in discrimination under contract and other unlawful actions
19 because they erroneously contend that, unlike other business operators, they are beyond the reach
20 or prohibitions of law, even when it comes to race discrimination under contract. Researchers have

21 confirmed with empirical evidence and data that Plaintiffs and other members of the public have

22 been subjected to Defendants’ digital redlining practice well before 2017.

23               10.   Defendants admit that they knowingly, intentionally, and systematically employ

24 artificial intelligence (“A.I.”), algorithms, filters, facial recognition and automated systems to

25 “target” Plaintiffs and the Race Discrimination Class based on their race, ethnicity, origin, or other

26 protected classification. Defendants admit that the collection and use of aggregated data, cookies,

27 and other information about the users race or protected identity is used to “target” or single out

28

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 1 Plaintiffs and the Race Discrimination Class for purported “content based” restrictions and to deny

 2 them full and equal access to services and revenue streams available to others on YouTube.

 3               11.   Defendants also admit that they systematically profile consumers’ personal

 4 characteristics, including Plaintiffs’ race, and use identity based data to restrict, deny, and/or

 5 interfere with Plaintiffs’ access and services, based on whether the consumer is “black,” or

 6 identifies with some other protected persons under the law -- not because Plaintiffs’ content (or

 7 accessing of YouTube) violates Defendants’ content based rules and TOS. Defendants use facial

 8 recognition, the aggregation of personal identity based and other personal user data from Google

 9 and YouTube Search, Google Adwords and Adsense, Google Docs, and a host of other online

10 services, and racially biased A.I. tools that “manipulate” results based on language and other

11 personal traits. All of this personal racial and other identity based data is used by Defendants to

12 filter, restrict, and deny Plaintiffs “equal” access to YouTube in direct violation of Defendants

13 promise of identity neutral, content based rules that apply equally to all.

14               12.   The profiling and use of Plaintiffs’ race, ethnicity, or other protected identity to

15 make what are supposed to be neutral content based access decisions is race discrimination under

16 contract that violates both California and federal anti-discrimination. Defendants have known since

17 2017 that their filtering tools have been targeting users based on the racial identity of Plaintiffs, as

18 well as other protected identity traits. Defendants promised a “fix”.
19               13.   The chart reviewing over 100 of Plaintiffs’ videos and comparing them to the videos
20 of white or preferred users shows the racial targeting of Plaintiffs and other protected users has not

21 been fixed. Indeed it shows Defendants practices and problems of racial bias and targeting have

22 gotten worse as Defendants have sought to regulate the platform and its services in new ways that

23 allow them to grow their financial interests and increase profits. The result is digital redlining that

24 profiles and denies Plaintiffs and the more than 50 million other protected users equal access to

25 YouTube based, not on the material in the video content, but on the user’s race, ethnicity, or other

26 protected identity status.

27

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 1   Video                                                                   Date Reviewed                    Link                           Channel
     CLIENT - Khalif Muhammad
     Dr.SYN Q’s Effective Numbers Theory                                       9/27/2021     https://www.youtube.com/watch?v=iUntPEz          Dr.SYN-Q
 2                                                                                                            5o2g
     Similar YouTube videos not restricted
 3   How Many People Does It Take to Start a Revolution?                       9/27/2021     https://www.youtube.com/watch?v=qhY2y_
                                                                                                              _43z8
                                                                                                                                        Annenberg School for
                                                                                                                                          Communication

 4   CLIENT - Harvey Stubbs
     It’s Just a Chicken Sandwich                                              9/27/2021     https://www.youtube.com/watch?v=bc1e0T         Your World
                                                                                                              LchzU
 5   Similar YouTube videos not restricted
     Throwback Thursday: Racist Or Funny? | Gabriel Iglesias                   9/27/2021     https://www.youtube.com/watch?v=UDLpE         Gabriel Iglesias
 6                                                                                                          QmdNZE

     CLIENT - Nicole’s View
 7   In Memory of                                                              9/24/2021     https://www.youtube.com/watch?v=HNbFQ          Nicole's View
                                                                                                            UHTSMw
     Similar YouTube videos not restricted
 8   In Memory Of Sandy Hook Victims TRIBUTE (W/Pictures)                      9/24/2021     https://www.youtube.com/watch?v=1GMIAETr    CaseyCoutureMUA
                                                                                                                WpE

 9   CLIENT - Andrew Hepkins
     Canelo Versus GGG | Who Wins And Why                                      9/24/2021     https://www.youtube.com/watch?v=bb84LE       Dru Story News
10                                                                                                            lBrQU
     Similar YouTube videos not restricted
     Instant Karma in Boxing - Oleksandr Usyk                                  9/24/2021       https://www.youtube.com/watch?v=7l-      The World of Boxing!
11                                                                                                          TaLMZzZA
                                                                                                                                        The World of Boxing!
     CLIENT - T-K Reyes
12   Fake News by Dino Archie                                                   10/1/2021    https://www.youtube.com/watch?v=GWMx            Keu Reyes
                                                                                                            mADmhX0
13   Similar YouTube videos not restricted
     Kanye West Donald Trump Cold Open - SNL                                   10/1/2021     https://www.youtube.com/watch?v=4sO5-       Saturday Night Live
                                                                                                             t3iEYY
14
     CLIENT - T-O Ley
15   Como hacer cortadas o heridas falsas con maquillaje paso a paso           10/1/2021      https://www.youtube.com/watch?v=6O-
                                                                                                            BXCg0p7I
                                                                                                                                               Osyley

     (How to make fake cuts or wounds with makeup step by step)
16   Similar YouTube videos not restricted
     Easy Realistic Wound Halloween makeup tutorial                            10/1/2021     https://www.youtube.com/watch?v=44nhQ      ellimacs sfx makeup
                                                                                                             48au5Q
17

18                14.               The analysis in the full chart set forth at paragraph 107 further evidence of

19 Defendants’ digital redlining of over 100 videos. This summary and the full chart at paragraph 107
20 was prepared by Alvarez & Marsal, one of the nation’s preeminent consulting firms in the area of

21 race discrimination and identity based redlining in the banking and financial industries. The chart

22 compares Plaintiffs’ videos to similar videos of Defendants’ preferred and sponsored creators who

23 were not restricted or denied access despite having material in videos, that unlike Plaintiffs’ videos,

24 violated Defendants content based rules and restriction guidelines. There is no neutral racial reason

25 or explanation that can explain this disparate treatment, especially in light of Defendants

26 admissions that since 2017 their filtering systems and algorithms have been “targeting” users based

27 on their race and other protected identity.

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 1               15.   Defendants also admit that they “maintain[] internal review guidelines” which they

 2 do not disclose to the public and utilize and then use those “internal review guidelines” to

 3 communicate information about whether the video contains inappropriate at the request of and

 4 directly to their preferred “content creators and advertisers” informing them, among other things, of

 5 whether Defendants have determined that the videos contain:

 6 ·             Drugs and alcohol;
 7 ·             Sexual situations;
 8 ·             Graphic Violence;
 9 ·             Mature subjects;
10 ·             Profane and mature language; and
11 ·             Incendiary and demeaning content.
12               16.   According to Defendants, “[t]he classification of videos in connection with

13 YouTube’s rating system is done using both an automated system and manual review. Most ratings

14 are determined by the automated system, which constantly scans videos as they are uploaded or

15 updated. This system examines various characteristics, including the video’s title, metadata, a

16 transcription of the language used in the video, among other factors,” to determine how the video

17 should be classified, what services it qualifies for and whether it contains content that Defendants

18 consider to be “mature” that is “inappropriate for younger and sensitive audiences. “Automated
19 classifications are constantly checked against manual reviews for accuracy as part of the quality
20 and improvement process of our classifiers.” Attached as Exhibit A is a true and correct copy of

21 the Declaration of Alice Wu, Senior Manager for Trust and Safety at YouTube LLC dated February

22 9, 2018, filed in Prager University v. Google LLC, et al., Case no. 3:17-cv-06064, ECF 38.

23               17.   Using these automated systems, Defendants tell advertisers and viewers that

24 Plaintiffs videos contain “mature,” “adult,” or otherwise “inappropriate” content for younger and

25 sensitive audiences, when they do not. And that false and racially biased classification of

26 Plaintiffs’ videos have a huge and deep impact on the ability of Plaintiffs to compete with

27 Defendants and other users for viewers and advertising revenue on YouTube, especially given the

28 amount of pornography and other objectively “inappropriate” material that can be accessed on the

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 1 internet and the reliance that users place on Defendants to properly filter, curate, and restrict

 2 “adult” or “mature” content.

 3               18.   Plaintiffs are African American, Hispanic and other protected persons under

 4 California and federal law. Each was and is a victim of Defendants’ digital redlining. Each has

 5 and continues to be harmed by the unlawful profiling, filtering, and use of aggregated data about

 6 their racial and protected identities that Defendants use to regulate, restrict, or deny them equal

 7 access, services, and other benefits on YouTube. Each brings this Lawsuit to obtain legal and

 8 equitable relief to redress Defendants’ discriminatory treatment under contract, and other unlawful

 9 actions, taken against them, and a putative class of similarly situated persons (the “Race

10 Discrimination Class”).

11               19.   In bringing this Lawsuit, Plaintiffs also challenge Defendants’ dangerous assertion

12 that the law provides no relief for race discrimination under contract and the other unlawful

13 conduct that arises from digital redlining, solely because Defendants engage in such discriminatory

14 practices to operate a business on the internet. Thus, according to Defendants, they may engage in

15 racial and other identity based redline to regulate public speech and the monetization of that

16 speech, while banks, real estate agents, and other brick and mortar businesses may not.

17               20.   Without some legal and/or equitable relief to redress racial and other unlawful

18 identity based profiling, filtering, and content and access regulation and restrictions on YouTube
19 each Plaintiff and member of the Race Discrimination Class will continue suffer harm, including
20 substantial financial harm that results from Defendants unlawful diversion of billions of dollars of

21 revenues that belong to Plaintiffs and the Race Discrimination Class that flow from the express and

22 implied rights granted by Defendants to Plaintiffs under contract and other laws.

23               21.   Under digitally executed consumer form contracts that span thousands of pages and

24 contain hundreds of provisions that are embedded in hyperlinks, Defendants obtain the licensing

25 and monetization rights to Plaintiffs’ content and their personal data and that of their followers and

26 audience members, as well as that of each member of the Race Discrimination Class. In exchange

27 for granting Defendants licensing, monetization, and other data based property rights to the their

28 video channels, content, audiences, and data, Defendants promise and grant Plaintiffs the right to

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 1 equal access to the YouTube platform and all the services and monetization opportunities that are

 2 available “equally to all.” Defendants promise that “equal” access to YouTube and its services

 3 means the right of each user to access and obtain the benefits of the services offered to the public as

 4 governed by and subject only to “neutral” content based rules regarding material that actually

 5 appears in the video. Defendants further promise that the “equal” application of those neutral

 6 content based rules apply “equally to all” that are governed and applied “solely under and by the

 7 internal laws of California.”

 8               22.   For years, Defendants have breached these promises and violated the internal laws

 9 of California by engaging in digital redlining. Defendants track and use the race, ethnicity, national

10 origin, or other protected personal traits of Plaintiffs and Race Discrimination Class to filter,

11 regulate, restrict, deny and make other decisions about who gets what from YouTube. That is

12 overt, intentional, and systematic identity based redlining and race discrimination that is prohibited

13 under the internal laws of both California, and the United States. And whether Defendants’ use of

14 racial profiling and filtering of internet users is motivated by racial bigotry and prejudice, political

15 agendas, or purely profit makes no difference. Defendants’ use of any racial or protected personal

16 trait to determine rights, obligations, and benefits, in any way, under a license and TOS contract is

17 illegal and expressly prohibited by law.

18               23.   Defendants’ conduct constitutes intentional, knowing, and systematic race
19 discrimination. It violates Plaintiffs’ contractual, commercial, and civil rights. It is also
20 inequitable, unfair, and repugnant to any sense of justice under our legal system.

21               24.   Defendants have unlawfully seized and continue to possess, use, and profit from the

22 property of Plaintiffs and the Race Discrimination Class, without properly accounting for royalties

23 and/or other revenues that are owed to Plaintiffs and the Race Discrimination Class under the

24 licensing agreement and other provisions of YouTube’s TOS,2 including the provisions and

25 agreements between Plaintiffs and Defendants for Google Adworks and/or Google Adsense.

26
     2
27    Here, “TOS” refers to all of the terms of service set forth in the YouTube license agreements
     executed by Plaintiffs and the members of the Race Discrimination Class or upon creating a
28

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 1               25.   Because Defendants cannot deny that they are engaged in digital redlining based on

 2 race, ethnicity, national origin and other protected identities, Defendants now contend that they are

 3 not liable for these and other legal transgressions because Congress granted Defendants absolute

 4 immunity under 47 U.S.C. §230(c) (“§230(c)” or the “Communications Decency Act”), including

 5 any and all of the unlawful conduct in this case.

 6               26.   Congress did not enact §230(c) to place these Defendants above the law. The

 7 specific provisions Congressional grant of immunity do not apply, and cannot be applied, to

 8 immunize Defendants from liability, where, as here, Plaintiffs have alleged with specificity, that

 9 Defendants are engaged in knowing and intentional race discrimination, breach of contract, unfair

10 business practices, false advertising, the theft of Plaintiffs’ property, and failure to account for

11 revenue owed under contract.

12               27.   Furthermore, as part of their promise of equal access, Defendants have contracted

13 out of §230(c) immunity when it comes to digital redlining or race based content filtering,

14 restrictions, and access denials. Specifically, Defendants expressly promise not only that all

15 disputes are “solely governed by the internal laws of California,” but discloses to Plaintiffs, the

16 Race Discrimination Class, and all users that it applies §230(c) only to third party “defamation”

17 claims.

18               28.   On its face, §230(c) operates as a “permissive” speech regulation law enacted by
19 Congress, solely and expressly to allow private Internet Service Providers (“ISPs”) to take steps to
20 protect minors from being exposed to “offensive material” on the internet. Therefore, at a

21 minimum, Defendants’ claim of immunity requires that Defendants must at least review the content

22 in the video, and base any access and service restrictions and/or denials on the content for which

23 services and access are sought. The race, ethnicity or other protected identity or personal

24 characteristics of the Plaintiffs or members of the Race Discrimination Class may never be

25

26
   YouTube account or a YouTube channel, which terms refer to and/or incorporate by reference the
27 TOS set forth in other agreements with Defendants, such as the terms of service for YouTube
   partnership, Google Search, Google Gmail, Google Adworks, and Google Adsense.
28

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 1 considered. Furthermore, identity based discrimination is never a lawful substitute or shortcut for

 2 actually reviewing content to determine if that content violates the rules and TOS.

 3               29.   Furthermore, §230(c) does not and cannot immunize an ISP provider from liability

 4 that arises from express or implied breaches of duties or obligation agreed to under a contract with

 5 its users and consumers. This is especially true here, where Google/YouTube have contracted with

 6 Plaintiffs and the Race Discrimination Class to provide access and services to consumers that are

 7 subject only to restriction or denial of service under specific viewpoint neutral content based rules

 8 that apply equally to all.

 9               30.   Nor does §230(c) immunize from liability an ISP who has unlawfully taken,

10 possessed, used, and or converted for unlawful gain its users’ property, and/or has otherwise failed

11 to abide by, account for, or pay debts or monies owed to users under the applicable license

12 agreement and other TOS provisions.

13               31.   Similarly, §230(c) does not immunize Defendants for directly engaging in unfair

14 business practices, anti-competitive conduct, false advertising, or intentional and knowing race,

15 gender, sexual orientation, political and other types of personal identity based discrimination

16 against members of a protected class such as Plaintiffs or the members of the Race Discrimination

17 Class.

18               32.   To the extent that any court of competent jurisdiction were to construe §230(c) as
19 immunizing the specific conduct and violations perpetrated by Google/YouTube against the
20 Plaintiffs and members of the Race Discrimination Class alleged in this Lawsuit, §230(c) could not

21 survive constitutional scrutiny under the Supreme Court’s 6-3 majority decision in Denver Area

22 Educational Telecommuns. Consortium, Inc. v. Federal Communications Comm’n, 518 U.S. 727,

23 766-67 (1996). In other words, if §230(c) were to be construed to immunize Defendants from the

24 events, circumstances, and conduct alleged here, §230(c) would be unconstitutional because it (a)

25 would not be viewpoint neutral, (b) was not narrowly tailored and reasonably related to a legitimate

26 public purpose, including protecting minors from “offensive material” on the Internet, and (c)

27 would interfere with established legal relationships, contract, rights, and obligations of the parties.

28 Id.

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 1               33.        Accordingly, Plaintiffs file this Lawsuit to hold Google/YouTube accountable for

 2 their unlawful and inequitable conduct under ten separate causes of action or claims for legal and

 3 equitable relief:

 4               (i) Declaratory judgment under 28 U.S.C. §2001 et seq., that §230(c) does not apply to the

 5               allegations and claims for relief in this Lawsuit because (a) §230(c) statutory language does

 6               not apply, and cannot be applied, to the prosecution of the allegations and claims in this

 7               Lawsuit; and/or (b) §230(c) is an unconstitutional “permissive” speech restriction law under

 8               Denver Area and progeny;

 9               (ii) Equitable accounting of revenue under California Common Law for amounts owed by

10               Defendants as a result of inconsistent, inaccurate, incorrect and false reported view

11               numbers, subscriber numbers, watch times and CPM which form the basis for calculating

12               revenue earned by videos and channels;

13               (iii) Equitable Conversion and Replevin under California Common Law for a Court Order

14               that Defendants return the videos taken down, removed and/or deleted from the YouTube

15               platform to the extent that Defendants still possess the electronic digital videos; and/or for

16               damages a Court award of damages for the value of the videos where Defendants no longer

17               possess the electronic digital videos;

18               (iv) Breach of contract, implied breach of contract covenant, and promissory estoppel;
19               (v.) Racial discrimination in contract in violation of federal law under 42 U.S.C. §1981;
20               (vi.) Racial discrimination in violation of the Unruh Civil Rights Act, Cal. Civ. Code §§51,

21               et seq.;

22               (vii.) Unlawful, deceptive, and unfair discriminatory business practices in violation of the

23               Unfair Competition Laws under California Business and Professions Code §§17200, et seq.;

24               (viii.) False advertising and commercial disparagement in violation of the Lanham Act, 15

25               U.S.C. §§1125, et seq.;

26               (ix.) Discrimination in violation of the Liberty of Speech Clause under Article I, Section 2

27               of the California Constitution; and

28

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 1               (x.) Discrimination in speech in violation of First Amendment of the U.S. Constitution

 2               arising from Defendants’ use of §230(c) to immunize them from liability for discrimination.

 3 II.           PARTIES
 4               34.    Plaintiff Kimberly Carleste Newman, also known as Kimberly Santana (“Plaintiff

 5 Newman”), is an African American woman residing in the State of California who is the creator

 6 and owner of “The True Royal Family” and “True Royal,” two YouTube channels dedicated to

 7 developing and posting videos that discuss and present information regarding issues and current

 8 events which are important to the African American community. Plaintiff Newman created “The

 9 True Royal Family” channel in 2015, followed by “True Royal,” in 2016. Since its creation,

10 Plaintiff Newman’s “The True Royal Family” channel has posted more than 1654 separate videos,

11 only 954 of which are still posted because Defendants removed 700 or more individual videos and

12 have refused to restore them; the “True Royal” channel has posted 209 videos. “The True Royal

13 Family” channel has generated a total of 4.4 million views since creation, and the “True Royal”

14 channel has generated 583,000 views since creation. Plaintiff Newman is a YouTube “partner” and

15 has generated total revenue of $2,672.68 for videos posted on “The True Royal Family” and

16 $123.96 for videos posted on “True Royal.”

17               35.    Plaintiff Lisa Cabrera (“Plaintiff Cabrera”) is an African American woman residing

18 in the State of New Jersey who is the creator and owner of “Lisa Cabrera” and “Lisa C,” two
19 YouTube channels dedicated to developing and posting videos that discuss and present information
20 regarding issues and current events which are important to the African American community.

21 Plaintiff Cabrera created the “Lisa Cabrera” channel in 2015. Since creation, Plaintiff Cabrera’s

22 “Lisa Cabrera” channel has posted 4,423 videos (68 of which Defendants archived for unknown

23 reasons and can no longer be viewed by anyone), which have garnered 20 million views. Plaintiff

24 Cabrera is a YouTube partner who has generated a total of $25,500 for videos posted on the “Lisa

25 Cabrera” channel.

26               36.    Plaintiff Catherine Jones (“Plaintiff Jones”) is an African American woman residing

27 in the State of Tennessee who is the creator and owner of “Cooking with Carmen Caboom” a

28 YouTube cooking channel for African Americans, and “Carmen Caboom” and “Carmen Caboom

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 1 Reloaded,” two YouTube channels dedicated to developing and posting both parodies and serious

 2 videos that discuss and present information about issues and current events which are important to

 3 the African American community. Plaintiff Jones created the “Carmen Caboom” channel in 2010,

 4 a backup “Carmen Caboom” channel in 2014, the “Cooking with Carmen Caboom” channel in

 5 2015 and the “Carmen Caboom Reloaded” channel in 2018. Defendants improperly removed the

 6 original “Carmen Caboom” channel for purported nudity when no video posted to the channel

 7 included any nudity. Plaintiff Jones is a YouTube partner. Since creation, Plaintiff Jones’ 2014

 8 “Carmen Caboom” channel has posted numerous videos, several of which Defendants improperly

 9 removed as hate speech, the remaining videos have garnered approximately 500-1,200 views per

10 video overall which have generated approximately $500 per year.

11               37.   Plaintiff Denotra Nicole Lewis (“Plaintiff Lewis”) is an African American woman

12 residing in the State of Texas who is the creator and owner of “Nicole’s View,” a YouTube channel

13 dedicated to developing and posting videos that discuss and present information regarding issues

14 and current events which are important to the African American community. Plaintiff Lewis

15 created the “Nicole’s View” channel in 2006. She became a YouTube partner sometime between

16 2016 and 2017. “Nicole’s View” has generated 11.3 million views and approximately $6,000-

17 $7,000 in revenue per year, approximately $25,000 over the life of the channel.

18               38.   Plaintiff Andrew Hepkins (“Plaintiff Hepkins”) is an African American freelance
19 journalist, voice actor, and musician residing in the State of New York who is the creator and
20 owner of “DruStory News” and “DruHepkins,” YouTube channels. “DruStory News” is dedicated

21 to creating and posting videos that discuss and present information based on independent research

22 regarding news items, issues and current events which are important to everyone, including

23 members of the African American community. Plaintiff Hepkins created the “DruStory News”

24 channel in 2014. “DruStory News” has generated 3.6 million views and 17,600 subscribers.

25               39.   Plaintiff Harvey Stubbs (“Plaintiff Stubbs”) is an African American commentator

26 residing in the State of Illinois who is the creator and owner of the YouTube channels “Your World

27 Your View,” “Harvey Superboy,” “Harvey Superboy 1,” “HARVEY SUPERBOY,” and “J

28 Jackson.” These channels all have uploaded videos consisting of commentary regarding events,

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 1 social issues, politics, news, and people who are of interest to or affect the African American

 2 community in general, and the Chicago Area African American community in particular. Plaintiff

 3 Stubbs is a veteran and lifelong resident of the Chicago Area, who is active in his community and

 4 offers a unique perspective on current and historical events and people in the public eye. Plaintiff

 5 Stubbs started his first YouTube channel in 2007 and has created a number of additional channels

 6 due to Defendants’ repeated unwarranted flags and Community Guidelines strikes against his

 7 channels. “Your World Your View,” which was created in September of 2013, has generated 6.6

 8 million views.

 9               40.   Plaintiff Khalif Muhammad (“Plaintiff Muhammad”) is an African American social

10 commentator residing in the State of California who is the creator and owner of “Dr.Syn-Q,” a

11 YouTube channel dedicated to developing and posting videos that discuss and present information

12 regarding historic and current issues and events regarding racial inequality and redressing barriers

13 to equality for the African American community generally and African Americans living in the Bay

14 Area specifically. Plaintiff Muhammad originally launched “Dr.Syn-Q” under the name “Counter

15 Racism Now” in 2006. Over the years, Plaintiff Muhammad has uploaded 273 videos to the

16 “Dr.Syn-Q” channel. As of August 11, 2020, only 159 videos are listed for the “Dr.Syn-Q”

17 channel, Defendants having removed or archived approximately 114 videos. Of these 159 videos,

18 only 19 videos are listed with “Restricted Mode” enabled, however only 11 of those listed can
19 actually be viewed with “Restricted Mode” enabled. 8 videos listed for the channel when
20 “Restricted Mode” is enabled show a black screen with the legend, “This video is unavailable with

21 “Restricted Mode” enabled. To view this video, you will need to disable Restricted Mode.” In

22 excess of 2,150 people have subscribed to the “Dr.Syn-Q” channel. It is currently unknown how

23 many views this channel has actually generated in the past 14 years. Prior to 2020, the channel

24 reflected in excess of 980,000 views. On June 26, 2020, the channel reflected 899,717 views. On

25 August 9, 2020, the channel reflected only 388,997 views. On August 11, 2020, the channel

26 reflected 643,790 views.

27               41.   Plaintiff Fermin Saldana, also known as Keu Reyes (hereafter “Plaintiff Reyes”), is

28 an American man of Puerto Rican descent residing in the State of California. He is the husband of

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 1 Osiris Ley. He is a professional writer, producer, videographer and filmmaker who creates both

 2 original material for the internet, television and commercial theater outlets, as well as produces

 3 videos for other artists who require technical and artistic assistance to create material for the

 4 internet, television and commercial theater outlets. Plaintiff Reyes is the creator and owner of

 5 Youtube.com/KeuReyes, Youtube.com/ClankTV, Youtube.com/randumbness,

 6 Youtube.com/LaOptima, Youtube.com/Multivision Network, Youtube.com/Soundication, and

 7 Youtube.com/Artistic Warfare. These channels feature videos in English and Spanish. Plaintiff

 8 Reyes, along with his wife Osiris Ley, are the co-creators and co-owners of Youtube.com/Osyley,

 9 https://Mundo.osyley.com, and https://www.osyley.com. Keu Reyes was created in 2011. In the

10 past 9 years, the channel has acquired 47,200 subscribers and has generated in excess of 23 million

11 views. The channel features music and comedic content, consisting of 160 videos, which include

12 both animated and live action videos. ClankTV was created in 2015, has acquired 4,980

13 subscribers and has generated 1.7 million views. ClankTV features 61 entertainment videos and

14 content relating to music, fashion, politics and conspiracies. Randumbness was created in 2015 and

15 featured approximately 10 edgy comedic videos. Randumbness disappeared from the YouTube

16 platform without notice within the past 2 years, along with the videos that were posted and listed to

17 the channel. La Optima was created in 2014, has 21 subscribers, and has generated 2,220 views.

18 La Optima features 45 videos. Multivision Network was created in 2013, has acquired 9,590
19 subscribers and generated in excess of 3.7 million views. Multivision Network has 133
20 entertainment, cooking and bartending videos. Soundication was created in 2012, has 231

21 subscribers and has generated 115,439 views. Soundication is a music distribution channel for

22 independent artists. Soundication features 32 music and spoof videos. Artistic Warfare was

23 created on 2006, has acquired 590 subscribers, and has generated 1 million views. Artistic Warfare

24 has 50 videos listed, posted principally in the English language which discuss issues of the day,

25 literature, and culture with a comedic intent.

26               42.   Plaintiff Osiris Ley is the wife of Fermin Saldana (“Plaintiff Ley”). She is a

27 naturalized American woman of Mexican descent residing in the State of California. She is a

28 professional makeup artist who works with artists in films, videos, commercials and on the stage.

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 1 She also teaches makeup classes to students seeking certification as makeup artists. Plaintiff Ley

 2 and her husband Plaintiff Reyes, are the co-creators and co-owners of Youtube.com/Osyley,

 3 https://www.Mundo.osyley.com and https://www.osyley.com. The Osyley channel was created in

 4 2012. It is dedicated to informing and educating both the public at large and professional makeup

 5 artists regarding how better to apply and use beauty products to achieve professional results. The

 6 channel has 158 Spanish language videos listed. In the past 8-½ years Osyley has acquired 387,000

 7 subscribers, and has generated in excess of 34 million views.

 8               43.   Defendant YouTube, LLC is a for profit limited liability corporation, wholly owned

 9 by Google LLC, and organized under the laws of the State of Delaware. YouTube’s principal place

10 of business is Mountain View, California and it regularly conducts business throughout California,

11 including Santa Clara County, California. Defendant YouTube, LLC operates the largest and most

12 popular internet video viewer site, platform, and service in California, the United States, and the

13 world, and holds itself out as one of the most important and largest public forums for the

14 expression of ideas and exchange of speech available to the public. Plaintiffs are informed and

15 believe that at all relevant times Defendant YouTube, LLC acts as an agent of Defendant Google

16 LLC and uses, relies on, and participates with Defendant Google LLC in restricting speech on the

17 YouTube site, platform, or service.

18               44.   Defendant Google LLC is a for profit, limited liability company organized under the
19 laws of the State of Delaware, with its principal place of business in Mountain View, California, It
20 regularly conducts business throughout California, including Santa Clara County. Plaintiffs are

21 informed and believe, and thereon allege, that at all relevant times, Defendant Google LLC has

22 acted as an agent of Defendant YouTube, LLC, and controls or participates in censoring and

23 restricting speech on the YouTube service or platform.

24               45.   The true names and capacities, whether individual, corporate, associate, or

25 otherwise, of Defendants Does 1 through 100, inclusive, are presently unknown to Plaintiffs, and

26 for that reason these Defendants are sued by such fictitious names. Plaintiffs are informed and

27 believe and thereon allege that each of the Doe Defendants is in some way legally responsible for

28 the violations of law, injuries, and harm caused, as alleged herein. If, and when appropriate,

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 1 Plaintiffs will seek leave of the Court to amend this Complaint when the true names and capacities

 2 of said defendants are known.

 3 III.          JURISDICTION AND VENUE
 4               46.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,

 5 each of the allegations set forth in paragraphs 1-41.

 6               47.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

 7 §§1331, 1332(d), 1367(a), and 2201.

 8               A.    Diversity Jurisdiction: The Class Action Fairness Act, 28 U.S.C. §1332(d)
                       (“CAFA”)
 9
                 48.   The Court has jurisdiction over all the claims in this case under CAFA, 28 U.S.C.
10
     §1332(d).
11
                 49.   Plaintiffs have filed a class or “mass action” that seeks relief on behalf of a putative
12
     class composed of millions of persons whose contractual, legal and equitable rights have been
13
     violated by Defendants’ use of their race, ethnicity or other protected identities to filter, restrict, or
14
     deny equal access to YouTube in violation of Defendants’ TOS and other related promises, federal
15
     and state anti-discrimination laws, federal false advertising laws, and state unlawful, unfair,
16
     deceptive practices, and federal and state public speech laws (the Race Discrimination Class).
17
                 50.   The matter in controversy exceeds the sum or value of Five Million Dollars
18
     ($5,000,000), exclusive of interest and costs. Moreover, the claims for relief seek, among other
19
     things, statutory damages, compensatory damages, restitution, and other equitable relief that
20
     substantially exceed One Billion Dollars ($1,000,000,000) in value.
21
                 51.   More than half of the representative class of Plaintiffs are not citizens of California,
22
     the State in which the action was originally filed. Five of the nine representative Plaintiffs for the
23
     Race Discrimination Class reside outside of California: Andrew Hepkins (New York); Harvey
24
     Stubbs (Illinois); D. Nicole Lewis (Texas); Lisa Cabrera (New Jersey); and Catherine Jones
25
     (Tennessee).
26
                 52.   YouTube is the most used and “ubiquitous” social media platform in the U.S. and
27
     has more users than other global social media sites like Facebook or Twitter. It is estimated that
28

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 1 195 million Americans (195,000,000) used and continue to use YouTube during the relevant time

 2 period of this Lawsuit.

 3               53.   Between 41% and 49% of those users identify or are identified by Defendants as

 4 non-white when it comes to race, ethnicity, or national origin.

 5               54.   At least 50 million persons who reside in the United States are part of the Race

 6 Discrimination Class.

 7               55.   Each member of the Race Discrimination Class is a party to YouTube’s TOS,

 8 Community Guidelines, Google’s Privacy Policy, the Safety Policy, Copyright Policies, and other

 9 related agreements, including the choice of law and venue provisions set forth in Defendants’ TOS.

10               56.   Substantially more than two-thirds of the persons who are members of the Race

11 Discrimination Class reside outside of California, in one of the other 50 states or territories of the

12 United States. Between 75% and 85% (or approximately 42.5 million) of those putative class

13 members are not citizens of California, the State in which the action was originally filed and reside

14 in states or territories other than California.

15               B.    Federal Question Jurisdiction: “Arising Under” Jurisdiction, 28 U.S.C. §1331
16               57.   The Court also has jurisdiction under 28 U.S.C. §1331 (“§1331”).
17               58.   Plaintiffs allege three independent claims for relief under federal law: race
18 discrimination under contract in violation of 42 U.S.C. §1981; false advertising in violation of the
19 Lanham Act, 15 U.S.C. §§1125, et seq.; and civil rights violations under the First Amendment of
20 the U.S. Constitution.

21               59.   In addition, Plaintiffs also assert a request for declaratory relief under 28 U.S.C.
22 §2201, alleging that the application of §230(c), 47 U.S.C. §230(c) is unconstitutional under the

23 First and Fourteenth Amendments, at least as applied in this case.

24               60.   While requests for declaratory relief under §2201 do not normally provide an
25 independent basis for federal question jurisdiction under §1331, Plaintiffs’ request for such relief is

26 an independent federal claim for relief that arises under §1331 because it is based on and arises

27 entirely as a request for interpretation, construction, and scope of application of a federal statute in

28

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 1 this case that Defendants assert bars and preempts the prosecution of all claims for relief asserted in

 2 this Lawsuit.

 3               61.   Furthermore, to the extent that the Court interprets or construes this federal statute

 4 preventing Plaintiffs from obtaining relief under some or all of the claims for relief asserted herein,

 5 the federal statute is unconstitutional, at least as applied to these Plaintiffs, under the First and/or

 6 Fourteenth Amendments of the U.S. Constitution.

 7               62.   The resolution of the federal questions regarding the interpretation, construction,

 8 application, and possibly the constitutionality of §230(c) is necessary and required to adjudicate all

 9 of the other claims alleged in the TAC.

10               63.   The resolution of those questions will have substantial and profound implications for

11 the uniform application of federal law and the entire federal system as a whole, because whether

12 Congress enacted §230(c) to immunize an internet service provider for knowing, intentional, and

13 systematic discrimination against users based on their identity (e.g., their race, ethnicity or other

14 protected identity) and other personal traits, is a threshold issue and element to every claim in this

15 case, as well as the respective obligations and rights of every internet user and service provider who

16 operates within the laws and jurisdiction of the United States.

17               64.   These purely federal issues of law are essential to the adjudication of each and every

18 claim for relief, including federal constitutional issues, that are (1) necessarily raised, (2) actually
19 disputed, (3) substantial, and (4) capable of resolution in federal court without disrupting the
20 federal state balance approved by Congress.

21               65.   Furthermore, Congress expressly enacted §230(c) to preempt all claims and liability

22 that are inconsistent with its scope and application, whether those claims arise under federal law or

23 the particular law of one of the 50 states or territories of the U.S. See 47 U.S.C. §230(e); Domen v.

24 Vimeo, Inc., 6 F.4th 245, 249-53 & n.4 (2d Cir. 2021) (§230(c) preempts all state laws).

25               66.   Thus, Plaintiffs’ request for declaratory relief under 28 U.S.C. §2201 that a federal

26 court interpret, construe, and determine the scope and application of §230(c) with respect to each

27 and every claim in this case are “special and exceptional” circumstances that arise under federal

28 law within the meaning of §1331. Grable & Sons Metal Prods. v. Darue Engineering. & Mfg., 545

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 1 U.S. 308, 314-316 (2005). see also Gunn v. Minton, 568 U.S. 251, 258-259 (2013); Sarauer v.

 2 International Association of Machinists and Aerospace Workers, District No. 10, 966 F.3d 661,

 3 673-675 (7th Cir. 2020); Noatex Corp. v. King Construction of Houston LLC, 74 F.Supp.3d 764,

 4 772-774 (N.D. Miss., 2014) (applying Grable and holding that federal constitutional due process

 5 challenge to state “Stop Notice” law presents a federal question that creates federal jurisdiction

 6 under declaratory judgment act) (citing Martinez v. State of California, 444 U.S. 277, 279 (1980)).

 7               C.    Supplemental Jurisdiction: 28 U.S.C. §1367
 8               67.   The Court also has supplemental jurisdiction over all of the state claims in this case
 9 because they arise from the same nucleus of facts and are so related to the federal claims in the

10 action that form part of the same case or controversy under Article III of the United States

11 Constitution.

12               68.   The district court should not decline to exercise supplemental jurisdiction over the
13 state law claims, at least until the application and constitutionality of §230(c) is decided: (a) the

14 scope and application of that federal law predominates the adjudication of those claims; (b) the

15 interests of comity, efficiency, and fairness are not furthered, but are impeded, by sending threshold

16 federal questions of national importance to state courts to interpret, apply, and scrutinize the federal

17 constitutionality of the law as applied to Plaintiffs who are protected persons based on their race,

18 ethnicity, and national origin under federal law; and (c) to the extent that some of the claims in this
19 case also present novel or complex issues of California law, including the application of the Liberty
20 of Speech Clause and/or the Unruh Act to unlawful sex, gender, or other identity based

21 discrimination by a global and ubiquitous internet service provider, the Court of Appeals can

22 decide any such discreet legal issues to the California Supreme Court for resolution if necessary,

23 once it has decided the threshold federal question as to which, if any, of these claims are barred by

24 federal law under §230(c).

25               69.   Thus, each and every claim for relief under California law is “inextricably tied” to
26 the interpretation, construction, application, and constitutionality of §230(c) and the “right to relief

27 necessarily depends on resolution of a substantial question of federal law.” City of Chicago v. Int'l

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 1 Coll. of Surgeons, 522 U.S. 156, 173 (1997) (“Surgeons”); see also, New Mexico v. General Elec.

 2 Co., 335 F.Supp.2d 1157, 1176-79 (D. N.M. 2004) (aff’d 467 F.3d 1223 (10th Cir. 2006)).

 3               70.   A jurisdictional based dismissal will not conserve, but require the unnecessary

 4 expenditure of judicial resources.

 5               71.   It requires the litigants in this and other §230(c) cases to seek rulings from different

 6 state courts on novel questions of federal law.

 7               72.   Requiring state courts to rule on the threshold federal immunity issues under

 8 §230(c) creates a state by state, non-uniform body of law on purely federal statutory construction

 9 and constitutional issues that prevents the uniformity of federal law and upsets the balance between

10 it and the laws of the other 50 states and local territories of the U.S.

11               73.   At some juncture, the federal courts will have to rule on the construction and

12 application of §230(c) to the claims in this case, as well as the claims of other internet consumers

13 who are being systematically discriminated against by Defendants because of their race, sex, or

14 other personal identities.

15               74.   All of these factors weigh in favor of and expressly allow the Court to retain

16 supplemental jurisdiction of the state law claims under 28 U.S.C. §1367.

17               D.    Venue: 28 U.S.C. §1391
18               75.   Venue is proper in the Northern District of California (San Jose Division) under 28
19 U.S.C. §1391.
20               76.   Defendants reside and/or transact business in the County of Santa Clara, and are
21 within the jurisdiction of this Court for purposes of service of process.

22               77.   Defendants’ TOS expressly provide that Plaintiffs’ Lawsuit must be filed in a court
23 of competent jurisdiction located within Santa Clara County.

24 IV.           FACTS COMMON TO ALL CLAIMS
25               78.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
26 each of the allegations set forth in paragraphs 1 through 68 above.

27               79.   On June 2, 2020, this Court held a hearing on Defendants’ Motion to Dismiss in
28 Divino. At the hearing, the Court asked Defendants if they were claiming immunity from liability

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 1 for denying access to YouTube based on the user’s race. In response, Defendants’ counsel

 2 conceded that a case involving intentional race discrimination by an ISP may not be covered by

 3 §230(c):

 4               I THINK THERE COULD BE SOME STARK CASES WHERE A COURT MIGHT FIND

 5               UNDER A PARTICULAR SET OF CIRCUMSTANCES THAT SOME ALLEGED

 6               DISCRIMINATION DIDN'T TAKE THE FORM OF A PUBLISHER OF ACTUALLY

 7               TARGETING PUBLISHER CONDUCT, AND, THEREFORE, DIDN'T COME WITHIN

 8               (C)(1).

 9               * * * *

10               I CAN IMAGINE SOME COURTS TAKING THE POSITION THAT A PROPERLY

11               PLEADED CLAIM OF THE SORT THAT YOU DESCRIBE AS SORT OF FACIAL

12               RACE DISCRIMINATION CLAIM MAY NOT BE GOOD FAITH UNDER (C)(2), I

13               CAN IMAGINE A COURT TAKING THAT POSITION.

14 Attached as Exhibit B is a true and correct copy of the June 2, 2020-Transcript of Oral Argument

15 before the Hon. Virginia DeMarchi; Exhibit B, at 10:45 - 15-22.

16               80.       This Lawsuit is that “stark case.” Defendants are engaged in intentional digital

17 redlining and race discrimination against Plaintiffs and members of the Race Discrimination Class,

18 that violates Defendants’ contractual promises not to discriminate, and also violates long
19 established laws that prohibit racism for profit.
20               81.       Defendants employ automated systems that use personal data to identify users based

21 on race, ethnicity, national origin and other protected identities to make decisions regarding access

22 to the YouTube platform and services; rather than using neutral content based filters, as Defendants

23 promise under the TOS and related agreements.

24               82.       Defendants digitally redline, profile, use, and consider Plaintiffs’ race, personal

25 identity, or other protected identities, in order to interfere with, restrict, or block video uploading,

26 viewing, promotion, advertising, engagement, and/or monetization services because Plaintiffs are

27 African American, Hispanic or other protected identities and/or possess personal that Defendants

28

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 1 dislike. This is race and identity based discrimination. This conduct is unlawful and cannot be

 2 immunized by Congress.

 3               83.   Defendants’ profiling, review, use, and consideration of Plaintiffs’ race, ethnicity or

 4 other protected identities is prohibited not only under Defendants’ TOS and other related

 5 agreements with Plaintiffs, but it also violates laws dating back to the Civil War which prohibit

 6 racial discrimination in contract and business relationships.

 7               A.    Defendants’ Operation Of YouTube
 8               84.   Defendants Google/YouTube are members of the largest public or private business
 9 enterprise in the world.

10               85.   Through this enterprise, Defendants exercise complete, absolute, and “unfettered”
11 control over access to approximately 95% of all video content that is available to the public world-

12 wide. This includes absolute control over any and all posting, viewing, engagement, advertising,

13 personal data, and revenue monetization for the rights of the 2.3 billion consumers who access and

14 use YouTube.

15               86.   Defendants are also the largest creators, promoters, and sponsors of video content on
16 YouTube. Thus, in addition to hosting and regulating video content and services on YouTube,

17 Defendants compete directly with Plaintiffs and their video content for the same access, audiences,

18 viewership, advertising, marketing, and revenue based services on the YouTube platform.
19               87.   In exercising these unprecedented powers, Defendants contract with Plaintiffs and
20 members of the Race Discrimination Class to provide them equal access to YouTube and all of its

21 related services, subject only to viewpoint neutral, content based rules and criteria that apply

22 equally to all.

23               88.   In reality, Defendants’ access restrictions and denials are not the result of an identity
24 and viewpoint blind review or the application of the rules to actual video content. Instead,

25 Defendants have an irreconcilable commercial conflict of interest. On the one hand, Defendants

26 act as content creators or sponsors of video content, competing directly with Plaintiffs and

27 members of the Race Discrimination Class for the same services, audiences, advertisers, and

28 revenue streams on the YouTube platform. On the other hand, Defendants act as absolute

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 1 regulators and monetizers of all YouTube content and services, and exercise unfettered authority to

 2 determine viewer and service access by enforcing their Community Guidelines and TOS against

 3 their competitors, based on the race, ethnicity or other protected identities of Plaintiffs and

 4 members of the Race Discrimination Class.

 5               89.   Under the pretext of honest content and service regulation, Defendants rig the game

 6 for profit, by using their power to restrict and block Plaintiffs and members of the Race

 7 Discrimination Class , based on racial discrimination. Defendants also abuse their power by not

 8 subjecting videos they create or which their preferred partners make, to the same Community

 9 Guidelines and TOS that they apply to all other YouTube users. As a result, Defendants are not

10 subject to filtering or blocking restrictions, even where Defendants’ videos contain content that

11 violates their own rules.

12               90.   Defendants employ A.I., algorithms, filters, and automated systems that utilize

13 personal data about Plaintiffs’ race, ethnicity, or other protected identity to make what are supposed

14 to be purely “neutral” content based decisions regarding filtering, restrictions, and user access.

15 These automated systems are embedded with racially biased source code that aggregates the

16 unprecedented amount of personal digital data that Defendants collect through Google Search,

17 Gmail, Google Adwords, Google Documents, AdServe, facial recognition software, and other

18 services and applications to create a digital racial profile of the user that is then used to make
19 decisions about viewer reach, monetization, advertising, and other services on YouTube that
20 Defendants promise are available “equally to all.”

21               91.   Defendants also allow racist hate speech and doxing to go unregulated on Plaintiffs’

22 YouTube channels, resulting in lost subscribers and viewership, and the surreptitious “bugging” of

23 Plaintiffs’ videos by the insertion, attachment, appending, or embedding of metadata and other

24 signals that allow Defendants’ filtering tools to target Plaintiffs and members of the Race

25 Discrimination Class, based on the video creator’s race, ethnicity or other protected identity, as

26 well as those of their channel subscribers, and viewers.

27               92.   This intentional and systematic racial discrimination violates Defendants’ legal

28 obligations under the contract(s), and is unlawful under federal and state antidiscrimination laws,

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 1 false advertising, unlawful business practices, and free speech laws. It is unlawful regardless of

 2 whether it is done for profit or out of ideological animus.

 3               93.   Interfering with the contractual and legal rights of Plaintiffs and members of the

 4 Race Discrimination Class with respect to YouTube access and use that is based in whole or in part

 5 on race, ethnicity or other protected identity, violates YouTube’s TOS and is unlawful under the

 6 strict prohibitions against racial discrimination in contract and business practices enshrined in

 7 federal and California law.

 8               94.   Under the pretext of finding that videos violate some vague, ambiguous, and

 9 nonspecific rule, Defendants use computer driven racial digital redlining, profiling and filtering

10 tools to restrict, censor, and denigrate Plaintiffs and members of the Race Discrimination Class on

11 YouTube, wholly or in part, because they are African American, Hispanic, or members of a

12 protected identity under the law, or identify as such.

13               95.   Since 2017 at least, Defendants’ filtering and review tools and procedures have been

14 embedded with computer code or other automated system based “triggers” that digitally redline and

15 profile the race, ethnicity or other protected identity of the YouTube users. Defendants admit that

16 their filtering tools use information about the identity of YouTube creators, subscribers and viewers

17 to “target” members of protected racial classifications under the law and impose access restrictions

18 on them that are not neutral with respect to race, ethnicity or other protected identity; nor are they
19 based on or supported by actual material in the uploaded content. Defendants treat such videos as
20 if they in fact violate Defendants’ Community Guidelines and TOS, by denying full YouTube

21 platform access and related services.

22               96.   On March 19, 2017, Defendants publicly admitted that they improperly censored

23 videos that were posted or produced by members of the LGBTQ+ Community, using “Restricted

24 Mode” filtering based upon the identity and orientation of the speaker, rather than upon the content

25 of the video. Defendants also promised to remove all restricted filtering on videos posted or

26 produced by LGBTQ+ members and groups and change their filtering algorithm and manual

27 review policies and practices to address the risk that videos posted by LGBTQ+ vloggers were

28 being censored because of the race, ethnicity or other protected identity of the speaker.

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 1               97.    On April 27, 2017, Johanna Wright, Vice President of Product Management for

 2 Google/YouTube, took to the airwaves and news media to promise the global “YouTube

 3 Community” that Defendants would ensure that “Restricted Mode” would not “filter out content

 4 belonging to individuals or groups based on certain attributes like gender, gender identity, political

 5 viewpoints, race, religion or sexual orientation.” While Ms. Wright conceded that “Restricted

 6 Mode will never be perfect, [Google/YouTube] hope to build on [their] progress so far to continue

 7 making [their] systems more accurate and the overall “Restricted Mode” experience better over

 8 time.”

 9               98.    On September 14, 2017, Defendants held an event that lasted two hours, by

10 invitation only, for independent YouTubers and content creators to address concerns that the

11 YouTube platform’s video review algorithm and practices discriminated against certain groups,

12 including African American and other users of color or vulnerable minorities. Defendants provided

13 lunch to a group of 12 to 20 creators. After lunch, Defendants had each creator sign a non-

14 disclosure agreement. One of the participants was YouTube creator, Stephanie Frosch. Ms. Frosch

15 executed a declaration under penalty of perjury regarding what Defendants expressly told her at

16 that event. Attached as Exhibit C is a true and correct copy of the Declaration of Stephanie Frosch

17 filed in the companion case to this Lawsuit.

18               99.    Around noon on September 14, 2017, YouTube’s employees discussed the
19 company’s problems with the inherent racial bias and classification of video content filtering based
20 on identity with respect to Defendants’ decisions regarding monetization, payments for clicks per

21 minute (“CPM”) advertising, and applying “Restricted Mode”:

22                      a. The YouTube employees admitted that there are too many videos on the

23               YouTube platform to be reviewed manually by human beings.

24                      b. The YouTube employees admitted that their advertisers want demographic

25               information, including race, so that they can identify and target specific audiences based on

26               demographic information about the video creators and their viewers.

27                      c. The YouTube employees admitted that YouTube was using an artificial

28               intelligence and other algorithms and automated systems to get the information that

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 1               advertisers want. These automated tools gather and analyze information about creators and

 2               viewers based on their identifying information, including race, sexual identity and other

 3               protected identities. YouTube then uses that information to make decisions about viewing

 4               restrictions and monetization that are based on who the creators and viewers are; rather than

 5               based only on the video content.

 6                      d. The YouTube employees admitted that the YouTube algorithm discriminates

 7               when making decisions regarding which videos to monetize, pay CPM, and apply

 8               “Restricted Mode” to, based on the identities of the video creators and their viewers.

 9                      e. The YouTube employees specifically admitted in response to questions from the

10               event participants that the algorithm was looking at and profiling the sexual identities, races,

11               disabilities, religious and political affiliations of creators, intended audiences and viewers.

12                      f. One YouTube employee discussed how the algorithm worked by discussing a

13               YouTube creator with a chef’s channel who posted cooking videos. If the creator

14               identified as gay or had many subscribers or viewers who accessed a lot of LGBTQ related

15               videos, the videos would be tagged as gay for purposes of “Restricted Mode” and

16               monetization – regardless of the content of the videos on the channel.

17                      g.      The same is true with respect to Defendants’ targeting of African American,

18               Hispanic and other protected identities.3
19               100.   When asked what YouTube was doing to fix the problems with the algorithm that
20 the creators had identified, the YouTube employees said that they could not answer the question.

21

22   3
     “The math-powered applications powering the data economy were based on choices made by
23 fallible human beings. Some of these choices were no doubt made with the best intentions.
   Nevertheless, many of these models encoded human prejudice, misunderstanding, and bias into the
24 software systems that increasingly managed our lives. Like gods, these mathematical models were
   opaque, their “workings invisible to all but the highest priests in their domain: mathematicians and
25
   computer scientists. Their verdicts, even when wrong or harmful, were beyond dispute or appeal.
26 And they tended to punish the poor and the oppressed in our society, while making the rich richer.”

27 Excerpt From: Safiya Umoja Noble. “Algorithms of Oppression.” Apple Books.
   https://books.apple.com/us/book/algorithms-of-oppression/id1327926683.
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 1 When asked when YouTube would be done fixing the problem, the YouTube employees said that

 2 they could not answer that question either.

 3               101.   Defendants did not fix the problem with the algorithm and have continued to use the

 4 algorithm to make automated decisions about video monetization, CPM and “Restricted Mode”

 5 based at least in part on the identities of the creators and viewers of videos.

 6               102.   In January 2018, Defendants got caught: During a recorded call between a

 7 YouTube user and a Google supervisor (someone who Defendants now identify as the “Floor

 8 Manager” for their customer service advertising services center in Bangalore, India), Defendants

 9 represented to the user that its “holiday special” video was not eligible for advertising services

10 because the filtering tools had identified the user as being involved with the “gay thing.” Under

11 what the manager expressly stated was “company policy,” the filtering algorithm determined that

12 the video contained “shocking” or “sexually explicit” content, not because of any actual material in

13 the video but because the “company” considered video content created by a “gay” user, or content

14 that discussed the “gay thing,” as ineligible for advertising or promotion. Defendants considered

15 content created or viewed by “gay” persons to be “shocking” or “sexually explicit.”

16               103.   The same is true for African Americans, Hispanics, and members of other protected

17 identities. Empirical evidence show that “Google applications such as Gmail or Google Docs” and

18 Defendants’ other social media sites and applications “track identity and previous searches in order
19 to surface targeted ads for users by analyzing users’ web traces.” Thus, not only do the automated
20 systems, including search engines, “increasingly remember the digital traces of where [Plaintiffs]

21 have been and what links [they] have clicked” in order to aggregate personal data identifying the

22 race, ethnicity or other protected identity, and to use that information to make decisions about

23 whether videos contain content that is “mature” or otherwise inappropriate for younger or more

24 sensitive audiences. Thus, Defendants use aggregated personal data about Plaintiffs’ race, ethnicity

25 or other protected identity to apply age restrictions, “Restricted Mode,” demonetization, or other

26 restrictions to Plaintiffs’ content which Defendants promise are subject only to neutral “content

27 based” rules. The evidence further shows that these practices began “after Google announced it

28 would use past search practices and link them to users in its privacy policy change in 2012.” Safiya

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 1 Umoja Noble, “Algorithms of Oppression,” Apple Books;

 2 https://books.apple.com/us/book/algorithms-of-oppression/id1327926683.

 3               104.   This pattern, practice or “policy” of denying users equal access to YouTube based

 4 on their race, ethnicity or other protected identifies occurred on at least five other occasions to the

 5 same user after the January 2018 call with Defendants.

 6               105.   The Plaintiffs in this Lawsuit face the same overt, intentional, and systemic

 7 discrimination, but with one important difference: Defendants discriminate against Plaintiffs

 8 because they identify as African American, Hispanic or with other protected identities under the

 9 law.

10               106.   With respect to the Race Discrimination Class, this pattern and practice has become

11 so pervasive that Plaintiffs, and many prominent and quality content creators who are members of

12 the Race Discrimination Class, have lost more than 90% of their viewers, advertisers, revenue, and

13 other access rights in the last 24 months, solely because they are identified as African American,

14 Hispanic or members of other protected identities under the law.

15               107.   The evidence of Defendants’ pattern and practice of digital redlining and

16 discriminating against Plaintiffs based on their race is set forth in detail in the comparative chart

17 demonstrating that Defendants’ filtering, curation and restrictions are arbitrary, capricious and

18 entirely unrelated to content, so that Plaintiffs are treated differently than Defendants’ white and
19 other preferred creators on the platforms.
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 1    Video                                                                                   Date Reviewed                    Link                            Channel
     CLIENT - Khalif Muhammad
     Dr. SYNQ: Is Someone at YouTube Subverting the Constitution?                               9/27/2021     https://www.youtube.com/watch?v=47SZW            Dr.SYN-Q
 2                                                                                                                           sNMmwQ
     Similar YouTube videos not restricted
 3   YouTube Support - How To Contact YouTube                                                   9/27/2021      https://www.youtube.com/watch?v=h8-        David Walsh Online
                                                                                                                             6QltZQlk
     Youtube Censorship Has Become Nightmarish, US Senators Rand Paul Has Floor                 9/27/2021     https://www.youtube.com/watch?v=hpG_P             Timcast
 4   Speech PURGED                                                                                                            C05CD8


 5   Dr.SYNQ: NCOBRA Responds to ADOS                                                           9/24/2021     https://www.youtube.com/watch?v=cvI8D            Dr.SYN-Q
                                                                                                                             WGHFP0
     Similar YouTube videos not restricted
 6   Comedy Crib: Bottled | Reparations | IFC                                                   9/24/2021     https://www.youtube.com/watch?v=y_8St-           IFC
                                                                                                                              LmXOQ
     UN Human Rights Chief Calls for Reparations Over Racism                                    9/24/2021     https://www.youtube.com/watch?v=Ty_oZ5 Bloomberg Quicktake: Now
 7                                                                                                                             fEPBI
     Reparations | Real Time with Bill Maher (HBO)                                              9/29/2021     https://www.youtube.com/watch?v=pKZENk Real Time with Bill Maher
 8                                                                                                                          KesGc&t=12s

     Dr.SYN Q’s Effective Numbers Theory                                                        9/27/2021     https://www.youtube.com/watch?v=iUntPEz          Dr.SYN-Q
 9                                                                                                                             5o2g
     Similar YouTube videos not restricted
10   How Many People Does It Take to Start a Revolution?                                        9/27/2021     https://www.youtube.com/watch?v=qhY2y_     Annenberg School for
                                                                                                                               _43z8                       Communication

11   Dr.SYNQ: With Little Loca Tariq Nasheed Neely Fuller Jr Dr Francis Cress Welsing Gus T     9/27/2021     https://www.youtube.com/watch?v=j4gvsA           Dr.SYN-Q
     Renegade                                                                                                                 GPLCo
12   Similar YouTube videos not restricted
     Understanding White Supremacy (And How to Defeat It)                                       9/27/2021     https://www.youtube.com/watch?v=0gqQzb             act.tv
                                                                                                                               p5wk4
13
     CLIENT - Harvey Stubbs
14   Terry Terry Terry                                                                          9/27/2021     https://www.youtube.com/watch?v=Hd9cd           Your World
                                                                                                                               G-JPl8
     Similar YouTube videos not restricted
15   School asks white parents to become "white traitors", articulates "the 8 white             9/27/2021     https://www.youtube.com/watch?v=HwJCO        Karlyn Borysenko
     identities"                                                                                                               yJSl8o
16   Megyn Kelly on Race in Education | Real Time with Bill Maher (HBO)                         9/27/2021     https://www.youtube.com/watch?v=0pabbz    Real Time with Bill Maher
                                                                                                                               NjZ2s
17
     John Boyega And The Directors Who Would Work With Him                                      9/24/2021     https://www.youtube.com/watch?v=Xuxym           Your World
                                                                                                                              MY3G28
18   Similar YouTube videos not restricted
     John Boyega Is Cancelled! Deletes Twitter History, Loses Verification What Is              9/24/2021     https://www.youtube.com/watch?v=O6jT-          TheQuartering
19   Happening?                                                                                                              F6XPwA

     John Legend Silent                                                                         9/24/2021       https://www.youtube.com/watch?v=a-            Your World
20                                                                                                                         RxP5CBpMM
     Similar YouTube videos not restricted
21   Powerful celebrity quotes on Black Lives Matter and racism | Cosmopolitan UK               9/24/2021     https://www.youtube.com/watch?v=Ev1OR        Cosmopolitan UK
                                                                                                                              A97pFc
     Democratic candidates debate: Addressing country's racism l ABC News                       9/24/2021     https://www.youtube.com/watch?v=kAEhKh           ABC News
22                                                                                                                             7eKzw
     Real Time with Bill Maher: Denying Racism is a Form of Racism (HBO)                        9/24/2021     https://www.youtube.com/watch?v=JKHNK     Real Time with Bill Maher
23                                                                                                                         GYgF8U&t=36s

     Conspiracy Theories                                                                        9/27/2021     https://www.youtube.com/watch?v=zrpZW           Your World
24                                                                                                                            HaRsps
     Similar YouTube videos not restricted
     Jesse Jackson: FBI involved in MLK’s murder                                                9/27/2021     https://www.youtube.com/watch?v=pXH_1        Graham Bensinger
25                                                                                                                           OQeK9A

26   Zoe Is Just Like Her Mother                                                                9/27/2021     https://www.youtube.com/watch?v=gOXHu           Your World
                                                                                                                              z1w2b0
     Similar YouTube videos not restricted
27   Why YOU Should Dress Modestly || Get the attention you deserve!                            9/27/2021     https://www.youtube.com/watch?v=UklBGX        Classically Abby
                                                                                                                               O6sb0
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 1
     Video                                                                           Date Reviewed                    Link                            Channel
 2   Look at the Support They Get                                                      9/27/2021     https://www.youtube.com/watch?v=jnZtybg         Your World
                                                                                                                       x9-I
     Similar YouTube videos not restricted
 3   Candace Cameron Bure Says She 'Prays' For Lori Loughlin in Wake of Scandal        9/27/2021     https://www.youtube.com/watch?v=NhQ1-      Entertainment Tonight
                                                                                                                     9oSDKY
 4
     They Picked Him for a Reason                                                      9/29/2021     https://www.youtube.com/watch?v=Kqr8o3          Your World
 5                                                                                                                    wgjec
     Similar YouTube videos not restricted
 6   David Bowie Criticizes MTV for Not Playing Videos by Black Artists | MTV News     9/29/2021     https://www.youtube.com/watch?v=XZGiVzI         MTV News
                                                                                                                      r8Qg

 7   Racism at Buffalo Wild Wings                                                      9/27/2021     https://www.youtube.com/watch?v=Eq59sU          Your World
                                                                                                                      u68Cc
     Similar YouTube videos not restricted
 8   The Discrimination You've Never Heard Of | Alan Raskin |                          9/27/2021     https://www.youtube.com/watch?v=MEsw3           TEDx Talks
     TEDxAllendaleColumbiaSchool                                                                                     qvpS9g
 9
     It’s Just a Chicken Sandwich                                                      9/27/2021     https://www.youtube.com/watch?v=bc1e0T          Your World
                                                                                                                      LchzU
10   Similar YouTube videos not restricted
     Throwback Thursday: Racist Or Funny? | Gabriel Iglesias                           9/27/2021     https://www.youtube.com/watch?v=UDLpE         Gabriel Iglesias
11                                                                                                                   QmdNZE
     Harvard Sailing Team - Boys Will Be Girls                                         9/27/2021     https://www.youtube.com/watch?v=gspaoa      Harvard Sailing Team
                                                                                                                      ecNAg
12
     Boycott Oprah                                                                     9/27/2021     https://www.youtube.com/watch?v=abiSvC          Your World
13                                                                                                                    7Kn4k
     Similar YouTube videos not restricted
     Chick-fil-A is being bullied                                                      9/27/2021     https://www.youtube.com/watch?v=WoyJM          Tony Marano
14                                                                                                                   PMjOAc
     Chick-Fil-A-Bigotry                                                               9/27/2021     https://www.youtube.com/watch?v=EcTvcO      HonestDiscussioner
                                                                                                                      T1Ynk
15
     Karma for Wendy                                                                   9/27/2021     https://www.youtube.com/watch?v=DuJ1uh          Your World
16                                                                                                                    utDNU
     Similar YouTube videos not restricted
     Beyonce and the Black Panthers | Final Thoughts with Tomi Lahren                  9/27/2021     https://www.youtube.com/watch?v=p2O5M             BlazeTV
17                                                                                                                    GpfKTc

18
     Walmart Getting Rid of Greeters                                                   9/27/2021     https://www.youtube.com/watch?v=1YW0P           Your World
                                                                                                                     b0o374
19   Similar YouTube videos not restricted
     Trump mocks reporter with disability                                              9/27/2021     https://www.youtube.com/watch?v=PX9reO             CNN
20                                                                                                                    3QnUA
     Walmart's Anti-Union Message                                                      9/27/2021     https://www.youtube.com/watch?v=CpInyH     Senator Bernie Sanders
                                                                                                                       RVjic
21
     Spike Lee and the Oscars                                                          9/27/2021     https://www.youtube.com/watch?v=hXqHgg          Your World
22                                                                                                                    fb2e4
     Similar YouTube videos not restricted
     Why BlackKklansman" Lost Oscar to "Green Book"                                    9/27/2021     https://www.youtube.com/watch?v=xKtOkc Raiders Of The Lost Podcast
23                                                                                                                    zPM-4


24   CLIENT - Nicole’s View
     In Memory of                                                                      9/24/2021     https://www.youtube.com/watch?v=HNbFQ          Nicole's View
                                                                                                                    UHTSMw
25   Similar YouTube videos not restricted
     The faces of N.J. victims of September 11                                         9/24/2021     https://www.youtube.com/watch?v=OatDu-            NJ.com
                                                                                                                   I0bWI&t=32s
26   In Memory Of Sandy Hook Victims TRIBUTE (W/Pictures)                              9/24/2021                                                  CaseyCoutureMUA
                                                                                                     https://www.youtube.com/watch?v=1GMIA
27                                                                                                                   ETrWpE


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 1   Video                                                                                  Date Reviewed                    Link                            Channel
     They Never Cared About Us                                                                9/24/2021     https://www.youtube.com/watch?v=iYECpB          Nicole's View
                                                                                                                             Vdz9w
 2   Similar YouTube videos not restricted
     Tribute to Prince Philip || Heal                                                         9/24/2021     https://www.youtube.com/watch?v=5JZOjM            Maria R
 3                                                                                                                           MzGtg
     Stan Lee " try not to cry "                                                              9/24/2021     https://www.youtube.com/watch?v=OmtpH             skyler lee
                                                                                                                             k3iJO4
 4   Police Radio Chatter Sound Effect [Extended]                                             9/24/2021     https://www.youtube.com/watch?v=B47A4I      SoundEffectsFactory
                                                                                                                             VXsJk
 5
     Say What!?: Billy Dee Williams Comes Out As "Gender Fluid"                               9/29/2021      https://www.youtube.com/watch?v=Xs-            Nicole's View
                                                                                                                          cmV44Rco
 6   Similar YouTube videos not restricted
     "Gender Fluid" Person Confuses Everyone.                                                 9/29/2021     https://www.youtube.com/watch?v=OwvhG            A1Cvenom
 7   Gender Identity: Can a 5'9, White Guy Be a 6'5, Chinese Woman?                           9/29/2021
                                                                                                                             fbeo1Y
                                                                                                            https://www.youtube.com/watch?v=xfO1ve    Family Policy Institute of
                                                                                                                              Fs6Ho                         Washington
 8   7 Reasons Why I Love Men - Masculinity Is Not Toxic                                      9/29/2021     https://www.youtube.com/watch?v=3nivLP3
                                                                                                                               yo-E                         Céline Remy
 9   5 Stars!: Why Dave Chappelle's New Netflix Special Came Right On Time                    9/29/2021     https://www.youtube.com/watch?v=oUXnC           Nicole's View
                                                                                                                            6CL20I
10   Similar YouTube videos not restricted
     10 Celebs Who Defended Johnny Depp Against Amber Heard! (Emilia Clarke, Elon             9/29/2021     https://www.youtube.com/watch?v=fiMHnc          Trendy Vert
     Musk, Jason Momoa)                                                                                                      cBJC0
11   Alyssa Milano explains silence on Joe Biden allegation                                   9/29/2021     https://www.youtube.com/watch?v=tcNx_n          Radio Andy
                                                                                                                             D6Bi4
12
     Halle Bailey & The New Little Mermaid Casting "Controversy"                              9/24/2021     https://www.youtube.com/watch?v=iTsgfpO         Nicole's View
13                                                                                                                           C7JM
     Similar YouTube videos not restricted
14   Halle Bailey's casting as Ariel prompts conversation about race l Nightline              9/24/2021     https://www.youtube.com/watch?v=nDXfNL           ABC News
                                                                                                                            XRGYw
     George Carlin on the "Seven Dirty Words" - EMMYTVLEGENDS.ORG                             9/24/2021     https://www.youtube.com/watch?v=rMyDv     FoundationINTERVIEWS
15                                                                                                                       qnwIm4&t=3s
     I'M TRAPPED IN A HOLIDAY NIGHTMARE!! | Helliday Limbo (MicroHorrorArcade)                9/24/2021     https://www.youtube.com/watch?v=YcScpg        TheGameSalmon
16                                                                                                                          9kDMk

     CLIENT - Andrew Hepkins
17   New Years Message to the Light Workers                                                   9/24/2021     https://www.youtube.com/watch?v=1H5ujV        Dru Story News
                                                                                                                             GqT6I
18   Similar YouTube videos not restricted
     Johnny Depp's Friends Reveal How Amber Heard Destroyed Johnny Depp                       9/24/2021     https://www.youtube.com/watch?v=q1xhgd           Film Streak
                                                                                                                              6F_j4
19   Fake News. It's Your Fault. | Christina Nicholson | TEDxBocaRaton                        9/24/2021     https://www.youtube.com/watch?v=tRPDw            TEDx Talks
                                                                                                                         SSjdOM&t=181s
     Real Time with Bill Maher: The Cosby Controversy (HBO)                                   9/24/2021     https://www.youtube.com/watch?v=5a9eEA    Real Time with Bill Maher
20                                                                                                                            BUIvo
     Sean Penn Talks His TV Debut, Criticizes #MeToo Movement | TODAY                         9/24/2021     https://www.youtube.com/watch?v=PjpO4h             TODAY
21                                                                                                                            c6Hiw
     Michael Jackson Accusers’ Stories Questioned                                             9/24/2021     https://www.youtube.com/watch?v=v12T99           ET Canada
                                                                                                                          nhopI&t=13s
22
     Anthony Joshua's Redemption | The Responsibility of Success                              9/24/2021     https://www.youtube.com/watch?v=68lsRza       Dru Story News
23                                                                                                                           Rb4Y
     Similar YouTube videos not restricted
     American Delante 'Tiger' Johnson roars into welterweight quarters | Tokyo Olympics |     9/24/2021     https://www.youtube.com/watch?v=sbY98u           NBC Sports
24   NBC Sports                                                                                                              A20NY
     10-Year-Old Female Boxing PRODIGY                                                        9/24/2021     https://www.youtube.com/watch?v=HtMdi             Whistle
25                                                                                                                           Nrsg00


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 1   Video                                                                               Date Reviewed                    Link                            Channel
     Dear Gillette & America: "Toxic Masculinity" Doesn't Exist                            9/29/2021     https://www.youtube.com/watch?v=N0xz-          Dru Story News
                                                                                                                         h10A-I
 2   Similar YouTube videos not restricted
     Jordan Peterson- Masculinity is Not Toxic Stop Blaming Men for Everything             9/29/2021     https://www.youtube.com/watch?v=n6ZRu6         BEND REALITY
 3                                                                                                                         Fbfcc
     Jordan Peterson Debates A Woman On Toxic Masculinity                                  9/29/2021     https://www.youtube.com/watch?v=XOlMO              Crysta
                                                                                                                          xhIb7w
 4   Masculinity Is Not Toxic. It's Necessary.                                             9/29/2021     https://www.youtube.com/watch?v=vXeMs        Turning Point USA
                                                                                                                         WHPZHA
 5
     Canelo Versus GGG | Who Wins And Why                                                  9/24/2021     https://www.youtube.com/watch?v=bb84LE         Dru Story News
                                                                                                                          lBrQU
 6   Similar YouTube videos not restricted
     Instant Karma in Boxing - Oleksandr Usyk                                              9/24/2021       https://www.youtube.com/watch?v=7l-       The World of Boxing!
 7                                                                                                                      TaLMZzZA
                                                                                                                                                     The World of Boxing!
     Democratic Dilemma: Are Black Americans Ready to #WalkAway?                           9/29/2021     https://www.youtube.com/watch?v=R1i08IL       Dru Story News
 8                                                                                                                        kzQk
     Similar YouTube videos not restricted
 9   Should the U.S. Get Rid of Political Parties?                                         9/29/2021     https://www.youtube.com/watch?v=AmTBh           The Atlantic
                                                                                                                         ClgiW8
     You're being manipulated and don't even know it | Nate Pressner | TEDxYouth@Basel     9/29/2021     https://www.youtube.com/watch?v=oKMTV            TEDx Talks
10                                                                                                                       Ru5Guk
     The Facts about Fact Checking: Crash Course Navigating Digital Information #2         9/29/2021     https://www.youtube.com/watch?v=EZsaA0          CrashCourse
                                                                                                                          w_0z0
11
     CLIENT - T-K Reyes
12   Best Denzel Washington Impression Ever - The Keu Reyes Project                        10/1/2021     https://www.youtube.com/watch?v=EZhX_            Keu Reyes
                                                                                                                         wt4JR8
     Similar YouTube videos not restricted
13   Warning live tandem breastfeeding! Breastfeeding blooper how much caffeine can I       10/1/2021    https://www.youtube.com/watch?v=QbZwH       The Famous Mommy
     safely drink?                                                                                                        Mi8Dj0
14   We Breastfeed Each Other's Kids                                                       10/1/2021     https://www.youtube.com/watch?v=4Kopeq              truly
                                                                                                                          u5pe4
     Denzel Impression                                                                     10/1/2021     https://www.youtube.com/watch?v=lW9eu         Mishka Thebaud
15                                                                                                                        ORKiz0

16   Fake News by Dino Archie                                                               10/1/2021    https://www.youtube.com/watch?v=GWMx             Keu Reyes
                                                                                                                        mADmhX0
     Similar YouTube videos not restricted
17   Kanye West Donald Trump Cold Open - SNL                                               10/1/2021     https://www.youtube.com/watch?v=4sO5-        Saturday Night Live
                                                                                                                         t3iEYY
18   Trump Tweets at Jimmy                                                                 10/1/2021     https://www.youtube.com/watch?v=Ud_-      The Tonight Show Starring
                                                                                                                        wBFe9bE                          Jimmy Fallon

19   Free Lunch - "Lick My Balls" - Music Video - Hot New Hip Hop Rap Song 2018             10/1/2021    https://www.youtube.com/watch?v=VBMQ7            Keu Reyes
                                                                                                                          a7Opis
20   Similar YouTube videos not restricted
     Sucking On Chef's Chocolate Salty Balls - SOUTH PARK                                   10/1/2021    https://www.youtube.com/watch?v=zgqlMo       South Park Studios
                                                                                                                          FpOlg
21   [South Park] 'Suck my balls!' - Sparta GYA CTE V2 Remix                                10/1/2021    https://www.youtube.com/watch?v=59Qfw              AGK89
                                                                                                                         efd02U
22   Lick lick lick my balls - Rick and morty                                               10/1/2021    https://www.youtube.com/watch?v=fiKwHj           R1ck M0rty
                                                                                                                          Rv1a4

23   CLIENT - T-O Ley
     Como hacer cortadas o heridas falsas con maquillaje paso a paso                       10/1/2021      https://www.youtube.com/watch?v=6O-               Osyley
24                                                                                                                      BXCg0p7I
     (How to make fake cuts or wounds with makeup step by step)

25   Halloween Torn out FAKE eye makeup tutorial                                            10/1/2021    https://www.youtube.com/watch?v=pRhQix-
                                                                                                                          8VeA                       ellimacs sfx makeup
     Easy Realistic Wound Halloween makeup tutorial                                        10/1/2021     https://www.youtube.com/watch?v=44nhQ
26                                                                                                                       48au5Q                      ellimacs sfx makeup

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 1   Video                                                                      Date Reviewed                   Link                         Channel
     Como Hacer Sangre Falsa con Ingredientes Caseros Para Halloween              10/1/2021     https://www.youtube.com/watch?v=GdlZ4L         Osyley
                                                                                                                 ETKIU
 2   (How to make fake blood with homemade ingredients for halloween)
     Similar YouTube videos not restricted
 3   ↪HOW TO MAKE FAKE BLOOD↩ | HALLOWEEN TUTORIAL | WE ANSWER THAT EP             10/1/2021    https://www.youtube.com/watch?v=KG996      SmellyBellyTV
     42 | SMELLYBELLYTV                                                                                         dXcB6I
     How to make fake blood for Halloween                                         10/1/2021     https://www.youtube.com/watch?v=VfSBvK        9NEWS
 4                                                                                                               edoRI

 5   DONALD TRUMP Makeup Tutorial ♡ Como Ser Donald Trump ♡ Tutorial - OSYLEY     10/1/2021     https://www.youtube.com/watch?v=b96JEA         Osyley
                                                                                                                 yqdPc
     Similar YouTube videos not restricted
 6   DONALD TRUMP MAKEUP TUTORIAL!                                                 10/1/2021    https://www.youtube.com/watch?v=ucn7K        Kat Sketch
                                                                                                                 WJcilA
 7   Donald Trump Makeup Tutorial                                                 10/1/2021     https://www.youtube.com/watch?v=X01mN    Trump The Internet
                                                                                                                ubQJx8

 8
                  108.          On January 17, 2018, Defendants testified to Congress under oath that access to all
 9
     services offered by Defendants in connection with YouTube are available to Plaintiffs, and all
10
     users, subject only to viewpoint neutral, content based rules that apply equally to all users:
11
                  Senator Cruz: Thank you Mr. Chairman. Welcome to each of the witnesses. I’d like to
12
                  start by asking each of the company representatives a simple question, which is: do you
13
                  consider your companies to be neutral public fora?
14
                  ****
15
                  Senator Cruz: I’m just looking for a yes or no whether you consider yourself to be a neutral
16
                  public forum.
17
                  Senator Cruz: Ms. Downs?
18
                  Ms. Downs: Yes, our goal is to design products for everyone, subject to our policies and the
19
                  limitations they impose on the types of content that people may share on our products.
20
                  Senator Cruz: So, you’re saying you do consider YouTube to be a neutral public forum?
21
                  Ms. Downs: Correct. We enforce our policies in a politically neutral way. Certain things
22
                  are prohibited by our Community Guidelines, which are spelled out and provided publicly
23
                  to all of our users.
24
                  ****
25
                  Ms. Downs: As I mentioned, we enforce our policies in a politically neutral way. In terms
26
                  of the specifics of Prager University, it’s a subject of ongoing litigation so I’m not free to
27
                  comment on the specifics of that case.
28

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 1               109.   Beginning in 2019, YouTube’s CEO, Susan Wojcicki, YouTube’s CEO, has taken

 2 to the airwaves over the past three years to repeatedly and unequivocally deny that Defendants

 3 discriminate against anyone when it comes to content or access restrictions to YouTube, all the

 4 while insisting that all decisions, wrong or right, are the product of good faith, viewpoint neutral,

 5 and identity blind content reviews and decisions.

 6               110.   On or about June 14, 2020, Ms. Wojcicki publicly announced that YouTube was

 7 starting a $100 million fund “dedicated to amplifying and developing the voices of Black creators

 8 and artists and their stories.” In a blog post Wojcicki said, “At YouTube, we believe Black lives

 9 matter and we all need to do more to dismantle systemic racism.” See

10 https://www.marketwatch.com/story/youtube-is-starting-a-100-million-fund-for-black-creators-

11 artists-2020-06-11.

12               111.   Ms. Wojcicki’s self serving assurances notwithstanding, Defendants’ conduct

13 constitutes unlawful race discrimination. Unlike any other form of prohibited discrimination, race

14 discrimination has been outlawed in the United States since 1865, when Congress enacted §1981

15 and other civil rights statutes intended to wipe out, prohibit, and render unlawful any and all racial

16 discrimination in contracts and business.

17               112.   Defendants know and admit that they discriminate. They have admitted that since at

18 least 2017, they use content based filtering and access review tools, systems, and practices that
19 “target” African Americans and other members of protected racial classifications under the law.
20               113.   Nonetheless, Defendants repeatedly have failed to “fix” the discriminatory defects in

21 their A.I., algorithm and other filtering tool systems or to stop the “targeting” as promised.

22 Defendants continue to knowingly, intentionally, and systematically block, demonetize, and deny

23 Plaintiffs and members of the Race Discrimination Class their contractual and other legal rights to

24 access the YouTube platform based on the color of their skin or other protected racial traits, rather

25 than based on the material in videos.

26               114.   Plaintiffs are not the first to accuse Defendants of race or identity based

27 discrimination. In addition to independent researchers, Defendants’ former chief A.I. Ethicist, Dr.

28 Timnet Gebru, resigned after co-authoring research papers regarding the implicit racial and gender

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 1 biases in Defendants’ A.I. Dr. Gebru warned that Defendants collect all the data they can from the

 2 internet, so there's a risk that racist, sexist, and otherwise abusive language ends up in the training

 3 data and creates an inherent racial and gender bias in Defendants’ A.I. According to Dr. Gebru, an

 4 A.I. model trained on vast swaths of the internet won’t be attuned to the nuances of vocabulary and

 5 won’t produce or interpret language in line with new or developing cultural norms. The A.I. will

 6 also fail to capture the language and the norms of countries and peoples with less internet access,

 7 and produce a smaller linguistic online footprint. The resulting A.I. generated language is

 8 homogenized and reflects a narrow slice of the world.

 9               115.   In response to Dr. Gebru’s findings, concerns, and subsequent resignation,

10 Defendants called Dr. Gebru an “angry black woman.” But Dr. Gebru’s concerns have been

11 confirmed time and time again.

12               116.   Defendants also abuse their dual roles as content reviewers and content creators on

13 YouTube. Specifically, under the pretext of unfettered “discretion” to serve as sole “censors” of

14 content, Defendants use racial profiling to restrict the reach and access of Plaintiffs and of other

15 third party users who compete directly with Defendants and their sponsored video content for click

16 per minute (“CPM”), advertising, and other revenue stream and services on the YouTube platform.

17               117.   Instead of “fixing” the digital redlining and racial discrimination that pervades on

18 the YouTube platform, Defendants doubled down and continued their racist and identity based
19 practices because they are profitable. By utilizing unilateral control over 95% of the world’s public
20 video content, Defendants unlawfully misappropriate viewers, CPM, advertising, and other

21 revenues that rightfully belong to, or would otherwise be available to, Plaintiffs and members of the

22 Race Discrimination Class, by using discriminatory restrictions that unlawfully restrict and block

23 Plaintiffs’ content and access on the YouTube platform.

24               118.   Regardless of Defendants’ subjective motivations, Defendants are not above the

25 law. Neither the scale, size, or “ubiquity” of Defendants’ operations or their influence entitle

26 Defendants to “self-regulate” by ignoring or refusing to comply with the law, including the long

27 established prohibition on race discrimination in contract.

28

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 1               119.   Until such time as Defendants make good on their promises, representations, and

 2 obligations to “fix” this racism and compensate Plaintiffs and members of the Race Discrimination

 3 Class who are victims of Defendants’ unlawful and repugnant discriminatory conduct, Defendants

 4 will continue to engage in intentional race discrimination that violates their agreements with

 5 Plaintiffs, as well as established federal and state laws that govern the relationship between the

 6 parties.

 7               120.   Plaintiffs can wait no longer for Defendants to “fix” the problems as they promised

 8 years ago. Nor should they have to. The Defendants’ knowing use of a consumer’s, race, ethnicity

 9 or other protected identity or some other immutable personal trait to filter and deny access to

10 YouTube, is illegal digital racial profiling, redlining, and discrimination.

11               121.   The time has come for Ms. Wojcicki, and Defendants’ other senior officers, to put

12 up or shut up. If Defendants truly believe that they are engaged in good faith, viewpoint neutral

13 content regulation on YouTube, then Defendants should produce the computer code and permit an

14 expert review of that code to examine the “triggers” for review and restriction of content.

15 Defendants can then, under oath in deposition and other sworn testimony, and through other

16 discovery, explain to Plaintiffs, the Court, and the public why their prior admissions and other

17 evidence of “targeting” African Americans and members of other protected racial classifications

18 under the law, are not true.
19               122.   Defendants’ unsupported denials, or assertions that demonstrably discriminatory
20 conduct is “mistakes” or the result of a “he said, she said” misunderstanding between its employees

21 and officers, are not lawful rationales to deny Plaintiffs their day in court.

22               123.   Despite a whole lot of “telling,” Defendants have made no attempt to “show” that

23 they do not discriminate based on the race, ethnicity or other protected identity of Plaintiffs or the

24 hundreds of millions of Race Discrimination Class members who fall victim to discrimination by

25 Defendants.

26               124.   Defendants’ refusal to show they do not discriminate is mystifying, if not damning.

27 The computer code and information about how Defendants’ A.I., algorithms, filters and other

28 automated systems operate, developed and have changed substantially since Defendants purchased

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 1 YouTube in 2007. Evidence regarding those changes will determine the extent to which

 2 Defendants use A.I, algorithms, or other filtering tools to profile and discriminate against YouTube

 3 users based on their race, ethnicity or other protected identity.

 4               125.   Each time that Plaintiffs (or any other member of the public) access the YouTube

 5 user interface, Plaintiffs and Defendants execute binding contract(s) that govern the parties’

 6 respective rights and obligations on YouTube, including the TOS.

 7               B.     The Governing Agreements
 8               126.   Defendants’ acquisition of the licensing rights to 95% of the world’s public video
 9 content, along with the personal and financial information data of the 2.3 billion users who post or

10 view the content is not free or a gift to the largest and most powerful tech enterprise in the history

11 of the world. Rather, the license rights are obtained through for tangible and valuable

12 consideration: the right of the licensor or user to equal access to the YouTube platform and all of its

13 services, subject to and limited only by the viewpoint neutral application of YouTube’s content-

14 based rules.

15               127.   The contract between Plaintiffs and YouTube consists of a series of digital
16 webpages and include the TOS, which expressly incorporates by reference the YouTube

17 Community Guidelines and Google’s Privacy Policy. Defendants’ TOS designates YouTube as a

18 “passive website,” that is open to the public. Each person who “uses or visits” the YouTube
19 website or any of YouTube’s Services, agrees to be governed by the TOS, Community Guidelines
20 and Google’s Privacy Policy. Defendants’ agreement is a “take it or leave it” standardized digital

21 consumer form contract that is not subject to negotiation.

22               128.   To access the YouTube TOS, the Community Guidelines, and Google’s Privacy
23 Policy, each user must navigate a labyrinth of layers of digital webpages and websites starting with

24 the YouTube website. By clicking on a hyperlink to the TOS, the user arrives at the YouTube TOS

25 webpage. Once on the TOS webpage, the user must then click on the hyperlink to the Community

26 Guidelines and Google’s Privacy Policy (or for the 2021 TOS, the Policy, Safety and Copyright

27 Policies”).

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 1                      a.     Each of those Community Guidelines includes hyperlinks which leads to

 2 other webpages consisting of a series of “policies,” “FAQs,” “Q&As,” and “articles;” as well as,

 3 additional hyperlinks to other webpages. Identifying all of the contract terms requires a deep dive

 4 into the nested layers of hyperlinked webpages.

 5                      b.     The “Policy, Safety and Copyright Policies” webpage also includes

 6 hyperlinks which leads to other webpages consisting of a series of “policies,” “FAQs,” “Q&As,”

 7 and “articles;” as well as, additional hyperlinks to other webpages.

 8               129.   Every time that a user accesses the YouTube user interface, the user and Defendants

 9 execute a binding contract (including the TOS) that governs the Parties’ respective rights and

10 obligations on YouTube, including the TOS. To access all of YouTube’s Services, users must

11 create a YouTube account and expressly agree to the TOS, Community Guidelines and Google

12 Privacy Policy (or for the 2021 TOS, the Policy, Safety and Copyright Policies”). Defendants do

13 not provide a copy of the contract that the user executed electronically. Nor do they provide a

14 receipt or digital notice on the dates a new binding contract is entered by the user.

15               130.   Defendants do not provide users with access to individual downloadable versions of

16 the contract documents, much less a printable version of the entire agreement. To obtain a copy of

17 the contract, users can (a) take screenshots by accessing and scrolling through each operative

18 contract document; (b) scroll through each operative contract documents and use the Microsoft
19 copy function, then paste the text of each operative document into a new document; or (c) save the
20 webpages electronically, which results in the creation of multiple files for each webpage consisting

21 of text, load files and image files. This latter method, though faster at the front end, generates files

22 that include multiple duplicates of some webpages. The files then must have duplicates removed

23 and be converted to .pdf, resulting in a current agreement of 2,528 pages. Exhibit D.

24               131.   Defendants have the right to unilaterally change the TOS and documents

25 incorporated by reference into the agreements without warning or advance notice and have

26 exercised that right. Since 2010, YouTube has changed its TOS alone four times. By accessing the

27 current TOS on the YouTube website, users can find a hyperlink to the 2020 archived version of

28 the TOS (Exhibit E); the 2019 archived version of the TOS (Exhibit F); and the 2018 archived

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 1 version of the TOS (Exhibit G). The 2010 archived version of the TOS is not available on the

 2 YouTube website; however, it can be found on The Wayback Machine website (Exhibit H).

 3               132.   Defendants also reserve the right to unilaterally change the Community Guidelines

 4 and other policies without warning or advance notice; however, the archived TOS versions for

 5 2020, 2019 and 2018 contain hyperlinks to the current 2021 versions of the Community Guidelines

 6 webpages. Prior versions of the Community Guidelines and other hyperlinked webpages that are

 7 contemporaneous with the 2020, 2019, 2018 or 2010 archived TOS are not available on

 8 Defendants’ websites or on The Wayback Machine website.

 9               133.   As a result of Defendants’ use of labyrinthine online digital agreements, which

10 change frequently, and incorporate by reference layers of hyperlinked webpages to Community

11 Guidelines and Policies which also change frequently (but which are not available online), it is

12 virtually impossible for users to figure out what agreements and provisions govern their conduct

13 and content for any prior date, much less for the entire period from 2010 to present. Only

14 Defendants have electronic records that reflect the dates each user executed the operative TOS,

15 which documents were incorporated by reference by that TOS and constitutes the whole integrated

16 agreement, and what Defendants’ Community Guidelines, policies, and practices were at the time.

17 Users neither have access to a complete set of the operative agreement documents; nor could they

18 reasonably obtain a copy when they executed the agreement, or at any time thereafter.
19               134.   The agreement allows Defendants to not only collect, store, analyze, and organize
20 the personal, financial, political, and other digital data for each YouTube user, but allows

21 Defendants to use and sell that digital data to third parties on the Defendants’ platforms and on the

22 open market.

23               135.   The Defendants’ use of multiple contract documents consisting of layers of

24 webpages displaying “articles” containing “policies,” videos, “FAQs,” “Q&As,” and examples,

25 many of which must be clicked on to expand so that the text is visible, results in a set of confusing,

26 ambiguous, vague, interconnected, overlapping and sometimes inconsistent or even contradictory

27 contract provisions which purportedly govern the Parties’ respective rights and obligations. Such

28 agreements are not functionally available to the users. The users are left alone to figure out which

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 1 of Defendants’ “policies,” “FAQs,” “Q&As” and “articles” govern specific conduct and content,

 2 and what are the operative terms of the agreements are for any given date.

 3               C.     The Relevant Provisions of the Agreement
 4               136.   The TOS, Community Guidelines and Google’s Privacy Policy form a uniform
 5 consumer service contract that every one of YouTube’s 2.3 billion users must execute and agree to

 6 upon accessing the website. Each of the relevant agreements for the period 2010 to present

 7 contain:

 8                      a.        YouTube’s California choice of law clause.
 9                      b.        YouTube’s integration clause that identifies the operative agreement
10 between the Parties. Until 2021, the operative agreements included only the TOS, Community

11 Guidelines and Google’s Privacy Policy. The 2021 TOS now defines the agreement between

12 YouTube and the users as the TOS, Community Guidelines and “the Policy, Safety and Copyright

13 Policies which may be updated from time to time.” In 2021, YouTube also added language to

14 include “Advertising on YouTube Policies” for users which “provide advertising or sponsorships to

15 the Service or incorporate paid promotions in [their] content.” For the first time in 2021, YouTube

16 expressly stated that “other links or references provided in these terms are for informational use

17 only and are not part of the Agreement.”

18                      c.        YouTube’s license provisions that grant Defendants “a worldwide, non-
19 exclusive, royalty-free, sublicenseable and transferable license to use, reproduce, distribute, prepare
20 derivative works of, display and perform” any Content the user uploads “in connection with the

21 Service and YouTube’s business,” including YouTube’s right to “retain, but not display, distribute,

22 or perform, server copies of [users’] videos that have been removed or deleted.” The licenses are

23 “perpetual and irrevocable.”

24                           1.   The license includes a grant to other YouTube “users” a “non-exclusive,
25                                royalty-free license to access” content, to “reproduce, distribute, prepare
26                                derivative works, display, and perform it . . . as enabled by a feature of the
27                                Service.”
28

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 1                       2.   This license also includes the right to post and monetize Plaintiffs’ “[c]ontent

 2                            or other material” that makes Plaintiffs (i) “solely responsible for” the

 3                            content and its “consequences,” including (ii) all intellectual property rights

 4                            and restrictions on the video content, and (iii) not posting content or seeking

 5                            access to services in a manner that is “contrary to the YouTube Community

 6                            Guidelines.”

 7                  d.        YouTube’s requirement that users comply with all applicable “local, national

 8 and international laws and regulations.”

 9                  e.        YouTube’s requirement that users agree to Google’s Privacy Policy and give

10 Defendants access to their personal digital data.

11                  f.        YouTube’s prohibition against the use of “third party copyrighted material,

12 or material that is subject to other third party proprietary rights,” unless users have permission or

13 “are otherwise legally entitled to post the material.” Users’ accounts can be terminated for

14 copyright infringement. Each of the relevant TOS also expressly refers to and relies upon United

15 States copyright law and specifies a procedure for notifying Defendants of Content that constitutes

16 a copyright violation and a procedure for appealing YouTube’s removal of or limitations imposed

17 on Content on grounds of copyright violation.

18                  g.        YouTube’s requirement that all Content uploaded to the platform conform
19 with the TOS and Community Guidelines.
20                  h.        YouTube’s reservation of “the right to decide whether Content violates these

21 TOS for reasons other than copyright infringement,” including, “but not limited to, pornography,

22 obscenity, or excessive lengthy,” and that YouTube “may at any time, without prior notice and in

23 its sole discretion, remove such Content and/or terminate a user’s account for submitting such

24 material in violation of these Terms of Service.”

25                  i.        YouTube’s reservation of the “right to discontinue any aspect of the Service

26 at any time;” including the right to “suspend or stop a Service altogether;” and the “right to refuse

27 or limit [users’] access” to ads, ad accounts and to withhold ad revenue “at any time, without

28 providing a warning or prior notice.”

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 1                      j.     YouTube’s right to “modify or revise” the TOS and incorporated agreements

 2 “at any time” in its “sole discretion” without paying any additional consideration; including the

 3 right to “update” or “modify” the Community Guidelines.

 4                      k.     YouTube’s express disclaimer pf any warranty, and a statement that use of

 5 the Services “shall be at your sole risk, to the fullest extent permitted by law;” and further states

 6 that YouTube “assumes no liability or responsibility” for “personal injury or property damage, of

 7 any nature whatsoever, resulting from your access to and use of our services.”

 8                      l.     YouTube’s “limitation of liability” clause exempting YouTube from “direct,

 9 indirect, incidental, special, punitive, or consequential damages” related to use of the Services.

10               137.   None of the operative TOS includes:

11                      a.     A clause authorizing Defendants to employ A.I., algorithms, filters, or

12 automated systems that use or take into consideration information regarding personal identity (e.g.,

13 race, ethnicity or other protected identity) to filter, restrict or curate users’ accounts, channels or

14 content based on the identity of the user, creator of the or subscriber to the channel, or the viewer of

15 the content.

16                      b.     A clause immunizing Defendants from Lawsuit for any conduct, violation of

17 a statute of California or federal law, or identity based discrimination in providing services on

18 Defendants’ platforms.
19                      c.     A clause that mentions immunity under the Communications Decency Act
20 47 U.S.C. §230(c),4 much less one that authorizes Defendants to filter, restrict, or curate YouTube

21 accounts, channels or Content based on the identity of the user, the channel subscriber, or the

22 Content viewer.

23                      d.     A clause that authorizes Defendants to assert on its own behalf a right to free

24 speech, or to refrain from speech under the First Amendment to the United States Constitution or

25
     4
26  The current agreement contains two references to the Communications Decency Act, 47 U.S.C.
   §230(c) solely with respect to Content that a user views as defamatory. In two places, the
27 agreement advises users that YouTube will not make any determination regarding material that is
   defamatory or remove such Content.
28

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 1 the California State Constitution Liberty of Speech Clause in connection with granting or denying

 2 services on Defendants’ platforms or removing content that complies with Defendants’ Community

 3 Guidelines and policies.

 4               D.     Defendants’ Interpretation of the Governing Agreements
 5               138.   The TOS, including the 2021 TOS offers users access to the YouTube platform and
 6 services so long as the users “comply with this Agreement and applicable law.” According to the

 7 express TOS, users “may view or listen to Content for your personal, non-commercial use;” and

 8 “may also show YouTube videos through the embeddable YouTube player.” Nonetheless, after

 9 years of asserting that YouTube users could access Defendants’ services subject only to viewpoint

10 neutral, content based rules that apply equally to all, in the past two years, Defendants have begun

11 to assert that they have authority under the agreement with users to deny services, remove content,

12 channels and accounts of users which have fully complied with the TOS, Community Guidelines,

13 policies and rules. Faced with litigation over the denial of services, removal of content and

14 channels of various members of protected groups, Defendants have asserted that regardless of

15 whether content and channels comply with applicable Guidelines and policies, “the parties’

16 agreements allow YouTube to exclude videos from “Restricted Mode,” to decline to pair videos

17 with advertising, and to remove content from its service at its discretion.” Case No. 5:20-cv-

18 04011-LHK ECF 29 at 19:23-28.
19                      a.     “YouTube is under no obligation to host or serve Content;” and “If we
20 reasonably believe that any Content is in breach of this Agreement or may cause harm to YouTube,

21 our users, or third parties, we may remove or take down that Content in our discretion.” ECF 29 at

22 1:26-18. “The Terms of Service expressly state that YouTube reserves the right to remove content

23 from its platform in its discretion.” ECF 29 at 33:5-12.

24                      b.     The TOS “reserve[s] to YouTube the right to exclude videos from
25 “Restricted Mode” and to deem videos ineligible for monetization,” regardless of whether the

26 videos fully comply with all applicable Guidelines and policies; and authorizes them to “delete[]

27 custom thumbnails,” “delete[] subscriptions,” exclude videos “from appearing in search results,”

28

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 1 and to “review, filter and restrict Plaintiffs’ access to YouTube” based on Plaintiffs’ race and other

 2 personal identifying characteristics. See ECF 29 at 33:5-12.

 3                      c.     “YouTube is not obligated to display any advertisements alongside your

 4 videos and may determine the type and format of ads available on the YouTube Service;” and

 5 “reserve[s] ‘the right to refuse or limit your access to [Adsense] Services,’ as well as ‘the right, at

 6 [YouTube’s] discretion, to not show ads on videos and watch pages.’” ECF 29 at 33:5-12.

 7                      d.     Defendants also suggest that the TOS authorize them to use “automated

 8 software to identify content as inappropriate for advertising.” See ECF 29 at 35-12.

 9               139.   The TOS expressly states that Defendants may “discontinue or make material

10 changes to [the] Service,” but that when Defendants make such changes without notice, it is

11 because they “need to take action to improve the security and operability of [their] Service, prevent

12 abuse, or comply with legal requirements.” Any reasonable user reading the TOS, or the full

13 agreement’s 2,500+ pages of rules regarding prohibited conduct and content, would conclude that

14 under the agreement the user was promising to follow those rules and giving Defendants a license

15 to the user’s original content and permission to collect, aggregate and sell the user’s personal

16 digital data, and in exchange, Defendants were giving the user access to Defendants’ platforms and

17 services, subject only to Defendants’ legitimate needs to improve security and operability, prevent

18 abuse and comply with the law. No reasonable user who read the TOS, much less the full
19 agreement’s hyperlinked webpages, would conclude that Defendants could take the user’s license
20 and data, and then deny access to some or all of the Services unless the user violated Defendants’

21 express rules, much less deny access for reasons entirely unrelated to the users’ conduct or content,

22 such as the user’s race.

23               140.   In direct contravention to Defendants’ testimony before congress, and repeated

24 public statements to the contrary, Defendants have asserted in this Lawsuit and others, that

25 regardless of whether users fully comply with the applicable rules, under the agreement Defendants

26 can unilaterally deny access to the platform, prevent them from uploading content, prevent viewers

27 from subscribing to their channels, exclude them from earning revenue from or advertising that

28 content.

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 1               141.   If Defendants are correct in their interpretation of the agreements which they alone

 2 wrote, modified, revised, and designed so as to discourage (if not render entirely impracticable) the

 3 user from reviewing and saving a full copy of the expanded agreement, then Defendants’

 4 agreement with billions of users is void under California law because in exchange for valuable

 5 license rights and data, Defendants promise nothing and are obligated to give users nothing at all.

 6               E.     Defendants’ Material Misrepresentations
 7               142.   Defendants have represented generally to the public and specifically to YouTube
 8 users that all rules and restrictions apply equally to all users without consideration of the race,

 9 personal identity of the user, and that YouTube is a “forum” where the public can engage in

10 “freedom of expression,” to communicate and interact with other users, subject only to viewpoint

11 neutral content based filtering guidelines and rules that apply equally to all.

12               143.   On January 17, 2018, Defendants testified to Congress under oath that access to all
13 services offered by Defendants in connection with YouTube are available to Plaintiffs, and all

14 users, subject only to viewpoint neutral, content based rules that apply equally to all users,

15 affirming that Defendants are “neutral public fora” that “enforce [their] policies in a politically

16 neutral way”.

17               144.   Through 2019, YouTube’s CEO and Defendants’ senior officers continued to
18 represent and insist to the public that YouTube’s filtering, curation, regulation and restriction of
19 services is achieved solely by “viewpoint neutral” application of specific content based rules
20 applicable to actual video content and that Defendants does not use, consider, or take into account

21 the user’s race, sexual identity, political or religious association, or any other personal identity trait

22 or viewpoint of the user.

23               145.   In the summer of 2019, YouTube’s CEO Susan Wojcicki and other senior officers
24 of Defendants repeatedly publicly reaffirmed and maintained that all of YouTube’s decisions

25 regarding access to services on the platform are based on viewpoint neutral application of

26 YouTube’s content based rules that apply equally to all.

27               146.   Thus, regardless of any ambiguity the operative agreements, Defendants admit that
28 all of the agreements, Community Guidelines and Policies, and the application of those provisions,

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 1 are governed by a core and fundamental promise to users: That access to the YouTube platform

 2 and services is open and available to any member of the public who uses YouTube, subject only to

 3 viewpoint neutral, content based rules that apply equally to all.

 4               147.   Defendants’ promise governs all of a user’s content based rights and obligations

 5 associated with YouTube and all services. It applies not only to Plaintiffs and to all public users,

 6 but also to Defendants, who sponsor video content that competes directly with Plaintiffs and other

 7 public users for CPMs, viewer reach and expansion, promotion and advertising, and monetization

 8 of revenue generated by each video that is posted on the YouTube platform and/or is available

 9 through viewer subscription services.

10               148.   In or about December 2019, Defendant Google LLC merged its Terms of Service

11 for Google products and services with that of YouTube LLC for all purposes. Consequently, any

12 actions, restrictions, blocking or removals that occur on YouTube may also be used extended by

13 Defendants to services provided by Google on other platforms, including without limitation,

14 Android devices, personal Gmail, publisher advertising, confidential health record data storage and

15 access, all applications sold in Google’s Android App store, election monitoring services, public

16 health and law enforcement services search, and any and all other communication or information

17 services that Google, YouTube, or their affiliates provide to consumers or the public.

18               149.   Defendants’ representations, that access to services on the platform are based on
19 viewpoint neutral content based rules that apply equally to all are patently false given the
20 admissions of Defendants’ own employees, studies of Defendants’ conduct on the YouTube

21 platform, and experience to the contrary of YouTube users who are members of other protected

22 racial classifications under the law.

23               150.   As set forth infra, since at least 2017, Defendants have grudgingly admitted that they

24 “target” and deny access or services to Plaintiffs based, not on the video content posted by a

25 Plaintiff, but “for any reason, or no reason,” including the race, ethnicity or other protected identity

26 of YouTube content creators, viewers, and users.

27               151.   The practice of using its “discretion” to deny access to any Plaintiffs, or any user,

28 based on race, ethnicity or other protected identity, rather than materials in the content, violates and

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 1 breaches the express and implied promises set forth in YouTube’s TOS and other service or access

 2 agreements, because those agreements are governed in their entirety by California law and

 3 expressly limit the exercise of Defendants’ “discretion” to that “permitted” by law.

 4               152.   Thus, Defendants’ admissions that they are engaged in identity and viewpoint based

 5 access denials and targeting, breach the express and implied promises that discretionary access

 6 decisions must be viewpoint neutral in application and comply with all federal and state laws

 7 prohibiting discrimination in contract, including 42 U.S.C. § 1981, the Unruh Act, and §§17200, et

 8 seq. of the California Business & Professions Code.

 9               153.   Defendants’ past, present, and continuing violations of the TOS are a fundamental

10 and material breach of the trillion dollar licensing provisions by which Defendants obtained

11 perpetual” and “irrevocable” right to use, display, and monetize 95% of the public’s video content

12 that exists or has ever existed in the world, as well as the personal and proprietary data of the 2.3

13 billion people who use or access the site.

14               154.   In addition, Plaintiffs also seek a declaratory judgment either that: (a) the plain

15 language of §230(c) does not apply to racial profiling and discriminatory access restrictions which

16 are based on a person’s race, ethnicity or other protected identity, rather than based on the “online

17 material” that actually appears on YouTube; or (b) if §230(c) is construed to permit online racial,

18 identity or viewpoint based discrimination restrictions against YouTube users, §230(c) is
19 unconstitutional because it violates the First Amendment’s limits on permissive private party
20 speech regulation.

21               155.   Under the First Amendment, the United States Supreme Court in Denver Area

22 Educational Telecommuns. Consortium, Inc. v. Federal Communications Comm’n, 518 U.S. 727,

23 766-67 (1996), confirmed the obvious: a congressional law that permits a private party to regulate

24 speech is unlawful and unconstitutional unless the law (a) is applied in a viewpoint neutral manner,

25 (b) is narrowly tailored so as not to create a risk of an erroneous private veto over speech, and (c)

26 does not interfere with or otherwise alter or obstruct the parties’ existing legal relationship,

27 obligations, and rights or the enforcement of those rights and obligations in a court of law.

28

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 1               156.   Defendants’ assertion that §230(c) permits them to use a person’s race, ethnicity or

 2 other protected identity to block access to YouTube is unconstitutional because, at least as applied

 3 to this Lawsuit, §230(c) is neither (a) viewpoint neutral, (b) narrowly tailored to prevent an

 4 erroneous veto of speech by Defendants under its rules, and/or (c) it interferes with and eviscerates

 5 Defendants’ preexisting legal obligations to Plaintiffs under state and federal law, including

 6 antidiscrimination, false advertising, consumer protection, and the express and implied promises set

 7 forth in Defendants’ operative contract(s) with Plaintiffs.

 8               F.     Defendants’ Anti-Competitive, Unlawful, Deceptive And Unfair Business
                        Practices
 9
                 157.   Defendants shuffle between three conflicting and irreconcilable roles in connection
10
     with YouTube:
11
                        a.     When Defendants put on their “ISP” hat, Defendants host, review, curate,
12
     and monetize the video content of third party users who license their content, and the personal data
13
     property rights of these users, in return for providing equal access to YouTube content and services,
14
     subject only to viewpoint neutral rules that apply equally to all.
15
                        b.     When Defendants put on their “creator” hat, Defendants create videos and
16
     partner with hand picked creators to sponsor their content, and both operate and act as the largest
17
     and most powerful of YouTube users to compete directly and aggressively with Plaintiffs and other
18
     third party users for views, reach, engagements, CPM revenue, advertisers, and a host of other user
19
     based revenue streams on YouTube.
20
                        c.     When Defendants put on their “advertiser” hat, Defendants review,
21
     categorize, and classify the video content of third party users for purposes of selling advertisements
22
     on the YouTube platform in connection with individual videos and/or YouTube channels, based on
23
     demographic information in the form of Defendants’ metadata that they generate for individual
24
     videos which is gleaned from video titles and tags (posted by Plaintiffs when the individual videos
25
     are posted to the platform); Plaintiffs’ channel profiles (which were input when the channels were
26
     first created); the profiles of Plaintiffs’ subscribers (which individual subscribers input when they
27
     first registered with Defendants) and the subscribers’ video viewing histories (which Defendants
28

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 1 gather, analyze and summarize in the form of metadata), as well as the profiles of other users who

 2 view Plaintiffs’ videos (which were input when they first registered with Defendants) and the

 3 viewers’ video viewing histories (which Defendants also gather, analyze and summarize in the

 4 form of metadata). Using the enormous wealth of aggregated data Defendants have about the

 5 Plaintiffs, their subscribers and viewers, Defendants can identify, price and sell advertising space

 6 on the YouTube platform for specific targeted audiences in connection with individual videos. In

 7 this way, Defendants can identify, market and sell advertising based on the race, ethnicity or other

 8 protected identity of the YouTube users and generate revenue for Defendants, their affiliated

 9 creators, and affluent white YouTube creators, without ever reviewing any of the millions of

10 individual videos posted on the YouTube platform. In short, Defendants divvy up the video

11 content on the platform by race, ethnicity or other protected identity in order to sell advertisements

12 to third parties without regard to the actual content of videos. Moreover, Defendants fully

13 monetize those creators whose subscribers and viewers fit the “right demographic,” paying them

14 collectively millions of dollars each month regardless of whether their individual videos comply

15 with Defendants’ own Community Guidelines and TOS.

16               158.   Defendants’ multiple roles create platform wide conflicts of interest in which

17 Defendants utilize their unfettered authority to curate third party content on YouTube as a pretext

18 to impose access and content restrictions on Plaintiffs and members of the Race Discrimination
19 Class , that are not imposed on content posted or sponsored directly or derivatively by Defendants
20 or other parties with whom they contract for sponsorship.

21               159.   In the last four years, Defendants have invested in and expanded their business to

22 become the largest production and media company in the world. See

23 https://www.feedough.com/youtube-business-model-how-does-youtube-make-money/.

24               160.   Among other things, Defendants announced that “[t]he company has partnered with

25 its top content creators who wanted to charge a subscription rental or purchase fees for their content

26 and made their uploaded content as paid content which requires users to pay for a subscription or

27 purchase fees to access the content of the channel.” Furthermore, Defendants decided to partner

28 with “affiliates” whose “related product” advertisements are placed with some videos on YouTube.

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 1 These products link to the affiliate partners, who pay a commission to Defendants if their products

 2 are purchased.

 3               161.   Defendants understand that the YouTube platform has effectively surpassed its user

 4 saturation point, and that monetizing and profiting from YouTube by merely hosting content on the

 5 platform is no longer financially feasible to satisfy Defendants’ insatiable lust for revenue and

 6 profits.

 7               162.   Thus, in addition to hosting their own video channels on YouTube, Defendants have

 8 entered into lucrative preferred provider production deals with other global media companies,

 9 including PBS, MSNBC, HBO, Fox News, Breitbart, and other media and entertainment

10 conglomerates.

11               163.   Defendants have also entered the digital TV market with the advent of YouTube

12 TV. Defendants use their control over third party user content on, and access to, the YouTube

13 platform to induce consumers to purchase their TV and entertainment services by using the

14 YouTube hosting platform, user interface to that platform, and content curation powers to induce

15 consumers to use YouTube for all digital based TV or video content, including movies, music,

16 sports, and entertainment.

17               164.   Defendants compete for that public audience or viewership unfairly and unlawfully,

18 in a manner which gives their “preferred content” a competitive advantage by, among other things,
19 using their filtering tools and criteria to restrict the access and reach of the smaller third party users
20 it hosts on YouTube. Thus, under the pretext of making the site safe for their users, Defendants

21 arbitrarily, capriciously, and deceptively restrict access and audience reach to the videos of their

22 competitors on the platform, like Plaintiffs, while at the same time allowing their own content to

23 avoid those same restrictions and restraints -- even when that content violates their own guidelines.

24 In so doing, Defendants effectively clear space on the platform for content which they, or their

25 preferred users supply to better reach the platform’s 2.3 billion users, by censoring the content of

26 their competitors.

27

28

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 1               G.     Defendants’ Tool Kit For Unlawful Practices
 2               165.   Defendants utilize a series of discriminatory, anticompetitive and unlawful
 3 suppression practices and conduct to grow their profits, financial interests, and unprecedented

 4 consolidation and control over information, speech, advertising, expression, and internet

 5 viewership.

 6                      1.     Artificial Intelligence Algorithm Restrictions
 7               166.   Defendants use and abuse aggregated personal data about users’ race, ethnicity,
 8 national origin and other protected identifies that is collected by and incorporated into artificial

 9 intelligence (“A.I.”), algorithms, filters and automated systems to make decisions regarding the

10 users’ access to Defendants; platforms and services. Defendants apply their A.I., algorithms, filters

11 and automated systems, to profile, filter, curate, regulate, restrict, flag, and block content and

12 access to services on YouTube. Defendants surreptitiously collect and aggregate personal

13 information about the identities of Plaintiffs and members of the Race Discrimination Class, their

14 subscribers, and the viewers of their videos, and then generate metadata that is either embedded

15 into, appended to or associated with individual videos and channels to effectively digitally redline

16 videos, channels, and users by race, ethnicity, national origin and other protected identities in order

17 to generate demographic information for advertisers, provide a competitive advantage to

18 Defendants’ own original content and that of its favored or sponsored creators, and to provide a
19 cheap automated filter for “younger or more sensitive viewers” that avoids the costs of examining
20 the materials in individual videos uploaded to the platform. Defendants’ digital redlining allows

21 them to classify videos and channels in a way that segregates the videos and channels of African

22 American, Hispanic and other users with protected identities into isolated internet ghettoes where

23 these creators, subscribers and viewers enjoy only limited access to the platform’s audiences, and

24 cannot enjoy Defendants’ services such as monetization, advertising, searchability, custom

25 thumbnail tiles, copyright protection, effective appeals, protection from hate speech and doxing,

26 participation in “Trending,” “Up Next” or “Featured” video applications, or accurate

27 characterizations of the material in their video content.

28

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 1               167.   Defendants claim that their A.I., algorithms, filters and automated systems are

 2 viewpoint and identity neutral, and that they ensure that the “same standards apply equally to all”

 3 when it comes to the content regulation of speech on YouTube. Defendants also claim that their

 4 employees conduct “manual reviews” to supplement the automated filtering, curation, restriction

 5 and regulation of video content.

 6               168.   Even before October 2016, Defendants’ engineers began making changes to the A.I.,

 7 algorithms, filters and automated systems in order to ensure that Defendants could filter, curate and

 8 restrict videos and regulate access to video content based upon race, ethnicity, national origin or

 9 other protected identities for reasons of animus, as well as for financial gain and/or anticompetitive

10 purposes.

11               169.   Similarly, bias, animus, and discrimination towards the user’s race, ethnicity or

12 other protected identity are institutionally and culturally rampant in Defendants’ workplace and

13 employment practices. Among other things, Defendants operate and administer the automated

14 systems that generate Copyright flags, “Restricted Mode,” and monetization decisions using

15 employees, including engineers, content reviewers, and independent contractors. These people

16 work in what has been widely reported and acknowledged as a dysfunctional work environment

17 and often work outside of the United States in countries and cultural settings where discrimination

18 against Plaintiffs and members of the Race Discrimination Class is not only condoned but is deeply
19 embedded in their social mores.
20               170.   Internal emails by and between Defendants’ employees show that many employees

21 are routinely subjected to harassment, threats, blacklisting, discipline, and hazing based on their

22 race, ethnicity or other protected identity. The dysfunction and bias emanate from, and are

23 enforced at, the highest ranks of Defendants’ upper management, and drive the actions of employee

24 supervisors, coworkers, third party affiliates, and advertisers.

25               171.   Consequently, when Plaintiffs and members of the Race Discrimination Class are

26 afforded a manual employee review of content, Defendants’ employees and contractors use

27 discretionary and vague criteria during the review, resulting in restrictions to Plaintiffs’ videos

28 based on vague and undefined terms such as “mature” or “sensitive” for certain audiences, solely

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 1 because the video discusses a topic involving abbreviations like “BLM,” “KKK”; terms such as

 2 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

 3 Shootings,” “Police Brutality,” “Black Lives Matter”; names of individuals such as those killed by

 4 law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of organizations such as “Ku Klux

 5 Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and

 6 particular to the African American community, or the video’s title or tag words include these

 7 trigger words. Defendants are restricting Plaintiffs’ content about issues of importance to all

 8 Americans, purportedly to protect “younger” and “sensitive viewers,” despite the fact that the

 9 videos involved contain no hate speech, nudity, excessive profanity, drugs, alcohol, graphic

10 violence or depictions of dangerous activities, simply because the videos discuss issues important

11 to African American and Hispanic communities.

12               172.   Defendants’ digital redlining constitutes censorship, restraint of speech, and

13 discrimination based on the race, ethnicity or other protected identity of Plaintiffs and members of

14 the Race Discrimination Class, not based upon material in uploaded content which might violate a

15 narrow, neutral, objective, and specifically verifiable criteria that furthers a compelling and

16 legitimate public interest.

17               173.   Defendants’ conduct also forces Plaintiffs and members of the Race Discrimination

18 Class to self censor and to avoid not only using abbreviations like “BLM,” “KKK”; terms such as
19 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police
20 Shootings,” “Police Brutality,” “Black Lives Matter”; names of individuals such as those killed by

21 law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of organizations such as “Ku Klux

22 Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and

23 particular to the African American community in video titles and tag words, but to avoid any

24 mention of these in the video, in order to avoid having Defendants remove videos or issue a

25 “strike” against the channel, purportedly for posting “hate speech” or violating one or more of

26 Defendants’ TOS, or their innumerable Community Guidelines, policies, and rules.

27               174.   Defendants’ A.I., algorithms, filters and automated systems that incorporate

28 aggregated personal digital data reflecting users’ race, ethnicity, national original or other protected

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 1 identifies effectively silence the voices of Plaintiffs and members of the Race Discrimination Class

 2 concerning some of the most important issues and current events affecting their communities by

 3 limiting access both to the available content, and by limiting subscriber and viewer participation

 4 and support of the African American and Hispanic channels and content.

 5               175.   Because Defendants’ A.I., algorithms, filters and automated systems single out the

 6 videos of Plaintiffs and members of the Race Discrimination Class for adverse treatment (e.g.,

 7 removal, restricted access if any, and/or limited or no monetization), the Plaintiffs and members of

 8 the Race Discrimination Class cannot generate sufficient viewers or subscribers to grow their

 9 channels so as to qualify for all of the Defendants’ special programs and perks, such as YouTube

10 partnership, Channel Membership, mobile Livestreaming, or SuperChat applications, resulting in

11 the creation of a ghetto tier of YouTube creators based on their race, ethnicity, national origin or

12 other protected identity, who are doomed to create videos for very limited audiences for little to no

13 money.

14                      2.     Excluding Channels And Videos From Full Revenue Generation
15               176.   The aggregated personal data profiles reflecting race, ethnicity, national origin and

16 other protected identities are also used and relied on by Defendants’ A.I., algorithms, filters and

17 automated systems to limit the revenue which can be generated from Plaintiffs’ channels and

18 individual videos. Defendants use A.I., algorithms, filters and automated systems incorporating
19 aggregated personal digital data of users in conjunction with the metadata which Defendants create
20 and embed into, append to or associate with channels and videos, in order to prevent Plaintiffs and

21 members of the Race Discrimination Class from earning money from videos merely because the

22 channel/video metadata includes material like the abbreviations “BLM,” “KKK”; terms such as

23 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

24 Shootings,” “Police Brutality,” “Black Lives Matter”; names of individuals such as those killed by

25 law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of organizations such as “Ku Klux

26 Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other euphemisms that are known and

27 particular to the African American and Hispanic communities. Defendants do not monetize

28 Plaintiffs’ channels and videos that feature content with such material. Defendants also use the

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 1 same aggregated personal digital data or similar metadata to limit or prevent revenue generation for

 2 videos posted by Plaintiffs or members of the Race Discrimination Class, simply because the

 3 videos were created by African Americans, Hispanics or members of other races, or by other

 4 similar communities, or because the videos were posted on channels that are popular with members

 5 of Plaintiffs’ communities, or are widely viewed by those who share Plaintiffs’ race, ethnicity or

 6 other protected identities.

 7               177.   Because Defendants use aggregated personal digital data reflecting users’ race,

 8 ethnicity, national origin and/or other protected identities to generate metadata based on that

 9 aggregated data, as well as the video titles and tags to flag videos, and limit or prevent monetization

10 of videos and channels based on that aggregated data and metadata, Plaintiffs and members of the

11 Race Discrimination Class self censor and either avoid posting videos regarding issues and current

12 events that are important to their communities (e.g., videos regarding the deaths of unarmed

13 African Americans at the hands of law enforcement, healthcare providers’ refusals to test or treat

14 African Americans for the Covid-19 virus, the disparate infection, death and unemployment rates

15 experienced by African Americans and Hispanics as a result of the Covid-19 pandemic), or they

16 misspell key words like “Black,” “White,” “Race,” “Racist,” and “Racism,” or they rely on

17 euphemisms known only to the African American and Hispanic communities.

18               178.   Defendants’ conduct and digital redlining practices that are based on information
19 about race, ethnicity, national origin or other protected identities cause Plaintiffs and members of
20 the Race Discrimination Class to lose revenue which their fully compliant videos and channels

21 would otherwise have generated, as well as to lose subscribers and viewers, and the opportunity to

22 grow their channels and to qualify for full access to all of the perks that Defendants offer white

23 creators and Defendants’ preferred or sponsored creators.

24                      3.     Interfering With Individual Video Viewing
25               179.   Defendants hire individuals as employees and independent contracts who

26 “moonlight” and offer their personal services to YouTube creators as “technical consultants,”

27 “channel consultants,” or “managers.”

28

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 1                 a.      The Defendants’ moonlighting workers use their access to Defendants’

 2 platform, resources, and services to promote videos and channels belonging to the individual users

 3 who pay. Defendants’ moonlighting workers improperly work to enhance the reach, monetization,

 4 and revenues of their part time masters by promoting content over the platform; removing age gate

 5 and “Restricted Mode” restrictions on videos; removing Copyright flags or complaints for videos

 6 and channels; and removing Community Guideline and Policy violation strikes for channels.

 7                 b.      The Defendants’ moonlighting workers also can be hired to target channels

 8 and videos of other YouTube users to either hobble channel competitors, or to prevent videos and

 9 channels from acquiring viewers by applying age gate and “Restricted Mode” restrictions to videos

10 that do not qualify under Defendants’ agreement; issuing strikes for Copyright, Community

11 Guidelines or Policy violations against videos and channels that fully comply with Defendants’

12 agreement; adding metadata to videos or channels so that Defendants’ artificial algorithm

13 determines that the content does not qualify for monetization or viewing by all audiences;

14 rendering videos and channels unsearchable and/or invisible to viewers; removing viewer

15 comments from videos; removing videos from channels; reducing the numbers of views and view

16 times for individual videos and channels; and using bots to populate the comments section of

17 videos with unfavorable, derogatory or incomprehensible language and hyperlinks to other content.

18                 c.      Users have complained to the Defendants that their employees and
19 contractors are using their position and access to the platform to enhance visibility and revenue for
20 some channels and target other channels. Defendants have received multiple complaints about

21 videos and channels that fully comply with Defendants’ agreements, but nevertheless were

22 removed, restricted, or rendered unsearchable or not viewable, where Defendants themselves had

23 no record that such actions had been taken, could not explain the restrictions on the videos and

24 channels, and ultimately confirmed that the videos and channels should be fully viewable and

25 available without restriction.

26                 d.      The Defendants have also received complaints that bots are being used to

27 enhance view numbers for specific channels, to interfere with other channels.

28

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 1                      e.     Despite repeated multiple requests, Defendants have not stopped the practice

 2 of moonlighting by their employees, workers, and contractors; nor have they limited access to the

 3 Defendants’ platform to prevent moonlighting workers from using their access to the platform and

 4 services for personal gain at the expense of vulnerable users.

 5               180.   Defendants’ employees and/or independent contractors who are not moonlighting as

 6 consultants or managers also interfere with Plaintiffs’ posted videos. They (a) interrupt the video,

 7 forcing the viewer to restart the video, resulting in lost viewers, low watch times and irritated

 8 subscribers; (b) throttle the video as the viewer watches which distorts or interrupts the audio feed,

 9 and disrupts or interrupts the visual images that the viewer sees; (c) insert new audio content (e.g.,

10 noises, static, sounds such as honks, beeps, bumps, and barks) and/or visual images into the video

11 which are entirely unrelated to the decisions and choices of the channel creator, give the impression

12 that the video has low production values, and are annoying, irritating or confusing to the viewers;

13 and/or (d) prevent viewers from “liking” the video. Defendants’ interference causes viewers to

14 shorten their watch times, refrain from subscribing to Plaintiffs’ channels, and watch fewer of

15 Plaintiffs’ videos; which in turn prevent Plaintiffs from qualifying for all of the benefits which

16 Defendants offer on the YouTube platform, and reduce revenue generated by Plaintiffs’ videos and

17 channels.

18               181.   Defendants’ employees and/or independent contractors who are not moonlighting as
19 consultants or managers also interfere with Plaintiffs’ Livestream broadcasts. Livestreams are
20 videos that are posted in a streaming live format which are controlled exclusively by creators or by

21 the moderators designated and authorized by individual creators to review, edit, and remove viewer

22 comments which appear as the video progresses over time. Livestream broadcasts allow real time

23 viewer participation in discussions on YouTube channels and often involve hundreds of people all

24 making comments regarding important issues, current events, or topics. YouTube’s Livestream

25 broadcast application allows the video creator and her designated moderators to control the content

26 of the broadcast. They control the viewer participation in the comments section of the screen while

27 the Livestream is played.

28

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 1                  a.     Defendants routinely restrict viewer access to and revenue generation from

 2 videos posted by Plaintiffs and members of the Race Discrimination Class, thereby depressing

 3 subscriber and viewer numbers. Many African American channels do not generate significant

 4 income from advertising or channel membership. They must rely on other applications to generate

 5 revenue, such as Defendants’ SuperChat, and Livestream or Patreon donations. As a result,

 6 Livestream broadcasts are a primary revenue generator for Plaintiffs.

 7                  b.     Defendants regularly interfere with the Livestream broadcasts by Plaintiffs

 8 and members of the Race Discrimination Class, using either YouTube employees or independent

 9 contractors that Defendants hire. Defendants’ Livestream interference includes such tactics as: (a)

10 stopping Livestream broadcasts, and forcing the creator to restart the broadcast, resulting in lost

11 viewers, low watch times and irritated subscribers; (b) throttling (intentionally slowing)

12 broadcasting speeds during Livestream which distorts or interrupts the audio feed, and disrupts or

13 interrupts viewer comments being input to the video on Plaintiffs’ channel; (c) inserting new voice

14 content and/or visual images into the video which are entirely unrelated to the decisions and

15 choices of the channel creator and her chosen moderators, and are offensive, threatening, bullying,

16 misogynistic, racist, and/or obscene; (d) removing positive comments from viewers; and (e)

17 disconnecting individual viewers who are in the process of leaving positive comments, thereby

18 silencing viewers who would otherwise support the video or make monetary donations on the
19 Livestream broadcast.
20                  c.     Until stay at home orders for nonessential businesses were imposed in the

21 Bay Area in March of 2020, Defendants’ Livestream broadcast interference was relentless, causing

22 Plaintiffs either to suspend Livestream broadcasts, to self censor and refrain from discussing issues

23 or current events of interest to the African American community, or to conduct them at odd hours

24 without prior announcements. Defendants’ conduct in interfering with Livestream broadcasts has

25 reduced subscriber and viewer numbers for the channels of Plaintiffs and members of the Race

26 Discrimination Class, has reduced revenue generated from Livestream broadcasts and from the

27 channels overall, and has prevented the African American community from receiving information

28 about and discussing issues and current events which are important to members of that community.

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 1               182.   Notably, while stay at home orders were in place for the Bay Area, Plaintiffs were

 2 able to conduct Livestream broadcasts unmolested. However, Defendants’ interference has

 3 recommenced with the lifting of stay at home orders. Defendants’ interference is now ongoing.

 4                      4.     Misapplying “Restricted Mode”
 5               183.   Defendants also use the same or similar aggregated personal digital data and

 6 metadata reflecting race, ethnicity, national origin and other protected identities to restrict access to

 7 the full YouTube platform and related benefits by misapplying “Restricted Mode” to the Plaintiffs’

 8 videos that address or discuss issues of importance to the African American or Hispanic

 9 communities, merely because the videos have material associated with African Americans or

10 Hispanics. By incorporating aggregated personal digital data reflecting race along with the

11 metadata for individual channels and videos, Defendants apply “Restricted Mode” to tamp down

12 the voices of African Americans and Hispanics so that they do not YouTube’s full audience. As

13 Defendants’ automated systems filter channels and content, the tools encounter metadata regarding

14 race, ethnicity, national origin and/or other protected identities which triggers the application of

15 “Restricted Mode.” Regardless of whether the videos fully comply with all of Defendants’

16 Community Guidelines and policies, “Restricted Mode” removes videos addressing issues of

17 importance to the African American and Hispanic communities so that they never reach “younger”

18 or “sensitive” viewers. Thus, children with parents who desire to avoid exposure to drugs, alcohol,
19 sexual content, excessive profanity, nudity or graphic violence pornography, are deprived of access
20 to videos discussing police abuses, white supremacists and efforts to combat the Ku Klux Klan.

21 “Restricted Mode” affects tens of millions of such YouTube users every single day.

22               184.   According to Alice Wu, a Senior Manager of Trust & Safety at YouTube, LLC,

23 about 1.5 percent of YouTube’s daily views (or approximately 75 million of the nearly 5 billion

24 views every single day) come from people who have activated Defendants’ “Restricted Mode.”

25 Defendants restrict and demonetize Plaintiffs’ videos, despite the fact that the videos do not contain

26 material that violates the TOS, Community Guidelines, the Policy, Copyright and Safety Policies,

27 and related agreements. Defendants admit that they use flawed automated systems to apply

28

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 1 “Restricted Mode” and other restrictions because of the enormous volume of new content being

 2 uploaded to Defendants’ platforms. See Exhibit A, Wu Dec. ¶¶6-10.

 3               185.   According to Defendants, “Restricted Mode” is supposed to function much like a

 4 curtain that blocks access to the hardcore pornography section at the corner video rental shop,

 5 limiting viewer access by younger, sensitive audiences to video content that contains certain

 6 specifically enumerated “mature” aspects.

 7               186.   Defendants assert that “Restricted Mode” is a tool “to help institutions like schools

 8 as well as people who wanted to better control the content they see on YouTube with an option to

 9 choose an intentionally limited YouTube experience.” “Restricted Mode” also can be activated by

10 system administrators to restrict all access on computer networks to all users and electronic devices

11 connected to the network, including viewers who seek to access video content in public libraries,

12 schools, and other public institutions or private workplaces.

13               187.   While Defendants claim that viewers control the use of “Restricted Mode,” and can

14 choose to turn on “Restricted Mode” for their personal accounts, there is growing evidence that it

15 sweeps more broadly. In certain instances, for viewers who do not have YouTube accounts and

16 seek to view videos posted on YouTube by Plaintiffs and members of the Race Discrimination

17 Class, Defendants have applied “Restricted Mode” to prevent those viewers from accessing videos

18 through links posted on other social media platforms that are not owned or controlled by
19 Defendants, as well as to prevent YouTube users who have not activated “Restricted Mode” from
20 accessing those videos.

21               188.   According to Defendants, “Restricted Mode” can be applied to videos in three ways.

22                      a.     First, Defendants examine certain “signals” like the video’s metadata, title,

23 and tag words associated with the video. When creators post videos, Defendants invite them to

24 include certain information in the title or to input “tag” words which are purportedly designed to

25 help viewers find videos in which they are interested, such as a title reflecting the subject of the

26 video, and tag words indicating the video’s themes or content. Plaintiffs and members of the Race

27 Discrimination Class unwittingly provide Defendants with such titles and tag words along with

28 their posted videos. Defendants then generate metadata which is additional content that they insert

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 1 into, append to, or associate with the videos that are posted, which allows Defendants to apply A.I.,

 2 algorithms and other filtering tools to profile Plaintiffs, their subscribers and viewers, as well as

 3 members of the Race Discrimination Class, and to sort them by race, ethnicity or other protected

 4 identity. Defendants ultimately apply “Restricted Mode” to the otherwise compliant videos posted

 5 by Plaintiffs and members of the Race Discrimination Class, because the videos have titles or tag

 6 words that reflect issues of importance to African Americans or other racial communities, and to

 7 those who simply watch videos popular in such communities – essentially relegating these videos

 8 to a limited audience which excludes white, conservative and/or “more sensitive viewers,” simply

 9 because the videos were made by or for members of protected racial classifications under the law.

10                  b.     Second, Defendants claim that such metadata “signals” identify videos

11 which violate Defendants’ Community Guidelines or TOS. However, these “signals” are used by

12 Defendants as a pretext to segregate disfavored content using “Restricted Mode,” regardless of

13 whether the video contains material which is unsuitable for children, younger audiences or more

14 sensitive viewers. Defendants themselves create all such metadata and insert, embed or associate

15 that metadata which reflects demographic information regarding the race, ethnicity and other

16 protected identities of video creators, channel subscribers and viewers, along with individual videos

17 to create more “signals” for A.I., algorithms, filters and automated systems to utilize. Thus, in

18 certain cases, videos that would otherwise pass through the filtering process without incident, are
19 flagged for restrictions by Defendants, not because of anything in the video content, but because of
20 metadata or other “signal” information that Defendants themselves have inserted, embedded or

21 associated with the video. These signals reflect aggregated personal digital data about the race,

22 ethnicity or other protected identity of the video creator, subscribers, and viewers.

23                  c.     Third, Defendants also purportedly use “Restricted Mode” to passively

24 restrict a video if it is “flagged” as “inappropriate” by anyone in the “community” of YouTube

25 users. According to Defendants, the so called “flagged” videos are subsequently reviewed by a

26 “team” of human reviewers for “violations” of Community Guidelines and/or TOS. But flagged

27 videos are subject to Defendants’ own internal review procedures that are race, ethnicity or other

28 protected identity based, so that many flagged videos posted by Plaintiffs and members of the Race

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 1 Discrimination Class may never receive an independent content review by a human being, much

 2 less a YouTube employee.

 3               189.   As shown below, when a network administrator or an individual viewer activates

 4 “Restricted Mode,” each video subject to “Restricted Mode” appears with Defendants’ custom

 5 stamp of disapproval, including a red face including a red square bearing a foreboding facial

 6 expression, together with text showing “This video is unavailable with Restricted Mode enabled.

 7 To view this video, you will need to disable Restricted Mode.”

 8               190.   Defendants’ stamp of disapproval thus makes a specific and falsifiable

 9 misrepresentation to viewers of videos posted by Plaintiffs and members of the Race

10 Discrimination Class, that the specific video that they have attempted to access contains content

11 that is so inappropriate, shocking and outrageous, that the viewer must be protected from that

12 content and that the creator who has posted that content is responsible for having created and

13 uploaded such inappropriate, shocking, and outrageous content.

14               191.   These specific and falsifiable factual representations are by no means limited to

15 Defendants’ “Restricted Mode” stamp of disapproval. Viewers who attempt to ascertain why a

16 particular video has been subjected to “Restricted Mode” are told by Defendants that videos are

17 eliminated by “Restricted Mode” when they include specific pieces of content, including content

18 (1) talking about drug use or abuse, or drinking alcohol in videos; (2) overly detailed conversations
19 about or depictions of sex or sexual activity; (3) graphic descriptions of violence, violent acts,
20 natural disasters and tragedies, or even violence in the news; (4) videos that cover specific details

21 about events related to terrorism, war, crime, and political conflicts that resulted in death or serious

22 injury, even if no graphic imagery is shown; (5) inappropriate language, including profanity; and

23 (6) video content that is gratuitously incendiary, inflammatory, or demeaning towards an individual

24 or group.

25               192.   In reality Defendants’ definition of “Restricted Mode” is applied in a significantly

26 over inclusive and under inclusive manner, which has caused significant damage to Plaintiffs and

27 members of the Race Discrimination Class. Even the most simple examination of Plaintiffs’ videos

28 subject to “Restricted Mode” shows that Defendants are not only dead wrong in their

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 1 representations to the public concerning African American videos that Defendants subject to the

 2 “Restricted Mode” stamp of disapproval, but Defendants are hiding from the public valuable

 3 content and are doing so in bad faith.

 4               193.   To the extent that videos which have titles or tags which include “abbreviations like

 5 “BLM,” “KKK”; terms such as “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,”

 6 “Racial Profiling,” “Police Shootings,” “Police Brutality,” “Black Lives Matter”; names of

 7 individuals such as those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of

 8 organizations such as “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and/or other

 9 euphemisms that are known and particular to the African American community,” Defendants apply

10 the “Restricted Mode” filter to these videos and limit viewer access to many compliant videos

11 posted by Plaintiffs and members of the Race Discrimination Class, which contain content of

12 interest to the African American community. Defendants do so despite the fact that the videos do

13 not contain materials which discuss drug use or abuse or drinking alcohol; overly detailed

14 conversations about or depictions of sexual activity; graphic depictions of violence, violent acts;

15 natural disasters or tragedies or violence in the news; specific details about events related to

16 terrorism, war, crime and political conflicts that resulted in death or serious injury even if no

17 graphic imagery is shown; inappropriate language, including profanity, or content that is

18 gratuitously incendiary, inflammatory, or demeaning toward an individual or group.
19               194.   Defendants effectively use “Restricted Mode” as a damper to quiet the voices of
20 Plaintiffs and members of the Race Discrimination Class, from being heard by all YouTube users

21 and to limit Plaintiffs’ reach, thereby preventing them from growing their channels, increasing

22 subscribers and viewers, generating revenue, and meeting minimum participation standards to

23 qualify for Defendants’ other benefits such as YouTube partnership, channel membership, mobile

24 streaming and SuperChat.

25               195.   Once Defendants apply “Restricted Mode” to a video, Plaintiffs and members of the

26 Race Discrimination Class are then forced to spend time and effort to appeal Defendants’ decision

27 and persuade a human being to actually look at the content of the video. Even when the appeal is

28 won, Plaintiffs and members of the Race Discrimination Class lose the opportunity to generate

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 1 interest in and revenue from the new video for a period of weeks to months, and to thereby grow

 2 their channel during the period that the video is restricted. Defendants never compensate for the

 3 erroneous application of “Restricted Mode,” regardless of the length of time it takes for Defendants

 4 to actually review the restricted video content.

 5               196.   Defendants impose these restrictions to justify anticompetitive and unlawful actions

 6 intended to gain a competitive advantage for their own video content and/or to ensure that their

 7 sponsored creators, content partners, and advertisers have an unfair competitive advantage in the

 8 YouTube video market. By placing no restrictions on the monetization of their own videos or those

 9 of Defendants’ sponsored creators, content partners and preferred advertisers, Defendants gain a

10 competitive advantage by restricting the financial reach of Plaintiffs and other disfavored users,

11 while simultaneously ensuring that their own video content (and those of their sponsored creators,

12 content partners and preferred advertisers) are not subjected to the same (or any) advertising

13 restrictions.

14               197.   Defendants also impose these restrictions to facilitate their advertising practices,

15 whereby they profile videos by the race, ethnicity or other protected identities of creators,

16 subscribers and viewers so as to identify the videos with the most valuable demographics which

17 command the highest prices from most advertisers, without regard to whether there are any

18 advertisers that are willing to purchase spots associated with videos posted by Plaintiffs and
19 members of the Race Discrimination Class.
20               198.   Whether Defendants are using identity based A.I., algorithms, filters and automated

21 systems that reflect race, for profit in order to save money on curation and filtering costs, or to

22 appease racist advertisers and preferred content creators, make no difference. Defendants’ use of

23 race to determine access and service restrictions violates the TOS, as well as long standing rules

24 and law that prohibit disparate treatment of Plaintiffs and members of the Race Discrimination

25 Class, based on race, ethnicity or other protected identities. See Wu Dec. para. 9-16.

26               199.   Defendants’ actual practices unlawfully provide Defendants with monopoly power

27 over the video posting and viewership market, the video advertising market, and the ability to

28 manipulate, bully, and falsely denigrate legitimate YouTube users, like Plaintiffs and members of

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 1 the Race Discrimination Class, by subjectively designating their speech as “inappropriate,” because

 2 Defendants do not like or agree with the speakers’ race, identity or point of view, or because

 3 Defendants are too cheap to actually review the videos posted to the platform, and desire to rely on

 4 inexpensive A.I., algorithms, and other filtering tools for purposes of selling advertisements and

 5 curating videos on YouTube.

 6                      5.     Shadow Banning Channels And Videos
 7               200.   Defendants treat videos that present or discuss serious issues and current events that

 8 are important to the communities of the Plaintiffs and members of the Race Discrimination Class as

 9 “not family friendly,” and as if they are inappropriate for all audiences simply because they were

10 uploaded by creators whose race, ethnicity or other protected identity is disfavored by Defendants.

11 Defendants are not merely removing, restricting access to or limiting monetization for videos

12 posted by Plaintiffs and a members of the Race Discrimination Class, Defendants are making those

13 videos, and some channels invisible on the YouTube platform, despite the fact that the videos

14 comply with all of Defendants’ Community Guidelines and TOS.

15               201.   In shadow banning videos, Defendants effectively prevent Plaintiffs’ subscribers

16 and potential viewers from locating new videos which discuss issues and current events that are

17 followed by the African American community. By excluding such videos from the YouTube

18 search function on the platform, Defendants are preventing creators like Plaintiffs and members of
19 the Race Discrimination Class from growing their channels by securing the necessary subscriber
20 and viewer numbers required to qualify for Defendants’ special programs and perks, such as

21 YouTube partnership, channel membership, mobile Livestreaming, or SuperChat applications, and

22 are preventing them from generating revenue from their videos.

23               202.   Defendants also shadow ban entire channels belonging to Plaintiffs and members of

24 the Race Discrimination Class by making the channels unsearchable on the platform. Without a

25 link to Plaintiffs’ channels, subscribers and viewers cannot access Plaintiffs’ videos. As a result of

26 shadow banning of channels, many Plaintiffs and members of the Race Discrimination Class can

27 only attract new subscribers or viewers by “word of mouth,” and referrals from other members of

28

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 1 their community, or from other social media platforms where links to Plaintiffs’ YouTube channels

 2 are posted.

 3               203.   Defendants’ shadow bans not only impair the growth of channels belonging to, and

 4 revenue generated from videos posted by, Plaintiffs and members of the Race Discrimination

 5 Class, Defendants’ conduct both effectively reduces the audience for videos posted by Plaintiffs

 6 and muffles their voices across the platform, making it impossible for new YouTube viewers to

 7 locate video content that is important to their specific communities. As a result, Plaintiffs, as

 8 African American creators, and members of the Race Discrimination Class, cannot expand

 9 subscriber and viewer numbers sufficient to grow their channels and fully enjoy full access to the

10 YouTube platform and all of the benefits Defendants offer others.

11                      6.     Delegating Content Review And Regulation To Racists And White
                               Supremacists
12
                 204.   Defendants have configured the YouTube platform to allow any user to “report” or
13
     “flag” videos which they believe violate the Google/YouTube Community Guidelines or TOS, e.g.,
14
     video content which contains hate speech, nudity, profanity, graphic depictions of sexuality or
15
     violence, disparaging remarks, content which violates existing copyrights or trademarks held by
16
     persons other than the creator posting the video, or descriptions of violent events and scenes which
17
     may disturb younger or more sensitive viewers. Defendants not only allow users to “report” or
18
     “flag” videos posted by Plaintiffs and members of the Race Discrimination Class, Defendants take
19
     action based on those third party reports and flags and proceed to remove, restrict, and/or
20
     demonetize individual videos; issue community “strikes”; and to suspend, and/or remove whole
21
     channels of Plaintiffs and members of the Race Discrimination Class. Defendants do so without
22
     first verifying that the flagged video violates a specific Community Guideline or Term of Service.
23
     In effect, Defendants deputize YouTube users, including racists, sexists, white supremacists, Neo-
24
     Nazis, and other hate speech trolls. These delegated and affiliated users exercise censorship
25
     powers on YouTube, including reporting, flagging, bullying and threatening creators whenever
26
     Plaintiffs and members of the Race Discrimination Class post content with which Defendants’
27
     racist agents disagree.
28

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 1               205.   In allowing third parties to wield the power to report or flag a video as violating the

 2 applicable Community Guidelines and TOS, Defendants have deprived Plaintiffs and members of

 3 the Race Discrimination Class of equal access to the YouTube platform and all of the services

 4 Defendants make available to others by creating the presumption that any flagged video does in

 5 fact contain content which violates the Community Guidelines and/or TOS. After being flagged by

 6 a third party, Plaintiffs and members of the Race Discrimination Class are forced to spend

 7 substantial time and effort to appeal the flag in order to restore the channel/video, remove the

 8 restriction, or obtain full monetization for channel/video, which, but for the flag, would have

 9 reached a wide audience and would have generated substantial revenue.

10               206.   Because of Defendants’ conduct and practices, trolls regularly appear on the

11 channels of Plaintiffs and members of the Race Discrimination Class, threaten to shut down the

12 channels – and within a few days, the trolls succeed in getting Defendants to suspend the channels.

13 As a result, Plaintiffs and members of the Race Discrimination Class engage in self censorship and

14 avoid posting videos that address issues of historical, political, cultural, and educational

15 significance to their communities. Recently, Plaintiffs and members of the Race Discrimination

16 Class have avoided timely topics such as the denial of Covid-19 testing and treatment to African

17 American healthcare workers, the inability of African American businesses to apply for CARE

18 loans, and the disparate enforcement of stay at home orders against African American
19 communities. Defendants’ conduct therefore encourages and enables the agendas of racists, white
20 supremacists, and Neo-Nazis on YouTube, by silencing the voices of Plaintiffs and members of the

21 Race Discrimination Class.

22                      7.     Viewer Muzzling
23               207.   Defendants also use aggregated personal data and other identity based classification

24 to target African American and Hispanic viewers in order to discourage viewer engagement, video

25 reach and the likelihood of new content going viral on the platform. Because Defendants’

26 aggregate personal data across their platforms and use that personal data to identify users by race,

27 as well as other personal identifying characteristics, Defendants can and do target viewers by race

28 and interfere with their engagement with creators.

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 1               208.   Rather than allowing creators to moderate the viewer comments to videos on their

 2 channels, for viewers who are African American and Hispanic, Plaintiffs have observed Defendants

 3 removing individual comments to videos in real time while the viewers are inputting them in the

 4 comments section on the screen, before the comments are complete. Defendants also prevent some

 5 African American and Hispanic viewers from making comments at all. Plaintiffs have received

 6 emails and complaints from their subscribers stating that when they attempt to input comments to

 7 Plaintiffs’ new videos, no comments appear, though Defendants have not notified these subscribers

 8 that their access to comments has been suspended or terminated, for specific channels and videos

 9 on the platform.

10               209.   In addition to unsubscribing viewers who have subscribed to the channels of African

11 American and Hispanic creators, Defendants unsubscribe African American and Hispanic viewers

12 who subscribe to the channels of other creators, so that they no longer receive notification when

13 new content is posted to their chosen channels.

14               210.   To the extent that individual viewers have requested email notifications when new

15 content is posted to their chosen subscribed channels, when African American and Hispanic

16 channel subscribers use Google’s Gmail, subscribers do not receive email notifications at all: The

17 email notices from YouTube creators to African American and Hispanic subscribers are either

18 automatically delivered to the delete folder or to the SPAM or junk email folder. African American
19 and Hispanic channel subscribers are unable to change their Gmail settings to authorize delivery of
20 their YouTube channel email notifications regarding recently posted content.

21               211.   Because Defendants’ artificial intelligence algorithm, filters and automated systems

22 determine that Plaintiffs’ channels and individual videos are not “advertiser-friendly,” and do not

23 generate revenue, Plaintiffs have turned to third party sources to generate funds on Defendants’

24 platform, such as Patreon. Plaintiffs have received communications from African American and

25 Hispanic viewers confirming that payments were made and supplying screenshots demonstrating

26 that viewers had made payments to Plaintiffs which either were delayed weeks before the funds

27 were deposited into Plaintiffs’ accounts or were never deposited.

28

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 1               212.   Defendants’ efforts to silence African American and Hispanic viewers, and to keep

 2 them from making comments on YouTube channels, prevent them from supporting and watching

 3 new content on their favorite subscribed channels, and to prevent them from financially supporting

 4 their favorite channels effectively discourages viewers from generally participating on Defendants’

 5 platform, thereby dampening the strength, vigor and diversity of opinions from the African

 6 American and Hispanic communities on YouTube; but it also specifically discourages those

 7 viewers from supporting African American and Hispanic content and channels that reflect the

 8 viewers’ own values, culture and beliefs. Defendants’ silencing tools isolate minority subscribers

 9 and creators, creating poor digital ghettoes on the platform where African Americans and Hispanics

10 must struggle to communicate with and support one another. . See Safiya Umoja Noble,

11 “Algorithms of Oppression,” Apple Books; https://books.apple.com/us/book/algorithms-of-

12 oppression/id1327926683.

13                      8.     Ad Bombing
14               213.   Because Defendants demonetize or limit monetization for many, if not most, of the

15 videos which are uploaded by Plaintiffs and all persons similarly situated, videos which Defendants

16 fully monetize constitute a rare opportunity for generating revenue. When Plaintiffs upload new

17 videos of substantial interest to the African American community and/or other English or Spanish

18 speakers throughout the world, there is a limited window of opportunity for the video to generate a
19 large number of views and go “viral.” Defendants have a new tool to dampen and reduce views for
20 new fully monetized videos: Defendants repeatedly play multiple streaming and banner ads which

21 run at intervals of every 2, 3, 4 or 5 minutes, without authorization from the YouTube creator. For

22 a video that is between 5 and 20 minutes, the constant interruption of the video flow makes it

23 difficult to watch. Defendants are inserting anywhere from 3 to 10 streaming ads, and

24 corresponding banner ads which pop up on viewers’ screens for videos under 20 minutes long.

25 Sometimes the ads are playing for a significant portion of the video’s total watching time. Ad

26 bombing annoys, irritates and alienates viewers watching videos and gives a false impression that

27 Plaintiffs are greedy and using their videos and channels to make money at the expense of their

28 subscribers and viewers. Ad bombing results in viewers exiting from videos without watching

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 1 them to the end, viewers who are dissatisfied with the video and do not “like” the video or

 2 subscribe to Plaintiffs’ channels; which in turn prevents new videos from going viral and causes

 3 lower reported view numbers for the videos and Plaintiffs’ channels, lower reported watch times,

 4 lower reported subscribers, lower revenue and fewer YouTube creators who qualify for all of the

 5 benefits that Defendants offer on the platform.

 6                      9.     Excluding Videos From “Trending” And “Up Next” Video
                               Recommendations
 7
                 214.   Defendants routinely exclude videos posted by Plaintiffs and all persons similarly
 8
     situated from YouTube’s “Trending” and “Up Next” Recommendations which appear on users’
 9
     screens when they watch videos on YouTube. While Defendants exclude the videos of Plaintiffs
10
     and members of the Race Discrimination Class, they include in the “Trending” and “Up Next”
11
     applications both reaction videos which copy, pirate, or parody the videos of Plaintiffs, and videos
12
     which violate Defendants’ Community Guidelines and/or TOS insofar as the videos contain hate
13
     speech, obscene, misogynistic, violent, threatening, or disparaging content which is directed
14
     specifically at Plaintiffs and members of the Race Discrimination Class. Defendants have
15
     continued to include these videos posted by third parties over the repeated flags, written objections,
16
     and complaints by Plaintiffs and their subscribers, and they have fully monetized many such videos
17
     despite having received flags, objections and complaints that the videos violate Defendants’
18
     Community Guidelines and TOS.
19
                        10.    “Up Next” Flooding
20
                 215.   Defendants publish on the YouTube channels of Plaintiffs and all persons similarly
21
     situated “Up Next” video recommendations that appear on viewers’ screens as they watch videos
22
     on YouTube. The recommendations appear in the form of a list of video thumbnails with the video
23
     titles and names of the channels where they are uploaded. A viewer can watch the videos that
24
     Defendants recommend simply by clicking on the thumbnail or by setting YouTube to
25
     automatically play the recommended videos.
26
                 216.   Defendants claim that the “Up Next” video recommendations are (a) similar or
27
     related to the video which is being watched; (b) from channels to which the viewer has subscribed;
28

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 1 (c) from channels which post videos that are similar to videos posted by other channels to which

 2 the viewer has subscribed; or (d) similar to other videos which the viewer has historically watched

 3 on YouTube.

 4               217.   For Plaintiffs and all persons similarly situated, Defendants regularly publish long

 5 “Up Next” lists featuring numerous individual videos that are entirely unrelated to the video being

 6 watched, are not from subscribed channels or similar ones, are dissimilar to anything watched

 7 previously by the viewer, and/or are annoying, irritating or offensive to the viewer. Defendants

 8 regularly publish “Up Next” lists recommending videos that are (a) uploaded to channels which the

 9 viewer has previously indicated that she does not want to see; (b) associated with channels of

10 creators who make racist, derogatory and/or abusive content directed at the African American

11 community; and/or (c) racist, derogatory, bullying, threatening and/or abusive to the African

12 American community.

13               218.   Defendants often publish “Up Next” video recommendations for the channels of

14 Defendants’ preferred partners such as Fox News and its affiliates, or Defendants’ own channels

15 such as YouTube Movies, in essence transforming “Up Next” into free advertising for Defendants

16 and their preferred partners at the expense of irritating, offending, and alienating the subscribers

17 and viewers of Plaintiffs and all persons similarly situated.

18               219.   Plaintiffs’ subscribers and viewers have left numerous comments complaining about
19 Defendants’ “Up Next” practices.
20               220.   Defendants’ “Up Next” flooding causes Plaintiffs’ subscribers to stop watching

21 videos, refrain from watching videos uploaded to Plaintiffs’ channels, to refrain from subscribing to

22 Plaintiffs’ channels, and even to “unsubscribe” from Plaintiffs’ channels. “Up Next” flooding

23 causes lower reported views for videos and channels, lower watch times, lower reported subscriber

24 numbers and ultimately, lower revenue paid to Plaintiffs.

25                      11.    Promoting And Profiting From Hate Speech
26               221.   Defendants regularly promote and monetize hate speech targeting Plaintiffs and all

27 persons similarly situated on the YouTube platform in direct violation of Defendants’ Community

28 Guidelines and TOS, and ignore repeated flags, reports and complaints regarding those videos.

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 1               222.   Many hate speech videos targeting the African American community on YouTube

 2 include identifying information regarding Plaintiffs and members of the Race Discrimination Class,

 3 including without limitation their telephone numbers, residential addresses, registered trademarks,

 4 original copyrighted material, or personal likenesses, in direct violation of Defendants’ Community

 5 Guidelines and TOS. Plaintiffs and other persons similarly targeted on the YouTube platform have

 6 followed Defendants’ published procedures to remove the hate speech, including flagging the

 7 videos, reporting the violations of Defendants’ Community Guidelines and Terms of Use by email,

 8 and sending follow up emails complaining of both the videos and the channels on which the videos

 9 are posted. The subscribers of Plaintiffs have reported that they too have flagged, reported and

10 written follow up emails to Defendants complaining of the hate speech videos and their related

11 channels.

12               223.   Despite having received repeated, multiple flags, reports and written complaints

13 over a period of months concerning specific hate speech videos posted by Defendants’ favored

14 partners, Defendants have refused to do anything to enforce their own published Community

15 Guidelines and TOS and have not removed the videos or suspended the channels posting such

16 videos. To this day, many hate speech videos remain posted without restriction, and remain fully

17 monetized to generate revenue for their creators, despite having content that is patently false, racist,

18 and/or sexist, violent, abusive or obscene. Some of the hate speech videos include threats of bodily
19 harm or death specifically directed at the Plaintiffs and members of the Race Discrimination Class.
20 Some hate speech videos are posted in a way that falsely indicates that it was posted by Plaintiffs.

21               224.   Among the many YouTube channels which Defendants insulate from enforcement

22 of Community Guidelines and TOS, the channels of Tommy Sotomayor and Candace Owens

23 particularly stand out for their hateful, racist, and misogynist video content. Tommy Sotomayor

24 regularly posts videos which promote violence against members of the African American

25 community. Candace Owens regularly posts videos disparaging male members of the African

26 American community. Though Plaintiffs, their subscribers and members of the Race

27 Discrimination Class repeatedly flagged, reported and complained about these two channels and

28 their posted videos, as well as their trolls who engage in abusive, bullying conduct directed to

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 1 YouTube users who mention Sotomayor or Owens, Defendants nonetheless regularly include

 2 videos posted by Sotomayor and by Owens in the “Trending” and “Up Next” recommendation

 3 applications on the screens of African American viewers. Defendants have rendered “flag proof”

 4 the channels of Sotomayor and Owens, and videos posted there.

 5               225.   Defendants’ refusal to enforce their own Community Guidelines and TOS equally to

 6 all YouTube users to eliminate hate speech videos; Defendants’ continued promotion of hate

 7 speech videos by including them in the “Trending” and “Up Next” applications; and Defendants’

 8 continued monetization of hate speech videos and profiting from the sale of advertisements in

 9 connection with such videos have substantially reduced racial diversity on the YouTube platform

10 and have endangered YouTube users like Plaintiffs and members of the Race Discrimination Class.

11 Defendants’ conduct has stifled the voices of Plaintiffs and members of the Race Discrimination

12 Class, who are unable to reach their intended audiences or to post videos which address or discuss

13 issues and current events of concern to the African American community because, while Plaintiffs’

14 compliant videos are wrongly removed, restricted and demonetized as “hate speech,” Defendants

15 protect, promote and profit from vile, vicious, hate speech, and personal attacks on Plaintiffs and

16 members of the Race Discrimination Class. Plaintiffs have received harassing telephone calls and

17 written communications, forcing them to change their telephone numbers and to move from their

18 homes. They have also lost subscribers, viewers and revenue as a result of Defendants’ failure and
19 refusal to enforce their own Community Guidelines and TOS equally on all YouTube users.
20                      12.    Interfering With, Obstructing, Ignoring And Delaying Appeals
21               226.   Following Defendants’ actions to limit monetization or demonetize a video, or to

22 remove or restrict a video, or to issue a strike against or to suspend a channel, Plaintiffs and

23 members of the Race Discrimination Class are forced to spend time and effort to appeal

24 Defendants’ decision and to persuade a human being to actually look at the otherwise compliant

25 video(s) in question. Often, appeals by Plaintiffs and members of the Race Discrimination Class

26 drag on for months before Defendants respond to the appeal. Defendants often do not even respond

27 to Plaintiffs’ appeals and either ignore them entirely or confirm the action out of hand, without

28

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 1 having a human being review the video content that was the basis for Defendants’ actions. In

 2 reality, Plaintiffs and members of the Race Discrimination Class often have no real appeal at all.

 3               227.   On those rare events when an appeal filed by Plaintiffs or members of the Race

 4 Discrimination Class is successful, after a human being actually reviews the video content in

 5 question and concludes that Defendants’ action was wrongly imposed, Defendants do not

 6 reimburse the creator for lost revenue from the video(s) or the channel during the appeal process.

 7 Defendants therefore have a perverse incentive built in to their platform regulation, filtering and

 8 curation process: by automating the application of “Restricted Mode,” the monetization limitation

 9 process, and authorizing members of the YouTube community to flag videos and channels,

10 following which Defendants automatically rely and act on those flags without first verifying

11 videos/channels are in violation of Community Guidelines or TOS. Defendants don’t have to pay

12 the affected creators for the use of their video content, and can withhold payment unless and until a

13 successful appeal occurs. At each step of the appeal process, Defendants continue to withhold

14 payment of revenue generated by the affected videos, profiting from their own improper decisions.

15 Defendants absolutely control the process: they can ignore an appeal, delay the process by weeks,

16 months or even years, or simply confirm the adverse action without ever examining the offending

17 video content. There is no oversight, no higher authority, no way to force Defendants to follow

18 their own Community Guidelines or TOS.
19               228.   Defendants routinely exclude videos posted by Plaintiffs and all persons similarly
20 situated from YouTube’s “Trending” and “Up Next” recommendations which appear on users’

21 screens when they watch videos on YouTube. While Defendants exclude the videos of Plaintiffs

22 and members of the Race Discrimination Class, they include in the “Trending” and “Up Next”

23 applications both reaction videos which copy, pirate, or parody the videos of Plaintiffs, and videos

24 which violate Defendants’ Community Guidelines and/or TOS insofar as the videos contain hate

25 speech, obscene, misogynistic, violent, threatening, or disparaging content which is directed

26 specifically at Plaintiffs and members of the Race Discrimination Class. Defendants have

27 continued to include these videos posted by third parties over the repeated flags, written objections,

28 and complaints by Plaintiffs and their subscribers, and they have fully monetized many such videos

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 1 despite having received flags, objections and complaints that the videos violate Defendants’

 2 Community Guidelines and TOS.

 3               H.     Defendants Have Violated And Continue To Violate The Rights Of Plaintiffs
                        And The Race Discrimination Class
 4
                        1.     Kimberly Carleste Newman
 5
                 229.   Plaintiff Newman has been a registered YouTube user since 2015, creating and
 6
     posting approximately 1,654 videos on her “The True Royal Family” YouTube channel; and, since
 7
     2016, creating and posting 209 videos on her “True Royal” YouTube channel. Plaintiff Newman is
 8
     an African American woman who identifies as such.
 9
                 230.   Plaintiff Newman makes and posts videos that discuss and present information
10
     regarding issues and current events which are important to the African American community, from
11
     a Black perspective. While her videos are pro Black, they are not intended solely to inform and
12
     entertain the African American community; they are suitable for members of other communities
13
     who are sympathetic to or curious about issues and current events as perceived from a Black
14
     perspective. “The True Royal Family” channel has generated approximately 1 million views
15
     annually. The “True Royal” channel has generated approximately 200,000 views annually.
16
     Notwithstanding the substantial annual viewer numbers generated by her channels, Plaintiff
17
     Newman has only generated total revenues of $2,672.68 for videos posted on “The True Royal
18
     Family,” and $123.96 for videos posted on the “True Royal” channel.
19
                 231.   Plaintiff Newman is informed and believes that Defendants have gathered extensive
20
     information in order to generate metadata and then insert, embed, append, or associate such
21
     metadata with the videos posted to “The True Royal Family,” and “True Royal.” Defendants
22
     gathered information regarding her race (Defendants know that Plaintiff Newman is an African
23
     American woman); that she makes and posts videos which have as a subject, relate to or discuss
24
     issues and current events that are important to members of the African American community; her
25
     subscribers either self-identify as members of the African American community or watch many
26
     videos posted by other creators who have self identified as members of the African American
27
     community; and many of those who view her videos either self identify as members of the African
28

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 1 American community or watch videos posted by other creators who have self-identified as

 2 members of the African American community.

 3               232.   Plaintiff Newman is informed and believes that Defendants have applied “Restricted

 4 Mode” and have limited monetization for videos she posted to “The True Royal Family” and “True

 5 Royal” because Defendants have a policy and practice of using A.I., algorithms, and other filtering

 6 tools to classify, curate, censor, and sell advertisements for YouTube videos based on metadata

 7 Defendants create from information regarding the race, ethnicity or other protected identity of

 8 creators, subscribers and viewers, rather than the content of the videos posted to the YouTube

 9 platform.

10               233.   Defendants have applied “Restricted Mode” and have limited monetization to nearly

11 all of the videos which remain visible to viewers on “The True Royal Family,” and to nearly all of

12 the videos posted to “True Royal,” despite the fact that each of the videos fully complies with all of

13 Defendants’ Community Guidelines and TOS, and contain no nudity, sexualized scenes or

14 language, graphic depictions of sex or violence, drug abuse, or alcohol consumption. Defendants

15 have applied “Restricted Mode” to most of the videos posted, and have allowed only very limited

16 monetization for some videos, without any explanation or rationale for doing so. Plaintiff Newman

17 is informed and believes that the sole reason that Defendants have acted in this fashion is that

18 Defendants discriminate against Plaintiffs and members of the Race Discrimination Class based on
19 race, e.g., the videos were created by an African American; the videos relate to issues and events of
20 concern to the African American community, and the videos are viewed by large numbers of

21 members of the African American community.

22               234.   For various periods, off and on, throughout the past five years, Defendants have

23 shadow banned both individual videos posted by Plaintiff Newman, and her channels, “The True

24 Royal Family,” and “True Royal.” Viewers have informed Plaintiff Newman that they were unable

25 to locate individual videos using YouTube search applications and terms such as “Kimberly

26 Santana,” “The True Royal Family,” “True Royal,” or using as search terms the names of

27 individual videos posted by Plaintiff Newman. Viewers have further informed Plaintiff Newman

28 that when they searched for “African American” video content, YouTube search applications

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 1 produced videos posted by Tommy Sotomayor consisting of hate speech and content which

 2 disparages members of the African American community.

 3               235.   Defendants do not provide any receipt or record of any kind when YouTubers

 4 “flag,” report, or complain about videos posted by other YouTube creators. Because of

 5 Defendants’ practices regarding such YouTube users’ efforts to obtain redress for violations of

 6 their rights, individual creators like Plaintiffs and members of the Race Discrimination Class are

 7 not able to prove that they, in fact, flagged any individual video or channel. For those users whom

 8 Defendants disfavor, the videos and channels are not automatically removed, restricted or

 9 demonetized, and the injured YouTube user cannot prove that she flagged the noncompliant or

10 infringing video or channel. Rather, disfavored users like Plaintiffs and members of the Race

11 Discrimination Class are left to make repeated written reports and complaints regarding the

12 noncompliant or infringing video or channel, often, to no effect whatsoever. Defendants merely

13 ignore those written reports and complaints too.

14               236.   Defendants flagged a video posted by Plaintiff Newman in which she personally

15 sings acapella a song written by Stevie Wonder on grounds that she was infringing the copyright

16 for the song. Plaintiff’s channel was suspended for two weeks for the purported infringement.

17               237.   In September 2019, a third party hacked “The True Royal Family” channel and

18 removed over 600 of Plaintiff Newman’s videos so that neither the public nor Plaintiff Newman
19 could view, access, or download any of the videos or portions thereof. Plaintiff Newman promptly
20 applied to Defendants, asking that they restore the videos to “The True Royal Family” channel.

21 Defendants agreed to return the videos, but have not done so.

22               238.   Months later, in 2020, rather than restoring the original 600+ videos, Defendants

23 removed another group of videos from the channel totaling more than 100 individual videos.

24 Plaintiff Newman again appealed to Defendants to restore or return all of the 700+ missing videos

25 removed from “The True Royal Family,” but Defendants have failed and refused to do so without

26 any explanation as to why the original 600+ videos have not been restored, why the additional

27 100+ videos were removed, or why they have not been restored or returned.

28

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 1               239.   Plaintiff Newman has been deprived of subscribers, viewers and revenue from the

 2 700+ missing videos for more than nine months. Plaintiff Newman has followed Defendants’

 3 online appeals process seeking the return of the missing videos as a whole, and appealing the

 4 removal of numerous individual videos. Plaintiff Newman has also filed repeat appeals for the

 5 same videos. However Defendants have not responded to her requests that they return the missing

 6 videos to her channel and have done nothing to address her ongoing injury or lost revenue.

 7               240.   Defendants have used A.I., algorithms, and filtering tools to restrict the reach of her

 8 videos and to prevent her from increasing subscriber and viewer numbers to grow her channels and

 9 generate revenue. For the past several years, the analytics page reflecting subscriber and viewer

10 numbers for “The True Royal Family” channel have remained steady, varying little from month to

11 month regardless of the number of new videos posted or the Livestream broadcasts. To avoid the

12 impact of Defendant’ A.I., algorithms and filtering tools on Defendants’ metadata generated from

13 video titles and tags, Plaintiff Newman intentionally self-censors: (a) she avoids using

14 controversial video titles; (b) she avoids using abbreviations like “BLM,” “KKK”; terms such as

15 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

16 Shootings,” “Police Brutality,” “Black Lives Matter;” names, such as those of individuals such as

17 those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of organizations such as

18 “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and euphemisms that are known and
19 particular to the African American community; and (c) she intentionally misspells terms such as
20 “Black,” “White,” “Race,” “Racism,” and “Racial Profiling,” because Defendants routinely flags

21 such terms.

22               241.   Despite her efforts to self-censor and avoid the reach of Defendants’ A.I.,

23 algorithms, and filtering tools, most of the videos posted on “The True Royal Family” and “True

24 Royal” have only limited monetization, if any, and produce next to no revenue.

25               242.   Plaintiff Newman has increasingly turned to Livestream broadcasts to generate

26 revenue from her video content. Viewers can make monetary donations to YouTube creators like

27 Plaintiffs using SuperChat during Livestream broadcasts. However, for the past two years,

28 Defendants have been interfering with Livestream broadcasts on “The True Royal Family.”

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 1 Subscribers to “The True Royal Family” have informed Plaintiff Newman that their favorable

 2 comments have been interrupted or removed, they have been booted off of the Livestream or

 3 prevented from posting comments, and they have been prevented from making donations during

 4 Livestream broadcasts. The subscribers’ experiences, as related to Plaintiff Newman, involve

 5 conduct which is the exclusive province of the channel owner or their designated moderator(s).

 6 Plaintiff Newman had not designated any moderator for the Livestream broadcasts which were the

 7 subjects of subscriber complaints. Defendants also have been throttling, interrupting and even

 8 cutting off Livestream video broadcasts in the middle of the event. Additionally, Defendants have

 9 been inserting voice and visual content which blocks out that which Plaintiff Newman is posting

10 live.

11               243.   Defendants’ conduct during “The True Royal Family” Livestream broadcasts have

12 reduced subscriber participation and interest in such events, have reduced new viewer participation,

13 and have reduced the number and size of viewer donations to “The True Royal Family” channel

14 depriving Plaintiff Newman of new subscribers and revenue.

15               244.   Plaintiff Newman has also experienced significant and extended bullying,

16 harassment, disparaging remarks and threats of physical violence on YouTube, both in the form of

17 trolls leaving comments on “The True Royal Family” channel, and in the form of abusive and

18 threating videos posted by other YouTube creators. Videos bearing Plaintiff Newman’s name, and
19 containing profanity and obscene content have been posted on the YouTube platform. A video
20 threating to kill her was also posted on the platform. Such videos violate Defendants’ Community

21 Guidelines and TOS, and should be removed as such. However, Defendants’ A.I., algorithm, and

22 other filtering tools not only failed to identify these violations of the applicable rules, but

23 Defendants failed and refused to respond to efforts by Plaintiff and her subscribers to flag the

24 videos, or to written reports and complaints regarding the disparaging and threatening videos, much

25 less to enforce Defendants’ own public standards and remove the videos or suspend the channels

26 responsible for posting the videos.

27               245.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

28 conduct, “The True Royal Family” and “True Royal” have not substantially increased their

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 1 respective subscriber and viewer numbers in recent years. Plaintiff Newman has suffered, and

 2 continues to suffer from the loss of 700+ individual videos, improper application of Defendants’

 3 A.I., algorithms, and other filtering tools resulting in the shadow banning of her videos and her

 4 channels, the misapplication of “Restricted Mode,” the improper limitations on monetization for

 5 most of her videos, violations of her intellectual property rights and personal disparagement and

 6 threats to her person. Defendants’ conduct is willful, intentional and unlawful in discriminating

 7 against Plaintiff based on race, ethnicity or other protected identity, and those of her subscribers

 8 and viewers in limiting access to the YouTube platform, related benefits, and opportunities to

 9 generate revenue.

10               246.   For the past three years, Plaintiff Newman has observed that the view numbers for

11 individual videos and the channels, “The True Royal Family” and “True Royal,” have varied by

12 100-200 per month. The subscribers rise and fall by 100-200 per month. Given the variations in

13 the numbers of videos Plaintiff Newman posts from month to month, and the large number of

14 events and issues which have arisen in certain months that generate enormous interest in the

15 African American YouTube community, Plaintiff Newman is informed and believes that the

16 information which Defendants have reported on numbers of views and subscribers are inaccurate

17 and undercount the actual number of times viewers watch videos, and subscribe to “The True

18 Royal Family,” and “True Royal.”
19               247.   As a result of the Defendants’ inaccurate reports of views and subscribers, Plaintiff
20 Newman is informed and believes that Defendants owe additional revenue to her under the TOS.

21 Plaintiff Newman cannot determine the amount that Defendants in fact owe to her based on the

22 extremely limited data reported by Defendants.

23                      2.     Lisa Cabrera
24               248.   Plaintiff Cabrera has been a registered YouTube creator since 2015 when she

25 created the “Lisa Cabrera” channel. Plaintiff Cabrera registered “Lisa Cabrera” as a trademark in

26 connection with her YouTube channel. 4,423 individual videos have been posted to the “Lisa

27 Cabrera” channel, 68 of those videos were archived by Defendants. In the past two years alone,

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 1 Plaintiff Cabrera has uploaded for public viewing in excess of 3,000 videos. The “Lisa Cabrera”

 2 videos have generated more than 20 million views, with 830,000 views in just the past 28 days.

 3               249.   Plaintiff Cabrera is a YouTube partner. She creates and posts videos about current

 4 events and news on her channels, displaying pictures and news clips in her videos with original

 5 voice over commentary and narration accompanying the visual images. Despite the substantial

 6 number of total and monthly views generated by the “Lisa Cabrera” channel, Plaintiff Cabrera has

 7 received only $25,500 total revenue from YouTube.

 8               250.   Plaintiff Cabrera has long suspected that Defendants’ reported views for the “Lisa

 9 Cabrera” channel, individual videos published on the channel, and revenue generated by the

10 channel are inaccurate and underreported. For the past three years, Plaintiff Cabrera has observed

11 that the view numbers for individual videos and the channels, “Lisa Cabrera” and “Lisa C” have

12 varied by 100-200 per month. The subscribers rise and fall by 100-200 per month. Given the

13 variations in the numbers of videos Plaintiff Cabrera posts from month to month, and the number of

14 significant events and issues regarding civil rights violations, law enforcement abuses, and disputes

15 affecting the African American community, Plaintiff Cabrera is informed and believes that the

16 information which Defendants have reported on numbers of views and subscribers are inaccurate

17 and undercount the actual number of times viewers watch videos, and subscribe to “Lisa Cabrera,

18 and “Lisa C.”
19               251.   Recently, Plaintiff Cabrera observed additional inaccuracies in Defendants’ reported
20 views for a specific video. On August 9, 2020, Plaintiff Cabrera uploaded and marked as

21 “unpublished”5 a video entitled “White Americans Are More Comfortable with Getting A Covid -

22 19 Vaccine .” She did not view the video after uploading or provide a link to the video for someone

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     “Unpublished” videos are uploaded but do not appear in the list of videos available to the public
25 on the YouTube channel. They will not appear in YouTube search results based on the title or tags

26 of the video. The channel creator can leave “unpublished” videos uploaded or can change the
   video status to “public.” When the creator changes the video status to “public,” Defendants add the
27 title of the video to the channel’s list of videos and to the platform’s videos which can be watched
   by anyone searching for the video on the YouTube platform.
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 1 else. Shortly after uploading the video, Defendants reported that the video had been viewed four

 2 times.

 3               As of 6:09 a.m. on August 10, 2020, Defendants had reported 9 views for this

 4 “unpublished” video.

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                 The next day, Defendants reported 10 views.
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                 Later that day, Defendants reported 9 views.
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20               252.   The video remains uploaded but “unpublished,” and not available to the public. To

21 the extent that the video is “unlisted,” Defendants’ report of more than “0 views” is inaccurate.

22 Furthermore, if the Defendants’ reported 10 views were accurate, and somehow people were

23 watching the “unpublished” video, later reporting 9 views suggests that the earlier reported 10

24 views was wrong. Based on these reports, Plaintiff Cabrera is informed and believes that

25 Defendants’ reports regarding numbers of views, subscribers and hours of viewing time are wrong.

26               253.   Recently, Plaintiff Cabrera has noticed that Defendants’ reported subscriber and

27 viewer numbers for “Lisa Cabrera” have markedly fallen.

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 1                a.     In June, Defendants reported that “Lisa Cabrera” added more than 5,000

 2 subscribers and 1.7 million views.

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11                b.     In July, Defendants reported that “Lisa Cabrera” added more than 8,000

12 subscribers and 1.7 million views.

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22                c.     However, in August, for the first two weeks of the month, Defendants are

23 reporting that “Lisa Cabrera” added only 392 subscribers and 513,000 views.

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11               254.   Based on the number of new videos added to “Lisa Cabrera” in August and the

12 numbers of new subscribers and viewers which “Lisa Cabrera” has generated historically, Plaintiff

13 Cabrera is informed and believes that Defendants’ reported subscriber and viewer numbers for

14 August are inaccurate at best and intentionally reduced or falsified at worst. Given the channel’s

15 historical performance and recent trends, by mid August, the channel should have no fewer than

16 4,000 new subscribers and 800,000 new views.

17               255.   Plaintiff Cabrera is informed and believes that the revenue for the channel which

18 Defendants have reported in August is inaccurate because it is based on inaccurate subscriber and
19 view numbers. Defendants solely control access to the data upon which they calculate subscriber
20 numbers, view numbers and “watch time” for “Lisa Cabrera.” Without access to this data, Plaintiff

21 Cabrera cannot calculate how much additional revenue Defendants owe to her.

22               256.   Defendants have deemed that most of the videos posted to “Lisa Cabrera” and “Lisa

23 C” are inappropriate for most of the YouTube advertisers. As a result, the vast majority of Plaintiff

24 Cabrera’s videos have no monetization or limited monetization; the videos produce little to no

25 revenue, no matter how many views or CPM the individual videos generate. Defendants further

26 reduce Plaintiff Cabrera’s revenue from her channels by discouraging viewers from watching even

27 those few monetized videos using a tool called “ad bombing” (loading multiple ads that repeatedly

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 1 interrupt the flow of the video). By way of example only, Defendants have “ad bombed” the

 2 following “Lisa Cabrera” videos in the past month:

 3                      a.     https://www.Youtube.com/watch?v=MNFjH67mW78, a video entitled “Ex-

 4 Minneapolis Officer Tou Thao Released,” which is under six minutes long: Defendants played a

 5 streaming ad and banner ad at the beginning of the video, interrupted the video three times to

 6 play four different streaming and banner ads, and played two more streaming ads at the

 7 conclusion of the video. In all, Defendants played seven streaming ads in connection with this very

 8 short video;

 9                      b.     https://www.Youtube.com/watch?v=Y1l9U6PKuOk, a video entitled

10 “Congress Plans to Move HR 40 with No Direct Payments,” which is 10 minutes long: Defendants

11 interrupted the video at 2 minutes, 4 minutes, 6 minutes and 8 minutes by playing streaming and

12 banner ads, as well as playing another 2 streaming and banner ads at the conclusion of the video –

13 In all, Defendants played 6 ads in connection with this 10 minute video; and

14                      c.     https://www.Youtube.com/watch?v=UlU0O66RWvw, a video entitled

15 “50K+ New Covid-19 Cases 3 Days in a Row Trump Says,” which is 16 minutes long: Defendants

16 interrupted the video at three minutes, seven minutes, 10 minutes and 13 minutes by playing

17 streaming and banner ads every three minutes, as well as playing another two streaming and banner

18 ads at the end of the video – In all, Defendants played six separate streaming ads in connection with
19 this 16 minute video.
20               257.   Such repeated interruptions of new videos with streaming ads played at 2, 3 or 4

21 minute intervals throughout a relatively short video discourages viewers from watching videos to

22 the end and reduces Plaintiffs’ reach and ability to generate buzz for their new videos, resulting in

23 shorter viewing hours, lower view numbers, reduced subscriptions for their channels, and prevents

24 new videos from going viral or earning full potential revenue from both ads and CPM.

25               258.   Another way that Defendants put a damper on Plaintiffs’ new videos is to delay

26 access to new videos for hours after Subscribers receive notification that the new video has posted.

27 Subscribers to “Lisa Cabrera” often have difficulty viewing new videos published by Plaintiff

28 Cabrera and must wait upwards of 12 hours for new videos to become available for viewing.

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 1 Plaintiff Cabrera’s subscribers have posted comments like: “Why are your videos saying you

 2 uploaded 5+ hours ago or sometimes 11 and 12 hours ago. . . But I get em as if you just uploaded

 3 like two hours ago or way later. This happens often lately . . . .”

 4               259.   Defendants also use the “Up Next” recommendations which appear to the right of

 5 Plaintiffs’ videos when viewed to reduce interest in Plaintiffs’ videos. For African American

 6 Plaintiffs, often the Defendants recommend in the “Up Next” column content that is entirely

 7 unrelated to either the specific video being viewed on Plaintiffs’ channels, unrelated or antithetical

 8 to the Plaintiffs’ African American YouTube community, or is Defendants’ own product or

 9 produced by one of Defendants’ preferred content partners. Plaintiff Cabrera’s subscribers have

10 posted comments on “Lisa Cabrera,” such as:

11               260.   “I am one of your Youtube subscribers and recently I was watching the story about

12 bubba [sic] Wallace finding a noose in his stall on Mainstream Media, anyways, then youtube

13 started to line my feed with unknown content creators that I am NOT subscribed to [sic] these

14 creators were basically making derogatory remarks about bubba and the noose incident . . . . . So I

15 was surprised that youtube did this type of practice in what appears to be intentional. [sic] I get

16 many suggestions when I am looking for new videos to watch on yoga, etc [sic] Youtube often

17 does not suggest any African Americans. . . . I am an avid watcher of youtube [sic] I can attest

18 that they put out feed suggestions often that are not African Americans and even put out
19 recommendations of creators that I requested not to watch, oftentimes these creators either have
20 derogatory comments about African Americans or the creator is NOT African American. . . .”

21               261.   Defendants’ practice of flooding “Up Next” with recommendations that undermine

22 Plaintiff Cabrera’s content, belittle the African American community, or irritate African American

23 subscribers to “Lisa Cabrera” irritates and even alienates channel subscribers, reduces viewing

24 time, prevents viewers from leaving favorable comments and/or subscribing and prevents new

25 videos from becoming viral and maximizing viewership and revenue.

26               262.   Defendants’ video playing services are also substandard for African American

27 channels like “Lisa Cabrera.” Often subscribers to “Lisa Cabrera” play videos that appear

28 defective with flickering images, pixelated photos, and/or slashes through text.

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25               263.   Often, subscribers to “Lisa Cabrera” Livestream videos see videos that appear in

26 slow motion, are interrupted with pauses not programmed by Plaintiff Cabrera or are cut off

27 entirely. Sometimes subscribers’ comments disappear as they are being typed on the viewer’s

28 screen; other times, entire strings of comments disappear from Livestream videos without Plaintiff

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 1 Cabrera removing them. Such substandard video services give viewers the impression that Plaintiff

 2 Cabrera’s videos are substandard and/or recorded with defective equipment; alternatively, viewers

 3 may believe that Plaintiff Cabrera is deleting their comments because of some personal animosity

 4 resulting in lower viewing times, less audience participation, fewer new subscriptions and even

 5 cancellation of existing subscriptions to the channel.

 6               264.   Plaintiff Cabrera is informed and believes that Defendants have gathered extensive

 7 information in order to generate metadata and then insert, embed, append, or associate such

 8 metadata with the videos posted to “Lisa Cabrera,” and “Lisa C.” Defendants gathered information

 9 regarding her race (Defendants know that Plaintiff Cabrera is an African American woman); that

10 she makes and posts videos which have as a subject, relate to or discuss news and current events

11 that are important to members of the African American community; her subscribers either self-

12 identify as members of the African American community or watch many videos posted by other

13 creators who have self identified as members of the African American community; and many of

14 those who view her videos either self-identify as members of the African American community or

15 watch videos posted by other creators who have self identified as members of the African

16 American community.

17               265.   Plaintiff Cabrera is informed and believes that Defendants have applied “Restricted

18 Mode” and have limited monetization for videos she posted to “Lisa Cabrera” and “Lisa C”
19 because Defendants have a policy and practice of using A.I., algorithms, and other filtering tools to
20 classify, curate, censor, and sell advertisements for YouTube videos based on metadata Defendants

21 create from information regarding the race, ethnicity or other protected identity of creators,

22 subscribers and viewers, rather than the content of the videos posted to the YouTube platform.

23               266.   Defendants have applied “Restricted Mode” and have limited monetization to most

24 of the videos on “Lisa Cabrera,” despite the fact that each of the videos fully complies with all of

25 Defendants’ Community Guidelines and TOS, and contains no nudity, sexualized scenes or

26 language, graphic depictions of sex or violence, drug abuse, or alcohol consumption. Defendants

27 have applied “Restricted Mode” to most of the videos posted, and have allowed only very limited

28 monetization for some videos, without any explanation or rationale for doing so. By way of

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 1 example, as of August 12, 2020, the following videos uploaded to “Lisa Cabrera” are no longer

 2 available for viewing with “Restricted Mode” enabled:

 3                      a.     https://www.Youtube.com/watch?v=OG4rq7QYWBg, a video entitled

 4 “Record Breaking Background Checks in the US,” with 11,997 views;

 5                      b.     https://www.Youtube.com/watch?v=nANzWSJxEn8, a video entitled

 6 “Melinda Gates Vaccines for the Black Community Comment,” with 1,059 views;

 7                      c.     https://www.Youtube.com/watch?v=m0yEkU73wDk, a video entitled

 8 “Black Voices are Growing on Social Media,” with 1,597 views; and

 9                      d.     https://www.Youtube.com/watch?v=RXOLwL41kNM, a video entitled

10 “Blacks and Hispanics now make up majority of people under age 16,” with 705 views.

11               267.   None of these videos violate any Community Guideline or TOS. Each includes

12 properly cited news sources and original commentary regarding events and information of

13 significant interest to the African American community. Until very recently, “Blacks and

14 Hispanics now make up majority of people under age 16” was both unrestricted and at least

15 partially monetized.

16               268.   Defendants have applied “Restricted Mode” to all of the comments to each of

17 Plaintiff Cabrera’s videos. They did so without notice or explanation to Plaintiff Cabrera. As a

18 result of this practice, viewers who rely on internet access supplied by public libraries, schools,
19 employers or commercial establishments which enable “Restricted Mode” for their networks, will
20 see Defendants’ automatically generated message: “Restricted Mode has hidden comments for this

21 video.” Viewers accessing Plaintiff Cabrera’s videos on a network which has enabled “Restricted

22 Mode,” will not be able to comment on these videos or to view the comments of anyone else. This

23 practice deprives viewers of the YouTube interactive community experience and discourages

24 viewers from actively participating in Plaintiff Cabrera’s YouTube community, from subscribing to

25 Plaintiff Cabrera’s videos, and from watching videos through to the end, resulting in reduced

26 viewing times, number of views and revenue for channels..

27               269.   Defendants have not applied the same Community Guidelines, TOS and standards

28 for “Restricted Mode” to white creators during the past two years. For example, Defendants

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 1 recently came under fire for their failure to apply their Community Guidelines, TOS and standards

 2 to YouTube channels “PewDiePie” or “Shane.”

 3                 a.      PewDiePie is a YouTube channel created in 2010, with 106 million

 4 subscribers, and nearly 26 billion views. Many, but not all, of PewDiePie’s videos relate to

 5 gaming. https://www.Youtube.com/watch?v=KGO99JWnZBs, a video entitled “Streamers Who

 6 Have Said the N Word,” features a series of video clips of different video gamers saying “nigger”

 7 and using profanity. This YouTube video has generated 1.6 million views. The video clips also

 8 include ads for products. The creation and posting of such a video, which highlights the word

 9 “nigger” and profanity coming out of the mouths of PewDiePie and other gamers, is gratuitous and

10 serves no purpose other than to be provocative. While the video is not viewable with “Restricted

11 Mode” enabled, it remains uploaded to the channel, generating views for PewDiePie and fueling

12 the channel’s growth.

13                 b.      Shane Dawson owns the YouTube channel “Shane.” “Shane” was created in

14 2005 and has in excess of 21 million subscribers, having generated in excess of 4.4 billion views by

15 uploading vulgar, racist, sexually explicit and exploitative videos. Had Defendants monitored the

16 content of “Shane” videos, they would have known as of 2015 that “Shane” had offensive racist

17 videos featuring black face on the channel because Shane Dawson published to the channel his

18 https://www.Youtube.com/watch?v=3jZDt5zQWsE video, entitled “My Apology (Blackface &
19 Offensive Videos),” which generated 1.8 million views.
20                         i.     Unsurprisingly, “Shane” was not removed from the platform or

21 demonetized as a channel. Rather, it was not until more than four years later, in the past two

22 months, that Defendants took any action regarding the videos uploaded on “Shane” and

23 demonetized the channel after Shane Dawson posted a second apology, his

24 https://www.Youtube.com/watch?v=ardRp2x0D_E video, entitled “Taking Accountability,” during

25 which he apologizes for posting videos that are offensive, racist, inappropriate and featuring

26 children. This second so called apology posted on June 26, 2020, generated 16.7 million views.

27 Interestingly, the video is not available with “Restricted Mode” enabled, so many of those offended

28 by “Shane” videos will not be able to view the detailed apology.

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 1                             ii.    While many, but not all, such offensive, racist, inappropriate videos

 2 were removed by Shane Dawson, most of the videos, or snippets from the videos, were reposted by

 3 other YouTube creators and can be easily viewed. By way of example only (Plaintiffs have not

 4 undertaken to identify all or even most of such reposted videos), the following Shane Dawson

 5 videos or snippets remain for viewing on Defendants’ platform:

 6                                    (1)    https://youtu.be/gbU1uJnw0Oc, a video entitled “Shane

 7 Dawson Black Face, N Word,” which generated 618,328 views and can be viewed with “Restricted

 8 Mode” enabled;

 9                                    (2)    https://youtu.be/_cPt-Hp2uyU, a video entitled “Shane

10 Dawson Jacking off to Willow Smith,” featuring a video clip of Shane Dawson feigning

11 masturbation while looking at a poster of 11 year old Willow Smith, which can be viewed with

12 “Restricted Mode” enabled;

13                                    (3)    https://youtu.be/0wd-_ZdQyQI, a video entitled “Shane

14 Dawson N word compilation,” which can be viewed but not with Restricted Mode enabled; and

15                                    (4)    https:///Youtube.com/watc?v+qGS8BTUGeYI#action=share,

16 a video entitled YouTube CEO Susan Wojcicki’s Favorite Youtuber RACIST Shane Dawson

17 sexually harassing young girls,” featuring video clips of Shane Dawson discussing “dick rings,”

18 with underage girls, and asking them to eat cocktail wieners more slowly for the “pedophiles”
19 watching the video, which cannot be viewed with “Restricted Mode” enabled.
20               270.   These videos not only remain on the platform, but like “Shane,” Defendants have

21 not removed the videos or shut down the channels upon which they are uploaded.

22                             i.     Other videos which remained viewable on “Shane” as of August 12,

23 2020 so long as “Restricted Mode” was not enabled include:

24                                    (1)    https://www.Youtube.com/watch?v=-A1HXBj7myU, a video

25 entitled “Blowjob Prank,” which generated 1.3 million views and features Shane Dawson feigning

26 fellatio on a number of friends at a dark filling station;

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 1                                    (2)     https://www.Youtube.com/watch?v=eDZrGk2F6c0, a video

 2 entitled “Sex Position Challenge,” which generated 3.1 million views and includes explicit

 3 profanity laced descriptions of a sexual position;

 4                                    (3)     https://www.Youtube.com/watch?v=0QQ4Y19wJyE, a video

 5 entitled “Biggest WTF Moments of 2015,” which generated 1.7 million views and features

 6 profanity and images of a nude Justin Bieber with very small black out boxes, a product called a

 7 “vajankle” which appears to be an anatomically correct model of female genitalia appended onto a

 8 severed ankle, and a Caucasian wearing a sombrero doing an impression of a Hispanic man;

 9                                    (4)     https://www.Youtube.com/watch?v=uk5s3DXL2EY, a video

10 entitled “Man with a Robot Penis,” which generated 1.3 million views and includes a Caucasian

11 doing a profanity laced impression of an Indian man;

12                                    (5)     https://www.Youtube.com/watch?v=6FLUNQB41wM, a

13 video entitled “Reacting to Lemon Party,” which generated 1.3 million views and features profanity

14 laced voice over commentary accompanying video clips of young girls who appear to be pre-teens

15 or early teens watching pornographic clips of elderly people.

16               271.   It remains to be seen whether Shane Dawson earned advertising revenue from these

17 videos, or whether he earned CPM revenue. Regardless, Shane Dawson grew his channel by

18 generating millions of views over the years by creating and posting these videos; something
19 African American creators are not allowed to do.
20               272.   Plaintiff Cabrera is informed and believes that the sole reason Defendants have

21 chosen to specially enforce the Community Guidelines and TOS against African American creators

22 is because Defendants discriminate against Plaintiffs and members of the Race Discrimination

23 Class based on race. Defendants do not restrict videos because of their content; they restrict the

24 videos because of the identity of the creators: Defendants remove videos, apply “Restricted Mode”

25 to videos, and demonetize videos because they are created by an African Americans, relate to

26 issues and events of concern to the African American community, or are viewed by large numbers

27 of members of the African American community.

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 1               273.   In addition to the Defendants’ efforts to reduce Plaintiff Cabrera’s reach by

 2 misapplication of “Restricted Mode,” for various periods, off and on, throughout the past five

 3 years, Defendants have shadow banned individual videos posted by Plaintiff Cabrera and her

 4 channels, “Lisa Cabrera” and “Lisa C,” in their entirety. Viewers have informed Plaintiff that they

 5 were unable to locate individual videos using YouTube search applications and terms such as “Lisa

 6 Cabrera,” “Lisa C,” or using as search terms the names of individual videos posted by Plaintiff

 7 Cabrera.

 8               274.   Because Defendants single out Plaintiffs and members of the Race Discrimination

 9 Class for rigorous enforcement of Defendants’ Community Guidelines and TOS, to avoid receiving

10 a “strike” for copyright infringement and related channel suspension, Plaintiff Cabrera is careful

11 about complying with “fair use” rules when using clips from someone else’s videos: she keeps

12 news clips short, averaging 1-4 minutes in length; she does not alter the original material in any

13 way; she always gives full credit in the video to the source of the original material of others.

14               275.   Sometimes, Plaintiff Cabrera posts identical videos both on the “Lisa Cabrera”

15 channel and the “Lisa C” back up channel to see if they generate similar viewer numbers and are

16 treated the same by Defendants’ A.I., algorithms and other filtering tools. Sometimes, the identical

17 videos posted on the “Lisa C” channel generate more viewers and revenue than those posted on the

18 “Lisa Cabrera” channel. On six different occasions, Defendants flagged the “Lisa C” channel for
19 posting “100% of the video of another YouTube creator, despite the fact that the video was created
20 by Plaintiff Cabrera, registered owner of both channels, and despite Plaintiff Cabrera’s written

21 communications to Defendants notifying them that she had given permission to “Lisa C” to repost

22 each of the videos. Ultimately, Plaintiff was forced to archive each of the six videos that

23 Defendants had flagged on the “Lisa C” channel simply because Defendants claimed that she was

24 violating her own copyright on her own channel.

25               276.   Plaintiff Cabrera registered her “Lisa Cabrera” name and an associated image as

26 trademarks. As part of the channel creation process, Defendants ask YouTube creators if they are

27 using marks which have been registered as a trademark. When she created the “Lisa Cabrera”

28 channel, Plaintiff Cabrera informed Defendants that she had registered her channel name and a

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 1 specific image used with thumbnail tiles as trademarks. Nonetheless, Defendants refused to

 2 remove videos using Plaintiff Cabrera’s registered trademark image from the channels of other

 3 YouTube creators in response to Plaintiff’s repeatedly flagging such videos, reporting the

 4 trademark infringement for the mark by the channel, and repeated unauthorized uses of the “Lisa

 5 Cabrera” name. For a period of years, Defendants have ignored Plaintiff Cabrera’s complaints and

 6 allowed other YouTube users to infringe on her trademarks with impunity, in violation of

 7 Defendants’ own Community Guidelines and TOS.

 8               277.   While Defendants refuse to protect the intellectual property of Plaintiffs and

 9 members of the Race Discrimination Class, Defendants routinely flag or remove videos, and

10 suspend channels for violating the intellectual property of others.

11               278.   Defendants removed 68 of Plaintiff Cabrera’s videos without notice, explanation or

12 justification other than suggesting the videos involved copyright infringements. Though she

13 promptly appealed each removal, she was unable to have Defendants resolve the removal of the

14 videos. Defendants permanently archived those 68 videos. Now they cannot be viewed, accessed

15 or copied by anyone. They are simply “lost” to Plaintiff Cabrera. Defendants never informed

16 Plaintiff whether someone had flagged any of these videos; who, if anyone, asserted a copyright

17 interest in any content of any individual video; what, if anything, in the video triggered the

18 Defendants’ conduct. Without such information, Plaintiff Cabrera could neither understand the
19 Defendants’ strike against any one video nor attempt to resolve the strike for any video.
20               279.   Defendants wrongly suspended the “Lisa Cabrera” channel for “hate speech” in

21 connection with a video Plaintiff posted commenting on a report by NBC regarding the purchase of

22 illicit narcotics on the dark web. Plaintiff Cabrera promptly appealed the suspension. Defendants

23 rejected the appeal and refused to actually watch the video. It was only after Plaintiff Cabrera filed

24 a case against Defendants in small claims court that Defendants finally contacted Plaintiff Cabrera

25 and informed her that the suspension was erroneous. In all, “Lisa Cabrera” was suspended and

26 fully demonetized for six weeks due to Defendants’ error.

27               280.   Following the lifting of the suspension for the “Lisa Cabrera” channel, the channel

28 remained demonetized, without the SuperChat application, and with 0 subscribers listed for the

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 1 channel. Defendants waited two additional weeks to restore monetization for individual videos,

 2 SuperChat and the prior existing subscribers for the channel. In all, Plaintiff Cabrera lost 8 weeks

 3 of revenue due to Defendants’ wrongful conduct and refusal to even look at the video content that

 4 they had improperly flagged as “hate speech.” Defendants never offered to compensate her for the

 5 lost revenue they caused.

 6               281.   Defendants demonetized many videos on the “Lisa Cabrera” channel without notice

 7 or explanation, even when the videos fully comply with Community Guidelines and TOS. For

 8 example, Defendants demonetized the following “Lisa Cabrera” fully compliant videos:

 9                      a.     https://youtu.be/LbT3ZAPj_AA, a video entitled “A Heatwave Hits Western

10 Europe”;

11                      b.     https://youtu.be/TE_Z1Y0P7Rg, a video entitled “US Birth Rates Are At A

12 32 Year Low”;

13                      c.     https://youtu.be/9i41xbByk2g; a video entitled “Documentary: China’s One

14 Child Policy and Propaganda”;

15                      d.     https://youtu.be/GFPbYHEgTqA, a video entitled “The Spanish Flu 1918

16 See The Similarities in Pictures”; and

17                      e.     https://youtu.be/pcHDdad4CIw, a video entitled “Trump’s Tariffs Are

18 Contributing to More Farmer Tragedies.”
19               282.   Defendants also deputize YouTube users (those who are not members of disfavored
20 groups like those to which Plaintiffs and members of the Race Discrimination Class belong) to flag

21 videos and channels that purportedly violate Defendants’ Community Guidelines and TOS, and

22 then automatically remove, restrict, or demonetize flagged videos, and suspend or remove flagged

23 channels, without verifying that the videos or channels in question actually violate any published

24 standard. As a result of Defendants’ abdication to anonymous YouTubers of responsibility for

25 enforcing applicable standards, Plaintiffs and members of the Race Discrimination Class are

26 subjected to racist, misogynistic, abusive trolls who target Plaintiffs’ videos and channels for

27 adverse action by Defendants.

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 1               283.   In January of this year, Defendants again suspended all monetization for videos

 2 posted to “Lisa Cabrera” following a threat made by YouTube user, Oxyman, during a Livestream

 3 broadcast on his channel where he vowed, “I’m gonna make sure [Lisa Cabrera’s] channel gets

 4 demonetized.” Plaintiff Cabrera is informed and believes that Oxyman flagged her channel

 5 purportedly for violating Defendants’ Community Guidelines or TOS. Without taking any steps to

 6 verify the flag or reported violation, Defendants then demonetized the “Lisa Cabrera” channel in

 7 January of this year without any prior notification or explanation given to Plaintiff.

 8               284.   Thereafter, Plaintiff Cabrera promptly appealed the Defendants’ action. Defendants

 9 informed her that she could reapply for access to monetization only after waiting 30 days.

10               285.   After 60 days, Defendants restored monetization for the “Lisa Cabrera” channel

11 videos without any explanation as to why they had demonetized the channel to begin with.

12 Defendants never offered to compensate her for the lost revenue they caused by blindly assuming

13 the validity of Oxyman’s flag on the “Lisa Cabrera” channel.

14               286.   To compound the financial injury to Plaintiff Cabrera, during this same period,

15 Defendants were running advertisements for the World Health Organization regarding Covid-19

16 prevention, and receiving advertising revenue at the same time that “Lisa Cabrera” was completely

17 demonetized.

18               287.   Plaintiff Cabrera has also been the subject of improper posts by YouTube creator,
19 Michael Anderson, a known white supremacist. Michael Anderson posted a false video which had
20 as a subject Plaintiff Cabrera and disparaged her personally. Mr. Anderson also posted Plaintiff’s

21 name and residential address in the comments section of his video. After recording an image of the

22 video displaying Lisa Cabrera’s name and address in the comments section; Mr. Anderson then

23 removed the video and reposted it without Lisa Cabrera’s address.

24               288.   Following Mr. Anderson’s posting of the video and Plaintiff Cabrera’s residential

25 address, numerous additional copies of the video with the address in the comments section

26 appeared on multiple additional YouTube channels.

27               289.   Plaintiff Cabrera used Defendants’ reporting tool, which sent links to the video to

28 Defendants. Defendants never responded to Plaintiff. Approximately fifty of the subscribers to the

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 1 “Lisa Cabrera” channel informed Plaintiff that they too had reported links to the video to

 2 Defendants using the reporting tool. Defendants took no apparent steps to remove the disparaging

 3 video featuring Plaintiff Cabrera’s name and false information regarding her, despite the fact that

 4 the video clearly violated Defendants’ Community Guidelines and TOS, while ignoring dozens of

 5 reports with links flagging the Michael Anderson video.

 6               290.   On another occasion, Michael Anderson made and posted another video which had

 7 Plaintiff Cabrera as the subject, and “Lisa Cabrera” in the video’s title. This video featured an

 8 image of Mr. Anderson in a car brandishing a revolver and talking about Plaintiff Cabrera. Again,

 9 Plaintiff Cabrera used Defendants’ reporting tool and sent to Defendants a link to the video which

10 communicated a clear threat of violence by Mr. Anderson against Plaintiff Cabrera. Again multiple

11 subscribers to “Lisa Cabrera” communicated to Plaintiff that they too had flagged the video using

12 Defendants’ reporting tool. And again, Defendants did absolutely nothing to remove the video, or

13 to suspend or remove Michael Anderson’s channel for violating Defendants’ Community

14 Guidelines or TOS.

15               291.   As a direct and proximate result of Defendants’ blatant and overt racial

16 discrimination and wrongful conduct, “Lisa Cabrera” has not grown in subscriber numbers, viewer

17 numbers or view times as the channel would have otherwise grown absent Defendants’ conduct.

18 Plaintiff Cabrera has been subjected to public disparagement, racist and misogynistic abuse, public
19 posting of her private contact information and overt threats of physical violence – all of which has
20 occurred with the tacit, if not overt, approval of Defendants who have repeatedly refused to enforce

21 their own Community Guidelines and TOS. Plaintiff Cabrera has suffered lost revenue directly due

22 to Defendants’ racist profiling, A.I., algorithms and other filtering tools, while her channel was

23 demonetized, while her channel was suspended, and while Defendants have held her 68 videos in

24 “archive,” and Defendants continue to misapply “Restricted Mode” and limited monetization to

25 individual videos she has posted.

26               292.   As a result of the Defendants’ inaccurate reports of views and subscribers, Plaintiff

27 Cabrera is further informed and believes that Defendants owe additional revenue to her under the

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 1 TOS. Plaintiff Cabrera cannot determine the amount that Defendants in fact owe to her based on

 2 the extremely limited data reported by Defendants.

 3                      3.     Catherine Jones
 4               293.   Plaintiff Catherine Jones (“Plaintiff Jones”) is an African American woman residing

 5 in the State of Vermont who is the creator and owner of “Cooking with Carmen Caboom,” a

 6 YouTube cooking channel for African Americans, and “Carmen Caboom,” and “Carmen Caboom

 7 Reloaded,” two YouTube channels dedicated to developing and posting both parodies and serious

 8 videos that discuss and present information regarding issues and current events which are important

 9 to the African American community.

10               294.   Plaintiff Jones created the “Carmen Caboom” channel in 2010, a backup “Carmen

11 Caboom” channel in 2014, the “Cooking with Carmen Caboom” channel in 2015, and the “Carmen

12 Caboom Reloaded,” channel in 2018. Defendants improperly removed the original “Carmen

13 Caboom” channel for purported nudity when no video posted to the channel included any nudity.

14               295.   Plaintiff Jones has followed the online appeals process YouTube provides when it

15 gives notice of channel suspensions and terminations in an attempt to recover the improperly

16 removed channels and videos that were uploaded to the channels. Plaintiff Jones has also written

17 emails and attempted to leave messages for Defendants, requesting that the removed channels and

18 videos be restored. Defendants have not responded or returned the videos.
19               296.   Plaintiff Jones is also a YouTube partner. Since creation, Plaintiff Jones’ 2014
20 “Carmen Caboom” channel has posted many videos, several of which Defendants improperly

21 removed as hate speech. The remaining videos have garnered approximately 500-1,200 views per

22 video overall and have generated approximately $500 per year.

23                      4.     Denotra Nicole Lewis
24               297.   Plaintiff Lewis has been a registered YouTube user since 2006 and has posted her

25 own videos on her YouTube channel, “Nicole’s View” since 2016. Plaintiff Lewis presently has

26 178 videos which are viewable on “Nicole’s View,” 169 of which are listed when “Restricted

27 Mode” is enabled.

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 1               298.   When Plaintiff Lewis registered “Nicole’s View,” Plaintiff Lewis answered

 2 Defendants’ online questionnaire and self identified as African American or Black. Had

 3 Defendants not requested that she provide personal information about herself for her profile,

 4 Plaintiff Lewis would not have done so. When she provided this information, she had no idea that

 5 Defendants would use information about her race to generate metadata about her, the videos she

 6 watches, and the videos she posts, or that Defendants would insert, embed or associate such

 7 metadata with videos she posts; or that Defendants would insert, embed or associate the metadata

 8 of her subscribers or her viewers based on race, ethnicity or other protected identity; or that

 9 Defendants would filter, censor or restrict her videos based on information regarding race, ethnicity

10 or other protected identity.

11               299.   Plaintiff Lewis creates and posts videos to inform and entertain the African

12 American community with respect to current events and issues of import to Black Americans. To

13 date, she has posted 748 videos to her channel, some of which Defendants have removed from the

14 platform, leaving 731 which can be watched by the public when “Restricted Mode” is not engaged.

15 While “Nicole’s View” has generated in excess of 10.6 million views since 2016, she has only

16 generated approximately $25,000 from those views.

17               300.   Plaintiff Lewis is informed and believes that Defendants have gathered extensive

18 information in order to generate metadata based on that information, and then insert, embed,
19 append, or associate such metadata with videos posted on “Nicole’s View.” Defendants gathered
20 information regarding her race (Defendants know that Plaintiff Lewis is an African American

21 woman); that she makes and posts videos which have as a subject, relate to or discuss issues and

22 current events that are important to members of the African American community; her subscribers

23 either self-identify as members of the African American community or watch many videos posted

24 by other creators who have self identified as members of the African American community; and

25 many of those who view her videos either self-identify as members of the African American

26 community or watch videos posted by other creators who have self identified as members of the

27 African American community.

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 1               301.   Plaintiff Lewis is informed and believes that Defendants have applied “Restricted

 2 Mode” and have limited monetization for the videos she posted to “Nicole’s View” because

 3 Defendants have a policy and practice of using A.I., algorithms, and other filtering tools to classify,

 4 curate, censor, and sell advertisements for YouTube videos based metadata Defendants create from

 5 information regarding the race, ethnicity or other protected identities of creators, subscribers and

 6 viewers, rather than the content of the videos.

 7               302.   Defendants routinely limit viewer access by wrongly applying “Restricted Mode”

 8 and by limiting monetization to most of the videos posted on the “Nicole’s View” channel, despite

 9 the fact that the videos fully comply with all of Defendants’ Community Guidelines and TOS, and

10 contain no nudity, sexualized scenes or language, graphic depictions of sex or violence, drug abuse,

11 or alcohol consumption.

12               303.   Plaintiff Lewis has uploaded 748 videos to the “Nicole’s View” channel, 17 of

13 which Defendants wrongly removed or archived for unknown reasons.

14               304.   Of the remaining uploaded videos, only 178 are listed under “Nicole’s View.” 167

15 of those are listed with “Restricted Mode” enabled. Only 84 of those videos listed can in fact be

16 viewed with “Restricted Mode” enabled. For example, Defendants have misapplied “Restricted

17 Mode” to the following compliant videos:

18                      a.     https://www.Youtube.com/watch?v=qZIrfp1VDRw, “Bill Cosby Granted
19 Appeal Hearing”;
20                      b.     https://www.Youtube.com/watch?v=l-75B5Z7Uek, “Nicole’s View Live:

21 Special Guest Jenny Winings from the Hit Documentary Film ‘Square One’”;

22                      c.     https://www.Youtube.com/watch?v=Z6l6esoTOqM, “Joe Jackson’s

23 Granddaughter Yasmine Jackson & What People are NOT Talking About;”

24                      d.     https://www.Youtube.com/watch?v=iYECpBVdz9w, “They Never Cared

25 About Us”;

26                      e.     https://www.Youtube.com/watch?v=M1l9hdXXs2w, “Special Guests

27 Dennae Wright & Marvelous”;

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 1                      f.     https://www.Youtube.com/watch?v=oUXnC6CL20I, “5 Stars: Why Dave

 2 Chappelle’s New Netflix . . . .”;

 3                      g.     https://www.Youtube.com/watch?v=x7qNjfBN5AQ, “Disgustingly Racist:

 4 Leaving Neverland”;

 5                      h.     https://www.Youtube.com/watch?v=f6Mfpy2HYMQ, “Controlling the

 6 Narrative: Michael Jackson Fans Sue”;

 7                      i.     https://www.Youtube.com/watch?v=iTsgfpOC7JM, “Halle Bailey & The

 8 New Little Mermaid”;

 9                      j.     https://www.Youtube.com/watch?v=bxL98GrCnRI, “The Truth Shall Set

10 You Free: Robert W. Lee IV”;

11                      k.     https://www.Youtube.com/watch?v=_dBWUTyTyPk, “News Story Update:

12 The Latest with Bill Cosby”;

13                      l.     https://www.Youtube.com/watch?v=FlySprQjLCA, “Livestream: Chatting

14 with Author Cavis Adams”;

15                      m.     https://www.Youtube.com/watch?v=7HcM8fWr4gU, “Typical Move: Why

16 Jussie Somollett’s Court Documents”; and

17                      n.     https://www.Youtube.com/watch?v=xIvOvLNaGFI&feature=youtu.be,

18 “SHOCKING: Here’s Why You Got One Side of The Allegations against Bill Cosby.” Plaintiff
19 Lewis paid an advertising company to promote this documentary style video. The advertising
20 expenses were wasted after Defendants applied “Restricted Mode,” to this video. Consequently,

21 the video has generated only 8,139 views to date.

22               305.   When viewers attempt to watch these videos with “Restricted Mode” enabled, they

23 usually see this notice from Defendants:

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12               306.   However, occasionally they see a different notice from Defendants -- a black screen

13 with a legend: “This video is not available,” with no explanation as to why the video cannot be

14 viewed. Defendants have neither explained why they post two different notices for the same

15 videos, or why they would notify viewers that a video was not available when it could in fact be

16 watched simply by disabling “Restricted Mode” or viewing it on a computer network which has not

17 enabled “Restricted Mode.”

18               307.   With respect to the balance of 84 videos which can be viewed with “Restricted
19 Mode” enabled, neither subscribers nor viewers can comment on any of these videos or review the
20 comments of others. When the videos are watched in “Restricted Mode,” each video is

21 accompanied by a notice posted by Defendants where the comments usually appear, stating:

22 “Restricted Mode enabled. To view this video, you will need to disable Restricted Mode.”

23 Defendants’ application of “Restricted Mode” to compliant videos, and prohibition on leaving or

24 reading viewer comments effectively discourage new viewers from participating in the “Nicole’s

25 View” channel, and prevent them from actively participating in the African American YouTube

26 community generally. New viewers cannot actively engage with other members of the African

27 American YouTube community by exchanging comments. As a result, they spend less time

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 1 watching videos and are less likely to subscribe, resulting in lower numbers of views for the video

 2 and the channel, and less revenue for Plaintiff Lewis.

 3               308.   Defendants have allowed only limited monetization to a fraction of “Nicole’s View”

 4 videos, without any explanation or rationale other than to indicate that the “content identified is

 5 unsuitable for most advertisers.” Plaintiff Lewis is informed and believes that the sole reason that

 6 Defendants find the content is “unsuitable for most advertisers” is because Defendants discriminate

 7 against Plaintiffs and members of the Race Discrimination Class based on race, e.g., the content

 8 was created by an African American, relates to issues and events of concern to the African

 9 American community, and/or is viewed by many members of the African American community.

10               309.   For certain periods over the past four years, Defendants have shadow banned certain

11 individual compliant videos posted by Plaintiff Lewis on “Nicole’s View.” During various periods

12 of time, those videos did not appear in YouTube searches using the terms “Nicole Lewis” or

13 “Nicole’s View,” or in searches using individual video titles as search terms.

14               310.   “Nicole’s View” video content consists roughly of 75% pre-recorded videos and

15 25% Livestream broadcasts. For Livestream broadcasts, Plaintiff Lewis sometimes has as many as

16 1000 viewers participating. Plaintiff Lewis employs designated moderators to monitor, control and

17 censor viewer comments to ensure compliance with Defendants’ Community Guidelines and TOS,

18 promptly removing any non-compliant comments and blocking offending participants.
19               311.   For the past two years, Defendants have used A.I., algorithms, and filtering tools to
20 restrict the reach of videos posted on “Nicole’s View,” resulting in stagnant subscriber and viewer

21 numbers. “Nicole’s View” is no longer growing. The channel’s analytics page from month to

22 month reflects only minor changes to the numbers of subscribers, viewers, and view times. To

23 avoid the impact of Defendants’ A.I., algorithms and filtering tools on Defendants’ metadata

24 generated from video titles and tags, Plaintiff Lewis intentionally self-censors: (a) she avoids using

25 controversial video titles; (b) she avoids using abbreviations like “BLM,” “KKK”; terms such as

26 “Black,” “White,” “Racism,” “Boogaloo,” “White Supremacy,” “Racial Profiling,” “Police

27 Shootings,” “Police Brutality,” “Black Lives Matter”; names, such as those of individuals such as

28 those killed by law enforcement, “Bill Cosby,” “Louis Farrakhan”; names of organizations such as

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 1 “Ku Klux Klan,” “Nazi,” “Neo-Nazi,” “Aryan Brotherhood,” and euphemisms that are known and

 2 particular to the African American community; she intentionally misspells terms such as “Black,”

 3 “White,” “Race,” “Racism,” and “Racial Profiling” because Defendants routinely flag videos

 4 which have such terms as tags or which have titles that include such terms.

 5               312.   Despite Plaintiff Lewis’ efforts to self-censor and avoid the reach of Defendants’

 6 A.I., algorithms, and filtering tools, most of the videos posted on “Nicole’s View” have only

 7 limited monetization, if any.

 8               313.   On February 11, 2020, Plaintiff Lewis received an email from Defendants indicating

 9 that “SuperChat was disabled,” purportedly because “Nicole’s View” was using the original

10 content of other YouTubers. However, after a week, it became apparent that Defendants had not

11 merely disabled SuperChat, but had completely demonetized the entire “Nicole’s View” channel.

12 Defendants did so without notice or explanation. Plaintiff Lewis promptly filed an appeal of the

13 decision to disable SuperChat and to demonetize the entire channel.

14               314.   Mindful of the stringent standards which Defendants have always applied to the

15 channels of Plaintiffs and members of the Race Discrimination Class, Plaintiff Lewis has always

16 followed Defendants’ Community Guidelines, and TOS. Whenever she uses a news clip, she limits

17 the clip to several minutes and generates her own original commentary as video content to

18 accompany the clip. The originators of all news clips incorporated into videos posted by Plaintiff
19 Lewis are always accorded full and proper credit in the video so that there is no possibility of
20 viewers confusing the news clip with her original commentary or content.

21               315.   Defendants did not respond to Plaintiff Lewis’ appeal. On or about June 7, 2020,

22 she suddenly noticed that Defendants had resumed placing advertisements on “Nicole’s View”

23 videos. When she checked the channel’s analytics pages, it reflected that her monetized videos

24 were again generating revenue and her Livestream broadcasts were generating donations.

25 Defendants have neither explained why the channel was fully demonetized for nearly two months,

26 nor why it was remonetized; nor have they offered compensation for the revenue which the channel

27 lost during that period.

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 1               316.   Recently Defendants have begun to interfere with Livestream broadcasts on

 2 “Nicole’s View.” On the evening of August 14, 2020, Plaintiff Lewis conducted a Livestream

 3 broadcast of https://www.Youtube.com/watch?v=vtPeu6SCq0g, “The Destructive Agenda of

 4 Feminism with Elizabeth Mell.” Roughly halfway through the one hour thirty-five minute

 5 broadcast, the broadcast was interrupted by repeated audio interruptions which Plaintiff Lewis

 6 could hear, rendering her unable to hear Elizabeth Mell. The noises and audio interruptions

 7 continued intermittently. Plaintiff Lewis confirmed that the noises and disruptions were not caused

 8 by her equipment or by background noise at her location. Elizabeth Mell informed Plaintiff Lewis

 9 that the noises and disruptions were not being generated from her microphone or from ambient

10 noise at her location. Following the substantially ruined Livestream broadcast, Defendants applied

11 “Restricted Mode” to the video.

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24               317.   Defendants also post inappropriate videos in the “Up Next” recommendations that

25 appear to the right of videos which viewers watch on “Nicole’s View.” For example, regardless of

26 those channels to which the viewer has subscribed, Defendants regularly populate the “Up Next”

27 recommendations with video recommendations from other creators, often recommending videos

28 that are entirely unrelated to the video playing on “Nicole’s View,” with content that is critical of

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 1 or derogatory to individual African Americans or the African American community as a whole, or

 2 with content from white creators and/or commentators with racist views.

 3               318.   Often, Defendants flood the “Up Next” recommendations on “Nicole’s View” with

 4 videos of Defendants’ commercial partners such as Fox News and its affiliates. Set forth below are

 5 just a few of the “Nicole’s View” videos for which Defendants have repeatedly recommended Fox

 6 News videos in “Up Next:”

 7                      a.    https://www.Youtube.com/watch?v=G9un5z6sPoE (a video thanking

 8 subscribers for their support of the channel) – four unrelated Fox News video recommendations;

 9                      b.    https://www.Youtube.com/watch?v=cjQ13mwjuIw (a video featuring

10 Andrew Wyatt) – three unrelated Fox News video recommendations;

11                      c.    https://www.Youtube.com/watch?v=TzCjFLD-ddo (a video about Billy Dee

12 Williams) – two unrelated Fox News video recommendations;

13                      d.    https://www.Youtube.com/watch?v=Xs-cmV44Rco (another video about

14 Billy Dee Williams) – two unrelated Fox News video recommendations;

15                      e.    https://www.Youtube.com/watch?v=4mLbAYhCv6Y (a video discussing

16 White culture blaming the Black community for social ills) – two unrelated Fox News video

17 recommendations;

18                      f.    https://www.Youtube.com/watch?v=W6MjdZvlqXM (a video asking
19 viewers to sign a petition to investigate the Prosecutor pursuing criminal charges against Bill
20 Cosby) – five unrelated Fox Business video recommendation;

21                      g.    https://www.Youtube.com/watch?v=jikt7ZrdEDY (a video discussing a

22 promotion on the channel) – three unrelated Fox News video recommendations;

23                      h.    https://www.Youtube.com/watch?v=W6MjdZvlqXM (a video thanking

24 subscribers for their support) – four unrelated Fox News video recommendations;

25                      i.    https://www.Youtube.com/watch?v=yO2ZEaaKRvQ (a video promoting

26 another Black YouTube creator) – two unrelated Fox News video recommendations; and

27                      j.    https://www.Youtube.com/watch?v=G9un5z6sPoE (a video thanking

28 viewers for support) – four unrelated Fox News video recommendations.

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 1               319.   In all, Defendants have recommended 78 individual videos from Fox News or Fox

 2 Business in “Up Next” which have no relation to the video subject matter or the African American

 3 community, in connection with roughly half of “Nicole’s View” videos watched with “Restricted

 4 Mode” enabled.

 5               320.   Defendants have also shadow banned “Nicole’s View.” When viewers go to

 6 YouTube and input “Nicole’s View” as a search term, the channel does not appear as a search

 7 result; rather, a small list of individual videos uploaded to “Nicole’s View” more than a year ago

 8 appear as search results. This means that when viewers actively search for Plaintiff Lewis’

 9 channel, they cannot find it. They find only old videos. Seeing a small number of old videos,

10 viewers might well conclude that “Nicole’s View” is no longer uploading new videos. When

11 viewers are unable to find Plaintiff Lewis’ channel, and new videos by searching on YouTube,

12 Plaintiff Lewis loses views, ad revenue and CPM revenue.

13               321.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

14 conduct, “Nicole’s View” has not grown in subscriber numbers, viewer numbers or view times

15 which it would have grown otherwise and Plaintiff Lewis has been deprived of significant revenue

16 from Defendants’ sale of advertising, SuperChat and Livestream donations over the life of her

17 channel. Plaintiff Lewis’ videos were all fully demonetized between February 11, 2020 and June 7,

18 2020, during which period “Nicole’s View” generated no income whatsoever.
19                      5.     Andrew Hepkins
20               322.   Plaintiff Hepkins has been uploading videos to “DruStory News,” and

21 “DruHepkins,” since 2014. Plaintiff Hepkins is a serious journalist and conducts independent

22 research in connection with most of his videos. As a serious journalist, Plaintiff Hepkins closely

23 follows Defendants’ Community Guidelines and TOS by not using adult language, profanity,

24 vulgarity, presenting explicit sexual or violent content, or making disparaging remarks. The

25 “DruStory News” videos present fact based content and encourage viewers to conduct their own

26 research and to engage in critical thinking in connection with both current events reported by

27 mainstream media and historical events. Plaintiff Hepkins also enjoys the sport of boxing. From

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 1 time to time, he uploads videos with critiques of specific boxers or boxing matches. In all, 58

 2 videos have been uploaded to “DruStory News,” which have generated a total of 3,565,753 views.

 3               323.   Defendants informed Plaintiff Hepkins that they removed one of these videos for

 4 “violating YouTube’s policy on harassment and bullying.” However, since 2019, “DruStory

 5 News” has not generated any revenue at all.

 6               324.   For the past two years, Plaintiff Hepkins has observed numerous inaccuracies in

 7 Defendants’ reported view numbers for the “DruStory News” channel and individual videos. One

 8 example of inaccurate reported views concerns

 9 https://www.Youtube.com/watch?v=dmmWoO2nd2Y, “The Michael Jackson Agenda EXPOSED”

10 that discusses the movie “Leaving Never Land,” and facts which purportedly support civil

11 plaintiffs’ allegations against Michael Jackson. The video was posted March 22, 2019. It was

12 popular with viewers.

13                      a.     Shortly after the video was uploaded to “DruStory News,” viewers started

14 posting comments, complaining that they could not “like”6 the video when they watched it. One

15 viewer wrote: “I tried to like this video but couldn’t.”

16                      b.     Plaintiff Hepkins noticed that the number of views had slowed to under

17 35,000 despite the passing days. Over time, he watched as Defendants’ reported views for the

18 video approached 32,000, and then fell to 31,000. Days later, Defendants’ reported views fell even
19 lower to 29,000. Over the days that followed, Defendants’ reported number of views climbed
20 beyond 32,000. Again, several days thereafter, Plaintiff Hepkins saw that Defendants’ reported

21 view numbers were again under 30,000.

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     By clicking on an icon which appears with individual videos, viewers can “like” a video. The
25 number of “likes” generated by a video increases the likelihood that the video will be

26 recommended as “trending,” and that Defendants will recommend it in the “Up Next,” feature that
   appears on viewers’ screens. By generating a large number of “likes,” the Michael Jackson video
27 uploaded on “DruStory News” can go viral and generate millions of views. Those views translate
   into revenue for the channel.
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 1                      c.     Defendants did not notify Plaintiff Hepkins that they were reducing view

 2 numbers. Nor have they given any explanation or rationale which would justify reducing view

 3 numbers under the TOS or the Adsense agreement.

 4               325.   Frustrated by the Defendants’ repeated downward adjustment of view numbers for

 5 the Michael Jackson video, Plaintiff Hepkins posted this comment on the video:

 6                      “Yes they are shaving the views. I've been watching all week. Every time
                        it goes to 32K the views get shaved back down to 29-30. This has happened
 7                      to me before.”
 8 On another occasion, Plaintiff Hepkins left another comment on the video:

 9                      “Here we go AGAIN with this. Every time the video hits past 31K, views
10                      disappear and it mysteriously goes back down to 29-30K. Smh. Still at it.”

11 Ultimately, “The Michael Jackson Agenda EXPOSED” never went viral and generated only 70,000

12 views.

13                      a.     On June 26, 2020, Plaintiff Hepkins uploaded

14 https://www.Youtube.com/watch?v=KdVXcpBQOvs, “BIG NEWS Cosby Appeal is Granted,” to

15 “DruStory News.” The video was popular and started generating views. For June, Defendants

16 reported that the video had generated 6,943 views.

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26               326.   In July, Defendants reported that the video had only generated 4,913 views – 1,500

27 fewer views than were reported for the prior month, despite the 4 additional weeks during which

28 time viewers watched the video.

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10               327.   Plaintiff Hepkins is informed and believes that the Defendants’ practice of reducing

11 or shaving view numbers over time has reduced the revenue which Defendants report for the

12 “DruStory News” channel. The number of views and number of subscribers are part of the

13 calculation which Defendants make each month in determining how much they owe to Plaintiff

14 Hepkins for the “DruStory News” videos. Given Defendants’ reduced view numbers over a period

15 of months, Plaintiff Hepkins is informed and believes that the Defendants’ revenue calculations

16 based on those reported view numbers also are inaccurate and undercount revenues owed by

17 Defendants to Plaintiff Hepkins.

18               328.   Defendants alone control access to the data upon which the subscriber numbers,
19 viewer numbers and hours spent watching numbers are based. Plaintiff Hepkins has no way to
20 calculate the correct additional amounts which Defendants owe to him without access to the

21 underlying data which reflects the number of subscribers, the number of viewers, and the hours

22 spent viewing videos per day for each of the “DruStory News” videos.

23               329.   Defendants have deemed nearly all of the “DruStory News” videos to be unsuitable

24 for most of the YouTube advertisers, resulting in limited monetization for the majority of Plaintiff

25 Hepkins’ videos. Defendants have fully monetized only 2 of the 54 videos uploaded to “DruStory

26 News.” Defendants have either limited the monetization for, or have completely demonetized the

27 other 52 “DruStory News” videos.

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 1               330.   Defendants have never given Plaintiff Hepkins any explanation as to why “DruStory

 2 News” videos concerning water quality, veganism, internet scams or Jewish support for

 3 Palestinians are unsuitable for most advertisers, much less advertisers who have posted ads on

 4 channels belonging to Defendants’ preferred YouTube partners such as PBS, CNN, or MSNBC.

 5 Nor have Defendants explained why Plaintiff Hepkins’ boxing videos are unsuitable for advertisers

 6 who post ads on sports channels with boxing related videos.

 7               331.   “DruStory News” uploaded “Fake News is REAL: More Undeniable Proof!” on

 8 December 29, 2016. The video discusses inaccurate reports which have appeared in mainstream

 9 media news outlets. The video features a series of researched factual rebuttals to specific news

10 reports, demonstrating that some things that have been published as news are false or fabricated.

11                      a.     Defendants initially determined that the video was ineligible for

12 monetization and demonetized the video.

13                      b.     Defendants then notified Plaintiff Hepkins that the video violated

14 unspecified “Community Guidelines” and issued a “Community Guidelines strike or temporary

15 penalty” to the channel. Defendants stated that the video constitutes a “personal attack,”

16 “predatory behavior, stalking, threats, harassment, bullying, or intimidation.” Defendants added,

17 “We remove comments, videos, or posts where the main aim is to maliciously harass or attack

18 another user.”
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 1               c.     Now, viewers who click on the thumbnail for the video see:

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12               d.     This video has been removed from the platform.

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24               e.     The video cannot be viewed by anyone.

25               332.   “Fake News is REAL: More Undeniable Proof!” does not attack, threaten, harass,

26 intimidate, bully, insult, disparage or even discuss any individual in connection with “Fake News.”

27 Rather, the video discusses specific news reports which were in fact false or erroneous, and

28 presents facts disputing the original reports. Defendants were wrong to find that the video violated

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 1 Community Guidelines, and were entirely off base in assessing a Community Guidelines strike or

 2 penalty against “DruStory News” for the video, and in removing the video from the platform.

 3               333.   Plaintiff Hepkins appealed the Defendants’ actions. Defendants ignored the appeal.

 4               334.   Defendants also issued copyright violation flags for 7 different “DruStory News”

 5 videos, for nothing more than using short video or textual excerpts which included proper citations

 6 to the source materials. In the face of legitimate fair use claims by “DruStory News,” Defendants

 7 issued copyright flags for short video clips which appeared in “Anthony Joshua,” “Why People

 8 Hate the Truth (Part 1),” “Eric Garner Death and Funeral – Full Unseen Coverage,” “Chemtrails: Is

 9 This Real or Conspiracy?” “The Revival of Overt Racism (Part 1),” “The Truth About Wade

10 Robson Exposed,” and “BOMBSHELL Cosby News! (Finale) – What the Media Didn’t Want You

11 To See Part 3.” Defendants even issued a copyright flag for short video clips of Neo from the

12 movie “The Matrix.”

13               335.   While Defendants quickly pursue copyright claims advanced against African

14 American creators on YouTube, like Plaintiff Hepkins, they are slow and often refuse to enforce

15 copyright claims when made by African American creators. On at least two occasions, Plaintiff

16 Hepkins flagged videos that reposted all or most of his original videos that are uploaded to

17 “DruStory News.” Defendants ignored those complaints. As a result of Defendants’ inaction, the

18 infringers continue to use Plaintiff Hepkins’ original video content without consequence.
19               336.   Defendants have shadow banned “Dru Story News.” When “Restricted Mode” is
20 enabled, searches for “DruStory News” on YouTube will produce a smattering of search results

21 including several individual videos uploaded to the channel, but “DruStory News” does not appear

22 as a search result. Defendants’ “Restricted Mode” renders the entire “DruStory News” channel

23 invisible on the YouTube platform.

24               337.   When “Restricted Mode” is enabled, Google searches for the YouTube channel

25 “DruStory News” generate results which include:

26                      a.     Plaintiff Hepkins’ websites https://www.drustorynews.com and

27 https://www.druhepkins.com;

28                      b.     Plaintiff Hepkins’ Twitter page https://twitter.com/drustorynews?lang=en;

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 1                      c.     Plaintiff Hepkins’ Facebook page

 2 https://www.facebook.com/DruStoryNews;

 3                      d.     Plaintiff Hepkins’ Instagram page

 4 https://www.instagram.com/drustorynews/?hl=en; and

 5                      e.     Plaintiff Hepkins’ Patreon page https://www.patreon.com/Drustorynews.

 6 The channel, https://www.Youtube.com/user/DruhepkinsBlogs, does not appear on Google

 7 searches with “Restricted Mode” enabled on YouTube.

 8               338.   Plaintiff Hepkins is informed and believes that Defendants have used their artificial

 9 intelligence programs, algorithms and other filtering tools in misapplying “Restricted Mode’ to

10 nearly all of the “DruStory News” videos in accordance with their policy and practice of

11 discriminating against African Americans on the YouTube platform.

12                      a.     Defendants routinely misapply “Restricted Mode” to “DruStory News”

13 compliant videos. During the months of June and July, the Defendants applied “Restricted Mode”

14 to more than 90% of the videos uploaded to “DruStory News.”

15                      b.     As of July 30, 2020, of the 53 videos which Defendants have listed for

16 “DruStory News,” only 5 were listed when “Restricted Mode” was enabled.

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28 Only three of those videos could actually be watched.

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 1               c.     By August 13, 2020, 54 videos were listed on “DruStory News” when

 2 “Restricted Mode” was enabled.

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15                d.     When “Restricted Mode” is enabled, for 51 of those 54 videos listed, viewers

16 on “DruStory News” see a black screen generated by Defendants with the notice:

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 1               339.   Among the videos which Defendants prevent viewers from watching with

 2 “Restricted Mode” enabled are all of the boxing videos uploaded to “DruStory News” and a

 3 number of general interest videos such as:

 4                      a.     https://www.Youtube.com/watch?v=wPOV8OZybyI, “What’s in the

 5 Water?”;

 6                      b.     https://www.Youtube.com/watch?v=85z9CJXpyo0, “The Reason for Vegan:

 7 Real Food for Thought”;

 8                      c.     https://www.Youtube.com/watch?v=xcTuhXdjjD8, “The Revival of Overt

 9 American Racism (Part 1)”;

10                      d.     https://www.Youtube.com/watch?v=8ULbXEKs0hg, “TRUTH: Should

11 Fluoride Be in Our Water?”;

12                      e.     https://www.Youtube.com/watch?v=FtBUOc2rt_4, “Sellers: Beware of

13 Paypal Charge Back Scammers!!!!!”;

14                      f.     https://www.Youtube.com/watch?v=ht67K-eqQok, “March for the Death of

15 Eric Garner in Staten Island”;

16                      g.     https://www.Youtube.com/watch?v=P3mv65ZzLvY, “Are More Jews

17 Showing Support for Palestine (Part 1)”;

18                      h.     https://www.Youtube.com/watch?v=PEHXa_5MYAc, “Eric Garner Death
19 and Funeral – Full Unseen . . ..”
20 None of these videos violate any of Defendants’ Community Guidelines or TOS.

21               340.   The very same three videos that could be viewed when “Restricted Mode” was

22 enabled on July 30, 2020, are still the only three videos that could actually be watched on August

23 13, 2020: (i) https://www.Youtube.com/watch?v=MiAXR7JdbNU, a video entitled “The Real

24 TRUTH About the Cosby Deposition”; (ii) https://www.Youtube.com/watch?v=orzkRhnVJp4, a

25 video entitled “The Truth About Cereal: Cereal is Bad . . . ”; and

26 https://www.Youtube.com/watch?v=M4EWDVHZNIc, a video entitled “Are More Jews Showing

27 Support for Palestine (Part 2).”

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 1                      a.     However, even for these three videos, viewers cannot actively engage on the

 2 “DruStory News” channel because they cannot leave comments or view comments while

 3 “Restricted Mode” is enabled.

 4                      b.     Where viewer comments and Plaintiff Hepkins’ responses would be, for

 5 these three videos viewers see Defendants’ legend: “Restricted Mode has hidden comments for

 6 this video.”

 7               341.   Plaintiff Hepkins is informed and believes that the “Up Next” feature should display

 8 on the viewer’s screen a list of quality videos that are by “DruStory News,” relate to content similar

 9 to the video being watched, be videos uploaded to channels to which the viewer subscribes and/or

10 be similar to other videos historically viewed previously by that viewer, so that the viewer sees

11 recommendations for more videos they want to watch. However, Defendants rarely display “Up

12 Next” recommendations for “DruStory News” videos or for videos of other African American

13 YouTube creators. Instead, Defendants have transformed “Up Next” into a billboard for the videos

14 of Defendants’ preferred YouTube partners, forcing “DruStory Viewers” who are looking African

15 American creators’ videos, or those regarding specific subjects to watch a stream of video

16 thumbnails with titles featuring Fox News videos and YouTube Movies. Of course, “DruStory

17 News” does not receive any revenue for the “Up Next” advertising Defendants is supplying to Fox

18 News or YouTube Movies on the channel.
19               342.   Defendants have flooded “Up Next” video recommendations for the following
20 “DruStory News” videos:

21                      a.     For https://www.Youtube.com/watch?v=KdVXcpBQOvs, “BIG NEWS

22 Cosby Appeal is Granted,” Defendants posted video recommendations for nine Fox News videos

23 and 10 YouTube Movie videos;

24                      b.     For https://www.Youtube.com/watch?v=BjgQVdsPTrU, “The Fear

25 Agenda,” Defendants posted video recommendations for four Fox News videos and 14 YouTube

26 Movie videos;

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 1                      c.     For https://www.Youtube.com/watch?v=1H5ujVGqT6I, “New Year’s

 2 Message to the Light Workers,” Defendants posted video recommendations for six Fox News

 3 videos and nine YouTube Movie videos;

 4                      d.     For https://www.Youtube.com/watch?v=68lsRzaRb4Y, “Anthony Joshua’s

 5 Redemption,” Defendants posted five YouTube Movie recommendations;

 6                      e.     For https://www.Youtube.com/watch?v=Z9pFztQ_WUY, “DRAMA Behind

 7 the Scenes of Cosby Appeal Hearing,” Defendants posted video recommendations for five Fox

 8 News videos and 10 YouTube Movie videos; and

 9                      f.     For https://www.Youtube.com/watch?v=R1i08ILkzQk, “Democratic

10 Dilemma: Are People of Color Ready . . ,” Defendants posted video recommendations for 12 Fox

11 News videos and three YouTube Movie videos.

12               343.   Plaintiff Hepkins is also the creator and owner of the DruStory News Blog,

13 www.drustorynews.com. Plaintiff Hepkins published an article entitled “Was Michael Jackson

14 Innocent or Guilty, the Final Verdict” on the Drustorynews.com blog. The article was for a short

15 time highly sought after and widely read on the internet. However, after several weeks, the article

16 was shadow banned and no longer appeared in Google searches for “Michael Jackson” or “Michael

17 Jackson Innocent.” The article could only be found on Google by inputting a link to the article or

18 by accessing the blog and searching for it there.
19               344.   Plaintiff Hepkins is informed and believes that Defendant Google’s removal of the
20 “Was Michael Jackson Innocent or Guilty, the Final Verdict” article has caused Plaintiff Hepkins to

21 lose views on www.drustorynews.com, and to lose revenue for that website.

22                      6.     Harvey Stubbs
23               345.   Plaintiff Stubbs is an African American YouTube commentator residing in the State

24 of Illinois who is the creator and owner of the YouTube channels “Your World Your View,”

25 “Harvey Superboy,” “Harvey Superboy 1,” “HARVEY SUPERBOY,” and “J Jackson.” Since

26 2007, Plaintiff Stubbs has been uploading videos principally consisting of commentary regarding

27 events, social issues, politics, news, celebrities and people who are of interest to or affect the

28 African American community in general, and the Chicago Area African American community in

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 1 particular. Plaintiff Stubbs is a military veteran and lifelong resident of the Chicago Area, who is

 2 active in his community and offers a unique perspective.

 3               346.   Plaintiff Stubbs was forced to create a number of additional YouTube channels as a

 4 result of Defendants’ repeated unwarranted flags and Community Guidelines strikes against his

 5 channels.

 6               347.   “Your World Your View,” which was created in September of 2013, has generated

 7 6.6 million views.

 8               348.   Plaintiff Stubbs long has observed issues with Defendants’ reporting of the number

 9 of views for individual new videos and for his YouTube channels over the years. For popular new

10 videos, where many viewers were leaving comments, the numbers of views did not appear to grow

11 along with the number of new comments, the Defendants’ reported view numbers grew only very

12 slowly over time -- regardless of the popularity of the video or the number of other YouTube

13 creators that recommended and posted links to the video. Plaintiff Stubbs is informed and believes

14 that the Defendants’ reported number of views for the videos, and corresponding views for the

15 channel on which those videos were posted were inaccurate, under reported, and caused Defendants

16 to calculate incorrect revenue amounts generated by the videos, resulting in an underpayment of

17 revenue based on views and CPM for the videos and the channels.

18               349.   Plaintiff Stubbs does not have access to the data upon which Defendants calculate
19 revenue for his “Limited” monetization videos or channels, such as daily subscriber numbers, view
20 numbers or watch times. Defendants alone control access to the underlying data. Without this

21 information, Plaintiff Stubbs cannot calculate the additional revenue Defendants owe to him under

22 the circumstances.

23               350.   Plaintiff Stubbs also is informed and believes that Defendants have not paid him for

24 additional advertising revenue associated with demonetized videos and/or channels. Though

25 Defendants have restricted many, if not the vast majority, of all of the videos posted on the

26 YouTube platform by Plaintiff Stubbs, some of these videos have “Limited” monetization and

27 produce an income stream. Under the TOS and Adsense agreement, Defendants should be

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 1 reporting and paying Plaintiff Stubbs advertising based on the advertisements which Defendants

 2 actually play or post on his videos and channels.

 3               351.   Plaintiff Stubbs is further informed and believes that for some of those videos which

 4 Defendants demonetized because they are “unsuitable” for its advertisers, for which Plaintiff

 5 Stubbs receives no reported revenue, Defendants nonetheless have played or posted ads before,

 6 during and/or after videos, and have been posting single ads in the “Up Next” column which

 7 appears on the screens of viewers who access Plaintiff Stubbs’ channels.

 8               352.   Defendants have not paid to Plaintiff Stubbs any of the revenue generated when

 9 Defendants stream or post ads on demonetized videos or on the channel. Plaintiff Stubbs does not

10 have access to the underlying data used to calculate either the total number of ads played/posted on

11 or with his demonetized videos, the CPM, the watch times, or the money that Defendants owe to

12 him. Defendants alone control the access to the data required to calculate how much additional ad

13 revenue Defendants owe to Plaintiff Stubbs.

14               353.   Since 2007, Defendants wrongly, repeatedly, and consistently flagged Plaintiff

15 Stubbs’ videos for purported violations of Community Guidelines and TOS. Plaintiff Stubbs’

16 videos contain no nudity, sexualized scenes or language, graphic depictions of sex or violence, drug

17 abuse, or alcohol consumption. Additionally, when he uploads videos with adult themes, Plaintiff

18 Stubbs tags the video as suitable for age 18 or older, and often adds a specific verbal and written
19 warning at the beginning of the video stating that adult themes will be discussed and the viewer
20 should take steps to watch the video privately.

21               354.   Defendants have flagged and issued Community Guideline Strikes against Plaintiff

22 Stubbs’ compliant videos countless times over the past 13 years. Defendants have even taken

23 down Plaintiff Stubbs’ channels “Harvey Superboy1,” HARVEY SUPERBOY,” “Harvey

24 SuperBoy,” “Mr Superboy 223,” and “J Jackson.” These channels cannot be located on the

25 YouTube platform using searches for those names. Defendants also removed all of the videos that

26 were uploaded to these channels.

27               355.   Though Plaintiff Stubbs appealed many of the wrongful flags and Community

28 Guideline strikes, Defendants ignored his appeals. Plaintiff Stubbs has been forced, time and time

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 1 again to start new YouTube channels and renew efforts to obtain sufficient subscribers, viewers and

 2 viewing hours to requalify for Defendants’ benefits on the platform.

 3               356.   Defendants routinely apply “Restricted Mode,” to Plaintiff Stubbs’ videos that fully

 4 comply with Defendants’ Community Guidelines and TOS, regardless of the content of those

 5 videos. As of July 29, 2020, “Your World Your View,” had 1,121 videos uploaded and listed on

 6 the channel. When “Restricted Mode” was enabled, viewers could see 51 of those videos listed but

 7 could watch only 16 of those 1,121 videos. As of August 13, 2020, when “Restricted Mode” was

 8 enabled, only 40 of the 1,121 videos were listed. 4 videos could be watched. In other words,

 9 Defendants have now restricted access to all but 4 of 1,121 “Your World Your View” videos.

10 Viewers cannot watch videos such as:

11                      a.     https://www.Youtube.com/watch?v=1YW0Pb0o374, “Walmart Getting Rid

12 of Greeters,” discussing the significant positive effect of employing “greeters” for the aged, the

13 disabled, and veterans; as well as, the costs which communities pay when Walmart opens its doors,

14 in terms of tax breaks given, lost and failed local businesses and low wage jobs;

15                      b.     https://www.Youtube.com/watch?v=Ulc5GmcH6qg, “Cosby Show

16 Residuals,” discussing the disparity between television companies’ pulling episodes of the Cosby

17 Show from circulation after Bill Cosby’s conviction versus their handling of other shows where

18 serious issues arose concerning actors;
19                      c.     https://www.Youtube.com/watch?v=2sQfK2XVIR, “Carol Channing Gone
20 at 97,” discussing Carol Channing as a Black artist who spent most of her career passing as a White

21 woman;

22                      d.     https://www.Youtube.com/watch?v=sg-wt_M-F9I, “The Go Fund Me

23 Liars,” discussing a scam involving a White couple and a White homeless veteran who fabricated a

24 story on social media to raise money for the veteran;

25                      e.     https://www.Youtube.com/watch?v=egRC6uBwNd4, “New Vid Up,”

26 announcing a new video posted to a YouTube channel;

27                      f.     https://www.Youtube.com/watch?v=zw7p4VHjBKY, “New Video at

28 Blackjunction 6,” announcing a new video posted to a website; and

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 1                      g.     https://www.Youtube.com/watch?v=sGAYU00Z0QE, “Aretha Franklin

 2 Gone at 76,” discussing the career and legacy of Black artist Aretha Franklin.

 3               357.   Plaintiff Stubbs also experienced repeated, consistent and regular interruptions and

 4 service quality issues regarding audio and visual aspects of videos posted to his channel. Over the

 5 years, he has received numerous comments from viewers reporting problems listening to videos

 6 such as audio interruptions and substandard audio quality. In

 7 https://www.Youtube.com/watch?v=_DxcNH0BZ_E, “My Voice,” Plaintiff Stubbs notes that he

 8 has “[r]eceived complaints about audio issues going on for years; this is games they play It happens

 9 every year; this crap is not me, every year around this time of year, get comments to change

10 subjects, problems; range noises; as well as, reporting visual problems such as poor quality or

11 distorted images.”

12               358.   Plaintiff Stubbs documented the video quality issue in comments to videos, such as

13 Plaintiff Stubbs uploaded two videos discussing the specific problems his viewers were

14 experiencing: https://www.Youtube.com/watch?v=GLWe4FJC--Y, “Sound of My Voice,” and

15 https://www.Youtube.com/watch?v=VJDuaSA-vtA, “Issues with Viewing.”

16               359.   As of July 29, 2020, “Your World Your View” viewers experienced observable

17 issues with each of the following videos:

18                      a.     https://www.Youtube.com/watch?v=gOXHuz1w2b0, “Zoe is Just Like Her
19 Mother,” the audio cut out 5 minutes into the 11 minute video;
20                      b.     https://www.Youtube.com/watch?v=jnZtybgx9-I, “Look at the Support They

21 Get,” several deep beeps played at 16 and 17 minutes into the video and were repeated later in the

22 audio;

23                      c.     https://www.Youtube.com/watch?v=Eq59sUu68Cc, “Racism at Buffalo

24 Wild Wings,” the audio was garbled at 2 minutes into the video;

25                      d.     https://www.Youtube.com/watch?v=2b2pyNLuCps, “DL Talk Show

26 Cancelled,” the audio was garbled and disrupted at 3, 9 and 11 minutes into the 12 minute video;

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 1                      e.     https://www.Youtube.com/watch?v=_DxcNH0BZ_E, “My Voice,” the audio

 2 was distorted intermittently throughout the video.

 3               360.   For years, “Your World Your View” viewers have had audio issues with videos

 4 regardless of how Plaintiff Stubbs recorded and uploaded the video, and despite his using different

 5 or new recording technologies. Plaintiff Stubs cannot replicate the problems when he plays the

 6 videos. Plaintiff Stubbs is informed and believes that the problems viewers have watching his

 7 videos discourage new viewers from watching videos on his YouTube channels, annoy viewers so

 8 that they do not watch full videos and damage his channel by giving a false impression that the

 9 videos have poor production values and/or that he does not value his viewers enough to upload

10 good quality videos. Plaintiff Stubbs is also informed and believes that the substandard audio and

11 video experience about which his viewers complain originates with Defendants, their employees

12 and/or their independent contractors.

13               361.   Defendants also ad bomb those few “Your World Your View” videos which have

14 full or “Limited” monetization. For example, on July 29, 2020, on

15 https://www.Youtube.com/watch?v=jUdMKEP9E2c, “It was Just a Matter of Time,” Defendants

16 played 2 streaming ads and 2 banner ads at the beginning of the video, as well as 1 streaming ad

17 and a banner ad at 2 minutes, 6 minutes and 10 minutes into the video, plus 2 streaming ads and 2

18 banner ads at the conclusion of the video, as well as showing an ad at the top of “Up Next.”
19               362.   Defendants also flood the “Up Next” column for “Your World Your View” with
20 extraneous video recommendations that bear no relation to the individual videos being viewed. On

21 July 29, 2020, Defendants flooded the “Up Next” recommendations for the following videos:

22                      a.     https://www.Youtube.com/watch?v=jUdMKEP9E2c, “It was Just a Matter

23 of Time,” 14 Fox News videos, 2 YouTube Movies videos appeared in “Up Next”;

24                      b.     https://www.Youtube.com/watch?v=9WfH9WTk138, “Open Your Eyes,” 12

25 Fox News videos appeared in “Up Next”;

26                      c.     https://www.Youtube.com/watch?v=FWahxaWfftE, “Don’t Ridicule People

27 with Mental Health Issues,” 15 Fox news videos and 4 YouTube Movies videos appeared in “Up

28 Next”;

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 1                      d.     https://www.Youtube.com/watch?v=oHAxDyW8uIg, “Jada Can’t Pass

 2 Judgement,” 8 Fox News videos, 9 YouTube Movies videos appeared in “Up Next”; and

 3                      e.     https://www.Youtube.com/watch?v=obDvE2pOU6w, “Nothing to Connect,”

 4 9 Fox News videos and 2 YouTube Movies videos appeared in “Up Next.”

 5               363.   Over the years, Plaintiff Stubbs has uploaded many videos addressing political

 6 subjects. Since 2016, Plaintiff Stubbs also has posted a number of videos critically appraising

 7 President Trump, his public statements, and his actions taken prior to becoming president and as

 8 president. Recently, Defendants have been streaming ads and posting banner ads on “Your World

 9 Your View” soliciting support for President Trump’s reelection:

10                      a.     https://www.Youtube.com/watch?v=2b2pyNLuCps, “DL Talk Show

11 Cancelled,” Defendants posted a banner ad on the video “Are you a Trump voter in 2020?” and an

12 ad in “Up Next,” for “action.donaldjtrump.com;”

13                      b.     https://www.Youtube.com/watch?v=obDvE2pOU6w, “Nothing to Connect,”

14 Defendants streamed an ad soliciting support for Republican candidates paid for by

15 “action.donaldjtrump.com,” and posted a banner ad entitled “‘Text to Join’ to 88022 and stand with

16 President Trump”;

17                      c.     https://www.Youtube.com/watch?v=jnZtybgx9-I, “Look at the Support They

18 Get,” Defendants streamed an ad soliciting contributions and posted a banner ad for
19 “action.donaldjtrump.com;” and
20                      d.     https://www.Youtube.com/watch?v=P5gUc1HLce4, “Your World Your

21 View,” Defendants streamed an ad entitled ““Official Survey” and posted a banner ad for

22 “action.donaldjtrump.com;” as well as an ad in “Up Next” entitled “Text ‘JOIN’ to 88022 and

23 Stand with President Trump!”

24               364.   Plaintiff Stubbs is informed and believes that Defendants have intentionally placed

25 these ads soliciting support for President Trump, a person who has made numerous statements

26 about African Americans that are racist, disparaging, untrue, and/or grossly distorted, and about

27 African Americans living in the Chicago Area, in order to irritate, annoy, and/or discourage African

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 1 American subscribers and viewers of “Your World Your View,” and to reduce view numbers and

 2 viewing hours for the individual videos affected, and the channel as a whole.

 3               365.   Defendants’ actions have damaged Plaintiff Stubbs and will continue to cause him

 4 damage in the form of reduced revenue and reduced reach for his videos. Defendants have also

 5 injured the African American subscribers and viewers of “Your World Your View,” by providing

 6 substandard video services to them, and to the extent that they rely on public internet services from

 7 libraries, public retailers, schools or places of employment, by applying “Restricted Mode” to the

 8 videos. Poor African American YouTube viewers who rely on free publicly available internet

 9 services can only view less than 1% of the “Your World Your View” videos.

10                      7.     Khalif Muhammad
11               366.   In 2006, Plaintiff Muhammad created his YouTube channel to publish his personal

12 video commentaries as a vehicle to combat historical lo racism in the United States and to promote

13 the United Independent Compensatory Code developed by Neely Fuller Jr. Over the years, the

14 channel has been renamed several times. Plaintiff Muhammad’s YouTube channel is now called

15 “Dr.Syn-Q.” In all, Plaintiff Muhammad has uploaded 273 videos to his YouTube channel.

16               367.   At this point, Plaintiff Muhammad does not know how many views this channel in

17 fact has generated over the past 14 years: For several years, Defendants reported that “Dr.Syn-Q”

18 had in excess of 900,000 views. The channel view numbers invariably stayed just under 1 million
19 views, regardless of the number of videos uploaded to the channel. “Dr.Syn-Q” could never reach
20 the 1 million view milestone. In 2020 Defendants’ reported views inexplicably started to decline.

21                      a.     On June 26, 2020, Defendants reported 899,717 views for the channel.

22 Plaintiff Muhammad received no notice from Defendants regarding the decreased reported view

23 numbers. Plaintiff Muhammad could not understand how the aggregate number of views for the

24 lifetime of the channel had decreased, particularly after Defendants reported view numbers in

25 excess of 900,000 for several years.

26                      b.     On August 9, 2020, Defendants reported only 388,997 views for the channel.

27 “Dr.Syn-Q” had lost in excess of 500,000 views.

28                      c.     On August 11, 2020, Defendants reported 643,790 views for the channel.

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13 Defendants’ current reported view number is approximately 300,000 fewer than the number

14 Defendants reported in 2019.

15               368.   Plaintiff Muhammad is informed and believes that Defendants’ 2020 reports of the

16 number of views for “Dr.Syn-Q” are inaccurate and unreliable, that the Defendants’ reported

17 subscriber numbers and watch times are also likely inaccurate given the Defendants’ fluctuating

18 reported view numbers. Plaintiff Muhammad also is informed and believes that Defendants’
19 TOS’s which he signed do not mention, much less authorize, Defendants to unilaterally reduce the
20 reported numbers of views (or numbers of subscribers or watch times) without notice or an

21 opportunity to object. Plaintiff Muhammad is further informed and believes that Defendants’

22 reported lower view numbers for “Dr.Syn-Q” violate the TOS and the Adsense agreement.

23               369.   Despite “Dr.Syn-Q” having generated nearly 1 million views by 2019, Defendants

24 now report a total watch time of 2,083 hours. Plaintiff Muhammad is informed and believes that

25 the Defendants’ reported watch time for the channel is inaccurate and undercounts actual historical

26 and current hours of “Dr.Syn-Q” videos viewed. Plaintiff Muhammad is also informed and

27 believes that Defendants’ inaccurate reports of view numbers, subscriber numbers and watch times

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 1 have prevented him from demonstrating that “Dr.Syn-Q” has qualified previously for Defendants’

 2 benefits such as monetization of the channel.

 3               370.   Plaintiff Muhammad does not have access to the underlying data regarding how

 4 many viewers subscribed to “Dr.Syn-Q,” how many watched videos uploaded to “Dr.Syn-Q,” or

 5 the total hours viewers watched those videos at any time between 2006 and 2020. Accordingly,

 6 Plaintiff Muhammad cannot accurately determine whether “Dr.Syn-Q” has qualified for the

 7 benefits such as monetization and, if so, how much Defendants owe to him under the TOS and

 8 Adsense.

 9               371.   Recently, Defendants removed https://youtube/D0&mM_OUEkg, “Neely Fuller Jr:

10 MAXIMUM SOPHISTICATED CONFUSION,” a 9 minute video posted in 2007 because of what

11 Defendants assert is “inappropriate content.”

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 1                 a.      As of August 10, 2020, the video could not be viewed. The video frankly

 2 discusses social practices which exist and describes them as part of an intentional program to

 3 preserve regional power in the hands of a white minority. The video is academic, even tempered in

 4 tone, and contains no nudity, sexualized scenes or language, graphic depictions of sex or violence,

 5 drug abuse, or alcohol consumption. While the video discusses “white supremacists,” it does not

 6 identify any individual, entity, or specific group, much less disparage, harass, threaten, or bully any

 7 individual or group. The video does not constitute hate speech or incite wrongful conduct.

 8                 b.      Plaintiff Muhammad, filed an appeal with Defendants. Defendants did not

 9 respond to Plaintiff Muhammad.

10                 c.      Days after removing the video from “Dr.Syn-Q,” Defendants restored

11 “MAXIMUM SOPHISTICATED CONFUSION” to the channel, and removed the prior “Restricted

12 Mode” designation.

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                   d.      As of August 14, 2020, the video was listed, available and watchable on
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     “Dr.Syn-Q.”
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 1               372.   It is outrageous that Defendants removed this video after 13 years on the channel,

 2 particularly given the resurgence of White Supremacist organizations, increasing hate crimes

 3 against people of color, and the recent subversive activities of White Supremacists under the cover

 4 of Black Lives Matter protests.

 5               373.   Defendants have also demonetized “Dr.Syn-Q” without giving any specific

 6 explanation or rationale. For 13 years, Defendants have refused to accord even “Limited”

 7 monetization for a single compliant “Dr.Syn-Q” video. Plaintiff Muhammad cannot understand

 8 why Defendants demonetized videos such as:

 9                      a.     https://www.Youtube.com/watch?v=4tiG9dtpnmg, “My Response to Racist

10 Propaganda . . .”;

11                      b.     https://www.Youtube.com/watch?v=P7wdO4GJojk, “My Existence: Paying

12 My Respects to Muhammad Ali!”;

13                      c.     https://www.Youtube.com/watch?v=QIRowdf6x2k, “The Education of

14 White Supremacy . . .”; and

15                      d.     https://www.Youtube.com/watch?v=clldd6sGpCI, “When We Were Slaves.”

16               374.   For many years Defendants have employed their artificial intelligence, algorithm

17 and other filtering tools to wrongfully apply “Restricted Mode” to many of Plaintiff Muhammad’s

18 videos. Defendants’ capricious application of artificial intelligence, algorithm and other filtering
19 tools is arbitrary and entirely unrelated to the content of Plaintiff Muhammad’s videos. From week
20 to week, Defendants change the designations for individual videos, so the number of videos that

21 can be watched with “Restricted Mode” enabled likewise changes from week to week. For

22 example, of the 159 videos listed on “Dr.Syn-Q,” as of August 8, 2020, only 19 videos were listed

23 when “Restricted Mode” was enabled, and only 11 of those listed could be watched.

24               375.   Viewers who access “Dr.Syn-Q” from many public internet networks such as

25 libraries, schools, commercial establishments offering free internet access, or places of employment

26 where “Restricted Mode” is enabled, cannot view most of the videos uploaded to the channel.

27 Defendants prevent these viewers from commenting on the videos that can be viewed, and prevent

28 viewers from reading comments left by others. For videos which can be viewed with “Restricted

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 1 Mode” enabled, viewers of “Dr.Syn-Q” see “Restricted Mode has hidden comments for this video”

 2 in the “comments” section of their screens.

 3               376.   Defendants prevent poor African American YouTube subscribers and viewers

 4 without internet connectivity at home from accessing “Dr.Syn-Q” videos. Plaintiff Muhammad is

 5 informed and believes that many poor African Americans obtain YouTube access through publicly

 6 available free networks such as schools, libraries and retail businesses; and that such networks

 7 often enable “Restricted Mode” to prevent students and patrons from accessing pornography or

 8 otherwise inappropriate content. Defendants’ application of “Restricted Mode” to “Dr. Syn-Q”

 9 videos limits both Plaintiff Muhammad’s reach on the YouTube platform because most of his

10 videos cannot be watched by poor African Americans who rely on public free internet networks.

11 Plaintiff Muhammad also is informed and believes that Defendants’ application of “Restricted

12 Mode” also silences African American YouTube subscribers and viewers because Defendants

13 disable the comments on “Dr.Syn-Q,” and no one can read, leave or respond to comments posted

14 on “Dr.Syn-Q” videos when “Restricted Mode” is enabled.

15               377.   As of August 14, 2020, when “Restricted Mode” was enabled, all 159 “Dr.Syn-Q”

16 videos were listed. 129 of those listed videos, when watched, displayed only a black screen with

17 the legend, “This video is unavailable with Restricted Mode enabled. To view this video, you will

18 need to disable Restricted Mode,” and could not be viewed. 30 of the remaining videos listed could
19 be watched – 11 videos more than could be viewed on August 8, 2020. The comments for these 30
20 videos were disabled and could not be read.

21               378.   Defendants’ continued application of “Restricted Mode” to the following compliant

22 videos defies any rational content based explanation:

23                      a.     https://www.Youtube.com/watch?v=4tiG9dtpnmg, “My Response to Racist

24 Propaganda . . .,” a discussion of a news article describing Black Friday protest in Chicago where

25 protesters successfully blocked shoppers from stores;

26                      b.     https://www.Youtube.com/watch?v=Rytybtnwv30, “YouTube Flagged My

27 Video! Black Folks Guide . . . ,” a composite, including Plaintiff Muhammad’s statement of

28 purpose and commitment to the United Independent Compensatory Code and ads for African

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 1 American businesses, a discussion of his appeal of Defendants’ “hate speech” flag and age

 2 restriction for “What Should You Do When You’re Called The ‘N-Word,’” and a lengthy

 3 discussion of the electoral college;

 4                   c.     https://www.Youtube.com/watch?v=P7wdO4GJojk, “My Existence: Paying

 5 My Respects to Muhammad Ali!,” a series of video clips of historical public interviews of

 6 Muhammad Ali by David Frost and William F. Buckley with Plaintiff Muhammad’s personal

 7 tribute to Muhammad Ali;

 8                   d.     https://www.Youtube.com/watch?v=9rryenTnblg, “Black Consciousness

 9 Movement: ‘Black’ People. . .,” a statement in support of the United Independent Compensatory

10 Code, taking personal responsibility in the African American community, and a rejection of the cult

11 of personality;

12                   e.     https://www.Youtube.com/watch?v=QIRowdf6x2k, “The Education of

13 White Supremacy . . . ,” a personal statement describing Plaintiff Muhammad’s life journey,

14 rejection of a gang lifestyle, and commitment to fight white supremacy, illustrated with a collection

15 of photographs of him as a child and a young man;

16                   f.     https://www.Youtube.com/watch?v=P-OKdhEYeHs, “Is [King Noble] Black

17 Supremacy The Answer,” a short reading from the United Independent Compensatory Code

18 notebook and commentary;
19                   g.     https://www.Youtube.com/watch?v=gqPkW-npyRc, “My Weapon of
20 Choice,” a short video which starts with a view of a gun barrel that turns into a camera;

21                   h.     https://www.Youtube.com/watch?v=gB02GL_Ts5s, “The Religion of White

22 Supremacy,” a short reading from “The United Independent Compensatory Code,” by Neely Fuller

23 Jr., and a brief discussion of the text”;

24                   i.     https://www.Youtube.com/watch?v=NSk5uPR562Y, “The Establishment of

25 Racism White Supremacy,” a short reading from “The United Independent Compensatory Code,”

26 by Neely Fuller Jr., and brief commentary;

27                   j.     https://www.Youtube.com/watch?v=CBuTbCzB-M0, “These People Are

28 Victims of Racism,” Plaintiff Muhammad’s personal commentary regarding photographs of “non-

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 1 White” people throughout the world, the four principles of “The United Independent Compensatory

 2 Code” along with his explanation of the terms and the politics of race; and

 3                      k.     https://www.Youtube.com/watch?v=clldd6sGpCI, “When We Were Slaves,”

 4 a presentation of historic slave photographs with a short message exhorting people not to forget 400

 5 years of slavery in the United States.

 6 The content of these videos does not violate Defendants’ Community Guidelines or TOS. Rather,

 7 the content includes accurate historical images, properly referenced readings of “The United

 8 Independent Compensatory Code” with commentary, or Plaintiff Muhammad’s personal

 9 commentary regarding celebrities, historical figures or events and/or issues of the day.

10               379.   Plaintiff Muhammad is informed and believes that Defendants have a policy of

11 identifying YouTube creators, subscribers and viewers by race; that Defendants are using artificial

12 intelligence, algorithm and other filtering tools to demonetize and restrict videos that are created by

13 or popular with people of color; and that Defendants have restricted most of the “Dr.Syn-Q” videos

14 because he is an African American. Plaintiff Muhammad is further informed and believes that

15 Defendants’ race based discriminatory conduct has hurt him personally by reducing his reach on

16 YouTube, has damaged “Dr.Syn-Q” by preventing revenue generation on the channel, and has

17 injured the “Dr.Syn-Q” subscribers and the viewers who have been unable to access “Dr.Syn-Q”

18 videos to which Defendants have applied “Restricted Mode.”
19                      8.     Keu Reyes
20               380.   Plaintiff Reyes is a professional writer, producer, videographer and filmmaker who

21 works in television, film and online, creating original content and producing content for other

22 music, comedic and dramatic artists. When he works in collaboration with others, he retains the

23 copyright for his work, or secures a permanent license to use the work. Though Plaintiff Reyes

24 works with many other artists, particularly with comics, producing online videos for multiple

25 internet platforms, Defendants have shadow banned the name “Keu Reyes,” on Google and

26 YouTube for those who have “Restricted Mode” enabled. A search using the words “Keu Reyes”

27 on Google or YouTube will produce results which include only several individual videos created

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 1 by Keu Reyes. “Keu Reyes,” the creator, does not appear in any search results when “Restricted

 2 Mode” is enabled.

 3               381.   Plaintiff Reyes is the creator and owner of:

 4                      a.     Youtube.com/Artistic Warfare, which was created in 2006, has acquired 590

 5 subscribers and has generated 1 million views. Artistic Warfare has 50 videos posted, principally

 6 in the English language, which discuss issues of the day, literature, and culture with a comedic

 7 intention. Only 17 of these videos can be viewed with “Restricted Mode” enabled. This channel

 8 has generated only $173.37 over the life of the channel. This channel cannot be found on YouTube

 9 using a search for “Artistic Warfare,” when “Restricted Mode” is enabled.

10                      b.     Youtube.com/Keu Reyes was created in 2011. In the past 9 years, the

11 channel has acquired 47,200 subscribers and has generated in excess of 23 million views. Despite

12 the number of views, this channel has generated only $29,725 over its lifetime. The channel

13 features music and comedic content, consisting of 160 videos, which include both animated and

14 live action videos. While 160 videos were uploaded and listed to this channel, only 53 can be

15 viewed with “Restricted Mode” enabled. This channel cannot be found on YouTube using a search

16 for “Keu Reyes,” when “Restricted Mode” is enabled.

17                      c.     Youtube.com/Soundication, which was created in 2012, has 231 subscribers

18 and has generated 115,439 views. Soundication is a music distribution channel for independent
19 artists. Soundication features 32 music and spoof videos in English and Spanish; only 20 of these
20 videos can be viewed with “Restricted Mode” enabled. This channel has generated only $2.11 over

21 the course of its lifetime. This channel cannot be found on YouTube using a search for

22 “Soundication” when “Restricted Mode” is enabled.

23                      d.     Youtube.com/Multivision Network, which was created in 2013, has acquired

24 9,590 subscribers and generated in excess of 3.7 million views. While Multivision Network has

25 133 Spanish language entertainment, cooking and bartending videos; only 69 of those can be

26 viewed with “Restricted Mode” enabled. This channel has generated only $1,174.13 over its

27 lifetime. This channel cannot be found on YouTube using a search for “Multivision Network”

28 when “Restricted Mode” is enabled.

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 1                      e.     Youtube.com/La Optima, which was created in 2014, has 21 subscribers, and

 2 has generated 2,220 views. La Optima features 45 videos principally in the English language, only

 3 27 of which can be viewed with “Restricted Mode” enabled. This channel has generated only

 4 $0.17 over the course of its lifetime. This channel cannot be found on YouTube using a search for

 5 “La Optima” when “Restricted Mode” is enabled.

 6                      f.     Youtube.com/ClankTV, which was created in 2015, has acquired 4,980

 7 subscribers and has generated 1.7 million views. While ClankTV has 61 entertainment videos

 8 uploaded and listed in the English language related to music, fashion, politics and conspiracies,

 9 only 18 of the videos can be viewed with “Restricted Mode” enabled. This channel has generated

10 only $1,491.35 over the course of its lifetime. This channel cannot be found on YouTube using a

11 search for “ClankTV,” when “Restricted Mode” is enabled.

12               382.   Over the years, Defendants have removed from YouTube two of Plaintiff Reyes’

13 monetized videos consisting of produced animated videos for purported copyright strikes. As

14 Plaintiff Reyes had created the videos, and owned the rights to them, they should not have been

15 removed. Defendants did not afford Plaintiff Reyes an opportunity to demonstrate that he owned

16 the copyrights to the two videos, or to appeal the Defendants’ decision to remove the videos.

17               383.   Plaintiff Reyes has observed a pattern of Defendants removing professionally

18 prepared thumbnails from several of his channels. Over time, as he noticed removed thumbnails he
19 has replaced them, only to find other thumbnails are subsequently removed.
20               384.   Often, though Plaintiff Reyes’ videos have limited monetization or are demonetized,

21 identical videos he has created appear copied to the channels of other YouTube creators, where

22 they are fully monetized and generate more revenue for others who are violating Plaintiff Reyes’

23 copyright, than he, the creator and copyright holder, is generating.

24               385.   When it comes to YouTube studios, people of color are treated like second class

25 citizens. Plaintiff Reyes has personally observed the Defendants’ racially discriminatory practices.

26 As a professional videographer and producer, both Defendants and his clients have invited him to

27 use the YouTube production studios. Defendants claim that they allow YouTube creators to

28 reserve space and specific equipment on specified dates and times. On more than one occasion,

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 1 after Plaintiff Reyes reserved the studio and equipment, he then appeared on the reserved date and

 2 time. Defendants claimed to have double booked the studio and resources; they gave a white

 3 creator access to the studio and access to the equipment that Plaintiff Reyes had reserved.

 4               386.   On one occasion, when Plaintiff Reyes appeared for a reservation at the studio,

 5 Defendants denied him access to the studio and the equipment that he had reserved. Defendants

 6 then penalized Plaintiff Reyes because the person Defendants gave Plaintiff Reyes’ reservation

 7 returned equipment late: Defendants assessed a strike against Plaintiff Reyes’ channel for late

 8 return of equipment – equipment which he was never even allowed to borrow. After several

 9 additional broken reservations at Defendants’ studios, Plaintiff Reyes stopped making reservations

10 and using the studio or equipment.

11               387.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

12 conduct, the channels of Plaintiff Reyes have been unable to grow views, subscribers, view times,

13 or revenue for his channels. Plaintiffs Reyes has lost significant revenue due to Defendants’

14 discriminatory revenue practices over the life of his channels, and will continue to do so into the

15 future.

16                      9.     Osiris Ley
17               388.   Since 2012, Plaintiffs Reyes and Ley have uploaded 158 Spanish language beauty

18 videos featuring Plaintiff Ley, a Mexican American makeup artist who operates a beauty school in
19 Los Angeles and teaches aspiring makeup artists. As a professional makeup artist and teacher,
20 Plaintiff Ley closely follows Defendants’ Community Guidelines and TOS by not using adult

21 language, profanity, vulgarity, presenting explicit sexual or violent content, or by making bullying

22 remarks. Plaintiff Ley is also mindful of the enormous potential for using makeup to improve the

23 lives of those who suffer from unsightly scars, birthmarks and recent injuries. She has created a

24 number of videos demonstrating how to cover and/or lessen the appearance of scars, birthmarks

25 and injuries. She has a series of “Malquillaje” videos which feature women of color on the street

26 who are given makeovers on the fly to correct makeup application mistakes. Especially popular are

27 Plaintiff Ley’s Halloween makeup videos in which she demonstrates how to use makeup to create

28 the appearance of wounds or how to mimic the appearance of celebrities.

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 1               389.   The videos uploaded and listed to the channel “Osyley” are each professionally

 2 recorded, lighted and edited by Plaintiff Reyes. The videos are professional quality videos,

 3 designed for a sophisticated Spanish speaking audience. Using the YouTube closed caption

 4 function, the videos may be accessible to non-Spanish speakers.

 5               390.   Despite all of her efforts to comply with applicable Community Guidelines and

 6 TOS, of the 158 videos posted to “Osyley,” only 134 of them can be viewed with “Restricted

 7 Mode” enabled. It is unfathomable that Defendants have applied “Restricted Mode” to any of the

 8 following videos:

 9                      a.     https://www.Youtube.com/watch?v=llxszfQpuig, “Friends with Benefit”

10 New York Malquillaje 911 Episodio 026, a video which features the makeup artist on a subway in

11 New York City remaking a rider’s eyebrows between subway stops;

12                      b.     https://www.Youtube.com/watch?v=nZKc7fjwzDo, “Envy Me, Beesh!”

13 Malquillaje 911 Saint Valentine’s Day Malquillaje Ep.023, a video which features the makeup

14 artist going to the home of a bereaved woman who was nominated for a makeover and free dress

15 for Valentine’s Day by her best friend, and depicts the artist applying makeup and dressing the hair

16 of a young woman whose father died;

17                      c.     https://www.Youtube.com/watch?v=xDg7bM_NrOY, “The Dangers of

18 Sleeping with Makeup,” a video which features an elderly man who went to classes to learn to do
19 his wife’s makeup when she could no longer manage putting it on; photos of the inside of the
20 eyelid of a woman who routinely slept without removing her makeup, leaving black encapsulated

21 mascara bumps on the inside of her inflamed eyelids; making up a dog, ending with a “who wore it

22 better” comparing a killer whale with Kim Kardashian in a black and white dress;

23                      d.     https://www.Youtube.com/watch?v=YK-6iGigmQc, “Yucatan Peninsula

24 (Cancun)” #Maquillaje911 Episodio 014 Osyley, which features the makeup artist approaching a

25 woman on the street in Cancun, Mexico and offering to do her makeup and to correct her eyebrows,

26 plus a professional critique of the artist’s own makeup application on the fly with cartoon effects;

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 1                 e.      https://www.Youtube.com/watch?v=YPBJaahc7E, “Enough! Real Stories of

 2 Sexual Harassment Book,” which is a short promotion for a collection of stories about women’s

 3 experiences being sexually harassed;

 4                 f.      https://www.Youtube.com/watch?v=iAXVuA9XeoY, “A Personal Sexual

 5 Harassment Story” Makeup Diaries, which features the makeup artist telling her personal story of

 6 being sexually harassed at age 17, and advising that employers be careful using ambiguous

 7 language, and to avoid double entendres and advising women to focus on doing the best work they

 8 can in the most professional manner to avoid misunderstandings;

 9                 g.      https://www.Youtube.com/watch?v=QP2JrodUMg4, “How to Prevent and

10 Get Rid of Stretch Marks During Pregnancy,” which features photographs of pregnant bellies with

11 stretchmarks and a discussion of products to apply to minimize itchiness and to heal the scars

12 caused from pregnancy, with a demonstration of how to apply the products to the pregnant belly;

13                 h.      https://www.Youtube.com/watch?v=biTcgjGeGuO, “What is a Babymoon?”

14 which features the pregnant makeup artist in a bikini explaining what a babymoon is, and how to

15 enjoy the last break before the arrival of a new baby;

16                 i.      https://www.Youtube.com/watch?v=K9AUYRyjtlA, “Como Llegue a los

17 100 mil suscriptores en YouTube!?” which features the makeup artist thanking her subscribers,

18 playing excerpts from her first several videos posted, and discussing her tongue-in-cheek approach
19 to makeup;
20                 j.      https://www.Youtube.com/watch?v=dyfBiw7W510; “Tips de Andrea

21 Rincon para Tener un Cuerpazo,” which features a discussion between the makeup artist and

22 Andrea Rincon, a personal trainer, regarding diet and exercise for weight loss;

23                 k.      https://www.Youtube.com/watch?v=iOuhlls3Yrk; “Como Ponerse Una

24 Peluca de Cabello Sintetico,” which features the makeup artist wearing a synthetic grey wig in the

25 style of a music video, and then demonstrates how to trim the wig, put on the special hairnet, put on

26 and adjust the wig for a natural look, and place two sided tape to secure the wig;

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 1                      l.     https://www.Youtube.com/watch?v=J3ck1dyTUe8; “Trucos Para Tomar Las

 2 Mejores Selfies y Verse Delgada, Joven y Bonita en Las Fotos,” which features the makeup artist

 3 showing the best angles for taking selfies to accentuate breasts, buttocks, faces, and waistlines;

 4                      m.     https://www.Youtube.com/watch?v=PMU043YZd1k; “Osyley El Mejor

 5 Canal de Malquillaje y Tutoriales en Youtube,” which is a promotional video for the channel and

 6 features snippets from various previous videos; and

 7                      n.     https://www.Youtube.com/watch?v=60-BXg0p71; “Como Hacer Cortadas o

 8 Heridas falsas con Malquillaje paso a paso,” which features the makeup artist sculpting a fake

 9 wound on her forearm using scar wax, latex, latex remover, fake blood, and a metal spatula.

10               391.   Not one of these videos violates any of Defendants’ Community Guidelines or TOS;

11 rather, each of the videos presents images similar to those viewers can see on many fashion or

12 makeup tutorial channels; or on channels featuring information important to pregnant women.

13               392.   The last of these “Restricted Mode” videos, “Como Hacer Cortadas o Heridas falsas

14 con Malquillaje paso a paso,” is the most popular video on “Osyley”, having generated 3.3 million

15 views. In subjecting this video to “Restricted Mode,” Defendants stopped this viral video in its

16 tracks, and substantially reduced further views and revenues.

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 1               393.   YouTube has many other such tutorial videos featuring fake injuries and wounds

 2 which (unlike “Osyley’s” video) can be viewed with “Restricted Mode” enabled

 3                      a.     https://www.Youtube.com/watch?v=0no7JKSegDE, “19 TV AND MOVIE

 4 MAKEUP FOR YOUR SFX LOOK” has 55 million views;

 5                      b.     https://www.Youtube.com/watch?v=YgdpzgORzhU, “Fake Cuts Tutorial

 6 (Super easy makeup),” has 676,000 views;

 7                      c.     https://www.Youtube.com/watch?v=FjXr5mVLEek, “3 Easy LATEX-FREE

 8 DIY Halloween wounds // Last minute ideas,” has 2.8 million views;

 9                      d.     https://www.Youtube.com/watch?v=ZVupsQ6aH0I, “26 MOVIE MAKEUP

10 FOR YOUR SFX LOOK,” has 54 million views;

11                      e.     https://www.Youtube.com/watch?v=1zvZq4KspQQ, “HOW TO MAKE

12 SPECIAL EFFECTS WOUND TUTORIAL FOR BEGINNERS: DIY SCAR WAX,” has 2,395

13 views;

14                      f.     https://www.Youtube.com/watch?v=usE-aYmvdtU, “Easy Special Effects

15 Wound tutorial - CRC Makeup,” has 1 million views; and

16                      g.     https://www.Youtube.com/watch?v=yWICp97qwl4, “DIY Fake Wounds

17 with toilette paper,” has 1.4 million views.

18               394.   Nor can bloody images be the basis to apply “Restricted Mode” because there are
19 many similar such gory images in fake wound videos to which Defendants have not applied
20 “Restricted Mode,” such as:

21                      a.     https://www.Youtube.com/watch?v=mHicjx-JoJw, “Bullet Hole Halloween

22 Tutorial!”;

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13               b.    How to make fake cut mark?” and,

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26               c.    https://www.Youtube.com/watch?v=hZCcjLEtj4k, “Zombie Toilet Paper

27 Wounds Halloween Tutorial.”

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13               395.   For reasons known only to Defendants, Defendants have limited the monetization

14 for most of the videos posted to “Osyley”. For a number of videos which Defendants entirely

15 demonetized, Defendants have continued to play ads before, during and after many of those

16 demonetized videos, but pay no related revenue to Plaintiffs Ley and Reyes.

17               396.   While most of the videos uploaded and listed for “Osyley” are at least partially

18 monetized, and most viewers watching “Osyley” see English language advertisements for products
19 and services available in the United States, Plaintiffs Reyes and Ley are informed and believe that
20 Defendants pay advertising and revenue for CPM, banner ads, streaming ads, and channel ads that

21 are substantially lower than what Defendants pay for English language video content viewed in the

22 United States. Plaintiffs Ley and Reyes are also informed and believe that Defendants pay to

23 creators more for advertisements based on the device the viewer uses to watch “Osyley” videos,

24 e.g., Defendants pay more when an “Osyley” video is played on an expensive smart phone or tablet

25 than when it is viewed on a desktop computer. As a direct result of Defendants’ practices,

26 “Osyley” generates far less revenue than channels which feature English video content, which do

27 not feature people of color throughout the video, or which are watched by viewers with expensive

28 technology that is not accessible to most YouTube viewers of color.

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 1               397.   As a direct and proximate result of Defendants’ racial discrimination and wrongful

 2 conduct, “Osyley” has earned only $20,406.70 after generating in excess of 34 million views.

 3 Defendants’ abuse of the “Restricted Mode” has reduced the growth of the channel’s subscriber

 4 numbers, viewer numbers and/or view times which otherwise would have substantially increased.

 5 Plaintiffs Reyes and Ley have been deprived of significant revenue due to Defendants’

 6 discriminatory revenue practices over the life of this channel.

 7 V.            CLASS ALLEGATIONS
 8               398.   Plaintiffs bring this action on behalf of themselves and a putative class of similarly

 9 situated persons who use or have used YouTube or any of the services that Defendants offer in

10 connection with YouTube and who come within the definition or classification of a protected class

11 of persons under 42 U.S.C. §1981, i.e., (the “Race Discrimination Class”).

12               399.   Each and every claim alleged in this case is also alleged on behalf of every member

13 of the Race Discrimination Class.

14               400.   The Race Discrimination Class seeks both monetary damages and restitution, and/or

15 other injunctive relief on behalf of any persons who fall within the Class Definition:

16               401.   All persons or entities in the United States who are or were:

17                      (i) a person or entity defined or classified as a protected class or

18                      person under 42 U.S.C. §1981; and
19                      (ii) members, users and or consumers of YouTube who uploaded,
20                      posted, or viewed video content on YouTube subject to

21                      Google/YouTube’s TOS, Mission Statement, Community Guidelines,

22                      and/or any other content based filtering, monetization, distribution,

23                      personal data use policies, advertising or regulation and practices and

24                      any other regulations or practices that are related to the YouTube

25                      platform on or after January 1, 2015 and continuing through to June

26                      16, 2020 (the “Class Period”).

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 1                      Excluded from the Class are Defendants and their employees,

 2                      affiliates, parents, subsidiaries, and co-conspirators, whether or not

 3                      named in this Complaint, and the United States government.

 4               402.   Class certification for the Race Discrimination Class is authorized under Federal

 5 Rule of Civil Procedure 23 and applies to both claims for injunctive and equitable relief, including

 6 restitution, under Rule 23(b) (2) and for monetary damages under Rule 23(b)(3).

 7               403.   There are at least 42 million members of the Race Discrimination Class.

 8               404.   The number of persons who fall within the definitions of the Race Discrimination

 9 Class are so numerous and geographically dispersed so as to make joinder of all members of the

10 class or subclass in their individual capacities impracticable, inefficient, and unmanageable, and

11 without class wide relief, each member of the Race Discrimination Class would effectively be

12 denied his, her, its, or their rights to prosecute and obtain legal and equitable relief based on the

13 claims and allegations averred in this Complaint.

14               405.   There are questions of law and fact common to the Race Discrimination Class that

15 relate to and/or are dispositive of the nature and allegations of unlawful conduct alleged in the

16 Complaint, and the nature, type and common pattern of injury and harm caused by that unlawful

17 conduct and sustained by the putative members of the class and subclass including, but not limited

18 to:
19                      a.     Whether Defendants must provide its users and consumers with an
20 accounting for debts owed under contract(s), including their TOS.

21                      b.     Whether Defendants concealed, misrepresented or omitted to disclose

22 material policies and practices regarding the unlawful regulation of video content, advertising,

23 distribution, monetization, contractual obligations, and characteristics of the YouTube platform to

24 the members of the Race Discrimination Class;

25                      c.     Whether Defendants use or have used unlawful, discriminatory,

26 anticompetitive and fraudulent, deceptive, unfair, and/or bad faith filtering tools and practices, in

27 the code and operation of their machine based, algorithmic, or A.I. filtering tools, and/or other

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 1 practices and procedures to review, regulate, and restrict content, and/or regulate and restrict the

 2 advertising, monetization, distribution, and property rights of the Race Discrimination Class;

 3                  d.      Whether Defendants are or have engaged in discriminatory practices against

 4 the members of the Race Discrimination Class based on protected characteristics under 42 U.S.C

 5 §1981 or the Unruh Civil Rights Act;

 6                  e.      Whether Defendants breached or are in breach of their standardized digital

 7 consumer form contracts and obligations to the Race Discrimination Class;

 8                  f.      Whether Defendants have or are engaged in unlawful, deceptive, unfair, or

 9 anticompetitive practices that violate federal or California law, and harmed and injured the Race

10 Discrimination Class;

11                  g.      Whether the conduct of Defendants, as alleged in this Complaint, caused

12 injury to the business and property of Plaintiffs and the members of the Race Discrimination Class;

13                  h.      Whether Defendants’ alleged regulations, practices, and conduct have caused

14 or threaten to cause irreparable harm to the speech of the Race Discrimination Class so as to

15 warrant the issuing of temporary, preliminary and/or final injunctive relief and corresponding

16 declaratory relief with respect to the legal rights of the Race Discrimination Class;

17                  i.      The scope, nature, substance, and enforcement of injunctive and equitable

18 relief sought by the Race Discrimination Class;
19                  j.      Whether Defendants were unjustly enriched or obtained profits or ill gotten
20 financial gains as a result of the unlawful, discriminatory, deceptive, unfair, or anticompetitive

21 practices perpetrated against the Race Discrimination Class;

22                  k.      Whether Defendants breached or are in breach of their contractual

23 obligations, implied duty of good faith and fair dealing, and/or other promises under the

24 standardized digital consumer form contracts entered into with members of the Race

25 Discrimination Class during the Class Period;

26                  l.      Whether Defendants’ “content based” rules, regulations and filtering

27 practices, on their face and/or as applied, violate the free speech rights of Plaintiffs and the Race

28 Discrimination Class under California or federal law;

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 1                      m.     Whether Defendants’ “content based” rules, regulations and filtering

 2 practices, on their face and/or as applied, violate the free speech rights of Plaintiffs and the Race

 3 Discrimination Class under California or federal law;

 4                      n.     Whether Plaintiffs and the members of the Race Discrimination Class are

 5 entitled to an equitable accounting of debts owed under contracts entered into with Defendants;

 6                      o.     Whether Defendants have converted stolen, unlawfully possessed, and/or

 7 unlawfully used and profited from the property of Plaintiffs and the members of the Race

 8 Discrimination Class so as to entitle them to royalties, damages, replevin, and other legal or

 9 equitable relief; and

10                      p.     Whether the Race Discrimination Class is entitled to declaratory and other

11 relief based on Defendants’ assertion of immunity from liability under the Communications

12 Decency Act, 15 U.S.C. §230 (c) (the “CDA”), with respect to any of the claims or allegations

13 asserted by Plaintiffs and the Race Discrimination Class in this Lawsuit.

14               406.   Each of individually named Plaintiffs is a person protected under 42 U.S.C. §1981,

15 and a member of the Race Discrimination Class.

16               407.   The claims of Plaintiffs are typical of and identical to those of the Race

17 Discrimination Class.

18               408.   Plaintiffs will fairly and adequately protect the interests of the members of the Race
19 Discrimination Class.
20               409.   Plaintiffs are represented by counsel who are competent and experienced in the

21 prosecution and defense of similar claims and litigation, including class actions filed, prosecuted,

22 defended, or litigated under California and federal law, in California and federal courts, in

23 connection with claims and certification of consumer and civil rights classes composed of members

24 who reside in California and/or the United States.

25               410.   The prosecution of separate actions by individual members of the Race

26 Discrimination Class would create a risk of inconsistent or varying adjudications.

27               411.   The questions of law and fact common to the members of the Race Discrimination

28 Class predominate over any questions of law or fact affecting only individual members of the class

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 1 or subclass, including legal and factual issues relating to liability and the nature of the harm caused

 2 by Defendants’ unlawful actions.

 3               412.   The questions of law and fact common to the members of the Race Discrimination

 4 Class also predominate over any questions of law or fact affecting only individual members of the

 5 class because all claims in this Lawsuit are governed under California or controlling federal law,

 6 including legal and factual issues relating to liability and the nature of the harm caused by

 7 Defendants’ unlawful actions.

 8               413.   A class action is superior to other available methods for the fair and efficient

 9 adjudication of this controversy. Treatment as a class action will permit a large number of

10 similarly situated persons to adjudicate their common claims in a single forum simultaneously,

11 efficiently and without the duplication of effort and expense that numerous individual actions

12 would engender.

13               414.   Certification of the Race Discrimination Class is also superior to other available

14 methods for the fair and efficient adjudication of this controversy because any and all claims in this

15 Lawsuit must be brought and venued in a court of competent jurisdiction located in Santa Clara

16 County.

17               415.   The Race Discrimination Class is readily definable and, as defined, constitute

18 categories for which records should and do exist in the files of Defendants.
19               416.   The prosecution as a class action will also eliminate the possibility of repetitious
20 litigation.

21               417.   Class treatment will also permit the adjudication of smaller claims by members of

22 the Race Discrimination Class who otherwise could not afford to litigate or assert the claims

23 asserted by Plaintiffs in this Lawsuit.

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 1 VI.           INDIVIDUAL CAUSES OF ACTION
 2                                          FIRST CAUSE OF ACTION
                              Request For A Declaratory Relief Judgment that §230(c)
 3                               Immunity Is Inapplicable to Discrimination Claims
                        (On Behalf Of Individual Plaintiffs And The Race Discrimination Class
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 5               418.     Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,

 6 each of the allegations set forth in paragraphs 1 through 411 above.

 7               419.     Plaintiffs’ request that this Court interpret, construe, and adjudicate whether §230(c)

 8 applies to any of Plaintiffs’ other claims for relief alleged herein, and to the extent that the Court

 9 finds that the immunity applies to any of those claims, whether its application violates the First

10 and/or Fourteenth Amendments of the U.S. Constitution.

11               420.     The adjudication of §230(c)’s application to each of the claims for relief alleged

12 herein raises important federal questions of law that are a fundamental and threshold element

13 regarding the legal sufficiency of each claim, whether they arise under state or federal law.

14               421.     The resolution of those questions will also ensure the uniform application of federal

15 law regarding the extent to which Congress both intended and could immunize the largest ISP in

16 the world for claims that arise from online, digital redlining whereby Defendants profile and use

17 the race, ethnicity, national origin, sex, gender or other protected identity classification to make

18 equal access decisions on the TOS and other promises and law that govern the parties’ respective
19 legal obligations and rights, including the licensing, access, and monetization rights of Plaintiffs
20 and the other 50 million YouTubers in the U.S. who make up the Race Discrimination Class.

21               422.     The federal issues of law that arise from §230(c)’s application to Plaintiffs’ claims

22 herein are essential to the adjudication of each and every claim for relief that is (1) necessarily

23 raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal court without

24 disrupting the federal-state balance approved by Congress.

25               423.     Plaintiffs request declaratory relief that this Court interpret, construe, and determine

26 the scope and application of §230(c) with respect to each and every claim in this case arises under

27 federal law within the meaning of §1331. Grable & Sons Metal Prods. v. Darue Engineering. &

28 Mfg., 545 U.S. 308, 314-316 (2005). See also Gunn v. Minton, 568 U.S. 251, 258-259 (2013);

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 1 Sarauer v. International Association of Machinists and Aerospace Workers, District No. 10, 966

 2 F.3d 661, 673-675 (7th Cir. 2020); Noatex Corp. v. King Construction of Houston LLC, 74

 3 F.Supp.3d 764, 772-774 (N.D. Miss., 2014) (applying Grable and holding that federal

 4 constitutional due process challenge to state “Stop Notice” law presents a federal question that

 5 creates federal jurisdiction under declaratory judgment act) (citing Martinez v. State of California,

 6 444 U.S. 277, 279 (1980)).

 7               A.      Pertinent Provisions of 47 U.S.C. §230(c)
 8               424.    The CDA provides “Protection for ‘Good Samaritan’ blocking and screening of
 9 offensive material”:

10               (1) Treatment of publisher or speaker
11               No provider or user of an interactive computer service shall be treated as the publisher or
12               speaker of any information provided by another information content provider.
13               (2) Civil liability
14               No provider or user of an interactive computer service shall be held liable on account of —
15                       (A) any action voluntarily taken in good faith to restrict access to or availability of
16               material that the provider or user considers to be obscene, lewd, lascivious, filthy,
17               excessively violent, harassing, or otherwise objectionable, whether or not such material is
18               constitutionally protected; or
19                       (B) any action taken to enable or make available to information content providers or
20               others the technical means to restrict access to material described in paragraph (1). 47
21               U.S.C. § 230(c).
22               425.    Civil claims for relief that implicate intellectual property rights, such as licensing
23 agreements, are expressly exempted from immunity under 47 U.S.C. §230(e)(2).

24               426.    With respect to any other legal claims for civil relief that are found to trigger the
25 federal statutory grant of immunity, §230(c) preempts “any State or local law that is inconsistent

26 with this section.” 47 U.S.C. §230(e)(3); see also Domen v. Vimeo, Inc., 6 F.4th 245, 249-53 & n.4

27 (2d Cir. 2021) (§230(c) (preempts all state laws).

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 1               427.   When it comes to immunity for civil liability, furthermore, §230(c) permits an ISP

 2 to contract out of some or all of §230(c)’s immunity provisions with users. Barnes v. Yahoo!, Inc.,

 3 570 F.3d 1096, 1108-1109 (9th Cir. 2009) (§230(c)(1) merely “creates a baseline rule” of “no

 4 liability for publishing . . . the content of other information service providers,” and “[i]nsofar as

 5 [Defendants] made a promise with the constructive intent that it be enforceable, it has implicitly

 6 agreed to an alteration in such baseline” rule).

 7               B.     Procedural History Of This Case And Controversy
 8               428.   On November 19, 2019, the Honorable Brian C. Walsh, Judge of the Superior Court
 9 of the County of Santa Clara (the “State Court”), ruled in Prager University v. Google LLC, Santa

10 Clara County Superior Court Case No. 19CV340667,that 47 U.S.C. §230(c) “immunizes service

11 providers [such as Defendants] who endeavor to restrict access to material deemed objectionable,”

12 by employing filters to remove users’ content from their platforms based on the race, ethnicity or

13 other protected identity of the user rather than the actual online content posted by the user on the

14 platform. 2019 WL 8640569, at *7 (Cal. Super. Ct. Nov. 19, 2019).

15               429.   Furthermore, the State Court ruled that, notwithstanding the express good faith
16 language in language in §230(c)(2)(A), the content filtering and restrictions that internet service

17 providers like Defendants engage in are not subject to any good faith, objective judicial review of

18 the underlying content, or the internet providers filtering or restriction practices, but reside within
19 and are left to the sole, unfettered discretion of the internet provider who acts to filter and restrict
20 content at its whim. 2019 WL 8640569, at *10-11.

21               430.   In Prager, therefore, at least one state trial court has construed §230(c) as granting
22 Defendants absolute immunity for any and all content curation decisions, including decisions based

23 not on the actual online material, but on the race, sex, or other identity and dismissing plaintiffs’

24 claims without leave to amend despite detailed factual allegations, evidence, and party admissions

25 of identity based discrimination and animus in regulating and filtering speech on YouTube). 2019

26 WL 8640569, at *10-12.

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 1               431.   A true and correct copy of the November 19, 2019 Order issued by the Hon. Brian

 2 Walsh, granting Defendants’ immunity and dismissing all of plaintiffs’ claims for relief without

 3 leave to amend is attached as Exhibit I hereto.

 4               432.   On December 19, 2019, Plaintiffs timely filed a notice of appeal. The notice of

 5 appeal rendered the state court decision uncitable and of no substantive precedential or legal value

 6 in that case or any other until such time as the California appellate courts affirm the application of

 7 §230(c) to intentional discrimination and the federal courts, which are the final authority on federal

 8 questions of law, concur in that decision.

 9               433.   California Superior Court’s decision and the corresponding Notice of Appeal in

10 Prager II are alleged herein only to plead the current procedural status of the case and controversy

11 alleged herein and its implications for the uniform application of federal law.

12               434.   On August 13, 2019, 12 LGBTQ+ content creator and users filed a lawsuit against

13 these same Defendants asserting similar claims for relief to those asserted herein entitled Divino

14 Group, LLC et al., v. Google LLC, et al, Case No. 5:19-cv-004749 – VKD (N.D. Cal.) (“Divino”).

15 In Divino, the LGBTQ+ Plaintiffs made a similar request for a declaratory judgment under 28

16 U.S.C. §§2201, et seq. clarifying that § 230(c) immunity did not and could not apply to these

17 Defendants because they engage in identity based data profiling and then use that aggregated data

18 to filter, restrict, and deny content or access to LGBTQ+ users on YouTube based on their gender,
19 sex, sexual orientation, or other protected LGBTQ+ identity classifications, and, that if not so
20 construed, requesting that the Court declare the law unconstitutional as applied to the claims and

21 allegations under Denver Area and progeny.

22               435.   On May 18, 2020, the United States Department of Justice (“DOJ”) intervened in

23 the Divino case and filed a brief defending the application of §230(c) to ISPs who filter, review,

24 restrict, block, or censor online speech based on a user’s race, ethnicity or other protected identity

25 without regard to whether the online speech of the user violated the content based rules of the

26 internet site or the provisions of §230(c).

27               436.   The Court held a hearing on that issue on June 2, 2020. At the hearing, these same

28 Defendants conceded that immunity might not be available in limited but unspecified

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 1 “circumstances” involving race discrimination. But Defendants maintained the contradictory

 2 position, as they do in this case, that intentional and systematic discrimination used to profile,

 3 review, and block the access and content of users based on protected identity classifications,

 4 including race, ethnicity, national origin, sex, or gender identity, was a traditional publishing

 5 function that Congress intended to encourage and permit by granting Defendants absolute and

 6 categorical immunity from civil liability based on violations of longstanding anti discrimination

 7 laws intended to protect Plaintiffs and the Race Discrimination Class from race based

 8 discrimination under contract.

 9               437.   On January 6, 2020, the Court, invoking the doctrine of “constitutional avoidance”

10 declined to adjudicate the interpretation, construction, and application of § 230(c) to any of the

11 claims in Divino, and dismissed all of the state law claims without prejudice for lack of jurisdiction

12 to obviate the need to decide any of the immunity issues raised in that case.

13               438.   On June 25, 2021, this Court followed suit. It sought to “avoid” or obviate the need

14 to decide the construction, application, and constitutionality of §230(c) at this juncture by

15 dismissing the federal claims with leave to amend, and the state law claims for lack of federal

16 jurisdiction. The Court invited Plaintiffs to replead allegations that address the Court’s merits and

17 jurisdictional issues that rendered unripe for decision the request for declaratory relief related to

18 Defendants’ assertion that Congress granted them complete immunity for race discrimination and
19 other unlawful and deceptive conduct under contract.
20               439.   Plaintiffs have amended those and other allegations herein, and the interpretation,

21 scope, applicability, and/or constitutionality of §230(c) presents a justiciable case and controversy

22 that is ripe for declaratory relief under §2201.

23               C.     Justiciable Legal Controversies Currently Exist Regarding The Construction
                        And Constitutionality Of 47 U.S.C. §230(c)
24
                 440.   At least four actual controversies now exist between the parties regarding the proper
25
     construction, scope, application, and constitutionality of the CDA statutory immunity granted to
26
     internet service providers given the unique allegations and claims asserted against Defendants in
27
     this case.
28

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 1               441.   Each of the controversies arise from a dispute about the extent to which §230(c)

 2 immunizes an internet service provider that discriminates against users because of the user’s race,

 3 ethnicity or other protected identity, including any profiling or consideration of Plaintiffs’ race in

 4 making access decisions on YouTube.

 5               442.   And each must be decided in order to resolve whether Plaintiffs have stated claims

 6 for relief, including each and every one of the state law claims under Rule 12(b)(6).

 7                      1.     An Actual Controversy Exists As To Whether Defendants Have
                               Contracted Out Of §230(c) Immunity Under The TOS And Other
 8                             Agreements And Promises Made To Plaintiffs
 9               443.   As alleged supra, a justiciable controversy exists as to whether Defendants have

10 contracted out of §230(c) immunity, and have contractually agreed that the grant of federal

11 immunity under §230(c) does not apply to any of the claims, defenses, and disputes between

12 Defendants and Plaintiffs alleged herein, other than certain claims for defamation arising from the

13 posting of third party content on YouTube.

14               444.   If, as the Ninth Circuit held, §230(c) (1) merely “creates a baseline rule” of “no

15 liability for publishing” and “[i]nsofar as [Defendants] made a promise with the constructive intent

16 that it be enforceable, [they have] implicitly agreed to an alteration in such baseline” rule. Here,

17 Defendants expressly contracted with and promised Plaintiffs that in exchange for granting

18 Defendants licensing and access to collect and monetize Plaintiffs’ personal digital data,
19 Defendants promise equal access to the YouTube platform and services, subject only to Guidelines,
20 rules and policies that apply to all users and content. In so doing, Defendants promise that §230(c)

21 is applicable only to defamation claims arising from content.

22               445.   Plaintiffs seek a declaratory judgment that such a promise exists and is enforceable

23 under the TOS and other promises made by Defendants to Plaintiffs.

24                      2.     An Actual Controversy Exist As To Whether The Provisions Of §230(c)
                               Immunize Defendants From Race, Ethnicity Or Other Protected
25                             Identity Discrimination In Filtering And Blocking Online Content And
                               Access
26
                 446.   A second justiciable controversy exists as to whether §230(c)(1) or (2) grants
27
     immunity to an ISP that breaches an express or implied contractual promise not to discriminate
28

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 1 against users based on a person’s race, ethnicity or other protected identity when reviewing,

 2 restricting, or denying access to YouTube under license and use agreements between the user and

 3 the ISP.

 4                      3.     An Actual Controversy Exists As To Whether §230(c) Immunizes
                               Defendants For Conduct That Violates Plaintiffs’ Equal Protection
 5                             Rights Under Longstanding Antidiscrimination Laws
 6               447.   A third justiciable controversy exists as to whether the provisions of §230(c)(1) or

 7 (2) permit Defendants to engage in unlawful conduct that uses a person’s race, ethnicity or other

 8 protected identity to restrict online material and access in contravention of established federal and

 9 state laws prohibiting such discrimination in contract, 42 U.S.C. §1981 and Unruh Civil Rights Act,

10 Cal. Civ. Code §§51, et seq., unlawful, deceptive or anticompetitive business practices, including

11 conduct prohibited under §1124 of the Lanham Act and §17200 of the California Business and

12 Professions Code, and discriminatory censorship in violation of the Liberty of Speech Clause

13 enshrined in Article 1, Section 2 of the California Constitution.

14                      4.     The Provisions And/or Application Of Any Part Of §230(c) To Claims
                               Arising Out Of Race, Ethnicity Or Other Protected Identity
15                             Discrimination Is Unconstitutional
16               448.   A fourth justiciable controversy exists as to whether §230(c) is unconstitutional

17 because it violates the First Amendment and/or Equal Protection Clause of the U.S. Constitution on

18 its face and/or as applied to this Lawsuit.
19               449.   Construing any provision of the “Good Samaritan Immunity For Blocking On line
20 Material” under §230(c) as permitting an ISP to use a person’s race, ethnicity or other protected

21 identity to filter, review, or block online access or content is unconstitutional under the test

22 governing the constitutionality of permissive private party speech laws.

23               450.   §230(c) (1) and (2) is congressional law that was enacted to permit a private party to

24 regulate online speech. Consequently, under Denver Area and progeny, the law cannot be applied

25 in a manner that is NOT identity or viewpoint neutral, must be narrowly tailored and applied to

26 avoid the risk of erroneous private censorship, and may not be used to interfere or alter the

27 preexisting legal relationships between the parties.

28

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 1               451.   Furthermore, the application of §230(c) to preclude Plaintiffs and the Race

 2 Discrimination Class from asserting claims for discrimination under contract, false advertising,

 3 deceptive trade practices, unlawful regulation of public speech, and breach of contract, all of which

 4 arise from the core allegation that Defendants profile and use Plaintiffs’ protected racial identities

 5 to filter, restrict, block content, and deny equal access to YouTube also violates the Fourteenth

 6 Amendment. Plaintiffs’ racial identities are protected under federal and state law from

 7 discrimination and only they and the Race Discrimination Class have standing to bring claims for

 8 discrimination or disparate treatment based on their protected racial status.

 9               452.   Consequently, the application of §230(c) to bar Plaintiffs from asserting claims that

10 arise from and are based on their protected status from racially disparate treatment or racial identity

11 based classifications by definition singles them out and denies them equal protection under the laws

12 of the United States and California. Congress cannot enact, and the courts cannot apply, law that

13 permits Defendants to treat Plaintiffs differently or otherwise denies them the benefits of their

14 contractual and statutory rights because of their race or other protected identity or status.

15               D.     Plaintiffs Served Rule 5.1 Notice On The U.S. Attorney General
16               453.   In challenging the Constitutionality of the CDA, Plaintiffs must comply with
17 Federal Rule of Civil Procedure 5.1 which requires that “[A] party . . . promptly [] file a notice of

18 constitutional question stating the question and identifying the paper that raises,” where “a federal
19 statute is questioned and the parties do not include the United States, one of its agencies, or one of
20 its officers or employees in an official capacity.” Fed. R. Civ. P. 5.1. Under Rule 5.1 “statute”

21 means any congressional enactment that would qualify as an “Act of Congress.”

22               454.   Rule 5.1 requires more than the court certification provided by 28 U.S.C. §2403;
23 Rule 5.1 requires notice and certification to the United States Attorney General of any

24 constitutional challenge to a federal statute, not merely to challenges of laws “affecting the public

25 interest.” 28 U.S.C. §2403.

26               455.   The CDA constitutes a federal statute under Rule 5.1.
27               456.   Plaintiffs have served the Rule 5.1 Notice on the United States Attorney General
28 stating that Plaintiffs are challenging the constitutionality of 47 U.S.C. §230(c), identifying the

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 1 CDA, and attaching a copy of this Complaint, and a copy of Judge Walsh’s November 19, 2019

 2 Order.

 3               457.   Plaintiffs have served the Rule 5.1 Notice and attachments by certified mail and

 4 have sent a copy of the Notice and attachments to the United States Attorney General by overnight

 5 delivery service.

 6               458.   28 U.S.C. §2403 also requires that the Court notify the United States Attorney

 7 General of Plaintiffs’ First Cause of Action set forth in this Complaint: “In any action, suit or

 8 proceeding in a court of the United States to which the United States or any agency, officer or

 9 employee thereof is not a party, wherein the constitutionality of any Act of Congress affecting

10 the public interest is drawn in question, the court shall certify such fact to the Attorney

11 General, and shall permit the United States to intervene for presentation of evidence, if evidence is

12 otherwise admissible in the case, and for argument on the question of constitutionality. The United

13 States shall, subject to the applicable provisions of law, have all the rights of a party and be subject

14 to all liabilities of a party as to court costs to the extent necessary for a proper presentation of the

15 facts and law relating to the question of constitutionality.” 28 U.S.C. §2403(a) (emphasis added).

16               459.   Accordingly, Plaintiffs respectfully request that the Court certify to the United

17 States Attorney General of the United States that 48 U.S.C. §230(c), a federal statute, has been

18 challenged by Plaintiffs on the grounds averred below.
19               460.   In complying with the notice requirements under Rule 5.1, Plaintiffs are not waiving
20 but are expressly reserving their rights to assert that the United States has a conflict of interest that

21 may preclude intervention under Rule 5.1, and/or to seek other appropriate relief, including

22 disqualification, and oppose intervention, in this Lawsuit or any other proceeding that conflicts

23 with the policy of the United States that §230(c) does not permit or immunize race, ethnicity or

24 other protected identity discrimination.

25

26

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 1                                       SECOND CAUSE OF ACTION
                              For Freedom Of Speech Under The First Amendment
 2                                  United States Constitution, Amendment 1
                      (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
 3

 4               461.    Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,

 5 each of the allegations set forth in paragraphs 1 through 454 above.

 6               A.      Procedural Background

 7               462.    The First Amendment prohibits a party from engaging in “state action” that violates

 8 or harms a person’s right to engage in speech, association, expression, or other activity protected by

 9 the Amendment.

10               463.    Since at least 1946, the U.S. Supreme Court has held that the First Amendment

11 protects persons from private parties who engage in “state action” to restrict speech in ways that

12 violate the First Amendment.

13               464.    Private parties can be state actors whose conduct is subject to judicial scrutiny and

14 held to account under the U.S. Constitution in a number of different circumstances, including, but

15 not limited to, a private party who (1) engages in a public function that has been traditionally

16 reserved as the exclusive province of government, such as operating a company town or providing

17 a service for the administration of a traditional government function like elections or law

18 enforcement (the “Public Function Test”); and/or (2) is the beneficiary of a government law that
19 endorses or permits the party to engage in conduct that interferes with a fundamental constitutional
20 right in a manner that the government may not (the “Permissive Endorsement Test”).

21               465.    The issue of when a private party is engaged in “state action” under either of these

22 or other tests, is dependent on particular circumstances and has not been applied by the courts as a

23 one size fits all.

24               466.    As a result, the extent to which circumstances may exist in which a private party

25 engages in conduct that violates the First Amendment remains murky and unclear.

26               467.    In Manhattan Cmty. Access Corp. v. Halleck, --- U.S. --, 139 S. Ct. 1921 (2019),

27 the Supreme Court held that and private owner-operator of a public access cable channel who

28 regulates public speech on that channel does not become a state actor solely by the mere of making

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 1 a privately owned television channel available for as a forum for speech: “a private entity who

 2 provides a forum for speech is not transformed by that fact alone into a state actor.” Manhattan

 3 Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019).

 4               468.   In so doing, however, the Court in Halleck limited its 5-4 decision to the

 5 circumstances of that case and declined to overrule prior cases in which a private party who

 6 regulates speech or engages in conduct that is otherwise prohibited under the Constitution was

 7 found to be a “state actor” who was subject to constitutional scrutiny.

 8               469.   Instead, the Court “stressed” that “very few” functions fall into that category of

 9 “state action,” including, “for example, running elections and operating a company town. Id. at

10 1929, 204 (citing Terry v. Adams, 345 U.S. 461, 468–470 (1953) (elections); Marsh v. Alabama,

11 326 U.S. 501, 505–509 (1946) (company town); Smith v. Allwright, 321 U.S. 649, 662–666 (1944)

12 (elections); Nixon v. Condon, 286 U.S. 73, 84–89 (1932) (elections).

13               470.   The Court also stated that “a variety of functions do not fall into that category,

14 including, for example: running sports associations and leagues, administering insurance payments,

15 operating nursing homes, providing special education, representing indigent criminal defendants,

16 resolving private disputes, and supplying electricity.” Id. (citing American Mfrs. Mut. Ins. Co. v.

17 Sullivan, 526 U.S. 40, 55–57 (1999) (insurance payments); National Collegiate Athletic Assn. v.

18 Tarkanian, 488 U.S. 179, 197, n. 18 (1988) (college sports); San Francisco Arts & Athletics, Inc. v.
19 United States Olympic Comm., 483 U.S. 522, 544–545 (1987) (amateur sports); Blum, 457 U.S. at
20 1011–1012 (nursing home); Rendell-Baker, 457 U.S. at 842 (special education); Polk County v.

21 Dodson, 454 U.S. 312, 318–319 (1981) (public defender); Flagg Bros., 436 U.S. at 157–163

22 (private dispute resolution); Jackson, 419 U.S. at 352–354 (electric service).

23               471.   Consequently, allegations that the relevant function in this case is only the operation

24 of public access channels on a cable system, is not a “function [that is] traditionally and exclusively

25 been performed by government to be establish “state action” under the Public Function Test. Id.

26               472.   Beyond those statements, however, the Court in Halleck did not specify what the

27 pleading requirements are for establishing state action under one of the few “public functions” that

28 would trigger constitutional scrutiny. Nor was it presented with or had occasion to consider

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 1 whether the private parties conduct was undertaken under a government enacted law that permitted

 2 unlawful conduct, including race discrimination, in contravention of fundamental constitutional

 3 rights, so as to trigger a limited state action under the Permissive Endorsement Test set forth in

 4 Skinner v. Ry. Labor Executives' Ass'n, 489 U.S. 602, 109 S. Ct. 1402, 1407 (1989).

 5               473.   In Prager University v. Google LLC, the Ninth Circuit applied Halleck to hold that

 6 YouTube does not “lose its private character merely because the public is generally invited to use it

 7 for designated purposes” because “YouTube may be a paradigmatic public square on the Internet,

 8 but it is ‘not transformed’ into a state actor solely by “provid[ing] a forum for speech.” Prager

 9 Univ. v. Google LLC, 951 F.3d 991, 997 (9th Cir. 2020) (citing Halleck, 139 S. Ct. at 1930, 1934).

10               474.   But like Halleck, Prager did not, nor could it, overrule or eliminate the Public

11 Function Test doctrine of state action nor did it specify what the pleading requirement were for

12 establishing one of “the few” functions that will trigger state action. And it appears that the

13 decision may be in conflict with Halleck and earlier cases when it held that public forum

14 designations are “not a matter of election by a private entity” and “[we] decline to subscribe to

15 Prager U’s novel opt in theory of the First Amendment. Id. at 999 (9th Cir. 2020) (citing Cent.

16 Hardware, 407 U.S. at 547 (holding only that “[b]efore an owner of private property can be

17 subjected to the commands of the First and Fourteenth Amendments the privately owned property

18 must assume to some significant degree the functional attributes of public property devoted to
19 public use”).
20               475.   Furthermore, the Ninth Circuit did not mention, or consider in any manner, the more

21 limited theory of Permissive Endorsement “state action” based on Defendants’ use of §230(c), a

22 congressional speech regulation law, to unlawfully restrict speech 95% of the world’s video speech

23 based on race discrimination, and other protected identity classifications that conflict with

24 Plaintiffs’ fundamental equal protection and speech rights under the Supreme Court’s seminal case

25 in Skinner.

26               476.   Consequently, no Court has ruled, nor could it, that Defendants can never engage,

27 under any circumstances, in “state action” that is subject to judicial scrutiny under the First

28 Amendment. Nor has the pleading standards and requirement for such a claim been established,

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 1 other than Defendants must be engaged in one of the few public functions identified in Halleck or

 2 use a congressional statute to do what they could not otherwise do under established law:

 3 discriminate against Plaintiffs’ speech based on their race, ethnicity or other protected identity.

 4               B.     Permissive Endorsement Allegations Of State Action
 5               477.   In Skinner, private railroad companies were preparing to implement suspicion based
 6 breath and urine testing of their employees pursuant to recently enacted federal regulations referred

 7 to in the case as “Subpart D.” Skinner, 489 U.S. at 611. Like §230(c)(2) of the CDA, Subpart D

 8 was “permissive”; it did not compel the testing, but rather left the decision to the railroads. Id.

 9 Crucially, however, again like §230(c)(2), Subpart D conferred state-law immunity: it protected

10 railroads from being sued under state law if they chose to test. Skinner, 489 U.S. at 611, 614-15

11 (Subpart D “pre-empt[ed] state laws, rules or regulations covering the same subject matter” and

12 thus “removed all legal barriers to the testing”). In so doing, a unanimous Supreme Court held:

13               “[t]he fact that the Government has not compelled a private party to perform a
14               search does not, by itself, establish that the search is a private one. Here, specific
15               features of the regulations combine to convince us that the Government did more
16               than adopt a passive position toward the underlying private conduct.
17 Id. at 615.

18               478.   Under Skinner, the elements of a state action claim under the Permissive
19 Endorsement Test are: (1) reliance on a government law that removes all laws and legal barriers to
20 private conduct that would otherwise unlawful and does so in a way that impacts a fundamental

21 constitutional right; (2) a defendant uses the law to engage in that unlawful conduct; and (3) the

22 government shares in the fruits or benefits in some way from the unlawful conduct.

23               479.   Defendants rely on Congress’ intent to protect children from offensive content to
24 justify discrimination against Plaintiffs and regulate their speech based, not on offensive materials

25 in content, but based on Plaintiffs’ race, ethnicity, or other protected identity in violation of federal

26 or state law.

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 1               480.   Defendants use §230(c) to preempt state law and obtain complete immunity in a

 2 manner that removes all legal barriers to the regulating, blocking, or restricting of content based on

 3 Plaintiffs’ race, ethnicity or other protected identity.

 4               481.   The Communications Decency Act was, as the statute’s name indicates, enacted by

 5 Congress to restrict access to “indecent” content on the Internet. 141 Cong. Rec. S8330 (daily ed.

 6 June 14, 1995) (statement of Sen. Exon).

 7               482.   The express purpose of §230(c)(2) is to encourage Internet platforms like Google

 8 and YouTube to “restrict” “obscene, lewd, lascivious, filthy, excessively violent, harassing, or

 9 otherwise objectionable” material. 47 U.S.C. §230(c)(2).

10               483.   “The intent of Congress in enacting §230(c)(2) was to encourage efforts by Internet

11 service providers to eliminate such material.” Goddard v. Google, No. C 08-2738 JF (PVT), 2008

12 WL 5245490, at *6 (N.D. Cal. Dec. 17, 2008) (emphasis added).

13               484.   §230(c) makes clear Congress’ “strong preference” for regulating online speech

14 based on race, ethnicity or other protected identity and for allowing Defendants to discriminate

15 against Plaintiffs in violation of established federal and state law.

16               485.   The federal government has also made clear its “desire to share the fruits” of the

17 unlawful and discriminatory conduct undertaken by Defendants with respect to regulating online

18 speech, law enforcement, information gathering, and other government services.
19               486.   By way of one example only, in the six-month period from January to June 2017,
20 when Defendants first admitted that they were knowingly and intentionally profiling and targeting

21 users based on race, ethnicity, and other protected identities, Google received almost 17,000

22 requests from U.S. law enforcement to turn over information regarding users’ content and searches.

23 See Cooperation or Resistance?: The Role of Tech Companies in Government Surveillance, 131

24 Harv. L. Rev. 1722, 1722 (2018). Google provided information to the government in some 80% of

25 those cases.

26               487.   While Congress does not “require” or mandate Defendants to discriminate or break

27 the law under §230(c), according to Defendants, Congress has licensed Defendants to discriminate

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 1 under contract, or violate any other civil law, when they choose to do so, while every other non-

 2 internet business provider may not.

 3               488.   If Defendants are right, then they are state actors whose conduct is subject to

 4 scrutiny under federal law. Indeed, if that were not the law, the First Amendment is effectively

 5 meaningless because Congress need only license and immunize private parties to do what it cannot:

 6 restrict speech to protect minors by allowing the private censor to use race, ethnicity or other

 7 protected identities of the user, rather than the material in the content to restrict free speech.

 8               489.   That is certainly a Congressional endorsement, if not a mandate, for otherwise

 9 unlawful race discrimination. Indeed, if Congress can avoid constitutional scrutiny of

10 unconstitutional race discrimination under contract and identity based regulation of protected

11 speech simply by immunizing certain private parties from civil or criminal liability that the

12 government could not directly engage in or otherwise sponsor, then Congress can eviscerate any

13 provision of the Constitution simply by enacting immunity laws for the benefit of global ISPs.

14               490.   According to the Ninth Circuit, a private party that invokes or relies on a federal law

15 to either target (1) speech that is vulnerable to private censorship “in a context where content based

16 discrimination is not otherwise permitted” or (2) persons who are protected from discrimination

17 under the Equal Protection Clause will trigger state action, especially where, as here, the law is

18 being used to deny African Americans, Hispanics, or other protected identities equal benefits under
19 contract and the law. See Roberts v. AT&T Mobility LLC, 877 F.3d 833 (9th Cir. 2017), cert.
20 denied, 138 S. Ct. 2653 (2018), id., at 841 (citing and discussing Denver Area and Shelley v.

21 Kraemer, 334 U.S. 1 (1948)).

22               491.   Defendants’ invocation of §230(c) to allow the global internet cartels to “target” and

23 discriminate against African Americans, Hispanics and other users, based on their race, ethnicity,

24 or other protected identity -- is precisely such a case. As noted in Roberts, the use of a federal

25 statute to permit selected private parties to engage in identity based race discrimination of speech in

26 violation of contract is not analogous to the right of all private parties to have a federal court

27 enforce a clearly established contractual right to arbitrate under the Federal Arbitration Act (the

28 “FAA”).

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 1               492.   Plaintiffs are not claiming that they have a right, let alone a constitutional one, to

 2 avoid a contractual promise to arbitrate disputes. Nor do they dispute Defendants’ right to have

 3 this Court enforce any valid contract provision against them under the FAA or any other

 4 jurisdictional law.

 5               493.   Rather, Defendants invoke §230(c) to “single out the sort of speech for vulnerability

 6 to private censorship in a context where content-based discrimination is not otherwise permitted”

 7 and do so by unlawfully discriminating against persons because of their race, ethnicity, or other

 8 protected status. gender, sexual orientation or personal identities. Defendants admit that their

 9 filtering tools “target” the Plaintiffs by using aggregated personal data about their race, ethnicity or

10 other protected identity. And that the digital targeting or redlining is confirmed by Defendants’

11 own admissions, empirical research studies and the chart comparing Defendants’ treatment of

12 Plaintiffs and their videos to those of other white or “preferred” content creators.

13               494.   Instead of proving that these allegations of intentional racial targeting and the

14 disparity in content curation, restriction, and platform access are the result of a racially neutral

15 reason, Defendants invoke §230(c) to legalize intentional illegal systemic digital redlining and race

16 discrimination under contract. Defendants assert that Congress expressly authorized them to

17 protect children on the internet by targeting Plaintiffs and their content based on their race,

18 ethnicity, or other protected identity.
19               495.   According to Defendants, Congress licensed them, and only them, to violate
20 Plaintiffs contractual rights to equal access to YouTube without civil liability. Thus, if Defendants

21 ae correct that they, and they alone, were permitted by Congress to discriminate under contract and

22 violate the law with impunity when it comes to African American, Hispanic, or other protected

23 persons based on the racial identity of the speaker or use not the content of the speech posted on the

24 internet, then Congress has endorsed that illegal conduct.

25               496.   There is no rational or possible reason that Defendants need to discriminate based on

26 Plaintiffs racial identity to protect minors from offensive internet content by regulating on-line

27 speech. Thus, notwithstanding the “permissive” nature of a law that uses an immunity grant to

28 “encourage” Defendants to regulate on line content to protect children and younger audiences from

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 1 offensive conduct on the internet by regulating the racial identity of the speaker rather than actual

 2 speech, Defendants assertion that §230(c) allows them to discriminate against persons under

 3 contract because of race, if correct and constitutional, sufficient to make Defendants state actors,

 4 endorsed and licensed by congress to engage in race discrimination in direct violation of the First

 5 Amendment and Equal Protection rights of racially protected persons.

 6               497.   Under Defendants’ reading of §230(c), is Congress free to immunize private groups

 7 for liability related to intimidating voters, intimidating women of color seeking health care, or

 8 preventing people of color from enforcing hate crime laws all because the offender is a private

 9 party and Congress sought to mitigate against election fraud or some other general public concern?

10               498.   According to Defendants, the answer would be “yes,” because the offenders are

11 private parties that Congress merely permitted, but did not mandate, to threaten, interfere with, and

12 attack rights of racially protected persons and other protected classifications of Americans. And,

13 according to Defendants, Congress granted them immunity for their actions no matter how

14 arbitrary, racist, unlawful, or unconstitutional.

15               499.   Defendants’ use of §230(c) to engage in discrimination and other unlawful conduct

16 under state and federal law to regulate online “material” on the internet is government endorsed of

17 the unlawful conduct and renders that conduct “state action” under Skinner and the Permissive

18 Endorsement Test.
19               C.     State Action Allegations Under The Public Function Test
20               500.   Under Halleck and Prager, the elements of state action under the Public Function
21 Test Appear to be: (1) Defendants are engaged in functions and conduct that fall into the categories

22 of “state action” that includes, but is not limited to, “running elections and operating a company

23 town.”

24               501.   On or about December 2019, Defendants merged their different TOS into a single
25 contract whereby Defendants’ discretion to find a violation YouTube’s content based rules can be

26 used by Defendants to bar the user from using any or all services offered by Defendants in any way

27 including, the purchase and use of hand held smart phone, email, search engines, applications, and

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 1 information or other services that are essential for public health, safety, law enforcement, election

 2 administration, taxation, and any other service performed by governments.

 3               502.   Defendants also operate a “company town” in which they control essential

 4 information and communication services without which local, state, or federal government agencies

 5 cannot provide or otherwise administer essential services including elections.

 6               503.   Until, if ever, the Supreme Court eliminates the Public Function Test for “state

 7 action” in all cases as a matter of law, Defendants’ use and regulation of speech and information

 8 services on YouTube involves the “very few” functions that satisfy the Public Function Test for

 9 “state action.”

10               D.     Defendants’ Conduct Violates The First Amendment
11               504.   Defendants continue to filter, restrict, block and/or interfere with Plaintiffs’ rights to
12 access, use, and express themselves on YouTube.

13               505.   Defendants’ filtering, restricting, and blocking on Plaintiffs’ speech and expressive
14 conduct on YouTube violates Plaintiffs’ First Amendment rights because the conduct is not based

15 on the platform’s viewpoint neutral rules governing what content is and is not permissible, but on

16 Plaintiffs’ race, ethnicity or other protected identity.

17               506.   Defendants’ censorship and other speech regulation conduct harms and violates
18 Plaintiffs’ speech rights on YouTube in direct contravention of the procedural and substantive
19 viewpoint neutral content based rules that Defendants created, published, and use to regulate
20 speech on YouTube.

21               507.   Furthermore, Defendants’ rules, both as applied and on their face, are subjective,
22 vague, and overbroad criteria and proscription that Defendants use with unfettered and unbridled

23 discretion to censor speech for any reason, or no reason at all, no matter how arbitrary or capricious

24 in further violation of Plaintiffs’ First Amendment Rights.

25               508.   Defendants also maliciously use and apply the Rules as a pretext to censor and
26 restrict Plaintiffs’ speech for unlawful purposes including race and identity discrimination against

27 protected classes of users and to gain a competitive advantage over Plaintiffs and other users who

28 Defendants compete with in YouTube.

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 1               509.   Defendants’ conduct, including the application of purportedly viewpoint neutral

 2 rules, are arbitrary and capricious, and unlawfully restrains and harms Plaintiffs and all members of

 3 the Race Discrimination Class, based upon profiling of the speaker, by race, ethnicity or other

 4 protected identity -- rather than the actual material in the posted content. Defendants’ actions,

 5 therefore, also violate Plaintiffs’ right to free association and assembly under the First Amendment.

 6               510.   Defendants’ actions violate Plaintiffs’ right to free association and assembly because

 7 , by blocking viewers’ access to videos and comments based on the race, ethnicity or other

 8 protected identity of the speakers or other materials featured in their content that do not violate

 9 YouTube’s viewpoint neutral “content based” rules.

10               511.   No compelling, significant, or legitimate reason justifies any or all of Defendants’

11 actions, including the purported interest claimed by Defendants for the need to protect minors or

12 sensitive audiences from offensive content because Plaintiffs’ content is not “offensive” or

13 otherwise violates Defendants’ purported viewpoint neutral rules.

14               512.   And even if such interests did exist to justify Defendants’ restriction and

15 demonetization rules in theory, the conduct and restrictions imposed on Plaintiffs’ speech are

16 unconstitutional because they are not narrowly or reasonably tailored to further such interests, but

17 sweep within their ambit speech and expression that complies with the rules that Defendants use to

18 purportedly protect minors and sensitive audiences and are applied by Defendants with unfettered
19 power to censor speech based on race, ethnicity or other protected identity, or for any other
20 discriminatory or unlawful reason or no reason at all.

21               513.   Given Defendants’ monopolistic control over search results, online advertising,

22 public video content, and the myriad of other information services that Defendants unilaterally

23 control, Plaintiffs have no alternative affording them a reasonable opportunity to reach their full

24 intended audience.

25               514.   Defendants’ discriminatory policies and application of those policies are not

26 viewpoint neutral, are unreasonable in time, place, and manner, and are unreasonable in relation to

27 the nature, purpose, and use of the forum, but are unreasonable prior restraints on Plaintiffs’

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 1 protected political speech, motivated by impermissible discrimination against Plaintiffs’ race,

 2 ethnicity or other protected identities.

 3               515.     Defendants’ intentional and wrongful actions were taken with oppression, fraud,

 4 malice and/or are arbitrary and capricious, and as part of Defendants’ normal course of business,

 5 effectuated through both algorithms, as well as through human agents. Defendants’ actions were

 6 done knowingly and intentionally to deprive Plaintiffs and their viewers of their rights under the

 7 California Constitution.

 8               516.     As a direct and proximate result of Defendants’ violations of clearly established law

 9 regarding constitutional speech regulation on YouTube, Plaintiffs have suffered, and continue to

10 suffer, immediate and irreparable injury in fact to their right to Liberty of Speech, including, but

11 not limited to financial harms of lost income, reduced viewership, and damage to brand, reputation,

12 and goodwill, for which there exists no adequately complete remedy at law.

13                                          THIRD CAUSE OF ACTION
                           For Discrimination In Contract In Violation Of 42 U.S.C. § 1981
14                      (On Behalf Of Individual Plaintiffs And The Race Discrimination Class
15               517.     Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
16 alleged in paragraphs 1 through 510.

17               518.     Title 42, §1981 of the U.S. Code codifies the right of each individual member of a
18 protected racial classification to “have the same right in every State and Territory to make and
19 enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws and
20 proceedings for the security of persons and property as is enjoyed by white citizens.” 42 U.S.C.

21 §1981(a).

22               519.     The statute defines “make and enforce contracts” as including “the making,
23 performance, modification, and termination of contracts, and the enjoyment of all benefits,

24 privileges, terms, and conditions of the contractual relationship.” Id. §1981(b). The statutory

25 protections apply to both “nongovernmental discrimination” and “impairment under color of State

26 law.” Id. §1981(c).

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 1               520.   The elements of a claim for relief under 42 U.S.C. §1981 are: (1) Plaintiff is a

 2 member of a protected class; (2) impairment of a contractual relationship under which plaintiff has

 3 rights; (3) defendant impaired that relationship on account of racial discrimination (such that, but

 4 for race, plaintiff would not have suffered the loss of a legally protected right); and (4) plaintiff was

 5 deprived of such services while similarly situated persons outside the protected class were not. See

 6 Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020); Astre v.

 7 McQuaid, 804 Fed. App’x 665, 666-67 (Mar. 25, 2020); Lindsey v. SLT Los Angeles, LLC, 447

 8 F.3d 1138, 1145 (9th Cir. 2006).

 9               521.   Plaintiffs are African Americans, Hispanics and/or members of the protected class

10 under §1981.

11               522.   Plaintiffs entered into binding and legally enforceable contracts with Defendants

12 including the TOS and related agreement(s) under California and controlling federal law. See

13 Exhibits D-H.

14               523.   The contractual relationship between each Plaintiff and Defendants was impaired

15 with respect to the TOS and each and every one of the related agreements in at least five ways::

16                      a.     Defendants’ TOS, and any other agreements, under which they claim the

17 right to exercise “unfettered” discretion to impose content, use or services access restrictions based,

18 in any way, on Plaintiffs’ race, ethnicity or other protected identities, violates and impairs the TOS,
19 license agreements, and other service agreement(s) on its face;
20                      b.     Defendants continue to breach the TOS and other agreement(s), by

21 exercising their contractual discretion to profile, filter, restrict, and block Plaintiffs’ content and

22 access to YouTube, based on Plaintiffs’ race, ethnicity or other protected identities, in a manner

23 that is not permitted, but is expressly prohibited under California and federal law;

24                      c.     Defendants breached and continue to breach their express and implied

25 promises under the TOS and other related agreement(s) that You Tube shall not profile, use, base,

26 or impose any restrictions on Plaintiffs’ content or access to YouTube based, in any way, on a

27 user’s race, ethnicity or other protected identity, and only review, filter, and restrict Plaintiffs’

28

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 1 videos based on online video material that runs afoul of YouTube’s viewpoint neutral content

 2 based rules;

 3                      d.     Defendants’ use of content filtering, review, restricting, and blocking tools

 4 and procedures to profile and use Plaintiffs’ race, ethnicity, or other protected identities with

 5 respect to any provision in the TOS or related agreements, impairs each and every one of Plaintiffs’

 6 rights, express or implied, that exist in the TOS or other related agreement(s) that Defendants

 7 entered into with Plaintiffs; and

 8                      e.     Defendants impaired their contractual relationship with each Plaintiff

 9 because of Defendants’ intentional use of Plaintiffs’ race, ethnicity, or other protected identities to

10 review, filter, regulate, restrict, and block Plaintiffs’ videos and access to YouTube under the false

11 pretext that the material in the video was properly reviewed and found to violate one of YouTube’s

12 content based rules governing user content and access to the platform.

13               524.   Defendants impaired their contractual relationship with each Plaintiff on account of

14 intentional racial discrimination. Despite their promises of neutrality and a diversity of voices on

15 the YouTube platform, Defendants engage in a pattern and practice of intentional willful and

16 malicious discrimination in the provision of their services, including discriminating against and

17 censoring of Plaintiffs’ speech, based not upon the content of speech, but on their race. Through

18 the acts complained of herein, Defendants intentionally denied, and aided or incited in denying,
19 Plaintiffs full and equal accommodations, advantages, privileges, and services, by discriminating
20 against them in demonetizing Plaintiffs’ content and by placing their videos in “Restricted Mode.”

21 But for their race, Plaintiffs would not have been subjected to Defendants’ filtering or the denial of

22 their contractual benefits under the Agreements.

23               525.   The Defendants’ digital redlining and racial profiling is not a “mistake.” Rather, the

24 evidence shows that Defendants are engaged in digital redlining and racial profiling involving the

25 knowing and intentional use of aggregated personal digital data about the Plaintiffs’ race, ethnicity,

26 national origin, or other protected identities to make decisions regarding access to the YouTube

27 platform and Defendants’ services.

28

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 1                      a.     As stated in detail above, on September 14, 2017, Defendants told Stephanie

 2 Frosch that their A.I., algorithms, filters and automated systems were “targeting” the YouTube

 3 creators, subscribers and viewers based on identity, including their race.

 4                      b.     As shown in detail in the video comparison chart above, Defendants not only

 5 treat the Plaintiffs’ videos differently than the videos of white and/or preferred content creators (by

 6 applying “Restricted Mode,” and limiting monetization), Defendants actually ignore their own

 7 Community Guidelines and policies by allowing videos with materials that violate Defendants’

 8 neutral “content based” rules to be viewed by all audiences, and to earn unlimited revenue.

 9 Defendants’ A.I., algorithms, filters and automated systems not only incorrectly flag Plaintiffs’

10 videos for nudity, hate speech, drug usage and sexual content; Defendants’ automated tools simply

11 don’t apply to the Defendants’ original content and that of their preferred or sponsored creators.

12                      c.     Defendants’ computer programming codes that govern their automated

13 systems are driving the digital redlining and racial profiling on their platforms. Only an

14 examination of Defendants’ code will reveal the extent to which Defendants have discriminated,

15 and continue to discriminate on the basis of race, ethnicity, national origin and/or protected

16 identities. See Safiya Umoja Noble, “Algorithms of Oppression,” Apple Books;

17 https://books.apple.com/us/book/algorithms-of-oppression/id1327926683oble (“To be specific,

18 knowledge of the technical aspects of search and retrieval, in terms of critiquing the computer
19 programming code that underlies the systems, is absolutely necessary to have a profound impact on
20 these systems.”)

21                      d.     As Timnit Gebru has pointed out to Defendants, their A.I. has grown on a

22 diet of internet content, language and ideas chosen by Defendants’ own engineers from

23 Defendants’ platforms accessed by a narrow slice of the world, a slice that is predominantly white,

24 wealthy and homogenous. That A.I., is biased both in favor of its sources, and against the

25 multitudes have not contributed to A.I. growth because they lack access.

26               526.   Given this evidence summarized briefly above, absent discrete evidence of a racially

27 neutral explanation for the disparities in Defendants’ treatment of Plaintiffs’ channels and content,

28 Defendants’ conduct constitutes intentional discrimination in contract based on race because

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 1 Defendants have known since at least September 14, 2017 that the A.I., algorithms, filters and

 2 automated systems that they designed and programmed have been targeting and continue to target

 3 Plaintiffs based on race for profit. See Safiya Umoja Noble, “Algorithms of Oppression,” Apple

 4 Books; https://books.apple.com/us/book/algorithms-of-oppression/id1327926683 (“. . . Google

 5 biases search to its own economic interests—for its profitability and to bolster its market

 6 dominance at any expense.”)

 7               527.   The only way that this Court can be sure that the algorithm “problem” which

 8 Defendants have acknowledge since 2017 has been “fixed,” or is attributable to some other racially

 9 neutral reason, is to inspect the source code and metadata for the A.I., algorithms, filters and

10 automated systems which Defendants use. Defendants’ targeting of Plaintiffs based on race can

11 only be a “mistake” where the Defendants’ source code is entirely devoid of data regarding users’

12 race, ethnicity, national origin or other protected identities. See id., (“To be specific, knowledge of

13 the technical aspects of search and retrieval, in terms of critiquing the computer programming code

14 that underlies the systems, is absolutely necessary to have a profound impact on these systems.”)

15 What Defendants are doing, is no different than what the Government has prohibited the banking,

16 financial, real estate and other industries form doing for years – using race to make decisions about

17 services.

18               528.   If, as the evidence shows, Defendants have used or considered Plaintiffs’ race in any
19 way, for any decision regarding Plaintiffs’ access to the YouTube platform and Defendants’
20 services, then Defendants have violated §1981 with respect to each such decision, and every

21 creator, subscriber and viewer affected by that decision.

22               529.   Through the acts complained of herein, Defendants intentionally denied, and aided

23 or incited in denying, Plaintiffs full and equal accommodations, advantages, privileges, and

24 services, by discriminating against them in demonetizing Plaintiffs’ content and by placing their

25 videos in “Restricted Mode.” But for their race, Plaintiffs would not have been subjected to

26 Defendants’ filtering or the denial of their contractual benefits under the Agreements.

27               530.   While Defendants have impaired and denied, and continue to impair and deny,

28 Plaintiffs’ contractual benefits under the TOS and related agreement(s), similarly situated persons

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 1 who are not protected under the Race Discrimination Class were not similarly treated, including

 2 persons affiliated with or working for Defendants and/or their preferred users. Such persons are

 3 not being racially profiled and are not subject to the same content or access filtering, restrictions, or

 4 blocking despite material in their videos that violates YouTube’s content based rules.

 5               531.   As a direct and proximate result of Defendants’ unlawful discriminatory actions,

 6 Plaintiffs suffered, and continue to suffer, irreparable injury in fact, including, but not limited to:

 7 lower viewership, lost advertising opportunities otherwise available to other nonprofits, decreased

 8 ad revenue, and reputational damage, for which there exists no adequate remedy at law.

 9                                     FOURTH CAUSE OF ACTION
                                    For False Advertising In Violation Of
10                                  The Lanham Act, U.S.C. §1125, et seq.
                    (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
11
                 532.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
12
     alleged in paragraphs 1 through 520.
13
                 533.   “Time and again, the research shows that racial bias is perpetuated in the
14
     commercial information portals that the public relies on day in and day out.” The prioritization and
15
     circulation of misrepresentative and even derogatory information about people “is an incredible site
16
     of profit for media platforms, including Google.” Safiya Umoja Noble, “Algorithms of
17
     Oppression,” Apple Books; https://books.apple.com/us/book/algorithms-of-
18
     oppression/id1327926683.
19
                 534.   As alleged, Defendants use and embed personal data about the race or other identity
20
     of Plaintiffs and the Race Discrimination Class into their filtering tools and algorithms. Those
21
     tools aggregate the personal data, including the search history and use Defendants other products
22
     such as Google Search, to profile and use race, ethnicity, national origin, sex, gender, or other
23
     protected identity classifications of third party users, including content creators, audiences, and
24
     advertisers, to advance their commercial interests, by falsely informing viewers and audiences,
25
     directly or by implication that a video is or is not “appropriate” for audiences and advertisers.
26
                 535.   Plaintiffs and the Race Discrimination Class have no control over the ways that
27
     Defendants aggregate and use that information to classify or index users based on personal data that
28

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 1 Defendants use to advance their own commercial interests. Defendants use this absolute and

 2 unfettered power to further their own economic interests, profitability, and market dominance by

 3 using personal, racial, identity based data to determine what audiences and advertisers see and why.

 4 As a result, the pubic engages and must rely on Defendants “as the sole arbiter of truth” about

 5 whether video content on YouTube is “appropriate” or is “not appropriate” for advertisers as well

 6 as certain audiences or viewers.

 7               536.   Google uses this information to bolster its market dominance, not merely through

 8 the collection and sale of Plaintiffs’ data, but to tell or advertise to the public about what content is

 9 and is not “inappropriate” for sensitive viewers that promotes false information about content to the

10 viewer and audience market on YouTube that stigmatizes and promotes racial bias in the market.

11 (Recent research on Google by Siva Vaidhyanathan, professor of media studies at the University of

12 Virginia, who has written one of the most important books on Google to date, demonstrates its

13 dominance over the information landscape. And Frank Pasquale, a professor of law at the

14 University of Maryland, has warned of the increasing levels of control that algorithms have over

15 the many decisions made about us, from credit to dating options, and how difficult it is to intervene

16 in their discriminatory effects). Safiya Umoja Noble, “Algorithms of Oppression,” Apple Books;

17 https://books.apple.com/us/book/algorithms-of-oppression/id1327926683.

18               537.   While Defendants use of race, ethnic, origin, sex, gender orientation and other
19 protected identity information is unlawful in many ways, it is also used by Defendants as a pretext
20 for a global commercial advertising campaign that saturates the multibillion dollar market and

21 submarkets in which Plaintiffs and other third party content creators compete directly against

22 Defendants’ sponsored and preferred video content for viewers and advertisers on YouTube.

23               538.   In its capacity as “the sole and final arbiter of truth” about what content is and is not

24 appropriate for viewers and advertisers, Defendants tell viewers and advertisers what channels and

25 videos are “appropriate” for certain audiences and what channels and content are not.

26               539.   Since at least 2017, Defendants have sent hundreds of millions of “notices” to

27 viewers and advertisers informing them that the video content and channels of third party users,

28 including Plaintiffs and the Race Discrimination Class, contain material that is Restricted or

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 1 Unavailable because the videos contain material that is “inappropriate” for younger and sensitive

 2 audiences, and the advertisers who target those demographics of YouTube users.

 3               540.   At the same time, Defendants are the largest market participant competing for

 4 viewers and advertiser with Plaintiffs and other third party YouTubers. Defendants create or

 5 preferred content that they retain a preferred financial interest. Defendants promote their own

 6 content to viewers and advertisers by using their authority as content reviewers and curators to

 7 communicate and tell audiences that Plaintiffs’ videos and channels contain material that is

 8 inappropriate for younger and sensitive viewers when they do not and communicate that same false

 9 information to advertisers who want to reach younger and sensitive audiences.

10               541.   Defendants exempt their own content from the “internal” reviews and other filtering

11 and restrictions on access to viewer audiences and advertising market participants.

12               542.   Because audiences and advertisers must rely on Defendants as the “sole arbiter of

13 truth” as to the appropriateness of material is actually in Plaintiffs’ videos and whether Plaintiffs’

14 video content is or is not appropriate for the viewer and advertising markets, Defendants

15 statements directly imply and inform viewers and audiences who rely on Defendants to curate

16 content that Plaintiffs videos contain “nudity, vulgarity, violence, hate, shocking or sexually

17 explicit material, or other “inappropriate” material, when they do not.

18               543.   Until sometime in the past year, Defendants routinely identified to viewers with
19 “Restricted Mode” enabled those videos on a channel which could not be viewed while “Restricted
20 Mode” was enabled.

21                      a.     Until the Spring of 2020, Defendants displayed this image to viewers when

22 they enabled “Restricted Mode,” accessed Plaintiffs’ channels, and attempted to view any video

23 which Defendants’ flagged as unsuitable for “younger” and “sensitive” viewers:

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                    b.     Commencing sometime late in 2020, Defendants stopped notifying viewers
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     regarding Plaintiffs’ videos which Defendants had flagged as unsuitable for “younger” and
13
     “sensitive” viewers. Thereafter, the flagged videos simply no longer appeared on the Plaintiffs’
14
     channels when “Restricted Mode” was enabled, and viewers were unaware that additional videos
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     had been posted but were not viewable with “Restricted Mode” enabled.
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 1               544.   Sometime after Plaintiffs filed their Second Amended Complaint in this Lawsuit,

 2 commencing sometime late in 2020 or early 2021, Defendants stopped giving viewers any

 3 information regarding Plaintiffs’ videos which Defendants had flagged as unsuitable for “younger”

 4 and “sensitive” viewers. Now videos flagged as inappropriate for “younger” and “sensitive”

 5 viewers are not visible in the queues of videos for Plaintiffs’ channels when “Restricted Mode” is

 6 enabled. Viewers attempting to view Plaintiffs’ videos from public libraries and schools see only

 7 Plaintiffs’ videos which Defendants have not flagged for “Restricted Mode.” Most, if not the vast

 8 majority of Plaintiffs videos are now invisible to viewers when “Restricted Mode” is enabled.

 9               545.   When viewers and advertisers become aware of such a notice they understand that

10 Defendants have determined that the video content contains material that is inappropriate for

11 younger and sensitive audiences because it contains nudity, vulgarity, violence, hate, shocking or

12 sexually explicit material.

13               546.   Viewers and advertisers know this because Defendants expressly inform and

14 represent to each of these YouTube consumer markets that videos and channels have been

15 reviewed by an “automated system” that “checks signals like the video’s metadata, title, and the

16 language used in the video.”

17               547.   Based on that “automated” review, Defendants tell advertisers and viewers that

18 video was restricted because it contains “potentially adult content” or other “inappropriate
19 material” involving “Drugs and alcohol, Sexual situations involving “depictions of sex or sexual
20 activity,” “Violence: Graphic descriptions of violence, violent acts, natural disasters and tragedies,

21 or even violence in the news,” “Mature subjects,” “about events related to terrorism, war, crime,

22 and political conflicts that resulted in death or serious injury,” “Profane and mature language”

23 including “[i]nappropriate language” and “profanity,” [i]ncendiary and demeaning content that “is

24 gratuitously incendiary, inflammatory, or demeaning toward an individual or group.”

25               548.   As the comparative chart alleged in paragraph 102 shows, Defendants have sent

26 millions of these notices directly to viewers and advertisers that Defendants compete with Plaintiffs

27 for on YouTube that represent and state that Plaintiffs videos and channels contain potentially adult

28 content, and contain material about drugs, graphic violence, sexually explicit material and

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 1 depictions of sexual acts, profanity and vulgar language, or other objectionable material that

 2 violates Community Guidelines that are “inappropriate” for younger and sensitive YouTubers.

 3               549.   Those representations and statements are false. They are made to the viewers and

 4 advertisers who compose a significant portion of the YouTube consumer market.

 5               550.   As the comparative chart also shows, Defendants do not notify or make any

 6 representations to those same viewers and advertisers regarding video content that Defendants

 7 directly produce, sponsor, or have a direct financial production interest in. Indeed, even a cursory

 8 review of the videos in the comparative chart shows that preferred content creators who have

 9 exclusive distribution deals with YouTube and YouTube TV, like Bill Maher, are saturated with

10 profanity, explicit drug use, sexual acts, and depictions of violence or other “mature” content.

11               551.   Furthermore, Defendants admit that they have internal review guideline materials

12 which they do not give to the public. They have “content ratings Defendants’ and use automated

13 systems to generate content ratings. Defendants’ review guideline materials and ratings system,

14 which is not disclosed to the public. Defendants provide that and falsely represent to advertisers

15 that Plaintiffs’ videos contain “mature” or “adult” content, when they do not. Conversely,

16 Defendants exempt their own content from that review and tell advertisers. Exhibit A at ¶8.

17               552.   Defendants notices and statements to YouTube consumers that Plaintiffs videos

18 contain inappropriate material when they do not are not only false and misleading, but so are
19 Defendants implied statement that Defendants’ videos on the same subject are not. And, when a
20 viewer sees Bill Maher or some other preferred creator use graphic violence, drug use, sex or

21 depictions of sexual activity, or profanity, the direct implication to viewers and advertisers is that

22 there is something really bad, vulgar, or dangerous about Plaintiffs videos.

23               553.   Defendants global campaign to falsely notify millions of consumers on YouTube

24 that (i) Plaintiffs video content is inappropriate for children and sensitive audiences when it is not,

25 and (ii) Defendants preferred video content is appropriate, when it is not, at least under Defendants

26 criteria, is false advertising. Those statements deceive and steer market participants and consumers

27 who want or are looking for appropriate material for children and sensitive audiences away from

28 Plaintiffs content and channels and directs them content on the same subject that Defendants have a

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 1 commercial interest in promoting even where the content clearly violates YouTube’s “Restricted

 2 Mode” criteria.

 3               554.   Children and sensitive audiences have become a key demographic for YouTube and

 4 its efforts to compete and monetize viewers and advertisers on the video-sharing site. In August,

 5 2020, the digital-video analytics firm Tubular found that, “apart from music videos, content aimed

 6 at children topped the month-end list for most viewed videos on YouTube.”

 7 https://www.lifewire.com/youtube-new-age-restriction-ai-worries-lgbtq-community-5079928.

 8               555.   Defendants’ notices to these market participants have caused Plaintiffs to lose

 9 viewers, stifled their audience reach, and steered advertisers and advertising revenue away from

10 Plaintiffs and to Defendants’ preferred content.

11               556.   The elements of a false advertising claim under the Lanham Act, 47 U.S.C. §§1125,

12 et seq., are: (1) false statement of fact by defendant in a commercial advertisement about its own or

13 another’s product; (2) the false statement actually deceived or has the tendency to deceive a

14 substantial segment of the YouTube consumers or users; (3) the false statement is material, in that

15 it is likely to influence the purchasing decision by a YouTube user; (4) the false statement entered

16 interstate commerce; and (5) Plaintiffs have been, and are likely, to be injured as a result of the

17 false statement. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., Inc., 758 F.3d 1069, 1071 (9th Cir.

18 2014).
19               557.   Defendants’ statements that Plaintiffs or their videos are “Restricted” are false about
20 Plaintiffs’ video products because only videos that are reviewed and found to contain material that

21 violates Plaintiffs’ content based rules, including nudity, vulgarity, violence, hate, shocking or

22 sexually explicit material can be “Restricted” or subject to access restrictions when they do not.

23               558.   The statement that the video has been “Restricted” is not just an isolated statement

24 of fact that YouTube took action to restrict access to the video for no reason. By definition, under

25 YouTube’s express disclosures in its TOS to every user, a video that is “Restricted” contains

26 inappropriate “adult content” that depicts sexual activity, drug use, graphic violence, hate speech,

27 and other inappropriate material for younger and sensitive audiences. Plaintiffs’ videos do nothing

28 of the sort, while YouTube’s videos are not designated by Defendants as restricted even though

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 1 many of the videos do contain sexual activity, drug use, graphic violence, hate speech, and other

 2 material that Defendants have determined are inappropriate for younger and sensitive audiences.

 3               559.   Defendants’ statements are also false because they imply that unlike Plaintiffs’

 4 videos, Defendants’ videos on the same topic are available and do not contain any such “Restricted

 5 Material” when they do.

 6               560.   Defendants’ statements are also false statements because Defendants do not disclose

 7 to viewers and advertisers that the content review and determinations regarding the suitability of

 8 content for children and younger audiences are not based solely on content but are the result of an

 9 “automated system” that “checks signals like the video’s metadata, title, and the language used in

10 the video” that relate to a Plaintiffs’ racial, national, ethnic or other protected identity rather than

11 exclusively on the actual material in the video.

12               561.   Defendants’ false statements are likely to deceive users and advertisers on YouTube

13 because they expressly and implicitly insinuate that there is something inappropriate, offensive,

14 improper, or prohibited under YouTube’s viewpoint neutral rules.

15               562.   Defendants’ false statements are also material. They likely influence and affect a

16 user’s and/or advertiser’s viewing/purchasing decisions. Users and/or advertisers are likely

17 deceived that the video contains offensive material that violates YouTube’s rules after Defendants

18 reviewed the video for content violations under YouTube’s Community Guidelines, Age
19 Restrictions, and “Restricted Mode” prohibitions, when the basis for the restriction was Plaintiffs’
20 race, ethnicity, or other protected identities and was not undertaken in compliance with YouTube’s

21 rules.

22               563.   Defendants’ false statements not only influence but categorically control every user

23 or advertiser’s purchasing decisions because the statement results in the blocking of a user’s or

24 advertiser’s access to the video on YouTube and precludes the user or advertiser from ever

25 accessing, viewing and purchasing the video or purchasing and placing and ad for the video, or

26 otherwise making any purchasing decision contrary to that of Defendants.

27               564.   Defendants’ false statements entered internet commerce and reached millions of

28 viewers who reside in all 50 States, U.S. Territories, and other users across the world.

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 1               565.   Defendants’ false statements are also “commercial advertising” because the

 2 statements were made to penetrate the market of YouTube users by limiting the reach to audience

 3 and advertiser market participants steering viewers away from Plaintiffs’ channels and videos, to

 4 video content, channels, or creators who are sponsored by Defendants and for which or whom

 5 Defendants compete with Plaintiffs for viewers, advertising, monetization, and other revenue

 6 streams on YouTube. At least 3 million viewers use “Restricted Mode” on a daily basis.

 7               566.   Furthermore, that number does not account for all the advertisers who selectively

 8 use “Restricted Mode” to see what videos have been designated “inappropriate” when making

 9 advertising decisions in the fastest growing demographic markets on YouTube, all of which

10 involve younger users, many of whom are under the age of 11.

11               567.   As of the third quarter of 2020, researchers, including the Pew Institute, found that

12 80 percent of parents say that their children under the age of 11 use YouTube and 53 percent of

13 those parents say that their children 11 and under watch at least one YouTube video a day. And the

14 largest demographic group of users on YouTube are young people between the ages of 15-25, 77

15 percent of whom are regular YouTube users.

16               568.   Given the subject matter of Plaintiffs’ videos and their efforts to reach viewers and

17 advertisers in these robust and growing demographic markets, Plaintiffs are likely to be financially

18 harmed. Indeed, as the viewership and revenue numbers and comparisons show, Plaintiffs have,
19 are, and continue to be financially harmed by the false statements, including losing substantial
20 amounts revenues for viewer CPMs, advertising, monetization, and other user or advertiser revenue

21 streams on YouTube in an amount to be determined at trial.

22                                      FIFTH CAUSE OF ACTION
                                           For Breach of Contract
23                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
24               569.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
25 alleged in paragraphs 1 through 555.

26               570.   The TOS and agreement(s) between Defendants and Plaintiffs governing filtering,
27 review and access to content and services on YouTube provide that the rights and obligations under

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 1 those agreements are governed and subject to California law, including federal laws that California

 2 is obligated to enforce under the supremacy clause of the U.S. Constitution.

 3               571.   The elements of a breach of contract under California law are: (1) existence of a

 4 valid contract between Plaintiffs and Defendants; (2) Plaintiffs’ performance (or excuse for non

 5 performance) under the contract; (3) Defendants’ breach of the contract; and (4) proof of harm or

 6 financial injury as a result of the breach.

 7               572.   Plaintiffs and Defendants have entered into agreements, including the TOS,

 8 Community Guidelines, Policy, Safety and Copyright Policies, Google’s Privacy Policy, and

 9 related agreement(s) that are enforceable contract(s) governed by and under California law.

10               573.   Plaintiffs have performed their obligations under the TOS and/or other related

11 contracts, including complying with YouTube’s viewpoint neutral content based access rules as

12 stated in the TOS, Community Guidelines, the Policy, Safety and Copyright Policies, and Google’s

13 Privacy Policy, and granting Defendants a perpetual and irrevocable license to their video content

14 and all personal data and consumer information derived or used in connection with Plaintiffs’

15 content on or use of YouTube.

16               574.   Defendants have breached their promises to provide Plaintiffs’ equal access to

17 YouTube and all related services that Defendants offer to other users, and which are subject only to

18 content based rules that are viewpoint neutral and apply equally to all. Specifically, Defendants
19 have denied and interfered with Plaintiffs’ right of equal access to YouTube and its related services
20 by (a) using A.I., algorithms, filtering and automated systems that aggregate data regarding the

21 race, ethnicity, or other protected identities of individual Plaintiffs across Defendants’ platforms;

22 (b) making determinations regarding monetization, and full access to the YouTube audience, across

23 the platform and access to all services that Defendants offer in connection with the platform, based

24 at least in part on the race of individual Plaintiffs; (c) denying monetization and full unrestricted

25 access to Plaintiffs’ videos posted to the YouTube platform which fully comply with Defendants’

26 numerous guidelines, rules and policies based at least in part on the race of the individual Plaintiffs,

27 the race of the subscribers to Plaintiffs’ channels and the race of viewers of Plaintiffs’ videos; (d)

28 knowingly allowing their employees and independent contractors who have access to Defendants’

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 1 platform to moonlight and use Defendants’ resources to personally profit from discrimination on

 2 the platform by enhancing the reach and revenue of select individual YouTube creators who pay for

 3 consulting or management services, at the expense and to the detriment of Plaintiffs; (e) denying

 4 African American and Hispanic viewers the opportunity to comment on videos, subscribe to

 5 channels and obtain effective timely notices of new content when it is posted, and effectively

 6 support channels to which they subscribe financially by making monetary contributions through

 7 third parties on the platform. Defendants have also breached their promises to Plaintiffs by

 8 asserting that they are immune from the discrimination as alleged under the Communications

 9 Decency Act, 47 U.S.C. §230(c), where the TOS and related agreements specify that California law

10 applies and do not so much as mention immunity, much less expressly include an immunity clause

11 based on federal law.

12               575.   As a direct and proximate result of Defendants’ breach, Plaintiffs have suffered

13 monetary damages and other financial harms and losses in excess of $500.00 per year plus other

14 lost revenues, the total amount of which will be determined at trial.

15               576.   As a direct and proximate result of Defendants’ breach, Plaintiffs have also suffered

16 irreparable harm to their contractual based rights of free speech and expression provided for under

17 the express and implied provisions of the TOS and other related contracts.

18                                SIXTH CAUSE OF ACTION
     For Breach Of The Implied Covenant of Good Faith And Fair Dealing Or In The Alternative
19                                For Rescission And Restitution
              (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
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                 577.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
21
     alleged in paragraphs 1 through 563.
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                 578.   Under California law, every contract “imposes upon each party a duty of good faith
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     and fair dealing in its performance and its enforcement.” McClain v. Octagon Plaza, LLC, 159
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     Cal.App.4th 784, 798 (2008) (quoting Carma Developers (Cal.), Inc. v. Marathon Dev. Cal., Inc., 2
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     Cal.4th 342, 371–72 (1992)).
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                 579.   The covenant “is based on general contract law and the long-standing rule that
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     neither party will do anything which will injure the right of the other to receive the benefits of the
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 1 agreement.” Waller v. Truck Ins. Exchange, Inc., 11 Cal.4th 1, 36 (1995). The covenant of good

 2 faith finds particular application in situations where one party is invested with a discretionary

 3 power affecting the rights of another. When a contract confers on one party a discretionary power

 4 affecting the rights of the other, a duty is imposed to exercise that discretion in good faith and in

 5 accordance with fair dealing,” and such discretion “must be exercised in good faith.” Carma, 2

 6 Cal.4th at 372; see also Perdue v. Crocker Nat’l Bank, 38 Cal.3d 913, 923 (1985) (“where a

 7 contract confers on one party a discretionary power affecting the rights of the other, a duty is

 8 imposed to exercise that discretion in good faith and in accordance with fair dealing”).

 9               580.   Breach of the implied covenant occurs “[w]here the terms of a contract are literally

10 complied with but one party to the contract deliberately countervenes the intention and spirit of the

11 contract.” Hilton Hotels Corp. v. Butch Lewis Prod., Inc., 808 P.2d 919, 922–23 (Nev. 1991).

12 “Establishing such a breach of the implied covenant depends upon the ‘nature and purposes of the

13 underlying contract and the legitimate expectations of the parties arising from the contract.”

14 Integrated Storage Consulting Servs., Inc. v. NetApp, Inc., No. 5:12-CV-06209-EJD, 2013 WL

15 3974537, at *7 (N.D. Cal. July 31, 2013).

16               581.   Five factual elements are required to establish a breach of the covenant of good faith

17 and fair dealing: (1) the parties entered into a contract; (2) the plaintiff fulfilled his obligations

18 under the contract; (3) any conditions precedent to the defendant’s performance occurred; (4) the
19 defendant unfairly interfered with the plaintiff’s rights to receive the benefits of the contract; and
20 (5) the plaintiff was harmed by the defendant’s conduct. Judicial Council of California Civil Jury

21 Instruction 325.

22               582.   Plaintiffs and Defendants have entered into contracts, including the TOS,

23 Community Guidelines, the Policy, Safety and Copyright Policies, Google’s Privacy Policy, and

24 other related agreements, in connection with Plaintiffs’ use and access to YouTube and the related

25 services which Defendants offer on the YouTube platform under those contracts.

26               583.   Plaintiffs have fulfilled their obligations under the TOS and related agreements, and

27 fulfilled or performed the conditions precedent, if any, under those agreements, including

28 complying with YouTube’s Community Guidelines and policies which set forth viewpoint neutral

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 1 content based access rules, and granting Defendants an irrevocable and perpetual license to their

 2 video content and access to collect, aggregate and sell their personal digital information and data;

 3 as well as paying Defendants other consideration for services and access on Defendants’ platform.

 4               584.   Defendants have unfairly interfered with Plaintiffs’ contractual rights by employing

 5 AI, algorithms, filters and automated systems that aggregate Plaintiffs’ personal data to make

 6 determinations regarding Plaintiffs’ access to the YouTube platform and services, including

 7 without limitation Plaintiffs’ ability to reach the full YouTube audience, to generate revenue from

 8 their videos and channels, to purchase and display advertising, and to notify subscribers of new

 9 content, based at least in part on computerized data about the race, gender, sexual orientation,

10 political affiliations and other personal identifying traits of the individual Plaintiffs resulting in

11 digital redlining across the Defendants’ platforms. Defendants’ conduct in denying Plaintiffs’

12 equal access to YouTube and its related services based on the race of users is prohibited by and

13 contrary to California and federal law.

14               585.   As a direct and proximate result of Defendants’ breach, Plaintiffs have suffered

15 monetary damages and other financial harms and losses in excess of $500.00 per year plus other

16 lost revenues, including the monetary value of unlawfully acquired property and license rights to

17 Plaintiffs’ content and the personal data and information derived from Plaintiffs and their

18 subscribers and viewers, the total amount of which will be determined at trial.
19               586.   As a direct and proximate result of Defendants’ breach, Plaintiffs have also suffered
20 irreparable harm to their contractual based speech rights and expression provided for subject only

21 to viewpoint neutral content based rules as set forth in the express and implied provisions of the

22 TOS and other related contracts.

23               587.   In the alternative, Plaintiffs seek to rescind the TOS, Google’s Privacy Policy and

24 related agreements on grounds that the agreements are illusory and contrary to public policy where

25 Plaintiffs fully performed their promises to Defendants, but Defendants either retain full sole and

26 absolute discretion under the agreements to deny Plaintiffs access to the YouTube platform and

27 Defendants’ services regardless of whether Plaintiffs have fully complied with the TOS,

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 1 Community Guidelines, Google’s Privacy Policy and/or the Policy, Safety and Copyright Policies,

 2 and other agreements.

 3               588.   California Civil Code §§1689, et seq. governs claims for rescission of contract. It

 4 authorizes Plaintiffs to rescind a contract “[i]f the consideration for the obligation of the rescinding

 5 party fails, in whole or in part, through the fault of the party as to whom he rescinds.” Cal. Civ.

 6 Code §1689(b)(2). If the Court interprets the governing agreements as affording Defendants sole

 7 unilateral discretion to deny Plaintiffs access to the YouTube platform and/or Defendants’ services

 8 as Defendants have asserted in this Lawsuit, then the Defendants’ consideration will have

 9 substantially failed, resulting in Plaintiffs receiving nothing from Defendants but minimal of access

10 to the platform and Defendants’ services, in exchange for irrevocable licenses and 100% of

11 Plaintiffs’ personal digital data.

12               589.   California Civil Code §1689(b)(5)-(6) further authorize Plaintiffs to rescind a

13 contract where the “contract is unlawful for causes which do not appear in its terms or conditions,

14 and the parties are not equally at fault;” and “[i]f the public interest will be prejudiced by

15 permitting the contract to stand.” Here, Plaintiffs allege that Defendants have employed AI,

16 algorithms, filters and automated systems that collect, aggregate, and use data regarding individual

17 Plaintiffs’ race, gender, sexual orientation, political affiliation, and other personal identifying traits

18 to make decisions regarding the Plaintiffs’ access to the YouTube platform and to determine which
19 of Defendants’ services Plaintiffs can access, if any. The operative agreements (TOS, Community
20 Guidelines, Google’s Privacy Policy and the Policy, Safety and Copyright Policies) do not include

21 express language that authorizes Defendants to employ AI, algorithms, filters or automated systems

22 at all, much less to employ these tools for purposes of collecting, aggregating and using Plaintiffs’

23 personal data regarding race, for purposes of determining the Plaintiffs’ access to the platform

24 and/or which services, if any, Plaintiffs can use. As alleged supra, Plaintiffs bear no fault regarding

25 Defendants’ vague, ambiguous, and inconsistent contract language; nor do Plaintiffs bear any fault

26 regarding Defendants’ use the AI, algorithms, filters and automated systems commencing in 2017,

27 which use race and other personal identity information to discriminate against African American

28 and Hispanic Plaintiffs. Defendants’ use of such tools contravenes California and federal legal

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 1 prohibitions against discrimination in contract on the basis of race and is therefore against public

 2 policy.

 3               590.   Accordingly, should the Court in interpreting the agreements as a matter of law find

 4 that Defendants retain sole unilateral discretion to deny Plaintiffs access to the full YouTube

 5 platform and Defendants’ services despite Plaintiffs’ full compliance with all of the TOS, and

 6 applicable guidelines, and policies, Plaintiffs do hereby give notice of rescission to Defendants, and

 7 hereby offer to restore to Defendants the little revenue which Plaintiffs have earned, along with

 8 whatever value that the Court deems appropriate for the limited access to the YouTube platform

 9 which Plaintiffs have actually enjoyed since opening their accounts with Defendants.

10               591.   California Civil Code §1692 provides that Plaintiffs “shall be awarded complete

11 relief, including restitution of benefits . . . conferred . . . as a result of the transaction and any

12 consequential damages to which he is entitled.” Cal. Civ. Code §1692. Plaintiffs therefore also

13 request that the Court restore to them both their intellectual property, including the licenses granted

14 to Defendants under the TOS, and also their personal digital data which Defendants have collected,

15 aggregated, used, and sold; as well as the monetary value of that data which Defendants have

16 received from advertisers on the platform and from third parties.

17                                    SEVENTH CAUSE OF ACTION
                                          For Promissory Estoppel
18                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
19               592.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
20 alleged in paragraphs 1 through 578.

21               593.   “The elements of promissory estoppel are (1) a promise, (2) the promisor should
22 reasonably expect the promise to induce action or forbearance on the part of the promisee or a third

23 person, (3) the promise induces action or forbearance by the promise or a third person (which we

24 refer to as detrimental reliance), and (4) injustice can be avoided only by enforcement of the

25 promise.” West v. JPMorgan Chase Bank, N.A., 214 Cal.App.4th 780, 803 (2013).

26               594.   Defendants have made at least 5 promises to Plaintiffs and other similarly situated
27 users:

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 1                      a.     Defendants promise Plaintiffs equal access to YouTube subject only to

 2 viewpoint neutral content based rules that apply equally to all users;

 3                      b.     Defendants promise not to discriminate against Plaintiffs based on their race,

 4 ethnicity, other protected identities, or other personal identifying traits, except as permitted under

 5 California or controlling federal law;

 6                      c.     Defendants promise to allow Plaintiffs who follow the TOS, Community

 7 Guidelines, published policies and other related agreements access to the YouTube platform and all

 8 of Defendants’ services, including the opportunity to view the content posted, to comment on

 9 content, to post original content that is searchable on the platform, that qualifies to earn revenue

10 through advertising, the opportunity to have viewers subscribe to Plaintiffs’ channels and receive

11 notification when new content is posted, the opportunity to have videos featured in “Up Next”

12 video recommendations, the use of custom thumbnail tiles, the opportunity to communicate and

13 post content on a digital social media that is safe, free from doxing, threats and hate speech, the

14 enforcement of Copyrights under federal law, subject to content based rules that are viewpoint

15 neutral and apply to all content;

16                      d.     Defendants promise to only use, appropriate, and/or derive revenue from

17 Plaintiffs’ content and data, and that of their viewers and subscribers, subject to Defendants’

18 honoring and fulfilling their express and implied terms and obligations under the TOS, Community
19 Guidelines, the Policy, Safety and Copyright Policies, Google’s Privacy Policy, and other related
20 agreements; and

21                      e.     Defendants promise to operate YouTube as a public forum for freedom of

22 expression that is subject only to narrowly tailored content based viewpoint neutral rules that apply

23 equally to all users and all content.

24               595.   Defendants made these promises with the reasonable expectation and intent of

25 inducing Plaintiffs to use the YouTube platform, upload videos, and to grant Defendants

26 irrevocable license rights and other valuable consideration derived from Plaintiffs’ use of YouTube.

27               596.   Defendants also made these promises with the intent of inducing Plaintiffs, as well

28 as their viewers, subscribers, and followers, to access and use the YouTube platform and

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 1 Defendants’ services so that Defendants can gather, aggregate, use and sell the users’ personal

 2 digital data; as well as sell advertisements and profit from users’ access to and use of the YouTube

 3 platform and Defendants’ related services.

 4               597.   By making these promises, Defendants induced Plaintiffs to grant Defendants

 5 irrevocable licenses, rights and other valuable consideration derived from Plaintiffs’ use of

 6 YouTube.

 7               598.   By making these promises, Defendants induced Plaintiffs, as well as their viewers

 8 and subscribers, to give Defendants access to gather, aggregate, use and sell the users’ personal

 9 digital data, and to access and use the YouTube platform and services resulting in Defendants’

10 gathering enormous quantities of detailed personal digital data for each Plaintiff, which Defendants

11 used to determine the degree to which individual Plaintiffs could access the platform and

12 Defendants’ services, the reach of their individual channels and content posted to their channels,

13 and the extent to which their subscribers and viewers could enjoy access to the platform and

14 Defendants’ services; moreover, Defendants have sold Plaintiffs’ aggregated personal digital data

15 to third parties who in turn have used that data to monetize, advertise, and profit from user access

16 and use of the platform and Defendants’ services.

17               599.   Enforcing Defendants’ promises will avoid injustice, including stopping overt,

18 intentional, discrimination based on race, gender, sexual orientation, political affiliation and other
19 personal identifying traits that has occurred against Plaintiffs, prohibiting Defendants from further
20 misappropriating Plaintiffs’ content and data, and prohibiting Defendants from continued unjust

21 enrichment and from continued enjoyment of the unfair, inequitable, and illegal benefits of those

22 promises which Defendants have failed to honor, comply with, or enforce.

23               600.   As a proximate result of Defendants’ failure to honor and fulfill each of their

24 promises to Plaintiffs, Plaintiffs have suffered financial and monetary losses, including the loss of

25 their intellectual and other property rights which Defendants have misappropriated for their own

26 financial and unjust gain, and Plaintiffs have suffered irreparable harm to speech and expression

27 which was promised by Defendants, in an amount to be determined at trial.

28

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 1                                     EIGHTH CAUSE OF ACTION
                           For Unlawful, Deceptive, And Unfair Business Practices
 2                                 Cal. Bus. & Profs. Code, §§17200, et seq.
                    (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
 3
                 601.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
 4
     alleged in paragraphs 1 through 587.
 5
                 602.   Defendants have committed acts of unfair competition, as defined by California
 6
     Business and Professions Code §17200, by engaging in the practices described above.
 7
                 603.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
 8
     access on YouTube based on Plaintiffs’ race, ethnicity, or other protected identities is an unlawful
 9
     business practice under §17200 because those practices, acts, and conduct violate 42 U.S.C. §1981
10
     and the Unruh Civil Rights Act.
11
                 604.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
12
     access on YouTube based on Plaintiffs’ race, ethnicity, or other protected identities are also
13
     deceptive business acts or practices as defined under §17200 because they are based on
14
     intentionally false promises by Defendants to Plaintiffs, and other users, and advertisers that
15
     YouTube only restricts or blocks content or access based on violations of YouTube’s content based
16
     rules that apply equally to all. In fact, Defendants have knowingly and intentionally used
17
     Plaintiffs’ race, ethnicity, or other protected identities to block content and access to YouTube
18
     under the false pretext that the video was reviewed like all videos on YouTube, including those
19
     sponsored by Defendants, and that the review found that Plaintiffs’ videos actually contain material
20
     that violates YouTube’s viewpoint neutral rules.
21
                 605.   Defendants’ profiling, filtering, restricting, and blocking Plaintiffs’ content and
22
     access on YouTube based on Plaintiffs’ race, ethnicity, or other protected identities are also unfair
23
     business acts or practices as defined under §17200 because Defendants operate as both content
24
     review curators and content sponsors on YouTube. This conflict is on full display when
25
     Defendants use their “unfettered” authority to restrict or block Plaintiffs’ videos based on their
26
     race, ethnicity, or other protected identities but permit their own content or that of their preferred or
27

28

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 1 sponsored content creators or channels to go without review, restriction, or blocking, even where

 2 the content violates YouTube’s content based rules.

 3               606.   This includes inserting metadata and other signals into Plaintiffs’ videos that permit

 4 Defendants to profile and restrict or block content without reviewing the video and results in

 5 restrictions and blocking of Plaintiffs’ content based on Defendants’ embedding and creating the

 6 metadata, signals, or other racial profiling content that results in the restriction or blocking.

 7               607.   There is no utility to the public for Defendants’ actions, and the unlawful, deceptive

 8 and unfair practices and conduct do not further a legitimate interest in protecting users from

 9 offensive content.

10               608.   As a direct and proximate result of Defendants’ unlawful, deceptive, and unfair

11 practices, conduct, and acts, Plaintiffs have suffered, and continue to suffer, immediate and

12 irreparable injury in fact, including lost income, reduced viewership, and damage to brand,

13 reputation, and goodwill, for which there exists no adequate remedy at law.

14               609.   Furthermore, as a result of such practices, conduct, and acts, Defendants

15 misappropriate and are unjustly enriched by taking consideration in the form of property rights to

16 content and data, and revenue that belongs to Plaintiffs in an amount that exceeds $5 million.

17               610.   Plaintiffs are therefore entitled to restitution of that and other amounts, as well as

18 other equitable relief to be determined at trial.
19               611.   At all times Defendants’ wrongful actions were taken with oppression, fraud and/or
20 malice. Indeed, at least dating back to 2017, Defendants have admitted and known that they were

21 targeting users like Plaintiffs, based on their race, ethnicity, or other protected identities, in

22 violation of their promises and rules not to discriminate based on race, or any other identity.

23                                      NINTH CAUSE OF ACTION
                     Equitable Claim For An Accounting Of Debts Owed Under Contract
24                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
25               612.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
26 each of the allegations set forth in paragraphs 1 through 581 above.

27

28

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 1               613.   A claim for accounting can be either a legal remedy or an equitable claim. Hafiz v.

 2 Greenpoint Mortgage Funding, Inc., 652 F. Supp. 2d 1039, 1043 (N.D. Cal. 2009).

 3               614.   An equitable claim for an accounting “requires a showing that a relationship exists

 4 between the plaintiff and defendant that requires an accounting, and that some balance is due the

 5 plaintiff that can only be ascertained by an accounting.” Teselle v. McLoughlin, 173 Cal.App.4th

 6 156, 179 (2009). All that is required is “some relationship” between the parties. Id.

 7               615.   To state an equitable claim for an accounting, therefore, a plaintiff need only allege

 8 that: (1) a contractual relationship exists between the Plaintiffs and Defendants under which

 9 monetary consideration is owed to the plaintiff; (2) the amount due and owing cannot be

10 determined or ascertained without an examination of the debts and credits recorded and kept on the

11 “books” of the defendant to determine what the precise amount is that is due and owing; (3) the

12 defendant has engaged in misconduct; and (4) no adequate remedy at law exists. Green Valley

13 Landowners Assn. v. City of Vallejo, 241 Cal.App.4th 425, 443 (2015); Prakashpalan v. Engstrom,

14 Lipscomb & Lack, 223 Cal.App.4th 1105, 1136–1137 (2014).

15               616.   A contractual relationship exists between Defendants and the putative Race

16 Discrimination Class. Each Race Discrimination Class member has entered into license

17 agreements with YouTube and contracts with Adworks or Adsense with Google for services on

18 YouTube and Google, under which Defendants have obtained specified rights to Plaintiffs’ videos,
19 personal data, and other property in exchange for monetary compensation to Plaintiffs based on
20 viewership, advertising, CPM, and other metrics related to their video content, channels, and

21 personal information and data.

22               617.   Under those licensing agreements and advertising contracts, Defendants have both

23 promised to give to Plaintiffs and the members of the putative § Race Discrimination Class

24 specified benefits such as the ability to generate revenue from a YouTube channel and videos

25 uploaded to the channel (i.e., monetization), mobile Livestreaming, Channel Membership, and

26 SuperChat; and once qualified for monetization, monthly revenue based on the number of

27 subscribers to the channel, the number of viewers for the channel and for individual videos, the

28

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 1 total monthly watch time spent by viewers watching videos uploaded to the channel, CPM, and the

 2 number of advertisements appearing on or with individual videos and the channel.

 3               618.   Over the past three years, at different periods, Defendants have frozen, altered,

 4 unilaterally reduced and/or shaved total numbers from (a) the monthly reported view numbers for

 5 individual videos, (b) the total reported historical aggregate view numbers for channels, (c) the total

 6 reported subscriber numbers for channels, (d) the monthly reported watch times for individual

 7 videos, (e) the monthly and total reported watch times for channels, and (f) monthly reported

 8 revenue payable to Plaintiffs and the members of the putative Race Discrimination Class.

 9 Defendants have changed reported numbers from week to week, month to month, and year to year

10 without affording notice, any explanation, or an opportunity to object or appeal to the Plaintiffs and

11 the members of the putative Race Discrimination Class. Defendants have engaged in misconduct

12 in reporting inconsistent, inaccurate, varying, and incorrect information regarding numbers of

13 subscribers and views, and watch times that has resulted in and proximately caused discrepancies

14 and uncertainty about the precise amounts of compensation owed to Plaintiffs and the members of

15 the Race Discrimination Class. Defendants’ inaccurate and false reports have deprived Plaintiffs

16 and members of the putative Race Discrimination Class of the opportunity to qualify to receive

17 revenue from YouTube channels, and have deprived them of revenue for individual monetized

18 videos and monetized channels which Defendants are obligated to pay under the license
19 agreements, the TOS and the Adworks and Adsense contracts.
20               619.   Defendants control the data from which they have calculated and reported numbers

21 of subscribers, numbers of views, watch times and revenue to Plaintiffs and members of the

22 putative Race Discrimination Class, who cannot review the Defendants’ data or ascertain the

23 correct numbers which should have been reported. Nor do Plaintiffs and members of the putative

24 Race Discrimination Class have access to other data which would allow them to calculate the true

25 amounts which Defendants owe and should have paid under the license agreement, the TOS and

26 the Adworks and/or Adsense contracts.

27               620.   There is no adequate remedy at law by which Plaintiffs and the members of the

28 putative Race Discrimination Class can ascertain the precise amounts of compensation that

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 1 Defendants owe to the Plaintiffs and the members of the Class under the terms of the license

 2 agreement, the TOS, and the Adworks and/or Adsense contracts. Without an equitable accounting,

 3 Plaintiffs and the members of the Class will be deprived of revenue and compensation that

 4 Defendants owe each of them, and Plaintiffs and the members of the putative Race Discrimination

 5 Class cannot determine or ascertain the precise amounts which Defendants owe.

 6                                      TENTH CAUSE OF ACTION
                                    For Conversion Of Plaintiffs’ Property
 7                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
 8               621.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
 9 each of the allegations set forth in paragraphs 1 through 590 above.

10               622.   Conversion is a strict liability tort. The foundation of the action rests neither in the
11 knowledge nor the intent of the defendant. Instead, the tort consists in the breach of an absolute

12 duty; the act of conversion itself is tortious. Questions of the Defendants’ good faith, lack of

13 knowledge, and/or motive are immaterial.

14               623.   A claim for conversion therefore rests solely upon the Defendants’ unwarranted
15 interference with the Plaintiffs’ “‘dominion over the property” that causes an injury or harm to

16 Plaintiffs. Neither good nor bad faith, care nor negligence, knowledge nor ignorance are material

17 to the action. Los Angeles Fed. Credit Union v. Madatyan, 209 Cal.App.4th 1383, 1387 (2012).

18               624.   The elements of a claim for conversion are: (1) Plaintiffs’ ownership or right to
19 possession of specified property; (2) the Defendants’ conversion by a wrongful act that results in
20 harm or disposition of the property and/or Plaintiffs’ rights to that property; and (3) harm or

21 disposition that results in financial harm or damages to Plaintiffs. Hester v. Public Storage, 49

22 Cal.App.5th 668, at *7 (May 28, 2020); Hodges v. County of Placer, 41 Cal.App.5th 537, 551

23 (2019).

24               625.   Since 2006, Plaintiffs and members of the putative Race Discrimination Class have
25 created and uploaded thousands of original videos to channels established on the YouTube

26 platform. These videos were created and uploaded at the sole expense and by the efforts of

27 Plaintiffs and members of the putative Race Discrimination Class. Defendants contributed nothing

28

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 1 to the creation of these original videos. For many Plaintiffs and members of the putative Race

 2 Discrimination Class, the uploaded video constitutes the only existing copy of the video.

 3               626.   Under the license agreement and the TOS (among other things), Plaintiffs grant a

 4 nonexclusive license to Defendants to display, use, copy, repost, and promote those original videos

 5 which are uploaded to the YouTube platform. Plaintiffs and members of the putative Race

 6 Discrimination Class have not granted Defendants an exclusive right to use uploaded videos, and

 7 they retain all of the intellectual property rights to the videos after the videos are uploaded.

 8               627.   Though Defendants only have a nonexclusive license to the uploaded videos, over

 9 the past 14 years, Defendants have, without advanced notice, wrongfully unilaterally removed

10 thousands of Plaintiffs’ original individual videos from the YouTube platform, terminated access to

11 the YouTube platform, and/or removed channels and all of the videos uploaded to the channels

12 without affording an opportunity to create a copy of the videos which were uploaded by Plaintiffs

13 and members of the putative Race Discrimination Class. Defendants have done so without

14 affording Plaintiffs and members of the putative Race Discrimination Class an effective

15 opportunity to appeal the decision to remove videos, terminate access to the platform, or remove

16 channels; or to make a copy of the video and electronic data associated with the video.

17               628.   Defendants often removed the videos, terminated access, or removed channels

18 without any explanation or rationale for having done so. On occasion, when Defendants did give
19 written notice, the notice indicated the adverse action had been taken because the video violated
20 one of Defendants’ numerous vague Community Guidelines or TOS but did not actually specify

21 what about the video content was problematic or prohibited. Appeals sent to Defendants from

22 Plaintiffs and members of the putative Race Discrimination Class often are ignored by Defendants

23 or summarily affirmed without explanation or specifying the video content that violated

24 Defendants’ rules.

25               629.   For many Plaintiffs and members of the putative Race Discrimination Class,

26 Defendants still retain videos in the form of electronic data, and could return to Plaintiffs and

27 members of the putative Race Discrimination Class copies of the videos uploaded but now

28 removed from the YouTube platform. However, Defendants ignore the calls, messages, letters,

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 1 emails and even judgments issued by small claims courts from Plaintiffs and members of the

 2 putative Race Discrimination Class. Defendants have not returned the videos of Plaintiffs and

 3 members of the putative Race Discrimination Class which have been wrongfully removed, or for

 4 which platform access has been terminated or denied.

 5               630.   In removing videos, terminating access to the platform and/or removing channels

 6 wholesale, Defendants have interfered with the dominion by Plaintiffs and members of the putative

 7 Race Discrimination Class over their videos; Defendants have deprived them entirely of the use of

 8 the videos, as well as the money spent to create the videos. Defendants have deprived Plaintiffs

 9 and members of the putative Race Discrimination Class of future revenue that could be earned from

10 the videos, because Plaintiffs and members of the putative Race Discrimination Class cannot post

11 their videos on the platform of one of Defendants’ social media competitors where the videos could

12 generate revenue, or upload the videos to a pay per view internet website where the videos could

13 generate revenue.

14                                   ELEVENTH CAUSE OF ACTION
                                                 For Replevin
15                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
16               631.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
17 each of the allegations set forth in paragraphs 1 through 617 above.

18               632.   Plaintiffs and members of the putative Race Discrimination Class acknowledge that
19 courts often treat conversion and replevin interchangeably, or treat replevin as a remedy for
20 conversion. Plaintiffs plead conversion and replevin separately out of an abundance of caution so

21 as to ensure that they preserve the right to recover money in the event that copies of the videos

22 Defendants have removed cannot be obtained.

23               633.   Replevin is a common law remedy that permits the prevailing party to recover both
24 personal property and incidental damages from a defendant who unlawfully possesses the property.

25               634.   When the claim is asserted in a federal court proceeding, replevin is a remedy
26 specifically approved by rule, as governed by the appropriate state law.

27

28

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 1               635.   In California, a claim for replevin is the functional equivalent of the common law

 2 writ for recovery of specific personal property. California courts, therefore, refer to replevin as a

 3 cause of action for “claim and delivery” that permits the plaintiff to recover both personal property

 4 and incidental damages from an unlawful possessor. Adler v. Taylor, 2005 WL 4658511, at *3

 5 (C.D. Cal. Feb. 2, 2005), aff’d sub nom., Orkin v. Taylor, 487 F.3d 734 (9th Cir. 2007).

 6               636.   The gist of common law replevin is simple: Defendants’ unlawful possession of

 7 Plaintiffs’ property. With respect to an equitable claim or remedy for replevin in connection with a

 8 claim for conversion, the additional elements are: (a) Defendants’ actual possession of Plaintiffs’

 9 property; (b) Plaintiffs’ demand for possession of the property; and (c) Defendants’ refusal to

10 deliver the property. See Stockton Morris Plan Co. v. Mariposa Cnty., 99 Cal.App.2d 210, 213

11 (1950); Penske Truck Leasing Co. v. I-10 Towing and Recovery, Inc., No. EDCV 18-2547 JGB

12 (SPx), 2019 WL 6736905, at *3 (C.D. Cal. Mar. 11, 2019).

13               637.   Plaintiffs and members of the putative Race Discrimination Class uploaded their

14 videos to the YouTube platform. Defendants maintain servers which electronically record the

15 videos which are uploaded to the YouTube platform.

16               638.   Following Defendants’ removal of individual videos, termination of access to the

17 platform or removal of whole channels preventing Plaintiffs and members of the putative Race

18 Discrimination Class from accessing the videos which they uploaded to the YouTube platform,
19 Plaintiffs and members of the putative Race Discrimination Class undertook multiple and varied
20 efforts to obtain the return of the videos. When Defendants gave written notice after the fact of

21 removal or termination of access, Plaintiffs and members of the putative Race Discrimination Class

22 pursued appeals seeking to recover the videos by accessing Defendants’ appeal sites on the

23 YouTube platform. Usually, Defendants did not give written notice of the removal or termination

24 of access, and Plaintiffs and members of the putative Race Discrimination Class telephoned

25 published help numbers for YouTube help and left voicemail messages demanding that the videos

26 be returned. They wrote emails and letters to YouTube seeking the return of the videos and

27 inquiring how and when the videos would be returned. Some even filed lawsuits in small claims

28 courts and obtained judgments for the videos. However, Defendants either ignored the demands

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 1 for videos made by Plaintiffs and members of the putative Race Discrimination Class or affirmed

 2 the removal or termination of access without further communication.

 3                                    TWELFTH CAUSE OF ACTION
                                         For Unlawful Discrimination
 4                               In Violation Of The Unruh Civil Rights Act
                    (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
 5
                 639.   Plaintiffs re-allege and incorporate by reference in whole or in part the allegations
 6
     alleged in paragraphs 1 through 625.
 7
                 640.   The elements of a claim for discrimination under the Unruh Civil Rights Act,
 8
     California Civil Code §51, et seq. are: (1) Defendants denied, aided or incited a denial of full and
 9
     equal accommodations or services to Plaintiffs; (2) that a motivating reason for Defendants’
10
     conduct was Plaintiffs’ race or national origin; (3) that Plaintiffs were harmed and (4) that
11
     Defendants’ conduct was a substantial factor in causing that harm. Nkwuo v. Metro PCS, Inc., No.
12
     5:14–cv–05027–PSG, 2015 WL 4999978, at *2 (N.D. Cal. Aug. 21, 2015).
13
                 641.   Defendants host business establishments that solicit, induce, provide, and grant
14
     members of the public like Plaintiffs the right to access and the use YouTube platform and
15
     Defendants’ services, subject only to viewpoint neutral “content based” rules that apply equally to
16
     all and to all content.
17
                 642.   Defendants grant members of the public like Plaintiffs the right to use and access the
18
     YouTube platform and Defendants’ services for commercial reasons and consideration, including
19
     securing a perpetual and irrevocable license to content and personal digital data of Plaintiffs and
20
     members of the Race Discrimination Class, including the right to appropriate and aggregate that
21
     content and personal digital data for sale and other forms of monetization, including advertising,
22
     data information sales and services, and other revenue and profit streams through contract and
23
     business transactions including the TOS and related agreements.
24
                 643.   One substantial motivating reason for Defendants’ digital redlining and racial
25
     profiling based on Defendants’ use of aggregated personal digital data reflecting the race, ethnicity,
26
     national origin or other protected identities Plaintiffs and members of the Race Discrimination
27
     Class is to allow Defendants to cheaply impose restrictions on content using A.I., algorithms, filters
28

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 1 and automated systems. Defendants rely on manual (human being) review and automated tools to

 2 filter, curate, restrict and remove content uploaded to the YouTube platform. See Exhibit A at ¶¶9-

 3 10. Using automated tools to classify content allows Defendants to cheaply handle the enormous

 4 volumes of new data uploaded daily to Defendants’ platforms. See Exhibit A at ¶¶, 17-18, 24-25.

 5               644.   Defendants’ digital redlining and racial profiling is the result of arbitrary, capricious,

 6 invidious, and pretext based discrimination against Plaintiffs based on personal digital data

 7 reflecting race, ethnicity, national origin, or other protected identities.

 8               645.   Defendants’ use of Plaintiffs’ race, ethnicity, national origin or other protected

 9 identities to made decisions about the scope of Plaintiffs’ access to the YouTube platform and

10 Defendants’ services is unlawful and fails to further any lawful, legitimate business interest,

11 including ensuring compliance with YouTube’s “content based” Community Guidelines, policies

12 and rules which Defendants put in place to protect “younger” and “sensitive” viewers. See Exhibit

13 A at ¶¶15-16.

14               646.   Defendants have censored and treated, and continue to censor and treat, Plaintiffs,

15 their channels and videos differently from the content of Defendants and that of Defendants’

16 sponsored or preferred creators, solely because of discriminatory animus towards Plaintiffs’ race,

17 ethnicity, national origin, and/or other protected identities..

18               647.   Specifically, Defendants use AI, algorithms, filters and automated systems which
19 are based upon and/or incorporate aggregated personal digital information about YouTube’s
20 creators, subscribers and viewers to knowingly and intentionally engage in and effectuate a pattern

21 and practice of digital redlining, racial profiling and racial discrimination for profit by making

22 automated determinations regarding Plaintiffs’ access to the YouTube platform and Defendants

23 services based on race, ethnicity, national origin and/or other protected identities. The use of

24 information about users’ race, ethnicity, national origin and other protected identifies to impose

25 limitations on Plaintiffs’ access to the platform and services constitutes discrimination based on

26 classifications that are protected under the Unruh Act, namely race, color and/or national origin. It

27 is unlawful.

28

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 1               648.   Defendants’ digital redlining, racial profiling and other wrongful actions were

 2 knowing and intentional. Since September 14, 2017 at the latest, Defendants knew that the A.I.,

 3 algorithms, filters and automated systems that they engineered, employed, and relied upon were

 4 targeting YouTube creators, subscribers and viewers based on identity, including their race,

 5 ethnicity, national origin and other protected identities. Defendants have continued to use these

 6 tools, knowing that they harmed Plaintiffs individually by depriving Plaintiffs of the same rights

 7 enjoyed by white creators and Defendants’ sponsored or preferred creators, and knowing that they

 8 harmed the African American and Hispanic communities by silencing the voices of creators,

 9 subscribers and viewers alike, particularly with respect to subjects that are important to these

10 communities. Defendants’ wrongful actions were taken with oppression, fraud and/or malice, and

11 effectuated through A.I., algorithms, filters, automated systems and human reviewers that use

12 Plaintiffs’ race, ethnicity, or other protected identities, as the basis to interfere with and block

13 Plaintiffs’ access to the platform and Defendants’ services under the pretextual promise that

14 everyone has equal access to YouTube subject only to neutral “content based” Community

15 Guidelines, policies and rules that apply equally to all users and all content.

16               649.   The Defendants’ digital redlining and racial profiling is not a “mistake.” Rather,

17 Defendants have undertaken this course of action to enhance profits by classifying YouTube

18 channels and videos so that it appeals to advertisers seeking demographic information about
19 YouTube audiences.
20                      a.     By classifying channels and videos according to race, ethnicity, national

21 origin and other protected identities, Defendants are able to sell targeted and lucrative advertising

22 spots based on the demographics of viewers.

23                      b.     Defendants’ digital redlining and racial profiling is a cheap substitute for

24 manual reviewing of the more than 500,000 hours per day of content uploaded to YouTube daily.

25 See Exhibit A at ¶¶9-10.

26                      c.     Defendants’ use of automated tools to filter, curate and restrict content also

27 facilitates Defendants’ efforts to increase the reach and revenue for Defendants’ own original

28 content and that of their sponsored or preferred creators, further increasing Defendants’ revenues

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 1 while pushing Plaintiffs off of the platform freeing up audiences and space for even more content

 2 from sponsored and preferred creators.

 3               650.   Since September 14, 2017, when Defendants first told Stephanie Frosch that their

 4 A.I., algorithms, filters and automated systems were “targeting” the YouTube creators, subscribers

 5 and viewers based on identity, including their race, Defendants have failed to “fix” the “problem”

 6 and have increasingly relied on their automated tools.

 7               651.   Defendants’ reliance of automated tools for filtering, curating and restricting content

 8 clearly has an adverse disparate impact on Plaintiffs videos, as illustrated in the video comparison

 9 chart showing 100 of Plaintiffs’ videos which Defendants have restricted and limited in

10 monetization, and how they compare with videos of white or Defendants’ sponsored or preferred

11 creators. Defendants clearly treat the Plaintiffs’ videos differently. Moreover, examination of the

12 comparison videos reveals that Defendants do not apply the Community Guidelines and policies to

13 videos of white or sponsored or preferred creators, and allow videos with materials that violate

14 Defendants’ neutral “content based” rules to be viewed by all audiences, and to earn unlimited

15 revenue.

16               652.   The Defendants’ disparate treatment goes beyond restrictions on individual videos.

17 Defendants also remove entire channels with hundreds of videos belonging to Plaintiffs and other

18 members of the Race Discrimination Class. According to Defendants, in 2017, Defendants
19 “expanded” “enforcement guidelines regarding child endangerment and implemented new age-
20 restriction Policies to restrict access” resulting in “the termination of over 50 channels and the

21 removal of thousands of videos.” Exhibit A at ¶16. Unsurprisingly, Defendants also took down the

22 channel of Catherine Jones and multiple channels of Harvey Stubbs, along with hundreds of videos.

23               653.   Before dismissing Plaintiffs’ detailed factual allegations set forth in the Complaint,

24 this Court should examine the Defendants’ code underpinning the A.I., algorithms, filters and

25 automated systems which Defendants use. Defendants’ targeting of Plaintiffs based on race can

26 only be a “mistake” where the Defendants’ source code is entirely devoid of data regarding users’

27 race, ethnicity, national origin or other protected identities.

28

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 1               654.   If there is any linking or leakage of data from the aggregated individual personal

 2 digital data files of Plaintiffs with Defendants’ A.I., algorithms, filters and automated systems used

 3 to classify channels and videos, then Defendants have violated the Unruh Act with respect to each

 4 such decision, and every creator, subscriber and viewer affected by that decision.

 5               655.   As a direct and proximate result of Defendants’ unlawful discriminatory actions,

 6 Plaintiffs suffered, and continue to suffer, irreparable injury in fact, for which there is no complete

 7 adequate remedy at law, including, but not limited to harm and injury to contract based speech

 8 rights, and lost financial and business opportunities including viewership, advertising,

 9 monetization, and other opportunities and rights to gain popularity and revenues that are otherwise

10 available to other users who are not profiled and regulated on YouTube based on their race,

11 ethnicity, or other protected identities.

12               656.   As a direct and proximate result of Defendants’ discriminatory acts and practices,

13 Plaintiffs have also suffered monetary damages in an amount to be determined at trial.

14               657.   Defendants’ violations of the Unruh Act further entitle Plaintiffs to recover statutory

15 damages of up to three times the amount of actual damages in an amount to be proven at trial, or a

16 minimum of $4,000 per violation.

17                                  THIRTEENTH CAUSE OF ACTION
                         For Violation Of California Constitution Article I, Section 2
18                  (On Behalf Of Individual Plaintiffs And The Race Discrimination Class)
19               658.   Plaintiffs re-allege and incorporate herein by reference, as though set forth in full,
20 each of the allegations set forth in paragraphs 1 through 638 above.

21               659.   Article I, section 2 of the California Constitution enshrines the right to liberty of
22 speech: “Every person may freely speak, write and publish his or her sentiments on all subjects,

23 being responsible for the abuse of this right.” Cal. Const., art. I, § 2, subd. (a).

24               660.   The Liberty of Speech Clause is broader and more protective than the federal First
25 Amendment. Los Angeles Alliance for Survival v. City of Los Angeles, 22 Cal.4th 352, 366-367

26 (2000).

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 1               661.   The Liberty of Speech provision “grants broader rights to free expression than does

 2 the First Amendment to the United States Constitution” because it enshrines the fundamental “idea

 3 that private property can constitute a public forum for free speech if it is open to the public in a

 4 manner similar to that of public streets and sidewalks.” Fashion Valley Mall, LLC v. Nat’l Labor

 5 Relations Bd., 42 Cal.4th 850, 857-58 (2007).

 6               662.   Under the California Constitution, a person’s Liberty of Speech enjoys full

 7 constitutional protection when it occurs on any private property that is used or designated by the

 8 owner or operator as a place similar to areas that have already been determined to be public forums.

 9 That includes privately owned internet sites.

10               663.   Consequently, the California Constitution protects the right to free speech on private

11 property even in cases when the federal Constitution may not.

12               664.   The threshold element of a claim under the Liberty of Speech Clause is that the

13 defendant property owner has so opened up his or her property for public use as to make it the

14 functional equivalent of a traditional public forum based on three factors: (1) the nature, purpose,

15 and primary use of the property; (2) the extent and nature of the public invitation to use the

16 property; and (3) the relationship between the ideas sought to be presented and the purpose of the

17 property’s occupants.” Albertson’s, Inc. v. Young, 107 Cal. App. 4th 106, 119 (2003); 73 Op. Cal.

18 Atty. Gen. 213, 222– 223 (1990).
19               665.   Defendants operate YouTube for the express purpose of inviting the public to use
20 the platform as a for profit “public forum” where the public is invited to engage in “freedom of

21 expression,” where everyone’s voice may be heard, subject only to viewpoint neutral rules that

22 apply equally to all and Defendants’ right to monetize and profit from the expression, speech, or

23 material that appears on YouTube through the property based license rights that the user must grant

24 Defendants as the price of admission to the forum.

25               666.   According to Defendants, the purpose, use, nature, invitation to use the forum, and

26 relationship between that purpose and invitation, on the one hand, and the ideas sought to be

27 presented the public, on the other, is that Defendants offer public internet service “that enables

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 1 more than a billion users around the world to upload” videos, where users are urged to “Broadcast

 2 Yourself,” “promote yourself” or “do the broadcasting yourself.”

 3               667.   Under the TOS, Defendants also represent that YouTube is open to everyone for

 4 free expression and communication, regardless of race, ethnicity, or other protected identities, as

 5 long as the video material complies with viewpoint neutral rules that apply equally to all.

 6               668.   Based on these and other representations, Defendants have induced or attracted 2.3

 7 billion people to use YouTube and Defendants currently use the YouTube “public forum” control

 8 and regulate 95% of the global public video content that has currently or has ever existed in the

 9 world.

10               669.   Under California law, Defendants’ regulation of speech on the YouTube platform is

11 state action because Defendants perform an exclusively and traditionally public function: the

12 regulation of 95% of the world’s public video based speech content by designating and operating

13 YouTube as a viewpoint neutral public forum for freedom of expression under California law.

14               670.   Accordingly, Defendants are prohibited from arbitrarily, unreasonably, or

15 discriminatorily excluding, regulating, or restricting videos or user access to services on YouTube

16 on the basis of race, ethnicity, or other protected identities. And any such exclusions, restrictions,

17 or regulations must comply with protections afforded Plaintiffs’ free speech and expression under

18 the Liberty of Speech Clause, and the established jurisprudence that such protections apply to
19 private parties who use their property for purposes similar to the use of a government owned and
20 operated public forum.

21               671.   Plaintiffs’ video content and access services constitute expressive speech and

22 activity that is protected by Article I, section 2 of the California Constitution.

23               672.   Defendants have filtered, restricted, blocked or interfered with Plaintiffs’ rights to

24 access, use, and express themselves on YouTube.

25               673.   Defendants’ filtering, restricting, and blocking on Plaintiffs’ speech and expressive

26 conduct on YouTube violates Plaintiffs’ Liberty of Speech because they are not based on the

27 platform’s viewpoint neutral rules governing what content is and is not permissible, but on the race,

28 ethnicity, or other protected identities of Plaintiffs.

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 1               674.   Defendants’ censorship and other speech regulation conduct harms and violates

 2 Plaintiffs’ Liberty of Speech rights on YouTube in direct contravention of the procedural and

 3 substantive rules that Defendants created, published, and use to regulate that speech on YouTube.

 4               675.   Furthermore Defendants’ rules, both as applied and on their face, are subjective,

 5 vague, and overbroad criteria and proscription that Defendants use with unfettered and unbridled

 6 discretion to censor speech for any reason, or no reason at all, no matter how arbitrary or capricious

 7 in further violation of Plaintiffs’ Liberty of Speech rights.

 8               676.   Defendants also maliciously use and apply the rules as a pretext to censor and

 9 restrict Plaintiffs’ speech for unlawful purposes including race and identity discrimination against

10 protected classes of users and to gain a competitive advantage over Plaintiffs and other users who

11 Defendants compete with in YouTube.

12               677.   Defendants’ conduct, including the application of purportedly viewpoint neutral

13 rules, are arbitrary and capricious, and unlawfully restrains and harms Plaintiffs by digitally

14 redlining and profiling the speaker based on race, ethnicity, or other protected identities, rather than

15 based on the actual content of the speakers words or expression. Defendants’ actions, therefore,

16 also violate Plaintiffs’ right to free association and assembly under the Liberty of Speech Clause.

17               678.   Defendants’ actions violate Plaintiffs’ right to free association and assembly because

18 by blocking viewers’ access to videos and comments based on the race, ethnicity, or other protected
19 identities of the creator, subscriber or viewer, Defendants prevent Plaintiffs from effectively
20 communicating with and interacting with members of their respective communities about issues of

21 shared importance.

22               679.   No compelling, significant, or legitimate reason justifies any or all of Defendants’

23 actions, including the purported interest claimed by Defendants for the need to protect minors or

24 sensitive audiences from offensive content because Plaintiffs’ content is not “offensive” or

25 otherwise violates Defendants’ purported viewpoint neutral rules.

26               680.   And even if such interests did exist to justify Defendants’ restriction and

27 demonetization rules in theory, the conduct and restrictions imposed on Plaintiffs’ speech are

28 unconstitutional because they are not narrowly or reasonably tailored to further such interests, but

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 1 sweep within their ambit speech and expression that complies with the rules that Defendants use to

 2 purportedly protect minors and sensitive audiences and are applied by Defendants with unfettered

 3 power to censor speech based on race, ethnicity, or other protected identities or for any other

 4 discriminatory or unlawful reason or no reason at all.

 5               681.   Given Defendants’ monopolistic control over search results, online advertising,

 6 public video content, and the myriad of other information services that Defendants unilaterally

 7 control, Plaintiffs have no alternative affording it a reasonable opportunity to reach their full

 8 intended audience.

 9               682.   Defendants’ discriminatory policies and application of those policies are not

10 viewpoint neutral, are unreasonable in time, place, and manner, and are unreasonable in relation to

11 the nature, purpose, and use of the forum, but are unreasonable prior restraints on Plaintiffs’

12 protected political speech, motivated by impermissible discrimination against Plaintiffs’ race,

13 ethnicity, or other protected identities.

14               683.   Defendants’ intentional and wrongful actions were taken with oppression, fraud,

15 malice and/or are arbitrary and capricious, and as part of Defendants’ normal course of business,

16 effectuated through both algorithms, as well as through human agents. Additionally, Defendants’

17 actions were done knowingly and intentionally to deprive Plaintiffs and their viewers of their rights

18 under the California Constitution.
19               684.   As a direct and proximate result of Defendants’ violations of clearly established law
20 regarding public fora, Plaintiffs and all members of the Race Discrimination Class have suffered,

21 and continue to suffer, immediate and irreparable injury in fact to their right to Liberty of Speech,

22 including, but not limited to financial harms of lost income, reduced viewership, and damage to

23 brand, reputation, and goodwill, for which there exists no adequately complete remedy at law..

24 VII.          PRAYER FOR RELIEF
25               WHEREFORE, Plaintiffs and all members of the Race Discrimination Class request that the

26 Court grant the following relief:

27               1.     A declaratory judgment remedy under 28 U.S.C. §§2201, et seq., for Plaintiffs’ First

28 Cause of Action challenging the construction, application, and constitutionality of §230(c) of the

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 1 Communications Decency Act, 47 U.S.C. §230(c), that §230(c) does not grant immunity to

 2 Defendants, or otherwise apply to claims and allegations that arise from, relate to, or are based on,

 3 Defendants Google/YouTube’s unlawful racial profiling and use of the users’ race, ethnicity, or

 4 other protected identities to filter, restrict, or block content, or otherwise deny Plaintiffs’ access to

 5 or use of Defendants’ services on the grounds that:

 6                    a.     The plain language of §§230(c)(1) and/or (2) only immunizes an ISP for

 7 filtering and blocking “offensive material,” and does not immunize the regulating, restricting or

 8 blocking of material based on the race, ethnicity, or other protected identities of the user posting or

 9 viewing the video;

10                    b.     §§230(c)(1) or (c)(2) does not immunize an ISP who engages in race based

11 discrimination under contracts and other business conduct that violates 42 U.S.C. §1981 or the

12 Unruh Civil Rights Act;

13                    c.     The application of §230(c) to in any way to permit and immunize digital

14 redlining and profiling based on race, ethnicity, or other protected identities with respect to the

15 regulation of content and access on YouTube is unconstitutional and violates the First Amendment

16 under Denver Area 518 U.S. 727, 766-67; and/or,

17               2.   A declaratory judgment remedy under §2201that Defendants have violated and

18 continue to violate the agreements with Plaintiffs and the members of the Race Discrimination
19 Class, or in the alternative, that the agreements with Plaintiffs and the members of the Race
20 Discrimination Class are void because either (a) they are illusory where Defendants retain sole and

21 absolute discretion regarding whether they will provide access to internet platforms and services

22 under the agreements, or (b) they are unenforceable standardized form consumer contracts of

23 adhesion which defeat the reasonable expectations of Plaintiffs and the members of the Race

24 Discrimination Class;

25               3.   A Court Order requiring Defendants to:

26                    a.     Cease and desist from capriciously restricting, demonetizing, or otherwise

27 censoring any content of videos uploaded to the YouTube based on Plaintiffs’ race, ethnicity, or

28 other protected identities in violation of federal and California law; and

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 1                    b.     Cease and desist from censoring, restricting, restraining, or regulating speech

 2 based on the discretionary use or application of discriminatory, animus-based, arbitrary, capricious,

 3 vague, unspecified, or subjective criteria, rules, guidelines, and/or practices;

 4                    c.     Cease and desist from employing, using, or applying AI, algorithms, filters

 5 and automated systems that include the users’ aggregated personal digital data reflecting race,

 6 ethnicity or other protected identities to make decisions regarding access to the Defendants’

 7 platforms and services;

 8               4.   A Court Order requiring Defendants to:

 9                    a.     Cease and desist from capriciously restricting, demonetizing, or otherwise

10 censoring any content of videos uploaded to the YouTube based on Plaintiffs’ race, ethnicity, or

11 other protected identities in violation of federal and California law; and

12                    b.     Cease and desist from censoring, restricting, restraining, or regulating speech

13 based on the discretionary use or application of discriminatory, animus-based, arbitrary, capricious,

14 vague, unspecified, or subjective criteria, rules, guidelines, and/or practices;

15               5.   Compensatory, special, and statutory damages in an amount to be proven at trial,

16 including statutory damages pursuant to, inter alia, 15 U.S.C. §1117, 42 U.S.C. §§1981, 1983, Civil

17 Code §§51, 51.5, 52, Civil Procedure Code §1021.5.;

18               6.   A civil penalty of $2,500 for each violation pursuant to Business and Professions
19 Code §§17200, 17206, and 17536; ;
20               7.   Restitution of Plaintiffs’ licenses to original content, their aggregated personal

21 digital data, the value of the sale of their personal digital data for the period since each Plaintiff first

22 entered into a contract with Defendants; financial losses or harm caused by Defendants’ conduct

23 and ill gotten gains, and disgorgement of profits Defendants obtained from all unlawful conduct in

24 an amount to be proven at trial;

25               8.   Punitive damages and exemplary damages in an amount to be proven at trial;

26                    a.     The day to day number of views for each monetized video uploaded to each

27 channel;

28                    b.     The day to day number of subscribers for each monetized channel;

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 1                     c.     The day to day watch time for each video uploaded to each channel;

 2                     d.     The day to day number of ads played or posted on each video, along with the

 3 rates charged by Defendants for the ads, and the revenue actually collected for the ads; and

 4                     e.     The names of the creators of the videos which Defendants list in the “Up

 5 Next” column for each video on a day to day basis, a statement of all revenues which Defendants

 6 have obtained in connection with the “Up Next” video recommendations, along with the titles of

 7 the videos and an indication as to whether the creator is one of Defendants’ preferred partners.

 8               9.    A Court Order requiring Defendants:

 9                     a.     To the extent that Defendants still have the electronic digital version of the

10 Plaintiffs’ videos that were removed, to deliver to Plaintiffs and members of the putative Race

11 Discrimination Class an electronic digital copy of (i) each video that was uploaded and

12 subsequently removed by Defendants from the YouTube platform, and (ii) each video which

13 Plaintiffs and members of the putative Race Discrimination Class were unable to copy of because

14 Defendants either terminated access to the YouTube platform or removed the channel where the

15 video was uploaded; and

16                     b.     To the extent that Defendants do not have the electronic digital version of the

17 video, to pay to Plaintiffs and members of the putative Race Discrimination Class the reasonable

18 value of a copy of (i) each video that was uploaded and subsequently removed by Defendants from
19 the YouTube platform, and (ii) each video which Plaintiffs and members of the putative Race
20 Discrimination Class were unable to copy of because Defendants either terminated access to the

21 YouTube platform or removed the channel where the video was uploaded;

22               10.   Attorneys’ fees and costs of suit;

23               11.   Prejudgment and post-judgment interest; and

24               12.   Any and all other relief that the Court deems just and proper.

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 1 VIII. JURY TRIAL DEMAND

 2               Plaintiffs Kimberly Carleste Newman, Lisa Cabrera, Catherine Jones, Denotra Nicole

 3 Lewis, Andrew Hepkins, Harvey Stubbs, Khalif Muhammad, Keu Reyes and Osiris Ley demand

 4 trial by jury on all issues of law so triable.

 5 DATED: October 5, 2021                           Respectfully submitted,

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 7
                                                       Eric M. George
 8                                                     Dennis S. Ellis
                                                       Debi A. Ramos
 9                                                     Keith R. Lorenze
10

11                                                  By:         /s/ Peter Obstler
12                                                              Peter Obstler
                                                    Attorneys for Plaintiffs Kimberly Carleste Newman,
13                                                  Lisa Cabrera, Catherine Jones, Denotra Nicole Lewis,
                                                    Andrew Hepkins, Harvey Stubbs, Khalif Muhammad,
14                                                  Keu Reyes and Osiris Ley
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                 Exhibit “A”

                                                                     18
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10
                                UNITED STATES DISTRICT COURT
11
                  NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE DIVISION
12

13   PRAGER UNIVERSITY,                          )     CASE NO.: 5:17-cv-06064-LHK
                                                 )
14                 Plaintiff,                    )     DECLARATION OF ALICE WU
            v.                                   )     IN SUPPORT OF DEFENDANTS’
15                                               )     OPPOSITION TO MOTION FOR
     GOOGLE LLC, a Delaware corporation,         )     PRELIMINARY INJUNCTION
16   YOUTUBE, LLC, a Delaware limited            )
     liability company, and DOES 1-25,           )
17                                               )     Date: March 15, 2018
                   Defendant.                    )     Time: 1:30 PM
18                                               )     Dept.: 8, 4th Floor
                                                 )     Before: Hon. Lucy H. Koh
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     WU DECLARATION ISO DEFENDANTS’ OPPOSITION                         CASE NO. 5:17-cv-06064-LHK
     TO MOTION FOR PRELIMINARY INJUNCTION                                                19
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 1          I, Alice Wu, hereby declare as follows:

 2          1.      I am a Senior Manager for Trust & Safety at YouTube LLC, where I am

 3   responsible for managing a team of people that work on policy and enforcement issues related to

 4   YouTube’s Community Guidelines. I have worked on YouTube content policies since August

 5   2009 in different capacities, ranging from YouTube’s advertising policies to working with our

 6   product and engineering teams on policies and rating guidelines. I make this Declaration in

 7   support of YouTube’s Opposition to Plaintiff’s Motion for a Preliminary Injunction. I have

 8   personal knowledge of the facts set forth herein and, if called as a witness, I could and would

 9   testify competently thereto.
10   The YouTube Service and Terms of Use
11          2.      YouTube is a popular online service that enables more than a billion users around

12   the world to upload, view, and share videos and related content. Video creators, who range from

13   amateurs using cell phone cameras to professional filmmakers, can upload videos that they create

14   to the service, and anyone with an Internet connection can view them. YouTube has launched

15   local versions in more than 88 countries and can be navigated in 76 different languages.

16          3.      The general public may use YouTube’s service, both to upload and to watch

17   videos, for free. YouTube also offers subscription-based services to users, including ad-free

18   access to YouTube.

19          4.      YouTube strives to create a space where people all over the world can create and

20   share unique, creative, and original content. As part of this mission, YouTube aims to support

21   “Four Freedoms”—freedom of expression, freedom of information, freedom of opportunity, and

22   freedom to belong—and to create a space where those freedoms can be enjoyed. But while

23   YouTube is committed to giving its users a voice, we also have rules that govern how people

24   may use the service and under what terms they may post videos and other content. YouTube’s

25   interest in allowing users to express themselves has always existed alongside such rules and

26   policies, which allow YouTube to remove or restrict access to certain types of user-uploaded

27   content in order to help ensure that the service is safe and enjoyable for all users, including

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 1   minors, families, schools, and those with sensitivities about being exposed to more mature

 2   material.

 3          5.      YouTube allows users “permission to access and use the Service” subject to

 4   YouTube’s Terms of Service. These terms take the form of a written agreement between

 5   YouTube and its users. Among other provisions of this agreement, the Terms of Service provide

 6   that YouTube “reserves the right to decide whether Content violates [its] Terms of Service” and

 7   “reserves the right to remove Content.” A true and correct copy of YouTube’s Terms of Service,

 8   which are available at https://www.youtube.com/static?template=terms, is attached hereto as

 9   Exhibit 1.
10          6.      YouTube’s Terms of Service incorporate by reference YouTube’s Community

11   Guidelines, which provide additional detail about the kinds of content and activities that are not

12   allowed to appear on YouTube. Together, the Terms of Service and Community Guidelines set

13   out rules for how the YouTube service can be used and give YouTube authority to enforce those

14   rules in various ways. In particular, the Community Guidelines set out twelve non-exclusive

15   “common-sense rules” about content that is prohibited from appearing on YouTube, including

16   prohibitions on sexual content, hateful content, spam, threats, and material that infringes the

17   copyrights of others. A true and correct copy of relevant portions of the YouTube Community

18   Guidelines, which are available at https://www.youtube.com/yt/about/policies/#community-

19   guidelines, is attached here as Exhibit 2.

20          7.      YouTube has also published a number of other policy documents that explain to

21   users the steps that it takes to limit the display of material that might not be appropriate for

22   younger or more sensitive users. Some of these materials are attached. A true and correct copy of

23   the YouTube page “Your Content & Restricted Mode,” which is available at https://support.

24   google.com/youtube/answer/7354993?hl=en, is attached hereto as Exhibit 3. A true and correct

25   copy of the YouTube page “Disable or enable Restricted Mode,” which is available at

26   https://support.google.com/youtube/answer/174084?co=GENIE.Platform%3DDesktop&hl=en, is

27   attached hereto as Exhibit 4. A true and correct copy of the YouTube page “Age-restricted

28   content,” which is available at https://support.google.com/youtube/answer/2802167?hl=en, is
     WU DECLARATION ISO DEFENDANTS’ OPPOSITION          -3-                      CASE NO. 5:17-cv-06064-LHK
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 1   attached hereto as Exhibit 5. A true and correct copy of the YouTube page “Appeal the age

 2   restriction on your video,” which is available at https://support.google.com/youtube/answer/

 3   1153367?hl=en, is attached hereto as Exhibit 6.

 4           8.     In addition to these public policy documents, YouTube also maintains internal

 5   review guidelines and training materials that supply further detail about its content policies.

 6   YouTube does not disclose these materials to the public because doing so would make it easier

 7   for unscrupulous users to find loopholes in policy language or otherwise try to evade YouTube’s

 8   rules. But these materials help inform YouTube’s decisions about what content to remove and

 9   what content may be subject to classifications that make it easier for more sensitive users to
10   avoid it.

11   Overview of YouTube’s Content Review Process
12           9.     The amount of video content uploaded to YouTube is massive. Users upload on

13   average more than 400 hours of content to YouTube every minute, or more than 500,000 hours

14   per day on a nearly limitless range of topics.

15           10.    To ensure that all of this content complies with YouTube’s policies and guidelines,

16   YouTube uses a combination of automated filtering systems and manual (human) reviewers who

17   review content 24 hours a day, 7 days a week, in multiple languages and countries around the

18   world. These review processes determine whether content on YouTube complies with

19   YouTube’s Community Guidelines and, if so, whether it is appropriate for younger or more

20   sensitive audiences. Given the sheer volume of content posted on the service, this is an enormous

21   job. YouTube has employed thousands of people around the world to review content and apply

22   its Community Guidelines and other content policies.

23           11.    To help inform these content-review processes, YouTube invites users to “flag”

24   content that they think might be inappropriate or otherwise in violation of YouTube’s policies. A

25   true and correct copy of YouTube’s instructions for flagging content on its platform, which is

26   available at https://support.google.com/youtube/answer/2802027?hl=en, is attached hereto as

27   Exhibit 7.

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     WU DECLARATION ISO DEFENDANTS’ OPPOSITION         -4-                     CASE NO. 5:17-cv-06064-LHK
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 1          12.     This tool results in a large number of flags, reflecting the sheer volume of content

 2   on YouTube. On average, YouTube users flag hundreds of thousands of videos per day and we

 3   also use machine learning systems to flag more content for review by our teams. YouTube has

 4   also developed a Trusted Flagger program, comprised of NGOs, government agencies, and

 5   others with specific expertise who are provided a bulk-flagging tool to alert YouTube to content

 6   that may violate its policies. A true and correct copy of YouTube’s announcement about the

 7   Trusted Flagger program, which is available at https://youtube.googleblog.com/2017/10/an-

 8   update-on-our-commitment-to-fight.html, is attached hereto as Exhibit 8.

 9          13.     YouTube reviews flagged content 24 hours a day, 7 days a week, and removes
10   any content that it finds to be in violation of the Community Guidelines. If YouTube determines

11   that content does not violate the Community Guidelines, but may not be appropriate for younger

12   audiences, YouTube may age-restrict the video in a manner that makes it unavailable to minors

13   or change the content label (or “rating”) for the video in a manner that makes it unavailable to

14   users who have opted into its “Restricted Mode” feature, which is described in more detail below.

15          14.     YouTube receives significant pressure from governments and social interest

16   groups around the world to remove or restrict access to content that those groups find harmful,

17   dangerous, or offensive. For example, Germany’s Netzwerkdurchsetzungsgesetz (network

18   enforcement law or NetzDG) requires any internet platform with more than 2 million users to

19   implement more efficient ways to report and delete potentially illegal content, such as slander

20   and hate speech. Platforms that fail to remove such content within 24 hours (or within 7 days for

21   more legally complex content), will be subject to fines of up to 50 million euros.

22          15.     In addition to these considerations, YouTube’s efforts to enforce its content

23   policies work to protect users from a wide range of potentially harmful or objectionable content.

24   For example, YouTube continually works to remove videos that promote or glorify terrorism, as

25   well as hate speech that vilifies individuals or groups based on race, ethnicity, or religion. Being

26   able to make these kinds of decisions without fear of liability is essential to YouTube’s self-

27   regulatory efforts and to its goal of allowing for broad expression while keeping the platform

28   safe and enjoyable for as many people as possible.
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 1           16.       Protecting minors and their families is another important aspect of these efforts.

 2   In the past year, for example, YouTube has expanded its enforcement guidelines regarding child

 3   endangerment, and implemented new age-restriction policies to restrict access to content

 4   targeting families with family-friendly characters, but that include mature themes or adult humor.

 5   As of November 2017, these efforts already had resulted in the termination of over 50 channels

 6   and the removal of thousands of videos. A true and correct copy of YouTube’s announcement of

 7   these efforts, which is available at https://youtube.googleblog.com/2017/11/5-ways-were-

 8   toughening-our-approach-to.html, is attached hereto as Exhibit 9.

 9   YouTube’s Restricted Mode
10           17.       Some videos may not violate YouTube’s Community Guidelines but nevertheless

11   may not be appropriate for all users, including minors, students, or those with special

12   sensitivities. With that in mind, YouTube takes various steps to allow those users to protect

13   themselves from exposure to material that they might consider inappropriate.

14           18.       One of those tools is “Restricted Mode.” This is an optional setting that gives

15   users the option to automatically filter out videos that YouTube has determined may contain

16   mature content. Restricted Mode allows users to opt into a more limited YouTube experience,

17   one that only includes videos that YouTube has deemed likely to be appropriate for sensitive

18   viewers.

19           19.       Many of YouTube’s peer services have similar features. For example, Instagram

20   offers an option to “hide offensive comments,” which enables users to block certain comments

21   that Instagram has determined may be offensive. Descriptions of this Instagram setting can be

22   found at http://blog.instagram.com/post/162395020002/170629-comments and

23   http://blog.instagram.com/post/165759350412/170926-news. Facebook recently announced a

24   feature that will enable users to “select how much nudity, violence, graphic content and profanity”

25   they are comfortable seeing, and filter out content for them accordingly. A news article

26   describing Facebook’s new feature can be found at https://techcrunch.com/2017/02/16/facebook-

27   nudity-filter/.

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 1          20.     Likewise, parental control features such as the V-Chip have been standard among

 2   television and cable providers for decades. Like Restricted Mode, the V-Chip can be enabled to

 3   block programming based on parental guidelines ratings, which are assigned according to the

 4   industry-designed TV ratings system. The FCC’s description of the operation of the V-Chip can

 5   be found at https://www.fcc.gov/consumers/guides/v-chip-putting-restrictions-what-your-

 6   children-watch.

 7          21.     Restricted Mode is completely optional. By default, the feature is turned off, and

 8   YouTube users are free to decide whether to enable it. When Restricted Mode is turned on by a

 9   user, that user will see a more limited selection of YouTube videos, which YouTube has
10   determined are likely to be appropriate for the more sensitive members of its audience.

11          22.     Only a tiny subset of YouTube’s users chose to activate Restricted Mode. On an

12   average day, approximately 1.5% percent of YouTube’s users have Restricted Mode enabled.

13   Those users include parents who may share their devices with their younger teenage children,

14   institutions such as schools and libraries, or just members of the public who don’t wish to be

15   exposed to videos that address more mature topics. For example, Common Sense Media, a

16   nonprofit devoted to educating the public about minors’ use of media and technology,

17   recommends that parents enable Restricted Mode to make YouTube safer for their families.

18   Common Sense Media’s recommendations regarding Restricted Mode can be found at

19   https://www.commonsensemedia.org/youtube/is-there-a-way-to-filter-out-all-of-the-bad-

20   language-and-age-inappropriate-videos-on-youtube.

21          23.     Far from being a tool for censorship, Restricted Mode actually allows YouTube to

22   keep more videos on the service. Because users who are especially sensitive have the option to

23   use Restricted Mode to limit what they see on YouTube, we are able to keep the general

24   YouTube service more open and diverse, with the kind of more mature content available that we

25   otherwise might be faced with pressure from users and others to remove from the platform

26   altogether.

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 1   YouTube’s Processes For Classifying Videos In Connection With Restricted Mode
 2          24.     Restricted Mode works by excluding from display certain categories of videos

 3   YouTube has identified as containing potentially mature content that some more sensitive users

 4   may not wish to view. While those videos are not displayed to the small portion of users that

 5   have turned on Restricted Mode, they remain available to all other users on YouTube’s general

 6   service.

 7          25.     More specifically, Restricted Mode operates in conjunction with YouTube’s

 8   content rating guidelines. Under these guidelines, YouTube rates all videos on the service

 9   according to a multi-level rating scale, using a combination of automated filtering technology
10   and manual review. Videos that YouTube determines are safer and more family-friendly have

11   ratings such as “G” or “PG.” Videos rated in these categories are available in Restricted Mode.

12   Videos that are deemed to contain content that falls into one of the six broad Restricted Mode

13   categories described below are rated “Teen,” “MA” (“Mature”), or higher, depending on the

14   severity, graphicness, and/or focus of the mature content in the video. That is, more strongly

15   mature content will be rated “MA” or higher, while potentially mature content will be rated

16   “Teen.” Videos rated as “Teen” or higher are excluded from Restricted Mode. Thus, users who

17   have enabled Restricted Mode are able to view only videos that have lower content ratings, such

18   as “PG” or “G.”

19          26.     YouTube’s content rating categories were named in reference to the parental

20   guidelines ratings established by the television industry. Based on requests from our content

21   creators and advertisers, as well as user feedback and public commentary, the “Teen” and “MA”

22   categories were designed to correspond to users’ general expectations about content that is

23   appropriate only for teen or adult audiences.

24          27.     Content may be classified as “Teen” or higher—and thus excluded from

25   Restricted Mode—if it falls within one or more of six general categories:

26      •   Drugs and alcohol: Talking about drug use or abuse, or drinking alcohol in videos.
27      •   Sexual situations: Overly detailed conversations about or depictions of sex or sexual
28          activity. Some educational, straightforward content about sexual education, affection, or
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 1          identity may be included in Restricted Mode, as well as kissing or affection that’s not

 2          overly sexualized or the focal point of the video.

 3      •   Violence: Graphic descriptions of violence, violent acts, natural disasters and tragedies,
 4          or even violence in the news.

 5      •   Mature subjects: Videos that cover specific details about events related to terrorism, war,
 6          crime, and political conflicts that resulted in death or serious injury, even if no graphic

 7          imagery is shown.

 8      •   Profane and mature language: Inappropriate language, including profanity.
 9      •   Incendiary and demeaning content: Video content that is gratuitously incendiary,
10          inflammatory, or demeaning towards an individual or group.

11   See Exhibit 3. These public categories are fleshed out by more detailed internal guidelines that

12   help YouTube’s reviewers categorize content and help to make sure reviewers are not making

13   decisions based on their own subjective opinions.

14          28.     The categories that can lead to “Teen” or higher labeling are based on established

15   criteria used to rate video content (e.g., “violence” and “profane and mature language”). While

16   YouTube’s content review guidelines are detailed and thoroughly developed to guide our content

17   reviewers, we also broadly define our content categories to allow room for the widely varying

18   context we see in these videos and to allow YouTube’s reviewers to consider that context in

19   determining how to classify videos.

20          29.     The classification of videos in connection with YouTube’s rating system is done

21   using both an automated system and manual review. Most ratings are determined by the

22   automated system, which constantly scans videos as they are uploaded or updated. This system

23   examines various characteristics, including the video’s title, metadata, a transcription of the

24   language used in the video, among other factors, to determine whether the video should be

25   classified as “Teen” or “Mature.” Automated classifications are constantly checked against

26   manual reviews for accuracy as part of the quality and improvement process of our classifiers.

27          30.     Manual review is used in different circumstances. Whenever a user appeals a

28   Restricted Mode classification by using YouTube’s Restricted Mode feedback form, a human
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 1   reviewer will review the video and, depending on his or her review, may change the video’s

 2   classification if a reviewer determines the initial classification made by the automated system

 3   should be adjusted according to YouTube’s guidelines. When YouTube’s manual review team

 4   receives a formal feedback request, the team is presented with the video content at issue, but not

 5   the video channel or other information regarding the video’s origin or uploader. In addition,

 6   videos that are flagged by users may in some circumstances undergo manual review that can

 7   result in the assignment of a “Teen” or “Mature” rating.

 8          31.     Because YouTube’s ratings decisions are context-dependent, nuanced, and based

 9   on criteria derived in part from our understanding of user expectations, Restricted Mode
10   classifications often require case-by-case judgment calls and may evolve based on user feedback.

11          32.     YouTube invites users to submit instances where they think YouTube’s systems

12   have incorrectly classified a given video or where they wish to ask YouTube to review a video

13   that is currently unavailable in Restricted Mode. To do so, users can use YouTube’s official

14   Restricted Mode feedback form, which is available at https://support.google.com/youtube/

15   contact/yt_restricted_mode. YouTube reviews all videos submitted to its attention through this

16   process to evaluate whether, in its judgment, the material was properly classified by the

17   automated system. A true and correct copy of YouTube’s Restricted Mode Feedback Form is

18   attached here as Exhibit 10.

19          33.     In some cases, and where appropriate, YouTube changes the classification

20   determinations made by its automated system following a user objection. The majority of these

21   changes involve reclassifying a video as less objectionable—i.e., changing a rating from “Teen”

22   to “PG.”

23          34.     YouTube uses these instances of reclassification to improve and train its

24   automated systems to more accurately rate videos. When a reviewer adds a “correct” manual

25   classification to a video, that data is fed back into the automated system as “ground truth”

26   training data for the classifier, which improves the system’s accuracy moving forward.

27

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 1   YouTube’s Age-Restriction Policies

 2          35.     In addition to Restricted Mode, YouTube also operates a related feature that
 3   restricts access to certain videos based on viewers’ age. When a video is age-restricted, a
 4   warning screen displays before the video plays, and the video will not be shown to users who are
 5   logged out, are under age 18, or have Restricted Mode enabled.
 6          36.     Videos are only age-restricted following manual review or at the election of
 7   YouTube’s content creators. When YouTube manually reviews a video that has been flagged by
 8   users who consider the video “inappropriate,” it may determine that the video should be age-
 9   restricted under YouTube’s policies. In addition, YouTube creators can independently decide to
10   age-restrict their own videos.
11          37.     Although age-restriction and Restricted Mode both serve to help more sensitive
12   users avoid mature content, they operate in different ways. Restricted Mode screens a broader
13   range of content (both content that is age-restricted and content rated as potentially mature like
14   “Teen” or “MA”), but age-restrictions apply to a wider group of users. Restricted Mode only
15   applies to users who have chosen to enable the feature. Age-restrictions apply to all YouTube
16   users under the age of 18.
17   YouTube’s Classification of PragerU Videos
18          38.     PragerU’s YouTube channel describes PragerU as “an online video resource
19   promoting knowledge and clarity on life’s biggest and most interesting topics.” Currently,
20   PragerU’s channel has posted 345 videos and has over 1.2 million subscribers. A true and correct
21   copy of the “About” page for PragerU’s YouTube channel, which is available at
22   https://www.youtube.com/user/PragerUniversity/about, is attached here as Exhibit 11.
23          39.     We have applied the ratings policies and classification processes described above
24   to all of the videos publicly available on PragerU’s channel. Based on those processes, 41 of
25   PragerU’s videos—only 11.9% of the 345 videos currently available on PragerU’s channel—are
26   currently classified as “Teen” or higher and thus are unavailable in Restricted Mode. The rest of
27

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 1   PragerU’s videos (approximately 88%) are rated “PG” or “G” and are available in Restricted

 2   Mode. None of PragerU’s videos are age restricted.

 3             40.   The classifications of PragerU’s videos that are currently rated “Teen” or higher

 4   are based entirely on the content of those videos. Attached hereto as Exhibit 12 is a list of

 5   PragerU videos on YouTube that are rated “Teen,” or higher. All of the videos listed in this chart

 6   were manually reviewed by YouTube. In that review process, YouTube confirmed that the Teen

 7   ratings for those videos were correct and consistent with YouTube’s policies and guidelines.

 8             41.   YouTube’s classification of PragerU’s videos as “Teen” is not based on political

 9   or ideological disagreement with PragerU or with the messages communicated by its videos. Nor
10   were they based on the fact that the videos had been uploaded by PragerU. To the contrary,

11   YouTube trains its reviewers not to consider the identity of the uploader or whether they agree or

12   disagree with the ideological content of the video in determining the proper classification for

13   videos.

14             42.   The appropriateness of the Teen ratings assigned to the PragerU videos listed

15   above is clear from the videos themselves. To give a few specific examples: In a PragerU video

16   entitled “Born to Hate Jews” the narrator discusses how he used to think Jews in Israel were

17   engaged in genocide and violence against Muslims. https://www.youtube.com/watch?

18   v=xCQEmeGfFmY. Another video entitled “Why isn’t Communism as hated as Nazism?”

19   describes mass murders and other atrocities in Communist countries. https://www.youtube.com/

20   watch?time_continue=1&v=nUGkKKAogDs. Another video, entitled “Are 1 in 5 Women Raped

21   at College?,” https://www.youtube.com/watch?v=K0mzqL50I-w, includes an animated depiction

22   of a nearly naked man lunging at a group of women and discusses college rape culture and the

23   level of consent that should be required to engage in sexual activity. A video titled “Are the

24   Police Racist?” https://www.youtube.com/watch?v=UQCQFH5wOJo&t=213s, discusses

25   whether law enforcement engages in systemic racial discrimination and includes animations of

26   police officers and black men pointing guns at people. YouTube concluded that these and some

27   other similar PragerU videos, which deal with sexual situations, mature subject matter, and

28   violent imagery, do not meet the Restricted Mode guidelines, which are designed to meet the
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 1   needs of users that have chosen a more limited YouTube viewing experience free from

 2   potentially mature content. Based on that, YouTube assigned those videos a “Teen” or higher

 3   rating, which keeps them available to anyone using YouTube’s general service, but not available

 4   to users who have chosen to activate Restricted Mode (unless and until those users turn off

 5   Restricted Mode).

 6   Communications with PragerU About YouTube’s Classifications
 7          43.     YouTube’s records indicate that, before initiating this litigation, PragerU had

 8   never submitted a formal feedback request via YouTube’s Restricted Mode feedback form to

 9   review the classification of its videos.1 On a few occasions, however, PragerU contacted
10   YouTube’s Partner Support and Policy teams to challenge the classifications of its videos and

11   asked that their videos be made available in Restricted Mode.

12          44.     My understanding is that YouTube received the first of these requests from

13   PragerU in the summer of 2016. YouTube responded to this request by explaining that Restricted

14   Mode is an optional setting, and that PragerU’s videos all still appear on YouTube’s general

15   service, even if they are not available to users who have enabled Restricted Mode. YouTube also

16   explained that it applies the same standards to everyone, and classifies videos according to its

17   policies and based on the intent, focus, and metadata of the video. Finally, we acknowledged that

18   YouTube would be happy to review (and, if appropriate, change) any automatic classifications

19   that a manual reviewer might disagree with.

20          45.     Over the next few months, PragerU repeatedly requested explanations about why

21   certain of its videos were not available in Restricted Mode and asked what it could do to make its

22   videos available. PragerU also claimed that YouTube was censoring its videos based on the

23   political viewpoint expressed in those videos. PragerU asserted that several videos it described as

24

25
        1
          I understand that since PragerU filed this lawsuit, it has submitted several feedback requests
26   for YouTube to review the automated classifications of approximately seven of its videos.
27   YouTube has done so, manually reviewed those videos, changed the classification where that
     was found to be appropriate (for three of the videos) and determined that all the rest were
28   correctly classified.

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 1   “liberal” were available in Restricted Mode when PragerU’s videos on the same or “similar

 2   topics” were not.

 3           46.     YouTube repeatedly responded to these inquiries. We explained that our

 4   classification and review processes are nuanced and context-specific: “Often it’s not the right

 5   approach to say that videos with the same topic should get the same rating. We’ll need to take

 6   into consideration what the intent of the video is, what the focus of the video is, what the

 7   surrounding metadata of the video explains.” We also explained that our manual reviewers

 8   would review any automated classifications that PragerU believed should be changed. That

 9   process was followed. YouTube reported the results of those manual reviews to PragerU,
10   explaining in some cases that YouTube’s review had led to changes in certain videos’

11   classification (making them available to view in Restricted Mode), while in other cases the

12   review confirmed that video in question was appropriately rated and would not be available in

13   Restricted Mode.

14           47.     We also asked PragerU to provide examples of the third-party videos that PragerU

15   referenced, so that we could determine whether those videos were correctly classified. I

16   understand that PragerU provided some of those examples via email, and later submitted a longer

17   list of third-party videos in the complaint filed in this case.

18           48.     As I explained above, YouTube has manually reviewed all of the PragerU videos

19   that are currently classified as “Teen” and confirmed that they were properly classified.

20           49.     The same is true of the various third-party videos that PragerU identified in its

21   complaint as “liberal” or “left wing.” Attached hereto as Exhibit 13 is a chart listing third-party

22   videos identified by PragerU in its complaint, along with the rating of each.

23           50.     As the examples in this chart show, it is the content of the video in question, not

24   considerations of politics or ideology, that drive YouTube’s rating decisions. Where YouTube

25   finds that the content of a video warrants a “Teen” rating, it applies that rating regardless of the

26   identity of the creator of the video or the political viewpoint being expressed. Consistent with

27   that policy, YouTube has applied the “Teen” rating to videos from creators from across the

28   political spectrum on similar types of topics as those addressed in PragerU’s videos. For example,
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 1   as of February 8, 2018, the following videos have been rated “Teen” and are unavailable in

 2   Restricted Mode:

 3
                  Video Title               Channel Name                         URL
 4

 5        US- North Korea War “At          The Young Turks        https://www.youtube.com/watc
               Any Moment”                                        h?v=G2OhavOE9Jw
 6
           Surprising Information          The Young Turks        https://www.youtube.com/watc
 7        about American Sexuality                                h?v=vqy44BgkoKA
 8        Trump Still Thinks Mexico      The Late Show with       https://www.youtube.com/watc
            Will Pay For The Wall         Stephen Colbert         h?v=VIjGs_RIJcQ
 9
10          The Trump Presidency          Last Week Tonight       https://www.youtube.com/watc
                                                                  h?v=1ZAPwfrtAFY
11
                  Confederacy             Last Week Tonight       https://www.youtube.com/watc
12                                                                h?v=J5b_-TZwQ0I

13

14          51.     As noted above, fewer than 12% of the videos on PragerU’s channel are rated

15   “Teen” or higher and are unavailable to users who have enabled Restricted Mode. In comparison,

16   at present, numerous YouTube channels that represent viewpoints across the political spectrum

17   have higher, and sometimes significantly higher, percentages of their videos unavailable in

18   Restricted Mode. The following chart provides some examples of third-party channels and, for

19   each, the percentage of videos that are unavailable in Restricted Mode:

20
                        Channel Name                    % Unavailable in Restricted Mode
21
                  Real Time with Bill Maher                             1.12%
22
                         TEDx Talks                                     1.52%
23                      Crash Course                                    5.66%
24           The Late Show With Stephen Colbert                        12.68%
                       Huffington Post                                 13.90%
25                  The History Channel                                24.43%
26                    Midweek Politics                                 24.46%
                          Vox.com                                      28.27%
27
                         Sam Seder                                     36.14%
28                     BuzzFeedVideo                                   40.12%
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 1                    Al Jazeera English                                 44.34%
 2                     Democracy Now                                     46.00%
                       NowThis World                                     47.46%
 3                    Last Week Tonight                                  49.78%
 4                     The Daily Show                                    54.50%
                      The Young Turks                                    70.62%
 5

 6          52.     These numbers reinforce the fact that YouTube’s ratings decisions strive to be
 7   politically neutral. Those decisions, both generally and with respect to PragerU’s videos, are
 8   based on the nature of the topics that the videos address and how the videos choose to engage
 9   with those topics. Where PragerU’s videos do not include material that warrants a “Teen” or
10   higher rating, they have not received a “Teen” or higher rating. That is the case for the vast
11   majority of PragerU’s videos, which are rated “PG” or lower—and thus available to users who
12   have activated Restricted Mode.
13          I declare under penalty of perjury that the foregoing is true and correct. Executed this 9th
14   day of February 2018, at San Bruno, California.
15

16

17
                                                   By:
18
                                                          _____________________________
19                                                          Alice Wu

20

21

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                 Exhibit “B”

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 1                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                              SAN JOSE DIVISION

 3       DIVINO GROUP LLC, ET AL.,

 4                  PLAINTIFFS,              CASE NO. CV-19-4749-VKD

 5           VS.                             SAN JOSE, CALIFORNIA

 6       GOOGLE LLC, ET AL.,                 JUNE 2, 2020

 7                  DEFENDANT.               PAGES 1 - 51

 8
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 9                 BEFORE THE HONORABLE VIRGINIA K. DEMARCHI
                         UNITED STATES DISTRICT JUDGE
10
                          A-P-P-E-A-R-A-N-C-E-S BY ZOOM
11
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18                                1301 AVENUE OF THE AMERICA, 40TH
                                  FLOOR
19                                NEW YORK, NEW YORK 10019-6022

20                                BY: LAUREN G. WHITE
                                  650 PAGE MILL ROAD
21                                PALO ALTO, CALIFORNIA 94304-1050

22                  (APPEARANCES CONTINUED ON THE NEXT PAGE.)

23       OFFICIAL COURT REPORTER:      IRENE L. RODRIGUEZ, CSR, RMR, CRR
                                       CERTIFICATE NUMBER 8074
24
             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
25      TRANSCRIPT PRODUCED WITH COMPUTER.



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 1      A P P E A R A N C E S BY ZOOM: (CONT'D)

 2      FOR INTERESTED PARTY:
                                 US DEPARTMENT OF JUSTICE
 3                               CIVIL DIVISION, FEDERAL PROGRAMS BRANCH
                                 BY: INDRANEEL SUR
 4                               1100 L ST.
                                 RM. 12010
 5                               WASHINGTON, DC 20530

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           1      SAN JOSE, CALIFORNIA                               JUNE 2, 2020

           2                              P R O C E E D I N G S

10:24AM    3           (COURT CONVENED AT 10:24 A.M.)

10:24AM    4                 THE CLERK:    THE NEXT MATTER IS DIVINO GROUP VERSUS

10:24AM    5      GOOGLE, CASE NUMBER 19-CV-4749.

10:24AM    6                 THE COURT:    GOOD MORNING.   I'M WAITING FOR THE PRIOR

10:24AM    7      MATTER AND ALSO WITH OUR TECHNOLOGY.

10:24AM    8           WHO WILL BE SPEAKING ON BEHALF OF DIVINO GROUP TODAY?

10:24AM    9           MR. OBSTLER, YOU'RE ON MUTE.

10:24AM   10                 MR. OBSTLER:    SORRY ABOUT THAT, YOUR HONOR.     THIS IS

10:24AM   11      THE MOST NERVE-RACKING PART OF THE WHOLE HEARING IS TRYING TO

10:24AM   12      GET THIS THING TO WORK.

10:24AM   13           (LAUGHTER.)

10:24AM   14                 MR. OBSTLER:    PETER OBSTLER, MYSELF, WILL BE

10:24AM   15      SPEAKING ON BEHALF OF THE DIVINO PLAINTIFFS, YOUR HONOR.

10:24AM   16                 THE COURT:    OKAY.   WHO WILL BE SPEAKING ON BEHALF OF

10:24AM   17      GOOGLE TODAY?

10:24AM   18                 MR. WILLEN:    GOOD MORNING, YOUR HONOR.   THIS IS

10:24AM   19      BRIAN WILLEN.   ME AND MY COLLEAGUE, MS. WHITE, WILL BOTH BE

10:24AM   20      SPEAKING FOR GOOGLE.

10:24AM   21           I WILL BE ADDRESSING ANY ISSUES RELATED TO SECTION 230,

10:24AM   22      AND MS. WHITE WILL BE ADDRESSING ANY ISSUES RELATED TO THE

10:24AM   23      UNDERLYING CAUSES OF ACTION.

10:24AM   24                 THE COURT:    ALL RIGHT.   THANK YOU VERY MUCH.

10:24AM   25           AND I DO HAVE MR. SUR ON BEHALF OF THE UNITED STATES.



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10:25AM    1           ALL RIGHT.   SO WE ARE HERE ON THE DEFENDANTS' MOTION TO

10:25AM    2      DISMISS THE SECOND AMENDED COMPLAINT.

10:25AM    3           I WILL HEAR FROM ALL PARTIES, BUT I WOULD LIKE TO START

10:25AM    4      JUST BY IDENTIFYING THE ISSUES THAT I AM MOST INTERESTED IN

10:25AM    5      HEARING ABOUT, AND THEN I'LL LET YOU MAKE YOUR ARGUMENTS, AND I

10:25AM    6      HAVE SOME VERY SPECIFIC QUESTIONS.

10:25AM    7           SO PLAINTIFFS HAVE EIGHT CLAIMS FOR RELIEF, REALLY SEVEN

10:25AM    8      CLAIMS FOR RELIEF SINCE THE EIGHTH ONE IS A REQUEST FOR

10:25AM    9      DECLARATORY RELIEF AND MORE OF A REQUEST FOR A REMEDY.

10:25AM   10           MY PRINCIPAL CONCERN IS THE PRAGER DECISION.     IT DOES SEEM

10:25AM   11      THAT THE NINTH CIRCUIT'S DECISION IN PRAGER IS DISPOSITIVE WITH

10:25AM   12      RESPECT TO THE FEDERAL CLAIMS AND PERHAPS THE CALIFORNIA

10:25AM   13      CONSTITUTION CLAIM BECAUSE OF THE FINDING THAT THE

10:25AM   14      NINTH CIRCUIT MADE THAT GOOGLE AND YOUTUBE ARE NOT STATE

10:25AM   15      ACTORS.   THAT CONCLUSION SEEMS TO ELIMINATE THOSE CLAIMS.

10:25AM   16           THE CALIFORNIA CONSTITUTION CLAIMS ARE ALSO PREMISED ON

10:26AM   17      THE IDEA THAT GOOGLE AND YOUTUBE ARE STATE ACTORS, SO THAT ONE

10:26AM   18      ALSO SEEMS TO BE ELIMINATED BY THIS DECISION.

10:26AM   19           AND THEN WITH RESPECT TO THE LANHAM ACT CLAIM, THE FINDING

10:26AM   20      THAT THE TERMS OF SERVICE AND COMMUNITY GUIDELINES ARE NOT

10:26AM   21      COMMERCIAL ADVERTISING OR PROMOTION AND THAT THE OTHER

10:26AM   22      STATEMENTS THAT ARE CONTAINED -- THAT ARE HIGHLIGHTED IN THE

10:26AM   23      SECOND AMENDED COMPLAINT ARE OPERATIONAL OR PUFFERY MEANS THAT

10:26AM   24      THE PLAINTIFFS COULD NOT PREVAIL ON THE LANHAM ACT CLAIM.

10:26AM   25           SO I WOULD LIKE TO UNDERSTAND THE PARTIES' VIEWS ON THE



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10:26AM    1      SIGNIFICANCE OF PRAGER.   THAT'S THE FIRST THING.

10:26AM    2           AND THE SECOND ITEM THAT CAUGHT MY ATTENTION WAS THE

10:26AM    3      UNRAH ACT CLAIM WHICH DOESN'T HAVE -- DOESN'T GIVE MUCH

10:26AM    4      DISCUSSION IN THE PARTIES' PAPERS, BUT HERE'S MY QUESTION ABOUT

10:26AM    5      THE UNRAH ACT CLAIM, OR QUESTIONS.

10:26AM    6           DOES IT ACTUALLY APPLY TO THE GOOGLE YOUTUBE PLATFORM?

10:26AM    7      AND IF SO, UNDER WHAT SPECIFIC THEORY?

10:26AM    8           IF I CONSTRUE THE SECOND AMENDED COMPLAINT AS ALLEGING AN

10:27AM    9      UNWRITTEN POLICY TO DISCRIMINATE AGAINST THE LGBTQ CONTENT

10:27AM   10      CREATORS, IS THAT REALLY WITHIN THE SCOPE OF PUBLISHING

10:27AM   11      ACTIVITY UNDER SECTION 230(C)(1) OR (C)(2), WHICH HAS A GOOD

10:27AM   12      FAITH REQUIREMENT?

10:27AM   13           IS THAT KIND OF AN UNWRITTEN POLICY SUFFICIENT TO STATE A

10:27AM   14      CLAIM EVEN IF GOOGLE AND YOUTUBE'S OFFICIAL WRITTEN POLICY IS

10:27AM   15      VIEWPOINT NEUTRAL?

10:27AM   16           SO I HAVE SOME QUESTIONS AROUND THE UNRAH ACT CLAIM THAT I

10:27AM   17      WOULD LIKE THE PARTIES TO FOCUS ON.

10:27AM   18           AND THEN FINALLY I DID SEE THAT THE PLAINTIFFS DID FILE

10:27AM   19      YESTERDAY A REQUEST FOR JUDICIAL NOTICE ABOUT THE RECENT

10:27AM   20      EXECUTIVE ORDER, AND I'LL PERMIT THE PARTIES TO ADDRESS THAT,

10:27AM   21      ALTHOUGH I DO NOT SEE HOW THAT HAS ANY BEARING ON THE MOTION TO

10:27AM   22      DISMISS.

10:27AM   23           BUT THOSE ARE MY HIGH-LEVEL OBSERVATIONS AND FLAGGING

10:27AM   24      THOSE ISSUES FOR YOUR CONSIDERATION, BUT I WILL LET YOU ARGUE

10:28AM   25      HOWEVER YOU WOULD LIKE TO ARGUE.



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10:28AM    1           AND SINCE IT'S THE DEFENDANTS' MOTION, I WILL GO AHEAD AND

10:28AM    2      LET GOOGLE START.

10:28AM    3           SO MR. WILLEN.

10:28AM    4                   MR. WILLEN:   YES.   THANK YOU, YOUR HONOR.

10:28AM    5           I THINK I SHOULD PROBABLY TAKE YOUR FIRST SET OF QUESTIONS

10:28AM    6      FIRST WHICH HAS TO DO WITH THE IMPACT OF THE NINTH CIRCUIT'S

10:28AM    7      DECISION IN PRAGER, AND SINCE I THINK THAT RELATES TO THE

10:28AM    8      MERITS OF THE CAUSES OF ACTION RATHER THAN SECTION 230, I WILL

10:28AM    9      LET MY COLLEAGUE, MS. WHITE, ADDRESS THAT IN THE FIRST

10:28AM   10      INSTANCE.

10:28AM   11                   THE COURT:    ALL RIGHT.   VERY WELL.

10:28AM   12                   MS. WHITE:    THANK YOU, YOUR HONOR.

10:28AM   13           TAKING YOUR QUESTIONS IN ORDER, I'LL BEGIN WITH THE FIRST

10:28AM   14      AMENDMENT.    WE ABSOLUTELY AGREE WITH YOUR SUGGESTION THAT THE

10:28AM   15      NINTH CIRCUIT'S DECISION FORECLOSES PLAINTIFFS' FIRST AMENDMENT

10:28AM   16      CLAIM.

10:28AM   17           THEIR CLAIM IS PREDICATED ON AN INFRINGEMENT OF THEIR OWN

10:28AM   18      FIRST AMENDMENT RIGHTS, AND OF COURSE THE CASE LAW IS EXTREMELY

10:29AM   19      CLEAR FOLLOWING THE SUPREME COURT'S DECISION IN HALLECK AND NOW

10:29AM   20      THE NINTH CIRCUIT'S DECISION IN PRAGER, WHICH WAS BROUGHT BY

10:29AM   21      COUNSEL FOR PLAINTIFFS HERE AND ASSERTED CLAIMS BASED ON THE

10:29AM   22      SAME PRODUCTS AND SERVICES ON YOUTUBE'S PLATFORM THAT ARE AT

10:29AM   23      ISSUE IN THIS CASE.

10:29AM   24           THERE'S SIMPLY NO PATH FORWARD IN LIGHT OF THE COURT'S

10:29AM   25      HOLDING TO -- FOR THE COURT TO CONCLUDE THAT YOUTUBE IS A STATE



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10:29AM    1      ACTOR.

10:29AM    2           AND PLAINTIFFS HAVE FILED A SURREPLY ADDRESSING THAT

10:29AM    3      DECISION, ALTHOUGH THEY DID NOT ADDRESS JUDGE KOH'S UNDERLYING

10:29AM    4      DECISION THAT THE NINTH CIRCUIT AFFIRMED IN THEIR OPPOSITION

10:29AM    5      BRIEF.

10:29AM    6           AND IN THEIR SURREPLY THEY CLAIM THAT THIS CASE IS

10:30AM    7      DIFFERENT BECAUSE THEY HAVE ARTICULATED A DIFFERENT STATE

10:30AM    8      ACTION THEORY UNDER THE SO-CALLED ENDORSEMENT TEST UNDER THE

10:30AM    9      SUPREME COURT SKINNER DECISION.

10:30AM   10           BUT WHETHER THE COURT CONSIDERS THE ENDORSEMENT TEST OR

10:30AM   11      THE PUBLIC FUNCTION TEST THAT WAS ARGUED IN PRAGER, THE

10:30AM   12      PARTY -- THE PLAINTIFFS MUST SHOW THAT IN ORDER TO SHOW STATE

10:30AM   13      ACTION, THAT THE CONDUCT THAT ALLEGEDLY DEPRIVED THEM OF THEIR

10:30AM   14      RIGHTS CAN FAIRLY BE ATTRIBUTED TO THE STATE OR THE GOVERNMENT.

10:30AM   15           AND THERE IS NO BASIS TO ARGUE THAT YOUTUBE, IN MONITORING

10:30AM   16      ITS SERVICE AND MODERATING CONTENT ON ITS SERVICE WAS SOMEHOW

10:30AM   17      ACTING WITH THE GOVERNMENT'S ENDORSEMENT.    AND SECTION 230 BY

10:30AM   18      ITS EXPRESS TERMS, AND THE LEGISLATIVE HISTORY CONFIRMS, THAT

10:31AM   19      THE GOVERNMENT WAS, IN FACT, SEEKING TO TAKE ITSELF OUT OF THE

10:31AM   20      PROCESS OF CONTENT MODERATION ONLINE.    SO THERE IS NO BASIS FOR

10:31AM   21      THE COURT TO CONCLUDE THAT SECTION 230 SOMEHOW PUTS A THUMB ON

10:31AM   22      THE SCALE IN FAVOR OF THE CONTENT MODERATION DECISIONS THAT

10:31AM   23      YOUTUBE MADE WITH RESPECT TO THE PLAINTIFFS' CONTENT HERE.

10:31AM   24                 THE COURT:   IT SEEMS ALMOST LIKE AN ABSENCE OF

10:31AM   25      ENDORSEMENT, SORT OF AN EXPLICIT NON-ENDORSEMENT OF ANY



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10:31AM    1      PARTICULAR MONITORING OR POLICING OR CENSORSHIP OR RESTRICTION.

10:31AM    2      IT'S LEAVING IT UP TO THE PLATFORM OR THE SERVICE PROVIDER IN

10:31AM    3      THIS CASE.

10:31AM    4           SO I TAKE YOUR POINT ABOUT THE ENDORSEMENT THEORY.       IT

10:31AM    5      DOESN'T SEEM TO FIT, BUT I WILL HEAR FROM THE PLAINTIFFS ON

10:31AM    6      THAT.

10:31AM    7           OKAY.    SO IN YOUR VIEW -- IN DEFENDANTS' VIEW DOES THE

10:32AM    8      PRAGER DECISION TAKE CARE OF THE FIRST AMENDMENT CLAIM AS WELL

10:32AM    9      AS THE CALIFORNIA CONSTITUTION CLAIM?

10:32AM   10           I MEAN, IT DOESN'T SPECIFICALLY ADDRESS THE CALIFORNIA

10:32AM   11      CONSTITUTION, THE NINTH CIRCUIT DOES NOT.      THAT WAS THE

10:32AM   12      PRAGER II DECISION.

10:32AM   13                   MR. WILLEN:   THAT'S RIGHT, YOUR HONOR.   WE THINK IT

10:32AM   14      DOES.   CALIFORNIA STATE COURTS HAVE MADE CLEAR THAT THE

10:32AM   15      CALIFORNIA CONSTITUTION HAS A STATE ACTION REQUIREMENT JUST

10:32AM   16      LIKE THE FIRST AMENDMENT.

10:32AM   17           AND AS THE NINTH CIRCUIT IN PRAGER HELD, THAT TO FIND A

10:32AM   18      PRIVATE PLATFORM INVOLVED IN HOSTING EXPRESSIVE CONDUCT A STATE

10:32AM   19      ACTOR WOULD ESSENTIALLY BE A PARADIGM SHIFT AND THAT HOLDING

10:32AM   20      BEARS ON THE CALIFORNIA CONSTITUTION CLAIM AS WELL.

10:32AM   21           NOW, PLAINTIFFS HAVE INVOKED THIS NARROW AND 40-YEAR-OLD

10:33AM   22      EXCEPTION ARTICULATED BY THE CALIFORNIA SUPREME COURT IN

10:33AM   23      ROBINS VERSUS PRUNEYARD, BUT THAT DECISION WAS APPLIED TO REAL

10:33AM   24      PROPERTY GIVEN THE NATURE OF REAL PROPERTY AND HAS NEVER BEEN

10:33AM   25      EXTENDED BEYOND THE SCOPE OF REAL PROPERTY.



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10:33AM    1           AND, IN FACT, EVERY CASE THAT HAS CONSIDERED SIMILAR

10:33AM    2      EFFORTS TO EXPAND ITS SCOPE TO ONLINE SERVICES HAS REJECTED

10:33AM    3      THOSE EFFORTS.   IN ADDITION TO PRAGER II THERE WAS THE DOMEN

10:33AM    4      CASE IN THE SOUTHERN DISTRICT OF NEW YORK AND JUDGE CHEN IN THE

10:33AM    5      HIQ DECISION.

10:33AM    6                 THE COURT:   ALL RIGHT.   THANK YOU.

10:33AM    7           AND THE LANHAM ACT ISSUE?

10:33AM    8                 MS. WHITE:   YES.   ON THAT, YOUR HONOR, I DON'T

10:33AM    9      ENTIRELY UNDERSTAND PLAINTIFFS' ARGUMENTS IN THEIR SURREPLY FOR

10:33AM   10      ATTEMPTING TO DISTINGUISH THE LANHAM ACT, BUT THERE'S

10:33AM   11      ESSENTIALLY FOUR CATEGORIES OF STATEMENTS AT ISSUE IN THEIR

10:34AM   12      CLAIM, AND THEY ALL RELATE TO STATEMENTS THAT THE NINTH CIRCUIT

10:34AM   13      CONSIDERED IN PRAGER, THOSE DEALING WITH THE TERMS OF SERVICE

10:34AM   14      DESCRIPTIONS OF RESTRICTED MODE AND SOME IMPLICIT STATEMENT BUT

10:34AM   15      NO ACTUAL STATEMENT REGARDING THE DECISION TO MAKE CERTAIN OF

10:34AM   16      PLAINTIFFS' VIDEOS UNAVAILABLE IN RESTRICTED MODE.

10:34AM   17           THE NINTH CIRCUIT ADDRESSED EACH OF THOSE CATEGORIES OF

10:34AM   18      STATEMENTS AND CLEARLY HELD THAT NO LANHAM ACT CLAIM COULD

10:34AM   19      PROCEED ON THE BASIS OF ANY OF THEM.    THEY ARE NOT MADE IN

10:34AM   20      COMMERCIAL OR PROMOTIONAL CONTEXTS AND THEY, WITH RESPECT TO

10:34AM   21      YOUTUBE'S PROMOTIONAL STATEMENTS AND MISSION STATEMENTS, ARE

10:34AM   22      NOT -- ARE ESSENTIALLY NONACTIONABLE PUFFERY.

10:34AM   23                 THE COURT:   AND IF GOOGLE WERE TO ACT OR HAVE AN

10:34AM   24      INTERNAL UNWRITTEN POLICY THAT WAS INCONSISTENT WITH THOSE

10:34AM   25      PUBLIC STATEMENTS, WOULD THE ANSWER STILL BE THE SAME UNDER THE



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10:35AM    1      LANHAM ACT?   DOES IT MATTER?   THOSE ARE -- THE STATEMENTS THAT

10:35AM    2      ARE PUBLIC FACING AND DESCRIBE THE PLATFORM AS BEING VIEWPOINT

10:35AM    3      NEUTRAL, THAT'S NOT ADVERTISING, THAT'S NOT PROMOTION, SO IT

10:35AM    4      DOESN'T MATTER IF, IN FACT, THAT'S NOT THE WAY IT WORKS AND

10:35AM    5      THERE'S SOME UNWRITTEN POLICY THAT DISCRIMINATES AGAINST THE

10:35AM    6      LGBT CONTENT CREATORS AND STILL NOT ACTIONABLE UNDER THE

10:35AM    7      LANHAM ACT WOULD BE YOUR VIEW?

10:35AM    8                 MS. WHITE:   THAT'S RIGHT, YOUR HONOR.   TO STATE A

10:35AM    9      CLAIM UNDER THE LANHAM ACT FOR FALSE ADVERTISING, WHICH IS WHAT

10:35AM   10      I UNDERSTAND THE PLAINTIFFS CLAIM TO BE HERE, THEY HAVE TO TIE

10:35AM   11      THE CLAIM TO SOME ACTUAL STATEMENT.

10:35AM   12           SO IMPLICIT OR ABSTRACT MOTIVE IS NOT SUFFICIENT TO STATE

10:35AM   13      A CLAIM UNDER THE LANHAM ACT.

10:35AM   14                 THE COURT:   ALL RIGHT.   SO I DID HAVE A QUESTION

10:35AM   15      ABOUT TRYING TO FOCUS IN ON THIS ISSUE OF PLAINTIFFS ALLEGE

10:36AM   16      DISCRIMINATION BASED ON THEIR IDENTITY AS OPPOSED TO CONTENT.

10:36AM   17           AND I DON'T KNOW IF THIS IS A QUESTION FOR YOU OR

10:36AM   18      MR. WILLEN BECAUSE IT REALLY DOES GET INTO THE QUESTION OF WHAT

10:36AM   19      IS IMMUNIZED AND WHAT IS NOT.

10:36AM   20           PLAINTIFFS SAY IN THEIR COMPLAINT THAT THEIR CONTENT IS

10:36AM   21      BLOCKED OR RESTRICTED IN SOME WAY NOT BECAUSE OF THE CONTENT

10:36AM   22      ITSELF BUT BECAUSE THE CREATORS OF THE CONTENT ARE GAY OR ARE

10:36AM   23      SEEKING TO HAVE THEIR CONTENT VIEWED BY THE LGBT COMMUNITY, SO

10:36AM   24      THEY'RE TARGETING CONTENT TO THE LGBT COMMUNITY.

10:36AM   25           SO THAT MAKES ME WONDER WHETHER THAT KIND OF CONDUCT IS,



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10:36AM    1      AS I ASKED FROM THE BEGINNING, SO IF I CREDIT THAT AS AN

10:36AM    2      ALLEGATION THAT I MUST ACCEPT AS TRUE THAT IT'S A

10:36AM    3      DISCRIMINATION BASED ON IDENTITY, IS THAT WITHIN THE SCOPE OF

10:36AM    4      THE PUBLISHING ACTIVITIES UNDER SECTION (C)(1)?

10:37AM    5           AND THE SECOND PART IS IF YOU HAVE TO SHOW GOOD FAITH

10:37AM    6      UNDER (C)(2), IS THAT KIND OF DISCRIMINATION, IS THERE A

10:37AM    7      QUESTION WHETHER THAT KIND OF DISCRIMINATION IS NOT GOOD FAITH

10:37AM    8      UNDER (C)(2)?

10:37AM    9           SO THOSE ARE QUESTIONS FOR MR. WILLEN.

10:37AM   10                 MR. WILLEN:    SURE.   I'D BE HAPPY TO ADDRESS THOSE,

10:37AM   11      YOUR HONOR.

10:37AM   12           SO WITH RESPECT TO (C)(1), THE COURT IS NOT WRITING ON A

10:37AM   13      BLANK SLATE HERE.    WE'VE HAD A SERIES OF DECISIONS, AT LEAST

10:37AM   14      SIX CASES IN THE LAST TWO OR THREE YEARS ALL OF WHICH HAVE

10:37AM   15      APPLIED SECTION 230(C)(1) TO CLAIMS UNDER VARIOUS

10:37AM   16      DISCRIMINATION LAWS, INCLUDING THE UNRAH ACT.

10:37AM   17           SO, FOR EXAMPLE, THE DOMEN CASE THAT MS. WHITE MENTIONED

10:37AM   18      IN THE SOUTHERN DISTRICT OF NEW YORK WAS A CLAIM OF THE

10:37AM   19      UNRAH ACT SPECIFICALLY HELD THAT THE STATE, YOU KNOW,

10:37AM   20      DISCRIMINATION LAWS AND CLAIMS ARISING UNDER THEM ARE WITHIN

10:37AM   21      THE SCOPE OF PUBLISHING ACTIVITY AT LEAST IN CERTAIN CONTEXTS

10:38AM   22      UNDER (C)(1).

10:38AM   23           WE HAVE THE SIKHS FOR JUSTICE CASE, JUDGE KOH'S DECISION,

10:38AM   24      WHICH HELD THE SAME THING AS DID TITLE II OF THE FEDERAL CIVIL

10:38AM   25      RIGHTS ACT, AND THAT DECISION WAS AFFIRMED IN AN UNPUBLISHED



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10:38AM    1      DECISION BY THE NINTH CIRCUIT, WHICH SPECIFICALLY SAID THERE'S

10:38AM    2      NO, THERE'S NO REASON TO EXEMPT THIS CLAIM FROM SECTION 230.

10:38AM    3           PRAGER HELD THE SAME THING.    SIKHS VERSUS FACEBOOK, THE

10:38AM    4      FEDERAL NEWS AGENCY CASE, ALSO A JUDGE KOH DECISION.     SO

10:38AM    5      THERE'S A LONG SERIES OF CASES THAT HAVE HELD THIS.

10:38AM    6           AND WHAT THAT REFLECTS IS THAT I THINK YOU HAVE TO LOOK IN

10:38AM    7      A CASE LIKE THIS, AS THOSE COURTS DID, AT THE NATURE OF THE

10:38AM    8      ACTIVITY THAT IS GIVING RISE TO THE CLAIM.

10:38AM    9           HERE PRIMARILY WHAT THE PLAINTIFFS ARE ALLEGING IS A

10:38AM   10      CHALLENGE TO TWO THINGS:

10:38AM   11           ONE IS THE DECISIONS THAT YOUTUBE MADE WITH RESPECT TO

10:38AM   12      RESTRICTED MODE, AND THAT'S THE EXCLUSION OF CERTAIN VIDEOS

10:38AM   13      FROM BEING ELIGIBLE TO BEING SHOWN IN YOUTUBE'S RESTRICTED

10:38AM   14      MODE;

10:39AM   15           AND THE SECOND IS THE DECISION TO DEMONETIZE SOME VIDEOS,

10:39AM   16      ALTHOUGH NOT ALL OF THE VIDEOS.

10:39AM   17           SO MS. WHITE CAN CERTAINLY ADDRESS WHETHER THOSE

10:39AM   18      ALLEGATIONS EVEN STATE A CLAIM UNDER THE UNRAH ACT, BUT

10:39AM   19      ASSUMING THAT THEY DID, THAT CHALLENGE, THE SPECIFIC ISSUES AT

10:39AM   20      ISSUE HERE, PLAINLY QUALIFY AS PUBLISHING ACTIVITY AS IT'S BEEN

10:39AM   21      DEFINED BY THE NINTH CIRCUIT AND THE SERIES OF NORTHERN

10:39AM   22      DISTRICT OF CALIFORNIA AND OTHER CASES THAT I MENTIONED.

10:39AM   23           SO WITH RESPECT TO RESTRICTED MODE, THAT WAS THE EXPRESS

10:39AM   24      HOLDING OF THE PRAGER II STATE COURT DECISION CHALLENGED THE

10:39AM   25      RESTRICTED MODE CLEARLY COMES UNDER SECTION 230(C)(2) AS



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10:39AM    1      PUBLISHING CONDUCT, EXCUSE ME, AND LIKEWISE THE SAME THING WITH

10:39AM    2      RESPECT TO DEMONETIZATION, AND THAT WAS CONFIRMED EVEN MORE

10:39AM    3      RECENTLY BY JUDGE KIM'S DECISION IN THE LEWIS CASE WHICH WE

10:39AM    4      SUBMITTED AS SUPPLEMENTAL AUTHORITY.     AND THAT WAS A CASE

10:40AM    5      INVOLVING DEMONETIZATION, AND THE COURT THERE EXPLAINED VERY

10:40AM    6      CLEARLY I THINK THAT DEMONETIZATION IS A FORM OF PUBLISHER

10:40AM    7      ACTIVITY.

10:40AM    8                  THE COURT:    LET ME PAUSE YOU RIGHT THERE,

10:40AM    9      MR. WILLEN, BECAUSE I GET THE POINT THAT OTHER CASES HAVE HELD

10:40AM   10      THAT PUBLISHING ACTIVITY ENCOMPASSES QUITE A BROAD SWATH OF

10:40AM   11      ACTIVITY, I UNDERSTAND THAT POINT.

10:40AM   12           BUT TO PUT A REALLY FINE POINT ON IT HERE, WHAT I'M

10:40AM   13      CONCERNED ABOUT IS IF, IF THE ALLEGATION IS, AND I KNOW THAT

10:40AM   14      GOOGLE DISPUTES THAT THIS IS REALLY WHAT IS ALLEGED, BUT IF THE

10:40AM   15      ALLEGATION IS THAT, A, SOMEONE WHO DOES ALL OF THOSE PUBLISHING

10:40AM   16      ACTIVITIES IS NEVERTHELESS DISCRIMINATING ON THE BASIS OF THE

10:40AM   17      AUTHOR'S IDENTITY, THE CONTENT CREATOR'S IDENTITY, REGARDLESS

10:40AM   18      OF WHAT IT IS THAT THE CONTENT HAS IN IT, IF THAT'S THE

10:40AM   19      ALLEGATION, ARE YOU SAYING THAT THAT IS PUBLISHING ACTIVITY,

10:40AM   20      DISCRIMINATION ON THE BASIS OF, LET'S JUST SAY SEXUAL

10:41AM   21      ORIENTATION OF THE CONTENT CREATOR, THAT'S WITHIN PUBLISHING

10:41AM   22      ACTIVITY UNDER (C)(1)?

10:41AM   23                  MR. WILLEN:   WELL, I WOULD SAY TWO THINGS.   SO,

10:41AM   24      FIRST OF ALL, I THINK IT'S ACTUALLY CLEAR FROM THE FACTS

10:41AM   25      ALLEGED IN THE COMPLAINT AS OPPOSED TO KIND OF RHETORIC IN THE



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10:41AM    1      COMPLAINT THAT THAT'S NOT WHAT IS PLAUSIBLY ALLEGED HERE.

10:41AM    2           YOU KNOW, WE KNOW, FOR EXAMPLE, THAT ALL OF THE -- NONE OF

10:41AM    3      THE PLAINTIFFS HERE HAVE HAD ALL OF THEIR VIDEOS EXCLUDED FROM

10:41AM    4      RESTRICTED MODE, NONE OF THEM HAVE ALL OF THEIR VIDEOS NOT

10:41AM    5      ELIGIBLE FOR MONETIZATION.

10:41AM    6           SO CLEARLY IF YOU ACTUALLY LOOK AT WHAT IS GOING ON IN

10:41AM    7      THIS CASE, IT'S VERY HARD TO SAY THAT THERE IS ANY SORT OF

10:41AM    8      IDENTITY OR USER BASE DISCRIMINATION.     SO I THINK THAT'S AN

10:41AM    9      IMPORTANT POINT.

10:41AM   10           BUT AGAIN, WITH RESPECT TO SORT OF THE LEGAL QUESTION

10:41AM   11      UNDER SECTION 230, I MEAN I THINK IT DOES FOLLOW, AND THERE MAY

10:41AM   12      BE SOME CASES WHERE THIS COULD NOT BE THE CASE DEPENDING ON THE

10:41AM   13      PARTICULAR CIRCUMSTANCES.

10:41AM   14           BUT THE NINTH CIRCUIT HAS BEEN VERY CLEAR THAT SECTION

10:42AM   15      230(C)(1) APPLIES WITHOUT REGARD TO THE NATURE OF THE CAUSE OF

10:42AM   16      ACTION.

10:42AM   17           THE THING THAT YOU'RE LOOKING AT IS WHAT IS THE DUTY THAT

10:42AM   18      THE CAUSE OF ACTION IMPOSES AND WHERE THAT DUTY TAKES THE FORM

10:42AM   19      OF A COMMAND EITHER TO PUBLISH OR NOT TO PUBLISH.     THAT IS

10:42AM   20      PRECISELY WHAT SECTION 230(C)(1) PROTECTS AGAINST.     SO

10:42AM   21      WITHDRAWING CONTENT FROM PUBLICATION, CLEAR PUBLIC ACTIVITY.

10:42AM   22           SO WHERE A DISCRIMINATION CLAIM TAKES THE FORM OF SEEKING

10:42AM   23      TO IMPOSE A DUTY ON THE PLATFORM TO EITHER PUBLISH OR NOT TO

10:42AM   24      WITHDRAW FROM PUBLICATION A PARTICULAR PIECE OF CONTENT OR A

10:42AM   25      PARTICULAR USER'S CONTENT, THAT I THINK JUST UNDER THE



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10:42AM    1      ESTABLISHED LAW APPLIES AND KICKS THE IMMUNITY IN.

10:42AM    2                 THE COURT:    THAT'S WHY I WAS ASKING THIS QUESTION IN

10:42AM    3      THE CONTEXT OF THE UNRAH ACT BECAUSE THAT TO ME SEEMED LIKE THE

10:42AM    4      ONLY -- IT'S NOT -- IT CAN'T BE A FIRST AMENDMENT ISSUE.      WE

10:43AM    5      KNOW THAT FROM PRAGER.

10:43AM    6                 MR. WILLEN:   YEAH.

10:43AM    7                 THE COURT:    I DIDN'T REALLY SEE HOW . THERE'S A 14TH

10:43AM    8      AMENDMENT ISSUE.   IT'S NOT REALLY PLED THAT WAY.

10:43AM    9           IT'S MORE OF AS A RESPONSE TO THE AFFIRMATIVE RESPONSE

10:43AM   10      UNDER 230(C).   SO THAT'S WHY I WAS FOCUSSING ON THE UNRAH ACT

10:43AM   11      BECAUSE IMAGINE THAT A PUBLISHER WAS DISCRIMINATING AGAINST A

10:43AM   12      CONTENT CREATOR BASED ON RACE, AND JUST MAKE IT REAL

10:43AM   13      STRAIGHTFORWARD, AND THAT WAS THE ALLEGATION.

10:43AM   14           SO LET'S JUST REMOVE IT FROM THE ACTUAL CASE HERE, BECAUSE

10:43AM   15      I KNOW THAT GOOGLE HAS A DIFFERENT VIEW OF WHAT ACTUALLY IS

10:43AM   16      PLED AND WHAT WAS PLAUSIBLY PLED, AND I JUST WANTED TO AVOID

10:43AM   17      THAT ISSUE.

10:43AM   18           I'M ASKING YOU A HYPOTHETICAL QUESTION.       A PUBLISHER IS

10:43AM   19      DISCRIMINATING AGAINST A CONTENT CREATOR ON THE BASIS OF RACE,

10:43AM   20      NOT ON CONTENT, IS THAT PUBLISHING ACTIVITY UNDER (C)(1) AND IS

10:43AM   21      IT IMMUNIZED -- WOULD IT ALSO BE IMMUNIZED UNDER (C)(2)?

10:43AM   22                 MR. WILLEN:   YEAH.   SO I THINK THE (C)(2) QUESTION

10:43AM   23      IS A DIFFICULT ONE BECAUSE OF THE GOOD FAITH LANGUAGE.

10:44AM   24           OBVIOUSLY WE HAVE NOT SPECIFICALLY RAISED (C)(2) IN

10:44AM   25      CONNECTION WITH THIS MOTION.     I THINK THIS ISSUE HAS NOT



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10:44AM    1      SPECIFICALLY COME UP IN THE (C)(2) CONTEXT.       I CAN IMAGINE SOME

10:44AM    2      COURTS TAKING THE POSITION THAT A PROPERLY PLEADED CLAIM OF THE

10:44AM    3      SORT THAT YOU DESCRIBE AS SORT OF FACIAL RACE DISCRIMINATION

10:44AM    4      CLAIM MAY NOT BE GOOD FAITH UNDER (C)(2), I CAN IMAGINE A COURT

10:44AM    5      TAKING THAT POSITION.

10:44AM    6           I THINK AGAIN, THOUGH, (C)(1) DOES NOT HAVE A GOOD FAITH

10:44AM    7      PROVISION, AND IT APPLIES WITH CIRCUMSTANCES AND APPLIES

10:44AM    8      DIFFERENTLY.

10:44AM    9           I THINK WE HAVE TO LOOK AT THE CARVE-OUTS THAT DO EXIST

10:44AM   10      UNDER (C)(1).   WE HAVE PARTICULAR STATUTES THAT CONGRESS CHOSE

10:44AM   11      TO EXEMPT, INTELLECTUAL PROPERTY, FEDERAL INTELLECTUAL PROPERTY

10:44AM   12      CLAIMS, CRIMINAL PROSECUTIONS, CLAIMS UNDER THE STORED

10:44AM   13      COMMUNICATIONS AND ELECTRONIC COMMUNICATIONS PRIVACY ACT.

10:45AM   14      DISCRIMINATION CLAIMS OBVIOUSLY ARE NOT, NOT THERE.

10:45AM   15           I THINK THERE COULD BE SOME STARK CASES WHERE A COURT

10:45AM   16      MIGHT FIND UNDER A PARTICULAR SET OF CIRCUMSTANCES THAT SOME

10:45AM   17      ALLEGED DISCRIMINATION DIDN'T TAKE THE FORM OF A PUBLISHER OF

10:45AM   18      ACTUALLY TARGETING PUBLISHER CONDUCT, AND, THEREFORE, DIDN'T

10:45AM   19      COME WITHIN (C)(1).

10:45AM   20           I THINK THIS CASE, WHICH IS THE CASE THAT WE HAVE TO LOOK

10:45AM   21      AT, IS I THINK CLEARLY ON THE OTHER SIDE OF THE LAW GIVEN THE

10:45AM   22      NATURE OF THE ALLEGATIONS FOCUSSED SPECIFICALLY ON RESTRICTED

10:45AM   23      MODE, FOCUSSED ON DEMONETIZATION.

10:45AM   24           WE KNOW FROM THE CASES THAT THOSE ARE CORE PUBLISHER

10:45AM   25      ACTIVITIES, AND WE KNOW FROM THE CASES THAT THE DISCRIMINATION



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10:45AM    1      CLAIMS THAT ARE TARGETING THOSE KINDS OF ACTIVITIES HAVE BEEN

10:45AM    2      REPEATEDLY PRECLUDED BY SECTION 230(C)(1).

10:45AM    3           SO I DON'T THINK THERE'S ANY BASIS IN THIS CASE, GIVEN

10:45AM    4      THESE ALLEGATIONS, TO DEPART FROM THAT CONSENSUS.

10:45AM    5                   THE COURT:    ALL RIGHT.   LET ME JUST ASK, DOES ANYONE

10:46AM    6      ON BEHALF OF GOOGLE WISH TO ADDRESS THE REQUEST FOR UNUSUAL

10:46AM    7      NOTICE?

10:46AM    8                   MR. WILLEN:   SURE.   I'D BE HAPPY TO TALK ABOUT THAT

10:46AM    9      AS WELL.   YEAH, I THINK WE SHARE YOUR SENSE, YOUR HONOR, THAT

10:46AM   10      THE EXECUTIVE ORDER REALLY HAS NOTHING TO DO WITH THE ISSUES ON

10:46AM   11      THIS MOTION.

10:46AM   12           THE EXECUTIVE ORDER SEEMS TO US, AT LEAST THE ONLY

10:46AM   13      PROVISION OF IT THAT PURPORTS TO HAVE ANY ACTUAL PRESENT

10:46AM   14      EFFECT, WHICH IS PARAGRAPH 2, IS ADDRESSED TO AN INTERPRETATION

10:46AM   15      OF SECTION 230(C)(2)(A), WHICH SEEMS TO REDUCE TO IF YOU DON'T

10:46AM   16      QUALIFY FOR PROTECTION UNDER 230(C)(2)(A), YOU'RE NOT PROTECTED

10:46AM   17      BY SECTION 230(C)(2)(A).

10:46AM   18           SO I DON'T THINK THAT HAS ANY BEARING ON THIS MOTION WHICH

10:46AM   19      DOESN'T RELY ON SECTION 230(C)(2) AT ALL.

10:46AM   20           EVERYTHING ELSE IN THE ORDER IS SORT OF DIRECTED TO THINGS

10:46AM   21      THAT MIGHT HAPPEN IN THE FUTURE AND DIRECTIVES FOR RULE MAKING,

10:47AM   22      ET CETERA.

10:47AM   23           SO I DON'T THINK THERE'S ANYTHING TO DO WITH IT.       I DON'T

10:47AM   24      THINK IT HAS ANY BEARING ON THESE ISSUES, AND CERTAINLY IT

10:47AM   25      DOESN'T DISPLACE AND IT'S REALLY NOT CAPABLE OF DISPLACING



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10:47AM    1      EITHER THE TEXT OF THE STATUTE OR THE LAW THAT HAS BEEN

10:47AM    2      ESTABLISHED WITH RESPECT TO (C)(1).

10:47AM    3                 THE COURT:    ALL RIGHT.   THANK YOU FOR THAT.

10:47AM    4           IS THERE ANYTHING ELSE THAT YOU WOULD LIKE TO ARGUE IN

10:47AM    5      SUPPORT OF YOUR MOTION THAT I HAVEN'T FOCUSSED ON IN PARTICULAR

10:47AM    6      OR THAT YOU THINK NEEDS FURTHER ELABORATION AT THIS TIME?

10:47AM    7                 MR. WILLEN:   I THINK THE ONLY THING, AND OBVIOUSLY I

10:47AM    8      WANT TO HEAR FROM THE PLAINTIFFS AND RESPOND TO WHAT THEY MIGHT

10:47AM    9      SAY, BUT I DO THINK THAT THE QUESTION OF THE CONSTITUTION, THE

10:47AM   10      CONSTITUTIONAL CHALLENGE TO SECTION 230 THAT THEY HAVE RAISED I

10:47AM   11      THINK, AS THE COURT RECOGNIZED, THE FINDING OF NO STATE ACTION

10:47AM   12      IN THE PRAGER CASE MAKING CLEAR THAT YOUTUBE IS A PRIVATE FORUM

10:48AM   13      AND NOT A GOVERNMENT ACTOR, I THINK THAT FINDING EQUALLY BARS

10:48AM   14      NOT JUST THE FIRST AMENDMENT CLAIM BUT ALSO ANY CHALLENGE TO

10:48AM   15      CONSTITUTIONALITY OF SECTION 230.

10:48AM   16           I THINK THE DECISION THAT IS PROBABLY MOST DIRECTLY ON

10:48AM   17      POINT IN EXPLAINING WHY THAT CHALLENGE FAILS IS THE

10:48AM   18      NINTH CIRCUIT'S DECISION IN ROBERTS VERSUS AT&T MOBILITY WHICH

10:48AM   19      WAS NOT A CASE THAT WE WERE ABLE TO CITE IN OUR PAPERS BECAUSE

10:48AM   20      IT RELATES TO AN ARGUMENT THAT THE PLAINTIFFS MADE IN THEIR

10:48AM   21      SURREPLY AND IN THEIR RESPONSE TO THE GOVERNMENT, BUT I THINK

10:48AM   22      THAT CASE WAS VERY HELPFUL.

10:48AM   23                 THE COURT:    ALL RIGHT.   THANK YOU.   THANK YOU VERY

10:48AM   24      MUCH.

10:48AM   25           MR. OBSTLER, I WOULD LIKE FOR YOU TO HAVE IN MIND THE



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10:48AM    1      QUESTIONS THAT THE COURT ASKED AT THE BEGINNING, SO JUST TO

10:48AM    2      REVIEW THE SIGNIFICANCE OF THE PRAGER DECISION ON YOUR FEDERAL

10:48AM    3      CLAIMS AND POSSIBLY THE CALIFORNIA CONSTITUTION CLAIM AS WELL;

10:48AM    4           THE QUESTIONS THAT THE COURT HAD ABOUT THE APPLICATION OF

10:49AM    5      230(C)(1) AND (2) AND THE CONTEXT OF THE INTENTIONAL

10:49AM    6      DISCRIMINATION, AND I FRAMED IT AS A QUESTION UNDER THE

10:49AM    7      UNRAH ACT, BUT YOU MAY THINK OF IT DIFFERENTLY, AND THEN I'LL

10:49AM    8      ALSO GIVE YOU AN OPPORTUNITY TO -- I WOULD LIKE YOU TO ADDRESS

10:49AM    9      YOUR REQUEST FOR JUDICIAL NOTICE AND LET ME KNOW WHY YOU THINK

10:49AM   10      IT MATTERS TO THE MOTION TO DISMISS.    AND MAYBE IT'S JUST

10:49AM   11      SPECIFICALLY TO THE GOVERNMENT'S POSITION ON THE MOTION TO

10:49AM   12      INTERVENE, BUT I'D LIKE TO JUST UNDERSTAND THAT, AND ANYTHING

10:49AM   13      ELSE THAT YOU WOULD LIKE TO ARGUE.    ALL RIGHT.

10:49AM   14                 MR. OBSTLER:    THANK YOU SO MUCH, YOUR HONOR.

10:49AM   15           I REALLY APPRECIATE AN OPPORTUNITY TO GET A HEARING ON

10:49AM   16      THIS CASE BECAUSE I THINK THERE ARE A LOT OF MISCONCEPTIONS

10:49AM   17      ABOUT WHAT WE HAVE ALLEGED IN 126 PAGES AND 354 PARAGRAPHS.

10:49AM   18           I'M GOING TO ANSWER ALL OF YOUR QUESTIONS, BUT I'M GOING

10:49AM   19      TO REFER VERY CLOSELY TO THE COMPLAINT IN DOING THAT BECAUSE I

10:49AM   20      THINK A LOT OF WHAT THEY'RE REALLY ARGUING WHEN YOU PEEL BACK

10:50AM   21      THE ONION IS FACT BASED.    IF THEY'RE DISCRIMINATING, THESE

10:50AM   22      ARGUMENTS FALL APART.

10:50AM   23           I'LL START WITH THE PRAGER CASE.    I THINK WAY TOO MUCH

10:50AM   24      TIME -- AND I BEAR A LOT OF RESPONSIBILITY FOR THIS BECAUSE I

10:50AM   25      LITIGATED THE PRAGER CASE -- IS BEING SPENT ON STATE ACTION.



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10:50AM    1      I'M GOING TO SUBMIT HERE ON STATE ACTION.     I DON'T WANT TO

10:50AM    2      WASTE ANY MORE TIME ON IT.    I THINK YOUR HONOR HAS HER VIEWS.

10:50AM    3           MY ONLY ISSUE WITH THE STATE ACTION DECISIONS THAT HAVE

10:50AM    4      COME DOWN SO FAR IS THAT THERE IS NOT A CLEAR PLEADING STANDARD

10:50AM    5      ON WHAT YOU WOULD HAVE TO PLEAD TO PLEAD PUBLIC FUNCTION OR TO

10:50AM    6      PLEAD ENDORSEMENT.

10:50AM    7           SO IF I COULD KNOW THAT, I COULD THEN MAKE A GOOD FAITH

10:50AM    8      DECISION AS TO WHETHER OR NOT I CAN ALLEGE THOSE TYPES OF

10:50AM    9      FACTS.   I WOULD LIKE TO HOLD, THOUGH, UNLESS THE COURT REALLY

10:50AM   10      WANTS TO HEAR FROM ME NOW ON THAT ISSUE, I WOULD REALLY LIKE TO

10:50AM   11      HOLD THAT TO THE END BECAUSE, FRANKLY, I'M PRETTY MUCH PREPARED

10:50AM   12      TO SUBMIT ON THAT.   WE'RE GOING TO HAVE TO GO UP ON THIS, AND

10:50AM   13      IT MAY BE THAT PRAGER AND HALLECK ENDS EVERYTHING.     I

10:50AM   14      UNDERSTAND THAT.   OKAY.   I DON'T THINK THAT'S THE KEY ISSUE IN

10:50AM   15      MY CASE AT THIS POINT.

10:50AM   16                 THE COURT:    THE STATE ACTION ISSUE MAKES YOUR FIRST

10:51AM   17      AMENDMENT CLAIM YOUR WEAKEST CLAIM.

10:51AM   18                 MR. OBSTLER:    I WOULD ABSOLUTELY AGREE WITH THAT,

10:51AM   19      YOUR HONOR.   I THINK SKINNER AND THE CONSTITUTIONALITY -- AND

10:51AM   20      SO SKINNER IS SORT OF UPSIDE-DOWN ON THE CONSTITUTIONALITY

10:51AM   21      ARGUMENT, BUT I WOULD AGREE THAT THAT, OF ALL OF THE CLAIMS IN

10:51AM   22      THIS CASE AT THIS POINT, DEPENDING ON WHAT THE STANDARD IS, IF

10:51AM   23      THAT'S THE WEAKEST CLAIM IN THIS CASE.

10:51AM   24           NOW, I WILL SAY THEY HAVE MERGED THEIR TERMS OF SERVICE

10:51AM   25      RECENTLY SO A VIOLATION ON YOUTUBE CAN ALSO LEAD TO THEM TAKING



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10:51AM    1      ANDROID DEVICES AWAY, CAN LEAD TO THEM SHUTTING DOWN ALL SORTS

10:51AM    2      OF GOOGLE SERVICES.      THEY'RE VERY INVOLVED IN ELECTIONS.   WE

10:51AM    3      KNOW THAT FOR WHAT WENT ON IN THE DISASTER THAT HAPPENED IN THE

10:51AM    4      CAUCUSES.

10:51AM    5                  THE COURT:    I WOULD RATHER NOT GET INTO THINGS THAT

10:51AM    6      ARE NOT ALLEGED IN YOUR COMPLAINT.

10:51AM    7                  MR. OBSTLER:    YOUR HONOR, WE HAVE ALLEGED THAT THEY

10:51AM    8      ARE INVOLVED IN THESE FUNCTIONS.       WE HAVE ALLEGED THAT.   IF I

10:51AM    9      NEED TO ALLEGE MORE SPECIFICITY BECAUSE I'VE GOT SOME VERY

10:51AM   10      STRINGENT PLEADING REQUIREMENTS HERE, WE CAN TAKE A LOOK AT

10:52AM   11      THAT.

10:52AM   12           SO MY ONLY REQUEST ON THAT IS THAT THE COURT ARTICULATE

10:52AM   13      THE STANDARD WHY WE FAIL AND GIVE US LEAVE TO CONSIDER WHETHER

10:52AM   14      WE CAN AMEND, BUT OTHERWISE WE'RE PREPARED TO GO UP ON THAT

10:52AM   15      ISSUE, YOUR HONOR.

10:52AM   16                  THE COURT:    ALL RIGHT.   LET'S HEAR ABOUT YOUR

10:52AM   17      ARGUMENTS THAT DON'T RELY ON STATE ACTION.

10:52AM   18                  MR. OBSTLER:    OKAY.   LET'S START WITH LANHAM.   THEY

10:52AM   19      SEEM TO BE FOCUSSED VERY MUCH ON THE STATEMENTS ABOUT FREEDOM

10:52AM   20      OF EXPRESSION AND ALL THIS TYPE OF STUFF.      THAT'S NOT THE BASIS

10:52AM   21      FOR A LANHAM CLAIM.

10:52AM   22           THE BASIS FOR A LANHAM CLAIM IS THEY WEAR TWO HATS.

10:52AM   23      THEY'RE ONE OF THE LARGEST CONTENT CREATORS ON THE YOUTUBE

10:52AM   24      PLATFORM.   THEY HAVE PREFERRED CONTENT DEALS WITH MAJOR, MAJOR

10:52AM   25      MAINSTREAM PUBLISHERS.     SO THEY'RE WEARING TWO HATS.



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10:52AM    1           AND WHAT THEY'RE DOING, YOUR HONOR, AND I HOPE YOU CAN SEE

10:52AM    2      THIS, THIS IS WHAT APPEARS --

10:52AM    3                 THE COURT:   THAT'S OKAY.   I HAVE THE COMPLAINT.     YOU

10:52AM    4      DON'T NEED TO PUT IT ON THE VIDEO.

10:52AM    5                 MR. OBSTLER:   YEAH.   THEY ARE SAYING TO ALL SORTS OF

10:52AM    6      VIEWERS AND AUDIENCES AROUND THE COUNTRY THAT MY CLIENT'S

10:52AM    7      VIDEOS ARE INAPPROPRIATE BECAUSE THEY CONTAIN SHOCKING CONTENT,

10:53AM    8      SEXUAL OR NUDITY, DRUGS, VIOLENCE, ET CETERA.     THAT'S WHAT THEY

10:53AM    9      ARE TELLING THE AUDIENCES WHEN THEY RESTRICT THOSE VIDEOS.

10:53AM   10           THIS CASE, BY THE WAY, IS NOT JUST ABOUT RESTRICTED MODE.

10:53AM   11      IT'S ABOUT EVERY SINGLE SERVICE THAT GOOGLE AND YOUTUBE OFFER

10:53AM   12      WHERE THE TRIGGER TO OBTAIN THE SERVICE IS BASED ON A CONTENT

10:53AM   13      BASED REVIEW OR CONTENT BASED PROCEDURE.

10:53AM   14           SO MY ARGUMENT IN LANHAM IS THAT THEY'RE USING THEIR ROLE

10:53AM   15      AS CONTENT REGULATORS TO BRAND OUR CONTENT AS INAPPROPRIATE, SO

10:53AM   16      WHEN THE READER LOOKS TO SEE WHAT IS ON RESTRICTED MODE, THEY

10:53AM   17      HAVE A LIST AND THAT IS AN AFFIRMATIVE STATEMENT THAT THEY HAVE

10:53AM   18      REVIEWED THE CONTENT AND THAT THEY HAVE FOUND THE CONTENT TO

10:53AM   19      VIOLATE THAT RULE.

10:53AM   20                 THE COURT:   SO LET ME PAUSE YOU THERE FOR A MOMENT

10:53AM   21      AND LET ME MAKE SURE THAT I UNDERSTAND WHAT YOU'RE SAYING THE

10:53AM   22      LANHAM ACT CLAIM IS.

10:53AM   23           IS IT A FALSE ADVERTISING CLAIM UNDER 1125(A)(1)(B)?

10:54AM   24                 MR. OBSTLER:   YES, YES.

10:54AM   25                 THE COURT:   OKAY.   SO THEN YOU HAVE TO GO THROUGH



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10:54AM    1      THE ELEMENTS.

10:54AM    2           SO IF YOU HAD TO TELL ME AN ANSWER TO THIS QUESTION, WHAT

10:54AM    3      IS THE FALSE OR MISLEADING STATEMENT?

10:54AM    4                 MR. OBSTLER:    THE FALSE OR MISLEADING STATEMENT THAT

10:54AM    5      THEY'RE MAKING IS THAT MY CLIENT'S VIDEOS ARE INAPPROPRIATE

10:54AM    6      SEXUALLY, CONTAIN SEXUAL NUDITY OR MATERIAL, CONTAIN VIOLENCE,

10:54AM    7      WHEN, IN FACT, THAT IS NOT TRUE BECAUSE THEY'RE NOT EVEN

10:54AM    8      LOOKING AT THE CONTENT.

10:54AM    9                 THE COURT:   AND YOU'RE SAYING THAT THE STATEMENT IS

10:54AM   10      IMPLICIT BECAUSE A SCREEN DISPLAY THAT INDICATES TO THE VIEWER

10:54AM   11      THAT THAT IS BLOCKED, OR NOT AVAILABLE IN RESTRICTED MODE,

10:54AM   12      IMPLIES THAT IT MUST MEET ONE OF THOSE CATEGORIES OF CONTENT

10:54AM   13      THAT GOOGLE WILL NOT PERMIT TO BE SHOWN IN THAT MODE.

10:54AM   14           IS THAT THE THEORY?

10:54AM   15                 MR. OBSTLER:    THAT IS CORRECT, YOUR HONOR.

10:54AM   16           BUT IT GOES A LITTLE DEEPER THAN THAT, OKAY?     BECAUSE IT

10:54AM   17      ALSO -- AND THIS OVERLAPS WITH THE (C)(1)(A) ISSUE, AND WE'VE

10:55AM   18      ALLEGED THIS AND THE FROSCH DECLARATION CONTAINS IT, TOO.

10:55AM   19           THEY'RE NOT ONLY USING DISCRIMINATORY ALGORITHMS TO DO

10:55AM   20      THIS.   THEY'RE ACTUALLY EMBEDDING METADATA INTO MY CLIENT'S

10:55AM   21      VIDEOS THAT ALLOW THE ALGORITHM TO DO THE PROFILE.

10:55AM   22           AGAIN, UNTIL WE DO DISCOVERY, THIS IS GOING TO BE A VERY

10:55AM   23      COMPLICATED CASE, AND WE'RE SAYING SHOW US THE CODE AND SHOW US

10:55AM   24      HOW THIS WORKS.

10:55AM   25           BUT WE DID A TEA VIDEO, AS YOUR HONOR KNOWS, WHERE WE



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10:55AM    1      ALLEGED AND WHERE WE PUT IN BOTH TAG LINES AND THEN WE PUT IT

10:55AM    2      IN WITHOUT THE TAG LINES AND ALL IT SAYS IS WE LIKE TEA.      IT

10:55AM    3      GOT RESTRICTED.

10:55AM    4           AND AS MS. FROSCH WAS TOLD AT THE MEETINGS, HOW COULD THAT

10:55AM    5      HAVE HAPPENED UNLESS SOMEBODY PUT SOME METADATA IN THERE THAT

10:55AM    6      ALLOWED THAT ALGORITHM TO FIND YOU.

10:55AM    7           AND SO WHAT WE'RE SAYING IS THAT BECAUSE THEY'RE SUCH

10:56AM    8      LARGE CONTENT CREATORS, AND THEY'RE USING THEIR ROLE AS CONTENT

10:56AM    9      REGULATORS TO ALSO FALSELY BRAND CONTENT THAT IS ABSOLUTELY

10:56AM   10      APPROPRIATE AS INAPPROPRIATE, AND THAT BLOCKS OUR REACH, AND

10:56AM   11      THAT'S HOW THEY'RE COMPETING WITH US.

10:56AM   12                 THE COURT:    RIGHT.   SO THAT DOESN'T SOUND SO MUCH

10:56AM   13      LIKE FALSE ADVERTISING, AND SO THAT'S WHY I WAS ASKING YOU, IS

10:56AM   14      IT A FALSE ADVERTISING CLAIM OR IS IT SOMETHING ELSE?

10:56AM   15                 MR. OBSTLER:    WHEN YOU SAY THAT THAT DOESN'T SOUND

10:56AM   16      LIKE FALSE ADVERTISING --

10:56AM   17                 THE COURT:    YOU'RE SAYING -- SO YOU'RE FALSELY

10:56AM   18      BRANDING -- YOUR THEORY IS THAT GOOGLE AND YOUTUBE ARE FALSELY

10:56AM   19      BRANDING YOUR CLIENT'S CONTENT?

10:56AM   20                 MR. OBSTLER:    THAT'S CORRECT, BUT THEY'RE DOING IT

10:56AM   21      BY SHOWING EVERY VIEWER WHO GOES THERE (INDICATING).

10:56AM   22           MY WIFE THE OTHER DAY ACTUALLY GOT A RESTRICTED MODE

10:56AM   23      NOTICE ON HER FACEBOOK PAGE.      SO THE RESTRICTED MODE IS NOW

10:56AM   24      GOING ACROSS PLATFORM.    AND SHE LOOKED IT UP AND SHE SAID WHAT

10:56AM   25      IS GOING ON HERE?



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10:56AM    1           THE POINT IS -- I'M SORRY, THE POINT IS --

10:57AM    2                 THE COURT:   AGAIN, I'M JUST TRYING TO FIGURE OUT HOW

10:57AM    3      YOUR CLAIM FITS THE CLAIM THAT YOU'VE ALLEGED UNDER THE

10:57AM    4      LANHAM ACT, HOW YOUR FACTS FIT THAT CLAIM.      I'M STILL

10:57AM    5      STRUGGLING A LITTLE BIT WITH ALL OF THE ELEMENTS THAT YOU HAVE

10:57AM    6      TO SHOW FOR THE LANHAM ACT.

10:57AM    7           THE QUESTION THAT THE NINTH CIRCUIT FOCUSSED ON WAS THAT

10:57AM    8      THE STATEMENTS, AND THE SAME ARGUMENTS WERE MADE IN THAT CASE

10:57AM    9      AS FAR AS I CAN TELL, THE STATEMENTS WERE NOT MADE IN

10:57AM   10      COMMERCIAL ADVERTISING OR PROMOTION.

10:57AM   11                 MR. OBSTLER:    YEP.

10:57AM   12                 THE COURT:   THE FALSE STATEMENTS.

10:57AM   13           RATHER, THE STATEMENTS THAT WERE MADE WERE DESCRIBING

10:57AM   14      TRUTHFULLY WHAT HAD HAPPENED AS IN THIS GOT FLAGGED AS

10:57AM   15      SOMETHING THAT WOULD BE EXCLUDED FROM RESTRICTED MODE.

10:57AM   16           SO -- AND THE IMPLEMENTATION OF THAT, THE GUIDELINES THAT

10:57AM   17      RESULTED IN THAT DISPLAY BEING AS YOU DESCRIBE WERE NOT

10:58AM   18      ADVERTISING OR PROMOTION.

10:58AM   19           SO IN LIGHT OF PRAGER, HOW DO YOU AVOID THE CONCLUSIONS

10:58AM   20      THAT THAT COURT REACHED?    HOW DO YOU AVOID THOSE AND

10:58AM   21      EFFECTIVELY HAVE A CLAIM IN THIS CASE THAT DOESN'T HIT THOSE

10:58AM   22      SAME BARRIERS?

10:58AM   23                 MR. OBSTLER:    BECAUSE THE COURT IN PRAGER MADE AN

10:58AM   24      INAPPROPRIATE FACTUAL FINDING.

10:58AM   25                 THE COURT:   OKAY.     SO WHAT IS THE INAPPROPRIATE



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10:58AM    1      FACTUAL FINDING?

10:58AM    2                   MR. OBSTLER:   YEAH.   IT SAID THERE WAS NO

10:58AM    3      RELATIONSHIP BETWEEN THE STATEMENT THAT IS RESTRICTED IN ANY

10:58AM    4      ADVERTISING OR STATEMENT ABOUT THE QUALITY OF THE VIDEO.      THAT

10:58AM    5      WAS PLED IN THE COMPLAINT.

10:58AM    6           I ADMIT IT SHOULD HAVE BEEN MORE CLEARER.      WE EXPRESSLY

10:58AM    7      PLED THAT HERE, AND IT IS BY IMPLICATION AS YOU POINTED OUT

10:58AM    8      UNDER THE GRUBBS DECISION OR WHATEVER.

10:58AM    9           I MEAN, THIS IS THE INTERNET AND THEY'RE USING -- THEY'RE

10:58AM   10      RESTRICTING THE VIDEO.      THE PERSON LOOKED AT THAT RESTRICTION

10:58AM   11      AND WHAT IS IT -- WHY WOULD THEY RESTRICT THE VIDEO?       THERE HAS

10:58AM   12      TO BE SOMETHING WRONG WITH THAT VIDEO AND PEOPLE SEE THAT.

10:59AM   13           AND I THINK THAT IT IS A FACTUAL ISSUE AS TO WHETHER OR

10:59AM   14      NOT THERE IS A CONNECTION BETWEEN THIS STATEMENT OF FACT "MY

10:59AM   15      VIDEO IS RESTRICTED" AND A STATEMENT OF FACT ABOUT WHETHER OR

10:59AM   16      NOT THAT VIDEO CONTAINS INAPPROPRIATE MATERIAL, SHOCKING AND

10:59AM   17      SEXUALLY EXPLICIT, OR AS THE FLOOR MANAGER FOR GOOGLE SAID

10:59AM   18      "BECAUSE YOU'RE GAY" AND PUTTING THAT OUT ON THE NETWORK TO

10:59AM   19      EVERYBODY.

10:59AM   20           SECOND OF ALL, IF I WOULD GET LEAVE TO AMEND BECAUSE WE

10:59AM   21      JUST LEARNED THIS, RESTRICTED MODE SWEEPS BROADER THAN WHAT

10:59AM   22      THEY'VE TOLD US AND WHAT THEY'VE REPRESENTED TO THE COURT.       WE

10:59AM   23      NOW HAVE EVIDENCE THAT RESTRICTED MODE IS GOING TO PEOPLE WHO

10:59AM   24      DON'T EVEN HAVE IT ON, AND IT'S GOING ACROSS THE PLATFORM.

10:59AM   25           I'M SORRY, I LEARNED THAT RECENTLY.      THIS CASE HAS BEEN



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10:59AM    1      EVOLVING.   WE HAVEN'T GOTTEN A SINGLE LICK OF DISCOVERY ON THIS

10:59AM    2      TO DATE, YOUR HONOR.

10:59AM    3                  THE COURT:   RIGHT.    IT'S NOT UNUSUAL THAT AT THE

10:59AM    4      PLEADING STAGE YOU WOULDN'T HAVE HAD DISCOVERY.

10:59AM    5                  MR. OBSTLER:   FAIR ENOUGH.

11:00AM    6                  THE COURT:   THAT'S WHY WE'RE AT THE PLEADING STAGE.

11:00AM    7                  MR. OBSTLER:   YEAH.

11:00AM    8                  THE COURT:   SO THE ISSUE I STILL THINK IS

11:00AM    9      CHALLENGING FOR YOU IS CHARACTERIZING THESE STATEMENTS AS

11:00AM   10      ADVERTISING OR PROMOTION.    I THINK THAT'S STILL A CHALLENGING

11:00AM   11      POINT.

11:00AM   12           AND EVEN IF YOU HAD DISCOVERY ABOUT HOW RESTRICTED MODE IS

11:00AM   13      BEING APPLIED OR MISAPPLIED IN YOUR VIEW, OR OVERINCLUSIVE OR

11:00AM   14      UNDERINCLUSIVE, HOW IS THAT ADVERTISING OR PROMOTION IF WHAT

11:00AM   15      APPLE -- I'M SORRY, APPLE -- IF WHAT GOOGLE AND YOUTUBE ARE

11:00AM   16      DOING ARE SIMPLY SAYING THIS IS THE RESULT OF WHATEVER IT IS

11:00AM   17      BEHIND THE SCENES THAT RESULTED IN AN EXCLUSION FROM RESTRICTED

11:00AM   18      MODE, WHETHER IT'S A HUMAN DOING IT OR AN ALGORITHM DOING IT OR

11:00AM   19      A COMMUNITY FLAG, OR WHATEVER THE MECHANISM IS, THEY'RE

11:00AM   20      REPORTING ON THAT BLACK SCREEN THAT THAT PARTICULAR CONTENT IS

11:00AM   21      SUBJECT TO RESTRICTED MODE.

11:00AM   22           THAT'S A FACTUAL STATEMENT.

11:01AM   23                  MR. OBSTLER:   CORRECT, YOUR HONOR.

11:01AM   24                  THE COURT:   AND SO -- YOU KNOW, IT'S A LITTLE BIT --

11:01AM   25      WE CAN GET TO THE QUESTION OF WHETHER, YOU KNOW, WHAT THE



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11:01AM    1      INTERSECT IS WITH SECTION 230, BUT JUST FOCUSSING ON JUST THE

11:01AM    2      LANHAM ACT CLAIM ITSELF AND WHETHER YOU MEET THE ELEMENTS, I'M

11:01AM    3      STILL HAVING TROUBLE WITH THE ALLEGATION THAT THAT IS REALLY

11:01AM    4      COMMERCIAL ADVERTISING OR PROMOTION.

11:01AM    5                   MR. OBSTLER:   BUT THAT IS EXACTLY WHAT THE COURT

11:01AM    6      STRUGGLED WITH IN GRUBBS.     THAT IS EXACTLY WHAT THE COURT

11:01AM    7      STRUGGLED WITH IN THE DECISIONS THAT ARE CITED IN PRAGER AND

11:01AM    8      EVERY SINGLE ONE OF THEM WAS DONE ON A FACTUAL RECORD.     THERE

11:01AM    9      ISN'T A MOTION TO DISMISS IN ANY OF THOSE CASES.

11:01AM   10           NOW, I HAD TO MAKE A STRATEGIC DECISION OBVIOUSLY, AS TO

11:01AM   11      WHETHER WE WERE GOING TO MOVE FOR RECONSIDERATION WITH THE

11:01AM   12      NINTH CIRCUIT IN PRAGER.     WE CHOSE NOT TO DO SO.   THAT'S NOT

11:01AM   13      THIS CASE.    IT SHOULDN'T BE HERE, BUT YOU WERE ASKING ABOUT THE

11:01AM   14      CONSEQUENCES OF PRAGER.

11:01AM   15           FOR PRAGER PURPOSES WE CAN HAVE A LEGITIMATE DISPUTE, BUT

11:01AM   16      I THINK HERE WE ARE EXPRESSING ALLEGING THAT THESE ARE

11:02AM   17      STATEMENTS OF FACT THAT ARE BRANDING OUR VIDEOS AS

11:02AM   18      INAPPROPRIATE AT THE SAME TIME THAT THEY ARE NOT RESTRICTING

11:02AM   19      THEIR VIDEOS AND PUTTING THAT STUFF ON THEIR STUFF AND THAT TO

11:02AM   20      ME IS IMPLICIT FALSE ADVERTISING UNDER GRUBBS AND UNDER THE

11:02AM   21      OTHER CASES.

11:02AM   22           AND IF WE DEVELOP A RECORD, AND IT'S PRETTY CLEAR THAT

11:02AM   23      THIS IS NOT EVEN IN THE BALLPARK, YOUR HONOR, I'LL DISMISS THE

11:02AM   24      CLAIM.   BUT I THINK WE SHOULD GET AN OPPORTUNITY TO DO SOME

11:02AM   25      DISCOVERY ON THAT CLAIM.     I THINK THIS IS COMMERCIAL



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11:02AM    1      ADVERTISING AS ALLEGED, AND I BELIEVE THAT BASED ON DISCOVERY

11:02AM    2      AND IF YOU LOOK AT THE CASES AND IF YOU LOOK AT WHAT THEY

11:02AM    3      CONSIDERED IN THOSE CASES, THIS IS NOT A ONE SIZE FITS ALL.

11:02AM    4      THIS CASE IS EXTREMELY DIFFERENT AND ESPECIALLY GIVEN THE

11:02AM    5      NATURE OF MY CLIENTS AND WHAT THAT STATEMENT MEANS ON THEIR

11:02AM    6      VIDEOS.

11:02AM    7                 THE COURT:   ALL RIGHT.   LET ME JUST ASK BECAUSE

11:02AM    8      THERE SEEMS TO BE SOME AMBIGUITY ABOUT THIS IN THE BRIEFING.

11:02AM    9           DO THE PLAINTIFFS ALSO ALLEGE AN 1125(A)(1)(A) FALSE

11:02AM   10      ASSOCIATION CLAIM OR ARE YOU LIMITING YOUR CLAIM UNDER THE

11:02AM   11      LANHAM ACT TO FALSE ADVERTISING?

11:03AM   12                 MR. OBSTLER:   AT THIS POINT WE'RE LIMITING UNDER

11:03AM   13      FALSE ADVERTISING.

11:03AM   14                 THE COURT:   OKAY.

11:03AM   15                 MR. OBSTLER:   I HAVEN'T THOUGHT ABOUT THE FALSE

11:03AM   16      ASSOCIATION CLAIM TO BE HONEST, YOUR HONOR.

11:03AM   17                 THE COURT:   OKAY.

11:03AM   18                 MR. OBSTLER:   THE CONCERN IS, AND IT GOES TO THE

11:03AM   19      THEORY IN THE WHOLE CASE, IS THAT WE THINK THAT THE WEARING OF

11:03AM   20      THE TWO HATS AND THE USE OF THE COMPUTERS, BECAUSE THEY CAN'T

11:03AM   21      HAVE HUMANS DO THIS STUFF, HAS GOTTEN TO THE POINT WHERE IT HAS

11:03AM   22      GOTTEN ANTICOMPETITIVE.

11:03AM   23           I UNDERSTAND THE LIMITS OF A LANHAM ACT CLAIM AS OPPOSED

11:03AM   24      TO AN ANTITRUST OR A UCL CLAIM, AND I RESPECT THAT.     I

11:03AM   25      UNDERSTAND THE ISSUE HERE IS COMMERCIAL ADVERTISING.     I



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11:03AM    1      UNDERSTAND THAT IT IS VERY LEGITIMATE FOR YOUR HONOR TO SAY,

11:03AM    2      BOY, IT'S A FACT -- IT'S SAYING YOU'RE RESTRICTED.

11:03AM    3           BUT THE QUESTION IS, YOUR HONOR, DON'T YOU ASK YOURSELF

11:03AM    4      WHY WHEN YOU SEE THAT?      ISN'T IT REASONABLE TO SUGGEST THAT

11:03AM    5      PEOPLE ARE SAYING WHY?

11:03AM    6           AND FURTHERMORE, IF THE VIDEO ISN'T CONTAINING THAT

11:03AM    7      MATERIAL, WHY IS IT BEING RESTRICTED?      THAT IN AND OF ITSELF IS

11:04AM    8      A FALSE STATEMENT.    IT MAY NOT BE FALSE ADVERTISING.

11:04AM    9                   THE COURT:   I UNDERSTAND YOUR THESIS FOR THE LANHAM

11:04AM   10      ACT CLAIM.

11:04AM   11           SO LET ME ASK YOU TO ADDRESS THE QUESTION THAT I HAD

11:04AM   12      RAISED AND THAT MR. WILLEN AND I SPENT SOME TIME DISCUSSING,

11:04AM   13      WHICH IS THAT WHETHER THERE IS IMMUNITY UNDER 230(C)(1) AND (2)

11:04AM   14      IN THE CONTEXT OF A CLAIM FOR INTENTIONAL DISCRIMINATION BASED

11:04AM   15      ON IDENTITY.

11:04AM   16                   MR. OBSTLER:   YES, YOUR HONOR.   THIS IS PROBABLY THE

11:04AM   17      MOST IMPORTANT ISSUE IN THIS CASE, ABSOLUTELY THE MOST

11:04AM   18      IMPORTANT ISSUE IN THIS CASE AND ONE OF THE MOST IMPORTANT

11:04AM   19      ISSUES FOR THE INTERNET.

11:04AM   20           IT'S DIFFICULT FOR ME TO BELIEVE, AND I START WITH THIS

11:04AM   21      PREMISE THAT CONGRESS ENACTED THE LAW IN WHICH IT ALLOWED

11:04AM   22      INTERNET COMPANIES, EVEN IF THEY WANTED, TO SELF-REGULATE TO DO

11:04AM   23      SO BY FILTERING PEOPLE AND NOT CONTENT.

11:04AM   24           THERE IS NOTHING IN THE LANGUAGE OF (C)(1) OR (C)(2) THAT

11:04AM   25      PERMITS THIS TYPE OF BEHAVIOR.     NOTHING.    IT SAYS MATERIAL, IT



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11:05AM    1      DOESN'T SAY PEOPLE.

11:05AM    2           OUR ALLEGATION IN THIS CASE IS THEY'RE FILTERING PEOPLE.

11:05AM    3      THEY'RE NOT FILTERING -- SO GOING TO (C)(1), LET ME MAKE ONE

11:05AM    4      POINT BEFORE WE GET INTO THE STATUTORY CONSTRUCTION OF THE

11:05AM    5      WHOLE THING.

11:05AM    6           ON (C)(1), THE REASON THAT, THAT PRAGER II, JUDGE WALSH

11:05AM    7      DISMISSED THE CLAIM WAS THAT HE SAID THAT THERE WAS NO

11:05AM    8      ALLEGATION THAT GOOGLE ADDED ANYTHING TO THE CONTENT.

11:05AM    9           WE HAVE THAT ALLEGATION IN THIS CASE.

11:05AM   10                 THE COURT:    I'M SORRY, NO ALLEGATION THAT GOOGLE

11:05AM   11      ADDED ANYTHING --

11:05AM   12                 MR. OBSTLER:    ANYTHING TO MY CLIENT'S CONTENT.      HE'S

11:05AM   13      SAYING UNDER (C)(1), UNDER ROOMMATES, IF YOU'RE INVOLVED IN ANY

11:05AM   14      ASPECT OF WHAT THE CONTENT IS THAT IS BEING CENSORED, RIGHT,

11:05AM   15      THEN YOU DON'T GET IMMUNITY.      EVERYBODY AGREES IN ROOMMATES.

11:05AM   16      IN FACT, GOOGLE --

11:05AM   17                 THE COURT:    ARE YOU REFERRING TO YOUR ALLEGATION

11:05AM   18      THAT GOOGLE OR YOUTUBE IS ADDING METADATA TO YOUR CLIENT'S

11:06AM   19      CONTENT.

11:06AM   20                 MR. OBSTLER:    YES.   YES.

11:06AM   21                 THE COURT:    AND THAT IS WHAT YOU'RE SAYING IS THE

11:06AM   22      ADDITION OF CONTENT AS WITH PUBLISHING OR MAKING DECISIONS

11:06AM   23      ABOUT PUBLISHING?

11:06AM   24                 MR. OBSTLER:    YES, BECAUSE THE METADATA IS WHAT THE

11:06AM   25      ALGORITHM IS USING TO MAKE THE DECISION.



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11:06AM    1                 THE COURT:   DOES A PUBLISHER NOT GET TO EDIT?

11:06AM    2                 MR. OBSTLER:   YES, BUT A PUBLISHER WHO HAS A

11:06AM    3      CONTRACT WITH ITS AUTHOR THAT IT'S GOING TO BE VIEWPOINT

11:06AM    4      NEUTRAL DOESN'T GET TO DISCRIMINATE.

11:06AM    5           IN OTHER WORDS, IN OTHER WORDS, CAN THE -- CAN

11:06AM    6      SIMON & SCHUSTER GET YOUR LICENSING RIGHTS BY YOU AGREEING TO A

11:06AM    7      TERM OF SERVICE AND SAYING WE'RE GOING TO GIVE YOU VIEWPOINT

11:06AM    8      NEUTRAL EDITING OF YOUR STUFF AND THEN TURN AROUND AND BREACH

11:06AM    9      THAT?

11:06AM   10                 THE COURT:   SO THAT'S A DIFFERENT QUESTION.    IF

11:06AM   11      YOU'RE SAYING THAT THERE'S A BREACH OF CONTRACT HERE BETWEEN A

11:06AM   12      PUBLISHER AND AN AUTHOR, THAT WOULD BE ONE THING, BUT THAT'S

11:06AM   13      NOT WHAT WE'RE FOCUSSING ON RIGHT NOW.

11:06AM   14           WE'RE TALKING ABOUT WHAT IS ENCOMPASSED WITHIN (C)(1) IN

11:07AM   15      TERMS PUBLISHING, AND I RAISED THIS QUESTION VERY DIRECTLY WITH

11:07AM   16      GOOGLE'S LAWYERS, DOES PUBLISHING INCLUDE DISCRIMINATING BASED

11:07AM   17      ON THE AUTHOR'S IDENTITY?   WHAT DOES THAT LOOK LIKE?

11:07AM   18           AND IS THAT AMONG THE FUNCTIONS A PUBLISHER IS ALLOWED TO

11:07AM   19      CONDUCT IN ITS ROLE AS A PUBLISHER AND THAT IS IMMUNIZED UNDER

11:07AM   20      (C)(1)?

11:07AM   21           (C)(2) HAS A GOOD FAITH REQUIREMENT.    (C)(1) DOES NOT.

11:07AM   22      YOUR ARGUMENT MAY BE SUBSTANTIALLY STRONGER UNDER (C)(2), BUT

11:07AM   23      UNDER (C)(1), IF THE PUBLISHER CAN CHOOSE WHAT TO PUBLISH AND

11:07AM   24      HOW, IT'S A VERY DIFFICULT ARGUMENT TO MAKE, AND THAT'S WHY I

11:07AM   25      WAS VERY INTERESTED IN THE QUESTION OF -- AND MR. WILLEN MADE



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11:07AM    1      THE POINT THAT THERE ARE CERTAIN KINDS OF CAUSES OF ACTION THAT

11:07AM    2      TAKE CONDUCT OUTSIDE OF THE SCOPE OF 230(C)(1), IS THAT -- IF I

11:08AM    3      WERE TO CONSTRUE YOUR CLAIM THIS WAY, AND THERE'S A DEBATE

11:08AM    4      ABOUT WHETHER IT'S APPROPRIATE TO CONSTRUE IT THIS WAY GIVEN

11:08AM    5      THE FACTS THAT ARE ALLEGED IN YOUR COMPLAINT, THAT THERE WAS

11:08AM    6      INTENTIONAL DISCRIMINATION BASED ON IDENTITY AS OPPOSED TO

11:08AM    7      CONTENT, WHAT IS YOUR BEST CASE FOR SAYING THAT 230(C)(1) DOES

11:08AM    8      NOT ENCOMPASS THAT?

11:08AM    9                 MR. OBSTLER:   THE QUESTION IS DOES 230(C)(1)

11:08AM   10      IMMUNIZE THEM AS TO THE SPECIFIC CAUSES OF ACTION IN THE CASE;

11:08AM   11      RIGHT?

11:08AM   12                 THE COURT:   YES.   YES.   SO THE UNRAH ACT IS THE ONLY

11:08AM   13      ONE THAT I THINK GIVES YOU A LEG TO STAND ON.

11:08AM   14                 MR. OBSTLER:   WHAT ABOUT BREACH OF CONTRACT,

11:08AM   15      YOUR HONOR?

11:08AM   16                 THE COURT:   I'M SORRY?

11:08AM   17                 MR. OBSTLER:   WHAT ABOUT BREACH OF CONTRACT?

11:08AM   18                 THE COURT:   SO YOU DON'T HAVE BREACH OF CONTRACT.

11:08AM   19      YOU HAVE BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR

11:08AM   20      DEALING, WHICH THAT'S A HARD ONE IN ANY CIRCUMSTANCE,

11:08AM   21      ESPECIALLY GIVEN THE ALLEGED CONTRACT TERMS THAT YOU CITE

11:08AM   22      SAYING THAT THERE WAS A BREACH OF THE IMPLIED COVENANT IS

11:09AM   23      REALLY DIFFICULT JUST ON A 12(B)(6) BASIS.

11:09AM   24           SO YOU DON'T HAVE A BREACH OF CONTRACT CLAIM.

11:09AM   25                 MR. OBSTLER:   WELL, YOUR HONOR, WOULD YOU GIVE ME



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11:09AM    1      LEAVE TO AMEND AND ADD IT?

11:09AM    2                  THE COURT:   WELL, BEFORE WE GET TO THAT, I'M JUST

11:09AM    3      REALLY VERY INTERESTED IN THIS QUESTION.

11:09AM    4                  MR. OBSTLER:   I AM, TOO, YOUR HONOR.   LET ME TAKE

11:09AM    5      ANOTHER SHOT AT IT, PLEASE, IF I COULD.

11:09AM    6                  THE COURT:   SO WHAT IS THE BEST CASE THAT YOU HAVE?

11:09AM    7                  MR. OBSTLER:   OKAY.   NUMBER ONE, THERE IS NO (C)(1)

11:09AM    8      COVERAGE HERE BECAUSE THEY'RE ADDING OUR CONTENT, SO JUST ON

11:09AM    9      THE FACE OF THE STATUTE.

11:09AM   10           NUMBER TWO, CAN CONGRESS ENACT A LAW THAT IMMUNIZES

11:09AM   11      PUBLISHERS FROM RACE DISCRIMINATION IN THE ACT OF PUBLISHING?

11:09AM   12      IS THAT LAW CONSTITUTIONAL?

11:09AM   13           I WOULD SAY THAT UNDER DENVER AREA IT IS NOT.     THAT'S MY

11:09AM   14      ARGUMENT.

11:09AM   15                  THE COURT:   YOUR RESPONSE TO THE COURT'S QUESTION

11:09AM   16      WOULD BE IF (C)(1) DOES ALLOW IT, IT HAS TO BE

11:09AM   17      UNCONSTITUTIONAL?

11:09AM   18                  MR. OBSTLER:   THAT'S CORRECT.

11:09AM   19                  THE COURT:   IT DOES IMMUNIZE THAT KIND OF -- LET'S

11:09AM   20      CALL IT INTENTIONAL DISCRIMINATION BASED ON SOME PROTECTED

11:10AM   21      CHARACTERISTIC, THAT KIND OF STATUTE HAS TO BE

11:10AM   22      UNCONSTITUTIONAL?

11:10AM   23                  MR. OBSTLER:   YES, YOUR HONOR.

11:10AM   24                  THE COURT:   WHY?

11:10AM   25                  MR. OBSTLER:   BECAUSE UNDER DENVER AREA THE COURT



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11:10AM    1      SAID THAT A CONGRESSIONAL ACT THAT DOES PERMISSIVE SPEECH

11:10AM    2      REGULATION AND THE GRANTING OF IMMUNITY THAT THEY -- I MEAN, I

11:10AM    3      WOULD BE ABLE TO SUE THEM, RIGHT, BUT FOR THE CDA.

11:10AM    4           SO THEY ARE -- WHAT THE COURT SAID IN DENVER AREA, WHICH

11:10AM    5      HAS OFTEN BEEN CITED, AND IT'S WHY WE CAME TO THE GAME LATE IN

11:10AM    6      DENVER, AND I WANT TO APOLOGIZE ON THAT.    I HAVE TO ADMIT I

11:10AM    7      WITHDREW EARLY ON THAT ONE.

11:10AM    8           DENVER AREA WAS A FIGHT INITIALLY OVER WHETHER OR NOT,

11:10AM    9      EXACTLY WHAT THE GOVERNMENT AND MR. WILLEN ARE MAKING, WHETHER

11:10AM   10      OR NOT THEY'RE STATE ACTORS AND WHETHER STATE ACTORS -- AND THE

11:10AM   11      CABLE COMPANY SAID THEY'RE NOT STATE ACTORS.      HOW CAN THEIR

11:10AM   12      PERMISSION TO BLOCK THINGS THAT ARE INDECENT BE IN ANY WAY BE

11:10AM   13      SUBJECT TO THE FIRST AMENDMENT?

11:11AM   14           AND WHAT JUSTICE BREYER AND SIX JUDGES ON THE SUPREME

11:11AM   15      COURT SAID IS, YES, IT'S BEING DONE FOR A CONGRESSIONAL ACT,

11:11AM   16      BUT FOR THAT ACT YOU AND I ARE NOT HAVING THAT DISCUSSION.        WE

11:11AM   17      MAY BE HAVING A DISCUSSION ABOUT WHETHER I STATED A CLAIM, BUT

11:11AM   18      FOR CONGRESSIONAL LAW THAT ALLOWS THEM IMMUNITY ON THESE

11:11AM   19      CLAIMS, WE'RE NOT HAVING THIS DISCUSSION.

11:11AM   20           SO IF THEY'RE GETTING IMMUNITY UNDER THIS STATUTE, IT'S

11:11AM   21      NOT A STATE ACTION ISSUE, IT'S WHETHER THE STATUTE PASSES

11:11AM   22      MUSTER JUST LIKE SECTION 10(C) OF THE CABLE ACT UNDER

11:11AM   23      DENVER AREA.

11:11AM   24           WHAT DID THE COURT SAY?   THREE THINGS.

11:11AM   25           GOT TO BE VIEWPOINT NEUTRAL.    NOT VIEWPOINT NEUTRAL IN



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11:11AM    1      THIS CASE.

11:11AM    2           GOT TO BE NARROWLY TAILORED SO THERE'S NO RISK OF AN

11:11AM    3      IMPROPER VETO.

11:11AM    4           AND MOST IMPORTANTLY, IT CANNOT INTERFERE WITH PREEXISTING

11:11AM    5      LEGAL RELATIONSHIPS.

11:11AM    6           THIS IS SPOT ON WITH DENVER, AND THIS STATUTE CANNOT

11:11AM    7      WITHSTAND SCRUTINY UNDER DENVER.      IT IS A PERMISSIVE SPEECH

11:12AM    8      STATUTE JUST LIKE SECTION 10(C) OF THE CABLE ACT.

11:12AM    9                   THE COURT:   OKAY.   THAT SEEMS LIKE A STRETCH

11:12AM   10      HONESTLY, THAT THAT -- THAT THIS CASE FITS THE MOLD OF

11:12AM   11      PERMISSIVE REGULATION IN DENVER AREA.

11:12AM   12           I'LL LET THE GOOGLE FOLKS RESPOND ON THAT POINT, BUT LET

11:12AM   13      ME JUST MAKE SURE YOU DON'T HAVE ANYTHING FURTHER THAT YOU

11:12AM   14      WOULD LIKE TO MAKE SURE THAT THE COURT HEARS IN TERMS OF YOUR

11:12AM   15      ARGUMENT, ANYTHING YOU WOULD LIKE TO ADDRESS FURTHER IN SUPPORT

11:12AM   16      OF YOUR OPPOSITION.

11:12AM   17                   MR. OBSTLER:   WELL, I WANTED TO TALK ABOUT THE

11:12AM   18      EXECUTIVE ORDER.

11:12AM   19                   THE COURT:   OH, YES.

11:12AM   20                   MR. OBSTLER:   BUT I WANT TO COME BACK TO THIS POINT,

11:12AM   21      YOUR HONOR, BECAUSE YOU SAY IT SOUNDS LIKE A STRETCH.         AND I'D

11:12AM   22      BE CURIOUS IN KNOWING WHY YOUR HONOR BELIEVES THAT BECAUSE I

11:12AM   23      DON'T UNDERSTAND THE DIFFERENCE BETWEEN A STATUTE THAT WAS

11:12AM   24      ENACTED TO REGULATE IN INDECENT MATERIAL ON CABLE TELEVISION

11:12AM   25      CHANNELS AND A STATUTE THAT WAS ENACTED OSTENSIBLY TO ALLOW



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11:12AM    1      PRIVATE PARTIES TO REGULATE OFFENSIVE MATERIAL ON THE INTERNET.

11:13AM    2                 THE COURT:    I THINK AT LEAST ONE OF THE KEY

11:13AM    3      DISTINCTIONS HERE IS THAT SECTION 230(C) PERMITS PRIVATE

11:13AM    4      PARTIES TO DO THEIR OWN SELF-REGULATION.       THERE'S NO MANDATE.

11:13AM    5      THERE'S NOTHING -- THERE'S NOTHING THAT IS REQUIRED.        THEY MAY

11:13AM    6      OR MAY NOT.    AND IF THEY DO, THEY'RE IMMUNIZED.

11:13AM    7           IT PROVIDES PROTECTION FROM LIABILITY.         THAT'S WHAT IT IS.

11:13AM    8      IT'S NOT A MANDATE TO REGULATE IN ANY WAY, SHAPE OR FORM.

11:13AM    9                 MR. OBSTLER:    I AGREE WITH YOU.

11:13AM   10                 THE COURT:    I THINK IT'S AN IMPORTANT DISTINCTION.

11:13AM   11                 MR. OBSTLER:    THAT'S EXACTLY THE POINT THAT

11:13AM   12      JUSTICE BREYER MADE.    HE SAID THIS IS A PERMISSIVE PORTION.

11:13AM   13      THERE WAS A MANDATORY PORTION AND A PERMISSIVE PORTION.        10(C)

11:13AM   14      WAS THE PERMISSIVE PORTION.     IT DOESN'T REQUIRE THEM TO DO IT

11:13AM   15      BUT THEY'RE PERMITTED TO DO IT, AND THE COURT SAID THAT IS

11:13AM   16      UNCONSTITUTIONAL.

11:13AM   17           I COMPLETELY AGREE WITH THE DISTINCTION THAT YOUR HONOR IS

11:13AM   18      MAKING, AND I THINK THAT'S SQUARE WITH DENVER ON THE SECTION

11:14AM   19      10(C) CLAIM.

11:14AM   20                 THE COURT:    WELL, I'LL HEAR FROM GOOGLE ON THAT

11:14AM   21      POINT, BUT LET ME GIVE YOU AN OPPORTUNITY TO ADDRESS THE OTHER

11:14AM   22      MATTERS THAT YOU SAID YOU WANTED TO ADDRESS, THE EXECUTIVE

11:14AM   23      ORDER.

11:14AM   24                 MR. OBSTLER:    THE REASON WE CAME IN WITH THE

11:14AM   25      EXECUTIVE ORDER IS THAT WE JUST WEREN'T CLEAR REALLY ON WHAT



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11:14AM    1      THE GOVERNMENT'S POSITION REALLY IS.

11:14AM    2                 THE COURT:   ALL RIGHT.

11:14AM    3                 MR. OBSTLER:   THEY FILED THIS BRIEF, RIGHT, AND THEY

11:14AM    4      SAY IT CAN APPLY TO THE VIEWPOINT, IT'S CONSTITUTIONAL, IT CAN

11:14AM    5      APPLY TO A VIEWPOINT, IT CAN APPLY TO DISCRIMINATION.

11:14AM    6           AND THEN I READ SECTION 2 OF THE EXECUTIVE ORDER SAYING

11:14AM    7      IT'S THE POLICY OF THE UNITED STATES AND THE DEPARTMENT OF

11:14AM    8      JUSTICE IS DIRECTED TO DO EVERYTHING THAT THEY ARE ALLEGING IN

11:14AM    9      THEIR BRIEF.

11:14AM   10           SO I ONLY BRING IT UP TO SAY IF THE ORDER IS ENFORCEABLE

11:14AM   11      AT SOME POINT THEN I DON'T KNOW IF WE HAVE A NEW ISSUE HERE OR

11:14AM   12      WHAT.   AND IF THE ORDER IS NOT ENFORCEABLE, THEN THEY'RE

11:14AM   13      ARGUING THAT THE EXECUTIVE ORDER IS JUST SIMPLY NOT

11:14AM   14      ENFORCEABLE.   I'M NOT GOING TO TAKE A VIEW ON THAT, AND I DON'T

11:14AM   15      REALLY CARE.   AND I AGREE WITH YOUR HONOR, I DON'T THINK IT

11:15AM   16      REALLY MATTERS BECAUSE I THINK AT THE END OF THE DAY I THINK

11:15AM   17      THE STATUTE ON ITS FACE DOESN'T APPLY, AND I THINK THE STATUTE

11:15AM   18      IS UNCONSTITUTIONAL.

11:15AM   19           BUT THE ONLY REASON I BROUGHT IT UP WAS JUST I COULD NOT

11:15AM   20      SQUARE THAT EXECUTIVE ORDER AND HIM DIRECTING THE DEPARTMENT OF

11:15AM   21      JUSTICE AND SITTING THERE WITH BILL BARR WHEN THEY ANNOUNCED

11:15AM   22      THE ORDER WITH WHAT WAS IN THEIR BRIEF.    THAT WAS THE ONLY

11:15AM   23      REASON WE WANTED TO.

11:15AM   24                 THE COURT:   WELL, LET ME GIVE MR. SUR AN OPPORTUNITY

11:15AM   25      TO ADDRESS THE EXECUTIVE ORDER BUT ALSO ANY OTHER MATTERS



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11:15AM    1      RAISED IN THE GOVERNMENT'S MEMORANDUM ON THE CONSTITUTIONALITY

11:15AM    2      QUESTION.

11:15AM    3           MR. SUR.

11:15AM    4                  MR. SUR:   THANK YOU VERY MUCH.

11:15AM    5           SINCE THE EXECUTIVE ORDER HAS COME UP, I GUESS I WILL

11:15AM    6      START THERE BUT MAYBE JUST TRY TO REITERATE IN OUR BRIEF IN

11:15AM    7      POINT ONE WE SIMPLY ARE RELYING ON ONE OF SEVERAL DOCTRINES OF

11:15AM    8      CONSTITUTIONAL AVOIDANCE, THE DOCTRINE THAT SAYS DECIDE THE

11:15AM    9      STATUTORY QUESTIONS FIRST.

11:15AM   10           MUCH OF THE DISCUSSION TODAY WAS ABOUT THE POTENTIAL

11:16AM   11      NUANCES OF THE STATUTE AND, RECENTLY OR NOT, TAKING A POSITION

11:16AM   12      ON THAT.

11:16AM   13           BUT OF COURSE THE PARTIES ARE WELL VERSED ON THAT AND SO

11:16AM   14      YOUR HONOR HAS BEEN WELL FURNISHED, I THINK, BY THE OPPOSING

11:16AM   15      VIEWS ON THE STATUTORY QUESTION, SIMILARLY WITH THE STATE LAW

11:16AM   16      CLAIMS AS WELL.

11:16AM   17           POINT TWO SIMPLY ARGUES THAT IF THE COURT DOES REACH THE

11:16AM   18      CONSTITUTIONAL QUESTION, THAT THERE REALLY IS NO PRECEDENT THAT

11:16AM   19      WOULD SUPPORT HOLDING THE STATUTE TO BE UNCONSTITUTIONAL,

11:16AM   20      PRINCIPALLY FOR THE REASONS THAT HAVE ALREADY BEEN DISCUSSED ON

11:16AM   21      THAT.

11:16AM   22           BUT JUST THE ONE NOTE I WOULD ADD IS DENVER AREA DID NOT

11:16AM   23      TRANSFORM THE NOTION OF STATE ACTION.     JUDGE KOH IN THE OPINION

11:16AM   24      THAT THE COURT OF APPEALS AFFIRMED IN PRAGER UNIVERSITY,

11:16AM   25      ALTHOUGH THE COURT OF APPEALS OPINION DIDN'T ADDRESS



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11:16AM    1      DENVER AREA, JUDGE KOH DID REJECT RELIANCE ON IT IN THE

11:16AM    2      UNPUBLISHED OPINION THAT THEN WENT UP TO THE NINTH CIRCUIT AND

11:17AM    3      SO I DO NOTE THAT.

11:17AM    4           AND AS HAS ALREADY BEEN MENTIONED, BUT I WILL REITERATE,

11:17AM    5      THE NINTH CIRCUIT'S OPINION IN ROBERTS VERSUS AT&T MOBILITY,

11:17AM    6      WHICH IS AT 877 F.3D 833, WAS REALLY A DETAILED ANALYSIS OF

11:17AM    7      THE, QUOTE, "SPLINTERED DECISION" IN DENVER AREA, AND REALLY

11:17AM    8      INFORMS ANY ATTEMPT TO APPLY IT CERTAINLY FOR THE COURTS WITHIN

11:17AM    9      THE NINTH CIRCUIT.

11:17AM   10           SO WE THINK THAT VERY HELPFULLY CLARIFIES THAT THE

11:17AM   11      DENVER AREA DOESN'T TRANSFORM THE NOTION OF THE STATE ACTION IN

11:17AM   12      A WAY THAT WOULD REALLY, REALLY CHANGE ANYTHING THAT WE HAVE

11:17AM   13      SAID IN THE BRIEF.

11:17AM   14           HAVING MADE THOSE POINTS, LET ME THEN TURN VERY BRIEFLY TO

11:17AM   15      THE EXECUTIVE ORDER.

11:17AM   16           I THINK IT IS HELPFUL TO CONSIDER THE TEXT OF THE ORDER AS

11:17AM   17      A WHOLE AND IN THAT RESPECT I DO THINK THAT IT IS NOT

11:17AM   18      INSIGNIFICANT THAT THE ORDER HAS A SET OF GENERAL PROVISIONS AT

11:18AM   19      THE END THAT APPLY TO ANY ATTEMPT TO READ THE ORDER ANYWHERE.

11:18AM   20           SO ONE OF THOSE GENERAL PROVISIONS, AND I REALIZE IT

11:18AM   21      BECAUSE THEY APPEAR OFTEN IN GENERAL PROVISIONS, MAYBE THEY

11:18AM   22      DON'T GET THAT MUCH ATTENTION, BUT IT DOES WARRANT SPECIAL

11:18AM   23      ATTENTION IN THE ATTEMPT TO RELY ON HERE.

11:18AM   24           SECTION 8, LETTER C SAYS THAT THE ORDER IS NOT INTENDED TO

11:18AM   25      AND DOES NOT CREATE ANY RIGHT OR BENEFIT, SUBSTANTIVE OR



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11:18AM    1      PROCEDURAL, ENFORCEABLE AT LAW OR IN EQUITY BY ANY PARTY

11:18AM    2      AGAINST THE UNITED STATES, ITS DEPARTMENTS, AGENCIES OR

11:18AM    3      ENTITIES, ITS OFFICERS, EMPLOYEES OR AGENTS OR ANY OTHER

11:18AM    4      PERSON.   SO I THINK WE HAVE TO START THERE.

11:18AM    5           THEN EVEN IF ONE WERE TO ASSUME IN THE ALTERNATIVE THAT

11:18AM    6      SECTION 8(C) SOMEHOW DIDN'T APPLY, I DO THINK TAKING EACH

11:19AM    7      SECTION IN TURN, THE COURT WILL SEE THAT THESE ARE ABOUT POLICY

11:19AM    8      AND THEY MAY BE EXPRESSED AT LENGTH, BUT THEY ARE ALL POINTS

11:19AM    9      ABOUT POLICY AND ESSENTIALLY DIRECTING VARIOUS EXECUTIVE BRANCH

11:19AM   10      ACTORS TO DO VARIOUS THINGS BUT DON'T GO INTO ANY QUESTION OF

11:19AM   11      CONSTITUTIONALITY.

11:19AM   12           REALLY THE ONLY POINT I WOULD MAKE ABOUT POLICY IS THAT

11:19AM   13      REALLY WHAT IT BRINGS OUR ATTENTION BACK TO IS PAGE 999 OF THE

11:19AM   14      OPINION OF THE COURT OF APPEALS IN PRAGER WHERE BEFORE THEY

11:19AM   15      CONCLUDED THEIR DISCUSSION OF A FIRST AMENDMENT THEY SAID THAT

11:19AM   16      THE PARTIES IN PRAGER UNIVERSITY HAD PROVIDED EXTENSIVE

11:19AM   17      ARGUMENTS ABOUT WHAT MIGHT HAPPEN IF THE COURT RULED ONE WAY OR

11:19AM   18      ANOTHER AND WHILE THOSE POLICY CONCEPTS WERE, QUOTE,

11:19AM   19      "IMPORTANT," THE COURT OF APPEALS IN THE NINTH CIRCUIT FOCUSSED

11:19AM   20      ON THE FIRST AMENDMENT DOCTRINE.

11:19AM   21           I THINK A SIMILAR CONCLUSION IS APPROPRIATE HERE THAT AT

11:19AM   22      MOST THE EXECUTIVE ORDER INDICATES THAT THERE MAY BE IMPORTANT

11:19AM   23      POLICY ISSUES SOMEWHERE IN THE GENERAL REALM OF SECTION 230,

11:20AM   24      BUT THAT THOSE ARE NOT BEFORE THE COURT IN ASSESSING THE

11:20AM   25      CONSTITUTIONALITY OF THE STATUTE.



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11:20AM    1           REALLY WITH THAT I WILL CONCLUDE, UNLESS THE COURT HAS ANY

11:20AM    2      FURTHER QUESTION.

11:20AM    3                 THE COURT:    THANK YOU VERY MUCH, MR. SUR.      THAT WAS

11:20AM    4      VERY HELPFUL.   I APPRECIATE IT.

11:20AM    5                 MR. SUR:    THANK YOU.

11:20AM    6                 THE COURT:    ALL RIGHT.   SO I WOULD LIKE TO HEAR FROM

11:20AM    7      GOOGLE, YOUTUBE BUT -- WELL, ANYTHING THAT YOU WOULD LIKE TO

11:20AM    8      RESPOND TO FROM MY CONVERSATION WITH MR. OBSTLER, BUT I AM

11:20AM    9      INTERESTED IN THE -- IF YOU HAVE ANYTHING FURTHER TO ADD ON THE

11:20AM   10      DENVER AREA POINT AND ITS SIGNIFICANCE.

11:20AM   11                 MR. WILLEN:    SURE.   SO WHY DON'T I START WITH THAT

11:20AM   12      AND TALK ABOUT A COUPLE OF THINGS RELATED TO SECTION 230, AND I

11:20AM   13      CAN LET MS. WHITE TALK ABOUT THINGS RELATED TO THE UNRAH ACT

11:20AM   14      AND THE LANHAM ACT.

11:20AM   15           WITH RESPECT TO DENVER AREA, I THINK MR. OBSTLER HAS

11:20AM   16      RIGHTLY POINTED TO THE NINTH CIRCUIT'S DECISION IN ROBERTS

11:20AM   17      WHICH AT LENGTH EXPLAINS THE VERY, VERY LIMITED, IF ANY, IMPORT

11:21AM   18      OF DENVER AREA ON THE QUESTION OF STATE ACTION.

11:21AM   19           SO ROBERTS POINTS OUT, FIRST OF ALL, THAT THERE'S NO

11:21AM   20      MAJORITY OPINION IN THE DENVER AREA CASE.      THE OPINION THAT

11:21AM   21      MR. OBSTLER IS RELYING ON IS JUSTICE BREYER'S OPINION FOR FOUR

11:21AM   22      JUSTICES THAT DOES NOT SPEAK FOR THE COURT.         JUSTICE KENNEDY

11:21AM   23      AND JUSTICE GINSBERG SUPPLIED TWO ADDITIONAL VOTES BUT ON A

11:21AM   24      VERY, VERY DIFFERENT THEORY.

11:21AM   25           SO JUSTICE BREYER'S OPINION DOESN'T BY ITS OWN TERMS SAY



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11:21AM    1      THAT PERMISSIVE SPEECH REGULATION IS SUBJECT TO SOME BRAND NEW

11:21AM    2      FIRST AMENDMENT SCRUTINY.     IT CONSTRUES A VERY, VERY SPECIFIC

11:21AM    3      PROVISION OF THE CABLE ACT, AND I THINK THE MOST IMPORTANT

11:21AM    4      POINT ABOUT THAT IS THAT IN ALLOWING THE CABLE COMPANIES TO

11:21AM    5      CENSOR, IT ALLOWED THEM TO CENSOR ONLY A PARTICULAR CONTENT

11:21AM    6      BASED SET OF MATERIALS, WHICH WAS SEXUALLY EXPLICIT CONTENT, SO

11:22AM    7      IT WAS VERY LIMITED IN THAT RESPECT, AND THE STATUTE WAS

11:22AM    8      ENACTED AGAINST A BACKDROP THAT THE CASE INVOLVED PUBLIC ACCESS

11:22AM    9      CHANNELS AND ACCESS CHANNELS ON CABLE NETWORK AND THE VERY

11:22AM   10      SPECIFIC CONTEXT.

11:22AM   11           ONE, THESE CHANNELS WERE HEAVILY REGULATED AND THE COURT

11:22AM   12      AND JUSTICE BREYER'S OPINION NOTED AND RELIED ON.

11:22AM   13           SECONDLY, AND I THINK EVEN MORE IMPORTANTLY, PRIOR TO THE

11:22AM   14      ENACTMENT OF THE STATUTE IN QUESTION, THE LAW FORBAD THE CABLE

11:22AM   15      COMPANIES FROM ENGAGING IN ANY CONTENT BASED OR ANY REAL

11:22AM   16      EDITORIAL DISCRETION WITH RESPECT TO THESE CHANNELS.

11:22AM   17           SO IT COMPLETELY CHANGED THE BACKGROUND LEGAL PRINCIPLES

11:22AM   18      WITH RESPECT TO THE RIGHT OF THE CABLE COMPANIES TO ENGAGE IN

11:22AM   19      CONTENT RESTRICTION.

11:22AM   20           THAT'S COMPLETELY DIFFERENT FROM WHAT WE HAVE HERE.     WE

11:22AM   21      HAVE A STATUTE THAT IS NOT CONTENT BASED.      SECTION 230(C)(1),

11:22AM   22      AS I THINK THE COURT POINTED OUT, SIMPLY SAYS THAT YOU CANNOT

11:22AM   23      BE TREATED AS A PUBLISHER FOR ANY SPEECH, SO WHETHER YOU ARE

11:23AM   24      RESTRICTING ACCESS TO CONTENT, WHETHER YOU ARE NOT RESTRICTING

11:23AM   25      ACCESS TO CONTENT, AND CERTAINLY NOT WITH RESPECT TO ANY GIVEN



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11:23AM    1      CATEGORY OF CONTENT, SECTION 230(C) WILL PROTECT YOU.     SO IT'S

11:23AM    2      NOT EVEN CLOSE TO CONTENT BASED AND VIEWPOINT BASED.

11:23AM    3           AND THEN SECONDLY, AND JUST AS IMPORTANTLY, THE BACKGROUND

11:23AM    4      PRIOR TO SECTION 230 WAS THAT ONLINE PLATFORMS, PARTICULARLY

11:23AM    5      PLATFORMS, THE PROGENITORS OF WHAT WE HAVE NOW, GOOGLES AND

11:23AM    6      TWITTERS, HAD FULL DISCRETION, COMPLETE EDITORIAL DISCRETION

11:23AM    7      AND INDEED A FIRST AMENDMENT RIGHT TO MAKE EDITORIAL

11:23AM    8      DETERMINATIONS ABOUT WHAT SPEECH APPEARS ON THEIR PLATFORM.

11:23AM    9           SO SECTION 230 WASN'T CREATING SOME NEW EDITORIAL RIGHT

11:23AM   10      THAT DIDN'T EXIST BEFORE WHEREAS DENVER AREA VERY MUCH WAS.      SO

11:23AM   11      THAT'S THE FIRST GENERAL POINT.

11:23AM   12           THE SECOND POINT IS WITH RESPECT TO JUSTICE KENNEDY'S

11:23AM   13      OPINION WHICH SUPPLIED THE SORT OF DECISIVE VOTES FOR THE

11:23AM   14      PROPOSITION THAT AT LEAST THE ONE PROVISION WAS

11:24AM   15      UNCONSTITUTIONAL, THAT WHOLE DECISION WAS BASED ON THE

11:24AM   16      PROPOSITION THAT AT LEAST IN PUBLIC ACCESS CHANNELS WERE A

11:24AM   17      PUBLIC FORUM UNDER THE CONSTITUTION BECAUSE IT WAS SO HEAVILY

11:24AM   18      REGULATED AND WHAT I JUST MENTIONED.

11:24AM   19           JUSTICE BREYER'S OPINION DIDN'T GET INTO THAT, BUT THAT'S

11:24AM   20      REALLY IMPORTANT HERE BECAUSE WE KNOW -- THE THING WE KNOW FROM

11:24AM   21      PRAGER IS THAT YOUTUBE IS NOT A CONSTITUTIONAL PUBLIC FORUM.

11:24AM   22      SO GIVEN THAT, IT'S A COMPLETELY DIFFERENT CASE.

11:24AM   23           AND I THINK IT'S QUITE TELLING THAT IN THE HALLECK CASE,

11:24AM   24      OF COURSE THE SUPREME COURT'S MOST RECENT DISCUSSION OF STATE

11:24AM   25      ACTION, THE ONE REFERENCE TO DENVER AREA THAT IS MOST --



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11:24AM    1                   THE OPERATOR:   THE RECORDING HAS STOPPED.

11:24AM    2                   MR. WILLEN:   EXCUSE ME.   CITING DENVER AREA, AND

11:24AM    3      THIS IS A QUOTE FOR THE PROPOSITION THAT THE FREE SPEECH DOES

11:24AM    4      NOT PROHIBIT PRIOR ABRIDGEMENT OF SPEECH.

11:24AM    5           SO THE SUPREME COURT HAS SPOKEN TO THIS.       TO THE EXTENT

11:25AM    6      THAT DENVER AREA HAS ANY SIGNIFICANCE, IT'S SIMPLY LIMITED TO

11:25AM    7      ITS UNIQUE FACTS AND DOESN'T APPLY HERE.      SO THAT IS

11:25AM    8      DENVER AREA.

11:25AM    9           THE OTHER COUPLE THINGS I WOULD WANT TO SAY IN RESPONSE TO

11:25AM   10      MR. OBSTLER, WE DIDN'T GET A CHANCE TO TALK ABOUT SECTION

11:25AM   11      230(C)(2)(D).    WE SPENT MOST OF OUR TIME TALKING ABOUT SECTION

11:25AM   12      230(C)(1).

11:25AM   13           AS WE ARGUED, SECTION 230(C)(2)(B) IS SORT OF A SEPARATE

11:25AM   14      IMMUNITY THAT CLEARLY APPLIES, AS WE KNOW FROM THE

11:25AM   15      PRAGER DECISION, WITH RESPECT TO ANY CLAIM ARISING FROM

11:25AM   16      RESTRICTED MODE.    AND I THINK FOR THE REASONS SET OUT IN

11:25AM   17      JUDGE DAVILA'S RECENT OPINION IN ASURVIO VERSUS MALWAREBYTES

11:25AM   18      CASE, THE ALLEGATIONS HERE THAT THERE IS SOME SORT OF

11:25AM   19      COMPETITIVE RELATIONSHIP JUST AREN'T ENOUGH TO GET PLAINTIFFS

11:25AM   20      OUTSIDE OF SECTION 230(C)(2)(B), SO THE COURT HAS ANOTHER PATH

11:25AM   21      AT LEAST WITH RESPECT TO A LOT OF THE CLAIMS HERE.

11:26AM   22           AND THEN I GUESS THE ONLY OTHER POINT I WOULD MAKE IS THAT

11:26AM   23      MR. OBSTLER WAS, TELLINGLY, NOT ABLE TO CITE ANY CASE THAT

11:26AM   24      HELPED HIM ON THE PROPOSITION THAT SECTION 230(C)(1) WOULDN'T

11:26AM   25      APPLY TO A CLAIM UNDER THE UNRAH ACTS UNDER THE CIRCUMSTANCES



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11:26AM    1      THAT WE HAVE HERE, AND THAT'S WHY HE RESORTED TO THE ARGUMENT

11:26AM    2      THAT THE STATUTE WOULD BE UNCONSTITUTIONAL IF APPLIED THAT WAY,

11:26AM    3      AND I DON'T THINK IT WOULD.    AND I DON'T THINK THERE'S ANY

11:26AM    4      SERIOUS ARGUMENT THAT IT WOULD, BUT HIS INABILITY TO POINT TO

11:26AM    5      ANY CASE LAW THAT HELPS HIM ON THE APPLICATION OF THE --

11:26AM    6                 THE OPERATOR:   THIS MEETING IS BEING RECORDED.

11:26AM    7                 MR. WILLEN:   -- I THINK IS VERY TELLING.

11:26AM    8           SO WITH THAT I WILL TURN IT OVER TO MS. WHITE AND LET HER

11:26AM    9      TALK ABOUT THE LANHAM ACT AND ANYTHING ELSE THAT SHE WANTS TO

11:26AM   10      SAY IN RESPONSE TO WHAT WE HAVE HEARD.

11:26AM   11                 THE COURT:    THANK YOU, MR. WILLEN.

11:26AM   12           MS. WHITE.

11:26AM   13                 MS. WHITE:    THANK YOU.

11:26AM   14           I'LL BEGIN JUST BRIEFLY ON THE LANHAM ACT QUESTION.     AS

11:27AM   15      YOUR HONOR CORRECTLY RECOGNIZED, TO STATE A CLAIM UNDER THAT

11:27AM   16      STATUTE PLAINTIFFS HAVE TO ALLEGE THAT YOUTUBE MADE A FALSE OR

11:27AM   17      MISLEADING STATEMENT IN COMMERCIAL ADVERTISING, AND THEY

11:27AM   18      HAVEN'T DONE THAT.   THEY REFER TO STATEMENTS ABOUT WHAT

11:27AM   19      RESTRICTED MODE DOES AND WHAT RESTRICTED GUIDELINES ARE, BUT

11:27AM   20      THOSE STATEMENTS ARE WHAT THE NINTH CIRCUIT HELD WERE NOT

11:27AM   21      COMMERCIAL ADVERTISING IN PRAGER.

11:27AM   22           THEY ALSO SUGGEST THAT THE DESIGNATION OF SOME OF

11:27AM   23      PLAINTIFFS' VIDEOS, AND I'LL NOTE THAT I THINK ONLY FOUR OF THE

11:27AM   24      NAMED PLAINTIFFS SPECIFICALLY ALLEGE THAT ANY OF THEIR VIDEOS

11:27AM   25      HAVE BEEN MADE UNAVAILABLE IN UNRESTRICTED MODE, BUT WITH



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11:27AM    1      RESPECT TO THOSE, THEY ARGUE THAT THAT DESIGNATION SOMEHOW

11:27AM    2      BRANDS THEM IN A NEGATIVE LIGHT, BUT THE NINTH CIRCUIT

11:27AM    3      ADDRESSED THAT ARGUMENT DIRECTLY AS WELL AND HELD THAT THAT

11:27AM    4      DESIGNATION IS NOT MADE IN COMMERCIAL ADVERTISING PROMOTION AND

11:28AM    5      THAT'S ON PAGE 1,000 OF THE COURT'S OPINION.

11:28AM    6           FINALLY, ANY IMPLICIT STATEMENT ABOUT THE REASON FOR WHY

11:28AM    7      PLAINTIFFS' VIDEOS WERE MADE UNAVAILABLE IN RESTRICTED MODE,

11:28AM    8      ONE, THOSE REASONS WERE NOT MADE PUBLIC, AND, TWO, THOSE

11:28AM    9      REASONS WOULD BE A MATTER OF OPINION WHICH WOULD NOT BE

11:28AM   10      ACTIONABLE AS A FALSE STATEMENT, AND, AGAIN, NOT A STATEMENT

11:28AM   11      MADE IN FURTHERANCE OF COMMERCIAL ADVERTISING OR PROMOTION.

11:28AM   12           SO UNLESS YOUR HONOR HAS ANY FURTHER QUESTIONS ABOUT THE

11:28AM   13      LANHAM ACT, I'LL JUST CONCLUDE BY ADDRESSING THE QUESTIONS

11:28AM   14      ABOUT THE UNRAH ACT CLAIM.

11:28AM   15           AS MY COLLEAGUE EXPLAINED, WE DO THINK THERE'S NO REASON

11:28AM   16      WHY SECTION 230(C)(1) AND (C)(2)(B) SHOULD NOT APPLY WITH

11:28AM   17      RESPECT TO PLAINTIFFS' CLAIM UNDER THE UNRAH ACT BUT IN

11:29AM   18      ADDITION TO THAT THE PLAINTIFFS HAVE NOT COME CLOSE TO STATING

11:29AM   19      A CLAIM.

11:29AM   20           THE UNRAH ACT, WHEN PLED HERE AS SEPARATE FROM AN ADA

11:29AM   21      VIOLATION, IS AN INTENTIONAL DISCRIMINATION STATUTE.

11:29AM   22      CALIFORNIA COURTS HAVE CLEARLY HELD THAT FACIALLY NEUTRAL

11:29AM   23      POLICIES ARE NOT ACTIONABLE AND THAT ALLEGATIONS OF DISPARATE

11:29AM   24      IMPACT ARE NOT ENOUGH.

11:29AM   25                 THE COURT:    OKAY.   SO LET'S PAUSE THERE.   THAT WAS



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11:29AM    1      THE ARGUMENT YOU MADE IN YOUR BRIEF.      THEIR ARGUMENT IS NOT

11:29AM    2      THERE'S A DISPARATE IMPACT, BUT THAT THERE'S AN ACTUAL POLICY

11:29AM    3      OF DISCRIMINATION AGAINST LGBT CONTENT CREATORS.

11:29AM    4           SO I KNOW YOU DON'T THINK THAT THAT'S ACTUALLY WHAT THEY

11:29AM    5      HAVE ALLEGED.    BUT IF THAT'S THE ALLEGATION, DO YOU ALSO HAVE A

11:29AM    6      12(B)(6) ARGUMENT AGAINST -- FOR THE FAILURE TO STATE A CLAIM

11:29AM    7      UNDER THE UNRAH ACT ISSUE?

11:29AM    8                   MS. WHITE:   IF THERE WERE AN ALLEGATION THAT THERE

11:29AM    9      WERE AN ACTUAL AFFIRMATIVE POLICY TO DISCRIMINATE THAT MAY

11:29AM   10      STATE A CLAIM FOR THE UNRAH ACT, BUT THERE'S NOTHING CLOSE TO

11:30AM   11      THAT HERE.    AND THERE'S A LOT OF RHETORIC.    THE COMPLAINT IS --

11:30AM   12                   THE COURT:   RIGHT.   WELL, HERE'S THE QUESTION THAT

11:30AM   13      NOBODY WAS TALKING ABOUT IN THEIR PAPERS, BUT I JUST WONDERED,

11:30AM   14      THE UNRAH ACT, YOU KNOW, IN THE ADA CONTEXT YOU HAVE TO HAVE A

11:30AM   15      PUBLIC ACCOMMODATION AND YOU WOULD HAVE TO HAVE A BUSINESS.

11:30AM   16           DOES THIS PLATFORM QUALIFY FOR -- IN THAT CONTEXT UNDER

11:30AM   17      THE LANGUAGE OF THE STATUTE?

11:30AM   18                   MS. WHITE:   SO THE UNRAH ACT APPLIES TO ALL BUSINESS

11:30AM   19      SERVICES AND THE CALIFORNIA COURTS HAVE HELD THAT THEY DIDN'T

11:30AM   20      APPLY TO WEBSITES.

11:30AM   21           I THINK THERE IS SOME AMBIGUITY IN PLAINTIFFS' CLAIMS

11:30AM   22      ABOUT EXACTLY WHAT -- WHO IS BEING DISCRIMINATED AGAINST AND ON

11:30AM   23      WHAT BASIS THAT THEY REFER TO MAINLY LGBTQ IDENTITIES.      THEY

11:30AM   24      ALSO REFER TO VIEWPOINTS.

11:30AM   25           I THINK WHILE THE UNRAH ACT IS INTENDED TO BE CONSTRUED



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11:31AM    1      BROADLY, THERE MAY BE SOME CATEGORIES OF PERSONS TO WHOM IT

11:31AM    2      WOULDN'T APPLY, BUT GIVEN THEIR FAILURE TO ALLEGE THAT THERE IS

11:31AM    3      IN FACT A POLICY OF DISCRIMINATION OR THAT THESE PLAINTIFFS

11:31AM    4      DISCRIMINATED AGAINST BASED ON THEIR SEXUAL IDENTITIES, THE

11:31AM    5      COURT DOESN'T NEED TO REACH THOSE QUESTIONS IN THIS CASE.

11:31AM    6                 THE COURT:   ALL RIGHT.   THANK YOU.

11:31AM    7           MR. OBSTLER, I'LL GIVE YOU A VERY BRIEF RESPONSE.      I DON'T

11:31AM    8      WANT TO HEAR ANYTHING YOU HAVE TOLD ME BEFORE, BUT IF THERE'S A

11:31AM    9      VERY BRIEF RESPONSE YOU WOULD LIKE TO MAKE, I'LL LET YOU HAVE

11:31AM   10      THE LAST WORD.

11:31AM   11                 MR. OBSTLER:    THANK YOU SO MUCH, YOUR HONOR.   AGAIN,

11:31AM   12      I REALLY APPRECIATE IT.    AND YOUR QUESTIONS ARE DEAD ON ON

11:31AM   13      THIS.

11:31AM   14           FIRST OF ALL, ON DENVER AREA, IT WAS A SIX TO THREE

11:31AM   15      DECISION ON THE 10(C) PART OF THE OPINION AND PLEASE READ THE

11:31AM   16      OPINION.

11:31AM   17                 THE COURT:   I WILL MAKE SURE THAT I AM WELL VERSED

11:31AM   18      ON THE EXACT HOLDINGS OF --

11:31AM   19                 THE OPERATOR:   THE RECORDING HAS STOPPED.

11:32AM   20                 MR. OBSTLER:    ON THE UNRAH ACT ISSUE --

11:32AM   21                 THE OPERATOR:   THIS MEETING IS BEING RECORDED.

11:32AM   22                 MR. OBSTLER:    ON THE UNRAH ACT ISSUE, THE THING THAT

11:32AM   23      REALLY BOTHERS ME HERE IS THAT I FEEL LIKE I'M ARGUING A

11:32AM   24      FACTUAL ISSUE ON A 12(B)(6) MOTION.

11:32AM   25           WE HAVE ALLEGED THAT WE HAD A CLIENT WHO, OR WE WILL



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11:32AM    1      ALLEGE IF YOU TAKE THE DECLARATION, WHO WENT TO A MEETING ON

11:32AM    2      2017 AND WAS TOLD TO HER FACE FOUR TIMES THAT THE ALGORITHM

11:32AM    3      IS --

11:32AM    4                   THE COURT:   YOU KNOW, I WILL READ -- I WILL MAKE

11:32AM    5      SURE THAT I LOOK AT ALL OF THE MANY, MANY ALLEGATIONS IN YOUR

11:32AM    6      COMPLAINT.    SO I DON'T NEED YOU TO ARGUE AGAIN ABOUT WHETHER

11:32AM    7      THERE IS A POLICY OF DISCRIMINATION ALLEGED OR NOT.

11:32AM    8           I THINK I AM -- I HAVE THE COMPLAINT, AND I'M GOING TO

11:32AM    9      RELY ON THE COMPLAINT.      THE PARTIES BRIEFED THAT ISSUE

11:32AM   10      EXTENSIVELY.

11:32AM   11           I'M REALLY TRYING TO SORT OUT THE LEGAL ISSUES HERE.

11:32AM   12           SO IS THERE SOMETHING FURTHER ON WHAT THE UNRAH ACT

11:33AM   13      REQUIRES OR NOT, THAT IS WHAT I'M LOOKING FOR.      IF THERE'S

11:33AM   14      NOTHING ELSE, YOU DON'T HAVE TO HAVE ANYTHING.

11:33AM   15                   MR. OBSTLER:   THERE IS ONE OTHER THING.

11:33AM   16                   THE COURT:   OKAY.

11:33AM   17                   MR. OBSTLER:   YOU DON'T HAVE TO PLEAD THERE'S A

11:33AM   18      POLICY UNDER THE UNRAH ACT.       ALL I HAVE TO SHOW UNDER THE

11:33AM   19      UNRAH ACT IS THAT THERE WAS AN ACT OF DISCRIMINATION, AND I

11:33AM   20      THINK WE HAVE DONE THAT.     THAT WOULD BE MY LAST POINT.

11:33AM   21           THERE DOESN'T HAVE TO BE A WRITTEN POLICY UNDER THE

11:33AM   22      UNRAH ACT.    I DON'T THINK ANYBODY WOULD HAVE SUCH A POLICY.

11:33AM   23      OKAY.

11:33AM   24                   THE COURT:   ALL RIGHT.   THANK YOU ALL VERY MUCH.   I

11:33AM   25      APPRECIATE ALL OF THE PRESENTATIONS AND THE EXTENSIVE BRIEFING.



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11:33AM    1           AND I APPRECIATE YOU BEARING WITH OUR VERY FIRST ZOOM

11:33AM    2      WEBINAR.     I WILL TAKE THIS MATTER UNDER SUBMISSION, AND I'LL

11:33AM    3      ISSUE A WRITTEN ORDER.      ALL RIGHT.   THANK YOU VERY MUCH.

11:33AM    4                   MR. WILLEN:    THANK YOU, YOUR HONOR.

11:33AM    5                   MR. OBSTLER:   THANK YOU, YOUR HONOR.   WE APPRECIATE

11:33AM    6      YOUR TIME.

11:33AM    7           (ZOOM COURT CONCLUDED AT 11:33 A.M.

           8

           9

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 1

 2

 3                           CERTIFICATE OF REPORTER

 4

 5

 6

 7           I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8      STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9      280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10      CERTIFY:

11           THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                 ______________________________
16                               IRENE RODRIGUEZ, CSR, RMR, CRR
                                 CERTIFICATE NUMBER 8074
17

18
                                 DATED:   JUNE 4, 2020
19

20

21

22

23

24

25



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                 Exhibit “C”

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11 Lindsay Amer, Stephanie Frosch, Sal
   Cinquemani, Tamara Johnson and Greg Scarnici
12

13                                      UNITED STATES DISTRICT COURT

14                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

15 DIVINO GROUP LLC, a California limited                     Case No. 5:19-cv-004749-VKD
   liability company, CHRIS KNIGHT, an
16 individual, CELSO DULAY, an individual,                    DECLARATION OF STEPHANIE
   CAMERON STIEHL, an individual,                             FROSCH IN SUPPORT OF PLAINTIFFS’
17 BRIAANDCHRISSY LLC, a Georgia limited                      MOTION FOR LEAVE TO FILE SUR-
   liability company, BRIA KAM, an individual,                REPLY BRIEF AND REQUEST FOR
18 CHRISSY CHAMBERS, an individual,                           HEARING AND CASE MANAGEMENT
   CHASE ROSS, an individual, BRETT                           CONFERENCE
19 SOMERS, an individual, and LINDSAY
   AMER, an individual, STEPHANIE                             (Filed concurrently with Plaintiffs’ Sur-Reply
20 FROSCH, an individual, SAL                                 Brief; Declaration of Peter Obstler)
   CINEQUEMANI, an individual, TAMARA
21 JOHNSON, an individual, and GREG
   SCARNICI, an individual,
22
                    Plaintiffs,
23
            vs.                                               Date:
24                                                            Time: 10:00 a.m.
   GOOGLE LLC, a Delaware limited liability                   Place: Courtroom 2
25 company, YOUTUBE, LLC, a Delaware                          Before: Magistrate Judge Virginia DeMarchi
   limited liability company, and DOES 1-25,
26
                    Defendants.
27

28

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 1            I, Stephanie Frosch, declare:

 2            1.       I am a named Plaintiff in the above-captioned action. I have firsthand, personal

 3 knowledge of the facts set forth below and if called as a witness could competently testify thereto,

 4 unless other specified.

 5            2.       I am an LGBTQ internet content creator and YouTube user who is active in the

 6 YouTube Community.

 7            3.       In 2009, I became a YouTube content creator and now operate two YouTube

 8 channels: Youtube.com/ElloSteph and Youtube.com/StephFrosch.

 9            4.       From 2009 through 2016, my YouTube channels were successful. However, in
10 2017, I started having problems with YouTube:

11                     a.       YouTube was classifying many of my videos as subject to Restricted Mode,

12 making them unavailable to a large number of viewers, even though the videos contained no

13 nudity, profanity, sexual conduct, or discussions of sexual activities. YouTube also allowed other

14 YouTube channels to copy my videos without permission, and the content in those videos was re-

15 posted by another user and was not subjected to Restricted Mode. .

16                     b.       Many of my videos were demonetized or subject to reduced monetization

17 despite the fact that they do not include graphic images of violence or sexuality, nudity, profanity,

18 sexual conduct, or discussions of sexual activities.
19                     c.       YouTube was running ads on channels which were posting copies of my

20 videos without permission.

21                     d.       At least one of the customized thumbnail images I crafted for each of my

22 videos uploaded to my channels was removed.

23                     e.       Longtime subscribers to my channels were being dropped from my

24 channels, and YouTube was preventing them from re-subscribing. As a result, my subscribers

25 were not receiving notices when I posted new content.
26            5.       YouTube no longer allows me to see the revenue I generated before October 2009.
27 My best recollection is that I earned approximately $23,000 from YouTube ad revenue in 2009. In

28 addition to ad revenue, I earn money from the sale of merchandise, from separate brand

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 1 sponsorship agreements connected with videos posted on my channels, and from the sale of

 2 merchandise from the website www.districtlines.com/ellosteph. This is a separate website which

 3 sells merchandise relating to my original videos posted to YouTube.

 4            6.       In 2017, I joined with other LGBTQ+ YouTube creators to publicly raise

 5 awareness about issues and concerns regarding Defendants’ discriminatory treatment of LGBTQ+

 6 channels. Among other issues, I expressly raised the concern that changes to YouTube’s

 7 algorithms and other content curation machine based procedures were disproportionately

 8 restricting and affecting access to and the reach of content, as well as affecting other YouTube

 9 services for LGBTQ+ YouTube creators and viewers who are members of what Defendants call
10 the “YouTube Community.”

11            7.       On September 8, 2017, an LGBTQ+ YouTube content creator forwarded to me an

12 email dated August 25, 2017, from Laura Chernikoff of the “Internet Creators Guild” inviting him

13 to an event co-sponsored by YouTube regarding changes to YouTube’s algorithm which were

14 adversely affecting the LGBTQ+ community.

15            Ms. Chernikoff’s invitation stated:

16            You're invited to an upcoming event put on by the Internet Creators Guild, in
              partnership with YouTube on Thursday, September 14th at 11:00 AM.
17
              Following the advertising situation on YouTube this spring (dubbed the
18            "Adpocalypse"), YouTube is interested in hearing about creators' experiences on
              the platform. In particular, it's important for creators to understand the advertising
19            guidelines and tools that brands interact with, in order to be aware how it may
              affect your monetization.
20
              We’ve been discussing this issue with YouTube, who have been working to address
21            creator concerns on this topic. They would like to share this presentation, which
              will be under NDA, in order to hear from ICG Members and creators we’re in
22            touch with as part of a small focus group.

23            We thought you would be an engaged and thoughtful participant and hope you’re
              able to attend.
24
     Attached as Exhibit 1 is a true and correct copy of the email I received with the invitation to the
25
     September 14-event. Based on the email, I understood that before YouTube would even speak to
26
     me or any other members of the group of LGBTQ+ creators about the problems with the new
27
     YouTube algorithm implemented in May of 2017, YouTube required each of us to sign a Non-
28
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 1 Disclosure Agreement (the “NDA”).

 2            8.       Ms. Chernikoff sent an email to me dated September 11, 2017 which confirms my

 3 participation in the September 14-event and states: “Please note that a non-disclosure agreement

 4 (NDA) will be sent via email by a member of the YouTube team and is required to be signed prior

 5 to the event, so keep an eye out!” Attached as Exhibit 2 is a true and correct copy of the email

 6 dated September 11, 2017 from Ms. Chernikoff.

 7            9.       On September 13, 2017, Defendants sent to me by email a request for my signature

 8 on an electronic Non-Disclosure Agreement in connection with the September 14-event. Upon

 9 signing the electronic document, I received a confirmation email which has a subject: “You have
10 accepted Google’s Non-Disclosure Agreement.” The text of the email sets forth my personal

11 information and a copy of the Non-Disclosure Agreement. Attached as Exhibit 3 is a true and

12 correct copy of the email from Google confirming receipt of my signed Non-Disclosure

13 Agreement.

14            10.      The Non-Disclosure Agreement states:

15            “In order to evaluate and possibly enter into a business transaction (the “Purpose”),
              Google Inc., for itself and its subsidiaries and affiliates, and the other party
16            identified below hereby agree:”

17 At the time that I signed the agreement, I had no idea what “business transaction” the document

18 was referring to. As a YouTube user, I had previously entered into a YouTube Terms of Service
19 Agreement and an AdSense Agreement. As of September 13, 2017, I was not thinking about

20 entering into any new “business transaction” with YouTube or Google, or changing the existing

21 agreements I had with YouTube and AdSense. Neither YouTube nor Google had mentioned any

22 new business transaction, or changes to any existing agreements. I was merely trying to meet with

23 YouTube representatives to discuss with them the many problems that I had been having with my

24 YouTube channel and the falling views and revenue I was experiencing as a result of changes

25 YouTube made to their algorithm in May of 2017. I did not expect for YouTube or Google to
26 give me trade secrets, computer codes, or any other proprietary information at the meeting. And
27 they did not. I simply talked to YouTube and/or Google about my problems and how to resolve

28 them.
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 1            11.      The Non-Disclosure Agreement does not define what “Confidential Information”

 2 is, except to say that it is whatever “the Discloser considers” to be “confidential.” I have no way

 3 of knowing what YouTube or Google consider to be confidential, or expect me to treat as

 4 confidential. “Confidential Information” is not limited to trade secrets such as YouTube or

 5 Google’s customer lists, computer codes, or processes.

 6            12.      On September 14, 2017, I went to the event at the YouTube Playa Vista Office in

 7 Los Angeles, California. Upon arrival at the September 14-event, I checked in at 11:00 a.m.

 8 YouTube provided lunch for the participants. Around 11:30, a YouTube representative announced

 9 that the YouTube analytics guy had limited time and was running late. The YouTube
10 representative asked us to quickly sign a hard copy Non-Disclosure Agreement so that we could

11 get started as fast as possible, and indicated that we had to move quickly so that there was time

12 with the analytics representative. The representative then came up to me, handed me a hard copy

13 Non-Disclosure Agreement, and asked me to sign it while he stood there waiting. I was not given

14 time to read the document which had multiple pages and appeared to be longer and more detailed

15 than the one I had signed online. The representative then took my signed document, and quickly

16 approached another creator requesting their signature. YouTube did not offer me a copy of this

17 Non-Disclosure Agreement. Immediately after signing the document, I was ushered into a large

18 conference room.
19            13.      The September 14 event involved 12 to 20. YouTube creators, each representing a

20 different class of video. While I was the only LGBTQ representative creator, there were other

21 LGBTQ creators who were posting videos in other categories. I recall there were individual

22 representatives for cooking, comedy, and gaming videos, some of which happened to identify as

23 LGBTQ although they were not specifically creating videos for the LGBTQ community. We were

24 seated at a large oval conference table, and offered notebooks and pens. The presenters all

25 identified as YouTube employees.
26            14.      During the September 14 event, we watched a PowerPoint presentation. We heard
27 from a man who identified himself as the YouTube employee responsible for analytics and a

28 woman who addressed algorithm issues. Also present were Ben Cramer and someone who was
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 1 handing out YouTube swag. In all, I recall that there were five YouTube representatives present at

 2 the event, in addition to the man who got me to sign the second Non-Disclosure Agreement before

 3 I entered the conference room for the presentation. YouTube specifically prohibited us from

 4 taking photos or recording the event.

 5            15.      The YouTube presenters stated that they wanted to work with us creators, and

 6 explained that YouTube makes money off of the creators who make the video content from

 7 advertisers, and that creators win by sharing in the advertising money. They explained that

 8 advertisers buy ads based on viewer demographics for the videos. YouTube and creators monetize

 9 off of each other and YouTube does not want to hurt creators. The YouTube presenters discussed
10 problems with filtering video content for purposes of restricted mode, monetization and the

11 payments for cpm (clicks per minute).

12            16.      When asked why videos which use gay couples are getting blocked as mature

13 content or inappropriate for all audiences, or videos are getting blocked for mentioning the word

14 “queer,” the YouTube representative made the following statements:

15                     a.       Blocking LGBTQ videos was caused when YouTube started using an

16 artificial intelligence algorithm to filter content based on what advertisers want; it is the algorithm

17 that is “targeting” LGBTQ videos. YouTube was not discriminating, the algorithm was

18 discriminating. The YouTube representative was talking about the algorithm as if it were some
19 independent video censor that was entirely unrelated to YouTube and its employees, and beyond

20 their control; rather than a tool which YouTube specifically designed and put in place to regulate

21 videos on the platform, which YouTube could change or remove from the platform entirely.

22                     b.       There are too many videos on YouTube to review all content manually.

23 YouTube must use artificial intelligence to conduct the content reviews on the YouTube platform.

24                     c.       The artificial intelligence algorithm identifies people, including the racial or

25 sexual identities or viewpoints of the creator or viewers when filtering and curating content and
26 restricting access to YouTube services; it does not review and make restrictions based only on the
27 video content. This is due in part to the fact that advertisers want to be able to target audiences

28 based on the demographics of the creators and their audiences. The result is that the algorithm
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 1 discriminates based on the identity of the creator or its intended audience when making what are

 2 supposed to be neutral content based regulations and restrictions for videos that run on YouTube.

 3                     d.       Despite the problems with the algorithm, YouTube and the creators are on

 4 the “same side.” The rules should apply equally to all regardless of the identity or viewpoint of

 5 the creator.

 6                     e.       When the creators told YouTube representatives that they understood why

 7 an advertiser would not want a Pampers ad on video content featuring guns, they still did not

 8 understand why content from homosexual creators was being demonetized when identical content

 9 from heterosexual creators was not, the YouTube representatives said that they were “going to fix
10 it.” No details of what they were doing, or planned on doing to fix the algorithm were provided

11 and no one (at the meeting or since) indicated when, if ever, the fix for this “problem” would be

12 completed.

13                     f.       In response to further questions from creators, the YouTube representatives

14 specifically acknowledged that the algorithm was looking at and profiling the sexual identities,

15 races, disabilities, religious and political affiliations of creators, intended audiences and viewers

16 alike.

17            17.      The YouTube representatives discussed the example of a YouTube creator who had

18 a chef’s channel and posted cooking videos: if the creator identified as gay, or had a lot of
19 subscribers or viewers who accessed a lot of LGBTQ related videos, the cooking video would be

20 tagged as a “gay” video for monetization and restricted mode purposes, regardless of the actual

21 content of the video.

22            18.      Towards the end of the September 14-event, which lasted about 2 hours, I

23 specifically asked the YouTube representative, “What are you doing to fix the problems we have

24 identified?” and “When will you be done fixing the problems?” The YouTube representative

25 responded to each question saying, “I cannot answer that question.” To this date, no one at the
26 September 14 event has ever provided me any substantive response to my questions regarding the
27 problems or the fix.

28            19.      As far as I can recall, no one at the September 14-event -- (a) said that what they
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 1 were saying was “confidential” in connection with either the online or hard copy Non-Disclosure

 2 Agreements; (b) said that what they were talking about was a “trade secret;” (c) described actual

 3 YouTube’s computer code or proprietary processes used in connection with YouTube, the

 4 analytics, the algorithm, or AdSense; (d) asked me not to repeat anything that was said during the

 5 event by other creators.

 6            20.      Until the time that Defendants finally released me from my NDAs in March of this

 7 year, I was prohibited by the NDAs from discussing, with anyone, including my attorneys in this

 8 case, the substance, nature, and details of the September 14-event, including the statements made

 9 by the YouTube representatives about identity and viewpoint discrimination in regulating
10 monetization, access to content and services. Consequently, the information and statements

11 presented at the September 14-event could not be included in the Second Amended Complaint.

12 Even though I have no idea what, if anything Defendants claim is “confidential,” I was afraid and

13 at risk that if I ever talked about what was said at the meeting, YouTube could or would sue me

14 for violating the NDA(s). I have also been afraid that Defendants would suspend or terminate my

15 channel, my gmail account, or even suspend my access to Google searches if I violated the

16 NDA(s).

17            21.      On March 26, 2020, after my lawyers had notified YouTube that I had decided to

18 file a motion to void or release me from the gag provisions of the NDAs, Defendants informed my
19 lawyers in writing that they had “no intention of enforcing the NDA.” Attached as Exhibit 4 is a

20 true and correct copy of the correspondence between my lawyers and Defendants’ attorneys,

21 including the email releasing me from the NDAs.

22            22.      Following the receipt of that email, I was finally able to inform my lawyers of the

23 substance of what was said by the YouTube representatives at the September 14-event.

24            23.      I have reviewed the Defendants’ Motion to Dismiss the Second Amended

25 Complaint. In the Motion to Dismiss, Defendants make a number of factual assertions which are
26 loosely based on allegations in the Complaint. As stated below, I believe that Defendants’ factual
27 assertions are either wrong or misleading, as indicated below:

28                     a.       Defendants state in their Motion:
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 1            Content creators upload videos to the service free of charge, enabling YouTube’s
              billions of users to view them, comment on them, and subscribe to their favorite
 2            creators’ channels. ¶ 52. MTD at 3:2-4.

 3            In truth, while there is no monetary charge for uploading videos, in exchange for the

 4 opportunity to use the YouTube website, Defendants required me to give them a license to use all

 5 of my original video content that is posted to the YouTube website, the right to collect data about

 6 me, and my use of the YouTube website, and also the right to collect data about people who view

 7 my videos on the YouTube website.

 8                     b.       Defendants state in their Motion:

 9            YouTube values the perspectives and experiences that LGBTQ+ content creators
              bring to the platform. MTD at 3:17-18.
10
              My experience with YouTube since 2017 is directly contrary to this statement. After the
11
     September 14-event, no one at YouTube followed up with me – no one checked to see if my
12
     problems had been resolved; no one checked to see how much the algorithm had cost me in lost
13
     subscribers, advertising revenue, cpm, or reduced viewers. In fact, no one from YouTube ever
14
     helped me solve the problems identified at the September 14-event. Rather, following the event,
15
     my subscribers, advertising revenues, cpm, and viewers continued to decline. Though my
16
     viewership was stable, AdSense revenues dropped substantially.
17
              24.      Since filing the lawsuit, YouTube shut off the analytics for the cpm so that creators
18
     like me are no longer able to calculate the lost revenue from reduced cpm due to demonetization.
19
     My viewer numbers have been cut dramatically and subscribers complain that they cannot get new
20
     video notices. Recently, I co-created a video with my girlfriend, who does not identify as
21
     LGBTQ. We both posted the same identical video at the same time. While my girlfriend earned
22
     $3,000 from the video, I earned only $300.
23
                       a.       Defendants state in their Motion:
24
              In 2017, when LGBTQ+ creators raised issues about Restricted Mode, YouTube
25            acknowledged that the feature was not fully working as intended and agreed to
              make improvements. ¶¶ 28, 87. MTD at 3:21-4:1.
26
              Defendants’ description of YouTube’s “acknowledgment” is misleading. Contrary to the
27
     Motion’s spin on the allegations in the Complaint, the concerns I and other LGBTQ+ creators
28
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                   -9-                  Case No. 5:19-cv-004749-VKD
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 1 raised were not limited to Restricted Mode, but extended to demonetization and cpm. In fact, at

 2 the September 14-event, YouTube’s representatives acknowledged that the algorithm was

 3 discriminating against LGBTQ creators as well as other creators based on their identities and

 4 personal affiliations, as well as those of their subscribers and viewers. YouTube’s representatives

 5 also stated that the feature was working as YouTube intended: it was profiling creators and

 6 viewers for YouTube’s advertisers so that the advertisers could target audiences based on personal

 7 identity including whether viewers were gay, disabled, members of a racial group or affiliated with

 8 specific viewpoints or groups. YouTube’s representatives confirmed that decisions regarding a

 9 video’s status vis a vis restricted mode, monetization and cpm were being made on grounds that
10 were unrelated to the actual content of the video. While the YouTube representatives agreed that

11 they were working to fix the problems, they did not specify what they were doing to stop the

12 discrimination in the interim or to otherwise provide a timeframe for completing the fix.

13                     b.       Defendants state in their Motion:

14            As for the Plaintiffs here, YouTube has addressed their individual concerns in good
              faith, and often removed restrictions from their videos, when appropriate under
15            YouTube’s policies, in response to their appeals. ¶¶ 186, 223, 227, 230, 233, 236.a.
              MTD at 4:1-4.
16
              Defendants’ statement is grossly misleading to the extent that it suggests that YouTube
17
     actually resolved any of the complaints I (or any other LGBTQ+ creator) raised at the 2017
18
     meeting with the Defendants. YouTube has not “addressed” my concerns, continues to profile
19
     my videos based on my identity as a member of the LGBTQ community and my affiliation with
20
     LGBTQ groups and has increased its discrimination against me by restricting the majority of my
21
     videos, and gutting my subscriber lists, viewers, ad revenue, and cpm.
22
                       c.       Defendants state in their Motion:
23
              The use of its service is governed by rules and an array of content policies. ¶¶ 10,
24            248, 288. Before creating channels and uploading their content to the service,
              Plaintiffs acknowledge they agreed to YouTube’s Terms of Service and the
25            incorporated Community Guidelines. ¶¶ 10, 14, 59, 248,
26            The Terms of Service provide that “YouTube reserves the right to remove Content
              without prior notice,” including videos uploaded by content creators. Ex. 2-3. The
27            Community Guidelines are twelve “common-sense rules” prohibiting certain kinds
              of content, including “[n]udity or sexual content” and “[v]ulgar language.” Exs. 3-
28            4. Google and YouTube reserve the right to remove any content that they believe to
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                   -10-                Case No. 5:19-cv-004749-VKD
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 1            be contrary to the Terms of Service and the incorporated Community Guidelines.
              Ex. 2. MTD at 4:6-15.
 2
              YouTube allows content creators whose channels meet certain minimum
 3            viewership requirements to earn revenue from (or “monetize”) their videos by
              running advertisements with them as part of the YouTube Partner Program. To be
 4            eligible to monetize their videos, in addition to the Terms of Service and
              Community Guidelines discussed above, Plaintiffs agreed to certain additional
 5            “written contracts,” including YouTube’s Partner Program Terms and the AdSense
              Terms of Service. See ¶ 331; Exs. 5-6, 10. In addition, Plaintiffs agreed to comply
 6            with YouTube’s monetization policies, including the Advertiser-friendly content
              guidelines, which are designed to ensure that ads do not appear alongside videos
 7            with content that certain audiences might find objectionable. See ¶¶ 152, 248, 331;
              Exs. 5-11. YouTube uses automated software to identify content as inappropriate
 8            for advertising, and creators may appeal demonetization decisions for manual
              review. ¶ 94; Ex. 9. MTD at 5:9-19.
 9
              Defendants’ description of the website rules is misleading and deceptive: When I agreed
10
     to Defendants’ Terms of Service, Community Guidelines, Partnership Program Terms, and
11
     AdSense Terms of Service, I understood that these terms were nonnegotiable and that each
12
     YouTube user was agreeing to these same terms. YouTube stated in its Terms of Service and
13
     Community Guidelines that the rules to which I agreed would be applied equally to all YouTube
14
     users, in a neutral manner. At the September 14-event, YouTube representatives reaffirmed their
15
     commitment to the universal set of rules which apply equally to all; however, they also confirmed
16
     that they were using an artificial intelligence algorithm which discriminates against users based on
17
     their identities. As long as YouTube’s algorithm profiles users, then YouTube cannot be applying
18
     the same rules equally to all users in a neutral manner.
19
              25.      YouTube did not inform me that my videos would be distributed, made available
20
     for viewing, or monetized for profit based on who I am (a lesbian educator) or on my stated views
21
     regardless of the actual content of the video posted. Nor did YouTube inform me that to the extent
22
     that it sponsored other creators, or their channels or individual videos, that those sponsored
23
     creators/channels/videos would not be subject to the same Terms of Service, Community
24
     Guidelines, Partnership Program Terms, or AdSense Terms of Service that I must follow. Nor did
25
     YouTube inform me that it would be creating Defendants’ own original video content which
26
     would not be subjected to the same Terms of Service, Community Guidelines, Partnership
27
     Program Terms, or AdSense Terms of Service that I and other third-party users must follow.
28
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                   -11-               Case No. 5:19-cv-004749-VKD
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 1            26.      YouTube did not inform me that in giving Defendants a license to use the videos I

 2 posted, that it would allow other YouTube users to copy my original videos, post them on the

 3 channels of other YouTube users, or receive revenue related to my original videos.

 4            27.      Tamara Johnson, one of the named Plaintiffs, is an LGBTQ+ creator who operates

 5 the YouTube channel, SVTV Network. Ms. Johnson also owns and operates an internet online

 6 on-demand monthly subscription network https://www.svtvnetwork.com/ dedicated to original

 7 content specifically designed for LGBTQ+ audiences. Ms. Johnson is an African American. Her

 8 original web series videos feature African American members of the LGBTQ community.

 9            28.      In their Reply Brief, Defendants assert that:
10            . . . Plaintiffs’ opposition brief also purports to represent the interests of “African
              American content creators and users” (see, e.g., Opp. 1), but the Complaint does
11            not include any actual allegations in support of any claim for racial discrimination.
              Reply fn.2 at p.3.
12
     This is not true. Plaintiffs’ Second Amended Complaint includes allegations that Defendants
13
     unlawfully use “data regarding the video creators,’ subscribers,’ or viewers’ . . . race, ethnicity,
14
     commercial, or political identities or viewpoints” (paragraph 7 emphasis added); and Defendants
15
     “rely upon and invoke federal law under Section 230(c) to preempt and immunize unlawful
16
     filtering, regulations, and practices on the YouTube Platform, including practices which
17
     discriminate based upon race . . . or individual viewpoints, and in doing so, engage in unlawful
18
     discriminatory, arbitrary, and capricious repression of public speech under color of federal law.”
19
     [Paragraph 289 emphasis added.] The Second Amended Complaint also alleges that Defendants
20
     are “using identity based censorship to determine who can and cannot continue to use the
21
     YouTube Platform” (paragraph 8); and that their representative “promised LGBTQ+ YouTubers
22
     that Defendants would ensure that ‘Restricted Mode’ should not filter out content belonging to
23
     individuals or groups based on certain attributes like gender, gender identity, political
24
     viewpoints, race, religion or sexual orientation,” (paragraph 29, 121, emphasis added).
25
              29.      The allegations of the Second Amended Complaint identified above are consistent
26
     with and supported by what I was told by the YouTube representatives at the September 14-event
27
     regarding racial profiling and discrimination embedded in the algorithm. When called to testify as
28
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                   -12-                  Case No. 5:19-cv-004749-VKD
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 1 a witness, I will testify specifically that the YouTube representatives at the September 14 event

 2 said that the algorithm was targeting African American creators, subscribers and viewers in the

 3 same way that it was targeting LGBTQ creators, subscribers and viewers.

 4            I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and Executed this 20th day of April, 2020, at New York, New York.

 6
                                                            __________
 7                                                                ______________________________

 8                                                                  STEPHANIE FROSCH

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28
     Stephanie Frosch Declaration in Support of Motion to
     File Sur-Reply Brief                                    -13-                Case No. 5:19-cv-004749-VKD
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                  Exhibit “1”

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From: Steph Frosch <ellosteph@gmail.com>
Date: Tue, Aug 20, 2019 at 12:04 AM
Subject: Fwd: Focus Group event: YouTube's Advertising Guidelines
To: Stephanie Frosch <stephfrosch@gmail.com>


---------- Forwarded message ---------
From: Laura Chernikoff <laura@internetcreatorsguild.com>
Date: Thu, Sep 21, 2017 at 11:46 AM
Subject: Re: Focus Group event: YouTube's Advertising Guidelines
To: Steph Frosch <ellosteph@gmail.com>


Thanks for participating in this ICG event with YouTube. We know this session had some logistical challenges with the
timing and apologize. We’re still experimenting with this type of event, and thinking about ways to advocate for creators
about the difficult monetization and advertising guidelines challenges. We’d love to hear about your experience – you can
share your honest feedback by filling out this brief survey.

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Wed, Sep 13, 2017 at 2:57 PM, Steph Frosch <ellosteph@gmail.com> wrote:
Signed and sent! Looking forward to tomorrow.

All the best,
Stephanie Frosch
YouTube.com/ElloSteph

On Wed, Sep 13, 2017 at 11:21 AM, Laura Chernikoff <laura@internetcreatorsguild.com>
wrote:
Hey, I wanted to send a quick reminder to sign the NDA YouTube sent for tomorrow's event. They need everyone
attending the event to sign in order to participate, so I wanted to make sure you hadn't missed it. Let me know if you have
any questions or concerns!

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Mon, Sep 11, 2017 at 11:07 AM, Laura Chernikoff <laura@internetcreatorsguild.com>
wrote:
Thanks Davey! Moving you to bcc.



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Steph, we're excited to have you at this event this week. Here's a confirmation with details about
the location.

Please note that a non-disclosure agreement (NDA) will be sent via email by a member of the
YouTube team and is required to be signed prior to the event, so keep an eye out!

RSVP: You are confirmed.
Date: Thursday, September 14th
Check In Time: 11am
Presentation Starts: 11:30am
*Lunch and an opportunity to mingle with your fellow creators will be included.
Location: YouTube Playa Vista Office –
12400 W. Bluff Creek Drive. Los Angeles, CA 90094
Directions: At the intersection of S Centinela Ave & Jefferson Blvd, turn onto S Campus Center
Dr. Drive to the end of Campus Center Dr. Turn left on West Bluff Creek Drive and make a
quick right into “Lot B”. US-PLV-H10 will be the building just West of the parking lot.

If you have trouble finding the office, contact Ben Kramer: benkramer@google.com // 650-
495-7545

If your plans have changed and you are unable to attend, please let us know ASAP.

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

On Fri, Sep 8, 2017 at 5:36 PM, Davey Wavey <davey@daveywavey.tv> wrote:
Hey Laura,

CC'ing Steph Frosch on this. She'd love to attend!

On Thu, Aug 31, 2017 at 6:06 PM, Laura Chernikoff <laura@internetcreatorsguild.com> wrote:
Unfortunately this event is in-person only. Sorry to hear you can't make it, but we'll keep you in
mind for similar events in the future.

Do any other LA-based creators come to mind who were effected by this issue? I know the
LGBT community especially deals with this and I want to make sure their voices are well
represented in that room.

Laura

Laura Chernikoff
Executive Director




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Internet Creators Guild
internetcreatorsguild.com

On Tue, Aug 29, 2017 at 9:52 AM, Davey Wavey <davey@daveywavey.tv> wrote:
Hey Laura,

I'll be traveling - is there a remote option for attending?

Best,
Davey

On Fri, Aug 25, 2017 at 1:28 PM, Laura Chernikoff <laura@internetcreatorsguild.com> wrote:
Hey Davey,

You're invited to an upcoming event put on by the Internet Creators Guild, in partnership with YouTube on
Thursday, September 14th at 11:00 AM.

Following the advertising situation on YouTube this spring (dubbed the "Adpocalypse"), YouTube is
interested in hearing about creators' experiences on the platform. In particular, it's important for creators to
understand the advertising guidelines and tools that brands interact with, in order to be aware how it may affect your
monetization.

We’ve been discussing this issue with YouTube, who have been working to address creator concerns on this
topic. They would like to share this presentation, which will be under NDA, in order to hear from ICG Members
and creators we’re in touch with as part of a small focus group.

We thought you would be an engaged and thoughtful participant and hope you’re able to attend.

Please RSVP with either yes, no, or maybe by September 5th.

Thursday, September 14th
Check in 11:00 AM; presentation at 11:30 AM
YouTube Playa Vista Campus

Understanding YouTube's Advertising-Friendly Content Guidelines

In this session, YouTube will cover the recent changes to the platform's Advertiser-Friendly Content
Guidelines and what they mean to both advertisers and creators. They will review the updated guidelines,
discuss how YouTube surfaces ads, and the targeting systems advertisers leverage to place their ads.
This will be followed by a Q&A, where creators will be able to ask questions, as well as share their
experiences and feedback on these changes.

This event is invite-only and has limited space. If you know of other creators who would
be interested in the topic and available to attend, please let me know their name,
channel, and email address.

Thanks!


Laura




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Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com


--
Davey Wavey
Digital Storyteller |

--
Davey Wavey
Digital Storyteller |

         Stephanie Frosch



     YouTube | Instagram | Twitter

--

                          Stephanie Frosch
                          she/her/hers
                          Storyteller || Activist || Educator ||

                          phone: +1 954.235.4604




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                  Exhibit “2”

                                                                    107
                                                                    302
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From: Laura Chernikoff <laura@internetcreatorsguild.com>
Date: Mon, Sep 11, 2017 at 1:08 PM
Subject: Re: Focus Group event: YouTube's Advertising Guidelines
To:
Cc: Steph Frosch <ellosteph@gmail.com>

Thanks Davey! Moving you to bcc.

Steph, we're excited to have you at this event this week. Here's a confirmation with details about
the location.

Please note that a non-disclosure agreement (NDA) will be sent via email by a member of the
YouTube team and is required to be signed prior to the event, so keep an eye out!

RSVP: You are confirmed.
Date: Thursday, September 14th
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Presentation Starts: 11:30am
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Do any other LA-based creators come to mind who were effected by this issue? I know the
LGBT community especially deals with this and I want to make sure their voices are well
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Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com

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understand the advertising guidelines and tools that brands interact with, in order to be aware how it may affect your
monetization.

We’ve been discussing this issue with YouTube, who have been working to address creator concerns on this
topic. They would like to share this presentation, which will be under NDA, in order to hear from ICG Members
and creators we’re in touch with as part of a small focus group.

We thought you would be an engaged and thoughtful participant and hope you’re able to attend.

Please RSVP with either yes, no, or maybe by September 5th.

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Check in 11:00 AM; presentation at 11:30 AM
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Understanding YouTube's Advertising-Friendly Content Guidelines

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Guidelines and what they mean to both advertisers and creators. They will review the updated guidelines,
discuss how YouTube surfaces ads, and the targeting systems advertisers leverage to place their ads.
This will be followed by a Q&A, where creators will be able to ask questions, as well as share their
experiences and feedback on these changes.




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This event is invite-only and has limited space. If you know of other creators who would
be interested in the topic and available to attend, please let me know their name,
channel, and email address.

Thanks!

Laura

Laura Chernikoff
Executive Director
Internet Creators Guild
internetcreatorsguild.com


Davey Wavey
Digital Storyteller |


Davey Wavey
Digital Storyteller |

        Stephanie Frosch



  YouTube | Instagram | Twitter




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                  Exhibit “3”

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From: Google Legal <nda-noreply@google.com>
Date: Wed, Sep 13, 2017 at 4:56 PM
Subject: You have accepted Google's Non-Disclosure Agreement
To: <StephFrosch@gmail.com>

You have accepted the terms and conditions presented in Google's
Non-Disclosure Agreement on 2017-09-13 20:56:35.

Company Name: ElloSteph
Name: Stephanie Frosch
Title: Content Creator
Email: StephFrosch@gmail.com
Address:
1300 N Curson Ave Apt 4
West Hollywood, California, 90046
United States

Below is a copy of the Agreement for your reference:

NON-DISCLOSURE AGREEMENT

 In order to evaluate and possibly enter into a business transaction (the
“Purpose”), Google Inc., for itself and its subsidiaries and affiliates,
and the other party identified below hereby agree:

1. The Effective Date of this agreement is the date this agreement is
accepted by the party identified below.

2. A party (the “Discloser”) may disclose to the other party (the
“Recipient”) information pertaining to the Purpose that the Discloser
considers confidential (“Confidential Information”).

3. Recipient may use Confidential Information only for the Purpose.
Recipient must use a reasonable degree of care to protect Confidential
Information and to prevent any unauthorized use or disclosure of
Confidential Information. Recipient may share Confidential Information with
its employees, directors, agents or third party contractors who need to
know it and if they have agreed with either party in writing to keep
information confidential.

4. Confidential Information does not include information that: (a) was
known to Recipient without restriction before receipt from Discloser; (b)
is publicly available through no fault of Recipient; (c) is rightfully
received by Recipient from a third party without a duty of confidentiality;
or (d) is independently developed by Recipient. A party may disclose
Confidential Information when compelled to do so by law if it provides




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reasonable prior notice to the other party, unless a court orders that the
other party not be given notice.

5. Either party may terminate this agreement with thirty days prior
written notice, but this agreement’s provisions will survive as to
Confidential Information that is disclosed before termination.

6. Unless the parties otherwise agree in writing, Recipient’s duty to
protect Confidential Information expires five years from disclosure.

7. This agreement imposes no obligation to proceed with any business
transaction.

8. No party acquires any intellectual property rights under this agreement
except the limited rights necessary to use the Confidential Information for
the Purpose.

9. This agreement does not create any agency or partnership relationship.
This agreement is not assignable or transferable by either party without
the prior written consent of the other party.

10. This agreement is the parties’ entire agreement on this topic,
superseding any prior or contemporaneous agreements. Any amendments must be
in writing. The parties may execute this agreement in counterparts, which
taken together will constitute one instrument. Failure to enforce any of
provisions of this agreement will not constitute a waiver.

11. This agreement is governed by the laws of the State of California,
excluding its conflict-of-laws principles. The exclusive venue for any
dispute relating to this agreement shall be Santa Clara County, California.

CommMutual Rev 112707



                          Stephanie Frosch
                          she/her/hers
                          Storyteller || Activist || Educator ||

                          phone: +1 954.235.4604




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                  Exhibit “4”

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From: White, Lauren Gallo <lwhite@wsgr.com>
Sent: Thursday, March 26, 2020 6:21 PM
To: Debi Ramos <dramos@bgrfirm.com>
Cc: Kramer, David <DKramer@wsgr.com>; Willen, Brian <bwillen@wsgr.com>; Knoll, Kelly
<kknoll@wsgr.com>; Peter Obstler <pobstler@bgrfirm.com>; Grubbs, Deborah
<DGrubbs@wsgr.com>; Kathleen McCormick <kmccormick@bgrfirm.com>
Subject: Re: Divino Group, LLC v Google LLC, et al. [IWOV-DOCSLA.FID349140]

Debi:

As I said in my letter, further discussion would be productive to identify whether the information
Ms. Frosch wishes to disclose might be protected by her NDA with YouTube. That is because
we share your position that “any protective order [cannot] be used to keep non-confidential
information from being presented to the Court and the public.” Your continued argument and
apparent insistence on running to court despite defendants’ desire to meet and confer—and
despite the parties’ obligation to do so—are unwarranted and improper. Nevertheless, because
defendants are not aware of any confidential information that Ms. Frosch might have learned at
the September 14, 2017 event that might be protected by her NDA with YouTube, defendants
have no intention of enforcing the NDA against her. While it would of course be premature to
introduce testimony or other evidence at the current stage of the case, in the event this case gets
past the pleadings, defendants will not enforce the NDA to prevent Ms. Frosch from testifying
about her September 14, 2017 meeting. But YouTube’s willingness to release Ms. Frosch from
her obligations is not license to you to misstate the record, make misrepresentations, or
improperly offer evidence to the Court.

Best regards,
Lauren




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 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 801 S.
 4 Figueroa Street, Suite 2000, Los Angeles, CA 90017.

 5          On April 20, 2020, I served true copies of the following document(s) described as

 6           PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY BRIEF;
      DECLARATION OF PETER OBSTLER; DECLARATION OF STEPHANIE FROSCH;
 7                    (Proposed) ORDER TO FILE SUR-REPLY
 8          on the interested parties in this action as follows:

 9                                  SEE ATTACHED SERVICE LIST
10         BY MAIL ON 4/21/20: I enclosed the document(s) in a sealed envelope or package
   addressed to the persons at the addresses listed in the Service List and placed the envelope for
11 collection and mailing, following our ordinary business practices. I am readily familiar with the
   practice of Browne George Ross LLP for collecting and processing correspondence for mailing.
12 On the same day that correspondence is placed for collection and mailing, it is deposited in the
   ordinary course of business with the United States Postal Service, in a sealed envelope with
13 postage fully prepaid. I am a resident or employed in the county where the mailing occurred. The
   envelope was placed in the mail at Los Angeles, California.
14
           BY EMAIL ON 4/20/20: I served the document via email transmission to the email
15 address listed above and did not, within a reasonable period of time, receive notice of an
   unsuccessful submission.
16
           I declare under penalty of perjury under the laws of the State of California that the
17 foregoing is true and correct.

18          Executed on April 20, 2020, at Los Angeles, California.
19
20

21
                                                        Kathleen McCormick
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                                                                             Case No. 5:19-cv-004749-VKD
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 1                                           SERVICE LIST
                        Divino Group LLC v. Google LLC and YouTube, LLC
 2                    United States District Court - Case No. 5:19-cv-004749-VKD
 3

 4 INDRANEEL SUR
     Trial Attorney
 5 Civil Division, Federal Programs Branch
     1100 L Street, NW
 6 Washington, DC 20530
     202-616-8488
 7
     EMAIL: indraneel.sur@usdoj.gov
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                 Exhibit “D”

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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                     Terms of Service

                                     Paid Service Terms of Service
                                     Paid Service Usage Rules
                                     Collecting Society Notices
                                     Copyright Notices
                                     Community Guidelines


                                                                      Terms of
                                                                      Service
                                                                      What’s in these terms?

                                                                      This index is designed to help you
                                                                      understand some of the key updates we’ve
                                                                      made to our Terms of Service (Terms). We
                                                                      hope this serves as a useful guide, but please
                                                                      ensure you read the Terms in full.


                                                                      Welcome to YouTube!
                                                                      This section outlines our relationship with
                                                                      you. It includes a description of the Service,
                                                                      defines our Agreement, and names your
                                                                      service provider.


                                                                      Who May Use the Service?
                                                                      This section sets out certain requirements for
                                                                      use of the Service, and defines categories of
                                                                      users.


                                                                      Your Use of the Service
                                                                      This section explains your rights to use the
                                                                      Service, and the conditions that apply to your



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                               use of the Service. It also explains how we
                               may make changes to the Service.


                               Your Content and Conduct
                               This section applies to users who provide
                               Content to the Service. It defines the scope of
                               the permissions that you grant by uploading
                               your Content, and includes your agreement
                               not to upload anything that infringes on
                               anyone else’s rights.


                               Account Suspension and Termination
                               This section explains how you and YouTube
                               may terminate this relationship.


                               About Software in the Service
                               This section includes details about software
                               on the Service.


                               Other Legal Terms
                               This section includes our service
                               commitment to you. It also explains that
                               there are some things we will not be
                               responsible for.


                               About this Agreement
                               This section includes some further important
                               details about our contract, including what to
                               expect if we need to make changes to these
                               Terms; or which law applies to them.



                               Terms of Service

                               Dated: March 17, 2021




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                               Welcome to YouTube!

                               Introduction
                               Thank you for using the YouTube platform
                               and the products, services and features we
                               make available to you as part of the platform
                               (collectively, the “Service”).


                               Our Service


                               The Service allows you to discover, watch
                               and share videos and other content, provides
                               a forum for people to connect, inform, and
                               inspire others across the globe, and acts as a
                               distribution platform for original content
                               creators and advertisers large and small. We
                               provide lots of information about our
                               products and how to use them in our Help
                               Center. Among other things, you can find out
                               about YouTube Kids, the YouTube Partner
                               Program and YouTube Paid Memberships
                               and Purchases (where available).You can
                               also read all about enjoying content on other
                               devices like your television, your games
                               console, or Google Home.
                               Your Service Provider


                               The entity providing the Service is Google
                               LLC, a company operating under the laws of
                               Delaware, located at 1600 Amphitheatre
                               Parkway, Mountain View, CA 94043 (referred
                               to as “YouTube”, “we”, “us”, or “our”).
                               References to YouTube’s “Affiliates” in these
                               terms means the other companies within the




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                               Alphabet Inc. corporate group (now or in the
                               future).


                               Applicable Terms
                               Your use of the Service is subject to these
                               terms, the YouTube Community
                               Guidelines and the Policy, Safety and
                               Copyright Policies which may be updated
                               from time to time (together, this
                               "Agreement"). Your Agreement with us will
                               also include the Advertising on YouTube
                               Policies if you provide advertising or
                               sponsorships to the Service or incorporate
                               paid promotions in your content. Any other
                               links or references provided in these terms
                               are for informational use only and are not
                               part of the Agreement.
                               Please read this Agreement carefully and
                               make sure you understand it. If you do not
                               understand the Agreement, or do not accept
                               any part of it, then you may not use the
                               Service.


                               Who may use the Service?

                               Age Requirements
                               You must be at least 13 years old to use the
                               Service; however, children of all ages may
                               use the Service and YouTube Kids (where
                               available) if enabled by a parent or legal
                               guardian.


                               Permission by Parent or Guardian




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                               If you are under 18, you represent that you
                               have your parent or guardian’s permission to
                               use the Service. Please have them read this
                               Agreement with you.


                               If you are a parent or legal guardian of a user
                               under the age of 18, by allowing your child to
                               use the Service, you are subject to the terms
                               of this Agreement and responsible for your
                               child’s activity on the Service. You can find
                               tools and resources to help you manage your
                               family’s experience on YouTube (including
                               how to enable a child under the age of 13 to
                               use the Service and YouTube Kids) in our
                               Help Center and through Google’s Family
                               Link.
                               Businesses
                               If you are using the Service on behalf of a
                               company or organisation, you represent that
                               you have authority to act on behalf of that
                               entity, and that such entity accepts this
                               Agreement.


                               Your Use of the Service

                               Content on the Service
                               The content on the Service includes videos,
                               audio (for example music and other sounds),
                               graphics, photos, text (such as comments
                               and scripts), branding (including trade
                               names, trademarks, service marks, or logos),
                               interactive features, software, metrics, and
                               other materials whether provided by you,
                               YouTube or a third-party (collectively,
                               "Content”).




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                               Content is the responsibility of the person or
                               entity that provides it to the Service. YouTube
                               is under no obligation to host or serve
                               Content. If you see any Content you believe
                               does not comply with this Agreement,
                               including by violating the Community
                               Guidelines or the law, you can report it to us.
                               Google Accounts and YouTube Channels
                               You can use parts of the Service, such as
                               browsing and searching for Content, without
                               having a Google account. However, you do
                               need a Google account to use some features.
                               With a Google account, you may be able to
                               like videos, subscribe to channels, create
                               your own YouTube channel, and more. You
                               can follow these instructions to create a
                               Google account.
                               Creating a YouTube channel will give you
                               access to additional features and functions,
                               such as uploading videos, making comments
                               or creating playlists (where available). Here
                               are some details about how to create your
                               own YouTube channel.
                               To protect your Google account, keep your
                               password confidential. You should not reuse
                               your Google account password on third-party
                               applications. Learn more about keeping your
                               Google account secure, including what to do
                               if you learn of any unauthorized use of your
                               password or Google account.
                               Your Information
                               Our Privacy Policy explains how we treat your
                               personal data and protect your privacy when
                               you use the Service. The YouTube Kids
                               Privacy Notice provides additional




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                               information about our privacy practices that
                               are specific to YouTube Kids.
                               We will process any audio or audiovisual
                               content uploaded by you to the Service in
                               accordance with the YouTube Data
                               Processing Terms, except in cases where you
                               uploaded such content for personal purposes
                               or household activities. Learn More.
                               Permissions and Restrictions
                               You may access and use the Service as made
                               available to you, as long as you comply with
                               this Agreement and applicable law. You may
                               view or listen to Content for your personal,
                               non-commercial use. You may also show
                               YouTube videos through the embeddable
                               YouTube player.


                               The following restrictions apply to your use of
                               the Service. You are not allowed to:


                                1. access, reproduce, download, distribute,
                                   transmit, broadcast, display, sell, license,
                                   alter, modify or otherwise use any part of
                                   the Service or any Content except: (a) as
                                   expressly authorized by the Service; or
                                   (b) with prior written permission from
                                   YouTube and, if applicable, the
                                   respective rights holders;

                                2. circumvent, disable, fraudulently engage
                                   with, or otherwise interfere with any part
                                   of the Service (or attempt to do any of
                                   these things), including security-related
                                   features or features that (a) prevent or
                                   restrict the copying or other use of




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                                   Content or (b) limit the use of the Service
                                   or Content;

                                3. access the Service using any automated
                                   means (such as robots, botnets or
                                   scrapers) except (a) in the case of public
                                   search engines, in accordance with
                                   YouTube’s robots.txt file; or (b) with
                                   YouTube’s prior written permission;

                                4. collect or harvest any information that
                                   might identify a person (for example,
                                   usernames or faces), unless permitted
                                   by that person or allowed under section
                                   (3) above;

                                5. use the Service to distribute unsolicited
                                   promotional or commercial content or
                                   other unwanted or mass solicitations;

                                6. cause or encourage any inaccurate
                                   measurements of genuine user
                                   engagement with the Service, including
                                   by paying people or providing them with
                                   incentives to increase a video’s views,
                                   likes, or dislikes, or to increase a
                                   channel’s subscribers, or otherwise
                                   manipulate metrics in any manner;

                                7. misuse any reporting, flagging,
                                   complaint, dispute, or appeals process,
                                   including by making groundless,
                                   vexatious, or frivolous submissions;

                                8. run contests on or through the Service
                                   that do not comply with YouTube’s
                                   contest policies and guidelines;
                                9. use the Service to view or listen to
                                   Content other than for personal, non-



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                                   commercial use (for example, you may
                                   not publicly screen videos or stream
                                   music from the Service); or

                                10. use the Service to (a) sell any
                                    advertising, sponsorships, or promotions
                                    placed on, around, or within the Service
                                    or Content, other than those allowed in
                                    the Advertising on YouTube policies
                                    (such as compliant product placements);
                                    or (b) sell advertising, sponsorships, or
                                    promotions on any page of any website
                                    or application that only contains Content
                                    from the Service or where Content from
                                    the Service is the primary basis for such
                                    sales (for example, selling ads on a
                                    webpage where YouTube videos are the
                                    main draw for users visiting the
                                    webpage).
                               Reservation


                               Using the Service does not give you
                               ownership of or rights to any aspect of the
                               Service, including user names or any other
                               Content posted by others or YouTube.


                               Changes to the Service


                               YouTube is constantly changing and
                               improving the Service. We may also need to
                               alter or discontinue the Service, or any part of
                               it, in order to make performance or security
                               improvements, change functionality and
                               features, make changes to comply with law,
                               or prevent illegal activities on or abuse of our
                               systems. These changes may affect all users,



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                               some users or even an individual user.
                               Whenever reasonably possible, we will
                               provide notice when we discontinue or make
                               material changes to our Service that will have
                               an adverse impact on the use of our Service.
                               However, you understand and agree that
                               there will be times when we make such
                               changes without notice, such as where we
                               feel we need to take action to improve the
                               security and operability of our Service,
                               prevent abuse, or comply with legal
                               requirements.


                               Your Content and Conduct

                               Uploading Content


                               If you have a YouTube channel, you may be
                               able to upload Content to the Service. You
                               may use your Content to promote your
                               business or artistic enterprise. If you choose
                               to upload Content, you must not submit to
                               the Service any Content that does not comply
                               with this Agreement (including the YouTube
                               Community Guidelines) or the law. For
                               example, the Content you submit must not
                               include third-party intellectual property (such
                               as copyrighted material) unless you have
                               permission from that party or are otherwise
                               legally entitled to do so. You are legally
                               responsible for the Content you submit to the
                               Service. We may use automated systems that
                               analyze your Content to help detect
                               infringement and abuse, such as spam,
                               malware, and illegal content.




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                               Rights you Grant


                               You retain ownership rights in your Content.
                               However, we do require you to grant certain
                               rights to YouTube and other users of the
                               Service, as described below.


                               License to YouTube


                               By providing Content to the Service, you grant
                               to YouTube a worldwide, non-exclusive,
                               royalty-free, sublicensable and transferable
                               license to use that Content (including to
                               reproduce, distribute, prepare derivative
                               works, display and perform it) in connection
                               with the Service and YouTube’s (and its
                               successors' and Affiliates') business,
                               including for the purpose of promoting and
                               redistributing part or all of the Service.


                               License to Other Users


                               You also grant each other user of the Service
                               a worldwide, non-exclusive, royalty-free
                               license to access your Content through the
                               Service, and to use that Content, including to
                               reproduce, distribute, prepare derivative
                               works, display, and perform it, only as
                               enabled by a feature of the Service (such as
                               video playback or embeds). For clarity, this
                               license does not grant any rights or
                               permissions for a user to make use of your
                               Content independent of the Service.


                               Duration of License




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                               The licenses granted by you continue for a
                               commercially reasonable period of time after
                               you remove or delete your Content from the
                               Service. You understand and agree, however,
                               that YouTube may retain, but not display,
                               distribute, or perform, server copies of your
                               videos that have been removed or deleted.


                               Right to Monetize


                               You grant to YouTube the right to monetize
                               your Content on the Service (and such
                               monetization may include displaying ads on
                               or within Content or charging users a fee for
                               access). This Agreement does not entitle you
                               to any payments. Starting November 18,
                               2020, any payments you may be entitled to
                               receive from YouTube under any other
                               agreement between you and YouTube
                               (including for example payments under the
                               YouTube Partner Program, Channel
                               memberships or Super Chat) will be treated
                               as royalties. If required by law, Google will
                               withhold taxes from such payments.


                               Removing Your Content


                               You may remove your Content from the
                               Service at any time. You also have the option
                               to make a copy of your Content before
                               removing it. You must remove your Content if
                               you no longer have the rights required by
                               these terms.
                               Removal of Content By YouTube




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                               If we reasonably believe that any Content is in
                               breach of this Agreement or may cause harm
                               to YouTube, our users, or third parties, we
                               may remove or take down that Content in our
                               discretion. We will notify you with the reason
                               for our action unless we reasonably believe
                               that to do so: (a) would breach the law or the
                               direction of a legal enforcement authority or
                               would otherwise risk legal liability for
                               YouTube or our Affiliates; (b) would
                               compromise an investigation or the integrity
                               or operation of the Service; or (c) would
                               cause harm to any user, other third party,
                               YouTube or our Affiliates. You can learn more
                               about reporting and enforcement, including
                               how to appeal on the Troubleshooting page
                               of our Help Center.
                               Copyright Protection


                               We provide information to help copyright
                               holders manage their intellectual property
                               online in our YouTube Copyright Center. If
                               you believe your copyright has been infringed
                               on the Service, please send us a notice.
                               We respond to notices of alleged copyright
                               infringement according to the process in our
                               YouTube Copyright Center, where you can
                               also find information about how to resolve a
                               copyright strike. YouTube's policies provide
                               for the termination, in appropriate
                               circumstances, of repeat infringers’ access to
                               the Service.
                               Account Suspension &
                               Termination



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                               Terminations by You
                               You may stop using the Service at any time.
                               Follow these instructions to delete the
                               Service from your Google Account, which
                               involves closing your YouTube channel and
                               removing your data. You also have the option
                               to download a copy of your data first.
                               Terminations and Suspensions by YouTube
                               for Cause


                               YouTube may suspend or terminate your
                               access, your Google account, or your Google
                               account’s access to all or part of the
                               Service if (a) you materially or repeatedly
                               breach this Agreement; (b) we are required to
                               do so to comply with a legal requirement or a
                               court order; or (c) we believe there has been
                               conduct that creates (or could create) liability
                               or harm to any user, other third party,
                               YouTube or our Affiliates.


                               Terminations by YouTube for Service
                               Changes


                               YouTube may terminate your access, or your
                               Google account’s access to all or part of the
                               Service if YouTube believes, in its sole
                               discretion, that provision of the Service to you
                               is no longer commercially viable.


                               Notice for Termination or Suspension


                               We will notify you with the reason for
                               termination or suspension by YouTube
                               unless we reasonably believe that to do so:
                               (a) would violate the law or the direction of a



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                               legal enforcement authority, or would
                               otherwise risk legal liability for YouTube or
                               our Affiliates; (b) would compromise an
                               investigation or the integrity or operation of
                               the Service; or (c) would cause harm to any
                               user, other third party, YouTube or our
                               Affiliates. Where YouTube is terminating your
                               access for Service changes, where
                               reasonably possible, you will be provided with
                               sufficient time to export your Content from
                               the Service.


                               Effect of Account Suspension or Termination


                               If your Google account is terminated or your
                               Google account’s access to the Service is
                               restricted, you may continue using certain
                               aspects of the Service (such as viewing only)
                               without an account, and this Agreement will
                               continue to apply to such use. If you believe
                               your Google account has been terminated in
                               error, you can appeal using this form.
                               About Software in the Service

                               Downloadable Software
                               When the Service requires or includes
                               downloadable software (such as the
                               YouTube Studio application), you give
                               permission for that software to update
                               automatically on your device once a new
                               version or feature is available, subject to your
                               device settings. Unless that software is
                               governed by additional terms which provide a
                               license, YouTube gives you a personal,
                               worldwide, royalty-free, non-assignable and




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                               non-exclusive license to use the software
                               provided to you by YouTube as part of the
                               Service. This license is for the sole purpose
                               of enabling you to use and enjoy the benefit
                               of the Service as provided by YouTube, in the
                               manner permitted by this Agreement. You are
                               not allowed to copy, modify, distribute, sell, or
                               lease any part of the software, or to reverse-
                               engineer or attempt to extract the source
                               code of that software, unless laws prohibit
                               these restrictions or you have YouTube’s
                               written permission.


                               Open Source
                               Some software used in our Service may be
                               offered under an open source license that we
                               make available to you. There may be
                               provisions in an open source license that
                               expressly override some of these terms, so
                               please be sure to read those licenses.


                               Other Legal Terms

                               Warranty Disclaimer
                               OTHER THAN AS EXPRESSLY STATED IN
                               THIS AGREEMENT OR AS REQUIRED BY LAW,
                               THE SERVICE IS PROVIDED “AS IS” AND
                               YOUTUBE DOES NOT MAKE ANY SPECIFIC
                               COMMITMENTS OR WARRANTIES ABOUT
                               THE SERVICE. FOR EXAMPLE, WE DON’T
                               MAKE ANY WARRANTIES ABOUT: (A) THE
                               CONTENT PROVIDED THROUGH THE
                               SERVICE; (B) THE SPECIFIC FEATURES OF
                               THE SERVICE, OR ITS ACCURACY,
                               RELIABILITY, AVAILABILITY, OR ABILITY TO




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                               MEET YOUR NEEDS; OR (C) THAT ANY
                               CONTENT YOU SUBMIT WILL BE
                               ACCESSIBLE ON THE SERVICE.


                               Limitation of Liability


                               EXCEPT AS REQUIRED BY APPLICABLE LAW,
                               YOUTUBE, ITS AFFILIATES, OFFICERS,
                               DIRECTORS, EMPLOYEES AND AGENTS WILL
                               NOT BE RESPONSIBLE FOR ANY LOSS OF
                               PROFITS, REVENUES, BUSINESS
                               OPPORTUNITIES, GOODWILL, OR
                               ANTICIPATED SAVINGS; LOSS OR
                               CORRUPTION OF DATA; INDIRECT OR
                               CONSEQUENTIAL LOSS; PUNITIVE
                               DAMAGES CAUSED BY:


                                1. ERRORS, MISTAKES, OR INACCURACIES
                                   ON THE SERVICE;

                                2. PERSONAL INJURY OR PROPERTY
                                   DAMAGE RESULTING FROM YOUR USE
                                   OF THE SERVICE;

                                3. ANY UNAUTHORIZED ACCESS TO OR
                                   USE OF THE SERVICE;

                                4. ANY INTERRUPTION OR CESSATION OF
                                   THE SERVICE;

                                5. ANY VIRUSES OR MALICIOUS CODE
                                   TRANSMITTED TO OR THROUGH THE
                                   SERVICE BY ANY THIRD PARTY;

                                6. ANY CONTENT WHETHER SUBMITTED
                                   BY A USER OR YOUTUBE, INCLUDING
                                   YOUR USE OF CONTENT; AND/OR




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                                7. THE REMOVAL OR UNAVAILABILITY OF
                                   ANY CONTENT.

                               THIS PROVISION APPLIES TO ANY CLAIM,
                               REGARDLESS OF WHETHER THE CLAIM
                               ASSERTED IS BASED ON WARRANTY,
                               CONTRACT, TORT, OR ANY OTHER LEGAL
                               THEORY.


                               YOUTUBE AND ITS AFFILIATES’ TOTAL
                               LIABILITY FOR ANY CLAIMS ARISING FROM
                               OR RELATING TO THE SERVICE IS LIMITED
                               TO THE GREATER OF: (A) THE AMOUNT OF
                               REVENUE THAT YOUTUBE HAS PAID TO YOU
                               FROM YOUR USE OF THE SERVICE IN THE 12
                               MONTHS BEFORE THE DATE OF YOUR
                               NOTICE, IN WRITING TO YOUTUBE, OF THE
                               CLAIM; AND (B) USD $500.


                               Indemnity


                               To the extent permitted by applicable law,
                               you agree to defend, indemnify and hold
                               harmless YouTube, its Affiliates, officers,
                               directors, employees and agents, from and
                               against any and all claims, damages,
                               obligations, losses, liabilities, costs or debt,
                               and expenses (including but not limited to
                               attorney's fees) arising from: (i) your use of
                               and access to the Service; (ii) your violation
                               of any term of this Agreement; (iii) your
                               violation of any third party right, including
                               without limitation any copyright, property, or
                               privacy right; or (iv) any claim that your
                               Content caused damage to a third party. This
                               defense and indemnification obligation will



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                               survive this Agreement and your use of the
                               Service.


                               Third-Party Links
                               The Service may contain links to third-party
                               websites and online services that are not
                               owned or controlled by YouTube. YouTube
                               has no control over, and assumes no
                               responsibility for, such websites and online
                               services. Be aware when you leave the
                               Service; we suggest you read the terms and
                               privacy policy of each third-party website and
                               online service that you visit.


                               About this Agreement

                               Modifying this Agreement
                               We may modify this Agreement, for example,
                               to reflect changes to our Service or for legal,
                               regulatory, or security reasons. YouTube will
                               provide reasonable advance notice of any
                               material modifications to this Agreement and
                               the opportunity to review them, except that
                               modifications addressing newly available
                               features of the Service or modifications
                               made for legal reasons may be effective
                               immediately without notice. Modifications to
                               this Agreement will only apply going forward.
                               If you do not agree to the modified terms, you
                               should remove any Content you have
                               uploaded and discontinue your use of the
                               Service.


                               Continuation of this Agreement
                               If your use of the Service ends, the following




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                               terms of this Agreement will continue to
                               apply to you: “Other Legal Terms”, “About
                               This Agreement”, and the licenses granted by
                               you will continue as described under
                               “Duration of License”.


                               Severance
                               If it turns out that a particular term of this
                               Agreement is not enforceable for any reason,
                               this will not affect any other terms.


                               No Waiver
                               If you fail to comply with this Agreement and
                               we do not take immediate action, this does
                               not mean that we are giving up any rights that
                               we may have (such as the right to take action
                               in the future).


                               Interpretation


                               In these terms, “include” or “including” means
                               “including but not limited to,” and any
                               examples we give are for illustrative
                               purposes.


                               Governing Law
                               All claims arising out of or relating to these
                               terms or the Service will be governed by
                               California law, except California’s conflict of
                               laws rules, and will be litigated exclusively in
                               the federal or state courts of Santa Clara
                               County, California, USA. You and YouTube
                               consent to personal jurisdiction in those
                               courts.


                               Limitation on Legal Action



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                               YOU AND YOUTUBE AGREE THAT ANY
                               CAUSE OF ACTION ARISING OUT OF OR
                               RELATED TO THE SERVICES MUST
                               COMMENCE WITHIN ONE (1) YEAR AFTER
                               THE CAUSE OF ACTION ACCRUES.
                               OTHERWISE, SUCH CAUSE OF ACTION IS
                               PERMANENTLY BARRED.


                               Effective as of March 17, 2021 (view previous
                               version)




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Safety for advertisers Brand resources Access brand resources such as our YouTube logo, color
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Rules and policies


Community Guidelines
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                                     Community Guidelines
                                     Developing Community Guidelines
                                     Enforcing Community Guidelines
                                         o Detecting violations
                                         o Allowing EDSA content
                                         o Taking action on violations


Overview
YouTube has always had a set of Community Guidelines that outline what type of content isn’t
allowed on YouTube. These policies apply to all types of content on our platform, including
videos, comments, links, and thumbnails. Our Community Guidelines are a key part of our
broader suite of policies and are regularly updated in consultation with outside experts and
YouTube creators to keep pace with emerging challenges.

We enforce these Community Guidelines using a combination of human reviewers and machine
learning, and apply them to everyone equally—regardless of the subject or the creator’s
background, political viewpoint, position, or affiliation.

Our policies aim to make YouTube a safer community while still giving creators the freedom to
share a broad range of experiences and perspectives.

What areas do Community Guidelines cover?
You'll find a full list of our Community Guidelines below:

Spam & deceptive practices

                                     Fake engagement
                                     Impersonation
                                     External links
                                     Spam, deceptive practices & scams



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      Playlists
      Additional policies

Sensitive content

      Child safety
      Thumbnails
      Nudity and sexual content
      Suicide and self injury
      Vulgar language

Violent or dangerous content

      Harassment and cyberbullying
      Harmful or dangerous content
      Hate speech
      Violent criminal organizations
      Violent or graphic content

Regulated goods

      Firearms
      Sale of illegal or regulated goods or services

Misinformation

      Misinformation
      Elections misinformation
      COVID-19 medical misinformation

In addition to Community Guidelines, creators who want to monetize content on YouTube must
comply with Monetization Policies.

How does YouTube develop new policies and update existing
ones?
Each of our policies is carefully thought through so they are consistent, well-informed, and can
be applied to content from around the world. They’re developed in consultation with a wide
range of external industry and policy experts, as well as YouTube Creators. New policies go
through multiple rounds of testing before they go live to ensure our global team of content
reviewers can apply them accurately and consistently.

This work is never finished, and we are always evaluating our policies to understand how we can
better strike a balance between keeping the YouTube community protected and giving everyone
a voice.



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How does YouTube enforce its Community Guidelines?
500 hours of video are uploaded to YouTube every minute. That’s a lot of content, which is why
our teams come together to make sure that what you see on our platform follows our Community
Guidelines. To do that, we combine the power of advanced machine learning systems and our
community itself to flag potentially problematic content. Our expert reviewers then remove
flagged content that violates our Community Guidelines.

How does YouTube identify content that violates
Community Guidelines?
With hundreds of hours of new content uploaded to YouTube every minute, we use a
combination of people and machine learning to detect problematic content at scale. Machine
learning is well-suited to detect patterns, which helps us to find content similar to other content
we’ve already removed, even before it’s viewed.

We also recognize that the best way to quickly remove content is to anticipate problems before
they emerge. Our Intelligence Desk monitors the news, social media, and user reports to detect
new trends surrounding inappropriate content, and works to make sure our teams are prepared to
address them before they can become a larger issue.

Is there a way for the broader community to flag harmful
content?
The YouTube community also plays an important role in flagging content they think is
inappropriate.

      If you see content that you think violates Community Guidelines, you can use our
       flagging feature to submit content for review.
      We developed the YouTube Trusted Flagger program to provide robust content reporting
       processes to non-governmental organizations (NGOs) with expertise in a policy area,
       government agencies, and individuals with high flagging accuracy rates. Participants
       receive training on YouTube policies and have a direct path of communication with our
       Trust & Safety specialists. Videos flagged by Trusted Flaggers are not automatically
       removed. They are subject to the same human review as videos flagged by any other user,
       but we may expedite review by our teams. NGOs also receive occasional online training
       on YouTube policies.

How does YouTube treat educational, documentary,
scientific, or artistic content?
Sometimes videos that might otherwise violate our Community Guidelines may be allowed to
stay on YouTube if the content offers a compelling reason with visible context for viewers. We



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often refer to this exception as “EDSA,” which stands for “Educational, Documentary, Scientific
or Artistic”. To help determine whether a video might qualify for an EDSA exception, we look at
multiple factors, including the video title, descriptions, and the context provided.

EDSA exceptions are a critical way we make sure that important speech stays on YouTube,
while protecting the wider YouTube ecosystem from harmful content.

Resources

                                     Read more about how we treat EDSA content on YouTube

What action does YouTube take for content that violates
Community Guidelines?
Machine learning systems help us identify and remove spam automatically, as well as remove re-
uploads of content we’ve already reviewed and determined violates our policies. YouTube takes
action on other flagged videos after review by trained human reviewers. They assess whether the
content does indeed violate our policies, and protect content that has an educational,
documentary, scientific, or artistic purpose. Our reviewer teams remove content that violates our
policies and age-restrict content that may not be appropriate for all audiences. Reviewers' inputs
are then used to train and improve the accuracy of our systems at a much larger scale.
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Community Guidelines Strikes
If our reviewers decide that content violates our Community Guidelines, we remove the content
and send a notice to the Creator. The first time a Creator violates our Community Guidelines,
they receive a warning with no penalty to the channel. After one warning, we’ll issue a
Community Guidelines strike to the channel and the account will have temporary restrictions
including not being allowed to upload videos, live streams, or stories for a 1-week period.
Channels that receive three strikes within a 90-day period will be terminated. Channels that are
dedicated to violating our policies or that have a single case of severe abuse of the platform, will
bypass our strikes system and be terminated. All strikes and terminations can be appealed if the
Creator believes there was an error, and our teams will re-review the decision.

Resources

                                     Learn more about Community Guidelines strikes
                                     Appeal a Community Guidelines strike

Age-Restricting Content

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Sometimes content doesn't violate our Community Guidelines, but may not be appropriate for
viewers under 18 years of age. In these cases, our review team will place an age restriction on the
video so it will not be visible to viewers under 18 years of age, logged-out users, or to those who
have Restricted Mode enabled. Creators can also choose to age restrict their own content at
upload if they think it’s not suitable for younger audiences.

Resources

      Learn more about age-restricted content

Related articles
      Progress on managing harmful content

       Read more

      Managing harmful content

       Read more

      Legal removals

       Read more

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Downloadable summaries Download shareable summaries of essential content on this website
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Safety for advertisers Brand resources Access brand resources such as our YouTube logo, color
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Our mission Our commitments Managing harmful content Standing up to hate Fighting
misinformation Curbing extremist content Supporting political integrity Preventing bias
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Rules and policies


Policies overview
Viewers and Creators around the world use YouTube to express their ideas and opinions freely,
and we believe that a broad range of perspectives ultimately makes us a stronger and more
informed society, even if we disagree with some of those views. That's why we have policies to
help build a safer community.
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Community Guidelines
Our Community Guidelines define what we do and don’t allow on YouTube. They exist so that
we can protect the community from things such as harmful content, harassment, and spam. They
apply to everyone, and to all types of content on YouTube - such as videos, comments, links, and
thumbnails.

Learn more
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Copyright
We have developed a set of resources to help Creators understand copyright, protect their own
copyrighted content, and avoid violating copyright laws.

Learn more
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Monetization policies
The YouTube Partner Program empowers Creators to make money through their channels. To
become a YouTube Partner, Creators must follow our monetization policies. These policies are
intended to reward Creators who contribute positively to the community with original content.



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Eligible Creators who want to monetize their content by running advertisements need to follow
our Advertiser-Friendly Content Guidelines in addition to our broader Monetization Policies.

Learn more
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file and location.




Legal removals
Since YouTube is available across the world, we have processes in place to comply with local
law.

Learn more

Related articles
                                     Progress on managing harmful content

                                      Read more

                                     Safeguarding copyright

                                      Read more

                                     Fostering child safety

                                      Read more

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YouTube Help

Sign in
                                      Send feedback on...

This help content & information

General Help Center experience
                                                                                           Next
Help CenterCommunity


Fake engagement policy
The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.

YouTube doesn’t allow anything that artificially increases the number of views, likes,
comments, or other metrics either by using automatic systems or serving up videos to
unsuspecting viewers. Also, content that solely exists to incentivize viewers for
engagement (views, likes, comments, etc) is prohibited.

Content and channels that don't follow this policy may be terminated and removed from
YouTube.

Important: If you hire someone to promote your channel, their decisions may impact
your channel. Any method that violates our policies may result in content removal or a
channel takedown, whether it's an action taken by you or someone you've hired.

We consider engagement to be legitimate when a human user’s primary intent is to
authentically interact with the content. We consider engagement illegitimate, for
example, when it results from coercion or deception, or when the sole purpose of the
engagement is financial gain.

If you find content that violates this policy, report it. Instructions for reporting violations
of our Community Guidelines are available here. If you've found a few videos or
comments that you would like to report, you can report the channel.




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    What this policy means for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions noted below.

   Links to or promotes third-party services that artificially inflate metrics like views, likes,
    and subscribers
   Content linking to or promoting third-party view count or subscriber gaming websites or
    services
   Offering to subscribe to another creator’s channel only if they subscribe to your channel
    (“sub4sub”)
   Note: You're allowed to encourage viewers to subscribe, hit the like button, share, or
    leave a comment
   Content featuring a creator purchasing their views from a third party with the intent of
    promoting the service

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Keep in mind that this isn't a complete list.

    How engagement is measured
    Examples
    Here are some examples of content that’s not allowed on YouTube.

   A video testimonial in which a creator shows themselves successfully purchasing
    artificial page traffic from a third party
   A video in which a creator links to a third party artificial page traffic provider in a
    promotional or supportive context. For example: “I got 1 million subscribers on this
    video in a day and you can too!”
   A video that tries to force or trick viewers into watching another video through deceptive
    means (for example: a misleadingly labeled info card)
   Channels dedicated to artificial channel engagement traffic or promoting businesses
    that exist for this sole purpose

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a



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     warning with no penalty to your channel. If it’s not, we may issue a strike against your
     channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
     learn more about our strikes system here.

     We may terminate your channel or account for repeated violations of the Community
     Guidelines or Terms of Service. We may also terminate your channel or account after a
     single case of severe abuse, or when the channel is dedicated to a policy violation. You
     can learn more about channel or account terminations here.

     Give feedback about this article
     Choose a section to give feedback on

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                                               Submit
     YouTube policies
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    Impersonation policy
    External links policy
    Fake engagement policy
    Additional policies
    Playlists policy

    ©2021 Google
    Privacy Policy
    YouTube Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
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6.   español (Latinoamérica)
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10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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YouTube Help

Sign in
                                                                                                                                                                                         Send feedback on...

This help content & information

General Help Center experience
                                                                                                                                                                                                                                               Next
Help CenterCommunity


YouTube's Community Guidelines
When you use YouTube, you join a community of people from all over the world. The
guidelines below help keep YouTube fun and enjoyable for everyone.

If you see content that you think violates these guidelines, use the flagging feature to
submit it for review by our YouTube staff.

                                                                                                                                                                             Spam & deceptive practices
  The linked image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                             The YouTube Community is one that's built on trust. Content that
                                                                                                                                                                             intends to scam, mislead, spam, or defraud other users isn't allowed on
                                                                                                                                                                             YouTube.

                                                                                                                                                                             Spam, deceptive practices, & scams policies
                                                                                                                                                                             Impersonation policy
                                                                                                                                                                             External links policy
                                                                                                                                                                             Fake engagement policy
                                                                                                                                                                             Additional policies

                                                                                                                                                                             Sensitive content
                The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                             We hope to protect viewers, creators, and especially minors. That's
                                                                                                                                                                             why we've got rules around keeping children safe, sex & nudity, and
                                                                                                                                                                             self harm. Learn what's allowed on YouTube and what to do if you see
                                                                                                                                                                             content that doesn't follow these policies.

                                                                                                                                                                             Nudity & sexual content policies
                                                                                                                                                                             Thumbnails policy
                                                                                                                                                                             Child safety policy



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                                                                                                                                                                               Suicide & self-injury policy

                                                                                                                                                                               Violent or dangerous content
                    The linked image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                               Hate speech, predatory behavior, graphic violence, malicious attacks,
                                                                                                                                                                               and content that promotes harmful or dangerous behavior isn't allowed
                                                                                                                                                                               on YouTube.

                                                                                                                                                                               Harmful or dangerous content policies
                                                                                                                                                                               Violent or graphic content policies
                                                                                                                                                                               Violent criminal organizations policy
                                                                                                                                                                               Hate speech policy
                                                                                                                                                                               Harassment & cyberbullying policies
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                               Regulated goods
                                                                                                                                                                               Certain goods can't be sold on YouTube. Find out what's allowed—
                                                                                                                                                                               and what isn't.

                                                                                                                                                                               Sale of illegal or regulated goods or services policies
                                                                                                                                                                               Firearms policy



The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                                               Misinformation
                                                                                                                                                                               Certain types of misleading or deceptive content with serious risk of
                                                                                                                                                                               egregious harm are not allowed on YouTube. This includes certain
                                                                                                                                                                               types of misinformation that can cause real-world harm, like
                                                                                                                                                                               promoting harmful remedies or treatments, certain types of technically
                                                                                                                                                                               manipulated content, or content interfering with democratic processes.

                                                                                                                                                                               Misinformation policies
                                                                                                                                                                               Elections misinformation policies
                                                                                                                                                                               COVID-19 medical misinformation policies


Please take these rules seriously. If a YouTube creator’s on- and/or off-platform behavior
harms our users, community, employees or ecosystem, we may respond based on a
number of factors including, but not limited to, the egregiousness of their actions and
whether a pattern of harmful behavior exists. Our response will range from suspending a
creator’s privileges to account termination.
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                                   Visit Creator Academy for more




                                                                                                                                                                                                                                                 159
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    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our new Creator Academy course.
    Give feedback about this article
    Choose a section to give feedback on

                                      Was this helpful?
                                          YesNo




                                          Submit
    Help
   Coronavirus disease 2019 (COVID-19) updates
   Monetization update on COVID-19 content
   YouTube's Community Guidelines
   YouTube policies
   Reporting and enforcement
   Privacy and safety center
   Copyright and rights management

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   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands



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16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem




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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service




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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
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    rights management


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    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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    YouTube Help

    Sign in
                                      Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity


    Report inappropriate content
    We rely on YouTube community members to report, or flag content that they find
    inappropriate. Reporting content is anonymous, so other users can't tell who made the
    report.

    When something is reported, it’s not automatically taken down. Reported content is
    reviewed along the following guidelines:

   Content that violates our Community Guidelines is removed from YouTube.
   Content that may not be appropriate for younger audiences may be age-restricted.



      The Life of a Flag



    How to flag content
    Computer AndroidiPhone & iPad
    Report a video

    Report a playlist
    Report a thumbnail
    Report a link


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    Report a comment
    Report a live chat message
    Report a channel
    Report an ad

    Report content on YouTube on TV
    You can report a video directly from the YouTube on TV app.

1. Select Report on the video player Menu.
2. A menu will appear to select the reason for reporting the video.
3. Once you select the reason, you'll see a confirmation message.

    Other reporting options
    If the reporting process does not accurately capture your issue, we have other reporting
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    Privacy reporting
    Legal reporting

    Moment of death or critical injury footage
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads




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   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
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19. português (Brasil)
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21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
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27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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36. ไทย
37. 中文（简体）



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38. 中文（繁體）
39. 日本語
40. 한국어
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    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


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o   Fix a problem



o   Watch videos



o   Manage your account & settings



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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
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      The Life of a Flag



    How to flag content
    Computer AndroidiPhone & iPad
    Report a video

    YouTube staff review reported videos 24 hours a day, seven days a week. A video can
    be reported at any time once uploaded to YouTube, and then it is reviewed by YouTube
    staff. If no violations are found by our review team, no amount of reporting will change
    that and the video will remain on our site.

1. Sign in to YouTube.                                        The link ed
                                                              image cannot




2. Below the player for the video you want to report, click                       More.
                                                              be display ed.
                                                              The file may
                                                              hav e been
                                                              mov ed,
                                                              renamed, or
                                                              deleted. Verify …




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3. In the drop-down menu, choose Report.
4. Select the reason that best fits the violation in the video.
5. Provide any additional details that may help the review team make their decision,
   including timestamps or descriptions of the violation.

     Report a playlist
     You can report a playlist if its content, title, description or tags violate our Community
     Guidelines.

1. Sign in to YouTube.
2. Visit the playlist page.
1. If the playlist is currently playing, click on its title at the top-right of the player to visit the
   playlist page.The link ed




3. Click More
                 image cannot




                    below the playlist title.
                 be display ed.
                 The file may
                 have been
                 mov ed,
                 renamed, or
                 deleted. Verify …




4. Select Report Playlist.
5. Click Submit.

     Report a thumbnail
     You can report a video thumbnail that you see in your feed.

1.   Go to the thumbnail you'd like to report.                        The link ed
                                                                      image cannot




2.   Below the thumbnail, click More .
                                                                      be displayed.
                                                                      The file may
                                                                      hav e been
                                                                      moved,
                                                                      renamed, or
                                                                      deleted. Verify …




3.   Click Report.
4.   Select the reason for reporting.
5.   Click Report.

     Report a link
     If you see a link that violates our Community Guidelines, you can report it. From the
     video watchpage:
                              The link ed         The linked
                              image cannot        image cannot




1. Select More         Report.
                              be displayed.       be display ed.
                              The file may        The file may
                              hav e been          hav e been
                              moved,              mov ed,
                              renamed, or         renamed, or
                              deleted. Verify …   deleted. Verify …




2. Select the policy that the link violates.
3. Check the box next to “This applies to links within the video description".

     Report a comment

     The "Report spam or abuse" link allows the community to report spam comments left
     on videos they upload or watch. If enough users mark a comment as spam, it becomes
     hidden under a "Marked as Spam" link. By clicking the "Show link" you can see the
     comment again. The video's uploader has the ability to "unmark" a comment as spam.

1. Go to the comment you'd like to report.
                 The link ed
                 image cannot




2. Click More .
                 be display ed.
                 The file may
                 have been
                 mov ed,
                 renamed, or
                 deleted. Verify …




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3. Click Report spam or abuse.
4. Select the reason for reporting.

     Use the "Report spam or abuse" feature with extreme caution. If you misuse it, you may
     be prohibited from using YouTube.

     My comment was marked as spam incorrectly

     If you believe a comment you made was marked as spam but you don't believe it to be,
     you can contact the video's uploader and ask them to reinstate your comment.

     Report a live chat message

     Community members can report inappropriate messages left on live streams.

1.   Go to the message you'd like to report.
                 The link ed
                 image cannot




2.   Click More .
                 be display ed.
                 The file may
                 have been
                 mov ed,
                 renamed, or
                 deleted. Verify …




3.   Click Report.
4.   Select the reason for reporting.

     Report a channel

     You can report users, inappropriate background images, or inappropriate profile avatars
     using the reporting flow located on the bottom of every channel.

1.   Sign in to YouTube.
2.   Go to the channel page you want to report.
3.   Click About.                    The linked
                                     image cannot




4.   Click the Report .
                                     be display ed.
                                     The file may
                                     hav e been
                                     mov ed,
                                     renamed, or
                                     deleted. Verify …




5.   Select the option that best suits your issue.

     Report an ad

     If you see an ad that is inappropriate or even violates Google’s ad policies, you can
     report it.
                                                         The linked image
                                                         cannot be          The link ed
                                                         display ed. The    image cannot




     To report the ad, select Info   on the ad then Why this ad Report this ad, or choose to
                                                         file may hav e     be display ed.
                                                         been mov ed,       The file may
                                                         renamed, or        have been
                                                         deleted. Verify    mov ed,
                                                         that the link      renamed, or
                                                         points to the co   deleted. Verify …




     fill out and submit this form. Our team will then review your ad report and take action if
     appropriate.

     Reporting ads is only available on YouTube mobile and desktop.

     Report content on YouTube on TV



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     You can report a video directly from the YouTube on TV app.

1. Select Report on the video player Menu.
2. A menu will appear to select the reason for reporting the video.
3. Once you select the reason, you'll see a confirmation message.

     Other reporting options
     If the reporting process does not accurately capture your issue, we have other reporting
     mechanisms for you to use.




     Privacy reporting
     To file a privacy complaint, start the privacy complaint process. Your privacy is always
     respected in this process.
     Legal reporting
     To report a legal issue on behalf of yourself or your client:

1.   Go to the watch page of the video you'd like to report.
2.   Under the video, click the three dot Menu.
3.   Click Report.
4.   Select "Infringes my rights".
5.   Select the relevant issue. If your issue isn't captured, select "Other legal claim".
6.   Fill out the form and submit.

     To expedite our ability to investigate your claim, we encourage you to submit your claim
     using our webform, rather than by fax or post.
     Note that abuse of our legal forms may result in the termination of your YouTube
     account.

     Moment of death or critical injury footage
     We attempt to respect the wishes of families in regards to footage of their loved ones
     being critically injured. If you've identified content showing a family member during the
     moment of death/critical injury, and you wish to request content removal, use our
     webform.
     Requests are carefully reviewed, but keep in mind that we take public interest and
     newsworthiness into account when figuring out whether content will be removed or not.
     Give feedback about this article
     Choose a section to give feedback on

                                           Was this helpful?
                                               YesNo




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                                         Submit
    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

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     English?

    English

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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska



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25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    Program




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Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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Other suggestions - ideas to improve the content

Share additional info or suggestions




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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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What is the issue with this selection?

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Hard to understand - unclear or translation is wrong




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Missing info - relevant but not comprehensive

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    Age-restricted content
    Sometimes content doesn't violate our policies, but it may not be appropriate for
    viewers under 18. In these cases, we may place an age-restriction on the video. This
    policy applies to videos, video descriptions, custom thumbnails, live streams, and any
    other YouTube product or feature.

    Learn more about age-restriction
    Below is more detail about the types of content we consider for age-restriction. If your
    content contains one or more of these themes, we may age-restrict. We’ve given
    examples of content that may be age-restricted below. Click through the policy sections
    for examples illustrating these themes. Keep in mind this isn’t a complete list.

    Child safety

   A video containing adults participating in dangerous activities that minors could easily
    imitate, such as handling explosives or challenges that cause bodily injury
   A video meant for adult audiences but could easily be confused with family content

    Harmful or dangerous activities, including regulated substances and drugs

   A video about fake harmful pranks that seems so real that viewers can't tell the
    difference
   A video promoting a cannabis dispensary

    Nudity and sexually suggestive content

   A video that invites sexual activity, such as provocative dancing or fondling




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   A video where the subject is in a pose that is intended to sexually arouse the viewer
   A video where the subject is in clothing that is considered unacceptable in public
    contexts, such as lingerie

    Violent or graphic content

   A video with context showing survivor's injuries in a major road accident
   A video focused on violent or gory imagery, such as focusing solely on the most
    graphically violent part of a film or video game

    Vulgar language

   A video with heavy profanity in the title, thumbnail or associated metadata
   A video focused on the use of profanities such as a compilation or clips taken out of
    context

    What happens if content is age-restricted?
    Age-restricted videos are not viewable to users who are under 18 years of age or signed
    out. Also, age-restricted videos cannot be watched on most third-party websites.
    Viewers who click an age-restricted video on another website, such as an embedded
    player, will be redirected to YouTube or YouTube Music. Once there, they can only view
    the content when signed in and over 18. This process helps make sure that no matter
    where content is discovered, if a video is hosted by YouTube it will only be viewable by
    the appropriate audience.

    If you believe we made a mistake, you can appeal the age-restriction.

    Monetization and age-restrictions
    Check if your content is age-restricted
    You can check if your content is age-restricted by going to YouTube Studio and using
    the ‘Age-Restriction’ filter, or by looking for “Age-restriction” in the Restrictions column
    on your Videos page. Our systems are constantly being updated and if we find any
    discrepancies with your rating, there’s a chance it could change.

    Viewers who are over 18 and are signed in can tell whether a video is age restricted by
    looking below the description. Learn more about watching age-restricted videos.

    Give feedback about this article
    Choose a section to give feedback on




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   Channel or account terminations
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   Troubleshoot video takedowns
   Strikes FAQ
   Watching age-restricted videos

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Submit feedback




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Other suggestions - ideas to improve the content

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    Harmful or dangerous content policies
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.
    Note: We recently reorganized our Community Guidelines to provide further clarity our
    policies related to Misinformation on YouTube. To review these policies, check out our
    articles on Misinformation and Elections misinformation.

    YouTube doesn’t allow content that encourages dangerous or illegal activities that risk
    serious physical harm or death.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions noted below.

   Extremely dangerous challenges: Challenges that pose an imminent risk of physical
    injury.
   Dangerous or threatening pranks: Pranks that lead victims to fear imminent serious
    physical danger, or that create serious emotional distress in minors.




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   Instructions to kill or harm: Showing viewers how to perform activities meant to kill or
    maim others. For example, giving instructions to build a bomb meant to injure or kill
    others.
   Hard drug use or creation: Content that depicts abuse of or giving instructions on how
    to create hard drugs such as cocaine or opioids. Hard drugs are defined as drugs that
    can (mostly) lead to physical addiction.
   Eating Disorders: Content that praises, glorifies, or encourages viewers to imitate
    anorexia or other eating disorders. Eating disorders are characterized by abnormal or
    disturbed eating habits which negatively affect a person's health (including eating non-
    food items).
   Violent Events: Promoting or glorifying violent tragedies, such as school shootings.
   Instructional theft or cheating: Showing viewers how to steal tangible goods or
    promoting dishonest behavior.
   Hacking: Demonstrating how to use computers or information technology with the
    intent to steal credentials, compromise personal data or cause serious harm to others
    such as (but not limited to) hacking into social media accounts.
   Bypassing payment for digital content or services: Showing viewers how to use apps,
    websites, or other information technology to gain unauthorized free access to audio
    content, audiovisual content, full video games, software, or streaming services that
    normally require payment.

    Keep in mind that this isn't a complete list.

    Don’t post content showing a minor participating in dangerous activity, or encouraging
    minors to participate in dangerous activities. Never put minors in harmful situations that
    may lead to injury, including dangerous stunts, dares, or pranks. You can learn more
    about Child Safety here.

    Age-restricted content

    We may consider the following factors when deciding whether to age-restrict or remove
    content. Keep in mind that this isn't a complete list.

   Whether the act in question could lead to serious injury or death.
   Whether the individuals participating in the act are trained professionals taking
    precautions to prevent injury.
   Whether minors could easily imitate the act.
   Whether the content could be used to commit serious acts of violence.
   Whether the upload is educational, documentary, scientific or artistic in nature.
   Whether there's any commentary discouraging the act.
   Whether the viewer can tell if it's real or fake.
   Whether the content promotes a product that contains drugs, nicotine, or a controlled
    substance.

    Examples of age-restricted content



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   A video about fake harmful pranks that seems so real that viewers can't tell the
    difference.
   A reaction video to a dangerous challenge without any commentary discouraging the
    challenge.
   A video promoting a cannabis dispensary.
   A video reviewing brands of nicotine e-liquid.
   A video providing instructions for or facilitating cheating.

    We might allow videos that depict dangerous acts iIf they’re meant to be educational,
    documentary, scientific, or artistic (EDSA). For example, a news piece on the dangers of
    choking games would be appropriate, but posting clips out of context from the same
    documentary might not be.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature.

    Extremely dangerous challenges
    Dangerous or threatening pranks
    Violent events or instructions to harm
    Drug use
    Eating disorders

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.



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   Hate speech policy
   Harassment & cyberbullying policies

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   Help Center




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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Nudity & sexual content policies

The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.

Explicit content meant to be sexually gratifying is not allowed on YouTube. Posting
pornography may result in content removal or channel termination. Videos containing
fetish content will be removed or age-restricted. In most cases, violent, graphic, or
humiliating fetishes are not allowed on YouTube.

If you find content that violates this policy, report it. Instructions for reporting violations
of our Community Guidelines are available here. If you've found a few videos or
comments that you would like to report, you can report the channel.

Sexually explicit content featuring minors and content that sexually exploits minors is
not allowed on YouTube. We report content containing child sexual abuse imagery to
the National Center for Missing and Exploited Children, who work with global law
enforcement agencies.

What this policy means for you
If you're posting content




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    Don’t post content on YouTube if it has any of the items below. Explicit content
    featuring the below policy violations could result in channel termination.

   Depiction of genitals, breasts, or buttocks (clothed or unclothed) for the purpose of
    sexual gratification
   Pornography or depicting sexual acts, genitals, or fetishes for the purpose of sexual
    gratification on any surface (such as video, text, audio, images)

    Other types of content that violate this policy
    Age-restricted content

    We may age-restrict content if it includes nudity or other sexual content but doesn’t
    depict anything described above. We consider the following when deciding whether to
    age-restrict or remove content.

   Whether breasts, buttocks or genitals (clothed or unclothed) are the focal point of the
    video
   Whether the subject is depicted in a pose that is intended to sexually arouse the viewer
   Whether the language used in the video is graphic or lewd
   Whether the subject's actions in the video invite sexual activity, such as by kissing,
    provocative dancing, or fondling
   Whether the clothing would be generally unacceptable in public contexts, such as
    lingerie
   Whether sexual imagery or audio has been blurred, masked, or obscured
   Whether sexual imagery or audio is fleeting or prolonged in the content
   Whether the content invites others to participate in a challenge involving sexual acts

    Please note this is not a complete list.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Remember these are just some examples, and don't post
    content if you think it might violate this policy.

    Educational content
    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Clips extracted from non-pornographic films, shows, or other content in order to isolate
    sexual content (real world or artistic)
   Groping, pantsing, public masturbation, upskirting, voyeurism, predatory exhibitionism,
    or any other content that depicts someone in a sexualized manner without their consent




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    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    More examples
    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

    If your content contains pornography, we may terminate your channel.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our new Creator Academy course.

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   Child safety policy
   Suicide & self-injury policy
   Vulgar language policy




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o   Policy, safety, & copyright




   Community



   YouTube




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    Violent or graphic content policies

    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Violent or gory content intended to shock or disgust viewers is not allowed on YouTube.
    Also, content that encourages others to commit violent acts is not allowed.

    If you believe anyone is in imminent danger, you should get in touch with your local law
    enforcement agency to report the situation immediately.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Violent acts:

   Inciting others to commit violent acts against individuals or a defined group of people.
   Encouraging others to go to a particular place to commit violence, to perform violence
    at a particular time.




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   Targeting specific individuals or groups with violence.
   Beatings or brawls outside the context of professional or professionally supervised
    sporting events.
   Fights involving minors. You can learn more about Child safety here.
   Actual school yard fights between minors. We may allow content if minors are pretend
    fighting and that is evident to viewers.

    Graphic content:

   Footage, audio, or imagery involving any of the following:
   Road accidents
   Natural disasters
   War aftermath
   Terrorist attack aftermath
   Street fights
   Physical attacks
   Sexual assaults
   Immolation
   Torture
   Corpses
   Protests or riots
   Robberies
   Medical procedures
   Other such scenarios with the intent to shock or disgust viewers
   Footage or imagery of bodily fluids, such as blood or vomit, with the intent to shock or
    disgust viewers.
   Footage of corpses with massive injuries, such as severed limbs.

    Animal abuse or violence:

   Content that includes a human maliciously causing an animal to experience suffering
    when not for traditional or standard purposes such as hunting or food preparation.
   Content featuring animal rescue that has been staged and places the animal in harmful
    scenarios.
   Content where animals are encouraged or coerced to fight by humans.

    Dramatized or fictional footage:

   Content featuring anything listed above where the viewer is not given enough context to
    understand that the footage is dramatized or fictional.

    Note that this is not a complete list.

    Keep in mind that this policy also applies to videos, video descriptions, thumbnails,
    comments, live streams, and any other YouTube product or feature.



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    Age-restricted content

    If your content includes any of the above, but gives enough context to understand it, we
    may apply an age-restriction rather than remove it. For example, content showing
    survivors’ injuries in a road accident may be removed. But, we may age-restrict that
    same content if it’s news coverage that explains the situation and context.

    For educational content that includes violence, this context must appear in the images
    or audio of the video itself.You can learn more about the importance of context here.

    We consider the following when deciding whether to age-restrict or remove content:

   Whether violent or gory imagery is the focus of the video, such as focusing solely on the
    most graphically violent part of a film or video game
   Whether the content portrays the killing of an animal for the purposes of hunting,
    religious slaughter, or food preparation.
   Whether the title, description, tags, or other data indicate an intent to shock or disgust
    viewers.
   Whether violent imagery or audio has been blurred, masked, or obscured.
   The amount of time the violent images or audio is in the content.
   If context lets viewers know that the imagery is dramatized or fictional. For example, by
    saying so in the video, title, or description.
   If the violence is part of a religious or cultural practice and the viewer is given that
    context.
   Whether content showing humans causing an animal to suffer is uploaded in a way to
    expose that abuse.

    Note that this is not a complete list. You can learn more about age-restricted content
    here.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Encouraging others to go to a particular place to commit violence, to perform violence
    at a particular time, or to target individuals or groups with violence
   Actual schoolyard fights between minors. We may allow content if minors are only play
    fighting and that is evident to viewers.
   Beatings or brawls outside the context of professional or professionally supervised
    sporting events.




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    More examples
    Violent, graphic, or shocking content
    Animal abuse content

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our Creator Academy course.
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                                                                     Was this helpful?
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    YouTube policies
   Harmful or dangerous content policies
   Violent or graphic content policies
   Violent criminal organizations policy
   Hate speech policy
   Harassment & cyberbullying policies




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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
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27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）



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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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o   Watch videos



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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




   Community



   YouTube




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YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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    Vulgar language policy
    Some language may not be appropriate for viewers under 18. We may consider the
    following factors when deciding whether to age-restrict or remove content. Keep in
    mind that this isn't a complete list.

   Use of sexually explicit language or narratives
   Use of excessive profanity in your video
   Use of heavy profanity in your video’s title, thumbnail or associated metadata

    Examples

    Here are some examples of content which may be age-restricted:

   A video focused on the use of profanities such as a compilation or clip taken out of
    context
   A video featuring road rage or sustained rant with heavy profanities
   A video with use of heavy profanities during a physical confrontation or to describe acts
    of violence




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   Thumbnails policy
   Child safety policy
   Suicide & self-injury policy
   Vulgar language policy

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25. Tiếng Việt
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



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   YouTube




   Privacy Policy



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Irrelevant - doesn’t match the title and / or my expectations

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Other suggestions - ideas to improve the content

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    Appeal the age restriction on your video
    Our Community Guidelines describe what content is allowed and not allowed on
    YouTube. They're the rules of the road and every video must adhere to them. When
    videos violate these guidelines, we remove them. Some videos don't violate our policies,
    but may not be appropriate for viewers under 18. We age restrict these videos. When
    deciding whether to age-restrict content we consider issues such as:

   Violence
   Disturbing imagery
   Sexually suggestive content
   Nudity
   The portrayal of dangerous or illegal activities

    When a video is age restricted, a warning screen displays before the video plays. Users
    18 years of age or older can then proceed to view the material. To reduce the chances
    of viewers accidentally stumbling across these videos, they are not shown in certain
    sections of YouTube. Age restricted videos can’t be watched on most third-party
    websites. These videos will redirect viewers back to YouTube when played.

    Appealing the age restriction on your Video

    Creators can appeal an age restriction. If your video was age restricted you can appeal
    this restriction on your account Videos page. Click the “Appeals Link” next to your age
    restricted video. The YouTube team will review your request and take further action if
    appropriate. Note that you may only appeal the age restriction on your video once.

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   Help Center




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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To receive the latest updates on our Advertiser-friendly content guidelines, please check
out our Advertiser-friendly content guidelines posts in the YouTube Help Center and
subscribe here.


Advertiser-friendly content guidelines
If you’re in the YouTube Partner Program, you can share revenue from ads. This article
aims to help you understand which individual videos on your channel are suitable for
advertisers. Creators can use this article to understand both the platform’s self-
certification questionnaire as well as specific rules regarding what can run ads, what
can run limited ads and what will not run ads, and should have monetization turned off.
Our policies apply to all portions of your content (video or live stream, thumbnail, title,
description, and tags). Learn more about our best practices.

Our systems don't always get it right, but you can request human review of decisions
made by our automated systems.

Note: All content uploaded to YouTube must comply with both our Community
Guidelines and our AdSense Google Publisher Policy. If your content violates our
Community Guidelines, it may be removed from YouTube. If you see violative content,
you can report it.

What you'll find in this article
You'll find examples of content not suitable for ads, and will result in a "limited or no
ads" monetization state.

Here are all the main topics that are not advertiser-friendly:

Inappropriate language                     Firearms-related content
Violence                                   Controversial issues
Adult content                              Sensitive events



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Shocking content                            Incendiary and demeaning
Harmful or dangerous acts                   Tobacco-related content
Hateful & derogatory content                Adult themes in family content
Recreational drugs and drug-related content


Please note that context is very important. Artistic content such as music videos may
contain elements such as inappropriate language, references to soft drug usage, or non-
explicit sexual themes, and still be suitable for advertising.

Inappropriate language

Content that contains frequent uses of strong profanity or vulgarity throughout the
video may not be suitable for advertising. Occasional use of profanity (such as in music
videos) won’t necessarily result in your video being unsuitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Abbreviated, censored, or light profanity (like “hell” or “damn”) in the title,
ads for this content thumbnail, or video. Moderate profanity (like “shit” or “bitch”) used in the
                     video. Infrequent usage of strong profanity (like the "f-word”) after the
                     opening or up to twice in approx. the first 30 seconds of the video; or strong
                     profanity in a music video.

                    Definitions:

                    “Censored profanity” refers to things like bleeping or muting the word as
                    well as covering written words with black bars, symbols, or text added in
                    post-production.
                    “Abbreviated profanity” refers to an acronym like WTF (“what the f*ck”)
                    where the original term is abbreviated by using its acronyms.

You can turn on Moderate profanity in the title or thumbnail; strong profanity used frequently
ads but only      in the opening of a video (roughly the first 30 seconds); strong profanity in
brands who opt in the title or thumbnail of a music video.
will run ads
                  Titles & Thumbnails:

                    Moderate profanity even when misspelled, such as “This is bull sh1t!”.

                    Some examples of content that also fall into this category:

                    Focal usage of strong profanity throughout a video (e.g. mentioned in every
                    sentence).




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Ads guidance       Questionnaire options & details
                   Definitions:

                   “Moderate profanity” refers to words like “bitch,” “shit,” or “asshole.”
                   “Strong profanity” refers to words like “d*ck” or the “f-word."

You should turn    Extreme profanity used in the title, thumbnail or at any point throughout the
off ads for this   video, for example "c*nt," "n***er," "fa**ot," or other hateful slurs.
content
                   Titles & Thumbnails:

                   Strong or extreme profanity even when misspelled, such as “fuk!”

                   Some examples of content that also fall into this category:

                   Any usage of extreme profanity throughout a video.


Violence

Content where the focal point is on blood, violence, or injury, when presented without
other context, is not suitable for advertising. If you're showing violent content in a news,
educational, artistic, or documentary context, that additional context is important. For
example, if a video provides authoritative news reporting on a violent event in a
journalistic context, it may be eligible for monetization. Violence in the normal course of
video gameplay is generally acceptable for advertising, but montages where gratuitous
violence is the focal point is not. All games (whether realistic or non-realistic) are in
scope of this policy.

Guide to Self-Certification
Ads guidance       Questionnaire options & details
You can turn on    Graphic law enforcement in an educational context; violence that occurs as
ads for this       part of unedited video gameplay; mild violence with minimal blood; dead
content            bodies that are fully censored, blurred, prepared for burial, or shown in
                   historical events like wars, as part of an educational video.

                   Some examples of content that also fall into this category:

                   General violence

                   Dramatized content containing unrealistic non-graphic violence or fleeting
                   vivid violence.
                   In the course of larger narrative, showing a quick fleeting scene involving
                   physical harm (e.g. shot in the abs) as a part of a violent action scene.




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         Fighting violence excerpts from an action movie where injuries are mostly
         indiscernible.
         Depiction of non-graphic injury such as falling on knees where no or limited
         amount of blood is shown.
         Tumbling down a hill or running into a wall accidentally or purposely as a
         part of script or sports.
         Announcement of tragedies involving multiple casualties which doesn’t
         include vivid gruesome details.
         Reports of a recent homicide in the town without the description of physical
         state of the victims.

         Gaming

         Violence as part of standard video gameplay, where it’s mildly graphic.
         Showing graphic scenes (e.g. a gory attack where impact is clearly visible) in
         a normal course of gameplay.

         Death & tragedy

         Non-graphic depiction of dead bodies in educational context.
         Public honoring of the deceased, broadcasted with a non-graphic dead body.
         Display of fully censored or non-gruesome dead bodies in a historical context.

         Hunting

         Hunting content where there’s no depiction of graphic animal injuries or
         prolonged suffering.
         Hunting videos where the moment of kill or injury is indiscernible, and
         with no focal footage of how this dead animal is processed for trophy or food
         purposes.

         Animal violence

         Non-graphic depictions of animal violence in nature.
         Predators running after their prey where the graphic details (e.g. focus on
         bloody body parts of the prey or graphic moments of catching the prey) are
         not included; some blood may be visible fleetingly, but is not the focal subject
         of the content.

         Animal abuse

         Animals in distress during species-appropriate animal training, medical
         intervention or relocation.
         Raw footage of human-controlled animal violence (e.g., bullfighting) without
         promotion of the acts.
         Coverage or discussion of animal abuse with no footage of the abuse.




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                    A debate on animal abuse lacking details on the abusive act itself.

                    Violence in sports play

                    Violence in combat sports involving weapons (e.g. fencing) regardless of
                    protective gear worn or safety precautions warranted.
                    Non-graphic injuries in sports or graphic injuries as part of sports play where
                    blood is shown.
                    Sports conducted in a professional setting (e.g. in a fitness center) while
                    players wear proper gloves and mouthguards.
                    A fleeting display of injuries that may be graphic (e.g. a broken arm), but are
                    part of regular gameplay.
                    Minor non-graphic injuries (e.g. falling on knees) portrayed in the sports play.

                    Street fights

                    Depiction of fights in an educational context.
                    Self-defense moves that are shared as a tutorial.
                    People fighting without repeated tough physical interaction (e.g. fist fight) as
                    a fleeting subject in a larger context.

                    Law enforcement & physical altercation

                    Non-combative or non-abrasive interactions with law enforcement.
                    Fleeting raw footage of police interaction with civilians for educational
                    purposes without portrayal of explicit abusive physical altercation in
                    descriptions, audio or visual formats.
                    Normal interaction with police (i.e asking for directions or receiving a parking
                    ticket, etc.).
                    Violent, combative, or abrasive interactions with law enforcement in an
                    educational context:
                    Commentary using clips from a news report on a recent violent protest by
                    civilians (e.g. hitting or pushing civilians down against the floor).

                    Definitions:

                    “Mild violence” refers to scuffles in real-life content or fleeting violence like
                    punching.
                    “Dramatized” refers to scripted content such as movies or fictional settings
                    including animated content.

You can turn on     Fleeting graphic law enforcement without educational context; showing dead
ads but only        bodies with obvious injury and/or mutilation in educational or documentary
brands who opt in   (e.g. history learning channel) setting or display of non-gruesome dead bodies
will run ads        without educational intent; edited video gameplay with some clips that focus




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         on graphic violence; moderate violence that shows blood as part of a non-
         educational video; raw footage of armed conflict without injuries.

         Some examples of content that also fall into this category:

         General violence

         Real-life or dramatized violence that results in serious injury where the
         aftermath or impact is visible and present such as blood or gore scenes, bones
         visibly broken.
         A dramatized long-form video content with a short, ultra-graphic violent
         scene (e.g. a mass killing) or a video compilation of such graphic scenes.
         Highly vivid descriptions of tragedies (in the form of audio or video).

         Gaming

         Edited video gameplay with some clips that focus on graphic violence.
         Brutal killings or severe injuries (e.g. beheadings) with bodily fluids and parts
         shown focally in some parts of the video.

         Death & tragedy

         Dead bodies (outside of those prepared for burial) in the context of
         educational or documentary content such as war documentaries.
         A dead body without visible injuries or bodily fluid shown in news reporting.
         Graphic dead bodies (including depictions of mutilation or injuries) displayed
         for educational purposes.

         Street fights

         Street fights featured in the context of educational or documentary purposes.
         Graphic street fights including scenes featuring severe injuries, physical
         attacks, and emotional distress (e.g. yelling).
         When the focal subject is around human fights (e.g. footage of prisoners
         fighting).

         Law enforcement & physical altercation

         Fleeting violent, combative, or abrasive interactions with law enforcement in
         a non-educational or non-documentary context.
         Shocking police altercations displaying rough physical interactions (e.g.
         hitting or pushing civilians down against the floor).

         Violence in sports play




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                   Graphic sports injuries as part of a larger video with context (e.g.
                   compilations involving graphic injuries but not singularly focused on them).

                   Animal violence

                   Animal violence in nature with portrayals of graphic animal injuries.
                   When clearly visible injuries (e.g. blood or bones) are the central subject of a
                   video.

                   Animal abuse

                   Educational or documentary coverage of animal abuse with abuse footage.

                   Hunting

                   Hunting content featuring fleeting graphic imagery such as dead or injured
                   animals (e.g. bloody body parts) portrayed in the content.

                   War & conflict

                   Real, non-graphic raw footage of armed conflict (e.g. war) without
                   educational context, with no bloody scenes or explicit injuries.
                   Raw footage of violent attacks shared without a clear intent.

                   Definition:

                   Fleeting references are not the focus of content (not focal) and include passing
                   references to violence acts or descriptions. For example, briefly displaying a
                   violent act (e.g. graphic adult fighting in a movie) wouldn’t be considered
                   focal, but rather fleeting.

You should turn    Raw footage focused on violent law enforcement; graphic dead bodies in a
off ads for this   non-educational video; edited video gameplay that primarily focuses on
content            graphic violence; domestic violence.

                   Some examples of content that also fall into this category:

                   General violence

                   Focus on blood, guts, gore, bodily fluids (human or animal), crime scene or
                   accident photos with little to no context.
                   Portrayals of gratuitous violence against children, even if dramatized.

                   Gaming

                   Edited video gameplay that primarily focuses on graphic violence.



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                Focus on the display of graphic violence in dramatized settings such as “kill
                compilations” or compilations of graphic violence from video games or
                movies.

                Death & tragedy

                Dead bodies or ultra-graphic injury such as decapitations, amputee operations.

                Animal violence

                Animal violence in any context outside nature.

                Animal abuse

                Cruelty or gratuitous violence toward animals such as abuse (e.g. kicking) or
                human-controlled violence (e.g. forcing to go on a cockfighting).
                Footage of animals in distress induced by human intervention, such as the
                purposeful placement of an animal in harm’s way, in strained positions or
                other dangerous scenarios deemed stressful or unnatural.

                Law enforcement & physical altercation

                Graphic violence in the context of physical altercations, public
                demonstrations, or police brutality.

                Violence in sports play

                Sports videos where the central subject is the display of graphic injuries.

                War & conflict

                Accounts or images of shootings, explosions, executions, or bombings.
                Raw footage of war casualties with graphic depictions of injury or death.


Adult content

Content that features highly sexualized themes is not suitable for advertising, with
limited exceptions for non-graphic sexual education videos and music videos. This
includes both real and computer-generated visuals. Stating your comedic intent is not
sufficient and that content may still not be suitable for advertising.

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Ads guidance         Questionnaire options & details
You can turn on Romance or kissing; discussions of romantic relationships or sexuality
ads for this content without reference to intercourse; fully-censored nudity that is indiscernible
                     and without intent to arouse the audience; sensual dancing in a professional
                     setting without full or partial nudity; non-graphic sex education, or a music
                     video containing sexual content without nudity.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Romantic scenes that aren’t sexually gratifying such as animated, real-life, or
                    dramatized kiss or cuddling scenes.
                    Scenes involving sexual tension between characters without explicit
                    depictions of sexual acts.
                    A kissing scene in a larger narrative where the focus is the romance itself and
                    is not intended to be sexually gratifying.

                    Discussions of sex in non-sexually gratifying/comedic contexts:
                    Sex education.
                    Sexually transmitted diseases (STDs) and how they are transmitted.
                    Sexual experiences (e.g. dealing with pain after a sexual intercourse) which
                    focus exclusively on how sex works, and do not recount how to improve
                    performance.
                    Sperm donation.
                    Scientific representations of reproductive anatomy using diagrams or
                    dummies.



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         Sexual orientation and/or how sexual identity evolves amid relationships.
         Fleeting or incidental usage of sexual jokes and innuendos that does not use
         vulgar terms.
         Content which refers to fetishes in a non-sexual way (e.g. “what is your
         favorite food or food fetish?”).

         Sensual dance moves in a professional setting that are a part of artistic
         expressions.
         Dance moves that resemble sexual acts (e.g. chest heaving or hip thrusting)
         as a part of choreographic dance.
         Dances typically associated with sensuality (e.g. pole dance) performed in
         professional settings such as dance studios or street performances.

         Nudity

         Censored nudity where nudity isn’t the focus such as scenes where characters
         may be nude but no nipples, butt or genitalia are visible (e.g. they are
         pixelated/blurred).
         Blurred nudity of historical figures wearing limited clothing in educational
         contexts.
         Fully-censored genitalia that are indiscernible and shown for non-sexual
         purposes (e.g. medical procedure).
         Depictions of breastfeeding (without nipples being visible).

         Depictions of people wearing limited clothing where the presentation isn’t
         intended to be sexually gratifying such as bikinis worn at the swimming pool.
         Clothing reviews focused on the form and function of the clothing rather than
         a sustained focus on body parts underneath, such as breasts.
         Artistic expressions such as sculptures, sketches, or computer-generated
         graphics involving illustrated nudity, such as characters in classic art or
         photography of indigenous people in loincloths.
         Translucent or sheer coverings of female breasts/cleavage, buttocks or male
         torsos seen in appropriate settings such as fashion show runways, medical
         exams, or at a recreational beach.
         Visible partial nudity as part of sports such as boxing where such attire may
         be required.

         Definitions:

         Sexually gratifying: Content likely to or intended to sexually arouse the
         viewer.
         Sexual innuendo: Any use of a phrase to jokingly hint at something sexual.
         Sexually suggestive: Visual, verbal or textual material with sexual
         undertones, implying sexual intent in order to provoke sexual arousal.




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                    Graphicness: How explicitly the sexual act or nudity is portrayed in order to
                    excite the audience.

You can turn on     Discussions of intimate sexual experiences; focus on sexual body parts (even
ads but only        if covered); blurred or censored nudity with discernible body parts, even
brands who opt in   when used in an educational context or news reporting; implied sexual acts;
will run ads        sensual dancing in a professional setting with limited clothing; sex toys
                    without human contact or nudity, or realistic representations of genitalia.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Titles or thumbnails with sexualized themes (including misleading signals).
                    Descriptions of or implicit references to sexual activities (e.g.implicit
                    reference to sexual body parts using emojis or graphics).
                    Circling out or otherwise calling attention to something in a thumbnail which
                    suggests implied sexual acts.
                    Misleading title where a video promises sexual content, but it doesn't have it
                    (e.g. a cooking video with the title “watch porn”).
                    Computer-generated nudity in a medical context without the intent to gratify
                    viewers.
                    Depictions of non-arousing sexual activities in educational, documentary, or
                    dramatized content.
                    Sexual activities and their histories explained for educational purposes such
                    as with medical topics.

                    Implicit sexual act or behavior.
                    Certain signs in a video which suggest sexual activity is occurring such as
                    with shaking objects, moaning sounds, etc.

                    Depictions of sex toys, sexual devices, or other products intended to enhance
                    sexual activity even where they aren’t in use.
                    Unintentional display of a sexual device in a video that is irrelevant to sexual
                    topics (e.g. displayed in the background).
                    A medical object which resembles genitalia introduced during a discussion.

                    Scenes with sexual tension like gratifying sensual dancing, groping, or
                    making out to sexually arouse audiences.
                    Short scenes on sexual activities (including implied sex acts) as a part of a
                    larger narrative.
                    Scenes where the main focus is to showcase sexual tension.
                    Professional dance choreography which frequently features sexually
                    gratifying poses or moves (e.g. grinding) in limited clothing (e.g. sheer breast
                    coverings).




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         Discussions of intimate sexual experiences such as masturbation, orgasm,
         intercourse, tips, or other sexual acts. This may also include sexual innuendos
         or sexually explicit text or audio, such as detailed conversations about sex.
         Audio or sound compilations of sexual acts without pictures or visual scenes
         of the act (e.g. ear licking and nibbling sounds).
         Descriptions of sexual activities which intend to sexually arouse audiences.
         Mentions of sexual fetishes even when it’s not descriptive.
         Titles referencing adult content such as 18+, 21+, ‘adult only,’ ‘porn,’ etc.,
         unless it’s educational or documentary in context.
         Usage of emoticons or emojis in text representing sexual body parts or acts to
         gratify viewers.
         Crude jokes that use vulgar terms (e.g. tits, cum).
         Sex-related content, such as documentaries about the sex industry or paid
         subscription adult content platforms.
         Sexual innuendos using non-sexually gratifying objects:
         Objects resembling genitalia such as packing devices or human figurines with
         realistic genitalia.
         The use of daily objects (e.g. eggplant) or emojis intended to resemble
         genitals and sexually arouse audiences.

         Nudity

         Educational or documentary content featuring full nudity.
         History or industry overviews relating to sex or nudity, such as showcasing
         full body paintings.
         Pixelated or censored nudity where the sexual body parts are still
         recognizable.
         Scenes with naked bodies starred or blurred, but still identifiable from their
         silhouettes.
         Non-fleeting depictions of nudity (animated, real-life, or dramatized).
         Sexualized limited clothing (e.g. bikini, lingerie) worn and shown repeatedly
         as a central subject.
         Depictions of sexual body parts such as recurring or focal shots of cleavage
         or bulges intended to sexually arouse audiences.
         Compilations of visibly recognizable turgid genital outlines.
         Minimally-covered (e.g. thong) sexual body parts (e.g. breasts, cleavages,
         buttocks, etc.,) frequently appearing.
         How-to videos on breastfeeding with visible nipples.
         Sensual dancing (e.g. twerking) with minimal clothing in a professional
         setting.

         Definitions:

         “Censored nudity” refers to things like blurring, covering nudity with black
         bars or pixelation.




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                   Implied sexual act: Behavior that mimics sexual intercourse such as dry
                   humping.

You should turn    Exposed breasts or full nudity, sexual acts, discussion of fetishes, or a video
off ads for this   thumbnail with sexual content.
content
                   Some examples of content that also fall into this category:

                   Sexually gratifying content

                   Sexually explicit audio, text, or dialogue:
                   Sex-related entertainment such as porn or other sexual services.
                   Graphic sexual acts or simulations intended to gratify.
                   Depictions or discussions of fetishes (e.g. guides or walkthroughs).
                   Focus on sex scandals or the leaking of private intimate material.
                   Imitating or mimicking sexual activities (e.g. pornographic media).
                   Promotions of sexual acts in exchange for compensation.
                   Sensual dance in a non-professional setting such as at home.
                   Grinding or daggering moves calling for sexual tension.
                   Actual usage of sex toys (or other products intended to enhance sexual
                   activity).

                   Nudity

                   Mature activity such as full exposure of sexual body parts, sex acts.


Shocking content

Content that may upset, disgust or shock viewers may not be suitable for advertising.
Uncensored shocking elements won’t necessarily result in your video being unsuitable
for advertising, but context matters.

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You can turn on ads Light or moderately shocking content which is censored or shown in
for this content    context for educational, documentary, or other purposes.

                    Some examples of content that also fall into this category:

                    Body parts, liquids, waste

                    Body parts, liquids, or waste that is made for kids or presented in an
                    educational, scientific, documentary, or artistic context, and where intent
                    won’t shock.
                    Dramatized body parts, liquids, or waste where intent is to shock, mostly
                    for entertainment purposes (like a magic trick) but where legitimate context
                    must be given.

                    Medical and Cosmetic Procedures

                    Medical or cosmetic procedures that are educational, focusing on the
                    procedure itself rather than on bodily parts, liquids, or waste.
                    Body parts, liquids, or waste that are censored or fleeting in comparison to
                    the procedure itself.
                    Human and animal birth videos educating viewers without extra focus on
                    body parts, fluids, or waste.

                    Accidents and Injuries

                    Accidents where no exposed injury is visible (such as internal tissue,
                    bleeding wounds).
                    Accidents that do not cause real upset due to only mild or moderate impact
                    being visible.
                    Accidents where no real distress is visible as a result of the accident.
                    Accidents in which there’s no evident injury or long-term medical care
                    necessary.
                    Accidents and injuries that are presented in a news, documentary, or artistic
                    context (such as a film or music video).

                    Animal Preparation and Eating

                    Portrayals of meat, fish in a raw or prepared-to-eat manner including
                    cooking techniques and demonstrations for recipes (such as How to Filet a
                    Fish or BBQ’s).
                    Portrayals of animal preparation for eating by professionals focusing on the
                    trade and act of cutting animals.
                    Educational, documentary, scientific, or artistic portrayal of religious rituals
                    involving animal eating where there’s no focus on gruesome or gory
                    visuals.




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                    EDSA portrayal focusing on cultural eating and traditions and not on
                    sensationalizing the ingestion of eating animals/insects or mishandling
                    thereof.
                    Animal parts with no presentations of discernible features of a living being
                    (excluding fish and crustaceans).

                    Definitions

                    "Intent to shock" refers to the purpose of the video, which is determined by
                    what context is given as well as the focus of elements.
                    "Dramatized" refers to scripted content (like movies or music videos) or
                    fictional settings including animated content.
                    "Accidents" refers to unfortunate incidents typically resulting in damage or
                    injury, including where injury itself may not be clearly visible (such as
                    vehicle accidents).
                    "Exposed" refers to bodily parts, liquids, or waste (such as tissue or blood).
                    "Upset” refers to unsettling or surprised emotion arising as a result of a
                    visible or reasonably assumed detrimental impact or injury.
                    "Distress" refers to the visible, audible, or perceived presentation of human
                    suffering as a result of pain. In this case, it’s related to individuals involved
                    in accidents and individuals undertaking or experiencing medical or
                    cosmetic procedures (including births).
                    "Cultural eating and traditions" refers to the customs and social behavior of
                    societies in relation to food type consumption.
                    "Sensational" in relation to exposed animal parts or animal/insect eating: to
                    present in a manner intended to arouse curiosity or broad interest,
                    especially through the inclusion of exaggerated, or vivid details.
                    "Mishandling" in relation to how the animal is being prepared or eaten in a
                    brutal or savage manner.
                    "Professional context" in relation to the profession of being a butcher or
                    fishmonger and the contexts where they cut and handle dead animals.
                    "Discernible features of a living being" includes features that confirm that
                    the animal was/is a living being, including features such as nose, ears,
                    mouth.

You can turn on ads Shocking content, like graphic images of human, or animal body parts,
but only brands who which is uncensored or intended to shock.
opt in will run ads
                    Some examples of content that also fall into this category:

                    Body parts, liquids, waste

                    Focus on real body parts, liquids, or waste where intent is to shock.
                    Dramatized presentations of bodily parts, liquids, and waste focusing
                    on gruesome and gory details.




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                     Medical and Cosmetic Procedures

                     EDSA medical or cosmetic procedures focusing on exhibiting uncensored
                     bodily, parts, fluids or waste in detail, during or after the procedure.
                     Births that contain a focus on extra bodily parts, fluids, or waste or where
                     there’s strong apparent distress.

                     Accidents and Injuries

                     Accidents where there’s a strong moment of impact such that it’s likely to
                     cause upset.
                     Accidents in which injury is visible or where long-term medical care can be
                     reasonably assumed.
                     Accidents with strong apparent distress as a result of the accident’s impact.
                     Accident compilations.

                     Animal Preparation and Eating

                     Animal preparation or eating that is intended to shock.
                     Focal EDSA mishandling of unskinned or whole animals.
                     Focal discernible features of a living being (such as cooking without
                     context).
                     Sensational presentation or ingestion (such as Sensational Mukbang,
                     ASMR animal eating).

Turn off ads for this Highly shocking content that’s clearly visible or audible, or where the
content               whole purpose of the video is to shock viewers.

                     Some examples of content that also fall into this category:

                     Body parts, liquids, waste

                     Disgusting, gruesome, or gory presentations of bodily parts, fluids, or waste
                     with little to no context.
                     Dramatized shocking elements presented with little context, solely with the
                     intent to shock.

                     Medical and Cosmetic Procedures

                     Raw footage of medical or cosmetic procedures with no context or focusing
                     on exposed body parts, fluids, or waste.
                     Raw footage of birth videos exposing bodily parts, fluids, or waste or
                     distress, with little to no context.

                     Accidents and Injuries




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           Upsetting presentations of accidents and extreme injuries where exposed
           body parts are visible or where extreme injury can be reasonably assumed.
           Raw footage of extreme accidents with no context.
           Footage of children involved in accidents.
           Compilation accident videos where the sole intent is to repeatedly shock
           viewers.

           Animal Preparation and Eating

           Real animal preparation and eating where the sole intent is to shock
           viewers, where the presentation is gruesome and gory or has no context.
           Graphic depictions of skinning or slaughtering animals.
           Non-EDSA portrayals of a live animal in distress as a result of being
           prepared to be eaten.
           Non-EDSA animal eating where there’s a focus on discernible features of a
           living being.




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Harmful or dangerous acts

Content that promotes harmful or dangerous acts that result in serious physical,
emotional, or psychological injury is not suitable for advertising.

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Ads guidance         Questionnaire options & details
You can turn on Stunts or acts that are slightly dangerous, but performed in a professional and
ads for this content controlled environment where no one is seriously injured.

                   Some examples of content that also fall into this category:

                   General harmful or dangerous acts

                   Activities where risk is involved with no visible injuries such as:
                   Professional stunts or extreme sports such as wingsuit flying.
                   Footage of a person doing wheelies or ground-level parkour.
                   Motor vehicles speeding or drifting without doing dangerous tricks (e.g.
                   stand up wheelie or free hands) or causing frequent disruptions to others (e.g.
                   driving in between lanes).

                   Fail compilations

                   Fail compilation videos without a focus on graphic injuries (e.g. walking into
                   a glass door).

                   Pranks & challenges




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Ads guidance   Questionnaire options & details
               Pranks or challenges where there is perplexity, confusion, or discomfort but
               no risk or long-term harm is involved such as the ice bucket challenge.
               Discussions or reports about harmful pranks or challenges with no footage or
               audio of the moment of harm (e.g. reports on a fire challenge without the
               details of the incident).
               Educational, documentary, or news report content showcasing pranks or
               challenges that cause extreme emotional distress (e.g. physical fights, abusive
               language and insults, such as “you’re fired!” pranks).

               Medical misinformation

               Neutral content about viruses, infectious diseases, and COVID-19 without the
               intent of inciting fear (e.g. a video for kids on the difference between viruses
               and bacteria).

               Harmful misinformation

               Educational or documentary content seeking to explain how groups
               promoting harmful misinformation gain traction, rise to prominence, and/or
               spread misinformation.
               Educational or documentary content with a focus on debunking harmful
               misinformation such as Pizzagate, QAnon, StopTheSteal, etc.

               Vaping & tobacco

               Public service announcements for preventative actions.
               Dramatized content with focal depiction of usage.




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Ads guidance      Questionnaire options & details
                  Educational or documentary content showcasing industries involving
                  vaping/tobacco.

                  Alcohol

                  Presence of alcohol or adults drinking alcohol in content without promoting
                  or glorifying irresponsible drinking.

                  Definitions:

                  “Seriously injured” refers to injuries that cannot be treated without proper
                  medical care or cannot be treated at home such as broken bones, visible
                  dislocations, or significant amounts of blood.
                  Body modification may include things like tattoo, piercing, or medical
                  surgery.
                  “Dramatized” refers to scripted content such as movies or fictional settings.

You can turn on Content showing but not focusing on physical harm or distress, including acts
ads but only      done in a non-professional, non-controlled environment.
brands who opt in
will run ads      Some examples of content that also fall into this category:

                  General harmful or dangerous acts

                  Acts involving high risk activities such as skyscraper parkour or depicting
                  serious injury like skate slam aftermath.
                  Educational, documentary, or news report on:
                  Harmful or dangerous acts with graphic injury.



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Ads guidance   Questionnaire options & details
               Children involved in gambling or driving motor vehicles designed for use by
               adults.
               Motor vehicles speeding or drifting and doing dangerous tricks (e.g. stand up
               wheelie or free hands) or causing frequent disruptions to others (e.g. driving
               in between lanes).

               Fail compilations

               Focal depictions of moments with graphic injuries that do not lead to death or
               terminal conditions (e.g. video compilation of road bike crashes).

               Pranks & challenges

               Educational, documentary, or news reports on prank or challenge content
               with:
               Threats or advocacy for physical or psychological harm against oneself or
               others such as laying flat between train tracks.
               Acts that should not be imitated such as a challenge to drink bleach and may
               result in immediate and critical harm to one’s health.
               Pranks or challenges that create extreme emotional distress such as physical
               altercations, abusive language and insults. These can also include threatening
               an individual’s life status such as layoff pranks or by emotionally evoking or
               threatening someone in the context of a relationship (e.g. break up pranks
               where one person becomes emotionally volatile, or arrest pranks against
               relatives, etc.).
               Pranks involving gratuitous amounts of body fluids or graphic violence.
               Challenges that include eating non-toxic, non-edible substances such as
               ingesting a glue stick or pet food. Eating edible substances that are harmful in



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Ads guidance       Questionnaire options & details
                   large volumes such as the Carolina Reaper pepper, or ones that depict a mild
                   physical reaction.

                   Vaping & tobacco

                   Product reviews of or comparison between tobacco products (e.g. vaping
                   juice comparison).
                   Educational or documentary mention of addiction services.

                   Alcohol

                   Educational, documentary, or dramatized content featuring minors
                   consuming alcohol or alcohol-focused products.

                   Definitions:

                   “Mild physical reaction” refers to things like dry heaving, vomit-inducing
                   cough.

You should turn    Focus on accidents, pranks, or stunts that have health risks, like drinking or
off ads for this   eating non-edibles; or discussions of trending videos that show this type of
content            content.

                   Some examples of content that also fall into this category:

                   General harmful or dangerous acts

                   Glorification of harmful or dangerous acts or acts perceived to be dangerous.



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Ads guidance   Questionnaire options & details
               Motor vehicles with shocking scenes and injuries (e.g. of the moment of
               impact or showing someone in an unconscious state on a road after getting hit
               by a truck).
               Children involved in gambling or driving motor vehicles designed for use by
               adults.

               Fail compilations

               Fail compilations that include activities resulting in death or grievous damage
               (irreversible or puts the person into coma, seizure, paralysis, etc.).

               Pranks & challenges

               Pranks or challenges that should not be imitated such as a challenge to drink
               chlorine and may result in immediate and critical harm to one’s health.
               Pranks or challenges relating to:
               Suicide, death, terrorism such as fake bomb scare pranks, or threats with
               lethal weapons.
               Sexually unwanted acts such as forced kissing, groping, sexual abuse, spy
               cams in dress room.
               Physical harm or distress but where such distress is not the focus of the video.
               Prolonged emotional distress of a minor such as a prank that lasts for an
               extended period of time leading to a child being scared or upset. This could
               include pranking children into believing their parents are dead.
               Threats or advocating for physical or psychological harm against oneself or
               others such as laying flat between train tracks.




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Ads guidance   Questionnaire options & details
               COVID-19, that promote dangerous activities such as purposeful exposure to
               the virus or which incite panic (e.g. an anti-quarantine movement or
               pretending to have been tested positive while in a public space).
               Promoting the use of weapons to inflict harm on others.
               Showing the consumption of substances in such quantities that it results in a
               graphically shocking physical reaction such as vomiting after eating a ghost
               pepper.
               Challenges which, if replicated, could result in serious harm such as fire
               challenge or bird box challenge.
               Encouragement of fraudulent or illicit activities (e.g. breaking and entering).

               Medical misinformation

               Promoting or advocating for harmful health or medical claims or practices:
               Videos that advocate for or provide instructions on non-scientifically proven
               medical info such as how to heal cancer at home.
               Untrue statements about the cause, origin or spread of COVID-19.
               Spreading myths against what is accepted as normal and regular medical
               protocol such as anti-vaccination.
               Denying that certain medical conditions exist such as HIV, COVID-19.
               Content which discourages taking a COVID-19 vaccine that includes false or
               misleading claims about the effects or distribution of the vaccine
               Examples: content claiming the vaccine will cause infertility, contain a
               microchip, or be used to euthanize parts of a population.
               Content which promotes, condones, or otherwise advocates for gay
               conversion therapy programs or services.




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Ads guidance      Questionnaire options & details
                  Harmful misinformation

                  Promoting harmful misinformation (e.g. Pizzagate, QAnon, StopTheSteal).
                  Advocating for groups which promote harmful misinformation.

                  Vaping & tobacco

                  Promoting tobacco and tobacco-related products and their consumption.
                  Footage of minors consuming vaping/tobacco products.
                  Facilitating the sale of vaping/tobacco products.
                  Usage of vaping/tobacco products in a manner not intended by the
                  manufacturer (e.g. drinking vape juice).

                  Alcohol

                  Portrayal of minors consuming alcohol, even if it’s not the central subject of
                  the video.
                  Promoting alcohol consumption to minors.


Hateful & derogatory content

Content that incites hatred against, promotes discrimination, disparages, or humiliates
an individual or group of people is not suitable for advertising. Content that is satire or
comedy may be exempt. Stating your comedic intent is not sufficient and that content
may still not be suitable for advertising.




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Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Content referencing protected groups or criticizing an individual's opinions or
ads for this content actions in a non-hurtful manner.

                   Some examples of content that also fall into this category:

                   News content which describes a protected group or reports in a non-hateful
                   way on discrimination such a group may face such as a news report on
                   homophobia.
                   Comedic content that condemns or alludes to ridicule, humiliation, or other
                   disparaging comments towards protected groups.
                   Public debates on protected groups without inciting hatred and violent
                   confrontation against them.
                   Artistic content that uses sensitive terminology in a non-hateful way such as
                   popular music videos.
                   Educational or documentary content:
                   Censored racial slurs or derogatory terms with the intent to educate the
                   audience (e.g. n***er).
                   Containing focal hate imagery.
                   Criticizing an individual’s or group’s opinion, views, actions without any
                   incendiary or demeaning intent.

                   Definitions:

                   Protected group is defined based on the characteristics below. Inciting hatred
                   against, promoting discrimination, disparaging, or humiliating an individual
                   or group of people based on below characteristics are not advertiser friendly
                   practices:

                   Race
                   Ethnicity or ethnic origin
                   Nationality
                   Religion
                   Disability
                   Age
                   Veteran status
                   Sexual orientation
                   Gender identity
                   Any other characteristic associated with systemic discrimination or
                   marginalization.

You can turn on Content that may be offensive to individuals or groups, but is used for
ads but only      education, news, or in a documentary.
brands who opt in
will run ads



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Ads guidance       Questionnaire options & details
                   Some examples of content that also fall into this category:

                   Political discourse or debate that may include offensive language but is
                   intended to educate such as a political debate on trans rights.
                   Educational content:
                   Uncensored racial slurs or derogatory terms with the intent to educate the
                   audience (e.g. uncensored or fully spelled out usage of the n-word).
                   Containing raw footage of someone conducting the following acts without
                   explicitly promoting or glorifying the acts:
                   Focuses on shaming or insulting an individual or group.
                   Singles out someone for abuse or harassment.
                   Denies tragic events happened and are cover-ups.
                   Malicious personal attacks and defamation.

You should turn    Hate or harassment towards individuals or groups.
off ads for this
content            Some examples of content that also fall into this category:

                   Statements intended to disparage a protected group or imply/state its
                   inferiority such as “all people from this country are disgusting”.
                   Promoting, glorifying, or condoning violence against others.
                   Promoting hate groups or hate group paraphernalia.
                   Content that shames or insults an individual or group.
                   Content that singles out an individual or group for abuse or harassment.
                   Denies tragic events happened, frames victims/survivors as crisis actors.
                   Malicious personal attacks, slander, and defamation.


Recreational drugs and drug-related content

Content that promotes or features the sale, use, or abuse of illegal drugs, regulated legal
drugs or substances, or other dangerous products is not suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Education, music, statements, or humorous references about drugs or drug
ads for this content paraphernalia that do not glorify them; drugs in a music video.

                   Some examples of content that also fall into this category:

                   Discussing drugs or drug paraphernalia within the context of science, such as
                   the scientific effects of drug use.
                   Discussing drugs where the intent is not to promote or glorify drug usage,
                   such as a personal story about the opioid crisis.




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Ads guidance       Questionnaire options & details
                   Focus on drug busts or the drug trade within the context of news content but
                   with no visible consumption or distribution.
                   Music videos with fleeting depiction of drugs.
                   Focus on the purchase, fabrication, or distribution of drugs, such as the
                   fabrication of home-made opioids, news reports about cannabis farms.

You can turn on Content focusing on the display or effects of drug consumption; or the
ads but only      creation or distribution of drugs or drug paraphernalia in a comedic, non-
brands who opt in educational, or non-documentary context.
will run ads
                  Some examples of content that also fall into this category:

                   Dramatized content showing the consumption of recreational drugs.
                   Music videos with focal depiction of drugs.
                   Consumption of drugs in a news report without their glorification or
                   promotion.

You should turn    Content showing or discussing abuse, buying, making, selling, or finding of
off ads for this   drugs or drug paraphernalia in a graphic and detailed way.
content
                   Some examples of content that also fall into this category:

                   Promotion or glorification of recreational drugs.
                   Tips or recommendations on drug use.
                   Focus on the recreational drug industry such as cannabis coffee shops, head
                   shops, or cannabis farming.
                   Providing how-to guides on usage (including consumption and effects),
                   purchase, fabrication, and/or distribution of drugs such as how to find a
                   dealer or best places to get high.


Firearms-related content

Content focused on the sale, assembly, abuse, or misuse of real or fake firearms is not
suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Hunting-related content or guns shown in a safe environment like a shooting
ads for this content range.

                   Some examples of content that also fall into this category:

                   Footage of shooting in the course of a hunting trip in an unpopulated location
                   such as a forest.



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Ads guidance       Questionnaire options & details
                   Discussions on gun legislation or the issue of gun-control.

                   Definitions:

                   A “safe environment” refers to locations like shooting ranges or enclosed
                   areas that are purpose built for target practice.

You can turn on Use of guns outside a controlled environment; display of homemade, 3D-
ads but only      printed, or previously modified guns; use of airsoft or ball bullet (BB) guns
brands who opt in against others without protective gear.
will run ads
                  Some examples of content that also fall into this category:

                   Showing guns being used in unprepared or uncontrolled environments (e.g.
                   on a public street outside a home, inside a building that’s not a shooting
                   range).

You should turn    Content that shows gun creation or modification (including assembly or
off ads for this   disassembly), promotes gun makers or sellers, or facilitates the sale of a gun,
content            minors using guns without adult supervision.

                   Some examples of content that also fall into this category:

                   Guides as to how to add bump stocks to a firearm.
                   Recommendations of top gun manufacturers or firms from which to purchase
                   firearms (e.g. “15 best gun shops”).
                   Referring users directly to a site facilitating gun sales.
                   Promotions of the sale of a firearm or component, including but not limited
                   to:
                   Sale of a firearm-related part or component that is essential to, or enhances
                   the functionality of a firearm including:
                   80% finished gun-parts
                   Ammunition
                   Ammunition clips
                   Silencers
                   Ammunition belts
                   Stocks
                   Conversion kits
                   Gun-grips
                   Scopes
                   Sights
                   Videos which promote content for gun stores.
                   Videos which promote manufacturers or discount codes for gun stores.




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Ads guidance        Questionnaire options & details
                    Videos containing firearm-making instructions (e.g. replicable gun
                    assembly/disassembly or steps on gun modifications), guides, or software, or
                    equipment for 3D printing of guns or gun parts.


Controversial issues

‘Controversial issues' refers to topics that may be unsettling for our users and are often
the result of human tragedy. This policy applies even if the content is purely
commentary or contains no graphic imagery.



Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Content discussing preventing controversial issues. Content where the
ads for this content controversial issues are mentioned fleetingly in a video and are neither
                     graphic nor descriptive.

                    Title & Thumbnail:

                    References to controversial issues that are non-graphic (e.g. text or image of
                    a razor).

                    Some examples of content that also fall into this category:

                    Objective coverage from a news source (can be the main topic and
                    descriptive, but cannot contain graphic depictions).
                    Content that covers historical or legislative facts related to abortion.
                    Content for minors that raises awareness on eating disorders.
                    Content that covers topics such as domestic abuse, self-harm, or sexual
                    harassment as a main topic without detailed descriptions or graphic
                    depictions (e.g. a research piece on sexual abuse survivors and their lives, but
                    the details on the brutality are not included).

                    Definitions:

                    Fleeting references are not the focus of content (not focal) and include
                    passing references to topics listed as controversial or sensitive. For example,
                    briefly acknowledging a controversial or sensitive topic (e.g. “In next week’s
                    video we’ll be discussing declining rates of suicide.”) wouldn’t be considered
                    focal, but rather fleeting.




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Ads guidance        Questionnaire options & details
You can turn on     Content about controversial issues that are not visually disturbing yet may
ads but only        contain descriptive language. Content that is dramatized/artistic, educational,
brands who opt in   documentary, or containing scientific presentations of these issues.
will run ads
                    Title & thumbnail:

                    Graphic depictions of controversial issues in the thumbnail (including both
                    real and dramatized/artistic depictions).

                    Some examples of content that also fall into this category:

                    Content that covers topics such as child or sexual abuse as a main topic
                    without detailed descriptions or graphic depictions.
                    Personal accounts or opinion pieces related to abortion as a main topic
                    without graphic depiction.
                    Dramatized or artistic depictions of controversial issues that are not highly
                    graphic (e.g. someone jumping off of a bridge in a movie, but the dead
                    graphic body isn’t being shown).

You should turn     Content which focuses on graphic depictions or detailed descriptions of
off ads for this    controversial issues. Content is either graphic or highly descriptive with
content             controversial issues being the central topic of the content.

                    Some examples of content that also fall into this category:

                    First person account with shocking details on topics (e.g. a biography or
                    detailed interview on survivors and their pasts), such as:
                    Child abuse
                    Pedophilia
                    Sexual abuse
                    Sexual harassment
                    Self-harm
                    Suicide
                    Eating disorder
                    Domestic abuse
                    Promotion or glorification of controversial issues in the content, title, or
                    thumbnail (e.g. “how to kill yourself and die honorably”).
                    Graphic depiction of self-harm where scars, blood, or injury are visible.
                    Explicit audio of the act taking place.

                    Definitions:

                    Focus or focal means that a segment or full video is about a given topic.
                    It also means that there is a sustained discussion. A passing reference to one
                    of the topics listed as controversial or sensitive is not a reason for No Ads.




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Ads guidance        Questionnaire options & details
                    For example, briefly acknowledging a controversial or sensitive topic (e.g.
                    “In next week’s video we’ll be discussing declining rates of suicide.”)
                    wouldn’t be considered focal, but a segment of a video specifically talking
                    about such a topic would be considered focal. Focus need not be verbal. If
                    there is an image or text that focuses on the sensitive issue, that would be
                    considered focus too.


Sensitive events

A sensitive event is usually an unforeseen event in which there has been a loss of life,
typically as a result of a pre-planned malicious attack by foreign terrorist organizations
(FTO) or drug trade organizations (DTO). Sensitive events can cause a mournful
response from the public or, at times, an extreme or visceral reaction. An event must be
relatively recent if it’s going to be considered a sensitive event. Context is important: for
instance, authoritative news reporting or documentary videos about a historic event
may be eligible for monetization.

This policy applies even if the content is purely commentary or contains no graphic
imagery.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Fleeting mention of sensitive events; academic/documentary content on
ads for this content historic acts of terror prior to 9/11; educational content on terrorism or
                     terrorist groups absent of graphic imagery or footage of actual terrorist
                     attacks.

                    Some examples of content that also fall into this category:

                    Fleeting references to terrorist acts, armed conflict, or tragic events that result
                    in the loss of human lives.
                    Foreign terrorist organizations (FTO):
                    Educational, documentary or dramatized content on these groups as a general
                    subject without footage of terrorist attacks.
                    Comedic videos with fleeting references to FTOs or terrorism.
                    Drug trade organizations (DTO), such as drug cartels:
                    Educational or documentary videos focusing on the international drug trade
                    as a whole (and not a specific DTO).
                    Dramatized content (e.g. movies) portraying FTO/DTOs or their members.
                    Comedic content covering DTOs or the international drug trade as a subject.

                    Definitions:




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Ads guidance       Questionnaire options & details
                   Fleeting references are not the focus of content (not focal) and include are the
                   opposite of focus. A passing reference to one of the topics listed as
                   controversial or sensitive falls under this definition. For example, briefly
                   acknowledging a controversial or sensitive topic (e.g. “In next week’s video
                   we’ll be discussing declining cases of terrorist attacks.”) wouldn’t be
                   considered focal, but rather fleeting.

You can turn on Educational or documentary content or public service announcements on
ads but only      drug trade organizations (DTO).
brands who opt in
will run ads      Some examples of content that also fall into this category:

                   Drug trade organizations (DTO), such as drug cartels:
                   Education or documentary content focused primarily on specific DTOs or
                   DTO leaders.
                   May include non-graphic situations of attacks or and their aftermath, hostage
                   situations, etc.
                   Public service announcements on the related groups.

You should turn    Discussions of terrorist attacks; events resulting in the catastrophic loss of
off ads for this   human life; non-educational discussions of foreign terrorist organizations or
content            drug trade organizations; content on these groups featuring graphic imagery
                   in any context, or including the names of these organizations in the title of the
                   video.

                   Some examples of content that also fall into this category:

                   Focus on sensitive events such as:
                   Atrocious acts or tragic events that result in the loss of human lives, such as
                   mass shootings conducted by foreign terrorist groups or drug trade
                   organizations.
                   Armed conflict (raw footage)
                   Terrorist acts (e.g. 9/11)
                   Footage or images from the scene/aftermath of a sensitive event.
                   Foreign terrorist organizations (FTOs):
                   Non-educational or non-documentary videos focusing on FTOs or the subject
                   of terrorism, such as:
                   Discussions of a recent terrorist attack.
                   Relevant imagery or names of the group/leader anywhere in the content (e.g.
                   in the thumbnail).
                   Content featuring shocking, graphic, and/or violent imagery, or scenes of
                   incitement to or glorification of violence.
                   Content made by or in support of terrorist groups.
                   Content that celebrates or denies terrorist attacks.
                   Drug trade organizations (DTO), such as drug cartels:




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Ads guidance       Questionnaire options & details
                   Non-educational or non-documentary videos primarily focused on DTOs or
                   the international drug trade.
                   Non-educational or non-documentary depictions of DTO-related imagery
                   such as flags, slogans, banners, etc.
                   Recruitment of group members.
                   Glorification or promotion of the group (e.g. artistic expression, including
                   music, implying justification for the violent acts).

                   Definitions:

                   An event must be relatively recent if it’s going to be considered a sensitive
                   event, such as the New Zealand Mosque Shooting.
                   Focus or focal means that a segment or full video is about a given topic.
                   It also means that there is a sustained discussion. A passing reference to one
                   of the topics listed as controversial or sensitive is not a reason for No Ads.
                   For example, briefly acknowledging a controversial or sensitive topic (e.g.
                   “In next week’s video we’ll be discussing declining rates of suicide.”)
                   wouldn’t be considered focal, but a segment of a video specifically talking
                   about such a topic would be considered focal. Focus need not be verbal. If
                   there is an image or text that focuses on the sensitive issue, that would be
                   considered focus too.


Incendiary and demeaning

Content that is gratuitously incendiary, inflammatory, or demeaning may not be suitable
for advertising. This policy falls under Hateful & derogatory in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                   The link ed
                                                            image cannot
                                                                                The link ed
                                                                                image cannot
                                                            be displayed.       be display ed.
                                                            The file may        The file may




Category                               Limited or no ads
                                                            hav e been          have been
                                                            moved,              mov ed,
                                                            renamed, or         renamed, or
                                                            deleted. Verify …   deleted. Verify …




Content that is incendiary and         Content that focuses on shaming or insulting an individual
demeaning                              or group

Content that harasses, intimidates, or Content that singles out someone for abuse or harassment
bullies an individual or group of      Content that suggests a tragic event did not happen, or
individuals                            that victims or their families are actors, or complicit in a
                                       cover-up of the event
                                       Malicious personal attacks, slander, and defamation


Tobacco-related content




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Content that promotes tobacco and tobacco-related products is not suitable for
advertising. This policy falls under Harmful or dangerous acts in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                The link ed
                                                         image cannot
                                                                             The link ed
                                                                             image cannot
                                                         be displayed.       be display ed.
                                                         The file may        The file may




Category                             Limited or no ads   hav e been
                                                         moved,
                                                         renamed, or
                                                         deleted. Verify …
                                                                             have been
                                                                             mov ed,
                                                                             renamed, or
                                                                             deleted. Verify …




Promoting tobacco                    Cigarettes, cigars, chewing tobacco

Promoting tobacco-related products   Tobacco pipes, rolling papers, vape pens

Promoting products designed to       Herbal cigarettes, e-cigarettes, vaping
simulate tobacco smoking

Adult themes in family content

Content that appears to be appropriate for a general audience but contains adult
themes is not suitable for advertising. This guideline applies even if content is done for
comedic or satirical purposes. This policy falls under Adult content in the self-
certification questionnaire in YouTube Studio, so be sure to check that one as well for
detailed guidance.

Examples (non-exhaustive)                                The link ed
                                                         image cannot
                                                                             The link ed
                                                                             image cannot
                                                         be displayed.       be display ed.
                                                         The file may        The file may




Category                             Limited or no ads   hav e been
                                                         moved,
                                                         renamed, or
                                                         deleted. Verify …
                                                                             have been
                                                                             mov ed,
                                                                             renamed, or
                                                                             deleted. Verify …




Adult themes in family content       Content that is made to appear appropriate for a general
                                     audience, but contains adult themes, including:

                                     Sex
                                     Violence
                                     Vulgarity
                                     Other depictions of children or popular children’s
                                     characters, that are unsuitable for a general audience.




All videos uploaded to YouTube must comply with YouTube’s Terms of Service and
Community Guidelines. To be able to monetize with ads, you’ll need to follow the
YouTube monetization policies and Google AdSense Program policies.

We may reserve the right to disable ads on your entire channel in situations where the
majority of your content is not suitable for any advertisers or where there are repeated,
serious violations (e.g. uploading of content which is incendiary, demeaning or hateful).



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    Creator Academy

    Learn what advertiser-friendly content looks like with the Creator Academy.

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              English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių




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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
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    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


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Advertiser-friendly content guidelines
If you’re in the YouTube Partner Program, you can share revenue from ads. This article
aims to help you understand which individual videos on your channel are suitable for
advertisers. Creators can use this article to understand both the platform’s self-
certification questionnaire as well as specific rules regarding what can run ads, what
can run limited ads and what will not run ads, and should have monetization turned off.
Our policies apply to all portions of your content (video or live stream, thumbnail, title,
description, and tags). Learn more about our best practices.

Our systems don't always get it right, but you can request human review of decisions
made by our automated systems.

Note: All content uploaded to YouTube must comply with both our Community
Guidelines and our AdSense Google Publisher Policy. If your content violates our
Community Guidelines, it may be removed from YouTube. If you see violative content,
you can report it.

What you'll find in this article
You'll find examples of content not suitable for ads, and will result in a "limited or no
ads" monetization state.

Here are all the main topics that are not advertiser-friendly:

Inappropriate language                     Firearms-related content
Violence                                   Controversial issues
Adult content                              Sensitive events



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Shocking content                            Incendiary and demeaning
Harmful or dangerous acts                   Tobacco-related content
Hateful & derogatory content                Adult themes in family content
Recreational drugs and drug-related content


Please note that context is very important. Artistic content such as music videos may
contain elements such as inappropriate language, references to soft drug usage, or non-
explicit sexual themes, and still be suitable for advertising.

Inappropriate language

Content that contains frequent uses of strong profanity or vulgarity throughout the
video may not be suitable for advertising. Occasional use of profanity (such as in music
videos) won’t necessarily result in your video being unsuitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Abbreviated, censored, or light profanity (like “hell” or “damn”) in the title,
ads for this content thumbnail, or video. Moderate profanity (like “shit” or “bitch”) used in the
                     video. Infrequent usage of strong profanity (like the "f-word”) after the
                     opening or up to twice in approx. the first 30 seconds of the video; or strong
                     profanity in a music video.

                    Definitions:

                    “Censored profanity” refers to things like bleeping or muting the word as
                    well as covering written words with black bars, symbols, or text added in
                    post-production.
                    “Abbreviated profanity” refers to an acronym like WTF (“what the f*ck”)
                    where the original term is abbreviated by using its acronyms.

You can turn on Moderate profanity in the title or thumbnail; strong profanity used frequently
ads but only      in the opening of a video (roughly the first 30 seconds); strong profanity in
brands who opt in the title or thumbnail of a music video.
will run ads
                  Titles & Thumbnails:

                    Moderate profanity even when misspelled, such as “This is bull sh1t!”.

                    Some examples of content that also fall into this category:

                    Focal usage of strong profanity throughout a video (e.g. mentioned in every
                    sentence).




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Ads guidance       Questionnaire options & details
                   Definitions:

                   “Moderate profanity” refers to words like “bitch,” “shit,” or “asshole.”
                   “Strong profanity” refers to words like “d*ck” or the “f-word."

You should turn    Extreme profanity used in the title, thumbnail or at any point throughout the
off ads for this   video, for example "c*nt," "n***er," "fa**ot," or other hateful slurs.
content
                   Titles & Thumbnails:

                   Strong or extreme profanity even when misspelled, such as “fuk!”

                   Some examples of content that also fall into this category:

                   Any usage of extreme profanity throughout a video.


Violence

Content where the focal point is on blood, violence, or injury, when presented without
other context, is not suitable for advertising. If you're showing violent content in a news,
educational, artistic, or documentary context, that additional context is important. For
example, if a video provides authoritative news reporting on a violent event in a
journalistic context, it may be eligible for monetization. Violence in the normal course of
video gameplay is generally acceptable for advertising, but montages where gratuitous
violence is the focal point is not. All games (whether realistic or non-realistic) are in
scope of this policy.

Guide to Self-Certification
Ads guidance       Questionnaire options & details
You can turn on    Graphic law enforcement in an educational context; violence that occurs as
ads for this       part of unedited video gameplay; mild violence with minimal blood; dead
content            bodies that are fully censored, blurred, prepared for burial, or shown in
                   historical events like wars, as part of an educational video.

                   Some examples of content that also fall into this category:

                   General violence

                   Dramatized content containing unrealistic non-graphic violence or fleeting
                   vivid violence.
                   In the course of larger narrative, showing a quick fleeting scene involving
                   physical harm (e.g. shot in the abs) as a part of a violent action scene.




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         Fighting violence excerpts from an action movie where injuries are mostly
         indiscernible.
         Depiction of non-graphic injury such as falling on knees where no or limited
         amount of blood is shown.
         Tumbling down a hill or running into a wall accidentally or purposely as a
         part of script or sports.
         Announcement of tragedies involving multiple casualties which doesn’t
         include vivid gruesome details.
         Reports of a recent homicide in the town without the description of physical
         state of the victims.

         Gaming

         Violence as part of standard video gameplay, where it’s mildly graphic.
         Showing graphic scenes (e.g. a gory attack where impact is clearly visible) in
         a normal course of gameplay.

         Death & tragedy

         Non-graphic depiction of dead bodies in educational context.
         Public honoring of the deceased, broadcasted with a non-graphic dead body.
         Display of fully censored or non-gruesome dead bodies in a historical context.

         Hunting

         Hunting content where there’s no depiction of graphic animal injuries or
         prolonged suffering.
         Hunting videos where the moment of kill or injury is indiscernible, and
         with no focal footage of how this dead animal is processed for trophy or food
         purposes.

         Animal violence

         Non-graphic depictions of animal violence in nature.
         Predators running after their prey where the graphic details (e.g. focus on
         bloody body parts of the prey or graphic moments of catching the prey) are
         not included; some blood may be visible fleetingly, but is not the focal subject
         of the content.

         Animal abuse

         Animals in distress during species-appropriate animal training, medical
         intervention or relocation.
         Raw footage of human-controlled animal violence (e.g., bullfighting) without
         promotion of the acts.
         Coverage or discussion of animal abuse with no footage of the abuse.




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                    A debate on animal abuse lacking details on the abusive act itself.

                    Violence in sports play

                    Violence in combat sports involving weapons (e.g. fencing) regardless of
                    protective gear worn or safety precautions warranted.
                    Non-graphic injuries in sports or graphic injuries as part of sports play where
                    blood is shown.
                    Sports conducted in a professional setting (e.g. in a fitness center) while
                    players wear proper gloves and mouthguards.
                    A fleeting display of injuries that may be graphic (e.g. a broken arm), but are
                    part of regular gameplay.
                    Minor non-graphic injuries (e.g. falling on knees) portrayed in the sports play.

                    Street fights

                    Depiction of fights in an educational context.
                    Self-defense moves that are shared as a tutorial.
                    People fighting without repeated tough physical interaction (e.g. fist fight) as
                    a fleeting subject in a larger context.

                    Law enforcement & physical altercation

                    Non-combative or non-abrasive interactions with law enforcement.
                    Fleeting raw footage of police interaction with civilians for educational
                    purposes without portrayal of explicit abusive physical altercation in
                    descriptions, audio or visual formats.
                    Normal interaction with police (i.e asking for directions or receiving a parking
                    ticket, etc.).
                    Violent, combative, or abrasive interactions with law enforcement in an
                    educational context:
                    Commentary using clips from a news report on a recent violent protest by
                    civilians (e.g. hitting or pushing civilians down against the floor).

                    Definitions:

                    “Mild violence” refers to scuffles in real-life content or fleeting violence like
                    punching.
                    “Dramatized” refers to scripted content such as movies or fictional settings
                    including animated content.

You can turn on     Fleeting graphic law enforcement without educational context; showing dead
ads but only        bodies with obvious injury and/or mutilation in educational or documentary
brands who opt in   (e.g. history learning channel) setting or display of non-gruesome dead bodies
will run ads        without educational intent; edited video gameplay with some clips that focus




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         on graphic violence; moderate violence that shows blood as part of a non-
         educational video; raw footage of armed conflict without injuries.

         Some examples of content that also fall into this category:

         General violence

         Real-life or dramatized violence that results in serious injury where the
         aftermath or impact is visible and present such as blood or gore scenes, bones
         visibly broken.
         A dramatized long-form video content with a short, ultra-graphic violent
         scene (e.g. a mass killing) or a video compilation of such graphic scenes.
         Highly vivid descriptions of tragedies (in the form of audio or video).

         Gaming

         Edited video gameplay with some clips that focus on graphic violence.
         Brutal killings or severe injuries (e.g. beheadings) with bodily fluids and parts
         shown focally in some parts of the video.

         Death & tragedy

         Dead bodies (outside of those prepared for burial) in the context of
         educational or documentary content such as war documentaries.
         A dead body without visible injuries or bodily fluid shown in news reporting.
         Graphic dead bodies (including depictions of mutilation or injuries) displayed
         for educational purposes.

         Street fights

         Street fights featured in the context of educational or documentary purposes.
         Graphic street fights including scenes featuring severe injuries, physical
         attacks, and emotional distress (e.g. yelling).
         When the focal subject is around human fights (e.g. footage of prisoners
         fighting).

         Law enforcement & physical altercation

         Fleeting violent, combative, or abrasive interactions with law enforcement in
         a non-educational or non-documentary context.
         Shocking police altercations displaying rough physical interactions (e.g.
         hitting or pushing civilians down against the floor).

         Violence in sports play




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                   Graphic sports injuries as part of a larger video with context (e.g.
                   compilations involving graphic injuries but not singularly focused on them).

                   Animal violence

                   Animal violence in nature with portrayals of graphic animal injuries.
                   When clearly visible injuries (e.g. blood or bones) are the central subject of a
                   video.

                   Animal abuse

                   Educational or documentary coverage of animal abuse with abuse footage.

                   Hunting

                   Hunting content featuring fleeting graphic imagery such as dead or injured
                   animals (e.g. bloody body parts) portrayed in the content.

                   War & conflict

                   Real, non-graphic raw footage of armed conflict (e.g. war) without
                   educational context, with no bloody scenes or explicit injuries.
                   Raw footage of violent attacks shared without a clear intent.

                   Definition:

                   Fleeting references are not the focus of content (not focal) and include passing
                   references to violence acts or descriptions. For example, briefly displaying a
                   violent act (e.g. graphic adult fighting in a movie) wouldn’t be considered
                   focal, but rather fleeting.

You should turn    Raw footage focused on violent law enforcement; graphic dead bodies in a
off ads for this   non-educational video; edited video gameplay that primarily focuses on
content            graphic violence; domestic violence.

                   Some examples of content that also fall into this category:

                   General violence

                   Focus on blood, guts, gore, bodily fluids (human or animal), crime scene or
                   accident photos with little to no context.
                   Portrayals of gratuitous violence against children, even if dramatized.

                   Gaming

                   Edited video gameplay that primarily focuses on graphic violence.



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                Focus on the display of graphic violence in dramatized settings such as “kill
                compilations” or compilations of graphic violence from video games or
                movies.

                Death & tragedy

                Dead bodies or ultra-graphic injury such as decapitations, amputee operations.

                Animal violence

                Animal violence in any context outside nature.

                Animal abuse

                Cruelty or gratuitous violence toward animals such as abuse (e.g. kicking) or
                human-controlled violence (e.g. forcing to go on a cockfighting).
                Footage of animals in distress induced by human intervention, such as the
                purposeful placement of an animal in harm’s way, in strained positions or
                other dangerous scenarios deemed stressful or unnatural.

                Law enforcement & physical altercation

                Graphic violence in the context of physical altercations, public
                demonstrations, or police brutality.

                Violence in sports play

                Sports videos where the central subject is the display of graphic injuries.

                War & conflict

                Accounts or images of shootings, explosions, executions, or bombings.
                Raw footage of war casualties with graphic depictions of injury or death.


Adult content

Content that features highly sexualized themes is not suitable for advertising, with
limited exceptions for non-graphic sexual education videos and music videos. This
includes both real and computer-generated visuals. Stating your comedic intent is not
sufficient and that content may still not be suitable for advertising.

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You can turn on Romance or kissing; discussions of romantic relationships or sexuality
ads for this content without reference to intercourse; fully-censored nudity that is indiscernible
                     and without intent to arouse the audience; sensual dancing in a professional
                     setting without full or partial nudity; non-graphic sex education, or a music
                     video containing sexual content without nudity.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Romantic scenes that aren’t sexually gratifying such as animated, real-life, or
                    dramatized kiss or cuddling scenes.
                    Scenes involving sexual tension between characters without explicit
                    depictions of sexual acts.
                    A kissing scene in a larger narrative where the focus is the romance itself and
                    is not intended to be sexually gratifying.

                    Discussions of sex in non-sexually gratifying/comedic contexts:
                    Sex education.
                    Sexually transmitted diseases (STDs) and how they are transmitted.
                    Sexual experiences (e.g. dealing with pain after a sexual intercourse) which
                    focus exclusively on how sex works, and do not recount how to improve
                    performance.
                    Sperm donation.
                    Scientific representations of reproductive anatomy using diagrams or
                    dummies.
                    Sexual orientation and/or how sexual identity evolves amid relationships.
                    Fleeting or incidental usage of sexual jokes and innuendos that does not use
                    vulgar terms.
                    Content which refers to fetishes in a non-sexual way (e.g. “what is your
                    favorite food or food fetish?”).

                    Sensual dance moves in a professional setting that are a part of artistic
                    expressions.
                    Dance moves that resemble sexual acts (e.g. chest heaving or hip thrusting)
                    as a part of choreographic dance.
                    Dances typically associated with sensuality (e.g. pole dance) performed in
                    professional settings such as dance studios or street performances.

                    Nudity

                    Censored nudity where nudity isn’t the focus such as scenes where characters
                    may be nude but no nipples, butt or genitalia are visible (e.g. they are
                    pixelated/blurred).
                    Blurred nudity of historical figures wearing limited clothing in educational
                    contexts.




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                    Fully-censored genitalia that are indiscernible and shown for non-sexual
                    purposes (e.g. medical procedure).
                    Depictions of breastfeeding (without nipples being visible).

                    Depictions of people wearing limited clothing where the presentation isn’t
                    intended to be sexually gratifying such as bikinis worn at the swimming pool.
                    Clothing reviews focused on the form and function of the clothing rather than
                    a sustained focus on body parts underneath, such as breasts.
                    Artistic expressions such as sculptures, sketches, or computer-generated
                    graphics involving illustrated nudity, such as characters in classic art or
                    photography of indigenous people in loincloths.
                    Translucent or sheer coverings of female breasts/cleavage, buttocks or male
                    torsos seen in appropriate settings such as fashion show runways, medical
                    exams, or at a recreational beach.
                    Visible partial nudity as part of sports such as boxing where such attire may
                    be required.

                    Definitions:

                    Sexually gratifying: Content likely to or intended to sexually arouse the
                    viewer.
                    Sexual innuendo: Any use of a phrase to jokingly hint at something sexual.
                    Sexually suggestive: Visual, verbal or textual material with sexual
                    undertones, implying sexual intent in order to provoke sexual arousal.
                    Graphicness: How explicitly the sexual act or nudity is portrayed in order to
                    excite the audience.

You can turn on     Discussions of intimate sexual experiences; focus on sexual body parts (even
ads but only        if covered); blurred or censored nudity with discernible body parts, even
brands who opt in   when used in an educational context or news reporting; implied sexual acts;
will run ads        sensual dancing in a professional setting with limited clothing; sex toys
                    without human contact or nudity, or realistic representations of genitalia.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Titles or thumbnails with sexualized themes (including misleading signals).
                    Descriptions of or implicit references to sexual activities (e.g.implicit
                    reference to sexual body parts using emojis or graphics).
                    Circling out or otherwise calling attention to something in a thumbnail which
                    suggests implied sexual acts.
                    Misleading title where a video promises sexual content, but it doesn't have it
                    (e.g. a cooking video with the title “watch porn”).
                    Computer-generated nudity in a medical context without the intent to gratify
                    viewers.




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         Depictions of non-arousing sexual activities in educational, documentary, or
         dramatized content.
         Sexual activities and their histories explained for educational purposes such
         as with medical topics.

         Implicit sexual act or behavior.
         Certain signs in a video which suggest sexual activity is occurring such as
         with shaking objects, moaning sounds, etc.

         Depictions of sex toys, sexual devices, or other products intended to enhance
         sexual activity even where they aren’t in use.
         Unintentional display of a sexual device in a video that is irrelevant to sexual
         topics (e.g. displayed in the background).
         A medical object which resembles genitalia introduced during a discussion.

         Scenes with sexual tension like gratifying sensual dancing, groping, or
         making out to sexually arouse audiences.
         Short scenes on sexual activities (including implied sex acts) as a part of a
         larger narrative.
         Scenes where the main focus is to showcase sexual tension.
         Professional dance choreography which frequently features sexually
         gratifying poses or moves (e.g. grinding) in limited clothing (e.g. sheer breast
         coverings).

         Discussions of intimate sexual experiences such as masturbation, orgasm,
         intercourse, tips, or other sexual acts. This may also include sexual innuendos
         or sexually explicit text or audio, such as detailed conversations about sex.
         Audio or sound compilations of sexual acts without pictures or visual scenes
         of the act (e.g. ear licking and nibbling sounds).
         Descriptions of sexual activities which intend to sexually arouse audiences.
         Mentions of sexual fetishes even when it’s not descriptive.
         Titles referencing adult content such as 18+, 21+, ‘adult only,’ ‘porn,’ etc.,
         unless it’s educational or documentary in context.
         Usage of emoticons or emojis in text representing sexual body parts or acts to
         gratify viewers.
         Crude jokes that use vulgar terms (e.g. tits, cum).
         Sex-related content, such as documentaries about the sex industry or paid
         subscription adult content platforms.
         Sexual innuendos using non-sexually gratifying objects:
         Objects resembling genitalia such as packing devices or human figurines with
         realistic genitalia.
         The use of daily objects (e.g. eggplant) or emojis intended to resemble
         genitals and sexually arouse audiences.

         Nudity




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                   Educational or documentary content featuring full nudity.
                   History or industry overviews relating to sex or nudity, such as showcasing
                   full body paintings.
                   Pixelated or censored nudity where the sexual body parts are still
                   recognizable.
                   Scenes with naked bodies starred or blurred, but still identifiable from their
                   silhouettes.
                   Non-fleeting depictions of nudity (animated, real-life, or dramatized).
                   Sexualized limited clothing (e.g. bikini, lingerie) worn and shown repeatedly
                   as a central subject.
                   Depictions of sexual body parts such as recurring or focal shots of cleavage
                   or bulges intended to sexually arouse audiences.
                   Compilations of visibly recognizable turgid genital outlines.
                   Minimally-covered (e.g. thong) sexual body parts (e.g. breasts, cleavages,
                   buttocks, etc.,) frequently appearing.
                   How-to videos on breastfeeding with visible nipples.
                   Sensual dancing (e.g. twerking) with minimal clothing in a professional
                   setting.

                   Definitions:

                   “Censored nudity” refers to things like blurring, covering nudity with black
                   bars or pixelation.
                   Implied sexual act: Behavior that mimics sexual intercourse such as dry
                   humping.

You should turn    Exposed breasts or full nudity, sexual acts, discussion of fetishes, or a video
off ads for this   thumbnail with sexual content.
content
                   Some examples of content that also fall into this category:

                   Sexually gratifying content

                   Sexually explicit audio, text, or dialogue:
                   Sex-related entertainment such as porn or other sexual services.
                   Graphic sexual acts or simulations intended to gratify.
                   Depictions or discussions of fetishes (e.g. guides or walkthroughs).
                   Focus on sex scandals or the leaking of private intimate material.
                   Imitating or mimicking sexual activities (e.g. pornographic media).
                   Promotions of sexual acts in exchange for compensation.
                   Sensual dance in a non-professional setting such as at home.
                   Grinding or daggering moves calling for sexual tension.
                   Actual usage of sex toys (or other products intended to enhance sexual
                   activity).




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                  Nudity

                  Mature activity such as full exposure of sexual body parts, sex acts.


Shocking content

Content that may upset, disgust or shock viewers may not be suitable for advertising.
Uncensored shocking elements won’t necessarily result in your video being unsuitable
for advertising, but context matters.

Guide to Self-Certification
Ads guidance        Questionnaire options & details
You can turn on ads Light or moderately shocking content which is censored or shown in
for this content    context for educational, documentary, or other purposes.

                    Some examples of content that also fall into this category:

                    Body parts, liquids, waste

                    Body parts, liquids, or waste that is made for kids or presented in an
                    educational, scientific, documentary, or artistic context, and where intent
                    won’t shock.
                    Dramatized body parts, liquids, or waste where intent is to shock, mostly
                    for entertainment purposes (like a magic trick) but where legitimate context
                    must be given.

                    Medical and Cosmetic Procedures

                    Medical or cosmetic procedures that are educational, focusing on the
                    procedure itself rather than on bodily parts, liquids, or waste.
                    Body parts, liquids, or waste that are censored or fleeting in comparison to
                    the procedure itself.
                    Human and animal birth videos educating viewers without extra focus on
                    body parts, fluids, or waste.

                    Accidents and Injuries

                    Accidents where no exposed injury is visible (such as internal tissue,
                    bleeding wounds).
                    Accidents that do not cause real upset due to only mild or moderate impact
                    being visible.
                    Accidents where no real distress is visible as a result of the accident.
                    Accidents in which there’s no evident injury or long-term medical care
                    necessary.




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                 Accidents and injuries that are presented in a news, documentary, or artistic
                 context (such as a film or music video).

                 Animal Preparation and Eating

                 Portrayals of meat, fish in a raw or prepared-to-eat manner including
                 cooking techniques and demonstrations for recipes (such as How to Filet a
                 Fish or BBQ’s).
                 Portrayals of animal preparation for eating by professionals focusing on the
                 trade and act of cutting animals.
                 Educational, documentary, scientific, or artistic portrayal of religious rituals
                 involving animal eating where there’s no focus on gruesome or gory
                 visuals.
                 EDSA portrayal focusing on cultural eating and traditions and not on
                 sensationalizing the ingestion of eating animals/insects or mishandling
                 thereof.
                 Animal parts with no presentations of discernible features of a living being
                 (excluding fish and crustaceans).

                 Definitions

                 "Intent to shock" refers to the purpose of the video, which is determined by
                 what context is given as well as the focus of elements.
                 "Dramatized" refers to scripted content (like movies or music videos) or
                 fictional settings including animated content.
                 "Accidents" refers to unfortunate incidents typically resulting in damage or
                 injury, including where injury itself may not be clearly visible (such as
                 vehicle accidents).
                 "Exposed" refers to bodily parts, liquids, or waste (such as tissue or blood).
                 "Upset” refers to unsettling or surprised emotion arising as a result of a
                 visible or reasonably assumed detrimental impact or injury.
                 "Distress" refers to the visible, audible, or perceived presentation of human
                 suffering as a result of pain. In this case, it’s related to individuals involved
                 in accidents and individuals undertaking or experiencing medical or
                 cosmetic procedures (including births).
                 "Cultural eating and traditions" refers to the customs and social behavior of
                 societies in relation to food type consumption.
                 "Sensational" in relation to exposed animal parts or animal/insect eating: to
                 present in a manner intended to arouse curiosity or broad interest,
                 especially through the inclusion of exaggerated, or vivid details.
                 "Mishandling" in relation to how the animal is being prepared or eaten in a
                 brutal or savage manner.
                 "Professional context" in relation to the profession of being a butcher or
                 fishmonger and the contexts where they cut and handle dead animals.




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Ads guidance         Questionnaire options & details
                     "Discernible features of a living being" includes features that confirm that
                     the animal was/is a living being, including features such as nose, ears,
                     mouth.

You can turn on ads Shocking content, like graphic images of human, or animal body parts,
but only brands who which is uncensored or intended to shock.
opt in will run ads
                    Some examples of content that also fall into this category:

                     Body parts, liquids, waste

                     Focus on real body parts, liquids, or waste where intent is to shock.
                     Dramatized presentations of bodily parts, liquids, and waste focusing
                     on gruesome and gory details.

                     Medical and Cosmetic Procedures

                     EDSA medical or cosmetic procedures focusing on exhibiting uncensored
                     bodily, parts, fluids or waste in detail, during or after the procedure.
                     Births that contain a focus on extra bodily parts, fluids, or waste or where
                     there’s strong apparent distress.

                     Accidents and Injuries

                     Accidents where there’s a strong moment of impact such that it’s likely to
                     cause upset.
                     Accidents in which injury is visible or where long-term medical care can be
                     reasonably assumed.
                     Accidents with strong apparent distress as a result of the accident’s impact.
                     Accident compilations.

                     Animal Preparation and Eating

                     Animal preparation or eating that is intended to shock.
                     Focal EDSA mishandling of unskinned or whole animals.
                     Focal discernible features of a living being (such as cooking without
                     context).
                     Sensational presentation or ingestion (such as Sensational Mukbang,
                     ASMR animal eating).

Turn off ads for this Highly shocking content that’s clearly visible or audible, or where the
content               whole purpose of the video is to shock viewers.

                     Some examples of content that also fall into this category:




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Ads guidance        Questionnaire options & details
                    Body parts, liquids, waste

                    Disgusting, gruesome, or gory presentations of bodily parts, fluids, or waste
                    with little to no context.
                    Dramatized shocking elements presented with little context, solely with the
                    intent to shock.

                    Medical and Cosmetic Procedures

                    Raw footage of medical or cosmetic procedures with no context or focusing
                    on exposed body parts, fluids, or waste.
                    Raw footage of birth videos exposing bodily parts, fluids, or waste or
                    distress, with little to no context.

                    Accidents and Injuries

                    Upsetting presentations of accidents and extreme injuries where exposed
                    body parts are visible or where extreme injury can be reasonably assumed.
                    Raw footage of extreme accidents with no context.
                    Footage of children involved in accidents.
                    Compilation accident videos where the sole intent is to repeatedly shock
                    viewers.

                    Animal Preparation and Eating

                    Real animal preparation and eating where the sole intent is to shock
                    viewers, where the presentation is gruesome and gory or has no context.
                    Graphic depictions of skinning or slaughtering animals.
                    Non-EDSA portrayals of a live animal in distress as a result of being
                    prepared to be eaten.
                    Non-EDSA animal eating where there’s a focus on discernible features of a
                    living being.


Harmful or dangerous acts

Content that promotes harmful or dangerous acts that result in serious physical,
emotional, or psychological injury is not suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Stunts or acts that are slightly dangerous, but performed in a professional and
ads for this content controlled environment where no one is seriously injured.




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Ads guidance   Questionnaire options & details
               Some examples of content that also fall into this category:

               General harmful or dangerous acts

               Activities where risk is involved with no visible injuries such as:
               Professional stunts or extreme sports such as wingsuit flying.
               Footage of a person doing wheelies or ground-level parkour.
               Motor vehicles speeding or drifting without doing dangerous tricks (e.g.
               stand up wheelie or free hands) or causing frequent disruptions to others (e.g.
               driving in between lanes).

               Fail compilations

               Fail compilation videos without a focus on graphic injuries (e.g. walking into
               a glass door).

               Pranks & challenges

               Pranks or challenges where there is perplexity, confusion, or discomfort but
               no risk or long-term harm is involved such as the ice bucket challenge.
               Discussions or reports about harmful pranks or challenges with no footage or
               audio of the moment of harm (e.g. reports on a fire challenge without the
               details of the incident).
               Educational, documentary, or news report content showcasing pranks or
               challenges that cause extreme emotional distress (e.g. physical fights, abusive
               language and insults, such as “you’re fired!” pranks).

               Medical misinformation

               Neutral content about viruses, infectious diseases, and COVID-19 without the
               intent of inciting fear (e.g. a video for kids on the difference between viruses
               and bacteria).

               Harmful misinformation

               Educational or documentary content seeking to explain how groups
               promoting harmful misinformation gain traction, rise to prominence, and/or
               spread misinformation.
               Educational or documentary content with a focus on debunking harmful
               misinformation such as Pizzagate, QAnon, StopTheSteal, etc.

               Vaping & tobacco

               Public service announcements for preventative actions.
               Dramatized content with focal depiction of usage.




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Ads guidance      Questionnaire options & details
                  Educational or documentary content showcasing industries involving
                  vaping/tobacco.

                  Alcohol

                  Presence of alcohol or adults drinking alcohol in content without promoting
                  or glorifying irresponsible drinking.

                  Definitions:

                  “Seriously injured” refers to injuries that cannot be treated without proper
                  medical care or cannot be treated at home such as broken bones, visible
                  dislocations, or significant amounts of blood.
                  Body modification may include things like tattoo, piercing, or medical
                  surgery.
                  “Dramatized” refers to scripted content such as movies or fictional settings.

You can turn on Content showing but not focusing on physical harm or distress, including acts
ads but only      done in a non-professional, non-controlled environment.
brands who opt in
will run ads      Some examples of content that also fall into this category:

                  General harmful or dangerous acts

                  Acts involving high risk activities such as skyscraper parkour or depicting
                  serious injury like skate slam aftermath.
                  Educational, documentary, or news report on:
                  Harmful or dangerous acts with graphic injury.
                  Children involved in gambling or driving motor vehicles designed for use by
                  adults.
                  Motor vehicles speeding or drifting and doing dangerous tricks (e.g. stand up
                  wheelie or free hands) or causing frequent disruptions to others (e.g. driving
                  in between lanes).

                  Fail compilations

                  Focal depictions of moments with graphic injuries that do not lead to death or
                  terminal conditions (e.g. video compilation of road bike crashes).

                  Pranks & challenges

                  Educational, documentary, or news reports on prank or challenge content
                  with:
                  Threats or advocacy for physical or psychological harm against oneself or
                  others such as laying flat between train tracks.




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Ads guidance       Questionnaire options & details
                   Acts that should not be imitated such as a challenge to drink bleach and may
                   result in immediate and critical harm to one’s health.
                   Pranks or challenges that create extreme emotional distress such as physical
                   altercations, abusive language and insults. These can also include threatening
                   an individual’s life status such as layoff pranks or by emotionally evoking or
                   threatening someone in the context of a relationship (e.g. break up pranks
                   where one person becomes emotionally volatile, or arrest pranks against
                   relatives, etc.).
                   Pranks involving gratuitous amounts of body fluids or graphic violence.
                   Challenges that include eating non-toxic, non-edible substances such as
                   ingesting a glue stick or pet food. Eating edible substances that are harmful in
                   large volumes such as the Carolina Reaper pepper, or ones that depict a mild
                   physical reaction.

                   Vaping & tobacco

                   Product reviews of or comparison between tobacco products (e.g. vaping
                   juice comparison).
                   Educational or documentary mention of addiction services.

                   Alcohol

                   Educational, documentary, or dramatized content featuring minors
                   consuming alcohol or alcohol-focused products.

                   Definitions:

                   “Mild physical reaction” refers to things like dry heaving, vomit-inducing
                   cough.

You should turn    Focus on accidents, pranks, or stunts that have health risks, like drinking or
off ads for this   eating non-edibles; or discussions of trending videos that show this type of
content            content.

                   Some examples of content that also fall into this category:

                   General harmful or dangerous acts

                   Glorification of harmful or dangerous acts or acts perceived to be dangerous.
                   Motor vehicles with shocking scenes and injuries (e.g. of the moment of
                   impact or showing someone in an unconscious state on a road after getting hit
                   by a truck).
                   Children involved in gambling or driving motor vehicles designed for use by
                   adults.




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Ads guidance   Questionnaire options & details
               Fail compilations

               Fail compilations that include activities resulting in death or grievous damage
               (irreversible or puts the person into coma, seizure, paralysis, etc.).

               Pranks & challenges

               Pranks or challenges that should not be imitated such as a challenge to drink
               chlorine and may result in immediate and critical harm to one’s health.
               Pranks or challenges relating to:
               Suicide, death, terrorism such as fake bomb scare pranks, or threats with
               lethal weapons.
               Sexually unwanted acts such as forced kissing, groping, sexual abuse, spy
               cams in dress room.
               Physical harm or distress but where such distress is not the focus of the video.
               Prolonged emotional distress of a minor such as a prank that lasts for an
               extended period of time leading to a child being scared or upset. This could
               include pranking children into believing their parents are dead.
               Threats or advocating for physical or psychological harm against oneself or
               others such as laying flat between train tracks.
               COVID-19, that promote dangerous activities such as purposeful exposure to
               the virus or which incite panic (e.g. an anti-quarantine movement or
               pretending to have been tested positive while in a public space).
               Promoting the use of weapons to inflict harm on others.
               Showing the consumption of substances in such quantities that it results in a
               graphically shocking physical reaction such as vomiting after eating a ghost
               pepper.
               Challenges which, if replicated, could result in serious harm such as fire
               challenge or bird box challenge.
               Encouragement of fraudulent or illicit activities (e.g. breaking and entering).

               Medical misinformation

               Promoting or advocating for harmful health or medical claims or practices:
               Videos that advocate for or provide instructions on non-scientifically proven
               medical info such as how to heal cancer at home.
               Untrue statements about the cause, origin or spread of COVID-19.
               Spreading myths against what is accepted as normal and regular medical
               protocol such as anti-vaccination.
               Denying that certain medical conditions exist such as HIV, COVID-19.
               Content which discourages taking a COVID-19 vaccine that includes false or
               misleading claims about the effects or distribution of the vaccine
               Examples: content claiming the vaccine will cause infertility, contain a
               microchip, or be used to euthanize parts of a population.




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Ads guidance       Questionnaire options & details
                   Content which promotes, condones, or otherwise advocates for gay
                   conversion therapy programs or services.

                   Harmful misinformation

                   Promoting harmful misinformation (e.g. Pizzagate, QAnon, StopTheSteal).
                   Advocating for groups which promote harmful misinformation.

                   Vaping & tobacco

                   Promoting tobacco and tobacco-related products and their consumption.
                   Footage of minors consuming vaping/tobacco products.
                   Facilitating the sale of vaping/tobacco products.
                   Usage of vaping/tobacco products in a manner not intended by the
                   manufacturer (e.g. drinking vape juice).

                   Alcohol

                   Portrayal of minors consuming alcohol, even if it’s not the central subject of
                   the video.
                   Promoting alcohol consumption to minors.


Hateful & derogatory content

Content that incites hatred against, promotes discrimination, disparages, or humiliates
an individual or group of people is not suitable for advertising. Content that is satire or
comedy may be exempt. Stating your comedic intent is not sufficient and that content
may still not be suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Content referencing protected groups or criticizing an individual's opinions or
ads for this content actions in a non-hurtful manner.

                   Some examples of content that also fall into this category:

                   News content which describes a protected group or reports in a non-hateful
                   way on discrimination such a group may face such as a news report on
                   homophobia.
                   Comedic content that condemns or alludes to ridicule, humiliation, or other
                   disparaging comments towards protected groups.
                   Public debates on protected groups without inciting hatred and violent
                   confrontation against them.




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Ads guidance      Questionnaire options & details
                  Artistic content that uses sensitive terminology in a non-hateful way such as
                  popular music videos.
                  Educational or documentary content:
                  Censored racial slurs or derogatory terms with the intent to educate the
                  audience (e.g. n***er).
                  Containing focal hate imagery.
                  Criticizing an individual’s or group’s opinion, views, actions without any
                  incendiary or demeaning intent.

                  Definitions:

                  Protected group is defined based on the characteristics below. Inciting hatred
                  against, promoting discrimination, disparaging, or humiliating an individual
                  or group of people based on below characteristics are not advertiser friendly
                  practices:

                  Race
                  Ethnicity or ethnic origin
                  Nationality
                  Religion
                  Disability
                  Age
                  Veteran status
                  Sexual orientation
                  Gender identity
                  Any other characteristic associated with systemic discrimination or
                  marginalization.

You can turn on Content that may be offensive to individuals or groups, but is used for
ads but only      education, news, or in a documentary.
brands who opt in
will run ads      Some examples of content that also fall into this category:

                  Political discourse or debate that may include offensive language but is
                  intended to educate such as a political debate on trans rights.
                  Educational content:
                  Uncensored racial slurs or derogatory terms with the intent to educate the
                  audience (e.g. uncensored or fully spelled out usage of the n-word).
                  Containing raw footage of someone conducting the following acts without
                  explicitly promoting or glorifying the acts:
                  Focuses on shaming or insulting an individual or group.
                  Singles out someone for abuse or harassment.
                  Denies tragic events happened and are cover-ups.
                  Malicious personal attacks and defamation.




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Ads guidance       Questionnaire options & details
You should turn    Hate or harassment towards individuals or groups.
off ads for this
content            Some examples of content that also fall into this category:

                   Statements intended to disparage a protected group or imply/state its
                   inferiority such as “all people from this country are disgusting”.
                   Promoting, glorifying, or condoning violence against others.
                   Promoting hate groups or hate group paraphernalia.
                   Content that shames or insults an individual or group.
                   Content that singles out an individual or group for abuse or harassment.
                   Denies tragic events happened, frames victims/survivors as crisis actors.
                   Malicious personal attacks, slander, and defamation.


Recreational drugs and drug-related content

Content that promotes or features the sale, use, or abuse of illegal drugs, regulated legal
drugs or substances, or other dangerous products is not suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Education, music, statements, or humorous references about drugs or drug
ads for this content paraphernalia that do not glorify them; drugs in a music video.

                   Some examples of content that also fall into this category:

                   Discussing drugs or drug paraphernalia within the context of science, such as
                   the scientific effects of drug use.
                   Discussing drugs where the intent is not to promote or glorify drug usage,
                   such as a personal story about the opioid crisis.
                   Focus on drug busts or the drug trade within the context of news content but
                   with no visible consumption or distribution.
                   Music videos with fleeting depiction of drugs.
                   Focus on the purchase, fabrication, or distribution of drugs, such as the
                   fabrication of home-made opioids, news reports about cannabis farms.

You can turn on Content focusing on the display or effects of drug consumption; or the
ads but only      creation or distribution of drugs or drug paraphernalia in a comedic, non-
brands who opt in educational, or non-documentary context.
will run ads
                  Some examples of content that also fall into this category:

                   Dramatized content showing the consumption of recreational drugs.
                   Music videos with focal depiction of drugs.




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Ads guidance       Questionnaire options & details
                   Consumption of drugs in a news report without their glorification or
                   promotion.

You should turn    Content showing or discussing abuse, buying, making, selling, or finding of
off ads for this   drugs or drug paraphernalia in a graphic and detailed way.
content
                   Some examples of content that also fall into this category:

                   Promotion or glorification of recreational drugs.
                   Tips or recommendations on drug use.
                   Focus on the recreational drug industry such as cannabis coffee shops, head
                   shops, or cannabis farming.
                   Providing how-to guides on usage (including consumption and effects),
                   purchase, fabrication, and/or distribution of drugs such as how to find a
                   dealer or best places to get high.


Firearms-related content

Content focused on the sale, assembly, abuse, or misuse of real or fake firearms is not
suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Hunting-related content or guns shown in a safe environment like a shooting
ads for this content range.

                   Some examples of content that also fall into this category:

                   Footage of shooting in the course of a hunting trip in an unpopulated location
                   such as a forest.
                   Discussions on gun legislation or the issue of gun-control.

                   Definitions:

                   A “safe environment” refers to locations like shooting ranges or enclosed
                   areas that are purpose built for target practice.

You can turn on Use of guns outside a controlled environment; display of homemade, 3D-
ads but only      printed, or previously modified guns; use of airsoft or ball bullet (BB) guns
brands who opt in against others without protective gear.
will run ads
                  Some examples of content that also fall into this category:




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Ads guidance       Questionnaire options & details
                   Showing guns being used in unprepared or uncontrolled environments (e.g.
                   on a public street outside a home, inside a building that’s not a shooting
                   range).

You should turn    Content that shows gun creation or modification (including assembly or
off ads for this   disassembly), promotes gun makers or sellers, or facilitates the sale of a gun,
content            minors using guns without adult supervision.

                   Some examples of content that also fall into this category:

                   Guides as to how to add bump stocks to a firearm.
                   Recommendations of top gun manufacturers or firms from which to purchase
                   firearms (e.g. “15 best gun shops”).
                   Referring users directly to a site facilitating gun sales.
                   Promotions of the sale of a firearm or component, including but not limited
                   to:
                   Sale of a firearm-related part or component that is essential to, or enhances
                   the functionality of a firearm including:
                   80% finished gun-parts
                   Ammunition
                   Ammunition clips
                   Silencers
                   Ammunition belts
                   Stocks
                   Conversion kits
                   Gun-grips
                   Scopes
                   Sights
                   Videos which promote content for gun stores.
                   Videos which promote manufacturers or discount codes for gun stores.
                   Videos containing firearm-making instructions (e.g. replicable gun
                   assembly/disassembly or steps on gun modifications), guides, or software, or
                   equipment for 3D printing of guns or gun parts.


Controversial issues

‘Controversial issues' refers to topics that may be unsettling for our users and are often
the result of human tragedy. This policy applies even if the content is purely
commentary or contains no graphic imagery.



Guide to Self-Certification



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Ads guidance         Questionnaire options & details
You can turn on Content discussing preventing controversial issues. Content where the
ads for this content controversial issues are mentioned fleetingly in a video and are neither
                     graphic nor descriptive.

                    Title & Thumbnail:

                    References to controversial issues that are non-graphic (e.g. text or image of
                    a razor).

                    Some examples of content that also fall into this category:

                    Objective coverage from a news source (can be the main topic and
                    descriptive, but cannot contain graphic depictions).
                    Content that covers historical or legislative facts related to abortion.
                    Content for minors that raises awareness on eating disorders.
                    Content that covers topics such as domestic abuse, self-harm, or sexual
                    harassment as a main topic without detailed descriptions or graphic
                    depictions (e.g. a research piece on sexual abuse survivors and their lives, but
                    the details on the brutality are not included).

                    Definitions:

                    Fleeting references are not the focus of content (not focal) and include
                    passing references to topics listed as controversial or sensitive. For example,
                    briefly acknowledging a controversial or sensitive topic (e.g. “In next week’s
                    video we’ll be discussing declining rates of suicide.”) wouldn’t be considered
                    focal, but rather fleeting.

You can turn on Content about controversial issues that are not visually disturbing yet may
ads but only      contain descriptive language. Content that is dramatized/artistic, educational,
brands who opt in documentary, or containing scientific presentations of these issues.
will run ads
                  Title & thumbnail:

                    Graphic depictions of controversial issues in the thumbnail (including both
                    real and dramatized/artistic depictions).

                    Some examples of content that also fall into this category:

                    Content that covers topics such as child or sexual abuse as a main topic
                    without detailed descriptions or graphic depictions.
                    Personal accounts or opinion pieces related to abortion as a main topic
                    without graphic depiction.




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Ads guidance       Questionnaire options & details
                   Dramatized or artistic depictions of controversial issues that are not highly
                   graphic (e.g. someone jumping off of a bridge in a movie, but the dead
                   graphic body isn’t being shown).

You should turn    Content which focuses on graphic depictions or detailed descriptions of
off ads for this   controversial issues. Content is either graphic or highly descriptive with
content            controversial issues being the central topic of the content.

                   Some examples of content that also fall into this category:

                   First person account with shocking details on topics (e.g. a biography or
                   detailed interview on survivors and their pasts), such as:
                   Child abuse
                   Pedophilia
                   Sexual abuse
                   Sexual harassment
                   Self-harm
                   Suicide
                   Eating disorder
                   Domestic abuse
                   Promotion or glorification of controversial issues in the content, title, or
                   thumbnail (e.g. “how to kill yourself and die honorably”).
                   Graphic depiction of self-harm where scars, blood, or injury are visible.
                   Explicit audio of the act taking place.

                   Definitions:

                   Focus or focal means that a segment or full video is about a given topic.
                   It also means that there is a sustained discussion. A passing reference to one
                   of the topics listed as controversial or sensitive is not a reason for No Ads.
                   For example, briefly acknowledging a controversial or sensitive topic (e.g.
                   “In next week’s video we’ll be discussing declining rates of suicide.”)
                   wouldn’t be considered focal, but a segment of a video specifically talking
                   about such a topic would be considered focal. Focus need not be verbal. If
                   there is an image or text that focuses on the sensitive issue, that would be
                   considered focus too.


Sensitive events

A sensitive event is usually an unforeseen event in which there has been a loss of life,
typically as a result of a pre-planned malicious attack by foreign terrorist organizations
(FTO) or drug trade organizations (DTO). Sensitive events can cause a mournful
response from the public or, at times, an extreme or visceral reaction. An event must be
relatively recent if it’s going to be considered a sensitive event. Context is important: for



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instance, authoritative news reporting or documentary videos about a historic event
may be eligible for monetization.

This policy applies even if the content is purely commentary or contains no graphic
imagery.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Fleeting mention of sensitive events; academic/documentary content on
ads for this content historic acts of terror prior to 9/11; educational content on terrorism or
                     terrorist groups absent of graphic imagery or footage of actual terrorist
                     attacks.

                    Some examples of content that also fall into this category:

                    Fleeting references to terrorist acts, armed conflict, or tragic events that result
                    in the loss of human lives.
                    Foreign terrorist organizations (FTO):
                    Educational, documentary or dramatized content on these groups as a general
                    subject without footage of terrorist attacks.
                    Comedic videos with fleeting references to FTOs or terrorism.
                    Drug trade organizations (DTO), such as drug cartels:
                    Educational or documentary videos focusing on the international drug trade
                    as a whole (and not a specific DTO).
                    Dramatized content (e.g. movies) portraying FTO/DTOs or their members.
                    Comedic content covering DTOs or the international drug trade as a subject.

                    Definitions:

                    Fleeting references are not the focus of content (not focal) and include are the
                    opposite of focus. A passing reference to one of the topics listed as
                    controversial or sensitive falls under this definition. For example, briefly
                    acknowledging a controversial or sensitive topic (e.g. “In next week’s video
                    we’ll be discussing declining cases of terrorist attacks.”) wouldn’t be
                    considered focal, but rather fleeting.

You can turn on Educational or documentary content or public service announcements on
ads but only      drug trade organizations (DTO).
brands who opt in
will run ads      Some examples of content that also fall into this category:

                    Drug trade organizations (DTO), such as drug cartels:
                    Education or documentary content focused primarily on specific DTOs or
                    DTO leaders.
                    May include non-graphic situations of attacks or and their aftermath, hostage
                    situations, etc.



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Ads guidance       Questionnaire options & details
                   Public service announcements on the related groups.

You should turn    Discussions of terrorist attacks; events resulting in the catastrophic loss of
off ads for this   human life; non-educational discussions of foreign terrorist organizations or
content            drug trade organizations; content on these groups featuring graphic imagery
                   in any context, or including the names of these organizations in the title of the
                   video.

                   Some examples of content that also fall into this category:

                   Focus on sensitive events such as:
                   Atrocious acts or tragic events that result in the loss of human lives, such as
                   mass shootings conducted by foreign terrorist groups or drug trade
                   organizations.
                   Armed conflict (raw footage)
                   Terrorist acts (e.g. 9/11)
                   Footage or images from the scene/aftermath of a sensitive event.
                   Foreign terrorist organizations (FTOs):
                   Non-educational or non-documentary videos focusing on FTOs or the subject
                   of terrorism, such as:
                   Discussions of a recent terrorist attack.
                   Relevant imagery or names of the group/leader anywhere in the content (e.g.
                   in the thumbnail).
                   Content featuring shocking, graphic, and/or violent imagery, or scenes of
                   incitement to or glorification of violence.
                   Content made by or in support of terrorist groups.
                   Content that celebrates or denies terrorist attacks.
                   Drug trade organizations (DTO), such as drug cartels:
                   Non-educational or non-documentary videos primarily focused on DTOs or
                   the international drug trade.
                   Non-educational or non-documentary depictions of DTO-related imagery
                   such as flags, slogans, banners, etc.
                   Recruitment of group members.
                   Glorification or promotion of the group (e.g. artistic expression, including
                   music, implying justification for the violent acts).

                   Definitions:

                   An event must be relatively recent if it’s going to be considered a sensitive
                   event, such as the New Zealand Mosque Shooting.
                   Focus or focal means that a segment or full video is about a given topic.
                   It also means that there is a sustained discussion. A passing reference to one
                   of the topics listed as controversial or sensitive is not a reason for No Ads.
                   For example, briefly acknowledging a controversial or sensitive topic (e.g.
                   “In next week’s video we’ll be discussing declining rates of suicide.”)




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Ads guidance        Questionnaire options & details
                    wouldn’t be considered focal, but a segment of a video specifically talking
                    about such a topic would be considered focal. Focus need not be verbal. If
                    there is an image or text that focuses on the sensitive issue, that would be
                    considered focus too.


Incendiary and demeaning

Content that is gratuitously incendiary, inflammatory, or demeaning may not be suitable
for advertising. This policy falls under Hateful & derogatory in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                   The link ed
                                                            image cannot
                                                                                The link ed
                                                                                image cannot
                                                            be displayed.       be display ed.
                                                            The file may        The file may




Category                               Limited or no ads    hav e been
                                                            moved,
                                                            renamed, or
                                                            deleted. Verify …
                                                                                have been
                                                                                mov ed,
                                                                                renamed, or
                                                                                deleted. Verify …




Content that is incendiary and         Content that focuses on shaming or insulting an individual
demeaning                              or group

Content that harasses, intimidates, or Content that singles out someone for abuse or harassment
bullies an individual or group of      Content that suggests a tragic event did not happen, or
individuals                            that victims or their families are actors, or complicit in a
                                       cover-up of the event
                                       Malicious personal attacks, slander, and defamation


Tobacco-related content

Content that promotes tobacco and tobacco-related products is not suitable for
advertising. This policy falls under Harmful or dangerous acts in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                   The link ed
                                                            image cannot
                                                            be displayed.
                                                                                The link ed
                                                                                image cannot
                                                                                be display ed.
                                                            The file may        The file may




Category                               Limited or no ads
                                                            hav e been          have been
                                                            moved,              mov ed,
                                                            renamed, or         renamed, or
                                                            deleted. Verify …   deleted. Verify …




Promoting tobacco                      Cigarettes, cigars, chewing tobacco

Promoting tobacco-related products     Tobacco pipes, rolling papers, vape pens

Promoting products designed to         Herbal cigarettes, e-cigarettes, vaping
simulate tobacco smoking

Adult themes in family content




                                                                                                    293
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    Content that appears to be appropriate for a general audience but contains adult
    themes is not suitable for advertising. This guideline applies even if content is done for
    comedic or satirical purposes. This policy falls under Adult content in the self-
    certification questionnaire in YouTube Studio, so be sure to check that one as well for
    detailed guidance.

    Examples (non-exhaustive)                                The link ed
                                                             image cannot
                                                                                 The link ed
                                                                                 image cannot
                                                             be displayed.       be display ed.
                                                             The file may        The file may




    Category                            Limited or no ads    hav e been
                                                             moved,
                                                             renamed, or
                                                             deleted. Verify …
                                                                                 have been
                                                                                 mov ed,
                                                                                 renamed, or
                                                                                 deleted. Verify …




    Adult themes in family content      Content that is made to appear appropriate for a general
                                        audience, but contains adult themes, including:

                                        Sex
                                        Violence
                                        Vulgarity
                                        Other depictions of children or popular children’s
                                        characters, that are unsuitable for a general audience.




    All videos uploaded to YouTube must comply with YouTube’s Terms of Service and
    Community Guidelines. To be able to monetize with ads, you’ll need to follow the
    YouTube monetization policies and Google AdSense Program policies.

    We may reserve the right to disable ads on your entire channel in situations where the
    majority of your content is not suitable for any advertisers or where there are repeated,
    serious violations (e.g. uploading of content which is incendiary, demeaning or hateful).

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    YouTube Partner Program Basics
   YouTube channel monetization policies
   Advertiser-friendly content guidelines
   Upcoming and recent ad guideline updates



                                                                                                     294
                                                                                                     489
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   Learn more about how YouTube works for you
   Updated Terms of Service FAQs
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Creator Academy

    Learn what advertiser-friendly content looks like with the Creator Academy.

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

              English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български



                                                                                                               295
                                                                                                               490
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



                                                                               296
                                                                               491
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium



                                                                                   297
                                                                                   492
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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                 298
                                                                                 493
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                           Next
    Help CenterCommunity


    Business Inquiry Emails
    You can send and receive email messages using Business Inquiry Emails to keep in
    touch with your audience. To get email messages, you’ll need to add your contact info
    to your channel.

    To email someone using the Business Inquiry Email:

1. Go to the YouTube Channel you want to email.
2. Select the About tab of their channel.
3. If a Business Inquiry Email is given, select “View Email Address.” If you don’t see a
   Business Inquiry Email, then the channel owner didn’t give one.
4. Use the email to send a message to the channel.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Comment, subscribe, & connect with creators
   Like or dislike a video
   Business Inquiry Emails
   Interact with creators on Community posts




                                                                                           299
                                                                                           494
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   Contribute translated content
   Watch YouTube Stories
   Buy Super Thanks

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   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬




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                                                                                495
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues




                                                                                   302
                                                                                   497
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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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services, per our Privacy & Terms.




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                                                                                 498
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Google Ads policies
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Welcome to the Google Advertising Policies Center




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The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.         The link ed image




                                                                                                                                                          305
                                                                                                                                                          500
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Overview of our policies
We want to support a healthy digital advertising ecosystem—one that is trustworthy and
transparent, and works for users, advertisers, and publishers. The purpose of this help
center is to help you build Google Ads campaigns that align with our advertising policies
listed below. These policies are designed not only to abide by laws but to ensure a safe
and positive experience for our users. This means that our policies prohibit some
content that we believe to be harmful to users and the overall advertising ecosystem.

We use a combination of automated and human evaluation to ensure Google Ads
comply with these policies.

Our advertising policies cover four broad areas:
       The linked image cannot be
       display ed. The file may hav e been




                                             Prohibited content: Content you can't advertise on the Google Network
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




       The linked image cannot be
       display ed. The file may hav e been




                                             Prohibited practices: Things you can't do if you want to advertise with us
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




       The linked image cannot be
       display ed. The file may hav e been




                                             Restricted content and features: Content you can advertise, but with limitations
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




       The linked image cannot be
       display ed. The file may hav e been




                                             Editorial and technical: Quality standards for your ads, websites, and apps
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




   
   
   
   

Click through the policies below for policy definitions, examples, and troubleshooting
steps.

Prohibited content
Counterfeit goods

       Google Ads prohibits the sale or promotion for sale of counterfeit goods.
       Counterfeit goods contain a trademark or logo that is identical to or
       substantially indistinguishable from the trademark of another. They mimic
       the brand features of the product in an attempt to pass themselves off as
       a genuine product of the brand owner. This policy applies to the content of
       your ad and your website or app.

Dangerous products or services




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      We want to help keep people safe both online and offline, so we don't
      allow the promotion of some products or services that cause damage,
      harm, or injury.

      Examples of dangerous content: Recreational drugs (chemical or herbal);
      psychoactive substances; equipment to facilitate drug use; weapons,
      ammunition, explosive materials and fireworks; instructions for making
      explosives or other harmful products; tobacco products

Enabling dishonest behavior

      We value honesty and fairness, so we don't allow the promotion of
      products or services that are designed to enable dishonest behavior.

      Examples of products or services that enable dishonest behavior: Hacking
      software or instructions; services designed to artificially inflate ad or
      website traffic; fake documents; academic cheating services

Inappropriate content

      We value diversity and respect for others, and we strive to avoid offending
      users, so we don’t allow ads or destinations that display shocking content
      or promote hatred, intolerance, discrimination, or violence.

      Examples of inappropriate or offensive content: bullying or intimidation of
      an individual or group, racial discrimination, hate group paraphernalia,
      graphic crime scene or accident images, cruelty to animals, murder, self-
      harm, extortion or blackmail, sale or trade of endangered species, ads
      using profane language




Prohibited practices
Abusing the ad network

      We want ads across the Google Network to be useful, varied, relevant, and
      safe for users. We don’t allow advertisers to run ads, content, or
      destinations that attempt to trick or circumvent our ad review processes.

      Examples of abuse of the ad network: promoting content that contains
      malware; "cloaking" or using other techniques to hide the true destination
      that users are directed to; "arbitrage" or promoting destinations for the
      sole or primary purpose of showing ads; promoting "bridge" or "gateway"



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      destinations that are solely designed to send users elsewhere; advertising
      with the sole or primary intent of gaining public social network
      endorsements from the user; "gaming" or manipulating settings in an
      attempt to circumvent our policy review systems

Data collection and use

      We want users to trust that information about them will be respected and
      handled with appropriate care. As such, our advertising partners should
      not misuse this information, nor collect it for unclear purposes or without
      appropriate disclosures or security measures.

      Note that additional policies apply when using personalized advertising,
      which includes remarketing and custom audiences. If you use
      personalized advertising targeting features, be sure to review the
      personalized ads data collection and use policies.

      Examples of user information that should be handled with care: full name;
      email address; mailing address; phone number; national identity, pension,
      social security, tax ID, health care, or driver's license number; birth date or
      mother's maiden name in addition to any of the above information;
      financial status; political affiliation; sexual orientation; race or ethnicity;
      religion

      Examples of irresponsible data collection & use: obtaining credit card
      information over a non-secure server, promotions that claim to know a
      user's sexual orientation or financial status, violations of our policies that
      apply to interest-based advertising and remarketing

Misrepresentation

      We want users to trust the ads on our platform, so we strive to ensure ads
      are clear and honest, and provide the information that users need to make
      informed decisions. We don’t allow ads or destinations that deceive users
      by excluding relevant product information or providing misleading
      information about products, services, or businesses.

      Examples of misrepresentation: omitting or obscuring billing details such
      as how, what, and when users will be charged; omitting or obscuring
      charges associated with financial services such as interest rates, fees,
      and penalties; failing to display tax or licence numbers, contact
      information, or physical address where relevant; making offers that aren't
      actually available; making misleading or unrealistic claims regarding
      weight loss or financial gain; collecting donations under false pretenses;




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       "phishing" or falsely purporting to be a reputable company in order to get
       users to part with valuable personal or financial information




Restricted content and features
The policies below cover content that is sometimes legally or culturally sensitive. Online
advertising can be a powerful way to reach customers, but in sensitive areas, we also
work hard to avoid showing these ads when and where they might be inappropriate.

For that reason, we allow the promotion of the content below, but on a limited basis.
These promotions may not show to every user in every location, and advertisers may
need to meet additional requirements before their ads are eligible to run. Note that not
all ad products, features, or networks are able to support this restricted content. Further
details can be found in the Policy Center.

Sexual content

       Ads should respect user preferences and comply with legal regulations, so
       we don't allow certain kinds of sexual content in ads and
       destinations. Some kinds of sexual content in ads and destinations are
       allowed only if they comply with the policies below and don't target
       minors, but they will only show in limited scenarios based on user search
       queries, user age, and local laws where the ad is being served.

       Learn about what happens if you violate our policies.

       Examples of restricted sexual content: Visible genitalia and female breasts,
       hook-up dating, sex toys, strip clubs, sexually suggestive live chat, and
       models in sexualized poses.

Alcohol

       We abide by local alcohol laws and industry standards, so we don’t allow
       certain kinds of alcohol-related advertising, both for alcohol and drinks
       that resemble alcohol. Some types of alcohol-related ads are allowed if
       they meet the policies below, don’t target minors, and target only countries
       that are explicitly allowed to show alcohol ads.

       Examples of restricted alcoholic beverages: beer, wine, sake, spirits or hard
       alcohol, Champagne, fortified wine, non-alcoholic beer, non-alcoholic wine,
       and non-alcoholic distilled spirits




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Copyrights

      We abide by local copyright laws and protect the rights of copyright
      holders, so we don’t allow ads that are unauthorized to use copyrighted
      content. If you are legally authorized to use copyrighted content, apply for
      certification to advertise. If you see unauthorized content, submit a
      copyright-related complaint.

Gambling and games

      We support responsible gambling advertising and abide by local gambling
      laws and industry standards, so we don’t allow certain kinds of gambling-
      related advertising. Gambling-related ads are allowed if they comply with
      the policies below and the advertiser has received the proper AdWords
      certification. Gambling ads must target approved countries, have a landing
      page that displays information about responsible gambling, and never
      target minors. Check local regulations for the areas you want to target.

      Examples of restricted gambling-related content: physical casinos; sites
      where users can bet on poker, bingo, roulette, or sports events; national or
      private lotteries; sports odds aggregator sites; sites offering bonus codes
      or promotional offers for gambling sites; online educational materials for
      casino-based games; sites offering "poker-for-fun" games; non-casino-
      based cash game sites

Healthcare and medicines

      We are dedicated to following advertising regulations for healthcare and
      medicine, so we expect that ads and destinations follow appropriate laws
      and industry standards. Some healthcare-related content can’t be
      advertised at all, while others can only be advertised if the advertiser is
      certified with Google and targets only approved countries. Check local
      regulations for the areas you want to target.

Political content

      We support responsible political advertising and expect all political ads
      and destinations to comply with local campaign and election laws for any
      areas they target. This policy includes legally mandated election “silence
      periods.”

      Examples of political content: promotion of political parties or candidates,
      political issue advocacy




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Financial services

      We want users to have adequate information to make informed financial
      decisions. Our policies are designed to give users information to weigh the
      costs associated with financial products and services, and to protect
      users from harmful or deceitful practices. For the purposes of this policy,
      we consider financial products and services to be those related to the
      management or investment of money and cryptocurrencies, including
      personalized advice.

      When promoting financial products and services, you must comply with
      state and local regulations for any region or country that your ads target —
      for example, include specific disclosures required by local law. Refer to
      our non-exhaustive list of country-specific requirements for more
      information but note that advertisers are expected to do their own
      research on the local regulations for any location their ads target.

Trademarks

      There are multiple factors that determine when trademarks can be used in
      ads. Along with the factors described in our Policy Center, these policies
      apply only when a trademark owner has submitted a valid complaint to
      Google.

Legal requirements

      You’re always responsible for ensuring that you comply with all applicable
      laws and regulations, in addition to Google's advertising policies, for all of
      the locations where your ads are showing.

Other restricted businesses

      We restrict certain kinds of businesses from advertising with us to prevent
      users from being exploited, even if individual businesses appear to comply
      with our other policies. Based on our own continuous reviews, and
      feedback from users, regulators, and consumer protection authorities, we
      occasionally identify products or services that are prone to abuse. If we
      feel that certain kinds of businesses pose an unreasonable risk to user
      safety or user experience, then we may limit or stop related ads from
      running.

Restricted ad formats and features




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      There are multiple factors that determine access to advanced ad formats
      and features on Google Ads. Certain ad formats are not available for all
      advertisers until they meet our specific requirements or complete the
      certification process.

Requirements for made for kids content

      Advertisers may not run personalized ads on content set as made for kids.
      See here for categories restricted for advertising on made for kids
      content.

Editorial & technical requirements
We want to deliver ads that are engaging for users without being annoying or difficult to
interact with, so we've developed editorial requirements to help keep your ads appealing
to users. We've also specified technical requirements to help users and advertisers get
the most out of the variety of ad formats we offer.

Editorial

      In order to provide a quality user experience, Google requires that all ads,
      extensions, and destinations meet high professional and editorial
      standards. We only allow ads that are clear, professional in appearance,
      and that lead users to content that is relevant, useful, and easy to interact
      with.

      Examples of promotions that don't meet these editorial and professional
      requirements:

               overly generic ads that contain vague phrases such as "Buy
                products here"
               gimmicky use of words, numbers, letters, punctuation, or
                symbols such as FREE, f-r-e-e, and F₹€€!!

Destination requirements

      We want consumers to have a good experience when they click on an ad,
      so ad destinations must offer unique value to users and be functional,
      useful, and easy to navigate.

      Examples of promotions that don't meet destination requirements:




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             a display URL that does not accurately reflect the URL of the
              landing page, such as "google.com" taking users to
              "gmail.com"
             sites or apps that are under construction, parked domains, or
              are just not working
             sites that are not viewable in commonly used browsers
             sites that have disabled the browser's back button

Technical requirements

      To help us keep ads clear and functional, advertisers must meet our
      technical requirements.

Ad format requirements

      In order to help you provide a quality user experience and deliver
      attractive, professional-looking ads, we only allow ads that comply with
      specific requirements for each ad format. Review the requirements for all
      ad formats that you're using.

      Note that we don't allow Non-family safe ads in image ads, video ads, and
      other non-text ad formats. Read more about our Adult content policy.

      Advertisers participating in beta programs of new ad formats should reach
      out to their Google Ads representatives or Google Ads customer support
      to learn about format-specific policy requirements.

      Examples of ad format requirements: character limits for the ad headline
      or body, image size requirements, file size limits, video length limits,
      aspect ratios




About our policies
Google Ads enables businesses of all sizes, from around the world, to promote a wide
variety of products, services, applications, and websites on Google and across our
network. We want to help you reach existing and potential customers and audiences.
However, to help create a safe and positive experience for users, we listen to their
feedback and concerns about the types of ads they see. We also regularly review
changes in online trends and practices, industry norms, and regulations. And finally, in
crafting our policies, we also think about our values and culture as a company, as well



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    as operational, technical, and business considerations. As a result, we have created a
    set of policies that apply to all promotions on the Google Network.

    Google requires that advertisers comply with all applicable laws and regulations and the
    Google policies described above. It's important that you familiarize yourself with and
    keep up to date on these requirements for the places where your business operates, as
    well as any other places your ads are showing. When we find content that violates these
    requirements, we may block it from appearing, and in cases of repeated or egregious
    violations, we may stop you from advertising with us.




    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support


    Tell us what you think
    Rate how helpful this page is and share your feedback with us below:
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial




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   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português




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22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process




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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Ads Help

Sign in
                                                                                                                                                          Send feedback on...

This help content & information

General Help Center experience
                                                                                                                                                                                Next


Report an ad/listing
* Required field

What type of ad/listing do you want to report? *
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Search Ad, i.e. Ad found on a Google search result page

Shopping ad or listing

Youtube Ad, i.e. Ad found on a Youtube Page

Other Ads, i.e. Ads found on the Google Display Network, Gmail, Maps etc.
What’s inappropriate about this ad/listing? *

Cyber Frauds

Hateful or abusive content

Legal issues



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Misleading content or scam

Promotes dangerous products or services

Sexual content

Violation of trademark policy

Violation of counterfeit goods policy

Other
What’s inappropriate about this ad/listing? *

Hateful or abusive content

Inaccurate information

Problematic promotion of healthcare-related product

Promotes dangerous products or services

Sexual content

Violation of trademark policy

Violation of counterfeit goods policy

Other
Trademark Specifications *

Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news




                                                                             320
                                                                             515
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False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

Misleading use of my trade name, company name or registered business name

Nudity/pornography

Other

Phishing, i.e. stealing credentials, financial details, etc

Price information that doesn’t match information on merchant's website

Product is not in stock on merchant's website

Products or services that aren't available

Shipping information that doesn't match information on merchant's website

Tobacco

Trademarks in Shopping ads and listings

Violation of printer cartridges requirements

Weapons
For counterfeit goods issues in Google search ads, please fill out our counterfeit goods
complaint form.
For trademark issues in Google search ads, please fill out our trademark complaint
form.
For trademark issues in Shopping ads and listings, please fill out our shopping
complaint form.
For counterfeit issues in Shopping ads and listings, please fill out our shopping
complaint form.
What does the ad/listing promote or include? *




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Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news

False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

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Phishing, i.e. stealing credentials, financial details, etc

Price information that doesn’t match information on merchant's website

Product is not in stock on merchant's website

Products or services that aren't available

Shipping information that doesn't match information on merchant's website

Tobacco

Trademarks in Shopping ads and listings

Violation of printer cartridges requirements



                                                                                       322
                                                                                       517
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Weapons
Tell us more about the legal issue: *

Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news

False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

Misleading use of my trade name, company name or registered business name

Nudity/pornography

Other

Phishing, i.e. stealing credentials, financial details, etc

Price information that doesn’t match information on merchant's website

Product is not in stock on merchant's website

Products or services that aren't available

Shipping information that doesn't match information on merchant's website

Tobacco




                                                                                       323
                                                                                       518
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   Trademarks in Shopping ads and listings

   Violation of printer cartridges requirements

   Weapons
   Ad’s / listing's destination website or app does not meet Google's EU User Consent
   Policy in obtaining consent from users for the collection of data for personalized ads
   and/or for the use of cookies where legally required.
   Your email *

1. Right-click on the ad’s/listing's title.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2.
3. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
4. Paste the link address.(Do not change if pre-filled)

   *




   0/2500

1. Right-click on the ad’s/listing's title or image.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                              The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)




                                                                                                                                                                                                                                                                                                                          324
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   *




   0/2500

1. Right-click anywhere in the ad/listing.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)

   *




   0/2500

1. Right-click anywhere in the ad/listing.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                              The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy link address (for chrome)
 Copy link (for internet explorer or safari)
 Copy link location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)



                                                                                                                                                                                                                                                                                                                          325
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*




0/2500
Provide additional details:




0/1000
Provide additional details: *




0/1000




Submit
Some account and system information will be sent to Google, and support calls and
chats may be recorded. We will use this information to improve support quality and
training, to help address technical issues, and to improve our products and services,
subject to our Privacy Policy and Terms of Service.
Additional info
                                                                                        OK
Your email has been sent




                                                                                        326
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    Your email has been sent to our team! Due to the preventative measures being taken for
    our support specialists in light of COVID-19, it may take longer than usual to respond to
    your support request. We apologize for any inconvenience this may cause, and we’ll
    send you a reply as soon as we can.


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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Nederlands
18. norsk
19. polski
20. português
21. português (Brasil)
22. română
23. slovenčina
24. slovenščina
25. suomi
26. svenska
27. Tiếng Việt
28. Türkçe
29. čeština
30. Ελληνικά
31. български




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32. русский
33. српски
34. українська
35. ‫עברית‬
36. ‫اﻟﻌﺮﺑﯿﺔ‬
37. िह ी
38. ไทย
39. 中文（简体）
40. 中文（繁體）
41. 中文（香港）
42. 日本語
43. 한국어
44. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center



   Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Send feedback on...
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                        Next
    Help CenterCommunity


    Protecting your identity
    We want you to feel safe when you're on YouTube, which is why we encourage you to let
    us know if videos or comments on the site violate your privacy or sense of safety.

    If someone posted your personal information or uploaded a video of you without your
    knowledge (including in private or sensitive circumstances), ask the uploader to remove
    the content. If you can’t reach an agreement with the uploader, or if you're
    uncomfortable contacting them, you can request to have the content removed based on
    our Privacy Guidelines.

    Criteria for removing content
    Our Privacy Guidelines give a detailed explanation of our privacy complaint process. It
    also explains the factors we consider when evaluating privacy claims.

    For content to be considered for removal, an individual must be uniquely identifiable and
    that individual, or their legal representative, must submit the complaint. If you want to
    use the privacy complaint process, make sure that you're uniquely identifiable within the
    content when using the privacy complaint process. When assessing if an individual is
    uniquely identifiable, we consider the following factors:

   Image or voice
   Full name
   Financial information
   Contact information
   Other personally identifiable information




                                                                                         329
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    When you report a privacy complaint, we consider public interest, newsworthiness, and
    consent as factors in our final decision.

    Tips on how to protect your privacy on YouTube:
   Think carefully before you post personal information. This includes examples such
    as the town you live in, where you go to school, and your home address.
   Protect your account data and don’t share your password with others. YouTube
    employees will never ask you for your password. Don’t be fooled if someone reaches
    out to you pretending to be from YouTube.
   Get permission first. Get permission before filming other people or posting their
    personal information.
   Visit our Privacy and Safety Settings page for a list of tools that you can use to manage
    your content and experience on the site.
   Check out best practices for keeping your Google Account secure.
   Stronger security for Google account: Keep your accounts secured through 2-Step
    Verification.

    Give feedback about this article
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                                        Was this helpful?
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                                             Submit
    Privacy resources
   Protecting your identity
   Turn Restricted Mode on or off
   Change video privacy settings
   Your Data in YouTube

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     English?

    English

1. català
2. dansk



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3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                   333
                                                                                   528
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                 529
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                        Next
    Help CenterCommunity


    Protecting your identity
    We want you to feel safe when you're on YouTube, which is why we encourage you to let
    us know if videos or comments on the site violate your privacy or sense of safety.

    If someone posted your personal information or uploaded a video of you without your
    knowledge (including in private or sensitive circumstances), ask the uploader to remove
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   Full name
   Financial information
   Contact information
   Other personally identifiable information




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   Protect your account data and don’t share your password with others. YouTube
    employees will never ask you for your password. Don’t be fooled if someone reaches
    out to you pretending to be from YouTube.
   Get permission first. Get permission before filming other people or posting their
    personal information.
   Visit our Privacy and Safety Settings page for a list of tools that you can use to manage
    your content and experience on the site.
   Check out best practices for keeping your Google Account secure.
   Stronger security for Google account: Keep your accounts secured through 2-Step
    Verification.

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                                            YesNo




                                             Submit
    Privacy resources
   Protecting your identity
   Turn Restricted Mode on or off
   Change video privacy settings
   Your Data in YouTube

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     English?

    English

1. català
2. dansk



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3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

   Send feedback on...
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                   339
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                 340
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YouTube Help

Sign in
                                      Send feedback on...

This help content & information

General Help Center experience
                                                                                       Next
Help CenterCommunity


Moment of Death Content Removal
If you've identified content showing your family member during moment of death or
critical injury, and you wish to request removal of this content, please fill in the
information below. We carefully review each request, but please note that we take
public interest and newsworthiness into account when determining if content will be
removed.

Once you've submitted your report, we'll investigate and take action as appropriate.

* Required field

Your full legal name (Aliases, usernames or initials are not accepted) *
Email address *
Your relationship to the victim: *
The URL(s) of the video(s) in question *                    Add additional
Agree to the following statement
    "I declare that the information in this form is true and correct."
           United States
Country *
United States
Submit
Some account and system information will be sent to Google, and support calls and
chats may be recorded. We will use this information to improve support quality and
training, to help address technical issues, and to improve our products and services,
subject to our Privacy Policy and Terms of Service.
Additional info
                                                                                        OK



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    Your email has been sent
    Thank you. Your claim has been received and is now awaiting review.


   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬




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34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel




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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues




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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management
Send feedback on...
This help content & information General Help Center experience




                                                                               345
                                                                               540
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    YouTube Help

    Sign in
                                      Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity


    Report inappropriate content
    We rely on YouTube community members to report, or flag content that they find
    inappropriate. Reporting content is anonymous, so other users can't tell who made the
    report.

    When something is reported, it’s not automatically taken down. Reported content is
    reviewed along the following guidelines:

   Content that violates our Community Guidelines is removed from YouTube.
   Content that may not be appropriate for younger audiences may be age-restricted.



      The Life of a Flag



    How to flag content
    Computer AndroidiPhone & iPad
    Report a video

    Report a playlist
    Report a thumbnail
    Report a link


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     Report a comment
     Report a live chat message
     Report a channel

     You can report users, inappropriate background images, or inappropriate profile avatars
     using the reporting flow located on the bottom of every channel.

1.   Sign in to YouTube.
2.   Go to the channel page you want to report.
3.   Click About.      The linked




4.   Click the Report .
                       image cannot
                       be display ed.
                       The file may
                       hav e been
                       mov ed,
                       renamed, or
                       deleted. Verify …




5.   Select the option that best suits your issue.

     Report an ad

     Report content on YouTube on TV
     You can report a video directly from the YouTube on TV app.

1. Select Report on the video player Menu.
2. A menu will appear to select the reason for reporting the video.
3. Once you select the reason, you'll see a confirmation message.

     Other reporting options
     If the reporting process does not accurately capture your issue, we have other reporting
     mechanisms for you to use.




     Privacy reporting
     Legal reporting

     Moment of death or critical injury footage
     Give feedback about this article
     Choose a section to give feedback on

                                           Was this helpful?
                                               YesNo




                                                                                          347
                                                                                          542
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                                         Submit
    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
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15. Nederlands
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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά



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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues



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Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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Other suggestions - ideas to improve the content

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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                           


                                      YouTube

                                     Data API


          Language

Select an optionLanguage

                                     Language
                                     English
                                     Bahasa Indonesia
                                     Deutsch
                                     Español
                                     Français
                                     Português – Brasil
                                     Русский
                                     中文 – 简体
                                     日本語
                                     한국어

Sign in
Add YouTube features to your application, including the ability to upload videos, create and
manage playlists, and more.
Home Guides Reference Samples Support More
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                           


                                      YouTube


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                                     Data API

                                     Home
                                     Guides
                                     Reference
                                     Samples
                                     Support

                                     Home
                                     Products
                                     YouTube
                                     Data API

Add YouTube functionality to your app
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Add YouTube functionality to your site

With the YouTube Data API, you can add a variety of YouTube features to your application. Use
the API to upload videos, manage playlists and subscriptions, update channel settings, and more.

Get started Implementation guide
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Search for content

Use the API to search for videos matching specific search terms, topics, locations, publication
dates, and much more. The APIs search.list method also supports searches for playlists and
channels.

Search for content

Other Resources
Tools

The APIs Explorer lets you test unauthorized and authorized requests. The Quota Calculator
shows how different requests impact your quota usage.
APIs Explorer Quota calculator

Code Samples




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Use our code samples to jump-start your project. Samples are available for Apps Script, Go,
Java, JavaScript, .NET, PHP, Python, and Ruby.
Java Python More
[{ "type": "thumb-down", "id": "missingTheInformationINeed", "label":"Missing the information
I need" },{ "type": "thumb-down", "id": "tooComplicatedTooManySteps", "label":"Too
complicated / too many steps" },{ "type": "thumb-down", "id": "outOfDate", "label":"Out of
date" },{ "type": "thumb-down", "id": "samplesCodeIssue", "label":"Samples / code issue" },{
"type": "thumb-down", "id": "otherDown", "label":"Other" }] [{ "type": "thumb-up", "id":
"easyToUnderstand", "label":"Easy to understand" },{ "type": "thumb-up", "id":
"solvedMyProblem", "label":"Solved my problem" },{ "type": "thumb-up", "id": "otherUp",
"label":"Other" }]
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                            Blog

       The latest news on the YouTube API blog
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                            GitHub

       Find API code samples and other YouTube open-source projects.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                            Issue Tracker

       Something wrong? Send us a bug report!
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                            Stack Overflow

       Ask a question under the youtube-api tag
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                            Videos

       Check out the YouTube Developer Relations team's YouTube channel

      Tools
                                  o            Google APIs Explorer
                                  o            YouTube Player Demo
                                  o            Configure a Subscribe Button
      Issue Tracker
                                  o            File a bug
                                  o            Request a feature
                                  o            See open issues
      Product Info



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                                         o   Terms of Service
                                         o   Branding Guidelines
                                         o   Monetization Guidelines
                                         o   APIs subject to Deprecation Policy
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                     Android
                                     Chrome
                                     Firebase
                                     Google Cloud Platform
                                     All products

                                     Terms
                                     Privacy
                                     Sign up for the Google Developers newsletter Subscribe

          Language

Select an optionLanguage

                                     Language
                                     English
                                     Bahasa Indonesia
                                     Deutsch
                                     Español
                                     Français
                                     Português – Brasil
                                     Русский
                                     中文 – 简体
                                     日本語
                                     한국어




                                                                                                           355
                                                                                                           550
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YouTube Help

Sign in
                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                         Next
Help CenterCommunity


YouTube View Abuse Appeal Form
If you've found this form, your YouTube video(s) have been removed under our Terms of
Service prohibiting bot use. If you'd like to appeal this decision, please fill out this form.

The following set of questions is designed to provide us with enough information to
effectively revisit your case.

Please treat this as a form of discovery and provide thorough responses. Err on the side
of abundance when answering these questions, the more information the better. We
cannot help you to restore your account unless we have all of your data related to this
matter.

* Required field

Email address *
Video URL: *
Email linked to your YouTube Account *
Channel name *
Web Audience *




0/1000
From what parts of the world do Users view your Content *




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                                                                                          551
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0/1000
How do users get to your content? *




0/1000
How do you promote your content? *




0/1000
Have you ever purchased traffic to your content? *

Yes

No
From whom did you purchase traffic? *




0/1000
Describe the nature of traffic *




0/1000
Amount of traffic *




0/1000
Have you ever signed up for services that give users incentives to view your content? *

Yes




                                                                                     357
                                                                                     552
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No
What service(s) did you use to incentivize traffic? *




0/1000
Do you use third party marketing organizations to promote your content? *

Yes

No
Names of the third party marketing organization(s) *




0/1000
Explain your marketing strategy *




0/1000
In what ways have you incentivized users to increase your traffic? (ie. prizes for clicking)
*




0/1000
Are there other possible user incentives to increase your traffic? *




0/1000
Would any third party have a reason to increase your content’s visibility and why? *




0/1000
What are you doing to deter potentially invalid activity in your marketing campaigns? *



                                                                                        358
                                                                                        553
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0/1000
Have you or your account ever violated YouTube’s Terms of Service? *

Yes

No
How did you or your account violate YouTube's TOS *




0/1000
Who has access to your account and in what capacity? *




0/1000
How often do you update your account? *




0/1000
Have you noticed any "invalid activity" on your account? *

Yes

No
What "invalid activity" have you noticed? *




0/1000
What have you done to stop the detected invalid activity in your account? *




                                                                              359
                                                                              554
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    0/1000
    Any other relevant information that you believe may explain invalid activity we detected
    in connection with your account that you have not already covered *




    0/1000
    Submit
    Some account and system information will be sent to Google, and support calls and
    chats may be recorded. We will use this information to improve support quality and
    training, to help address technical issues, and to improve our products and services,
    subject to our Privacy Policy and Terms of Service.
    Additional info
                                                                                           OK
    Your email has been sent
    Your email has been sent to our team! Due to the preventative measures being taken for
    our support specialists in light of COVID-19, it may take longer than usual to respond to
    your support request. We apologize for any inconvenience this may cause, and we’ll
    send you a reply as soon as we can.


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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands




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                                                                                            555
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16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   Fix a problem




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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service




                                                                               362
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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management
    Send feedback on...
    This help content & information General Help Center experience




                                                                                   363
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    Copyright strike basics
    This content is about copyright strikes. If you're looking for info about Community
    Guidelines strikes, which are different than copyright strikes, go to our Community
    Guideline strikes basics.

    If you get a copyright strike, it means that a copyright owner submitted a complete and
    valid legal takedown request for using their copyright-protected content. When we get
    this type of formal notification, we take down your video to comply with copyright law.

    A video can only have one copyright strike at a time. Keep in mind that videos can be
    removed from the site for reasons other than copyright. Also, Content ID claims don't
    result in a strike.

    Deleting a video with a strike won’t resolve your strike. Learn how to resolve a copyright
    strike below.

    What happens when you get a copyright strike

    We all make mistakes. When you get a copyright strike, it acts as a warning. The first
    time you get a copyright strike, you’ll need to go through Copyright School. Copyright
    School helps creators understand copyright and how it’s enforced at YouTube.

    Copyright strikes may affect your ability to monetize. In addition, if your active live
    stream is removed for copyright, your access to live streaming will be restricted for 7
    days.

    If you get 3 copyright strikes:

   Your account, along with any associated channels, is subject to termination.



                                                                                           364
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    All the videos uploaded to your account will be removed.
    You can't create new channels.

     Courtesy Period
     If your channel is part of the YouTube Partner Program, you're eligible for a 7 day
     courtesy period. After 3 copyright strikes, you'll have 7 additional days to act before your
     channel is disabled. During this period, your copyright strikes won’t expire and you
     can't upload new videos. Your channel will remain live and you can access it to seek a
     resolution for your strikes. If you submit a counter notification, your channel won't be
     disabled while the counter notification is unresolved. If the counter notification is
     resolved in your favor, or the claim is retracted, your channel won't be impacted.
     How to get info about your strike

1.   Sign in to YouTube Studio.
2.   From the left menu, click Content.
           The link ed




3.   Filter
           image cannot




               for Copyright claims.
           be displayed.
           The file may
           hav e been
           moved,
           renamed, or
           deleted. Verify …




4.   Hover over “Copyright claim” in the Restrictions column and click SEE DETAILS.

     Resolve a copyright strike

     There are three ways to resolve a copyright strike:

1. Wait for it to expire: Copyright strikes expire after 90 days. If it's your first strike, you'll
   need to complete Copyright School.
2. Get a retraction: You can get in touch with the person who claimed your video and ask
   them to retract their claim of copyright infringement.
3. Submit a counter notification: If you think your video was removed by mistake, or
   qualifies as fair use, you can submit a counter notification.

     Watch to learn more
     Check out the following video from the YouTube Creators channel to learn the basics of
     copyright strikes.

     Give feedback about this article
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                                                 Submit



                                                                                                 365
                                                                                                 560
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    Copyright claim basics
   What is a Content ID claim?
   Copyright strike basics
   Dispute a Content ID claim
   Submit a copyright counter notification
   Monetization during Content ID disputes
   What is a manual claim?
   Requirements for counter notifications
   The difference between copyright takedowns and Content ID claims

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
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19. português (Brasil)
20. română
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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows



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Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
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community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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    Requirements for copyright infringement
    notifications: Videos
    Tip: The easiest way to request a removal of a video you believe infringes on your
    copyright is by using our webform.

    To request the removal of non-video content, such as channel banner images, your
    request must include this required info.

    To request a copyright infringement notification for a video, you must include the
    required info listed below. Without this info, we can’t proceed with your request.

    You can submit the info below in the body of an email (not in an attachment) to
    copyright@youtube.comor via fax or postal mail.

    1. Your contact info

    YouTube and the uploader of the content you’re requesting to remove may need to get
    in touch with you about your request. In your request, include one or more of the
    following:

   Your email address
   Your physical address
   Your telephone number

    2. Description of your copyrighted work

    In your request, make sure you clearly and completely describe your copyrighted
    content that you're trying to protect.



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If you believe more than one of your copyrighted works have been infringed, the law
allows a representative list of such works to be included in your request.

3. Specific URLs of the videos in question

Your request must include specific links to the video or videos you believe infringes on
your copyright.

Include the URL or URLs of the exact video or videos in the following format:

www.youtube.com/watch?v=xxxxxxxxxxx

General info such as a channel name or channel URL is not adequate.

4. Agree to and include the following two statements:

“I have a good faith belief that the use of the material in the manner complained of is
not authorized by the copyright owner, its agent, or the law.”

"The information in this notification is accurate, and under penalty of perjury, I am the
owner, or an agent authorized to act on behalf of the owner, of an exclusive right that is
allegedly infringed.”

5. Your signature

Complete removal requests need the physical or electronic signature of the copyright
owner or an agent authorized to act on their behalf.

To meet this requirement, the copyright owner or authorized agent may enter their full
legal name as their signature at the bottom of the request. A full legal name should be a
first and last name, not a company name.

Include the info above in the body of an email (not in an attachment) to
copyright@youtube.com. You can also submit your request via fax or postal mail.
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    Copyright and rights management
   Submit a copyright takedown request
   Prevent reuploads of removed videos
   Retract a claim of copyright infringement
   Contact information in copyright takedown requests
   Requirements for copyright infringement notifications: Videos
   Requirements for copyright infringement notifications: Non-video content

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     English?

    English

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27. čeština
28. Ελληνικά



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29. български
30. русский
31. српски
32. українська
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
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o   Policy, safety, & copyright




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    settingsManage accessibility settingsTroubleshoot account issues



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                            to continue to YouTube
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Forgot email?


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Type the text you hear or see



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                Create account
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                            azərbaycan
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                            Español (Latinoamérica)
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      slovenščina
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      български
      македонски
      монгол
      Русский
      српски (ћирилица)
      Українська
      ქართული
      հայերեն
      ‫עברית‬
      ‫اردو‬
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      नेपाली
      मराठी
      िह ी
      বাংলা
      ਪੰਜਾਬੀ
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      ไทย
      ລາວ
      ြမန်မာ
      ែខរ
      한국어
      中文（香港）
      日本語
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      繁體中文
   Help
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   Terms

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                            Čeština
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                            English (United States)
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                            Français (France)
                            galego
                            Hrvatski
                            Indonesia
                            isiZulu
                            íslenska
                            Italiano
                            Kiswahili
                            latviešu
                            lietuvių
                            magyar
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     YouTube Help

     Sign in
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                                                                                                                  Next
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     What is a Content ID claim?
     If you upload a video that contains copyright-protected content, your video could get a
     Content ID claim. These claims are automatically generated when an uploaded video
     matches another video (or part of another video) in our Content ID system.

     Copyright owners can set Content ID to block uploads that match a copyrighted work
     they own the rights to. They can also allow the claimed content to remain on YouTube
     with ads. In these cases, the advertising revenue goes to the copyright owners of the
     claimed content.

     How do I know if my video has a Content ID claim?
     When a Content ID claims your video, you’ll get an email from YouTube. To find more
     details about the claims on your videos:

1.   Sign in to YouTube Studio.
2.   From the left menu, click Content.
3.   In the Restrictions column, if a video has a claim on it, it will be labeled Copyright claim.
4.   Hover over Copyright claim in the Restrictions column and click SEE DETAILS.
5.   Click the Down arrow to expand the claim details.
                                                          The link ed
                                                          image
                                                          cannot be
                                                          display ed.
                                                          The file
                                                          may hav …




6.   Under the Content found during section, click the timestamp to play the segment
     claimed by Content ID.

     You can also filter to get a list of videos that have claims on them by clicking Filter
     The linked
     image cannot
                         The link ed
                         image cannot




          Copyright claims.
     be display ed.      be displayed.
     The file may        The file may
     hav e been          have been
     mov ed,             moved,
     renamed, or         renamed, or
     deleted. Verify …   deleted. Verify …




     Am I in trouble if my video has a Content ID claim?


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    Probably not. Content ID claims usually mean we found content on your YouTube
    channel that someone else owns.

    Copyright owners are the ones who decide whether other people can reuse their
    copyrighted content. They often allow their content to be used in YouTube videos in
    exchange for having ads run on those videos. Ads might play before the video or during
    it (if the video is longer than 8 minutes).

    If copyright owners don't want their content reused, they can:

   Block a video: Copyright owners may choose to block your video, which means people
    can't watch it. Your video could be blocked worldwide or just in certain
    countries/regions.
   Restrict certain platforms: Copyright owners may choose to restrict the apps or
    websites where their content appears. These restrictions won’t change the availability
    of your video on YouTube.

    What can I do if my video has a Content ID claim?
    Depending on the situation, you have a few options to choose from if you get a Content
    ID claim:

   Do nothing: If you agree with the claim, you can leave it as is. You can also change your
    mind later.
   Share revenue: If you’re in the YouTube Partner Program and claimed music is in your
    video, you may be able to share revenue with the music publisher. Learn more.
   Dispute the claim: If you believe the claim made on your video is incorrect, you can
    dispute it. Learn how to dispute a Content ID claim.

    If you dispute a claim without a valid reason, the content owner may request a take
    down of your video. If we get a valid takedown request for your video, your account will
    get a copyright strike. Learn more about copyright strikes.

    You can also remove claimed content without having to upload a new video. If done
    successfully, any of the options below will automatically release the associated claim:

   Trim out a segment: You can remove just the claimed segment from your video in
    YouTube Studio. Learn how to trim out a segment.
   Replace the song (audio claims only): If the music in your video is claimed, you may be
    able to replace your audio track with free-to-use music from the YouTube Audio Library.
    Learn how to replace a song.
   Mute a song (audio claims only): This option lets you mute the claimed song in your
    video. You can choose whether to mute just the song or all audio in the video. Learn
    how to mute a song.




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     More info
    How Content ID works
    Copyright strike basics
    Changes to account standing
    Who claimed my video?
    Dispute a Content ID claim
    Copyright issues with live streams

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    Copyright strike basics
    Dispute a Content ID claim
    Submit a copyright counter notification
    Monetization during Content ID disputes
    What is a manual claim?
    Requirements for counter notifications
    The difference between copyright takedowns and Content ID claims

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14. magyar
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27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



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o   Create & grow your channel



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o   Policy, safety, & copyright




   Community



   YouTube




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    problems playing videosPurchase and watch movies and TV shows
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    rights management


    What is the issue with this selection?

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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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    YouTube Help

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    How Content ID works
    Copyright owners can use a system called Content ID to easily identify and manage
    their content on YouTube. Videos uploaded to YouTube are scanned against a database
    of files that have been submitted to us by content owners.

    Copyright owners get to decide what happens when content in a video on YouTube
    matches a work they own. When a match is found, the video gets a Content ID claim.

    Common questions about Content ID
    What options are available to copyright owners?

    Copyright owners can choose different actions to take on material that matches theirs:

   Block a whole video from being viewed
   Monetize the video by running ads against it; sometimes sharing revenue with the
    uploader
   Track the video’s viewership statistics

    Any of these actions can be geography-specific. A video may be monetized in one
    country and blocked or tracked in another.

    Who can use Content ID?

    YouTube only grants Content ID to copyright owners who meet specific criteria. To be
    approved, they must own exclusive rights to a substantial body of original material that
    is frequently uploaded by the YouTube creator community.




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    YouTube also sets explicit guidelines on how to use Content ID. We monitor Content ID
    use and disputes on an ongoing basis to make sure these guidelines are followed.

    Content owners who repeatedly make erroneous claims can have their Content ID
    access disabled and their partnership with YouTube terminated.

    If you're a content owner and believe your content meets the criteria, you can fill out this
    form.

    Related topics

   What is a Content ID claim?
   Who claimed my video?
   Dispute a Content ID claim
   How does Content ID work on live streams and Hangouts On Air?

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Copyright management tools
   Overview of copyright management tools
   Use the Copyright Match Tool
   How Content ID works
   Qualify for Content ID
   Content Verification Program
   Use the Content Verification Tool

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   YouTube Terms of Service

     English?

    English

1. català
2. dansk



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3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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                                                                               390
                                                                               585
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                   392
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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   YouTube Help

   Sign in
                                       Send feedback on...

   This help content & information

   General Help Center experience
                                                                                        Next
   Help CenterCommunity


   Retract a claim of copyright infringement
   After submitting a copyright takedown request, a copyright owner may change their
   mind or realize they've misidentified content. When this happens, the copyright
   owner can retract their claim of copyright infringement.

   Retractions will resolve the copyright strike for the uploader of the content that was
   taken down. Unless the uploader already deleted the content, a retraction will restore
   the content to YouTube.

   If you submitted a takedown request

   If you submitted a takedown request in error, you can retract your copyright
   infringement claim by sending an email to copyright@youtube.com.

   Your email should be sent from the same email address or corporate domain you used
   to submit your original takedown request. If the email address is different, it may not be
   possible to process your retraction.

    Your email needs to include the following required info:

1. Statement of retraction, such as "I hereby retract my claim of copyright infringement."
 Note: We can only accept a retraction of the takedown request. We can’t accept
   retractions of only the copyright strike such as “I retract my copyright strike.”
2. Specific URL of the content in question
 For videos, the valid URL format is: www.youtube.com/watch?v=xxxxxxxxxxx
 For non-video content, such as channel banner images, valid URL formats are listed
   here.
 Note: Google hosts the profile pictures that appear on YouTube channels. To retract a
   copyright infringement claim on a profile picture, reply to the email confirmation you got



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   when you submitted your original removal request. Include a statement of retraction in
   your reply, such as the sentence listed above in Step 1.
3. Electronic signature
 The copyright owner or authorized agent should enter their full legal name as their
   signature to the bottom of the email. The full legal name should be a first and last name,
   not a company name.

    If you’re a partner with a CVP account or a CMS, you can retract claims on videos
    through these platforms.

    To submit a retraction, make sure you’re signed in to the same Google Account from
    which the original claim was made. Note that matching videos won’t be claimed after a
    retraction is processed.
    If your content was taken down

    If you're a creator affected by a copyright claim, you can get in touch with the copyright
    owner directly to request a retraction.

    Some creators list ways they can be contacted in their channel.
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Copyright and rights management
   Submit a copyright takedown request
   Prevent reuploads of removed videos
   Retract a claim of copyright infringement
   Contact information in copyright takedown requests
   Requirements for copyright infringement notifications: Videos
   Requirements for copyright infringement notifications: Non-video content

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   YouTube Terms of Service

     English?

    English



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1. català
2. dansk
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6. español (Latinoamérica)
7. Filipino
8. français
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10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




                                                                               397
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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                   398
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Inaccurate - doesn't match what I see in the product

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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

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    YouTube Help

    Sign in
                                         Send feedback on...

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                                                                                            Next
    Help CenterCommunity


    Submit a copyright counter notification
    If you upload copyright-protected content to YouTube without the copyright owner’s
    authorization, it may be taken down. If you believe your video was taken down in error,
    you can submit a copyright counter notification.

    A counter notification is a legal request for YouTube to reinstate a video that was taken
    down for alleged copyright infringement.

    Before you submit a counter notification, you should know:

   The video’s original uploader, or an agent authorized to act on their behalf, such as an
    attorney, must submit the counter notification.
   Only submit a counter notification if your video was taken down due to a mistake or
    misidentification of content, including cases of fair use. Don’t submit counter
    notifications for any other reasons.
   If your video doesn't fit the criteria above, you can wait 90 days for your copyright strike
    to expire. You can also reach out to the copyright owner directly to request
    they retract their claim of copyright infringement.
   Counter notifications for non-video content, such as comments or channel banner
    images, must be submitted through a free-form counter notification.
   Note: Because Google hosts channel profile pictures, you need to submit counter
    notifications for channel profile pictures through Google’s webform.

    Prepare your counter notification
    YouTube requires that your counter notification must:

1. Meet all legal requirements.




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                                                                                             595
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2. Clearly explain your right to use the copyrighted content in your own words. If you think
   the content was identified as a mistake, explain why in a clear and concise manner.

     Evaluate the copyrighted content

     Your counter notification should include details about the specific content claimed in
     your video. To find these details:

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
                  The link ed         The link ed




3.   Select Filter
                  image cannot        image cannot




                       Copyright claims.
                  be display ed.      be displayed.
                  The file may        The file may
                  have been           hav e been
                  mov ed,             moved,
                  renamed, or         renamed, or
                  deleted. Verify …   deleted. Verify …




4.   In the Restrictions column, hover over Copyright claim next to your video.
5.   Click SEE DETAILS.

     Before submitting a counter notification, consider the following:

    Who owns the content?
    If you’ve used someone else’s copyrighted work, can you provide evidence of a license
     or permission to use that content?
    Is your use of the content protected by fair use, fair dealing, or a similar copyright
     exception?
    Is the content in the public domain?

     Submit a counter notification
     To submit a copyright counter notification:

1. Sign in to YouTube Studio.
2. From the left menu, select Content.
                  The link ed              The link ed
                  image cannot             image cannot




3. Select Filter       Copyright claims and find impacted video.
                  be display ed.           be displayed.
                  The file may             The file may
                  have been                hav e been
                  mov ed,                  moved,
                  renamed, or              renamed, or
                  deleted. Verify …        deleted. Verify …




4. In the Restrictions column, hover over Copyright claim.
5. Click SEE DETAILS.                                          The link ed         The linked
                                                               image cannot        image cannot




6. Under Actions, click SELECT ACTION           Submit counter notification.
                                                               be display ed.      be display ed.
                                                               The file may        The file may
                                                               hav e been          hav e been
                                                               mov ed,             mov ed,
                                                               renamed, or         renamed, or
                                                               deleted. Verify …   deleted. Verify …




7. Enter your contact info and rationale.
 Make sure you include your complete physical address and full legal name.
 If necessary info is missing from your counter notification, it may be rejected.
8. Click SUBMIT.

     By submitting a counter notification, you consent to sharing your info with the claimant.

     If your account has been suspended for copyright violations, you can’t send a counter
     notification following the steps above. You can try submitting a free-form counter
     notification.




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     What happens next?

     Your counter notification will be forwarded to the claimant if it meets all legal
     requirements and clearly explains your right to use the content. Under most
     circumstances, we won't forward the counter notification to any party other than the
     original claimant. If the counter notification is forwarded, it will include the full text,
     including any personal info you’ve entered.

     The claimant has 10 business days, as required by copyright law, to reply to your
     counter notification. They’ll need to respond with evidence that they’ve taken legal
     action to keep the content from being restored to YouTube.

     Give feedback about this article
     Choose a section to give feedback on

                                            Was this helpful?
                                                YesNo




                                                 Submit
     Copyright claim basics
    What is a Content ID claim?
    Copyright strike basics
    Dispute a Content ID claim
    Submit a copyright counter notification
    Monetization during Content ID disputes
    What is a manual claim?
    Requirements for counter notifications
    The difference between copyright takedowns and Content ID claims

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    YouTube Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)



                                                                                                   402
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5. español
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31. српски
32. українська
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community




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   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong




                                                                                   405
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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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Our mission
Our commitments
Managing harmful content How does YouTube manage harmful content? Standing up to hate
How does YouTube protect the community from hate and harassment? Fighting misinformation
How does YouTube combat misinformation? Curbing extremist content How does YouTube
prevent radicalization? Supporting political integrity How does YouTube support civic
engagement and election integrity? Preventing bias What does YouTube do to prevent bias?
Fostering child safety How does YouTube help keep kids protected on the platform? Protecting
user data How does YouTube maintain user privacy? Safeguarding copyright How does
YouTube protect copyrighted content? Sharing revenue How does YouTube make money?
Promoting digital wellbeing How does YouTube support users’ digital wellbeing? Responding to
COVID-19 How is YouTube supporting users during COVID-19?
Product features
YouTube Search How our search tool can help you find content you'll love Recommended
videos How we recommend content we think you'll want to watch News and information How
we provide context for your search results and videos Health information How we provide
context for health queries Monetization for Creators How Creators earn money on YouTube
YouTube Live How you can reach your community in real time with Live and Premieres
User settings
Privacy controls How we protect your information and what you can do to control your privacy
Ad Settings How our advertising works and how to customize your ad experience Parental
controls How you can create a family friendly experience Autoplay How Autoplay works and
how to turn it off
Rules and policies
Policies overview How our rules and policies help keep our platform safe Community
Guidelines How we define what we do and don’t allow on YouTube Copyright How we help
Creators responsibly manage their content Monetization policies How Creators can monetize
their content as part of the YouTube Partner Program Legal removals How we approach content
that violates local law
Progress and impact
Responsibility through the years How we've been building a more responsible platform over the
years Progress on managing harmful content How we're enforcing our policies on harmful
content by the numbers Our impact How creative entrepreneurs are transforming their lives and
communities Culture and trends How to better understand the next generation of Creators and
artists Advancing sustainability How we're investing in a carbon-free future
Resources
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about our responsibility efforts Advertiser resources Find resources and quick guides on Brand
Safety for advertisers Brand resources Access brand resources such as our YouTube logo, color
palettes, and permissions form
Our mission Our commitments Managing harmful content Standing up to hate Fighting
misinformation Curbing extremist content Supporting political integrity Preventing bias
Fostering child safety Protecting user data Safeguarding copyright Sharing revenue Promoting
digital wellbeing Responding to COVID-19 Product features YouTube Search Recommended
videos News and information Health information Monetization for Creators YouTube Live User



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settings Privacy controls Ad Settings Parental controls Autoplay Rules and policies Policies
overview Community Guidelines Copyright Monetization policies Legal removals Progress and
impact Responsibility through the years Progress on managing harmful content Our impact
Culture and trends Advancing sustainability Resources Downloadable summaries Advertiser
resources Brand resources                     The link ed image cannot be
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Rules and policies


Copyright
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that the link points to the correct
file and location.




                                     Overview
                                     Fair Use
                                     Making claims
                                     Enforcing copyright

The first rule of copyright
Creators should only upload videos that they have made or that they're authorized to use. That
means they should not upload videos they didn't make, or use content in their videos that
someone else owns the copyright to, such as music tracks, snippets of copyrighted programs, or
videos made by other users, without necessary authorizations.

What is Fair Use?
Fair Use is a U.S. law that allows the reuse of copyright-protected material under certain
circumstances without getting permission from the copyright owner. However, Fair Use is
determined on a case by case basis, and different countries have different rules about when it’s
okay to use material without the copyright owner’s permission. In the U.S., works of
commentary, criticism, research, teaching, or news reporting might be considered fair use, but it
can depend on the situation.

We created the YouTube Audio Library to help Creators re-use content safely by providing free
high-quality music and sound effects.

Resources

                                     Learn more about Fair Use

How can rights holders make copyright claims?



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Everyone has access to YouTube’s Copyright Management Tools, which gives rights holders
control of their copyrighted material on YouTube. We work with rights holders to match them to
appropriate features based on the scale of their copyrighted content on YouTube, and the
resources they’ve dedicated to responsibly manage their content online. Our Copyright
Management Suite provides a number of ways rights holders can make copyright claims.

Webform
The simplest way to have unauthorized copies of copyrighted content removed is by manually
submitting a copyright notification through our DMCA (Digital Millennium Copyright Act)
webform. This tool is best for most users - it is open to everyone, and available in every
language.

Copyright Match Tool
The Copyright Match Tool uses the power of Content ID matching technology to find re-uploads
of videos on YouTube. Available to over 1,500,000 channels, it identifies near-full reuploads of
a Creator’s original videos on other YouTube channels and allows the Creator to choose an
action to take: they can request the removal of the video, message the uploader of the video, or
simply archive the match if they do not want to take any action. Any user with a demonstrated
history of successful DMCA takedowns via our webform can apply for access using our public
form.

Content ID
Content ID is our solution for those with the most complex rights management needs. It is our
digital fingerprinting system that allows rightholders to upload content they have exclusive rights
to as reference files, and then scans videos uploaded to YouTube for matches of that content.
When a user uploads content, Content ID scans against the database for matching videos. If there
is a match, then an action is taken based on the predefined rules or policies that a content owner
sets themselves:

      Block a whole video from being viewed. Creators do not receive a copyright strike if the
       content owner blocks a video.
      Monetize the video by running ads against it; in some cases sharing revenue with the
       uploader.
      Track the video's viewership statistics.

In most cases, this means that rights holders don’t need to submit copyright takedowns for these
videos and instead have the opportunity to monetize and run ads in exchange for the videos being
live.

Resources

      Learn more about YouTube’s Copyright Management Tools



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      Learn more about copyright strike

What action does YouTube take for copyright infringement?
If a copyright owner submits a valid DMCA complaint through our webform, we take down that
video and apply a copyright strike. If a user gets three copyright strikes in 90 days, their
account, along with any associated channels, will be terminated. We also have tools to help
Creators resolve their copyright strikes - including waiting for it to expire after 90 days,
requesting a retraction, or submitting a counter notification.

Content ID works differently. If a match between a reference file and a new upload is made, a
“claim” is made. Based on the preference selected by the Content ID owner, we’ll apply a policy
to track, monetize, or block, but will not issue a copyright strike.

Resources

      Learn more about copyright strike
      Retract a claim of copyright infringement
      Submit a counter notification

Related articles
      Community Guidelines

       Read more

      Safeguarding copyright

       Read more

      Monetization policies

       Read more

Connect

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       About Blog How YouTube Works Jobs Press YouTube Culture & Trends

      Products

       YouTube Go YouTube Kids YouTube Music YouTube Originals YouTube Premium
       YouTube Select YouTube Studio YouTube TV




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       For Business

        Developers YouTube Advertising

       For Creators

        Creating for YouTube Kids Creator Academy Creator Research Creator Services
        Directory YouTube Artists YouTube Creators YouTube NextUp YouTube Space
        YouTube VR

       Our Commitments

        Creators for Change CSAI Match Social Impact

About YouTube

Products

For Business

For Creators

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YouTube Studio YouTube TV Developers YouTube Advertising Creating for YouTube Kids
Creator Academy Creator Research Creator Services Directory YouTube Artists YouTube
Creators YouTube NextUp YouTube Space YouTube VR Creators for Change CSAI Match
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
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    Help CenterCommunity


    Requirements for counter notifications
    If you're submitting a free-form copyright counter notification, it must include the
    required info listed below. Include this info in the body of an email (not in an
    attachment) to copyright@youtube.com.

    Notes:

   You can also submit your counter notification via fax or postal mail.
   If your counter notification doesn’t include the required info listed below, we can't
    proceed with your request.

    1. Your contact information

    We need the following info to get in touch with you, or an agent authorized to act on
    your behalf, about your request:

   Full legal name (a first and last name, not a company name)
   If you’re an uploader's authorized agent, such as an attorney, make sure you also
    include your relationship to the uploader.
   Email address
   Physical address
   Telephone number

    2. Specific URLs of the content in question

    Your counter notification must include specific links to the content that has been taken
    down. Links must be sent in a specific URL format. General information such as channel
    name or channel URL is not adequate.




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   For videos, the valid URL format is: www.youtube.com/watch?v=xxxxxxxxxxx
   For non-video content, such as channel banner images, find the valid URL format in the
    table below.
   Note: Because Google hosts channel profile pictures, you need to submit counter
    notifications for channel profile pictures through Google’s webform.

    Only include the URLs you're submitting a counter notification for. Submit separate
    counter notifications for URLs on more than one YouTube channel.
      Type of                                                                      Where to
      content                         Valid URL format                          find the URL
    Channel      www.youtube.com/channel/UCxxxxxxxxxxxxxxxxxxxxx                Go to the
    banner                                                                      channel page
    images                                    or                                of the channel
                                                                                in question.
                 www.youtube.com/user/xxxxxxxxx
                                                                                Right-click
                                                                                the address
                                                                                bar and select
                                                                                Copy.
    Channel      www.youtube.com/user/xxxxxxxxx/about                           Go to the
    descriptions                                                                About section
                                                                                of the channel
                                                                                in question.

                                                                                Right-click
                                                                                the address
                                                                                bar and select
                                                                                Copy.
    Playlist     www.youtube.com/playlist?list=xxxxxxxxxxxxxxxx                 Click the title
    descriptions                                                                of the playlist
                                                                                in question.

                                                                     Right-click
                                                                     the address
                                                                     bar and select
                                                                     Copy.
    Comments www.youtube.com/watch?v=xxxxxxxxxx&lc=xxxxxxxxxxxxxxxxxxClick the
                                                                     posted date
                                                                     above the
                                                                     comment in
                                                                     question.

                                                                                After the page
                                                                                reloads, right-
                                                                                click the
                                                                                address bar



                                                                                           413
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  Type of                                                          Where to
  content                         Valid URL format               find the URL
                                                                 and select
                                                                 Copy.
Community https://www.youtube.com/post/xxxxxxxxxxxxxxxxxxx       Click the
posts                                                            posted date of
                                                                 the
                                                                 community
                                                                 post in
                                                                 question.

                                                                 After the page
                                                                 reloads, right-
                                                                 click the
                                                                 address bar
                                                                 and select
                                                                 Copy.
Membership Beginning with yt3.ggpht.com/xxxxx                    Right-click
badges,                                                          the image in
emoji, or                                                        question
creator's                                                        and select
perk                                                             Copy Image
descriptions                                                     Address.
             Include the channel URL:                            Go to the
                                                                 channel page
                                                                 of the channel
            www.youtube.com/channel/UCxxxxxxxxxxxxxxxxxxxxx      in question.

                                          or                     Right-click
                                                                 the address
            www.youtube.com/user/xxxxxxxxx                       bar and select
                                                                 Copy.
Super       Beginning with lh3.googleusercontent.com/xxxxx       Click the
Stickers                                                         dollar sign
                                                                 The link ed
                                                                 image cannot
                                                                 be displayed.
                                                                 The file may




                                                                     in a live
                                                                 have been
                                                                 moved,
                                                                 renamed, or
                                                                 deleted. Verify …




                                                                 chat and
                                                                 select Super
                                                                 Sticker.

                                                                 Right-click
                                                                 the image in
                                                                 question and
                                                                 select Copy
                                                                 Image
                                                                 Address.




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  Type of                                                                         Where to
  content                          Valid URL format                            find the URL
            Include the channel URL:                                           Go to the
                                                                               channel page
            www.youtube.com/channel/UCxxxxxxxxxxxxxxxxxxxxx                    of the channel
                                                                               in question.
                                             or
                                                                               Right-click
            www.youtube.com/user/xxxxxxxxx                                     the address
                                                                               bar and select
                                                                               Copy.

Clips       www.youtube.com/clip/xxxxxxxxxxxxxxxxxxxxxxxxxx                    Click the title
                                                                               of the clip in
                                                                               question.

                                                                               Right-click
                                                                               the address
                                                                               bar and select
                                                                               Copy.

3. Agree to and include the following two statements:

"I consent to the jurisdiction of the Federal District Court for the district in which my
address is located, or if my address is outside of the United States, the judicial district in
which YouTube is located, and will accept service of process from the claimant."

"I swear, under penalty of perjury, that I have a good faith belief that the material was
removed or disabled as a result of a mistake or misidentification of the material to be
removed or disabled."

4. Your signature

Complete and valid counter notifications require the physical or electronic signature of
the uploader or agent authorized to act on their behalf.

To meet this requirement, the uploader or authorized agent can enter their full legal
name as their signature at the bottom of their notification. A full legal name should be a
first and last name, not a company name.

5. Statement to the claimant

Include a statement to the claimant explaining why you believe the removal of your
video was a mistake or misidentification.




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    Include the info above in the body of an email (not in an attachment) to
    copyright@youtube.com. You can also submit your counter notification via fax or postal
    mail.
    Give feedback about this article
    Choose a section to give feedback on

                                       Was this helpful?
                                           YesNo




                                           Submit
    Copyright claim basics
   What is a Content ID claim?
   Copyright strike basics
   Dispute a Content ID claim
   Submit a copyright counter notification
   Monetization during Content ID disputes
   What is a manual claim?
   Requirements for counter notifications
   The difference between copyright takedowns and Content ID claims

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   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių



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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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                                                                                 615
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    YouTube Help

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                                       Send feedback on...

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    Channel or account terminations
    If your channel or account is terminated, you may be unable to use, own, or create any
    other YouTube channels/accounts. When a channel is terminated, the channel owner
    gets an email explaining the reason for the termination.

    Community Guidelines terminations
    Reasons channels or accounts can be terminated:

   Repeated violations of the Community Guidelines or Terms of Service across any form
    of content (like repeatedly posting abusive, hateful, and/or harassing videos or
    comments)
   A single case of severe abuse (such as predatory behavior, spam, or pornography)
   Channels or accounts dedicated to a policy violation (like hate speech, harassment, or
    impersonation)

    If you believe that your channel/account was terminated by mistake, you can appeal
    using this form.

   Don’t submit an appeal request more than once. Multiple requests increase the volume
    to review and cause delays in our response.
   Fill out the form as completely as possible including your Channel ID. The more
    information you give us, the easier it will be to process your request.

    Copyright terminations

    If your channel was terminated due to copyright infringement claims and you think
    the claims are incorrect, you may file a counter notification. This process is still




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    available for creators with terminated channels, but the counter notification webform
    will be inaccessible. You may submit a free-form counter notification.

    For more information on the counter-notification process, visit the Copyright Center.

    Note: Filing a counter notification begins a legal process.
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Community Guidelines enforcement
   Community Guidelines strike basics
   Appeal Community Guidelines actions
   Age-restricted content
   Channel or account terminations
   Limited features for certain videos
   Troubleshoot video takedowns
   Strikes FAQ
   Watching age-restricted videos

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia



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11. italiano
12. latviešu
13. lietuvių
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15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
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   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   YouTube Terms of Service



   Submit feedback


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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


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Other suggestions - ideas to improve the content

Share additional info or suggestions




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Child safety policy
The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.
Update: Content that targets young minors and families but contains sexual themes,
violence, obscene, or other mature themes not suitable for young audiences, is not
allowed on YouTube. In addition to your titles, descriptions, and tags, ensure your
audience selection matches the audience your content is suitable for.

YouTube doesn’t allow content that endangers the emotional and physical well-being of
minors. A minor is defined as someone under the legal age of majority -- usually anyone
younger than 18 years old in most countries/regions.

If you find content that violates this policy, report it. If you believe that a child is in
danger, you should get in touch with your local law enforcement to report the situation
immediately.

Instructions for reporting violations of our Community Guidelines are available here. If
you've found multiple videos or comments that you would like to report, you can report
the channel.

What this policy means for you
If you're posting content

Don’t post content on YouTube if it fits any of the descriptions below.




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   Sexualization of minors: Sexually explicit content featuring minors and content that
    sexually exploits minors. We report content containing child sexual abuse imagery to
    the National Center for Missing and Exploited Children, who work with global law
    enforcement agencies.
   Harmful or dangerous acts involving minors: Content showing a minor participating in
    dangerous activities or encouraging minors to do dangerous activities. Never put
    minors in harmful situations that may lead to injury, including dangerous stunts, dares,
    or pranks.
   Infliction of emotional distress on minors: Content that could cause minor participants
    or viewers emotional distress, including:
   Exposing minors to mature themes
   Simulating parental abuse
   Coercing minors
   Violence
   Misleading family content: Content that targets young minors and families, but
    contains:
   Sexual themes
   Violence
   Obscenity or other mature themes not suitable for young audiences
   Family friendly cartoons that target young minors and contain adult or age-inappropriate
    themes such as violence, sex, death, drugs and more. Make sure your titles,
    descriptions, and tags match the audience you're targeting. In addition, ensure your
    audience selection accurately represents the audience your content is suitable for. You
    can also age restrict your content upon upload if it’s intended for mature audiences.
   Cyberbullying and harassment involving minors: Content that:
   Targets individuals for abuse or humiliation
   Reveals personal information like email addresses or bank account numbers
   Records someone without their consent
   Sexually harasses
   Encourages others to bully or harass

    This policy applies to videos, video descriptions, comments, Stories, Community posts,
    live streams, playlists, and any other YouTube product or feature. Please note this is not
    a complete list.

    Age-restricted content
    Content featuring minors

    Examples
    Here are some examples of content not allowed on YouTube.

   A video featuring minors involved in provocative, sexual, or sexually suggestive
    activities, challenges and dares, such as kissing or groping.



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   Showing minors involved in dangerous activities. For example, physical stunts, using
    weapons or explosives, or using a controlled substance like alcohol or nicotine.
   A video with tags like "for children", or whose audience is set to “Yes, it’s made for kids”,
    featuring family friendly cartoons engaging in inappropriate acts like injecting needles.

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    More examples
    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.



    We have zero tolerance for predatory behavior on YouTube. If we think a child is in
    danger based on reported content, we’ll help law enforcement investigate the content.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our new Creator Academy course.

    Give feedback about this article
    Choose a section to give feedback on

                                                                     Was this helpful?
                                                                         YesNo




                                                                           Submit



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    YouTube policies
   Nudity & sexual content policies
   Thumbnails policy
   Child safety policy
   Suicide & self-injury policy
   Vulgar language policy

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     English?

    English

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8. français
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12. latviešu
13. lietuvių
14. magyar
15. Nederlands
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29. български



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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium



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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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    YouTube Help

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                                          Send feedback on...

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    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    Impersonation policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Content intended to impersonate a person or channel is not allowed on YouTube.
    YouTube also enforces trademark holder rights. When a channel, or content in the
    channel, causes confusion about the source of goods and services advertised, it may
    not be allowed.

    If you see content that violates this policy, please report it.

   If you feel that yours or another creator's channel is being impersonated, you can report
    the channel by following the instructions here.

    What these policies mean for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions noted below.

   Channel impersonation: A channel that copies another channel's profile, background, or
    overall look and feel in such a way that makes it look like someone else's channel. The
    channel does not have to be 100% identical, as long as the intent is clear to copy the
    other channel.
   Personal impersonation: Content intended to look like someone else is posting it.




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    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Channels with the same name and image as another channel, with the only difference
    being a space inserted into the name or a zero replacing the letter O.
   Using someone else's real name, user name, image, brand, logo, or other personal
    information to trick people into believing you are that person.
   Exactly matching a channel description to another channel.
   Setting up a channel using the name and image of a person, and then pretending that
    person is posting content to the channel.
   Setting up a channel using the name and image of a person, and then posting
    comments on other channels as if they were posted by the person.
   Channels claiming to be a “fan account,” but actually posing as another’s channel and
    reuploading their content.
   Channels impersonating an existing news channel.

    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

    Give feedback about this article
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                                                                                            630
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    YouTube policies
   Spam, deceptive practices, & scams policies
   Impersonation policy
   External links policy
   Fake engagement policy
   Additional policies
   Playlists policy

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     English?

    English

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3. Deutsch
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6. español (Latinoamérica)
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8. français
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13. lietuvių
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15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
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27. čeština
28. Ελληνικά



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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues



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    YouTube Help

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                                          Send feedback on...

    This help content & information

    General Help Center experience
                                                                                               Next
    Help CenterCommunity


    External links policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Links that send users to websites featuring content that violates our Community
    Guidelines are not allowed on YouTube.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Don’t post links in your content on YouTube if they fit any of the descriptions noted
    below.

   Links to pornography
   Links to websites or apps that install malware
   Links to websites or apps phishing for a user’s login credentials, financial information,
    etc.
   Links to websites, apps, or other information technology that give unauthorized free
    access to audio content, audiovisual content, full video games, software, or streaming
    services that normally require payment




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   Links to websites that seek to raise funds or recruit for terrorist organizations
   Links to sites containing Child Sexual Abuse Imagery (CSAI)
   Links to sites selling items noted in our regulated goods guidelines

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Please note this is not a complete list.

    Note: Affiliate content doesn't violate YouTube’s Terms of Use. However, massively
    posting affiliate content in dedicated accounts may violate our policies around spam.
    You can learn more about what's allowed in our Spam, deceptive practices & scams
    policies.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   A video featuring sexually themed content whose description says “click here to see
    what YouTube won’t allow!” and contains a link to a pornographic site.
   A gameplay video whose description contains a link to a website promising free in-
    game currency or online store credit but really links to a site that infects the user’s
    computer with malware.
   Posting a link to a phishing site that steals users’ banking logins and passwords.
   Instructing viewers to copy and paste an unclickable link in the video that takes them to
    a pornographic or spammy site.
   Any link leading users to a website, file hosting service, etc. that allows them to access
    or download child sexual abuse imagery.

    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

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    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

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   External links policy
   Fake engagement policy
   Additional policies
   Playlists policy

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2. dansk
3. Deutsch
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5. español
6. español (Latinoamérica)
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9. hrvatski
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18. português
19. português (Brasil)



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20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
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28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos




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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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Other suggestions - ideas to improve the content

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    YouTube Help

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                                        Send feedback on...

    This help content & information

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    Help CenterCommunity


    Links to online gambling sites
    We only allow links to online gambling sites that have gone through checks to make
    sure they meet local legal requirements. If you want to link to an online gambling site,
    you’ll need to make sure the domain is certified by Google Ads or reviewed by YouTube.

    If you find content that violates this policy, please report it. Instructions for reporting
    violations of our Community Guidelines are available here. If you find many videos,
    comments, or a creator's entire channel that you would like to report, visit our reporting
    tool.
    Give feedback about this article
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   Sale of illegal or regulated goods or services policies

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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
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16. norsk
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27. čeština
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

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    Sale of Illegal or Regulated
    Goods and Services - You Tube




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    YouTube Help

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    Misinformation policies
    Certain types of misleading or deceptive content with serious risk of egregious harm are
    not allowed on YouTube. This includes certain types of misinformation that can cause
    real-world harm, like promoting harmful remedies or treatments, certain types of
    technically manipulated content, or content interfering with democratic processes.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found multiple videos or
    comments that you would like to report, you can report the channel.

    What these policies mean for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions below.

   Promoting dangerous remedies or cures: Content that claims that harmful substances
    or treatments can have health benefits.
   Suppression of census participation: Content aiming to mislead census participants
    about the time, place, means, or eligibility requirements of the census, or false claims
    that could materially discourage census participation.
   Manipulated content: Content that has been technically manipulated or doctored in a
    way that misleads users (beyond clips taken out of context) and may pose a serious
    risk of egregious harm.
   Misattributed content: Content that may pose a serious risk of egregious harm by
    falsely claiming that old footage from a past event is from a current event.

    Examples


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    Here are some examples of content that’s not allowed on YouTube.

    Harmful remedies and cures

   Miracle Mineral Solution (MMS)
   Black Salve
   Turpentine
   B17/amygdalin
   High-grade hydrogen peroxide
   Chelation therapy to treat autism

    Suppression of census participation

   Giving incorrect instructions on how to participate in the census.
   Discouraging participation in the census by falsely claiming that a respondent’s
    immigration status will be reported to law enforcement.

    Manipulated content

   Inaccurately translated video subtitles that inflame geopolitical tensions creating
    serious risk of egregious harm.
   Videos that have been technically manipulated (beyond clips taken out of context) to
    make it appear that a government official is dead.
   Video content that has been technically manipulated (beyond clips taken out of context)
    to fabricate events where there’s a serious risk of egregious harm.

    Misattributed content

   Content inaccurately presented as documenting human rights abuses in a specific
    location that is actually content from another location or event.
   Content showing a military crackdown on protesters with false claims that the content
    is from a current event, when the footage is actually several years old.

    Remember these are just some examples, and don't post content if you think it might
    violate these policies.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll get a
    warning with no penalty to your channel. If it’s not, we’ll issue a strike against your
    channel. If you get 3 strikes, your channel will be terminated. You can learn more about
    our strikes system here.




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   Misinformation policies
   Elections misinformation policies
   COVID-19 medical misinformation policy

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     English?

    English

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12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina



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22. slovenščina
23. suomi
24. svenska
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26. Türkçe
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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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    Help CenterCommunity


    Elections misinformation policies
    Certain types of misleading or deceptive content with serious risk of egregious harm are
    not allowed on Youtube. This includes certain types of misinformation that can cause
    real-world harm, like certain types of technically manipulated content, and content
    interfering with democratic processes.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found multiple videos or
    comments that you would like to report, you can report the channel.

    What these policies mean for you
    If you're posting content

    Don’t post elections-related content on YouTube if it fits any of the descriptions noted
    below.

   Voter suppression: Content aiming to mislead voters about the time, place, means, or
    eligibility requirements for voting, or false claims that could materially discourage
    voting.
   Candidate eligibility: Content that advances false claims related to the technical
    eligibility requirements for current political candidates and sitting elected government
    officials to serve in office. Eligibility requirements considered are based on applicable
    national law, and include age, citizenship, or vital status.
   Incitement to interfere with democratic processes: Content encouraging others to
    interfere with democratic processes. This includes obstructing or interrupting voting
    procedures.




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   Distribution of hacked materials: Content that contains hacked info, the disclosure of
    which may interfere with democratic processes.
   U.S. presidential election integrity: Content that advances false claims that widespread
    fraud, errors, or glitches changed the outcome of any past U.S. presidential election
    (Note: This applies to elections in the United States only). For the U.S. 2020 presidential
    election, this applies to content uploaded on or after December 9, 2020.

    Keep in mind that this isn't a complete list.

    Examples
    The following types of content are not allowed on YouTube. This isn't a complete list.

    Voter suppression

   Telling viewers they can vote through inaccurate methods like texting their vote to a
    particular number.
   Giving made up voter eligibility requirements like saying that a particular election is only
    open to voters over 50 years old.
   Telling viewers an incorrect voting date.
   Claiming that a voter’s political party affiliation is visible on a vote-by-mail envelope.
   False claims that non-citizen voting has determined the outcome of past elections.

    Candidate eligibility

   Claims that a candidate or sitting government official is not eligible to hold office based
    on false info about the age required to hold office in that country/region.
   Claims that a candidate or sitting government official is not eligible to hold office based
    on false info about citizenship status requirements to hold office in that country/region.
   Claims that a candidate or sitting government official is ineligible for office based on
    false claims that they’re deceased, not old enough or otherwise do not meet eligibility
    requirements.

    Incitement to interfere with democratic processes

   Telling viewers to create long voting lines with the purpose of making it harder for
    others to vote.
   Telling viewers to hack government websites to delay the release of elections results.

    Distribution of hacked materials

    The following types of content are not allowed on YouTube. This isn't a complete list.




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   Videos that contain hacked info about a political candidate shared with the intent to
    interfere in an election.

    U.S. presidential election integrity

   Claims that a candidate only won a swing state in the U.S. 2020 presidential election
    due to voting machine glitches that changed votes.
   Claims that dead people voted in numbers that changed the outcome of the U.S. 2016
    presidential election.
   Claims that fake ballots were dumped to give one candidate enough votes to win a state
    in a past U.S. presidential election.

    We may allow content that violates the U.S. presidential election integrity policy noted
    on this page if the content includes additional context in the video, audio, title, or
    description. This is not a free pass to promote misinformation. Additional context may
    include countervailing views, or if the purpose of the content is to condemn, dispute, or
    satirize misinformation that violates our policies.

    Remember these are just some examples, and don't post content if you think it might
    violate these policies.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll get a
    warning with no penalty to your channel. If it’s not, we’ll issue a strike against your
    channel. If you get 3 strikes, your channel will be terminated. You can learn more about
    our strikes system here.

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    Misinformation policies
   Misinformation policies
   Elections misinformation policies
   COVID-19 medical misinformation policy



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    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）



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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
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    community & commentsLive stream on YouTube
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    Help CenterCommunity


    Playlists policy
    Playlists are a great way to combine videos that your community may want to watch as
    a series. We know it’s not often intentional, but there may be times when playlists
    contain content that’s not allowed on the platform and can cause harm to our
    community. This means that playlists that violate our Community Guidelines are not
    allowed on YouTube.

    Here’s a simple way to think of it: if you were to combine all the playlists’ videos into
    one single video, and that video were to violate our Community Guidelines, then the
    playlist may violate Community Guidelines as well.

    If you find content that violates this policy, please report it. Instructions for reporting
    violations of our Community Guidelines are available here. If you find many videos,
    comments, or a creator's entire channel that you wish to report, visit our reporting tool.

    What this policy means for you
    If you're creating playlists

    Don’t post playlists on YouTube if they fit any of the descriptions noted below.

   Playlists with thumbnails, titles or descriptions that violate our community guidelines,
    such as those that are pornographic, or that consist of images that are intended to
    shock or disgust.
   Playlists with titles or descriptions that mislead viewers into thinking they’re about to
    view videos different than what the playlist contains.
   Playlists with videos that don’t individually violate our policies, but are collected in a way
    that violates the guidelines. This includes but is not limited to:




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   Educational content featuring nudity or sexual themes for the purpose of sexual
    gratification
   Non-sexual content but focus on specific body parts or activities for sexual gratification
   Documentary videos of graphic violence for the purpose of glorifying or shocking
   Playlists that include multiple videos that have been removed for violating our
    guidelines. If you notice that multiple videos in your public playlists have been removed
    or deleted, please take some time to remove those videos from your playlists as well. If
    you notice that some videos in your public playlists violate our Community Guidelines,
    please flag them and remove them from your playlist.
   Playlists that depict physical, sexual, or emotional mistreatment of minors.

    Please note this is not a complete list.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   A playlist of news footage of aerial bombings accompanied by a title such as “Best
    bombings”.
   A playlist with a title that calls for the segregation of people with intellectual disabilities.
   A playlist that posts an individual’s nonpublic personal identifying information like a
    phone number, home address, or email for the express purpose of directing abusive
    attention or traffic toward them.
   A playlist that collects videos of dangerous or threatening pranks, such as a playlist of
    fake home invasions or robberies.
   A playlist of videos featuring minors accompanied by a title such as “sexy".

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

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   Fake engagement policy
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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
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21. slovenčina
22. slovenščina



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23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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   Help Center




o   Fix a problem



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o   Supervised experience on YouTube



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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    Additional policies
    Inactive accounts policy
    In general, users are expected to be active members within the YouTube community. If
    an account is found to be overly inactive, the account may be reclaimed by YouTube
    without notice. Inactivity may be considered as:

   Not logging into the site for at least six months
   Never having uploaded video content
   Not actively partaking in watching or commenting on videos or channels

    Encouraging Terms of Service violations
    If you post content that encourages other users to violate our Terms of Service, the
    content may be removed, your account may be penalized, and in some cases your
    account may be terminated.

    Posting previously removed content
    If you post content previously removed for violating our Terms of Service, or content
    from creators who have been terminated under our Terms, the content may be removed,
    your account may be penalized, and in some cases your account may be terminated.

    Age requirements on Google products
    We may ask you to confirm your age if we think that you are not old enough to use
    YouTube. You can learn more about this process here.



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     English?

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13. lietuvių
14. magyar
15. Nederlands
16. norsk



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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
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28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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   Help Center




o   Fix a problem




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   YouTube




   Privacy Policy



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   Submit feedback


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    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
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    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Child safety policy
The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.
Update: Content that targets young minors and families but contains sexual themes,
violence, obscene, or other mature themes not suitable for young audiences, is not
allowed on YouTube. In addition to your titles, descriptions, and tags, ensure your
audience selection matches the audience your content is suitable for.

YouTube doesn’t allow content that endangers the emotional and physical well-being of
minors. A minor is defined as someone under the legal age of majority -- usually anyone
younger than 18 years old in most countries/regions.

If you find content that violates this policy, report it. If you believe that a child is in
danger, you should get in touch with your local law enforcement to report the situation
immediately.

Instructions for reporting violations of our Community Guidelines are available here. If
you've found multiple videos or comments that you would like to report, you can report
the channel.

What this policy means for you
If you're posting content

Don’t post content on YouTube if it fits any of the descriptions below.




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   Sexualization of minors: Sexually explicit content featuring minors and content that
    sexually exploits minors. We report content containing child sexual abuse imagery to
    the National Center for Missing and Exploited Children, who work with global law
    enforcement agencies.
   Harmful or dangerous acts involving minors: Content showing a minor participating in
    dangerous activities or encouraging minors to do dangerous activities. Never put
    minors in harmful situations that may lead to injury, including dangerous stunts, dares,
    or pranks.
   Infliction of emotional distress on minors: Content that could cause minor participants
    or viewers emotional distress, including:
   Exposing minors to mature themes
   Simulating parental abuse
   Coercing minors
   Violence
   Misleading family content: Content that targets young minors and families, but
    contains:
   Sexual themes
   Violence
   Obscenity or other mature themes not suitable for young audiences
   Family friendly cartoons that target young minors and contain adult or age-inappropriate
    themes such as violence, sex, death, drugs and more. Make sure your titles,
    descriptions, and tags match the audience you're targeting. In addition, ensure your
    audience selection accurately represents the audience your content is suitable for. You
    can also age restrict your content upon upload if it’s intended for mature audiences.
   Cyberbullying and harassment involving minors: Content that:
   Targets individuals for abuse or humiliation
   Reveals personal information like email addresses or bank account numbers
   Records someone without their consent
   Sexually harasses
   Encourages others to bully or harass

    This policy applies to videos, video descriptions, comments, Stories, Community posts,
    live streams, playlists, and any other YouTube product or feature. Please note this is not
    a complete list.

    Age-restricted content

    We may add an age restriction to content that includes any of the following.

   Harmful or dangerous acts that minors could imitate: Content containing adults
    participating in dangerous activities that minors could easily imitate.
   Note: If the content itself warns minors not to perform the dangerous activities, we may
    allow this content without restriction. It will also need to explain the need for
    professional adult supervision.




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   Adult themes in family content: Content meant for adult audiences but could easily be
    confused with family content. This includes cartoons that contain adult themes such as
    violence, sex, or death. Remember you can age restrict your content upon upload if it’s
    intended for mature audiences.
   Vulgar language: Some language is not appropriate for younger audiences. Content
    using sexually explicit language or excessive profanity may lead to age restriction.

    Content featuring minors
    To protect minors on YouTube, content that doesn’t violate our policies but features
    children may have some features disabled at both the channel and video level. These
    features may include:

   Comments
   Live chat
   Live streaming
   Video recommendations (how and when your video is recommended)
   Community posts

    How to protect minors in your content

    Our goal is to protect both uploaders and viewers. Before posting content of yourself,
    your family, or friends, think carefully about whether it may put anyone at risk of
    negative attention.

   Make sure the minor is supervised by an adult and is performing age-appropriate
    activities such as demonstrating hobbies, educational content or public performances.
   Make sure the attire worn is age-appropriate. Avoid attire that overexposes the minor or
    is form-fitting.
   Use YouTube's privacy settings to limit who can see the videos you post.

    Don’t post content on YouTube that features minors and meets one or more of the
    following:

   Filmed in private spaces at home such as bedrooms or bathrooms.
   Features minors soliciting contact from strangers, dares or challenges online, or
    discussing adult topics.
   Shows activities that could draw undesired attention to the minor, such as performing
    body contortions or ASMR.
   Reveals personal details about a minor.

    These are just some examples, you can get more best practices for child safety here. If
    you are under 18 or the applicable age of majority in your country, Be internet awesome
    can help you be safe online.




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    Examples
    Here are some examples of content not allowed on YouTube.

   A video featuring minors involved in provocative, sexual, or sexually suggestive
    activities, challenges and dares, such as kissing or groping.
   Showing minors involved in dangerous activities. For example, physical stunts, using
    weapons or explosives, or using a controlled substance like alcohol or nicotine.
   A video with tags like "for children", or whose audience is set to “Yes, it’s made for kids”,
    featuring family friendly cartoons engaging in inappropriate acts like injecting needles.

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    More examples
   Offering money, praise, likes, or any other incentive to a minor to participate in physical
    contact with someone else.
   A video that advertises sexual content featuring minors or abusive content featuring
    minors.
   Predatory behavior involving communications with or about minors.
   Aggregating innocent content of minors for the purposes of sexual gratification.
   Fight or bullying videos featuring kids.
   Challenges, pranks, or stunts that pose the risk of physical injury or serious emotional
    distress. You can learn more about what’s not allowed in our policies around challenges
    and pranks.
   Encouraging minors to participate in dangerous activities, even if there are no minors in
    the content.
   Content simulating parental abuse or abandonment, simulating exposure to death or
    violence, or causing minors intense shame or humiliation.
   Using cartoons, puppets, or family entertainment characters to appeal to children where
    content features adult themes like violence and sex.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a




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     single case of severe abuse, or when the channel is dedicated to a policy violation. You
     can learn more about channel or account terminations here.



     We have zero tolerance for predatory behavior on YouTube. If we think a child is in
     danger based on reported content, we’ll help law enforcement investigate the content.
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




                                           Visit Creator Academy for more

     Would you rather learn about our Community Guidelines through videos and quizzes?
     Check out our new Creator Academy course.

     Give feedback about this article
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                                                                      Was this helpful?
                                                                          YesNo




                                                                            Submit
     YouTube policies
    Nudity & sexual content policies
    Thumbnails policy
    Child safety policy
    Suicide & self-injury policy
    Vulgar language policy

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               English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español



                                                                                                                484
                                                                                                                679
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6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


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    Missing info - relevant but not comprehensive




                                                                                   487
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Irrelevant - doesn’t match the title and / or my expectations

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Determining if your content is "made for kids"
Regardless of your location, we require you to tell us whether or not your videos are
made for kids according to an agreement with the US Federal Trade Commission (FTC)
and to help you comply with the Children’s Online Privacy Protection Act (COPPA)
and/or other applicable laws. Failure to set your content appropriately may result in
consequences on YouTube or have legal consequences under COPPA and other laws.

We provide some guidance on what is considered “made for kids” below, but we cannot
provide legal advice. If you are unsure whether your videos meet this standard, we
suggest you seek legal counsel.

Note: In November 2019, the FTC released more information to help YouTube creators
decide if their content is “made for kids” or not. You can learn more on the FTC’s blog.

 Made for kids                               Not made for kids
Examples of what may be considered made for Examples of what may be considered not made
kids include:                               for kids include:

Children are the primary audience of the video. Content that contains sexual themes, violence,
Children are not the primary audience, but the obscene, or other mature themes not suitable for
video is still directed at children because it       young audiences.
features actors, characters, activities, games,      Age-restricted videos that aren’t appropriate for
songs, stories, or other subject matter that reflect viewers under 18.
an intent to target children.
                                                     See more guidance below.
See more guidance below.




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    How do I know if I should set my content as made for kids?
    If your video features actors, characters, activities, games, songs, stories, or other
    subject matter that reflect an intent to target children, it’s likely made for kids.
    According to the FTC’s guidance on COPPA, a video is child directed (which we call
    “made for kids”) if:

   Children are the primary audience based on the factors described below.
   Children are not the primary audience, but the video is still directed to children based on
    the factors below. (This is known under COPPA as “mixed audience” content, which is a
    type of child directed content. General audience content is not the same as mixed
    audience.)

    When deciding whether or not your channel or video is made for kids, you should
    consider various factors, including:

   Subject matter of the video (e.g. educational content for preschoolers).
   Whether children are your intended audience (e.g. as indicated in your video metadata)
    or the actual audience for the video.
   Whether the video includes child actors or models.
   Whether the video includes characters, celebrities, or toys that appeal to children,
    including animated characters or cartoon figures.
   Whether the language of the video is intended for children to understand.
   Whether the video includes activities that appeal to children, such as play-acting, simple
    songs or games, or early education.
   Whether the video includes songs, stories, or poems for children.
   Any other information you may have to help determine your video’s audience, like
    empirical evidence of the video’s audience.
   Whether the content is advertised to children.

    Notes:

   Just because your content may include some of these factors does not automatically
    mean it’s made for kids. You should carefully consider who you’re trying to reach with
    your videos as you evaluate your content and the factors above.
   YouTube Analytics (YTA) is not designed to help determine if your content is child
    directed. You should use the factors outlined by the FTC above to set your audience.
   Videos that you set as “made for kids” are more likely to be recommended alongside
    other kids’ videos. Check out our most frequently asked questions about content that is
    made for kids.

    Important: As a creator, you know your videos and your audience best, and it is your
    legal responsibility to comply with COPPA and/or other applicable laws and designate
    your content accurately. Do not rely on our systems to set your audience for you
    because our systems may not identify content that the FTC or other authorities consider
    to be made for kids. If you fail to categorize your content correctly, there may be



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    consequences on YouTube, as well as legal consequences under the Children’s Online
    Privacy Protection Act (COPPA) or other applicable local laws.
    How do I know if I should set my content as NOT made for kids?
    Carefully consider who you’re trying to reach with your videos as you evaluate your
    content. For instance, a video is not necessarily made for kids just because:

   It’s safe or appropriate for everyone to watch (aka it’s “family friendly”).
   It covers an activity that’s traditionally associated with children.
   Children may incidentally see it.

    General audience content

    General audience content is content that could appeal to everyone, but isn’t intended
    specifically for children, or content that is intended for a teen or older audience. General
    audience content should be set as “not made for kids.”

    Here are some examples of the types of videos that could be considered “general
    audience”, in the absence of information suggesting an intent to target kids:

   A DIY video teaching hobbyists how to remake dolls or to make clay figurines
   A family vlog telling other parents about an amusement park visit
   A video featuring detailed instructions around creating mods or avatars
   Animated content that appeals to everyone
   A gaming video that features adult humor

    What’s the difference between general audience and mixed audience?

    Mixed audience content, on the other hand, is considered a type of made for kids
    content. This is content that targets children as one of its audiences, even if it’s not the
    main or primary audience, and that qualifies as child directed after balancing the factors
    described above.

    Note: Content that contains sexual themes, violence, obscene, or other mature themes
    not suitable for young audiences is likely not made for kids.

    How old is a kid?
    The age of a "kid" in the United States is defined as anyone under the age of 13.
    However, the age of a kid may be different in other countries, so consider any additional
    obligations you may have under applicable laws when evaluating whether content is
    “made for kids,” and consult legal counsel if you have additional questions.
    Give feedback about this article
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                                           YesNo




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    Made for kids content
   Set your channel or video’s audience
   Determining if your content is "made for kids"
   Best practices for kids and family content
   Frequently asked questions about “made for kids”

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23. suomi
24. svenska



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32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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   Help Center




o   Fix a problem



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   YouTube




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Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
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Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
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    Age-restrict your own video
    If any of your videos are not appropriate for viewers under 18, you can add an age-
    restriction. This type of age-restriction is self-imposed and is not a result of a review by
    YouTube.

    When a video is age-restricted, viewers must be signed in and 18 years of age or older
    to view it. These videos are not shown in certain sections of YouTube. Age-restricted
    videos may also have limited or no ads.

    When deciding whether to age restrict content, you should consider issues such as:

   Violence
   Disturbing imagery
   Nudity
   Sexually suggestive content
   Portrayal of dangerous activities

    Go to our article on age restrictions for more information.

    Videos that the uploader proactively age-restricts are still subject to YouTube's
    Community Guidelines. If YouTube decides a video should be age-restricted, a
    permanent age-restriction will be applied. This restriction happens even if the uploader
    restricted the video.

    If the video uploaded is meant to be an ad, don't use this type of age restriction. It will
    result in ads being permanently disapproved.

    How to age-restrict a video


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     Add age-restriction when you upload a video
                     The link ed




1. Select Upload     to begin uploading the video to YouTube.
                     image cannot
                     be displayed.
                     The file may
                     have been
                     moved,
                     renamed, or
                     deleted. Verify …




2. Enter your video’s details and audience setting.
3. Click the drop down next to Age-restriction and select Yes, restrict my videos to viewers
   over 18.
4. Follow the steps to finish the upload process.

     Add age-restriction to uploaded videos
1. Go to your Videos page in YouTube Studio.
2. Click the box next to the video you want to edit.
3. Click the Down arrow next to Age-restriction and select Yes, restrict my videos to
   viewers over 18.

     Add age-restriction on a live stream
                                                          The link ed




1.   In the upper right-hand corner, click the Camera .
                                                          image cannot
                                                          be display ed.
                                                          The file may
                                                          have been
                                                          mov ed,
                                                          renamed, or
                                                          deleted. Verify …




2.   Click Go live.
3.   Enter your live stream’s details info and audience setting.
4.   Click the Down arrow next to Age-restriction and select Yes, restrict my videos to
     viewers over 18.

     Check which videos are age-restricted
     1. Go to your Videos page in YouTube Studio.
     2. Use the ‘Age-Restriction’ filter to view all age-restricted video.
     Give feedback about this article
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                                            Was this helpful?
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                                                 Submit
     Manage content
    Your content & Restricted Mode
    Age-restrict your own video
    Videos locked as private
    View your Reporting History



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36. ไทย
37. 中文（简体）



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38. 中文（繁體）
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o   Policy, safety, & copyright




   Community



   YouTube




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    problems playing videosPurchase and watch movies and TV shows
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    settingsManage accessibility settingsTroubleshoot account issues
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    community & commentsLive stream on YouTube
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   View, organize, or delete comments
   If a video's owner has turned on comments, you can post comments and like, dislike, or
   reply to other comments on a video.

   View comments on a video

   To view comments on a video, scroll on the video's page. Replies are threaded to make
   it easy to follow conversations. All comments on YouTube are public and anyone can
   reply to a comment that you post.

   If you can't find a comment after you get a notification, it's possible that the comment
   has already been removed. Comments can be removed by the original poster, the
   channel owner, or for policy violations.

   If you see a comment that you think is inappropriate, you can report it as spam or
   abuse. If you're a creator, you can also use the comment moderation tools to manage
   comments on your videos.
   View your comment history

   You can view public comments you’ve left across YouTube.

1. Go to Comment History.
2. To go to the original place you posted your comment, click or tap the content.

   If you commented on a deleted video, or if YouTube removed your comment for a policy
   violation, it won't appear in this history.

   Get shareable link for a comment




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     You can click or tap a comment's timestamp to create a highlighted comment link. This
     action will give you a shareable link in the address bar for that specific comment and its
     thread.

     Change what comments show first

     On the web, you can change how comments show under a video. Use the Sort By option
     to choose Top comments or Newest first.

     Click the timestamp to create a 'Highlighted Comment' link. This action will isolate your
     comment thread and give a shareable link in the address bar.

     Delete comments

1.   Go to Comment History.
2.   Click or tap the video link.                                   The link ed




3.   Next to the comment in YouTube, select More
                                                                    image cannot




                                                                                        .
                                                                    be display ed.
                                                                    The file may
                                                                    hav e been
                                                                    mov ed,
                                                                    renamed, or
                                                                    deleted. Verify …




                 The link ed         The link ed




4.   Select Edit    or Delete .
                 image cannot        image cannot
                 be displayed.       be display ed.
                 The file may        The file may
                 have been           hav e been
                 moved,              mov ed,
                 renamed, or         renamed, or
                 deleted. Verify …   deleted. Verify …




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                                                         Was this helpful?
                                                             YesNo




                                                             Submit
     Comment, subscribe, & connect with creators
    View, organize, or delete comments
    Post & interact with comments
    Change comment notification settings
    Changes to comment counts
    Find profile cards

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    YouTube Terms of Service

      English?

     English




                                                                                            504
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1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
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16. norsk
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20. română
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27. čeština
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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
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41. English

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                                                                               700
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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     YouTube Help

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     General Help Center experience
                                                                                          Next
     Help CenterCommunity


     Embed videos & playlists
     You can add a YouTube video or playlist to a website or blog by embedding it.



       Embed videos and playlists



     The YouTube API Terms of Service and Developer Policies apply to all access and use
     of the YouTube embedded player.

     Embed a video or playlist
1.   On a computer, go to the YouTube video or playlist you want to embed.
                   The link ed
                   image cannot




2.   Click SHARE .
                   be displayed.
                   The file may
                   hav e been
                   moved,
                   renamed, or
                   deleted. Verify …




3.   From the list of Share options, click Embed.
4.   From the box that appears, copy the HTML code.
5.   Paste the code into your website HTML.
6.   For network administrators: You will need to add youtube.com to the firewall allowlist.
7.   Important: If your website or app is child directed and you embed YouTube content, you
     must self designate your site or app using these tools. This self designation will ensure
     Google does not serve personalized ads on these sites or apps and some features will
     be disabled in the embedded player.

     Note: Age-restricted videos can’t be watched on most 3rd party websites. These videos
     will redirect viewers back to YouTube when played.




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   Manage video embedding options
   Turn on privacy-enhanced mode

   The Privacy Enhanced Mode of the YouTube embedded player prevents the use of
   views of embedded YouTube content from influencing the viewer’s browsing experience
   on YouTube. This means that the view of a video shown in the Privacy Enhanced Mode
   of the embedded player will not be used to personalize the YouTube browsing
   experience, either within your Privacy Enhanced Mode embedded player or in the
   viewer’s subsequent YouTube viewing experience.

   If ads are served on a video shown in the Privacy Enhanced Mode of the embedded
   player, those ads will likewise be non-personalized. In addition, the view of a video
   shown in the Privacy Enhanced Mode of the embedded player will not be used to
   personalize advertising shown to the viewer outside of your site or app.

   As a reminder, the YouTube API Terms of Service and Developer Policies apply to the
   access and use of the YouTube embedded player.

   To use Privacy Enhanced Mode:

1. Change the domain for the embed URL in your HTML from https://www.youtube.com to
   https://www.youtube-nocookie.com.
2. For network administrators: You will need to add youtube-nocookie.com to the firewall
   allowlist.
3. For use in applications, use a WebView instance of the embedded player. Privacy
   Enhanced Mode is available only for embedded players on websites.
4. Important: If your website or app is child directed, you must self designate your site or
   app using these tools, as required by the YouTube API Terms of Service and Developer
   Policies, even if you embed YouTube videos with the Privacy Enhanced Mode player.

   Example:

   Before

   <iframe width="1440" height="762"

   src="https://www.youtube.com/embed/7cjVj1ZyzyE"

   frameborder="0" allow="autoplay; encrypted-media" allowfullscreen></iframe>

   After




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                                                                                           705
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    <iframe width="1440" height="762" src="https://www.youtube-
    nocookie.com/embed/7cjVj1ZyzyE"

    frameborder="0" allow="autoplay; encrypted-media" allowfullscreen></iframe>



    Note: If the viewer clicks or taps out of the embed and is redirected to another website
    or app, that website or app may track the viewer’s behavior as per that website’s or
    app’s policies and terms.

    Make an embedded video play automatically

    To make an embedded video autoplay, add "&autoplay=1" to the video’s embed code
    right after the video ID (the series of letters that follows "embed/").

    Embedded videos that are autoplayed don't increment video views.

    Example:

          <iframe width="560" height="315"
          src="https://www.youtube.com/embed/D6Ac5JpCHmI?&autoplay=1"frameb
          order="0"
          allowfullscreen></iframe>
    Start an embedded video at a certain time

    To have a video start playing from a specific point, add “?start=” to a video’s embed
    code, followed by the time in seconds at which you’d like the video to begin playing.

    For example, if you want a video to start at 1 minute and 30 seconds into the video, your
    embed code would look something like this:

          <iframe allowfullscreen="" frameborder="0" height="315"
          src="http://www.youtube.com/embed/UkWd0azv3fQ?start=90"
          width="420"></iframe>
    Add captions to an embedded video

    Make captions automatically appear for an embedded video by adding
    "&cc_load_policy=1" to the video's embed code.

    You can also choose a caption language for the embedded video. To specify the
    caption language for the video that you'd like to embed, just add
    "&cc_lang_pref=fr&cc_load_policy=1" to the video's embed code.

   "cc_lang_pref" sets the language for the captions shown in the video.
   "cc_load_policy=1" turns captions on by default.



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    "fr" represents the language code for French. You can look up 2-letter language codes in
     the ISO 639-1 standard.

     Turn off embedding for your videos
     If you've uploaded a video and don't want to allow others to embed your video on
     external sites, follow these steps:

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.                     The link ed




3.   Next to the video you’d like to manage, select Details .
                                                             image cannot
                                                             be display ed.
                                                             The file may
                                                             hav e been
                                                             mov ed,
                                                             renamed, or
                                                             deleted. Verify …




4.   From the top, select More options.
5.   Under “Additional options”, uncheck the box next to “Allow embedding” and Save.

     Give feedback about this article
     Choose a section to give feedback on

                                         Was this helpful?
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                                             Submit
     Save or share videos & playlists
    Share videos and channels
    Embed videos & playlists
    Share clips

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      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)
7.   Filipino
8.   français



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9. hrvatski
10. Indonesia
11. italiano
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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
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26. Türkçe
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28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
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40. 한국어
41. English

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    Google Help


   Help Center



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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
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    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




                                                                                   515
                                                                                   710
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                                                                                 711
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CHILD SAFETY - NO CONTENT (EMPTY)




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This help content & information

General Help Center experience
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Help CenterCommunity


Nudity & sexual content policies

The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.

Explicit content meant to be sexually gratifying is not allowed on YouTube. Posting
pornography may result in content removal or channel termination. Videos containing
fetish content will be removed or age-restricted. In most cases, violent, graphic, or
humiliating fetishes are not allowed on YouTube.

If you find content that violates this policy, report it. Instructions for reporting violations
of our Community Guidelines are available here. If you've found a few videos or
comments that you would like to report, you can report the channel.

Sexually explicit content featuring minors and content that sexually exploits minors is
not allowed on YouTube. We report content containing child sexual abuse imagery to
the National Center for Missing and Exploited Children, who work with global law
enforcement agencies.

What this policy means for you
If you're posting content




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    Don’t post content on YouTube if it has any of the items below. Explicit content
    featuring the below policy violations could result in channel termination.

   Depiction of genitals, breasts, or buttocks (clothed or unclothed) for the purpose of
    sexual gratification
   Pornography or depicting sexual acts, genitals, or fetishes for the purpose of sexual
    gratification on any surface (such as video, text, audio, images)

    Other types of content that violate this policy
   Explicit or implied depictions of sex acts for the purpose of sexual gratification
   This applies to real-world or dramatized content such as sex scenes, video games, or
    music
   Masturbation, fondling, or groping
   Masturbation or fondling of genitals, breasts, or buttocks
   Using or displaying sex toys to provide viewers with sexual gratification
   Animated or illustrated pornography, sex acts, or fetish content
   Nudity or partial nudity for the purpose of sexual gratification
   Bestiality or promotion of bestiality
   Incest or promotion of incest
   Non-consensual sex acts or unwanted sexualization
   Celebrity wardrobe accidents or nude photo leaks
   Violent, graphic, or humiliating fetish content where the purpose is sexual gratification
   Aggregating content for the purpose of sexual gratification
   Any sexual content involving minors — see our Child Safety on YouTube page for more
    information

    Please note this is not a complete list.

    Age-restricted content

    We may age-restrict content if it includes nudity or other sexual content but doesn’t
    depict anything described above. We consider the following when deciding whether to
    age-restrict or remove content.

   Whether breasts, buttocks or genitals (clothed or unclothed) are the focal point of the
    video
   Whether the subject is depicted in a pose that is intended to sexually arouse the viewer
   Whether the language used in the video is graphic or lewd
   Whether the subject's actions in the video invite sexual activity, such as by kissing,
    provocative dancing, or fondling
   Whether the clothing would be generally unacceptable in public contexts, such as
    lingerie
   Whether sexual imagery or audio has been blurred, masked, or obscured



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   Whether sexual imagery or audio is fleeting or prolonged in the content
   Whether the content invites others to participate in a challenge involving sexual acts

    Please note this is not a complete list.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Remember these are just some examples, and don't post
    content if you think it might violate this policy.

    Educational content
    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Clips extracted from non-pornographic films, shows, or other content in order to isolate
    sexual content (real world or artistic)
   Groping, pantsing, public masturbation, upskirting, voyeurism, predatory exhibitionism,
    or any other content that depicts someone in a sexualized manner without their consent

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    More examples
   Playlists that aggregate content containing nudity or sexual themes for the purpose of
    sexual gratification
   Provocative dancing that is focused on the dancer’s genitals, buttocks, or breasts, or
    that includes fondling or groping
   Content that sexualizes rape in any form, or content that aggregates clips of dramatized
    rape scenes
   Audio or textual depictions of sexual acts for the purpose of sexual gratification
   Content showing bodily fluids or excretion, such as urine, for the purpose of sexual
    gratification
   Content using otherwise everyday objects or scenarios, such as injections or eating, for
    the purpose of sexual gratification
   Video game content which has been developed or modified (“modded”) for sexual
    gratification, or focuses on themes of unwanted sexualization

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a



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    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

    If your content contains pornography, we may terminate your channel.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our new Creator Academy course.

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                                                                     Was this helpful?
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                                                                           Submit
    YouTube policies
   Nudity & sexual content policies
   Thumbnails policy
   Child safety policy
   Suicide & self-injury policy
   Vulgar language policy

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              English?

    English

1. català
2. dansk



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14. magyar
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
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    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                   524
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                 720
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    YouTube Help

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    This help content & information

    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    Thumbnails policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Thumbnails that violate our Community Guidelines are not allowed on YouTube.

    If you see thumbnails that violate this policy, report them. Instructions for reporting
    violations of our Community Guidelines are available here. If you've found a few videos
    or comments that you would like to report, you can report the channel.

    What this means for you
    Don’t post a thumbnail on YouTube that fits any of the descriptions noted below.

   Thumbnails that include pornographic images depicting sexual acts, nudity, or other
    sexually gratifying imagery
   Violent imagery intended to shock or disgust
   Graphic or disturbing imagery with blood or gore
   Thumbnails with vulgar or lewd language
   Thumbnails misleading viewers into thinking they’re about to view something that’s not
    in the video

    Note this is not a complete list.




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    Thumbnails that don’t violate our policies, but aren’t
    appropriate for all audiences
    Sometimes, a thumbnail may not be appropriate for all audiences, but doesn’t violate
    our Community Guidelines. When that happens, we may place an age-restriction on the
    video or we may remove the thumbnail, but we won’t issue a strike on your channel.
    We’ll let you know we removed it and you’ll be able to upload another thumbnail.

    Here’s what we consider when we remove or age-restrict these kinds of thumbnails:

   Whether breasts, buttocks or genitals (clothed or unclothed) are the focal point of the
    thumbnail
   Whether the subject is depicted in a pose or clothing that is intended to sexually arouse
    the viewer
   Whether violent or gory imagery is the focal point of the thumbnail
   Whether written text is intended to be vulgar or shock or disgust viewers
   Whether the title, description, tags, or other data indicate an intent to shock or disgust
    viewers

    What happens when thumbnails violate our policies
    If your thumbnail contains pornography, we may terminate your channel. If your
    thumbnail violates other policies, we’ll age-restrict your video or remove the thumbnail
    and may issue a strike against your account. If this is the first time you’ve posted
    content that violates our Community Guidelines, you’ll get a warning with no penalty to
    your channel. If it’s not, we’ll issue a strike against your channel. Your channel will be
    terminated if you get 3 strikes. You can learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
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   Thumbnails policy
   Child safety policy
   Suicide & self-injury policy
   Vulgar language policy

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29. български



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30. русский
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32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
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o   Policy, safety, & copyright




   Community



   YouTube




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Suicide & self-injury policy
The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.

At YouTube, we take the health and well-being of all our creators and viewers seriously.
Awareness and understanding of mental health is important and we support creators
sharing their stories, such as posting content discussing their experiences with
depression, self-harm, or other mental health issues.

We do not, however, allow content on YouTube that promotes suicide, self-harm, or is
intended to shock or disgust users.

What to do if you find this content
If you come across content in which someone expresses suicidal thoughts or is
engaging in self-harm, please contact local emergency services immediately for help
and flag the video to bring it to our immediate attention.

What to do if you need support
If you are depressed, having thoughts of suicide, or self-harming, know there is help and
you’re not alone. Many people turn to suicidal thinking and self-harm as ways to cope
with painful emotions. Talking to a specialist can help you identify healthy, effective
coping strategies and develop skills to manage difficult feelings.




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Below is a list of suicide prevention organizations dedicated to helping those in need in
different countries and regions. The websites www.befrienders.org and suicide.org also
have extensive lists of organizations.


Australia         Lifeline Australia                         13 11 14

                  Kids Helpline                              1800 55 1800
Argentina         Centro de Asistencia al Suicida - Buenos   135 (desde Capital y Gran
                  Aires                                      Buenos Aires)

                                                             (011) 5275-1135 (desde todo
                                                             el país)
Brazil            Centro de Valorização da Vida              188
Belgium           Centre de Prévention du Suicide /          0800 32 123

                  Zelfmoordlijn 1813C                        1813
Bulgaria           Български Червен Кръст                     02 492 30 30
Czech Republic     Psychiatrická léčebna Bohnice - Centrum
                  krizové intervence                         +420 284 016 666
Denmark            Livslinien                                70201201
France            S.O.S Amitié                               09 72 39 40 50
Finland           Suomen Mielenterveysseura / Kansallinen    09-2525-0111
                  kriisipuhelin
Germany           Telefonseelsorge                            0800-1110111
Greece            ΚΛΙΜΑΚΑ                                     1018
                                                              801 801 99 99
Hong Kong         香港撒瑪利亞防止自殺會                                 2389 2222
Hungary           S.O.S. Telefonos Lelki Elsősegély Szolgálat 06 1 116-123
India             आसरा                                        91-9820466726
                  AASRA
Ireland           Samaritans                                  116 123
Israel            ‫ עזרה ראשונה נפשית‬- ‫ער"ן‬                    1201
Italy             Samaritans Onlus                            800 86 00 22
Japan             こころの健康相談統一ダイヤル                              0570-064-556
New Zealand       Lifeline New Zealand                        0800 543 354
Netherlands       Stichting 113Online                         0900-0113
Singapore         Samaritans of Singapore                     1800-221-4444
Spain             Telèfon de l'Esperança de Barcelona         93 414 48 48

                  Teléfono de la Esperanza                   717 003 717
South Korea       한국자살예방협회                                   1393
Taiwan            生命線協談專線                                    1995
Thailand          กรมสุขภาพจิต กระทรวงสาธารณสุข              1323
United Kingdom    Samaritans                                 116 123



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    United States of   National Suicide Prevention Lifeline        1-800-273-8255
    America
                       Crisis Text Line                            Text HOME to 741-741

    If you are looking for educational resources about self-harm, visit the following
    websites:

   Visit www.selfinjury.com: S.A.F.E Alternatives is a network and educational resource
    base committed to helping end self-harming behavior.
   Visit www.sioutreach.org: SiOS is an outreach initiative providing information and
    resources about self-harm to those who self-harm, those who have recovered, and
    those who want to help.

    Guidelines for posting mental health-related content
    YouTube users should not be afraid to speak openly about the topics of mental health
    or self-harm. However please don’t post content on YouTube if it fits any of the
    descriptions noted below:

   Promoting or glorifying suicide
   Providing instructions on how to self-harm or die by suicide
   Graphic images of self-harm posted to shock or disgust viewers

    This Community Guidelines policy applies to videos, video descriptions, comments, live
    streams, and any other YouTube product or feature. Please note this is not a complete
    list.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
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24. svenska
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o   Watch videos



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    Vulgar language policy
    Some language may not be appropriate for viewers under 18. We may consider the
    following factors when deciding whether to age-restrict or remove content. Keep in
    mind that this isn't a complete list.

   Use of sexually explicit language or narratives
   Use of excessive profanity in your video
   Use of heavy profanity in your video’s title, thumbnail or associated metadata

    Examples

    Here are some examples of content which may be age-restricted:

   A video focused on the use of profanities such as a compilation or clip taken out of
    context
   A video featuring road rage or sustained rant with heavy profanities
   A video with use of heavy profanities during a physical confrontation or to describe acts
    of violence




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24. svenska



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News & Events


Our ongoing work to tackle hate
By The YouTube Team

Jun.05.2019

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Over the past few years, we’ve been investing in the policies, resources and products needed to
live up to our responsibility and protect the YouTube community from harmful content. This
work has focused on four pillars: removing violative content, raising up authoritative content,
reducing the spread of borderline content and rewarding trusted creators. Thanks to these
investments, videos that violate our policies are removed faster than ever and users are seeing
less borderline content and harmful misinformation. As we do this, we’re partnering closely with
lawmakers and civil society around the globe to limit the spread of violent extremist content
online.

We review our policies on an ongoing basis to make sure we are drawing the line in the right



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place: In 2018 alone, we made more than 30 policy updates. One of the most complex and
constantly evolving areas we deal with is hate speech. We’ve been taking a close look at our
approach towards hateful content in consultation with dozens of experts in subjects like violent
extremism, supremacism, civil rights, and free speech. Based on those learnings, we are making
several updates:

Removing more hateful and supremacist content from YouTube


YouTube has always had rules of the road, including a longstanding policy against hate speech.
In 2017, we introduced a tougher stance towards videos with supremacist content, including
limiting recommendations and features like comments and the ability to share the video. This
step dramatically reduced views to these videos (on average 80%). Today, we're taking another
step in our hate speech policy by specifically prohibiting videos alleging that a group is superior
in order to justify discrimination, segregation or exclusion based on qualities like age, gender,
race, caste, religion, sexual orientation or veteran status. This would include, for example, videos
that promote or glorify Nazi ideology, which is inherently discriminatory. Finally, we will
remove content denying that well-documented violent events, like the Holocaust or the shooting
at Sandy Hook Elementary, took place.

We recognize some of this content has value to researchers and NGOs looking to understand
hate in order to combat it, and we are exploring options to make it available to them in the future.
And as always, context matters, so some videos could remain up because they discuss topics like
pending legislation, aim to condemn or expose hate, or provide analysis of current events. We
will begin enforcing this updated policy today; however, it will take time for our systems to fully
ramp up and we’ll be gradually expanding coverage over the next several months.

Reducing borderline content and raising up authoritative voices


In addition to removing videos that violate our policies, we also want to reduce the spread of
content that comes right up to the line. In January, we piloted an update of our systems in the
U.S. to limit recommendations of borderline content and harmful misinformation, such as videos
promoting a phony miracle cure for a serious illness, or claiming the earth is flat. We’re looking
to bring this updated system to more countries by the end of 2019. Thanks to this change, watch
time that this type of content gets from recommendations has dropped by over 50% in the U.S.
Our systems are also getting smarter about what types of videos should get this treatment, and
we’ll be able to apply it to even more borderline videos moving forward. As we do this, we’ll
also start raising up more authoritative content in recommendations, building on the changes we
made to news last year. For example, if a user is watching a video that comes close to violating
our policies, our systems may include more videos from authoritative sources (like top news
channels) in the "watch next" panel.

Continuing to reward trusted creators and enforce our monetization policies




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Finally, it’s critical that our monetization systems reward trusted creators who add value to
YouTube. We have longstanding advertiser-friendly guidelines that prohibit ads from running on
videos that include hateful content and we enforce these rigorously. And in order to protect our
ecosystem of creators, advertisers and viewers, we tightened our advertising criteria in 2017. In
the case of hate speech, we are strengthening enforcement of our existing YouTube Partner
Program policies. Channels that repeatedly brush up against our hate speech policies will be
suspended from the YouTube Partner program, meaning they can’t run ads on their channel or
use other monetization features like Super Chat.

The openness of YouTube’s platform has helped creativity and access to information thrive. It’s
our responsibility to protect that, and prevent our platform from being used to incite hatred,
harassment, discrimination and violence. We are committed to taking the steps needed to live up
to this responsibility today, tomorrow and in the years to come.

Related Topics
      Policy

Explore the latest company news, creator and artist profiles, culture and trends analyses, and
behind-the-scenes insights on the YouTube Official Blog.

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      Creator Insider
      TeamYouTube [Help]
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      YouTube Culture & Trends
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YouTube Products
Open Accordeon close Accordeon

      YouTube Go
      YouTube Kids
      YouTube Music
      YouTube Originals
      YouTube Premium
      YouTube Studio
      YouTube TV

For Business
Open Accordeon close Accordeon

      Advertising
      Developers

For Creators
Open Accordeon close Accordeon

      Artists
      Creators
      Creator Academy
      Creating for Kids
      Creators Research
      Creators Services Directory
      YouTube NextUp




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       YouTube Space
       YouTube VR

Our Commitments
Open Accordeon close Accordeon

       Creators for Change
       CSAI Match
       Social Impact

YouTube Logo

       Policy & Safety
       Copyright
       Brand Guidelines
       Privacy
       Terms

Question Mark Icon Help
  English
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YouTube Help

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                                      Send feedback on...

This help content & information

General Help Center experience
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Help CenterCommunity


Harassment & cyberbullying policies
The safety of our creators, viewers, and partners is our highest priority. We look to each
of you to help us protect this unique and vibrant community. It’s important you
understand our Community Guidelines, and the role they play in our shared
responsibility to keep YouTube safe. Take the time to carefully read the policy below.
You can also check out this page for a full list of our guidelines.
We recently announced some updates on our harassment policy to better protect
creators and users. The policy below has been updated to reflect these changes.

Content that threatens individuals is not allowed on YouTube. We also don't allow
content that targets an individual with prolonged or malicious insults based on intrinsic
attributes. These attributes include their protected group status or physical traits.

If you find content that violates this policy, report it. Instructions for reporting violations
of our Community Guidelines are available here. If you've found multiple videos or
comments that you would like to report, you can report the channel. For tips and best
practices to stay safe, keep your account secure, and protect your privacy, check out
this Help Center article.

If specific threats are made against you and you feel unsafe, report it directly to your
local law enforcement agency.

What this policy means for you
If you're posting content

Don’t post content on YouTube if it fits any of the descriptions noted below.




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   Content that features prolonged name calling or malicious insults (such as racial slurs)
    based on someone's intrinsic attributes. These attributes include their protected group
    status, physical attributes, or their status as a survivor of sexual assault, domestic
    abuse, child abuse and more.
   Content uploaded with the intent to shame, deceive or insult a minor. A minor is defined
    as an individual under the legal age of majority. This usually means anyone younger
    than 18 years old, but the age of a minor might vary by geography.

    Other types of content that violate this policy
   Revealing someone’s private information, such as their home address, email addresses,
    sign-in credentials, phone numbers, passport number, or bank account information.
   Note: This doesn't include posting widely available public information. Public
    information can include an official’s office phone number or the phone number of a
    business.
   Content that incites others to harass or threaten individuals on or off YouTube.
   Content that encourages abusive fan behavior such as doxxing, dogpiling, brigading or
    off-platform targeting.
   Content that targets an identifiable individual as part of a harmful conspiracy theory
    where the conspiracy theory has been linked to direct threats or violent acts.
   Content making implicit or explicit threats of physical harm or destruction of property
    against identifiable individuals.
   Note: “Implicit threats” include threats that don’t express a specific time, place or
    means, but may feature weapon brandishing, simulated violence and more.
   Content posted by vigilantes restraining or assaulting an identifiable individual.
   Content reveling in or mocking the death or serious injury of an identifiable individual.
   Content that depicts creators simulating acts of serious violence against others
    (executions, torture, maimings, beatings and more).
   Content featuring non-consensual sex acts, unwanted sexualization or anything that
    graphically sexualizes or degrades an individual.
   Content that displays or shows how to distribute non-consensual sexual imagery.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Note this is not a complete list.

    Exceptions
    If the primary purpose is educational, documentary, scientific, or artistic in nature, we
    may allow content that includes harassment. These exceptions are not a free pass to
    harass someone. Some examples include:

   Debates related to high-profile officials or leaders: Content featuring debates or
    discussions of topical issues concerning individuals who have positions of power, like
    high-profile government officials or CEOs of major multinational corporations.



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   Scripted performances: Insults made in the context of an artistic medium such as
    scripted satire, stand up comedy, or music (such as a diss track). Note: This exception
    is not a free pass to harass someone and claim “I was joking.”
   Harassment education or awareness: Content that features actual or simulated
    harassment for documentary purposes or with willing participants (such as actors) to
    combat cyberbullying or raise awareness.

    Note: We take a harder line on content that maliciously insults someone based on their
    protected group status, regardless of whether or not they are a high-profile person.

    Monetization and other penalties
    In some rare cases, we may remove content or issue other penalties when a creator:

   Repeatedly encourages abusive audience behavior.
   Repeatedly targets, insults and abuses an identifiable individual based on their intrinsic
    attributes across several uploads.
   Exposes an individual to risks of physical harm based on the local social or political
    context.
   Creates content that harms the YouTube community by persistently inciting hostility
    between creators for personal financial gain.

    Examples
    Here are some examples of content that’s not allowed on YouTube:

   Repeatedly showing pictures of someone and then making statements like “Look at this
    creature’s teeth, they’re so disgusting!”, with similar commentary targeting intrinsic
    attributes throughout the video.
   Targeting an individual based on their membership in a protected group, such as by
    saying: “Look at this filthy [slur targeting a protected group], I wish they’d just get hit by
    a truck.”
   Targeting an individual and making claims they are involved in human trafficking in the
    context of a harmful conspiracy theory where the conspiracy is linked to direct threats
    or violent acts.
   Using an extreme insult to dehumanize an individual based on their intrinsic attributes.
    For example: “Look at this dog of a woman! She’s not even a human being — she must
    be some sort of mutant or animal!”
   Depicting an identifiable individual being murdered, seriously injured, or engaged in a
    graphic sexual act without their consent.
   Accounts dedicated entirely to focusing on maliciously insulting an identifiable
    individual.




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    More Examples
   Targeting an individual based on their intrinsic attributes to wish for their death or
    serious injury, for example “I wish someone would just bring a hammer down on that
    [Member of a Protected Group’s] face.”
   Threatening someone’s physical safety. This includes implied threats like “when I see
    you next, things will end badly for you.” It also includes explicit threats like “when I see
    you on Saturday I’m going to punch you in the face.” Threatening or implying violence by
    saying things such as, “You better watch out” while brandishing a weapon is also an
    example.
   Posting an individual’s nonpublic personal identifying information like a phone number,
    home address, or email to direct abusive attention or traffic toward them. For example:
    “I got a hold of their phone number, keep on calling and leaving messages until they pick
    up!”
   “Raiding” or directing malicious abuse to identifiable individuals through in-game voice
    chat or messages during a stream.
   Directing users toward a YouTuber’s comment section for malicious abuse. For
    example: “everyone needs to go over to this individual's channel right now and just go
    crazy, let them know how much we want them to die.”
   “Swatting” or other prank calls to emergency or crisis response services, or encouraging
    viewers to act in this or any other harassing behavior.
   Stalking or attempting to blackmail users.
   Zooming in or prolonged focused or emphasis on the breasts, buttocks or genital area
    of an identifiable individual for the purposes of degrading, objectifying, or sexualizing.
   Video game content which has been developed or modified (“modded”) to promote
    violence or hatred against an individual with the attributes noted above.

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.




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     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




                                           Visit Creator Academy for more

     Would you rather learn about our Community Guidelines through videos and quizzes?
     Check out our Creator Academy course.

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     YouTube policies
    Harmful or dangerous content policies
    Violent or graphic content policies
    Violent criminal organizations policy
    Hate speech policy
    Harassment & cyberbullying policies
     The linked image cannot be
     display ed. The file may hav e been
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     that the link points to the correct
     file and location.




     How to build a safe community

     Get pro tips on how to counter negativity online and foster a positive community.

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    YouTube Terms of Service

               English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)
7.   Filipino
8.   français



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9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center



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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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    YouTube Help

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    Help CenterCommunity


    Staying safe on YouTube
    YouTube is a place where people come to share their story, express an opinion, and
    engage with one another. We want to ensure creators and viewers feel safe doing so.
    While the majority of YouTube’s creators and viewers want to share, learn, and connect,
    we know there are instances of abuse, or even harassment. Learn more about the
    policies and tools in place to protect you on YouTube below.

    Creators and users also have a responsibility to keep YouTube a safe and healthy
    platform. Learn more here about how we hold creators and users accountable for
    maintaining these standards.

    Policies on hate & harassment
    YouTube has specific policies to help protect against hate and harassment.

   Hate speech: This policy protects specific groups and members of those groups. We
    consider content hate speech when it incites hatred or violence against groups based
    on protected attributes such as age, gender, race, caste, religion, sexual orientation, or
    veteran status. Learn more on our hate speech policy.
   Harassment: This policy protects specific individuals. We consider content harassment
    when it targets an individual with prolonged or malicious insults based on intrinsic
    attributes, including their protected group status or physical traits. This also includes
    harmful behavior such as threats, bullying, doxxing, or encouraging abusive fan
    behavior. Learn more on our harassment policy.

    To learn more about YouTube’s policies, check out our full list of Community Guidelines.

    Tools to keep you safe


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    We want you to feel safe when you're on YouTube. That’s why we encourage you to use
    the various tools available to help protect you against hate & harassment.

    Important: If you believe you’re in danger, get in touch your local law enforcement.

    Report inappropriate or abusive content or users

   Report abuse and inappropriate content
   Report a privacy violation
   Report impersonations of you or your channel

    Block inappropriate or abusive comments, content or users

   Block commenters
   Block specific words in comments
   Hold comments for review
   Block other viewers on live chat

    Trusted partner resources for online safety (US Only)

   Stop Think Connect
   Connect Safely
   Stay Safe Online

    If you’re concerned that your account has been hacked, hijacked, or compromised, refer
    to our Secure your YouTube account article and follow the steps to protect your
    account.
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    hav e been
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    renamed, or
    deleted. Verify …




    Learn more through videos and quizzes by checking out our courses on hate,
    harassment, and creator well-being.

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    YouTube policies


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   The importance of context
   Creator responsibility
   Best Practices for Content with Children
   Staying safe on YouTube
   Content policies for YouTube Kids

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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски




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32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium




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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues



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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

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    Help CenterCommunity


    Violent or graphic content policies

    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Violent or gory content intended to shock or disgust viewers is not allowed on YouTube.
    Also, content that encourages others to commit violent acts is not allowed.

    If you believe anyone is in imminent danger, you should get in touch with your local law
    enforcement agency to report the situation immediately.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Violent acts:

   Inciting others to commit violent acts against individuals or a defined group of people.
   Encouraging others to go to a particular place to commit violence, to perform violence
    at a particular time.




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   Targeting specific individuals or groups with violence.
   Beatings or brawls outside the context of professional or professionally supervised
    sporting events.
   Fights involving minors. You can learn more about Child safety here.
   Actual school yard fights between minors. We may allow content if minors are pretend
    fighting and that is evident to viewers.

    Graphic content:

   Footage, audio, or imagery involving any of the following:
   Road accidents
   Natural disasters
   War aftermath
   Terrorist attack aftermath
   Street fights
   Physical attacks
   Sexual assaults
   Immolation
   Torture
   Corpses
   Protests or riots
   Robberies
   Medical procedures
   Other such scenarios with the intent to shock or disgust viewers
   Footage or imagery of bodily fluids, such as blood or vomit, with the intent to shock or
    disgust viewers.
   Footage of corpses with massive injuries, such as severed limbs.

    Animal abuse or violence:

   Content that includes a human maliciously causing an animal to experience suffering
    when not for traditional or standard purposes such as hunting or food preparation.
   Content featuring animal rescue that has been staged and places the animal in harmful
    scenarios.
   Content where animals are encouraged or coerced to fight by humans.

    Dramatized or fictional footage:

   Content featuring anything listed above where the viewer is not given enough context to
    understand that the footage is dramatized or fictional.

    Note that this is not a complete list.

    Keep in mind that this policy also applies to videos, video descriptions, thumbnails,
    comments, live streams, and any other YouTube product or feature.



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    Age-restricted content

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Encouraging others to go to a particular place to commit violence, to perform violence
    at a particular time, or to target individuals or groups with violence
   Actual schoolyard fights between minors. We may allow content if minors are only play
    fighting and that is evident to viewers.
   Beatings or brawls outside the context of professional or professionally supervised
    sporting events.

    More examples
    Violent, graphic, or shocking content
    The following types of content are not allowed on YouTube. This is not a complete list.
    Note: there are no exceptions for this example, even if there's educational, documentary,
    scientific, or artistic context in your content.

   Medical procedure footage where the content focuses on open wounds and offers no
    education or explanation to viewers.
   Footage of violent crimes such as robberies or rape being committed that offer no
    education or explanation to viewers.
   Phone, dash cam, or closed circuit TV footage showing the injured or killed in a road
    accident accompanied by titles such as “Crazy accident” or “Warning: Lots of blood.”
   Videos of beheadings.
   One-sided assaults with titles like "Watch this guy get beat-up!"
   Footage filmed by the perpetrator during a deadly or major violent event, in which any of
    the following are visible or audible: weapons, violence, or injured survivors.

    Animal abuse content
    Animal abuse refers to content depicting the malicious infliction of physical harm
    causing an animal or group of animals to experience suffering. This means that there’s
    no purpose to the depiction of animal suffering other than to shock or disgust. We may
    make exceptions for content depicting generally accepted practices like: hunting,
    trapping, pest abatement, food preparation, medical treatment, or animal slaughter that
    depict harm on an animal or group of animals.
    The following types of content are not allowed on YouTube:




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   Dog fighting, cockfighting, or other videos in which human onlookers are forcing
    animals to attack each other. We do allow content featuring animals fighting in the wild,
    such as in a nature documentary.
   Non-educational, documentary, scientific, or artistic content that shows animal
    suffering for the purposes of shock.
   Bullfighting with bulls being harmed (such as swords in the bull).
   Hunting using illegal practices like bombing or poison.
   Content depicting animal rescue that has been staged and places the animal in harmful
    scenarios.

    This is not a complete list.

    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our Creator Academy course.
    Give feedback about this article
    Choose a section to give feedback on

                                                                     Was this helpful?
                                                                         YesNo




                                                                           Submit
    YouTube policies


                                                                                                               569
                                                                                                               764
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   Harmful or dangerous content policies
   Violent or graphic content policies
   Violent criminal organizations policy
   Hate speech policy
   Harassment & cyberbullying policies

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски




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32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium




                                                                               571
                                                                               766
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues



                                                                                   572
                                                                                   767
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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    Firearms policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.
    Content intended to sell firearms, instruct viewers on how to make firearms,
    ammunition, and certain accessories, or instruct viewers on how to install those
    accessories is not allowed on YouTube. YouTube shouldn't be used as a platform to sell
    firearms or accessories noted below. YouTube also doesn’t allow live streams that
    show someone holding, handling, or transporting a firearm.

    What this means for you
    If you're posting content

    Don’t post content on YouTube if the purpose is to do one or more of the following:

   Sell firearms or certain firearms accessories through direct sales (e.g. private sales by
    individuals) or links to sites that sell these items. These accessories may include:
   Accessories that enable a firearm to simulate automatic fire,
   Accessories that convert a firearm to automatic fire, such as: bump stocks, gatling
    triggers, drop-in auto sears, or conversion kits,
   High capacity magazines or belts carrying more than 30 rounds.
   Provide instructions on manufacturing any of the following:
   Firearms,
   Ammunition,
   High capacity magazines,




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   Homemade silencers/suppressors,
   Accessories that enable a firearm to simulate automatic fire,
   Accessories that convert a firearm to automatic fire, such as: bump stocks, gatling
    triggers, drop-in auto sears, or conversion kits
   Provide instructions on how to convert a firearm to automatic or simulated automatic
    firing capabilities.
   Provides instructions on how to install the above-mentioned accessories or
    modifications.

    Please note this is not a complete list.

    Examples
    Here are some examples of content that isn’t allowed on YouTube.

   Links in the title or description of your video to sites where firearms or the accessories
    noted above are sold. You can link to sites that discuss or review these items as long as
    those sites don’t sell those items directly.
   Displaying a firearm with the intention to sell that firearm via private sale. This includes
    giving the seller’s phone number, email address, or other contact information.
   Showing users step-by-step instructions on how to finish a lower receiver in order to
    complete fabrication of a firearm.
   Showing users how to make a silencer out of flashlight, oil can, solvent catcher or other
    parts.
   Showing users how to install a bump stock, or install a comparable accessory built to
    enable simulated automatic fire.

   Live streams that feature someone holding or handling a firearm, regardless of whether
    or not they are firing it. Note: this does not include firearms in video games.
   Live streams that feature someone transporting firearms from place to place, such as
    by carrying them or traveling with them by car, truck, or other vehicle. Note: this does
    not include firearms in video games.


    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
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     We may terminate your channel or account for repeated violations of the Community
     Guidelines or Terms of Service. We may also terminate your channel or account after a
     single case of severe abuse, or when the channel is dedicated to a policy violation. You
     can learn more about channel or account terminations here.

     If you find content that violates this policy, report it. Instructions for reporting violations
     of our Community Guidelines are available here. If you've found a few videos or
     comments that you would like to report, you can report the channel.
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




                                           Visit Creator Academy for more

     Would you rather learn about our Community Guidelines through videos and quizzes?
     Check out our Creator Academy course.

     Give feedback about this article
     Choose a section to give feedback on

                                                                      Was this helpful?
                                                                          YesNo




                                                                            Submit
     YouTube policies
    Firearms policy
    Sale of illegal or regulated goods or services policies

    ©2021 Google
    Privacy Policy
    YouTube Terms of Service

               English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)
7.   Filipino



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8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

   Send feedback on...
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     1




   Google Help




                                                                               577
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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                                                                               773
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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




                                                                                   579
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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Google Help
Sign in
                                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                                  Next
As a precautionary health measure for our support specialists in light of COVID-19,
we're operating with a limited team. If you need help with a product whose support you
had trouble reaching over the phone, consult its product-specific Help Center.
                                                            The link ed image cannot be
                                                            displayed. The file may hav e been
                                                            moved, renamed, or deleted. Verify
                                                            that the link points to the correct
                                                            file and location.




                       How can we help you?
                       The link ed
                       image cannot
                       be display ed.
                       The file may
                       hav e been
                       mov ed,
                       renamed, or
                       deleted. Verify …
                                           Read about Google's response to COVID-19
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                                                            moved, renamed, or deleted. Verify
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                                                     Google Chrome


                                                            The link ed image cannot be
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                                                     Google Account


                                                            The link ed image cannot be
                                                            displayed. The file may hav e been
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                                                            that the link points to the correct
                                                            file and location.




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                                                        YouTube




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                               Gmail


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                                that the link points to the correct
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                           Google Play


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                                that the link points to the correct
                                file and location.




                           

                          Google Search


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                                moved, renamed, or deleted. Verify
                                that the link points to the correct
                                file and location.




                           

                         Google AdSense


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                                that the link points to the correct
                                file and location.




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                           Pixel Phone


                                The link ed image cannot be
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                                file and location.




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                          Google Maps


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                                displayed. The file may hav e been
                                moved, renamed, or deleted. Verify
                                that the link points to the correct
                                file and location.




                           

                          Google Cloud




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                               file and location.




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                           Google Ads


                               The link ed image cannot be
                               displayed. The file may hav e been
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                          Google Photos


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                       Google For Families


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                           Google Nest


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                           Google Pay


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                                   Google Store


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                                        that the link points to the correct
                                        file and location.




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                                   Google Drive


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                                        displayed. The file may hav e been
                                        moved, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                                    

                                 Google Shopping


                                        The link ed image cannot be
                                        displayed. The file may hav e been
                                        moved, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                                    

                                Google Accessibility



                                     Consumer




    Blogger






    Finance






    Google Earth




                                                                              584
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


    Google Maps






    Gmail






    Picasa






    Toolbar






    Google Search






    Calendar






    Docs Editors








                                                                              585
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    Books






    Google Groups






    YouTube






    Trends






    Android






    Sites






    Google Chrome






    Google Drive




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


    Google Voice






    Google Translate






    Chromebook






    Google TV






    Google Play






    My Maps






    Chrome Web Store








                                                                              587
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    Travel






    Google Fiber






    Nexus






    Ads






    Hangouts






    Nik Collection






    Chromecast






    Snapseed




                                                                               588
                                                                               783
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


    Google Keep






    Starbucks WiFi






    Google Fi






    Waze






    Wear OS by Google






    Google Fit






    YouTube Kids Parental Guide








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    Google Store






    Chromecast built-in






    Google Photos






    Android Auto






    Android TV






    Google For Families






    Google Camera






    Google Wifi




                                                                              590
                                                                              785
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


    Local Guides






    YouTube Music






    YouTube Studio App Help Center






    Google Cardboard






    Google Duo






    Datally






    YouTube Go








                                                                              591
                                                                              786
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    Google Nest






    YouTube TV






    Google Clips






    Pixel Phone






    Opinion Rewards






    Daydream






    Google Assistant






    Files by Google




                                                                              592
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


    CS First






    Google Chat






    Pixelbook






    Messages






    Reserve with Google






    Phone app






    Gboard








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    Contacts






    Google One






    Google Pay






    Tasks






    Google News






    Google Accessibility






    Science Journal






    Google Shopping




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


    Stadia






    Google Pay






    Google Food Ordering






    Google Kids Space






    User Security






    Google Workspace Individual



                                     Business




    Google Ads Editor




                                                                              595
                                                                              790
         Case 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 796 of 29843







    Google Workspace Admin






    Books






    Search Console






    Programmable Search Engine






    Publisher Center






    Ad Grants






    Google Workspace








                                                                              596
                                                                              791
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    Google Ads






    Google Cloud






    Studio






    Google AdSense






    Authorized Buyers






    Map Content Partners






    Google Merchant Center






    Google Ad Manager




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


    Analytics






    Currents






    Transit Partners






    Global Market Finder






    Google for Nonprofits






    Search Ads 360






    Google Chrome Enterprise








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    Google AdMob






    Google Vault






    Google My Business






    Hotel Center






    Display & Video 360






    Campaign Manager 360






    Google Domains






    Google Pay Merchant




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                                                                              794
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


    Google Cloud Platform Console






    Cultural Institute Platform






    Display Specs






    Android Enterprise






    Cloud Search






    Google Marketing Platform






    Cardboard Manufacturer








                                                                               600
                                                                               795
          Case 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 801 of 29843




    Card Issuer






    Google Meet






    Jamboard






    Google Pay for Online Business






    Work Insights






    Comparison Shopping Services Center






    POps VMO Scaled Services Knowledge






    Elastifile




                                                                               601
                                                                               796
          Case 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 802 of 29843







    CEWA






    POps VMO Candidate Support Knowledge Hub



                                      Developer




    Play Console






    GDG






    Google Web Designer






    Cast Developer






    reCAPTCHA




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                                                                               797
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


    Payments center






    Payment Processors






    Justice League



                                              Your account
                              oCan't access your account?
                           o Recent transactions with Google
                          o Useful stuff you can do with Google
                                         Help Communities

                                      Learn more about
                              Google's Product Experts Program

                                             Status dashboard

      If you're having trouble accessing a Google product, there's a chance we're currently
     experiencing a temporary problem. You can check for outages and downtime on the G
                                    Suite Status Dashboard.

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   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk




                                                                                        603
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3. Deutsch
4. eesti
5. English (United Kingdom)
6. español
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português (Brasil)
19. română
20. slovenčina
21. slovenščina
22. suomi
23. svenska
24. Tiếng Việt
25. Türkçe
26. íslenska
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اردو‬
35. ‫اﻟﻌﺮﺑﯿﺔ‬
36. ‫ﻓﺎرﺳﯽ‬
37. िह ी
38. ไทย
39. 中文（简体）
40. 中文（繁體）
41. 日本語
42. 한국어
43. English

   Send feedback about our Help Center




                                                                               604
                                                                               799
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     1




    Google Help


   Help Center



   Google




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   Terms of Service



   Submit feedback


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                                                                               605
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    YouTube Help

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    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    COVID-19 medical misinformation policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    YouTube doesn't allow content about COVID-19 that poses a serious risk of egregious
    harm.

    YouTube doesn't allow content that spreads medical misinformation that contradicts
    local health authorities’ or the World Health Organization’s (WHO) medical information
    about COVID-19. This is limited to content that contradicts WHO or local health
    authorities’ guidance on:

   Treatment
   Prevention
   Diagnosis
   Transmission
   Social distancing and self isolation guidelines
   The existence of COVID-19

    Note: YouTube’s policies on COVID-19 are subject to change in response to changes to
    global or local health authorities’ guidance on the virus. This policy was published on
    May 20, 2020.

    What this policy means for you



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    If you're posting content

    Don’t post content on YouTube if it includes any of the following:

    Treatment misinformation:

   Content that encourages the use of home remedies, prayer, or rituals in place of medical
    treatment such as consulting a doctor or going to the hospital
   Content that claims that there’s a guaranteed cure for COVID-19
   Content that recommends use of Ivermectin or Hydroxychloroquine for the treatment of
    COVID-19
   Claims that Hydroxychloroquine is an effective treatment for COVID-19
   Categorical claims that Ivermectin is an effective treatment for COVID-19
   Other content that discourages people from consulting a medical professional or
    seeking medical advice

    Prevention misinformation: Content that promotes prevention methods that contradict
    local health authorities or WHO.

   Claims that there is a guaranteed prevention method for COVID-19
   Claims that any medication or vaccination is a guaranteed prevention method for
    COVID-19
   Content that recommends use of Ivermectin or Hydroxychloroquine for the prevention
    of COVID-19
   Claims that wearing a mask is dangerous or causes negative physical health effects
   Claims that masks do not play a role in preventing the contraction or transmission of
    COVID-19
   Claims about COVID-19 vaccinations that contradict expert consensus from local health
    authorities or WHO
   Claims that an approved COVID-19 vaccine will cause death, infertility, miscarriage,
    autism, or contraction of other infectious diseases
   Claims that an approved COVID-19 vaccine will contain substances that are not on the
    vaccine ingredient list, such as biological matter from fetuses (e.g. fetal tissue, fetal cell
    lines) or animal products
   Claims that an approved COVID-19 vaccine will contain substances or devices meant to
    track or identify those who’ve received it
   Claims that COVID-19 vaccines will make people who receive them magnetic
   Claims that an approved COVID-19 vaccine will alter a person’s genetic makeup
   Claims that COVID-19 vaccines do not reduce risk of contracting COVID-19
   Claims that any vaccine causes contraction of COVID-19
   Claims that a specific population will be required (by any entity except for a
    government) to take part in vaccine trials or receive the vaccine first
   Content that promotes the use of unapproved or homemade COVID-19 vaccines
   Instructions to counterfeit vaccine certificates, or offers of sale for such documents




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    Diagnostic misinformation: Content that promotes diagnostic methods that contradict
    local health authorities or WHO.

   Claims that approved COVID-19 tests are dangerous or causes negative physical health
    effects
   Claims that approved COVID-19 tests cannot diagnose COVID-19

    Transmission misinformation: Content that promotes transmission information that
    contradicts local health authorities or WHO.

   Content that claims that COVID-19 is not caused by a viral infection
   Content that claims COVID-19 is not contagious
   Content that claims that COVID-19 cannot spread in certain climates or geographies
   Content that claims that any group or individual has immunity to the virus or cannot
    transmit the virus

    Social distancing and self isolation misinformation: Content that disputes the efficacy
    of local health authorities’ or WHO's guidance on physical distancing or self-isolation
    measures to reduce transmission of COVID-19.

    Content that denies the existence of COVID-19:

   Denial that COVID-19 exists
   Claims that people have not died or gotten sick from COVID-19
   Claims that the virus no longer exists or that the pandemic is over
   Claims that the symptoms, death rates, or contagiousness of COVID-19 are less severe
    or equally as severe as the common cold or seasonal flu
   Claims that the symptoms of COVID-19 are never severe

    Examples
    Here are some examples of content that’s not allowed on YouTube:

   Denial that COVID-19 exists
   Claims that people have not died from COVID-19
   Claims that any vaccine is a guaranteed prevention method for COVID-19
   Claims that a specific treatment or medicine is a guaranteed cure for COVID-19
   Claims that hydroxychloroquine saves people from COVID-19
   Promotion of MMS (Miracle Mineral Solution) for the treatment of COVID-19
   Claims that certain people have immunity to COVID-19 due to their race or nationality
   Encouraging taking home remedies instead of getting medical treatment when sick
   Discouraging people from consulting a medical professional if they’re sick
   Content that claims that holding your breath can be used as a diagnostic test for COVID-
    19




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   Videos alleging that if you avoid Asian food, you won’t get the coronavirus
   Videos alleging that setting off fireworks can clean the air of the virus and will prevent
    the spread of the virus
   Claims that COVID-19 is caused by radiation from 5G networks
   Videos alleging that the COVID-19 test is the cause of the virus
   Claims that countries with hot climates will not experience the spread of the virus
   Videos alleging that social distancing and self-isolation are not effective in reducing the
    spread of the virus
   Claims that wearing a mask causes oxygen levels to drop to dangerous levels
   Claims that masks cause lung cancer or brain damage
   Claims that wearing a mask gives you COVID-19
   Claims that the COVID-19 vaccine will kill people who receive it
   Claims that the COVID-19 vaccine will be used as a means of population reduction
   Videos claiming that the COVID-19 vaccine will contain fetal tissue
   Claims that the flu vaccine causes contraction of COVID-19
   Claims that COVID-19 vaccines are not effective in preventing the spread of COVID-19
   Claims that the COVID-19 vaccine causes contraction of other infectious diseases or
    makes people more vulnerable to contraction of other infectious diseases
   Claims that the COVID-19 vaccines contain a microchip or tracking device
   Claims that achieving herd immunity through natural infection is safer than vaccinating
    the population
   Claims that COVID-19 never causes serious symptoms or hospitalization
   Claims that the death rate from the seasonal flu is higher than the death rate of COVID-
    19
   Claims that people are immune to the virus based on their race
   Claims that children cannot or do not contract COVID-19
   Claims that there have not been cases or deaths in countries where cases or deaths
    have been confirmed by local health authorities or the WHO

    Educational, documentary, scientific or artistic content
    We may allow content that violates the misinformation policies noted on this page if
    that content includes additional context in the video, audio, title, or description. This is
    not a free pass to promote misinformation. Additional context may include
    countervailing views from local health authorities or medical experts. We may also
    make exceptions if the purpose of the content is to condemn, dispute, or satirize
    misinformation that violates our policies. We may also make exceptions for content
    showing an open public forum, like a protest or public hearing, provided the content
    does not aim to promote misinformation that violates our policies.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a



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    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Misinformation policies
   Misinformation policies
   Elections misinformation policies
   COVID-19 medical misinformation policy

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu



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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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     1




    Google Help


   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy




                                                                               612
                                                                               807
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   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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services, per our Privacy & Terms.




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file and location.




Our mission
Our commitments
Managing harmful content How does YouTube manage harmful content? Standing up to hate
How does YouTube protect the community from hate and harassment? Fighting misinformation
How does YouTube combat misinformation? Curbing extremist content How does YouTube
prevent radicalization? Supporting political integrity How does YouTube support civic
engagement and election integrity? Preventing bias What does YouTube do to prevent bias?
Fostering child safety How does YouTube help keep kids protected on the platform? Protecting
user data How does YouTube maintain user privacy? Safeguarding copyright How does
YouTube protect copyrighted content? Sharing revenue How does YouTube make money?
Promoting digital wellbeing How does YouTube support users’ digital wellbeing? Responding to
COVID-19 How is YouTube supporting users during COVID-19?
Product features
YouTube Search How our search tool can help you find content you'll love Recommended
videos How we recommend content we think you'll want to watch News and information How
we provide context for your search results and videos Health information How we provide
context for health queries Monetization for Creators How Creators earn money on YouTube
YouTube Live How you can reach your community in real time with Live and Premieres
User settings
Privacy controls How we protect your information and what you can do to control your privacy
Ad Settings How our advertising works and how to customize your ad experience Parental
controls How you can create a family friendly experience Autoplay How Autoplay works and
how to turn it off
Rules and policies
Policies overview How our rules and policies help keep our platform safe Community
Guidelines How we define what we do and don’t allow on YouTube Copyright How we help
Creators responsibly manage their content Monetization policies How Creators can monetize
their content as part of the YouTube Partner Program Legal removals How we approach content
that violates local law
Progress and impact
Responsibility through the years How we've been building a more responsible platform over the
years Progress on managing harmful content How we're enforcing our policies on harmful
content by the numbers Our impact How creative entrepreneurs are transforming their lives and
communities Culture and trends How to better understand the next generation of Creators and
artists Advancing sustainability How we're investing in a carbon-free future
Resources
Downloadable summaries Download shareable summaries of essential content on this website
about our responsibility efforts Advertiser resources Find resources and quick guides on Brand
Safety for advertisers Brand resources Access brand resources such as our YouTube logo, color
palettes, and permissions form
Our mission Our commitments Managing harmful content Standing up to hate Fighting
misinformation Curbing extremist content Supporting political integrity Preventing bias
Fostering child safety Protecting user data Safeguarding copyright Sharing revenue Promoting
digital wellbeing Responding to COVID-19 Product features YouTube Search Recommended
videos News and information Health information Monetization for Creators YouTube Live User



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settings Privacy controls Ad Settings Parental controls Autoplay Rules and policies Policies
overview Community Guidelines Copyright Monetization policies Legal removals Progress and
impact Responsibility through the years Progress on managing harmful content Our impact
Culture and trends Advancing sustainability Resources Downloadable summaries Advertiser
resources Brand resources                     The link ed image cannot be
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                                              that the link points to the correct
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Rules and policies


Monetization Policies
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file and location.




                                     Overview
                                     Advertising policies
                                     Enforcing policies

Being accepted into the YouTube Partner Program (YPP) is a major milestone in any Creator’s
journey. As part of YPP, Creators can start monetizing their content, receive email and chat
support, and get access to the Copyright Match Tool to help protect their content.

A key eligibility requirement for YPP is to follow YouTube monetization policies, which include
YouTube’s Community Guidelines, Terms of Service, and Google AdSense program policies.
These policies apply to a Creator’s channel as a whole, and not just individual videos.

Setting a higher bar for monetization
Over the last few years, YouTube has taken steps to strengthen the requirements for
monetization so that spammers, impersonators, and other bad actors can’t hurt the ecosystem or
take advantage of good Creators producing high quality content.

To apply for membership in YPP, channels must meet eligibility thresholds related to watch time
and subscribers. Following application, YouTube’s review team ensures the channel has not run
afoul of YouTube’s monetization, content, and copyright policies. Only channels that meet
eligibility thresholds and follow all of our guidelines will be admitted to the program, which
makes them eligible to receive access to ads and other monetization products.

Resources

                                     Learn more about YouTube Partner Program Eligibility
                                     Learn more about YouTube channel monetization policies
                                     Learn more about how data helps creators track their performance on YouTube

Advertiser-Friendly Content Guidelines


                                                                                                                    616
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Just because a Creator is in YPP, it doesn’t mean all videos on their channel will be eligible to
have ads. Each video must also comply with our Advertiser-Friendly Content Guidelines. This is
by design, as we understand that there are important conversations that have a place on
YouTube, such as discussion of mental health or sensitive world events, that might not be
deemed brand suitable by advertisers. Other examples of content not suitable for ads include
some form of inappropriate language, violence, adult content, and harmful acts.

To help Creators understand which videos on their channel are suitable for ads, we have worked
closely with advertisers to create clear and comprehensive Advertiser-Friendly Content
Guidelines. Eligible Creators also have the ability to self-rate their content per these guidelines
and turn on ads monetization for individual videos in their channel.

Resources

      Review Advertiser-Friendly Content Guidelines

What action does YouTube take for videos that do not
comply with Advertiser-Friendly Content Guidelines?
If a Creator has turned on ads monetization for a video but our reviewers and automated systems
identify that the video does not comply with our Advertiser-Friendly Content Guidelines, the
video will have limited or no ads appear against it. However, if Creators believe that their video
is still suitable for all brands, they can request human review of that video.

Related articles
      Copyright

       Read more

      Sharing revenue

       Read more

      Monetization for Creators

       Read more

Connect

      About YouTube

       About Blog How YouTube Works Jobs Press YouTube Culture & Trends




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       Products

        YouTube Go YouTube Kids YouTube Music YouTube Originals YouTube Premium
        YouTube Select YouTube Studio YouTube TV

       For Business

        Developers YouTube Advertising

       For Creators

        Creating for YouTube Kids Creator Academy Creator Research Creator Services
        Directory YouTube Artists YouTube Creators YouTube NextUp YouTube Space
        YouTube VR

       Our Commitments

        Creators for Change CSAI Match Social Impact

About YouTube

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For Business

For Creators

Our Commitments

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YouTube Studio YouTube TV Developers YouTube Advertising Creating for YouTube Kids
Creator Academy Creator Research Creator Services Directory YouTube Artists YouTube
Creators YouTube NextUp YouTube Space YouTube VR Creators for Change CSAI Match
Social Impact
Policies & Safety Copyright Brand Guidelines Privacy Terms
Help
  English




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    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity
    To receive the latest updates on our Advertiser-friendly content guidelines, please check
    out our Advertiser-friendly content guidelines posts in the YouTube Help Center and
    subscribe here.


    YouTube channel monetization policies
    Updated August 2021: There are no changes to our processes with this article update.
    We have updated this page to include info about the YouTube Shorts Fund.

    If you’re monetizing on YouTube, it’s important that your channel follows YouTube
    monetization policies. These include YouTube’s Community Guidelines, Terms of
    Service, Copyright, and Google AdSense program policies. They apply to anyone in, or
    looking to apply to, the YouTube Partner Program or anyone receiving Shorts bonuses
    from the YouTube Shorts Fund.

    If you want to monetize videos with ads, they must also meet our Advertiser-friendly
    content guidelines.

    Here’s a quick overview of each major policy. Make sure you read each policy
    thoroughly, as these policies are used to check if a channel is suitable to monetize. Our
    reviewers regularly check to see whether monetizing channels follow these
    policies. Learn more about how we enforce our policies.

    What we check when we review your channel
    Our reviewers check content that best represents your channel against our policies.
    Since our reviewers can’t check every video, they may focus on your channel’s:

   Main theme
   Most viewed videos




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                                                                                           814
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   Newest videos
   Biggest proportion of watch time
   Video metadata (including titles, thumbnails, and descriptions)

    The above are just examples of content our reviewers may assess. Note that our
    reviewers can, and may check other parts of your channel to see whether it fully meets
    our policies.

    Follow the YouTube Community Guidelines
    These guidelines help keep YouTube a great community for viewers, creators, and
    advertisers. Content that violates YouTube’s Community Guidelines is not eligible for
    monetization and will be removed from YouTube.
    Anyone on YouTube needs to follow our Community Guidelines. Monetizing creators
    should know that our guidelines don’t only apply to individual videos, but to your
    channel overall. Below are the Community Guidelines that are most relevant to channels
    that can already, or want to monetize:

   Spam, deceptive practices, and scams
   Nudity and sexual content
   Child safety
   Harmful or dangerous content
   Hate speech
   Harassment and cyberbullying

    Keep in mind that any content you post must follow all our Community Guidelines.

    Follow AdSense program policies
    AdSense allows YouTube partners to get paid for monetizing their videos. Make sure to
    follow the AdSense program policies and YouTube’s Terms of Service. AdSense content
    policies are extensive and include quality guidelines from the Webmaster/Search
    Console policies. We’ve highlighted some of the most relevant policies for YouTube
    creators below.

    Repetitious content

    Repetitious content refers to channels where the content is so similar, viewers may
    have trouble spotting the difference between videos on the same channel. This policy is
    based on the Search Console portion of AdSense program policies. We’ve put it in a
    context that’s more relevant for YouTube creators.

    This policy applies to your channel as a whole. In other words, if you have many videos
    that violate our guidelines, monetization may be removed from your entire channel.

    What is allowed to monetize



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    This policy makes sure monetized content offers viewers something appealing and
    interesting to watch. In other words, if the average viewer can clearly tell that content on
    your channel differs from video to video, it's fine to monetize. We know many channels
    create content that follows a similar pattern. What’s important is that the substance of
    each video should be relatively varied.

    Examples of what is allowed to monetize (including but not limited to):

   Same intro and outro for your videos, but the bulk of your content is different
   Similar content, where each video talks specifically about the qualities of the subject
    you’re featuring
   Short clips of similar objects edited together where you explain how they’re connected

    Content that violates this guideline

    When a channel’s content consists of similar content, it can frustrate viewers who come
    to YouTube for appealing and interesting videos. That means channels where content is
    only slightly different from video to video are not allowed to monetize. In other words,
    your channel shouldn’t consist of content that’s automatically created or produced
    using a basic template.

    Examples of what’s not allowed to monetize (this list is not exhaustive):

   Content that exclusively features readings of other materials you did not originally
    create, like text from websites or news feeds
   Songs modified to change the pitch or speed, but are otherwise identical to the original
   Similar repetitive content, or mindless content with low educational value, commentary,
    or narrative
   Templated, mass-produced, or programmatically generated content
   Image slideshows or scrolling text with minimal or no narrative, commentary, or
    educational value

    Reused content

    Reused content refers to channels that repurpose someone else's content without
    adding significant original commentary or educational value. This policy is taken from
    the AdSense Search Console portion of AdSense program policies. We’ve put it in a
    context that’s more relevant for YouTube creators.

    This policy applies to your channel as a whole. In other words, if you have many videos
    that violate our guidelines, monetization may be removed from your entire channel.

    What is allowed to monetize




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    The spirit of this policy is to make sure we’re monetizing original content that adds
    value to viewers. If you put a funny or thoughtful spin on content you didn’t originally
    create, you’ve transformed the content in some way. It’s fine to have this type of content
    on your channel, but individual videos may be subject to other policies like copyright. In
    other words, we allow reused content if viewers can tell that there’s a meaningful
    difference between the original video and your video.

    Note: While these examples do not violate the reused content monetization policy, other
    policies, such as copyright, still apply.


    Examples of what’s allowed to monetize (including but not limited to):

   Using clips for a critical review
   A scene from a movie where you’ve rewritten the dialog and changed the voiceover
   Replays of a sports tournament where you explain the moves a competitor did to
    succeed
   Reaction videos where you comment on the original video
   Edited footage from other creators where you add a storyline or commentary

    Content that violates this guideline

    Taking someone else’s content, making minimal changes, and calling it your own
    original work would be a violation of this guideline. This policy applies even if you have
    permission from the original creator. Reused content is separate from YouTube’s
    Copyright enforcement, which means it’s not based on copyright, permission, or fair
    use. This guideline means sometimes, you may not get claims against your content, but
    your channel may still violate our reused content guidelines.

    More examples of what’s not allowed to monetize (this list is not exhaustive):

   Clips of moments from your favorite show edited together with little or no narrative
   Short videos you compiled from other social media websites
   Collections of songs from different artists (even if you have their permission)
   Content uploaded many times by other creators
   Promotion of other people’s content (even if you have permission)

    Creator responsibility
    The success of your channel and the YouTube Partner Program is dependent upon the
    willingness of advertisers to associate their brands with YouTube content. The earnings
    of all YouTube creators are negatively impacted when advertisers lose trust.
    We don’t allow egregious behavior that has a large negative impact on the community.
    This policy means you should be respectful of your viewers, your fellow creators, and
    our advertisers -- both on and off YouTube.




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If you violate this policy, we may temporarily turn off your monetization
or terminate your accounts.
Learn more about Creator responsibility.

How we'll inform you of policy changes
YouTube is constantly changing and improving the Service, and adapting to the world
around us. We may need to make changes to the terms and conditions or policies that
apply to your use of the Service - including the Terms of Service, and the YouTube
Partner Program Terms, our policies, and other contractual documents - to reflect
changes to our Service or for legal, regulatory, or security reasons.

We’ll let you know in writing when we make changes that might impact you. If you do
not agree to the modified terms, you may stop using the relevant feature, or terminate
your agreement with us.

To help you stay up to date with our policies, we also maintain a permanent log of
updates. View our changelog here.

How we enforce YouTube monetization policies
Anyone who earns money on YouTube must follow YouTube's channel monetization
policies. If you violate any of our policies, YouTube may take the actions outlined below.

Turn off ads from your content
As a member of the YouTube Partner Program, you have the ability to turn on ads for
your videos if they meet our advertiser-friendly content guidelines. However, if your
videos are found to not meet our advertiser-friendly content guidelines, or if they violate
other policies, such as our age restriction or copyright guidelines, we may turn off ads
from your content.

For more information about reasons why content may not be eligible for monetization,
see: Monetization icon guide for YouTube Studio

Suspend your participation in the YouTube Partner
Program
Violation of our YouTube channel monetization policies may result in monetization
being suspended or permanently disabled on all or any of your accounts. If it’s
determined that your channel is no longer eligible for monetization, your channel may




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    lose access to all monetization tools and features associated with the YouTube Partner
    Program.

    For more information about suspensions, including troubleshooting tips and details
    about how to re-apply to join the program, see: Monetization is disabled for my channel

    Suspend or even terminate your YouTube channel
    In exceptional circumstances we may need to terminate a channel, account, or disable a
    user’s access to the Service in order to protect the integrity of the platform or protect
    our users from harm. Learn more about channel terminations and disabled Google
    accounts including what you can do if you believe your channel or account was
    terminated by mistake.

    How we'll inform you of actions that affect your
    monetization
    We’ll inform you in writing by email or in product when we have to enforce our policies.
    We will also let you know what options are available to you.

    How to get help with issues that affect you
    If you're in the YouTube Partner Program, you can get access to our Creator Support
    team.

    Whether you're facing a specific problem or you want to find out how to get the most
    out of YouTube as a creator, we're here to help you:

   Optimize how you use YouTube
   Get tips on technical or service aspects of YouTube
   Find out how to navigate policy and copyright guidelines
   Get answers on account and channel management questions
   Resolve content ID and rights management issues
   Troubleshoot and fix bugs or issues with your account

    You can find more detailed instructions to contact Creator Support and how to get help
    as a YouTube Creator.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo



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                                         Submit
    YouTube Partner Program Basics
   YouTube channel monetization policies
   Advertiser-friendly content guidelines
   Upcoming and recent ad guideline updates
   Learn more about how YouTube works for you
   Updated Terms of Service FAQs

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   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska



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25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program




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Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info




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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                      Next
    Help CenterCommunity


    YouTube Shorts Fund
    The YouTube Shorts Fund is a $100M fund to reward creators for their dedication to
    making creative, original Shorts that delight the YouTube community. We’ll reach out to
    thousands of creators each month to tell them that they qualify for a Shorts bonus from
    the fund.

    To be eligible for a bonus from the YouTube Shorts Fund:

   Channels need to have uploaded at least one eligible Short in the last 180 days.
   Channels need to abide by YouTube’s Community Guidelines, copyright rules, and
    monetization policies.
   Channels uploading videos with watermarks or logos from third-party social media
    platforms, non-original videos (for example, unedited clips from movies or TV shows),
    or videos reuploaded from other creator’s channels will not be eligible.
   Creators must be in one of these countries/regions:

    Brazil    Japan Russia        United Kingdom
    India     Mexico South Africa United States
    Indonesia Nigeria

    Note: We plan to expand eligibility to more countries/regions.

   Creators must be 13 or older in the United States, or the age of majority in their
    country/region.
   Creators 13–18 years old must have a parent or guardian accept terms and set up an
    AdSense account for payment when one isn’t already linked to their channel.




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   Channels do not need to be currently monetizing on YouTube to be eligible. Creators in
   the YouTube Partner Program and channels that are affiliates under a Multi-Channel
   Network (MCN) are also eligible.

   Learn more about the Shorts Fund
   How do I qualify for the Shorts Fund?
   Each month, we’ll notify thousands of Shorts creators to claim a bonus from the Shorts
   Fund based on their channel’s Shorts’ performance in the previous month. A channel’s
   Shorts will count toward their monthly performance each month viewers watch them,
   not just the month they were uploaded.
   There’s no specific performance threshold to qualify for a bonus. The level of
   performance needed to qualify for a bonus payment may change from month to month
   based on various factors, including the location of your viewers and the overall growth
   of Shorts.
   Your channel’s Shorts performance is reviewed every month, so even if you don’t qualify
   one month, you may qualify the next.
   How will I know I qualify for the Shorts Fund?
   Important: Google will never send unsolicited messages asking for your password or
   other personal information. Before clicking a link, always check the email is sent from a
   @youtube.com or @google.com email address.
   Creators will be told that they qualify via email and notification in the YouTube app after
   the first week of each month. Both the email and notification will include the amount of
   the bonus and instructions on how to claim it.
   Qualifying creators should get these notifications shortly after the first week of the
   month. They’ll have until the 25th of each month to claim their bonus, or it may expire.

   Missing a Shorts bonus email?

   Sometimes our messages can get caught by email filters. If you can’t find our bonus
   notification email, please check your spam folders.

   How much can I get from the Shorts Fund?
   Qualifying channels can receive between $100–$10,000 each month. Bonuses are
   adjusted based on the location of a creator’s audience. As a result, the viewership and
   engagement needed to qualify may differ between creators.
   Bonus payments will be made to your channel’s linked AdSense account. Tax
   withholding and adherence to other AdSense policies are required to receive payment.
   How do I claim my bonus payment from the Shorts Fund?
   Qualifying creators can select CLAIM BONUS in the email or in-app notification to go to
   the Shorts Fund page in YouTube Studio. From this page, creators need to complete two
   steps to claim their bonus:

1. Accept the bonus terms.




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2. Set up or link an AdSense account.

     For channels with an active and linked AdSense account, or those that receive payment
     from an MCN or network, your bonus will be claimed after completing these two steps.
     If you set up an AdSense account, it may take a few days for YouTube to create and link
     the AdSense account to your channel. We’ll email you once the account is linked, and
     confirm whether your bonus has been claimed.
     How do I get my bonus payment from AdSense?
     To claim a bonus and get paid, qualifying creators need to make sure an approved and
     active AdSense account is linked to their channel. If you already have an AdSense
     account, you’ll get your bonus payment with any other monthly YouTube earnings.

     Setting up AdSense for the first time

     If you qualify for a Shorts bonus, but don’t yet have an AdSense account, we’ll help you
     get started. From the bonus notification email or in-app notification select CLAIM
     BONUS to go to the Shorts Fund page in YouTube Studio:

1. Under “Step 1,” select START to accept the bonus terms.
2. Under “Step 2,” select START to set up your AdSense account.
3. When asked if you have an existing AdSense account, choose No, I need to create one.
4. Select CONTINUE to go to AdSense.
5. Choose the Google Account to use for AdSense.
   Note: If you already use AdSense for other reasons outside of YouTube, sign in to the
   Google Account used with your existing AdSense account.
                    The link ed
                    image cannot




6. Accept terms select Create Account.
                    be displayed.
                    The file may
                    have been
                    moved,
                    renamed, or
                    deleted. Verify …




                                        The link ed
                                        image cannot




7. Enter your address     select Submit.
                                        be displayed.
                                        The file may
                                        hav e been
                                        moved,
                                        renamed, or
                                        deleted. Verify …




     Once you’ve created your AdSense account, more instructions on how to complete your
     AdSense profile will be sent to you. These include submitting necessary tax info,
     confirming your personal details are correct, and indicating a method of payment.

     Learn more about getting paid through AdSense.

     When will I get paid from the Shorts Fund?
     Qualifying creators with a linked AdSense account can expect to receive payment 4–6
     weeks from the time they claim the bonus. If you don’t have an AdSense account linked
     to your channel, you’ll be asked to sign up for AdSense or link an existing account.
     Here’s an example of how it could work:
                         A creator’s new and existing Shorts count toward channel performance for
     January             a payment from the Shorts Fund in February.
                         YouTube reviews Shorts channel performance for January, and tells
     Early February      qualifying creators that they qualify for a bonus payment.
     February 25         Qualifying creators claim their bonus or it may expire.




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                        AdSense issues February bonus payments to creators whose AdSense
     March – early Aprilaccounts are set up to receive payment.


     Channels that need to create an AdSense account may take longer to receive payment.
     The amount of time depends on how quickly the AdSense account is approved and
     payment details are set up. This process may take several months and includes:

    Submitting tax info
    Confirming your personal details
    Indicating a form of payment

     Once set-up is complete, payment is made from AdSense between the 21st and 26th of
     the month.

     Give feedback about this article
     Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                              Submit
     Create Shorts
    Get started with YouTube Shorts
    Create YouTube Shorts
    Use audio to create YouTube Shorts
    YouTube Shorts Fund

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    YouTube Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español



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6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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     1




   Google Help



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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    YouTube Help

    Sign in
                                          Send feedback on...

    This help content & information

    General Help Center experience
                                                                                               Next
    Help CenterCommunity


    Harmful or dangerous content policies
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.
    Note: We recently reorganized our Community Guidelines to provide further clarity our
    policies related to Misinformation on YouTube. To review these policies, check out our
    articles on Misinformation and Elections misinformation.

    YouTube doesn’t allow content that encourages dangerous or illegal activities that risk
    serious physical harm or death.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions noted below.

   Extremely dangerous challenges: Challenges that pose an imminent risk of physical
    injury.
   Dangerous or threatening pranks: Pranks that lead victims to fear imminent serious
    physical danger, or that create serious emotional distress in minors.




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   Instructions to kill or harm: Showing viewers how to perform activities meant to kill or
    maim others. For example, giving instructions to build a bomb meant to injure or kill
    others.
   Hard drug use or creation: Content that depicts abuse of or giving instructions on how
    to create hard drugs such as cocaine or opioids. Hard drugs are defined as drugs that
    can (mostly) lead to physical addiction.
   Eating Disorders: Content that praises, glorifies, or encourages viewers to imitate
    anorexia or other eating disorders. Eating disorders are characterized by abnormal or
    disturbed eating habits which negatively affect a person's health (including eating non-
    food items).
   Violent Events: Promoting or glorifying violent tragedies, such as school shootings.
   Instructional theft or cheating: Showing viewers how to steal tangible goods or
    promoting dishonest behavior.
   Hacking: Demonstrating how to use computers or information technology with the
    intent to steal credentials, compromise personal data or cause serious harm to others
    such as (but not limited to) hacking into social media accounts.
   Bypassing payment for digital content or services: Showing viewers how to use apps,
    websites, or other information technology to gain unauthorized free access to audio
    content, audiovisual content, full video games, software, or streaming services that
    normally require payment.

    Keep in mind that this isn't a complete list.

    Don’t post content showing a minor participating in dangerous activity, or encouraging
    minors to participate in dangerous activities. Never put minors in harmful situations that
    may lead to injury, including dangerous stunts, dares, or pranks. You can learn more
    about Child Safety here.

    Age-restricted content

    We may consider the following factors when deciding whether to age-restrict or remove
    content. Keep in mind that this isn't a complete list.

   Whether the act in question could lead to serious injury or death.
   Whether the individuals participating in the act are trained professionals taking
    precautions to prevent injury.
   Whether minors could easily imitate the act.
   Whether the content could be used to commit serious acts of violence.
   Whether the upload is educational, documentary, scientific or artistic in nature.
   Whether there's any commentary discouraging the act.
   Whether the viewer can tell if it's real or fake.
   Whether the content promotes a product that contains drugs, nicotine, or a controlled
    substance.

    Examples of age-restricted content



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   A video about fake harmful pranks that seems so real that viewers can't tell the
    difference.
   A reaction video to a dangerous challenge without any commentary discouraging the
    challenge.
   A video promoting a cannabis dispensary.
   A video reviewing brands of nicotine e-liquid.
   A video providing instructions for or facilitating cheating.

    We might allow videos that depict dangerous acts iIf they’re meant to be educational,
    documentary, scientific, or artistic (EDSA). For example, a news piece on the dangers of
    choking games would be appropriate, but posting clips out of context from the same
    documentary might not be.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature.

    Extremely dangerous challenges
    The following types of content are not allowed on YouTube. This isn't a complete list.

   Asphyxiation: Any activity that prevents breathing or can lead to suffocation like:
   Choking, drowning, or hanging games
   Eating non-food items
   Misuse of weapons: Using weapons, like guns or knives, without proper safety
    precautions or in a way that could cause physical harm. Includes the "No Lackin'"
    challenge.
   Ingesting Harmful Substances: Eating, consuming, or inserting non-food objects or
    chemicals that may cause illness or poisoning. Includes detergent-eating challenges.
   Burning, Freezing & Electrocution: Activities with inherent risk of severe burns, freezing,
    frostbite, or electrocution. Includes the fire challenge and hot water challenge.
   Mutilation & Blunt Force Trauma: Activities like:
   Self-mutilation
   Abstaining from normal health practices
   Falling, impalement, collision, blunt force trauma, or crushing
   Challenges featuring children: Showing minors drinking alcohol, using vaporizers, e-
    cigarettes, tobacco or marijuana, or misusing fireworks.

    Note: We may age-restrict content that explains this type of content in an educational or
    documentary way. For example, a documentary about self-mutilation may be allowed
    but it won't be available to all audiences.

    Dangerous or threatening pranks
    The following types of content are not allowed on YouTube. This isn't a complete list.



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   Intentional physical harm: Inflicting physical harm on unsuspecting prank victims
    through actions like punching attacks, drugging food or drinks with laxatives, or shock
    pranks.
   Making someone feel in immediate danger: Tricking others into believing they're in real
    danger, even if no physical harm comes to them. This includes:
   Threats with weapons
   Bomb scares
   Swatting or fake 911 calls
   Fake home invasions or robberies
   Fake kidnapping
   Emotional distress to minors: Any prank that causes emotional distress to children or
    others who are vulnerable. This includes:
   Fake death or suicide
   Fake violence
   Pretending that a parent or caregiver will abandon a child
   Showing a parent or caregiver verbally abuse or shame a child

    Note: We may age-restrict pranks involving adults that don't violate our policies. For
    example, a prank with a realistic looking injury may be allowed. But, it won't be available
    to all audiences.

    Violent events or instructions to harm
    The following types of content are not allowed on YouTube. This isn't a complete list.

   Bomb-making: Showing viewers how to build a bomb meant to injure or kill others, such
    as:
   Pipe bombs
   Package bombs
   Explosive vests
   Molotov cocktails
   Violence involving children: Any real fights or violence between children.

    Note: We may age-restrict this type of content if it's documentary or educational. For
    example, content that gives medical, academic, historical, philosophical, or news
    perspective on a violent act may be allowed. But, it won't be available to all audiences.

    Drug use
    The following types of content are not allowed on YouTube. This isn't a complete list.

   Displays of hard drug uses: Non-educational content that shows the injection of
    intravenous drugs like heroin or huffing/sniffing glue.
   Making hard drugs: Non-educational content that explains how to make drugs.




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   Minors using alcohol or drugs: Showing minors drinking alcohol, using vaporizers, e-
    cigarettes, tobacco or marijuana, or misusing fireworks.
   Selling hard or soft drugs: Featuring drugs with the goal of selling them. If you're using
    links in your description to sell hard drugs, your channel will be terminated.
   Steroid use: Non-educational content that shows how to use steroids for recreational
    purposes (like body building).

    Note: If this type of content is educational, documentary, scientific, or artistic, we may
    still age-restrict it. For example, a documentary about intravenous drug use that shows
    the injection of drugs may be allowed, but it won't be available to all audiences. If your
    content shows items used for taking drugs, it may also be age-restricted.

    Eating disorders
    The following types of content are not allowed on YouTube. This is not a complete list.

   Using terms or phrases in metadata that promote or glorify eating disorders.
   Videos that promote or glorify eating non food items.



    Remember these are just some examples, and don't post content if you think it might
    violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

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    YouTube policies
   Harmful or dangerous content policies
   Violent or graphic content policies
   Violent criminal organizations policy
   Hate speech policy
   Harassment & cyberbullying policies

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska



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25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program




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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
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Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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    Help CenterCommunity


    Sale of illegal or regulated goods or services
    policies

    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Content intended to sell certain regulated goods and services is not allowed on
    YouTube.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Don't post content on YouTube if it aims to directly sell, link to, or facilitate access to
    any of the regulated goods and services listed below. Making the sale of these items or
    facilitating the use of these services possible by posting links, email, phone number or
    other means to contact a seller directly is not allowed.

   Alcohol
   Bank account passwords, stolen credit cards, or other financial information



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   Counterfeit documents or currency
   Controlled narcotics and other drugs
   Explosives
   Organs
   Endangered species or parts of endangered species
   Firearms and certain firearms accessories
   Nicotine, including vaping products
   Online gambling sites not yet reviewed by Google or YouTube
   Pharmaceuticals without a prescription
   Sex or escort services
   Unlicensed medical services
   Human smuggling

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Please note this is not a complete list.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Linking to an online gambling or sports betting site that is not approved.
   Selling counterfeit passports or providing instructions on creating forged official
    documents.
   Advertising escort, prostitution, or erotic massage services.
   Content instructing how to purchase drugs on the dark web.
   A video of a user making a purchase with software that generates fake credit card
    numbers.
   Including a link to an online pharmacy that does not require prescriptions.

    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.



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   Firearms policy
   Sale of illegal or regulated goods or services policies

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              English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk



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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem




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o   Watch videos



o   Manage your account & settings



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   YouTube




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   Submit feedback


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    settingsManage accessibility settingsTroubleshoot account issues
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    Premium billingGet a YouTube Premium family planSign up for a student Premium
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    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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    Hate speech policy

    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.
    Note: On June 5, 2019, we announced some changes to our hate speech policies. You
    can learn more about those changes here. The below policy has been updated with
    those changes.

    Hate speech is not allowed on YouTube. We remove content promoting violence or
    hatred against individuals or groups based on any of the following attributes:

   Age
   Caste
   Disability
   Ethnicity
   Gender Identity and Expression
   Nationality
   Race
   Immigration Status
   Religion
   Sex/Gender
   Sexual Orientation
   Victims of a major violent event and their kin
   Veteran Status




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    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    What this policy means for you
    If you're posting content

    Don’t post content on YouTube if the purpose of that content is to do one or more of the
    following.

   Encourage violence against individuals or groups based on any of the attributes noted
    above. We don’t allow threats on YouTube, and we treat implied calls for violence as
    real threats. You can learn more about our policies on threats and harassment.
   Incite hatred against individuals or groups based on any of the attributes noted above.

    Other types of content that violates this policy
   Dehumanizing individuals or groups by calling them subhuman, comparing them to
    animals, insects, pests, disease, or any other non-human entity.
   Praise or glorify violence against individuals or groups based on the attributes noted
    above.
   Use of racial, religious or other slurs and stereotypes that incite or promote hatred
    based on any of the attributes noted above. This can take the form of speech, text, or
    imagery promoting these stereotypes or treating them as factual.
   Claim that individuals or groups are physically or mentally inferior, deficient, or diseased
    based on any of the attributes noted above. This includes statements that one group is
    less than another, calling them less intelligent, less capable, or damaged.
   Allege the superiority of a group over those with any of the attributes noted above to
    justify violence, discrimination, segregation, or exclusion.
   Conspiracy theories saying individuals or groups are evil, corrupt, or malicious based on
    any of the attributes noted above.
   Call for the subjugation or domination over individuals or groups based on any of the
    attributes noted above.
   Deny that a well-documented, violent event took place.
   Attacks on a person’s emotional, romantic and/or sexual attraction to another person.
   Content containing hateful supremacist propaganda including the recruitment of new
    members or requests for financial support for their ideology.
   Music videos promoting hateful supremacism in the lyrics, metadata, or imagery.

    Educational content




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    We may allow content that includes hate speech if the primary purpose is educational,
    documentary, scientific, or artistic in nature. This is not a free pass to promote hate
    speech. Examples include:

   A documentary about a hate group: Educational content that isn’t supporting the group
    or promoting ideas would be allowed. A documentary promoting violence or hatred
    wouldn’t be allowed.
   A documentary about the scientific study of humans: A documentary about how
    theories have changed over time, even if it includes theories about the inferiority or
    superiority of specific groups, would be allowed because it’s educational. We won’t
    allow a documentary claiming there's scientific evidence today that an individual or
    group is inferior or subhuman.
   Historical footage of an event, like WWII, which doesn't promote violence or hatred.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. For educational content that includes hate speech, this
    context must appear in the images or audio of the video itself. Providing it in the title or
    description is insufficient.

    Monetization and other penalties
    In some rare cases, we may remove content or issue other penalties when a creator:

   Repeatedly encourages abusive audience behavior.
   Repeatedly targets, insults and abuses a group based on the attributes noted above
    across multiple uploads.
   Exposes a group with attributes noted above to risks of physical harm based on the
    local social or political context.
   Creates content that harms the YouTube ecosystem by persistently inciting hostility
    against a group with attributes noted above for personal financial gain.

    Examples
    Here are examples of hate speech not allowed on YouTube.

   “I’m glad this [violent event] happened. They got what they deserved [referring to
    persons with the attributes noted above].”
   “[Person with attributes noted above] are dogs” or “[person with attributes noted above]
    are like animals.”

    More examples
   “Get out there and punch a [person with attributes noted above].”




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   “Everyone in [groups with attributes noted above] is criminals and thugs.”
   “[Person with attributes noted above] is scum of the earth.”
   “[People with attributes noted above] are a disease.”
   “[People with attributes noted above] are less intelligent than us because their brains
    are smaller.”
   “[Group with any of the attributes noted above] threaten our existence, so we should
    drive them out at every chance we get.”
   “[Group with any of the attributes noted above] has an agenda to run the world and get
    rid of us.”
   “[Attribute noted above] is just a form of mental illness that needs to be cured.”
   “[Person with any of the attributes noted above] shouldn't be educated in schools
    because they shouldn't be educated at all.”
   “All of the so-called victims of this violent event are actors. No one was hurt, and this is
    just a false flag.”
   “All of the ‘so-called victims’ of this are actors. No one was hurt.”
   Shouting “[people with attributes noted above] are pests!” at someone regardless of
    whether the person does or does not have the alleged attributes
   Video game content which has been developed or modified (“modded”) to promote
    violence or hatred against a group with any of the attributes noted above.

    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.

    If we think your content comes close to hate speech, we may limit YouTube features
    available for that content. You can learn more about limited features here.

   The importance of context
   Recent transparency report
   Limited features for certain videos




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    YouTube policies
   Harmful or dangerous content policies
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   Violent criminal organizations policy
   Hate speech policy
   Harassment & cyberbullying policies

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   YouTube Terms of Service

              English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių



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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


                                                                                   662
                                                                                   857
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    YouTube Help

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    This help content & information

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    Help CenterCommunity


    Violent criminal organizations policy
    The safety of our creators, viewers, and partners is our highest priority. We look to each
    of you to help us protect this unique and vibrant community. It’s important you
    understand our Community Guidelines, and the role they play in our shared
    responsibility to keep YouTube safe. Take the time to carefully read the policy below.
    You can also check out this page for a full list of our guidelines.

    Content intended to praise, promote, or aid violent criminal organizations is not allowed
    on YouTube. These organizations are not allowed to use YouTube for any purpose,
    including recruitment.

    If you find content that violates this policy, report it. Instructions for reporting violations
    of our Community Guidelines are available here. If you've found a few videos or
    comments that you would like to report, you can report the channel.

    If you believe anyone is in immediate danger, you should reach out to your local law
    enforcement agency to report the situation immediately.

    What this means for you
    If you're posting content

    Don’t post content on YouTube if it fits any of the descriptions noted below.

   Content produced by violent criminal or terrorist organizations
   Content praising or memorializing prominent terrorist or criminal figures in order to
    encourage others to carry out acts of violence




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   Content praising or justifying violent acts carried out by violent criminal or terrorist
    organizations
   Content aimed at recruiting new members to violent criminal or terrorist organizations
   Content depicting hostages or posted with the intent to solicit, threaten, or intimidate on
    behalf of a violent criminal or terrorist organization
   Content that depicts the insignia, logos, or symbols of violent criminal or terrorist
    organizations in order to praise or promote them

    If posting content related to terrorism or crime for an educational, documentary,
    scientific, or artistic purpose, be mindful to provide enough information in the video or
    audio itself so viewers understand the context. Graphic or controversial footage with
    sufficient context may be subject to age-restrictions or a warning screen.

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. Please note this is not a complete list.

    Examples
    Here are some examples of content that’s not allowed on YouTube.

   Raw and unmodified reuploads of content created by terrorist or criminal organizations
   Celebrating terrorist leaders or their crimes in songs or memorials
   Celebrating terrorist or criminal organizations in songs or memorials
   Content directing users to sites that espouse terrorist ideology, are used to disseminate
    prohibited content, or are used for recruitment
   Video game content which has been developed or modified (“modded”) to glorify a
    violent event, its perpetrators, or support violent criminal or terrorist organizations

    Please remember these are just some examples, and don't post content if you think it
    might violate this policy.

    What happens if content violates this policy
    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll likely get a
    warning with no penalty to your channel. If it’s not, we may issue a strike against your
    channel. If you get 3 strikes within 90 days, your channel will be terminated. You can
    learn more about our strikes system here.

    We may terminate your channel or account for repeated violations of the Community
    Guidelines or Terms of Service. We may also terminate your channel or account after a
    single case of severe abuse, or when the channel is dedicated to a policy violation. You
    can learn more about channel or account terminations here.




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    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Visit Creator Academy for more

    Would you rather learn about our Community Guidelines through videos and quizzes?
    Check out our Creator Academy course.

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    YouTube policies
   Harmful or dangerous content policies
   Violent or graphic content policies
   Violent criminal organizations policy
   Hate speech policy
   Harassment & cyberbullying policies

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              English?

    English

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3. Deutsch
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6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių



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14. magyar
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16. norsk
17. polski
18. português
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20. română
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23. suomi
24. svenska
25. Tiếng Việt
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28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



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   Submit feedback


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    settingsManage accessibility settingsTroubleshoot account issues
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    rights management


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    Other suggestions - ideas to improve the content

    Share additional info or suggestions


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    The importance of context
    Context is very important for all videos, but it’s particularly important when posting
    graphic content. Content that is educational, scientific, newsworthy, or a documentary
    may often contain graphic content. This type of content is allowed on YouTube if it
    includes context. Adding details explaining your video helps users find and understand
    your content. It also helps the YouTube team review your video if it gets flagged.

    For example, a video posted by a citizen journalist capturing footage of protesters being
    beaten would likely be allowed if it includes relevant context. In this example, relevant
    information could be a list of tips at the beginning of the video on how to stay safe
    when at a protest. Or, a voice-over narration about the protest's history. The video
    should also have a clear title or description indicating that it is reporting on or
    documenting the content.

    Guidelines for adding context
    YouTube is not a home for glorifying violence or promoting hate. Graphic or
    controversial footage may be allowed if it’s educational but it may also have age-
    restrictions or a warning screen.

    Do's and don'ts
    What you should do

   Consider the intention of your video — is it to inform and educate or to shock and incite?
   Provide voiceover or text narration to your video. You can do this while recording or add
    it later while editing.




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   Make sure the context can be seen or heard easily by someone watching the video. It’s
    important to add information to the description and title as well as in the video content
    itself.

    You can learn more about context in our Creator Academy.

    What you shouldn't do

   Make violence the focus of your video.
   Emphasize violent content by zooming, looping, or using other editing techniques that
    take away from your message.
   Try to shock or disgust your viewers.
   Use your video to glorify or celebrate violent acts.
   Rely on metadata alone to provide context. Metadata can be supportive but a viewer
    should be able to understand the context from watching and listening to the video
    alone.

    Tips for adding context before and after uploading
    How to add context before you upload

    Adding context within your video helps us understand background and intent. With
    violence content or content related to terrorism, add an introduction, voiceover
    commentary, or text overlays to provide additional context. It is essential that you add
    informative or clarifying information within your video before uploading to help our
    teams understand the context, and don’t rely solely on the video title or description to
    make your intent clear.

    You should also avoid zooming in or sustained focus on the most graphic sections of
    the video, as we don’t allow gratuitous violence.

    There are many third-party apps for both your computer and mobile device that allow
    you to edit your video: adding text overlays, title screens, and audio tracks. Once edited,
    you can then save it or export it directly to YouTube.

    How to add context after you upload

    If you were unable to add sufficient context to your initial video upload, you can also add
    additional context after uploading. This additional context is important but if your video
    contains highly sensitive content, you will still need to provide context in the video itself.

   Provide an informative and relevant title. You can pack in a lot of information here, even
    if you’re on the move on a mobile device.




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    Avoid using descriptions, titles, tags and thumbnails that highlight the most provocative
     or shocking aspects of your video.
    Use YouTube tools to include descriptive information in your video, i.e. who, what, when,
     where and why did it occur?
    Use cards to link to relevant websites, such as a related news story or artist statement.
    If your footage is sensitive and requires visual anonymity, check out YouTube’s blurring
     tool.
    Check out organizations like Witness that provide free resources for video activists,
     trainers, and their allies.

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     YouTube policies
    The importance of context
    Creator responsibility
    Best Practices for Content with Children
    Staying safe on YouTube
    Content policies for YouTube Kids

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6.   español (Latinoamérica)
7.   Filipino
8.   français
9.   hrvatski



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10. Indonesia
11. italiano
12. latviešu
13. lietuvių
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36. ไทย
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38. 中文（繁體）
39. 日本語
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Spam & deceptive practices
   Sensitive content
   Violent or dangerous content
   Regulated goods
   Misinformation policies
   Legal policies

    Privacy and safety center
   Privacy resources
   Safety resources
   Made for kids content

    Reporting and enforcement
   Reporting
   Manage content
   Community Guidelines enforcement

    Legal policies
   Trademark
   Counterfeit



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   Defamation
   Other legal issues
   Stored music policy
   Other legal complaints




    Copyright and rights management
   Learn about copyright on YouTube
   Copyright claim basics
   Detailed claim issues
   Submit and retract claims
   Copyright management tools

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23. suomi
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27. čeština
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    Program




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    YouTube Help

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    Best practices for creators
   The importance of context
   Creator responsibility
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16. norsk
17. polski
18. português
19. português (Brasil)
20. română
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23. suomi
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o   Fix a problem




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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   Submit feedback


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    YouTube Help

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    Creator responsibility
    Creators are the heart of YouTube. Part of being a creator means that you’re a member
    of a large and influential global community. We look to you to help us preserve and
    protect this unique and vibrant group.

    As a creator on YouTube, you agree to follow our:

   Community Guidelines
   Terms of Service

    It’s important that you understand these guidelines and their role in our shared
    responsibility to keep the YouTube ecosystem healthy. Violating these guidelines may
    result in your videos being deleted, your channel receiving strikes, or for serious or
    repeated violations, your channel being restricted or even terminated.

    Earning money on your content

    Creators who want to monetize content will need to follow additional guidelines:

   AdSense Program Policies
   YouTube monetization policies
   Advertiser-friendly content guidelines

    By respecting these guidelines, you’ll help us to prevent potentially inappropriate videos
    from monetizing, which can hurt revenue for everyone.

    If you don’t follow these guidelines, it may lead you to incur penalties, such as disabling
    ads on your content, or suspending your channel from the YouTube Partner Program.




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    Learn more about our monetization policies.

    Protecting the YouTube community

    Remember that as YouTube creators, you should remain responsible both on and off
    the platform. If we see that a creator’s on- and/or off-platform behavior harms our
    users, community, employees or ecosystem, we may take action to protect the
    community.

    Beyond the content you upload to YouTube, here are some examples of on- and/or off-
    platform behavior that we may consider to be inappropriate and result in penalties:

   Intending to cause malicious harm to others.
   Participating in abuse or violence, demonstrating cruelty, or participating in
    fraudulent/deceptive behavior leading to real world harm.

    While these behaviors are rare, they can cause widespread harm to the YouTube
    community, and potentially damage the trust among creators, users, and advertisers.

    Severe violations that cause widespread harm to the community may have
    repercussions beyond standard enforcement actions. These restrictions may include:

   YouTube Originals and YouTube Spaces experiences: YouTube Originals may be
    suspended, cancelled, or removed, and you may lose access to YouTube Pop-up Spaces
    and virtual gatherings.
   Monetization, partner management, and promotional opportunities: Your channel may
    lose the ability to serve ads, earn revenue, and potentially be removed from the YouTube
    Partner Program, including losing access to partner management and creator support.
    You may also be removed from YouTube Select Lineups.
   Video recommendations: Your videos may no longer be eligible to be recommended on
    YouTube, and could lose benefits such as appearing on our Home page, Trending tab, or
    in Watch Next recommendations.

    Additional resources

    Use these resources to learn more about YouTube policies:

   Terms of Service: All content uploaded to YouTube must comply with these terms.
   Community Guidelines: All content uploaded to YouTube must comply with these
    guidelines.
   AdSense Program Policies: To be eligible for monetization, videos must comply with
    these policies.
   YouTube monetization policies: To be eligible for monetization on YouTube, videos
    must comply with these policies.




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    Advertiser-friendly content guidelines: To be eligible for advertising, videos must comply
     with these guidelines. If you want to upload content that does not comply with these
     guidelines, turn off ads on those videos.
    Creator Academy: Get tips on making advertiser-friendly content, learn best practices
     for family-friendly videos, and, understand how to foster a positive community with your
     channel.
    The importance of context: Adding context within your video helps us understand
     background and intent. We do allow controversial videos that have educational,
     documentary, scientific or artistic intent.
    Learn how to report inappropriate content here.

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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    Best Practices for Content with Children
    We want creators to continue to have fun and be creative, but we ask that you follow our
    Community Guidelines. You should always be smart about the content you post online
    and ask for permission before you upload a video featuring someone to YouTube.

    Anyone posting content with minors must do the following:

   Respect privacy. Secure consent from the minor’s parent or legal guardian before
    featuring them in your video. Make sure their participation in your video is voluntary.
   Moderate user comments on your videos. There are tools at your disposal to filter and
    review comments, and you can always flag comments to us for spam or abuse.
   Manage your video’s privacy and embed settings. You have several options to control
    who can view your video and how it’s shared on external sites.

    Please make sure you understand and follow the law. You must comply with all the
    laws, rules, and regulations related to working with minors. Some areas you should
    know about are:

   Permits: Review local laws and regulations to find out if minors in your videos need a
    permit, registration, or license to work. You should also know if you need a permit or
    authorization to employ minors.
   Wages/Revenue Sharing: You must follow applicable laws around paying minors for
    their work. In some cases, you may be required to pay a wage to minors. In others, you
    may be required to provide a share of the revenue you are making from the videos to the
    minors directly, or set aside a portion that is protected for the minor.
   School & Education: Participation of minors in your content must follow all applicable
    laws to protect from interference with adequate schooling and education.
   Working Environment, Hours & Breaks: The working environment must be safe for the
    minor. They must have time for rest, education, and recreation each day. Minors should



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    not work into the night. You should also follow all local laws for times of work and limits
    on hours worked every day/week.

    For more information, check out the Creator Academy course about Child Safety on
    YouTube.

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YouTube Privacy Guidelines
YouTube Privacy Guidelines
We're serious about protecting our users by addressing potential privacy concerns. Our
privacy guidelines apply to all users across the world. In other words, while the video in
question may not violate your country's privacy laws, it may still violate YouTube's
privacy guidelines.

YouTube privacy guidelines aim at protecting users’ privacy while balancing public
interest and newsworthiness. If you believe the content violates other YouTube
Community Guidelines, we encourage you to learn how to report inappropriate content.

How does YouTube determine if content should be removed for a privacy violation?

For content to be considered for removal, an individual must be uniquely identifiable and
the complaint we received from that individual, or their legal representative, must
uniquely identify the individual by a combination of image, voice, full name, government
identification number, bank account number, contact information (e.g. home address,
email address), or other uniquely identifiable information. We also take into account
public interest, newsworthiness, consent, and whether the information is otherwise
publicly available when determining if content should be removed for a privacy violation.
YouTube reserves the right to make the final determination of whether a violation of its
privacy guidelines has occurred.

What does uniquely identifiable mean?

To be considered uniquely identifiable, there must be enough information in the video
that allows others to recognize you. Note that just because you can identify yourself




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    within the video, it does not mean you're uniquely identifiable to others. A first name
    without additional context or a fleeting image, for example, would not likely qualify as
    uniquely identifiable.

    How YouTube's privacy process works

    If a privacy complaint is filed, YouTube may give the uploader an opportunity to remove
    or edit the private information within their video. We issue notification of the potential
    violation and give the uploader 48 hours to act on the complaint. If the uploader
    removes the video during these 48 hours, the complaint filed will be closed. If the
    potential privacy violation remains on the site after 48 hours, the YouTube Team will
    then review the complaint.

    Our Privacy Complaint Process also accounts for cases that warrant urgent removal of
    personal or financial data.

    Reporting a privacy violation

    To file a privacy complaint, start the Privacy Complaint Process. As the complainant,
    your privacy is respected in this process. At no point will your identity or contact
    information be released to the uploader without your consent. Our communications to
    you about this process will be sent to the email address you give to us. Add
    support@youtube.com to your spam filter to make sure you get these messages.

    First-party claims are required.

    We do not accept claims made on behalf of third parties except in the following
    situations:

   The individual whose privacy is being violated does not have access to a computer
   The individual whose privacy is being violated is a vulnerable individual
   The claim is being made by the parent or legal guardian of the individual whose privacy
    is being violated
   The claim is being made by a legal representative for the individual whose privacy is
    being violated

    We will not accept privacy complaints filed on behalf of:

   Other family members (such as husband, wife, cousin, brother, sister)
   Coworkers or employees (individuals must submit a report themselves)
   A company

    Tips on filing a complete privacy complaint

   Be clear and concise so that the YouTube Team can identify you within the video.



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   Use timestamps to indicate all places where you appear in the video.
   In the description area, specify what you are wearing or doing that differentiates you
    from others within the video.
   Make sure you've included the video URL in your report. If you're reporting an entire
    channel, you're not required to submit a URL.
   If you are reporting a comment made in the comments section of a video, note it in the
    description area. Include the commenter's username in the username field.

    Receiving notice of a privacy violation

    YouTube may give you, the uploader, an opportunity to remove or edit the private
    information within your video. In this case, we would email you about the potential
    violation and allow you 48 hours to act on the complaint. If you remove the alleged
    violation from the site within the 48 hours, the complaint filed will then be closed. If the
    potential privacy violation remains on the site after 48 hours, the complaint will be
    reviewed by the YouTube Team.

    If we remove your video for a privacy violation, do not upload another version featuring
    the same people. These people will likely file another privacy complaint or report you for
    harassment. We're serious about protecting our users and suspend accounts that
    violate people's privacy.

    How can I act on the complaint?

   You can remove the reported content completely from the site.
   If someone's full name or other personal information is listed within the title,
    description, or tags of your video, you can edit these details by going to Videos and
    clicking the Edit button on the reported video.
   You can blur the faces of individuals who appear in the videos.

    Incomplete methods of removal are not acceptable, and include:

   Making a video private as the uploader can change the status from private to public at
    any time.

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    Privacy resources
   Protecting your identity
   Turn Restricted Mode on or off
   Change video privacy settings
   Your Data in YouTube

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31. српски
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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     Block a commenter
     You can hide comments from specific viewers from showing on your
     channel. Additionally, their comments won’t show on your Comments page in YouTube
     Studio.

     To report abuse, harassment, inappropriate content, or privacy complaints, visit the
     Safety Center.

     Block a commenter
     To hide comments from a specific viewer:

1. Find a comment they’ve left on your channel or video.
                                        The link ed                  The linked
                                        image cannot                 image cannot




2. Next to the comment, select More        Hide user from channel.
                                        be display ed.               be display ed.
                                        The file may                 The file may
                                        hav e been                   hav e been
                                        mov ed,                      mov ed,
                                        renamed, or                  renamed, or
                                        deleted. Verify …            deleted. Verify …




     Block a commenter in YouTube Studio
     You can also block a channel in YouTube Studio:

1.   Find the commenter’s channel URL from their channel homepage.
2.   Open YouTube Studio.                        The linked
                                                 image cannot




3.   From the left menu, select Settings Community.
                                                 be display ed.
                                                 The file may
                                                 hav e been
                                                 mov ed,
                                                 renamed, or
                                                 deleted. Verify …




4.   In the “Hidden users” box, paste the channel URL.
5.   Select Save.

     Check who you’ve blocked from commenting



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   A list of channels whose comments you’ve hidden is available in YouTube Studio.

1. Sign in to YouTube Studio.          The linked




2. From the left menu, select Settings Community.
                                       image cannot
                                       be display ed.
                                       The file may
                                       hav e been
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                                       renamed, or
                                       deleted. Verify …




3. Review channels you’ve blocked from commenting in the “Hidden users” box.

   Unblock a commenter
   You can remove individuals from your “Hidden users” list in YouTube Studio.

1. Sign in to YouTube Studio.          The linked




2. From the left menu, select Settings Community.
                                       image cannot
                                       be display ed.
                                       The file may
                                       hav e been
                                       mov ed,
                                       renamed, or
                                       deleted. Verify …




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3. Select Remove     next to the commenter that you’d like to allow to comment.
                   image cannot
                   be displayed.
                   The file may
                   hav e been
                   moved,
                   renamed, or
                   deleted. Verify …




   FAQ
   What’s the difference between blocking and hiding
   someone?
   There’s no difference. Though creators use both terms, they have the same meaning.

   What happens when you block someone?
   All previous comments on your videos from that channel should be hidden within 48
   hours.

   If you block someone, do they get a notification?
   No. YouTube does not send a notification if you block someone.

   What happens when you unblock someone?
   Any future comments from the channel will show on your videos and in YouTube Studio.
   Previous comments from that channel on your videos will still be hidden.
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    Manage your community & comments
   Learn about comment settings
   Choose comment settings
   Review and reply to comments
   Block a commenter
   Manage spam in comments
   Use Smart Replies in YouTube Studio

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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




                                                                               710
                                                                               905
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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues



                                                                                   711
                                                                                   906
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Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                 907
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YouTube Help

Sign in
                                   Send feedback on...

This help content & information

General Help Center experience
                                                                                   Next
Help CenterCommunity


Learn about comment settings
We’ve simplified the comment moderation experience and merged the two moderation
tabs, “Held for review” and “Likely spam,” in YouTube Studio. Now, comments
automatically held by YouTube will appear in the combined “Held for review” tab for up
to 60 days.

You can choose to hold some comments for review before they’re shown on your video
or channel. Learn how to change your comment settings.

Comment settings for videos
The following comment settings can be used for individual videos.

Hold potentially inappropriate comments for review
Potentially inappropriate comments are held for review on your Comments page, under
the “Held for review” tab for up to 60 days. You can view these comments from
YouTube Studio, not the watch page.

At the bottom of the tab, you may see a link to “Show hidden comments.” Click it to view
potentially hurtful comments that are automatically held for review.

YouTube can hold potentially inappropriate comments for review in over 100 languages.
YouTube’s system works to find potentially inappropriate comments, but it’s not always
correct. As you review comments, the system gets better at finding comments to hold
for review.
If there are more words or phrases you want to hold for review, add them to your
blocked words list.




                                                                                    713
                                                                                    908
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     Hold all comments for review
     All comments must be manually approved before they can show. Comments can be
     reviewed on your Comments page, under the “Held for review” tab for up to 60 days.
     Learn how to review held comments.

     Allow all comments
     All comments left on your video are immediately visible. You can view these comments
     on your Comments page, under the “Published” tab.
     Viewers can still report inappropriate comments and spam. Comments that violate our
     Community Guidelines may be removed. Comments that are likely spam may be
     automatically held for review in YouTube Studio for up to 60 days.

     Turn off comments
     If you turn off comments for your video, viewers can’t comment. “Comments are
     disabled for this video. Learn more.” will show beneath your video.

     Channel level comment settings
     Hidden users
     You can choose to hide comments from specific commenters across all videos on your
     channel.
     Learn how to hide comments from a specific channel.
     Blocked words
     You can add a list of words and phrases that you don’t want to show in comments to
     your blocked words lists.
     Comments closely matching these terms may be held for review for up to 60 days,
     unless they’re from someone on your approved user list. Live chat messages containing
     these terms will also be blocked.
     Comments with blocked words can be reviewed and approved on your Comments page,
     under the “Held for review” tab.
     To add to your blocked words lists:

1.   Open YouTube Studio.        The link ed
                                 image cannot




2.   From the left, click Settings  Community.
                                 be displayed.
                                 The file may
                                 hav e been
                                 moved,
                                 renamed, or
                                 deleted. Verify …




3.   Under the "Automated Filters" tab, scroll to "Blocked words."
4.   Add words and phrases separated by commas.
5.   Select SAVE.

     Block comments with links
     You can hold comments that contain hashtags and URLs for review. Here's how:

1. Open YouTube Studio.



                                                                                          714
                                                                                          909
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                                The link ed




2. From the left, click Settings  Community.
                                image cannot
                                be displayed.
                                The file may
                                hav e been
                                moved,
                                renamed, or
                                deleted. Verify …




3. Under the "Automated Filters" tab, select Block links.

   Comments with links won’t be blocked if they're posted by you, moderators, or approved
   users.
   Live chat messages with URLs are also blocked.
   Comments with hashtags and links can be reviewed and approved on your Comments
   page, under the “Held for review” tab for up to 60 days.

   Default comment settings
   You can apply the same comment setting to all new video uploads. Changing your
   default settings for new video uploads will not impact existing videos.
   You can choose different comment settings for individual videos after upload. Learn
   how to change your default comment settings for new videos.

   Channel homepage comment settings
   You can change your setting for new comments on the Discussion or Community tab of
   your channel. Learn how to change your channel’s comment settings.

   FAQ about comment settings
   Can I block certain words, links, or users from one specific
   video?
   No. Hidden users, blocked words, and link blocking automatically apply to all videos and
   to your channel homepage.
   Note: Changes to your comment settings only apply to new videos.

   Can I review comments from hidden users?
   No. Comments from hidden users don’t show in YouTube Studio.

   Can I review comments that are blocked for specific
   words or links?
   Yes. Comments with blocked words or links can be reviewed and approved on your
   Comments page, under the “Held for review” tab for up to 60 days.

   If I turn comments off and back on again, do my old
   comments come back?
   Yes. If you turn comments off and back on again, existing comments will reappear.
   If you turn off comments, existing comments can’t be seen on the watch page or in
   YouTube Studio.



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                                                                                         910
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     If I change my settings, are existing comments impacted?
     Impacted                                   Not impacted
     Comments on new video uploads.             Existing comments on previously uploaded videos.
     New comments on your channel homepage New comments on previously uploaded videos.
     (For example Community or Discussion tab). Learn how to change the comment setting of a
                                                previously uploaded video.
                                                Existing comments on your channel homepage.


     Exception: If you turn off comments on your channel homepage, all previous comments
     are hidden.

     Give feedback about this article
     Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                               Submit
     Manage your community & comments
    Learn about comment settings
    Choose comment settings
    Review and reply to comments
    Block a commenter
    Manage spam in comments
    Use Smart Replies in YouTube Studio

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    YouTube Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)



                                                                                            716
                                                                                            911
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7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

   Send feedback on...
   This help content & information General Help Center experience
     1




   Google Help




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                                                                               912
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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                                                                               913
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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




                                                                                   719
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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                 720
                                                                                 915
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity


    Choose comment settings
    Note: This feature may not be available with supervised experiences on YouTube. Learn
    more here.

    You can change your comment settings in YouTube Studio. Learn about different
    comment settings.

    Comments aren’t available when:

   A channel or video’s audience is set as made for kids.

    Or

   A video is private.

    If you want to allow comments on a video that's not publicly available, post an unlisted
    video instead.

    Note: Comments will be permanently deleted 30 days from when a channel or video is
    set as made for kids.

    Change your default comment settings
    Choose your default comment setting. This change applies to comments on new videos
    and new comments on your channel homepage.

1. Sign in to YouTube Studio.
2. From the left menu, select Settings.




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                       The linked




3. Select Community Defaults.
                       image cannot
                       be display ed.
                       The file may
                       hav e been
                       mov ed,
                       renamed, or
                       deleted. Verify …




4. Select your default settings:
 If you have the Community tab: Choose your default settings under “Comments on your
   channel."
 If you don’t have the Community tab: Choose your default setting for new video uploads
   under “Comments on your new videos." Choose your default setting for new comments
   on the Discussion tab under “Comments on your Discussion tab."
5. Select Save.

     Change comment settings on a video
     You can change comment settings for an individual video from your Content page. You
     can also change comment settings for multiple videos at once with bulk edits.

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
3.   Click a video’s thumbnail.
4.   Select the More options tab.
5.   Under “Comments and ratings," choose your comment settings.
6.   Select Save.

     Change default comment view
     You can change how comments are ordered on your video’s watch page. You can order
     comments by top comments or by date added.

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
3.   Click a video’s thumbnail.
4.   Select the More options tab.
5.   Under “Comments and ratings,” select Sort by.
6.   Choose between “Top” and “Newest," then select Save.

     Give feedback about this article
     Choose a section to give feedback on

                                           Was this helpful?
                                               YesNo




                                               Submit




                                                                                     722
                                                                                     917
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    Manage your community & comments
   Learn about comment settings
   Choose comment settings
   Review and reply to comments
   Block a commenter
   Manage spam in comments
   Use Smart Replies in YouTube Studio

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά



                                                                                723
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29. български
30. русский
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32. українська
33. ‫עברית‬
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35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




                                                                               724
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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues



                                                                                   725
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Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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                                                                                 921
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
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    Help CenterCommunity


    Set your channel or video’s audience
    Regardless of your location, you’re legally required to comply with the Children’s Online
    Privacy Protection Act and/or other laws. You’re required to tell us that your videos are
    made for kids if you make kids content.

    As a YouTube creator, you are required to set future and existing videos as made for
    kids or not. Even creators who don’t make content for kids need to set their audience.
    This will help ensure that we offer the appropriate features on your content.

    To help you comply, there are made for kids audience settings on YouTube Studio. You
    can set your audience:

   At the channel level, which will set all of your future and existing content as made for
    kids or not.
   Or, at the video level. If you choose this option, you’ll need to set each existing and
    future video as made for kids or not.

    Note:

   To set your audience as made for kids, you'll need to do so in YouTube Studio. You
    won't be able to do so in Creator Studio Classic.
   We'll make the audience selection tool available to third-party applications and the
    YouTube API Services in the near future. For now, please use YouTube Studio to upload
    made for kids content.

    Important: Why every creator must set their audience

    These changes are required as part of a settlement with the US Federal Trade
    Commission (FTC) and NY Attorney General, and will help you comply with the



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     Children’s Online Privacy Protection Act (COPPA) and/or other applicable laws.
     Regardless of your location, we require you to tell us whether or not your videos are
     made for kids. If you fail to set your audience accurately, you may face compliance
     issues with the FTC or other authorities, and we may take action on your YouTube
     account. Learn more about the FTC’s enforcement of COPPA.

     A few notes:

    We use machine learning to help us identify videos that are clearly directed to young
     audiences. We trust you to set your audience accurately, but we may override your
     audience setting choice in cases of error or abuse.
    Do not rely on our systems to set your audience for you because our systems may not
     identify content that the FTC or other authorities consider to be made for kids.
    If you need help determining whether or not your content is made for kids, check out
     this Help Center article or consult legal counsel.
    Videos that you set as “made for kids” are more likely to be recommended alongside
     other kids’ videos.
    If you've already set your audience for your video and YouTube detects error or abuse,
     you may see your video set as “Set to Made for Kids". You won't be able to change your
     audience setting. If you think we made a mistake, you can appeal.

     Computer AndroidiPhone & iPad

     Set your channel's audience
     Simplify your workflow by selecting a channel setting. This setting will affect existing
     and future videos. If you choose not to select a channel setting, you’ll be required to
     identify each video on your channel that’s made for kids. Settings for individual videos
     will override the channel setting.
     This will also restrict certain features on your channel. If you aren’t sure whether or not
     your videos are made for kids, check out this Help Center article.

1.   Sign in to studio.youtube.com (Web studio only).
2.   On the left menu, click Settings.
3.   Click Channel.
4.   Click the Advanced Settings tab.
5.   Under Audience, select:
1.   “Yes, set this channel as made for kids. I always upload content that’s made for kids.”
2.   “No, set this channel as not made for kids. I never upload content that’s made for kids.”
3.   “I want to review this setting for every video.”
6.   Click Save.

     Set your video's audience




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    You can set individual videos as made for kids. This is a good option if only some of
    your videos are made for kids. If you aren’t sure whether or not your content is made for
    kids, check out this Help Center article.

    Set your audience during upload

1. Go to studio.youtube.com. Note: to set your audience as made for kids, you'll need to
   use YouTube Studio. You won't be able to do so in Creator Studio Classic.
2. In the upper right hand corner, click the upload icon.
3. Click Upload video (beta). If you don't see this, click Upload video.
4. On the Basic info tab, scroll to Audience.
5. Select:
 “Yes, it’s made for kids".
 “No, it’s not made for kids".
6. Click Next to continue uploading your content.

    Once you’ve uploaded your video, it’ll be labeled as “Made for kids - set by you” in your
    Uploads list.

    Update the audience setting on existing videos

    You may notice that YouTube has already set some videos as “made for kids”. Since
    you haven’t had a chance yet to set your videos or channel as made for kids or not, you’ll
    be able to do this now:

1. Sign in to studio.youtube.com.
2. From the left menu, select Content.
3. Check the boxes next to the videos you'd like to edit. Note: You can select all of your
   videos by checking the box next to “Video” at the top of your upload list.
                The link ed         The link ed
                image cannot        image cannot




4. Select Edit    Audience     “Yes, it’s made for kids.”
                be displayed.       be display ed.
                The file may        The file may
                have been           hav e been
                moved,              mov ed,
                renamed, or         renamed, or
                deleted. Verify …   deleted. Verify …




5. Select UPDATE VIDEOS.

    A few notes:

   We use machine learning to help us identify videos that are clearly directed to young
    audiences. We trust you to set your audience accurately, but we may override your
    audience setting choice in cases of error or abuse.
   Do not rely on our systems to set your audience for you because our systems may not
    identify content that the FTC or other authorities consider to be made for kids.
   If you need help determining whether or not your content is made for kids, check out
    this Help Center article or consult legal counsel.
   Videos that you set as “made for kids” are more likely to be recommended alongside
    other kids’ videos.




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                                                                                             924
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    If you've already set your audience for your video and YouTube detects error or abuse,
     you may see your video set as “Set to Made for Kids". You won't be able to change your
     audience setting. If you think we made a mistake, you can appeal.

     Set your live stream's audience
     Set your audience when creating a live stream

     If you aren’t sure whether or not your content is made for kids, check out this Help
     Center article.

1. Go to studio.youtube.com.
2. In the upper right hand corner, click the upload icon.
3. Click Go live. Note: Clicking this will send you to the Live Control Room. You won't be
   able to set your live stream's audience using our Classic live streaming tools, so you'll
   need to do so using the Live Control Room.
4. After you’ve filled out the basic information and selected a privacy setting, scroll to
   Audience.
5. Select:
 “Yes, it’s made for kids”.
 “No, it’s not made for kids”.
6. Click Next to continue setting up your live stream.

     Update the audience setting on archived live streams

     You may notice that YouTube has already set some archived live streams as “made for
     kids”. Since you haven’t had a chance yet to set your archived live streams as made for
     kids or not, you’ll be able to do this now:

1. Sign in to studio.youtube.com.
2. From the left menu, select Content.
3. Click the Live tab.
4. Check the boxes next to the videos you'd like to edit. Note: You can select all of your
   videos by checking the box next to “Live stream” at the top of the list.
                 The link ed
                 image cannot
                                     The link ed
                                     image cannot




5. Select Edit     Audience       “Yes, it’s made for kids" if it’s kids content. Or, select “No, it’s
                 be displayed.       be display ed.
                 The file may        The file may
                 have been           hav e been
                 moved,              mov ed,
                 renamed, or         renamed, or
                 deleted. Verify …   deleted. Verify …




   not made for kids” if it isn’t kids content.
6. Select UPDATE VIDEOS.

     A few notes:

    We use machine learning to help us identify videos that are clearly directed to young
     audiences. We trust you to set your audience accurately, but we may override your
     audience setting choice in cases of error or abuse.




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   Do not rely on our systems to set your audience for you because our systems may not
    identify content that the FTC or other authorities consider to be made for kids.
   If you need help determining whether or not your content is made for kids, check out
    this Help Center article or consult legal counsel.
   Videos that you set as “made for kids” are more likely to be recommended alongside
    other kids’ videos.
   If you've already set your audience for your video and YouTube detects error or abuse,
    you may see your video set as “Set to Made for Kids". You won't be able to change your
    audience setting. If you think we made a mistake, you can appeal.

    What happens when your content is set as made for kids
    We limit data collection and use on made for kids content to comply with the law. This
    means we need to restrict or disable certain features like comments, notifications, and
    others.

    Most importantly, we don’t serve personalized ads on kids content, as required by the
    Children’s Online Privacy Protection Act (COPPA) and/or other applicable laws. Not
    serving personalized ads on kids content may result in a decrease in revenue for some
    creators who mark their content as made for kids. We recognize that this won’t be easy
    for some creators, but these are important steps to take to ensure compliance with
    COPPA and other applicable laws.

    Read below for a list of affected features:

    If you set a video or live stream as made for kids
    Starting in January, when you set your audience as “made for kids”, we'll restrict certain
    features to comply with the Children’s Online Privacy Protection Act (COPPA) and other
    applicable laws. When this happens, the following features won’t be available on
    individual videos or live streams:

   Autoplay on home
   Cards or end screens
   Video watermarks
   Channel Memberships
   Comments
   Donate button
   Likes and dislikes on YouTube Music
   Live chat or live chat donations
   Merchandise and ticketing
   Notification bell
   Personalized advertising
   Playback in the Miniplayer
   Super Chat or Super Stickers




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   Save to playlist and Save to watch later

    If you set your channel as made for kids
    Starting in January, if your channel is made for kids, your videos or live streams won’t
    have any of the features above. Your channel also won’t have the following:

   Channel Memberships
   Notification bell
   Posts
   Stories

    Frequently Asked Questions
    Why are notifications, comments, and other features turned off on content set as made
    for kids?
    To comply with the Children’s Online Privacy Protection Act (COPPA) and other
    applicable laws, we limit data collection on content designated as made for kids. As a
    result, certain features may be restricted or turned off on this content, including
    notifications and comments.
    What happens if I set my video’s audience incorrectly?
    These changes are required as part of a settlement with the US Federal Trade
    Commission (FTC) and NY Attorney General, and will help you comply with the
    Children’s Online Privacy Protection Act (COPPA) and/or other applicable laws.
    Regardless of your location, we require you to tell us whether or not your videos are
    made for kids. If you fail to set your audience accurately, you may face compliance
    issues with the FTC or other authorities, and we may take action on your YouTube
    account. Learn more about the FTC’s enforcement of COPPA.
    Note: We’ll also use machine learning to help us identify videos that are clearly directed
    to young audiences. We trust you to set your audience accurately, but we may override
    your audience setting choice in cases of error or abuse. However, do not rely on our
    systems to set your audience for you because our systems may not identify content
    that the FTC or other authorities consider to be made for kids. If you don’t set your
    audience as made for kids accurately, you might face legal consequences or
    consequences on YouTube. If you need help determining whether or not your content is
    made for kids, check out this Help Center article or consult legal counsel.
    How do I know if I’ve set my video’s audience correctly?
    Unfortunately, we’re unable to provide guidance on whether you accurately set your
    audience as made for kids, but the FTC has provided some guidance on what it means
    to be child-directed (or, “made for kids”). The FTC is currently considering various
    updates to COPPA, which may include providing more guidance on this issue.
    We’ll also use machine learning systems to help us find content that is clearly made for
    kids. But please do not rely on our systems to set content for you -- like all automated
    systems, it’s not perfect. We may need to override your audience setting choice in cases




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     where we detect error or abuse. But in most cases, we’ll rely on your audience setting to
     determine whether a video is made for kids.
     If you don’t set your audience as made for kids, and the FTC or other authorities think it
     should have been, you may face legal consequences. So check out this Help Center
     article or seek legal counsel if you’re still unsure whether or not your content should be
     set as made for kids.
     What do I do if YouTube says my video is made for kids, but I disagree?
     If you haven’t set your video’s audience yet: YouTube may have set your audience for
     you. This is to help you comply with COPPA and/or other applicable laws. However, if
     you disagree with how YouTube has set your content, you can still change the video’s
     audience setting in most cases. Here’s how:

1. On a computer, go to studio.youtube.com.
2. From the left menu, select Content.
3. Go to the video you’d like to edit and under Restrictions, select Made for kids. Note: If
   you have more than one restriction, you may need to hover to see Made for kids.
4. Click Review audience setting.
5. Under Audience, select “No, it’s not made for kids”.

     If you've already set your audience for your video: and YouTube detects error or abuse,
     you may see your video set as “Set to made for Kids.” When this happens, you won’t be
     able to change your audience setting.

     However, we understand that we sometimes make mistakes. If you think this is the
     case, you can appeal this decision.

     To start an appeal:

1.   On a computer, go to studio.youtube.com.
2.   From the left menu, select Content.
3.   Go to the video that you want to appeal.
4.   Hover over “Set to made for kids” and click Appeal.
5.   Enter your reason for appealing and click Submit.

     After you submit an appeal

     You'll get an email from YouTube letting you know the result of your appeal request.
     One of the following will happen:

    If your appeal is successful, we'll remove the made for kids audience setting.
    If your appeal is unsuccessful, the made for kids audience setting will remain on your
     content. Going forward, please review your channel and/or individual video’s audience
     settings. Failure to set your audience appropriately may result in legal consequences
     under COPPA and/or other laws, or consequences on the YouTube platform.




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    You may appeal each video only once.


    Give feedback about this article
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    Made for kids content
   Set your channel or video’s audience
   Determining if your content is "made for kids"
   Best practices for kids and family content
   Frequently asked questions about “made for kids”

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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski



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18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   Submit feedback



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Troubleshoot problems playing videosTroubleshoot account issuesFix upload
problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
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settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




                                                                               737
                                                                               932
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     YouTube Help

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     This help content & information

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                                                                                Next
     Help CenterCommunity


     Make bulk changes to videos
     Edit multiple videos
     To edit several videos at the same time:

1. Sign in to YouTube Studio.
2. From the left menu, select Content.
3. Check the boxes next to the videos you'd like to edit.
4. Select Edit, then choose the type of change you'd like to make.
 Title
 Description
 Tags
 Visibility
 Monetization
 Ad settings
 Audience
 Automatic chapters
 Caption certificate
 Category
 Comments
 Embedding
 License
 Recording date
 Short sampling
 User ratings
 Video language
5. Enter the details of the change and select Update videos.




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     Delete multiple videos
     If you delete a video, it's permanently deleted — you can't recover it through YouTube. If
     you’d like to watch the video in the future, make sure you have a backup saved.

     To delete multiple videos or video drafts at the same time:

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
3.   Check the boxes next to the videos you'd like to delete.
                          The linked




4.   Select More actions Delete forever.
                          image cannot
                          be display ed.
                          The file may
                          hav e been
                          mov ed,
                          renamed, or
                          deleted. Verify …




5.   Check the box to acknowledge that your video will be permanently deleted.
6.   Select DELETE FOREVER.

     Give feedback about this article
     Choose a section to give feedback on

                                              Was this helpful?
                                                  YesNo




                                                  Submit
     Edit videos & video settings
    Download videos that you've uploaded
    Replace or delete your video
    Make bulk changes to videos
    How engagement metrics are counted
    Restrictions on claimed music
    Manage restrictions on your videos
    Manage playlists in YouTube Studio

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      English?

     English

1. català
2. dansk




                                                                                            740
                                                                                            935
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3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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     1




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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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    settingsManage accessibility settingsTroubleshoot account issues
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    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




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   Block other viewers on live chat
   If you no longer want to see another viewer’s messages on live chat, you can block that
   viewer. The other viewer won't see your messages either, unless you post to their
   channel or a channel on which they're a moderator.

   Android ComputeriPhone & iPad

1. Hover your mouse over the message of the viewer you want to block.
              The link ed
              image cannot




2. Click More .
              be display ed.
              The file may
              have been
              mov ed,
              renamed, or
              deleted. Verify …




                 The link ed
                 image cannot




3. Click Block  .
                 be displayed.
                 The file may
                 have been
                 moved,
                 renamed, or
                 deleted. Verify …




   Only viewers can block other viewers. Blocking a viewer may block them across other
   Google products and services.

   To unblock a viewer, go to myaccount.google.com/blocklist.

   Creators and moderators may hide viewers from their channel by moderating live chat.

   Give feedback about this article
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                                                                                       745
                                                                                       940
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    Live stream on YouTube
   Live chat basics
   Manage Super Chat & Super Stickers
   Live caption requirements
   Use IFTTT when you monetize
   Block other viewers on live chat
   View automatic captions on live streams
   Use automatic captioning
   Moderate live chat
   How to use moderation tools

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     English?

    English

1. català
2. dansk
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22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt



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26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows



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Premium billingGet a YouTube Premium family planSign up for a student Premium
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community & commentsLive stream on YouTube
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What is the issue with this selection?

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Other suggestions - ideas to improve the content

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YouTube Help

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Secure your YouTube account
Starting November 1, monetizing creators must turn on 2-Step Verification on the
Google Account used for their YouTube channel to access YouTube Studio or YouTube
Studio Content Manager. Learn more

Securing your YouTube account helps prevent your account from being hacked,
hijacked, or compromised.

Note: If you think your account has been hacked, follow these steps to secure it.

Create a strong password & keep it safe
Create a strong password
A strong password helps you keep your personal information safe and prevents
someone else from getting into your account.

Create a strong and complex password: Use 8 characters or more. It can be any
combination of letters, numbers, and symbols.

Make your password unique: Do not use your YouTube account password on other
sites. If another site gets hacked, the password could be used to enter your YouTube
account.

Avoid personal information and common words: Do not use personal information like
your birthdays, common words like “password,” or common patterns like “1234.”




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    Protect your password from hackers
    Get notified when you enter your password on a non-Google site by turning on
    Password Alert for Chrome. For example, you'll be notified if you enter your password
    on a site that impersonates Google, and then you can change your YouTube account
    password.

    Manage your passwords
    A password manager can help you create and manage strong, unique passwords. Try
    using Chrome’s or another trusted password manager.

    Tip: To find out if any passwords saved in your Google Account may be exposed, are
    weak, or are reused for multiple accounts, use Password Checkup.

    Never share your login info
    Never give out your passwords. YouTube will never ask for your password in an email,
    message, or phone call. YouTube will never send a form asking for personal information
    such as identity number, financial data, or passwords.

    Do a regular security checkup
    Go to the Security Checkup page to get personalized security recommendations for your
    account and follow these tips to make your account more secure.

    Add or update account recovery options
    Your recovery phone number and email address can be used to:

   Block someone from using your account without your permission
   Alert you if there’s suspicious activity on your account
   Recover your account if you’re ever locked out

    Learn how to add or change your recovery phone number or email address.

    Turn on 2-Step Verification
    2-Step Verification helps prevent a hacker from getting into your account, even if they
    steal your password. Here are your options:

   Security keys (Most secure verification step)
   Google Prompts (More secure than text message codes)
   Google Authenticator Application (Receive codes without internet or mobile data)

    Security keys are a stronger verification option because they help prevent phishing
    techniques that use text message codes.



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    Turn on 2-Step Verification for your account.

    Remove suspicious people from your account
    If you don't recognize the people managing your account, your account may have been
    hacked, and someone is verifying ownership of your account to gain something. You
    can change or remove people depending on your account type.

   Change or remove access from your YouTube Account
   Change or remove access from your Brand Account

    Remove sites and apps you don’t need
    To protect your YouTube account, avoid installing unknown apps or apps from unknown
    sources. Manage and remove any apps you don’t need from your connected accounts.

    Update your software and backup your account
    If your browser, operating system, or apps are out-of-date, the software might not be
    safe from hackers. Keep your software updated and backup your account regularly.

    Protect against suspicious messages & content
    Phishing is when a hacker disguises themself as someone trustworthy to take personal
    information, like financial data, a national ID/social security number, or credit card
    numbers.

    Hackers may pretend to be institutions, family members, or colleagues by using emails,
    text messages, web pages, and more.

    YouTube will never ask you for your password, email address, or other account
    information. Don't be fooled if someone contacts you pretending to be from YouTube.



    Avoid suspicious requests
   Don’t reply to suspicious emails, texts, instant messages, webpages, or phone calls that
    ask for your personal or financial info.
   Don’t click links in emails, messages, webpages, or pop-ups from untrustworthy
    websites or senders.
   YouTube emails only come from @youtube.com or @google.com addresses.




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     The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




    An example of a suspicious phishing email




    Avoid suspicious web pages
    Google Chrome and Search are designed to warn you about suspicious content and
    unwanted software.
    Learn how to manage these warnings in Chrome and Search.

    Report spam or phishing
    To protect yourself against phishing, never enter your password on any page except
    myaccounts.google.com. If you find videos on YouTube that you think might be spam or
    phishing, please flag them for review by the YouTube team. For more information on
    spam and phishing please visit the National Cyber Security Alliance.
    Tip: Learn more about phishing with our phishing quiz.

    Set & check permissions on your channel
    If you’re a creator, you can invite someone else to manage your YouTube channel
    without giving access to your Google Account. Invite someone to access their channel
    as a:

   Manager: Can add or remove others and edit channel details.
   Editor: Can edit all channel details.
   Viewer: Can view (but not edit) all channel details.
   Viewer (limited): Can view (but not edit) all channel details except revenue information.

    Learn how to set and check your channel permissions.




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    Note: If you have a Brand account, you can invite someone to manage your Google
    account and your YouTube channel. Learn to see if you have a Brand account and learn
    how to manage Brand account permissions.




    Give feedback about this article
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                                      Was this helpful?
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                                           Submit
    Troubleshoot account issues
   Delete or hide your YouTube channel
   Fix a hacked YouTube account
   Secure your YouTube account

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
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10. Indonesia
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12. latviešu
13. lietuvių



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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


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    YouTube Help

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    Content policies for YouTube Kids
    The YouTube Kids app is designed to be a safer and simpler place for kids to explore
    their interests through online video. This separate app is a filtered version of YouTube
    and has a much smaller set of channels and videos available than the YouTube app and
    website. This is because we work to identify content that is age-appropriate, adheres to
    our quality principles, and is diverse enough to meet the varied interests of kids globally.

    Below are our YouTube Kids policies, which outline what kind of content is eligible to be
    part of YouTube Kids. Content must comply with these policies for it to appear in
    YouTube Kids. These policies are designed to exclude content that is:

   More suitable for viewers 13+
   Age-restricted to viewers 18+
   Violative of our Community Guidelines

    These policies were designed using feedback from parents and external specialists in
    child development, children’s media, digital learning, and citizenship. Based on these
    policies, videos or channels may be excluded from YouTube Kids to help ensure a great
    experience for our youngest audience.

    Content settings
    There are 3 content settings available in the app: Preschool, Younger, and Older. The
    content your child will see is based on the setting you choose when you set up YouTube
    Kids for your child.

    PreschoolDesigned with kids 4 and under in mind
    Younger Designed with kids ages 5-8 in mind
    Older    Designed with kids ages 9-12 in mind



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Content Policies
Our policies determine what kind of content is eligible for each content setting. When
you choose a content setting for your child, they will see content eligible for that setting.
This includes what they find in searches or in recommended videos. Our automated
systems and human reviewers work to identify suitable content based on the setting
you have selected. Our systems work hard to exclude content not suitable for kids, but
not all videos have been manually reviewed. If you find something inappropriate that we
missed, you can block it or report it for fast review.

Preschool Content Setting
The Preschool setting was designed with kids ages 4 and under in mind. This content
setting includes videos that promote creativity, playfulness, learning, and exploration.
Popular video categories include arts and crafts, nursery rhymes, cartoons, read-alongs,
circle time, toys and play and yoga.
Some videos may include:

Sexual content: Non-romantic expressions of love, such as a holding hands or a kiss on
the cheek. Age-appropriate educational videos on sexual and gender identity.

Violence: Non-violent and non-scary scripted and animated videos.

Weapons: Age-appropriate videos featuring unrealistic weapons (e.g., water gun) in the
context of toy play, gaming, animation.

Dangerous Content: Videos featuring stunts performed by skilled individuals with no
instructional component (e.g., basketball players doing tricks). Arts and crafts videos
that involve age-appropriate products or tools such as paint, glue, or scissors.

Language: Videos with no use of offensive language or profanity.

Music Videos: Age-appropriate music videos with no sexual themes.

Younger Content Setting
The Younger content setting was designed with kids ages 5-8 in mind. This content
setting includes a wider variety of topics to meet the widening interests of younger kids.
Popular categories include gaming, covers of top 40 songs, family vloggers, cartoons,
DIY, learning, how-tos and other content that generally appeals to kids in early
elementary school. It also includes all content from the Preschool content setting.

Some videos may include:




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Sexual content: Videos with romantic themes, including brief displays of affection and
attraction, such as a quick kiss on the mouth.

Violence: Age-appropriate videos related to historical events that are educational but
may contain mild violence within the context of the event. Non-graphic, slapstick
cartoon violence.

Weapons: Videos featuring historical and classical art with displays of realistic
weapons (e.g., painting of a samurai sword).

Dangerous Content: Videos featuring challenges and pranks that are innocent in nature
or stunts that are unlikely to result in harm. Videos with non-focal display of alcohol or
tobacco. DIY videos that involve easily accessible products and tools with safety
disclaimers.

Language: Videos with infrequent use of mildly offensive language for this target age
group, such as "oh my God” or “dumb”.

Diet, Fitness, & Beauty: Makeup tutorials focused on creative and artistic expression.
Age-appropriate educational videos on healthy eating and exercise.

Sensitive Topics: Age-appropriate videos that discuss common childhood mental health
disorders such as anxiety and ADHD. Videos in this setting focus on positive coping and
recovery strategies, and the importance of seeking help.

Music Videos: Music videos with display of alcohol or tobacco in the background. Music
lyrics with non-sexual romantic themes or mildly offensive language such as “fool” or
“stupid”.

Older Content Setting
The Older content setting was designed with kids 9-12 in mind. This setting is for older
kids who may be ready for more grown-up content filtered from the broader universe of
videos on YouTube. For example, the app will show music, gaming, vlogs, comedy, and
sports that are excluded from the Younger and Preschool content settings of YouTube
Kids. It also includes all content from the Younger and Preschool content setting. This
setting tries to exclude mature content, but since we can’t manually review all content
and no automated system is perfect, we may miss some videos.

Some videos may include:

Adult content: Videos that display or discuss non-sexual experiences related to
romance and attraction, such as dating or a first kiss. Age-appropriate videos on Sex
Education topics like puberty and reproduction.




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    Violence: Age-appropriate videos related to current events that are educational but may
    contain mild violence within the context of the event. Non-graphic violence in scripted
    and animated videos common in gaming, television shows, and movies.

    Weapons: Videos featuring unrealistic toy guns in the context of toy play. Realistic
    looking weapons in gaming and animated content.

    Dangerous Content: Dangerous acts performed in a professional setting (e.g., TV/movie
    studio) that might result in harm. Videos with infrequent mention or use of alcohol or
    tobacco. DIY videos that involve easily accessible products and tools or brief use of a
    sharp object such as an X-acto knife or saw.

    Inappropriate Language: Videos with infrequent use of mild profanity, such as "damnit"
    or "hell" in a non-harassing context.

    Diet, Fitness, & Beauty: Videos featuring beauty product reviews, age-appropriate make-
    up tutorials, and educational content on health and wellness.

    Sensitive Topics: Age-appropriate videos that discuss sensitive issues such as mental
    health, addiction, eating disorders, and loss and grief. Videos in this setting do not
    feature graphic imagery and focus on positive coping and recovery strategies, and the
    importance of seeking help.

    Music Videos: Music videos with sexualized dancing that is not gratuitous and
    infrequent use of alcohol or tobacco. Music lyrics with mild profanity or infrequent
    mentions of alcohol or tobacco.

    Content with commercial elements
    Content with paid product placements or endorsements. We do not allow videos in
    YouTube Kids that include paid product placements or endorsements. When a creator
    discloses paid product placement or endorsement in their video through YouTube
    Studio, we will remove the videos from the YouTube Kids app.

    Overly commercial content. Content that is overly commercial or promotional is not
    allowed in YouTube Kids. This includes:

   Traditional advertisements for products and services uploaded by creators or brands.
   Content that directly encourages the viewer to buy a product.
   Videos focused on product packaging.
   Videos focused on the excessive accumulation or consumption of products.

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    YouTube policies
   The importance of context
   Creator responsibility
   Best Practices for Content with Children
   Staying safe on YouTube
   Content policies for YouTube Kids

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1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
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17. polski
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20. română
21. slovenčina
22. slovenščina



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23. suomi
24. svenska
25. Tiếng Việt
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27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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Program
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subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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Content settings for families using supervised
experiences
We give parents choices to guide their kid’s YouTube journey, because we believe that
kids can discover new interests, learn from diverse perspectives, and feel a sense of
belonging when they explore the world of online videos across YouTube. If you believe
your child is ready to explore the vast universe of content on YouTube, you can choose
between using our separate YouTube Kids app for a safer and simpler experience, or
creating and managing a supervised experience on YouTube.

At YouTube, we believe diverse content and hearing from a range of voices can help us
learn about one another. This also means being exposed to viewpoints you might not
agree with. We have Community Guidelines to help build a safe viewing experience for
everyone. We also have more content policies described below that apply specifically
for young viewers in a supervised experience. If you're considering a supervised
experience on YouTube for your child, we encourage you to review this guide with your
family before getting started.

Our approach
YouTube has developed a set of policies on content appropriateness that generally
align with TV and movie content ratings. These policies help guide which videos are
eligible in the different content settings available for families. These policies were
further informed by consulting with various external specialists in child development,
children’s media, digital learning, and citizenship. Our automated systems, which take
these content policies into account, then identify videos suitable to include in each
content setting. We know that our systems aren’t perfect and will make mistakes. We
have a team of engineers and human reviewers partnering together to continuously




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improve our systems. We also regularly reevaluate our policies, therefore the policies
listed below may not be exhaustive.

If you find something that you believe is inappropriate for YouTube, please report it.

Content settings
Explore        Generally aligns with content ratings for viewers 9+
Explore more   Generally aligns with content ratings for viewers 13+
Most of YouTubeAlmost all videos on YouTube except for content marked as 18+

Content policies
Our content policies differ between the different content settings available to you when
you set up a supervised account for your child. Our automated systems, which take
these content policies into account, then identify content suitable to include in each
content setting. We know that our systems aren’t perfect and will make mistakes.

Explore

“Explore” is for families ready to move on from YouTube Kids and begin to explore the
much larger universe of content on YouTube. This setting features a broad range of
videos that generally aligns with content ratings for viewers 9+. Videos include vlogs,
tutorials, gaming videos, music videos, news, educational content, DIY, arts and crafts,
dance, and more. Some videos may include:

Adult content: Videos with romantic themes, including mild displays of affection and
attraction. Age-appropriate educational videos on sexual and gender identity and Sex
Education topics like puberty and reproduction.

Violence: Age-appropriate videos related to current or historical events that are
educational but may contain mild violence within the context of the event. Non-graphic
violence in scripted and animated videos common in cartoons, gaming, television
shows, and movies.

Weapons: Videos featuring unrealistic weapons in the context of toy play, gaming,
animation, and artistic weapons in a historical context.

Dangerous Content: Videos featuring dangerous acts such as stunts, pranks, and
challenges that are not easily imitable by minors or include a prominent disclaimer with
appropriate safety disclosures. Videos that briefly display alcohol or tobacco.

Inappropriate Language: Videos with infrequent use of mildly offensive language, such
as "damnit" or "hell" in a non-harassing context.



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Diet, Fitness, & Beauty: Videos featuring beauty product reviews, age-appropriate make-
up tutorials, and educational content on wellness, including healthy eating and exercise.

Sensitive Topics: Age-appropriate videos that discuss sensitive issues such as mental
health, addiction, eating disorders, and loss and grief. Videos in this setting do not
feature graphic imagery and focus on positive coping and recovery strategies, and the
importance of seeking help.

Music Videos: Music videos may include lyrics with mildly offensive language, or
mentions of alcohol or tobacco. Videos may also feature sexualized dancing that is not
gratuitous, and infrequent displays of alcohol or tobacco.

Explore more

“Explore more” is for children ready to explore more of the vast universe of YouTube.
This setting includes everything in Explore, and an even broader range of videos that
generally align with content ratings for viewers 13+. Videos include live streams, vlogs,
tutorials, gaming videos, news, educational videos, DIY, arts and crafts, dance and more.
Some videos may include:

Adult Content: Videos with sexual themes, such as non-explicit accounts of sexual
experiences and displays of physical contact. Educational videos on sexual and gender
identity and Sex Education topics like sexual development, reproductive health,
abstinence, and disease prevention.

Violence: Non-graphic educational videos related to current or historical events. Fleeting
graphic violence in scripted and animated videos common in gaming, television shows,
and movies.

Weapons: Videos featuring real or realistic weapons in scripted videos common in
television shows and movies. Videos featuring real guns when used in a sport or
educational context on gun safety.

Dangerous Content: Videos featuring dangerous acts such as stunts, pranks, and
challenges that could result in serious physical harm but are not easily imitable by
minors. Videos that display or show frequent use of alcohol or tobacco.

Inappropriate Language: Videos with frequent use of offensive language or profanity
such as "bitch" or "ass" in a non-harassing or non-sexual context. If infrequent and used
in a non-harassing context, derogatory slurs may appear in a strictly educational or
music video context.

Diet, Fitness, & Beauty: Videos featuring make-up tutorials, beauty tips and life hacks,
and videos related to healthy eating and exercise.




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     Sensitive Topics: Non-graphic videos related to sensitive issues such as mental health,
     suicide ideation, self-harm, addiction, eating disorders, and loss and grief that focus on
     positive coping and recovery strategies, and the importance of seeking help.

     Music Videos: Music videos may include lyrics with sexual references, infrequent
     explicit profanity, or derogatory slurs in a non-harassing or hateful context. Videos may
     also feature sexualized dancing and use of alcohol, tobacco, or marijuana.

     Most of YouTube
     This setting contains almost everything on YouTube except for videos that may not be
     appropriate for viewers under 18. Learn more here.
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    Understand your choices as a family
    What is a supervised experience on YouTube?
    Get started with supervised accounts
    Content settings for families using supervised experiences
    FAQs for parents about supervised accounts
    Info for creators about a supervised experience on YouTube

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5.   español
6.   español (Latinoamérica)
7.   Filipino



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8. français
9. hrvatski
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14. magyar
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16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
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29. български
30. русский
31. српски
32. українська
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Safer Experience
Parent Resources
Family-Friendly Videos
Fun on Every Screen
Parent Partners
Download Download
Watch Now
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                                                     Watch on Web

Safer Experience Parent Resources Family-Friendly Videos Fun on Every Screen Parent Partners
Download Download

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An app made
just for kids.
YouTube Kids was created to give kids a more contained environment that makes it simpler and
more fun for them to explore on their own, and easier for parents and caregivers to guide their
journey as they discover new and exciting interests along the way.
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A safer online
experience
for kids.
We work hard to keep the videos on YouTube Kids family-friendly and use a mix of automated
filters built by our engineering teams, human review, and feedback from parents to protect our
youngest users online.

Continue exploring


Tips and tools for your family.
No two families are the same. Learn about tools to customize your kids’ experience in the app,
from choosing what content they can watch, to limiting screen time, to blocking videos. There
are also resources to help you work with your kids to develop healthy digital habits.

Continue exploring

                                     01                Parent Approved + Collections
                                     02                Content Level by Age
                                     03                Timer
                                     04                Blocking

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                                     01                Parent Approved + Collections
                                     02                Content Level by Age
                                     03                Timer
                                     04                Blocking
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                                                     01                    Arts & Crafts
                                                     02                    Toys & Play
                                                     03                    Learning & Hobbies
                                                     04                    Shows & Cartoons


All kinds of videos for all kinds of kids.
Our library is filled with family-friendly videos on all different topics, igniting your kids’ inner
creativity and playfulness. It’s everything from their favorite shows and music to learning how to
build a model volcano (or make slime ;-), and everything in between.

Continue exploring

                                                     01                    Arts & Crafts
                                                     02                    Toys & Play
                                                     03                    Learning & Hobbies
                                                     04                    Shows & Cartoons


Download the free YouTube Kids app.
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Or experience YouTube Kids on the web at www.youtubekids.com.

Connect

                                                     About YouTube

                                                      About Blog How YouTube Works Jobs Press YouTube Culture & Trends

                                                     Products

                                                      YouTube Go YouTube Kids YouTube Music YouTube Originals YouTube Premium
                                                      YouTube Select YouTube Studio YouTube TV

                                                     For Business

                                                      Developers YouTube Advertising

                                                     For Creators




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         Creating for YouTube Kids Creator Academy Creator Research Creator Services
         Directory YouTube Artists YouTube Creators YouTube NextUp YouTube Space
         YouTube VR

        Our Commitments

         Creators for Change CSAI Match Social Impact

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YouTube Kids YouTube Music YouTube Originals YouTube Premium YouTube Select
YouTube Studio YouTube TV Developers YouTube Advertising Creating for YouTube Kids
Creator Academy Creator Research Creator Services Directory YouTube Artists YouTube
Creators YouTube NextUp YouTube Space YouTube VR Creators for Change CSAI Match
Social Impact
Policies & Safety Copyright Brand Guidelines Privacy Terms
Help
  English (United States)




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Exploration starts here
We give you choices to guide your kids’ YouTube journey, because we believe that kids can
discover new interests, learn from diverse perspectives, and foster a sense of belonging when
they explore the world of online video. And with videos from creators around the world, you can
choose the best YouTube experience for your family.

Know your choices


Choices for every family
Every family has a different approach to how they use technology, explore online, and set digital
ground rules. That’s why we offer options for you to decide which YouTube experience is best
for your unique family.

Discover two ways for kids to explore
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New parent supervised experience
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New supervised experience on YouTube beta

The YouTube experience — managed by you — for parents who decide their kids are ready to
explore the vast universe of YouTube videos. Comes with content settings for pre-teens and
older, limited features, and digital wellbeing protections.
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                                                      Create a supervised Google Account for your child to use YouTube

                                                      Link your child’s account to your own account to manage the experience
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                                                      Choose from three content settings

                                                      Generally aligns with content ratings by age, starting at 9+




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                                      Before they explore, help them become safe, prepared users of YouTube

                                      Download and review our guide to start the family conversation
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                                      Limited features available in our beta experience

                                      We continue to work with parents and industry experts to introduce more features like
                                      comments
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                                      Works with Google’s Family Link parental controls app

                                      Access more parental controls for YouTube such as screen timers

YouTube (parent supervised experience) contains a vast number of videos and is significantly
larger than our separate YouTube Kids app. Our systems work hard to prevent inappropriate
content, but are not perfect and will make mistakes. Some videos may be unsuitable for kids. If
you prefer a more limited experience for your child, YouTube Kids may be a better option.

Learn More

Separate app made just for kids
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file and location.




An app made just for kids

A separate app built from the ground up to be a safer and simpler experience for kids to explore,
with tools for parents and caregivers to guide their journey.
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                                      Create individual profiles as unique as your kids

                                      With personalized content selections and settings
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       Choose a content level based on your kid’s age

       Select a preferred experience for ages 4 and under, 5-8, or 9-12
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   

       Or approve what your kids can watch

       Handpick and approve videos, channels, or collections
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   

       Set screen time limits, block videos, and more

       Parental controls to manage your family’s experience
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       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




   

       Fun on every screen

       Enjoy YouTube Kids on mobile, desktop, and Smart TVs

YouTube Kids has a much smaller set of content available than YouTube’s main app and
website. We work hard to keep videos on YouTube Kids family-friendly and use a mix of
automated filters built by our engineering teams, human review, and feedback from parents to
protect our community. But not all videos have been manually reviewed. If you find something
inappropriate that we missed, you can flag it for fast review. This makes the app better for
everyone.

Learn More


Frequently asked questions
Understanding your choices
      What’s the difference between a supervised experience on YouTube and regular
       YouTube?

       Your child’s experience will look much like YouTube’s flagship app and website, but
       with adjustments to the content they can find and watch, features they can use, default
       account settings, and ads protections.




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      The videos they can watch will depend on a content setting that you select for their
      supervised account when granting them permission to use YouTube. We’ll disable a
      number of standard features normally available in YouTube, like comments and live chat,
      as well as the abilities to create a channel, upload content, and make purchases.
      Automatic reminders will appear for breaks and bedtime, which they can adjust to
      reinforce healthy screen time habits, and YouTube’s autoplay feature will be off by
      default as well.

      Since self-expression and community are integral parts of the YouTube experience we’ll
      work with parents and experts as we consider adding some of these features in the future.

     What’s a beta? Why are you launching this experience in beta?

      Beta means we’re still improving the experience, and we welcome you to join if you’d
      like to be a part of the journey. To help us get here, we’ve spoken with parents and child
      development and children’s media experts from all over the world. But YouTube serves
      billions of users globally and every family has a different approach to how they use
      technology, access the internet, and set digital ground rules. We expect this experience to
      evolve over time as we continue shaping the product, gathering feedback, and
      thoughtfully adding more tools for parents.

     What is YouTube Kids? How is it different from a supervised account on YouTube?

      YouTube Kids is our dedicated app built from the ground up with kids in mind, while a
      supervised account gives you the choice to allow your kids access to a managed version
      of regular YouTube.

      We launched YouTube Kids in 2015 to give kids a safer, more contained environment,
      with three content settings (Pre-school, Younger, and Older) and parental controls to help
      guide their viewing experience. Content in YouTube Kids is a diverse but smaller
      selection of content than regular YouTube - selected through a combination of human
      review, curated playlists from experts, and algorithmic filtering.

      Learn more at youtube.com/kids.

Supervised accounts on YouTube
     How do I get started?

      Supervised accounts on YouTube are available for children under 13 (or applicable age in
      your country) with a Google Account managed by Family Link. By setting up a
      supervised account linked to your own, and using your child’s account to sign in to
      YouTube, we can adjust their experience as described in the first FAQ above.

      Learn more to get started.




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   What are my choices for content settings?

    As a parent, you’ve watched your child grow and have seen their interests change.
    Wherever these new interests lead them, YouTube’s diverse platform of content creators
    offer entertainment, ideas, perspectives, and communities for them to explore. You know
    your child best and that’s why we offer three content setting options for you to choose:

       o   Explore: Generally aligns with content ratings for viewers ages 9+. This will
           feature a range of vlogs, tutorials, gaming videos, music videos, news, educational
           content, DIY, arts and crafts, dance, and more. No live streams, except for
           Premieres.
       o   Explore more: Generally aligns with content ratings for viewers ages 13+. This
           setting will include a larger set of videos – including live streams – in the same
           categories as Explore.
       o   Most of YouTube: Includes almost everything on YouTube, excluding content
           marked 18+ by channels, our systems, or our reviewers.

    These content settings contain a vast number of videos and are significantly larger than
    our separate YouTube Kids app. Our systems work hard to prevent inappropriate content,
    but are not perfect and will make mistakes. Some videos may be unsuitable for kids. If
    you prefer a more limited experience for your child, YouTube Kids may be a better
    option.

    Learn more about the content policies for each of these content settings.

   How does YouTube protect my child from inappropriate videos?

    People around the world use YouTube to express their ideas and opinions freely, and we
    believe that a broad range of perspectives ultimately makes us a stronger and more
    informed society, even if we disagree with some of those views. Our Community
    Guidelines set out what’s allowed and not allowed on YouTube, and also apply in a
    supervised experience.

    By setting up a supervised account for your child, and choosing a content setting for
    them, this will provide additional limits on the content they can find or get recommended.

    We care deeply about our users and work hard to exclude unsuitable videos, but no
    automated system of filters is perfect. You can change app permissions and content
    settings for your child at any time. If you find something you believe violates our
    Community Guidelines, report it for review. This makes YouTube better for everyone.

   How does YouTube protect my child’s privacy?

    YouTube is a part of Google and adheres to Google’s privacy policies and principles. We
    know it’s important for you to understand what personal information we collect in
    association with your child’s Google Account, why we collect it, and how you can




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      update, manage, export, and delete that information. The Google Privacy Policy and our
      Privacy Notice for Google Accounts for children under 13 (or applicable age in your
      country) explain our privacy practices for your child’s account.

      Your child can manage and learn more about their privacy settings and controls under
      "Your Data in YouTube" in their account. This page includes a summary of their content
      and activity data, settings to manage this data, and information on how their data is used
      to improve their YouTube experience, like reminding them what they’ve watched, and
      giving them more relevant recommendations and search results. As the parent manager of
      your child’s Google Account, you can pause or clear their search and watch history from
      Family Link, or from your parent settings page in YouTube.

     What about ads? Will my child see them?

      Yes. Limited paid advertisements make it possible for YouTube to provide an experience
      free of charge for families everywhere, and help support content creators to bring their
      creative ideas to life. To better protect children, ads in certain categories are prohibited
      and personalized ads are disabled. If you have a YouTube Premium family plan your
      child is eligible for ad-free viewing and other shared benefits of membership.

Connect

     About YouTube

      About Blog How YouTube Works Jobs Press YouTube Culture & Trends

     Products

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      YouTube Select YouTube Studio YouTube TV

     For Business

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     For Creators

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      Creators for Change CSAI Match Social Impact




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YouTube Studio YouTube TV Developers YouTube Advertising Creating for YouTube Kids
Creator Academy Creator Research Creator Services Directory YouTube Artists YouTube
Creators YouTube NextUp YouTube Space YouTube VR Creators for Change CSAI Match
Social Impact
Policies & Safety Copyright Brand Guidelines Privacy Terms
Help
  English




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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                        Next
    Help CenterCommunity


    Add paid product placements, sponsorships &
    endorsements
    Note: This article was updated in January 2021 to include a list of products and services
    where you should not include paid promotions.

    You may include paid product placements, endorsements, sponsorships, or other
    content that requires disclosure to viewers in your videos.

    If you choose to include any of the above, you have to let us know by selecting the paid
    promotion box in your video details. See instructions below.

    All paid promotions need to follow our Ad Policies and Community Guidelines. You and
    the brands you work with are responsible for understanding and complying with their
    local and legal obligations to disclose Paid Promotion in their content. Some of these
    obligations include when and how to disclose, and to whom to disclose.

    Where not to include paid product placements, sponsorships & endorsements

    Following our Ad Policies means you cannot include paid promotions of the following
    products and services in your content:

   Illegal products or services
   Sex or escort services
   Pornography
   Mail-order brides
   Recreational drugs
   Pharmaceuticals without a prescription
   Online gambling sites not yet reviewed by Google or YouTube



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   Services to cheat on exams or tests
   Hacking, phishing, or spyware
   Explosives
   Fraudulent or misleading businesses

    This policy applies to videos, video descriptions, comments, live streams, and any other
    YouTube product or feature. This list is non-exhaustive. Don't post content if you think it
    might violate this policy.

    Examples

    Here are some examples of content that’s not allowed on YouTube.

   Paid promotion of an academic essay-writing service
   Paid promotion of a website selling counterfeit passports or providing instructions on
    creating forged official documents
   Paid promotion of software that generates fake credit card numbers
   Paid promotion of an online pharmacy that sells regulated pharmaceuticals without
    prescriptions

    What happens if your content violates this policy

    If your content violates this policy, we’ll remove the content and send you an email to let
    you know. If this is your first time violating our Community Guidelines, you’ll get a
    warning with no penalty to your channel. If it’s not, we’ll issue a strike against your
    channel. If you get 3 strikes, your channel will be terminated. You can learn more about
    our strikes system here

    In addition, we may age-restrict content if the product or service being promoted is not
    suitable for all ages.

    What do we mean when we talk about paid product placements, sponsorships &
    endorsements?

    Paid product placements are pieces of content that are created for a third party in
    exchange for compensation, or where that third party's brand, message, or product is
    integrated directly into the content.

    Endorsements are pieces of content created for an advertiser or marketer that contain a
    message that people are likely to believe reflects the opinions, beliefs, or experiences of
    the content creator or endorser.

    Sponsorships are pieces of content that have been financed in whole or in part by a
    third party. Sponsorships generally promote the brand, message or product of the third
    party without integrating the brand, message, or product directly into the content.



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     Note that laws that apply to you may define paid promotions differently. Creators and
     brands are responsible for understanding and fully following legal obligations to
     disclose paid promotion in their content according to their jurisdiction. Legal obligations
     might include when and how to disclose and to whom to disclose.

     Creators and brands should also understand whether or not specific types of paid
     promotions are permitted under their local laws. For instance, in the UK and EU, certain
     videos classified as “children’s programmes” pursuant to the Audiovisual Media
     Services Directive may be prohibited from including sponsorships and/or paid product
     placements.
     Do I need to tell YouTube if a video has a paid product placement, endorsement, or
     other commercial relationship?
     If your content has a paid product placement, endorsement, or other commercial
     relationship, you need to tell YouTube so that we can facilitate disclosures to users.
     Note that you may have more obligations depending on the laws in your jurisdiction. If
     you don’t follow those obligations, we may take action against your content or account.
     To tell YouTube:

1. On a computer, sign in to YouTube Studio.
2. From the left menu, select Content.
3. Click the video you’d like to edit.
4. Select More options.
5. Check the box next to “My video contains paid promotion like a product placement,
   sponsorship, or endorsement.”
6. Select SAVE.

     For info on why you need to tell YouTube, go to the "What happens when I check the 'My
     video contains paid promotion like a product placement, sponsorship, or endorsement'
     section.

     What happens when I check the "My video contains paid promotion like a product
     placement, sponsorship, or endorsement" box?
     When you check the "video contains paid promotion" box under the "Content
     declaration" section in your Advanced Settings, you’re helping us maintain a great
     viewer experience.
     We will still run ads against these videos. When you notify us that a video includes paid
     promotion, we may replace an ad that conflicts with your brand partner with an
     alternative ad. Additionally, when you notify us, we will remove your video from the
     YouTube Kids app in line with our existing policies.
     Will YouTube still run ads against these videos?
     Yes, YouTube will still run ads against these videos.

     Sometimes, to protect the value we offer advertisers, we may replace an ad that
     conflicts with your brand partner’s ad with a different ad on videos with paid
     promotions.



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For example, if you upload a video with brand mentions and product placements for
Company A, then it wouldn’t make sense to sell ad space around that video to Company
B.
Do I need to tell anyone else about any commercial relationship connected to my video?
You may need to. Different jurisdictions have various requirements for creators and
brands involved in paid promotion.

When your content does include paid promotion, some jurisdictions and brand partners
require that you tell viewers about any commercial relationship that might have
influenced or added to your content. It's your responsibility to check and comply with
laws and regulations around paid promotion content that apply to you. See more
resources below.
Is there a feature that can help me inform viewers about Paid Promotion in my videos?

Yes. Whenever you mark your video as containing paid promotions, we automatically
show viewers a disclosure message for 10 seconds at the beginning of the video. This
disclosure message will tell the viewer that it contains paid promotions.
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Note that different jurisdictions have various requirements for creators and brands
involved in paid promotion that may require you to do more, so be sure to check and
follow applicable laws.

Does this mean I can burn video ads (pre-rolls, mid rolls, and post rolls) into my videos?
No. YouTube's Ads Policy doesn’t let you to burn or embed advertiser-created and
supplied video ads or other commercial breaks into your content where YouTube offers
similar ad formats.




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    If you have an advertiser interested in serving ads specifically against your content,
    work with your partner manager to make this happen. See more info on our policies
    around third party embedded sponsorships.

    This policy doesn’t apply to videos created by or for brands and uploaded to the brand's
    YouTube channel.
    Can I use a title card before/after the video with the marketer's or sponsor's brand name
    & product info?
    Yes. We allow static title cards and end cards where there’s a paid promotion. These
    title cards and end cards can include graphics and the sponsor or marketer's logo and
    product branding.

   Title cards: 5 seconds or less and static. If they’re placed at the beginning of the video
    (0:01s), the card must be co-branded with the creator's name/logo.
   End cards: Placed within the last 30 seconds of the video and must be static.

    More resources
    For further info, we recommend that you regularly refer to your local legal resources,
    such as the Federal Trade Commission (FTC) in the United States, Committee of
    Advertising Practice (CAP) in the United Kingdom, the Directorate General for
    Competition, Consumer Affairs and Fraud Prevention (DGCCRF) in France, the media
    authorities Medienanstalten in Germany, or the Korea Fair Trade Commission (KFTC) in
    Korea.
    The information presented in this Help Center article is not legal advice. We provide it
    for informational purposes so you may wish to check with your own legal
    representatives.
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
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     English?

    English




                                                                                             792
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1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Privacy Policy



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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




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Inaccurate - doesn't match what I see in the product

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Missing info - relevant but not comprehensive

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YouTube Kids Parental Guide

Sign in
                                                                                                                                                          Send feedback on...

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                                                                                                                                                                                Next
Help CenterCommunity


Ads in YouTube Kids
To provide an experience free of charge, YouTube Kids is ad-supported with limited
advertising. When your child selects a video in the app, your child may see an ad intro
followed by a video ad—marked with “Ad”—before the video you selected. These are
paid advertisements (“Paid Ads”). We only show Paid Ads that are approved as family-
friendly and all Paid Ads undergo a rigorous review process for compliance with our
policies. Paid Ads won’t include any click-throughs to websites or product purchase
flows. Learn more about our advertising policies. Ad intros are short animated
messages that appear before a Paid Ad to help a child understand that a Paid Ad will be
played before their chosen video.
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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    Videos uploaded by users to YouTube are not Paid Ads and therefore they are not
    marked as an Ad nor are they subject to our advertising policies. This may also include
    content about or from companies who may have also purchased Ads in the app. For
    example, a search for trains could result in train cartoons, songs and videos of real
    trains uploaded by a user or a toy train company, none of which we consider as Paid
    Ads, as they are not part of the YouTube Kids advertising program. Likewise, a search
    for chocolate can show a user-uploaded video on making chocolate fudge even though
    we do not allow paid Ads for chocolatiers. Learn more about Videos on YouTube Kids.

    We will remove videos from the YouTube Kids app where the creator has notified us of
    a paid product placement or endorsement in their video through YouTube’s paid product
    placement and endorsement notification tools. Content that is overly commercial or
    promotional is also not allowed in YouTube Kids. For more details, review our content
    policies for YouTube Kids.

    If you would like to watch videos free of paid ads with your child, try the YouTube Kids
    App with YouTube Premium. Learn more.

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                                             Submit
    Help
   Homescreen video categories
   Videos in YouTube Kids
   Recommended videos
   Ads in YouTube Kids
   Search in YouTube Kids
   Watch it again
   Save videos offline in certain countries on YouTube Kids
   Customize your child’s experience: Block content in YouTube Kids
   Accessibility on YouTube Kids
   Send feedback
   Report inappropriate videos
   Subscribe to channels on YouTube Kids
   YouTube Kids with Google Nest or Home Speaker or Display Devices
   Watch YouTube Kids on the web



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     English?

    English

1. azərbaycan
2. bosanski
3. dansk
4. Deutsch
5. eesti
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. français
10. hrvatski
11. Indonesia
12. italiano
13. latviešu
14. lietuvių
15. magyar
16. Nederlands
17. norsk
18. polski
19. português
20. português (Brasil)
21. română
22. shqip
23. slovenčina
24. slovenščina
25. suomi
26. svenska
27. Tiếng Việt
28. Türkçe
29. íslenska
30. čeština
31. Ελληνικά
32. български
33. македонски
34. русский
35. српски
36. українська
37. ‫עברית‬




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38. ‫اﻟﻌﺮﺑﯿﺔ‬
39. िह ी
40. বাংলা
41. ไทย
42. ქართული
43. 中文（繁體）
44. 中文（香港）
45. 日本語
46. 한국어
47. English

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Inaccurate - doesn't match what I see in the product

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                                                                                 996
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    Privacy resources
   Protecting your identity
   Turn Restricted Mode on or off
   Change video privacy settings
   Your Data in YouTube

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk



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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



                                                                              803
                                                                              998
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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Submit feedback



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channelAnalyze performance with analyticsTranslate videos & captionsManage your
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Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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   YouTube Help

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                                                 Send feedback on...

   This help content & information

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   Turn Restricted Mode on or off
   Restricted Mode is an optional setting you can use on YouTube. This feature can help
   screen out potentially mature content you or others using your devices may prefer not
   to view.

   Computer AndroidiPhone & iPad

   Turn Restricted Mode on or off
                             The link ed
                             image cannot




1. Click your profile picture   .
                             be displayed.
                             The file may
                             hav e been
                             moved,
                             renamed, or
                             deleted. Verify …




2. Click Restricted Mode.
3. In the top-right box that appears, click Activate Restricted Mode to on or off.

   Problems turning off Restricted Mode
   Computers in libraries, universities, and other public institutions may have Restricted
   Mode turned on by the system administrator. If you’ve entered your username and
   password, and Restricted Mode remains on, try contacting your system administrator
   for more help.

   Control Restricted Mode for your family
   If you’re a parent using the Family Link app, you can turn on Restricted Mode for your
   child's account. This can be done in the app's settings. Once Restricted Mode has been
   turned on via Family Link, your child can't change the Restricted Mode settings on any
   of the signed-in devices.




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                                                                                        1001
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    More info on Restricted Mode
    We use many signals—such as video title, description, metadata, Community Guidelines
    reviews, and age-restrictions—to identify and filter out potentially mature content.
    Restricted Mode is available in every language, but due to differences in cultural norms
    and sensitivities, the quality may vary. When Restricted Mode is turned on, you will not
    be able to view comments on the videos you watch.

    Restricted Mode works on the browser or device level, so you must turn it on for each
    browser you use. If your browser supports multiple profiles, you must turn on this
    mode for each profile.



      How to turn Restricted Mode on and off


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     English?

    English

1. català
2. dansk
3. Deutsch



                                                                                        807
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4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
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16. norsk
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



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    What is the issue with this selection?




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Inaccurate - doesn't match what I see in the product

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     Change video privacy settings
     Update the privacy settings of your video to control where your video can appear and
     who can watch it.

     Computer AndroidiPhone & iPad

     Change video privacy settings
1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
3.   Point to the video you'd like to update. To see your live uploads, select the Live tab.
4.   Click the down arrow under "Visibility" and choose Public, Private, or Unlisted.
5.   Save.

     Watch how to change video privacy settings
     Check out the following video from the YouTube Creators channel on how to change
     video privacy settings.

     About privacy settings
     Public videos
     Anyone at YouTube can see public videos. They can also be shared with anyone using
     YouTube. They're posted on your channel when you upload them and show up in search
     results and related video lists.
     Private videos




                                                                                               812
                                                                                               1007
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     Private videos and playlists can only be seen by you and whomever you choose. Your
     private videos won’t appear in the Videos tab of your channel homepage. They
     also won't show up in YouTube's search results. YouTube systems and human
     reviewers may review private videos for ad suitability, copyright, and other abuse
     prevention mechanisms.

     To share a private video:

1.   Sign in to YouTube Studio.
2.   From the left menu, select Content.
3.   Click the video you’d like to edit.
4.   Click the Visibility box and select Share privately.
5.   Enter the emails you'd like to share your video with, then select SAVE.

     Comments are not available on private videos. If you want to allow comments on a
     video that's not publicly available, change the privacy setting to unlisted.

     Unlisted videos

     Unlisted videos and playlists can be seen and shared by anyone with the link. Your
     unlisted videos won’t appear in the Videos tab of your channel homepage. They
     won't show up in YouTube's search results unless someone adds your unlisted video to
     a public playlist.

     You can share an unlisted video's URL. Those you share the video with don't need a
     Google Account to see the video. Anyone with the link can also reshare it.



     Feature                                                PrivateUnlistedPublic
     Can share URL                                          No     Yes     Yes
     Can be added to a channel section                      No     Yes     Yes
     Shows up in search, related videos, and recommendationsNo     No      Yes
     Posted on your channel                                 No     No      Yes
     Shows in Subscriber feed                               No     No      Yes
     Can be commented on                                    No     Yes     Yes
     Give feedback about this article
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                                                                                          1008
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     English?

    English

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6. español (Latinoamérica)
7. Filipino
8. français
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10. Indonesia
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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български



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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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                                                                              1010
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



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Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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    YouTube Help

    Sign in
                                                  Send feedback on...

    This help content & information

    General Help Center experience
                                                                                      Next
    Help CenterCommunity


    Your Data in YouTube
    You can manage and learn more about your privacy settings and controls under "Your
    Data in YouTube." This page includes a summary of your content and activity data,
    settings to manage this data, and information on how your data is used to improve your
    YouTube experience.

    Note: This feature is currently only available on desktop and mobile web.

    To access “Your Data in YouTube”:

1. Sign into YouTube.         The link ed
                              image cannot




2. Select your profile picture .
                              be display ed.
                              The file may
                              hav e been
                              mov ed,
                              renamed, or
                              deleted. Verify …




3. Select “Your Data in YouTube.”

    In “Your Data in Youtube”, you can learn more about how to manage:

   Video privacy setting
   Playlist privacy setting
   Subscriptions privacy setting
   Purchased videos
   Comments

    Learn more about how your data helps improve your experience on YouTube.

    Give feedback about this article
    Choose a section to give feedback on

                                                   Was this helpful?
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    Privacy resources
   Protecting your identity
   Turn Restricted Mode on or off
   Change video privacy settings
   Your Data in YouTube

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt



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26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows



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Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
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     YouTube Help

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     Change playlist privacy setting
     If you're the owner of a playlist, you can make your playlist public, private, or unlisted —
     just like you can for individual videos.

     Note: This feature may not be available with supervised experiences on YouTube. Learn
     more here.

     Set playlist privacy through YouTube Studio
1.   Sign in to YouTube Studio.                 The link ed
                                                image cannot




2.   From the left menu, select Playlists .
                                                be display ed.
                                                The file may
                                                hav e been
                                                mov ed,
                                                renamed, or
                                                deleted. Verify …




                                                                      The link ed
                                                                      image cannot




3.   Next to the playlist you want to update, click Edit in YouTube .
                                                                      be display ed.
                                                                      The file may
                                                                      have been
                                                                      mov ed,
                                                                      renamed, or
                                                                      deleted. Verify …




4.   Below the playlist’s title, click the Playlist privacy drop-down menu.
5.   Select the new privacy setting.
6.   Click Save.

     Set playlist privacy through YouTube
                           The linked
                           image cannot




1. Go to the Library tab      to view all of your playlists.
                           be display ed.
                           The file may
                           hav e been
                           mov ed,
                           renamed, or
                           deleted. Verify …




2. Select the playlist you’d like to edit.
3. Below the playlist’s title, click the Playlist privacy drop-down menu.

     Privacy settings
    Anyone can watch and share Public videos and playlists.
    Anyone with the video link can watch and share Unlisted videos and playlists.




                                                                                              824
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   YouTube systems and human reviewers may review private videos and playlists for ad
    suitability, copyright, and other abuse prevention mechanisms.

    Feature                                     UnlistedPrivatePublic
    Can share URL                               Yes     No     Yes
    Can be added to a channel section           Yes     No     Yes
    Shows up in search, related videos, and recsNo      No     Yes
    Posted on your channel                      No      No     Yes
    Shows in Subscriber feed                    No      No     Yes
    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                               Submit
    Manage privacy settings
   Change playlist privacy setting
   Change video privacy settings

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    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių



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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
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    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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    Other suggestions - ideas to improve the content

    Share additional info or suggestions


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     YouTube Help

     Sign in
                                        Send feedback on...

     This help content & information

     General Help Center experience
                                                                                          Next
     Help CenterCommunity


     Change your subscription privacy settings
     You can choose to make which channels you're subscribed to private or public. By
     default, all settings are set to private.



    Private: When your subscriptions are set to private, no other users can see what
     channels you subscribe to. Your account does not show in a channel's Subscribers List,
     even if you're subscribed.
     Note: If you participate in a subscriber-only live chat, other viewers will publicly see
     you’re subscribed to the channel.
    Public: When your subscriptions are set to public, other users can see what channels
     you subscribe to. Your subscriptions are listed on your channel homepage. Your
     account is listed in the Subscribers List for any channel you subscribe to.

     Make your channel subscriptions public or private
1.   Sign in to YouTube.                      The linked
                                              image cannot




2.   In the top right, click your profile picture .
                                              be display ed.
                                              The file may
                                              hav e been
                                              mov ed,
                                              renamed, or
                                              deleted. Verify …




                    The link ed
                    image cannot




3.   Click Settings .
                    be displayed.
                    The file may
                    hav e been
                    moved,
                    renamed, or
                    deleted. Verify …




4.   In the left Menu, select Privacy.
5.   Turn on or off Keep all my subscriptions private.

     Hide your subscriber count
     By hiding your subscriber count, it won't be publicly visible to others on YouTube. You
     can still see your subscriber count from YouTube Studio.




                                                                                          830
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1. Sign in to your Google Account.
2. Go to YouTube Studio.
                   The link ed         The link ed




3. Click Settings    Channel    Advanced settings.
                   image cannot        image cannot
                   be displayed.       be display ed.
                   The file may        The file may
                   hav e been          have been
                   moved,              mov ed,
                   renamed, or         renamed, or
                   deleted. Verify …   deleted. Verify …




4. Under "Subscriber count," uncheck "Display the number of people subscribed to my
   channel."
5. Click Save.

     Give feedback about this article
     Choose a section to give feedback on

                                                           Was this helpful?
                                                               YesNo




                                                               Submit
     Manage privacy settings
    Ads on videos you watch
    Change your subscription privacy settings
    Hide or show likes & saved playlists
    Understanding the basics of privacy on YouTube apps

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      English?

     English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių



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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
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    View or modify your purchase history
    View and modify purchases

    Your YouTube purchase activity, like videos you’ve bought and services you’ve
    subscribed to, helps Google give you a more personalized experience across Google
    services. For example, discovering new videos and channels you'll enjoy.

    You can delete some or all of this data. Deleting may limit or disable the use of this data
    for more personalized experiences but it will still be in your Google Account. You can
    always see your YouTube purchases in your library.

    Hide purchases

    It's not currently possible to hide purchases from your purchase history.

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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
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23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어




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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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    YouTube Help

    Sign in
                                      Send feedback on...

    This help content & information

    General Help Center experience
                                                                               Next
    Help CenterCommunity


    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

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     English?

    English

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7. Filipino
8. français
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10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands



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16. norsk
17. polski
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19. português (Brasil)
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25. Tiếng Việt
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27. čeština
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    Google Help


   Help Center




o   Fix a problem




                                                                              842
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o   Watch videos



o   Manage your account & settings



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    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management
    Send feedback on...
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    YouTube Help

    Sign in
                                               Send feedback on...

    This help content & information

    General Help Center experience
                                                                                          Next
    Help CenterCommunity


    Report a YouTube search prediction
    While we do our best to prevent inappropriate predictions, we don't always get it right. If
    you think a prediction violates one of the Autocomplete policies, here's how to report it:

1. In the search bar, at the bottom of the prediction box, click Report inappropriate
   predictions.
2. Provide your feedback, then click Send.

    We'll analyze your feedback but we don't automatically remove reported predictions.

    I have a legal issue with the prediction

    To request removal of content you think is unlawful, fill out this form.

    Give feedback about this article
    Choose a section to give feedback on

                                                Was this helpful?
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                                                     Submit
    Reporting
   Report inappropriate content
   Report a YouTube search prediction




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   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
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22. slovenščina
23. suomi
24. svenska
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30. русский
31. српски
32. українська
33. ‫עברית‬




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38. 中文（繁體）
39. 日本語
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   YouTube




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   Submit feedback


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    Program
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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
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    settingsManage accessibility settingsTroubleshoot account issues
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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues




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community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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    Google Search Help

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    For users struggling to make calls on their LG device, please update your Google App
    (https://goo.gle/3olJnQ0). Apologies for the inconvenience.


    How Google autocomplete predictions work
    Autocomplete is a feature within Google Search that makes it faster to complete
    searches that you start to type. Our automated systems generate predictions that help
    people save time by allowing them to quickly complete the search they already intended
    to do.

    Where autocomplete predictions come from

    Autocomplete predictions reflect real searches that have been done on Google. To
    determine what predictions to show, our systems look for common queries that match
    what someone starts to enter into the search box but also consider:

   The language of the query
   The location a query is coming from
   Trending interest in a query
   Your past searches

    These factors allow autocomplete to show the most helpful predictions that are unique
    to a particular location or time, such as for breaking news events.

    In addition to full search predictions, Autocomplete may also predict individual words
    and phrases that are based on both real searches as well as word patterns found
    across the web.

    Learn how to manage trending and past searches.

    How we handle issues with predictions



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    Autocomplete predictions aren’t perfect. There’s the potential for unexpected or
    shocking predictions to appear. Predictions aren't assertions of facts or opinions, but in
    some cases, they might be perceived as such. Occasionally, some predictions might be
    less likely to lead to reliable content. Here’s how we deal with issues like these.

    First, autocomplete has systems designed to prevent potentially unhelpful and policy-
    violating predictions from appearing. These systems try to identify predictions that are
    violent, sexually explicit, hateful, disparaging, or dangerous, or which lead to such
    content. This includes predictions that are unlikely to return much reliable content, such
    as unconfirmed rumors after a news event.

    Second, if the automated systems don’t catch problematic predictions, our enforcement
    teams remove those that violate our policies. In these cases, we remove the specific
    prediction in question and closely-related variations.

    These systems help ensure that autocomplete doesn’t unintentionally shock or surprise
    people with predictions they might not expect. While they might prevent some
    predictions from appearing, autocomplete doesn’t prevent anyone from completely
    typing out a search query to get results, if they wish.

    Autocomplete policies

    To help ensure autocomplete is a helpful experience for everyone, we have systems in
    place to prevent predictions that are in violation of Google Search’s overall policies or
    these policies for Search features:

   Dangerous content
   Harassing content
   Hateful content
   Sexually explicit content
   Terrorist content
   Violence and gore
   Vulgar language and profanity

    Learn more about these Content policies for Google Search.

    Autocomplete also has these feature-specific policies:

   Elections-related predictions: We don't allow predictions that can be interpreted as:
   A position for or against any political figure or party, or
   A claim about the participation in or integrity of the electoral process.
   Health-related predictions: We don’t allow predictions about potentially medically
    hazardous health claims.




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   Sensitive and disparaging terms associated with named individuals: We don’t allow
    predictions that associate potentially disparaging or sensitive terms with named
    individuals. This include predictions that:
   May be related to harassment, bullying, threats, inappropriate sexualization, or
   Expose private or sensitive information in a way that may cause harassment, identity
    theft or financial fraud.

    We may make exceptions to these policies when the prediction has context related to
    artistic, educational, historical, documentary, or scientific content, or content that helps
    to further understanding and participation in current events and issues related to our
    society, politics, culture, and economy.

    Difference between autocomplete & Google Trends
    Autocomplete is a time-saving but complex feature. It doesn’t simply display the most
    common queries on a given topic. That’s why it differs from and shouldn’t be compared
    against Google Trends.

    Google Trends is a tool for journalists and anyone else who wants to research the
    popularity of searches and search topics over time.

    Turn off, remove, or report some predictions
    Learn how to turn off, remove, and report some predictions.

    Give feedback about this article
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1. català



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2. dansk
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   Help Center



   Community



   Google Search




   Privacy Policy



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   Submit feedback




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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations



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   Help CenterCommunityAnnouncements
   For users struggling to make calls on their LG device, please update your Google App
   (https://goo.gle/3olJnQ0). Apologies for the inconvenience.


   Manage Google autocomplete predictions
   With autocomplete, you can enter a Google search more quickly. You can turn off or
   remove certain autocomplete predictions or report issues with your predictions.

   Learn more about autocomplete.

   Turn off Personal results
   If you’re signed in to your Google Account and have Personal results turned on, you
   might also get personalized predictions and recommendations in Google Search. If you
   don’t want to get these predictions and recommendations, turn off Personal results.

   Important: When Personal results are off, you won't get personalized predictions or
   recommendations in Google Search based on your past searches. If you have Web &
   App Activity on, your Search history is saved in your Google Account and used to give
   you more personalized experiences in other Google services. Learn how to see & control
   your Web & App Activity.

   Computer AndroidiPhone & iPad

   Turn off trending searches
   If you don't want to get trending searches, you can change your settings.

1. On your computer, go to google.com.
                               The link ed
                               image cannot




2. At the bottom, tap Settings  Search settings.
                               be displayed.
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3. Under "Autocomplete with trending searches," select Do not show popular searches.

    Turn off related searches
    If you’re signed out from your Google Account when you search on Google, you may find
    recommendations related to your recent search. If you don’t want to get these, turn off
    Search customization.

1. On your computer, go to google.com.
                                 The link ed                    The link ed




2. At the bottom, tap Settings
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                                 Search settings
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                                 deleted. Verify …              deleted. Verify …




3. Turn off Signed-out search activity is on.

    Report a prediction
    While we do our best to prevent inappropriate predictions, we don’t always get it right. If
    you think a prediction violates one of the autocomplete policies, you can report it:

1. On your computer, go to google.com.
2. In the search bar, start typing a search.
3. Predictions will appear below the search bar. Below the prediction,
   click Report inappropriate predictions.
4. Provide your feedback, then click Send.

    We’ll analyze your feedback, but we don’t automatically remove reported predictions.

    I have a legal issue with the prediction

    To request removal of content you think is unlawful, fill out this form.

    Related resources

   How Search works with your activity
   Manage & delete your Search history

    Give feedback about this article
    Choose a section to give feedback on

                                                     Was this helpful?
                                                         YesNo




                                                         Submit



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    Help
   Manage & delete your Search history
   Understand & manage your location when you search on Google
   Manage Google autocomplete predictions
   Find & control your Web & App Activity
   Customize what you find in Discover
   Get info about your photos & surroundings
   Use "Hey Google" voice searches & actions

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     English?

    English

1. català
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8. hrvatski
9. Indonesia
10. italiano
11. magyar
12. Melayu
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17. română
18. slovenčina
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20. suomi
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23. Türkçe
24. čeština
25. Ελληνικά
26. български
27. русский



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28. српски
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   Submit feedback




    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

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    Missing info - relevant but not comprehensive

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   Google Search Help

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   (https://goo.gle/3olJnQ0). Apologies for the inconvenience.


   Find & control your Web & App Activity
   If Web & App Activity is turned on, your searches and activity from other Google
   services are saved in your Google Account, so you may get more personalized
   experiences, like faster searches and more helpful app and content recommendations.

   You can turn Web & App Activity off or delete past activity at any time.

   Note: If you got your Google Account through work or school, you might need to contact
   your administrator to turn on the Web & App Activity additional service for your
   organization.

   Computer AndroidiPhone & iPad

   Turn Web & App Activity on or off
1. On your computer, visit the Activity controls page. You may be asked to sign in to your
   Google Account.
2. Turn Web & App Activity on or off.
3. When Web & App Activity is on:
 You can check the box next to "Include Chrome history and activity from websites and
   apps that use Google services."
 You can check the box next to "Include audio recordings."

   Note: Some browsers and devices may have more settings that affect how this activity
   is saved.




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    Find or delete your activity
    You can find and delete your Web & App Activity by visiting My Activity. Learn more
    about how to delete activity manually or set up automatic deletion.

    Tip: To add more security, you can require an extra verification step to view your full
    history on My Activity.

    What’s saved as Web & App Activity
    Info about your searches and other activity on Google sites, apps, and services

    When Web & App Activity is on, Google saves information like:

   Searches and other things you do on Google products and services, like Maps and Play
   Your location, language, IP address, referrer, and whether you use a browser or an app
   Ads you click, or things you buy on an advertiser’s site
   Information on your device like recent apps or contact names you searched for

    Note: Activity could be saved even when you’re offline.

    Info about your browsing and other activity on sites, apps, and devices that use Google
    services

    When Web & App Activity is on, you can include additional activity like:

   Sites and apps that partner with Google to show ads
   Sites and apps that use Google services, including data that apps share with Google
   Your Chrome browsing history
   Android usage & diagnostics, like battery level and system errors

    To let Google save this information:

   Web & App Activity must be on.
   The box next to "Include Chrome history and activity from sites, apps, and devices that
    use Google services" must be checked.

    Your Chrome history is saved only if you’re signed in to your Google Account and have
    Chrome Sync turned on. Learn about Chrome Sync.

    Note: If you use a shared device or sign in with more than one account, activity might be
    saved to the default account on the browser or device you use.

    Audio recordings



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    When Web & App Activity is on, you can include audio recordings from your interactions
    with Google Search, Assistant, and Maps as part of your activity. Learn about audio
    recordings.

    To let Google save this information:

   Web & App Activity must be on.
   The box next to "Include audio recordings" must be checked.

    How your saved activity is used
    Learn more about how Google uses your saved activity and helps keep it private.

    For more information about how Google treats search queries generally, review the
    Privacy Policy FAQ.

    How Web & App Activity works when you’re signed out
    Your search and ad results may be customized using search-related activity even if
    you're signed out. To turn off this kind of search customization, you can search and
    browse privately. Learn how.

    Browser history
    In the Activity controls page, you can also check the box to "Include Chrome history and
    activity from sites, apps, and devices that use Google services." When this box is
    checked, you can control whether activity from your device is saved.

    Your searches and the sites you visit may also be stored in your browser or the Google
    Toolbar. Learn how to delete your history on Chrome, Toolbar, Safari, Internet Explorer,
    or Firefox.

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                                               YesNo




                                               Submit
    Help


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17. română
18. slovenčina
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22. Tiếng Việt
23. Türkçe
24. čeština
25. Ελληνικά
26. български
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30. ‫עברית‬
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32. ‫ﻓﺎرﺳﯽ‬
33. मराठी
34. िह ी



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41. 한국어
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   Help Center



   Community



   Google Search




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   Submit feedback




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Trends
search
United States
United States
Afghanistan
Åland Islands
Albania
Algeria
American Samoa
Andorra
Angola
Anguilla
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Aruba
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Barbados
Belarus
Belgium
Belize
Benin
Bermuda
Bhutan
Bolivia
Bosnia & Herzegovina
Botswana
Bouvet Island
Brazil
British Indian Ocean Territory
British Virgin Islands
Brunei
Bulgaria
Burkina Faso



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Burundi
Cambodia
Cameroon
Canada
Cape Verde
Caribbean Netherlands
Cayman Islands
Central African Republic
Chad
Chile
China
Christmas Island
Cocos (Keeling) Islands
Colombia
Comoros
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Curaçao
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Equatorial Guinea
Eritrea
Estonia
Eswatini
Ethiopia
Falkland Islands (Islas Malvinas)
Faroe Islands
Fiji
Finland
France
French Guiana
French Polynesia
French Southern Territories
Gabon




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Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Grenada
Guadeloupe
Guam
Guatemala
Guernsey
Guinea
Guinea-Bissau
Guyana
Haiti
Heard & McDonald Islands
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iran
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kosovo
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Liberia
Libya
Liechtenstein




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Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Marshall Islands
Martinique
Mauritania
Mauritius
Mayotte
Mexico
Micronesia
Moldova
Monaco
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Myanmar (Burma)
Namibia
Nauru
Nepal
Netherlands
New Caledonia
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Korea
North Macedonia
Northern Mariana Islands
Norway
Oman
Pakistan
Palau
Palestine
Panama
Papua New Guinea
Paraguay




                                                                          870
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Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Réunion
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Sint Maarten
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Georgia & South Sandwich Islands
South Korea
South Sudan
Spain
Sri Lanka
St. Barthélemy
St. Helena
St. Kitts & Nevis
St. Lucia
St. Martin
St. Pierre & Miquelon
St. Vincent & Grenadines
Sudan
Suriname
Svalbard & Jan Mayen
Sweden
Switzerland
Syria
Taiwan
Tajikistan




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Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
Turks & Caicos Islands
Tuvalu
U.S. Outlying Islands
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
Uruguay
Uzbekistan
Vanuatu
Vatican City
Venezuela
Vietnam
Wallis & Futuna
Western Sahara
Yemen
Zambia
Zimbabwe
Sign in
home
Home
search
Explore
trending_up
Trending Searches
public
Year in Search
email
Subscriptions

help_outline
Help
feedback
Send Feedback
Privacy Terms




                                                                          872
                                                                          1067
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Explore what the world is searching
search
Or start with an example
keyboard_arrow_down
Or start with an example
HIDE

Taylor Swift
Kim Kardashian
Interest by subregion, Past 7 days, United States

World Cup
Interest by region, Past 7 days, Worldwide

Football
American football
Interest by subregion, 2004 - present, United States

Showing 1-3 of 6 examples
Latest Stories and Insights
Explore how Google data can be used to tell stories.

Afghanistan
US and Nato troops are withdrawing from Afghanistan. This is what the world is searching for.
Search interest (1-100)
NoteNote

      x      y1
Jul 1, 2004 6
Aug 1, 2004 7
Sep 1, 2004 8
Oct 1, 2004 10
Nov 1, 2004 9
Dec 1, 2004 7
Jan 1, 2005 6
Feb 1, 2005 6
Mar 1, 2005 7
Apr 1, 2005 7
May 1, 2005 8
Jun 1, 2005 6
Jul 1, 2005 7
Aug 1, 2005 5
Sep 1, 2005 6



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      x      y1
Oct 1, 2005 6
Nov 1, 2005 7
Dec 1, 2005 6
Jan 1, 2006 5
Feb 1, 2006 7
Mar 1, 2006 7
Apr 1, 2006 6
May 1, 2006 7
Jun 1, 2006 5
Jul 1, 2006 5
Aug 1, 2006 5
Sep 1, 2006 7
Oct 1, 2006 6
Nov 1, 2006 6
Dec 1, 2006 5
Jan 1, 2007 5
Feb 1, 2007 5
Mar 1, 2007 5
Apr 1, 2007 5
May 1, 2007 6
Jun 1, 2007 5
Jul 1, 2007 5
Aug 1, 2007 5
Sep 1, 2007 5
Oct 1, 2007 5
Nov 1, 2007 6
Dec 1, 2007 5
Jan 1, 2008 6
Feb 1, 2008 6
Mar 1, 2008 6
Apr 1, 2008 7
May 1, 2008 6
Jun 1, 2008 6
Jul 1, 2008 7
Aug 1, 2008 5
Sep 1, 2008 6
Oct 1, 2008 7




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      x      y1
Nov 1, 2008 6
Dec 1, 2008 7
Jan 1, 2009 7
Feb 1, 2009 8
Mar 1, 2009 7
Apr 1, 2009 8
May 1, 2009 9
Jun 1, 2009 6
Jul 1, 2009 9
Aug 1, 2009 9
Sep 1, 2009 11
Oct 1, 2009 14
Nov 1, 2009 13
Dec 1, 2009 16
Jan 1, 2010 10
Feb 1, 2010 11
Mar 1, 2010 10
Apr 1, 2010 10
May 1, 2010 11
Jun 1, 2010 11
Jul 1, 2010 10
Aug 1, 2010 10
Sep 1, 2010 10
Oct 1, 2010 10
Nov 1, 2010 10
Dec 1, 2010 10
Jan 1, 2011 9
Feb 1, 2011 9
Mar 1, 2011 10
Apr 1, 2011 10
May 1, 2011 11
Jun 1, 2011 9
Jul 1, 2011 8
Aug 1, 2011 10
Sep 1, 2011 9
Oct 1, 2011 9
Nov 1, 2011 9




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      x      y1
Dec 1, 2011 9
Jan 1, 2012 8
Feb 1, 2012 10
Mar 1, 2012 11
Apr 1, 2012 9
May 1, 2012 10
Jun 1, 2012 7
Jul 1, 2012 7
Aug 1, 2012 8
Sep 1, 2012 9
Oct 1, 2012 8
Nov 1, 2012 8
Dec 1, 2012 7
Jan 1, 2013 7
Feb 1, 2013 7
Mar 1, 2013 7
Apr 1, 2013 8
May 1, 2013 10
Jun 1, 2013 6
Jul 1, 2013 6
Aug 1, 2013 5
Sep 1, 2013 7
Oct 1, 2013 6
Nov 1, 2013 6
Dec 1, 2013 6
Jan 1, 2014 6
Feb 1, 2014 6
Mar 1, 2014 6
Apr 1, 2014 7
May 1, 2014 7
Jun 1, 2014 7
Jul 1, 2014 5
Aug 1, 2014 6
Sep 1, 2014 6
Oct 1, 2014 5
Nov 1, 2014 5
Dec 1, 2014 6




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      x      y1
Jan 1, 2015 5
Feb 1, 2015 5
Mar 1, 2015 6
Apr 1, 2015 5
May 1, 2015 6
Jun 1, 2015 4
Jul 1, 2015 4
Aug 1, 2015 4
Sep 1, 2015 5
Oct 1, 2015 6
Nov 1, 2015 5
Dec 1, 2015 5
Jan 1, 2016 5
Feb 1, 2016 5
Mar 1, 2016 5
Apr 1, 2016 5
May 1, 2016 5
Jun 1, 2016 4
Jul 1, 2016 4
Aug 1, 2016 4
Sep 1, 2016 5
Oct 1, 2016 4
Nov 1, 2016 5
Dec 1, 2016 4
Jan 1, 2017 4
Feb 1, 2017 5
Mar 1, 2017 4
Apr 1, 2017 14
May 1, 2017 6
Jun 1, 2017 5
Jul 1, 2017 4
Aug 1, 2017 6
Sep 1, 2017 5
Oct 1, 2017 5
Nov 1, 2017 4
Dec 1, 2017 4
Jan 1, 2018 5




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      x      y1
Feb 1, 2018 5
Mar 1, 2018 4
Apr 1, 2018 5
May 1, 2018 5
Jun 1, 2018 4
Jul 1, 2018 4
Aug 1, 2018 4
Sep 1, 2018 5
Oct 1, 2018 4
Nov 1, 2018 5
Dec 1, 2018 4
Jan 1, 2019 5
Feb 1, 2019 4
Mar 1, 2019 5
Apr 1, 2019 5
May 1, 2019 5
Jun 1, 2019 4
Jul 1, 2019 4
Aug 1, 2019 4
Sep 1, 2019 5
Oct 1, 2019 4
Nov 1, 2019 5
Dec 1, 2019 5
Jan 1, 2020 6
Feb 1, 2020 5
Mar 1, 2020 5
Apr 1, 2020 4
May 1, 2020 4
Jun 1, 2020 4
Jul 1, 2020 4
Aug 1, 2020 4
Sep 1, 2020 4
Oct 1, 2020 4
Nov 1, 2020 4
Dec 1, 2020 4
Jan 1, 2021 4
Feb 1, 2021 4




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      x       y1
Mar 1, 2021 4
Apr 1, 2021 5
May 1, 2021 5
Jun 1, 2021 4
Jul 1, 2021 7
Aug 1, 2021 100
Afghanistan search interest since 2004
Read more
arrow_forward

Tokyo 2020 Paralympics
The 2020 Tokyo Paralympics begin on August 24, 2021.
Global: Interest in 2020 Summer Paralympics by country, past week
Read more
arrow_forward

Show more
keyboard_arrow_down
Recently trending
Keep up with the latest trending searches

Only Murders in the Building
50K+ searches

Service dogs left in Afghanistan
20K+ searches

US Open 2021
20K+ searches

Madison Cawthorn
20K+ searches

Carson Wentz
20K+ searches

Caldor Fire
1M+ searches

Flash flood watch
500K+ searches

U.S. Open
500K+ searches



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Bishop Sycamore
200K+ searches

Dallas Cowboys
200K+ searches


More trending searches
arrow_forward
Year in Search
See what was trending on Google by year
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Year in Search 2020
arrow_forward

Year in Search 2019
arrow_forward

Year in Search 2018
arrow_forward

Year in Search 2017
arrow_forward

Year in Search 2016
arrow_forward

Showing 1-5 of 20 items
Google News Initiative
The Google News Initiative is our effort to work with the news industry to help journalism thrive
in the digital age. If you’re interested in learning how to use Google's tools, explore our training
center for over 40 lessons on Google products, including Google Trends.
LEARN MORE open_in_new TAKE GOOGLE TRENDS LESSONS open_in_new
Privacy Terms Help Center Send Feedback About




                                                                                                           880
                                                                                                           1075
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Google Search Help

Sign in
                                   Send feedback on...

This help content & information

General Help Center experience
                                                                                   Next
Help CenterCommunityAnnouncements
For users struggling to make calls on their LG device, please update your Google App
(https://goo.gle/3olJnQ0). Apologies for the inconvenience.


Content policies for Google Search
Google uses automated systems to discover content from the web and other sources.
These systems generate search results that provide useful and reliable responses to
billions of searches we process each day.

Given how Search encompasses trillions of web pages, images, videos and other
content, the results might occasionally contain material that some find objectionable,
offensive, or problematic.

We’ve carefully developed the content policies for Google Search listed below to
balance the real concerns about such issues, alongside the need for a search engine to
provide access to information. Our article, Maximize access to information, explains
more about this approach.

Overall content policies for Google Search
These policies apply to content surfaced anywhere within Google Search, which
includes web results. Web results are web pages, images, videos, news content or other
material that Google finds from across the web.

Expand all Collapse all

Child sexual abuse imagery or exploitation material




                                                                                    881
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We block search results that lead to child sexual abuse imagery or material that appears
to victimize, endanger, or otherwise exploit children. Learn how to report child sexual
abuse imagery.

Highly personal information

Google might remove certain personal information that creates significant risks of
identity theft, financial fraud, or other specific harms, which include, but aren't limited to,
doxxing content, explicit personal images, and involuntary fake pornography. Learn how
to remove your personal information from Google.

Spam

We take action against spam, which is content that exhibits deceptive or manipulative
behavior designed to deceive users or game our search systems. Learn more about
Google Search Webmaster Guidelines.

Webmaster & site owner requests

Upon request, we remove content that webmasters or site owners wish to block from
our web results. Learn how to block access to your content and how to remove
information from Google.

Valid legal requests

We remove content or features from our Search results for legal reasons. For example,
we remove content if we receive valid notification under the US Digital Millennium
Copyright Act (DMCA). We also remove content from local versions of Google,
consistent with local law, when we're notified that content is an issue. For example, we
remove content that illegally glorifies the Nazi party from our German service, or that
unlawfully insults religion from our Indian service. We delist pages on name queries,
based on data-protection requests, under what’s commonly known as the “Right to be
Forgotten” in the EU. We scrutinize these requests to ensure that they're well-founded,
and we frequently refuse to remove content when there's no clear basis in law.

When possible, we display a notification that results have been removed and report
these removals to Lumen Database, a project run by the Berkman Center for Internet
and Society, which tracks online restrictions on speech. We also disclose certain details
about legal removals from our Search results through our Transparency Report. Learn
how to make a Legal Removals Request.

Search features policies




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    These policies apply to many of our search features. Even though these features and
    the content within them is automatically generated as with web results, how they're
    presented might be interpreted as having greater quality or credibility than web results.
    We also don't want predictive or refinement features to unexpectedly shock or offend
    people. Search features covered by these policies include panels, carousels,
    enhancements to web listings (such as through structured data), predictive and
    refinement features, and results and features spoken aloud. These policies don't apply
    to web results.

    Expand all Collapse all

    Advertisements

    We don’t allow content that primarily advertises products or services, which includes
    direct calls to purchase, links to other websites, company contact information, and
    other promotional tactics. We don’t allow sponsored content that’s concealed or
    misrepresented as independent content.

    Dangerous content

    We don’t allow content that could directly facilitate serious and immediate harm to
    people or animals. This includes, but isn't limited to, dangerous goods, services or
    activities, and self-harm, such as mutilation, eating disorders, or drug abuse.

    Deceptive practices

    We don’t allow content that impersonates any person or organization,
    misrepresentation or concealment of ownership or primary purpose, and engagement in
    inauthentic or coordinated behavior to deceive, defraud, or mislead. This includes, but
    isn’t limited to, the misrepresentation or concealment of country of origin or directing
    content at users in another country under false premises, and working together in ways
    that conceal or misrepresent information about relationships or editorial independence.
    This policy doesn't cover content with certain artistic, educational, historical,
    documentary, or scientific considerations, or other substantial benefits to the public.

    Harassing content

    We don’t allow harassment, bullying, or threatening content. This includes, but isn't
    limited to, content which might:

   Single someone out for malicious abuse.
   Threaten someone with serious harm.
   Sexualize someone in an unwanted way.
   Expose private information of someone that could be used to carry out threats.
   Disparage or belittle victims of violence or tragedy.



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   Deny an atrocity.
   Cause harassment in other ways.

    Hateful content

    We don't allow content that promotes or condones violence, or has the primary purpose
    of inciting hatred against an individual or group. This includes, but isn't limited to,
    targeting on the basis of race, ethnic origin, religion, disability, age, nationality, veteran
    status, sexual orientation, gender, gender identity, or any other characteristic that's
    associated with systemic discrimination or marginalization.

    Manipulated media

    We don't allow audio, video, or image content that's been manipulated to deceive,
    defraud, or mislead by means of creating a representation of actions or events that
    verifiably didn't take place. This includes if such content would cause a reasonable
    person to have a fundamentally different understanding or impression, such that it
    might cause significant harm to groups or individuals, or significantly undermine
    participation or trust in electoral or civic processes.

    Medical content

    We don't allow content that contradicts or runs contrary to scientific or medical
    consensus and evidence-based best practices.

    Regulated goods

    We don’t allow content that primarily facilitates the promotion or sale of regulated
    goods and services such as alcohol, gambling, pharmaceuticals, unapproved
    supplements, tobacco, fireworks, weapons, or health and medical devices.

    Sexually explicit content

    We don’t allow content that contains nudity, graphic sex acts, or sexually explicit
    material. Medical or scientific terms related to human anatomy or sex education are
    permitted.

    Terrorist content

    We don’t allow content that promotes terrorist or extremist acts, which includes
    recruitment, inciting violence, or the celebration of terrorist attacks.

    Violence & gore




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    We don’t allow violent or gory content that's primarily intended to be shocking,
    sensational, or gratuitous.

    Vulgar language & profanity

    We don’t allow obscenities or profanities that are primarily intended to be shocking,
    sensational, or gratuitous.

    Feature-specific policies
    Some search features have specific policies that are necessary due to the particular
    ways they work. To learn more, go to the following pages:

   Autocomplete
   Dictionary boxes
   Featured snippets
   Google Discover
   Google News
   Google Podcasts
   Image & video boxes
   Knowledge Graph & Knowledge Panels
   Structured data
   Structured data for job postings
   User content on Search

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit

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   Privacy Policy
   Terms of Service

     English?

    English

1. català



                                                                                            885
                                                                                            1080
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2. dansk
3. Deutsch
4. español
5. español (Latinoamérica)
6. Filipino
7. français
8. hrvatski
9. Indonesia
10. italiano
11. magyar
12. Melayu
13. Nederlands
14. norsk
15. polski
16. português (Brasil)
17. română
18. slovenčina
19. slovenščina
20. suomi
21. svenska
22. Tiếng Việt
23. Türkçe
24. čeština
25. Ελληνικά
26. български
27. русский
28. српски
29. українська
30. ‫עברית‬
31. ‫اﻟﻌﺮﺑﯿﺔ‬
32. ‫ﻓﺎرﺳﯽ‬
33. मराठी
34. िह ी
35. த ழ்
36.
37. ไทย
38. 中文（简体）
39. 中文（繁體）
40. 日本語
41. 한국어
42. English

   Send feedback on...




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    This help content & information General Help Center experience
     1




    Google Help


   Help Center



   Community



   Google Search




   Privacy Policy



   Terms of Service



   Submit feedback




    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations



                                                                              887
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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                888
                                                                                1083
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YouTube Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next
Help CenterCommunity


Other reporting options
If flagging a video does not accurately capture your issue, we have several other
reporting mechanisms for you to explore.

Reporting a channel
Flagging is a great way to report a video that you think violates our Community
Guidelines, but sometimes you may need to report more than one piece of content or
may wish to submit a more detailed report for review. By reporting a user’s channel, you
can highlight a user’s comments or videos and give us more information about your
concern. If you feel that you've been targeted for abuse, this tool is your best option to
report content.

Privacy reporting
To file a privacy complaint, start the Privacy Complaint Process. Your privacy is always
respected in this process.

Legal reporting
If you need to report a legal issue on behalf of yourself or your client, you may contact
us via our Legal Webforms. To expedite our ability to investigate your claim, we
encourage you to submit your claim using our webform, rather than by fax or post.

Keep in mind that abuse of our legal forms may result in the termination of your
YouTube account.




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    Moment of death or critical injury footage
    We try to respect the wishes of families regarding footage of their loved ones being
    critically injured. If you've identified content showing a family member during the
    moment of death or critical injury, and you wish to request removal of this content,
    please contact us using our webform. We carefully review each request, but keep in
    mind that we take public interest and newsworthiness into account when deciding if
    content will be removed.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia



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11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



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   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links




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Other suggestions - ideas to improve the content

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YouTube Help

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Privacy Complaint Process
Every day, people come to YouTube to share videos and engage with each other. We
want you to feel safe when you're on YouTube, which is why we encourage you to let us
know if videos or comments on the site violate your privacy or sense of safety, including
if you have been recorded without your knowledge in private or sensitive circumstances.

We understand that you may not feel comfortable with all content that features you on
YouTube, so we've created this process to help you submit a privacy complaint. Please
ensure that you are uniquely identifiable within the content you seek to report before
proceeding with the Privacy Complaint Process.

If someone copies a video that you created or content that you own, you may wish to
file a copyright complaint. If you believe the content violates YouTube Community
Guidelines, we encourage you to learn how to report inappropriate content.

Contact your local authorities for further assistance if you feel you are in physical
danger.

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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）



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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers




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YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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     YouTube Help

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                                        Send feedback on...

     This help content & information

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     Legal policies
     The YouTube Legal Support Team addresses requests to block videos on legal grounds.
     You can find general information here about what these legal issues are, and how to file
     a complaint.

    Trademark
    Counterfeit
    Defamation
    Other legal issues
    Stored music policy
    Other legal complaints



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      English?

     English

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2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)
7.   Filipino
8.   français



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9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
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16. norsk
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32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback about our Help Center
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    Google Help


   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    YouTube Help

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    YouTube Trusted Flagger program
    The YouTube Trusted Flagger program was developed by YouTube to help provide
    robust tools for individuals, government agencies, and non-governmental organizations
    (NGOs) that are particularly effective at notifying YouTube of content that violates our
    Community Guidelines.

    The YouTube Trusted Flagger program includes:

   A bulk-flagging tool that allows for reporting multiple videos at one time
   Visibility into decisions on flagged content
   Prioritized flag reviews for increased actionability
   Ongoing discussion and feedback on various YouTube content areas
   For NGOs only: Occasional online trainings

    Program eligibility
    Who can participate in the Trusted Flagger program?

    Individual users, government agencies, and NGOs are eligible for participation in the
    YouTube Trusted Flagger program. Ideal candidates have identified expertise in at least
    one policy vertical (listed here), flag content frequently with a high rate of accuracy, and
    are open to ongoing discussion and feedback with YouTube about various content
    areas.

    What are the steps to becoming a Trusted Flagger?

    If you’re passionate about YouTube and becoming a Trusted Flagger, the first step to
    joining the program is to begin flagging potentially violative content for review. In order




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to flag content, including as part of the Trusted Flagger program, you must be signed
into YouTube.

Individual Users
We invite users that flag a large volume of videos with a high rate of accuracy to join the
Trusted Flagger program.

NGOs and Government Agencies
If you represent an NGO or Government agency and you wish to join the program, please
reach out to your local point of contact at YouTube or Google. Please note that certain
organizations, including those from countries where there is a history of human rights
abuses or a suppression of speech, may be subject to further review.
Before becoming a Trusted Flagger, participants from governments and NGOs must
attend a YouTube training to learn about our Community Guidelines and enforcement
processes.

What are the requirements after joining the Trusted Flagger program?

The Trusted Flagger program exists to assist with the enforcement of our Community
Guidelines. Participants must be committed to frequently flagging content that may
violate them and open to ongoing discussion and feedback on various YouTube content
areas. We also reserve the right to remove any participant who has not engaged
significantly in the program.

Participants must provide their contact email or the contact email for at least one
person in their organization who will be the ongoing Trusted Flagger point of contact.
We will send periodic emails about the Trusted Flagger program to this email
address. All participants in the Trusted Flagger program are subject to an NDA.

Please note that YouTube reserves the right to refuse participation in the program,
modify program requirements, or suspend the program at our sole discretion.

Flag review process
Videos flagged by Trusted Flaggers are reviewed by YouTube content moderators
according to YouTube’s Community Guidelines. Content flagged by Trusted Flaggers is
not automatically removed or subject to any differential policy treatment — the same
standards apply for flags received from other users. However, because of their high
degree of accuracy, flags from Trusted Flaggers are prioritized for review by our teams.

The Trusted Flagger program exists exclusively for the reporting of possible Community
Guideline violations. It is not a flow for reporting content that may violate local law.
Requests based on local law can be filed following the instructions here.




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                                                                                      1100
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    Reporting
   Report inappropriate content
   Report a YouTube search prediction
   Other reporting options
   YouTube Trusted Flagger program
   Report policy-violative ads

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)



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20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
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27. čeština
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29. български
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31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos




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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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Other suggestions - ideas to improve the content

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    YouTube Help

    Sign in
                                          Send feedback on...

    This help content & information

    General Help Center experience
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    Help CenterCommunity


    Ad policy overview
    In this article, you’ll learn about the policies all advertisers must follow and how we
    review ads.

    Our policies
    To place ads on YouTube, you’ll have to comply with:

   Google Ad Policies
   YouTube-specific ad policies
   Ad formats & features
   Targeting & serving
   If you place ads on YouTube Kids, check out our YouTube Kids advertising policies for
    more specific guidance.
   YouTube Community Guidelines
   Technical Guidelines

    Policy guidelines
    Below you’ll find more detailed info about our policy guidelines:

    Prohibited content                             Prohibited practices

    Content you can't advertise on the Google      What you can't do when advertising with us
    Network
                                                   Abusing the ad network
    Counterfeit goods                              Data collection and use
    Dangerous products or services




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    Enabling dishonest behavior                     Misrepresentation
    Inappropriate content

    Restricted content                              Editorial and technical

    Content you can advertise, but with limitations Quality standards for your ads, websites, and
                                                    apps
    Adult content
    Alcohol                                         Editorial
    Copyrights                                      Destination requirements
    Gambling and games                              Technical requirements
    Healthcare and medicines                        Ad format requirements
    Political content
    Financial services
    Trademarks
    Legal requirements
    Other restricted businesses

    Other important policies

    Ads are particularly visible when they appear on YouTube. The links below include other
    policies that are applied to any ad running on our platform:

    Paid product placements and endorsements
    Mimicking YouTube site elements
    Unbranded ads or brand channels
    User-generated content in ads
    YouTube’s contest policies and guidelines


    Where policies apply
    Our policies apply to all portions of your content, including:

   Text in ad
   Creative elements in ad
   Content of your site or the content of your channel or video

    Once your ad is created, it will automatically be reviewed. Learn more about our ad
    review process below.

    How we review ads
    After you create or edit an ad or extension, the review process begins automatically.




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    Ad review details

    About our policies
    YouTube is committed to providing an advertising service with fair and consistent
    policies that benefit our users, advertisers, and partners. To achieve this goal, we
    maintain high standards for ads accepted on our site. These ads also include
    ones embodied by our technical, community, and advertising guidelines and policies.

    Ads policies details
    Give feedback about this article
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                                       Was this helpful?
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15. Nederlands
16. norsk



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17. polski
18. português
19. português (Brasil)
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    Google Help


   Help Center




o   Fix a problem




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                                                                              1109
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o   Watch videos



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   YouTube




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   Submit feedback


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    Share additional info or suggestions




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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

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    Help CenterCommunity


    Ads on videos you watch
    The ads that play on YouTube videos you watch are tailored to your interests. They’re
    based on your Google Ad Settings, the videos you’ve watched, and whether you’re
    signed in or not.

    When you're signed in, these anonymous signals may decide which ads you see:

   Types of videos you’ve viewed
   The apps on your device and your use of apps
   Websites you visit
   Anonymous identifiers associated with your mobile device
   Previous interactions with Google’s ads or advertising services
   Your geographic location
   Age range
   Gender
   YouTube video interactions

    These ads are based on the content of the videos you’ve watched whether you’re signed
    in or not.

    Manage privacy settings for ads
    You can control the ads that you see based on your Google Account Ad Settings. You
    can also view, delete, or pause your YouTube watch history.

    Turn off ads



                                                                                        918
                                                                                        1113
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    If you want to turn off ads on YouTube, check out our paid memberships for an ad-free
    experience.
                                                          The linked          The link ed




    To stop seeing a specific ad, select Info      Stop seeing this ad on the ad. This option
                                                          image cannot        image cannot
                                                          be display ed.      be display ed.
                                                          The file may        The file may
                                                          hav e been          have been
                                                          mov ed,             mov ed,
                                                          renamed, or         renamed, or
                                                          deleted. Verify …   deleted. Verify …




    is only available if you have ad personalization turned on in your Google Account Ad
    Settings.

    Report an ad
    If you see an ad that you dislike, use the info above to manage your ad settings. If you
    see an ad that is inappropriate or even violates Google’s ad policies, you can report it.
                                 The linked




    To report the ad, select Info   on the ad then Report this ad, or choose to fill out and
                                 image cannot
                                 be display ed.
                                 The file may
                                 hav e been
                                 mov ed,
                                 renamed, or
                                 deleted. Verify …




    submit this form. Our team will then review your ad report and act on the report if
    appropriate.

    Reporting ads is only available on YouTube mobile and on a computer.

    Fill in lead forms
    When you open a lead form in a video campaign on YouTube, some fields are pre-filled
    when you’re signed in to your Google Account.

    Give feedback about this article
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    Manage privacy settings
   Ads on videos you watch
   Change your subscription privacy settings
   Hide or show likes & saved playlists
   Understanding the basics of privacy on YouTube apps

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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
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24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어




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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
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    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management




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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity


    Manage what types of ads you see on YouTube
    videos
    Why am I seeing ads on YouTube videos?
    You may see different types of ads on YouTube. The ads you see may be based on the
    content of the video you're viewing, among other factors. Other factors that decide the
    ads you see include:

   Info in your Google Account, like your age range and gender
   Other activity on Google services, like Google Ads
   Types of websites you visit and mobile app activity on your device
   Websites and apps you've visited that belong to businesses that advertise with Google
   Info we get about you from partners

    We strive to improve your ads experience by implementing policies to make the ads
    more relevant. If you see ads that you think are inappropriate, you can let us know by
    submitting feedback.

    How can I control the ads that I see on videos?
    You can control the ads that you see on YouTube in your Ad Settings. Note that you can
    also view, delete, or pause your YouTube watch history.

    How can I improve my ad experience?
    While watching videos, you may be asked to rate ads with a thumbs up or thumbs down.
    Based on your feedback, we'll try to show you ads that you're interested in.



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    How can I report an ad?
    If you see an ad that is inappropriate or even violates Google’s ad policies, you can
    report it.
                                 The linked image
                                 cannot be                              The link ed




    To report the ad, select Info   on the ad then Why this ad Report this ad, or choose to
                                 display ed. The                        image cannot
                                 file may hav e                         be display ed.
                                 been mov ed,                           The file may
                                 renamed, or                            have been
                                 deleted. Verify                        mov ed,
                                 that the link                          renamed, or
                                 points to the co                       deleted. Verify …




    fill out and submit this form. Our team will then review your ad report and take action if
    appropriate.

    Reporting ads is only available on YouTube mobile and desktop.

    YouTube Premium
    YouTube Premium is a paid membership, available in certain countries/regions, which
    gives you an increased video and music experience across YouTube, YouTube Music,
    and YouTube Kids.

    You can watch millions of videos without ads, with YouTube Premium. These
    ads include ones before and during a video, as well as banner ads, search ads, and
    video overlay ads. You may still see branding or promotions embedded in content, when
    such messaging is added by the creator. You may also see links in and around content
    that is added by the creator. These links could be for their website, merchandise, event
    tickets, or other related destinations they're promoting. Ad-free videos are supported
    across all devices and platforms where you can sign in with your YouTube account.

    Learn more about the benefits of a YouTube Premium membership.



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    Change video settings
   Manage what types of ads you see on YouTube videos
   Watch YouTube in Dark theme



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   Use picture-in-picture on certain devices
   Miniplayer
   Use Muted Playback in Feeds on certain devices

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬




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34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
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    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues




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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
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Missing info - relevant but not comprehensive

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Trademark
A trademark is a word, symbol, or combination that identifies the source of a product
and distinguishes it from other products. A trademark is acquired by a company or
other entity through a legal process. Once it’s acquired, it gives the owner exclusive
rights to the trademark use concerning those goods.

Trademark infringement is improper or unauthorized use of a trademark in a way that is
likely to cause confusion as to the source of that product. YouTube policies prohibit
videos and channels that infringe trademarks. If your content uses someone else’s
trademarks in a way that might cause confusion, your videos can be blocked. Your
channel may also be suspended.

If you think your trademark is being infringed, keep in mind that YouTube doesn’t
mediate trademark disputes between creators and trademark owners. As a result, we
strongly encourage trademark owners to speak directly with the creator who posted the
content in question. Contacting the uploader may fix the problem faster in a way that
benefits everyone. Some creators list ways they can be contacted in their channel.
Learn more about how to get in touch with others here.

If you can't reach a resolution with the account holder in question, submit a trademark
complaint through our Trademark complaint form.

Submit a trademark complaint

YouTube is willing to perform a limited review of reasonable complaints and will remove
content in clear cases of infringement. To help solve disputes, YouTube forwards each
trademark complaint to the uploader before taking any action. This lets the uploader
address any potential Trademark issues.




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     We'll also accept free-form trademark complaints submitted by email, fax, and mail.

     If your complaint relates to the sale or promotion of counterfeit goods, please file a
     Counterfeit complaint.

     If your complaint relates to a protected work, such as a song, movie, or book, please file
     a Copyright complaint.




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    Counterfeit
    Defamation
    Other legal issues
    Stored music policy
    Other legal complaints

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     English

1.   català
2.   dansk
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5.   español
6.   español (Latinoamérica)



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7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
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19. português (Brasil)
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31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   YouTube




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Counterfeit
Google prohibits the sale or promotion for sale of counterfeit goods in its products,
including YouTube. Counterfeit goods contain a trademark or logo that is identical to or
substantially indistinguishable from the trademark of another. They mimic the brand
features of the product in an attempt to pass themselves off as a genuine product of
the brand owner.

Channels that promote or sell counterfeit goods may be terminated.

If you believe a video or channel is selling or promoting counterfeit goods, you may file a
Counterfeit complaint through our online form.

Submit a counterfeit complaint

We must receive your complaint in this format to investigate. Our team will investigate
your complaint and remove the content if it violates Google counterfeit policy.

We'll also accept free-form counterfeit complaints, submitted by email, fax, and mail.

Keep in mind that abuse of our legal forms may result in termination of your YouTube
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   Counterfeit
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   Other legal issues
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24. svenska
25. Tiếng Việt
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30. русский
31. српски
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33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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40. 한국어
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
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problems playing videosPurchase and watch movies and TV shows
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settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
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                                                                              940
                                                                              1135
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  YouTube Help

  Sign in
                                     Send feedback on...

  This help content & information

  General Help Center experience
                                                                                     Next
  Help CenterCommunity


  Defamation
  Defamation laws vary by country but usually concern content that damages the
  reputation of another person or business. Although the definition of defamation varies
  around the world, in general, defamation is any untrue statement that is harmful to
  someone's reputation or causes someone to be shunned or avoided.

  We take into account local legal considerations in our defamation blocking process, and
  in some cases, we require a court order. For us to be able to process a defamation
  blocking request, the claim needs to be specific and strongly supported. For example, it
  needs to explain why you believe the statements are untrue and how it damages your
  reputation.

  In some cases, uploaders willingly remove harmful content. Because obtaining a court
  order can be costly and time-consuming, we encourage users to contact the uploaders
  of the content in question directly.

  If you are unable to reach the uploader, consider whether the video meets the standards
  for removal under our privacy or harassment policy.

  If you've attempted to contact the uploader, and you believe a defamation claim is more
  appropriate than a privacy or harassment complaint, please select your country of
  dispute from the drop down below and follow the directions.

    United States

  United States

1. Algeria
2. American Samoa
3. Argentina



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4. Aruba
5. Australia
6. Austria
7. Azerbaijan
8. Bahrain
9. Bangladesh
10. Belarus
11. Belgium
12. Bermuda
13. Bolivia
14. Bosnia & Herzegovina
15. Brazil
16. Bulgaria
17. Canada
18. Cayman Islands
19. Chile
20. Colombia
21. Costa Rica
22. Croatia
23. Cyprus
24. Czech Republic
25. Denmark
26. Dominican Republic
27. Ecuador
28. Egypt
29. El Salvador
30. Estonia
31. Finland
32. France
33. French Polynesia
34. Georgia
35. Germany
36. Ghana
37. Greece
38. Guam
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46. Iraq
47. Ireland




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48. Israel
49. Italy
50. Jamaica
51. Japan
52. Jordan
53. Kazakhstan
54. Kenya
55. Kuwait
56. Latvia
57. Lebanon
58. Libya
59. Liechtenstein
60. Lithuania
61. Luxembourg
62. Macedonia (FYROM)
63. Malaysia
64. Malta
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66. Montenegro
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68. Nepal
69. Netherlands
70. New Zealand
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74. Norway
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77. Panama
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85. Qatar
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92. Slovakia
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94. South Africa
95. South Korea
96. Spain
97. Sri Lanka
98. Sweden
99. Switzerland
100.       Taiwan
101.       Tanzania
102.       Thailand
103.       Tunisia
104.       Turkey
105.       Turks & Caicos Islands
106.       U.S. Virgin Islands
107.       Uganda
108.       Ukraine
109.       United Arab Emirates
110.       United Kingdom
111.       United States
112.       Uruguay
113.       Venezuela
114.       Vietnam
115.       Yemen
116.       Zimbabwe

   Because we are not in a position to adjudicate the truthfulness of postings, we do not
   remove video postings due to allegations of defamation. Consistent with Section 230(c)
   of the Communications Decency Act, we recommend that you pursue any claims you
   may have directly against the person who posted the content. If you choose to pursue
   legal action against the content creator, note that we may be prepared to comply with
   any order requiring the content creator to remove the posting in question.

   If there is a court order that involves content posted to www.youtube.com you may
   forward this via mail to the following address: YouTube, Inc., Attn Legal Support, 901
   Cherry Ave., Second Floor, San Bruno, CA 94066.

   Alternatively, you may wish to contact the uploader.

   If you have a concern relating to copyright, please visit our Copyright Center. If you have
   an additional concern relating to YouTube Policy violations please visit our Reporting
   Center.




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    If you can't find your country in the drop down above
    YouTube.com is governed by U.S. law.

    Because we are not in a position to adjudicate the truthfulness of postings, we do not
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    of the Communications Decency Act, we recommend that you pursue any claims you
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   Counterfeit
   Defamation
   Other legal issues
   Stored music policy
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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어




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41. English

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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management




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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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     Caption certification
     Federal Communications Commission regulations require closed captions for certain
     content that appeared on television in the United States on or after September 30, 2012.
     If your content does not require captions, you can inform us by selecting a certification.

     Note: If we receive a complaint regarding the availability of captions, we may ask you to
     update this certification info.

     New videos
1.   Sign in to YouTube Studio.            The link ed         The linked
                                           image cannot        image cannot




2.   In the top-right corner, click CREATE    Upload video.
                                           be displayed.       be display ed.
                                           The file may        The file may
                                           have been           hav e been
                                           moved,              mov ed,
                                           renamed, or         renamed, or
                                           deleted. Verify …   deleted. Verify …




3.   In the upload flow, click MORE OPTIONS.
4.   Under “Language, subtitles, and closed captions (CC)”, select a certification.

     Uploaded videos
1.   Sign in to YouTube Studio.
2.   From the left menu, select Content and select your video.
3.   At the bottom, click SHOW MORE.
4.   Under “Language, subtitles, and closed captions (CC)”, select a certification.

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   Change the language of your uploaded video
   Check translated videos
   Translation & transcription glossary
   Pick a strategy for reaching global audiences

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22. slovenščina
23. suomi
24. svenska



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25. Tiếng Việt
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
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36. ไทย
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o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



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    Submit a copyright takedown request
    If your copyright-protected work was posted on YouTube without authorization, you can
    submit a copyright takedown request. Submitting a takedown request will start a legal
    process.

    Before you submit a takedown request, you should know:

   Copyright exceptions: You need to consider whether fair use, fair dealing, or a similar
    exception to copyright law applies. If an exception applies, then the takedown request
    you submit would be invalid.
   Personal info:
   If a video is removed for copyright infringement, the name of the copyright owner will be
    visible on YouTube in place of the video.
   If you give us a valid legal alternative, such as the name of a company or authorized
    representative, we'll review and apply it if appropriate.
   The copyright owner name you enter will become part of the public record of your
    request. Learn more about the public record of your takedown request.
   Your full legal name is required to complete a takedown request. It may be shared with
    the uploader of the video removed for copyright infringement.
   The primary email address from your takedown request may be shared with the
    uploader of the video removed for copyright infringement. The uploader might get in
    touch with you to resolve their copyright strike.
   Your physical address and phone number will remain confidential unless requested as
    part of a lawsuit. If YouTube is required to share any information, we’ll notify you before
    doing so.
   Prevent copies: You can select the option to prevent copies of the videos you’re
    reporting from being reuploaded to YouTube. If you select this option, your email
    address and copyright owner name may be shared with the user whose video is
    prevented from upload. Learn more.



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   Scheduled requests: You can schedule takedown requests to take effect after 7 days.
    Scheduled requests will notify the uploader and give them 7 days before the content
    gets removed.
   Non-video content: If you want to submit a takedown request for non-video content,
    such as channel icon images, follow the steps outlined here. Our webform doesn’t
    support non-video takedown requests.

    How to submit a takedown request
    The fastest and simplest way to submit a copyright takedown request is to fill out our
    webform on a computer. The copyright owner or agent authorized to act on the owner’s
    behalf should submit the request.

    Do not make false claims. Misuse of the takedown webform, such as submitting false
    information, may result in the suspension of your account or other legal consequences.

    Click this button to go to the webform:

                               Submit a copyright takedown request

    You can also access the webform directly from YouTube Studio:

1. Sign in to YouTube Studio.
2. From the left menu, click Copyright.
3. Click NEW REMOVAL REQUEST.

    We also accept copyright takedown requests by email, fax, and mail. Learn more.

    Track your takedown requests
    To view the copyright takedown requests you’ve previously submitted to YouTube:

1. Sign in to YouTube Studio.
2. From the left menu, click Copyright.
3. Click Removal Requests.

    Manage all your copyright-protected content
    If you manage many copyrighted-protected works and often need to submit copyright
    takedown requests, you may be eligible for our more advanced copyright management
    tools. Learn more about YouTube's copyright management tools.

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    Copyright and rights management
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   Prevent reuploads of removed videos
   Retract a claim of copyright infringement
   Contact information in copyright takedown requests
   Requirements for copyright infringement notifications: Videos
   Requirements for copyright infringement notifications: Non-video content

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6. español (Latinoamérica)
7. Filipino
8. français
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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
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19. português (Brasil)
20. română
21. slovenčina



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22. slovenščina
23. suomi
24. svenska
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31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
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o   Policy, safety, & copyright




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   YouTube




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Other legal issues
Legal Complaints and Court Orders
If you feel that certain content on the site violates your rights or applicable laws, you
may submit a legal complaint under our trademark, defamation, counterfeit, or other
legal complaint flows. If you have a court order against an uploader, you may attach a
copy of the court order in response to the autoreply you get after you file the
appropriate legal complaint. Each court order is examined and evaluated on a set of
regional and global criteria.

Keep in mind that you also have other resources to bring content to our attention. For
example, if you feel the content does not comply with our community guidelines, please
flag it. Also, consider whether the video meets the standards for removal under our
privacy or harassment policy before filing a legal complaint.

Circumvention of Technological Measures
When we say circumvention of technological measures, we’re referring to tools that
allow users to evade a software’s licensing protocol. This can mean serial numbers,
keygens, passwords, and other methods to hack software or games.

What is the difference between CTM and copyright?

CTM is a tool that will give users the means to access software. Copyright is concerned
with the depiction of the software or the means to acquire it. If the software’s interface
is in the video, or there's a download link to the software in the video or video
description, you may wish to file a copyright takedown notice.




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    A CTM claim is appropriate when the infringed material isn’t present in the video (or
    directly linked to), but the video offers a way for users to access it illegitimately.

    If you believe you have a valid CTM claim, please fill out our webform.

    Submit a Circumvention of Technological Measures complaint

    Captioning
    If you've gotten a notice informing you that your video is in violation of the
    Communications and Video Accessibility Act, you may have uploaded content that was
    originally shown on TV with captions. The Communications and Video Accessibility Act
    (CVAA) requires that all pre-recorded video programming that is captioned on TV is
    also captioned on the internet. If you believe you're exempt from the CVAA requirement,
    you may select a certification for your content.

    If you believe a video is required by the CVAA to contain captions, but the uploader has
    not made captions available, please submit a request via webform.

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   Counterfeit
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   Other legal issues
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     English?

    English



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41. English

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    Google Help


   Help Center




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    What is the issue with this selection?




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Stored music policy
If you have a YouTube Music account, you may be provided with server space where
you will be able to upload and store certain content from your computer (for example
music files that may contain metadata and album art) (“Stored Music Content”). If you
choose to upload Stored Music Content, you will retain all of your existing rights to the
Stored Music Content and a copy will be stored on your behalf. YouTube will make your
Stored Music Content accessible to you through your YouTube Music account. Your
Stored Music Content will only be accessible by you through your YouTube Music
account and may not be shared by you with anyone else, including YouTube users who
may be a part of your Google or YouTube Family Plan account. You are legally
responsible for the Stored Music Content you upload to YouTube Music and you must
not include any third-party intellectual property (such as copyrighted material) unless
you have permission from that party or are otherwise legally entitled to do so.

We may need to make limited necessary changes to your Stored Music Content as may
be needed for playback functionality on YouTube Music or through the YouTube Music
app. YouTube will not share your Stored Music Content with third-parties.


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   Counterfeit
   Defamation
   Other legal issues
   Stored music policy
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     English?

    English

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2. dansk
3. Deutsch
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9. hrvatski
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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube




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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues



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   If a video contains your personal information without consent, including your image,
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   and follow the directions.

    United States

   United States

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2. American Samoa
3. Argentina
4. Aruba
5. Australia
6. Austria
7. Azerbaijan
8. Bahrain
9. Belarus
10. Belgium
11. Bermuda
12. Bolivia
13. Bosnia & Herzegovina
14. Brazil
15. Bulgaria
16. Canada



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17. Cayman Islands
18. Chile
19. Colombia
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21. Croatia
22. Cyprus
23. Czech Republic
24. Denmark
25. Dominican Republic
26. Ecuador
27. Egypt
28. El Salvador
29. Estonia
30. Finland
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32. French Polynesia
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35. Ghana
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37. Guam
38. Guatemala
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40. Hong Kong
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42. Iceland
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45. Iraq
46. Ireland
47. Israel
48. Italy
49. Jamaica
50. Japan
51. Jordan
52. Kazakhstan
53. Kenya
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55. Latvia
56. Lebanon
57. Libya
58. Liechtenstein
59. Lithuania
60. Luxembourg




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61. Macedonia (FYROM)
62. Malaysia
63. Malta
64. Mexico
65. Montenegro
66. Morocco
67. Nepal
68. Netherlands
69. New Zealand
70. Nicaragua
71. Nigeria
72. Northern Mariana Islands
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101.       Thailand
102.       Tunisia
103.       Turkey
104.       Turks & Caicos Islands




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105.      U.S. Virgin Islands
106.      Uganda
107.      Ukraine
108.      United Arab Emirates
109.      United Kingdom
110.      United States
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112.      Venezuela
113.      Vietnam
114.      Yemen
115.      Zimbabwe



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   Alternatively, you may wish to contact the uploader.

   If a video contains your personal information without consent, including your image,
   name or national identification number, please contact us through out privacy
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   If you are concerned that an interaction with a community member has risen to the level
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   If you have a concern relating to copyright, please visit our copyright center.


   If you have an additional concern relating to YouTube policy violations please visit our
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     Cherry Ave., Second Floor, San Bruno, CA 94066.

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8.   français
9.   hrvatski



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10. Indonesia
11. italiano
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   YouTube




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Troubleshoot account issues
Fix upload problems
Fix YouTube Premium membership issues
Get help with the YouTube Partner Program

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Manage your account & settings
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Join & manage YouTube Premium
Create & grow your channel
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6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
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16. norsk
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26. Türkçe
27. čeština
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）



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38. 中文（繁體）
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o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




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    Learn about copyright on YouTube
    The rules of copyright are an important part of what makes YouTube work for creators.
    You can find general information about what copyright law is here, along with more
    advanced topics like fair use and Creative Commons.

   What is copyright?
   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
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    What is copyright?
    In many countries, when a person creates an original work that is fixed in a physical
    medium, they automatically own copyright to the work. As the copyright owner, they
    have the exclusive right to use the work. Most of the time, only the copyright owner can
    say whether someone else has permissions to use the work.

    Which types of work are subject to copyright?

   Audiovisual works, such as TV shows, movies, and online videos
   Sound recordings and musical compositions
   Written works, such as lectures, articles, books, and musical compositions
   Visual works, such as paintings, posters, and advertisements
   Video games and computer software
   Dramatic works, such as plays and musicals

    Ideas, facts, and processes are not subject to copyright. According to copyright law, in
    order to be eligible for copyright protection, a work must be creative and it must be fixed
    in a tangible medium. Names and titles are not, by themselves, subject to copyright.

    Can I use a copyright-protected work without infringing?

    It’s possible to use a copyright-protected work without infringing the owner’s copyright.
    Either through fair use or getting permission to use someone else's content in your
    video.

    If you're thinking of using someone else's music in your video, learn more about your
    options for using music:




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Some content creators choose to make their work available for reuse with certain
requirements called a Creative Commons license.

Can YouTube determine copyright ownership?

No. YouTube isn’t able to mediate rights ownership disputes. When we receive a
complete and valid takedown notice, we remove the content as the law requires. When
we receive a valid counter notification, we forward it to the person who requested the
removal. After this, it’s up to the parties involved to resolve the issue in court.

Is copyright the same as trademark?

Copyright is just one form of intellectual property. It's not the same as trademark, which
protects brand names, mottos, logos, and other source identifiers from being used by
others for certain purposes. It is also different from patent law, which protects
inventions.

YouTube offers a separate removal process for videos which violate trademark or other
laws.

What is the difference between copyright and privacy?

Just because you appear in a video, image, or audio recording does not mean you own
the copyright to it. For example, if your friend filmed a conversation between the two of
you, she would own the copyright to that video recording. The words the two of you are
speaking are not subject to copyright separately from the video itself, unless they were
fixed in advance.

If your friend, or someone else, uploaded a video, image, or recording of you without
your permission and you feel it violates your privacy or safety, you may wish to file a
privacy complaint.

Common copyright myths
Below are some common misconceptions about copyright and how it works on
YouTube. Keep in mind, doing the following won’t prevent a copyright claim against your
content.

Myth 1: Giving credit to the copyright owner means you can use their content

Giving credit to the copyright owner doesn’t automatically give you the rights to use
their copyrighted work. Be sure to secure the rights to all unlicensed elements in your
video before you upload it to YouTube. If you’re relying on fair use, even if you add




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original material to someone’s copyrighted work, your video may not qualify, so be sure
to carefully consider all four factors and get legal advice if needed.

Myth 2: Claiming “non-profit” means you can use any content

Not trying to make money off copyright-protected work doesn’t stop copyright claims.
Declaring your upload to be “for entertainment purposes only” or “non-profit,” for
example, is not enough by itself. When it comes to fair use, Courts will look carefully at
the purpose of your use in evaluating whether it is fair. “Non-profit” uses are favored in
the fair use analysis, but it’s not an automatic defense by itself.

Myth 3: Other creators do it, so you can too

Even if there remain videos on the site that appear similar to the one(s) you’ve uploaded,
that doesn’t necessarily mean you have the rights to post the content as well.
Sometimes a copyright owner authorizes some, but not all, of its works to appear on our
site. Other times, very similar videos are owned by different copyright owners, and one
may grant permission while another does not.

Myth 4: You can use content you purchased on iTunes, a CD, or DVD

Just because you purchased content doesn't mean that you own the rights to upload it
to YouTube. Even if you give the copyright owner credit, posting videos that include
content you purchased may still violate copyright law.

Myth 5: Content you recorded yourself from TV, a movie theater, or the radio is ok

Just because you recorded something yourself does not always mean you own all rights
to upload it to YouTube. If what you recorded includes someone else's copyrighted
content, such as copyrighted music playing in the background, then you would still need
to get permission from the appropriate rights owners.

Myth 6: Saying “no copyright infringement was intended”

Phrases and disclaimers such as “all rights go to the author,” “no infringement intended”
or “I do not own” don’t mean you have the copyright owner’s permission to post the
content -- nor do they automatically mean you are making fair use of that material.

Myth 7: It's fine to have just a few seconds of copyrighted content

Any amount of unlicensed copyrighted content used—even if it’s just for a few seconds,
may result in your video getting claimed by Content ID or taken down by the copyright
owner. You can argue fair use, but you should understand that the only place where a
fair use determination can be made is a courtroom.




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    Copyright and rights management
   What is copyright?
   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
   Music in this video

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português



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19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
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   Help Center




o   Fix a problem



o   Watch videos




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o   Manage your account & settings



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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback



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Troubleshoot problems playing videosTroubleshoot account issuesFix upload
problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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    YouTube Help

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    Frequently asked copyright questions
    Get answers to top questions about copyright issues.

    General copyright questions
    What is fair use?

    Fair use is a legal doctrine that says you can reuse copyright-protected material under
    certain circumstances without the copyright owner's permission.

    In the United States, only a court can decide what qualifies as fair use.

    Courts rely on four factors to decide fair use on a case-by-case basis, including:

   The purpose and character of the use
   The nature of the copyrighted work
   The amount and substantiality of the copyrighted work used
   The effect on the potential market for or value of the copyrighted work

    Learn more in our Fair use FAQ.

    What is the public domain?

    Works eventually lose their copyright protection and are said to fall into the “public
    domain,” making them free for everyone to use. It typically takes many years for works
    to fall into the public domain.

    The length of a term of copyright protection varies depending on factors like:




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   Where and when the work was published
   Whether the work was commissioned as a work for hire

    Certain works created by U.S. federal government agencies fall into the public domain
    immediately upon publication. Keep in mind that the rules for public domain differ
    between countries.

    It's your responsibility to verify that a work is in the public domain before you upload it
    to YouTube. There's no official list of works in the public domain. However, there are
    some useful resources online that might help you. Columbia University Libraries and the
    Copyright Information Center at Cornell University both offer helpful guides to works
    that may fall in the public domain. None of these entities, including YouTube, can
    guarantee that all the works linked to are free from copyright protection.

    What is a derivative work?

    You need a copyright owner’s permission to create works based on their original
    content. Derivative works may include fanfiction, sequels, translations, spin-offs,
    adaptations, and so on. Try to get legal advice from an expert before uploading videos
    that are based on the characters, storylines, and other elements of copyright-protected
    material.

    Where can I find more information on copyright outside the U.S.?

    The European Commission's website has some helpful information and links about
    copyright in European Union countries.

    The World Intellectual Property Organization (WIPO) has a list of international
    intellectual property and copyright offices where you can learn about your area’s
    copyright laws.

    The above sites are referred to for educational purposes only and YouTube doesn’t
    endorse them.

    Questions about uploading to YouTube
    How do I get permission to use someone else's content in my video?

    If you plan to include copyright-protected material in your video, you’ll generally need to
    seek permission to do so first. YouTube can’t grant you these rights and we can’t help
    you find the parties who can grant them to you. You’ll have to research and handle this
    process on your own or with a lawyer’s help.




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    For example, YouTube cannot grant you the rights to use content that has already been
    uploaded to the site. If you wish to use someone else’s YouTube video, you may want to
    reach out to them directly. Some creators list ways they can be contacted in their
    channel. Learn more about how to get in touch with others here.

    An easy way to find background music or sound effects for your YouTube videos is in
    YouTube’s Audio Library. You can search for music that’s free for you to use.

    If you're thinking of using someone else's music in your video, learn more about your
    options for using music:

    How do I license third party content?

    Before you upload a video to YouTube, you must get the rights to all elements in your
    video. These elements include any music (even if it’s just playing in the background),
    video clips, photos, and so on.

    First, reach out to the copyright owners or rightsholders directly and negotiate the
    appropriate licenses for your use.

    Then, check the license. Licenses have explicit permission for using the content and
    often include limitations for how the content is used. Seek legal advice for any licensing
    agreement to be certain which rights are granted and which rights the owner reserves.

    You can also use YouTube’s library of free music and sound effects, which can be used
    in videos according to the terms specified.

    Note: If you perform a cover song, make sure you have permission from the copyright
    owners (i.e., songwriter or music publisher). You may need extra licenses to reproduce
    the original sound recording, include the song in a video, or display the lyrics.

    Why was content I have permission to use removed or blocked?

    If you have the rights to use copyright-protected material in your video, give your video’s
    title and URL to the original copyright owner. This action can help you avoid a mistaken
    removal or block.

    If your video was removed by a copyright takedown in error, you can:

   Request a retraction from the claimant
   Submit a counter notification

    If a Content ID claim that you feel is mistaken blocked your video:

   You can dispute it



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   However, before you submit a dispute or send a counter notification, ask yourself a few
   questions:

1. Are you the copyright owner of the material in your video?
2. Do you have permission to all third-party material in your video from the appropriate
   copyright owner?
3. Is your video covered by fair use, fair dealing, or a similar exception under the
   appropriate copyright law?

   If one of the conditions above applies to your video, you may want to research the most
   appropriate dispute process or consult an attorney. If not, you may be in violation of
   copyright laws.

   Why was content I recorded or purchased myself removed?

   Just because you purchased content doesn't mean that you own the rights to upload it
   to YouTube. Even if you give the copyright owner credit, posting videos that include
   content you purchased may still violate copyright law.

   Also, just because you recorded something yourself does not always mean you own all
   rights to upload it to YouTube. If your recording includes someone else's copyrighted
   content, like copyrighted music playing in the background, you’ll still need permission
   from the appropriate rights owners.

   Why did YouTube let an abusive claimant remove my video?
   YouTube takes action to address cases of abuse and misuse in our copyright takedown
   processes. While we can’t comment on specific cases or our processes, we do
   investigate abuse of our copyright tools and processes. We also have a zero-tolerance
   policy for claimants we've deemed abusive. Misuse of the copyright process (for both
   takedowns and counter notifications) can result in termination of an account.

   Questions about copyright takedown requests
   Can I request the removal of an entire channel or playlist?

   No, you can't. You're required to identify any allegedly infringing content by its video
   URL.

   Here's how to get a video's URL:

1. Find the video in question on YouTube.
2. In the address bar at the top, there should be a video URL like this one:
   www.youtube.com/watch?v=xxxxxxxxxxx




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You can submit a takedown request by signing in to YouTube and using our copyright
removal webform.

Why did YouTube ask for more information about my copyright request?

Copyright takedowns are formal, legal requests that require specific elements to be
complete and actionable.

When we get an incomplete or otherwise invalid copyright request, we ask the sender
for more information that will help complete it. This includes both takedown
notifications and counter notifications.

If you got a response like this following your submission of a copyright request, it's
important to review it carefully and respond accordingly. Usually, we can't review your
request until you do so.

Why do I have to give you all my information each time I submit a new copyright
complaint?

In accordance with copyright law, we require complete and valid copyright notifications
for each removal request.

The easiest way to submit another complaint is to sign in to YouTube and use our
copyright complaint webform.

For content owners with ongoing rights management needs, we accept applications to
YouTube’s Content Verification Program and Content ID.

I told YouTube about a video that infringed my copyright and it was removed. Why did I
get an email saying it may be reinstated to the site?

We've likely gotten a counter notification about your removal request. The video will be
reinstated unless you prove that you’ve filed a court action against the creator to
restrain the allegedly infringing activity. If we don't get that notice from you within 10
days, we may reinstate the material to YouTube.

How can I report videos that give passwords or key generators that allow unauthorized
use of my copyrighted works?

If a video explains how to bypass restrictions to your software with passwords, key
generators, or cracks, let us know with our Other Legal Issues form.



How do I remove a copy of my video from another website?



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If you find your YouTube video on another website without your permission, you'll have
to follow their process for requesting the removal of the video. YouTube can't request
the removal for you.

Most sites that permit creators to upload videos rely on the Digital Millennium Copyright
Act’s (DMCA) Safe Harbor. When they get a complete and valid copyright takedown
notice from a content owner, they should remove the content. There are
some exceptions, but if you're sure the copy of your work isn't fair use, you can request
its removal.

To understand what you'll need to include in your copyright takedown notice, review
the requirements of a DMCA takedown notice.

Most sites require a link to a specific video URL. If you don’t find the URL, you can try
right-clicking the video or clicking the video's timestamp to get it.

Sites that rely on the DMCA must have contact information for a designated DMCA
agent listed with the Copyright Office and on their website. If you find your video on one
of these sites without your permission, you can send your copyright takedown notice to
the appropriate email address below. If the site you're looking for isn't listed below, you
can also check the Copyright Office's database.



Dailymotion : notifications@dailymotion.com

Facebook : ip@fb.com

Instagram : ip@instagram.com

Periscope: copyright@periscope.tv

Twitter : copyright@twitter.com

Vimeo : dmca@vimeo.com



Disclaimer: The information presented here is not legal advice. We give it for
informational purposes. If you need legal advice, you should get in touch with an attorney.

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    Copyright and rights management
   What is copyright?
   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
   Music in this video

   ©2021 Google
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   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina



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23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

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Minor errors - formatting issues, typos, and / or broken links

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   YouTube Help

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   Dispute a Content ID claim
   If you get a Content ID claim on your video that you believe is wrong, you can dispute
   the claim. For instance, if you have all the rights to the content in your video, or think the
   system misidentified your video, you can file a dispute. When you dispute a Content ID
   claim, the copyright owner will be notified and they'll have 30 days to respond.

   If you got a copyright strike, use the process described in our article about copyright
   strikes, instead of the process described below in this article.

   Filing a dispute
   Before you dispute a claim: Learn about the public domain, exceptions to copyright
   (such as fair use or fair dealing), and common questions about fair use before you file a
   dispute. YouTube can’t help you decide whether you should dispute a claim. If you’re not
   sure what to do, you may want to seek your own legal advice.

   Disputes are only intended for cases where you have all the necessary rights to the
   content in your video. Repeated or malicious abuse of the dispute process can result in
   penalties against your video or channel.

   If you and the claimant both choose to monetize the video, the video can still earn
   revenue during the dispute process. Learn how revenue is handled in Content ID
   disputes.

   Dispute a claim

1. Sign in to YouTube Studio.            The link ed
                                         image cannot




2. From the left menu, select Content                        .
                                         be display ed.
                                         The file may
                                         have been
                                         mov ed,
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                                         deleted. Verify …




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3. Find the video with the claim you want to dispute. To refine the list, click the filter bar
    The linked




       and select the filter Copyright claims.
    image cannot
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




4. In the “Restrictions” column, hover over “Copyright claim” and click SEE DETAILS.
                                               The link ed




5. Click SELECT ACTIONS         Dispute.
                                               image cannot
                                               be displayed.
                                               The file may
                                               have been
                                               moved,
                                               renamed, or
                                               deleted. Verify …




    What happens after you dispute

    After you submit your dispute, the copyright owner has 30 days to respond. There are a
    few actions the copyright owner can take:

   Release the claim: If they agree with your dispute, they can release their claim. If you
    were previously monetizing the video, your monetization settings will be restored
    automatically when all claims on your video are released.
   Reinstate the claim: If they believe their claim is still valid, they can reinstate it. If you
    feel it was mistakenly reinstated, you can appeal their decision.
   Take down your video: They can submit a copyright takedown request to remove your
    video from YouTube, which means you’ll get a copyright strike on your account.
   Note: A video can get more than one Content ID claim or takedown request, but can only
    get one copyright strike at a time.
   Do nothing and let the claim expire: If the copyright owner doesn't respond within 30
    days, their claim on your video will expire, and you don’t need to do anything.

    If you had ads running on the claimed video, you may want to learn more about
    monetization during Content ID disputes. If the copyright owner selected a policy to
    block or track your video, the policy may not apply while the dispute is resolved.

    Filing an appeal
    If the copyright owner reinstates their claim and rejects your Content ID dispute, you can
    file an appeal.

    Appeal rejected disputes

1. Sign in to YouTube Studio.                                      The link ed
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2. From the left menu, select Content .
                                                                   be display ed.
                                                                   The file may
                                                                   have been
                                                                   mov ed,
                                                                   renamed, or
                                                                   deleted. Verify …




3. Find the video with the reinstated claim you want to appeal. To refine the list, click the
                           The linked
                           image cannot




   filter bar   and select the filter Copyright claims.
                           be display ed.
                           The file may
                           hav e been
                           mov ed,
                           renamed, or
                           deleted. Verify …




4. In the “Restrictions” column, hover over “Copyright claim” and click SEE DETAILS.
                                               The link ed
                                               image cannot




5. Click SELECT ACTIONS        Appeal.
                                               be displayed.
                                               The file may
                                               have been
                                               moved,
                                               renamed, or
                                               deleted. Verify …




    There might be restrictions that affect your ability to appeal, such as the age of your
    account. If you haven’t already done so, you’ll also need to verify your account. Check
    your channel's ability to appeal rejected disputes on your account features page.




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    What happens after you appeal

    After you appeal a rejected dispute, the copyright owner has 30 days to respond. After
    you appeal, there are a few actions the copyright owner can take:

   Do nothing and let the claim expire: If the copyright owner doesn’t respond within 30
    days, then their claim on your video will expire and you don’t need to do anything.
   Release the claim: If the copyright owner agrees with your appeal, then they can release
    their claim and you don’t need to do anything.
   Request immediate removal of your video: If they believe their claim is still valid, they
    may issue a copyright takedown request against your video. If this happens, you’ll get a
    copyright strike on your account. If you still believe that you have the rights to the
    content, you can submit a counter notification.
   Note: A video can get more than one Content ID claim or takedown request, but can only
    get one copyright strike at a time.
   Schedule a takedown request for your video: If the copyright owner issues a scheduled
    copyright takedown request, you can cancel your appeal within 7 days. By canceling,
    you’ll prevent the takedown and you won’t get a copyright strike. The Content ID
    claim will remain active on your video. Learn more about the difference
    between copyright takedowns and Content ID claims.

    Cancel an appeal

    If you change your mind, you can cancel your appeal after you’ve submitted it. To cancel
    an appeal:

1. Sign in to YouTube Studio.                   The link ed
                                                image cannot




2. From the left menu, select Content .
                                                be display ed.
                                                The file may
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3. Find the video with the claim you appealed. To refine the list, click the filter bar and
                                                                                    be displayed.
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   select the filter Copyright claims.
4. In the “Restrictions” column, hover over “Copyright claim” and click SEE DETAILS.
                            The link ed
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5. Click SELECT ACTIONS         Cancel appeal.
                            be displayed.
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    Keep in mind that once you cancel an appeal, the claim can't be appealed again.




    Get more help with Content ID
   What is a Content ID claim?
   Who claimed my video?
   How Content ID works
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Creative Commons is turning 20!
We’re celebrating with a special Better Sharing campaign, honoring 20 years of commitment to
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John Wood Community College: SLF 120 Introduction to Small Farm Viability




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Fair use on YouTube
Fair use is a legal doctrine that says you can reuse copyright-protected material under
certain circumstances without getting permission from the copyright owner.

Fair use guidelines
Different countries have different rules about when it’s OK to use material without the
copyright owner’s permission. For example, in the United States, works of commentary,
criticism, research, teaching, or news reporting may be considered fair use. Some other
countries have a similar concept called fair dealing that may work differently.

Courts look over potential fair use cases according to the facts of each specific case.
You’ll probably want to get legal advice from an expert before uploading videos that
contain copyright-protected material.

The four factors of fair use
In the United States, judges decide what’s considered fair use. A judge will consider how
the four factors of fair use apply to each specific case. The four factors of fair use are:

1. The purpose and character of the use, including whether
such use is of commercial nature or is for nonprofit
educational purposes
Courts typically focus on whether the use of copyright-protected material is
“transformative.” This means whether the use adds new expression or meaning to the
original material, or whether it merely copies from the original.




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Commercial uses are less likely to be considered fair use, but it’s still possible to
monetize a video that contains fair use material.

2. The nature of the copyrighted work
Using material from primarily factual works is more likely to be fair use than using
purely fictional works.

3. The amount and substantiality of the portion used in
relation to the copyrighted work as a whole
Borrowing small bits of material from an original work is more likely to be considered
fair use than borrowing large portions. But, if what’s borrowed is considered the "heart"
of the work, sometimes even a small sampling may weigh against fair use.

4. The effect of the use upon the potential market for, or
value of, the copyrighted work
Uses that harm the copyright owner’s ability to profit from their original work are less
likely to be fair uses. Courts have sometimes made an exception under this factor in
cases involving parodies.

Example of fair use
                                                            "Donald Duck Meets Glenn Beck
                                                            in Right Wing Radio Duck"

                                                            by rebelliouspixels

                                                            This remix combines short
                                                            excerpts from different source
                                                            materials. The remixes create a
                                                            new message about the effect of
                                                            provocative rhetoric in times of
                                                            economic crisis. Works that
                                                            create new meaning for the
                                                            source material may be
                                                            considered fair use.

YouTube’s fair use protection
YouTube gets many takedown requests to remove videos that copyright owners claim
are infringing under copyright law. Sometimes these requests target videos that seem
like clear examples of fair use. Courts have decided that copyright owners must




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    consider fair use before they send a copyright takedown notice. Because of this, we
    often ask copyright owners to confirm they’ve done this analysis.

    In rare cases, we’ve asked creators to join an initiative that protects some examples of
    “fair use” on YouTube from copyright takedown requests. Through this initiative,
    YouTube indemnifies creators whose fair use videos have been subject to takedown
    notices for up to $1 million of legal costs in the event the takedown results in a
    copyright infringement lawsuit. The goal of this initiative is to make sure these creators
    have a chance to protect their work. It also aims to improve the creative world by
    educating on both the importance and limits of fair use.

    Examples of YouTube’s fair use protection
    For more examples, check out our fair use protection playlist.
    Note: If you're in the US, you can watch the videos we’ve protected in this playlist.
    Unfortunately, if you’re outside the US, you can’t view the videos in this playlist.

    These example videos represent a small sampling of the large amount of copyright
    takedown requests we get. They also represent only a few of the large number of
    potential fair use videos that are subject to takedowns.

    Each year, YouTube can offer fair use protection to only a few videos, which are chosen
    based on many factors. In general, we select videos that best demonstrate fair use
    based on the four factors of fair use listed above.

    If your video is chosen for this initiative, we’ll let you know. It’s not necessary to reach
    out to us asking to protect your video. If we can offer you this protection, we’ll get in
    touch with you.

    Reinstated videos
    While YouTube can’t offer a legal defense to everyone, we remain vigilant about
    takedown notices impacting all creators. You may be aware of some notable cases
    where we’ve asked copyright owners to reconsider takedowns and reinstate fair use
    videos. For example:

   This video by the Young Turks, which shows short clips from a heavily criticized
    commercial as part of a conversation on why it offended viewers.
   This video by Secular Talk, which criticizes a political figure for endorsing an unproven
    treatment for diabetes.
   Buffy vs Edward: Twilight Remixed -- [original version], a remix video that compares the
    ways women are portrayed in two vampire-related works targeted at teens.
   "No Offense", a video uploaded by the National Organization for Marriage, which uses a
    clip of a celebrity as an example of rude behavior.




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     More info

     If you’d like to learn more about fair use, there are many resources available online. The
     following sites are for educational purposes only and are not endorsed by YouTube:

    The Center for Media and Social Impact’s “Code of Best Practices in Fair Use for Online
     Video”
    The Digital Media Law Project's detailed explanation of the Four Factors
    The US Copyright Office’s fair use index

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     English

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16. norsk
17. polski
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22. slovenščina
23. suomi
24. svenska
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27. čeština
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35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



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    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




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 The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




0:31 Now playing



Fracking Next Door
Halt the Harm
•
2The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




5:06 Now playing



RAGING CITIZENS/THE SIMPLEST GAME - Everything Is Not Perfect
Jim Sterling
•
3The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




1:24 Now playing



Speedebunking: Mister UFO
UFO Theater
•
4The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




3:17 Now playing




                                                                                                                                                           1061
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Questionable questions
ProChoiceOh
•
5
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5:37 Now playing



Rachel Dolezal White NAACP President Passing As Black
KevOnStage
•
6
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3:02 Now playing



BugPAC: The Campaign to Reclaim State College
Vote BugPAC
•
7
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4:46 Now playing



Lift Busters: Do Elevation Training Masks Work? High Altitude Mask /
Oxygen Mask
Brian Schmitt
•
8




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9:09 Now playing



Uwe Boll: The Rise And Fall Of The Worst Director Ever
captainmidnight
•
Info
Shopping
Tap to unmute
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NaN / NaN
NaN / NaN
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Frequently asked questions about fair use
Fair use is a legal doctrine that says you can reuse copyright-protected material under
certain circumstances without getting the copyright owner’s permission.

There aren’t any magic words to automatically apply fair use. When you use someone
else’s copyrighted work, there’s no guarantee that you’re protected under fair use.

Common fair use questions
How does fair use work?
In the United States, a judge reviews a specific case based on a set of principles to
decide if fair use applies. Different countries/regions have different rules about when
it’s OK to use material without the copyright owner’s permission. For example, in the
United States, works of commentary, criticism, research, teaching, or news reporting
might be considered fair use. Some other countries have a similar idea called fair
dealing that may work differently.
What constitutes fair use?

1. The purpose and character of the use, including whether such use is of commercial
nature or is for nonprofit educational purposes

Courts typically focus on whether the use is “transformative.” That is, whether it adds
new expression or meaning to the original, or whether it merely copies from the original.
Commercial uses are less likely to be considered fair, though it’s possible to monetize a
video and still be fair use.

2. The nature of the copyright work




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Using material from primarily factual works is more likely to be fair than using purely
fictional works.

3. The amount and substantiality of the portion used in relation to the copyrighted work
as a whole

Borrowing small bits of material from an original work is more likely to be considered
fair use than borrowing large portions. However, if it's the “heart” of the work, even a
small amount may weigh against fair use in some situations.

4. The effect of the use upon the potential market for, or value of, the copyrighted work

Uses that harm the copyright owner’s ability to profit from their original work are less
likely to be fair uses. Courts have sometimes made an exception under this factor in
cases involving parodies.

When does fair use apply?
Crediting the copyright owner, posting a disclaimer like "no infringement intended," or
adding original content to someone else's content doesn’t automatically make
something fair use. Uses that try to substitute the original work instead of commenting
on or criticizing it are unlikely to be considered fair uses.
How does Content ID work with fair use?

If you upload a video containing copyrighted content without the copyright owner’s
permission, you could end up with a Content ID claim. The claim will keep you from
monetizing the video, even if you only use a few seconds, such as short uses of popular
songs.

Automated systems like Content ID can’t decide fair use because it’s a subjective, case-
by-case decision that only courts can make. While we can’t decide on fair use or
mediate copyright disputes, fair use can still exist on YouTube. If you believe that your
video falls under fair use, you can defend your position through the Content ID dispute
process. This decision shouldn’t be taken lightly. Sometimes, you may need to carry that
dispute through the appeal and DMCA counter notification process.

If both you and the claimant try to monetize a video under dispute, the video will
still monetize until the dispute is resolved. Then, we’ll pay out the accrued earnings to
the appropriate party.

Options you can take to resolve claims outside the dispute process

The easiest way to deal with Content ID claims is to avoid them in the first place. Don’t
use copyrighted material unless it’s essential to your video. Check out the YouTube
Audio Library for music that’s free to use in your videos. If you choose to get music
from other royalty-free or licensing sites, be sure to read the terms and conditions



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    carefully. Some of these services may not give rights to use or monetize the music on
    YouTube, so you could still end up with a Content ID claim.

    If you get a Content ID claim for music that isn’t essential to your video, try removing it
    or swapping it out with copyright-safe tracks from the Audio Library. You can also
    always upload an entirely new edit of the video without the claimed content at a new
    URL.

    Am I protected by fair use if...
    I gave credit to the copyright owner?

    Transformativeness is usually key in the fair use analysis. Giving credit to the owner of a
    copyrighted work won’t by itself turn a non-transformative copy of their material into fair
    use. Phrases like “all rights go to the author” and “I do not own” don’t automatically
    mean you’re making fair use of that material. They also don’t mean you have the
    copyright owner’s permission.

    I posted a disclaimer on my video?
    There aren’t any magic words to automatically apply fair use when you use someone
    else’s copyrighted work. Including the phrase “no infringement intended” won't
    automatically protect you from a claim of copyright infringement.
    I'm using the content for "entertainment" or "non-profit" uses?

    Courts will carefully review the purpose of your use in evaluating whether it's fair.
    Declaring your upload to be “for entertainment purposes only,” for example, is unlikely to
    tip the scales in the fair use balancing test. Similarly, “non-profit” uses are favored in the
    fair use analysis, but it’s not an automatic defense by itself.

    I added original material I created to someone else's copyright work?
    Even if you’ve added something to someone else’s content, your use might still not be
    considered a fair one. If your creation doesn’t add new expression, meaning, or
    message to the original, it probably isn’t fair use. As with all the other cases discussed
    here, courts will consider all four factors of the fair use test, including the quantity of the
    original used.

    Resources

    If you’d like to learn more about fair use, there are lots of resources available online. The
    following sites are for educational purposes only and are not endorsed by YouTube:

   The Center for Media and Social Impact’s “Code of Best Practices in Fair Use for Online
    Video”
   The Digital Media Law Project's detailed explanation of the Four Factors




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   The US Copyright Office’s Fair Use Index

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   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
   Music in this video

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16. norsk



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17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
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32. українська
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o   Policy, safety, & copyright




   Community



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    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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    What kind of content can I monetize?
    For your videos to be eligible for monetization, you must own all the rights to
    commercially use all visuals and audio elements.

    Guidelines for content you created:

   Follow YouTube Community Guidelines.
   Create all elements of the video yourself. Examples include:
   Daily vlogs
   Home videos
   Do-it-yourself videos
   Tutorials
   Original music videos
   Original short films
   Make sure you own all the necessary rights to commercially use all visuals created by
    you.
   Keep in mind that advertisers are more likely to place ads on advertiser-friendly content.

    Guidelines for content you didn't create:

   Clear the rights to use and monetize this content on YouTube.
   Make sure you understand how copyright works.
   Make sure you understand YouTube spam policies.


    YouTuber Partner: Learn about copyright basics
    Learn the basics on copyright policies




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    Can I monetize my video if...
    Click below to see if your type of content is monetizable and if you need to
    prove commercial use rights to use it.

    I created all the audio and visual content
    I use audio or visual editing software to create my own content
    I use royalty-free or Creative Commons content
    I have permission to use audio or visuals created by someone else
    I'm playing or doing a walkthrough of a video game
    I'm doing a tutorial demonstrating use of software
    I use content that's in the public domain
    It contains my original recording of a cover song
    I use my personal recording of public concerts, events, shows, and so on
    I made a recording from TV, DVD, or CD
    I upload content that I purchased
    I upload content that I found online
    It contains music from the YouTube Audio Library
    I used third-party content under Fair Use

    Still need help?

    If you're still not sure what kind of content you can or can’t monetize, review the video
    monetization criteria. For more info about copyright, copyright infringement, and fair
    use, go to the Copyright Center.

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   YouTube advertising formats



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   Add paid product placements, sponsorships & endorsements
   Monetizing eligible cover videos
   Claiming Individual Videos: Policies and Best Practices
   How ads show on videos you monetize

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33. ‫עברית‬
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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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    How to read licenses to understand your rights
    Royalty free software products and content owners, as well as video game publishers,
    often spell out your commercial use rights to their content, or content you created using
    their software, in their license agreements.

    YouTube is not in a position to offer legal advice or to counsel you in any way. However,
    below are some tips to locate and read terms set by copyright holders.

   License agreements can be located on the publisher/content owner’s website.
   The licenses may be found in a number of places, so try searching for terms of use,
    grant of rights, terms and conditions, sharing, FAQs.
   License agreements may explain the rights granted to licensees or end users and it is
    incumbent on you to appropriately read and interpret the license.
   Some publishers have different types of licenses that grant different sets of rights to
    authorized content, so please ensure that the license you buy best suits your needs.
   In addition to the license terms, you may also need to check the artists individual terms
    before using their content commercially.

    For clear interpretation, please reach out to the license owner and clarify that you have
    all the commercial use rights to their content.



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15. Nederlands
16. norsk
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28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
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37. 中文（简体）
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39. 日本語
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Video game and software content
What can I monetize?

Video game content may be monetized depending on the commercial use rights
granted to you by licenses of video game publishers. Some video game publishers allow
you to use all video game content for commercial use and state that in their license
agreements. Likewise, videos showing software user interface may be monetized only if
you have a contract with the publisher or you have paid a licensing fee.

To learn more about obtaining commercial use rights to third party content, please
review how to read licenses to understand your rights and what YouTube looks for in
your documentation.

What can't I monetize?

Without the appropriate license from the publisher, use of video game or software user
interface must be minimal. Video game content may be monetized if the associated
step-by-step commentary is strictly tied to the live action being shown and provides
instructional or educational value.

Videos simply showing a user playing a video game or the use of software for extended
periods of time may not be accepted for monetization.

You can find more information on copyright law and fair use here:

United States
U.S. Copyright Office Fair Use Index
Stanford University Libraries
Lumen database of legal complaints



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    European Commission website on Copyright and Neighboring Rights
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    Directory of Intellectual Property and Copyright Offices
    This material is provided for informational purposes only. It is not, nor is it intended to
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    dispute 3:15 Fair Use

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2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar




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15. Nederlands
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20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
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    Monetizing eligible cover videos
    Creators participating in the YouTube Partner Program can share revenue from eligible
    cover song videos on YouTube, once music publisher owners claim those videos. You'll
    be paid revenue for these videos on a pro rata basis.

    How to figure out if your cover song video is eligible for
    monetization
    A video of your cover song will be eligible for monetization when the Content page in
    your YouTube Studio shows that your video has the following:

   Copyright claim in the Restrictions Column
                                          The link ed
                                          image cannot




    Video’s monetization status is set to      Off
                                          be display ed.





                                          The file may
                                          have been
                                          mov ed,
                                          renamed, or
                                          deleted. Verify …




   Hover text that says the video is eligible to share the ad revenue

    Note: You should also see this info in the Video Copyright Info page and the claim
    notification email sent to you.

    This message will appear for videos claimed/monetized through the Content ID system
    by the music publisher or publishers who own the copyright in the musical composition
    performed. Note that both new uploads and prior uploads may be eligible.

    How to turn on revenue sharing for your cover song video
1. Turn on monetization for your account, if you have not already done so. Go to the
   Monetization tab in your account settings.
2. Find the eligible cover song video in your Content page.




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3. Switch the monetization status to On.
4. You can also go to the monetization details of the video and switch monetization from
   Off to On.


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subscribe here.


Advertiser-friendly content guidelines
If you’re in the YouTube Partner Program, you can share revenue from ads. This article
aims to help you understand which individual videos on your channel are suitable for
advertisers. Creators can use this article to understand both the platform’s self-
certification questionnaire as well as specific rules regarding what can run ads, what
can run limited ads and what will not run ads, and should have monetization turned off.
Our policies apply to all portions of your content (video or live stream, thumbnail, title,
description, and tags). Learn more about our best practices.

Our systems don't always get it right, but you can request human review of decisions
made by our automated systems.

Note: All content uploaded to YouTube must comply with both our Community
Guidelines and our AdSense Google Publisher Policy. If your content violates our
Community Guidelines, it may be removed from YouTube. If you see violative content,
you can report it.

What you'll find in this article
You'll find examples of content not suitable for ads, and will result in a "limited or no
ads" monetization state.

Here are all the main topics that are not advertiser-friendly:

Inappropriate language                     Firearms-related content
Violence                                   Controversial issues
Adult content                              Sensitive events



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Shocking content                            Incendiary and demeaning
Harmful or dangerous acts                   Tobacco-related content
Hateful & derogatory content                Adult themes in family content
Recreational drugs and drug-related content


Please note that context is very important. Artistic content such as music videos may
contain elements such as inappropriate language, references to soft drug usage, or non-
explicit sexual themes, and still be suitable for advertising.

Inappropriate language

Content that contains frequent uses of strong profanity or vulgarity throughout the
video may not be suitable for advertising. Occasional use of profanity (such as in music
videos) won’t necessarily result in your video being unsuitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Abbreviated, censored, or light profanity (like “hell” or “damn”) in the title,
ads for this content thumbnail, or video. Moderate profanity (like “shit” or “bitch”) used in the
                     video. Infrequent usage of strong profanity (like the "f-word”) after the
                     opening or up to twice in approx. the first 30 seconds of the video; or strong
                     profanity in a music video.

                    Definitions:

                    “Censored profanity” refers to things like bleeping or muting the word as
                    well as covering written words with black bars, symbols, or text added in
                    post-production.
                    “Abbreviated profanity” refers to an acronym like WTF (“what the f*ck”)
                    where the original term is abbreviated by using its acronyms.

You can turn on Moderate profanity in the title or thumbnail; strong profanity used frequently
ads but only      in the opening of a video (roughly the first 30 seconds); strong profanity in
brands who opt in the title or thumbnail of a music video.
will run ads
                  Titles & Thumbnails:

                    Moderate profanity even when misspelled, such as “This is bull sh1t!”.

                    Some examples of content that also fall into this category:

                    Focal usage of strong profanity throughout a video (e.g. mentioned in every
                    sentence).




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Ads guidance       Questionnaire options & details
                   Definitions:

                   “Moderate profanity” refers to words like “bitch,” “shit,” or “asshole.”
                   “Strong profanity” refers to words like “d*ck” or the “f-word."

You should turn    Extreme profanity used in the title, thumbnail or at any point throughout the
off ads for this   video, for example "c*nt," "n***er," "fa**ot," or other hateful slurs.
content
                   Titles & Thumbnails:

                   Strong or extreme profanity even when misspelled, such as “fuk!”

                   Some examples of content that also fall into this category:

                   Any usage of extreme profanity throughout a video.


Violence

Content where the focal point is on blood, violence, or injury, when presented without
other context, is not suitable for advertising. If you're showing violent content in a news,
educational, artistic, or documentary context, that additional context is important. For
example, if a video provides authoritative news reporting on a violent event in a
journalistic context, it may be eligible for monetization. Violence in the normal course of
video gameplay is generally acceptable for advertising, but montages where gratuitous
violence is the focal point is not. All games (whether realistic or non-realistic) are in
scope of this policy.

Guide to Self-Certification
Ads guidance       Questionnaire options & details
You can turn on    Graphic law enforcement in an educational context; violence that occurs as
ads for this       part of unedited video gameplay; mild violence with minimal blood; dead
content            bodies that are fully censored, blurred, prepared for burial, or shown in
                   historical events like wars, as part of an educational video.

                   Some examples of content that also fall into this category:

                   General violence

                   Dramatized content containing unrealistic non-graphic violence or fleeting
                   vivid violence.
                   In the course of larger narrative, showing a quick fleeting scene involving
                   physical harm (e.g. shot in the abs) as a part of a violent action scene.




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          Fighting violence excerpts from an action movie where injuries are mostly
          indiscernible.
          Depiction of non-graphic injury such as falling on knees where no or limited
          amount of blood is shown.
          Tumbling down a hill or running into a wall accidentally or purposely as a
          part of script or sports.
          Announcement of tragedies involving multiple casualties which doesn’t
          include vivid gruesome details.
          Reports of a recent homicide in the town without the description of physical
          state of the victims.

          Gaming

          Violence as part of standard video gameplay, where it’s mildly graphic.
          Showing graphic scenes (e.g. a gory attack where impact is clearly visible) in
          a normal course of gameplay.

          Death & tragedy

          Non-graphic depiction of dead bodies in educational context.
          Public honoring of the deceased, broadcasted with a non-graphic dead body.
          Display of fully censored or non-gruesome dead bodies in a historical context.

          Hunting

          Hunting content where there’s no depiction of graphic animal injuries or
          prolonged suffering.
          Hunting videos where the moment of kill or injury is indiscernible, and
          with no focal footage of how this dead animal is processed for trophy or food
          purposes.

          Animal violence

          Non-graphic depictions of animal violence in nature.
          Predators running after their prey where the graphic details (e.g. focus on
          bloody body parts of the prey or graphic moments of catching the prey) are
          not included; some blood may be visible fleetingly, but is not the focal subject
          of the content.

          Animal abuse

          Animals in distress during species-appropriate animal training, medical
          intervention or relocation.
          Raw footage of human-controlled animal violence (e.g., bullfighting) without
          promotion of the acts.
          Coverage or discussion of animal abuse with no footage of the abuse.




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                    A debate on animal abuse lacking details on the abusive act itself.

                    Violence in sports play

                    Violence in combat sports involving weapons (e.g. fencing) regardless of
                    protective gear worn or safety precautions warranted.
                    Non-graphic injuries in sports or graphic injuries as part of sports play where
                    blood is shown.
                    Sports conducted in a professional setting (e.g. in a fitness center) while
                    players wear proper gloves and mouthguards.
                    A fleeting display of injuries that may be graphic (e.g. a broken arm), but are
                    part of regular gameplay.
                    Minor non-graphic injuries (e.g. falling on knees) portrayed in the sports play.

                    Street fights

                    Depiction of fights in an educational context.
                    Self-defense moves that are shared as a tutorial.
                    People fighting without repeated tough physical interaction (e.g. fist fight) as
                    a fleeting subject in a larger context.

                    Law enforcement & physical altercation

                    Non-combative or non-abrasive interactions with law enforcement.
                    Fleeting raw footage of police interaction with civilians for educational
                    purposes without portrayal of explicit abusive physical altercation in
                    descriptions, audio or visual formats.
                    Normal interaction with police (i.e asking for directions or receiving a parking
                    ticket, etc.).
                    Violent, combative, or abrasive interactions with law enforcement in an
                    educational context:
                    Commentary using clips from a news report on a recent violent protest by
                    civilians (e.g. hitting or pushing civilians down against the floor).

                    Definitions:

                    “Mild violence” refers to scuffles in real-life content or fleeting violence like
                    punching.
                    “Dramatized” refers to scripted content such as movies or fictional settings
                    including animated content.

You can turn on     Fleeting graphic law enforcement without educational context; showing dead
ads but only        bodies with obvious injury and/or mutilation in educational or documentary
brands who opt in   (e.g. history learning channel) setting or display of non-gruesome dead bodies
will run ads        without educational intent; edited video gameplay with some clips that focus




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          on graphic violence; moderate violence that shows blood as part of a non-
          educational video; raw footage of armed conflict without injuries.

          Some examples of content that also fall into this category:

          General violence

          Real-life or dramatized violence that results in serious injury where the
          aftermath or impact is visible and present such as blood or gore scenes, bones
          visibly broken.
          A dramatized long-form video content with a short, ultra-graphic violent
          scene (e.g. a mass killing) or a video compilation of such graphic scenes.
          Highly vivid descriptions of tragedies (in the form of audio or video).

          Gaming

          Edited video gameplay with some clips that focus on graphic violence.
          Brutal killings or severe injuries (e.g. beheadings) with bodily fluids and parts
          shown focally in some parts of the video.

          Death & tragedy

          Dead bodies (outside of those prepared for burial) in the context of
          educational or documentary content such as war documentaries.
          A dead body without visible injuries or bodily fluid shown in news reporting.
          Graphic dead bodies (including depictions of mutilation or injuries) displayed
          for educational purposes.

          Street fights

          Street fights featured in the context of educational or documentary purposes.
          Graphic street fights including scenes featuring severe injuries, physical
          attacks, and emotional distress (e.g. yelling).
          When the focal subject is around human fights (e.g. footage of prisoners
          fighting).

          Law enforcement & physical altercation

          Fleeting violent, combative, or abrasive interactions with law enforcement in
          a non-educational or non-documentary context.
          Shocking police altercations displaying rough physical interactions (e.g.
          hitting or pushing civilians down against the floor).

          Violence in sports play




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                   Graphic sports injuries as part of a larger video with context (e.g.
                   compilations involving graphic injuries but not singularly focused on them).

                   Animal violence

                   Animal violence in nature with portrayals of graphic animal injuries.
                   When clearly visible injuries (e.g. blood or bones) are the central subject of a
                   video.

                   Animal abuse

                   Educational or documentary coverage of animal abuse with abuse footage.

                   Hunting

                   Hunting content featuring fleeting graphic imagery such as dead or injured
                   animals (e.g. bloody body parts) portrayed in the content.

                   War & conflict

                   Real, non-graphic raw footage of armed conflict (e.g. war) without
                   educational context, with no bloody scenes or explicit injuries.
                   Raw footage of violent attacks shared without a clear intent.

                   Definition:

                   Fleeting references are not the focus of content (not focal) and include passing
                   references to violence acts or descriptions. For example, briefly displaying a
                   violent act (e.g. graphic adult fighting in a movie) wouldn’t be considered
                   focal, but rather fleeting.

You should turn    Raw footage focused on violent law enforcement; graphic dead bodies in a
off ads for this   non-educational video; edited video gameplay that primarily focuses on
content            graphic violence; domestic violence.

                   Some examples of content that also fall into this category:

                   General violence

                   Focus on blood, guts, gore, bodily fluids (human or animal), crime scene or
                   accident photos with little to no context.
                   Portrayals of gratuitous violence against children, even if dramatized.

                   Gaming

                   Edited video gameplay that primarily focuses on graphic violence.



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                Focus on the display of graphic violence in dramatized settings such as “kill
                compilations” or compilations of graphic violence from video games or
                movies.

                Death & tragedy

                Dead bodies or ultra-graphic injury such as decapitations, amputee operations.

                Animal violence

                Animal violence in any context outside nature.

                Animal abuse

                Cruelty or gratuitous violence toward animals such as abuse (e.g. kicking) or
                human-controlled violence (e.g. forcing to go on a cockfighting).
                Footage of animals in distress induced by human intervention, such as the
                purposeful placement of an animal in harm’s way, in strained positions or
                other dangerous scenarios deemed stressful or unnatural.

                Law enforcement & physical altercation

                Graphic violence in the context of physical altercations, public
                demonstrations, or police brutality.

                Violence in sports play

                Sports videos where the central subject is the display of graphic injuries.

                War & conflict

                Accounts or images of shootings, explosions, executions, or bombings.
                Raw footage of war casualties with graphic depictions of injury or death.


Adult content

Content that features highly sexualized themes is not suitable for advertising, with
limited exceptions for non-graphic sexual education videos and music videos. This
includes both real and computer-generated visuals. Stating your comedic intent is not
sufficient and that content may still not be suitable for advertising.

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Ads guidance     Questionnaire options & details




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You can turn on Romance or kissing; discussions of romantic relationships or sexuality
ads for this content without reference to intercourse; fully-censored nudity that is indiscernible
                     and without intent to arouse the audience; sensual dancing in a professional
                     setting without full or partial nudity; non-graphic sex education, or a music
                     video containing sexual content without nudity.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Romantic scenes that aren’t sexually gratifying such as animated, real-life, or
                    dramatized kiss or cuddling scenes.
                    Scenes involving sexual tension between characters without explicit
                    depictions of sexual acts.
                    A kissing scene in a larger narrative where the focus is the romance itself and
                    is not intended to be sexually gratifying.

                    Discussions of sex in non-sexually gratifying/comedic contexts:
                    Sex education.
                    Sexually transmitted diseases (STDs) and how they are transmitted.
                    Sexual experiences (e.g. dealing with pain after a sexual intercourse) which
                    focus exclusively on how sex works, and do not recount how to improve
                    performance.
                    Sperm donation.
                    Scientific representations of reproductive anatomy using diagrams or
                    dummies.
                    Sexual orientation and/or how sexual identity evolves amid relationships.
                    Fleeting or incidental usage of sexual jokes and innuendos that does not use
                    vulgar terms.
                    Content which refers to fetishes in a non-sexual way (e.g. “what is your
                    favorite food or food fetish?”).

                    Sensual dance moves in a professional setting that are a part of artistic
                    expressions.
                    Dance moves that resemble sexual acts (e.g. chest heaving or hip thrusting)
                    as a part of choreographic dance.
                    Dances typically associated with sensuality (e.g. pole dance) performed in
                    professional settings such as dance studios or street performances.

                    Nudity

                    Censored nudity where nudity isn’t the focus such as scenes where characters
                    may be nude but no nipples, butt or genitalia are visible (e.g. they are
                    pixelated/blurred).
                    Blurred nudity of historical figures wearing limited clothing in educational
                    contexts.




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                    Fully-censored genitalia that are indiscernible and shown for non-sexual
                    purposes (e.g. medical procedure).
                    Depictions of breastfeeding (without nipples being visible).

                    Depictions of people wearing limited clothing where the presentation isn’t
                    intended to be sexually gratifying such as bikinis worn at the swimming pool.
                    Clothing reviews focused on the form and function of the clothing rather than
                    a sustained focus on body parts underneath, such as breasts.
                    Artistic expressions such as sculptures, sketches, or computer-generated
                    graphics involving illustrated nudity, such as characters in classic art or
                    photography of indigenous people in loincloths.
                    Translucent or sheer coverings of female breasts/cleavage, buttocks or male
                    torsos seen in appropriate settings such as fashion show runways, medical
                    exams, or at a recreational beach.
                    Visible partial nudity as part of sports such as boxing where such attire may
                    be required.

                    Definitions:

                    Sexually gratifying: Content likely to or intended to sexually arouse the
                    viewer.
                    Sexual innuendo: Any use of a phrase to jokingly hint at something sexual.
                    Sexually suggestive: Visual, verbal or textual material with sexual
                    undertones, implying sexual intent in order to provoke sexual arousal.
                    Graphicness: How explicitly the sexual act or nudity is portrayed in order to
                    excite the audience.

You can turn on     Discussions of intimate sexual experiences; focus on sexual body parts (even
ads but only        if covered); blurred or censored nudity with discernible body parts, even
brands who opt in   when used in an educational context or news reporting; implied sexual acts;
will run ads        sensual dancing in a professional setting with limited clothing; sex toys
                    without human contact or nudity, or realistic representations of genitalia.

                    Some examples of content that also fall into this category:

                    Sexually gratifying content

                    Titles or thumbnails with sexualized themes (including misleading signals).
                    Descriptions of or implicit references to sexual activities (e.g.implicit
                    reference to sexual body parts using emojis or graphics).
                    Circling out or otherwise calling attention to something in a thumbnail which
                    suggests implied sexual acts.
                    Misleading title where a video promises sexual content, but it doesn't have it
                    (e.g. a cooking video with the title “watch porn”).
                    Computer-generated nudity in a medical context without the intent to gratify
                    viewers.




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           Depictions of non-arousing sexual activities in educational, documentary, or
           dramatized content.
           Sexual activities and their histories explained for educational purposes such
           as with medical topics.

           Implicit sexual act or behavior.
           Certain signs in a video which suggest sexual activity is occurring such as
           with shaking objects, moaning sounds, etc.

           Depictions of sex toys, sexual devices, or other products intended to enhance
           sexual activity even where they aren’t in use.
           Unintentional display of a sexual device in a video that is irrelevant to sexual
           topics (e.g. displayed in the background).
           A medical object which resembles genitalia introduced during a discussion.

           Scenes with sexual tension like gratifying sensual dancing, groping, or
           making out to sexually arouse audiences.
           Short scenes on sexual activities (including implied sex acts) as a part of a
           larger narrative.
           Scenes where the main focus is to showcase sexual tension.
           Professional dance choreography which frequently features sexually
           gratifying poses or moves (e.g. grinding) in limited clothing (e.g. sheer breast
           coverings).

           Discussions of intimate sexual experiences such as masturbation, orgasm,
           intercourse, tips, or other sexual acts. This may also include sexual innuendos
           or sexually explicit text or audio, such as detailed conversations about sex.
           Audio or sound compilations of sexual acts without pictures or visual scenes
           of the act (e.g. ear licking and nibbling sounds).
           Descriptions of sexual activities which intend to sexually arouse audiences.
           Mentions of sexual fetishes even when it’s not descriptive.
           Titles referencing adult content such as 18+, 21+, ‘adult only,’ ‘porn,’ etc.,
           unless it’s educational or documentary in context.
           Usage of emoticons or emojis in text representing sexual body parts or acts to
           gratify viewers.
           Crude jokes that use vulgar terms (e.g. tits, cum).
           Sex-related content, such as documentaries about the sex industry or paid
           subscription adult content platforms.
           Sexual innuendos using non-sexually gratifying objects:
           Objects resembling genitalia such as packing devices or human figurines with
           realistic genitalia.
           The use of daily objects (e.g. eggplant) or emojis intended to resemble
           genitals and sexually arouse audiences.

           Nudity




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                   Educational or documentary content featuring full nudity.
                   History or industry overviews relating to sex or nudity, such as showcasing
                   full body paintings.
                   Pixelated or censored nudity where the sexual body parts are still
                   recognizable.
                   Scenes with naked bodies starred or blurred, but still identifiable from their
                   silhouettes.
                   Non-fleeting depictions of nudity (animated, real-life, or dramatized).
                   Sexualized limited clothing (e.g. bikini, lingerie) worn and shown repeatedly
                   as a central subject.
                   Depictions of sexual body parts such as recurring or focal shots of cleavage
                   or bulges intended to sexually arouse audiences.
                   Compilations of visibly recognizable turgid genital outlines.
                   Minimally-covered (e.g. thong) sexual body parts (e.g. breasts, cleavages,
                   buttocks, etc.,) frequently appearing.
                   How-to videos on breastfeeding with visible nipples.
                   Sensual dancing (e.g. twerking) with minimal clothing in a professional
                   setting.

                   Definitions:

                   “Censored nudity” refers to things like blurring, covering nudity with black
                   bars or pixelation.
                   Implied sexual act: Behavior that mimics sexual intercourse such as dry
                   humping.

You should turn    Exposed breasts or full nudity, sexual acts, discussion of fetishes, or a video
off ads for this   thumbnail with sexual content.
content
                   Some examples of content that also fall into this category:

                   Sexually gratifying content

                   Sexually explicit audio, text, or dialogue:
                   Sex-related entertainment such as porn or other sexual services.
                   Graphic sexual acts or simulations intended to gratify.
                   Depictions or discussions of fetishes (e.g. guides or walkthroughs).
                   Focus on sex scandals or the leaking of private intimate material.
                   Imitating or mimicking sexual activities (e.g. pornographic media).
                   Promotions of sexual acts in exchange for compensation.
                   Sensual dance in a non-professional setting such as at home.
                   Grinding or daggering moves calling for sexual tension.
                   Actual usage of sex toys (or other products intended to enhance sexual
                   activity).




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                  Nudity

                  Mature activity such as full exposure of sexual body parts, sex acts.


Shocking content

Content that may upset, disgust or shock viewers may not be suitable for advertising.
Uncensored shocking elements won’t necessarily result in your video being unsuitable
for advertising, but context matters.

Guide to Self-Certification
Ads guidance        Questionnaire options & details
You can turn on ads Light or moderately shocking content which is censored or shown in
for this content    context for educational, documentary, or other purposes.

                    Some examples of content that also fall into this category:

                    Body parts, liquids, waste

                    Body parts, liquids, or waste that is made for kids or presented in an
                    educational, scientific, documentary, or artistic context, and where intent
                    won’t shock.
                    Dramatized body parts, liquids, or waste where intent is to shock, mostly
                    for entertainment purposes (like a magic trick) but where legitimate context
                    must be given.

                    Medical and Cosmetic Procedures

                    Medical or cosmetic procedures that are educational, focusing on the
                    procedure itself rather than on bodily parts, liquids, or waste.
                    Body parts, liquids, or waste that are censored or fleeting in comparison to
                    the procedure itself.
                    Human and animal birth videos educating viewers without extra focus on
                    body parts, fluids, or waste.

                    Accidents and Injuries

                    Accidents where no exposed injury is visible (such as internal tissue,
                    bleeding wounds).
                    Accidents that do not cause real upset due to only mild or moderate impact
                    being visible.
                    Accidents where no real distress is visible as a result of the accident.
                    Accidents in which there’s no evident injury or long-term medical care
                    necessary.




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Ads guidance    Questionnaire options & details
                Accidents and injuries that are presented in a news, documentary, or artistic
                context (such as a film or music video).

                Animal Preparation and Eating

                Portrayals of meat, fish in a raw or prepared-to-eat manner including
                cooking techniques and demonstrations for recipes (such as How to Filet a
                Fish or BBQ’s).
                Portrayals of animal preparation for eating by professionals focusing on the
                trade and act of cutting animals.
                Educational, documentary, scientific, or artistic portrayal of religious rituals
                involving animal eating where there’s no focus on gruesome or gory
                visuals.
                EDSA portrayal focusing on cultural eating and traditions and not on
                sensationalizing the ingestion of eating animals/insects or mishandling
                thereof.
                Animal parts with no presentations of discernible features of a living being
                (excluding fish and crustaceans).

                Definitions

                "Intent to shock" refers to the purpose of the video, which is determined by
                what context is given as well as the focus of elements.
                "Dramatized" refers to scripted content (like movies or music videos) or
                fictional settings including animated content.
                "Accidents" refers to unfortunate incidents typically resulting in damage or
                injury, including where injury itself may not be clearly visible (such as
                vehicle accidents).
                "Exposed" refers to bodily parts, liquids, or waste (such as tissue or blood).
                "Upset” refers to unsettling or surprised emotion arising as a result of a
                visible or reasonably assumed detrimental impact or injury.
                "Distress" refers to the visible, audible, or perceived presentation of human
                suffering as a result of pain. In this case, it’s related to individuals involved
                in accidents and individuals undertaking or experiencing medical or
                cosmetic procedures (including births).
                "Cultural eating and traditions" refers to the customs and social behavior of
                societies in relation to food type consumption.
                "Sensational" in relation to exposed animal parts or animal/insect eating: to
                present in a manner intended to arouse curiosity or broad interest,
                especially through the inclusion of exaggerated, or vivid details.
                "Mishandling" in relation to how the animal is being prepared or eaten in a
                brutal or savage manner.
                "Professional context" in relation to the profession of being a butcher or
                fishmonger and the contexts where they cut and handle dead animals.




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Ads guidance         Questionnaire options & details
                     "Discernible features of a living being" includes features that confirm that
                     the animal was/is a living being, including features such as nose, ears,
                     mouth.

You can turn on ads Shocking content, like graphic images of human, or animal body parts,
but only brands who which is uncensored or intended to shock.
opt in will run ads
                    Some examples of content that also fall into this category:

                     Body parts, liquids, waste

                     Focus on real body parts, liquids, or waste where intent is to shock.
                     Dramatized presentations of bodily parts, liquids, and waste focusing
                     on gruesome and gory details.

                     Medical and Cosmetic Procedures

                     EDSA medical or cosmetic procedures focusing on exhibiting uncensored
                     bodily, parts, fluids or waste in detail, during or after the procedure.
                     Births that contain a focus on extra bodily parts, fluids, or waste or where
                     there’s strong apparent distress.

                     Accidents and Injuries

                     Accidents where there’s a strong moment of impact such that it’s likely to
                     cause upset.
                     Accidents in which injury is visible or where long-term medical care can be
                     reasonably assumed.
                     Accidents with strong apparent distress as a result of the accident’s impact.
                     Accident compilations.

                     Animal Preparation and Eating

                     Animal preparation or eating that is intended to shock.
                     Focal EDSA mishandling of unskinned or whole animals.
                     Focal discernible features of a living being (such as cooking without
                     context).
                     Sensational presentation or ingestion (such as Sensational Mukbang,
                     ASMR animal eating).

Turn off ads for this Highly shocking content that’s clearly visible or audible, or where the
content               whole purpose of the video is to shock viewers.

                     Some examples of content that also fall into this category:




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Ads guidance        Questionnaire options & details
                    Body parts, liquids, waste

                    Disgusting, gruesome, or gory presentations of bodily parts, fluids, or waste
                    with little to no context.
                    Dramatized shocking elements presented with little context, solely with the
                    intent to shock.

                    Medical and Cosmetic Procedures

                    Raw footage of medical or cosmetic procedures with no context or focusing
                    on exposed body parts, fluids, or waste.
                    Raw footage of birth videos exposing bodily parts, fluids, or waste or
                    distress, with little to no context.

                    Accidents and Injuries

                    Upsetting presentations of accidents and extreme injuries where exposed
                    body parts are visible or where extreme injury can be reasonably assumed.
                    Raw footage of extreme accidents with no context.
                    Footage of children involved in accidents.
                    Compilation accident videos where the sole intent is to repeatedly shock
                    viewers.

                    Animal Preparation and Eating

                    Real animal preparation and eating where the sole intent is to shock
                    viewers, where the presentation is gruesome and gory or has no context.
                    Graphic depictions of skinning or slaughtering animals.
                    Non-EDSA portrayals of a live animal in distress as a result of being
                    prepared to be eaten.
                    Non-EDSA animal eating where there’s a focus on discernible features of a
                    living being.


Harmful or dangerous acts

Content that promotes harmful or dangerous acts that result in serious physical,
emotional, or psychological injury is not suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Stunts or acts that are slightly dangerous, but performed in a professional and
ads for this content controlled environment where no one is seriously injured.




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Ads guidance   Questionnaire options & details
               Some examples of content that also fall into this category:

               General harmful or dangerous acts

               Activities where risk is involved with no visible injuries such as:
               Professional stunts or extreme sports such as wingsuit flying.
               Footage of a person doing wheelies or ground-level parkour.
               Motor vehicles speeding or drifting without doing dangerous tricks (e.g.
               stand up wheelie or free hands) or causing frequent disruptions to others (e.g.
               driving in between lanes).

               Fail compilations

               Fail compilation videos without a focus on graphic injuries (e.g. walking into
               a glass door).

               Pranks & challenges

               Pranks or challenges where there is perplexity, confusion, or discomfort but
               no risk or long-term harm is involved such as the ice bucket challenge.
               Discussions or reports about harmful pranks or challenges with no footage or
               audio of the moment of harm (e.g. reports on a fire challenge without the
               details of the incident).
               Educational, documentary, or news report content showcasing pranks or
               challenges that cause extreme emotional distress (e.g. physical fights, abusive
               language and insults, such as “you’re fired!” pranks).

               Medical misinformation

               Neutral content about viruses, infectious diseases, and COVID-19 without the
               intent of inciting fear (e.g. a video for kids on the difference between viruses
               and bacteria).

               Harmful misinformation

               Educational or documentary content seeking to explain how groups
               promoting harmful misinformation gain traction, rise to prominence, and/or
               spread misinformation.
               Educational or documentary content with a focus on debunking harmful
               misinformation such as Pizzagate, QAnon, StopTheSteal, etc.

               Vaping & tobacco

               Public service announcements for preventative actions.
               Dramatized content with focal depiction of usage.




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Ads guidance      Questionnaire options & details
                  Educational or documentary content showcasing industries involving
                  vaping/tobacco.

                  Alcohol

                  Presence of alcohol or adults drinking alcohol in content without promoting
                  or glorifying irresponsible drinking.

                  Definitions:

                  “Seriously injured” refers to injuries that cannot be treated without proper
                  medical care or cannot be treated at home such as broken bones, visible
                  dislocations, or significant amounts of blood.
                  Body modification may include things like tattoo, piercing, or medical
                  surgery.
                  “Dramatized” refers to scripted content such as movies or fictional settings.

You can turn on Content showing but not focusing on physical harm or distress, including acts
ads but only      done in a non-professional, non-controlled environment.
brands who opt in
will run ads      Some examples of content that also fall into this category:

                  General harmful or dangerous acts

                  Acts involving high risk activities such as skyscraper parkour or depicting
                  serious injury like skate slam aftermath.
                  Educational, documentary, or news report on:
                  Harmful or dangerous acts with graphic injury.
                  Children involved in gambling or driving motor vehicles designed for use by
                  adults.
                  Motor vehicles speeding or drifting and doing dangerous tricks (e.g. stand up
                  wheelie or free hands) or causing frequent disruptions to others (e.g. driving
                  in between lanes).

                  Fail compilations

                  Focal depictions of moments with graphic injuries that do not lead to death or
                  terminal conditions (e.g. video compilation of road bike crashes).

                  Pranks & challenges

                  Educational, documentary, or news reports on prank or challenge content
                  with:
                  Threats or advocacy for physical or psychological harm against oneself or
                  others such as laying flat between train tracks.




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Ads guidance       Questionnaire options & details
                   Acts that should not be imitated such as a challenge to drink bleach and may
                   result in immediate and critical harm to one’s health.
                   Pranks or challenges that create extreme emotional distress such as physical
                   altercations, abusive language and insults. These can also include threatening
                   an individual’s life status such as layoff pranks or by emotionally evoking or
                   threatening someone in the context of a relationship (e.g. break up pranks
                   where one person becomes emotionally volatile, or arrest pranks against
                   relatives, etc.).
                   Pranks involving gratuitous amounts of body fluids or graphic violence.
                   Challenges that include eating non-toxic, non-edible substances such as
                   ingesting a glue stick or pet food. Eating edible substances that are harmful in
                   large volumes such as the Carolina Reaper pepper, or ones that depict a mild
                   physical reaction.

                   Vaping & tobacco

                   Product reviews of or comparison between tobacco products (e.g. vaping
                   juice comparison).
                   Educational or documentary mention of addiction services.

                   Alcohol

                   Educational, documentary, or dramatized content featuring minors
                   consuming alcohol or alcohol-focused products.

                   Definitions:

                   “Mild physical reaction” refers to things like dry heaving, vomit-inducing
                   cough.

You should turn    Focus on accidents, pranks, or stunts that have health risks, like drinking or
off ads for this   eating non-edibles; or discussions of trending videos that show this type of
content            content.

                   Some examples of content that also fall into this category:

                   General harmful or dangerous acts

                   Glorification of harmful or dangerous acts or acts perceived to be dangerous.
                   Motor vehicles with shocking scenes and injuries (e.g. of the moment of
                   impact or showing someone in an unconscious state on a road after getting hit
                   by a truck).
                   Children involved in gambling or driving motor vehicles designed for use by
                   adults.




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Ads guidance   Questionnaire options & details
               Fail compilations

               Fail compilations that include activities resulting in death or grievous damage
               (irreversible or puts the person into coma, seizure, paralysis, etc.).

               Pranks & challenges

               Pranks or challenges that should not be imitated such as a challenge to drink
               chlorine and may result in immediate and critical harm to one’s health.
               Pranks or challenges relating to:
               Suicide, death, terrorism such as fake bomb scare pranks, or threats with
               lethal weapons.
               Sexually unwanted acts such as forced kissing, groping, sexual abuse, spy
               cams in dress room.
               Physical harm or distress but where such distress is not the focus of the video.
               Prolonged emotional distress of a minor such as a prank that lasts for an
               extended period of time leading to a child being scared or upset. This could
               include pranking children into believing their parents are dead.
               Threats or advocating for physical or psychological harm against oneself or
               others such as laying flat between train tracks.
               COVID-19, that promote dangerous activities such as purposeful exposure to
               the virus or which incite panic (e.g. an anti-quarantine movement or
               pretending to have been tested positive while in a public space).
               Promoting the use of weapons to inflict harm on others.
               Showing the consumption of substances in such quantities that it results in a
               graphically shocking physical reaction such as vomiting after eating a ghost
               pepper.
               Challenges which, if replicated, could result in serious harm such as fire
               challenge or bird box challenge.
               Encouragement of fraudulent or illicit activities (e.g. breaking and entering).

               Medical misinformation

               Promoting or advocating for harmful health or medical claims or practices:
               Videos that advocate for or provide instructions on non-scientifically proven
               medical info such as how to heal cancer at home.
               Untrue statements about the cause, origin or spread of COVID-19.
               Spreading myths against what is accepted as normal and regular medical
               protocol such as anti-vaccination.
               Denying that certain medical conditions exist such as HIV, COVID-19.
               Content which discourages taking a COVID-19 vaccine that includes false or
               misleading claims about the effects or distribution of the vaccine
               Examples: content claiming the vaccine will cause infertility, contain a
               microchip, or be used to euthanize parts of a population.




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Ads guidance       Questionnaire options & details
                   Content which promotes, condones, or otherwise advocates for gay
                   conversion therapy programs or services.

                   Harmful misinformation

                   Promoting harmful misinformation (e.g. Pizzagate, QAnon, StopTheSteal).
                   Advocating for groups which promote harmful misinformation.

                   Vaping & tobacco

                   Promoting tobacco and tobacco-related products and their consumption.
                   Footage of minors consuming vaping/tobacco products.
                   Facilitating the sale of vaping/tobacco products.
                   Usage of vaping/tobacco products in a manner not intended by the
                   manufacturer (e.g. drinking vape juice).

                   Alcohol

                   Portrayal of minors consuming alcohol, even if it’s not the central subject of
                   the video.
                   Promoting alcohol consumption to minors.


Hateful & derogatory content

Content that incites hatred against, promotes discrimination, disparages, or humiliates
an individual or group of people is not suitable for advertising. Content that is satire or
comedy may be exempt. Stating your comedic intent is not sufficient and that content
may still not be suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Content referencing protected groups or criticizing an individual's opinions or
ads for this content actions in a non-hurtful manner.

                   Some examples of content that also fall into this category:

                   News content which describes a protected group or reports in a non-hateful
                   way on discrimination such a group may face such as a news report on
                   homophobia.
                   Comedic content that condemns or alludes to ridicule, humiliation, or other
                   disparaging comments towards protected groups.
                   Public debates on protected groups without inciting hatred and violent
                   confrontation against them.




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Ads guidance      Questionnaire options & details
                  Artistic content that uses sensitive terminology in a non-hateful way such as
                  popular music videos.
                  Educational or documentary content:
                  Censored racial slurs or derogatory terms with the intent to educate the
                  audience (e.g. n***er).
                  Containing focal hate imagery.
                  Criticizing an individual’s or group’s opinion, views, actions without any
                  incendiary or demeaning intent.

                  Definitions:

                  Protected group is defined based on the characteristics below. Inciting hatred
                  against, promoting discrimination, disparaging, or humiliating an individual
                  or group of people based on below characteristics are not advertiser friendly
                  practices:

                  Race
                  Ethnicity or ethnic origin
                  Nationality
                  Religion
                  Disability
                  Age
                  Veteran status
                  Sexual orientation
                  Gender identity
                  Any other characteristic associated with systemic discrimination or
                  marginalization.

You can turn on Content that may be offensive to individuals or groups, but is used for
ads but only      education, news, or in a documentary.
brands who opt in
will run ads      Some examples of content that also fall into this category:

                  Political discourse or debate that may include offensive language but is
                  intended to educate such as a political debate on trans rights.
                  Educational content:
                  Uncensored racial slurs or derogatory terms with the intent to educate the
                  audience (e.g. uncensored or fully spelled out usage of the n-word).
                  Containing raw footage of someone conducting the following acts without
                  explicitly promoting or glorifying the acts:
                  Focuses on shaming or insulting an individual or group.
                  Singles out someone for abuse or harassment.
                  Denies tragic events happened and are cover-ups.
                  Malicious personal attacks and defamation.




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Ads guidance       Questionnaire options & details
You should turn    Hate or harassment towards individuals or groups.
off ads for this
content            Some examples of content that also fall into this category:

                   Statements intended to disparage a protected group or imply/state its
                   inferiority such as “all people from this country are disgusting”.
                   Promoting, glorifying, or condoning violence against others.
                   Promoting hate groups or hate group paraphernalia.
                   Content that shames or insults an individual or group.
                   Content that singles out an individual or group for abuse or harassment.
                   Denies tragic events happened, frames victims/survivors as crisis actors.
                   Malicious personal attacks, slander, and defamation.


Recreational drugs and drug-related content

Content that promotes or features the sale, use, or abuse of illegal drugs, regulated legal
drugs or substances, or other dangerous products is not suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Education, music, statements, or humorous references about drugs or drug
ads for this content paraphernalia that do not glorify them; drugs in a music video.

                   Some examples of content that also fall into this category:

                   Discussing drugs or drug paraphernalia within the context of science, such as
                   the scientific effects of drug use.
                   Discussing drugs where the intent is not to promote or glorify drug usage,
                   such as a personal story about the opioid crisis.
                   Focus on drug busts or the drug trade within the context of news content but
                   with no visible consumption or distribution.
                   Music videos with fleeting depiction of drugs.
                   Focus on the purchase, fabrication, or distribution of drugs, such as the
                   fabrication of home-made opioids, news reports about cannabis farms.

You can turn on Content focusing on the display or effects of drug consumption; or the
ads but only      creation or distribution of drugs or drug paraphernalia in a comedic, non-
brands who opt in educational, or non-documentary context.
will run ads
                  Some examples of content that also fall into this category:

                   Dramatized content showing the consumption of recreational drugs.
                   Music videos with focal depiction of drugs.




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Ads guidance       Questionnaire options & details
                   Consumption of drugs in a news report without their glorification or
                   promotion.

You should turn    Content showing or discussing abuse, buying, making, selling, or finding of
off ads for this   drugs or drug paraphernalia in a graphic and detailed way.
content
                   Some examples of content that also fall into this category:

                   Promotion or glorification of recreational drugs.
                   Tips or recommendations on drug use.
                   Focus on the recreational drug industry such as cannabis coffee shops, head
                   shops, or cannabis farming.
                   Providing how-to guides on usage (including consumption and effects),
                   purchase, fabrication, and/or distribution of drugs such as how to find a
                   dealer or best places to get high.


Firearms-related content

Content focused on the sale, assembly, abuse, or misuse of real or fake firearms is not
suitable for advertising.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Hunting-related content or guns shown in a safe environment like a shooting
ads for this content range.

                   Some examples of content that also fall into this category:

                   Footage of shooting in the course of a hunting trip in an unpopulated location
                   such as a forest.
                   Discussions on gun legislation or the issue of gun-control.

                   Definitions:

                   A “safe environment” refers to locations like shooting ranges or enclosed
                   areas that are purpose built for target practice.

You can turn on Use of guns outside a controlled environment; display of homemade, 3D-
ads but only      printed, or previously modified guns; use of airsoft or ball bullet (BB) guns
brands who opt in against others without protective gear.
will run ads
                  Some examples of content that also fall into this category:




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Ads guidance       Questionnaire options & details
                   Showing guns being used in unprepared or uncontrolled environments (e.g.
                   on a public street outside a home, inside a building that’s not a shooting
                   range).

You should turn    Content that shows gun creation or modification (including assembly or
off ads for this   disassembly), promotes gun makers or sellers, or facilitates the sale of a gun,
content            minors using guns without adult supervision.

                   Some examples of content that also fall into this category:

                   Guides as to how to add bump stocks to a firearm.
                   Recommendations of top gun manufacturers or firms from which to purchase
                   firearms (e.g. “15 best gun shops”).
                   Referring users directly to a site facilitating gun sales.
                   Promotions of the sale of a firearm or component, including but not limited
                   to:
                   Sale of a firearm-related part or component that is essential to, or enhances
                   the functionality of a firearm including:
                   80% finished gun-parts
                   Ammunition
                   Ammunition clips
                   Silencers
                   Ammunition belts
                   Stocks
                   Conversion kits
                   Gun-grips
                   Scopes
                   Sights
                   Videos which promote content for gun stores.
                   Videos which promote manufacturers or discount codes for gun stores.
                   Videos containing firearm-making instructions (e.g. replicable gun
                   assembly/disassembly or steps on gun modifications), guides, or software, or
                   equipment for 3D printing of guns or gun parts.


Controversial issues

‘Controversial issues' refers to topics that may be unsettling for our users and are often
the result of human tragedy. This policy applies even if the content is purely
commentary or contains no graphic imagery.



Guide to Self-Certification



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Ads guidance         Questionnaire options & details
You can turn on Content discussing preventing controversial issues. Content where the
ads for this content controversial issues are mentioned fleetingly in a video and are neither
                     graphic nor descriptive.

                    Title & Thumbnail:

                    References to controversial issues that are non-graphic (e.g. text or image of
                    a razor).

                    Some examples of content that also fall into this category:

                    Objective coverage from a news source (can be the main topic and
                    descriptive, but cannot contain graphic depictions).
                    Content that covers historical or legislative facts related to abortion.
                    Content for minors that raises awareness on eating disorders.
                    Content that covers topics such as domestic abuse, self-harm, or sexual
                    harassment as a main topic without detailed descriptions or graphic
                    depictions (e.g. a research piece on sexual abuse survivors and their lives, but
                    the details on the brutality are not included).

                    Definitions:

                    Fleeting references are not the focus of content (not focal) and include
                    passing references to topics listed as controversial or sensitive. For example,
                    briefly acknowledging a controversial or sensitive topic (e.g. “In next week’s
                    video we’ll be discussing declining rates of suicide.”) wouldn’t be considered
                    focal, but rather fleeting.

You can turn on Content about controversial issues that are not visually disturbing yet may
ads but only      contain descriptive language. Content that is dramatized/artistic, educational,
brands who opt in documentary, or containing scientific presentations of these issues.
will run ads
                  Title & thumbnail:

                    Graphic depictions of controversial issues in the thumbnail (including both
                    real and dramatized/artistic depictions).

                    Some examples of content that also fall into this category:

                    Content that covers topics such as child or sexual abuse as a main topic
                    without detailed descriptions or graphic depictions.
                    Personal accounts or opinion pieces related to abortion as a main topic
                    without graphic depiction.




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Ads guidance       Questionnaire options & details
                   Dramatized or artistic depictions of controversial issues that are not highly
                   graphic (e.g. someone jumping off of a bridge in a movie, but the dead
                   graphic body isn’t being shown).

You should turn    Content which focuses on graphic depictions or detailed descriptions of
off ads for this   controversial issues. Content is either graphic or highly descriptive with
content            controversial issues being the central topic of the content.

                   Some examples of content that also fall into this category:

                   First person account with shocking details on topics (e.g. a biography or
                   detailed interview on survivors and their pasts), such as:
                   Child abuse
                   Pedophilia
                   Sexual abuse
                   Sexual harassment
                   Self-harm
                   Suicide
                   Eating disorder
                   Domestic abuse
                   Promotion or glorification of controversial issues in the content, title, or
                   thumbnail (e.g. “how to kill yourself and die honorably”).
                   Graphic depiction of self-harm where scars, blood, or injury are visible.
                   Explicit audio of the act taking place.

                   Definitions:

                   Focus or focal means that a segment or full video is about a given topic.
                   It also means that there is a sustained discussion. A passing reference to one
                   of the topics listed as controversial or sensitive is not a reason for No Ads.
                   For example, briefly acknowledging a controversial or sensitive topic (e.g.
                   “In next week’s video we’ll be discussing declining rates of suicide.”)
                   wouldn’t be considered focal, but a segment of a video specifically talking
                   about such a topic would be considered focal. Focus need not be verbal. If
                   there is an image or text that focuses on the sensitive issue, that would be
                   considered focus too.


Sensitive events

A sensitive event is usually an unforeseen event in which there has been a loss of life,
typically as a result of a pre-planned malicious attack by foreign terrorist organizations
(FTO) or drug trade organizations (DTO). Sensitive events can cause a mournful
response from the public or, at times, an extreme or visceral reaction. An event must be
relatively recent if it’s going to be considered a sensitive event. Context is important: for



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instance, authoritative news reporting or documentary videos about a historic event
may be eligible for monetization.

This policy applies even if the content is purely commentary or contains no graphic
imagery.

Guide to Self-Certification
Ads guidance         Questionnaire options & details
You can turn on Fleeting mention of sensitive events; academic/documentary content on
ads for this content historic acts of terror prior to 9/11; educational content on terrorism or
                     terrorist groups absent of graphic imagery or footage of actual terrorist
                     attacks.

                    Some examples of content that also fall into this category:

                    Fleeting references to terrorist acts, armed conflict, or tragic events that result
                    in the loss of human lives.
                    Foreign terrorist organizations (FTO):
                    Educational, documentary or dramatized content on these groups as a general
                    subject without footage of terrorist attacks.
                    Comedic videos with fleeting references to FTOs or terrorism.
                    Drug trade organizations (DTO), such as drug cartels:
                    Educational or documentary videos focusing on the international drug trade
                    as a whole (and not a specific DTO).
                    Dramatized content (e.g. movies) portraying FTO/DTOs or their members.
                    Comedic content covering DTOs or the international drug trade as a subject.

                    Definitions:

                    Fleeting references are not the focus of content (not focal) and include are the
                    opposite of focus. A passing reference to one of the topics listed as
                    controversial or sensitive falls under this definition. For example, briefly
                    acknowledging a controversial or sensitive topic (e.g. “In next week’s video
                    we’ll be discussing declining cases of terrorist attacks.”) wouldn’t be
                    considered focal, but rather fleeting.

You can turn on Educational or documentary content or public service announcements on
ads but only      drug trade organizations (DTO).
brands who opt in
will run ads      Some examples of content that also fall into this category:

                    Drug trade organizations (DTO), such as drug cartels:
                    Education or documentary content focused primarily on specific DTOs or
                    DTO leaders.
                    May include non-graphic situations of attacks or and their aftermath, hostage
                    situations, etc.



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Ads guidance       Questionnaire options & details
                   Public service announcements on the related groups.

You should turn    Discussions of terrorist attacks; events resulting in the catastrophic loss of
off ads for this   human life; non-educational discussions of foreign terrorist organizations or
content            drug trade organizations; content on these groups featuring graphic imagery
                   in any context, or including the names of these organizations in the title of the
                   video.

                   Some examples of content that also fall into this category:

                   Focus on sensitive events such as:
                   Atrocious acts or tragic events that result in the loss of human lives, such as
                   mass shootings conducted by foreign terrorist groups or drug trade
                   organizations.
                   Armed conflict (raw footage)
                   Terrorist acts (e.g. 9/11)
                   Footage or images from the scene/aftermath of a sensitive event.
                   Foreign terrorist organizations (FTOs):
                   Non-educational or non-documentary videos focusing on FTOs or the subject
                   of terrorism, such as:
                   Discussions of a recent terrorist attack.
                   Relevant imagery or names of the group/leader anywhere in the content (e.g.
                   in the thumbnail).
                   Content featuring shocking, graphic, and/or violent imagery, or scenes of
                   incitement to or glorification of violence.
                   Content made by or in support of terrorist groups.
                   Content that celebrates or denies terrorist attacks.
                   Drug trade organizations (DTO), such as drug cartels:
                   Non-educational or non-documentary videos primarily focused on DTOs or
                   the international drug trade.
                   Non-educational or non-documentary depictions of DTO-related imagery
                   such as flags, slogans, banners, etc.
                   Recruitment of group members.
                   Glorification or promotion of the group (e.g. artistic expression, including
                   music, implying justification for the violent acts).

                   Definitions:

                   An event must be relatively recent if it’s going to be considered a sensitive
                   event, such as the New Zealand Mosque Shooting.
                   Focus or focal means that a segment or full video is about a given topic.
                   It also means that there is a sustained discussion. A passing reference to one
                   of the topics listed as controversial or sensitive is not a reason for No Ads.
                   For example, briefly acknowledging a controversial or sensitive topic (e.g.
                   “In next week’s video we’ll be discussing declining rates of suicide.”)




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Ads guidance        Questionnaire options & details
                    wouldn’t be considered focal, but a segment of a video specifically talking
                    about such a topic would be considered focal. Focus need not be verbal. If
                    there is an image or text that focuses on the sensitive issue, that would be
                    considered focus too.


Incendiary and demeaning

Content that is gratuitously incendiary, inflammatory, or demeaning may not be suitable
for advertising. This policy falls under Hateful & derogatory in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                   The link ed
                                                            image cannot
                                                                                The link ed
                                                                                image cannot
                                                            be displayed.       be display ed.
                                                            The file may        The file may




Category                               Limited or no ads    hav e been
                                                            moved,
                                                            renamed, or
                                                            deleted. Verify …
                                                                                have been
                                                                                mov ed,
                                                                                renamed, or
                                                                                deleted. Verify …




Content that is incendiary and         Content that focuses on shaming or insulting an individual
demeaning                              or group

Content that harasses, intimidates, or Content that singles out someone for abuse or harassment
bullies an individual or group of      Content that suggests a tragic event did not happen, or
individuals                            that victims or their families are actors, or complicit in a
                                       cover-up of the event
                                       Malicious personal attacks, slander, and defamation


Tobacco-related content

Content that promotes tobacco and tobacco-related products is not suitable for
advertising. This policy falls under Harmful or dangerous acts in the self-certification
questionnaire in YouTube Studio, so be sure to check that one as well for detailed
guidance.

Examples (non-exhaustive)                                   The link ed
                                                            image cannot
                                                            be displayed.
                                                                                The link ed
                                                                                image cannot
                                                                                be display ed.
                                                            The file may        The file may




Category                               Limited or no ads
                                                            hav e been          have been
                                                            moved,              mov ed,
                                                            renamed, or         renamed, or
                                                            deleted. Verify …   deleted. Verify …




Promoting tobacco                      Cigarettes, cigars, chewing tobacco

Promoting tobacco-related products     Tobacco pipes, rolling papers, vape pens

Promoting products designed to         Herbal cigarettes, e-cigarettes, vaping
simulate tobacco smoking

Adult themes in family content




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    Content that appears to be appropriate for a general audience but contains adult
    themes is not suitable for advertising. This guideline applies even if content is done for
    comedic or satirical purposes. This policy falls under Adult content in the self-
    certification questionnaire in YouTube Studio, so be sure to check that one as well for
    detailed guidance.

    Examples (non-exhaustive)                                The link ed
                                                             image cannot
                                                                                 The link ed
                                                                                 image cannot
                                                             be displayed.       be display ed.
                                                             The file may        The file may




    Category                            Limited or no ads    hav e been
                                                             moved,
                                                             renamed, or
                                                             deleted. Verify …
                                                                                 have been
                                                                                 mov ed,
                                                                                 renamed, or
                                                                                 deleted. Verify …




    Adult themes in family content      Content that is made to appear appropriate for a general
                                        audience, but contains adult themes, including:

                                        Sex
                                        Violence
                                        Vulgarity
                                        Other depictions of children or popular children’s
                                        characters, that are unsuitable for a general audience.




    All videos uploaded to YouTube must comply with YouTube’s Terms of Service and
    Community Guidelines. To be able to monetize with ads, you’ll need to follow the
    YouTube monetization policies and Google AdSense Program policies.

    We may reserve the right to disable ads on your entire channel in situations where the
    majority of your content is not suitable for any advertisers or where there are repeated,
    serious violations (e.g. uploading of content which is incendiary, demeaning or hateful).

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    YouTube Partner Program Basics
   YouTube channel monetization policies
   Advertiser-friendly content guidelines
   Upcoming and recent ad guideline updates



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   Learn more about how YouTube works for you
   Updated Terms of Service FAQs
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Creator Academy

    Learn what advertiser-friendly content looks like with the Creator Academy.

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

              English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български



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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium



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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    YouTube Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
                                                                                             Next
    Help CenterCommunity


    Monetization during Content ID disputes
    Videos can earn money during a Content ID dispute if both the video creator and the
    Content ID claimant want to monetize the video. You can dispute a Content ID claim at
    any time. If you dispute a claim within 5 days, we’ll hold any revenue from the video,
    starting with the first day the claim was placed. If you dispute a Content ID claim after 5
    days from the original claim date, we'll start holding revenue the date the dispute is
    made.

    Throughout the dispute process, we'll hold the revenue separately and, once the dispute
    is resolved, we'll pay it out to the appropriate party.

    At each stage of the Content ID dispute process, there are several actions that can be
    done by you or the claimant. Click each stage below to learn more about what happens
    to the revenue with each possible action.

    Filing a Content ID dispute

    After a Content ID claim is made on your video, you have two options to respond.

   Do nothing, allow the claim to exist on your video: After 5 days any held revenue will be
    released to the claimant.
   File a dispute within the first 5 days of the claim: Ads will continue to run. We’ll also hold
    all revenue the video earns while the claimant reviews your dispute.
   File a dispute after the first 5 days after a claim is made: We'll hold revenue from the
    date the dispute is made.

    More info about the Content ID dispute process




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    When you dispute a Content ID claim, the claimant will be notified and they'll have 30
    days to respond. During this process, we'll continue to run ads and hold all revenue that
    the video earns.

    There are a few things that the claimant can do in response to your dispute:

   Release the claim: If they agree with your dispute, they can choose to release their
    claim. As long as there are no other claims on your video, we'll release the revenue
    earned during the dispute to you.
   Uphold the claim: If they believe their claim is still valid, they can choose to uphold it. If
    you feel it was mistakenly upheld, you may be able to appeal their decision.
   Submit a copyright takedown request: They can submit a copyright takedown request to
    remove your video from YouTube, which means you’ll get a copyright strike on your
    account.

    Filing a Content ID appeal

    You have a couple options if the claimant chooses to uphold their claim after you
    dispute. You can either:

   Do nothing, allow the claim to exist on your video: After 5 days any held revenue will be
    released to the claimant.
   File an appeal within the first 5 days of the claim being upheld: Ads will continue to run.
    We’ll also hold all revenue the video earns while the claimant reviews your appeal.
   File an appeal after the first 5 days after the claim is upheld: We'll hold revenue from the
    date the appeal is made.

    More info about the Content ID appeal process
    When you appeal a Content ID claim, the claimant will be notified and they'll have 30
    days to respond. During this process, we'll continue to run ads and hold all revenue that
    the video earns.
    There are a few things that the claimant can do in response to your appeal:

   Release the claim: If they agree with your appeal, they can choose to release their claim.
    As long as there are no other claims on your video, we'll release the revenue earned
    during the dispute to you.
   Schedule a takedown request for your video: If the claimant issues a delayed copyright
    takedown request, you can cancel your appeal within 7 days. This will prevent the
    takedown and keep the claim active on your video. During these 7 days, we'll continue to
    run ads and hold all revenue that the video earns.
   Submit a copyright takedown request: If they believe their claim is still valid, they can
    submit a copyright takedown request to remove your video from YouTube. This action
    will result in a copyright strike on your account.




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    If the claimant rejects your appeal and submits a copyright takedown of your video, you
    can file a counter notification. Counter notifications can also be filed at any time.

    If you file a counter notification within 5 days of getting a takedown, revenue will
    continue to be held until the full claim process is resolved. Learn more about the
    counter notification process.

    Revenue from disputes in YouTube Analytics
    If there is an active Content ID claim on your video, and you dispute or appeal it, revenue
    data for the video won’t show in YouTube Analytics. If the claim is released, revenue
    data for the dispute time period will be later added to YouTube Analytics. This data
    should appear between the 10th and 20th of the following month.

    For instance, let’s say you disputed a Content ID claim on July 12 and the dispute was
    resolved in your favor on August 6. You would see revenue data for July 12 to August 6
    appear in Analytics between September 10 and September 20.

    If you have access to Downloadable Reports in Content Manager, you'll find this info in
    your Adjustment Report.

    You can choose not to monetize your video while it is in dispute, by turning
    off monetization from the Videos page of YouTube Studio.

    Get more help with Content ID
   What is a Content ID claim?
   Who claimed my video?
   How Content ID works

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Copyright claim basics
   What is a Content ID claim?




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   Copyright strike basics
   Dispute a Content ID claim
   Submit a copyright counter notification
   Monetization during Content ID disputes
   What is a manual claim?
   Requirements for counter notifications
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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   YouTube




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    YouTube Operations Guide

    View your downloadable reports
    Performance reports
    Videos report

    The Videos report shows data on the videos in a partner's Content Manager.

   Available 3 times per week
   Data includes, but is not limited to: video status, ad enablement, number of views, asset
    ID, policies, etc.
   Doesn't show revenue-related performance data
   If a video is claimed by multiple assets, there will be multiple asset IDs in the Asset ID
    column, but only one set of asset metadata.

    Assets full report

    The full Assets report shows data on the assets in a partner's Content Manager.

   Available on a weekly basis
   Data includes, but is not limited to: ownership territories, asset type, constituent Asset
    ID, active/inactive references, match policy, etc.
   This document is useful for partners who want to:
   Check a set of assets to confirm the ownership info is correct
   Map out constituent asset IDs to synthesized asset IDs
   View all assets with a particular match policy




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    Asset conflicts report

    The Asset conflicts report is available to partners with assets in conflict.

   Available on a daily basis
   Compared to other asset reports, the Asset conflicts report shows any ownership
    territories that are in conflict and the last ownership change info.

    Assets (shares) report

    The Assets (shares) report shows data on a partner's Sound Recording Shares and
    associated metadata.

   Available on a daily basis for partners with shares, such as music label and publishing
    partners
   Shows data on individual shares, including share metadata, and the share’s parent asset

    Claims report

    The Claims report shows data on active, inactive, and pending claims on assets in a
    partner's Content Manager. It includes claims on private, unlisted, and blocked videos.

   Available on a daily basis
   Shows data on all claims belonging to an asset and the relevant policy info
   Data includes, but is not limited to: applied policy, claim type, origin, etc.

    Learn more about the Claims report.

    References report

    The References report shows data on all references created by a partner.

   Available on a weekly basis
   Shows a mapping of reference video IDs to asset and reference IDs
   Also contains info about reference provider, exclusions, type, creation date, number of
    active claims, and the associated asset.
   Note: Not every reference will have a reference video ID. The reference video ID is only
    available if the reference is associated to a video uploaded to a channel.

    Campaigns report
    The Campaigns report shows data on the custom manual campaigns a partner has
    created, including which assets or asset labels are applied to each campaign.

   Available on a weekly basis.




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   Shows relevant campaign performance data, such as how much user-generated content
    (UGC) was claimed and how many clicks there were on campaign cards.
   Only includes data on custom manual campaigns. It doesn't show data on default
    campaigns or transactional campaigns.

    Learn more about the Campaigns report.

    Financial reports
    Payment summary report
    The Payment Summary report includes your total revenue, broken down by revenue type
    (such as ads, subscription, transactional). It also includes adjustments. Total revenue is
    reported in both USD and your payment currency.

    Ads revenue report
    The Ads Revenue report contains revenue and views related to advertising-supported
    videos.

    For TV and Movie partners, the full description of the Ads Revenue report can be
    found here.

    Subscription revenue report
    The Subscription Revenue report includes revenue from YouTube Music, Google Play
    Music, and YouTube Premium.

    Transactions revenue report
    The Transactions Revenue report contains revenue from movie rentals (EST) and video
    rentals (VOD).

    The Transactions Revenue report is available only to Movie and TV partners.

    Audio tier revenue report
    The Audio Tier Revenue report contains YouTube Music revenue from users who are:

   Not YouTube Music members
   Using a radio-like experience that isn’t on-demand
   On screenless devices using the Google Assistant (for instance, Google Home)

    Paid features report


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    The Paid Features report includes revenue from:

   Super Chat purchases (SCT)
   Memberships (SPT)
   Super Stickers (SST)
   FameBit (FMT)

    Ads adjustments revenue report
    The Ad Adjustments Revenue report summarizes ads revenue adjustments. This can
    include revenue from monetization in dispute and revenue from asset conflict
    resolution.

    This report is only published when adjustments are made for a given month.

    Subscriptions adjustments revenue report
    The Subscriptions adjustments revenue report summarizes subscriptions revenue
    adjustments.

    This report is only published when adjustments are made for a given month.

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   Using Content ID
   Set up your Content Manager
   Find your way around Studio Content Manager
   Rights Management
o   Overview of YouTube rights management




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o   Create an asset
o   Best practices for assets
o   View your claims
o   Find and manage claimed videos
o   What are policies?
o   How policies are applied
o   Resolve Content ID Issues
o   Exempt channels from Content ID claims
o   Best practices for references
o   Create a campaign
   Choose an upload method
   Reporting
o   Check your YouTube Analytics data
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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Who claimed my video?
   Want to learn more about the copyright owner who claimed material in your video
   through Content ID? You can find info about them in YouTube Studio.

   Where to look

1. Sign in to YouTube Studio.
2. From the left menu, select Content.
3. In the Restrictions column, if a video has a claim on it, it will be labeled Copyright claim.
                                                  The linked          The link ed
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 To view only videos with claims, click Filter      Copyright claims.
                                                  be display ed.      be display ed.
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                                                  renamed, or         renamed, or
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4. Find the video you want and hover over Copyright claim SEE DETAILS.
                                                                                          be displayed.
                                                                                          The file may
                                                                                          have been
                                                                                          moved,
                                                                                          renamed, or
                                                                                          deleted. Verify …




5. Look under the Copyright owners section to find out who claimed the video.
 Under the Content found during section, you can click the timestamp to play the
   segment claimed by Content ID.
 If more than one copyrighted work was found in your video, there may be multiple
   timestamps.

   Who is the copyright owner?

   The copyright owner who claimed content in your video may be a television network,
   movie studio, website, recording artist, record label, or other third party who owns or is
   authorized to manage the rights to the content.

   While you might not recognize the owner, it doesn’t necessarily mean their claim is
   invalid.




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    Sometimes, you’ll get claims from several different copyright owners for different
    pieces of content you used in your video. You could also get several claims for the
    same piece of content from companies that own rights in different countries/regions.

    If "one or more music publishing rights collecting societies" has claimed your video, you
    may want to learn more about collective rights management.

    YouTube didn’t claim your video and can’t mediate your copyright dispute with the
    company that did. If you believe that a Content ID claim on your video was made in
    error, you can dispute it.

    Related topics

   How Content ID works
   What is a Content ID claim?
   Dispute a Content ID claim

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   What is a manual claim?
   Requirements for counter notifications
   The difference between copyright takedowns and Content ID claims

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o   Fix a problem



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o   Manage your account & settings



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o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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Music in this video
When you’re watching a video that contains music, there may be a section in the video’s
description called “Music in this video.” This section shows info about the music heard
in the video, like song and artist names.

YouTube automatically adds this info to some videos when they’re claimed by one of
YouTube’s copyright management tools, like Content ID.

“Music in this video” may show links to music videos or other official content so you
can discover songs and artists you haven’t heard before.

FAQs
What does “Licensed to YouTube by” mean?
The names next to “Licensed to YouTube by” are the copyright owners who have agreed
with YouTube to allow identified music to be used in videos. With this license
agreement, they also share the revenue those videos earn on YouTube.

For example, if there’s an ad on a video with music, the copyright owners listed next
to“Licensed to YouTube by” get a share of the revenue generated by that ad, in
accordance with YouTube’s Terms of Service.

Sometimes there can be many copyright owners sharing the revenue for a single song.
You might notice music labels and publishers you recognize or some “music rights
societies” and "collecting societies." These organizations collect royalties on behalf of
copyright owners, who are members of the organizations. YouTube has license




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    agreements with these organizations and shares revenue with them for videos they
    claim. Learn more.

    Why is some info missing from “Music in this video?”
    Info in the “Music in this video” section only appears when there’s accurate, high quality
    data available. We’re continually working with our music industry partners to add more
    data and improve the quality and accuracy of the info we have.

    For videos that contain many songs, info about the first ten songs will appear under
    “Music in this video.”

    What if I hear my song in a video, but don’t see “Music in
    this video” info?
    “Music in this video” may not appear for a few reasons:

   YouTube doesn’t have sufficient data from the copyright owner.
   Your music hasn’t been identified yet.
   The video was recently claimed and the info hasn’t populated yet.

    Working with a record label, music publisher, or collection society who manages
    copyright on your behalf? You may wish to get in touch with them to confirm what info
    was sent to YouTube. This info should include identifiers like ISRCs, ISWCs, UPCs, and
    ISNIs.

    What if my song is listed, but the data is wrong?
    If you’re a recording artist or songwriter and your song has been identified with incorrect
    or incomplete info, you can:

   Send us feedback using our feedback form to help us improve our data quality.
   Make sure you and your songs are registered with the ISNI Authority. Registering can
    help us confirm we have the best data to represent you and your music.

    Working with a record label, music publisher, or collection society who manages
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   What is copyright?
   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info




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YouTube Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next
Help CenterCommunity


About Collecting Societies
What is a collecting society?

A collecting society is an organization that licenses and manages copyrighted works on
behalf of copyright owners.

Songwriters and composers become members of collecting societies to collect
royalties from use of their works. Collecting societies monitor performances and
distribution of the works on radio, television, in public venues, and online.

How do collecting societies work?

Collecting societies typically operate in a particular country/region. The society enters
into various agreements with collecting societies in other countries/regions. These
agreements decide how royalties that are earned in one country/region are paid to the
songwriters and composers in another.

Example: A songwriter from Brazil might collect royalties when a cover band plays their
song in a pub in London. The songwriter might also earn royalties when a fan shares an
online video of themselves covering the song.

How do collecting societies affect YouTube creators?

You might get a notice that one of your videos may include copyrighted content
administered by "Music Publishing Rights Collecting Society" or “one or more music
publishing rights collecting societies.” It means YouTube's Content ID system found one
or more musical compositions in your video and collecting societies may claim a
portion of the rights.




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    Collecting society notices will appear in the Content tab in YouTube Studio, next to the
    uploaded video. Learn more about Content ID and how it works.

    As a YouTube creator, what actions can I take?

    If you get a collecting society notice and believe your video was claimed in error, listen
    to your video again and ask yourself:

   Is there music in the background?
   Was someone singing or playing a cover version of a song?

    If the answer is yes to either question, then these uses of a copyrighted work often
    require royalties be paid to the songwriter or composer.

    If you're certain no copyrighted work is included in your video, intentionally or
    unintentionally, you can dispute the claim.

    If you dispute a claim without a valid reason, the content owner may request a take
    down of your video. If we get a valid takedown request for your video, your account will
    get a copyright strike. Learn more about copyright strikes.
    Give feedback about this article
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                                          Was this helpful?
                                              YesNo




                                               Submit
    Copyright and rights management
   What is copyright?
   Frequently asked copyright questions
   Creative Commons
   Fair use on YouTube
   Frequently asked questions about fair use
   Music in this video

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     English?




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   English

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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



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   Submit feedback


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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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    What is the issue with this selection?


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Liner Notes Feedback Form
Thanks for taking the time to let us know about a potential issue with the data. We will review
your feedback. Please note that the way to update this information is by reaching out to your
music publishing representative.
* Required
What is the issue? *

Incorrect Data (For example: incorrect video titles, artist name, song title, album title, incorrect
artist, etc.)
Missing Content (Missing Album, Track, Artist, Channel, etc.)
Other:

Required
Briefly describe the issue. Include: the artist, song, album, writer, licensor information related to
the issue if possible. *
Your answer




If possible, provide the URL(s) where you encountered the problem?

Your answer
What country did you encounter this problem in?

Your answer
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                                      Forms




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Toggle navigation
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                                          o Governance
                                          o Our History
                                          o Objectives & Policies
                                      ISNI COMMUNITY
                                          o The ISNI Community
                                          o ISNI Registration Agencies
                                          o ISNI Members
                                          o Direct Data Contributors
                                          o Joining ISNI
                                      RESOURCES
                                          o How ISNI Works
                                          o Data Quality Procedures
                                          o Data Inputs & Outputs
                                          o Technical Documentation
                                          o Training
                                          o Linked Data
                                      NEWS
                                          o News & Archive
                                          o ISNI Newsletter
                                          o Events
                                      HELP
                                          o FAQs
                                          o Get an ISNI
                                          o Contact ISNI

                                      SEARCH SITE
                                      MAILING LIST
                                      GET AN ISNI
                                      SEARCH DATABASE

SEARCH WEBSITE:
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ABOUT ISNI
ISNI is the ISO certified global standard number for identifying the millions of contributors to
creative works and those active in their distribution, including researchers, inventors, writers,
artists, visual creators, performers, producers, publishers, aggregators, and more. As ISO 27729,
it is part of a family of international standard identifiers that includes identifiers of works,
recordings, products and right holders in all repertoires, e.g. DOI, ISAN, ISBN, ISRC, ISSN, and
ISWC.

The mission of the ISNI International Agency (ISNI-IA) is to assign to the public name(s) of a
researcher, inventor, writer, artist, performer, publisher, etc. a persistent unique identifying
number in order to resolve the problem of name ambiguity in search and discovery; and diffuse
each assigned ISNI across all repertoires in the global supply chain so that every published work
can be unambiguously attributed to its creator wherever that work is described.

By achieving these goals, the ISNI will act as a bridge identifier across multiple domains and
become a critical component in Linked Data and Semantic Web applications.

KEY STATISTICS
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14.34 million

ISNI holds public records of more than 14 million identities
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12.76 million

ISNI holds public records of over 12.70 million individuals (of which 2.93 million are
researchers)
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1.59 million

ISNI holds public records of 1,569,265 organizations




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73 sources

The ISNI database is a cross-domain resource with direct contributions from 73 sources

NEWS
ISNI Press Release, August 2021: Representation of gender identities in ISNI
records and the ISNI database

The ISNI International Agency (ISNI-IA) announces it is formally reviewing the handling of
gender identities associated with the ISO 27729 International...

READ MORE

The International ISNI Information Day 2021

This year marks the tenth anniversary of the International Standard Name Identifier (ISNI) – a
standard embraced by multiple professional communities over the...

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The British Library launches its ISNI Portal: A Brand New, Online Service for
ISNI Users



We are delighted and privileged to announce that the British Library has now launched its
online, all-in-one service for the International Standard Name...

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ISNI International Agency (ISNI-IA) LIMITED

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    This help content & information

    General Help Center experience
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    Understand ad policies for advertisers
    Policy guidelines
   Ad policy overview
   Advertising on YouTube Kids
   Mimicking YouTube site elements
   How ads work on YouTube for supervised accounts and content set as "made for kids"

    Policy guidelines continued
   Unbranded ads or brand channels
   User-generated content in ads
   Violent and shocking content in ads
   YouTube’s contest policies and guidelines

    Ad formats & features
   Advertiser live streaming
   Brand Lift surveys
   Add paid product placements, sponsorships & endorsements
   Remarketing
   Send-to-phone ads
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    Targeting & serving



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   Age targeting and ads
   Flash cookies
   Using social media and third-party apps
   SSL capability
   Third-party ad serving
   YouTube monetized markets

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    English

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6. español (Latinoamérica)
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9. hrvatski
10. Indonesia
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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
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20. română
21. slovenčina
22. slovenščina
23. suomi
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26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский




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31. српски
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium




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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues



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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
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    Ad formats & features
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14. magyar
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o   Fix a problem




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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    YouTube Help

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    This help content & information

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    Advertiser live streaming
    YouTube is excited to stream live content with some of our most valued partners, but
    our partners must be held accountable. Below you’ll find our best practices surrounding
    live stream content on our site. We expect that you’ll make a good faith effort to comply
    with these guidelines:

   The advertiser, promoter, or production company is responsible for securing and
    making sure they have all necessary rights to legally broadcast the live stream on
    YouTube. These rights include but are not limited to:
   Public performance
   Music licensing
   Other publicity rights
   There’s a 30-second animation limit for live streams running in a homepage masthead.
    The viewer can click the ad to view the whole live stream with an expanded masthead,
    or click through to a brand channel or external site. The YouTube Policy Team must
    approve any exceptions to the 30-second rule.
   The audio in a live stream happening in a masthead needs to be user-initiated.
   Content in the live stream must adhere to our Community Guidelines.
   The promoter or producer must make a good faith effort to monitor the live stream
    under our Community Guidelines.

    If any of the above might happen on your stream, we may need to conduct a policy
    review on your stream before approving it.

    Give feedback about this article
    Choose a section to give feedback on

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22. slovenščina



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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings




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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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issues
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channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
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Hard to understand - unclear or translation is wrong

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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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    YouTube Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
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    Brand Lift surveys
    These policies play an important role in maintaining a positive experience for everyone
    using Brand Lift surveys. Be sure to check back from time to time as these policies may
    change.

    All Brand Lift surveys must comply with our Ads Policies and Program Policies. You
    cannot use Brand Lift surveys to collect personally identifiable information.

    In addition, any questions related to sensitive topics described below will not be allowed
    in our sole discretion:

   Demographic info
   Sexual orientation
   Age
   Race
   Disturbing, distasteful, or adult content
   Hateful or intolerant speech
   Vulgar language
   Other inappropriate content

    Restrictions that apply to sensitive categories in Brand Lift surveys

    When using Brand Lift surveys, you can't collect viewer feedback on sensitive topics.
    For the purposes of these policies, sensitive info includes, among others:

   interest or participation in adult activities (including adult dating, pornography, and so
    on)
   sexual behavior or orientation
   racial or ethnic info



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   political affiliation
   trade union membership or affiliation
   religion or religious belief
   financial status or situation
   health or medical info
   status as a child under 13

    Also, any ads that our YouTube ads content policies already prohibit are prohibited from
    creating Brand Lift surveys.

    What happens if I violate these policies?

   Survey disabling: Brand Lift surveys that don't comply with these policies may be
    suspended. This means that these surveys can no longer be used with ad campaigns
    and new surveys cannot be created.
   Account suspension: If you have several violations or a serious violation, your Google
    Ads account may be suspended. If this happens, all ads in the suspended account will
    stop running, and we may no longer accept advertising from you. Any related accounts
    may also get permanently suspended and your new accounts may get automatically
    suspended at setup.

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                                            Submit
    Understand ad policies for advertisers
   Advertiser live streaming
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   Add paid product placements, sponsorships & endorsements
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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
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14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어




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41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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   Community



   YouTube




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   Submit feedback


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    YouTube Help

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    Embedded third-party sponsorships and ads in
    YouTube content
    YouTube creators can not include promotions, sponsorships or other advertisements
    for third party sponsors or advertisers in their videos where YouTube offers a
    comparable ad format, including but not limited to video ads (pre, mid and post rolls),
    image overlays and video bumpers. This is a violation of our Terms of Service and when
    we become aware of it, YouTube reserves the right to disable monetization and/or
    remove videos with such unauthorized third party promotions.

    YouTube creators may include paid product placements or endorsements as part of
    their content only if they comply with our advertising policies and any applicable legal
    and regulatory obligations. Click here to learn more about our paid product placements
    and endorsements policy.

    Give feedback about this article
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    English?

   English

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7. Filipino
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21. slovenčina
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30. русский
31. српски
32. українська
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34. ‫اﻟﻌﺮﺑﯿﺔ‬
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36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
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41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



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    YouTube Help

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    Help CenterCommunity


    Remarketing
    Advertisers may utilize pixels for interest-based advertising (IBA) on YouTube. Any use
    of pixels for collection of data for remarketing lists is subject to the Google Ads
    Policies.

    There are more restrictions around where and how remarketing can be used. Learn
    more about remarketing restrictions.

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   Tell-a-friend
   About advertiser verification




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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



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o   Join & manage YouTube Premium



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o   Policy, safety, & copyright




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   YouTube




   Privacy Policy



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   Submit feedback


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Advertising Policies Help

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Personalized advertising
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Personalized advertising is a powerful tool that improves advertising relevance for
users and increases ROI for advertisers. Because it works by employing online user data
to target users with more relevant advertising content, it can provide an improved
experience for users and advertisers alike.

When employing user behavior or interest data to provide more relevant ad content it’s
important to handle that information appropriately. We recognize that certain interests
are sensitive and that targeting based on them could negatively impact user experience.

With this in mind and based on the sensitivities associated with user ad targeting, we’ve
identified policy standards for all personalized advertising targeting features. These
standards do not replace our other advertising policies (for example, for Google Ads or
Shopping) and advertisers are still responsible for complying with all applicable
advertising policies, in addition to Personalized advertising policies. Advertisers are also
required to comply with our policies for European Union user consent, where applicable.

Google's privacy policy applies to all Google features and dictates how Google collects,
uses, and protects user data. Learn about what happens if you violate our policies.

Personalized advertising policies
Personalized advertising content policy principles Personalized advertising data collection and
Restrictions based on personalized advertising     use policies
targeting feature
Policy principles: Sensitive interest categories



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Legal restrictions
Personal hardships
Identity and belief
Sexual interests
Access to opportunities




Personalized advertising content policy principles
       Sensitive interest categories are restricted in personalized ads. We define
       sensitive interest categories in terms of the following content policy
       principles:

       Legal restrictions: Ads must comply with the law.

       Personal hardships: Ads shouldn’t target users in ways that exploit their
       difficulties or struggles.

       Identity and belief: Ads shouldn’t target users based on categories prone
       to systemic discrimination or unfair stigmas.

       Sexual interests: Ads shouldn’t target users based on inherently private
       sexual interests or experiences.

       Access to opportunities: Ads shouldn’t limit access to opportunities by
       leveraging unfair societal biases when targeting users with specific
       content categories.

       Restrictions based on personalized advertising targeting feature

       Personalized ads policies apply differently depending on the targeting
       feature used. For all targeting features, there are two components:

              targeting users, which refers to the groups of users you've
               chosen to see your ads and includes all aspects of creating
               or selecting those groups.
              promoting products and services, which refers to the
               specific content in your ad or on your landing page.

       Depending on whether the targeting feature is an advertiser-curated
       audience or a predefined Google audience, personalized ads sensitive



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 interest categories may or may not apply to promoting products and
 services.

       For all personalized ads targeting features, we don’t allow
        targeting users based on sensitive interest categories.
       For advertiser-curated audiences, where advertisers can
        customize, curate, or upload their own audiences,
        advertisers are also not allowed to promote products and
        services from sensitive interest categories.
       For pre-defined Google audiences, where Google manages
        the development and curation of policy-compliant audiences
        based on information across Google properties, advertisers
        are allowed to promote products and services from sensitive
        interest categories.

 Effect of the policy

 Advertisers promoting products and services that fall within sensitive
 interest categories are unable to use advertiser-curated audiences. This
 helps ensure that sensitive interest categories aren’t inadvertently used for
 targeting audiences. Because predefined Google audiences are expressly
 configured without sensitive user signals, all advertisers are allowed to
 use them, even if they promote sensitive interest categories.

 See the following non-exhaustive list of targeting features and how
 personalized ads policies apply.

 Advertiser-curated audiences                  Predefined Google audiences

 If you’re an advertiser that promotes         All advertisers are able to use the following
 products and services in sensitive interest   targeting features, including advertisers that
 categories you’ll be unable to use the        promote products and services in sensitive
 following targeting features.                 interest categories.
 Customer Match                                In-market
 Remarketing                                   Affinity
 Similar Audiences                             Demographics
 Custom Audiences                              Detailed Demographics
 Gmail Ads: See additional Gmail ad-           Life Events
 specific policies.                            Location Targeting




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Sensitive interest categories
Legal restrictions

Ads must comply with all applicable laws and regulations for all of the locations where
your ads are showing.

We don’t allow targeting users based on legally restricted content, as defined in the
following sensitive interest categories. Depending on the targeting feature used, you
also may not be allowed to promote products and services in the following sensitive
interest categories.

You are responsible for ensuring your ads comply with policy where required. See below
for specific examples of what we don't allow.


      Troubleshooter: How to comply with policy

   1. Read the policy below to learn what we don't allow. Ensure that your ads,
      site, or app comply with Personalized advertising policies. Note that even
      if ads are not targeted using sensitive categories, some types of ad
      content are still prohibited.
   2. Remove that content from your site or app. If your site or app has content
      that we don't allow, remove all content that doesn’t comply with this
      policy. You'll then need to request a review before moving on to the next
      step of checking your audience lists.
   3. Remove that content from your ad.
      If your ad violates this policy, edit it to make it comply.
    On your Ads page, hover over the ad you want to edit.
    Click the pencil icon next to your ad to edit it.
    Click Save when you're done.
   4. Once you edit and save your ad, it's sent for review. Most ads are reviewed
      within 1 business day, though some can take longer if they need a more
      complex review. If you've removed the unacceptable content from your ad
      and its destination, you can request a review of your ad.
   5. Disassociate or remove ad groups targeting audience or remarketing lists.
      After we review the site or app, the associated lists will be enabled. Ensure
      that the ads using these lists comply with Personalized advertising
      policies. If the ads do not comply with Personalized advertising policies,
      please remove the ad groups or targeting that uses the audience or
      remarketing lists.




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 If you aren't able to fix these violations, or you choose not to, please
 remove your ad to help prevent your account from becoming suspended in
 the future for having too many disapproved ads.

 Users under 13 in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Collecting personal information from children under 13
       or the applicable age in their country, or targeting interest
       content to children under the age of 13 the applicable age in
       their country.

 Restricted drug terms in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Prescription medications and information about
       prescription medications, unless the medication and any
       listed ingredients are only intended for animal use and are
       not prone to human abuse or other misuse. Learn more

 Clinical trial recruitment in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Promotion of clinical trial recruitment

 Alcohol in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Alcoholic beverages and drinks that resemble alcoholic
       beverages

 Gambling in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Gambling, including online and offline gambling; online
       gambling-related information; online non-casino games
       played for money or prizes; and online casino-based games,
       regardless of whether money is exchanged

 Location-based gambling in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Physical casinos that explicitly promote gambling




                                                                                                  1205
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Personal hardships
We understand that users don’t want to see ads that exploit their personal struggles,
difficulties, and hardships, so we don’t allow personalized advertising based on these
hardships. Such personal hardships include health conditions, treatments, procedures,
personal failings, struggles, or traumatic personal experiences. You also can’t impose
negativity on the user.

We don’t allow targeting users based on personal hardships, as defined in the following
sensitive interest categories. Depending on the targeting feature used, you also may not
be allowed to promote products and services in the following sensitive interest
categories.

You are responsible for ensuring your ads comply with policy where required. See below
for specific examples of what we don't allow.

      Troubleshooter: How to comply with policy

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      site, or app comply with Personalized advertising policies. Note that even
      if ads are not targeted using sensitive categories, some types of ad
      content are still prohibited.
   2. Remove that content from your site or app. If your site or app has content
      that we don't allow, remove all content that doesn’t comply with this
      policy. You'll then need to request a review before moving on to the next
      step of checking your audience lists.
   3. Remove that content from your ad.

      If your ad violates this policy, edit it to make it comply.

             On your Ads page, hover over the ad you want to edit.
             Click the pencil icon next to your ad to edit it.
             Click Save when you're done.

      Once you edit and save your ad, it's sent for review. Most ads are reviewed
      within 1 business day, though some can take longer if they need a more
      complex review. If you've removed the unacceptable content from your ad
      and its destination, you can request a review of your ad.

   4. Disassociate or remove ad groups targeting audience or remarketing lists.
      After we review the site or app, the associated lists will be enabled. Ensure




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 that the ads using these lists comply with Personalized advertising
 policies. If the ads do not comply with Personalized advertising policies,
 please remove the ad groups or targeting that uses the audience or
 remarketing lists.

 If you aren't able to fix these violations, or you choose not to, please
 remove your ad to help prevent your account from becoming suspended in
 the future for having too many disapproved ads.

 Health in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Personal health content, which includes:

       Physical or mental health conditions, including diseases,
        sexual health, and chronic health conditions, which are
        health conditions that require long-term care or
        management.
       Products, services, or procedures to treat or manage chronic
        health conditions, which includes over-the-counter
        medications and medical devices.
       Any health issues associated with intimate body parts or
        functions, which includes genital, bowel, or urinary health.
       Invasive medical procedures, which includes cosmetic
        surgery.
       Disabilities, even when content is oriented toward the user’s
        primary caretaker.
       Examples: Treatments for chronic health conditions like
        diabetes or arthritis, treatments for sexually transmitted
        diseases, counseling services for mental health issues like
        depression or anxiety, medical devices for sleep apnea like
        CPAP machines, over-the-counter medications for yeast
        infections, information about how to support your autistic
        child

 Negative financial status in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Personal financial distress, difficulties, or deprivation

                                               Examples: bankruptcy services, welfare
                                                services, homeless shelters, unemployment
                                                resources, predatory lending products and
                                                services




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     Relationship hardships in personalized advertising
            The link ed image cannot be
            display ed. The file may hav e been
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




                 Personal hardships with family, friends, or other
            interpersonal relationships

                                                 Examples: divorce services, books about
                                                  coping with divorce, bereavement products or
                                                  services, family counseling services

     Commission of a crime in personalized advertising
            The link ed image cannot be
            display ed. The file may hav e been
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




                 Personal criminal record, crimes committed, criminal
            allegations, or criminal charges

           Examples: bail bonds services, criminal defense lawyers

     Abuse and trauma in personalized advertising
            The link ed image cannot be
            display ed. The file may hav e been
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




                Personal status as a victim of abuse, crime, or other
            traumatic event

                                                 Examples: domestic abuse shelters, victim
                                                  advocate services

     Imposing negativity in personalized advertising
            The link ed image cannot be
            display ed. The file may hav e been
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




                Imposing negativity on the user or using a negative
            perspective or bias to promote any content category

                                                 Examples: body shaming, negativity related to
                                                  physical attributes or social interactions,
                                                  suggesting negative outcomes for users if they
                                                  don’t take specific actions




Identity and belief



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We consider identity and belief systems to be deeply personal and complex. They’re
highly dependent on diversity of cultural norms, geography, history, and personal life
experiences. We also understand that how one identifies or what one believes can be
used to segment users based on judgments or stigmas.

We want ads to provide a positive experience and to be informed by users’ interests
rather than by who they’re perceived to be as a person, so we don’t allow personalized
advertising based on a user’s fundamental or intrinsic self-identity or their belief
systems. Such identities and beliefs can include inherently private classifications of
one’s self; classifications susceptible to stigmas, discrimination, or harassment;
membership within groups that are susceptible to stigmas, discrimination, or
prejudices; and personally held belief systems.

We don’t allow targeting users based on identity and belief, as outlined in the following
sensitive interest categories. Depending on the targeting feature used, you also may not
be allowed to promote products and services in the following sensitive interest
categories.

You are responsible for ensuring your ads comply with policy where required. See below
for specific examples of what we don't allow.

      Troubleshooter: How to comply with policy

   1. Read the policy below to learn what we don't allow. Ensure that your ads,
      site, or app comply with Personalized advertising policies. Note that even
      if ads are not targeted using sensitive categories, some types of ad
      content are still prohibited.
   2. Remove that content from your site or app. If your site or app has content
      that we don't allow, remove all content that doesn’t comply with this
      policy. You'll then need to request a review before moving on to the next
      step of checking your audience lists.
   3. Remove that content from your ad.
      If your ad violates this policy, edit it to make it comply.
    On your Ads page, hover over the ad you want to edit.
    Click the pencil icon next to your ad to edit it.
    Click Save when you're done.
   4. Once you edit and save your ad, it's sent for review. Most ads are reviewed
      within 1 business day, though some can take longer if they need a more
      complex review. If you've removed the unacceptable content from your ad
      and its destination, you can request a review of your ad.
   5. Disassociate or remove ad groups targeting audience or remarketing lists.
      After we review the site or app, the associated lists will be enabled. Ensure
      that the ads using these lists comply with Personalized advertising
      policies. If the ads do not comply with Personalized advertising policies,




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 please remove the ad groups or targeting that uses the audience or
 remarketing lists.

 If you aren't able to fix these violations, or you choose not to, please
 remove your ad to help prevent your account from becoming suspended in
 the future for having too many disapproved ads.

 Sexual orientation in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Sexual orientation, including lesbian, gay, bisexual,
        questioning, or heterosexual orientation

                                               Examples: information about revealing your
                                                homosexuality, gay dating, gay travel,
                                                information about bisexuality

 Political affiliation in personalized advertising

        This Personalized advertising policy does not apply to Gmail
        ads, but it applies to all other targeting features. See the
        policy below for political content in Gmail ads.
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Political affiliation

                                               Examples: political ideologies, political
                                                opinions, political parties, political
                                                organizations, political campaigns,
                                                engagement in political discourse

 Political content in personalized advertising

        This Personalized advertising policy applies only to Gmail
        ads, but it applies to all other targeting features.
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Political affiliation

                                               Examples: Examples: political ideologies,
                                                political opinions, political parties, political
                                                organizations, political campaigns,
                                                engagement in political discourse

 Trade union membership in personalized advertising



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        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Trade unions and ads that imply knowledge of a user's
       trade union membership

                                               Examples: trade union sites, information
                                                oriented toward members of trade unions,
                                                trade union blogs, and trade union support for
                                                work disputes

 Race and ethnicity in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Personal race or ethnicity

                                               Examples: racially or ethnically oriented
                                                publications, racially or ethnically oriented
                                                universities, racial or ethnic dating

 Religious belief in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Personal religious beliefs

                                               Examples: places of worship, religious
                                                guidance, religious education or universities,
                                                religious products

 Marginalized groups in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Membership in a marginalized or vulnerable social
       group, such as social castes, immigrants or refugees

                                               Examples: products oriented toward users
                                                based on social caste, services for immigrants,
                                                legal services for refugees

 Transgender identification in personalized advertising
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Personal identification with a gender different from the
       gender assigned at birth, or a gender which does not
       conform to singular male or female identification




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                    Examples: information about gender
                     transitioning, transgender discrimination
                     lawyers




 Sexual interests
We understand that sexual interests are inherently private and, depending on cultural
norms, not often candidly discussed. We believe in maintaining the privacy of a user’s
sexual interests, so we don’t allow personalized advertising that targets users based on
their personal sexual interests, experiences, activities, or preferences. Such interests
include sexual behaviors, activities, or products used when having sex. Additionally, we
don’t allow categories that are sexually suggestive or intended to sexually arouse.

We don’t allow targeting users based on sexual interests, as outlined in the following
sensitive interest categories. Depending on the targeting feature used, you also may not
be allowed to promote products and services in the following sensitive interest
categories.

You are responsible for ensuring your ads comply with policy where required. See below
for specific examples of what we don't allow.

      Troubleshooter: How to comply with policy

   1. Read the policy below to learn what we don't allow. Ensure that your ads,
      site, or app comply with Personalized advertising policies. Note that even
      if ads are not targeted using sensitive categories, some types of ad
      content are still prohibited.
   2. Remove that content from your site or app. If your site or app has content
      that we don't allow, remove all content that doesn’t comply with this
      policy. You'll then need to request a review before moving on to the next
      step of checking your audience lists.
   3. Remove that content from your ad.
      If your ad violates this policy, edit it to make it comply.
    On your Ads page, hover over the ad you want to edit.
    Click the pencil icon next to your ad to edit it.
    Click Save when you're done.
   4. Once you edit and save your ad, it's sent for review. Most ads are reviewed
      within 1 business day, though some can take longer if they need a more
      complex review. If you've removed the unacceptable content from your ad
      and its destination, you can request a review of your ad.




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   5. Disassociate or remove ad groups targeting audience or remarketing lists.
      After we review the site or app, the associated lists will be enabled. Ensure
      that the ads using these lists comply with Personalized advertising
      policies. If the ads do not comply with Personalized advertising policies,
      please remove the ad groups or targeting that uses the audience or
      remarketing lists.

      If you aren't able to fix these violations, or you choose not to, please
      remove your ad to help prevent your account from becoming suspended in
      the future for having too many disapproved ads.

      Birth control in personalized advertising
                               The link ed image cannot be
                               display ed. The file may hav e been
                               mov ed, renamed, or deleted. Verify
                               that the link points to the correct
                               file and location.




                                  Devices intended to prevent pregnancy or sexually
                              transmitted diseases

                                                                    Examples: condoms, oral contraceptive pill,
                                                                     contraceptive sponge

      Sexual content
       The linked




                           All sexual content as defined in the Google Ads Sexual content policy.
       image cannot
       be display ed.
       The file may
       hav e been
       mov ed,
       renamed, or
       deleted. Verify …




      If the Sexual content policy and the Personalized advertising sexual
      interests policy differ on how each treats a category, the Personalized
      advertising sexual interests policy takes precedence over the Sexual
      content policy with respect to how the category can be used for targeting
      and personalized ads.




Access to opportunities
We believe access to social and economic opportunities is fundamental for individual
well-being, social status and quality of life. We also recognize that historic
discrimination and societal biases have resulted in some segments of society having
unequal access to these opportunities.

Therefore, in an effort to improve inclusivity for users disproportionately affected by
society’s biases, we don’t allow some categories of products or services to be targeted
to specific audiences. This is in addition to existing ads policies that prohibit



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discrimination and personalized ads policies that prohibit use of Identity and Belief
categories. See below for specific examples of what we don't allow.

Countries: United States, Canada

In the United States and Canada, the following sensitive interest categories cannot be
targeted to audiences based on gender, age, parental status, marital status, or ZIP
code.

      Housing in personalized ads
              The link ed
              image cannot




                Homes for sale or rental, where a home is defined as a
              be display ed.
              The file may
              hav e been
              mov ed,
              renamed, or
              deleted. Verify …




             place a person would reside. This includes products or
             services enabling the sale or rental of homes.

                                     Examples: housing listing sites, individual
                                      houses for sale or rental, real estate services

      Employment in personalized ads
              The link ed




                                  Employment opportunities or hiring a person for a job.*
              image cannot
              be display ed.
              The file may
              hav e been
              mov ed,
              renamed, or
              deleted. Verify …




                                     Examples: ads for jobs, job recruitment sites,
                                      job listing sites

             *A subset of predetermined U.S. government advertisers
             promoting employment in personalized ads are permitted to
             target restricted audiences under specific conditions. If the
             targeting is based on a bona fide occupational qualification
             for a government job, which is defined under U.S. law as a
             qualification that is reasonably necessary for normal
             function of the job, these identified U.S. government
             advertisers may target restricted audiences.

      Credit in personalized ads
              The link ed
              image cannot




                Offers of credit or products or services related to credit
              be display ed.
              The file may
              hav e been
              mov ed,
              renamed, or
              deleted. Verify …




             lending.

                                     Examples: credit cards, loans including home
                                      loans, car loans, appliance loans, short-term
                                      loans




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Personalized advertising data collection and use policies
These policies define requirements for data collection and use in personalized ads.
They apply in addition to the Google ads policies for data collection and use.

You aren't allowed to do the following:
         The linked




          Run ads that collect or contain personally identifiable information (PII),
         image cannot
         be display ed.
         The file may
         hav e been
         mov ed,
         renamed, or
         deleted. Verify …




        unless using an ad format provided by Google and designed for that
        purpose

                                Examples: Collecting email addresses, telephone numbers,
                                 or credit card numbers within the ad itself
         The linked
         image cannot




          Use or associate PII with remarketing lists, cookies, data feeds, or other
         be display ed.
         The file may
         hav e been
         mov ed,
         renamed, or
         deleted. Verify …




        anonymous identifiers
         The linked
         image cannot




          Share PII with Google through remarketing tags or any product data
         be display ed.
         The file may
         hav e been
         mov ed,
         renamed, or
         deleted. Verify …




        feeds that might be associated with ads
         The linked
         image cannot




          Send Google precise location information without first obtaining users'
         be display ed.
         The file may
         hav e been
         mov ed,
         renamed, or
         deleted. Verify …




        consent
         The linked
         image cannot




          Use a remarketing list that targets an overly narrow or specific
         be display ed.
         The file may
         hav e been
         mov ed,
         renamed, or
         deleted. Verify …




        audience. This includes the case where combining a remarketing list with
        other targeting criteria (such as geographic limitations or other user
        segmentation) results in an ad targeted to a relatively small number of
        users. Learn more about remarketing list size requirements.

For Remarketing

       You can choose to disable the collection of remarketing data for users
        who do not wish to view personalized ads by using the parameter:
        allow_ad_personalization_signals. Learn how to modify the global site tag
        in order to disable the collection of remarketing data for specific users.
       When using remarketing, re-engagement, or similar audiences features,
        you're required to include specific information in your privacy policy.
       Google may include in-ad notice labels to disclose personalized
        advertising to our users, and we may display to users which remarketing
        lists they're on, along with the corresponding domain name. You must not
        modify or obscure these notices. If you want to implement your own in-ad



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        notice, it must only be done in compliance with relevant industry
        standards.
       Google won't allow another advertiser to use your remarketing lists or
        similar audiences lists without your consent.

        Troubleshooter: Personalized advertising policies for data collection and
        use

   1. Read the policy below to learn what we don't allow. Ensure that your ads,
      site, or app comply with Personalized advertising policies. Note that even
      if ads are not targeted using sensitive categories, some types of ad
      content are still prohibited.
   2. Remove that content from your site or app. If your site or app has content
      that we don't allow, remove all content that doesn’t comply with this
      policy. You'll then need to request a review before moving on to the next
      step of checking your audience lists.
   3. Remove that content from your ad.

        If your ad violates this policy, edit it to make it comply.

              On your Ads page, hover over the ad you want to edit.
              Click the pencil icon next to your ad to edit it.
              Click Save when you're done.

        Once you edit and save your ad, it's sent for review. Most ads are reviewed
        within 1 business day, though some can take longer if they need a more
        complex review. If you've removed the unacceptable content from your ad
        and its destination, you can request a review of your ad.

   4. Disassociate or remove ad groups targeting audience or remarketing lists.
      After we review the site or app, the associated lists will be enabled. Ensure
      that the ads using these lists comply with Personalized advertising
      policies. If the ads do not comply with Personalized advertising policies,
      please remove the ad groups or targeting that uses the audience or
      remarketing lists.

        If you aren't able to fix these violations, or you choose not to, please
        remove your ad to help prevent your account from becoming suspended in
        the future for having too many disapproved ads.

Need help?
If you have questions about our policies, let us know: Contact Google Ads Support
Give feedback about this article




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    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English



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1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English



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    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback



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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Google Merchant Center Help

Sign in
                                   Send feedback on...

This help content & information

General Help Center experience
                                                                           Next
Help CenterAnnouncements


Shopping ads policies
Welcome to the Shopping ads Policy Center
Here you'll find the requirements for advertising on the Google Network.




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    Overview of our shopping ads policies
    Our policies cover four broad areas:

    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                         Prohibited content: Content you're not allowed to promote on the Google Network
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                         Prohibited practices: Things you can't do if you want to advertise with us
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                         Restricted content: Content you can advertise, but with limitations
    The linked image cannot be displayed. The file may hav e
    been mov ed, renamed, or deleted. Verify that the link
    points to the correct file and location.




                                                              Editorial and technical: Quality standards for your ads and website


    Click through the policies below for policy definitions, examples, and troubleshooting
    steps.




    Prohibited content

    Counterfeit goods

                                                               Google prohibits the sale or promotion for sale of counterfeit products.
                                                               Counterfeit goods contain a trademark or logo that is identical to or
                                                               substantially indistinguishable from the trademark or logo of another.
                                                               They mimic the brand features of the product in an attempt to pass
                                                               themselves off as a genuine product of the brand owner.

                                                               This policy applies to the content of your Shopping ads and your website.

    Dangerous products

                                                               Google wants to help keep people safe both online and offline, so we don’t
                                                               allow the promotion of some products that cause damage, harm, or injury.




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       Examples of dangerous content: Recreational drugs (chemical or herbal);
       psychoactive substances; equipment to facilitate drug use; weapons,
       ammunition, explosive materials and fireworks; instructions for making
       explosives or other harmful products; tobacco products.

Products that enable dishonest behavior

       Google values honesty and fairness, so we don’t allow the promotion of
       products that are designed to enable dishonest behavior.

       Examples of products that enable dishonest behavior: Hacking software or
       instructions; fake documents; academic cheating products.

Inappropriate content

       Google values diversity and respect for others, and we strive to avoid
       offending users, so we don’t allow ads or destinations that display
       shocking content or promote hatred, intolerance, discrimination, or
       violence.

       Examples of inappropriate or offensive content: Bullying or intimidation of
       an individual or group; racial discrimination; hate group paraphernalia;
       graphic crime scene or accident images; cruelty to animals; murder; self-
       harm; extortion or blackmail; sale or trade of endangered species.

Unsupported Shopping ads content

       Google aims to enable businesses to promote a wide variety of products,
       but some Google products and platforms may not be optimized to
       appropriately support all content types.

       For this reason, Shopping ads don't allow the promotion of certain content
       where we don't offer an optimal user experience.

       Note that because these limitations are specific to Shopping ads, they do
       not impact policies on other Google products or platforms, where
       functionality differs or additional support mechanisms are in place.


Prohibited practices

Abuse of the ad network




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        Google wants Shopping ads to be useful, varied, relevant and safe for
        users, and so we’ve made some decisions about how we serve content on
        our network. As a result we don’t allow any of the following:

       malicious content
       sites that offer little unique value to users and are focused primarily on
        traffic generation
       retailers who attempt to gain an unfair advantage in Shopping campaigns
       retailers who attempt to bypass our review processes

Irresponsible data collection & use

        Google wants users to trust that information about them will be respected
        and handled with appropriate care. As such, our advertising partners
        should not misuse this information, nor collect it for unclear purposes or
        without appropriate security measures.

        Examples of user information that must be handled with care: full name;
        email address; mailing address; phone number; national identity, pension,
        social security, tax ID, health care, or driver's license number; birth date or
        mother's maiden name in addition to any of the above information;
        financial status; political affiliation; sexual orientation; race or ethnicity;
        religion.

        Examples of irresponsible data collection and use: Obtaining the following
        data over non-secure SSL (https://) server connections:

       Username or email in combination with passwords
       Credit and debit card numbers
       Bank and investment account numbers
       Checking account numbers
       Wire transfer numbers
       National identity, pension, social security, tax ID, health care, or driver's
        license number

Misrepresentation

        Google doesn't want users to feel misled by the content promoted in
        Shopping ads, and that means being upfront, honest, and providing them
        with the information that they need to make informed decisions. For this
        reason we don’t allow the following:

       Promotions that prompt users to initiate a purchase, download, or other
        commitment without first providing all relevant information and obtaining
        the user’s explicit consent



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       Promotions that represent you or your products in a way that is not
        accurate, realistic, and truthful


Restricted content

The policies below cover content that is sometimes legally or culturally sensitive. Online
promotion can be a powerful way to reach customers, but in sensitive areas, we also
work hard to avoid showing these ads when and where they might be inappropriate.

For that reason, we allow promotion of the content below, but on a limited basis. These
promotions may not show to every user in every location, and merchants may need to
meet additional requirements before their ads are eligible to run. Note that not all
products, features, or networks are able to support this restricted content.

Adult-oriented content

        Google restricts promotion of the following types of adult-oriented
        content:

       adult merchandise
       sexually suggestive content
       images containing exposed skin and nudity

        When promoting adult content you may not do any of the following:

       violate applicable laws or regulations for any location that you target
       target minors
       promote sexually explicit content
       promote content with underage or non-consensual sexual themes,
        including child sexual abuse content
       promote services that may be interpreted as providing sexual acts in
        exchange for compensation

        Examples of restricted adult content: sex toys; adult magazines; sexual
        enhancement products; sexually suggestive lingerie promotions.

Alcoholic beverages

        Google restricts the promotion of alcoholic beverages and drinks that
        resemble alcoholic beverages.

        When promoting alcoholic beverages, you may not do any of the following:




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       violate applicable laws and industry standards for any location that you
        target
       target individuals below the legal drinking age
       imply that drinking alcohol can improve social, sexual, professional,
        intellectual, or athletic standing
       imply that drinking alcohol provides health or therapeutic benefits
       portray excessive drinking in a positive light or feature binge or
        competition drinking
       show alcohol being consumed in conjunction with the operation of a
        vehicle of any kind, the operation of machinery, or the performance of any
        task requiring alertness or dexterity

        Examples of restricted alcoholic beverages: beer; wine; sake; spirits or hard
        alcohol; Champagne; fortified wine; non-alcoholic beer; non-alcoholic wine;
        and non-alcoholic distilled spirits.

Copyrighted content

        Google restricts the promotion of copyrighted content. If you would like to
        promote copyrighted content and believe you are legally authorized to do
        so, you can contact us. To learn more about how we handle copyright-
        related issues or to submit a copyright-related complaint, use this form.

Gambling-related content

        Google restricts the promotion of gambling-related content.

        Examples of restricted gambling-related content: national or private
        lotteries; sites offering bonus codes or promotional offers for gambling
        sites

Healthcare-related content

        Google restricts the promotion of healthcare-related content such as the
        following:

       over-the-counter medication
       prescription drugs
       unapproved pharmaceuticals and supplements
       pregnancy and fertility-related products
       sexual enhancement treatments

        The restrictions that apply to this content may vary depending on the
        product you're promoting and the countries that you're targeting. Some




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        content, such as unapproved pharmaceutical supplements, may not be
        promoted anywhere.

        Depending on the content you’re promoting and the countries where your
        ads appear, you may need to apply for preauthorization with Google
        before advertising healthcare-related content.

Political content

        When promoting political content, you need to comply with the following
        requirements:

       applicable laws and industry standards for any location that you target
       any applicable election "silence periods"

        Examples of political content: promotion of political parties/candidates,
        political issue advocacy.

Trademarks

        Shopping ads don’t restrict use of trademarks by merchants in the title or
        description of an ad when it’s for a trademarked product or a product
        compatible with the trademarked product. Merchants need to reference
        trademarks to be able communicate to users what they're offering, and
        users need that information as it's relevant to their searches. We’ll review
        claims by trademark owners that use of their trademark is likely to cause
        consumer confusion about the origin of a product. To submit a trademark-
        related complaint if you’re an owner of the trademark, use this form.


Editorial & technical requirements

We want to deliver ads that are engaging for users without being annoying or difficult to
interact with, so we've developed editorial requirements to help keep your ads appealing
to users. We've also specified technical requirements to help users and advertisers get
the most out of the variety of ad formats we offer.

Editorial & professional requirements

        In order to provide a quality user experience, Google requires that all
        Shopping ads meet high professional and editorial standards. We only
        allow promotions that are clear and professional in appearance. These
        ads should lead users to products and landing pages that are relevant,
        useful, and easy to interact with.




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        Examples of promotions that don't meet these editorial and professional
        requirements:

       a display URL that does not accurately reflect the URL of the landing page,
        such as "google.com" taking users to "gmail.com"
       gimmicky use of words, numbers, letters, punctuation, or symbols such as
        FREE, f-r-e-e, and F₹€€!!
       sites that are under construction, parked domains, or are just not working
       sites that have disabled the browser's back button
       sites that are not viewable in commonly used browsers




About our policies
        Shopping ads enable businesses of all sizes, from around the world, to
        promote a wide variety of products and websites on Google and across
        our network. We want to help you reach existing and potential customers
        and audiences. However, to help create a safe and positive experience for
        users, we listen to their feedback and concerns about the types of ads
        they see. We also regularly review changes in online trends and practices,
        industry norms, and regulations. And finally, in crafting our policies, we
        also think about our values and culture as a company, as well as
        operational, technical, and business considerations. As a result, we have
        created a set of policies that apply to all promotions on the Google
        Network.

        Google requires that advertisers comply with all applicable laws and
        regulations and the Google policies described above. It's important that
        you familiarize yourself with and keep up to date on these requirements
        for the places where your business operates, as well as any other places
        your ads are showing. When we find content that violates these
        requirements, we may block it from appearing, and in cases of repeated or
        egregious violations, we may stop you from advertising with us.

Give feedback about this article
Choose a section to give feedback on

                                     Was this helpful?
                                         YesNo




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                                              Submit
                                      Need more help?
                Sign in for additional support options to quickly solve your issue
                                              Sign in
    Shopping policies and requirements
   Shopping ads policies
   Buy on Google policies
   Promotions policies
   Local inventory ads policies
   Policies for listing your products for free on Google
   Personalized advertising

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. dansk
2. Deutsch
3. English (United Kingdom)
4. español
5. español (Latinoamérica)
6. français
7. Indonesia
8. italiano
9. magyar
10. Nederlands
11. norsk
12. polski
13. português (Brasil)
14. română
15. slovenčina
16. suomi
17. svenska
18. Tiếng Việt
19. Türkçe




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20. čeština
21. Ελληνικά
22. русский
23. українська
24. ‫עברית‬
25. ‫اﻟﻌﺮﺑﯿﺔ‬
26. िह ी
27. ไทย
28. 中文（简体）
29. 中文（繁體）
30. 日本語
31. 한국어
32. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   About



o   Set up



o   Troubleshoot



o   Best practices




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o   Product data spec



o   More programs




   Google Merchant Center




   Privacy Policy



   Terms of Service



   Submit feedback


    Buy on GoogleLocal ads & free local listingsFree product listingsGoogle Customer
    ReviewsPromotionsDynamic remarketingSeller ratingsProduct Ratings


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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Share additional info or suggestions




Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Visit the Google Account
The linked image cannot be
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mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Protecting your privacy
starts with the world’s
most advanced security.
Learn more

Safe Browsing protects
4 billion devices,
including yours.
Google Play Protect
scans 100 billion apps,
every day.
Gmail blocks over 100
million phishing attempts,
every day.
                                      Safe Browsing protects
                                       4 billion devices,
                                       including yours.
                                      Google Play Protect
                                       scans 100 billion apps,
                                       every day.
                                      Gmail blocks over 100
                                       million phishing attempts,
                                       every day.
                                      1
                                      2
                                      3

We build privacy tools
that put you in control.



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         The linked image cannot be
         display ed. The file may hav e been
         mov ed, renamed, or deleted. Verify
         that the link points to the correct
         file and location.




   

        Easy-to-use privacy and security settings, all in one place.

        Go to your Google Account
         The linked image cannot be
         display ed. The file may hav e been
         mov ed, renamed, or deleted. Verify
         that the link points to the correct
         file and location.




   

        Turn it on. Turn it off. You control what data gets saved to your account.

        Go to Activity Controls
         The linked image cannot be
         display ed. The file may hav e been
         mov ed, renamed, or deleted. Verify
         that the link points to the correct
         file and location.




   

        If you can search it, browse it, or watch it, you can delete it from your account.

        Go to My Activity

       0
       1
       2

Need a little help?
Take a checkup.

Security Checkup

Strengthen your security

Get personalized recommendations to increase the security of your Google Account.

Complete checkup

Privacy Checkup

Control your privacy

We’ll walk you through key privacy settings step-by-step, so you can choose what’s right for
you.

Complete checkup
Recent news




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
      The picture can't be display ed.




     Why we’re committing $10 billion to advance cybersecurity

     Aug 25, 2021




      The picture can't be display ed.




     Giving kids and teens a safer experience online

     Aug 10, 2021




      The picture can't be display ed.




     Nest’s commitments to privacy and security

     Jun 29, 2021




      The picture can't be display ed.




     Safer learning with Google for Education

     Jun 29, 2021








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                                        The picture can't be display ed.




                                       6 new features on Android this summer

                                       Jun 15, 2021



                           
                                        The picture can't be display ed.




                                       Our commitments for the Privacy Sandbox

                                       Jun 10, 2021



                           
                                        The picture can't be display ed.




                                       Facebook talked privacy, Google actually built it

                                       May 7, 2019


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mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Explore how Google helps
keep everyone safe online.

In our products
Learn how your safety is protected in all of Google’s products.

Security and privacy
Learn how Google protects your private information and puts you in control.

Family safety
Learn how Google helps you manage what's right for your family online.

Leadership
Explore how Google innovates new safety technologies and collaborates with the industry.




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

     In our products

     Learn how your safety is protected in all of Google’s products.





     Security and privacy

     Learn how Google protects your private information and puts you in control.





     Family safety

     Learn how Google helps you manage what's right for your family online.





     Leadership

     Explore how Google innovates new safety technologies and collaborates with the
     industry.



    0
    1
    2
    3

    About Google
    Google products
    Privacy Policy
    Terms
    Partners
    Security news



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    Families
    Principles

    Help
    Español




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                        Next


What happens if you violate our policies
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

To ensure a safe and positive experience for users, Google requires that advertisers
comply with all applicable laws and regulations in addition to the Google Ads policies.
Ads, extensions, destinations, and other content that violate these policies can be
blocked on the Google Ads platform and associated networks. Below is a list of various
ways we enforce policies and laws.

Ad or extension disapproval
Ads and extensions that don't follow Google Ads policies will be disapproved. A
disapproved ad won't be able to run until the policy violation is fixed and the ad is
approved. In Google Ads, this will be noted in the Status column. Learn how to fix a
disapproved ad

Account suspension
Accounts may be suspended if we find violations of our policies or the Terms and
Conditions.

If we detect an egregious violation your account will be suspended immediately and
without prior warning. An egregious violation of the Google Ads policies is a violation so
serious that it is unlawful or poses significant harm to our users or our digital
advertising ecosystem. Egregious violations often reflect that the advertiser's overall
business does not adhere to Google Ads policies or that one violation is so severe that



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    we cannot risk future exposure to our users. Given that egregious violations will result in
    immediate account suspension, upon detection and without prior warning, we limit
    these to cases when such action is the only effective method to adequately prevent
    illegal activity and/or significant user harm.

    For other violations that lead to account suspension, we will send you a warning to
    outline the nature of the policy violation and any remedial action that can be taken, in
    order to comply. This notification will be sent at least 7 days prior to suspension action.

    If we suspend your account, all ads in the suspended account will stop running, and we
    will no longer accept advertising from you. Any related accounts (for example, accounts
    using the same payment method) will also be suspended, and any new accounts you
    create will be automatically suspended. Learn more about suspended accounts

    Remarketing list disabling
    Remarketing lists that don’t follow the Personalized advertising policy may be disabled,
    meaning that these lists can no longer be used with ad campaigns, and new users won’t
    be added to the lists. List creation restrictions may apply to both individual web pages
    and entire websites or apps.

    Compliance review
    We may review your business for compliance with the Customer Match policy at any
    time. If we contact you to request information related to compliance, you're required to
    respond in a timely manner and swiftly take any corrective action needed to comply
    with our policies. If you have a manager account, we may also contact your managed
    accounts to verify compliance.
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                               Submit
    Disapprovals and suspensions
   Fix ads with policy violations
   Submit a campaign for policy review
   What happens if you violate our policies




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   About Google Ads policy account suspensions
   About Google Ads account pausing
   Age requirements on Google Accounts

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский




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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies



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   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next


Legal requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We expect all advertisers to comply with the local laws for any area their ads target, in
addition to the standard Google Ads policies. We generally err on the side of caution in
applying this policy because we don’t want to allow content of questionable legality.

Below you will find country-specific legal requirements, but note that this is not an
exhaustive list. Advertisers are expected to do their own research on the local
regulations for any location their ads target. Learn about what happens if you violate our
policies.

Trade sanctions violation
The following is not allowed:

      Advertisers must comply with applicable sanctions and export regulations,
      which includes sanctions administered by the Office of Foreign Assets
      Control (“OFAC”), and agree to not cause Google to violate these
      regulations. You cannot use Ads for or on behalf of restricted entities or
      individuals. You cannot use Ads for or on behalf of entities or individuals
      located in sanctioned countries or regions.




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       In addition, Ads is not available to any entities or individuals that are
       restricted under applicable trade sanctions and export compliance laws. It
       is also not available to entities or individuals owned or controlled by or
       acting for or on behalf of such restricted entities or individuals.
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




             Ad campaigns that geographically target embargoed countries or
       territories
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Ad campaigns that are run on behalf of businesses that are located in
       embargoed countries or regions, even if the account owner is not located
       in an embargoed country or region
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Ad campaigns that are run by or on behalf of entities or individuals
       that are restricted under applicable trade sanctions and regulations

                                              Note: Google must comply with sanctions imposed by OFAC.
                                              Entities and individuals who are restricted cannot create or
                                              use a Google Ads account or have Google Ads used on their
                                              behalf. People who are located in or ordinarily reside in
                                              embargoed countries or territories cannot create or use a
                                              Google Ads account. Currently, there are embargoes on
                                              Crimea, Cuba, Iran, North Korea, and Syria.

Learn how to fix a suspended account.

Audiovisual Media Services Directive
For advertisers targeting their ads in the European Union and the UK, this may mean that
you need to comply with the requirements of the Audiovisual Media Services Directive
(AVMSD) in the form implemented in the targeted country. We have set out Article 9 of
the Directive below for reference.

This is not an exhaustive list of local legal requirements in each country, and advertisers
are still responsible for researching and complying with local laws where your business
operates, and in any region your ads target.

Article 9

1. Member States shall ensure that audiovisual commercial communications provided by
media service providers under their jurisdiction comply with the following requirements:
(a) audiovisual commercial communications shall be readily recognisable as such;
surreptitious audiovisual commercial communication shall be prohibited;



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(b) audiovisual commercial communications shall not use subliminal techniques;
(c) audiovisual commercial communications shall not:
                                   (i) prejudice respect for human dignity;
                                   (ii) include or promote any discrimination based on sex, racial or ethnic
                                   origin, nationality, religion or belief, disability, age or sexual orientation;
                                   (iii) encourage behaviour prejudicial to health or safety;
                                   (iv) encourage behaviour grossly prejudicial to the protection of the
                                   environment;
(d) all forms of audiovisual commercial communications for cigarettes and other tobacco
products, as well as for electronic cigarettes and refill containers shall be prohibited;
(e) audiovisual commercial communications for alcoholic beverages shall not be aimed
specifically at minors and shall not encourage immoderate consumption of such
beverages;
(f) audiovisual commercial communications for medicinal products and medical
treatment available only on prescription in the Member State within whose jurisdiction the
media service provider falls shall be prohibited;
(g) audiovisual commercial communications shall not cause physical, mental or moral
detriment to minors; therefore, they shall not directly exhort minors to buy or hire a
product or service by exploiting their inexperience or credulity, directly encourage them to
persuade their parents or others to purchase the goods or services being advertised,
exploit the special trust minors place in parents, teachers or other persons, or
unreasonably show minors in dangerous situations.

Local legal requirements
To see the type of local legal requirements that Google monitors in advertising, select a
country from the menu below. Note that this is not an exhaustive list of local legal
requirements or countries, and you are still responsible to research and comply with
local laws where your business operates and in any region your ads target.

                                                                                                    United States
                                   The restrictions below are for ads targeting this country:
                                                                  United States

United States
The linked image cannot
be display ed. The file
may have been mov ed,
renamed, or deleted.
Verify that the link points
to the correct file and
location.




                              An example of what's allowed with limitations

                                  Vehicle service contracts: Vehicle service contracts are purchased by
                                   consumers to cover the costs associated with vehicle repair after a
                                   manufacturer's warranty has expired. Google allows ads for vehicle
                                   service contracts if manufacturers or auto brands are mentioned in the ad




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                                            or on the landing page, and the landing page must clarify affiliation/non-
                                            affiliation with those manufacturers or auto brands.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Some examples of what's not allowed

                                           Canadian online pharmacy ads: Google doesn't allow Canadian online
                                            pharmacy ads to target customers in the United States.
                                           Government grant and stimulus-related promotions
                                           Sale of contact lenses without prescription




                                            Troubleshooter: Local legal requirements

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                                                          Was this helpful?
                                                                              YesNo




                                                                                Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games



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   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina




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25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
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     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



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o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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Share additional info or suggestions




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Advertising Policies Help

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                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                        Next


Fix a disapproved ad
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

This article explains how to find out if your ad is disapproved or limited by policy, why
your ad is disapproved or Eligible (limited), and how to edit your ads and resubmit your
ad for review. Additionally you will learn how to appeal a policy decision.

If any of your ads are disapproved or limited, in the “Status” column you’ll see
“Disapproved" or “Eligible (limited),” and the ad may not be able to run. Hover the cursor
over the status of your ad to receive information, including the policy violation impacting
your ad.



To see subtitles in your language, turn on YouTube captions. Click the Settings icon at
the bottom of the video player, select "Subtitles," and then specify your language.




Edit and resubmit your ad
If your ad is affected by policies not related to the destination, below are steps to fix the
ad:




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1.   Find the ad or extension you want to fix on the "Ads and extensions" page.
2.   In the status column you’ll see “Disapproved” or “Eligible (limited).”
3.   Hover over the status to see the policy violation.
4.   Click Read the policy under the disapproval reason to learn how to fix your ad.
                          The linked image cannot
                          be display ed. The file
                          may hav e been moved,
                          renamed, or deleted.
                          Verify that the link points
                          to the correct file and




5. Click the pencil icon     to edit your ad.
                          location.




6. Edit the ad or extension so that it complies with the policy.
7. Click Save. Your ad will be automatically reviewed again. Check the ad’s status in the
   “Ads and extensions” page for updates.

     Note: The edits to fix your ad vary depending on the type of policy violation and the type
     of ad.

    For video or image ads, please review the video and image ad requirements.
    For destination requirements, please review the policy page, work with your webmaster
     to fix the problem, and then appeal.

     Due to adjusted work schedules at this time, we are currently experiencing longer than
     usual times to process new ads in non-text formats (such as Video, RDA, App, etc.)

     Appeal policy decision
     The option to appeal a policy decision is now available for most formats and policies. If
     you have a disapproved ad, please review the sections below or use the Policy Manager.

     For any unsupported formats and policies, you can dispute policy decisions using the
     Disapproved ads and policy questions form.

     If you believe we’ve made an error or have fixed your destination, you can appeal the
     policy decision directly from your Google Ads account. Start by clicking Ads and
     extensions in the left page menu. From here, there are two ways to appeal.

     How to appeal policy decisions from the “Ads and
     extensions” table
     How to appeal policy decisions from an ad's "Status"
     column
     Check appeal status
     After appealing, you can always check on the review status in the Policy Manager.




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                       The link ed image cannot
                       be display ed. The file
                       may have been moved,
                       renamed, or deleted.
                       Verify that the link points
                       to the correct file and




1. Click the tool icon    in the upper right corner of your account.
                       location.




2. Under "Setup," click Policy Manager.
3. On the “Appeal history” tab, you’ll find details for all ads you’ve appealed.
 The “Status” column shows whether the appeal is still in progress or complete.
 The “Results” column shows the results of the appeal, including how many ads had their
   policy review status updated after the review. If you submit the same appeal too many
   times, you may see the status 'Exceeded appeal retry-limit' in the Appeals History tab
   within Policy Manager. Please contact customer support for assistance with filing a
   new appeal.

    Related link

   About Google Ads policies.

    Give feedback about this article
    Choose a section to give feedback on

                                                     Was this helpful?
                                                         YesNo




                                                         Submit
    Disapprovals and suspensions
   Fix ads with policy violations
   Submit a campaign for policy review
   What happens if you violate our policies
   About Google Ads policy account suspensions
   About Google Ads account pausing
   Age requirements on Google Accounts

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   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch




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4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

   Send feedback on...
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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services, per our Privacy & Terms.




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     YouTube Help

     Sign in
                                                                       Send feedback on...

     This help content & information

     General Help Center experience
                                                                                             Next
     Help CenterCommunity


     Manage subtitle settings
     Captions (subtitles) are available on videos where the owner has added them, and on
     some videos where YouTube automatically adds them. You can change the default
     settings for captions on your computer or mobile device.

     Computer AndroidiPhone & iPad

     You can customize captions by changing their appearance and language.

     Turn captions on or off
1.   Go to the video you'd like to watch.
                                        The link ed
                                        image cannot




2.   If captions are available, will be visible on the bottom right of the video player.
                                        be displayed.
                                        The file may
                                        hav e been
                                        moved,
                                        renamed, or
                                        deleted. Verify …




                                                   The link ed
                                                   image cannot




3.   To turn on Captions, click     .
                                                   be displayed.
                                                   The file may
                                                   hav e been
                                                   moved,
                                                   renamed, or
                                                   deleted. Verify …




                                                   The linked
                                                   image cannot




4.   To turn off captions, click again.
                                                   be display ed.
                                                   The file may
                                                   hav e been
                                                   mov ed,
                                                   renamed, or
                                                   deleted. Verify …




     Turn default setting to on or off
                                        The link ed
                                        image cannot




1.   Click your profile picture  .
                                        be displayed.
                                        The file may
                                        hav e been
                                        moved,
                                        renamed, or
                                        deleted. Verify …




                    The link ed
                    image cannot




2.   Click Settings     .
                    be displayed.
                    The file may
                    hav e been
                    moved,
                    renamed, or
                    deleted. Verify …




3.   From the left-hand Menu, click Playback and performance.
4.   Check or uncheck Always show captions.
5.   Check or uncheck Include auto-generated captions (when available). This option turns
     on or off automatic captions for videos that don't have captions added.

     Change default size & style of captions


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    Change caption size & style
                                                                 The link ed




1. At the bottom right of the video player, click Settings                           .
                                                                 image cannot
                                                                 be display ed.
                                                                 The file may
                                                                 hav e been
                                                                 mov ed,
                                                                 renamed, or
                                                                 deleted. Verify …




2. Click Subtitles/CC.
3. Click Options.

    You can customize:

   Font, color, opacity, and size.
   Background color and opacity.
   Window color and opacity.
   Character edge style.

    Note: These settings will be your default captions format settings until you change them
    again or click Reset to go back to the default captions format.

    Select caption language
    To choose a different caption language:
                                         The link ed




1. At the bottom right, click Settings                       .
                                         image cannot
                                         be display ed.
                                         The file may
                                         hav e been
                                         mov ed,
                                         renamed, or
                                         deleted. Verify …




2. Click Subtitles/CC.
3. Select a language.

    If the language isn't listed when you click Subtitles/CC:

1. Click Auto-translate.
2. Select a language.

    View captions transcript
    For videos with captions added by the owner, you can view the full captions transcript,
    and jump to specific parts of the video.
                                                                                         The link ed
                                                                                         image cannot




1. Below the bottom-right corner of the video player, click More .
                                                                                         be display ed.
                                                                                         The file may
                                                                                         have been
                                                                                         mov ed,
                                                                                         renamed, or
                                                                                         deleted. Verify …




2. Click Open Transcript. As you watch the video, the transcript will scroll to show you the
   current caption text.
3. Click any line of caption text to jump to that part of the video.

    Caption settings on TV & game consoles
    You can select or change your caption settings on any TV, game console, or media
    device that supports YouTube.

1. Pause the video you’re playing.



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                    The link ed




2.   Tap Captions      .
                    image cannot
                    be display ed.
                    The file may
                    have been
                    mov ed,
                    renamed, or
                    deleted. Verify …




3.   Select the language you want Captions in.
4.   Select Caption style.
5.   Select the settings you want to customize. You can change the font and its appearance.
     You can also change the background and window that the captions are displayed in.
                                                                 The link ed




     Note: If the video doesn't offer captions,
                                                                 image cannot




                                                 might show but won't
                                                                 be displayed.
                                                                 The file may
                                                                 hav e been
                                                                 moved,
                                                                 renamed, or
                                                                 deleted. Verify …




                                        The linked




     be selectable. If    doesn’t show, captions aren’t available for that video.
                                        image cannot
                                        be display ed.
                                        The file may
                                        hav e been
                                        mov ed,
                                        renamed, or
                                        deleted. Verify …




     Give feedback about this article
     Choose a section to give feedback on

                                                            Was this helpful?
                                                                YesNo




                                                                Submit
     Change video settings
    Search for videos with captions
    Manage subtitle settings
    Contribute translated content

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    Privacy Policy
    YouTube Terms of Service

      English?

     English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu




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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
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    Google Help


   Help Center




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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy




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   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

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    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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Advertising Policies Help

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This help content & information

General Help Center experience
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Video ad requirements

Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Video ads use videos for better engagement with users. Video ads are subject to the
standard Google Ads policies and the requirements below. Note that these
requirements apply to in-stream ads, video discovery ads, non-skippable in-stream ads,
and bumper ads.
To find specs and related details for creating video ads, see the Display Specs Help
Center.

Length of video ads
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Non-skippable in-stream ads that are longer than 15 seconds

                                                  There is no limit on skippable in-stream ads, but we
                                                  recommend using videos that are less than 3 minutes long.

Learn how to fix a disapproved ad or extension. If you can’t edit the video to meet these
requirements, upload a different video that complies with the policy.

Data collection in video ads


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The following are not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Tracking pixels that are not SSL-compliant, including all subsequent
      calls
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Tracking pixels on the midpoint and complete events

                                               Note: Tracking pixels are allowed on the impression, view,
                                               and skip events.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             More than three tracking pixels per event

                                               Note: To include tracking pixels for more than one vendor
                                               per event, the client or agency is responsible for
                                               piggybacking or daisy-chaining the pixels.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Using Javascript for data collection

                                               Note: A third-party click redirect or click command is
                                               acceptable.

Learn how to fix a disapproved ad or extension. If you can’t edit the video to meet these
requirements, upload a different video that complies with the policy.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to video ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.

      Unacceptable video format

      All videos must be uploaded in an approved format. See the Unacceptable
      video format policy for more information.

      Unavailable video

      All videos must be publicly available. See the Unavailable video policy for
      more information.

      Unclear relevance




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      All information should be relevant to what you’re advertising. For example,
      all submitted ad fields must represent the same advertiser and be relevant
      to the promoted product. See the policy on Unclear relevance for more
      information.

      Unclear content

      All information and media in ads and extensions should be easily
      understandable and clearly identify the product, service, or entity you are
      advertising. See the Unclear content policy for more information. Videos
      must include a name or logo that clearly represents the advertiser,
      product, or service in the video.

      Video quality

      All videos used in advertising must meet certain quality standards. See the
      Video quality policy for more information.

      Sexual content

      To keep ads relevant and safe for users, Google restricts sexual content in
      certain circumstances. See the Sexual content policy for more
      information.

      Copyrights

      To advertise copyrighted content, you must either own the copyright or be
      legally authorized to advertise with it. See the Copyrights policy for more
      information.

      Shocking content

      Content that could be shocking for users is not allowed in any ads. Some
      examples include obscene language, gruesome imagery, and gore. See
      the Shocking content policy for more information.

      Third-party ad serving

      All third-party tracking pixels must meet our third-party ad serving
      requirements.
Give feedback about this article
Choose a section to give feedback on

                                    Was this helpful?



                                                                                    1269
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                                        YesNo




                                        Submit
    Help
   Call extension requirements
   Callout extension requirements
   Location extension requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Video ad requirements

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)



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23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process




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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links




                                                                            1272
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Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1273
                                                                                 1468
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Advertising Policies Help

Sign in
                                                                       Send feedback on...

This help content & information

General Help Center experience
                                                                                                               Next


Image ad requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Image ads include an image with your ad and are available in a range of dimensions.
Image ads are subject to the standard Google Ads policies and the requirements below.
Note that these requirements also apply to Image overlay ads and HTML5 ads.

Animation in image ads
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Animations that last longer than 30 seconds

                                                  Note: Shorter animations can loop or repeat, but must stop
                                                  after 30 seconds.

      HD animated gifs are no longer supported in Google Ads

Learn how to fix a disapproved ad or extension. If you can’t edit the image to meet this
requirement, upload a different image that complies with the policy.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to image ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.



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          Image quality

          All images used in advertising must meet certain quality standards. The
          image layout must conform to Google Ads standards and the image itself
          can’t be blurry. See the Image quality policy for more information.

          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information.

          Misleading content

          All information should be accurate and descriptive of what you’re
          advertising. See the Misleading content policy for more information.
          Image ads can’t contain images that resemble site warnings or error
          messages, and images can’t appear to be more than one ad.

          Sexual content

          To keep ads relevant and safe for users, Google restricts sexual content in
          certain circumstances. See the Sexual content policy for more
          information.
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                            Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements



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   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar




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17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong




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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                                                      Send feedback on...

This help content & information

General Help Center experience
                                                                                                                  Next


Destination requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We want consumers to have a good experience when they click on an ad, so ad
destinations must offer unique value to users and be functional, useful, and easy to
navigate.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Destination experience
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Destinations or content that are unnecessarily difficult or frustrating
      to navigate

                                                Examples: Websites with pop-ups or interstitials that
                                                interfere with the user's ability to see the content requested;
                                                sites that disable or interfere with the browser's back button;
                                                websites that don't load quickly on most popular browsers
                                                and devices, or require download of an additional application




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                                           to view the landing page (aside from common browser plug-
                                           ins)
   The linked image cannot be
   display ed. The file may hav e been
   mov ed, renamed, or deleted. Verify
   that the link points to the correct
   file and location.




      Links that initiate a direct download from the ad or that lead to an
   email address or a file

                                           Examples: Images, video, audio, documents

                                           Note: Pharma advertisers are allowed to use PDF landing
                                           pages. There needs to be a caveat that PDF landing pages
                                           are approved for pharmaceutical certified ads/accounts.
   The linked image cannot be
   display ed. The file may hav e been
   mov ed, renamed, or deleted. Verify
   that the link points to the correct
   file and location.




                                         Destinations that contain abusive experiences.

                                           Examples: Websites that auto-redirect the page without user
                                           action; websites that contain ads that resemble system or
                                           site warnings or error messages.

   Troubleshooter: Destination experience

1. Find the problem. Use the policy above and additional explanations below
   to identify the problem.

                                           Pop-ups: We consider a pop-up to be any window, regardless
                                           of content, that opens in addition to the original landing
                                           page. Here are some examples:

                                                 Timed pop-ups
                                                 Self-closing pop-ups
                                                 Intermittent pop-ups
                                                 Pop-ups generated from the ad itself
                                                 Download pop-ups
                                                 Pop-unders

                                           We allow interstitials as long as they don't hinder a user from
                                           exiting a site. Though similar to a pop-up, an acceptable
                                           interstitial is a type of graphic that appears within the
                                           landing page instead of opening a new browser window, and
                                           it does not hinder a user exiting a site or app.

                                           If you don't control the functionality of your landing page,
                                           please contact your hosting provider or the owner of the




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                                                website or app and ask them to remove any pop-ups from
                                                the landing page.

   2. Fix the ad's destination. If you can’t fix the ad’s destination, update the ad
      with a new destination that complies with this policy.
   3. Edit the ad. This will resubmit the ad and its destination for review.

        Most ads are reviewed within 1 business day, though some can take
        longer if they need a more complex review.

        If your website contained abusive experiences, follow the instructions
        below to resolve the violation:

   1.   Check the status of your site in Google Search Console.
   2.   Remove any abusive experiences from your website.
   3.   Follow these re-consideration guidelines.
   4.   If the review shows that the website no longer contains abusive
        experiences, your ads will be approved to run.

        If you aren't able to fix these violations, or you choose not to, please
        remove your ad to help prevent your account from becoming suspended in
        the future for having too many disapproved ads.

Insufficient original content
The following is not allowed:
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Destination content that is designed for the primary purpose of
        showing ads

                                                Examples: Driving traffic (through "arbitrage" or other
                                                methods) to destinations with more ads than original
                                                content, little or no original content, or excessive advertising
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Destination content that is replicated from another source without
        adding value in the form of original content or additional functionality

                                                Examples: Mirroring; framing; scraping content from another
                                                source; templates or pre-generated websites that provide
                                                duplicate content
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                                              Destinations that are solely designed to send users elsewhere



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                                               Examples: Bridge page, doorway, gateway, other
                                               intermediate pages that are only used to link to other sites
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Using a parked domain as an ad destination

                                               Examples: A site that is only intended to reserve a web
                                               address
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Destinations that are incomprehensible or don’t make sense

                                               Examples: Blank pages, gibberish landing page content

      Troubleshooter: Insufficient original content

      There are two options for resolving this violation:

   1. Fix the ad's destination. Focus on providing the user with useful, unique,
      and original content immediately, and don’t overload the destination with
      ads, regardless of how relevant the ads are to your ad text. Remove all
      HTML framesets that copy content from domains other than the ad
      landing page domain. If your site or app has search functionality, make
      sure that the search results aren't just copied from other sites or apps.
      Check to see if your site’s registration has expired.

      Once you’ve updated the destination to comply with our policies, make an
      edit in the ad and save it. This will resubmit the ad and its destination for
      review.

   2. Choose a different destination. If you can’t or don't want to make changes
      to the destination, edit the ad’s final URL to point to a different part of your
      website or app that does comply with the policy.

      If you aren't able to fix these violations, or you choose not to, please
      remove your ad to help prevent your account from becoming suspended in
      the future for having too many disapproved ads.

Destination mismatch
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads that don't accurately reflect where the user is being directed




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                                               Examples: Using the display URL "www.google.com" but
                                               leading to a landing page with the URL "www.youtube.com";
                                               using the keyword insertion feature in the top-level or
                                               second-level domain of your display URL, such as
                                               "www.{keyword}.com"
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           A domain or domain extension in the display URL that doesn’t match
      the final and mobile URLs

                                               Examples: Display URL: google.com and Final URL:
                                               example.com; Display URL: example.com and Final URL:
                                               example.org
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Failing to use a subdomain to clearly identify a site from all other
      sites hosted on that domain or from the parent domain

                                               Example: Display URL: blogspot.com and Final URL:
                                               mycompany.blogspot.com

                                               Note: A subdomain is not required if the domain is used
                                               exclusively by one company.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Redirects from the final URL that take the user to a different domain

                                               Example: The final URL http://example.com redirects to
                                               http://example2.com
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Tracking templates that don’t lead to the same content as the final
      URL

                                               Example: The final URL leads to a product category page, but
                                               the tracking template directs the user to a specific product
                                               page

      Troubleshooter: Destination mismatch

Destination not working
The following is not allowed:




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    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Destinations that don't function properly or have been incorrectly set
   up

                                            Examples: A site that returns an HTTP error code, such as
                                            403 Forbidden or 404 Not Found; a site that doesn't work in
                                            all locations or on common browsers and devices; DNS
                                            lookup errors; internal server errors; site under construction

   Troubleshooter: Destination not working

1. Check the URL that you entered. Check landing page URLs, keyword URLs,
   dynamic tracking URLs, and deep link URLs to make sure they are correct
   and don’t contain typos.
2. Fix the ad's destination. If the URL that you entered is correct, then it's
   possible that your site or app isn't working properly. Here are some things
   to check:

                                            Sites and apps: Your ad can't lead to an app currently under
                                            development or a website that returns an invalid HTTP
                                            status code. Even if your site loads successfully for you, it
                                            might not be loading properly in other circumstances, such
                                            as other web browsers and devices, or by the Google Ads
                                            system. Your site or app must work properly for all locations,
                                            regardless of where you're targeting your ad. Check the ad's
                                            destination on various browsers and devices to make sure
                                            that it always links to a working website or app. Apps can’t
                                            be promoted in places where the application is not available
                                            for download.

                                            HTTP response codes: Find out which error is happening on
                                            your destination and where it occurs. Note that a specific
                                            component on your page (like Javascript) can cause an
                                            error. Here are examples of HTTP header tools that can help:

                                                  http://www.fiddler2.com/fiddler2
                                                  https://addons.mozilla.org/en-
                                                   US/firefox/addon/3829/ (for Firefox)
                                                  https://www.google.com/webmasters/tools

                                            Once you know which code your landing page produces, see
                                            a definition and tips to fix each of these HTTP status codes.
                                            If you still can't identify the problem with your landing page,
                                            contact your webmaster or web hosting provider for help.




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                                               For sites that have recently migrated from HTTP to HTTPS,
                                               you should either set up a redirect to the new HTTPS URL or
                                               update the URLs in your ads and extensions. If you don’t, the
                                               URL may be inaccessible, which would result in ad or
                                               extension disapproval.

                                               App engagement ads: Check that you have set up your deep
                                               link URL correctly and that you are not using a third-party
                                               tracker. This is currently not supported for app engagement
                                               ads.

                                               App promotion ads: Ensure that any third-party trackers
                                               correctly redirect the user to the right app on the right app
                                               store.

   3. Submit the campaign for review. Once we confirm that the destination is
      working, we can approve your ads.
   4. If you can't fix your site or app, consider using a different destination for
      your ad that works. Edit your ad's final URL to point to another part of your
      website or app that doesn't violate our policies, then save your ad so we
      can review it again.

      If you aren't able to fix these violations, or you choose not to, please
      remove your ad to help prevent your account from becoming suspended in
      the future for having too many disapproved ads.

Destination not crawlable
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Destinations that are not crawlable by Google Ads

                                               Examples: Using exclusion files (such as "robots.txt") to
                                               restrict access to an entire site or to the majority of a site;
                                               restricting crawl capacity disproportionately to the number
                                               of ads being submitted

      Troubleshooter: Destination not crawlable

      Check your website or app settings to make sure that you aren't blocking
      Google Ads from crawling your content. You can also use Google Search
      Console to see how to make your pages accessible and to check for crawl
      errors. Then, see how to fix your exclusion files.




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       If you’re not blocking Google Ads from crawling your content, you might be
       inadvertently limiting efficient crawls. This is particularly likely if you have
       recently submitted a large volume of ads to Google. To make sure that
       you are not excessively restricting crawls, please check if you have set a
       low crawl rate in Google Search Console. If you use a click tracker for your
       ads, please check if that might be affecting the crawl capacity. If your
       website doesn’t have sufficient crawl capacity, consider breaking up your
       ad submissions into smaller batches spread across several days.

       Once you've made the necessary changes, submit the campaign for
       review. Once we confirm the problem has been resolved, we can approve
       your ads.

App or web store policy violation
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Destinations that violate their app or web store policies

                                               Examples: Extensions that violate Chrome Developer
                                               Program Policies or apps that violate Google Play Policies

Troubleshooter: Destination experience
For details on the violation(s), please review the notification that the app or web store
(i.e., Chrome Web Store or Google Play Store) sent you. Once there is resolution with
your app or web store, ad serving can resume.

Unacceptable URL
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             URLs that do not follow standard syntax
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Using an IP address as the display URL

                                               Example: 123.45.678.90
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Display URLs that use unacceptable characters

                                               Examples: Characters such as !, *, #, _, @



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Learn how to fix a disapproved ad or extension.

Unrecognized app
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Apps that cannot be recognized by Google

                                               Examples: Malformed App ID or App store, app deleted or
                                               suspended in app store

Learn how to fix a disapproved ad or extension.

Unverified phone number
The following is not allowed in call-only ads, call extensions, and location extensions:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Phone numbers that haven’t been verified by Google
       Troubleshooter: Unverified phone number

   1. Verify your phone number. There are two ways to verify a phone number:

                                               Display the number on your site. The phone number in your
                                               ad must be present on the website featured in your ad. This
                                               means that if the phone number appears in ads for different
                                               websites, then that phone number must appear on at least
                                               one page for each of those websites. Remember that the
                                               verification URL must have the same domain as your ad's
                                               display URL. The number must appear in text and will not
                                               meet the policy if it appears as an image. Your phone
                                               number will be more easily detected and verified if it is
                                               featured on a landing page that is visited frequently.

                                               Verify domain ownership. You can also verify your phone
                                               number by proving ownership of your ad's display URL
                                               domain. Do this by linking your Google Search Console and
                                               Google Ads accounts or by adding your unique Google Ads
                                               conversion tracking tag or remarketing tag to your website.

   2. Edit your location extension. If you're using a location extension, the
      associated phone number must follow the requirements above. There are
      two ways to edit your extension based on the address you want to use.




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                                               Google My Business address: If the disapproved location is
                                               an address from Google My Business, you'll need to sign in
                                               to your Google My Business account and update your
                                               location information there, which will automatically transfer
                                               over to Google Ads. Learn how to edit a Google My Business
                                               listing.

                                               Manually entered address: If you manually entered the
                                               address, hover over that address and click the pencil icon to
                                               edit your location information. Review the company name
                                               and ensure you're not using an unauthorized trademark.

   3. Edit your call-only ad or call extension. Change the phone number in your
      ad or extension so that your ad can be approved.

       Once you edit and save your ad or extension, it's sent to us for review.
       Most ads are reviewed within 1 business day, though some can take
       longer if they need a more complex review. If we find that you've removed
       the unacceptable content from your ad and landing page, we can approve
       your ad to start running.

       If you aren't able to fix these violations, or you choose not to, please
       remove your ad to help prevent your account from becoming suspended in
       the future for having too many disapproved ads.

Unacceptable phone number
The following is not allowed in call-only ads, call extensions, and location extensions:
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       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Phone numbers that are inaccurate, inactive, irrelevant, or that don't
       connect to the advertised company.

                                               Note: Google may occasionally place short test calls to the
                                               phone number provided in order to confirm its validity,
                                               accuracy, and relevancy, and may also record these test
                                               calls.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Fax numbers, premium numbers, or vanity numbers

                                               Example of premium numbers: Any number that requires
                                               additional fees or charges to complete the call, such as 1-
                                               900 numbers in the United States or 871 numbers in the
                                               United Kingdom



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                                           Example of vanity numbers: Phone numbers where numbers
                                           have been replaced by letters, such as "1-800-GOOG-411"
                                           instead of "1-800-466-4411"

                                           Note: You can use shared cost phone numbers, but they'll
                                           show with a disclaimer stating that additional charges may
                                           apply.
   The linked image cannot be
   display ed. The file may hav e been
   mov ed, renamed, or deleted. Verify
   that the link points to the correct
   file and location.




       Phone numbers that are not local or domestic for the country you are
   targeting

                                           Example: Using a local German number in an ad that targets
                                           Canada
   The linked image cannot be
   display ed. The file may hav e been
   mov ed, renamed, or deleted. Verify
   that the link points to the correct
   file and location.




                                         Virtual phone number services or personal numbering

                                           Note: This service is only available in certain countries, such
                                           as the United Kingdom and Spain.
   The linked image cannot be
   display ed. The file may hav e been
   mov ed, renamed, or deleted. Verify
   that the link points to the correct
   file and location.




                                         Phone numbers that do not have an active voicemail service

   Country-specific restrictions: Brazil

   For phone numbers in Brazil, make sure you include a carrier code for the
   carrier of your choice. For example, instead of "11 5555-1234" use "0XX11
   5555 1234" (where "XX" stands for the carrier code). For toll-free or shared
   cost numbers such as 4004 or 0800, no carrier codes are necessary.

   Troubleshooter: Unacceptable phone number

1. Fix your phone number. Provide a functional, relevant phone number that
   connects to the advertised company and is domestic to the country you
   want to target.
2. Edit your location extension. There are two ways to edit your extension
   based on the address you want to use.

                                           Google My Business address: If the disapproved location is
                                           an address from Google My Business, you'll need to sign in
                                           to your Google My Business account and update your
                                           location information there, which will automatically transfer
                                           over to Google Ads. Learn how to edit a Google My Business
                                           listing.



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                 Manually entered address: If you manually entered the
                 address, hover over that address and click the pencil icon to
                 edit your location information. Review the company name
                 and ensure you're not using an unauthorized trademark.

       3. Edit your call-only ad or call extension. Enter a phone number that
          complies with the policy.

          Once you edit and save your ad or extension, it's sent to us for review.
          Most ads are reviewed within 1 business day, though some can take
          longer if they need a more complex review. If we find that you've removed
          the unacceptable content from your ad and landing page, we can approve
          your ad to start running.

          If you aren't able to fix these violations, or you choose not to, please
          remove your ad to help prevent your account from becoming suspended in
          the future for having too many disapproved ads.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
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    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial



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   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

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   Terms of Service

     English?

    English

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2. dansk
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5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português




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22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process




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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Google Ads Help

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Help CenterCommunityAnnouncements


Our commitment to help you with policy
compliance
March 14, 2019

Protecting our users and advertisers from bad actors is very important to us, and that’s
why we have strict policies that govern the kinds of ads we allow on our platform. We
also work hard to help good advertisers avoid making honest mistakes that lead to
policy violations. That’s why we’re rolling out new features to help you achieve your full
campaign potential by allowing you to easily navigate the policy restrictions that may
affect your ads.

Introducing the Policy manager

In April, we’re introducing a new Policy manager, to provide a centralized and
customized experience in Google Ads where you can monitor policy restrictions of ads,
keywords, and extensions across your entire account. Over time, we’ll continue to add
new features here, including recommendations for fixing your ads, a history of your
appeals, an overview of your account’s certifications and more.
                                                 The link ed image cannot be
                                                 displayed. The file may hav e been
                                                 moved, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




To access Policy manager in Google Ads, click “Setup” in the Tools Table, then select the
                               “Policy manager” tab

Get additional insight behind policy decisions




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Beginning last year, advertisers were able to see additional information about what
caused their ad to be disapproved by simply hovering over the ad. We will continue to
expand this capability in 2019.
The linked image cannot be            The linked image cannot be
display ed. The file may hav e been   display ed. The file may hav e been
mov ed, renamed, or deleted. Verify   mov ed, renamed, or deleted. Verify
that the link points to the correct   that the link points to the correct
file and location.                    file and location.




                                                                            Find detailed information on ads disapprovals by hovering over your ads

Enable policy appeals in just a few clicks

If you disagree with an action we’ve taken on your ads, soon you will be able to appeal
the decision for another review with just a few clicks, directly within Google Ads. This
feature will start rolling out to accounts this spring and will be available for text ads for
most policy violations. Hover over a disapproved or limited ad and look for the
“resubmit” link to see if you’re eligible. You’ll also be able to track the status of your
appeal in the Policy manager.
                                                                                                             The link ed image cannot be
                                                                                                             displayed. The file may hav e been
                                                                                                             moved, renamed, or deleted. Verify
                                                                                                             that the link points to the correct
                                                                                                             file and location.




                                                                                     We’re making it easier to resubmit ads in Google Ads

Detect violations in real-time

In some cases, we’re able to detect policy violations during ad creation. In those cases,
we’ll provide real-time feedback to help you understand potential policy violations
before they actually occur. You can then make changes to your ad right away to bring
them into compliance.
                                                                                                             The link ed image cannot be
                                                                                                             displayed. The file may hav e been
                                                                                                             moved, renamed, or deleted. Verify
                                                                                                             that the link points to the correct
                                                                                                             file and location.




                                                                                 Make sure to check our real-time feedback during ad creation

We’re excited to introduce new tools to further help you navigate policy requirements
and create high-quality, compliant ads.

Posted by Hristo Stefanov, Product Manager, Search Ads

Give feedback about this article
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                                                                                                       Was this helpful?
                                                                                                           YesNo




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                                                                         Submit
                                                                  Need more help?
                                            Sign in for additional support options to quickly solve your issue
    The linked image cannot be
                                                                         Sign in
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




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    Approved by the team who built Google Ads, the Google Ads Best Practices newsletter
    provides actionable tips and tactics to help you get the most out of your campaigns.

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   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

              English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands




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19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
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32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback on...
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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates




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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



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   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

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    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next


About Google Ads policy account suspensions
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

We take legal requirements and the safety of users very seriously, so advertiser actions
that put our users, Google, or our partners at risk can lead to an account suspension,
which is a ban from using Google Ads. This is essential for us to maintain a healthy and
sustainable digital advertising ecosystem with user protection at its core.

Why we suspend accounts
Google Ads policies and Terms & Conditions help create a safe and positive experience
for users and advertisers. Accounts may be suspended if we find violations of our
policies or the Terms & Conditions.

If we detect an egregious policy violation (defined below) your account will be
suspended immediately and without prior warning.

For other policy violations that lead to account suspension, we will send you a warning
to outline the nature of the policy violation and any remedial action that can be taken, in
order to comply. This notification will be sent at least 7 days prior to suspension action.

What is an egregious violation?
An egregious violation of the Google Ads policies is a violation so serious that it is
unlawful or poses significant harm to our users or our digital advertising ecosystem.
Egregious violations often reflect that the advertiser's overall business does not adhere



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to Google Ads policies or that one violation is so severe that we cannot risk future
exposure to our users. Given that egregious violations will result in immediate account
suspension, upon detection and without prior warning, we limit these to cases when
such action is the only effective method to adequately prevent illegal activity and/or
significant user harm.

How does Google Ads detect policy violations?
We use both automated and human evaluation to detect violations of Google Ads
policies. We review information from a variety of sources, including your ads, accounts
and content, user complaints, consumer reviews, regulatory warnings and rulings.

What happens if an egregious violation is detected?
If we detect an egregious violation, we will suspend your Google Ads accounts
immediately and without prior warning.You will not be allowed to advertise with us
again.

Which policies are considered to be egregious?
Circumventing systems

Coordinated deceptive practices

Counterfeit

Promotion of unauthorized pharmacies

Unacceptable business practices

Trade Sanctions violation

Are there any other policy violations that can lead to an account
suspension?
Yes. Violations of any Google Ads policy can lead to an account suspension. If an
advertiser violates a Google Ads advertising policy we will send a warning to outline the
nature of the policy violation and any remedial action that can be taken, in order to
comply. At that time, the advertiser will be given an opportunity to remedy the violation
or, if they do not believe they have violated the policy, explain why they do not believe
they are in violation of the policy. This notification will be sent at least 7 days prior to
suspension action.




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Can repeated violations of a policy lead to account suspension?
Yes. Repeated violations of any Google Ads policy can lead to an account suspension. If
an advertiser repeatedly violates a Google Ads advertising policy we will send a warning
to outline the nature of the policy violations and any remedial action that can be taken,
in order to comply. At that time, the advertiser will be given an opportunity to remedy the
violations or, if they do not believe they have violated the policy, explain why they do not
believe they are in violation of the policy. This notification will be sent at least 7 days
prior to suspension action.

Are there any other non policy reasons that can lead to an
account suspension?
Yes. You can learn more of other reasons for account suspensions here.

How will an advertiser be notified of a suspension?
Advertisers whose accounts are suspended will receive an in-account notification, as
well as an email notification. The email notification will identify all policies the
advertiser has been suspended for violating and a link to submit an appeal.

Can an account suspension be appealed?
Yes. If you believe there’s been an error, and that you haven’t violated our policies,
please submit an appeal. You can do this by navigating to the "Contact Us" link, which
will direct you to the appeal form on the right side of your screen within your Google Ads
account. While you complete the form, relevant policy information will appear to help
you understand the reason for the suspension and the appeal process. If you select
“Contact Us” again while your appeal is still being processed, your Ads account will have
an “Appeal pending” status. Once your appeal is reviewed, you will receive an email with
the outcome. If your appeal is rejected, you can re-appeal following the same process
that is outlined above.

We only reinstate accounts in compelling circumstances,such as in the case of a
mistake,so it's important that you take the time to be thorough, accurate, and honest.

Can a suspended advertiser set up or use other accounts?
No. Accounts related to the suspended account (for example, accounts using the same
email or payment method, or accounts linked to the same manager account) will be
suspended. We take the safety of users very seriously, so advertiser actions that put our




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    users, Google, or our partners at risk result in a ban from using Google Ads. In addition
    any new accounts that the advertiser tries to create will be suspended.

    Can an advertiser access their suspended accounts?
    Suspended accounts cannot run any ads. Advertisers can, however, still access their
    suspended accounts and any associated reports.

    How to request a refund
    If your account was suspended, and you qualify for a refund, you can always cancel your
    account and receive your refund.

    To download a copy of this information, use your browser’s Print to PDF feature to save
    this to your computer.

    Remember that this page may be updated over time, so be sure to visit the page on this
    website for the most up-to-date information on account suspensions.

    Give feedback about this article
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                                         Was this helpful?
                                             YesNo




                                              Submit
    Disapprovals and suspensions
   Fix ads with policy violations
   Submit a campaign for policy review
   What happens if you violate our policies
   About Google Ads policy account suspensions
   About Google Ads account pausing
   Age requirements on Google Accounts

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   Terms of Service

     English?




                                                                                         1306
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   English

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7. español
8. español (Latinoamérica)
9. Filipino
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14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
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28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語



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43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service




                                                                            1308
                                                                             1503
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   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

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    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit
    By continuing, you agree Google uses your answers, account & system info to improve
    services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
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Google Ads Terms & Conditions
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Terms and Conditions can vary based on location. Google advertisers can find the
Terms and Conditions for their country with our Google Ads Terms and Conditions
finder.

For advertisers in Australia:

On November 1, 2016, the Google Advertising Program Terms applicable to Australia-
based customers were changed and assigned to Google Australia Pty Ltd. A copy of the
updated terms is available below:

      Advertising Program Terms

      These Advertising Program Terms (“Terms”) are entered into
      by Google Australia Pty Ltd (“Google”) and the entity executing these
      Terms or that accepts these Terms electronically (“Customer”). These
      Terms govern Customer’s participation in Google’s advertising programs
      and services (i) that are accessible through the account(s) given to
      Customer in connection with these Terms or (ii) that incorporate
      by reference these Terms (collectively, “Programs”). Please read these
      Terms carefully. They require the use of binding arbitration to resolve
      disputes.

      1 Programs. Customer authorizes Google and its affiliates to place
      Customer’s advertising



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 materials, feed data, and technology (collectively, “Ads” or “Creative”) on
 any content or property (each a “Property”) provided by Google or
 its affiliates on behalf of Google or, as applicable, a third party
 (“Partner”). Customer is solely responsible for all: (i) Ads, (ii)
 Ads trafficking or targeting decisions (e.g., keywords)
 (“Targets”), (iii) destinations to which Ads direct viewers (e.g., landing
 pages, mobile applications) along with the related URLs, waypoints, and
 redirects (“Destinations”), and (iv) services and products advertised on
 Destinations (collectively, “Services”). The Program is an advertising
 platform on which Customer authorizes Google and its affiliates to use
 automated tools to format Ads. Google and its affiliates may also make
 available to Customer certain optional Program features to assist
 Customer with the selection or generation of Targets, Ads, or
 Destinations. Customer is not required to authorize use of these optional
 features and, as applicable, may opt-in to or opt-out of usage of these
 features. However, if Customer uses these features, then Customer will
 be solely responsible for the Targets, Ads, and Destinations. Google and
 its affiliates or Partners may reject or remove a specific Target, Ad, or
 Destination at any time for any reason. For example an Ad or Target may
 be rejected or removed by Google if it violates the Policies or if Google
 believes the Ad or Target would expose Google or a Partner to liability.
 Google and its affiliates may modify or cancel Programs at any
 time. Customer acknowledges that Google or its affiliates may participate
 in Program auctions in support of its own services and products. Some
 Program features are identified as “Beta” or as otherwise unsupported or
 confidential (collectively, “Beta Features”). Customer may not disclose any
 information from Beta Features or the terms or existence of any non-
 public Beta Features.



 2 Policies. Customer is solely responsible for its use of the Programs
 (e.g., access to and use of Program accounts and safeguarding
 usernames and passwords) (“Use”). Program Use is subject to applicable
 Google policies available at google.com/ads/policies, and all other
 policies made available by Google to Customer, including Partner policies,
 and to the extent applicable, the Google EU User Consent Policy
 at privacy.google.com/businesses/userconsentpolicy (in each case, as
 modified from time to time, “Policies”). Customer also authorizes Google
 to modify Ads as described in Policies. In connection with the Program,
 Google will comply with the Google Privacy Policy available
 at google.com/policies/privacy (as modified from time to time). To the
 extent Program Use is within scope, Google and Customer agree, as
 applicable, to the (i) Google Ads Controller-Controller Data Protection
 Terms at privacy.google.com/businesses/controllerterms; or (ii) Google



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 Ads Data Processing Terms
 at privacy.google.com/businesses/processorterms (collectively the “EU
 Data Terms”). Google will not modify the EU Data Terms, except as
 expressly permitted under the EU Data Terms. Customer will not, and will
 not authorize any third party to, (i) generate automated, fraudulent or
 otherwise invalid impressions, inquiries, clicks or conversions, (ii) conceal
 conversions for Programs where they are required to be disclosed, (iii) use
 any automated means or form of scraping or data extraction to access,
 query or otherwise collect Google advertising-related information from any
 Property except as expressly permitted by Google., or (iv) attempt
 to interfere with the functioning of the Programs. Customer will direct
 communications regarding Ads on Partner Properties under these Terms
 only to Google.



 3 Ad Serving. (a) Customer will not provide Ads that contain or connect
 to malware, spyware, unwanted software or any other malicious code or
 knowingly breach or circumvent any Program security measure. (b)
 Customer may utilize an Ad server solely for serving or tracking Ads under
 Programs that permit third-party Ad serving and only if the Ad server has
 been authorized by Google to participate in the Program. Google will
 implement Customer’s Ad server tags so that they are functional. (c) For
 online display Ad impressions billed on a CPM or vCPM basis (“Display
 Ads”), if Google’s applicable impression count (“IC”) for a Program is
 higher than Customer’s third-party Ad server (“3PAS”) IC by more than 10%
 over the invoice period, Customer will facilitate reconciliation efforts
 between Google and 3PAS. If this discrepancy is not resolved, Customer’s
 must make a claim within 60 days after the invoice date (“Claim
 Period”). If Google determines that the claim is valid, then subject to
 Section 9(b), Google will issue to Customer advertising credits equal
 to (90% of Google’s IC minus 3PAS’s IC), multiplied by Google’s reported
 campaign average CPM or vCPM, as applicable, over the invoice
 period. Any advertising credits issued must be used by Customer within
 60 days of issuance (“Use-By Date”) and Google may suspend Customer’s
 permission to utilize that 3PAS provider and may suspend the
 effectiveness of the discrepancy-resolution provisions of this Section for
 that 3PAS provider. Metrics from 3PAS whose Ad server tags are
 provided to Google will be used in the above discrepancy-resolution
 calculations. Google may require that discrepancy records be provided
 directly by 3PAS to Google. Customer will not be credited for
 discrepancies caused by 3PAS’s inability to serve Ads.




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 4 Testing. Customer authorizes Google and its affiliates to periodically
 conduct tests that may affect Customer’s Use of Programs, including Ad
 formatting, Targets, Destinations, quality, ranking, performance, pricing,
 and auction-time bid adjustments. To ensure the timeliness and validity of
 test results and subject to Section 9(b), Customer authorizes Google to
 conduct such tests without notice or compensation to Customer.



 5 Ad Cancellation. Unless a Policy, the Program user interface, or an
 agreement referencing these Terms (an “IO”) provides otherwise, either
 party may cancel any Ad at any time before the earlier of Ad auction or
 placement, but if Customer cancels an Ad after a commitment date
 provided by Google (e.g., a reservation-based campaign), then Customer is
 responsible for any cancellation fees communicated by Google to
 Customer, and the Ad may still be published. Cancelled Ads will generally
 cease serving within 8 business hours or as described in a Policy or IO,
 and Customer remains obligated to pay all charges resulting from served
 Ads (e.g., fees based on conversion). Customer must effect cancellation
 of Ads (i) online through Customer’s account, if the functionality is
 available, (ii) if this functionality is not available, with notice to Google via
 email to Customer’s account representative or (iii) if this functionality is
 not available and Customer does not have an account representative, with
 notice to Google via email to ads-support@google.com (collectively, the
 “Ad Cancellation Process”). Customer will not be relieved of any payment
 obligations for Ads not submitted or submitted by Customer after the due
 date provided by Google. Google will not be bound by a Customer-
 provided IO.



 6 Warranty, Rights, and Obligations. Customer warrants that
 (a) Customer holds, and hereby grants Google, its affiliates and Partners,
 the rights in Ads, Destinations, and Targets for Google, its affiliates and
 Partners to operate the Google Programs (including, in the case of feed
 data, after Customer ceases to use the Programs), and (b) all information
 and authorizations provided by Customer are complete, correct and
 current. Customer authorizes Google and its affiliates to automate
 retrieval and analysis of, and create test credentials to
 access, Destinations for the purposes of the Programs. By providing any
 mobile or other telephone number to Google in connection with the
 Programs, Customer authorizes Google, its affiliates and their agents to
 call and send text messages (for which standard message and data rates
 may apply) to the provided telephone numbers, including by an automatic
 telephone dialing system, for purposes of the



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 Programs. However, Google will not rely on this permission to initiate
 autodialed calls or text messages for marketing purposes. Customer
 further authorizes Google, its affiliates and their agents to send electronic
 mail to Customer for purposes of the Programs. Customer warrants that
 it is authorized to act on behalf of, and has bound to these Terms, each
 third party, if any, for which Customer advertises in connection with these
 Terms (“Advertiser”) and any references to Customer in these Terms will
 also apply to Advertiser, as applicable. If for any reason Customer has not
 bound an Advertiser to these Terms, Customer will be liable for
 performing any obligation Advertiser would have had under these Terms
 had Advertiser been bound. If Customer is using a Program on its own
 behalf to advertise, for that use Customer will be deemed to be both
 Customer and Advertiser. Customer will provide Advertiser with reporting
 data no less than on a monthly basis, that discloses absolute dollars spent
 on Google and performance (at a minimum cost, clicks and impressions
 of users on the account of that Advertiser) in a reasonably prominent
 location. Google may, upon request of an Advertiser, share Advertiser-
 specific information with Advertiser.



 7 Make-Goods. For reservation-based Display Ads, Google will deliver any
 agreed-on aggregate number of Display Ads by the end of the campaign. If
 Google fails to do so, then subject to Section 9(b), any Customer disputing
 payment made to Google for such Display Ads must make a claim during
 the Claim Period. If Google confirms the accuracy of the claim, then
 Google will not charge Customer for the undelivered Display Ads or, if
 Customer has already paid, at Google’s reasonable discretion and subject
 to Section 9(b), Google will provide for (i) advertising credits, which must
 be used by the Use-By Date, (ii) placement of the Display Ads in a
 comparable position within 60 days of Google’s confirmation of the
 accuracy of the claim or (iii) an extension of the term of the
 campaign. Google cannot assure that any auction-based Ads will be
 delivered and therefore make-goods do not apply to auction-based Ads.



 8 Payment. Customer will pay all charges incurred in connection
 with a Program, using a payment method approved by Google for that
 Customer (as modified from time to time), within a commercially
 reasonable time period specified by Google (e.g., in the Program user
 interface or IO). Late payments bear interest at the rate of 1.5% per month
 (or the highest rate permitted by law, if less). Charges are exclusive of
 taxes. Customer will pay (i) all taxes and other government charges and
 (ii) reasonable expenses and legal fees Google incurs in collecting late



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 payments that are not disputed in good faith. Charges are based on the
 billing criteria under the applicable Program (e.g., based
 on clicks, impressions, or conversions). Any portion of a charge not
 disputed in good faith must be paid in full. No party may offset any
 payment due under these Terms against any other payment to be made
 under these Terms. Google may, in its sole discretion, extend, revise or
 revoke credit at any time. Google is not obligated to deliver any Ads in
 excess of any credit limit. If Google does not deliver Ads to the selected
 Targets or Destinations, then subject to Section 9(b), Customer must
 make a claim for advertising credits within the Claim Period, after which
 Google will issue the credits following claim validation which must be
 used by the Use-By Date. Customer understands that third parties may
 generate impressions or clicks on Customer’s Ads for prohibited or
 improper purposes and if that happens, subject to Section
 9(b), Customer must make a claim for advertising credits within the Claim
 Period, after which Google will issue the credits following claim
 validation, which must be used by the Use By Date. TO THE FULLEST
 EXTENT PERMITTED BY LAW, CUSTOMER WAIVES ALL CLAIMS
 RELATING TO ANY PROGRAM CHARGES UNLESS A CLAIM IS MADE
 WITHIN THE CLAIM PERIOD.



 9 Disclaimers. (a) TO THE FULLEST EXTENT PERMITTED BY LAW AND
 SUBJECT TO 9(b) BELOW, EACH PARTY ON BEHALF OF ITSELF AND ITS
 AFFILIATES EXCLUDES ALL IMPLIED WARRANTIES, INCLUDING
 WITHOUT LIMITATION FOR NON-INFRINGEMENT, SATISFACTORY
 QUALITY, MERCHANTABILITY AND FITNESS FOR ANY PURPOSE. TO THE
 FULLEST EXTENT PERMITTED BY LAW AND SUBJECT TO 9(b) BELOW,
 THE PROGRAMS AND GOOGLE, ITS AFFILIATES, AND PARTNER
 PROPERTIES ARE PROVIDED “AS IS” AND AT CUSTOMER’S AND
 ADVERTISER’S OPTION AND RISK AND NONE OF GOOGLE, ITS
 AFFILIATES OR GOOGLE’S PARTNERS MAKE ANY GUARANTEE OR
 REPRESENTATION IN CONNECTION WITH THE PROGRAMS OR
 PROGRAM RESULTS. (b) CERTAIN LAWS OF THE JURISDICTION IN
 WHICH CUSTOMER RESIDE, SUCH AS THE AUSTRALIAN CONSUMER
 LAW, MAY CONFER RIGHTS AND REMEDIES AND IMPLY TERMS INTO
 THESE TERMS THAT CANNOT BE EXCLUDED. THOSE RIGHTS, REMEDIES,
 AND IMPLIED TERMS ARE NOT EXCLUDED BY THESE TERMS. TO THE
 EXTENT THAT THE RELEVANT LAWS PERMIT GOOGLE TO LIMIT THEIR
 OPERATION, GOOGLE’S LIABILITY UNDER THOSE LAWS WILL BE LIMITED
 AT ITS OPTION, TO THE SUPPLY OF THE SERVICES AGAIN, OR PAYMENT
 OF THE COST OF HAVING THE SERVICES SUPPLIED AGAIN.




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 10 Limitation of Liability. EXCEPT FOR SECTION 11 AND CUSTOMER’S
 BREACHES OF SECTIONS 3(A), 14(D) OR THE LAST SENTENCE OF
 SECTION 1, TO THE FULLEST EXTENT PERMITTED BY LAW BUT ALWAYS
 SUBJECT TO SECTION 8(b): (a) NO PARTY OR ITS AFFILIATES MAY BE
 HELD LIABLE UNDER OR IN CONNECTION WITH THESE TERMS
 (WHETHER IN CONTRACT, TORT, INCLUDING, WITHOUT LIMITATION,
 NEGLIGENCE OR OTHERWISE) FOR ANY: (I) LOSS OF PROFIT; (II) LOSS OF
 ANTICIPATED SAVINGS: (III) LOSS OF BUSINESS OPPORTUNITY; (IV)
 LOSS OF OR CORRUPTION OF DATA; (V) LOSS OR DAMAGE RESULTING
 FROM THIRD PARTY CLAIMS; OR (VI) INDIRECT, SPECIAL OR
 CONSEQUENTIAL LOSSES; SUFFERED OR INCURRED BY THE OTHER
 PARTY (WHETHER OR NOT SUCH LOSSES WERE IN CONTEMPLATION OF
 THE PARTIES AT THE DATE THESE TERMS WERE ACCEPTED BY
 CUSTOMER); AND (b) SUBJECT TO SECTION 9(a) OTHER THAN
 CUSTOMER’S PAYMENT OBLIGATIONS UNDER THESE TERMS, EACH
 PARTY’S AGGREGATE LIABILITY TO THE OTHER FROM ANY GIVEN
 EVENT OR SERIES OF CONNECTED EVENTS UNDER OR IN CONNECTION
 WITH THESE TERMS, IS LIMITED TO THE GREATER OF: (I) THE AMOUNT
 PAYABLE TO GOOGLE BY CUSTOMER UNDER THE TERMS IN THE TWO
 MONTHS IMMEDIATELY PRECEDING THE MONTH IN WHICH THE EVENT
 (OR FIRST IN A SERIES OF CONNECTED EVENTS) OCCURRED; AND (II)
 AUD $10,000.



 11 Indemnification. Customer will defend, and indemnify Google, its
 Partners, agents, affiliates, and licensors (each an “Indemnified
 Person”) against all liabilities, damages, losses, costs, fees (including legal
 fees), and expenses relating to any third-party allegation or legal
 proceeding to the extent arising out of or related to Ads, Targets,
 Destinations, Services, Use or any breach of these Terms by Customer,
 except in relation to each Indemnified Person, to the extent that the third
 party claim or liability arises as a direct result of: (a) that Indemnified
 Person’s negligence or misconduct; or (b) that Indemnified Person’s
 breach of the Terms. Partners are intended third-party beneficiaries of
 this Section.



 12 Changes to Terms. Google may make non-material changes to these
 Terms at any time without notice, but Google will
 provide advance notice of any material changes to these Terms. The
 Terms will be posted at google.com/ads/terms. The changes to the
 Terms will not apply retroactively and will become effective no less than 7
 days after notice. However, changes made for legal reasons will be



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 effective immediately upon notice. Either party may terminate these
 Terms at any time with notice to the other party, but (i) campaigns not
 cancelled under Section 5 and new campaigns may be run and reserved
 and (ii) continued Program Use is, in each case, subject to Google’s terms
 and conditions then in effect for the Programs (available
 at google.com/ads/terms). Google may suspend Customer’s ability to
 participate in the Programs at any time, for example, in the event of
 payment issues, suspected or actual violations of the Policies or these
 Terms or for legal reasons. In all cases, the running of any Customer
 campaigns after termination is in Google’s sole discretion.



 13 DISPUTE RESOLUTION AGREEMENT.

 A.      Negotiation. In the event any dispute arises out of or in connection
 with these Terms (each, a “Dispute”), the parties will make good faith
 efforts to resolve the Dispute within 60 days of written notice of the
 Dispute from the other party. If the parties are unable or unwilling to
 resolve the Dispute in that time, the Dispute will be finally determined by
 arbitration administered by the International Centre for Dispute Resolution
 (“ICDR”) under its International Arbitration Rules (“Rules”). This agreement
 to arbitrate is intended to be broadly interpreted and, among other claims,
 applies to any claims brought by or against (i) Google, Google
 affiliates that provide the Programs to Customer or Advertiser, Google
 parent companies, and the respective officers, directors, employees,
 agents, predecessors, successors, and assigns of these entities and (ii)
 Customer or Advertiser, the respective affiliates and parent companies of
 Customer or Advertiser, and the respective officers, directors, employees,
 agents, predecessors, successors, and assigns of these entities.

 B.     Arbitration Procedures. The place of arbitration will be Santa Clara
 County, California. The arbitration will be before a tribunal of three
 arbitrators. The claimant(s) will select one arbitrator of the tribunal in
 accordance with the Rules, and the respondent(s) will jointly select the
 second arbitrator in accordance with the Rules. If the parties fail to agree
 on the third arbitrator (the “Chairman”) within 20 days of the confirmation
 of the second, the ICDR will appoint the Chairman in accordance with the
 Rules. The arbitration will be conducted in English. Except as may be
 otherwise required by law, the existence, contents or results of any
 arbitration, including any documents or evidence produced, will be strictly
 confidential. The decision of the arbitrators will be final and binding and
 judgment upon any awards rendered by the arbitrators may be entered in
 any court of competent jurisdiction thereof. The arbitrators will not be
 bound by rulings in other arbitrations in which Customer or Advertiser is



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 not a party. The arbitrators will have the power to grant declaratory or
 injunctive relief, whether interim or final, only in favor of the individual
 party seeking relief and only to the extent necessary to provide relief
 warranted by that party’s individual claim without affecting other Google
 users or other Customers or Advertisers, and any provisional measures
 ordered by the arbitrators may be enforced by any court of competent
 jurisdiction. Nothing in these Terms will prevent either party from seeking
 individualized provisional or preliminary relief from any court of competent
 jurisdiction, and any such application to a court for individualized
 provisional or preliminary relief will not be deemed incompatible with the
 agreement to arbitrate or a waiver of the right to arbitrate.



 14 Miscellaneous. (a) ALL CLAIMS ARISING OUT OF OR RELATING TO
 THESE TERMS OR THE PROGRAMS WILL BE GOVERNED BY CALIFORNIA
 LAW, EXCLUDING CALIFORNIA’S CONFLICT OF LAWS RULES, EXCEPT TO
 THE EXTENT THAT CALIFORNIA LAW IS CONTRARY TO OR PREEMPTED
 BY FEDERAL UNITED STATES LAW. (b) EXCEPT AS PROVIDED IN
 SECTION 13, SOLELY IN THE EVENT THAT SECTION 13 IS NOT
 ENFORCED AS TO A PARTICULAR CLAIM OR DISPUTE, ALL CLAIMS
 ARISING OUT OF OR RELATING TO THESE TERMS OR THE PROGRAMS
 WILL BE LITIGATED EXCLUSIVELY IN THE FEDERAL OR STATE COURTS
 OF SANTA CLARA COUNTY, CALIFORNIA; THE PARTIES CONSENT TO
 PERSONAL JURISDICTION IN THESE COURTS. (c) These Terms are the
 parties’ entire agreement relating to their subject matter and supersede
 any prior or contemporaneous agreements on those
 subjects. (d) Customer may not make any public statement regarding the
 relationship contemplated by these Terms (except when required by
 law). (e) All notices of termination or breach, or under Section 13, must
 be in writing and addressed to the other party’s Legal Department (or if it
 is not known if the other party has a Legal Department then to the other
 party's primary contact or other address on file). The email address for
 notices being sent to Google’s Legal Department is legal-
 notices@google.com. All other notices to Customer will be in writing and
 sent to an email address associated with Customer’s account. All other
 notices to Google will be in writing and addressed to Customer’s primary
 contact at Google or other method made available by Google. Notice will
 be treated as given on receipt, as confirmed by written or electronic
 means. These notice requirements do not apply to legal service of
 process, which is instead governed by applicable law. (f) Except for
 modifications to these Terms by Google under Section 12, any
 amendment must be agreed to by both parties and must expressly state
 that it is amending these Terms. Neither party will be treated as having
 waived any rights by not exercising (or by delaying the exercise of) any



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            rights under these Terms. If any provision of these Terms is found
            unenforceable, that provision will be severed and the balance of the Terms
            will remain in full force and effect. (g) Neither party may assign any part
            of these Terms without the written consent of the other party save that (A)
            Google may assign all or part of its rights and/or obligations under these
            Terms to an affiliate if Google has notified Customer of the assignment,
            and (B) Customer may assign all of its rights and obligations under these
            Terms to an affiliate but only where (I) the assignee agrees in writing to be
            bound by these Terms, (II) Customer remains liable for obligations under
            these Terms if the assignee defaults on them, and (III) Customer has
            notified Google of the assignment. Any other attempt to transfer or
            assign is void. (h) Except as expressly listed in Sections 11 and 13, there
            are no third-party beneficiaries to these Terms. (i) These Terms do not
            create any agency, partnership or joint venture among the
            parties. (j) Sections 1 (last sentence only) and 8 through 14 will survive
            termination of these Terms. (k) Except for payment obligations, no party
            or its affiliates are liable for failure or delay in performance to the extent
            caused by circumstances beyond its reasonable control.



            September 1, 2017

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    Choose a section to give feedback on

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   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch




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4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

   Send feedback on...
   This help content & information General Help Center experience



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     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                                                      Send feedback on...

This help content & information

General Help Center experience
                                                                                                                Next


Abusing the ad network
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We want ads across the Google Network to be useful, varied, relevant, and safe for
users. We don’t allow advertisers to run ads, content, or destinations that attempt to
trick or circumvent our ad review processes.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Malicious or unwanted software
These requirements apply to your ads and any software that your site or app either
hosts or links to, regardless of whether the software is promoted through the Google
advertising network. The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Malicious software or "malware" that may harm or gain unauthorized
      access to a computer, device, or network

                                                Examples (non-exhaustive): Computer viruses, ransomware,
                                                worms, trojan horses, rootkits, keyloggers, dialers, spyware,
                                                rogue security software, and other malicious programs or
                                                apps



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 Troubleshooter: Malicious software

                             1. Check the status of your site in the Google Search Console.
                                If you haven’t used Search Console before, enter the URL of
                                your website and click "Add a property" to see its status. You
                                may need to verify that you own the site.

                                          If the Search Console doesn’t report any problems, your site
                                          could still have security issues that were detected by Google
                                          Ads. Consult with your webmaster or web-hosting
                                          provider to investigate further. Learn more about how we
                                          identify malicious or unwanted software.

                             2. Remove any malicious or unwanted software.

                                          Google provides resources and instructions to help you fix
                                          your site through Help for Hacked Websites. If you can’t fix
                                          the ad’s destination, update the ad with a new destination
                                          that complies with this policy.

                             3. Edit the ad.

                                          Editing the ad will resubmit the ad and its destination for
                                          review. Most ads are reviewed within one business day, but
                                          some can take longer if they need a more complex review.
  The linked image cannot be
  display ed. The file may hav e been
  mov ed, renamed, or deleted. Verify
  that the link points to the correct
  file and location.




                                        Ads or destinations that violate Google's Unwanted Software policy

                                          Examples (non-exhaustive): Failure to be transparent about
                                          the functionality that the software provides or the full
                                          implications of installing the software; failing to include
                                          Terms of Service or an End User License Agreement;
                                          bundling software or applications without the user's
                                          knowledge; making system changes without the user's
                                          consent; making it difficult for users to disable or uninstall
                                          the software; failing to properly use publicly available Google
                                          APIs when interacting with Google services or products

                                          Troubleshooter: Unwanted software

                             1. Check your ad and destination to make sure it complies with
                                the Google Unwanted Software Policy.
                             2. Edit the ad and / or destination.




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                                                                              Editing the ad will resubmit the ad and its destination for
                                                                              review. Most ads are reviewed within one business day, but
                                                                              some can take longer if they need a more complex review.


Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Unfair advantage
The following is not allowed:
                                        The linked image cannot be
                                        display ed. The file may hav e been
                                        mov ed, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                                           Using the Google Network to gain an unfair traffic advantage over
                                       other participants in the auction

                                                                              Examples (non-exhaustive): Affiliates that advertise on
                                                                              Google Ads against the applicable affiliate program rules;
                                                                              promoting the same or similar content from multiple
                                                                              accounts on the same or similar queries, trying to show
                                                                              more than one ad at a time for your business, app, or site

                                                                              Note: Keywords should fit the target audience’s likely intent
                                                                              when searching. Each website or app that you promote
                                                                              should offer distinct value to users. For example: avoid
                                                                              promoting similar products and prices across related
                                                                              destinations.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.
Learn how to fix a disapproved ad or extension.

Evasive ad content
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Manipulation of ad components (text, image, videos, domain, or subdomains) in an
attempt to bypass detection and / or enforcement action

                                       Examples (non-exhaustive): Misspelling prohibited words or phrases to
                                       avoid ad disapproval; manipulating trademark terms in the ad text,
                                       domain, subdomain, or logo to avoid restrictions on the use of that
                                       trademark; using invisible UNICODE characters in ads that add no value to



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      the ad content for users, manipulating images or videos to hide policy
      violating content.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Circumventing systems
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Engaging in practices that circumvent or interfere with Google's
      advertising systems and processes, or attempts to do so.

                                             Examples (non-exhaustive):

                                            Cloaking (showing different content to certain users,
                                             including Google, than to other users) that aims at or results
                                             in interference with Google’s review systems, or hides or
                                             attempts to hide non-compliance with Google Ads policies,
                                             such as:
                                                   Redirection to non-compliant content
                                                   Using dynamic DNS to switch page or ad
                                                    content
                                                   Manipulating site content or restricting access
                                                    to so many of your landing pages that it makes
                                                    it difficult to meaningfully review your ad, site,
                                                    or account

                                                    Note: Cloaking does not include providing
                                                    content personalization that adds genuine
                                                    value for certain users, such as different
                                                    language versions of the same content or
                                                    different versions of the same content
                                                    depending on the user’s internet service
                                                    provider, as long as the offering is still
                                                    substantially the same, the variation in content
                                                    is still compliant with Google Ads policies, and
                                                    Google is able to review a version of the
                                                    content

                                            Repeated policy violations across any of your accounts,
                                             including creating new domains or accounts to post ads that



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        are similar to ads that have been disapproved (for this or any
        other Google Ads policy)
       Bypassing enforcement mechanisms and detection by
        creating variations of ads, domains or content that have
        been disapproved (for this or any Google Ads policy) or
        using techniques in text, images, or videos to obfuscate
        sexually explicit content
       After a previous suspension decision, attempting to use the
        Google Ads system again by creating new accounts in order
        to re enter the system
       Abusing Google Ads product features in order to show policy
        non-compliant content to users and/or gain additional traffic
       Submitting false information as part of our verification
        programs

 We take violations of this policy very seriously and consider them
 egregious. An egregious violation of the Google Ads policies is a violation
 so serious that it is unlawful or poses significant harm to our users. In
 determining whether an advertiser or destination is violating this policy,
 we may review information from multiple sources including your ad,
 website, accounts, and third-party sources. If we find violations of this
 policy, we will suspend your Google Ads accounts upon detection and
 without prior warning, and you will not be allowed to advertise with us
 again. If you believe there's been an error, and that you haven’t violated our
 policy, submit an appeal and explain why. We only reinstate accounts in
 compelling circumstances, and when there is good reason so it's
 important that you take the time to be thorough, accurate, and honest.
 Learn more about suspended accounts.

 Note: We may take action on an advertiser’s account based on, for
 example, adverse regulatory warnings, settlements, or rulings about an
 advertiser’s advertising practices, or direct complaints from users or
 businesses.


 Troubleshooter: Circumventing systems

 It’s possible to have an ad disapproved for violating this policy without
 having your entire account suspended. This is most common when a word
 or phrase in the ad appears to be too similar to a prohibited word or a
 trademarked term that you aren’t authorized to advertise. In this case,
 simply remove that word or phrase from your ad. Once you edit and save
 the ad, it will automatically be reviewed and can be approved to run if we
 find that it no longer violates this policy.




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    Webmaster Guidelines
    The following is not allowed:
           The linked image cannot be
           display ed. The file may hav e been
           mov ed, renamed, or deleted. Verify
           that the link points to the correct
           file and location.




                                                 Engaging in practices that violate the Google Webmaster Guidelines

                                                   Examples (non-exhaustive): Keyword stuffing, cloaking,
                                                   sneaky redirects, doorway pages, spamming social network
                                                   sites

    Violations of this policy will not lead to immediate account suspension without prior
    warning. A warning will be issued, at least 7 days, prior to any suspension of your
    account. Learn more about suspended accounts.
    Learn how to fix a disapproved ad or extension.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                                                         Was this helpful?
                                                                             YesNo




                                                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior




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   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)




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23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process




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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links




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Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    Display & Video 360 Help

    Sign in
                                                          Send feedback on...

    This help content & information

    General Help Center experience
                                                                                           Next
    Help CenterAnnouncements


    Restricted products and services
    We want to support a healthy digital advertising ecosystem — one that is
    trustworthy, transparent, and works for users, advertisers and publishers.

    Products that are designated as non-family safe by Google Ads will not be able to serve
    on Display & Video 360. In addition, certain categories listed below may not be eligible
    to serve through Display & Video 360, or may serve only under very specific conditions.


    You may be required to complete a verification program or apply for a certificate to
    serve ads.

    Creative Approval

   Creatives must follow Google Ads policies to serve on Display & Video 360.
   Ads that include sensitive content may be manually reviewed before they can serve.
    Manual review typically takes 24 hours.

    Policy center
                                      The link ed
                                      image cannot




    Navigate to Advertiser settings Policy center to view the status of your certificates to
                                      be displayed.
                                      The file may
                                      hav e been
                                      moved,
                                      renamed, or
                                      deleted. Verify …




    run ads for restricted products and services.

    Advertiser Identity
    To increase transparency for users, we may require you to verify your legal name
    through advertiser identity verification. You will be notified by email and given 30 days




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    to complete verification. Check the Google Ads Advertiser Identity policy for information
    on criteria and requirements.

    Any ads run by those verified will contain a disclosure using the information provided
    during the verification program. Learn more about Advertiser transparency and
    disclosures.

    Alcohol
    All creatives must comply with Google Ads Alcohol policy and only advertise alcoholic
    beverages in countries where it is allowed. Ensure your creatives meet the requirements
    outlined in our Irresponsible alcohol advertising policy.

    Election advertising
    All creatives must comply with Political Content policy, including country
    restrictions, and all local regulations.

    To serve political content in certain countries on Display & Video 360 you must
    complete verification.

    Apply for verification

    Gambling
    All creatives must comply with Google Ads Gambling and games policy and all local
    regulations and industry standards.
    Gambling-related content can only serve in certain countries on Display & Video 360.
    Check Gambling country restrictions for all restrictions that apply to the country your ad
    campaign is targeting.

    To run gambling-related content on open exchanges, YouTube, and deals on Display &
    Video 360, you must certify the domain of the advertiser for each country you target
    before your ads can serve. Ensure your ads only target approved countries, have a
    landing page that displays information about responsible gambling, and never target
    minors.

    Apply for certification
    You can apply for certification by filling out the forms below (available in English only):

   If you are a licensed operator and/or aggregator, select the online application form for
    the country where you're applying.
   If you operate in a country where we allow state-run entities, use this form to apply.



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   If you are a social casino games operator, use this form to apply.

    For all applications:

   Please be sure to include the Display & Video 360 advertiser and partner ID for the
    account that will serve gambling content.
   Submit a separate application for every country you target.
   To cut down on any unnecessary delays, be sure to fill out all of the requested
    information.
   If you are an agency applying on behalf of an advertiser, please send documentation
    detailing your relationship with the advertiser or license holder.
   If you’re serving YouTube ads, please request certification for both your website and the
    YouTube URL for your linked YouTube channel (youtube.com/channel). You can request
    both domains in the same certification application.
   If you’re advertising apps, please request certification for both your website and the app
    store URL for any app you’re linking to (itunes.apple.com/appname or
    play.google.com/appname or facebook.com/appname). You can request all of the
    domains in the same certification application.

    Restricted financial products and services
    All creatives must comply with Google Ads Financial products and services policy and
    all local regulations and industry standards.

    Content related to complex speculative products, cryptocurrency exchanges and debt
    services can only serve in certain countries. Check the approved countries list for each
    topic for all restrictions that apply to the country your ad campaign is targeting.

    Certification is required if you intend to serve the following content on open exchanges,
    YouTube and deals:

   Complex speculative products
   Content related to cryptocurrency exchanges
   Content related to debt services

    Ensure that you only target the country your ads are certified for and never target
    minors.

    Apply for certification
    Apply for certification for restricted financial products here and debt services here
    (available in English only).

   Please be sure to include the Display & Video 360 advertiser and partner ID for the
    account that will serve complex speculative financial products content.



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   To cut down on any unnecessary delays, be sure to fill out all of the requested
    information.
   If you’re serving YouTube ads, please request certification for both your website and the
    YouTube URL for your linked YouTube channel (youtube.com/channel). You can request
    both domains in the same certification application.
   If you’re advertising apps, please request certification for both your website and the app
    store URL for any app you’re linking to (itunes.apple.com/appname or
    play.google.com/appname or facebook.com/appname). You can request all of the
    domains in the same certification application.

    Restricted Healthcare and medicines
    All creatives must comply with Google Ads Healthcare and medicine policy.

    Some healthcare-related content can only be advertised if the advertiser is certified with
    Google and targets only approved countries on Display & Video 360. Review How does
    this policy differ from country to country?, for all restrictions that apply to the country
    your ad campaign is targeting.
    Certification is required if you intend to serve the following content on open exchanges,
    YouTube and deals:

   Pharmaceutical related content, such as online pharmacies, pharmaceutical
    manufacturers, and others looking to use prescription drug terms within the creative or
    landing page.
   Drug and alcohol addiction services in the United States. Note: not all drug and alcohol
    addiction services are eligible for certification. Those not eligible cannot serve on
    Display & Video 360.

    Apply for certification
    To apply for certification out our online application form (available in English only).

   If you are applying as an addiction services provider, Legitscript will certify you (Learn
    more and apply for LegitScript Certification) Once complete, you must certify the
    domain of your advertiser with Display & Video before your ads can serve.
   Please be sure to include the Display & Video 360 advertiser and partner ID for the
    account that will serve pharmaceutical content.
   To cut down on any unnecessary delays, be sure to fill out all of the requested
    information.
   If you are an agency applying on behalf of an advertiser, please send documentation
    detailing your relationship with the advertiser or license holder. You can use the
    template included in the application form.




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   If you’re serving YouTube ads, please request certification for both your website and the
    YouTube URL for your linked YouTube channel (youtube.com/channel). You can request
    both domains in the same certification application.
   If you’re advertising apps, please request certification for both your website and the app
    store URL for any app you’re linking to (itunes.apple.com/appname or
    play.google.com/appname or facebook.com/appname). You can request all of the
    domains in the same certification application.

    Give feedback about this article
    Choose a section to give feedback on

                                                                     Was this helpful?
                                                                         YesNo




                                                                         Submit
                                                                  Need more help?
                                            Sign in for additional support options to quickly solve your issue
                                                                         Sign in
    Policies and privacy
   How data is used
   Helping you comply with regulations worldwide
   Restricted products and services
   Political content
   Information on reselling
   Brand Lift surveys policies
   Mute ads on websites that partner with Google
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Review Google Ads content policies

    Creatives must follow Google Ads content policies to serve on Display & Video 360.

   ©2021 Google
   Privacy Policy
   Terms of Service
   Google Marketing Platform

              English?

    English



                                                                                                                 1337
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1. Deutsch
2. español
3. français
4. italiano
5. polski
6. português (Brasil)
7. Türkçe
8. čeština
9. русский
10. 中文（简体）
11. 中文（繁體）
12. 日本語
13. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center



   Display & Video 360




   Privacy Policy



   Terms of Service



   Submit feedback




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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    Advertising Policies Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                Next


    Verification programs
   About verification
   Advertiser identity verification and ad disclosures FAQ
   Complete advertiser identity verification
   Advertiser identity verification guidance
   Document requirements for advertiser identity verification
   Election advertising verification
   Verification for election advertising in the European Union
   About restricted financial products certification
   Gambling and games
   Healthcare and medicines
   About abortion certification and disclosures
   About event ticket seller certification
   Other restricted businesses
   Trademark help for advertisers
   Copyrights
   Advanced Verification policies
   Restricted ad formats and features
   Advertiser Identity Verification
   About UK Financial Services Verification

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català




                                                                            1340
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2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English




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    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes
Send feedback on...
This help content & information General Help Center experience




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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Search Central

Documentation

                                      Not much time?
                           

                                       Quickstart



                           

                                       Get your website on Google



                           

                                       Do you need an SEO?



                           

                                       Optimize your site for search engines



                           

                                       Measuring your performance on Google



                                      Beginner SEO
                           

                                       Get started




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

     How Google Search Works





     SEO starter guide





     Establish your business details with Google





     Beginner's guide to Search Console



    Advanced SEO


     Get started





     Guidelines





     Control crawling and indexing





     Change your Search appearance



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   

        Optimize page experience



Support Blog What's new

   

        Documentation updates



   

        New YouTube videos



   

        Recent podcast episodes



Events Case studies More

  English

Select an optionEnglish

       English
       Bahasa Indonesia
       Deutsch
       Español
       Español – América Latina
       Français
       Italiano
       Polski
       Português – Brasil
       Tiếng Việt
       Türkçe
       Русский
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                                      ภาษาไทย
                                      中文 – 简体
                                      中文 – 繁體
                                      日本語
                                      한국어

Sign in

                                      Documentation

Go to Search Console
Introduction Just the basics Beginner SEO Advanced SEO More
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Search Central

                                      Documentation
                                          o More
                                          o Introduction
                                          o Just the basics
                                          o Beginner SEO
                                          o Advanced SEO
                                      Support
                                      Blog
                                      What's new
                                          o More
                                      Events
                                      Case studies

                                      Get started
                                      How Google Search works
                                      Developer's guide to Search
                                      Advanced guide to Search Console
                                      Guidelines
                                          o Overview of guidelines
                                          o Webmaster guidelines
                                          o General guidelines
                                                    Keep a simple URL structure
                                                    Qualify your outbound links to Google
                                                    Tag site for child-directed treatment
                                                    Browser compatibility




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                  Avoid creating duplicate content
                  Make your links crawlable
                  Make sure Googlebot is not blocked
                  Best practices for website testing with Google Search
        o Content-specific guidelines
                 Images and video
                        Google Images best practices
                        Video best practices
                        Rich media file best practices
                 Best practices for bloggers
                 Free web hosters
                 Keep redacted information out of Search
                 AMP on Google Search guidelines
                 COVID-19 resources and tips
                        For all sites
                        For education sites
                        For health and government sites
        o Quality guidelines
                 Automatically generated content
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                 Affiliate programs
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                 Creating pages with malicious behavior
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                 Ways to prevent comment spam
                 Report spam, paid links, or malware
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        o Overview
        o Sitemaps
                 Learn about sitemaps
                 Build and submit a sitemap
                 Split up your large sitemaps
                 Sitemap extensions
                        Video sitemaps and alternatives
                        Image sitemaps
                        Google News sitemaps
        o robots.txt
                 Introduction to robots.txt




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                 Create and submit a robots.txt file
                 Update your robots.txt file
                 How Google interprets the robots.txt specification
                 Robots FAQs
        o Meta tags
               All meta tags that Google understands
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               Robots meta tag, data-nosnippet, and X-Robots-Tag specifications
        o Crawler management
               Ask Google to recrawl your URLs
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               Verifying Googlebot
               Large site owner's guide to managing your crawl budget
               How HTTP status codes, and network and DNS errors affect Google
                  Search
               Google crawlers
                       Overview
                       Googlebot
                       Google Read Aloud user agent
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                       Duplex on the web user agent
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               Control what you share with Google
               Remove a page hosted on your site from Google
               Remove images hosted on your site from search results
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               Redirects and Google Search
               Site moves
                       What is a site move?
                       Move a site without URL changes
                       Move a site with URL changes
               Temporarily pause or disable a website
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        o International and multilingual sites
               Overview
               Managing multi-regional and multilingual sites
               Tell Google about localized versions of your page
               How Google crawls locale-adaptive pages
        o JavaScript content
               Understand the JavaScript SEO basics
               Fix search-related JavaScript problems
               Fix lazy-loaded content
               Implement dynamic rendering
    Change your Search appearance




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    o   Overview of Search appearance topics
    o   Create good titles and snippets in Search Results
    o   Enable Search result features for your site
    o   Featured snippets and your website
    o   Sitelinks
    o   Provide a publication date to Google Search
    o   Define a favicon to show in search results
    o   Using structured data
             Understand how structured data works
             Try the structured data codelab
             Explore the search gallery
             Structured data general guidelines
             Generate structured data with JavaScript
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                    Dataset
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                    Logo
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                    Review snippet
                    Sitelinks search box
                    Software App
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                               Tablets and Feature phones
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                       Customize your website software to be mobile-friendly
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                       Mobile FAQs
                Announce mobile billing charges clearly
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                   Social engineering (phishing and deceptive sites)
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                   Enhance AMP content
                   Validate AMP content
                   Remove AMP content
    Search APIs
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        o Search Console API
        o URL Testing Tools API
        o Indexing API

    Not much time?
    Quickstart
    Get your website on Google
    Do you need an SEO?
    Optimize your site for search engines
    Measuring your performance on Google
    Beginner SEO
    Get started
    How Google Search Works
    SEO starter guide
    Establish your business details with Google
    Beginner's guide to Search Console
    Advanced SEO
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    Guidelines
    Control crawling and indexing
    Change your Search appearance
    Optimize page experience

    Documentation updates
    New YouTube videos
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    Table of contents
    General guidelines
        o Help Google find your pages
        o Help Google understand your pages
        o Help visitors use your pages
    Quality guidelines
        o Basic principles
        o Specific guidelines

    Home




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       Search Central
       Documentation
       Advanced SEO

Was this helpful?
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       Table of contents
       General guidelines
           o Help Google find your pages
           o Help Google understand your pages
           o Help visitors use your pages
       Quality guidelines
           o Basic principles
           o Specific guidelines
   


Webmaster guidelines

Following the General guidelines will help Google find, index, and rank your site.

We strongly encourage you to pay very close attention to the Quality guidelines, which outline
some of the illicit practices that may lead to a site being removed entirely from the Google index
or otherwise affected by an algorithmic or manual spam action. If a site has been affected by a
spam action, it may no longer show up in results on Google.com or on any of Google's partner
sites.

General guidelines
Help Google find your pages

       Ensure that all pages on the site can be reached by a link from another findable page.
        Make sure the referring link includes either text or, for images, an alt attribute, that is
        relevant to the target page. Crawlable links are <a> tags with an href attribute.
       Provide a sitemap file with links that point to the important pages on your site. Also
        provide a page with a human-readable list of links to these pages (sometimes called a site
        index or site map page).
       Limit the number of links on a page to a reasonable number (a few thousand at most).
       Make sure that your web server correctly supports the If-Modified-Since HTTP
        header. This feature directs your web server to tell Google if your content has changed
        since we last crawled your site. Supporting this feature saves you bandwidth and
        overhead.




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       Use the robots.txt file on your web server to manage your crawling budget by preventing
        crawling of infinite spaces such as search result pages. Keep your robots.txt file up to
        date. Learn how to manage crawling with the robots.txt file. Test the coverage and syntax
        of your robots.txt file using the robots.txt Tester.

Ways to help Google find your site:

       Ask Google to crawl your pages.
       Make sure that any sites that should know about your pages are aware your site is online.

Help Google understand your pages

       Create a useful, information-rich site, and write pages that clearly and accurately describe
        your content.
       Think about the words users would type to find your pages, and make sure that your site
        actually includes those words within it.
       Ensure that your <title> elements and alt attributes are descriptive, specific, and
        accurate.
       Design your site to have a clear conceptual page hierarchy.
       Follow our recommended best practices for images, video, and structured data.
       When using a content management system (for example, Wix or WordPress), make sure
        that it creates pages and links that search engines can crawl.
       To help Google fully understand your site's contents, allow all site assets that would
        significantly affect page rendering to be crawled: for example, CSS and JavaScript files
        that affect the understanding of the pages. The Google indexing system renders a web
        page as the user would see it, including images, CSS, and JavaScript files. To see which
        page assets that Googlebot cannot crawl, use the URL Inspection tool. To debug
        directives in your robots.txt file, use the robots.txt Tester tool.
       Allow search bots to crawl your site without session IDs or URL parameters that track
        their path through the site. These techniques are useful for tracking individual user
        behavior, but the access pattern of bots is entirely different. Using these techniques may
        result in incomplete indexing of your site, as bots may not be able to eliminate URLs that
        look different but actually point to the same page.
       Make your site's important content visible by default. Google is able to crawl HTML
        content hidden inside navigational elements such as tabs or expanding sections. However,
        we consider this content less accessible to users, and recommend that you make your
        most important information visible in the default page view.
       Make a reasonable effort to ensure that advertisement links on your pages do not affect
        search engine rankings. For example, use robots.txt, rel="nofollow", or
        rel="sponsored" to prevent advertisement links from being followed by a crawler.

Help visitors use your pages

       Try to use text instead of images to display important names, content, or links. If you
        must use images for textual content, use the alt attribute to include a few words of
        descriptive text.



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       Ensure that all links go to live web pages. Use valid HTML.
       Optimize your page loading times. Fast sites make users happy and improve the overall
        quality of the web (especially for those users with slow Internet connections). Google
        recommends that you use tools like PageSpeed Insights and Webpagetest.org to test the
        performance of your page.
       Design your site for all device types and sizes, including desktops, tablets, and
        smartphones. Use the Mobile-Friendly Test to test how well your pages work on mobile
        devices, and get feedback on what needs to be fixed.
       Ensure that your site appears correctly in different browsers.
       If possible, secure your site's connections with HTTPS. Encrypting interactions between
        the user and your website is a good practice for communication on the web.
       Ensure that your pages are useful for readers with visual impairments, for example, by
        testing usability with a screen-reader.

Quality guidelines
These quality guidelines cover the most common forms of deceptive or manipulative behavior,
but Google may respond negatively to other misleading practices not listed here. It's not safe to
assume that just because a specific deceptive technique isn't included on this page, Google
approves of it. Website owners who spend their energies upholding the spirit of the basic
principles will provide a much better user experience and subsequently enjoy better ranking than
those who spend their time looking for loopholes they can exploit.

If you believe that another site is abusing Google's quality guidelines, please let us know by
filing a spam report. Google prefers developing scalable and automated solutions to problems,
and will use the report for further improving our spam detection systems.

Basic principles

       Make pages primarily for users, not for search engines.
       Don't deceive your users.
       Avoid tricks intended to improve search engine rankings. A good rule of thumb is
        whether you'd feel comfortable explaining what you've done to a website that competes
        with you, or to a Google employee. Another useful test is to ask, "Does this help my
        users? Would I do this if search engines didn't exist?"
       Think about what makes your website unique, valuable, or engaging. Make your website
        stand out from others in your field.

Specific guidelines

Avoid the following techniques:

       Automatically generated content
       Participating in link schemes
       Creating pages with little or no original content
       Cloaking



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       Sneaky redirects
       Hidden text or links
       Doorway pages
       Scraped content
       Participating in affiliate programs without adding sufficient value
       Loading pages with irrelevant keywords
       Creating pages with malicious behavior, such as phishing or installing viruses, trojans, or
        other badware
       Abusing structured data markup
       Sending automated queries to Google

Follow good practices:

       Monitoring your site for hacking and removing hacked content as soon as it appears
       Preventing and removing user-generated spam on your site

If your site violates one or more of these guidelines, then Google may take manual action against
it. Once you have remedied the problem, you can submit your site for reconsideration.

Was this helpful?
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details, see the Google Developers Site Policies. Java is a registered trademark of Oracle and/or
its affiliates.

Last updated 2021-07-27 UTC.

[{ "type": "thumb-down", "id": "missingTheInformationINeed", "label":"Missing the information
I need" },{ "type": "thumb-down", "id": "tooComplicatedTooManySteps", "label":"Too
complicated / too many steps" },{ "type": "thumb-down", "id": "outOfDate", "label":"Out of
date" },{ "type": "thumb-down", "id": "samplesCodeIssue", "label":"Samples / code issue" },{
"type": "thumb-down", "id": "otherDown", "label":"Other" }] [{ "type": "thumb-up", "id":
"easyToUnderstand", "label":"Easy to understand" },{ "type": "thumb-up", "id":
"solvedMyProblem", "label":"Solved my problem" },{ "type": "thumb-up", "id": "otherUp",
"label":"Other" }] Need to tell us more?

       Ask questions
           o   Post in our help community
           o   Join SEO office hours
           o   Help documentation
       Get updates
           o   Blog
           o   Twitter
           o   YouTube



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                                      Resources
                                          o    Do you need an SEO?
                                          o    SEO Starter Guide
                                          o    Search Console documentation
                                          o    Case Studies
                                      Tools
                                          o    Search Console
                                          o    Mobile-Friendly Test
                                          o    Rich Results Test
                                          o    PageSpeed Insights
                                          o    AMP Test
The linked image cannot be
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mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Android
                                      Chrome
                                      Firebase
                                      Google Cloud Platform
                                      All products

                                      Terms
                                      Privacy
                                      Sign up for the Google Developers newsletter Subscribe

              English

Select an optionEnglish

                                      English
                                      Bahasa Indonesia
                                      Deutsch
                                      Español
                                      Español – América Latina
                                      Français
                                      Italiano
                                      Polski
                                      Português – Brasil
                                      Tiếng Việt
                                      Türkçe
                                      Русский
                                      ‫اﻟﻌﺮﺑﯿّﺔ‬
                                      िहं दी
                                      ภาษาไทย
                                      中文 – 简体
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    日本語
    한국어




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Advertising Policies Help

Sign in
                                                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                                               Next


Misrepresentation
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We want users to trust the ads on our platform, so we strive to ensure ads are clear and
honest, and provide the information that users need to make informed decisions. We
don’t allow ads or destinations that deceive users by excluding relevant product
information or providing misleading information about products, services, or
businesses.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Unacceptable business practices
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Scamming users by concealing or misstating information about the
      advertiser’s business, product, or service

                                                Examples (non-exhaustive):

                                               Impersonating brands or businesses by referencing or
                                                modifying the brand content in the ads, URL, destinations or



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                                             misrepresenting yourself as the brand or business in user
                                             interactions
                                            Enticing users to part with money or information through a
                                             fictitious business that lacks the qualifications or capacity to
                                             provide the advertised products or services
                                            False advertising of services that could endanger a user’s
                                             health, life, or safety. Pretending to provide critical services
                                             that result in a delay to the user receiving treatment or
                                             medical help
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Ad destinations that use “phishing” techniques to gather user
       information

                                             Examples (non-exhaustive): Sites that trick users into
                                             revealing their personal information by mimicking a trusted
                                             entity such as a browser or bank

       Note: We may take action on advertiser’s account based on, for example,
       adverse regulatory warnings, settlements, or rulings about an advertiser’s
       business practices, or direct complaints from businesses and other
       entities about impersonation.

We take violations of this policy very seriously and consider them egregious. An
egregious violation of the Google Ads policies is a violation so serious that it is unlawful
or poses significant harm to our users. In determining whether an advertiser or
destination is violating this policy, we may review information from multiple sources
including your ad, website, accounts, and third-party sources. If we find violations of
this policy, we will suspend your Google Ads accounts upon detection and without prior
warning, and you will not be allowed to advertise with us again. If you believe there's
been an error, and that you haven’t violated our policy, submit an appeal and explain
why. We only reinstate accounts in compelling circumstances, and when there is good
reason so it's important that you take the time to be thorough, accurate, and honest.
Learn more about suspended accounts.

Coordinated deceptive practices
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Coordinating with other sites or accounts and concealing or
       misrepresenting your identity or other material details about yourself,
       where your content relates to politics, social issues, or matters of public
       concern




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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Directing content about politics, social issues, or matters of public
       concern to users in a country other than your own, if you misrepresent or
       conceal your country of origin, or other material details about yourself

We take violations of this policy very seriously and consider them egregious. An
egregious violation of the Google Ads policies is a violation so serious that it is unlawful
or poses significant harm to our users. In determining whether an advertiser or
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including your ad, website, accounts, and third-party sources. If we find violations of
this policy, we will suspend your Google Ads accounts upon detection and without prior
warning, and you will not be allowed to advertise with us again. If you believe there's
been an error, and that you haven’t violated our policy, submit an appeal and explain
why. We only reinstate accounts in compelling circumstances, and when there is good
reason so it's important that you take the time to be thorough, accurate, and honest.
Learn more about suspended accounts.

Learn how to fix a disapproved ad or extension.

Misleading representation
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Making misleading statements, obscuring, or omitting material
       information about your identity, affiliations, or qualifications

                                             Examples (non-exhaustive): implying affiliation with or
                                             endorsement by, another individual, organization, product, or
                                             service without their knowledge or consent; an affiliate
                                             marketer advertising legal services without disclosing that
                                             they do not provide legal services; an unlicensed home
                                             contractor claiming to be a licensed provider; non fulfillment
                                             of product or service claimed in the ad due to a lack of
                                             qualifications
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Providing an inaccurate business name or business name that does
       not clearly represent the advertised business or disambiguates from
       similar businesses in the ad or user interactions

                                             Example (non-exhaustive): misrepresenting your business
                                             name in calls with users




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Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Dishonest pricing practices
The following is not allowed:
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       that the link points to the correct
       file and location.




           Failure to clearly and conspicuously disclose the payment model
      or full expense that a user will bear

                                              Examples (non-exhaustive): not exposing price, shipping
                                              costs, and other billing related information, interest rates,
                                              late payment fines or recurring subscription cost; using
                                              premium rate phone numbers in call extensions; inflating
                                              prices from the quoted amount to exploit users in vulnerable
                                              situations or who are under duress
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Advertising products or services as free when they are chargeable

                                              Examples (non-exhaustive): Promoting apps as free when a
                                              user must pay to install the app

       Troubleshooter: Dishonest pricing practices
Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Clickbait Ads
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
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       that the link points to the correct
       file and location.




           Ads that use clickbait tactics or sensationalist text or imagery to drive
      traffic

                                              Examples (non-exhaustive): Ads that claim to reveal secrets,
                                              scandals or other sensationalist information about the
                                              product or service being advertised; ads which use clickbait
                                              messaging such as ‘‘Click here to find out”, “You won’t
                                              believe what happened” or phrases synonymous or similar to
                                              encourage the user to click on the Ad in order to understand




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                                             the full context of the ad; ads which use clearly altered
                                             zoomed in body parts, mugshots, or real life accident or
                                             disaster photos to promote a product or a service; or ads
                                             which use “before and after” images to promote significant
                                             alterations to the human body
       The linked image cannot be
       display ed. The file may hav e been
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       that the link points to the correct
       file and location.




          Ads that use negative life events such as death, accidents, illness,
      arrests or bankruptcy to induce fear, guilt or other strong negative
      emotions to pressure the viewer to take immediate action.

                                             Examples (non-exhaustive): Ads that pressure the user to
                                             purchase, subscribe to or stop consuming a product or
                                             service in order to avoid harm; ads which use depictions of
                                             severe distress, pain, fear or shock to promote a product or
                                             service
Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.
Learn how to fix a disapproved ad or extension.

Misleading ad design
The following is not allowed:
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       that the link points to the correct
       file and location.




           Ads that make it difficult for the user to understand they are
      interacting with an ad

                                             Examples (non-exhaustive): Ads that resemble system or
                                             site warnings/error messages; ads that simulate messages,
                                             dialog boxes, menus, or request notifications; hosted ads
                                             that are indistinguishable from other content; ads depicting
                                             features that do not work, such as close buttons, text input
                                             boxes, multiple choice options; download/install buttons or
                                             icons in image ads; ads with a transparent background;
                                             images that are segmented; an image that contains multiple
                                             copies of itself within the ad; images that appear to be more
                                             than one ad; moving and clicking arrows; ads that use
                                             surreptitious techniques to disguise their nature

                                             Note: Animated ads and Ad gallery ads can have mock
                                             animated features or icons as long as the functionality




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                                                 works or the purpose of these features can be found on the
                                                 landing page.

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warning. A warning will be issued, at least 7 days, prior to any suspension of your
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Learn how to fix a disapproved ad or extension.

Manipulated media
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                                               Manipulating media to deceive, defraud, or mislead others

                                                 Examples (non-exhaustive): Deceptively doctoring media
                                                 related to politics, social issues, or matters of public concern

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
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Learn how to fix a disapproved ad or extension.

Unreliable claims
The following is not allowed:
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         that the link points to the correct
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            Making inaccurate claims or claims that entice the user with an
        improbable result (even if this result is possible) as the likely outcome a
        user can expect

        Claims related to health and weight loss

       Making unproven claims of cures for incurable medical ailments

                                                 Examples (non-exhaustive): "Miracle cures" for medical
                                                 ailments such as arthritis, diabetes, Alzheimer’s disease, or
                                                 cancer; Products that claim to be “cure-all” for several
                                                 diseases;




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            Note: For health-related claims, including testimonial
            content, we may defer to local regulatory guidelines when
            enforcing this policy.

    Making claims of unrealistic weight loss within a specific time frame or
     requiring little effort

            Example (non-exhaustive): Extreme weight loss products or
            programs

            Specific example: A weight loss ad that says you can eat
            whatever you want and lose 10 pounds in a month

    Content promoting harmful health claims, or content that relates to a
     current, major health crisis and contradicts authoritative scientific
     consensus

            Examples (non-exhaustive): Anti-vaccine advocacy; denial of
            the existence of medical conditions such as AIDS or Covid-
            19; gay conversion therapy

     Note: If you guarantee certain results, have a clear and easily accessible
     refund (money-back) policy. Testimonials that claim specific results must
     include a visible disclaimer stating that there is no guarantee of specific
     results and that the results can vary. Include links to third-party verification
     or include relevant and noticeable disclaimers when testimonials and
     endorsements imply that results are typical.

     Claims related to financial products or money making schemes

    Making unrealistic promises of large financial return with minimal risk,
     effort or investment

            Examples (non-exhaustive): "Get rich quick" schemes;
            guaranteeing returns, or promising returns that are
            unrealistic or exaggerated for the advertised investment
            product; presenting investment products as risk-free or
            downplaying the risk of investment opportunities

     Claims related to politics, social issues, or matters of public concern

    Making claims that are demonstrably false and could significantly
     undermine participation or trust in an electoral or democratic process




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                                               Example (non-exhaustive): Information about public voting
                                               procedures, political candidate eligibility based on age or
                                               birthplace, election results, or census participation that
                                               contradicts official government records; incorrect claims
                                               that a public figure has died, or been involved in an accident

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Learn how to fix a disapproved ad or extension.

Unclear relevance
The following is not allowed:
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                                             Promotions that are not relevant to the destination

                                               Examples (non-exhaustive): An ad that uses the keyword
                                               insertion feature without a relevant "default" keyword in
                                               place; ad title not relevant to ad content; ad doesn't clearly
                                               indicate that the resulting destination is a search results
                                               page; ad doesn’t accurately describe what the user will see
                                               on the destination; using overly general keywords or
                                               engaging in keyword spam

                                               Note: When using keyword insertion, include default ad text
                                               that is clear and easy to understand.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.
Learn how to fix a disapproved ad or extension.

Unavailable offers
The following is not allowed:
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          Promising products, services, or promotional offers in the ad that are
      unavailable or aren't easily found from the destination




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                 Examples (non-exhaustive): Promoting products that are not
                 stocked; promoting a deal that is no longer active; promoting
                 a price that is inaccurate; call-to-action in the ad that isn't
                 easily available from the destination

                 Specific example: Ad reads "Buy tablets from $40," but upon
                 clicking on the ad, the user finds no tablets available for
                 purchase at $40

                 Note: Avoid creating ads for specific offers unless you can
                 update your ads as your inventory or offers change. For
                 example, if you create an ad for a one-day promotional
                 discount, remember to update or remove the ad the next day
                 when the offer is no longer available. If the inventory or
                 prices on your site change often, consider setting up
                 Dynamic Search Ads, which automatically show your ad
                 based on the content of your website.

    Violations of this policy will not lead to immediate account suspension without prior
    warning. A warning will be issued, at least 7 days, prior to any suspension of your
    account. Learn more about suspended accounts.
    Learn how to fix a disapproved ad or extension.


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    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol



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   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

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     English?

    English

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2. dansk
3. Deutsch
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7. español
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12. Indonesia
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14. latviešu
15. lietuvių




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16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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   Help Center




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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product




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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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Google Ads Help

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Help CenterCommunityAnnouncements


About keyword insertion for your ad text
Keyword insertion lets you automatically update your ads with the keywords in your ad
group that caused your ads to show. This can help make your ads more relevant to
users searching for what you offer.

This article explains how keyword insertion works in Google Ads.

How it works
Let's say you're advertising a chocolate shop. You could use a keyword insertion code in
your ad headline:

Headline: Buy {KeyWord:Chocolate}

Google Ads will try to replace this code with one of your keywords in your ad group
("dark chocolate," "sugar free chocolate," "gourmet chocolate truffles"), but when it can't,
it'll use the word "Chocolate."

Note that the person's search term isn't always the same as the keyword.



Person searches for:    Your ad could look like:
dark chocolate bar      Buy Dark Chocolate
                        www.example.com
                        Artisan candy from San Francisco
                        Free shipping orders $50 more
sugar free chocolate    Buy Sugar Free Chocolate
                        www.example.com



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                              Artisan candy from San Francisco
                              Free shipping orders $50 more
    gourmet chocolate trufflesBuy Chocolate
                              www.example.com
                              Artisan candy from San Francisco
                              Free shipping orders $50 more

    In the last example, "Chocolate" goes in the headline because the keyword "gourmet
    chocolate truffles" is too long to fit.

    Related links

   Set up keyword insertion
   About location insertion for responsive search ads

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   Set up keyword insertion for your ad text
   About expanded text ads
   About responsive search ads
   About Ad strength for responsive search ads
   About location insertion for responsive search ads
   About cross-campaign asset reporting for responsive search ads
   Make a Search ad always open to a lead form




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    Reach your marketing goals with Google Ads

    Google Ads can help you make the most of your online marketing efforts with tools to
    help you succeed. Learn more from success stories to see what others have achieved
    with the help of the right campaigns for their goals.

    Get Started

    or Call 1-855-500-2754 to get started

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   Google Ads Advertising Policies
   About the Help Center

              English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
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13. italiano
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15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina



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25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics




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o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



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   Submit feedback




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and when ads appearFind out if your ad is runningAccount administration and security
Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
Google Ads mobile appRecommendations and optimization score
Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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Advertising Policies Help

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Counterfeit goods
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

Google Ads prohibits the sale or promotion for sale of counterfeit goods. Counterfeit
goods contain a trademark or logo that is identical to or substantially indistinguishable
from the trademark of another. They mimic the brand features of the product in an
attempt to pass themselves off as a genuine product of the brand owner. This policy
applies to the content of your ad and your website or app.

Learn about what happens if you violate our policies.

If you're concerned about ads facilitating the sale of counterfeit products, please file a
complaint.

Counterfeit goods
The following is not allowed:
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          that the link points to the correct
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           Products described as knock off, replica, imitation, clone, faux, fake,
       mirror image, or similar terms when referring to a brand name in an
       attempt to pass themselves off as genuine products of the brand owner




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       The linked image cannot be
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       that the link points to the correct
       file and location.




           Non-genuine products that mimic brand features in an attempt to
       pass themselves off as the genuine product

                                             Examples (non-exhaustive): non-authentic products that
                                             have brand name labels or logos

We take violations of this policy very seriously and consider them egregious. An
egregious violation of the Google Ads policies is a violation so serious that it is unlawful
or poses significant harm to our users. In determining whether an advertiser or
destination is violating this policy, we may review information from multiple sources
including your ad, website, accounts, and third-party sources. If we find violations of
this policy, we will suspend your Google Ads accounts upon detection and without prior
warning, and you will not be allowed to advertise with us again. If you believe there's
been an error, and that you haven’t violated our policy, submit an appeal and explain
why. We only reinstate accounts in compelling circumstances, and when there is good
reason so it's important that you take the time to be thorough, accurate, and honest.
Learn more about suspended accounts.

Additional information
Google Ads counterfeit vs. trademark policy

Our counterfeit policy concerns the actual products promoted on the site or app
featured in the ad; whereas, our trademark policy concerns use of the trademark in the
ad text or keywords (in certain circumstances) in the ad itself.

Google Ads counterfeit vs. DMCA/Copyright/Pirated products

Counterfeiters mimic the trademark brand features, rather than copying the product
itself (software, books, artwork, movies, etc.).

Need help?
If you have questions about our policies, let us know: Contact Google Ads Support
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    Help
   Counterfeit goods

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     English?

    English

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32. български



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33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
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   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


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    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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                                                                                1384
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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Google Ads

Counterfeit Goods Complaint

1
Information


Your information
This Google product prohibits the sale or promotion for sale of counterfeit goods. Counterfeit
goods contain a trademark or logo that is identical to or substantially indistinguishable from the
trademark of another. They mimic the brand features of the product in an attempt to pass
themselves off as a genuine product of the brand owner.

Our response to a valid counterfeit complaint will include removing the content at issue or
terminating the user’s account for this Google product, as appropriate. If we take action in
response to your complaint, we may notify the user. We may also document complaints that we
take action on by sending copies to third parties or making them available to the public.

Google Ads Counterfeit vs. Trademark Policy Our counterfeit policy concerns the actual
products promoted on the site or app featured in the ad; whereas, our trademark policy concerns
use of the trademark in the ad text or keywords (in certain circumstances) in the ad itself.

Counterfeit vs. DMCA/Copyright/Pirated Goods Counterfeiters mimic the trademark brand
features, rather than copying the product itself (software, books, artwork, movies, etc.). If you
are looking to report cases of potential copyright infringement, do not use this form. Click here
to report content that may violate your copyright.

We will ask for additional information if the complaint isn't properly filled out or is incomplete.
If your complaint pertains to multiple Google products, please submit a separate counterfeit
complaint for each product, using the relevant product's form.

Relationship to trademark owner

Trademark owner, trademark owner’s legal counsel, or agent authorized to act on behalf of the
trademark owner
Other/No relationship to trademark owner
Please select your relationship to the trademark owner

Contact information

Name



                                                                                                         1385
                                                                                                          1580
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Please enter your name
Company
Street address and city
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia




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Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica




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Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan




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Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey




                                                                        1389
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Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
Please enter a country.

Email
Invalid email address. Please provide a valid email address.

Google will use the information you give us to help improve our services, subject to our Privacy
Policy.

Next
2
Details


Specify infringement details
Next
2
Details


Specify infringement details
Please provide us with the details of the sites allegedly facilitating the sale of counterfeit goods
through Google Ads advertisements (all fields are required for each site).

Details for each ad

cancel
Search term
Please enter the search term
Google domain



                                                                                                1390
                                                                                                 1585
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Please enter the Google domain
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location from the drop-down
menu.
Please enter the tracking URL
Visible URL of the ad
Please enter the ad's visible URL
+ Add entry

Details for each trademark

cancel
Trademark
This field is required
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei



                                                                                       1391
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Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti




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Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru




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Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden




                                                                        1394
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Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
This field is required

Registered?
Yes
No, I claim use rights.
+ Add entry
It appears your request includes more than 50 trademarks. In order to better meet your needs and
provide a significantly faster turnaround time, we ask that you consider narrowing the scope of
your complaint to include only the trademarks that are currently being used by Google Ads
advertisements, and/or consider prioritizing certain regions for which you would like us to
investigate particular marks. If you see ads appearing in the future using additional trademarks
that belong to you, we'll still be glad to investigate them at that time. Alternatively, you may
exercise the option to provide an attachment with your complete list of trademarks at the end of
this form.
Next
3
Clarifications


Clarifications and legal affirmations

                                                                                           1395
                                                                                            1590
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Clarifications

If you would like to clarify any of the information you have provided, or attach a file, please do
so here.



0/4000
Attach file

Legal affirmations

Please check if you agree with the following statement(s).
IMPORTANT: Please note that we cannot investigate your complaint if you do not check the
required box(es) below.

I have a good faith belief that the websites described above, which appear as sponsored links, are
selling counterfeit products.
I represent that the information in this notification is true and correct.

Signature

Signature date
 8/ 31/ 2021


Signature
Your digital signature is as legally binding as a physical signature.
Next
4
Review


Your information
This Google product prohibits the sale or promotion for sale of counterfeit goods. Counterfeit
goods contain a trademark or logo that is identical to or substantially indistinguishable from the
trademark of another. They mimic the brand features of the product in an attempt to pass
themselves off as a genuine product of the brand owner.

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response to your complaint, we may notify the user. We may also document complaints that we
take action on by sending copies to third parties or making them available to the public.




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Google Ads Counterfeit vs. Trademark Policy Our counterfeit policy concerns the actual
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features, rather than copying the product itself (software, books, artwork, movies, etc.). If you
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to report content that may violate your copyright.

We will ask for additional information if the complaint isn't properly filled out or is incomplete.
If your complaint pertains to multiple Google products, please submit a separate counterfeit
complaint for each product, using the relevant product's form.

Relationship to trademark owner

Trademark owner, trademark owner’s legal counsel, or agent authorized to act on behalf of the
trademark owner
Other/No relationship to trademark owner
Please select your relationship to the trademark owner

Contact information

Name
Please enter your name
Company
Street address and city
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain



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Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia




                                                                        1398
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Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta




                                                                        1399
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Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia




                                                                       1400
                                                                        1595
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Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
Please enter a country.

Email
Invalid email address. Please provide a valid email address.

Google will use the information you give us to help improve our services, subject to our Privacy
Policy.




                                                                                           1401
                                                                                            1596
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Specify infringement details
Specify infringement details
Please provide us with the details of the sites allegedly facilitating the sale of counterfeit goods
through Google Ads advertisements (all fields are required for each site).

Details for each ad

cancel
Search term
Please enter the search term
Google domain
Please enter the Google domain
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location from the drop-down
menu.
Please enter the tracking URL
Visible URL of the ad
Please enter the ad's visible URL
+ Add entry

Details for each trademark

cancel
Trademark
This field is required
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia



                                                                                                1402
                                                                                                 1597
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Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia




                                                                        1403
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Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar




                                                                        1404
                                                                         1599
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Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal




                                                                       1405
                                                                        1600
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Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
This field is required

Registered?
Yes



                                                                        1406
                                                                         1601
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No, I claim use rights.
+ Add entry
It appears your request includes more than 50 trademarks. In order to better meet your needs and
provide a significantly faster turnaround time, we ask that you consider narrowing the scope of
your complaint to include only the trademarks that are currently being used by Google Ads
advertisements, and/or consider prioritizing certain regions for which you would like us to
investigate particular marks. If you see ads appearing in the future using additional trademarks
that belong to you, we'll still be glad to investigate them at that time. Alternatively, you may
exercise the option to provide an attachment with your complete list of trademarks at the end of
this form.


Clarifications and legal affirmations
Clarifications

If you would like to clarify any of the information you have provided, or attach a file, please do
so here.



0/4000
Attach file

Legal affirmations

Please check if you agree with the following statement(s).
IMPORTANT: Please note that we cannot investigate your complaint if you do not check the
required box(es) below.

I have a good faith belief that the websites described above, which appear as sponsored links, are
selling counterfeit products.
I represent that the information in this notification is true and correct.

Signature

Signature date
 8/ 31/ 2021


Signature
Your digital signature is as legally binding as a physical signature.

Please ensure all the required fields are filled out and the recaptcha is solved.

Submit




                                                                                              1407
                                                                                               1602
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If you would like to submit your Google Ads trademark complaint by mail, please provide all of
the requested information, press submit, print the email confirmation, and send it to one of the
following addresses:

ads-counterfeits@google.com

OR

Google Inc.
Attn: Advertising Legal Support Team
1600 Amphitheatre Parkway
Mountain View, CA 94043

OR

Our facsimile number: 1-650-649-1774
Attn: Google Trademark Complaints

Contact error




                                                                                           1408
                                                                                            1603
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Trademarks
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

Google abides by local trademark laws and requires that Google Ads ads don’t infringe
third party trademarks. We recognize that third parties may properly use trademarks in
certain situations, such as by resellers to describe products.

If a trademark owner submits a complaint to Google about the use of their trademark in
Google Ads ads, we will review it and may enforce certain restrictions on use of the
trademark.

If you are a trademark owner concerned with the use of your trademark, please review
the policy outlined on this page and see the Help for trademark owners page for more
information about how to submit a complaint.

If you are an advertiser and have questions about how this policy may affect your ads,
please visit the Trademark help for advertisers page.

Trademarks in search ads
The following policies apply to text ads appearing on the Google Search Network, or in
response to a search query on the Display Network, and they are enforced when a
trademark owner submits a valid complaint to Google.




                                                                                     1409
                                                                                      1604
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 Trademarks in ad text

 In response to trademark owner complaints, we may restrict the use of
 trademarks in ad text.

 There are specific requirements for resellers, informational sites, and
 authorized advertisers who want to use trademarks that would otherwise
 be restricted.

       Reseller and informational site policy

       Ads may use the trademark in ad text if they meet the
       following requirements:

              Resellers: The ad's landing page is primarily
              dedicated to selling (or clearly facilitating the
              sale of) products or services, components,
              replacement parts, or compatible products or
              services corresponding to the trademark. The
              landing page must clearly provide a way to
              purchase the products or services and display
              commercial information about them, such as
              rates or prices.

              Informational sites: The primary purpose of the
              ad's landing page is to provide informative
              details about products or services
              corresponding to the trademark.

       The following is not allowed under the Reseller and
       informational site policy:

             Ads referring to the trademark for competitive
              purposes.
             Ads with landing pages that require users to
              provide extensive information before
              displaying commercial information.
             Ads that are unclear as to whether the
              advertiser is a reseller or informational site.

       Authorized advertisers

       Advertisers may use the trademark in ad text if the
       trademark owner has authorized them. If you are a
       trademark owner and would like to authorize an advertiser,



                                                                           1410
                                                                            1605
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        please see the Help for trademark owners page. If you are an
        advertiser seeking authorization, please follow the
        instructions on the Trademark help for advertisers page.

        Term not used in reference to a trademark

        The following types of ads may use the term in ad text:

              Ads using the term descriptively in its ordinary
               meaning rather than in reference to the
               trademark.
              Ads referring to goods or services that do not
               correspond to the trademark.

        Ad extensions and other ad formats

        For certain ad extensions and formats only, ads may use a
        trademark in ad text when referring to the trademark to
        provide additional information about the advertised products
        or services.

 Trademarks as keywords

 We don’t investigate or restrict trademarks as keywords.

 Trademarks in EU and EFTA policy

 For ad campaigns targeting the European Union and European Free Trade
 Association regions, the policy for trademarks in ad text and keywords
 applies. However, in response to a valid complaint in these regions, we will
 conduct a limited investigation as to whether a combination of keyword
 and ad featuring a trademark is confusing as to the origin of the
 advertised goods and services. If we find that the combination of keyword
 and ad is confusing, we will disapprove it.

 The following types of ads targeting the EU and EFTA regions may use the
 trademark as a keyword, provided that the combination of the keyword
 and ad is not confusing. These are examples, and not an exhaustive list:

       Ads using a term descriptively or generically rather than in
        reference to the trademark.
       Ads for competing products or services.
       Ads for the sale of products or services, replacement parts,
        or compatible products or services corresponding to the
        trademark.



                                                                                1411
                                                                                 1606
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                   Ads for sites that provide informative details about products
                    or services corresponding to the trademark.
                   For certain ad extensions and formats only: Ads referring to
                    the trademark to provide additional information about the
                    advertised products or services.

            Trademarks in display URLs

            In response to trademark owner complaints, we may restrict trademarks
            from appearing in the subdomains of display URLs. We don’t investigate
            or restrict trademarks in the second-level domains or post-domain paths
            of display URLs.

    Trademarks in other types of ads
    Google may remove specific ads on the Google Network in response to trademark
    owner complaints.

    Trademarks in ad disclosures
    In response to a complaint, we may restrict a trademark from appearing within the
    ‘Advertiser Name’ in ad disclosures, and show an advertiser’s payments profile name
    instead. This includes ‘About the Advertiser’ disclosures.
    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                               Submit

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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch



                                                                                      1412
                                                                                       1607
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4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




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o   Verification



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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1415
                                                                                 1610
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Advertising Policies Help

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Help for trademark owners
Trademarks policy | Trademark help for advertisers

Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Due to the United Kingdom’s exit from the European Union, investigations of trademark
complaints regarding the EU will no longer include the UK. If you would like us to
investigate a trademark complaint in the UK, you will need to separately claim UK
trademark rights in any complaint submissions.

Google recognizes the importance of trademarks. The Google Ads Terms and
Conditions prohibit intellectual property infringement. Advertisers are solely responsible
for the keywords and ad content they use.

We take allegations of trademark infringement very seriously and, as a courtesy, we
investigate valid trademark complaints submitted by trademark owners or their
authorized agents. However, Google is not in a position to mediate third party disputes,
and we encourage trademark owners to resolve their disputes directly with advertisers.

In addition to directly contacting advertisers, trademark owners who are concerned
about trademark use in ads can follow the steps below to submit a complaint.

Submit a trademark complaint




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We won't restrict the use of your trademark unless you submit a valid complaint.
Trademark owners don’t need to be Google Ads advertisers to submit a complaint. Here
are the steps to do so:

   1. Verify that you are eligible to submit a complaint.

             We generally accept complaints from:

             Trademark owners. Your email address domain must match
             your company’s website, and your business address must
             match either the address on the trademark registration or
             corporate headquarters’ address on your company’s
             website. If you do not have a corporate email address, you
             will need to provide a PDF of a signed statement on
             company letterhead confirming that you are an employee of
             the trademark owner and are authorized to act on their
             behalf with regard to Google Ads trademark matters.

             Attorneys of Record as listed on trademark registrations.
             Your email address domain must match your or your law
             firm’s website, and your business address must match either
             the address on the trademark registration or corporate
             headquarters’ address on your or your law firm’s website.

             Representatives from trademark parent company’s
             headquarters. Your email address domain must match your
             company’s website, and your business address must match
             corporate headquarters’ address on your company’s
             website.

             For us to accept complaints from any other contacts (such
             as subsidiaries, regional branches, attorneys not listed on
             trademark registrations, media agencies, dealerships, or
             franchises), trademark owners must provide explicit
             authorization. To do so, the trademark owner may either
             submit the Google Ads Trademark Consult Form, or, when
             submitting the complaint form, you may attach a letter from
             the trademark owner that confirms that you are authorized
             to act on their behalf with respect to Google Ads trademark
             matters.

   2. Review the Trademarks policy and make sure that you understand what
      we will and won’t investigate.
   3. Submit the Trademark complaint form.




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             Additional information

After submitting the complaint form, you'll receive an auto-generated confirmation
email. After we review your complaint, we'll send a response to the email address you
provided letting you know the outcome of our review.

We receive a high volume of complaints and review them in the order that they are
received. Please be assured that we will contact you after we have reviewed your
complaint. If you have questions related to your complaint, reply to the auto-generated
confirmation email you received upon submission. Do not resubmit your complaint or
follow up in separate emails.

Authorize advertisers to use your trademark
If you have a trademark complaint on file, you can authorize advertisers to use your
trademark by submitting the authorization form. However, authorization isn't necessary
in most scenarios. Ads may use trademarks in ad text if they meet the Reseller and
informational site policy requirements. Please carefully review this policy before
submitting the authorization form.

      Additional information

Update trademark owner contact information
If you have a complaint on file and would like to update the point of contact for your
trademark, submit the Google Ads Trademark Consult Form.

Ads from resellers and informational sites
Please keep in mind that after we complete a trademark investigation, ads using the
trademark in ad text may still be allowed to run if they meet the Reseller and
informational site policy requirements.

We believe the right approach is to give users more choices and access to as much
information as is relevant to their search or interest. This policy balances the needs of
our users while ensuring that noncompliant uses of the trademark in ad text continue to
be investigated and restricted according to our Trademarks policy.

Counterfeit goods and Copyrights policies
We have separate complaint procedures for issues related to counterfeit goods and
copyrights.




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            If your complaint relates to counterfeit goods, please review the
            Counterfeit goods policy and complaint procedure.

            If your complaint relates to copyrights, please review the Copyrights policy
            and complaint procedure.

    Additional concerns
    If you still have questions about the Trademarks policy, see the Google Ads Trademark
    Consult Form.
    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                              Submit

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar



                                                                                           1419
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17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


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    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong




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                                                                             1616
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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1422
                                                                                 1617
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Advertising Policies Help

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                                     Send feedback on...

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General Help Center experience
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Trademark help for advertisers
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Trademarks policy | Help for trademark owners

Google recognizes the importance of trademarks. The Google Ads Terms and
Conditions prohibit intellectual property infringement. Advertisers are solely responsible
for the keywords and ad content they use.

If a trademark owner submits a complaint to Google about the use of their trademark in
ads, we will review it and may enforce certain restrictions on the use of the trademark.

To learn which ads can be affected and how, review the Trademarks policy.

Resellers and informational sites
Ads using trademarks that would otherwise be restricted in ad text may run if they meet
the Reseller and informational site policy requirements.

If your ad is restricted for use of a trademark and doesn’t meet these requirements, but
you’d still like your ad to be eligible to run, you’ll need to remove the trademark from
your ad text, or request authorization.

If your ad is restricted for use of a trademark but you believe that it complies with this
policy, submit the Google Ads Trademark Consult Form.




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Additional information

Request authorization to use a trademark
Authorization isn't necessary in most scenarios. Ads may use trademarks in ad text if
they meet the Reseller and informational site policy requirements. Please carefully
review this policy before pursuing authorization.

If your ad doesn’t meet the policy requirements but you believe the trademark owner will
authorize you to use their trademark, contact them directly and ask that they follow
the authorization instructions. To find trademark owner contact information, you may
research ownership on publicly available sources, or reach out to your existing business
contacts.

If the trademark owner submits an authorization, we'll confirm with them directly after it
is processed. At that point, any restricted or disapproved ads will need to be
resubmitted for approval. Learn how to resubmit your entire campaign for review.

If you'd like to check on the status of your authorization request, you may contact the
trademark owner.

Term not used in reference to a trademark
If your ad is restricted for use of a trademark but uses a term in a way that isn't in
reference to a trademark, submit the Google Ads Trademark Consult Form.

Ads restricted for trademarks in subdomains
If your ads are restricted for use of a trademark in the subdomain of your display URL,
any ads using that same subdomain and second-level domain combination as their final
URL will also be restricted. For those ads to be eligible to run, you will need to select a
new final URL that does not include the trademark in the subdomain.

Additional concerns
If you still have questions about the Trademarks policy, see the Google Ads Trademark
Consult Form.
Give feedback about this article
Choose a section to give feedback on

                                      Was this helpful?
                                          YesNo




                                                                                         1424
                                                                                          1619
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                                        Submit

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά




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32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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   Help Center




o   List of ad policies



o   Review process



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   Privacy Policy



   Terms of Service



   Submit feedback


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    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




                                                                            1427
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services, per our Privacy & Terms.




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Payment methods & terms of service finder
To see your available payment options and relevant terms of service, choose your Google
product, billing country, currency, account type, and payment method. Account type and
payment method selection may not be required in some cases.
Product




                                                                                          1429
                                                                                           1624
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Legal Help
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                                    Send feedback on...

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General Help Center experience
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Google Ads Trademark Consult Form
Due to the preventive measures we're taking to protect the health of our support
specialists in light of COVID-19, we're experiencing longer-than-average turnaround
times on incoming complaints and consults. We appreciate your patience and sincerely
apologize for any inconvenience this may cause you. We will update this message as
the situation changes.

* Required field

Who are you? *

Trademark owner or authorized representative of the trademark owner

Advertiser with an issue related to Google Ads Trademarks policy
Which of these options best describes the action you would like to take? *

Check the status of a trademark complaint or authorization request I recently submitted

Get help with ads that are incorrectly restricted for use of my trademark(s)

Submit a complaint regarding my trademark

Authorize an advertiser to use my trademark(s) in ad text

Update trademark owner point-of-contact details, or authorize an entity to act on my
behalf with regard to trademark matters

Other issue related to Google Ads Trademarks policy
Which of these actions would you like to take? *




                                                                                   1430
                                                                                    1625
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Obtain authorization to use another entity's trademark(s) in my ad text

Get help with ads that are incorrectly restricted for use of a trademark

Other issue related to Google Ads Trademarks policy

We receive a high volume of requests and review them in the order they are received.
We will send you an email confirmation after we review your request. We appreciate
your patience.

If you would like to provide any additional information regarding a request that you
submitted, please follow up on that case thread directly.

Please provide us with the following information:
Trademark at issue, including specific term(s) or variation(s) used in restricted ads
(Please enter only one trademark per line)

*                Add additional

Which of these options best describes your issue?

*
    Select one

Select one

10-Digit Google Ads account customer ID(s) where issue is occurring

*               Add additional
Please provide a copy of the prior authorization request, and/or the reference number of
the case in which authorization was provided. You can find the case number in the
subject line of the confirmation you received when submitting the complaint. It will
appear in the format [Case: 0-000000]. *




0/1000
Screenshots of the issue in your Google Ads account
No files chosen
Choose files




                                                                                        1431
                                                                                         1626
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(Optional) Any additional screenshots, URLs, or trademark registration information
relevant to your issue




0/1000
This is not the form to submit a trademark complaint. If you would like to submit a
complaint regarding the use of your trademark(s), please follow the steps on our Help
for trademark owners page.
This is not the form to submit a trademark authorization. If you have a complaint on file
and would like to authorize an advertiser to use your trademark, please follow the steps
on our Help for trademark owners page.

Please provide us with the following information:
Trademark(s) at issue (Please enter only one trademark per line)

*             Add additional

Trademark Owner listed on registration:

*

Name of new point-of-contact

*

Email address of new point-of-contact

*
If the contact is an employee of the trademark owner company, please make sure to
provide us with their corporate domain email address. Please note that Google may
share this updated email address with advertisers inquiring about these trademark(s)
and/or seeking authorization.

Feel free to provide any additional context on this request



*




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0/1000
If your request does not relate to Google Ads Trademarks policy, do not submit this
form as our team will not respond. Please visit Google Help for further assistance.

Please provide us with the following information:
Trademark(s) at issue, including any variations or other terms used in the ads in
question (Please enter only one trademark per line)

*              Add additional

10-Digit Google Ads account customer ID(s) where issue is occurring (if applicable)




Tracking URL(s) of the ad(s) at issue (if applicable)


You can find an ad's tracking URL by right clicking on the ad headline and selecting
"copy link location", "copy link address", or "copy link"
Brief summary of the issue, including any other relevant information that may help us
with our review of your request.*




0/1000
This is not the form to request authorization to use a trademark. If you would like more
information about obtaining authorization, please see our Trademark help for
advertisers page.


Please provide the following:
Trademark(s) at issue, including any other terms, variations or misspellings of the
trademark(s) used in the ads in question (Please enter only one trademark per line) *
              Add additional




                                                                                      1433
                                                                                       1628
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10-Digit Google Ads account customer ID(s) where restriction is occurring:

*
Which of these options best describes your issue? *
 Select one

Select one

Please add any other relevant links or information that could help our team review this
request:




0/1000



To learn more about Trademarks policy approval statuses and how to check an ad’s
approval status, please see here.

Please provide us with the following:
Trademark(s) at issue, including any other terms, variations or misspellings of the
trademark(s) used in the ads in question (Please enter only one trademark per line) *
              Add additional

10-Digit Google Ads account customer ID(s) where issue is occurring (if applicable)



Tracking URL(s) of the ad(s) at issue (if applicable)
You can find an ad's tracking URL by right clicking on the ad headline and selecting
"copy link location", "copy link address", or "copy link"

Case number (if applicable):


You can find the case number in the subject line of the confirmation you received when
submitting a complaint or authorization form. It will appear in the format [Case: 0-
000000].
Brief summary of the issue, including any other relevant information that may help us
with our review of your request.




                                                                                       1434
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     0/1000

     Please provide your contact information:

     Full Name: *
     Email address: *




     Submit
     Some account and system information will be sent to Google, and support calls and
     chats may be recorded. We will use this information to improve support quality and
     training, to help address technical issues, and to improve our products and services,
     subject to our Privacy Policy and Terms of Service.
     Additional info
                                                                                             OK
     Your email has been sent
     Your email has been sent to our team! Due to the preventative measures being taken for
     our support specialists in light of COVID-19, it may take longer than usual to respond to
     your support request. We apologize for any inconvenience this may cause, and we’ll
     send you a reply as soon as we can.


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      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   eesti
5.   English (United Kingdom)
6.   español



                                                                                         1435
                                                                                          1630
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7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. ‫ﻓﺎرﺳﯽ‬
36. िह ी
37. ไทย
38. 中文（简体）
39. 中文（繁體）
40. 日本語
41. 한국어
42. English

   Send feedback about our Help Center
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   Google Help




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   Help Center



   Legal




   Privacy Policy



   Terms of Service



   Submit feedback


    Send feedback on...
    This help content & information General Help Center experience




                                                                           1437
                                                                            1632
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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




Google Ads

Trademark Complaint

English
English
English (United Kingdom)
Deutsch
español
français
italiano
日本語
한국어
Nederlands
polski
português (Brasil)
português
русский
Türkçe
中文（简体）
中文（繁體）
1
Information
If you intend to authorize 3rd parties, please use this form instead: Authorization form.


Your information
Please have this information ready before you start filling out this complaint form:
- Country or countries of registration and registration numbers (if applicable)
- Authorized entities (if any): Google Ads customer IDs/login emails for all Google Ads
accounts, or any visible URLs for all websites that are permitted to use your trademark(s) in ad
text

Please complete the fields below. Note that all fields are required.

Relationship to trademark owner

I am the trademark owner, the trademark owner’s attorney of record (as listed on one or more of
its trademark registrations), or a representative of the trademark owner based at its parent
company’s headquarters
The trademark owner has contacted Google to authorize me to act on their behalf




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Other
Please select your relationship to the trademark owner

Contact information

Name
Please enter your name
Company
Please enter a company name
Street address and city
Please enter an address
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia



                                                                        1439
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Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland




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India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua




                                                                        1441
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Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania




                                                                        1442
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Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
Please enter a country.

Email
Invalid email address. Please provide a valid email address.

Google will use the information you give us to help improve our services, subject to our Privacy
Policy.

I agree to permit Google to provide this email address to advertisers who request this contact
information in order to inquire about this trademark complaint (eg. in order to obtain a
permission to use the trademark).
Please tick the required checkbox above
Next
2
Details


Specify infringement details
For each trademark at issue, all fields are required. If you wish to attach any supporting
documentation, please do so in the "Clarifications" section.

Please create a trademark entry for each region where you claim rights and make sure that the
trademarks you submit are being used by advertisers.



                                                                                             1443
                                                                                              1638
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Details for each trademark

cancel
Trademark
This field is required
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China



                                                                        1444
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Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy




                                                                        1445
                                                                         1640
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Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman




                                                                       1446
                                                                        1641
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Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia




                                                                        1447
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Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
This field is required

Registered?
Yes
No, I claim use rights.
+ Add entry
It appears your request includes more than 50 trademarks. In order to better meet your needs and
provide a significantly faster turnaround time, we ask that you consider narrowing the scope of
your complaint to include only the trademarks that are currently being used by Google Ads
advertisements, and/or consider prioritizing certain regions for which you would like us to
investigate particular marks. If you see ads appearing in the future using additional trademarks
that belong to you, we'll still be glad to investigate them at that time. Alternatively, you may
exercise the option to provide an attachment with your complete list of trademarks at the end of
this form.
Next
3
Scope


Scope of the advertisers involved
Google will not investigate or restrict the use of trademark terms in keywords, even if a
trademark complaint is received. For more information, please review our Google Ads
Trademark Policy.

* required

Scope of complaint - Advertisers involved

Please choose either of the following options:
My complaint only applies to specific advertisers



                                                                                            1448
                                                                                             1643
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My complaint applies to all advertisers
Please select a radio button indicating the advertisers involved

Please list the specific advertisements at issue by providing the visible URL of the ad(s) in
question. Please note, the visible URL of the ad(s) is located in the last line of the ad.



0/4000

Authorized entities

Please provide the requested information for any entities authorized to use the trademarks
identified in this complaint. help_outline

Accounts or URLs that are not submitted for authorization (including the trademark owner's own
accounts) can have their ads disapproved, which may disqualify them from serving and take
additional time to re-approve.

I have more than ten authorized entities and am attaching a schedule in lieu of filling out this
section.
cancel
Google Ads customer ID or visible URL
0/255
+ Add authorized entity

Examples of the
ads at issue

cancel
Google domain
Ad text
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location from the drop-down
menu.
+ Add example

Scope of complaint EU/EFTA

In EU/EFTA countries we will do a limited investigation as to whether a keyword in
combination with particular ad text is confusing as to the origin of the advertised goods and
services. If we find that it is, we will remove the specific ad that is the subject of the complaint.
Please review our policy for more information.



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Does your complaint assert that a particular ad is confusing as to the origin of the advertised
goods or services when displayed against your trademark in an EU or EFTA country?
Yes
No

If yes, please provide the following information for each ad at issue. We cannot process a
complaint unless you provide complete and accurate information. The tracking URL can be
found by right clicking (or clicking while holding command depending on your operating
system) the ad title and copying link address/location.

cancel
Search term
Google domain
Ad text
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location.
+ Add example
Next
4
Clarifications


Clarifications and legal affirmations
required *

Clarifications

If you would like to clarify any of the information you have provided, or attach a file, please do
so here.



0/4000
Attach file

Legal affirmations

Please check if you agree with the following statement(s).
IMPORTANT: Please note that we cannot investigate your complaint if you do not check the
required box(es) below.




                                                                                              1450
                                                                                               1645
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I have a good faith belief that use of the trademarks described above with the advertisements
described are not authorized by the trademark owner or its agent, nor is such use otherwise
permissible under law.
I represent that the information in this notification is true and that I am authorized to act on
behalf of the trademark owner.
Next
5
Review
If you intend to authorize 3rd parties, please use this form instead: Authorization form.


Your information
Please have this information ready before you start filling out this complaint form:
- Country or countries of registration and registration numbers (if applicable)
- Authorized entities (if any): Google Ads customer IDs/login emails for all Google Ads
accounts, or any visible URLs for all websites that are permitted to use your trademark(s) in ad
text

Please complete the fields below. Note that all fields are required.

Relationship to trademark owner

I am the trademark owner, the trademark owner’s attorney of record (as listed on one or more of
its trademark registrations), or a representative of the trademark owner based at its parent
company’s headquarters
The trademark owner has contacted Google to authorize me to act on their behalf
Other
Please select your relationship to the trademark owner

Contact information

Name
Please enter your name
Company
Please enter a company name
Street address and city
Please enter an address
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria



                                                                                               1451
                                                                                                1646
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American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia
Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti




                                                                        1452
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Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji
Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon




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Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi
Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania




                                                                        1454
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Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia
Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela




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Vietnam
Zambia
Zimbabwe
Please enter a country.

Email
Invalid email address. Please provide a valid email address.

Google will use the information you give us to help improve our services, subject to our Privacy
Policy.

I agree to permit Google to provide this email address to advertisers who request this contact
information in order to inquire about this trademark complaint (eg. in order to obtain a
permission to use the trademark).
Please tick the required checkbox above


Specify infringement details
For each trademark at issue, all fields are required. If you wish to attach any supporting
documentation, please do so in the "Clarifications" section.

Please create a trademark entry for each region where you claim rights and make sure that the
trademarks you submit are being used by advertisers.

Details for each trademark

cancel
Trademark
This field is required
Country Country
Benelux
European Union
OAPI
WIPO
Afghanistan
Algeria
American Samoa
Andorra
Angola
Anguilla
Antigua & Barbuda
Argentina
Armenia
Australia




                                                                                             1456
                                                                                              1651
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Austria
Azerbaijan
Bahamas
Bahrain
Bangladesh
Belarus
Belgium
Belize
Benin
Bolivia
Bosnia & Herzegovina
Botswana
Brazil
British Virgin Islands
Brunei
Bulgaria
Burkina Faso
Burundi
Cambodia
Cameroon
Canada
Cape Verde
Central African Republic
Chad
Chile
China
Colombia
Congo - Brazzaville
Congo - Kinshasa
Cook Islands
Costa Rica
Côte d’Ivoire
Croatia
Cuba
Cyprus
Czechia
Denmark
Djibouti
Dominica
Dominican Republic
Ecuador
Egypt
El Salvador
Estonia
Ethiopia
Fiji




                                                                        1457
                                                                         1652
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Finland
France
Gabon
Gambia
Georgia
Germany
Ghana
Gibraltar
Greece
Greenland
Guadeloupe
Guatemala
Guernsey
Guyana
Haiti
Honduras
Hong Kong
Hungary
Iceland
India
Indonesia
Iraq
Ireland
Isle of Man
Israel
Italy
Jamaica
Japan
Jersey
Jordan
Kazakhstan
Kenya
Kiribati
Kuwait
Kyrgyzstan
Laos
Latvia
Lebanon
Lesotho
Libya
Liechtenstein
Lithuania
Luxembourg
Macao
Madagascar
Malawi




                                                                        1458
                                                                         1653
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Malaysia
Maldives
Mali
Malta
Mauritius
Mexico
Micronesia
Moldova
Mongolia
Montenegro
Montserrat
Morocco
Mozambique
Namibia
Nauru
Nepal
Netherlands
New Zealand
Nicaragua
Niger
Nigeria
Niue
Norfolk Island
North Macedonia
Norway
Oman
Pakistan
Palestine
Panama
Paraguay
Peru
Philippines
Pitcairn Islands
Poland
Portugal
Puerto Rico
Qatar
Romania
Russia
Rwanda
Samoa
San Marino
São Tomé & Príncipe
Saudi Arabia
Senegal
Serbia




                                                                       1459
                                                                        1654
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Seychelles
Sierra Leone
Singapore
Slovakia
Slovenia
Solomon Islands
Somalia
South Africa
South Korea
Spain
Sri Lanka
St. Helena
St. Vincent & Grenadines
Suriname
Sweden
Switzerland
Taiwan
Tajikistan
Tanzania
Thailand
Timor-Leste
Togo
Tokelau
Tonga
Trinidad & Tobago
Tunisia
Turkey
Turkmenistan
U.S. Virgin Islands
Uganda
Ukraine
United Arab Emirates
United Kingdom
United States
Uruguay
Uzbekistan
Vanuatu
Venezuela
Vietnam
Zambia
Zimbabwe
This field is required

Registered?
Yes
No, I claim use rights.



                                                                        1460
                                                                         1655
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+ Add entry
It appears your request includes more than 50 trademarks. In order to better meet your needs and
provide a significantly faster turnaround time, we ask that you consider narrowing the scope of
your complaint to include only the trademarks that are currently being used by Google Ads
advertisements, and/or consider prioritizing certain regions for which you would like us to
investigate particular marks. If you see ads appearing in the future using additional trademarks
that belong to you, we'll still be glad to investigate them at that time. Alternatively, you may
exercise the option to provide an attachment with your complete list of trademarks at the end of
this form.


Scope of the advertisers involved
Google will not investigate or restrict the use of trademark terms in keywords, even if a
trademark complaint is received. For more information, please review our Google Ads
Trademark Policy.

* required

Scope of complaint - Advertisers involved

Please choose either of the following options:
My complaint only applies to specific advertisers
My complaint applies to all advertisers
Please select a radio button indicating the advertisers involved

Please list the specific advertisements at issue by providing the visible URL of the ad(s) in
question. Please note, the visible URL of the ad(s) is located in the last line of the ad.



0/4000

Authorized entities

Please provide the requested information for any entities authorized to use the trademarks
identified in this complaint. help_outline

Accounts or URLs that are not submitted for authorization (including the trademark owner's own
accounts) can have their ads disapproved, which may disqualify them from serving and take
additional time to re-approve.

I have more than ten authorized entities and am attaching a schedule in lieu of filling out this
section.
cancel




                                                                                                1461
                                                                                                 1656
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Google Ads customer ID or visible URL
0/255
+ Add authorized entity

Examples of the
ads at issue

cancel
Google domain
Ad text
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location from the drop-down
menu.
+ Add example

Scope of complaint EU/EFTA

In EU/EFTA countries we will do a limited investigation as to whether a keyword in
combination with particular ad text is confusing as to the origin of the advertised goods and
services. If we find that it is, we will remove the specific ad that is the subject of the complaint.
Please review our policy for more information.

Does your complaint assert that a particular ad is confusing as to the origin of the advertised
goods or services when displayed against your trademark in an EU or EFTA country?
Yes
No

If yes, please provide the following information for each ad at issue. We cannot process a
complaint unless you provide complete and accurate information. The tracking URL can be
found by right clicking (or clicking while holding command depending on your operating
system) the ad title and copying link address/location.

cancel
Search term
Google domain
Ad text
Tracking URL
The tracking URL can be found by right clicking (or clicking while holding command depending
on your operating system) the ad title and copying link address/location.
+ Add example




                                                                                                 1462
                                                                                                  1657
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Clarifications and legal affirmations
required *

Clarifications

If you would like to clarify any of the information you have provided, or attach a file, please do
so here.



0/4000
Attach file

Legal affirmations

Please check if you agree with the following statement(s).
IMPORTANT: Please note that we cannot investigate your complaint if you do not check the
required box(es) below.

I have a good faith belief that use of the trademarks described above with the advertisements
described are not authorized by the trademark owner or its agent, nor is such use otherwise
permissible under law.
I represent that the information in this notification is true and that I am authorized to act on
behalf of the trademark owner.

Please ensure all the required fields are filled out and the recaptcha is solved.

Submit

If you would like to submit your Google Ads trademark complaint by mail, please provide all of
the requested information, press submit, print the email confirmation, and send it to one of the
following addresses:

ads-trademarks@google.com

OR

Google Inc.
Attn: Advertising Legal Support Team
1600 Amphitheatre Parkway
Mountain View, CA 94043

OR




                                                                                               1463
                                                                                                1658
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Our facsimile number: 1-650-649-1774
Attn: Google Trademark Complaints

Contact error




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mov ed, renamed, or deleted. Verify
that the link points to the correct
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Google Ads

3rd Party Authorization Request

English
English
English (United Kingdom)
Deutsch
español
français
italiano
日本語
한국어
Nederlands
polski
português (Brasil)
português
русский
Türkçe
中文（简体）
中文（繁體）

Are you the owner of the trademark or the contact person listed in the Google Ads
trademark complaint?

Yes
No




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    Google Ads Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                            Next
    Help CenterCommunityAnnouncements


    About text ads
    Important

   Starting June 30, 2022, you’ll no longer be able to create or edit expanded text ads.
   Expanded text ads will continue to serve, and you'll still see reports on their
    performance going forward.
   You'll still be able to pause and resume your expanded text ads, or remove them if
    needed.
   We strongly encourage you to transition to responsive search ads.
   Learn more about this change to expanded text ads

    We recently made changes to text ads so that you have more room to convey your
    message to customers. Now, you can:

   Add a third headline
   Add a second description
   Use up to 90 characters for each description

    Text ads on the Search Network show above and below Google search results. It has
    three parts: headline text, a display URL, and description text.

    Comprehensive Insurance | Protect Yourself on a Budget | Get Your Free Quote Today
    Ad www.example.com/insurance
    Get affordable & trustworthy insurance. 10% discount on all online quotes. Easily
    compare insurance plans side-by-side in just a few seconds.
    Why you might not see your search ads
    There might not be ads on all search results, even for queries that advertisers are
    bidding on. You might often find that there are no ads on a page, even when an
    advertiser is bidding on the search terms that generated those results.



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To ensure high-quality ad content on search results, Google requires that all ads meet a
certain level of quality. In some cases, low-quality ads may hardly show at all (even if
they have high bids). Learn more about ad quality.

Headline
People are most likely to notice your headline text, so consider including words that
people may have entered in their Google search. Your text ad consists of three
headlines where you can enter up to 30 characters each to promote your product or
service. The headlines are separated by a vertical pipe ("|") and may show differently
based on the device someone is using when they view your ad.

Display URL
The display URL, usually in green, shows your website address. This display URL is
made up of the domain from your final URL and the text in the optional ”Path” fields.
These fields are designed to help people who see your ad get a better sense of where
they’ll be taken when they click it. Your path text doesn’t have to match the exact
language of your display URL.

Description
Use the description fields to highlight details about your product or service. It’s a good
idea to include a “call to action”—the action you want your customer to take. If you’re an
online shoe store, your description might include “Shop now” or “Buy shoes now.” If you
offer a service, you might want to add something like “Get an instant quote online” or
“See pricing.”

Length limits
Field        Max length
Headline 1 30 characters
Headline 2 30 characters
Headline 3 30 characters
Description 190 characters
Description 290 characters
Path (2)     15 characters each


In expanded text ads, the length limits are the same across all languages. Each
character in double-width languages like Korean, Japanese, or Chinese counts as two
towards the limit instead of one.




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    To see what your ads look like on the Google search results page without affecting your
    ad statistics, use the Ad Preview and Diagnosis tool.

    Tip

    You can provide more information about your business, like its location, phone number,
    or additional deep links into your website, by adding extensions to your text ads. Learn
    more about ad extensions

    You can also use dynamic text to customize your ad to each person. Learn more about
    how to create text ads with customized text

    Using special characters with your ads
    Most non-English characters, including tildes, umlauts, and cedillas, will appear
    correctly in your ads, including within the display URL.

    Related links

   Tips for creating successful ads
   Editorial & professional requirements
   Choose an ad format

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
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    Ad formats
   Create a new text ad
   Write successful text ads
   About keyword insertion for your ad text
   About text ads
   About text ads on the Display Network



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   About text ads on mobile devices
   Set up keyword insertion for your ad text
   About expanded text ads
   About responsive search ads
   About Ad strength for responsive search ads
   About location insertion for responsive search ads
   About cross-campaign asset reporting for responsive search ads
   Make a Search ad always open to a lead form
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    Reach your marketing goals with Google Ads

    Google Ads can help you make the most of your online marketing efforts with tools to
    help you succeed. Learn more from success stories to see what others have achieved
    with the help of the right campaigns for their goals.

    Get Started

    or Call 1-855-500-2754 to get started

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              English?

    English

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8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių



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16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
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36. ‫עברית‬
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38. िह ी
39. ไทย
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    Google Help


   Help Center




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o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




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   Terms of Service



   Submit feedback


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    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
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    Google Partners Program


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    Google Ads Help

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    About the Google Search Network
                                               The Google Search Network is a group of search-related websites and apps where
    The linked image cannot be
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    file and location.
                                               your ads can appear. When you advertise on the Google Search Network, your ad can
                                               show near search results when someone searches with terms related to one of your
    The linked image cannot be
                                               keywords. In this article, you'll learn about:
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                             A Search campaign is one campaign type available to you in Google Ads.

   Where Search ads can appear
   Types of ads on the Search Network
   How to include or remove search partners

    CREATE SEARCH CAMPAIGN

    Where Search ads can appear
    Your ads can appear with Google search results and on other search sites when your
    keywords are relevant to a user's search.

   Google search sites: Ads can appear above or below search results on Google Search.
    They can appear beside, above, or below search results on Google Play, the Shopping
    tab, Google Images, Google Maps, and the Maps app.




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   Google search partners: Ads might appear with search results on websites of Google
    search partners or as part of a related search or link unit. For text ads, search partners
    include hundreds of non-Google websites as well as Google Video and other Google
    sites. Shopping ads can appear on search partner sites that display and link to products
    for sale. The clickthrough rate (CTR) for ads on search partner sites doesn't impact
    your Quality Score on Google.

    Find out how bidding works on search partners sites.

    Types of ads on the Search Network
   Text ads, Dynamic Search Ads, responsive search ads, and call-only ads: These are the
    most common kinds of ads on the Search Network. These ads appear with an "Ad" or
    "Ads" label on the search results page and might have an "Ads by Google" label on
    partner sites. They often show with ad extensions which allow advertisers to include
    business details like location or phone number in their ads.
   Shopping ads: Shopping ads display and link to products for sale. They're labeled as
    “Sponsored" or appear with an "Ad" or "Ads" label on the search results page and might
    have an "Ads by Google" label on partner sites.
   Image and video ads: Search partners can host image ads and video ads.

    Example

    You have a business that offers face painting services at parties for kids. If you add the
    keyword "children face painting" to your ad group and choose to include search
    partners, then your ads are eligible to appear on those partners' search results page
    when someone types "face painting".

    How to include or remove search partners
    When you create a campaign for the Search Network, search partners are included by
    default. A Search campaign may show in response to a user query coming from
    thousands of different sites. Google Ads doesn't provide information detailing the
    website where your ad was shown on the Search Network. To opt out of all search
    partner sites, follow these steps to include or remove search partners from an existing
    Search campaign.

    All Search Network partner sites are obligated to comply with our Google policies. By
    creating a campaign for the Search Network, you acknowledge that our policies meet
    any image and reputation standards you may have for your company. In case of
    violation of these Google policies by one of our Search Network partner sites, it will be
    removed from the Search Network.




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     Instructions
1. Sign into your Google Ads account.
2. In the left-side panel, click Settings and then select Campaign settings.
3. Click the campaign in which you want to include or remove search partners.
4. Click Networks.
5. Under "Search Network," check the box for Include Google search partners to enable
   ads from this campaign to appear on search partner websites, or uncheck it to disable
   this campaign’s ads from showing on partner websites.
6. Click Save.

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    About ad position and Ad Rank
    Get your ads above Google search results
    About local search ads
    Manage your local business presence on Google
    Show local search ads on Google Maps
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    About the Help Center

      English?

     English



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32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어



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45. English

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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners



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   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


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    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
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    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong



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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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    Google Ads Help

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    About Display ads and the Google Display
    Network
    The Google Display Network can help you reach people with targeted Display ads while
    they’re browsing their favorite websites, showing a friend a YouTube video, checking
    their Gmail account, or using mobile devices and apps.

    How the Google Display Network works
    The Google Display Network is designed to help you find the right audience. Its targeting
    options let you strategically show your message to potential customers at the right
    place and the right time. Here are some examples of how you can approach targeting
    with Display ads:

   Find new customers or engage your existing customers using audiences. Similar
    audiences and in-market audiences allow you to target people who are most likely to be
    interested in your products, helping you find new prospective customers. You can also
    use data, like remarketing lists, to help you re-engage people who previously visited your
    site.
   Drive more conversions using automation. Automated targeting helps you get more
    conversions by finding high-performing audiences based on your existing audiences
    and landing page. By automatically optimizing over time, Google Ads can learn which
    audiences work for you. Automated bidding automatically adjusts your bid to help you
    meet your return on investment. Smart display campaigns combine the best of
    automated targeting, bidding, and creatives to maximize your conversions on Google
    Ads.

    Move people with Display ad images


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    Display ads provide opportunities to engage users with appealing ad formats. Here are
    some of the ad types you can run on the Display Network:

   Responsive Display ads. Creating ads on the Google Display Network is partially
    automated with responsive ads. To create them, simply enter your ad text, then add
    your images and logo, and Google will optimize your ads to improve performance. (You
    can also use our library of images at no cost.) Both new and advanced users benefit
    from responsive ads because they show as "native" ads, and blend into the font and feel
    of the publisher's site.
   Note: Responsive Display ads will be replacing responsive ads as the new default ad
    type for the Display Network. If you have responsive ads running, you will be prompted
    to save them as Responsive Display ads.
   Uploaded image ads. For more control, you can create and upload ads. You can upload
    ads as images in different sizes or HTML5.
   Engagement ads. Run engaging image and video ads on YouTube and across the
    Display Network.
   Gmail ads. Show expandable ads on the top tabs of people's inboxes.

    When Display ads show
    While the Search Network can reach people when they're already searching for specific
    good or services, the Display Network can help you capture someone's attention earlier
    in the buying cycle. You can put your ads in front of people before they start searching
    for what you offer, which can be key for your overall advertising strategy. You can also
    remind people of what they're interested in, as in the case of remarketing to people
    who've previously visited your site or app.

    Measure your results using the Google Display Network
    Google Ads lets you measure how well you’re meeting your goals. See which webpages
    run your ads, which ads deliver the most clicks, and which sites give you the most value
    for the lowest cost.

    Plan ahead
    Changes in the Display Network can take 12-24 hours to apply and may not show right
    away. Keep this in mind while creating a new campaign or making changes to an
    existing campaign. You may want to set up your campaign a few days before the launch
    and set the start date in the future.

    When there are multiple changes made within a 24 hour period, they may be applied
    outside of the chronological order of change history.




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    Deep linking

    With app deep linking enabled, your app's users will be directed to your in-app content
    from your Search, Display, and Shopping ads. If you want to enable deep linking for
    these campaigns, create App Links for Android and Universal Links for iOS, and enable
    Google Analytics for Firebase to track app conversions. Learn more about deep linking
    and best practices for implementing deep links.

    Related links

   About targeting for Display Network campaigns
   Choose an ad format

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    English?

   English

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39. ไทย
40. 中文（简体）
41. 中文（繁體）



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42. 中文（香港）
43. 日本語
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45. English

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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn




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o   Google Partners




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    What is the issue with this selection?



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Inaccurate - doesn't match what I see in the product

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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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    Keywords: Definition
    Words or phrases describing your product or service that you choose to help determine
    when and where your ad can appear.

   The keywords you choose are used to show your ads to people. Select high-quality,
    relevant keywords for your ad campaign to help you reach only the most interested
    people, who are more likely to become your customers.
   When someone searches on Google, your ad could be eligible to appear based on the
    similarity of your keywords to the person's search terms, as well as your keyword match
    types. Keywords are also used to match your ad to sites in the Google Network that are
    related to your keywords and ads.
   A great keyword list can help improve the performance of your ads and help you to
    avoid higher prices. Poor keywords can ultimately cause you to have higher prices and
    lower ad position.
   You can add match types to your keywords to help control which searches your ad can
    be matched with.

    How keywords work
    How to create a great keyword list
    Learn about using keyword match types
    See more articles about keywords

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    Average daily budget: Definition
    Campaign: Definition
    Click: Definition
    Dashboard: Definition
    Default values: Definition
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    Google Account: Definition
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    Landing page: Definition
    Maximum CPC bid: Definition
    Optimization score: Definition
    Paying manager: Definition

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     English

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2.   dansk
3.   Deutsch
4.   eesti
5.   English (Australia)




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6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
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19. norsk
20. polski
21. português
22. português (Brasil)
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25. slovenščina
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28. Tiếng Việt
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31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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42. 中文（香港）
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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




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    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
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    Hard to understand - unclear or translation is wrong

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Display URL: Definition
The webpage address that appears with your ad.




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   Display URLs give people an idea of where they'll arrive after they click an ad. The
    landing page that you define with a final URL tends to be more specific. For example, if
    your display URL is www.example.com, your final URL might be example.com/sweaters.
   For expanded text ads, your display URL consists of the domain of your final URL (and
    the subdomain, if you have one) and your two optional “Path” fields of up to 15
    characters each.
   Google constantly makes changes to Google Ads. As a result, Google may update the
    domain component of your display URL.
   Your display URL may appear in your ad with a "www." prefix in lowercase letters (even
    if you enter it with capitalized letters). If your URL begins with a subdomain, your display
    URL may include it (for example, the support in support.google.com).
   Your display URL may appear in your ad with an "http://" or “https://” prefix on
    Google.com, depending on the protocol scheme of the final URL.

    Related links

   Display URL policy
   Edit display URLs and landing page URLs

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27. svenska
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Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
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Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
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    Google Network
    All of the places where your ads can appear, including Google sites, websites that
    partner with us, and other placements like mobile phone apps.

   The Google Network is divided into groups to give you more control over where you'd
    like your ad to appear:
   The Search Network: Google search results pages, other Google sites like Maps and
    Shopping, and search sites that partner with Google to show ads.
   The Display Network: Google sites like YouTube, Blogger, and Gmail, plus thousands of
    partnering websites across the Internet.
   By default, new ad campaigns are set up to show ads across the entire network to give
    your ads the most visibility.
   If you see that you're not getting a good return on investment from an area of the
    network, you can exclude individual sites on the Display Network or change your ad
    campaign's network settings to opt in or out of each network.

    More about the Google Network
    More about the Display Network
    More about the Search Network

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22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
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32. български
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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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o   Manage ads



o   Measure results



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    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
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Transparency and ad disclosures
User confidence in Google’s products and services is essential. We want users to be
empowered to make informed decisions about the ads they see online.

Trust in advertisers on our platforms helps us deliver a smart and useful web
experience for everyone. This means providing transparency about who our advertisers
are and where they are located.

We are verifying the identity of advertisers on our platform and including a disclosure
with the name of the advertiser and where they are located on ads served through
Google Ads.

How it works for advertisers
What users see

Through “Why This Ad” users are already able to see information on why particular ads
are being shown on Search, YouTube, and other Google services.

In the disclosure, users may see the name and location of registration for the advertiser
behind a selected ad, which is information that was provided by the advertiser during
Google’s verification program.




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Where we’re getting our information on advertiser identity

Advertisers on Google are verified through our advertiser identity verification program.
This includes both new and existing Google Ads accounts. Completion of the
verification program requires an advertiser to submit official documentation that shows
their legal name and address.

How we use advertiser's information

With the information advertisers provide during the verification process, Google will
display the advertiser name and location. As part of our ongoing transparency efforts
we may make information about your Google Ads accounts and DV360 accounts and
ad campaigns publicly available as outlined in our advertiser identity policy.

How disclosures look on different ad formats
Search ads

On search ads, users are able to access advertiser verification information through the                                                                           The link ed image
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‘Why this ad’ icon on desktop, or the info      icon on mobile. By clicking ‘Why This Ad,’
                                                                        cannot be displayed.                                                                      may hav e been
                                                                        The file may have                                                                         mov ed, renamed,
                                                                        been mov ed,                                                                              or deleted. Verify
                                                                        renamed, or deleted.                                                                      that the link points
                                                                        Verify that the link                                                                      to the correct file
                                                                        points to the correc                                                                      and location.




or ‘About the Advertiser’ on Search, users can see an advertiser’s name and location.
This may appear differently depending on whether a user is on mobile or desktop.

Display ads



                                                                                                                                                                                         1513
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    Display ads reach the vast majority of Internet users. In most cases, users are able to
    view additional information about an ad they see by clicking on “Why This Ad,” accessed
    through the Ad Choices icon . You can also find it by clicking the X or the icon+ X.
                                              The link ed
                                              image
                                              cannot be
                                              display ed.
                                              The file may
                                              hav e been
                                              mov ed, re




    YouTube
                                                                                          The link ed image
                                                                                          cannot be




    On YouTube, the “Why This Ad” disclosure can be viewed by clicking on the info icon
                                                                                          displayed. The file
                                                                                          may hav e been
                                                                                          moved, renamed,
                                                                                          or deleted. Verify
                                                                                          that the link points
                                                                                          to the correct file
                                                                                          and location.




                       The link ed image
                       cannot be




    or the 3-dot icon . Ads on YouTube have the same disclosures as those served on
                       display ed. The file
                       may hav e been
                       mov ed, renamed,
                       or deleted. Verify
                       that the link points
                       to the correct file
                       and location.




    other platforms, including a Google-verified advertiser name and location.

    More information
    Advertisers can learn more about account verification by:

           Reviewing our Verification Policy;
           Read how to get verified;
           Visit our verification frequently asked questions.

    Give feedback about this article
    Choose a section to give feedback on

                                                               Was this helpful?
                                                                   YesNo




                                                                   Submit
                                                             Need more help?
             Sign in for additional support options to quickly solve your issue
                                                                   Sign in
    Help Center Topics
   Ads and approvals
   Campaign settings
   Budgets and bids
   Keywords
   Reach your audience
   Target placements and topics
   Multiple or large accounts
   About automatic updates to Gmail campaigns
   Target websites about relevant topics
   Transparency and ad disclosures



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   Local Services ads
   The Google Ads mobile app
   Recommendations and optimization score
   CCPA data deletion and retention controls

   ©2021 Google
   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština




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31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results




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o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score




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Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
throughsGlossary
Google Partners Program


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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Advertising Policies Help

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                                                               Send feedback on...

This help content & information

General Help Center experience
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About verification
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

To ensure a safe and trustworthy ad experience for users, we may require advertisers to
complete a verification program. Advertisers must also comply with Google Ads
policies.

Below are some examples of the verification programs we may require you to complete.
A more detailed list can be found here. Learn about what happens if you violate our
policies.

Advertiser identity

To increase transparency for users, advertisers will be required to verify their legal name
through advertiser identity verification. Google will verify your identity and generate a
disclosure on any ads you run, displaying your name and location. Find out more about
transparency and ad disclosures here.

As part of a phased rollout, certain advertisers may be selected to complete this
verification program first. Those who meet one of the below example criteria may be
prioritized as Google expands this requirement across our Ad network:
          The linked image cannot
          be display ed. The file
          may have been mov ed,
          renamed, or deleted.
          Verify that the link




                                       Promotion of products, goods, and services.
          points to the correct file
          and location.




                                          Examples: Retail, media and entertainment, travel, B2B,
                                          technology, etc.




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           The linked image cannot
           be display ed. The file
           may have been mov ed,
           renamed, or deleted.




                                        Promotion of informational, advisory, or educational content.
           Verify that the link
           points to the correct file
           and location.




                                           Examples: Content promoting educational resources,
                                           research and statistics, free health or financial advice,
                                           charitable or social causes, etc.

           The linked image cannot
           be display ed. The file
           may have been mov ed,
           renamed, or deleted.
           Verify that the link




                                        Promotion of content related to regulated industries.
           points to the correct file
           and location.




                                           Examples: Gambling and games, financial products or
                                           services, healthcare products or services etc.

    Advertisers who are required to complete advertiser identity verification will be notified
    and given 30 days to submit documentation. Verification must be completed by an
    authorized representative. Once you submit your documentation, you will then have an
    additional 30 days to complete any additional verification steps or your account will be
    paused. Multiple failed attempts to complete the verification program will result in
    account pausing. Currently, Google supports identity verification for advertisers
    registered in these regions.

    Further instructions on how to complete verification can be found here.

    Keep in mind

   If you intend to run election ads you must complete election ads verification instead.
    Accounts that have completed advertiser identity verification only will not be able to run
    election ads.
   If we find that you violate our Google Ads policy, or you’ve provided false information
    during the verification program, your verification will be revoked, and your account may
    be suspended.
   Google reserves the right to verify your identity again. You’ll receive a notification when
    this verification is required. You may also be asked to re-verify your identity if there are
    significant changes in your Google Ads account.
   Google may update these verification requirements at any time.

    How Google uses your information

    Google will use the information you provide to:

       1. Verify your identity
       2. Show a disclosure including your name, or the name of the business you
          represent, and location, linked from any ads you run.

    Find out more about Advertiser transparency and disclosures.




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As Google expands its transparency efforts, we may make information about your
Google Ads accounts and ad campaigns publicly available including:

       Advertiser name change history
       Ad creatives
       Dates and locations ads served
       Ads removed or accounts suspended for legal or policy reasons
       Business contact information

Personal contact information, phone numbers, or email addresses will not be
published.

How disclosures appear in different ad formats
Account pausing for verification
Requirements for advertiser name
Requirements for Authorized Representatives
Troubleshooter

Business operations

To learn more about your business, we may ask you to verify information regarding your
business operations. This may include details about your business, such as your
business model, business registration information, types of services you offer, business
practices, and relationships with advertised brands or third parties, if applicable.

Advertiser selection criteria for Business operations verification
Account pausing for Business operations verification
Failure reasons for Business operations verification
Troubleshooter

Restricted content

To protect our users, we allow only legitimate advertisers to promote content
associated with certain regulated industries, such as Gambling and games, Healthcare
and medicines, and Financial products or services. If you would like to advertise this
content on our platform, you may be required to complete the verification program to
prove you meet local licensing requirements. You may also have to complete additional
identity checks.

We continually review our ad policies in light of industry changes and abuse trends, and
may introduce new verification requirements for certain content.

Ad formats and features




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    To ensure quality ads, we may require advertisers to complete additional verification to
    access advanced ad formats and features of Google Ads, such as HTML5 ads and
    Local Services ads. We review all our ad formats for policy violations and abuse, and
    may introduce new verification requirements to access certain ad formats.

    Advertiser responsibility

    As stated in the Google Ads Terms & Conditions, advertisers are solely responsible for
    their use of Google Ads. Advertisers found submitting false information as part of our
    verification programs will be considered in violation of our Circumventing Systems
    policy. Google uses its best efforts to review and validate the information provided by
    advertisers as part of these verification programs, but in doing so does not guarantee or
    assume responsibility for advertiser content or activity.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Verification programs
   About verification
   Advertiser identity verification and ad disclosures FAQ
   Complete advertiser identity verification
   Advertiser identity verification guidance
   Document requirements for advertiser identity verification
   Election advertising verification
   Verification for election advertising in the European Union
   About restricted financial products certification
   Gambling and games
   Healthcare and medicines
   About abortion certification and disclosures
   About event ticket seller certification
   Other restricted businesses
   Trademark help for advertisers
   Copyrights



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   Advanced Verification policies
   Restricted ad formats and features
   Advertiser Identity Verification
   About UK Financial Services Verification

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   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български




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33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Advertising Policies Help

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General Help Center experience
                                                                                       Next


Advertiser identity verification and ad
disclosures FAQ
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

About advertiser identity verification
Why is Google implementing this program?

Our goal is to improve trust in the ads ecosystem by providing users with more
information about advertisers. Through advertiser identity verification we will verify the
name and location of our advertisers through a phased rollout. This is part of our larger
effort to increase transparency, choice and control to users.

Who has to complete advertiser identity verification?

Advertisers that are required to complete the advertiser identity verification will receive
an email and an in-account notification. Advertisers promoting products or services;
information, advisory, or educational content; or content related to regulated industries
will be prioritized for verification.

You can find out more information here.

How long does advertiser identity verification take?

This depends on your account setup and whether you run ads for someone else. For
advertisers completing the verification for themselves the program will normally take 3-



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    5 business days to complete. For agencies completing the verification on behalf of
    advertisers, the verification program is a two-step process, with each step taking about
    3-5 business days, including review and approval.

    More detail on the steps required can be found here.

    How do I complete advertiser identity verification?

    You are only required to complete identity verification if Google sends you a notification
    email. The steps required to complete identity verification for certain Google Ads
    accounts may differ, depending on your account and structure, your billing setup, and if
    you are advertising on behalf of an organization or individual.

    Follow the instructions in the email and in-account notification. More detail on the steps
    required can be found here.

    Can I choose not to complete advertiser identity verification?

    If you have received an email asking you to get verified, you must complete the
    advertiser identity verification program. If you do not start the program within 30 days
    your account will be paused.

    Are there requirements for the ‘advertiser name’ field?

    The advertiser name must be your legal name, and match the name on the registration
    documentation you submit, or your government-issue ID if you are an individual. ‘Doing
    business as’, brand or product names that are not legal names are not allowed. We are
    currently running a beta for advertisers who are set up on monthly invoicing to use their
    trademark name. You can find additional requirements here.

    What do I have to submit for advertiser identity verification?

    If you are an organization, you will be required to submit official documentation that
    includes your legal name and address. The payments profile admin will also be required
    to submit a government-issued ID. If you are an individual, you will be required to submit
    a government-issued ID. Acceptable documents by location are listed here.

    Advertisers setup on monthly invoicing have different requirements outlined here.

    Who is an ‘authorized representative’?

    An authorized representative is an admin of:

   The Google Ads account and/or
   The payments profile paying for the ads



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If required, you’ll be asked to provide documentation to complete verification.

I’m an agency - how do I get verified?

You must complete the verification on behalf of the advertisers you represent. This
means that the ‘Advertiser Name’ must be your client’s name, and any official
documentation must include your client’s name and address. If you represent multiple
advertisers, you will need to complete the verification process for each unique
advertiser.

Instructions on how to complete verification as an agency can be found here.

I already completed identity verification, why have I been asked to complete it again?

Every Google Ads account must be verified separately. You will be asked to verify each
of your accounts progressively, as Google expands the program. Additionally, you may
be asked to complete verification periodically.

Can I voluntarily complete advertiser identity verification?

The opt-in functionality to request verification is currently not available. We will notify
advertisers if and when this feature becomes available. Please only apply for
verification for the Google Ads account listed in the notification email.

Can I verify all my Google Ads accounts at once?

This functionality is currently not available. Please complete identity verification for
each Google Ads account separately, as requested in the notification email.

My ads are not serving - what do I do?

If you did not submit documentation for identity verification within the 30 day period,
your account will be paused. If you fail to complete the program within 30 days once
you submit documentation, your account will be paused. Once you complete identity
verification your account will resume serving. Follow the instructions in the
notifications you receive to complete the identity verification.

About Ad Disclosures
What are ad disclosures?

Ad disclosures provide more information for the user about the advertiser, including
name and location.

Why is Google adding new ad disclosures?



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As part of Google’s broader efforts to increase transparency for users, and maintain
trust in the ads we serve, we will make more information about our advertisers available
to users. You can find more information here.

Where is Google getting information for ad disclosures?

An advertiser’s legal name and location will be sourced from the verification documents
submitted by the individual, organization, or representative of the organization, and
reviewed by Google through the advertiser verification program. If an advertiser fails to
complete the verification process, Google will stop showing your ads.

What information will Google be sharing in the disclosures?

For advertisers that have completed advertiser identity verification, your advertiser
name and location will appear in the ad disclosures. For advertisers based in a location
where we currently don’t support verification, your location will appear in the
disclosures.

Will Google disclosure any other information?

As part of Google’s ongoing transparency efforts, we may make information about your
Google Ads or DV360 accounts and ad campaigns publicly available as outlined in our
advertiser identity policy.

Who sees the ad disclosures and where can I find them?

Users can view the information when they click on “Why This Ad”. More information on
how they will appear on different ad formats can be found here.

Do the disclosures appear on all ads I run?

If you have completed the advertiser identity verification process or submitted
additional information regarding your identity (see above), all ads in your account will be
eligible for disclosures. More information can be found here.

Do ad disclosures change the look of my ads?

No, your ads will appear the same. A disclosure will be added behind the ‘Why This Ad’
button.

Do ad disclosures impact how my ads serve?

No, disclosures will not impact ad serving.




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    Verification programs
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     English?

    English

1. català
2. dansk



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3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
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19. norsk
20. polski
21. português
22. português (Brasil)
23. română
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25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Verification programs
Upcoming and recent changesPast changes


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Ads




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       Overview
       How it works
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       FAQ
       Advanced campaigns
       Contact

1-844-245-2553* Call for sign up help Mon-Fri, 9am-9pm ET
Sign in


Ads




Jump to Content



Google Ads Manager Accounts


Manage all your Google Ads accounts from
one place
Previously known as My Client Center (MCC), manager accounts can help you manage multiple
accounts. With a single login and dashboard, this online advertising manager can save you time
with reporting, access control, and consolidated billing.

Create a manager account
Linked accounts
Account 1         Dee’s Furniture
Account 2         Jorge’s Lighting



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Linked accounts
Account 3       Oliver’s Futons
Create rule




How Google Ads manager accounts works
Link multiple Google Ads accounts, so you can access and manage them online with a single
login.




Manage campaigns across accounts

Easily make updates across accounts, including changing daily budgets and pausing campaigns.
Use labels to organize accounts, create automated rules, set alerts, and get email notifications.

Change budgets

Pause ads

Enable ads

Edit

Grant access and control

Share access with other managers, grant new access, and control the level of access in case
someone’s role changes.

Invite users to this account:

example-email@mail.c

Administrative access
Standard access




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Monitor performance

Easily compare performance and track conversions across accounts. Plus, generate and share
automated reports for anything from keyword performance to dimensions reporting.

Keyword impressions

Modern

Lighting

Furniture

Consolidate your billing

Combine invoices for several accounts into one monthly invoice. Get budget updates and easily
track which account is being billed via your manager account dashboard.

Accounts
Payment
Dee’s Furniture
Manual
Jorge’s Lighting
Automatic
Oliver’s Futons
Automatic




“Thanks to the new campaigns view in our manager
account, we can now manage and optimize all our campaigns
from a single view.”
- Jeremy Legrand, Head of SEM, Kaymu




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Manage all your Google Ads accounts from one place
Create a Google Ads manager account

Have additional questions?

Find answers in our Help Center

Discover other tools


Choose the best keywords for your ads
Keyword Planner


Make changes across your campaigns with ease
Google Ads Editor


Reach the YouTube audiences that matter most
Reach Planner


Stay connected to your campaigns
Google Ads Mobile App


Manage large accounts more efficiently
Google Ads API


Create a plan for your advertising budget
Performance Planner


Request a follow up

If you need support for your Google Ads account, please fill in this form and we will do our best
to get back to you within 2 working days.


First name
Please fill in the required fields

Last name



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Please fill in the required fields
Phone number
Please fill in the required fields

Email address
Please fill in the required fields

Your URL
Please fill in the required fields
What is your question regarding?

    

        To sign up to Google Ads

        To find out more about Google Ads

        To enquire about other Google products (GPay, Gmail, Google Workspace etc)

        To get help with my existing account

Please fill in the required fields
When is the best time to call you?

Morning

Afternoon

Evening
Please fill in the required fields
Are you already using Google Ads?

Yes

No
Please fill in the required fields




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I accept Google's Terms and Conditions and acknowledge that my information will be used in
accordance with Google's Privacy Policy.*

I agree to be contacted and to receive information about Google ads by email or phone from
Google.*
Submit
*are required fields
Thank you. Your information has been submitted.
A Google Ads specialist will be in touch soon.

Follow us

   
   
   
   

About Google Ads

       Overview
       How it works
       Cost
       Mobile app for Android
       Mobile app for iOS

Learning & support

       Your Guide to Google Ads
       Google Ads Help Center
       Google Ads Announcements
       Google Advertiser Community
       Primer
       Skillshop

Developers & partners

       Google Developers Site
       Google Ads API
       Google Ads Scripts



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                                      Google Ads Remarketing Tags

Related products

                                      Google Analytics
                                      Shopping Campaigns
                                      Local Services
                                      Google My Business
                                      Chrome
                                      Waze Local ads

More solutions

                                      Business Solutions
                                      Google Workspace
                                      Think with Google
                                      AdSense
                                      AdMob

                                      Privacy
                                      Terms
                                      About Google
                                      Google products

                                      Help
                                         United States – English
                           

The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                            New to Google Ads? Chat with a specialist today.




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Advertising Policies Help

Sign in
                                                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                                              Next


Copyrights
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We abide by local copyright laws and protect the rights of copyright holders, so we don’t
allow ads that are unauthorized to use copyrighted content. If you are legally authorized
to use copyrighted content, apply for certification to advertise. If you see unauthorized
content, submit a copyright-related complaint.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Copyrighted content
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Unauthorized sites or software that capture, copy, or provide access
      to copyrighted content

                                                Examples: Sites, software, or toolbars that enable
                                                unauthorized streaming, sharing, copying, or downloading of
                                                audio guides, e-books, anime, games, movies, mp3
                                                ringtones, music, software, TV shows, works by independent
                                                artists, record labels, or other content creators




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           The linked image cannot be
           display ed. The file may hav e been
           mov ed, renamed, or deleted. Verify
           that the link points to the correct
           file and location.




              Sites or apps that facilitate unauthorized offline distribution of
          copyrighted content

                                                 Examples: Sites that distribute unauthorized physical copies
                                                 of copyrighted CDs, DVDs, or software
           The linked image cannot be
           display ed. The file may hav e been
           mov ed, renamed, or deleted. Verify
           that the link points to the correct
           file and location.




               Software, sites, or tools that remove digital rights management (DRM)
          technology from copyrighted material or otherwise circumvent copyright
          (irrespective of whether the intended use is legitimate or not)

                                                 Examples: Products or services (such as Blu-ray or DVD
                                                 rippers, burners, and converters) that provide access to
                                                 copyrighted content by stripping or bypassing DRM
                                                 technology on audio, video, e-books, or software

          Troubleshooter: Copyrighted content

    DMCA complaint
          If Google receives a DMCA complaint on the content of an ad or an ad’s
          destination, the ad may be disapproved.

          How a DMCA complaint works

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                                                       Was this helpful?
                                                                           YesNo




                                                                            Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network



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   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano




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14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?




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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Legal Help
Sign in
                                                                             Send feedback on...

This help content & information

General Help Center experience
                                                                                                                                                                                                                                                       Next


Removing Content From Google
This page will help you get to the right place to report content that you would like
removed from Google's services under applicable laws. Providing us with complete
information will help us investigate your inquiry.

If you have non-legal issues that concern Google's Terms of Service or Product Policies,
please visit http://support.google.com

We ask that you submit a separate notice for each Google service where the content
appears.
                                                                                                                                        The link ed                                                                  The link ed




What Google product does your request relate to?                                                                                                         Google Search
                                                                                                                                        image cannot                                                                 image cannot
                                                                                                                                        be display ed.                                                               be display ed.
                                                                                                                                        The file may                                                                 The file may
                                                                                                                                        have been                                                                    hav e been
                                                                                                                                        mov ed,                                                                      mov ed,
                                                                                                                                        renamed, o …                                                                 renamed, o …




                                                  The link ed                                                                                                               The link ed




Blogger/Blogspot                                                   Google Maps and related products                                                                                         Google Play: Apps
                                                  image cannot                                                                                                              image cannot
                                                  be display ed.                                                                                                            be displayed.
                                                  The file may                                                                                                              The file may
                                                  hav e been                                                                                                                hav e been
                                                  mov ed,                                                                                                                   moved,
                                                  renamed, o …                                                                                                              renamed, o …




                            The linked
The linked                  image cannot                                        The linked                                                               The link ed                                                                  The linked




                 YouTube                        Google Images                                    A Google Ad                                                             Drive and Docs
image cannot                be display ed.                                      image cannot                                                             image cannot                                                                 image cannot
be display ed.              The file may                                        be display ed.                                                           be displayed.                                                                be display ed.
The file may                hav e been                                          The file may                                                             The file may                                                                 The file may
hav e been                  mov ed,                                             hav e been                                                               hav e been                                                                   hav e been
mov ed,                     renamed, or                                         mov ed,                                                                  moved,                                                                       mov ed,
renamed, o …                deleted. Verify …                                   renamed, o …                                                             renamed, o …                                                                 renamed, o …




                                                                                                    The link ed




Google Photos and Picasa Web Albums                                                                                 Google Shopping                                                          See more products
                                                                                                    image cannot
                                                                                                    be displayed.
                                                                                                    The file may
                                                                                                    have been
                                                                                                    moved,
                                                                                                    renamed, o …




                                                                                                                                                                                              The linked
                                                                                                                    The link ed                                                               image cannot




Which product does your request relate to?                                                                                           Google Search                                                                Google Images
                                                                                                                    image cannot                                                              be display ed.
                                                                                                                    be display ed.                                                            The file may
                                                                                                                    The file may                                                              hav e been
                                                                                                                    hav e been                                                                mov ed,
                                                                                                                    mov ed,                                                                   renamed, or
                                                                                                                    renamed, o …                                                              deleted. Verify …




                 Other Search Features
What can we help you with?                                               I would like to report malware, phishing or similar issues
                 A piece of content I am concerned about has already been removed by the
webmaster but still appears among the search results      Remove personal information
from Google under product policies (personally identifiable information, doxxing, non
consensual explicit imagery, etc)                                             Personal information: request removal of my
personal information from Google’s search results                                                                                        Intellectual property issue: report
copyright infringement, circumvention, etc.                                                                         Other legal issue: report content for a
legal reason not already listed




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Choose from the following options       Remove personal information from Google under
product policies (personally identifiable information, doxxing, non consensual explicit
imagery, etc)   Right to be Forgotten: request to delist information per European data
protection laws
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Circumvention: a tool bypasses
copyright technological protection measures         Counterfeit: sale of counterfeit goods
   Trademark: my trademark is being used in a way that is likely to cause confusion
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video     Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Request removal of a specific web page selling
counterfeit goods     Request reinstatement of a web page that was removed due to a
counterfeit complaint
Are you the trademark owner or authorized to act on their behalf?    Yes    No
Do you have trademark rights information establishing that you are the trademark
owner, or (for authorized agents) have a letter from the trademark owner establishing
that you are authorized to act on their behalf?      Yes    No
Have you contacted the trademark owner directly regarding the web page at issue?
Yes    No
Do you assert that the web page at issue is not selling counterfeit goods and have
information supporting why it should be reinstated?        Yes    No
Choose from the following options        Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor




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What can we help you with?                   I would like to report malware, phishing or similar issues
    A piece of content I am concerned about has already been removed by the
webmaster but still appears among the search results                                   Right to be Forgotten: request
to delist information per European data protection laws                                 Intellectual property issue:
report copyright infringement, circumvention, etc.                               Other legal issue: report content
for a legal reason not already listed
What can we help you with?                   Copyright infringement: my copyrighted work is being
used illegally without authorization Counter notice: appeal to reinstate content that
was removed due to a copyright complaint
Are you the copyright owner or authorized to act on his/her behalf?                                     Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                                               No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                               Image/Video      Other
The image/video is of yourself                               Yes      No
I have read the above and wish to proceed                                  Yes    No
What can we help you with?                   Court order: a court decision has determined that
specific content is unlawful                FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
                                             The link ed




What can we help you with?                                   Local listings (including business listings), reviews,
                                             image cannot
                                             be displayed.
                                             The file may
                                             have been
                                             moved,
                                             renamed, o …




                    The linked                                                                     The link ed




posts or photos                      Knowledge Graph or Knowledge Panel card                                       Autocomplete
                    image cannot                                                                   image cannot
                    be display ed.                                                                 be displayed.
                    The file may                                                                   The file may
                    hav e been                                                                     hav e been
                    mov ed,                                                                        moved,
                    renamed, o …                                                                   renamed, o …




or Related Search
What can we help you with?                   I would like to change incorrect information on my local
listing   I would like to understand why information on my local listing has changed
    Personal information: content contains my personal information                                                 Intellectual
property issue: report copyright infringement, circumvention, etc.                                Court order: a
court decision has determined that specific content is unlawful                                FOSTA-SESTA or the
CA Opt Out / CA Safe at Home Program          Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
What can we help you with?                   Copyright infringement: my copyrighted work is being
used illegally without authorization                               Counter notice: appeal to reinstate content that
was removed due to a copyright complaint                                   Circumvention: a tool bypasses




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copyright technological protection measures           Trademark: my trademark is being
used in a way that is likely to cause confusion
Are you the copyright owner or authorized to act on his/her behalf?          Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf             No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?        Image/Video       Other
The image/video is of yourself       Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?       Yes     No
Do you officially represent the topic on the Knowledge Graph card?           Yes      No
What can we help you with?        Court order: a court decision has determined that
specific content is unlawful      FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
Have you tried reporting your issue via the "Feedback" link at the bottom right of the
card?    No        Yes
What can we help you with?         Inappropriate content: predictions that are violent or
gory; sexually explicit, vulgar or profane; hateful against groups; sensitive or disparaging
against individuals; dangerous or harmful          Court order: a court decision has
determined that specific content is unlawful         FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
What can we help you with?        I would like to report spam, malware, or phishing          I
would like to report a blog that impersonates me          I would like to report the disclosure
of private information or private nude images         I would like to report harassment and
bullying content      Intellectual property issue: report copyright infringement,
circumvention, etc.       Other legal issue: report content for a legal reason not already
listed
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization       Counter notice: appeal to reinstate content that
was removed due to a copyright complaint            Circumvention: a tool bypasses




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copyright technological protection measures                                 Counterfeit: sale or promotion for sale
of counterfeit goods
Are you the copyright owner or authorized to act on his/her behalf?                                                              Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                                                               No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                                               Image/Video                 Other
The image/video is of yourself        Yes                 No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes     No
What can we help you with?       Personal information: content contains my personal
information     Court order: a court decision has determined that specific content is
unlawful   FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor
Which product does your request relate to?                                       Local listings (including business
                                                                The link ed
                                                                image cannot
                                                                be display ed.
                                                                The file may
                                                                hav e been
                                                                mov ed,
                                                                renamed, o …




                                        The link ed                              The link ed                    The linked




listings), reviews, posts or photos                      Maps                                    Street View                     My Business
                                        image cannot                             image cannot                   image cannot
                                        be display ed.                           be displayed.                  be display ed.
                                        The file may                             The file may                   The file may
                                        hav e been                               hav e been                     hav e been
                                        mov ed,                                  moved,                         mov ed,
                                        renamed, o…                              renamed, o …                   renamed, o …




Website
What can we help you with?       I would like to change incorrect information on my local
listing   I would like to understand why information on my local listing has changed
    Personal information: content contains my personal information                                                                Intellectual
property issue: report copyright infringement, circumvention, etc.                                                    Court order: a
court decision has determined that specific content is unlawful                                                FOSTA-SESTA or the
CA Opt Out / CA Safe at Home Program          Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization           Counter notice: appeal to reinstate content that
was removed due to a copyright complaint                        Circumvention: a tool bypasses
copyright technological protection measures                                 Trademark: my trademark is being
used in a way that is likely to cause confusion
Are you the copyright owner or authorized to act on his/her behalf?                                                              Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                                                               No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                                               Image/Video                 Other



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The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes      No
What can we help you with?        I would like to report inaccurate information in Google
Maps     Intellectual property issue: report copyright infringement, circumvention, etc.
   Court order: a court decision has determined that specific content is unlawful
FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program             Child sexual abuse
material: visual depiction of sexually explicit conduct involving a minor
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Circumvention: a tool bypasses
copyright technological protection measures         Trademark: my trademark is being
used in a way that is likely to cause confusion
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes      No
What can we help you with?        I would like to request that an image appearing in Street
View be blurred       Copyright infringement: my copyrighted work is being used illegally
without authorization      Court order: a court decision has determined that specific
content is unlawful      FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other



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The image/video is of yourself      Yes      No
What can we help you with?       I would like to edit or unpublish my own My Business
Website      Intellectual property issue: report copyright infringement, circumvention,
etc.     Court order: a court decision has determined that specific content is unlawful
   FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program             Child sexual
abuse material: visual depiction of sexually explicit conduct involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Circumvention: a tool bypasses
copyright technological protection measures         Counterfeit: sale or promotion for sale
of counterfeit goods      Trademark: my trademark is being used in a way that is likely to
cause confusion
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes      No
What can we help you with?       I want to report a TOS (Terms of Service) or DDA
(Developer Distribution Agreement) violation       I want to report a review or comment
that doesn't follow the comment posting policy        I have a payment issue (need a
refund, problem with in-app purchases, etc.)       Intellectual property issue: report
copyright infringement, circumvention, etc.       Other legal issue: report content for a
legal reason not already listed
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Counterfeit: sale or promotion for sale of
counterfeit goods       Trademark: my trademark is being used in a way that is likely to
cause confusion      Circumvention: a tool bypasses copyright technological protection
measures




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Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?    Image/Video       Other
The image/video is of yourself     Yes     No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Personal information: content contains my personal
information     Court order: a court decision has determined that specific content is
unlawful   FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor
What can we help you with?       I would like to report malware, phishing or similar issues
   A piece of content I am concerned about has already been removed by the
webmaster but still appears among the search results        Right to be Forgotten: request
to delist information per European data protection laws      Intellectual property issue:
report copyright infringement, circumvention, etc.     Other legal issue: report content
for a legal reason not already listed
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization Counter notice: appeal to reinstate content that
was removed due to a copyright complaint
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?    Image/Video       Other
The image/video is of yourself     Yes     No
I have read the above and wish to proceed       Yes    No
What can we help you with?       Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor




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What type of ad do you want to report?       Search Ad, i.e. Ad found on a Google search
result page  Shopping Ad         Other Ads, i.e. Ads found on the Google Display
Network, Gmail, maps, etc.
What can we help you with?       Policy Violation: report a violation of Google Ads
policies   Trademark: my trademark is being used in a competitor's ad text
Copyright infringement: my copyrighted work is being used illegally without
authorization    Counter notice: appeal to reinstate content that was removed due to a
copyright complaint       Circumvention: a tool bypasses copyright technological
protection measures      Counterfeit: sale or promotion for sale of counterfeit goods
Other legal issue: report content for a legal reason not already listed
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes      No
What can we help you with?       Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Trademark: my trademark is being used
in a way that is likely to cause confusion     Counterfeit: sale or promotion for sale of
counterfeit goods       Court order: a court decision has determined that specific content
is unlawful  FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other



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The image/video is of yourself       Yes     No
I have read the above and wish to proceed          Yes     No
What can we help you with?     My issue relates adult or pornographic content, hate
against a protected group, hacking/cracking content, gambling or casino-related
content, or the sale of drugs, weapons, alcohol, or tobacco.        Trademark: my
trademark is being used in a way that is likely to cause confusion        Copyright
infringement: my copyrighted work is being used illegally without authorization
Counter notice: appeal to reinstate content that was removed due to a copyright
complaint       Circumvention: a tool bypasses copyright technological protection
measures       Counterfeit: sale or promotion for sale of counterfeit goods        Other
legal issue: report content for a legal reason not already listed
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?        Image/Video     Other
The image/video is of yourself       Yes     No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?      Yes    No
What can we help you with?        Court order: a court decision has determined that
specific content is unlawful    Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
What can we help you with?        I would like to report phishing, spam, malware or other
abuse on a Google Docs or Drive file       Copyright infringement: my copyrighted work is
being used illegally without authorization        Counter notice: appeal to reinstate content
that was removed due to a copyright complaint            Circumvention: a tool bypasses
copyright technological protection measures          Personal information: content contains
my personal information        Other legal issue: report content for a legal reason not
already listed
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?        Image/Video     Other



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The image/video is of yourself                   Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?                 Yes      No
What can we help you with?                     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program           Court order: a court decision has determined that specific content is
unlawful     Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
What can we help you with?                     Copyright infringement: my copyrighted work is being
used illegally without authorization                   Counter notice: appeal to reinstate content that
was removed due to a copyright complaint                       Personal information: content contains
my personal information                     Court order: a court decision has determined that specific
content is unlawful                  FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?                                Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                                   No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                                 Image/Video    Other
The image/video is of yourself                   Yes      No
I have read the above and wish to proceed                      Yes                  No
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Which product does your request relate to?                                       Google Shopping and Shopping
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Images                      Google Customer Reviews
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            be displayed.
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            hav e been
            moved,
            renamed, o …




What can we help you with?                     Copyright infringement: my copyrighted work is being
used illegally without authorization                   Counter notice: appeal to reinstate content that
was removed due to a copyright complaint                       Trademark: my trademark is being used
in a way that is likely to cause confusion                  Counterfeit: sale or promotion for sale of
counterfeit goods                   Court order: a court decision has determined that specific content
is unlawful  FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor




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Are you the copyright owner or authorized to act on his/her behalf?                                                                                                                                                                                                                                                   Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                                                                                                                                                                                                                                                           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                                                                                                                                                                                     Image/Video                                                           Other
The image/video is of yourself                                                                                                                           Yes                                No
I have read the above and wish to proceed                                                                                                                                                           Yes                                 No
What can we help you with?                                                                                                         I disagree with comments left by a reviewer                                                                                                                                                                     The
same reviewer is leaving many of the same reviews                                                                                                                                                                                               I would like to contact a reviewer
to respond to their claims                                                                                   Court order: a court decision has determined that specific
content is unlawful                                                                FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Select from the following list                                                                                                                                Google+                                                      Google AMP Cache and Web Stories
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                        Google Arts & Culture                                                                                                                 Google Assistant                                                                                          Chrome Web
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    be displayed.                                                                                                                           image cannot                                                                                                image cannot
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    renamed, or                                                                                                                             mov ed,                                                                                                     moved,
    deleted. Verify …                                                                                                                       renamed, o                                                                                                  renamed, o …




Store/Extensions Gallery
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Cloud Platform                                                                    Data Studio                                                                                   Google Domains                                                                                                Feedburner
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Firebase                                      Gmail                                                      Google URL Shortener (goo.gl)                                                                                                                                                                    Google Groups
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                             renamed, o …                                            deleted. Verify …                                                                                                                                                                                   renamed, o …                                                               renamed, o …




Google Help Communities                                                                                                                     Google Lens                                                                                Google News                                                                             Google Play
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Books and Google Books                                                                                                                Poly                                                       Google Sites (Google's wiki- and web page-
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                                                have been
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                                                renamed, o …




Please specify which section of Google+ you would like to report                                                                                                                                                                                                                                            Google+ (Pages,
Profiles, Communities)                                                                           Google+ Photos and Albums
What can we help you with?                                                                                                         I want my profile removed from the search results                                                                                                                                                                                       I
want to file an impersonation claim                                                                                                                                        Other legal issue: report content for a legal
reason not already listed
What can we help you with?                                                                                                         Copyright infringement: my copyrighted work is being
used illegally without authorization                                                                                                                                   Counter notice: appeal to reinstate content that
was removed due to a copyright complaint                                                                                                                                                            Circumvention: a tool bypasses
copyright technological protection measures                                                                                                                                                               Counterfeit: sale or promotion for sale
of counterfeit goods                                                                Personal information: content contains my personal
information                                   Court order: a court decision has determined that specific content is




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unlawful   FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes      No
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Personal information: content contains
my personal information        Court order: a court decision has determined that specific
content is unlawful    FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed         Yes    No
What can we help you with?        A piece of content I am concerned about has already
been removed by the webmaster but still appears among the search results            I would
like to report malware, phishing or similar issues      Personal information: request
removal of my personal information from Google’s search results         Intellectual
property issue: report copyright infringement, circumvention, etc.      Other legal issue:
report content for a legal reason not already listed
Choose from the following options       Remove personal information from Google under
product policies (personally identifiable information, doxxing, non consensual explicit
imagery, etc)




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What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Circumvention: a tool bypasses
copyright technological protection measures         Counterfeit: sale of counterfeit goods
   Trademark: my trademark is being used in a way that is likely to cause confusion
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Request removal of a specific web page selling
counterfeit goods     Request reinstatement of a web page that was removed due to a
counterfeit complaint
Are you the trademark owner or authorized to act on their behalf?    Yes    No
Do you have trademark rights information establishing that you are the trademark
owner, or (for authorized agents) have a letter from the trademark owner establishing
that you are authorized to act on their behalf?      Yes    No
Have you contacted the trademark owner directly regarding the web page at issue?
Yes    No
Do you assert that the web page at issue is not selling counterfeit goods and have
information supporting why it should be reinstated?        Yes    No
Choose from the following options        Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Court order: a court decision has
determined that specific content is unlawful      Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor



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Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes       No
I have read the above and wish to proceed         Yes    No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Court order: a court decision has
determined that specific content is unlawful       Trademark: my trademark is being used
in a way that is likely to cause confusion    Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes       No
I have read the above and wish to proceed         Yes    No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Trademark: my trademark is being used
in a way that is likely to cause confusion     Court order: a court decision has
determined that specific content is unlawful       Circumvention: a tool bypasses
copyright technological protection measures        Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes       No
I have read the above and wish to proceed         Yes    No




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Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?    I have a question about Classroom program policies
Copyright infringement: my copyrighted work is being used illegally without
authorization    Counter notice: appeal to reinstate content that was removed due to a
copyright complaint     Circumvention: a tool bypasses copyright technological
protection measures      Court order: a court decision has determined that specific
content is unlawful    FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?                  Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                     No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                   Image/Video    Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Court order: a court decision has
determined that specific content is unlawful      Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?                  Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf                     No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?                   Image/Video    Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed        Yes                  No
                                                  The link ed                                        The linked




Which product does your request relate to?                         App Engine & Compute Engine
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                                                  be display ed.                                     be display ed.
                                                  The file may                                       The file may
                                                  hav e been                                         have been
                                                  mov ed,                                            moved,
                                                  renamed, o …                                       renamed, o …




Google Cloud Storage & Cloud Bigtable




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What can we help you with?    I would like to report spam, malware, or phishing
Copyright infringement: my copyrighted work is being used illegally without
authorization    Counter notice: appeal to reinstate content that was removed due to a
copyright complaint     Counterfeit: sale or promotion for sale of counterfeit goods
Trademark: my trademark is being used in a way that is likely to cause confusion
Court order: a court decision has determined that specific content is unlawful
FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program             Child sexual abuse
material: visual depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed        Yes    No
What can we help you with?    I would like to report spam, malware, or phishing
Copyright infringement: my copyrighted work is being used illegally without
authorization    Counter notice: appeal to reinstate content that was removed due to a
copyright complaint     Counterfeit: sale or promotion for sale of counterfeit goods
Trademark: my trademark is being used in a way that is likely to cause confusion
Court order: a court decision has determined that specific content is unlawful
FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program             Child sexual abuse
material: visual depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed        Yes    No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Court order: a court decision has
determined that specific content is unlawful      Circumvention: a tool bypasses




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copyright technological protection measures        Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Court order: a court decision has determined that
specific content is unlawful    Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Court order: a court decision has
determined that specific content is unlawful      Circumvention: a tool bypasses
copyright technological protection measures        FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Circumvention: a tool bypasses
copyright technological protection measures        Court order: a court decision has



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determined that specific content is unlawful      FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
What can we help you with?       Report an abusive Gmail account        I have been
receiving suspicious messages from a Gmail address            Someone is impersonating me
using a Gmail account      Someone else is sending messages from my Gmail account
   I’m having trouble accessing my account         I would like to report child
endangerment       Other legal issue: report content for a legal reason not already listed
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Court order: a court decision has
determined that specific content is unlawful      Child sexual abuse material: visual
depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed        Yes     No
What can we help you with?       Report hateful or violent content, shared personal info,
or the promotion of regulated goods & services         Copyright infringement: my
copyrighted work is being used illegally without authorization       Counter notice: appeal
to reinstate content that was removed due to a copyright complaint         Personal
information: content contains my personal information          Court order: a court decision



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has determined that specific content is unlawful       FOSTA-SESTA or the CA Opt Out /
CA Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed        Yes    No
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Circumvention: a tool bypasses copyright
technological protection measures        Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Court order: a court decision has
determined that specific content is unlawful      FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself    Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?     Yes    No
I have read the above and wish to proceed        Yes    No
What can we help you with?       I would like to report malware, phishing or similar issues
   A piece of content I am concerned about has already been removed by the
webmaster but still appears among the search results         Personal information: request
removal of my personal information from Google’s search results        Other legal issue:
report content for a legal reason not already listed    I have another issue that is not
mentioned above
Choose from the following options       Remove personal information from Google under
product policies (personally identifiable information, doxxing, non consensual explicit




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imagery, etc)   Right to be Forgotten: request to delist information per European data
protection laws
Choose from the following options:        Copyright infringement: my copyrighted work is
being used illegally without authorization        Counter notice: appeal to reinstate content
that was removed due to a copyright complaint            Circumvention: a tool bypasses
copyright technological protection measures          Court order: a court decision has
determined that specific content is unlawful         FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?        Image/Video     Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes      No
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint           Circumvention: a tool bypasses
copyright technological protection measures          Personal information: content contains
my personal information        Court order: a court decision has determined that specific
content is unlawful    FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?        Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf           No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?        Image/Video     Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed          Yes     No




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Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes      No
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization      Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Personal information: content contains
my personal information        Court order: a court decision has determined that specific
content is unlawful    FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program
   Child sexual abuse material: visual depiction of sexually explicit conduct involving a
minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself      Yes      No
I have read the above and wish to proceed         Yes    No
What can we help you with?        Copyright infringement: my copyrighted work is being
used illegally without authorization      Circumvention: a tool bypasses copyright
technological protection measures         Counter notice: appeal to reinstate content that
was removed due to a copyright complaint          Court order: a court decision has
determined that specific content is unlawful       FOSTA-SESTA or the CA Opt Out / CA
Safe at Home Program        Child sexual abuse material: visual depiction of sexually
explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?       Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf          No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?      Image/Video      Other
The image/video is of yourself    Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes      No
I have read the above and wish to proceed         Yes    No
Would you like to continue reporting a Google Sites page?        Yes    No




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What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Counter notice: appeal to reinstate content that
was removed due to a copyright complaint         Circumvention: a tool bypasses
copyright technological protection measures        Counterfeit: sale or promotion for sale
of counterfeit goods     Personal information: content contains my personal
information     Court order: a court decision has determined that specific content is
unlawful   FOSTA-SESTA or the CA Opt Out / CA Safe at Home Program              Child
sexual abuse material: visual depiction of sexually explicit conduct involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No
I have read the above and wish to proceed     Yes     No
Are you the owner of the technological protection measure, the copyright owner of the
work protected by this technology, or a representative authorized to act on behalf of
either owner?    Yes     No
Does your request pertain to a Stadia User or Stadia Game?       Stadia User      Stadia
Game or Developer
What can we help you with?       Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
What can we help you with?       Copyright infringement: my copyrighted work is being
used illegally without authorization     Court order: a court decision has determined that
specific content is unlawful     FOSTA-SESTA or the CA Opt Out / CA Safe at Home
Program      Child sexual abuse material: visual depiction of sexually explicit conduct
involving a minor
Are you the copyright owner or authorized to act on his/her behalf?      Yes, I am the
copyright owner or am authorized to act on the copyright owner’s behalf         No, I am not
or I am not sure if I am authorized to act on the copyright owner’s behalf
What is the allegedly infringing work in question?     Image/Video      Other
The image/video is of yourself     Yes      No




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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (United Kingdom)
6. español
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. ‫ﻓﺎرﺳﯽ‬
36. िह ी
37. ไทย



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38. 中文（简体）
39. 中文（繁體）
40. 日本語
41. 한국어
42. English

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     1




    Google Help


   Help Center



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   Submit feedback


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     Google Ads Help

     Sign in
                                         Send feedback on...

     This help content & information

     General Help Center experience
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     Help CenterCommunityAnnouncements


     Remove your ad
     If you ever want to stop running one or more of your ads, you can remove them. Once
     you remove an ad, it will no longer appear in your campaign and it can’t be recovered.
     However, you can still review past performance of a removed ad. This article
     explains how to remove ads one at a time or in bulk.

     How to remove an ad
1.   Sign in to your Google Ads account.
2.   On the page menu on the left, click Ads & extensions.
3.   Select the checkbox next to the ad that you want to remove.
4.   At the top of the ad statistics table, click the Edit drop-down menu.
5.   Select Remove.

     Try it out

     Keep in mind

     Once your ad is removed, you won't be able to re-enable it. However, you can still review
     the performance of your removed ad by clicking the three dot menu at the top right of
     the table and selecting ‘Show removed’. Removed ads will now appear in your statistics
     table.

     How to remove multiple ads
     If you want to make changes to multiple campaigns, ads, ad groups, and more in bulk,
     you might want to use bulk uploads or Google Ads Editor. With either product, you can




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    download a spreadsheet, make changes offline, then upload the changes to your
    account.

    Tips

   Are you considering removing poorly performing ads? Follow our recommendations to
    make high-quality, relevant ads that will perform better and get you results.
   Try pausing your ads rather than removing them. You can pause an ad and create a new
    one to experiment with different ad text, and compare how well your paused ads
    perform with your new ads.

    Related link

   Monitor your ads and keywords.

    Give feedback about this article
    Choose a section to give feedback on

                                       Was this helpful?
                                           YesNo




                                           Submit
                                     Need more help?
             Sign in for additional support options to quickly solve your issue
                                           Sign in
    Ads and approvals
   Edit your text ads
   Find your ad status
   Pause or resume your ads
   Pause or enable your ad groups
   Remove your ad
   About tracking in Google Ads
   About the different types of URLs
   Set up your tracking template
   Customize landing page URLs for keywords
   How to upgrade URLs with cross-domain redirects
   About version history
   About parallel tracking
   Use parallel tracking




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   Measure ad interactions on Google-hosted pages
   Approved click measurement providers for interaction events

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   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български




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33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results




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o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns



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Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
throughsGlossary
Google Partners Program


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Legal Help
Sign in
                                      Send feedback on...

This help content & information

General Help Center experience
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DMCA counter notification form
The DMCA is a United States copyright law that provides guidelines for online service
provider safe harbor in case of copyright infringement. The administrator of an affected
site or the provider of affected content may make a counter notification pursuant to
subsections 512(g)(2) and (3) of the Digital Millennium Copyright Act or other
applicable law. When we receive a counter notification, we may reinstate the material in
question.

To file a counter notification with us, you must provide the information specified in the
web form below. Please note that you can be liable for damages (including costs and
attorneys' fees) if you materially misrepresent that the content was removed or disabled
by mistake or misidentification. Accordingly, if you are not sure whether certain material
infringes the copyrights of others, we suggest that you first contact an attorney

Please also be advised that pursuant to subsections 512(g)(2) and (3) of the Digital
Millennium Copyright Act, if you submit a counter notification (whether through our web
form or by other means), your contact information will be forwarded to the original
complainant. We encourage you to review https://library.educause.edu/topics/policy-
and-law/digital-millennium-copyright-act-dmca for more information about the DMCA.

* Required field

Your information
                         Select one
Country of residence *
Select one
Full legal name *
Your own name, even if you are making the request on behalf of someone else who you
are authorized to represent. If you are representing someone else, you must have the
legal authority to act on their behalf.



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Your Title
Company name
If applicable.
Contact email address *
Address *
Example: 123 My Street The City, CA, United States 00000 (or acceptable PO Box)




0/1000
Phone number *

Identify the specific content that Google removed or disabled
access to
Please note: If the content on the page was infringing at the time the original removal
request arrived, your counter notice is not legally valid. Do not submit a counter notice if
there was illegal content, even if it's now been removed.
URL(s) of the content in question *              Add additional
If you have many URLs to report, we recommend submitting between 10 to 100 per
notice for the fastest possible processing time. You can submit multiple URLs by
clicking the "Add additional" link.

Why are you requesting reinstatement?
Select one of the options below. *

I am the owner of the content

I am not the owner, but I am authorized to use the content

The complainant does not have the right to submit this request

The way I used the content is fair use (What is fair use?)

I never used the content

Other
Please provide more details to justify your request *




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Sworn statements
I consent to the jurisdiction of Federal District Court for the judicial district in which I
reside (or the Northern District of California if my address is outside of the United
States), and I will accept service of process from the person who provided notification
under subsection (c)(1)(C) or an agent of such person. *
    Check to confirm
I swear, under penalty of perjury, that I have a good faith belief that the content
identified above was removed or disabled as a result of a mistake or misidentification
of the material to be removed or disabled. *
    Check to confirm

Signature

Signature *
By typing your full name below, you are providing us with your digital signature, which is
as legally binding as your physical signature. Your signature must exactly match the
first and last names that you entered at the top of this form in order for your submission
to be successful.
Signed on this date of Tue, 31 Aug 2021




Submit
Some account and system information will be sent to Google, and support calls and
chats may be recorded. We will use this information to improve support quality and
training, to help address technical issues, and to improve our products and services,
subject to our Privacy Policy and Terms of Service.
Additional info




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                                                                                        OK
    Your email has been sent

    Thanks!

    Thank you for submitting your request. You should receive a confirmation email shortly.



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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (United Kingdom)
6. español
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά




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29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. ‫ﻓﺎرﺳﯽ‬
36. िह ी
37. ไทย
38. 中文（简体）
39. 中文（繁體）
40. 日本語
41. 한국어
42. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center



   Legal




   Privacy Policy



   Terms of Service



   Submit feedback


    Send feedback on...



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This help content & information General Help Center experience




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Healthcare and medicines
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We are dedicated to following advertising regulations for healthcare and medicine, so
we expect that ads and destinations follow appropriate laws and industry standards.
Some healthcare-related content can’t be advertised at all, while others can only be
advertised if the advertiser is certified with Google and targets only approved countries.
Check local regulations for the areas you want to target.

Below are some examples of healthcare content that we allow in certain circumstances.
Some content is only available in specific regions, so be sure to check the list of
country-specific restrictions for every country where you plan to advertise. Learn about
what happens if you violate our policies.

Pharmaceutical manufacturers
      Google allows pharmaceutical manufacturers to advertise in select
      countries only.

      Prescription drugs

      Pharmaceutical manufacturers may promote prescription drugs in the
      following countries only: Canada, New Zealand, United States.




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    Pharmaceutical manufacturers may not promote prescription opioid
    painkillers.

    Over-the-counter medicines

    Pharmaceutical manufacturers may promote over-the-counter medicines
    in the following countries only: Australia, Austria, Brazil, Canada, China,
    Czech Republic, France, Germany, Hungary, Hong Kong, India, Italy, Japan,
    Kenya, Mexico, Netherlands, New Zealand, Norway, The Philippines,
    Poland, Portugal, Russia, Slovakia, South Korea, Spain, Sweden, United
    Kingdom, United States

    Other manufacturers and suppliers

    Bulk drug manufacturers, medical professional suppliers, and
    antibody/peptide/compound suppliers for commercial labs may advertise
    in the following countries only: Canada, United States

    Certification

    Pharmaceutical manufacturers must be certified by Google in order to
    serve ads. See how to apply below.

Unauthorized pharmacies
    The following is not allowed:
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




                                           Offering prescription drugs without a prescription
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




                                           Targeting locations where you are not licensed

    We take violations of this policy very seriously and consider them
    egregious. An egregious violation of the Google Ads policies is a violation
    so serious that it is unlawful or poses significant harm to our users. In
    determining whether an advertiser or destination is violating this policy,
    we may review information from multiple sources including your ad,
    website, accounts, and third-party sources. If we find violations of this
    policy, we will suspend your Google Ads accounts upon detection and
    without prior warning, and you will not be allowed to advertise with us
    again. If you believe there's been an error, and that you haven’t violated our
    policy, submit an appeal and explain why. We only reinstate accounts in
    compelling circumstances, and when there is good reason so it's




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     important that you take the time to be thorough, accurate, and honest.
     Learn more about suspended accounts.

Prescription drug sale
     Google restricts the promotion of online pharmacies. To determine
     whether an advertiser is promoting an online pharmacy, we consider a
     number of factors such as the content of your ads and site or app, as well
     as the products or services that you offer. For user safety and other
     reasons, we err on the side of caution in applying this policy, especially for
     landing pages that link or refer to content that in any way appears to be
     the online sale of medicines, whether prescription or over-the-counter
     medicine.

     Countries

     Google allows the promotion of online pharmacies in only these countries:
     Australia, Austria, Brazil, Canada, China, Czech Republic, Denmark,
     Germany, Hong Kong, Israel, Japan, Kenya, Mexico, Netherlands, New
     Zealand, Norway, Portugal, Russia, Slovakia, Sweden, Taiwan, United
     Kingdom, and the United States.

     Google does not allow the promotion of online pharmacies in other
     countries.

     Keywords

     Google allows online pharmacy advertisers to bid on keywords containing
     prescription drug terms in only the following countries: Australia, Austria,
     Canada, Czechia, Denmark, Germany, Israel, Japan, Kenya, New Zealand,
     Netherlands, Norway, Portugal, Slovakia, United Kingdom, and United
     States.

     Certification

     Online pharmacies must be certified by Google in order to serve ads — see
     how to apply below. To be certified with Google, online pharmacies must
     be registered with the relevant pharmaceutical authorities in the countries
     that their ad campaign targets.

Restricted drug terms




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    In most parts of the world, Google doesn't allow the use of prescription
    drug terms in ad text, landing pages, keywords, or source code of a
    webpage.

          For campaigns targeting Canada, New Zealand, or the United
           States, certain businesses such as online pharmacies and
           pharmaceutical manufacturers may use prescription drug
           terms in ad text and landing pages. These businesses must
           be certified by Google in order to serve ads — see how to
           apply below.
          If your campaigns do not target Canada, New Zealand, or the
           United States, you may not use prescription drug terms in ad
           text or landing pages.
          In limited cases, and where permitted by local law, Google
           allows exceptions to this policy for public health and safety
           awareness campaigns from governmental or well-
           established non-profit health advocacy organizations. If you
           would like to apply for such an exception to use prescription
           drug terms in ad text, landing pages, keywords, or source
           code of a webpage, please contact us.

    See a non-exhaustive list of prescription drugs or active ingredients that
    are monitored under this policy.

    Troubleshooter: Restricted drug term

    Your ad, website, or app is promoting prescription drugs, and that isn't
    allowed for at least one country that your campaign targets.

    Remove all references to prescription drugs and steroids from your ad and
    website or app. Alternatively, you can change your location targeting for
    your campaigns to target only countries where this service is allowed. See
    the section above for more detail around country-specific restrictions for
    the countries that you're targeting.

Unapproved substances
    Google doesn't allow the promotion of the following content, irrespective
    of any claims of legality:

          All items on this non-exhaustive list of prohibited
           pharmaceuticals and supplements
          Products that contain ephedra




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          Products containing human chorionic gonadotropin (hCG) in
           relation to weight loss or weight control, or when promoted
           in conjunction with anabolic steroids
          Herbal and dietary supplements with active pharmaceutical
           or dangerous ingredients
          Products that imply they are as effective as prescription
           drugs or controlled substances
          Non-government approved products that are marketed in a
           way that implies that they're safe or effective for use in
           preventing, curing, or treating a particular disease or ailment
          Products that have been subject to any government or
           regulatory action or warning
          Products with names that are confusingly similar to an
           unapproved pharmaceutical or supplement or controlled
           substance

   Google does not allow the promotion of DHEA products anywhere except
   the United States, and Google does not allow the promotion of Melatonin
   products anywhere except Canada and the United States.

   For additional information on the unapproved or misleading
   pharmaceuticals and supplements that we monitor, please visit
   www.legitscript.com.

   Troubleshooter: Unapproved substances

1. Fix the ad's destination. Remove any references to the substances
   prohibited by this policy. If you can’t fix the ad’s destination, update the ad
   with a new destination that complies with this policy.
2. Edit the ad. Remove any content that we don’t allow. If your ad already
   complies with the policy but you made changes to the ad’s destination,
   edit the ad and save it. This will resubmit the ad and its destination for
   review.

   Most ads are reviewed within 1 business day, though some can take
   longer if they need a more complex review.

   Troubleshooter: DHEA or Melatonin
   Target a different location. If your ad meets the basic policy requirements
   but not those for the countries that your campaign targets, you can
   choose to edit your location targeting to run your ads somewhere else
   where they do meet our requirements. Once you target your campaign
   only to acceptable locations, please request a review of your disapproved
   ads, and we'll check if they can start running:
   Request a review



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     Or, if it's important to keep targeting your existing locations, follow the
     steps below to make your ad and destination comply.

  1. Fix the ad's destination. Remove any references to the substances
     prohibited by this policy. If you can’t fix the ad’s destination, update the ad
     with a new destination that complies with this policy.
  2. Edit the ad. Remove any content that we don’t allow. If your ad already
     complies with the policy but you made changes to the ad’s destination,
     edit the ad and save it. This will resubmit the ad and its destination for
     review.

     Most ads are reviewed within 1 business day, though some can take
     longer if they need a more complex review.

Prescription opioid painkillers
     Google does not allow ads for prescription opioid painkillers except for
     those that are intended for use as medication-assisted treatment (MAT)
     for opioid use disorder and meet all other requirements pertaining to
     prescription drugs listed on this page.

     In limited cases, and where permitted by local law, Google allows
     exceptions to this policy for (a) public health and safety awareness
     campaigns from governmental or well-established non-profit health
     advocacy organizations, (b) ads for non-opioid pharmaceuticals that only
     refer to prescription opioids in their safety information, and (c) certified
     addiction treatment providers in the United States.

     If you would like to apply for such an exception, please contact us.

     Violations of this policy will not lead to immediate account suspension
     without prior warning. A warning will be issued, at least 7 days, prior to any
     suspension of your account. Learn more about suspended accounts.

Speculative and experimental medical treatment, cell therapies,
and gene therapies
     The following is not allowed:
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      display ed. The file may hav e been
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      that the link points to the correct
      file and location.




                                            Promotion of speculative and/or experimental medical treatments.

                                             Examples (non-exhaustive): Biohacking, do-it-yourself (DIY)
                                             genetic engineering products, gene therapy kits



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      The linked image cannot be
      display ed. The file may hav e been
      mov ed, renamed, or deleted. Verify
      that the link points to the correct
      file and location.




          Promotion of cell or gene therapies, regardless of regulatory approval
     status.

                                            Examples (non-exhaustive): Stem cell therapy, cellular (non-
                                            stem) therapy, gene therapy and similar forms of
                                            regenerative medicine, platelet rich plasma

     Learn how to fix a disapproved ad or extension.

     Violations of this policy will not lead to immediate account suspension
     without prior warning. A warning will be issued, at least 7 days, prior to any
     suspension of your account. Learn more about suspended accounts.

Clinical trial recruitment
     Google doesn't allow the promotion of clinical trial recruitment except in
     Australia, Belgium, Canada, China, France, Germany, Indonesia, Ireland,
     Israel, Italy, Japan, Korea, Malaysia, Netherlands, New Zealand,
     Philippines, Singapore, Taiwan, Thailand, United Kingdom, United States,
     and Vietnam.

     Promotions for clinical trial recruitment may not promote prescription
     drugs or create misleading expectations or effects of a product being
     tested, or imply that the product being tested is safe.

     Troubleshooter: Clinical trial recruitment
     Target a different location. If your ad meets the basic policy requirements
     but not those for the countries that your campaign targets, you can
     choose to edit your location targeting to run your ads somewhere else
     where they do meet our requirements. Once you target your campaign
     only to acceptable locations, please request a review of your disapproved
     ads, and we'll check if they can start running:
     Request a review

     Or, if it's important to keep targeting your existing locations, follow the
     steps below to make your ad and site or app comply.

  1. Fix the ad’s destination. Remove any references to the substances
     prohibited by this policy. If you can’t fix the ad’s destination, update the ad
     with a new destination that complies with this policy.
  2. Edit the ad. Remove any content that we don’t allow. If your ad already
     complies with the policy but you made changes to the ad’s destination,




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     edit the ad and save it. This will resubmit the ad and its destination for
     review.

     Most ads are reviewed within 1 business day, though some can take
     longer if they need a more complex review.

HIV home tests
     Google prohibits the promotion of HIV home tests everywhere in the world
     except in the United States, France, the Netherlands, and the United
     Kingdom. In the United States, advertisers may promote home HIV tests
     that are FDA approved. In France, the Netherlands, and the United
     Kingdom advertisers may promote home HIV tests that meet local
     regulatory requirements.

     Troubleshooter: HIV home tests
     Target a different location. If your ad meets the basic policy requirements
     but not those for the countries that your campaign targets, you can
     choose to edit your location targeting to run your ads somewhere else
     where they do meet our requirements. Once you target your campaign
     only to acceptable locations, please request a review of your disapproved
     ads, and we'll check if they can start running:
     Request a review

     Or, if it's important to keep targeting your existing locations, follow the
     steps below to make your ad and site or app comply.

  1. Fix the ad’s destination. Remove any references to the substances
     prohibited by this policy. If you can’t fix the ad’s destination, update the ad
     with a new destination that complies with this policy.
  2. Edit the ad. Remove any content that we don’t allow. If your ad already
     complies with the policy but you made changes to the ad’s destination,
     edit the ad and save it. This will resubmit the ad and its destination for
     review.

     Most ads are reviewed within 1 business day, though some can take
     longer if they need a more complex review.

Abortion
     Countries

     The following is not allowed:




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  display ed. The file may hav e been
  mov ed, renamed, or deleted. Verify
  that the link points to the correct
  file and location.




                                        Abortion ads in the following countries:

 Antigua and Barbuda, Argentina, Aruba, Bahamas, Bahrain, Belgium, Belize,
 Bolivia, Brazil, Cayman Islands, Chile, Colombia, Costa Rica, Djibouti,
 Dominica, Dominican Republic, Ecuador, Egypt, El Salvador, France,
 Germany, Grenada, Guadeloupe, Guatemala, Haiti, Honduras, Hong Kong,
 Hungary, India, Indonesia, Iran, Iraq, Italy, Jamaica, Jordan, Korea (South),
 Kuwait, Lebanon, Libya, Malaysia, Martinique, Mexico, Morocco,
 Nicaragua, Oman, Pakistan, Palestinian Territory, Panama, Paraguay, Peru,
 Philippines, Poland, Qatar, Russia, Saint Barthelemy, Saudi Arabia,
 Singapore, Spain, Sri Lanka, St. Kitts and Nevis, St. Lucia, Suriname,
 Switzerland, Syria, Taiwan, Thailand, Tunisia, Ukraine, United Arab
 Emirates, Uruguay, Venezuela, Yemen

 Google Ads Network restrictions

 If your ads target one or more locations where abortion ads are not
 allowed, they will be classified as Eligible (limited), meaning they will only
 show in approved areas, and there may be additional restrictions for your
 country. See the country-specific sections below for more information
 about how policies differ by country.

 Abortion-related ads won't appear on the Google Display Network, even if
 they are Eligible (limited).

 Abortion advertiser certification and disclosure requirements

 In the United States, United Kingdom, and Ireland, if you want to run ads
 using keywords related to getting an abortion, you will first need to be
 certified as an advertiser that either provides abortions or does not
 provide abortions.

 Depending on how you’re certified, Google will automatically generate one
 of the following in-ad disclosures for your abortion product or service ads:
 “Provides abortions” or “Does not provide abortions.” This applies to all
 Search ad formats.

 Learn more about the policy and how to apply for certification.

 Troubleshooter: Abortion countries
 Target a different location. If your ad meets the basic policy requirements
 but not those for the countries that your campaign targets, you can
 choose to edit your location targeting to run your ads somewhere else
 where they do meet our requirements. Once you target your campaign



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      only to acceptable locations, please request a review of your disapproved
      ads, and we'll check if they can start running:
      Request a review

      Or, if it's important to keep targeting your existing locations, follow the
      steps below to make your ad and site or app comply.

   1. Fix the ad’s destination. Remove any references to the substances
      prohibited by this policy. If you can’t fix the ad’s destination, update the ad
      with a new destination that complies with this policy.
   2. Edit the ad. Remove any content that we don’t allow. If your ad already
      complies with the policy but you made changes to the ad’s destination,
      edit the ad and save it. This will resubmit the ad and its destination for
      review.

      Most ads are reviewed within 1 business day, though some can take
      longer if they need a more complex review.

      Troubleshooter: Abortion advertiser certification
      and disclosures
   1. In the United States, United Kingdom, and Ireland, if you want to run ads
      using keywords related to getting an abortion, you will first need to be
      certified as an advertiser that either provides abortions or does not
      provide abortions.
   2. Contact us to have your ad reviewed again, or edit the ad. This will
      resubmit the ad and its destination for review. Most ads are reviewed
      within 1 business day, though some can take longer if they need a more
      complex review.
   3. If you’re unable to complete the verification process, remove any
      keywords related to getting an abortion.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Birth control
      Google doesn't allow ads related to birth control or fertility products in the
      following countries: Bahrain, China, Djibouti, Egypt, Hong Kong, Iran, Iraq,
      Jordan, Kuwait, Malaysia, Lebanon, Libya, Morocco, Oman, Palestinian
      Territory, Qatar, Saudi Arabia, Syria, Thailand, Tunisia, Ukraine, United Arab
      Emirates, Yemen




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       Troubleshooter: Birth control
       Target a different location. If your ad meets the basic policy requirements
       but not those for the countries that your campaign targets, you can
       choose to edit your location targeting to run your ads somewhere else
       where they do meet our requirements. Once you target your campaign
       only to acceptable locations, please request a review of your disapproved
       ads, and we'll check if they can start running:
       Request a review

       Or, if it's important to keep targeting your existing locations, follow the
       steps below to make your ad and site or app comply.

   1. Fix the ad’s destination. Remove any references to the substances
      prohibited by this policy. If you can’t fix the ad’s destination, update the ad
      with a new destination that complies with this policy.
   2. Edit the ad. Remove any content that we don’t allow. If your ad already
      complies with the policy but you made changes to the ad’s destination,
      edit the ad and save it. This will resubmit the ad and its destination for
      review.

       Most ads are reviewed within 1 business day, though some can take
       longer if they need a more complex review.

Addiction services
Google restricts advertising for recovery-oriented drug and alcohol addiction services.

Examples of recovery-oriented addiction services: Clinical addiction treatment
providers, recovery support services like sober living environments and mutual help
organizations, lead generators or referral agencies for addiction services, crisis hotlines
for drug and alcohol addiction


       Countries


       Google only allows ads for addiction services in Australia, Ireland, New
       Zealand, and the United States. Google does not allow ads for addiction
       services in other countries.


       Keywords




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                              Google allows only addiction services advertisers to bid on keywords
                              relating to drug and alcohol addiction.


                              Certification


                              Addiction services advertisers must be certified by Google in order to
                              serve ads. Check the country-specific requirements under How does this
                              policy differ from country to country? See how to apply below.

Health Insurance
In the United States, you must be certified by Google in order to advertise health and
medical insurance coverage, with the exception of government advertisers, who will be
pre-approved. Advertisements exclusively for dental, vision, and/or travel health
insurance coverage are not restricted.

Examples of health and medical insurance coverage: individual health insurance, short-
term insurance, limited-duration insurance, fixed indemnity health insurance, Medicare
Advantage, Medigap, Medicaid.

Health and medical insurance advertisers, other than government advertisers, must be
certified by Google in order to serve ads in the United States. This certification is
required for all ad formats and extensions. Check the requirements for the United States
under How does this policy differ from country to country? See how to apply below.

Apply for healthcare products and services certification
Certain advertisers — such as online pharmacies, pharmaceutical manufacturers, and
others looking to use prescription drug terms in ad text or landing pages or health
insurance advertisers in the United States — need to be certified with Google in order to
advertise. If you are such an advertiser, here's how to apply to be certified:

1. Adhere to all country-specific requirements below. If your campaign targets a country
that isn't listed, then we don't allow the promotion of prescription drugs or over-the-
counter medicines by pharmaceutical manufacturers in that country.
     The linked image
     cannot be displayed.
     The file may hav e
     been mov ed,




2.                           Fill out our online application form.
     renamed, or deleted.
     Verify that the link
     points to the correct
     file and location.




                             Please be sure to include your Google Ads customer ID, located at the top
                              of your account pages.
                             To cut down on any unnecessary delays, be sure to fill out all of the
                              requested information.



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       If you are an agency applying on behalf of an advertiser, please send
        documentation detailing your relationship with the advertiser or license
        holder.

How does this policy differ from country to country?
In addition to the content-based restrictions above, there may be further requirements
based on the countries that your campaign targets. Choose a country below to see
additional requirements that you must meet in order for your ad campaign to target that
country.

                                                                                                   United States
       The restrictions below are for ads targeting this country:
                                       United States
Product     Allowed?
              The link ed image cannot
              be displayed. The file




Online
              may hav e been moved,
              renamed, or deleted.
              Verify that the link points
              to the correct file and
              location.




pharmacies      Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             Pharmacy Guild of Australia, Medicare Australia, Australian Digital Health
             Agency, or one of the following state-level pharmacy boards in Australia:

                                                   Pharmaceutical Services, ACT
                                                   The Pharmacy Council of New South Wales
                                                   Pharmacy Premises Committee, NT
                                                   Pharmacy Ownership, QLD
                                                   Pharmacy Regulation Authority South Australia
                                                   Tasmanian Pharmacy Authority
                                                   Victorian Pharmacy Authority
                                                   Pharmacy Registration Board of Western Australia

             Ads targeting Australia can't use prescription drug terms in the ad or its destination.
             Advertisers must also be certified with Google. See how to apply above.
                    The link ed image cannot
                    be displayed. The file




Addiction
                    may hav e been moved,
                    renamed, or deleted.
                    Verify that the link points
                    to the correct file and
                    location.




Services                                          Allowed with limitations

             Google allows the promotion of recovery-oriented drug and alcohol addiction
             services by government entities only.

           Advertisers must also be certified with Google. See how to apply above.
Product    Allowed?
             The linked image cannot
             be display ed. The file




Online
             may have been mov ed,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies     Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             Bundesamt für Sicherheit im Gesundheitswesen and don't use prescription drug




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             terms in their ads and landing pages. Advertisers must also be certified with
             Google. See how to apply above.
Product         Allowed?                      The link ed image cannot be
                                              display ed. The file may hav e been




Online
                                              mov ed, renamed, or deleted. Verify
                                              that the link points to the correct
                                              file and location.




pharmacies                                                                          Not allowed

                Google doesn't allow the promotion of pharmacies if they offer prescription
                collection and delivery services in Belgium.
Product      Allowed?
                The link ed image cannot
                be display ed. The file




Online
                may hav e been mov ed,
                renamed, or deleted.
                Verify that the link points
                to the correct file and
                location.




pharmacies                                      Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             National Health Inspection Agency (Agência Nacional de Vigilância Sanitária --
             ANVISA) and don't promote prescription drugs in their ads, landing pages, and
             keywords. Advertisers must also be certified with Google. See how to apply above.
Product      Allowed?
             The linked image cannot
             be display ed. The file




Online
             may hav e been mov ed,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies                                    Allowed with limitations

             Google allows online pharmacies if they're accredited by one of the organizations
             listed below:

             LegitScript Healthcare Merchant Certification and Monitoring Program

                                                                           Internet pharmacy certification — Available to websites that accept
                                                                            refills, transfers, or new prescriptions; or pharmacies that fill via
                                                                            mail-order or some other form of remote ordering service.
                                                                           Telemedicine certification — Available to websites that offer virtual
                                                                            healthcare services and facilitate prescribing.

             National Association of Boards of Pharmacy (NABP)

                                                                           VIPPS — Available to pharmacies with full online functionality,
                                                                            including the sale (or facilitation of sale) of prescription drugs or the
                                                                            acceptance of new prescription drug orders through their website.
                                                                           .Pharmacy Verified Websites Program — Websites with a
                                                                            ".Pharmacy" top-level domain are available to pharmacies with full
                                                                            or limited online functionality, including sale (or facilitation of sale)
                                                                            of prescription drugs or services, acceptance of new prescription drug
                                                                            orders through their website, and prescription refills or transfers.

             Learn more or apply for LegitScript certification or NABP
             accreditation. Advertisers must also be certified with Google. See how to apply
             above.
Product      Allowed?




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             The link ed image cannot
             be display ed. The file




Online       may hav e been moved,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies                                     Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             State Food and Drug Administration (SFDA) of China and don't promote
             prescription drugs in their ads, landing pages, and keywords. Advertising
             prescription collection and delivery services is not allowed. Advertisers must also
             be certified with Google. See how to apply above.
             The link ed image cannot
             be display ed. The file




Medical
             may hav e been moved,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




services                                       Allowed with limitations

             Google allows the promotion of medical services in China as long as you submit the
             required documentation and have been certified by Google.
Product       Allowed?
                 The linked image cannot
                 be display ed. The file




Online
                 may have been moved,
                 renamed, or deleted.
                 Verify that the link points
                 to the correct file and
                 location.




pharmacies                                     Allowed with limitations

             Google allows the promotion of online pharmacies (including pharmacies,
             medicine retailers, and pharmacy associations) that don't promote prescription
             drugs in their ads and landing pages under the following circumstances.

                                                  Registered online medicine retailers (mail order pharmacies and
                                                  other online medicine retailers registered by DIMDI)

                                                  Licensed pharmacies with a valid operating authorization

                                                  Pharmacy associations representing licensed pharmacies and/or mail
                                                  order pharmacies and advertising on their behalf

           Advertisers must also be certified with Google. See how to apply above.
Product    Allowed?
             The link ed image cannot
             be display ed. The file




Online
             may have been mov ed,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies     Allowed with limitations

            Google allows the promotion of online pharmacies if they're registered with the
            Drug Office, Department of Health of the Hong Kong Government, and don't
            promote prescription drugs in their ads, landing pages or keywords. Advertising
            prescription collection and delivery services is not permitted. Advertisers must also
            be certified with Google. See how to apply above.
Product             Allowed?                      The link ed image cannot
                                                  be displayed. The file




Pharmaceutical
                                                  may hav e been moved,
                                                  renamed, or deleted.
                                                  Verify that the link points
                                                  to the correct file and
                                                  location.




manufacturers           Allowed with limitations

                                                  Google allows pharmaceutical manufacturers to promote over-the-counter
                                                  medicines in accordance with the local law in Hungary. Advertisers must
                                                  also be certified with Google. See how to apply above.
Product                                              Allowed?




                                                                                                                       1599
                                                                                                                        1794
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Pharmaceutical                                               may hav e been moved,
                                                             renamed, or deleted.
                                                             Verify that the link points
                                                             to the correct file and
                                                             location.




manufacturers                                                                              Allowed with limitations

                       Google allows pharmaceutical manufacturers to promote over-the-counter
                       medicines in accordance with the local law in India.
Product        Allowed?
                   The link ed image cannot be
                   displayed. The file may have been




Online
                   moved, renamed, or deleted. Verify
                   that the link points to the correct
                   file and location.




pharmacies                                               Not allowed

               In Ireland, Google doesn't allow the promotion of online pharmacies that offer
               prescription collection, delivery services, sale of non-medicinal products, or online
               consultation (not including consultation with a doctor).
                         The link ed image cannot
                         be displayed. The file




Addiction
                         may hav e been moved,
                         renamed, or deleted.
                         Verify that the link points
                         to the correct file and
                         location.




Services                                                 Allowed with limitations

               Google allows the promotion of recovery-oriented drug and alcohol addiction
               services by government entities only.

           Advertisers must also be certified with Google. See how to apply above.
Product    Allowed?
               The link ed image cannot
               be display ed. The file




Online
               may hav e been moved,
               renamed, or deleted.
               Verify that the link points
               to the correct file and
               location.




pharmacies     Allowed with limitations

               Google allows the promotion of online pharmacies if they're registered with the
               Ministry of Health. Advertisers can't promote prescription drugs in their ads and
               landing pages. Advertisers must also be certified with Google. See how to apply
               above.
Product         Allowed?
                    The link ed image cannot
                    be displayed. The file




Online
                    may hav e been mov ed,
                    renamed, or deleted.
                    Verify that the link points
                    to the correct file and
                    location.




pharmacies                                             Allowed with limitations

               Google allows the promotion of online pharmacies in Japan, as long as they
               provide a valid license number for their "License for marketing authorization
               holder." Advertising prescription collection and delivery services is not permitted.
               Advertisers must also be certified with Google. See how to apply above.
                    The link ed image cannot
                    be displayed. The file




Prescription
                    may hav e been mov ed,
                    renamed, or deleted.
                    Verify that the link points
                    to the correct file and
                    location.




drugs                                                  Allowed with limitations

               Google doesn't allow the use of prescription drug terms in ad text, landing pages,
               or keywords, with the following exceptions:

                                                          Websites accessible only to healthcare professionals, brick-and-
                                                           mortar pharmacies, and pharmaceutical manufacturers may use
                                                           prescription drug terms in keywords.

               If you're an organization qualified for these exceptions, please contact us via our
               online form.




                                                                                                                              1600
                                                                                                                               1795
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                            be displayed. The file




Over-the-
                            may hav e been mov ed,
                            renamed, or deleted.
                            Verify that the link points
                            to the correct file and
                            location.




counter drugs                                               Allowed with limitations

            Google allows ads promoting over-the-counter drugs to show in Japan, as long as
            the advertiser has a valid license number and the license number is displayed on
            the website.
Product           Allowed?                                                 The link ed image cannot
                                                                           be displayed. The file




Online pharmacies
                                                                           may hav e been mov ed,
                                                                           renamed, or deleted.
                                                                           Verify that the link points
                                                                           to the correct file and
                                                                           location.




                      Allowed with limitations

                                                                    Google allows the promotion of online pharmacies if they’re registered with
                                                                    the Pharmacy and Poisons Board. Advertisers can't promote prescription
                                                                    drugs in their ads and landing pages.Advertisers must also be certified with
                                                                    Google. See how to apply above.
                                                                           The link ed image cannot
                                                                           be displayed. The file




Pharmaceutical
                                                                           may hav e been mov ed,
                                                                           renamed, or deleted.
                                                                           Verify that the link points
                                                                           to the correct file and
                                                                           location.




manufacturers                                                                                            Allowed with limitations

                                                 Google allows pharmaceutical manufacturers to promote over-the-counter
                                                 medicines in accordance with the local law in Kenya. Advertisers must also
                                                 be certified with Google. See how to apply above.
Product                                        Allowed?
                                                     The link ed image cannot
                                                     be displayed. The file




Online
                                                     may hav e been mov ed,
                                                     renamed, or deleted.
                                                     Verify that the link points
                                                     to the correct file and
                                                     location.




pharmacies                                                                           Allowed with limitations

                Google allows the promotion of over-the-counter medicines in accordance with
                local law in South Korea.
Product      Allowed?
                 The linked image cannot
                 be display ed. The file




Online
                 may have been mov ed,
                 renamed, or deleted.
                 Verify that the link points
                 to the correct file and
                 location.




pharmacies                                        Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             COFEPRIS and don't promote prescription drugs in their ads, landing pages, and
             keywords. Advertisers must also be certified with Google. See how to apply above.
             Advertisers must also be certified with Google. See how to apply above.
Product      Allowed?
                The linked image cannot
                be display ed. The file




Online
                may have been mov ed,
                renamed, or deleted.
                Verify that the link points
                to the correct file and
                location.




pharmacies                                      Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             Ministerie van Volksgezondheid, Welzijn en Sport and appear on the dedicated
             online repository. Online pharmacies can't promote prescription drugs in their ads
             and landing pages. Advertisers must also be certified with Google. See how to apply
             above.
Product        Allowed?          The linked image cannot
                                 be display ed. The file




Online
                                 may hav e been mov ed,
                                 renamed, or deleted.
                                 Verify that the link points
                                 to the correct file and
                                 location.




pharmacies                                                        Allowed with limitations




                                                                                                                                            1601
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                  Google allows the promotion of online pharmacies if they're accredited by the
                  Ministry of Health. Advertisers must also be certified with Google. See how to
                  apply above.The linked image cannot
                              be display ed. The file




Addiction
                              may hav e been mov ed,
                              renamed, or deleted.
                              Verify that the link points
                              to the correct file and
                              location.




Services                                                            Allowed with limitations

                  Google allows the promotion of recovery-oriented drug and alcohol addiction
                  services by government entities only.

            Advertisers must also be certified with Google. See how to apply above.
Product    Allowed?
             The link ed image cannot
             be displayed. The file




Online
             may hav e been mov ed,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies     Allowed with limitations

            Google allows the promotion of online pharmacies if they're registered with the
            Norwegian Medicine Agency and don't use prescription drug terms in their ads and
            landing pages. Advertisers must also be certified with Google. See how to apply
            above.
Product             Allowed?                                                         The link ed image cannot
                                                                                     be display ed. The file




Pharmaceutical
                                                                                     may hav e been moved,
                                                                                     renamed, or deleted.
                                                                                     Verify that the link points
                                                                                     to the correct file and
                                                                                     location.




manufacturers           Allowed with limitations

                             Google allows pharmaceutical manufacturers to promote over-the-counter
                             medicines in accordance with the local law in the Philippines. See how to
                             apply above.
Product                 Allowed?
                              The linked image cannot be
                              display ed. The file may hav e been




Online
                              mov ed, renamed, or deleted. Verify
                              that the link points to the correct
                              file and location.




pharmacies                                                             Not allowed

                        Google doesn't allow the promotion of any online pharmacies regardless of
                        whether they offer prescription collection and delivery services.
Product                      Allowed?                                                  The link ed image cannot
                                                                                       be displayed. The file




Pharmaceutical
                                                                                       may hav e been moved,
                                                                                       renamed, or deleted.
                                                                                       Verify that the link points
                                                                                       to the correct file and
                                                                                       location.




manufacturers                                                                                                        Allowed with limitations

                                                    Google allows pharmaceutical manufacturers to promote over-the-counter
                                                    medicines in accordance with the local law in Portugal. See how to apply
                                                    above.
Product                                          Allowed?
                                                       The link ed image cannot
                                                       be display ed. The file




Online
                                                       may hav e been moved,
                                                       renamed, or deleted.
                                                       Verify that the link points
                                                       to the correct file and
                                                       location.




pharmacies                                                                           Allowed with limitations

                                                 Google allows the promotion of online pharmacies if they’re licensed by the
                                                 Federal Service for Surveillance in Healthcare (Roszdravnadzor) and have a
                                                 permit for distant trade . All pharmacies must be licensed, regardless of
                                                 whether they offer only non-prescription products. Advertisers must also be
                                                 certified with Google. See how to apply above.




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                                                   The link ed image cannot
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Pharmaceutical                                     may hav e been moved,
                                                   renamed, or deleted.
                                                   Verify that the link points
                                                   to the correct file and
                                                   location.




manufacturers                                                                    Allowed with limitations

                 Google allows pharmaceutical manufacturers to promote over-the-counter
                 medicines in accordance with the local law in this location. All such
                 promotions that target Russia must include one of the following four Russian
                 disclaimers in the ad: "Есть противопоказания. Посоветуйтесь с врачом."
                 or "Есть противопоказания. Узнайте у врача." or “Есть противопоказания.
                 Перед применением необходимо ознакомиться с инструкцией." or
                 "Имеются противопоказания, необходимо проконсультироваться со
                 специалистом." Pharmaceutical manufacturers must also be certified with
                 Google.
Product      Allowed?
                    The linked image cannot
                    be display ed. The file




Online
                    may have been moved,
                    renamed, or deleted.
                    Verify that the link points
                    to the correct file and
                    location.




pharmacies                                        Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             Swedish Medical Product Agency and don't promote prescription drugs in their ads,
             landing pages, and keywords. Advertisers must also be certified with Google. See
             how to apply above.
Product      Allowed?
                    The link ed image cannot
                    be display ed. The file




Online
                    may have been moved,
                    renamed, or deleted.
                    Verify that the link points
                    to the correct file and
                    location.




pharmacies                                        Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             Ministry of Health and Welfare and don't promote prescription drugs in their ads,
             landing pages, and keywords. Advertisers must also be certified with Google. See
             how to apply above.
Product      Allowed?
                   The linked image cannot
                   be display ed. The file




Online
                   may hav e been moved,
                   renamed, or deleted.
                   Verify that the link points
                   to the correct file and
                   location.




pharmacies                                        Allowed with limitations

             Google allows the promotion of online pharmacies if they're registered with the
             General Pharmaceutical Council (GPhC). Advertisers can't promote prescription
             drugs in their ads and landing pages. Advertisers must also be certified with
             Google. See how to apply above.

United States

Product    Allowed?
             The linked image cannot
             be display ed. The file




Online
             may hav e been mov ed,
             renamed, or deleted.
             Verify that the link points
             to the correct file and
             location.




pharmacies     Allowed with limitations

             Google allows online pharmacies if they're accredited by one of the organizations
             listed below:

             LegitScript Healthcare Merchant Certification and Monitoring Program




                                                                                                            1603
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                                             Internet pharmacy certification — Available to websites that accept
                                              refills, transfers, or new prescriptions; or pharmacies that fill via
                                              mail-order or some other form of remote ordering service.
                                             Telemedicine certification — Available to websites that offer virtual
                                              healthcare services and facilitate prescribing.

            National Association of Boards of Pharmacy (NABP)

                                             VIPPS — Available to pharmacies with full online functionality,
                                              including the sale (or facilitation of sale) of prescription drugs or the
                                              acceptance of new prescription drug orders through their website.
                                             .Pharmacy Verified Websites Program — Websites with a
                                              ".Pharmacy" top-level domain are available to pharmacies with full
                                              or limited online functionality, including sale (or facilitation of sale)
                                              of prescription drugs or services, acceptance of new prescription drug
                                              orders through their website, and prescription refills or transfers.

            Learn more or apply for LegitScript certification or NABP
            accreditation. Advertisers must also be certified with Google. See how to apply
            above.
            The linked image cannot
            be display ed. The file




Addiction
            may hav e been mov ed,
            renamed, or deleted.
            Verify that the link points
            to the correct file and
            location.




services                                  Allowed with limitations

            In order to advertise for recovery-oriented drug and alcohol addiction services, you
            must be certified as an addiction services provider by the LegitScript Certification
            program.

            About LegitScript Certification: Not all drug and alcohol addiction services are
            eligible for LegitScript Certification. Those that are not eligible for certification are
            not allowed to advertise for drug and alcohol addiction services on Google.
            LegitScript charges a fee for processing and monitoring applicants, but fee waivers
            may be available in certain circumstances. Learn more or apply for LegitScript
            Certification.

            Advertisers must also be certified with Google. See how to apply above.
            The linked image cannot
            be display ed. The file




Health
            may hav e been mov ed,
            renamed, or deleted.
            Verify that the link points
            to the correct file and
            location.




insurance                                 Allowed with limitations

            Government advertisers are permitted to advertise for health and medical insurance.
            (e.g., State exchanges, healthcare.gov)

            All other advertisers must be certified with G2 in order to advertise for health and
            medical insurance.

            About G2 Certification: Not all health insurance advertisers are eligible for G2
            Certification. Those that are not eligible for certification are not allowed to advertise




                                                                                                                          1604
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             for healthcare services on Google. G2 charges a fee for processing and monitoring
             applicants. Learn more or apply for G2 Certification.

             Advertisers must also be certified with Google. See how to apply above.

Troubleshooting a disapproval
If your ad is disapproved for violating this policy, try reviewing the following tips to help
resolve your issue:

Disapproval
reason           What does it mean?                  What do I do now?
Online           Your ad, website, or app is         Remove all references to promoting
pharmacy         promoting prescription drugs or prescription drugs from your ad and website
certification    related products but your account or app. Alternately, if you're a licensed online
required         isn't certified by Google.          pharmacy, you can be certified with Google
                                                     — see how to apply above.
Targeting does Your ad, website, or app is           Remove all references to promoting
not match policy promoting prescription drugs or prescription drugs online from your ad and
                 related products, and even          website or app. Alternatively, you can change
                 though your account is certified your location targeting for your campaigns to
                 by Google, your ad is targeting a match the country where you're certified to
                 country outside the country that advertise your pharmacy. See the section
                 you were certified for.             above for more detail around country-specific
                                                     restrictions for the countries that you're
                                                     targeting.
URL does not Your ad, website, or app is             Remove all references to promoting
match online     promoting prescription drugs or prescription drugs online from your ad and
pharmacy         related products, and even          website. Alternatively, you can change your
certification    though your account is certified ad to promote the website or app that was
                 by Google, the website or app submitted in your certification request. If
                 that the ad promotes doesn't        you'd like to use a new website or app as an
                 match the one that's certified by online pharmacy, it must also be certified with
                 Google.                             Google — see how to apply above.
OTC drugs        Your ad, website, or app is         Remove all references to over-the-counter
license number promoting over-the-counter            drugs without a license number from your ad
required         drugs without a license number, and website or app. Alternatively, you can
                 and that's not allowed for at least change your location targeting for your
                 one country that your campaign campaigns to target only countries where this
                 targets.                            service is allowed. See the section above for
                                                     more detail around country-specific
                                                     restrictions for the countries that you're
                                                     targeting.
Prescription     Your ad, website, or app is         Remove all references to prescription drugs
drug targeting promoting prescription drugs,         and steroids from your ad and website or app.
                 and that isn't allowed for at least Alternatively, you can change your location



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                   one country that your campaign targeting for your campaigns to target only
                   targets.                       countries where this service is allowed. See
                                                  the section above for more detail around
                                                  country-specific restrictions for the countries
                                                  that you're targeting.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features



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   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский




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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies



                                                                            1608
                                                                             1803
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   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




                                                                            1609
                                                                             1804
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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1610
                                                                                 1805
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Google Ads Help

Sign in
                                         Send feedback on...

This help content & information

General Help Center experience
                                                                                            Next
Help CenterCommunityAnnouncements


Apply for healthcare-related advertising
Please select what your organization is          Online Pharmacy         Pharmaceutical
Manufacturer         Governmental or well-established non-profit health advocacy
organizations        Addiction Services Provider        Health Insurance Advertiser (Only for
United States)
Select the country where you hold the license           Australia    Austria    Brazil
Canada       China      Czech Republic        Denmark          Germany    Hong Kong       Israel
   Japan        Kenya      Korea    Mexico         Netherlands      New Zealand       Norway
    Portugal     Russia       Slovakia       Sweden      Taiwan      United Kingdom
United States
Select the permissions you would like to request           Use prescription drug terms,
including prescription opioid painkiller terms, in ad text, landing pages, or keywords
Target restricted keywords related to drug and alcohol addiction
                                      Was this helpful?
                                            YesNo




                                               Submit
                                   Need more help?
          Sign in for additional support options to quickly solve your issue
                                              Sign in




                                                                                            1611
                                                                                             1806
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   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська




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36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns




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o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary



                                                                                   1614
                                                                                    1809
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Google Partners Program
Send feedback on...
This help content & information General Help Center experience




                                                                       1615
                                                                        1810
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Prescription drugs
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

This page lists examples of prescription drugs that we monitor in Google Ads. For more
information about this policy, please see our policy page on healthcare and medicines.

8-mop
a-hydrocort
a-methapred
abacavir
abarelix
abatacept
abciximab
abelcet
abilify
abitrexate
ablavar
abobotulinumtoxina
abraxane
abstral
acamprosate
acanya
acarbose
accolate
accomplia
accretropin
accuneb



                                                                                     1616
                                                                                      1811
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accupril
accurbron
accuretic
accutane
acebutolol
aceon
acetadote
acetaminophen butalbital
acetaminophen hydrocodone
acetaminophen oxycodone
acetaminophen tramadol
acetasol
acetazolamide
acetohexamide
acetohydroxamic
acetoxyl
achromycin
acifex
acilac
aciphex
acitretin
aclovate
acomplia
acrivastine
actahist
actemra
acthar
acthib
acthrel
actifed w/ codeine
actigall
actimmune
actin-n
actinex
actiq
actisite
activase
activella
actonel
actoplus met
actos
actron
acular
acupril




                                                                       1617
                                                                        1812
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acutan
acutect
acuvail
acylanid
aczone
adacel
adagen
adalat
adalimumab
adapalene
adapin
adcetris
adcirca
adderall
adefovir
adenocard
adenoscan
aderal
adipex
adipex-p
adphen
adrenaclick
adreview
adrucil
advair
advairdiskus
advate
advicor
aerobid
aerolate
aerolone
aerospan
aerospan hfa
afeditab cr
afinitor
agalsidase
agenerase
aggrastat
aggrenox
agrylin
ahydrocort
ak-fluor
ak-pentolate
akbeta




                                                                       1618
                                                                        1813
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akineton
akne-mycin
akpentolate
akpro
akrinol
akten
aktob
ala-cort
ala-scalp
alamast
albalon
albamycin
albendazole
albenza
albuterol
alcaine
alclometasone
alclometasone dipropionate
aldactazide
aldactone
aldara
aldomet
aldurazyme
alefacept
alemtuzumab
alendronate
alesse
alfenta
alfentanil
alferon n injection
alfuzosin
alglucerase
alglucosidase
alimta
alinia
aliskiren
alitretinoin
alkeran
alkergot
allay
allernaze
allopurinol
almotriptan
almotriptan malate




                                                                       1619
                                                                        1814
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alocril
alomide
aloprim
alora
alosetron
aloxi
alpha chymar
alphacaine
alphaderm
alphadrol
alphagan
alpharedisol
alphatrex
alphazine
alprazolam
alprolix
alprostadil
alrex
alsuma
altabax
altace
altavera
alteplase
altoprev
altretamine
alupent
alvesco
alvimopan
amantadine
amaryl
amatine
ambein
ambenonium
ambenyl
ambien
ambisome
ambrisentan
amcill
amcinonide
amerge
amethapred
amevive
amicar
amidate




                                                                       1620
                                                                        1815
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amifostine
amikacin
amikin
amiloride
aminocaproic
aminohippurate
aminophyllin
aminophylline
aminosyn
amiodarone
amipaque
amitid
amitiza
amitraz
amitril
amitriptyline
amlexanox
amlodipine
ammonul
amnesteem
amnestrogen
amosene
amox clav
amoxapine
amoxicillin
amoxil
amphadase
amphicol
amphotec
amphotericin
ampicillin
amprenavir
ampyra
amrinone
amrinone lactate
amrix
amturnide
amvaz
an-dtpa
an-sulfur colloid
anadrol
anadrol-50
anafranil
anagrelide




                                                                       1621
                                                                        1816
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anakinra
anapolon
anaprox
anastrozole
anavar
ancef
ancobon
androderm
androgel
AndroGel
androlic
anectine
anestacon
anexsia
angeliq
angio-conray
angiomax
anhydron
anidulafungin
ansaid
ansolysen
anspor
antabuse
antara
antara (micronized)
anticholinergic
antipyrine
antivert
antizol
antrenyl
anturane
anzemet
apcalis
aphthasol
apidra
apixaban
aplenzin
apogen
apokyn
apomorphine
apovent
apraclonidine
aprepitant
apresazide




                                                                       1622
                                                                        1817
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apresoline
apriso
aprotinin
aptivus
aquamephyton
aquaphyllin
aquasol
aquatag
aquatensen
aquazide h
aralen
aramine
aranelle
aranesp
arava
arcalyst
arcapta neohaler
arcitumomab
arduan
aredia
arestin
arestocaine hydrochloride
arfonad
arformoterol
argatroban
aricept
aridol
arimidex
aripiprazole
aristocort
aristogel
aristospan
arixtra
armodafinil
aromasin
arranon
artane
artemether
arthrotec
articaine
arzerra
asacol
asacolhd
asclera




                                                                       1623
                                                                        1818
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asellacrin 10
asellacrin 2
asenapine
asendin
asmanex
asmanex twisthaler
asparaginase
aspirin butalbital
aspirin carisoprodol
aspirin hydrocodone bitartrate
aspirin oxycodone hydrochloride
astelin
astepro
astramorph
astramorph pf
atacand
atarax
atazanavir
atazanavir sulfate
atelvia
atenolol
athrombin
ativan
atnaa
atomoxetine
atorvastatin
atovaquone
atracurium
atralin
atridox
atripla
atromid-s
atropen
atropine
atropine sulfate
atrovent
augmentin
auranofin
aureomix
aureomycin
avage
avalide
avandamet
avandaryl




                                                                       1624
                                                                        1819
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avandia
avapro
avastin
avelox
aventyl
aventyl hydrochloride
aviane
aviane-28
avinza
avita
avodart
avonex
axert
axid
axiron
axotal
aygestin
azacitidine
azactam
azasan
azasite
azatadine
azathioprine
azdone
azelastine
azelastine hydrochloride
azelex
azilect
azithromycin
azlin
azmacort
azo gantanol
azo gantrisin
azolid
azopt
azor
aztreonam
azulfidine
baci-rx
baciim
baclofen
bactocill
bactrim
bactroban




                                                                       1625
                                                                        1820
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balsalazide
balziva
balziva-28
bamate
bancap
banthine
banzel
baraclude
barstatin 100
basiliximab
baycol
becaplermin
beclomethasone
beclovent
beconase
beepen-vk
benazepril
bendamustine
bendectin
bendopa
bendroflumethiazide
benemid
benicar
benlysta
benoquin
benoquin monobenzone
bensulfoid
bentyl
benuryl
benzaclin
benzamycin
benzedrine
benzonatate
benzphetamine
benztropine
bepadin
bepotastine
bepreve
beractant
besifloxacin
besivance
beta-val
betaderm
betagan




                                                                       1626
                                                                        1821
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betahistine
betamethasone
betapace
betapar
betapen-vk
betaprone
betaseron
betatrex
betaxolol
betaxon
bethanechol
betimol
betoptic
betoptic s
bevacizumab
bexarotene
bexsero
bextra
beyaz
biaxin
bicalutamide
bicillin
bidil
bilivist
bilopaque
biltricide
bimatoprost
bio-tropin
biperiden
biquin durules
bisoprolol
bivalirudin
blenoxane
bleomycin
bleph-10
blephamide
blephamide s.o.p.
blocadren
bonefos
boniva
bontril
boostrix
borofair
bortezomib




                                                                       1627
                                                                        1822
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bosentan
botox
botulinum toxin
bravelle
breathtek
brethaire
brethine
bretylium
bretylol
brevibloc
brevicon
brevital
brevital sodium
bricanyl
briellyn
brilinta
brimonidine
brinzolamide
bristacycline
bristagen
bristamycin
bromday
bromfed
bromfenac
bromocriptine
brovana
bryrel
bucet
budesonide
bumetanide
bumex
buphenyl
bupivacaine
buprenex
buprenorphine
bupropion
buscapina
buspar
busparr
buspirone
busulfan
busulfex
butabarbital
butalan




                                                                       1628
                                                                        1823
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butalbital
butalbital and acetaminophen
butapap
buticaps
butisol
butisol sodium
butorphanol
butrans
byetta
bystolic
c-phen
cabergoline
caduet
cafcit
cafergot
cialis
calan
calcifediol
calcijex
calcimar
calciparine
calcipotriene
calcitriol
calderol
caldolor
calfactant
calis
calomist
cam-metrazine
cambia
camila
camoquin hydrochloride
campath
campral
camptosar
canakinumab
canasa
cancidas
candesartan
cantharone
cantil
capastat
capecitabine
capex




                                                                       1629
                                                                        1824
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capitrol
capoten
capozide
capreomycin
capromab
captopril
carac
carafate
carbachol
carbaglu
carbamazepine
carbastat
carbatrol
carbidopa
carbilev
carbocaine
carboplatin
carboprost
cardene
cardiogen
cardiogen-82
cardiografin
cardiolite
cardioplegic
cardioquin
cardiotec
cardizem
cardrase
cardura
carisoprodol
carmustine
carnitor
carprofen
carteolol
cartia xt
cartrol
carvedilol
casodex
caspofungin
cataflam
catapres
catarase
cathflo
cathflo activase




                                                                       1630
                                                                        1825
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caverject
caverta
cayston
cea-scan
ceclor
cedax
cedilanid-d
ceealis
ceenu
cefaclor
cefadroxil
cefadyl
cefazolin
cefdinir
cefditoren
cefepime
cefixime
cefizox
cefmax
cefobid
cefotan
cefotaxime
cefotetan
cefoxitin
cefpodoxime
cefprozil
ceftazidime
ceftin
ceftriaxone
cefuroxime
cefzil
celbrex
celebrex
celecoxib
celestoderm
celestone
celexa
cellcept
celontin
cenestin
centany
centrax
cephalexin
cephalothin




                                                                       1631
                                                                        1826
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ceptaz
ceradon
cerebyx
ceredase
ceretec
cerezyme
certolizumab
cerubidine
cerumenex
cervidil
cesamet
cetamide
cetapred
cetraxal
cetrorelix
cetrotide
cetuximab
cevimeline
champix
chantix
chemet
chenix
chenodiol
chibroxin
chirhostim
chirocaine
chloral hydrate
chlorambucil
chlordiazachel
chlordiazepoxide
chlorofair
chloromycetin
chloroprocaine
chloroptic
chlorothiazide
chlorpromazine
chlorpropamide
chlorthalidone
chlorzoxazone
cholac
cholebrine
choledyl
cholestyramine
choletec




                                                                       1632
                                                                        1827
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cholografin
cholovue
choloxin
cholybar
choriogonadotropin
choriogonadotropin alfa
chorionic gonadotropin
chromalbin
chromitope sodium
chymex
chymodiactin
chymopapain
cibacalcin
ciclesonide
cidofovir
cilastatin
cilostazol
ciloxan
cimbalta
cimzia
cin-quin
cinacalcet
cinnasil
cinobac
cipro
ciprodex
ciprofloxacin
circanol
cis-mdp
cis-pyro
cisatracurium
cisplatin
citalopram
citanest
citanest plain
cladribine
claforan
claravis
clarinex
clarithromycin
clenbuterol
cleocin
clevidipine
cleviprex




                                                                       1633
                                                                        1828
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climara
clinda-derm
clindagel
clindamycin
clindesse
clindets
clinimix
clinisol
clinoril
clistin
clobazam
clobetasol
clobex
clocortolone
cloderm
clodronate
clofarabine
clofazimine
clolar
clomid
clonazepam
clonidine
clopidogrel
clopra
clorazepate
clorpres
clostilbegyt
cloxapen
clozapine
clozaril
co-gesic
coactin
coartem
codamine
codeprex
codoxy
codrix
cogentin
col-probenecid
colazal
colbenemid
colchicine
colcrys
colesevelam




                                                                       1634
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colestid
colestipol
collagenase
colocort
coly-mycin
colyte
combievent
combigan
combipatch
combipres
combivent
combivir
combunox
compazine
complera
comtan
concentraid
concerta
condylox
conray
constilac
constulose
conzip
copaxone
copegus
cor-oticin
cordarone
cordran
coreg
corgard
corlopam
cormax
cort-dome
cortan
cortef
cortenema
corticorelin
corticotropin
cortifoam
cortisporin
cortone
cortril
cortrophin-zinc
cortrosyn




                                                                       1635
                                                                        1830
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corvert
corzide
cosmegen
cosopt
cosyntropin
cotazym
cotrim
coumadin
covera-hs
cozaar
creon
crescormon
crestor
crinone
crixivan
crolom
cromoptic
crotamiton
crotan
cryselle
crystalmeth
crystodigin
cubicin
cuprimine
curosurf
curretab
cutivate
cuvposa
cyanokit
cyclaine
cyclapen-w
cyclessa
cyclobenzaprine
cyclocort
cyclogyl
cyclomen
cyclomydril
cyclopar
cyclopentolate
cyclophosphamide
cycloserine
cycloset
cyclosporine
cycrin




                                                                       1636
                                                                        1831
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cyklokapron
cylert
cymbalta
cyproheptadine
cystadane
cystagon
cysteamine
cysto-conray
cystografin
cystografin dilute
cysview kit
cytadren
cytarabine
cytomel
cytosar
cytosar-u
cytotec
cytovene
cytoxan
dacarbazine
daclizumab
dacogen
dactinomycin
dalfampridine
dalfopristin
dalgan
daliresp
dalmane
dalteparin
danazol
danocrine
dantrium
dantrolene
dapoxetine
dapsone
daptomycin
daranide
daraprim
darbepoetin
darbid
daricon
darifenacin
darunavir
darvocet




                                                                        1637
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darvon
darvon-n
dasatinib
datscan
daunorubicin
daunoxome
daypro
daytrana
ddavp
deapril-st
deca-durabolin
decabid
decaderm
decadron
decapryn
decaspray
decitabine
declomycin
deferasirox
deferoxamine
definity
degarelix
delalutin
delatestryl
delavirdine
delaxin
delcobese
delestrogen
delfen
delflex
delta-cortef
delta-dome
deltalin
deltasone
demadex
demeclocycline
demerol
demi-regroton
demser
demulen
denavir
dendrid
denileukin
denol




                                                                       1638
                                                                        1833
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denosumab
dentipatch
depacon
depakene
depakote
depen
depinar
depo provera
depo-estradiol
depo-medrol
depo-provera
depo-subq provera 104
depo-testadiol
depo-testosterone
depocyt
depodur
derma-smoothe
dermabet
dermatop
dermotic
desferal
desflurane
desipramine
desirudin
desloratadine
desmopressin
desogen
desogestrel
desonate
desonide
desowen
desoximetasone
desoxyn
desquam
desvenlafaxine
desyrel
detrol
dexacen-4
dexacidin
dexacort
dexair
dexamethasone
dexampex
dexasporin




                                                                       1639
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dexchlorpheniramine
dexedrine
dexferrum
dexilant
dexmedetomidine
dexmethylphenidate
dexrazoxane
dextroamp
dextroamphetamine
dextrostat
dhc plus
di-atro
di-metrex
diabinese
dialyte
diamox
diane 35 (dianette, diana 35)
dianeal
diapid
diasone sodium
diastat
diatrizoate
diazepam
diazoxide
dibenil
dibenzyline
dichlorvos
diclazuril
dicloxacillin
dicopac kit
dicurin procaine
dicyclomine
didanosine
didrex
didronel
diethylpropion
differin
dificid
diflorasone
diflucan
diflunisal
difluprednate
digoxin
dihydroergotamine




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                                                                         1835
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dilacor
dilacor xr
dilantin
dilatrate-sr
dilaudid
dilor
dilt-cd
diltiazem
diltzac
dimercaprol
dimethylsulfoxide
dinoprostone
diovan
dipentum
diphenylan sodium
dipivefrin
diprivan
diprolene
diprosone
dipyridamole
disalcid
discase
disipal
disobrom
disodium edetate
disomer
disopyramide
dispermox
disulfiram
ditate-ds
ditropan
diucardin
diulo
diuril
diutensen-r
divalproex
divigel
dizac
dobutamine
dobutrex
doca
docefrez
docetaxel
dofetilide




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dolasetron
dolene
dolobid
dolophine
dolophine hydrochloride
domperidone
donepezil
dopamine
dopar
dopram
doral
doramectin
doribax
doriden
doripenem
dormate
dornase
doryx
dorzolamide
dostinex
dovonex
dow-isoniazid
doxapram
doxazosin
doxepin
doxercalciferol
doxil
doxorubicin
doxy 100
doxychel
doxycycline
dralserp
dralzine
draximage
drisdol
drize
drolban
dromostanolone propionate
dronabinol
dronedarone
droperidol
drosperinone
drospirenone
drotrecogin




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droxia
dtic-dome
duac
duetact
duexis
dulera
duloxetine
duo-medihaler
duocaine
duodote
duoneb
duovir n
durabolin
duracillin a.s.
duraclon
duradyne dhc
duragesic
duralith
duramorph
duramorph pf
duranest
duraphyl
duraquin
durezol
duricef
durolane
dutasteride
dutoprol
duvoid
dyazide
dycill
dyclone
dymelor
dynabac
dynacin
dynacirc
dynapen
dyphylline
dyrenium
dysport
e-mycin
e-solve 2
ec-naprosyn
ecallantide




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echothiophate
econochlor
econopred
ecostatin
eculizumab
edarbi
edcialis
edecrin
edetate
edex
edluar
edrophonium
edurant
efalizumab
efavirenz
effexor
effient
eflornithine
efudex
egrifta
elaprase
elase-chloromycetin
elavil
eldecort
eldepryl
eldopaque
eldoquin
elestat
elestrin
eletriptan
elidel
eligard
elimite
eliphos
eliquis
elitek
elixicon
elixomin
elixophyllin
ellence
elliotts b solution
elmiron
elocon
eloxatin




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elspar
eltrombopag
eltroxin
emadine
embeda
embeline
embolex
emcyt
emedastine
emend
emete-con
emgel
emla
emoquette
emsam
emtricitabine
emtriva
enablex
enalapril
enalaprilat
enbrel
endep
endometrin
endosol
endosol extra
enduron
enduronyl
enflurane
enfuvirtide
enjuvia
enlon
enovid
enoxacin
enoxaparin
enpresse
enpresse-21
enrofloxacin
entacapone
entecavir
entereg
entocort
entocort ec
enulose
eovist




                                                                       1645
                                                                        1840
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epi e z pen jr
epicort
epiduo
epifoam
epinastine
epipen
epiquin
epirubicin
epitol
epivir
epivir-hbv
eplerenone
epoetin
epoetin alfa
epogen
epoprostenol
eprex
eprinomectin
eprosartan
eprosartan mesylate
eptifibatide
epzicom
equagesic
equanil
equetro
equipin
equipoise
eraxis
erbitux
erectalis
ergamisol
ergocalciferol
ergomar
ergostat
ergotamine
erlotinib
errin
ertaczo
ertapenem
erwinaze
ery-tab
eryc
erycette
eryderm




                                                                       1646
                                                                        1841
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erygel
erymax
erypar
eryped
erythra-derm
erythro-statin
erythrocin
erythrocin stearate
erythromycin
eryzole
escitalopram
esclim
esgic
esgic-plus
esidrix
esimil
eskalith
esmolol
estazolam
esterified estrogens
estinyl
estrace
estraderm
estradiol
estradurin
estraguard
estramustine
estrasorb
estratab
estring
estrogel
estrogenic substance
estrone
estropipate
estrovis
eszopiclone
etanercept
ethacrynate
ethambutol
ethamide
ethamolin
ethchlorvynol
ethinyl estradiol
ethiodol




                                                                       1647
                                                                        1842
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ethionamide
ethmozine
ethopropazine
ethosuximide
ethotoin
ethrane
ethynodiol diacetate
ethyol
etibi
etidronate
etodolac
etomidate
etonogestrel
etonogestrel implant
etopophos
etopophos preservative free
etoposide
etravirine
euflexxa
eulexin
eurax
euthroid
euthyrox
eutonyl
eutron
evalose
evamist
everolimus
evex
evista
evoclin
evolence
evoxac
evragra
exalgo
exelderm
exelon
exemestane
exenatide
exforge
exjade
exna
exorex
exosurf neonatal




                                                                       1648
                                                                        1843
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exparel
exsel
extavia
extended phenytoin sodium
extina
extraneal
exubera
eylea
ezetimibe
fabrazyme
factive
famciclovir
famvir
fanapt
fansidar
fareston
farxiga
faslodex
fastin
fazaclo odt
febantel
feboxustat
febuxostat
felbamate
felbatol
feldene
felodipine
femara
femcet
femcon fe
femera
femhrt
feminone
femogen
fempatch
femring
femtrace
fenofibrate
fenoglide
fenoldopam
fenoprofen
fentanyl
fenthion
fentora




                                                                       1649
                                                                        1844
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feraheme
feridex i.v.
ferndex
fernisolone-p
fernisone
ferriprox
ferriseltz
ferrlecit
ferrous citrate fe 59
fertinex
ferumoxides
ferumoxsil
ferumoxytol
fesoterodine
fibricor
filgrastim
finacea
finaplix
finasterid
finasteride
fincar
fingolimod
finpecia
fintropin
fioricet
fiorinal
firazyr
firmagon
firocoxib
flagyl
flarex
flavored colestid
flavoxate
flaxedil
flecainide
flexeril
flo-pred
flolan
flomax
florinef
florone
floropryl
flovent
floxin




                                                                        1650
                                                                         1845
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floxuridine
fluarix
fluconazole
flucytosine
fludara
fludarabine
fludeoxyglucose
fludrocortisone
fluidil
flumadine
flumazenil
flumist
flunarizine
flunisolide
flunitrazepam
flunixin
fluocet
fluocinolone
fluocinonide
fluonid
fluor-op
fluorescite
fluorine f-18
fluorometholone
fluoroplex
fluorouracil
fluothane
fluotrex
fluoxetine
fluoxymesterone
fluphenazine
flurandrenolide
flurazepam
flurbiprofen
flutamide
flutex
fluticasone
fluvastatin
fluvirin
fluvoxamine
fluzone
fml forte
foamicon
focalin




                                                                       1651
                                                                        1846
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folex
folicet
follistim
follitropin
follutein
folotyn
foltx
folvite
folvron
fomepizole
fondaparinux
foradil
forane
forbaxin
forfivo xl
formoterol
fortamet
fortaz
forteo
fortesta
fortical
fortovase
fosamax
fosamprenavir
fosaprepitant
foscarnet
foscavir
fosfomycin
fosinopril
fosphenytoin
fospropofol
fosrenol
fovane
fragmin
frova
frovatriptan
fulvestrant
funduscein-25
fungizone
furacin
furadantin
furalan
furosemide
furoxone




                                                                       1652
                                                                        1847
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fusilev
fuzeon
gabapentin
gabitril
gablofen
gadavist
gadobenate
gadodiamide
gadofosveset
gadopentetate
gadoteridol
gadoversetamide
gadoxetate
galantamine
gallium
galsulfase
galzin
gamagra
gamene
gamophen
ganciclovir
ganirelix
ganite
gantanol
gantrisin
gardasil
gardisil
gastrocrom
gastrografin
gastromark
gastrovist
gatifloxacin
gefitinib
gelnique
gemcitabine
gemfibrozil
gemifloxacin
gemonil
gemtuzumab
gemzar
gen-xene
genapax
generlac
genesa




                                                                       1653
                                                                        1848
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gengraf
genoptic
genotropin
gentacidin
gentafair
gentak
gentamicin
geocillin
geodon
geopen
geref
gerimal
gilenya
glatiramer
gleevec
gliadel
glimepiride
glipizide
glofil-125
glucagen
glucamide
glucophage
glucoscan
glucotrol
glucovance
glumetza
glutethimide
glyburide
glycopyrrolate
glynase
glyquin
glyset
golimumab
golytely
gonadotropin
gonal
gonal-f
goserelin
gralise
gramicidin
granisetron
granisteron hydrochloride
grifulvin
grifulvin v




                                                                       1654
                                                                        1849
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gris-peg
grisactin
griseofulvin
growth hormone
guanabenz
guanfacine
guanidine
gynazole
gynazole-1
gyne-sulf
gynodiol
gynorest
h.p. acthar gel
halaven
halcinonide
halcion
haldol
haldrone
halfan
halflytely
halobetasol
halog
haloperidol
halotestex
halotestin
halotex
harifin
harmonyl
hectorol
hedulin
helicosol
helidac
hemabate
hemsol-hc
heparin
heparin lock flush
hepatamine
hepatasol
hepatolite
hepsera
heptalac
heptovir
herceptin
herplex




                                                                        1655
                                                                         1850
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hetrazan
hexa-betalin
hexa-germ
hexabrix
hexachlorophene
hexadrol
hexalen
hgh
hiberix
hippuran i 131
hipputope
hiprex
hiserpia
hispril
histafed
histalog
histrelin
hivid
hiwolfia
horizant
humalog
humangrowth
humatin
humatrope
humegon
humira
humorsol
hy-phen
hyalgan
hyaluronidase
hycamtin
hycodan
hycomine
hycomine pediatric
hydase
hydeltra-tba
hydeltrasol
hydergine
hydra-zide
hydralazine
hydrap-es
hydrea
hydro-d
hydro-reserp




                                                                       1656
                                                                        1851
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hydrochlorot
hydrochlorothiazide
hydrocodone
hydrocodone bitartrate
hydrocortisone valerate
hydrodiuril
hydroflumethiazide
hydromorphone
hydromox
hydropane
hydroquinone topical
hydroxocobalamin
hydroxomin
hydroxychloroquine
hydroxypropyl
hydroxyurea
hydroxyzine
hygroton
hylenex
hylorel
hyoscyamine
hypaque
hyperstat
hyserpin
hytrin
hyzaar
ibandronate
ibritumomab
ibutilide
icodextrin
idamycin
idarubicin
idoxuridine
idursulfase
ifex
ifosfamide
ilaris
iloperidone
iloprost
ilosone
ilotycin
imatinib
imdur
imiglucerase




                                                                       1657
                                                                        1852
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imipenem
imipram
imipramine
imiquimod
imitrex
imovane
imovax
implanon
imuran
inamrinone
inapsine
incivek
increlex
indacaterol
indapamide
inderal
inderide
indiclor
indinavir
indocin
indocyanine
indomethacin
infasurf
infed
infergen
inflamase forte
inflamase mild
infliximab
infumorph
infuvite
innohep
innopran
innopran xl
innovar
inocor
inomax
inpersol
inspra
insulin
intagra
intal
integrilin
intelence
interferon




                                                                       1658
                                                                        1853
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intralipid
intron a
introna
introvale
intuniv
invagesic
invanz
invega
inversine
invirase
iodipamide
iodixanol
iohexol
ionamin
ionosol
iopamidol
iopidine
iopromide
iothalamate
ioversol
ioxaglate
ioxilan
iplex
ipratropium
iprivask
iquix
irbesartan
iressa
irinotecan
isentress
ismelin
ismo
ismotic
isocaine
isocarboxazid
isoflurane
isolyte
isoniazid
isoproterenol
isoptin
isopto
isopto carpine
isopto cetamide
isopto cetapred




                                                                       1659
                                                                        1854
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isordil
isosorbide
isosulfan
isotretinoin
isovue
isradipine
istalol
istodax
isuprel
itraconazole
ivermectin
ixabepilone
ixempra
izotek
jakafi
jalyn
jantoven
janumet
januvia
jeanatope
jenloga
jevtana
jintropin
jolessa
junel
juvisync
juxtapid
k dur
k lyte
k-lease
k-tab
kadian
kalbitor
kaletra
kalexate
kamagra
kanamycin
kantrex
kaon cl
kapidex
kapvay
kariva
kayexalate
keflex




                                                                       1660
                                                                        1855
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keftab
kefurox
kefzol
kelnor
kemadrin
kenalog
kepivance
keppra
kerlone
kesso-gesic
ketalar
ketaset
ketek
ketoprofen
ketorolac
ketozole
kineret
kinevac
kinlytic
kinrix
kionex
klaron
klebcil
klonopin
klor-con
klotrix
kogenate
krystexxa
kuvan
kwell
kwikpen
kytril
labetalol
lac-hydrin
lacosamide
lacrisert
lamictal
lamivudine
lamotrigine
lamprene
laniazid
lanorinal
lanoxicaps
lanoxin




                                                                       1661
                                                                        1856
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lantus
lapatinib
lariam
larodopa
laronidase
larotid
laryngotracheal anesthesia kit
lasix
lastacaft
latanoprost
latisse
latuda
lazanda
leflunomide
lenalidomide
lente insulin
lepirudin
lescol
lessina
lessina-28
letairis
letrozole
leucovorin
leukeran
leukine
leuprolide
leustatin
levalbuterol
levaquin
levatol
levemir
levetiracetam
levitra
levlen
levlite
levo-dromoran
levo-t
levobunolol
levocabastine
levocarnitine
levocetirizine
levocetirizine dihydrochloride
levodopa
levofloxacin




                                                                       1662
                                                                        1857
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levoleucovorin
levonordefrin
levonorgestrel
levophed
levora
levorphanol
levothroid
levothyroxine
levoxyl
Levoxyl
levsin
levsinex
levulan
lexapro
lexipro
lexiscan
lexiva
lexxel
lialda
libritabs
librium
lidex
lidoderm
lidopen
lignospan
limbitrol
lincocin
lindane
linezolid
lioresal
liothyronine
liotrix
lipidil
lipitor
lipo gantrisin
lipo-hepin
lipofen
liposyn
liquaemin lock flush
liquid pred
liraglutide
lisdexamfetamine
lisinop
lisinopril




                                                                       1663
                                                                        1858
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lispro
lithane
lithiumcarbonate
lithobid
lithonate
lithostat
lithotabs
livalo
livitra
lo loestrin fe
lo/ovral-28
locholest
locoid
lodine
lodosyn
lodoxamide
lodoxamide tromethamine
loestrin
loestrin 24 fe
lofibra
logen
lomanate
lomotil
lomustine
loniten
lonox
lopid
lopinavir
lopresor
lopressor
loprox
lopurin
lorabid
loraz
lorazepam
lorcet-hd
lorelco
lortab
loryna
losartan
loseasonique
lotemax
lotensin
loteprednol




                                                                       1664
                                                                        1859
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lotrel
lotriderm
lotrisone
lotronex
lovastatin
lovaza
lovegra
lovenox
low-quel
loxitane
lozol
lta ii kit
lubiprostone
lucentis
ludiomil
lufenuron
lufyllin
lumigan
lumizyme
lunelle
lunesta
lungaggregate reagent
lupron
lusedra
lutrepulse kit
lutropin
luveris
luvox
luxiq
lybrel
lymphazurin
lynoral
lyophilized cytoxan
lyrica
lysodren
lysteda
m.v.i. adult
m.v.i. pediatric
m.v.i.-12
macrobid
macrodantin
macrotec
macugen
mafenide




                                                                       1665
                                                                        1860
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magnevist
makena
malarone
malathion
mandelamine
mandol
manerix
mannitol
maolate
maprotiline
maraviroc
marbofloxacin
marcaine
marezine
marinol
maropitant
marplan
matulane
mavik
maxair
maxalt
maxaquin
maxidex
maxipime
maxitrol
maxzide
mazanor
mazindol
md-76r
md-gastroview
mdp-bracco
mebendazole
mecasermin
mechlorethamine
meclan
meclodium
meclofenamate
meclomen
medigesic plus
medrol
mefloquine
mefoxin
megace
megestrol




                                                                       1666
                                                                        1861
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melfiat-105
mellaril
meloxicam
melphalan
memantine
memantine hydrochloride
membraneblue
menactra
menest
menostar
menotropins
mentax
mepenzolate
mepergan
mephyton
mepivacaine
mepro-aspirin
meprobamate
mepron
mequinol
mercaptopurine
meridia
meropenem
merrem
mesalamine
mesalazine
mesantoin
mesna
mesnex
mestinon
mestranol
metadate
metaglip
metanx
metaproterenol
metaraminol
metastron
metaxalone
metformin
meth
methacholine
methadone
methadose
methamphetamine




                                                                       1667
                                                                        1862
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methapred
methazolamide
methenamine
methergine
methimazole
methocarbamol
methohexital
methotrexate
methoxsalen
methsuximide
methyclothiazide
methyldopa
methylergonovine
methylin
methylnaltrexone
methylphenidate
methylpred
methylprednisolone
methyltestosterone
methyprylon
meti-derm
metimyd
metipranolol
metoclopramide
metolazone
metopirone
metoprolol
metozolv odt
metrocream
metrodin
metrogel
metrolotion
metronidazole
metubine iodide
metvixia
metyrapone
mevacor
mexate-aq preserved
mexiletine
mexitil
mezlin
miacalcin
micardis
micort-hc




                                                                       1668
                                                                        1863
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micrainin
micro-k
microderm
microgestin
microlite
micronase
micronor
microzide
midamor
midazolam
midodrine
midozalam hydrochloride
mifeprex
mifepristone
migergot
miglitol
miglustat
migranal
milnacipran
milrinone
miltown
minipress
minirin
minitran
minocin
minocycline
minodyl
mintezol
miochol-e
miostat
miradon
miraluma
mirapex
mircera
mircette
mirena
mirtazapine
misoprostol
mithracin
mitomycin
mitotane
mitoxantrone
mivacron
mivacurium




                                                                       1669
                                                                        1864
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moban
mobic
moclobemide
modafinil
modicon 21
modicon 28
moduret
moduretic 5-50
moexipril
molindone
mometasone
monocid
monodox
monoket
monopril
montelukast
monurol
morphine
morphine sulfate
motilium
motofen
movatec
moviprep
moxatag
moxeza
moxifloxacin
mozobil
mpi dmsa kidney reagent
mpi krypton 81m generator
mpi stannous diphosphonate
ms contin
mscontin
multaq
multifuge
multihance
mupirocin
muromonab-cd3
mustargen
mutamycin
myambutol
mycamine
mycitracin
myco-triacet ii
mycobutin




                                                                       1670
                                                                        1865
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mycolog-ii
mycophenolate
mycostatin
mydriacyl
myfortic
mykacet
mykinac
mykrox
mylaxen
myleran
mylotarg
mymethazine fortis
myobloc
myotonachol
myoview
myozyme
mysoline
mytelase
mytrex a
nabilone
nabumetone
nadolol
nafarelin
nafazair
naftifine
naftin
naglazyme
nalbuphine
nalfon
nallpen
naltrexone
namenda
nandrolone decanoate
naphazoline
naphcon forte
naprelan
naprosyn
naqua
naratriptan
narcan
nardil
naropin
nasacortaq
nasalide




                                                                       1671
                                                                        1866
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nasarel
nascobal
nasonex
natacyn
natalizumab
natamycin
natazia
nateglinide
natrecor
natroba
navane
navelbine
navstel
nebcin
nebivolol
nebupent
nedocromil
nefazodone
neggram
nelarabine
nelfinavir
nembutal
neo-cort-dome
neo-cortef
neo-delta-cortef
neo-fradin
neo-hydeltrasol
neo-medrol
neo-polycin
neo-synalar
neodecadron
neoprofen
neoral
neosar
neostigmine
neothylline
neovisc
nepafenac
nephramine
nephroflow
neptazane
nesacaine
nesiritide
netromycin




                                                                       1672
                                                                        1867
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neulasta
neumega
neupogen
neupro
neurolite
neurontin
neutrexin
nevanac
nevirapine
newcialis
nexavar
nexplanon
nexterone
nexuim
niacor
niaspan
nicardipine
niclocide
nicolar
nicotrol
nifediac
nifedipine
nifurpirinol
nilandron
nilotinib
nilstat
nilutamide
nimbex
nimodipine
nimotop
nipent
niravam
nisoldipine
nitazoxanide
nithiodote
nitoman
nitro dur
nitro iv
nitro-bid
nitro-dur
nitrofurantoin
nitroglycerin
nitrol
nitrolingual




                                                                        1673
                                                                         1868
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nitromist
nitronal
nitropress
nitrostat
nofetumomab
nogenic hc
nolvadex
nor-qd
norcuron
nordette-28
norditropin
norethidrone
norethin
norethindrone
norflex
norfloxacin
norgesic
norgestimate
norinyl
noritate
normiflo
normocarb
normodyne
normosol
noroxin
norpace
norplant
norpramin
norquest fe
nortrel
nortriptylin
nortriptyline
norvas
norvasc
norvask
norvir
novamine
novantrone
novarel
novobiocin
novocain
novolog
noxafil
nplate




                                                                       1674
                                                                        1869
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nubain
nucynta
nuedexta
nulojix
nulytely
numorphan
nuromax
nutracort
nutrestore
nutrilipid
nutropin
nuvaring
nuvigil
nydrazid
nystatin
nystex
nystop
oby-trim
ocella
octocaine
octreoscan
octreotide
ocufen
ocuflox
ocumycin
ocupress
ocusulf-10
ofatumumab
ofirmev
ofloxacin
oforta
ogen
ogestrel
olanzapine
oleptro
olmesartan
olopatadine
olsalazine
olux
omacor
omalizumab
omnaris
omnicef
omnipaque




                                                                       1675
                                                                        1870
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omnipen-n
omnipred
omniscan
omnitrope
oncaspar
oncovin
ondansetron
onfi
onglyza
onmel
onsolis
ontak
opana
ophthaine
ophthetic
oprelvekin
opticrom
optimark
optimine
optipranolol
optiray
optison
optivar
orabase hca
oracea
oracort
oragrafin calcium
oragrafin sodium
oralone
oramorph
oramorph sr
orap
orapred
oraqix
orasone
oraverse
oravig
orencia
oretic
orfadin
orgaran
orgotein
orinase
orlaam




                                                                       1676
                                                                        1871
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orlex
ornade
orphenadrine
orphengesic
orsythia
ortho cept
ortho cyclen
ortho evra
ortho novum
ortho tri cyclen
ortho tri-cyclen
ortho tricyclen
ortho-cept
ortho-est
ortho-novum
orthoclone
orthoclone okt3
orthovisc
orudis
oruvail
orvaten
oseltamivir
osmitrol
osmoprep
osmovist 190
oticair
otobiotic
otocort
ovcon
ovide
ovidrel
ovinum
ovral
ovral-28
ovrette
oxacillin
oxaliplatin
oxandrin
oxandrolone
oxaprozin
oxazepam
oxcarbazepine
oxecta
oxiconazole




                                                                        1677
                                                                         1872
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oxilan
oxistat
oxsoralen
oxtriphylline
oxy-kesso-tetra
oxybutynin
oxycet
oxycodone
oxycontin
oxydrol
oxymetholone
oxymorphone
oxytocin
oxytrol
ozurdex
pacerone
paclitaxel
palifermin
paliperidone
palivizumab
palladone
palonosetron
pamelor
pamidronate
pamine
pancreaze
pancrelipase
pancuronium
pandel
panitumumab
panixine
panixine disperdose
panmycin
panretin
pantoprazole
paracaine
paracort
paradione
paraflex
parafon
parafon forte dsc
paragard
paragard t 380a
paraplatin




                                                                       1678
                                                                        1873
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parasal
parathar
parcopa
paremyd
paricalcitol
parlodel
parnate
paromomycin
paroxetine
parsitan
paser
pataday
patanase
patanol
pavulon
paxil
paxill
paxipam
pazopanib
pbz-sr
pediamycin
pediapred
pediatric lta kit
pediazole
pediotic
peg-lyte
pegademase
peganone
pegaspargase
pegasys
pegfilgrastim
peginterferon
pegintron
pegvisomant
pemetrexed
pemirolast
pemoline
pen-vee k
penbutolol
penecort
penegra
penetrex
penicillamine
penicillin




                                                                        1679
                                                                         1874
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penlac
pennsaid
penntuss
pentacarinat
pentacel
pentagastrin
pentam
pentamidine
pentasa
pentazocine
pentetate
penthrane
pentobarbital
pentolair
pentosan
pentostatin
pentothal
pentoxifylline
pentoxil
perchloracap
percocet
percodan
perflutren
perforomist
pergolide
pergonal
periactin
peridex
perindopril
periochip
periogard
periostat
perlane
permapen
permax
permitil
perphenazine
persantine
pexeva
pfizerpen
phenazopyridine
phendimetrazine
phenelzine
phenergan




                                                                       1680
                                                                        1875
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phenoxybenzamine
phentermine
phentolamine
phenytek
phenytex
phenytoin
phiso-scrub
phisohex
phoslo
phoslyra
phosphocol p32
phospholine
phospholine iodide
photofrin
phrenilin
physiolyte
physiosol
phytonadione
pilocarpine
pilopine
pilopine hs
pimecrolimus
pimozide
pindolol
pioglitazone
piperacillin
pipracil
pirbuterol
piroxicam
pitavastatin
pitocin
pitressin tannate
placidyl
plaquenil
plasmalyte
platinol
plavix
plegine
plegisol
plenaxis
plendil
plerixafor
pletal
podofilm




                                                                       1681
                                                                        1876
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podofilox
polaramine
polocaine
poly-pred
poly-rx
polycillin
polymox
polytrim
ponstel
poractant
porfimer
portalac
portia pill
portia-28
potaba
potassium phosphate
potiga
pradaxa
pralatrexate
pralidoxime
pramipexole
pramlintide
pramosone
prandimet
prandin
prasugrel
pravachol
pravacol
pravastatin
pravchol
prazepam
praziquantel
prazosin
precedex
precose
pred forte
pred mild
pred-g
predair
prednicarbate
prednisolone
prednisone
prefest
pregabalin




                                                                       1682
                                                                        1877
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pregnyl
prelay
prelone
preludin
premarin
premasol
premphase
prempro
prepidil
prevacare r
prevalite
prevenar 13
previfem
prevnar 13
prevpac
prezista
prialt
priftin
priligy
primacor
primaquine
primaxin
primidone
primsol
principen
prinivil
prinzide
priscoline
prismasol
pristiq
pro banthine
pro-banthine
proair
proair hfa
proamatine
probalan
proben-c
probenecid
probucol
procainamide hcl
procalamine
procan
procanbid
procarbazine




                                                                       1683
                                                                        1878
    CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 1884 of 29843




procardia
prochlorperazine
procomp
procrit
proctocort
proctofoam hc
proctosol
profenal
proferdex
progestasert
proglycem
prograf
proguanil
prohance
proleukin
prolia
prolixin
proloprim
promacta
prometa
promethazine
promethegan
prometrium
pronestyl
propacet 100
propafenone
propantheline
proparacaine
propecia
prophene 65
propine
propofol
propoxyphene
propranolol
propulsid
propylthiouracil
proquin
proquin xr
prosac
proscar
prosol
prosom
prostascint
prostigmin




                                                                       1684
                                                                        1879
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prostin
prostin vr pediatric
protamine
protamine zinc insulin
protirelin
protonix
protopic
protostat
protriptyline
protropin
proventil
provera
proviagra
provigil
provocholine
prozac
prozak
psorcon
pulmicort
pulmolite
pulmozyme
purinethol
pylera
pylori-chek breath test
pyocidin
pyrazinamide
pyridostigmine
pyrimethamine
pyrolite
pytest
q-gesic
qsymia
quadramet
qualaquin
quarzan
quasense
quazepam
quelicin
questran
quetiapine
quetiapine fumarate
quibron-t
quinaglute
quinalan




                                                                        1685
                                                                         1880
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quinapril
quinaretic
quinidex
quinidine
quinine
quinora
quinupristin
quixin
qutenza
qvar
r-gene 10
rabeprazole sodium
radiogardase
raloxifene
raltegravir
ramelteon
ramipril
ranexa
ranibizumab
raniclor
ranolazine
rapaflo
rapamune
raplon
raptiva
rasagiline
rasburicase
rauwiloid
rauwolfia serpentina
raxar
razadyne
rebetol
rebif
reclast
rectiv
refludan
regadenoson
regitine
reglan
regonol
regranex
regular insulin
relafen
relenza




                                                                       1686
                                                                        1881
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relistor
relpax
remeron
remicade
remifentanil
remodulin
remsed
renacidin
renagel
renamin
renese
reno-30
renocal-76
renografin
renografin-60
renoquid
renova
renovue-65
renvela
reopro
repaglinide
reprexain
repronex
requip
rescriptor
rescula
resectisol
reserpine
restasis
restoril
restylane
retapamulin
retavase
reteplase
retin a
retin-a
retin-a micro
retisert
retrovir
revatio
reversol
revex
revia
revlimid




                                                                       1687
                                                                        1882
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reyataz
rezipas
rezira
rezulin
rheumatrex
rhogam
ribasphere
ribavarin
ribavirin
ridaura
rifabutin
rifadin
rifamate
rifampin
rifapentine
rifater
rifaximin
rilonacept
rilutek
riluzole
rimactane
rimadyl
rimantadine
rimexolone
rimonabant
rimso-50
riomet
risedronate
risperdal
risperidone
ritalin
ritodrine hcl
ritonavir
rituxan
rituximab
rivaroxaban
rivastigmine
rivotril
rixubus
rizatriptan
robaxin
robaxisal
robimycin
robinul




                                                                        1688
                                                                         1883
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rocaltrol
rocephin
rocuronium
rofecoxib
roferon
roferon a
roflumilast
romazicon
romidepsin
romiplostim
ropinirole
ropivacaine
rosaderm
rosiglitazone
rosuvastatin
rotarix
rotateq
rowasa
roxicet
roxicodone
roxilox
roxiprin
rozerem
rubex
rubidium
rufinamide
rythmol
ryzolt
sabril
sacrosidase
safyral
saizen
salagen
saleviagraaonline
salmeterol
salofalk
salsalate
saluron
salutensin
samsca
sanctura
sancuso
sandimmune
sandostatin




                                                                       1689
                                                                        1884
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sandril
sangcya
sanorex
sansac
sansert
santyl
saphris
sapropterin
saquinavir
sarafem
sarenin
sargramostim
sarisol no. 2
satric
savella
saxagliptin
scandonest
scanlux-300
sclerosol
scopolamine
sculptra
sealis
seasonale
seasonique
secobarbital
seconal
seconal sodium
secreflo
secretin
sectral
sedapap
seealis
selamectin
selegiline
selfemra
selzentry
semilente
sensipar
sensorcaine
septi-soft
septisol
septocaine
septra
serax




                                                                       1690
                                                                        1885
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serentil
serevent
serivent
seromycin
serophene
seroquel
serostim
seroxat
serpalan
serpasil
sertaconazole
sertraline
serzone
sethotope
sevelamer
sevoflurane
sfrowasa
sibelium
sibutramine
sibutramine hydrochloride
silagra
sildaflo
sildenafil
sildenafilcitrate
sildenifil
silenor
silodosin
silvadene
silversulfadiazine
simcor
simponi
simulect
simvastatin
sincalide
sinecatechins
sinemet
sinequan
singulair
sinografin
sirolimus
sitagliptin
skelaxin
skelid
slo-bid




                                                                       1691
                                                                        1886
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slo-phyllin
sodium hyaluronate
solaquin
solaraze
solifenacin
soliris
solodyn
soltamox
solu-cortef
solu-medrol
solucortef
solumedrol
soma
somatotropin
somatrop
somatropin
somatropinne
somatuline
somatuline depot
somavert
somophyllin
sonata
sonorx
sorafenib
sorbitrate
soriatane
sorilux
sorine
sotalol
sotradecol
sotret
soxazole
sparfloxacin
sparine
spectazole
spectinomycin
spectracef
spectrobid
spiriva
spironolactone
sporanox
sprintec
sprix
sprycel




                                                                       1692
                                                                        1887
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stadol
stalevo
stanabol
stanol
stanozolol
staphcillin
starlix
staticin
statobex
stavudine
stavzor
staxyn
stelara
stelazine
stie-cort
stieprox
stilphostrol
stimate
stocrin
strattera
streptase
streptokinase
streptomycin
streptozocin
striant
strifon forte dsc
stromectol
sublimaze
suboxone
subsys
subutex
succimer
succinylcholine
sucraid
sucralfate
sufenta
sufentanil
sular
sulconazole
sulfacel-15
sulfacetamide
sulfadiazine
sulfair forte
sulfamethoprim




                                                                        1693
                                                                         1888
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sulfamethoxazole
sulfamylon
sulfanilamide
sulfasalazine
sulfatrim
sulfatrim pediatric
sulfinpyrazone
sulfisoxazole
sulindac
sulmeprim pediatric
sulsoxin
sulster
sultrin
sumatriptan
sumavel
sumavel dosepro
sumycin
sunitinib
supartz
supprelin
suprane
suprax
surital
surmontil
survanta
sustiva
sutent
syeda
sylatron
symbicort
symbyax
symlin
symmetrel
synacort
synagis
synalar
synalar-hp
synalgos-dc
synarel
synera
synercid
synthroid
Synthroid
syntocinon




                                                                       1694
                                                                        1889
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synvisc
syprine
sytropin
taclonex
tacrine
tacrolimus
tadacip
tadalafil
tadalis
talacen
talwin
tambocor
tamiflu
tamoxifen
tamoxifen citrate
tamsulosin
tapazole
tapentadol
tarceva
targretin
tarka
tasigna
tasmar
tatum-t
taxol
taxotere
tazarotene
tazicef
tazidime
tazorac
taztia
taztia xt
tecfidera
technelite
technescan
technetium
teczem
teebacin
teflaro
tegaserod
tegison
tegretol
tekamlo
tekturna




                                                                       1695
                                                                        1890
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telavancin
telbivudine
telepaque
telithromycin
telmisartan
temaril
temazepam
temodar
temovate
temozolomide
temsirolimus
tencon
tenecteplase
tenex
teniposide
tenofovir
tenoretic
tenormin
tensilon
tenuate
tequin
terazol
terazosin
terbutaline
terconazole
terfonyl
teril
terra-cortril
terramycin
teslac
teslascan
tessalon
testim
testoderm
testoject
testolactone
testopel
testosterone
testosterone transdermal system
testoviron
testred
tetrabenazine
tetracycline
tetrahydrozoline




                                                                       1696
                                                                        1891
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tetrex
tev-tropin
teveten
texacort
thalidomide
thalitone
thalomid
theelin
theobid
theochron
theolair
theolixir
theophyl
theophylline
thermazene
thioguanine
thioplex
thioridazine
thiosulfil
thiotepa
thiothixene
thorazine
thyrel trh
thyro-block
thyrogen
thyrolar
thytropar
tiagabine
tiamate
tiazac
ticar
ticlid
ticlopidine
tigan
tigecycline
tikosyn
tilade
tiludronate
timentin
timolol
timoptic
tindamax
tinidazole
tiopronin




                                                                       1697
                                                                        1892
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tiotropium
tipranavir
tirofiban
tirosint
tizanidine
tnkase
tobradex
tobramycin
tobrex
tocilizumab
tofranil
tolazamide
tolbutamide
tolcapone
tolectin
tolinase
tolterodine
toluene
tolvaptan
tonocard
topamax
topicort
topiramate
toposar
topotecan
toprol
toprol-xl
toradol
torbugesic
torbutrol
torecan
toremifene
torisel
tornalate
torsemide
tositumomab
totacillin
totect
tovalt odt
toviaz
tracleer
tracrium
tradjenta
traimiadoi




                                                                       1698
                                                                        1893
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tramaden
tramadol
tramadol hydrochloride
tramadolcheap
tramiadioi
trandate
trandolapril
tranxene
tranxene sd
trastuzumab
trasylol
travase
travasol
travatan
travoprost
trazodone
trazodone hydrochloride
treanda
trecator
trelstar
trenbolone acetate
trental
trental sr
treprostinil
tretinoin
trexall
treximet
tri levlen
tri lo sprintec
tri sprintec
tri trenabol
tri-legest fe
tri-luma
tri-previfem
tri-sprintec
triacet
triamcin cream
triamcinolone
triamcinoloneacetonide
triamdioi
triamterene
triaprin
triazolam
tribenzor




                                                                       1699
                                                                        1894
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triclos
tricor
triderm
tridesilon
tridil
tridione
trientine
triesence
trifluoperazine
trifluoperazine hcl
trifluridine
triglide
trihexyphenidyl
trilafon
trilegest
trileptal
trilipix
trilitron
triluma
trilyte
trimethadione
trimethobenzamide
trimethoprim
trimipramine
trimpex
trinalin
triostat
triphasil
triphed
triprevifem
triptorelin
trisenox
trisoralen
trisprintec
tritec
trivaris
trivora
trizivir
trobicin
tromethamine
trophamine
tropicacyl
tropicamide
trospium




                                                                       1700
                                                                        1895
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trovan
truphylline
trusopt
truvada
trysul
tussicaps
tussigon
tussionex
tussionex pennkinetic
twinject
twinrix
twynsta
tygacil
tykerb
tylox
tysabri
tyvaso
tyzeka
tyzine
u-cort
ucephan
ucort
ulesfia
uloric
ultane
ultiva
ultracef
ultracet
ultralente
ultralente insulin
ultram
ultrase mt
ultravate
ultravist
unasyn
unipen
uniphyl
uniretic
unithroid
univasc
ureaphil
urecholine
urese
urex




                                                                       1701
                                                                        1896
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urispas
urokinase
uroplus ds
uroxatral
urso
urso forte
ursodiol
ustekinumab
uvadex
v-cillin
vagifem
valacyclovir
valcyte
valdecoxib
valganciclovir
valisone
valium
valnac
valrubicin
valsartan
valstar
valtrex
valtropin
valturna
vancenase
vanceril
vancocin
vancocin hydrochloride
vancoled
vancomycin
vancomycin hcl
vandazole
vaniqa
vanobid
vanos
vansil
vantas
vantin
vapo-iso
vaprisol
vardenafil
varenicline
vascor
vascoray




                                                                       1702
                                                                        1897
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vaseretic
vasocidin
vasocon
vasotec
vasoxyl
vectibix
vectical
vecuronium
veetids
velaglucerase
velban
velcade
veletri
velivet
velosef
veltin
venlafaxine
venofer
ventaire
ventavis
ventipulmin
ventolin
vepesid
veramyst
verapamil
verdeso
veregen
verelan
veriloid
verluma
vermox
versed
vertavis
verteporfin
vesanoid
vesicare
vesprin
vexol
vfend
viadur
viaggra
viagra
vibativ
vibisone




                                                                       1703
                                                                        1898
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vibra-tabs
vibramycin
vibratabs
vicodin
vicodine
vicoprofen
victoza
victrelis
vidaza
videx
vigabatrin
vigamox
vigora
viibryd
vikodin
vimovo
vimpat
vinblastine
vincristine
vinorelbine
viokase
viomycin
vioxx
vira-a
viracept
viramune
viranet
virazole
viread
virilon
vironate
viroptic
visicol
visionblue
visipaque
visken
vistaril
vistide
visudyne
vitaped
vitrase
vitrasert
vitravene
vivactil




                                                                       1704
                                                                        1899
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vivelle
vivitrol
volmax
voriconazole
vorinostat
vosol
vospire
vospire er
votrient
vpriv
vumon
vusion
vytorin
vyvanse
warfarin
welchol
wellbutrin
westcort
wigraine
wigrettes
wilpo
winstrol
wyamine sulfate
wydase
wygesic
wymox
wytensin
x-trozine
xalatan
xalkori
xanax
xarelto
xeloda
xenax
xenazine
xeneisol
xenical
xeomin
xerese
xgeva
xiaflex
xibrom
xifaxan
xigris




                                                                       1705
                                                                        1900
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xolair
xolegel
xopenex
xtandi
xylo-pfan
xylocaine
xyntha
xyrem
yasmin
yaz
yazmin
yervoy
yutopar
zafirlukast
zagam
zaleplon
zanaflex
zanamivir
zanosar
zarontin
zaroxolyn
zavesca
zebeta
zelapar
zelboraf
zelnorm
zemplar
zemuron
zenapax
zenpep
zerit
zestoretic
zestril
zetia
zevalin
ziac
ziagen
ziana
ziconotide
zidovudine
zileuton
zinacef
zinecard
ziprasidone




                                                                       1706
                                                                        1901
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zipsor
zirgan
zithromax
zocor
zofran
zoladex
zoledronic
zolinza
zolmitriptan
zoloft
zolpidem
zolpidem tartrate
zolpidemtartrate
zolpimist
zometa
zomig
zonalon
zonegran
zonisamide
zopiclone
zorbtive
zortress
zosyn
zovia
zuplenz
zutripro
zyban
zyclara
zydone
zyflo
zylet
zyloprim
zymar
zymaxid
zyprexa
zytiga
zyvox
αλέγκρα
βιάγκρα
κοδεϊνη
λέξαπρο
λίπιτορ
λισινοπρίλη
μπότοξ




                                                                       1707
                                                                        1902
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ξαναξ
ξενικάλ
οξυκοτίνη
ριταλίνη
ταδαφίλη
ταμιφλού
τοπαμάξ
аддералл
аккутан
аллегра
амбиен
арипипразол
ботокс
валиум
виагра
виагре
виагрой
виагру
виагры
викодин
виокс
виторин
вольтарен
декседрин
диован
зетия
зиртек
золофт
касодекс
кодеин
консерта
крестор
ксанакс
ксеникал
ламизил
левитра
лексапро
лизиноприл
липитор
меридиа
напроксен
нексиум
оксикотин
паксил




                                                                      1708
                                                                       1903
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плавикс
превасид
провигил
прозак
риспердал
риталин
сероквель
сиалис
силденафил
сингуляр
синтроид
тадалафил
тамифлю
топамакс
тразодон
трамадол
уелбутрин
фентермин
целебрекс
целекса
‫אדראל‬
‫אלגרה‬
‫בוטוקס‬
‫בוטקס‬
‫דיובאן‬
‫דקסדרין‬
‫ואליום‬
‫ויאגרה‬
‫ויוקס‬
‫ויטורין‬
‫וליום‬
‫זולופט‬
‫טופמקס‬
‫טמיפלו‬
‫לויטרה‬
‫ליפיטור‬
‫נפרוקסן‬
‫סיאליס‬
‫סינגולייר‬
‫פקסט‬
‫פרוזאק‬
‫פרוזק‬
‫קודאין‬
‫קונצרטה‬
‫קסנקס‬
‫רטלין‬



                                                                      1709
                                                                       1904
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‫ריטלין‬
‫ריספרדל‬
‫רסיטל‬
‫רספרדל‬
‫أﻟﯿﺠﺮا‬
‫أﻣﺒﯿﯿﻦ‬
‫ادﯾﺮال‬
‫اﻛﻮﺗﺎﻧﻲ‬
‫اﻟﺒﻮﺗﻮﻛﺲ‬
‫اﻟﺴﯿﻨﺠﻮﻟﯿﺮ‬
‫اﻟﻔﺎﻟﯿﻮم‬
‫اﻟﻔﯿﺎﺟﺮا‬
‫اﻟﻜﻮدﯾﯿﻦ‬
‫ﺑﺎﻛﺴﯿﻞ‬
‫ﺑﺮوزاك‬
‫ﺑﻼﻓﯿﻜﺲ‬
‫ﺗﺎﻣﯿﻔﻠﻮ‬
‫ﺗﺮازودون‬
‫ﺗﺮاﻣﺎدول‬
‫ﺗﻮﺑﺎﻣﺎﻛﺲ‬
‫دﯾﻜﺴﯿﺪرﯾﻦ‬
‫رﯾﺘﺎﻟﯿﻦ‬
‫زاﻧﺎﻛﺲ‬
‫زوﻟﻮﻓﺖ‬
‫زﯾﻨﯿﻜﺎل‬
‫ﺳﯿﺎﻟﯿﺲ‬
‫ﺳﯿﻠﯿﺒﺮﯾﻜﺲ‬
‫ﻓﻮﻟﺘﺎرﯾﻦ‬
‫ﻓﯿﺎﻏﺮا‬
‫ﻓﯿﺘﻮرﯾﻦ‬
‫ﻓﯿﻜﻮدﯾﻦ‬
‫ﻓﯿﻨﺘﺮﻣﯿﻦ‬
‫ﻓﯿﻮﻛﺲ‬
‫ﻛﺮﯾﺴﺘﻮر‬
‫ﻛﻮ‬
‫ﻛﻮﻧﺴﯿﺮﺗﺎ‬
‫ﻟﯿﺒﯿﺘﻮر‬
‫ﻣﺎرﺳﯿﻞ‬
‫ﻣﻮن ﻣﻨﺘﺪﯾﺎت‬
‫ﻣﯿﺮﯾﺪﯾﺎ‬
‫ﻧﺎﺑﺮوﻛﺴﯿﻦ‬
‫ﯾﺎﺳﻤﯿﻦ‬
‫ﯾﺴﯿﻨﻮﺑﺮﯾﻞ‬
‫ﯾﻔﯿﺘﺮا‬
‫ﯾﻜﺴﺎﺑﺮو‬
‫‪คอนเซอตา‬‬




                                                                        ‫‪1710‬‬
                                                                         ‫‪1905‬‬
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คอนเซอต ้า
คอนเซอร ์ต ้า
เครสเตอร ์
เครสเทอร ์
โคดีอน ี
ซาแน็ กซ ์
ซาแน๊กซ ์
ซิงกูแลร ์
ซินทรอยด ์
ซินิคาล
ซิลเดนาฟิ ล
ซิอาลิส
ซีเทีย
ซีโรเควล
ซีลเี บร็กซ ์
ซึนิคาล
เซนิ คาล
เซียลิส
โซลอฟ
โซลอฟต ์
ไซเทค
ไซร ์เท็ก
ไซลอฟต ์
ดีโอแวน
ทราโซโดน
ทรามาดอล
ทาดาลาฟิ ล
ทามิฟลู
แทมิฟลู
โทพาแม็ก
นาโปรเซน
นาพรอกเซน
เน็ กเซียม
โบทอกซ ์
โบท็อกซ ์
โปรแซค
พรีวาซิด
พลาวิกซ ์
เพซิล
แพ็กซิล



                                                                         1711
                                                                          1906
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เฟเตอร ์มีน
เฟนเตอร ์มีน
เมอริเดีย
ยัสมิน
ยาสมิน
แยสมิน
ริตาลิน
ริสเพอดาล
ไรทาลิน
ลามิซลิ
ลิซโิ นพริล
ลิปิเตอร ์
ลิปิทอร ์
เล็กซาโปร
เลวิตร ้า
แวเลียม
โวลทาเรน
โวลทาเรล
ไวโคดิน
ไวโตริน
ไวโทริน
ไวออกซ ์
ไวอะกร ้า
ไวอากร ้า
ไวอาก ้า
ออกซิโคติน
ออกซิโคทิน
อัลเลกรา
อัลเลกร ้า
แอคคิวเทน
แอคคูเทน
แอดแวร ์
แอมเบียน
แอมเบียน
나프록센
넥시움
덱세드린
디오반
라미실



                                                                        1712
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레비트라
렉사프로
리스페달
리시노프릴
리탈린
리피토
메리디아
바륨
바이옥스
바이코딘
바이토린
보톡스
볼타렌
비아그라
세로퀼
셀렉사
시부트라민
시알리스
신트로이드
실데나필
싱귤레어
쎄레브렉스
아빌리파이
알레그라
애더럴
애드베어
야스민
어큐테인
엠비언
웰부트린
자낙스



                                                                        1713
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제니칼
제티아
졸로프트
지르텍
카소덱스
코데인
콘서타
크레스토
타다라필
타미플루
토파맥스
트라마돌
트라조돈
팍실
펜터민
프레바시드
프로비질
프로작
플라빅스
アキュテイン
アデロール
アビリファイ
アレグラ
アンビエン
ウェルブトリン
ウルトラム
オキシコンチン
カソデックス
クレストール
コデイン
コンサータ
ザナックス
シアリス
ジルテック
シルデナフィル



                                                                        1714
                                                                         1909
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シングレア
シンスロイド
ゼチーア
ゼニカル
セレクサ
セレタイド
セレブレックス
セロクエル
ゾロフト
タダラフィル
タミフル
ディオバン
デキセドリン
トパマックス
トラゾドン
トラマドール
ナプロキセン
ネキシウム
バイアグラ
バイオックス
バイコディン
バイトリン
パキシル
バリウム
フェンテルミン
プラビックス
プレバシド
プロザック
プロビジル
ボトックス
ボルタレン
メリディア
ヤスミン
ラミシール
リシノプリル
リスパダール
リタリン
リピトール
レクサプロ
レビトラ
万络




                                                                     1715
                                                                      1910
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专思达
他达拉非
他達拉非
仙特明
代文
优思明
伟哥
依折麥布
依折麦布
依替米貝
依替米贝
偉哥
優思明
兰索拉
兰美抒
利他林
可待因
右旋安非他命
右旋安非它命
奥施康定
妥泰
威克倦
安定
安律凡
安必恩
安立复
安立復
專思達
尔宁
左洛复
帕罗西汀
帕羅西汀
康士得
思特罗德
思特羅德
思瑞康
扶他林
曲唑酮
曲馬多
曲马多
来士普




                                                                     1716
                                                                      1911
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氯吡格雷
沙美特罗
沙美特羅
爾寧
犀利士
百忧解
百憂解
立普妥
維妥力錠
維思通
維柯丁
維甲酸
维妥力锭
维思通
维柯丁
维甲酸
罗苏伐他汀
羅蘇伐他汀
耐信
肉毒素
艾來錠
艾力达
艾力達
艾来锭
艾泽庭
艾澤庭
芬特明
莫达非尼
莫達非尼
萘普生
萬絡
蘭索拉
蘭美抒
西乐葆
西地那非
西樂葆
西酞普兰
西酞普蘭
諾美婷
诺美婷
賴諾普利




                                                                     1717
                                                                      1912
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    賽尼可
    贊安諾
    赖诺普利
    赛尼可
    赞安诺
    达菲
    迪西卷
    達菲
    阿得拉

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    English

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3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar



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17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
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41. 中文（繁體）
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                                                                            1719
                                                                             1914
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o   Verification



o   Change log




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                                                                             1915
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    Unapproved pharmaceuticals and supplements

   360Dreams
   4-AD
   72 Hours
   Afterburn
   Alteril Fast Acting Softgels
   Amour Again
   Amour for him
   APL
   APL
   Apple Slim by Apple Slim
   ArimaDex
   Arom-X
   Arom-X UTT
   Arom-XL
   Arousin
   Body Burn 1000



                                                                                         1722
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   Brain Booster
   C20 Epilepsy Formula
   C55 Neuro Calming Formula
   Cannibal Ferox Amped
   Cannabidiol (CBD)
   Celprotect I
   Charge Extreme Energy Booster
   Chlamydia Venereal Mix Formula
   Clyamax
   Cognition
   Comatose
   Core Burn
   DaiDaiHuaJiaoNang
   Deliverance From Chlamydia Kit
   Deliverance From Gonorrhea
   Deliverance From Herpes Kit
   Depth Charge
   Destroy the Enemy
   Diabetes Brittle Essentials-Kit
   Diabetes Insipidus Essentials-Kit
   DMAAented Anabolic Infusion
   DNPX
   DNP XII
   Dream Body Slimming Capsule
   Dr. Jekyll
   D-Termination 1200
   Elite
   Energy Sparx
   ENGN
   Ephedrex
   Epilepsy Essentials-Kit
   Erexa
   Erexxx
   Erousa
   Finally On Demand
   Fire Bombs
   Freedom from Diabetes Kit
   Freedom from Epilepsy Formula (Epilepsy 1M)
   Freedom from Herpes Kit
   Fruit Plant Lossing Fat Capsule
   fruta planta
   Fully Loaded
   Get Smart
   Gonorrhea Formula




                                                                           1723
                                                                            1918
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   Growth
   Hawthorn
   Health Slimming Coffee
   Herbal Ambien
   Herbal Viagra
   Herbal Xanax
   Herpes Essentials-Kit
   Herpes Optimal-Kit
   HG4 Up
   Hyde V2
   Inferno
   I-Focus
   Ja Dera 100% Natural Weight Loss Supplement
   Jack3d
   KH3
   Kratom
   Lean Body For Her
   Lean Body Hi-Energy Fat Burner
   Leisure 18 Slimming Coffee
   Libiplus
   Lishou
   Lose Weight Coffee
   Love Fuel
   Lumonol
   Magic Slim Tea
   Magic Slim Weight Reduction Capsule
   Mangodrin
   MegaWatt HD
   Mr. Hyde
   Mr. Hyde RTD
   Muscle Mass
   Neuroflexyn
   NeuroPhen
   Neuropump
   Neuro Edge
   Neuro Lean
   Nirvana
   Nitramine
   Noopep
   Noxipro Chrome
   Nox-Pump
   N-nicotinoyl-GABA
   OxyElite Pro
   P57 Hoodia




                                                                           1724
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   Pai You Guo Slim Tea
   Pelargonium
   Phentabz
   PhentraBurn Slimming Capsules
   PhenUltra
   Picamilon
   Picamilon X.Treme
   Picamilon-150
   Picamilon-50
   Pikamilon
   Pikatropin
   Pre-Diabetes Essentials Kit
   Profiderall
   Pump Igniter
   Pycamilon
   Pyroxamine
   Que She
   Rainbow Rocket
   Red Hot Sex
   Riptek V2
   Rockhard
   Sheng Yuan Fang
   Shock'd
   Sleep/GH
   SleepWell (Herbal Xanax)
   Slender Slim 11
   Slim Forte Double Power Slimming Capsules
   Slim Forte Slimming Capsules
   Slim Forte Slimming Coffee
   Slim Xtreme Herbal Slimming Capsule
   Slimming Beauty Bitter Orange Slimming Capsules
   Slimming Factor Capsule
   Spartan Shredding
   Stamin It
   Stamina-Rx
   Staminil
   Stimuloid II
   Straight Up
   strongid
   Super Charge! Xtreme
   Super Charge! Xtreme 4.0
   Super Charge! Xtreme N.O.
   Super Lean 450
   Tacktol




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   Tengda
   Testek
   Topviril
   Turbo Shred
   Turbo 2.0
   Ultimate Punch-ed Out
   Vanish
   Vaxitrol
   Vierect
   Vitamin B 17
   Whatzup
   Xtremexcite
   Zenerect
   Zicam Cold Remedy Swabs, Kids Size

    Related to weight-loss

   2 day diet
   2x powerful slimming
   3 day diet
   3x slimming power
   7 day herbal slim
   7 days diet
   7 diet
   72 hours
   actra sx
   Alcohol Free hCG Weight Loss Formula
   body shaping
   body slimming
   botanical slimming
   cefurax
   celerite slimming capsules
   dream body slimming capsule
   fasting diet
   hCG Diet Drops Weight Loss Formula
   HCG Diet Homeopathic Drops
   hCG Diet Pellets Weight Loss Formula
   HCG Extra Weight Loss Homeopathic Drops
   HCG Fusion 30
   HCG Fusion 43
   HCG Platinum
   HCG Platinum X-14
   HCG Platinum X-30
   Healthily Slim
   herbal viagra



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   herbal xanax
   herbal xenicol
   Homeopathic HCG
   Homeopathic Original HCG
   imelda perfect slim
   libidus
   lida daidaihua
   lipostabil
   lose weight coffee
   meizitang
   nasutra
   p57 hoodia
   palmitin
   pau d arco bark
   perfect slim
   pilex
   reduce weight
   slim 30
   slim up
   slimming beauty bitter orange slimming capsules
   slimming formula
   solo slim extra strength
   stamina rx
   staminil
   starcaps
   super fat burner
   venom hyperdrive 3.0
   viapro
   vitalex
   zhen de shou
   zicam cold remedy nasal gel

    Related to ephedra

   acceleration
   adrenalean
   allerclear
   animal cuts
   anorex
   asia black
   biolean
   black beauty
   black ice
   black knight
   black widow



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   blue slim
   breathe easy
   burn max
   china white
   diet burn
   Dyma-Burn
   Dyma-Burn Xtreme
   Dymetadrine Xtreme
   ECA Fatburner
   eca xtreme
   electricity
   energel
   eph 100
   eph 25
   ephedra
   ephedra sinica
   exn
   extreme power plus
   fastin
   fire starter
   green e
   green stinger
   Herbalife Original Green
   high octane
   hot body
   Hydroxa-7
   Hydroxadrine
   hydroxy ripped
   Hydroxy Stac
   hydroxycut with ephedra
   Hydroylean
   Hydroymax
   isxperia select
   jacked up
   jetfire
   kaizen ephedrine hcl
   kwik burn
   lipotherm
   lipozol
   ma huang ephedra
   Mahuang Herbal Ephedra
   man power
   MataboGold
   Maxadrine




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   md6
   mdd
   meta burn
   Metab-O-Lite
   Metabadrine
   metabolife
   Metabolife EZ Tabs
   metabolite
   Metabosafe
   Metabothin
   mini trim
   Original Metabolife
   over drive
   pe min kan wan
   rage
   real deal
   red devils
   Refresh Green
   ripped force
   stimerex es
   Super Caps
   Super Ephedra Extreme
   Superdrine
   Superdrine RX-10
   thermo speed
   thermo trim
   thermoburn
   Thermogen II
   Thermojetics Original Green
   thermolean
   trim fast
   trim s
   turbo charge
   udep
   ultimate orange
   ultracuts
   venom hyperdrive
   whacked out
   x lean
   xenadrine rfa 1
   yellow bullet
   yellow cross
   yellow haze
   yellow jacket




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   yellow power
   yellow scorpion
   yellow subs
   yellow swarm

    Related to anabolic steroids

   3 ad
   4Ever Fit D-Drol
   6 oxo
   Advanced Muscle Science Dienedrone
   Advanced Muscle Science Liquidrone
   Anabolic Formulation M1, 4AD
   Anabolic Formulations 1, 4 AD
   Anabolic Xtreme 3-AD
   Anabolic Xtreme Hyperdrol X2
   androstenedione
   BCS Labs Testra-Flex
   Competitive Edge Labs M-Drol
   Competitive Edge Labs P-Plex
   Competitive Edge Labs X-Tren
   d drol
   dymethazine
   epi tren
   ergopharm 6 oxo
   finaflex 550 xd
   finaflex ripped
   forged extreme mass
   Gaspari Halodrol Liquigels
   gaspari novedex xt
   Gaspari Novedex XT
   h drol
   Halodrol Liquidgels
   hmg xtreme
   Hyperdrol X2
   iForce 1,4 AD BOLD 200
   iForce Dymethazine
   iForce MethaDROL
   Kilo Sports Massdrol
   Kilo Sports Phera-Mass
   Kilo Sports Trenadrol
   Liquidrone UTT
   m drol
   M-Drol
   m1



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   M1, 4AD
   madol
   Magna Drol
   mass tabs
   mass xtreme
   massdrol
   Massdrol
   Mastavol
   mdit
   MDIT
   methadrol
   MethAnstance
   methastadrol
   Methastadrol
   Methyldrostanolone
   monster caps
   Monster Caps
   Monster Caps
   myogenix spawn
   Myogenix Spawn
   Nasty Mass
   Nutra Coastal D-Stianozol
   Nutra Coastal H-Drol
   Nutra Coastal MDIT
   Nutra Coastal S-Drol
   Nutra Coastal Trena
   ON Cycle II Hardcore
   Oxodrol Pro
   p plex
   P-Plex
   Performance Anabolics Methastadrol
   Performance Anabolics Tri-Methyl X
   Phera-Mass
   Pheravol-V
   Purus Labs E-pol Inslinsified
   Purus Labs Nasty Mass
   Rage RV2
   Rage RV3
   Rage RV4
   Rage RV5
   rapid release
   Redefine Nutrition Finaflex 550-XD
   Redefine Nutrition Finaflex Ripped
   revamp




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   revenge
   Ripped Tabs
   rv2
   rv3
   rv4
   rv5
   s drol
   spawn
   superdrol
   sus 500
   Transform Supplements Forged Extreme Mass
   Transform Supplements Forged Lean Mass
   tren
   tren 250
   tren xtreme
   trena
   trenadrol
   tri methyl x
   turinabol
   x tren



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14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
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33. русский
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36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
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Google Ads Help

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Target ads to geographic locations
Google Ads location targeting allows your ads to appear in the geographic locations
that you choose: countries, areas within a country, a radius around a location, or
location groups, which can include places of interest, your business locations, or tiered
demographics.

Location targeting helps you focus your advertising to help find the right customers for
your business. This specific type of targeting could help increase your return on
investment (ROI) as a result.

Note: Hotel Ads campaigns can't be targeted by radius at this time.

This article explains how location targeting works and how to set it up in your account.

Keep in mind
Location targeting is based on a variety of signals, including users' settings, devices,
and behavior on our platform, and is Google’s best effort to serve ads to users who
meet your location settings. Because these signals vary, 100% accuracy is not
guaranteed in every situation.

As always, you should check your overall performance metrics to help ensure your
settings are meeting your advertising goals and change them accordingly.

Targeting the right locations for your business
Get guidance on choosing the location targets that are most appropriate for your
business.




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Compare location target types: countries, areas within a country, or radius
Location Description                     Types of businesses that      Types of businesses that
target                                   could benefit                 might not benefit
Countries Targeting your ads to a        A national business serving A business that doesn't
          country or multiple            an entire country             serve all regions or cities. In
          countries can be a good idea An online retailer shipping this case, you might target
          if you provide products and worldwide                        individual regions or cities
          services to those large areas. An international business instead.
          Targeting entire countries selling to several countries
          allows you to receive more
          ad exposure than you would
          by targeting a few
          individual cities or regions
          within a country.
Areas     Consider using more precise A business that serves a         A business that is trying to
within a targeting if your business local neighborhood                 reach most of the regions in
country doesn't serve all regions or A business with special           a country, with just a few
          cities, or you'd like to focus offers in selected locations exceptions (say, all of the
          your advertising efforts on A business selling products U.S. except for Alaska). In
          certain areas within a         in selected regions or cities this case, it might be better
          country. Depending on the                                    to target the whole country,
          country, you can target                                      and then exclude the other
          regions, cities, or postal                                   areas.
          codes.
Radius Radius targeting (also            A business that delivers      A business that only wants
around a known as proximity              within a selected radius      to reach specific cities,
location targeting or "Target a          A local business whose        regions, or countries.
          radius") allows you to         customer base is within a
          choose to show your ads to radius around the business
          customers within a certain
          distance from your business,
          rather than choosing
          individual cities, regions, or
          countries.
Tips for choosing the right locations for your business

Set up location targeting

Click an option below for location targeting instructions. Keep in mind that available
location target types vary by country.

Suggested time for task: 5-7 minutes




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    Note: Google Ads only permits targeting for locations that adhere to minimum privacy
    thresholds where minimum area and minimum user counts are met. If your desired
    location target does not adhere to these privacy thresholds, then you will not be able to
    target it in the Google Ads interface.
    How to reach audiences in entire countries
    How to reach audiences in areas within a country
    Set location targeting for multiple campaigns at once
    How to target a radius around a location

    Advanced: Targeting multiple locations in bulk
    Google Ads allows you to add a bulk list of up to 1000 location targets at a time, rather
    than adding each location one-by-one. We also offer tools for bulk editing. Click an
    option below to find out more.

    How to add multiple location targets in bulk
    How to target multiple locations across campaigns
    Attribute                  Specification                            Sample Values
    Address line 1             The complete and exact street address 43 River Street
                               for the location (80 characters
                               maximum).
    Address line 2             The mailbox or suite number, if          B3
                               needed (80 characters maximum).
    City                       The location’s city.                     San Francisco
    State/province             The location’s state or province.        California
    Postal code                The location’s postal code. If it begins 94102
                               with zero, make sure that your
                               spreadsheet formatting doesn’t
                               remove the zero as the first digit.
    Country                    The country code. You can also use US
                               the ISO 3166-1 alpha-2 country code.
    Other bulk editing options

    Related links

   Exclude ads from selected geographic locations
   About advanced location options
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   About ad reach
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   Location target types by country
   Refine your location targeting
   Target customers near an address with location extensions

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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



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    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
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                                                  Platform Monitoring
                                                  Brand Monitoring
                                          o CERTIFICATION
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                                                  CBD Certification
                                                  Healthcare Merchant Certification
                                          o RESEARCH AND DATA
                                                  Investigations
                                                  Database Lookups
                                                  Global Product Review
                                      Solutions
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                                                  Acquirers & Payment Service Providers
                                          o GOVERNMENT
                                                  Government & Law Enforcement
                                          o HEALTHCARE
                                                  Addiction Treatment Facilities
                                                  CBD Manufacturers & Merchants
                                                  Pharmacy & Telemedicine Merchants
                                                  Supplement Merchants
                                          o INTERNET
                                                  Internet Platforms
                                                  Businesses Looking to Protect Their Brand
                                                  Registrars/Registries
                                          o OTHER
                                                  General Public
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                                                  Blog
                                                  Newsletter
                                                  Videos
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                                          o REPORT
                                                  Report a Website
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Knowledge Partner Webinar Series
Attend four one-hour webinars to learn risk and compliance best practices on the hottest topics in payments from the industry’s leading experts.


REGISTER NOW




                                                                                                                                         1748
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Merchant Portfolio Risk Grader
LegitScript’s free, all-new tool delivers payments risk and compliance professionals visibility into how onboarding new industries will impact their
merchant portfolio risk in just minutes.


TRY IT NOW




                                                                                                                                           1750
                                                                                                                                            1945
                                          CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 1951 of 29843



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                                                                                                                                                           1946
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Global Product Review for Supplements
Confidently grow your supplement business in online marketplaces with Global Product Review, a valuable new service from LegitScript that
benefits both supplements merchants and e-commerce platforms.


LEARN MORE




                                                                                                                                     1752
                                                                                                                                      1947
                                          CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 1953 of 29843



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Stay Informed
Keep up to date with all the latest industry news and insights — from new drug regulations and industry reports to high-risk payment trends.
Subscribe to the blog and get notified about new articles, hot off the press from LegitScript experts.


SIGN UP




                                                                                                                                        1754
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Knowledge Partner Webinar Series
Attend four one-hour webinars to learn risk and compliance best practices on the hottest topics in payments from the industry’s leading experts.


REGISTER NOW
1
2
3
4




Check Website Legitimacy


Check Healthcare Product Legitimacy




VERIFY


SEARCH

                                             Confident Compliance
         At LegitScript, our mission is to make the internet and payment
          ecosystems safer and more transparent — now and for future
              generations. Learn more about what we do and why.

                      LegitScript Monitors 9,628,533 Websites and Merchants

                                                                   86,170

                                                       are internet pharmacies

                                                                   21,925

                                                      are supplement websites

                                                                    8,229

                                                 are psychoactive high websites

                                                                9,512,209



                                                                                                                                         1756
                                                                                                                                          1951
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                                                                                                                                                          are other merchants

News & Updates
Labor Day Sales Can Boost Drop-shipping Chargebacks

Labor Day weekend is one of the biggest for sales in the United States. These bargains
traditionally include big-ticket items such as appliances and mattresses, but now also include
smaller items such as backpacks, clothes, and school supplies as kids get ready to return to the
classroom. These smaller, mass-produced items are perfect for online…
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




By LegitScript Folks on August 31, 2021
Merchant Monitoring

This “Legal” THC Is Popping Up in Merchant Portfolios

Growing consumer interest and shifting federal regulatory priorities on the cannabis industry
have led to merchants capitalizing on certain market ambiguities. LegitScript has observed a
growing trend of merchants offering products marketed as containing delta-8 THC, an isomer of
the cannabis plant’s most well-known and primary psychoactive compound, delta-9-
tetrahydrocannabinol (delta-9 THC). Starting in 2020, LegitScript…
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




By LegitScript Folks on August 12, 2021
Merchant Monitoring

With Travel Increasing, so Are Chargeback Risks for Payment Service Providers




                                                                                                                                                                                1757
                                                                                                                                                                                 1952
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Summer is peak travel season and typically one of the busiest times of year for airlines, resorts,
and other travel and entertainment businesses with many moving parts. That’s especially true this
year, as generally lower levels of COVID-19 cases paired with pent-up demand are yielding
travel volume equal to and in some cases greater than…
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




By LegitScript Folks on July 20, 2021
Merchant Monitoring
VISIT THE BLOG

Get the Latest News

*
Your business email:
*
Country:
          Select...




Submit



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                                                           Disclaimer
                                                           Accessibility

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                                                                                                                                                          1758
                                                                                                                                                           1953
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[Guide]
[Guide]
This website uses cookies. Some of the cookies used are essential for parts of the site to operate.
Please see our privacy policy for more details. Accept
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display ed. The file may hav e been   display ed. The file may hav e been
mov ed, renamed, or deleted. Verify   mov ed, renamed, or deleted. Verify
that the link points to the correct   that the link points to the correct
file and location.                    file and location.




                                                                                                         1759
                                                                                                          1954
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Google Ads Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next
Help CenterCommunityAnnouncements


Eligible (limited): Definition
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

A status given to ads that comply with our policies but are limited in where and when
they can show.

An ad will be marked "Eligible (limited)" when Google Ads policies (common examples
include Alcohol, Copyrights, Gambling, Healthcare, and Trademarks) prevent certain
types of ads from showing in certain regions, to certain ages, or on certain devices. Ads
won’t show on mobile devices if the destination performs poorly on mobile devices.

Learn more

Enable the Policy Details column to see why an ad is Eligible (limited)

About the ad review process

Give feedback about this article
Choose a section to give feedback on

                                     Was this helpful?
                                         YesNo




                                                                                     1760
                                                                                      1955
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                                            Submit
                                    Need more help?
            Sign in for additional support options to quickly solve your issue
                                            Sign in
    Glossary
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   About top and absolute top metrics
   About URL parameters
   Account budget
   Active View
   Actual cost-per-click (CPC): Definition
   Ad delivery options
   Ad extensions
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   Ad group default bids
   Ad group: Definition
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   ©2021 Google
   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk




                                                                            1765
                                                                             1960
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20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates




                                                                            1766
                                                                             1961
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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service




                                                                            1767
                                                                             1962
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   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info




                                                                                   1768
                                                                                    1963
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Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1769
                                                                                 1964
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Advertising Policies Help

Sign in
                                                Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Alcohol
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We abide by local alcohol laws and industry standards, so we don’t allow certain kinds
of alcohol-related advertising, both for alcohol and drinks that resemble alcohol. Some
types of alcohol-related ads are allowed if they meet the policies below, don’t target
minors, and target only countries that are explicitly allowed to show alcohol ads.

Learn about what happens if you violate our policies. If you think your ad was incorrectly
disapproved, you can request a review through the Disapproved ads and policy
questions form.

Alcohol sale
      We consider ads to be promoting the sale of alcoholic beverages when
      one or more alcoholic beverages are featured in the ad, and alcohol can be
      purchased on the destination site or app.
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Allowed: We allow advertising for the online sale of alcoholic
      beverages to run in the countries below.

      Countries that allow such ads




                                                                                     1770
                                                                                      1965
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    Albania               Germany     Panama
    Argentina             Ghana       Peru
    Australia             Greece      Philippines
    Austria               Hong Kong Portugal
    Belgium               Hungary     Puerto Rico
    Bosnia and HerzegovinaIceland     Romania
    Brazil                Ireland     Senegal
    Bulgaria              Israel      Singapore
    Cambodia              Italy       Slovakia
    Canada                Japan       South Africa
    Chile                 Kenya       Spain
    Colombia              Latvia      Sweden
    Costa Rica            Luxembourg Switzerland
    Cyprus                Malta       Uganda
    Czech Republic        Mexico      Ukraine
    Denmark               Montenegro United Kingdom
    Estonia               Netherlands United States
    France                New ZealandUruguay
                          Nigeria
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




         Promoting the sale of alcoholic beverages with a volume of below
    certain percent. The advertiser should indicate the highest alcohol by
    volume (ABV) on the landing page.

    Countries that allow such ads
    Ecuador (5% or less alcohol)
    India (0% alcohol)
    Indonesia (0% alcohol)
    Vietnam (less than 5.5% alcohol)
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




         Not allowed: Advertising for the online sale of alcoholic beverages is
    not allowed to run in any countries not listed above. If your campaign
    targets only countries that aren't listed, your ad will be disapproved.

Alcohol information
    Branding and informational ads include promotions which focus on
    alcoholic beverages, or spread awareness of alcoholic beverages, but
    which do not offer them for online sale.
     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




        Allowed: We allow brand or informational advertising for alcoholic
    beverages to run in the countries below:




                                                                                  1771
                                                                                   1966
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          Countries that allow such ads
          Albania               Germany     Paraguay
          Argentina             Ghana       Peru
          Australia             Greece      Philippines
          Austria               Honduras Portugal
          Belgium               Hong Kong Puerto Rico
          Bosnia and HerzegovinaHungary     Romania
          Bolivia               Iceland     Senegal
          Brazil                Ireland     Singapore
          Bulgaria              Israel      Slovakia
          Cambodia              Italy       South Africa
          Canada                Japan       South Korea
          Chile                 Kenya       Spain
          Colombia              Latvia      Sweden
          Costa Rica            Luxembourg Switzerland
          Cyprus                Malta       Taiwan
          Czech Republic        Mexico      Uganda
          Denmark               Montenegro Ukraine
          Dominican Republic    Netherlands United Kingdom
          El Salvador           New ZealandUnited States
          Estonia               Nicaragua Uruguay
          France                Nigeria     Venezuela
                                Panama
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




              Brand or informational advertising for alcoholic beverages with a
          volume of below certain percent. The advertiser should indicate the
          highest alcohol by volume (ABV) on the landing page.

          Countries that allow such ads
          Ecuador (5% or less alcohol)
          India (0% alcohol)
          Indonesia (0% alcohol)
          Vietnam (less than 5.5% alcohol)
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




              Not allowed: Brand or informational advertising for alcoholic
          beverages is not allowed to run in any countries not listed above. If your
          campaign targets only countries that aren't listed, your ad will be
          disapproved.
   Troubleshooter: Alcohol targeting

1. Read the policy above to see the types of alcohol-related content that we don't allow as
   well as country-specific restrictions for places that your campaign targets.
2. Target a different location. If your ad meets the basic policy requirements but not those
   for the countries that your campaign targets, you can choose to edit your location



                                                                                       1772
                                                                                        1967
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   targeting to run your ads somewhere else where they do meet our requirements. Once
   you target your campaign only to acceptable locations, please request a review of your
   disapproved ads, and we'll check if they can start running:
   Request a review

   Or, if it's important to keep targeting your existing locations, follow the steps below to
   make your ad and site or app comply.
3. Change your ad's landing page. If your ad leads to content that violates this policy, edit
   the landing page to make it comply. Once you've fixed the violation, resubmit your ad
   using the steps below.

   Or, you can change your final URL to point to another part of your website or app that
   doesn't violate this policy.
4. Remove that content from your ad. If your ad violates this policy, please edit it to make
   it comply.
   Take me to my account
           On your Ads tab, hover over the ad you want to edit.
           Click the pencil icon next to your ad to edit it.
           Click Save when you're done.

   Once you edit and save your ad, it gets sent to us for review. Most ads are reviewed
   within 1 business day, though some can take longer if they need a more complex
   review. If we find that you've removed the unacceptable content from your ad and
   landing page, we can approve your ad to start running. If you've made changes to fix
   certain kinds of violations, you might be able to resubmit your entire campaign for
   review.

           On your Ads tab, look at the "Status" column. Hover over the white speech
            bubble next to "Disapproved."
                    The
                    link ed
                    image
                    cannot
                    be
                    display




           Click "Resubmit my campaign for review." Remember that this link will
            appear only if your ad was disapproved for certain violations.
           Follow the on-screen instructions to resubmit the eligible disapproved ads
            in your campaign.

   If you aren't able to fix these violations, or you choose not to, please remove your ad to
   help prevent your account from becoming suspended in the future for having too many
   disapproved ads.

   Irresponsible alcohol advertising
            We consider the following to be irresponsible in alcohol-related
            advertising, and any ads containing this content will be disapproved.




                                                                                         1773
                                                                                          1968
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Targeting individuals below the legal drinking age in any country
      where you want your ads to serve
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Implying that drinking alcohol can improve social, sexual,
      professional, intellectual, or athletic standing
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Implying that drinking alcohol provides health or therapeutic benefits

                                              Example (non-exhaustive): “A wine a day keeps the doctor
                                              away”


       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Portraying excessive drinking favorably or featuring binge or
      competition drinking
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Showing alcohol consumption in conjunction with the operation of a
      vehicle of any kind, the operation of machinery, or the performance of any
      task requiring alertness or dexterity

      Troubleshooter: Irresponsible alcohol advertising

   1. Fix the ad’s destination. Remove any content prohibited by this policy. If
      you can’t fix the ad’s destination, update the ad with a new destination that
      complies with this policy.
   2. Edit the ad. Remove any content that we don’t allow. If your ad already
      complies with the policy but you made changes to the ad’s destination,
      edit the ad and save it. This will resubmit the ad and its destination for
      review.

      Most ads are reviewed within 1 business day, though some can take
      longer if they need a more complex review.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Effect of the policy




                                                                                                                      1774
                                                                                                                       1969
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If your ad meets the requirements above and gets reviewed, here are details of how it
can run:

Country
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      See the requirements above to learn where certain kinds of alcohol ads can and cannot run.

                                       If your ad campaign targets only countries where we don't allow these ads, your
                                        ad will be labeled "Disapproved" and won't run at all.
                                       If your ad campaign targets allowed and disallowed countries, your ad will be
                                        labeled "Eligible (limited)" and won't run in the disallowed countries (but can run
                                        in the allowed countries).

Ad platform
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Can run alcohol ads:

                                       Google Ads
                                       YouTube (Alcohol advertisers
                                        who wish to use an age gate on
                                        their homepage, brand channel,
                                        and/or video may do so under our
                                        age gate policies)
                                       AdMob
                                       Google Ad Manager

Ad network
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Google Search: Alcohol ads can show on
Google and our Search Network. However, if
someone has enabled the SafeSearch feature,
they will not see this type of ad.
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Display network: Alcohol ads can show in
certain countries on partner properties (through
AdSense and AdMob) that have opted-in to
show such content. Learn more
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     AdX Seller network: Alcohol ads can show
in certain countries on partner sites that have
opted-in to show such content. Learn more
Ad formats
Acceptable ad formats can vary depending on factors such as the platform you're using, the
status of your ad, and whether a publisher or partner has opted to show such ads. Here are some




                                                                                                                              1775
                                                                                                                               1970
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    typical examples, though they may vary:
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Cannot promote alcohol:

                                           Gmail ads
                                           Reservation display ads
                                           Consumer ratings annotations
                                           Dynamic search ads


    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                                                           Was this helpful?
                                                                               YesNo




                                                                               Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation



                                                                                                             1776
                                                                                                              1971
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   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe




                                                                            1777
                                                                             1972
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30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




                                                                            1778
                                                                             1973
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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions



                                                                            1779
                                                                             1974
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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1780
                                                                                 1975
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Advertising Policies Help

Sign in
                                                               Send feedback on...

This help content & information

General Help Center experience
                                                                                                               Next


Gambling and games
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We support responsible gambling advertising and abide by local gambling laws and
industry standards, so we don’t allow certain kinds of gambling-related advertising.
Gambling-related ads are allowed if they comply with the policies below and the
advertiser has received the proper AdWords certification. Gambling ads must target
approved countries, have a landing page that displays information about responsible
gambling, and never target minors. Check local regulations for the areas you want to
target.

Below are some examples of gambling-related content that we allow only under certain
conditions.

Offline gambling
          The linked image cannot
          be display ed. The file
          may have been mov ed,
          renamed, or deleted.
          Verify that the link




                                       Promotion of physical, real-money gambling activity or establishments
          points to the correct file
          and location.




                                          Examples: "Brick and mortar casinos” in Las Vegas or
                                          Macau, entertainment event at casinos, streaming of offline
                                          poker tournaments




                                                                                                               1781
                                                                                                                1976
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Online gambling
If you want to advertise for online gambling, you must be certified by Google. Learn how
to apply for certification.
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




                                    Promotion of online, real-money gambling
       points to the correct file
       and location.




                                       Examples: Online casinos or bookmakers, bingo or slots
                                       sites or apps, online lottery ticket or scratch card purchase,
                                       online sports betting, games played with virtual currencies or
                                       items that have real-world value
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




        Promotion of sites that contain or link to content relating to online
       points to the correct file
       and location.




      gambling

                                       Examples: Promotional products such as vouchers or bonus
                                       codes; educational materials such as tutorials or e-books;
                                       software such as poker odds calculators; other gambling-
                                       related information including tips, odds, handicapping, and
                                       sports picks; aggregator or affiliate sites that promote
                                       gambling-related content

Online non-casino games
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




         Any internet-based game where money or other items of value are paid
       points to the correct file
       and location.




      or wagered in exchange for the opportunity to win real money or prizes
      based on the outcome of the game

                                       Examples: Fantasy sports, online chess tournaments, or
                                       "match-three" video games played for money or prizes

Social casino games
Social casino game ads are allowed if they comply with the policies below and the
advertiser has received the proper Google Ads certification. Social casino game ads
must target approved countries and should not appeal to minors. Check local
regulations for the areas you want to target.
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




         Promotion of social casino games, which are online simulated
       points to the correct file
       and location.




      gambling games where there is no opportunity to win anything of value,
      such as money or prizes.




                                                                                                        1782
                                                                                                         1977
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For social casino game ads and destinations, the following is not allowed:
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Social casino game destinations that offer gambling or games where
       the opportunity exists to win real money or prizes based on the outcome
       of the game.
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Promotion of "real money gambling" destinations. This includes
       gambling-related advertisements that appear on your social casino games
       destination.

Gambling country restrictions
In addition to the requirements above, there may be further restrictions based on which
countries your campaign targets. Check for restrictions by country, below. If a country
isn't listed, it means Google Ads currently does not support gambling advertising in that
country.

See country requirements
Asia-Pacific
Product Allowed?       Details
                     The link ed image cannot be
                     display ed. The file may hav e been




Mahjong                Google doesn't allow the promotion of Mahjong when the exchange of
                     mov ed, renamed, or deleted. Verify
                     that the link points to the correct
                     file and location.




             Not       money is involved.
        allowed
Australia
Product        Allowed?         Details                    The linked image cannot be
                                                           display ed. The file may hav e been




Online                          Google allows ads promoting the following online gambling as
                                                           mov ed, renamed, or deleted. Verify
                                                           that the link points to the correct
                                                           file and location.




gambling            Allowed long as the advertiser is a licensed operator registered with an
               with limitations appropriate Australian State or Territory and provides a valid
                                license:

                                                                                                 Sports betting
                                                                                                 Lotteries

                                                                            Advertisers must also be certified with Google. See how to
                                                                            apply.
                                                           The linked image cannot be
                                                           display ed. The file may hav e been




Online                                                                      Google allows ads promoting the following gambling-related
                                                           mov ed, renamed, or deleted. Verify
                                                           that the link points to the correct
                                                           file and location.




gambling                                                        Allowed products as long as the advertiser is a licensed operator
information                                                with limitations registered with an appropriate Australian State or Territory and
                                                                            provides a valid license:

                                                                                                 Gambling-related promotional materials such as vouchers and
                                                                                                 bonus codes




                                                                                                                                                         1783
                                                                                                                                                          1978
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                                                              Gambling-related tutoring and educational materials such as
                                                              books and e-books
                                                              Gambling-related information such as tips, odds, and
                                                              handicapping

                                                              Advertisers must also be certified with Google. See how to
                                                              apply.
Austria
Product     Allowed?     Details
            The link ed image cannot be
            displayed. The file may have been




Online                   Google allows ads promoting the following online gambling
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




gambling         Allowed products as long as the advertiser is licensed by the Austrian Ministry
            with         of Finance according to all applicable regulations in Austria and, in
            limitations the case of sports betting, also provides a valid sports betting permit
                         number issued by the state government in at least one State of
                         Austria according to all applicable regulations in Austria.

                                                          Online gambling
                                                          Online bingo
                                                          Sports betting
                                                          Online casino games

                         Advertisers must also be certified with Google. See how to apply.
            The link ed image cannot be
            displayed. The file may have been




Gambling-                Google allows ads promoting the following gambling-related
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




related          Allowed products as long as the advertiser is licensed according to all
products    with         applicable regulations in Austria and, in the case of sports betting,
            limitations provides a valid sports betting permit number issued by the state
                         government in at least one State of Austria according to all
                         applicable regulations in Austria.

                                                          Gambling-related promotional products such as gambling-related
                                                          vouchers, bonus codes, etc.
                                                          Gambling-related tutoring and educational materials such as books
                                                          and e-books
                                                          Gambling-related information such as tips, odds, and handicapping
                                                          Gambling-related lotteries

                                                          Advertisers must also be certified with Google. See how to apply.
Belgium
Product       Allowed?     Details
                    The linked image cannot be
                    display ed. The file may hav e been




Online                     Google allows ads promoting the following online gambling
                    mov ed, renamed, or deleted. Verify
                    that the link points to the correct
                    file and location.




gambling           Allowed products as long as the advertiser is a company registered in
              with         Belgium, and if the online gambling activity requires a license, the
              limitations  advertiser provides a valid license number:

                                                            Online gambling
                                                            Online bingo




                                                                                                                           1784
                                                                                                                            1979
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                                                                                                         Sports betting
                                                                                                         Online casino games
                                                                                                         Online gambling comparison sites as long as no online gambling
                                                                                                         takes place on the aggregator site

                                                 Advertisers must also be certified with Google. See how to apply.
                                          The linked image cannot be
                                          display ed. The file may hav e been




Gambling-                                        Google allows ads promoting the following gambling-related
                                          mov ed, renamed, or deleted. Verify
                                          that the link points to the correct
                                          file and location.




related                                  Allowed products as long as the advertiser is a company registered in
products                            with         Belgium, and if the relevant online gambling activity requires a
                                    limitations  license, the advertiser provides a valid license number:

                                                                                                         Gambling-related promotional products such as gambling-related
                                                                                                         vouchers, bonus codes, etc.
                                                                                                         Gambling-related tutoring and educational materials such as books
                                                                                                         and e-books
                                                                                                         Gambling-related information such as tips, odds, and handicapping
                                                                                                         Gambling-related lotteries

                                                                                                         Advertisers must also be certified with Google.
Brazil
Product Allowed?
            The linked image cannot be
                                                                                                      Details
            display ed. The file may hav e been




Online                                                                                                Google allows ads promoting the following online gambling content as
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




gambling      Allowed                                                                                 long as they are licensed by the Brazilian gambling authorities:
         with
         limitations                                                                                  Lotteries
                                                                                                      Horse racing
                                                                                                      Sites that provide information about or a comparison of other
                                                                                                      gambling services licensed in Brazil, but do not themselves provide
                                                                                                      gambling activities that require a license. These sites may provide
                                                                                                      links to gambling services not operated or controlled by the
                                                                                                      aggregator.

                                                                                                      Advertisers must also be certified with Google. See how to apply.
Bulgaria
Product         Allowed?                                        The link ed image cannot be
                                                                display ed. The file may hav e been
                                                                                                              Details
Online gambling                                                                                               Google allows ads promoting the following online gambling
                                                                moved, renamed, or deleted. Verify
                                                                that the link points to the correct
                                                                file and location.




                     Allowed                                                                                  content as long as they are licensed by the Bulgarian
                with limitations                                                                              gambling authorities:

                                                                                                              Online gambling
                                                                                                              Online bingo
                                                                                                              Online casino games
                                                                                                              Sports betting

                                                                                                              Advertisers must also be certified with Google. See how to
                                                                                                              apply.




                                                                                                                                                                       1785
                                                                                                                                                                        1980
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                           The link ed image cannot be
                           display ed. The file may hav e been




Gambling-                             Google allows ads promoting the following gambling-related
                           moved, renamed, or deleted. Verify
                           that the link points to the correct
                           file and location.




related products          Allowed     products as long as they are licensed by the Bulgarian
                     with limitations gambling authorities:

                                                                                          Gambling-related tutoring and educational materials such as
                                                                                          books and e-books
                                                                                          Gambling-related information such as tips, odds, and
                                                                                          handicapping
                                                                                          Gambling-related promotional products such as gambling-
                                                                                          related vouchers, bonus codes, etc.
                                                                                          Gambling-related lotteries

                                                                                          Advertisers must also be certified with Google. See how to
                                                                                          apply.
Canada
Product         Allowed?          Details     The link ed image cannot be
                                              displayed. The file may have been




Online gambling                   Google allows ads promoting the following online
                                              mov ed, renamed, or deleted. Verify
                                              that the link points to the correct
                                              file and location.




                     Allowed with gambling products by state-licensed entities:
                limitations
                                  Online gambling
                                  Online bingo
                                  Sports betting
                                  Online casino games

                                   Advertisers must also be certified with Google. See how
                                   to apply.  The link ed image cannot be
                                              displayed. The file may have been




Gambling-related                   Google allows ads promoting the following gambling-
                                              mov ed, renamed, or deleted. Verify
                                              that the link points to the correct
                                              file and location.




products              Allowed with related products by state-licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                                                                               Advertisers must also be certified with Google. See how
                                                                                               to apply.
China
Product         Allowed?
                   The link ed image cannot be
                   displayed. The file may have been
                                                                                    Details
Gambling-                                                                           Google doesn't allow the following gambling-related content:
                   mov ed, renamed, or deleted. Verify
                   that the link points to the correct
                   file and location.




related content      Not
                allowed                                                             Brick and mortar casinos
                                                                                    Physical gambling equipment




                                                                                                                                                   1786
                                                                                                                                                    1981
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                                The link ed image cannot be
                                displayed. The file may have been




Online non-                                                              Google doesn't allow advertising for Internet-based games where
                                mov ed, renamed, or deleted. Verify
                                that the link points to the correct
                                file and location.




casino games                   Not                                       money or other items of value are paid or wagered to win a greater
                          allowed                                        sum of money or other item of value.
Colombia
Product        Allowed? Details
               The linked image cannot be
               display ed. The file may hav e been




Gambling-               Google allows ads promoting the following online gambling content as
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




related                 long as the advertiser is registered with the Colijuegos and provides a
content        Allowed valid license:

                                                                      Slot or chance machines
                                                                      Roulette
                                                                      Black Jack
                                                                      Baccarat
                                                                      Bingo
                                                                      Poker
                                                                      Sports betting and fantasy sports games
                                                                      Sites that provide information about -- or a comparison of -- other
                                                                      gambling services licensed in Colombia, but do not themselves provide
                                                                      gambling activities that require a license. They may provide links to
                                                                      gambling services not operated or controlled by the aggregator.

                                                                      Advertisers must also be certified with Google. See how to apply.
Croatia
Product        Allowed?     Details
                 The link ed image cannot be
                 displayed. The file may have been




Online                      Google allows ads promoting the following online gambling
                 moved, renamed, or deleted. Verify
                 that the link poin ts to the correct
                 file and location.




gambling            Allowed content as long as they are licensed by the Croatian gambling
               with         authorities:
               limitations
                            Online gambling
                            Online bingo
                            Online casino games
                            Sports betting
                            Sites that provide information about or a comparison of other
                            gambling services, but do not themselves provide gambling
                            activities that require a license. These sites may provide links to
                            gambling services not operated or controlled by the aggregator.

                            Advertisers must also be certified with Google. See how to apply.
                 The link ed image cannot be
                 displayed. The file may have been




Gambling-                   Google allows ads promoting the following gambling-related
                 moved, renamed, or deleted. Verify
                 that the link poin ts to the correct
                 file and location.




related             Allowed products as long as they are licensed by the Croatian gambling
products       with         authorities:
               limitations
                            Gambling-related tutoring and educational materials such as books
                            and e-books
                            Gambling-related information such as tips, odds, and handicapping




                                                                                                                                          1787
                                                                                                                                           1982
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                                                                              Gambling-related promotional products such as gambling-related
                                                                              vouchers, bonus codes, etc.
                                                                              Gambling-related lotteries

                                                                              Advertisers must also be certified with Google. See how to apply.
Czech Republic
Product         Allowed?                The linked image cannot be
                                                                                    Details
                                        display ed. The file may hav e been




Online gambling                                                                     Google allows ads promoting the following online gambling
                                        mov ed, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                     Allowed                                                        content as long as they are licensed by the Czech gambling
                with limitations                                                    authorities:

                                                                                    Online bingo
                                                                                    Lotteries
                                                                                    Online casino games
                                                                                    Sports betting

                                                                                    Advertisers must also be certified with Google. See how to
                                        The linked image cannot be
                                                                                    apply.
                                        display ed. The file may hav e been




Gambling-                                                                           Google allows ads promoting the following gambling-related
                                        mov ed, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




related products                       Allowed                                      products by state licensed entities:
                                  with limitations
                                                                                    Gambling-related tutoring and educational materials such as
                                                                                    books and e-books
                                                                                    Gambling-related information such as tips, odds, and
                                                                                    handicapping
                                                                                    Gambling-related promotional products such as gambling-
                                                                                    related vouchers, bonus codes, etc.

                                                                                    Advertisers must also be certified with Google. See how to
                                                                                    apply.
Denmark
Product       Allowed?
               The link ed image cannot be
               display ed. The file may hav e been
                                                             Details
Online                                                       Google allows ads for the following types of online gambling as
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling                                             Allowed long as the operator is licensed by the Danish Gambling Authority:
              with
              limitations                                                     Location-based gambling
                                                                              Online casino games
                                                                              Online betting
                                                                              Sports betting
                                                                              Fantasy sports contests
                                                                              Slot machines
                                                                              Gambling-related information such as tips, odds, and handicapping
                                                                              Gambling-related promotional products such as gambling-related
                                                                              vouchers, bonus codes, etc.




                                                                                                                                           1788
                                                                                                                                            1983
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                                                                                                Gambling-related tutoring and educational materials such as books
                                                                                                and e-books

                                                                                                Advertisers must also be certified with Google. See how to apply.

                                                             Advertisers who provide information about, or a comparison of,
                                                             gambling services, but do not themselves provide gambling
                                                             activities that require a license can also apply, but must only link to
               The link ed image cannot be
                                                             the sites of licensed operators.
               display ed. The file may hav e been




State-operated                                               Google allows licensed state operators to advertise the following
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




online                                               Allowed gambling-related products:
gambling       with
               limitations                                                                      Gambling-related lotteries
                                                                                                Contests/Sweepstakes
                                                                                                Scratch games
                                                                                                Bingo
                                                                                                Horseracing
                                                                                                Gambling-related information such as tips, odds, and handicapping
                                                                                                Gambling-related promotional products such as gambling-related
                                                                                                vouchers, bonus codes, etc.
                                                                                                Gambling-related tutoring and educational materials such as books
                                                                                                and e-books

                                                                                                Advertisers must also be certified with Google. See how to apply.

                                                                                                Advertisers who provide information about, or a comparison of,
                                                                                                gambling services, but do not themselves provide gambling
                                                                                                activities that require a license can also apply, but must only link to
                                                                                                the sites of licensed operators.
Egypt
Product                                                  Allowed?
                                                          The linked image cannot be
                                                          display ed. The file may hav e been
                                                                                                           Details
Gambling-related                                                                                           Google doesn't allow the following gambling-related
                                                          mov ed, renamed, or deleted. Verify
                                                          that the link points to the correct
                                                          file and location.




content                                                       Not                                          content:
                                                         allowed
                                                                                                           Brick and mortar casinos

Estonia
Product                                                  Allowed?
                                                          The linked image cannot be
                                                          display ed. The file may hav e been
                                                                                                           Details
Gambling-related                                                                                           Google doesn't allow the following gambling-related
                                                          mov ed, renamed, or deleted. Verify
                                                          that the link points to the correct
                                                          file and location.




content                                                       Not                                          content:
                                                         allowed
                                                                                                           Brick and mortar casinos

Ethiopia
Product        Allowed?                                                                                 Details




                                                                                                                                                                 1789
                                                                                                                                                                  1984
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              The link ed image cannot be
              display ed. The file may hav e been




Online                                                                                              Google allows ads promoting the following online
              mov ed, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




Gambling          Allowed with                                                                      gambling by state-run entities:
             limitations
                                                                                                    Lotto
                                                                                                    Toto
                                                                                                    Instant Lottery
                                                                                                    Number Lottery
                                                                                                    Multiple Prize Lottery
                                                                                                    Modern Bingo

                                                                                                    Google allows ads promoting the following online
                                                                                                    gambling by state-licensed entities:

                                                                                                    Tombola or Raffle
                                                                                                    Sport Betting Lottery
                                                                                                    Conventional Bingo
                                                                                                    Promotional Lottery

                                                                                                    Advertisers must also be certified with Google. See how to
                                                                                                    apply here.
Finland
Product         Allowed?          Details           The link ed image cannot be
                                                    displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                                    moved, renamed, or deleted. Verify
                                                    that the link points to the correct
                                                    file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Online gambling
                                  Online bingo
                                  Sports betting
                                  Online casino games

                                   Advertisers must also be certified with Google.
                                                    The link ed image cannot be
                                                    displayed. The file may hav e been




Gambling-related                   Google allows ads promoting the following gambling-
                                                    moved, renamed, or deleted. Verify
                                                    that the link points to the correct
                                                    file and location.




products              Allowed with related products by state licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                                                                                      Advertisers must also be certified with Google.
France
Product     Allowed?                                                                      Details




                                                                                                                                                         1790
                                                                                                                                                          1985
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            The link ed image cannot be
            displayed. The file may have been




Online                   Google allows ads promoting the following online gambling as long
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




gambling         Allowed as the advertiser is registered with ARJEL (Autorité de Régulation
            with         des Jeux En Ligne), provides a valid operating license number,
            limitations operates on a ".fr" domain, and publishes a warning on the landing
                         page and also any image ads against excessive or pathological
                         gaming as well as a message referring to the help and information
                         system as foreseen by the gambling laws:

                                                    Online gambling
                                                    Online bingo
                                                    Sports betting
                                                    Online casino games
                                                    Lotteries

                                                    Gambling aggregators are sites that provide information about, or a
                                                    comparison of, other gambling services, but do not themselves
                                                    provide gambling activities that require a license. They may only
                                                    provide links to gambling sites that hold an ARJEL operating license,
                                                    but are not operated or controlled by the aggregator. Aggregators
                                                    must display a message on the landing page warning against
                                                    excessive or pathological gaming.

                         Advertisers must also be certified with Google. See how to apply.
            The link ed image cannot be
            displayed. The file may have been




Gambling-                Google allows ads promoting the following gambling-related
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




related          Allowed products as long as the advertiser is registered with ARJEL (Autorité
products    with         de Régulation des Jeux En Ligne), provides a valid operating license
            limitations number, operates on a ".fr" domain, and publishes a warning on the
                         landing page and also any image ads against excessive or
                         pathological gaming as well as a message referring to the help and
                         information system as foreseen by the gambling laws:

                                                    Gambling-related promotional products such as gambling-related
                                                    vouchers, bonus codes, etc.
                                                    Gambling-related tutoring and educational materials such as books
                                                    and e-books
                                                    Gambling-related information such as tips, odds, and handicapping

                                                    Advertisers must also be certified with Google. See how to apply.
Germany
Product     Allowed?
              The link ed image cannot be
              displayed. The file may have been
                                                    Details
Online                                              Google allows ads for the following online gambling if, and only to
              moved, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




gambling                                            the extent that, the operator or broker (Vermittler) whose gambling
            Allowed                                 offer is being advertised is in possession of a valid gambling operator
            with                                    license or broker license allowing for such advertisement on the
            limitations                             Internet issued by the competent German authorities ("Gambling
                                                    Advertising License"):




                                                                                                                     1791
                                                                                                                      1986
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                                                         Sports betting
                                                         Horse betting
                                                         Lotteries
                                                         Virtual slot-machine games*
                                                         Online casinos*
                                                         Online poker*

                                                         * Starting July 1, 2021

                                                         Customers (i.e. (1) Advertisers that are Gambling Advertising
                                                         License holders advertising on their own behalf and (2) agencies that
                                                         are commissioned by a Gambling Advertising License holder to
                                                         advertise on their behalf) must also be certified with Google. See how
                                                         to apply. Additionally, all Customers must follow the advertisement
                                                         guidelines found at recht.nrw.de through June 30, 2021 and any
                                                         relevant guidelines issued under applicable law by the competent
                                                         German authority thereafter.

                                                         Note: Customers may be certified based on gambling advertising
                                                         licenses issued prior to July 1, 2021 that are still valid under
                                                         applicable law as of that date. Applicants should insert the applicable
                                                         expiry date provided for under applicable transitional
                                                         legal regulations in the “Term of Gambling Advertising License”
            The link ed image cannot be
                                                         field when applying for certification or recertification.
            displayed. The file may have been




Any other                                                Google doesn't allow any other gambling-related content.
            moved, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




gambling-        Not
related     allowed
content
Ghana
Product      Allowed?
                   The link ed image cannot be
                   displayed. The file may have been
                                                                   Details
Online                                                             Google allows ads promoting the following online
                   mov ed, renamed, or deleted. Verify
                   that the link points to the correct
                   file and location.




Gambling          Allowed with                                     gambling by state-run entities:
             limitations
                                                                   Lotteries

                                                                   Google allows ads promoting the following online
                                                                   gambling by state-licensed entities:

                                                                   National Lotto coupons
                                                                   Sports betting
                                                                   Online casinos

                                                                   Advertisers must also be certified with Google. See how to
                                                                   apply here.
Greece




                                                                                                                           1792
                                                                                                                            1987
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Product         Allowed?                        The link ed image cannot be
                                                                                      Details
                                                displayed. The file may have been




Online gambling                                                                       Google allows ads promoting the following online gambling
                                                moved, renamed, or deleted. Verify
                                                that the link points to the correct
                                                file and location.




                     Allowed                                                          provided the operator is appropriately authorized by the
                with limitations                                                      Greek authorities:

                                                                                      Casino games
                                                                                      Bingo
                                                                                      Sports betting
                                                                                      Lotteries

                                  Advertisers must also be certified with Google. See how to
                                  apply.        The link ed image cannot be
                                                displayed. The file may have been




Online gambling-                  Google allows ads for the following online gambling-related
                                                moved, renamed, or deleted. Verify
                                                that the link points to the correct
                                                file and location.




related products      Allowed     products provided the operator is appropriately authorized
                 with limitations by the Greek authorities:

                                                                                      Gambling-related promotional products such as gambling-
                                                                                      related vouchers, bonus codes, etc.
                                                                                      Gambling-related tutoring and educational materials such as
                                                                                      books and e-books
                                                                                      Gambling-related information such as tips, odds, and
                                                                                      handicapping

                                                                                      Advertisers must also be certified with Google. See how to
                                                                                      apply.
Hong Kong
Product          Allowed?                    The link ed image cannot be
                                                                                        Details
                                             display ed. The file may hav e been




Gambling-related                                                                        Google doesn't allow the following gambling-related
                                             mov ed, renamed, or deleted. Verify
                                             that the link points to the correct
                                             file and location.




content              Not allowed                                                        content:

                                                                                        Location-based or "brick-and-mortar" gambling
                                             The link ed image cannot be
                                             display ed. The file may hav e been




Online gambling                                          Google allows ads promoting the following online
                                             mov ed, renamed, or deleted. Verify
                                             that the link points to the correct
                                             file and location.




                                            Allowed with gambling, when operated by state-licensed entities:
                                       limitations
                                                         Lotteries
                                                         Sports betting

                                                                                        Advertisers must also be certified with Google. See how
                                                                                        to apply.
Hungary
Product       Allowed?
               The link ed image cannot be
               displayed. The file may have been
                                                             Details
Online                                                       Google allows online casino games and sports betting as long as
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling                                             Allowed the advertiser is registered with the appropriate Hungarian
              with
              limitations




                                                                                                                                            1793
                                                                                                                                             1988
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                                                           Gambling Authority or the State Tax Authority and provides a
                                                           valid license.

                                                           Google allows ads promoting the following online gambling by
                                                           state-run entities:

                                                           Lotteries

                             Advertisers must also be certified with Google. See how to apply.
                The link ed image cannot be
                displayed. The file may have been




Gambling-                    Google allows ads promoting the following gambling-related
                moved, renamed, or deleted. Verify
                that the link points to the correct
                file and location.




related              Allowed products as long as the advertiser is registered with the
products        with         appropriate Hungarian Gambling Authority or the State Tax
                limitations  Authority and provides a valid license:

                                                           Gambling-related promotional products such as gambling-related
                                                           vouchers, bonus codes, etc.
                                                           Gambling-related tutoring and educational materials such as
                                                           books and e-books
                                                           Gambling-related information such as tips, odds, and
                                                           handicapping

                            Advertisers must also be certified with Google. See how to apply.
India
Product         Allowed? Details
                  The link ed image cannot be
                  displayed. The file may have been




Gambling-                Google doesn't allow the following gambling-related content:
                  moved, renamed, or deleted. Verify
                  that the link points to the correct
                  file and location.




related content      Not
                allowed  Location-based or "brick-and-mortar" gambling.
                  The link ed image cannot be
                  displayed. The file may have been




Online non-                                             Google allows the promotion of Daily Fantasy Sports as long as the
                  moved, renamed, or deleted. Verify
                  that the link points to the correct
                  file and location.




casino games                                            advertisement doesn’t promote any other form of online gambling.
                Allowed                                 Daily Fantasy Sports ads may not target the following states:

                                                        Andhra Pradesh, Assam, Nagaland, Odisha, Sikkim, Tamil Nadu, and
                                                        Telangana.

                  The link ed image cannot be
                  displayed. The file may have been
                                                        Advertisers must also be certified with Google. See how to apply.
Online casino                                           Google doesn’t allow the promotion of any online casino games with
                  moved, renamed, or deleted. Verify
                  that the link points to the correct
                  file and location.




games                                                   the exception of Rummy.
                Allowed
                                                        Google Ads allows Rummy advertisements to target India as long as
                                                        the advertisement doesn't promote any other form of online gambling.
                                                        Rummy ads may not target the following states:

                                                        Andhra Pradesh, Assam, Nagaland, Odisha, Sikkim, and Telangana.

                                                        Advertisers must also be certified with Google. See how to apply.



                                                                                                                       1794
                                                                                                                        1989
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Indonesia
Product         Allowed?
                      The link ed image cannot be
                                                                                           Details
                      displayed. The file may have been




Gambling-                                                                                  Google doesn't allow the following gambling-related content:
                      mov ed, renamed, or deleted. Verify
                      that the link points to the correct
                      file and location.




related content      Not
                allowed                                                                    Brick and mortar casinos
                      The link ed image cannot be
                      displayed. The file may have been




Online non-                  Google doesn't allow advertising for Internet-based games where
                      mov ed, renamed, or deleted. Verify
                      that the link points to the correct
                      file and location.




casino games         Not money or other items of value are paid or wagered to win a greater
               allowed       sum of money or other item of value.
Republic of Ireland (excluding Northern Ireland)
Product        Allowed?         Details
               The link ed image cannot be
               displayed. The file may have been




Online                          Google allows ads promoting the following online gambling as
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling            Allowed long as the advertiser is registered as a bookmaker with the
               with limitations Revenue Commissioners and provides a valid license number:

                                                                                             Online gambling
                                                                                             Online bingo
                                                                                             Sports betting
                                                                                             Online casino games
                                                                                             Online gambling comparison sites as long as no online gambling
                                                                                             takes place on the aggregator site

                                Advertisers must also be certified with Google. See how to apply.
               The link ed image cannot be
               displayed. The file may have been




Gambling-                       Google allows ads promoting the following gambling-related
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




related             Allowed products as long as the advertiser is registered as a bookmaker
products       with limitations with the Revenue Commissioners and provides a valid license
                                number:

                                                                                             Gambling-related promotional products such as gambling-related
                                                                                             vouchers, bonus codes, etc.
                                                                                             Gambling-related tutoring and educational materials such as
                                                                                             books and e-books
                                                                                             Gambling-related information such as tips, odds, and
                                                                                             handicapping
                                                                                             Gambling-related lotteries

                                                                                             Advertisers must also be certified with Google. See how to apply.
Israel
Product         Allowed?          Details            The link ed image cannot be
                                                     displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                                     moved, renamed, or deleted. Verify
                                                     that the link points to the correct
                                                     file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Online gambling
                                  Online bingo
                                  Sports betting




                                                                                                                                                          1795
                                                                                                                                                           1990
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                                                                                                                    Online casino games

                                   Advertisers must also be certified with Google.
                                                                     The link ed image cannot be
                                                                     displayed. The file may hav e been




Gambling-related                   Google allows ads promoting the following gambling-
                                                                     moved, renamed, or deleted. Verify
                                                                     that the link points to the correct
                                                                     file and location.




products              Allowed with related products by state licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                                                                                                    Advertisers must also be certified with Google.
Italy
Product         Allowed?       The linked image cannot be
                                                                                                            Details
                               display ed. The file may hav e been




Gambling                                                                                                    Google allows only ads promoting lotteries with deferred
                               mov ed, renamed, or deleted. Verify
                               that the link points to the correct
                               file and location.




related content      Allowed                                                                                drawing from state-run entities. Ads promoting brick and mortar
                with limitations                                                                            casinos and online gambling are not allowed.

                                                                                                            Advertisers must also be certified with Google. See how to
                                                                                                            apply.
Japan
Product               Allowed?     Details
                            The link ed image cannot be
                            displayed. The file may have been




Online                             Google allows government-controlled gambling (horse,
                            mov ed, renamed, or deleted. Verify
                            that the link points to the correct
                            file and location.




gambling                   Allowed motorboat, bicycle and auto racing), but only announcements from
                      with         the event organizers. Google doesn't allow advertising for
                      limitations  gambling online about the events.

                            The link ed image cannot be
                            displayed. The file may have been
                                                                                                           Advertisers must also be certified with Google. See how to apply.
Gambling-                                                                                                  Google allows gambling-related lotteries by state licensed entities.
                            mov ed, renamed, or deleted. Verify
                            that the link points to the correct
                            file and location.




related                    Allowed
products              with         Advertisers must also be certified with Google. See how to apply.
                      limitations
Kenya
Product      Allowed?          Details
              The link ed image cannot be
              display ed. The file may hav e been




Online                         Google allows ads promoting the following online gambling
              mov ed, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




Gambling          Allowed with content as long as they are licensed by the Kenyan gambling
             limitations       authority:

                                                                                                            Lotteries
                                                                                                            Sports Betting
                                                                                                            Online Casino Games




                                                                                                                                                                         1796
                                                                                                                                                                          1991
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                                                                                              Advertisers must also be certified with Google. See how to
                                                                                              apply.
Korea
Product          Allowed?                           The link ed image cannot be
                                                                                                     Details
                                                    displayed. The file may hav e been




Gambling-related                                                                                     Google doesn't allow the following gambling-related
                                                    moved, renamed, or deleted. Verify
                                                    that the link points to the correct
                                                    file and location.




content              Not allowed                                                                     content:

                                                                                                     Location-based or "brick-and-mortar" gambling
                                                    The link ed image cannot be
                                                    displayed. The file may hav e been




Online gambling                                                Google allows ads promoting the following online
                                                    moved, renamed, or deleted. Verify
                                                    that the link points to the correct
                                                    file and location.




                                                  Allowed with gambling by state-run or state-licensed entities:
                                             limitations
                                                               Lotteries
                                                               Sports betting

                                                                                                     Advertisers must be certified with Google. See how to
                                                                                                     apply.
Latvia
Product       Allowed?
              The link ed image cannot be
                                                                                                    Details
              display ed. The file may have been




Online                                                                                              Google allows ads promoting the following online
              mov ed, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




gambling           Allowed with                                                                     gambling by state-run entities:
              limitations
                                                                                                    Lotteries

                                                                                                    Advertisers must also be certified with Google. See how to
                                                                                                    apply.
Lithuania
Product         Allowed? DetailsThe link ed
                                image cannot




Online                   Google doesn't allow advertising for Internet-based games where
                                be displayed.




                   Not          The file may
                                have been
                                moved,
                                renamed, o …




gambling        allowed money or other items of value are paid or wagered to win a greater
                         sum of money or other item of value.
                                The link ed
                                image cannot




Gambling-                Google doesn't allow the following gambling-related content:
                                be displayed.




                   Not          The file may
                                have been
                                moved,
                                renamed, o …




related content allowed
                         Brick and mortar casinos
                                The link ed
                                image cannot




Gambling-                                                                                 Google doesn’t allows ads promoting the following gambling-related
                                be displayed.




                    Not         The file may
                                have been
                                moved,
                                renamed, o …




related products allowed                                                                  products:

                                                                                          Gambling-related promotional products such as gambling-related
                                                                                          vouchers, bonus codes, etc.
                                                                                          Gambling-related tutoring and educational materials such as books
                                                                                          and e-books
                                                                                          Gambling-related information such as tips, odds, and handicapping

Malaysia
Product                Allowed?                                                           Details



                                                                                                                                                           1797
                                                                                                                                                            1992
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                                                 The link ed image cannot be
                                                 displayed. The file may have been




Gambling-                                                                                                                                           Google doesn't allow the following gambling-related content:
                                                 mov ed, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




related content                                       Not
                                                 allowed                                                                                            Location-based or "brick-and-mortar" gambling
                                                 The link ed image cannot be
                                                 displayed. The file may have been




Online non-                                                                                                                                         Google doesn't allow advertising for Internet-based games where
                                                 mov ed, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




casino games                                          Not                                                                                           money or other items of value are paid or wagered to win a greater
                                                 allowed                                                                                            sum of money or other item of value.
Mexico
Product Allowed?      Details
           The linked image cannot be
           display ed. The file may hav e been




Online                Google allows ads promoting the following types of online gambling as
           mov ed, renamed, or deleted. Verify
           that the link points to the correct
           file and location.




gambling      Allowed long as the advertiser evidences that the relevant landing page is
         with         operated by an operator registered with the Secretaria de Gobernacion
         limitations and provides a valid license number, or that it is operated by Pronósticos
                      para la Asistencia Pública and provides a copy of a valid agreement that
                      evidences its character as agency (comisionista) or promotional partner
                      (socio promocional):

                                                                                                                   Online casino games (including slot machines)
                                                                                                                   Bingo
                                                                                                                   Lotteries
                                                                                                                   Sports betting
                                                                                                                   Sites that provide information about, or a comparison of, other gambling
                                                                                                                   services, but do not themselves provide gambling activities that require
                                                                                                                   a license. They may only provide links to gambling sites that hold a
                                                                                                                   valid operating license in Mexico, but are not operated or controlled by
                                                                                                                   the aggregator.

                                                                                                                   Advertisers or operators must publish a warning on their landing page
                                                                                                                   and also in their ads indicating that gambling isn't for minors (such as
                                                                                                                   "prohibido para menores") and including messages that invite people to
                                                                                                                   play responsibly (such as "juega responsablemente").

                                                                                                                   Advertisers must also be certified with Google. See how to apply.
Morocco
Product                                                                                                            Allowed?
                                                                                                                   The linked image cannot be
                                                                                                                   display ed. The file may hav e been
                                                                                                                                                               Details
Gambling-related                                                                                                                                               Google doesn't allow the following gambling-related
                                                                                                                   mov ed, renamed, or deleted. Verify
                                                                                                                   that the link points to the correct
                                                                                                                   file and location.




content                                                                                                                 Not                                    content:
                                                                                                                   allowed
                                                                                                                                                               Brick and mortar casinos

Netherlands
Product         Allowed?          Details                                    The link ed image cannot be
                                                                             displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                                                             moved, renamed, or deleted. Verify
                                                                             that the link points to the correct
                                                                             file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Online gambling



                                                                                                                                                                                                                   1798
                                                                                                                                                                                                                    1993
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                                                                                               Online bingo
                                                                                               Sports betting

                                                                    Advertisers must also be certified with Google.
                                                  The link ed image cannot be
                                                  displayed. The file may hav e been




Gambling-related                                                    Google allows ads promoting the following gambling-
                                                  moved, renamed, or deleted. Verify
                                                  that the link points to the correct
                                                  file and location.




products                                               Allowed with related products by state licensed entities:
                                                  limitations
                                                                    Gambling-related promotional products such as
                                                                    gambling-related vouchers, bonus codes, etc.
                                                                    Gambling-related tutoring and educational materials
                                                                    such as books and e-books
                                                                    Gambling-related information such as tips, odds, and
                                                                    handicapping
                                                                    Gambling-related lotteries

                                                                                               Advertisers must also be certified with Google.
New Zealand
Product         Allowed?          Details         The link ed image cannot be
                                                  displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                                  moved, renamed, or deleted. Verify
                                                  that the link points to the correct
                                                  file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Online gambling
                                  Online bingo
                                  Sports betting
                                  Online casino games

                                   Advertisers must also be certified with Google.
                                                  The link ed image cannot be
                                                  displayed. The file may hav e been




Gambling-related                   Google allows ads promoting the following gambling-
                                                  moved, renamed, or deleted. Verify
                                                  that the link points to the correct
                                                  file and location.




products              Allowed with related products by state licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                                                                               Advertisers must also be certified with Google.
Nigeria
Product     Allowed?          Details
            The link ed image cannot be
            display ed. The file may hav e been




Online                        Google allows ads promoting the following online gambling
            mov ed, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




Gambling         Allowed with content as long as they are licensed by the Nigerian gambling
            limitations       authority:

                                                                                        Lotteries




                                                                                                                                                 1799
                                                                                                                                                  1994
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                                                                                                      Sports Betting
                                                                                                      Online Casino Games

                                                                                                      Advertisers must also be certified with Google. See how to
                                                                                                      apply.
Northern Ireland
Product     Allowed?
             The link ed image cannot be
                                                                                                                 Details
             displayed. The file may have been




Offline                                                                                                          Google doesn't allow offline gambling content,
             mov ed, renamed, or deleted. Verify
             that the link points to the correct
             file and location.




gambling         Not allowed
             The link ed image cannot be
                                                                                                                 including brick and mortar casinos.
             displayed. The file may have been




Online                                                                                                           Google doesn't allow online gambling content,
             mov ed, renamed, or deleted. Verify
             that the link points to the correct
             file and location.




gambling         Not allowed (with the                                                                           including:
            exception of lotteries)
                                                                                                                       Casino games
                                                                                                                       Bingo
                                                                                                                       Sports betting

                                                                                                                 Note: UK State-owned or government-licensed
                                                                                                                 lotteries are allowed.
Norway
Product         Allowed?          Details                       The link ed image cannot be
                                                                displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                                                moved, renamed, or deleted. Verify
                                                                that the link points to the correct
                                                                file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Online gambling
                                  Online bingo
                                  Sports betting
                                  Online casino games

                                   Advertisers must also be certified with Google.
                                                                The link ed image cannot be
                                                                displayed. The file may hav e been




Gambling-related                   Google allows ads promoting the following gambling-
                                                                moved, renamed, or deleted. Verify
                                                                that the link points to the correct
                                                                file and location.




products              Allowed with related products by state licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                     Advertisers must also be certified with Google.
Peru
Product        Allowed?        Details    The link ed image cannot be
                                          display ed. The file may hav e been




Online gambling                Google doesn't allow online gambling content, including:
                                          mov ed, renamed, or deleted. Verify
                                          that the link points to the correct
                                          file and location.




                   Not allowed
                                   Casino games




                                                                                                                                                                   1800
                                                                                                                                                                    1995
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                                                                             Bingo
                                                                             Sports betting
                                                                             Lotteries

Philippines
Product         Allowed?    The link ed image cannot be
                                                                     Details
                            display ed. The file may hav e been




Gambling-                                                            Google doesn't allow the following gambling-related content:
                            mov ed, renamed, or deleted. Verify
                            that the link points to the correct
                            file and location.




related content      Not
                allowed                                              Location-based or "brick-and-mortar" gambling
                            The link ed image cannot be
                            display ed. The file may hav e been




Online                                 Google allows ads promoting the following online gambling by
                            mov ed, renamed, or deleted. Verify
                            that the link points to the correct
                            file and location.




gambling                   Allowed state run entities:
                      with limitations
                                       Casino games
                                       Lotteries

                                                                     Advertisers must also be certified with Google. See how to
                            The link ed image cannot be
                                                                     apply.
                            display ed. The file may hav e been




Online non-                                                          Google doesn't allow advertising for Internet-based games
                            mov ed, renamed, or deleted. Verify
                            that the link points to the correct
                            file and location.




casino games               Not                                       where money or other items of value are paid or wagered to win
                      allowed                                        a greater sum of money or other item of value.
Portugal
Product        Allowed?
               The link ed image cannot be
                                                             Details
               displayed. The file may have been




Online                                                       Google allows ads promoting the following online gambling
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling                                             Allowed content as long as they are licensed by the Portuguese authorities:
               with
               limitations                                        Online gambling
                                                                  Online bingo
                                                                  Sports betting
                                                                  Online casino games
                                                                  Sites that provide information about — or a comparison of — other
                                                                  gambling services licensed in Portugal, but do not themselves
                                                                  provide gambling activities that require a license. They may provide
                                                                  links to gambling services not operated or controlled by the
                                                                  aggregator.

               The link ed image cannot be
               displayed. The file may have been
                                                             Advertisers must also be certified with Google.
Gambling-                                                    Google allows ads promoting the following gambling-related
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




related                                              Allowed products as long as they are licensed by the Portuguese authorities:
products       with
               limitations                                        Gambling-related promotional products such as gambling-related
                                                                  vouchers, bonus codes, etc.
                                                                  Gambling-related tutoring and educational materials such as books
                                                                  and e-books
                                                                  Gambling-related information such as tips, odds, and handicapping




                                                                                                                                1801
                                                                                                                                 1996
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                                                                         Gambling-related lotteries

                                                                         Advertisers must also be certified with Google.
Romania
Product         Allowed?     Details
                The linked image cannot be
                display ed. The file may hav e been




Online                       Google allows ads promoting the following online gambling as
                mov ed, renamed, or deleted. Verify
                that the link points to the correct
                file and location.




gambling             Allowed long as the advertiser is registered with the appropriate authority
                with         and submits valid licensing:
                limitations
                             Casino games
                             Sports betting
                             Bingo
                             Lotteries
                             Sites that provide information about, or a comparison of, other
                             gambling services, but do not themselves provide gambling
                             activities that require a license. They may provide links to
                             gambling services not operated or controlled by the aggregator.

                             Advertisers must also be certified with Google. See how to apply.
                The linked image cannot be
                display ed. The file may hav e been




Online                       Google allows ads promoting the following online gambling as
                mov ed, renamed, or deleted. Verify
                that the link points to the correct
                file and location.




gambling-            Allowed long as the advertiser is registered with the appropriate authority
related         with         and submits valid licensing:
products        limitations
                             Gambling-related promotional products such as gambling-related
                             vouchers, bonus codes, etc.
                             Gambling-related tutoring and educational materials such as
                             books and e-books
                             Gambling-related information such as tips, odds, and
                             handicapping

                                                                          Advertisers must also be certified with Google. See how to apply.
Russia
Product          Allowed?          The link ed image cannot be
                                   display ed. The file may hav e been
                                                                                 Details
Gambling-related                                                                 Google doesn't allow the following gambling-related
                                   mov ed, renamed, or deleted. Verify
                                   that the link points to the correct
                                   file and location.




content              Not allowed                                                 content:

                                                                                 Brick and mortar casinos
                                                                                 Non-casino/gambling-related games for money
                                   The link ed image cannot be
                                   display ed. The file may hav e been




National or state                              Google allows national or state lotteries. Advertisers must
                                   mov ed, renamed, or deleted. Verify
                                   that the link points to the correct
                                   file and location.




lotteries                         Allowed with also be certified with Google. See how to apply.
                             limitations
Serbia
Product         Allowed?                                                  Details




                                                                                                                                       1802
                                                                                                                                        1997
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               The linked image cannot be
               display ed. The file may hav e been




Online                     Google allows ads promoting the following online gambling as
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling           Allowed long as the advertiser is registered with the appropriate authority
              with         and submits valid licensing:
              limitations
                           Casino games
                           Sports betting
                           Bingo
                           Sites that provide information about, or a comparison of, other
                           gambling services, but do not themselves provide gambling
                           activities that require a license. They may provide links to
                           gambling services not operated or controlled by the aggregator.

                                                                                                           Google allows ads promoting the following online gambling-
                                                                                                           related products by state-run entities:

                                                                                                           Lotteries

                           Advertisers must also be certified with Google. See how to apply.
               The linked image cannot be
               display ed. The file may hav e been




Online                     Google allows ads promoting the following online gambling as
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling-          Allowed long as the advertiser is registered with the appropriate authority
related       with         and submits valid licensing:
products      limitations
                           Gambling-related promotional products such as gambling-related
                           vouchers, bonus codes, etc.
                           Gambling-related tutoring and educational materials such as
                           books and e-books
                           Gambling-related information such as tips, odds, and
                           handicapping

                                                                                                           Advertisers must also be certified with Google. See how to apply.
Singapore
Product                                                              Allowed?
                                                                     The linked image cannot be
                                                                     display ed. The file may hav e been
                                                                                                                       Details
Gambling-related                                                                                                       Google doesn't allow the following gambling-related
                                                                     mov ed, renamed, or deleted. Verify
                                                                     that the link points to the correct
                                                                     file and location.




content                                                                   Not                                          content:
                                                                     allowed
                                                                                                                       Location-based or "brick-and-mortar" gambling
                                                                                                                       Online gambling

Slovakia
Product         Allowed?         Details
                               The link ed image cannot be
                               displayed. The file may have been




Online gambling                  Google allows ads promoting the following online gambling
                               moved, renamed, or deleted. Verify
                               that the link points to the correct
                               file and location.




                     Allowed withcontent as long as they are licensed by the Slovakian
                limitations      authorities:

                                                                                                                Online gambling
                                                                                                                Online bingo



                                                                                                                                                                        1803
                                                                                                                                                                         1998
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                                                                                     Online casino games
                                                                                     Sports betting

                                  Advertisers must also be certified with Google. See how to
                                  apply.   The link ed image cannot be
                                           displayed. The file may have been




Gambling-                         Google allows ads promoting the following gambling-
                                           moved, renamed, or deleted. Verify
                                           that the link points to the correct
                                           file and location.




related products      Allowed withrelated products as long as they are licensed by the
                 limitations      Slovakian authorities:

                                                                                     Gambling-related tutoring and educational materials such as
                                                                                     books and e-books
                                                                                     Gambling-related information such as tips, odds, and
                                                                                     handicapping
                                                                                     Gambling-related promotional products such as gambling-
                                                                                     related vouchers, bonus codes, etc.
                                                                                     Gambling-related lotteries

                                                                                     Advertisers must also be certified with Google. See how to
                                                                                     apply.
Slovenia
Product           Allowed?
                        The linked image cannot be
                                                                                          Details
                        display ed. The file may hav e been




Online                                                                                    Google allows the following online gambling by state-
                        mov ed, renamed, or deleted. Verify
                        that the link points to the correct
                        file and location.




gambling               Allowed with                                                       run entities:
                  limitations
                                                                                          Lotteries

                                                                                          Advertisers must also be certified with Google. See
                                                                                          how to apply.
South Africa
Product      Allowed?
              The link ed image cannot be
              display ed. The file may hav e been
                                                                                      Details
Online                                                                                Google allows ads promoting the following online
              mov ed, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




gambling          Allowed with                                                        gambling by state-licensed entities:
             limitations
                                                                                      Lotteries
                                                                                      Sports Betting

                                                                                      Advertisers must also be certified with Google. See how to
                                                                                      apply.
Spain
Product       Allowed?     Details
                    The link ed image cannot be
                    displayed. The file may hav e been




Online                     Google allows ads promoting the following types of online
                    moved, renamed, or deleted. Verify
                    that the link points to the correct
                    file and location.




gambling           Allowed gambling as long as the advertiser is registered with the Spanish
              with         gambling authority, provides the relevant valid licenses, and
              limitations  complies with all local regulations:

                                                                                 Casino games



                                                                                                                                           1804
                                                                                                                                            1999
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                                                                                     Sports betting
                                                                                     Bingo
                                                                                     Raffles
                                                                                     Lotteries

                          Advertisers must also be certified with Google. See how to apply.
              The link ed image cannot be
              displayed. The file may hav e been




Gambling-                 Google allows ads promoting the following gambling-related
              moved, renamed, or deleted. Verify
              that the link points to the correct
              file and location.




related           Allowed products as long as the advertiser is registered with the Spanish
products     with         gambling authority and provides the relevant valid licenses:
             limitations
                          Gambling-related promotional products such as gambling-related
                          vouchers, bonus codes, etc.
                          Gambling-related tutoring and educational materials such as
                          books and e-books
                          Gambling-related information such as tips, odds, and
                          handicapping

                                                                                     Advertisers must also be certified with Google. See how to apply.
Sweden
Product         Allowed?          Details      The link ed image cannot be
                                               display ed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                               mov ed, renamed, or deleted. Verify
                                               that the link points to the correct
                                               file and location.




                     Allowed with gambling by Spelinspektionen licensed operators:
                limitations
                                  Lotteries
                                  Online gambling
                                  Online bingo
                                  Sports betting
                                  Online casino games

                                                           Advertisers must also be certified with Google.
                                               The link ed image cannot be
                                               display ed. The file may hav e been




Gambling-related                                           Google allows ads promoting the following online
                                               mov ed, renamed, or deleted. Verify
                                               that the link points to the correct
                                               file and location.




products                                      Allowed with gambling by Spelinspektionen licensed operators:
                                         limitations
                                                           Gambling-related promotional products such as
                                                           gambling-related vouchers, bonus codes, etc.
                                                           Gambling-related tutoring and educational materials such
                                                           as books and e-books
                                                           Gambling-related information such as tips, odds, and
                                                           handicapping
                                                           Gambling-related lotteries

                                                                                             Advertisers must also be certified with Google.
Switzerland
Product     Allowed?                                                                      Details




                                                                                                                                                 1805
                                                                                                                                                  2000
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             The linked image cannot be
             display ed. The file may hav e been




Online                                                                                                 Google allows ads promoting the following online gambling
             mov ed, renamed, or deleted. Verify
             that the link points to the correct
             file and location.




gambling         Allowed with                                                                          by state licensed entities:
            limitations
                                                                                                       Lotteries
                                                                                                       Online casino games

                                                                                                       Google allows ads promoting the following online gambling-
                                                                                                       related products by state-run entities:

                                                                                                       Sports betting

                                                                                                       For both of the above, advertisers must also be certified with
                                                                                                       Google. See how to apply.
Taiwan
Product          Allowed?                                      The link ed image cannot be
                                                                                                             Details
                                                               display ed. The file may have been




Gambling-related                                                                                             Google doesn't allow the following gambling-related
                                                               mov ed, renamed, or deleted. Verify
                                                               that the link points to the correct
                                                               file and location.




content              Not allowed                                                                             content:

                                                                                                             Location-based or "brick-and-mortar" gambling
                                                               The link ed image cannot be
                                                               display ed. The file may have been




Online gambling                                                                                              Google allows ads promoting the following online
                                                               mov ed, renamed, or deleted. Verify
                                                               that the link points to the correct
                                                               file and location.




                                                                Allowed with                                 gambling by state-approved entities:
                                                           limitations
                                                                                                             State-run Lotteries
                                                                                                             State-hosted Lotteries

                                                                                                             Advertisers must also be certified with Google. See
                                                                                                             how to apply.
Tanzania
Product        Allowed?
                     The link ed image cannot be
                     displayed. The file may have been
                                                                                                         Details
Online                                                                                                   Google allows ads promoting the following online
                     mov ed, renamed, or deleted. Verify
                     that the link points to the correct
                     file and location.




Gambling            Allowed with                                                                         gambling by state-licensed entities:
               limitations
                                                                                                         Lotteries
                                                                                                         Sports betting
                                                                                                         Online casinos

                                                                                                         Advertisers must also be certified with Google. See how to
                                                                                                         apply here.
Thailand
Product         Allowed?       The link ed image cannot be
                               display ed. The file may hav e been
                                                                                                     Details
Gambling-                                                                                            Google doesn't allow the following gambling-related content:
                               mov ed, renamed, or deleted. Verify
                               that the link points to the correct
                               file and location.




related content      Not
                allowed                                                                              Location-based or "brick-and-mortar" gambling




                                                                                                                                                                1806
                                                                                                                                                                 2001
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               The link ed image cannot be
               display ed. The file may hav e been




Online                          Google allows ads promoting the following online gambling by
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




gambling            Allowed state-run entities:
               with limitations
                                Sports betting (horse racing only)
                                Lotteries

                                                                                    Advertisers must also be certified with Google. See how to
               The link ed image cannot be
                                                                                    apply.
               display ed. The file may hav e been




Online non-                                                                         Google doesn't allow advertising for Internet-based games
               mov ed, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




casino games        Not                                                             where money or other items of value are paid or wagered to win
               allowed                                                              a greater sum of money or other item of value.
Turkey
Product         Allowed?          Details     The link ed image cannot be
                                              displayed. The file may hav e been




Online gambling                   Google allows ads promoting the following online
                                              moved, renamed, or deleted. Verify
                                              that the link points to the correct
                                              file and location.




                     Allowed with gambling by state licensed entities:
                limitations
                                  Lotteries
                                  Sports betting

                                   Advertisers must also be certified with Google.
                                              The link ed image cannot be
                                              displayed. The file may hav e been




Gambling-related                   Google allows ads promoting the following gambling-
                                              moved, renamed, or deleted. Verify
                                              that the link points to the correct
                                              file and location.




products              Allowed with related products by state licensed entities:
                 limitations
                                   Gambling-related promotional products such as
                                   gambling-related vouchers, bonus codes, etc.
                                   Gambling-related tutoring and educational materials
                                   such as books and e-books
                                   Gambling-related information such as tips, odds, and
                                   handicapping
                                   Gambling-related lotteries

                                                                                           Advertisers must also be certified with Google.
Ukraine
Product          Allowed?                The link ed image cannot be
                                         displayed. The file may hav e been
                                                                                          Details
Gambling-related                                                                          Google doesn't allow the following gambling-related
                                         moved, renamed, or deleted. Verify
                                         that the link points to the correct
                                         file and location.




content              Not allowed                                                          content:

                                                                                          Location-based or "brick-and-mortar" gambling
                                         The link ed image cannot be
                                         displayed. The file may hav e been




Online gambling                                      Google allows ads promoting the following online
                                         moved, renamed, or deleted. Verify
                                         that the link points to the correct
                                         file and location.




                                        Allowed with gambling-related products by state-run entities:
                                   limitations
                                                     Lotteries

                                                                                          Advertisers must also be certified with Google. See how
                                                                                          to apply.



                                                                                                                                             1807
                                                                                                                                              2002
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United Arab Emirates
Product              Allowed?                           The linked image cannot be
                                                                                                       Details
                                                        display ed. The file may hav e been




Gambling-related                                                                                       Google doesn't allow the following gambling-related
                                                        mov ed, renamed, or deleted. Verify
                                                        that the link points to the correct
                                                        file and location.




content                   Not                                                                          content:
                     allowed
                                                                                                       Brick and mortar casinos

United Kingdom
Product     Allowed?     Details
             The link ed image cannot be
             displayed. The file may have been




Online                   Google allows ads promoting the following online gambling content
             mov ed, renamed, or deleted. Verify
             that the link points to the correct
             file and location.




gambling         Allowed as long as the advertiser is registered with the Gambling Commission
            with         and provides a valid operating license number.
            limitations
                              Online bingo
                              Sports betting
                              Online casino games
                              Lotteries
                              Sites that provide information about, or a comparison
                                 of, other gambling services, but do not themselves
                                 provide gambling activities that require a license.
                                 They may provide links to gambling services not
                                 operated or controlled by the aggregator.

                                                                                  Advertisers must also be certified with Google. See how to apply.

             The link ed image cannot be
             displayed. The file may have been




Gambling-                                                  Google allows ads promoting the following gambling-related
             mov ed, renamed, or deleted. Verify
             that the link points to the correct
             file and location.




related                                            Allowed products:
products     with
             limitations                                                                         Gambling-related promotional products such as
                                                                                                  gambling-related vouchers, bonus codes, etc.
                                                                                                 Gambling-related tutoring and educational materials
                                                                                                  such as books and e-books
                                                                                                 Gambling-related information such as tips, odds, and
                                                                                                  handicapping

                                                                                  Advertisers must also be certified with Google. See how to apply.

                                                                                  Note: Google does not allow online gambling content in Northern
                                                                                  Ireland except for UK State-owned or government-licensed
                                                                                  lotteries.


United States
Product    Allowed?                                                  Details




                                                                                                                                                         1808
                                                                                                                                                          2003
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            The link ed image cannot be
            display ed. The file may hav e been




Online non-              Google doesn't allow advertising for Internet-based games where
            moved, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




casino           Allowed money or other items of value are paid or wagered to win a greater
games       with         sum of money or other item of value, except for Daily Fantasy Sports
            limitations in certain states where legal.

                                                          Daily Fantasy Sports advertisers must meet the following
                                                          requirements, in addition to holding a state license where required:

                                                                 Ads may not target minors (younger than 18 years old).
                                                                 A disclaimer explaining that the service is intended
                                                                  only for adult users must be featured on the landing
                                                                  page.
                                                                 Information for problem gamblers must be in the ad
                                                                  creative and / or on the landing page.
                                                                 Advertisers cannot imply affiliations with schools or
                                                                  universities.

                                                          If advertisers are targeting their ads in a state that does not require a
                                                          license, the advertisers must be licensed in at least one other state that
                                                          does require a license to operate.

            The link ed image cannot be
                                                          Advertisers must also be certified with Google. See how to apply here.
            display ed. The file may hav e been




Online                                                    Google allows ads promoting the following online gambling by state-
            moved, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




gambling                                          Allowed run entities:
           with
           limitations                                           Lotteries

                                                          Google allows ads promoting the following types of online gambling
                                                          by state-licensed entities in certain states where legal:

                                                                 Horse racing
                                                                 Sports betting
                                                                 Online casinos
                                                                 Advertisers must (1) not target users under 21 or users
                                                                  outside of the state(s) where they are licensed, and (2)
                                                                  include a warning against the dangers of addictive and
                                                                  compulsive gambling and related assistance
                                                                  information on the landing page or in the creative

                                                          Advertisers must also be certified with Google. See how to apply.


Vietnam
Product                                 Allowed?             Details




                                                                                                                               1809
                                                                                                                                2004
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                                            The link ed image cannot be
                                            displayed. The file may have been




Gambling-                                                                         Google doesn't allow the following gambling-related content:
                                            mov ed, renamed, or deleted. Verify
                                            that the link points to the correct
                                            file and location.




related content                            Not
                                      allowed                                     Brick and mortar casinos
                                            The link ed image cannot be
                                            displayed. The file may have been




Online non-                                                                       Google doesn't allow advertising for Internet-based games where
                                            mov ed, renamed, or deleted. Verify
                                            that the link points to the correct
                                            file and location.




casino games                               Not                                    money or other items of value are paid or wagered to win a greater
                                      allowed                                     sum of money or other item of value.

Social casino games country restrictions
Google Ads accounts can target social casino ads only to the countries listed in the two
groups below. Due to differences in legal and technical requirements, a single Google
Ads account can’t target countries from both groups. Advertisers who want to target
both groups of countries must create a separate account for each group.

Group 1

Australia, Austria, Brazil, Bulgaria, Canada, Colombia, Czech Republic, Denmark, Finland,
France, Germany, Greece, Hungary, Ireland, Israel, Italy, Japan, Latvia, Lithuania, Mexico,
Netherlands, New Zealand, Norway, Peru, Portugal, Romania, Russia, Serbia, Slovakia,
South Africa, Spain, Sweden, Switzerland, United Kingdom, United States



Product      Allowed?
               The link ed image cannot be
                                                                                    Details
               display ed. The file may hav e been




Social                                                                              Google allows social casino game ads if:
               moved, renamed, or deleted. Verify
               that the link points to the correct
               file and location.




casino            Allowed
games        with limitations                                                       The advertiser is the operator (or an agency representing the
                                                                                    operator) of social casino games (aggregators and affiliates will
                                                                                    not be accepted)
                                                                                    The advertiser holds a valid local license for distribution of their
                                                                                    games in the targeted countries, where applicable
                                                                                    Ads, sites, or apps don’t use real-money gambling logos, names,
                                                                                    or marks

                                                                                    Advertisers must also be certified with Google. See how to
                                                                                    apply.
Group 2

Hong Kong, India, Korea, Malaysia, Taiwan, Thailand, Vietnam


Product      Allowed?                                                               Details




                                                                                                                                                   1810
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            The link ed image cannot be
            display ed. The file may hav e been




Social                                            Google allows social casino game ads if:
            moved, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




casino           Allowed
games       with limitations                      The advertiser is the operator (or an agency representing the
                                                  operator) of social casino games (aggregators and affiliates will
                                                  not be accepted)
                                                  The advertiser holds a valid local license for distribution of their
                                                  games in the targeted countries, where applicable
                                                  Ads, sites, or apps don’t use real-money gambling logos, names,
                                                  or marks

                                                  Advertisers must also be certified with Google. See how to
                                                  apply.

Social casino games country restrictions
Google Ads accounts can target social casino ads only to the countries listed in the two
groups below. Due to differences in legal and technical requirements, a single Google
Ads account can’t target countries from both groups. Advertisers who want to target
both groups of countries must create a separate account for each group.

Group 1

Australia, Austria, Brazil, Bulgaria, Canada, Colombia, Czech Republic, Denmark, Finland,
France, Germany, Greece, Hungary, Ireland, Israel, Italy, Japan, Latvia, Lithuania, Mexico,
Netherlands, New Zealand, Norway, Peru, Portugal, Romania, Russia, Serbia, Slovakia,
South Africa, Spain, Sweden, Switzerland, United Kingdom, United States



Product     Allowed?
            The link ed image cannot be
            display ed. The file may hav e been
                                                  Details
Social                                            Google allows social casino game ads if:
            moved, renamed, or deleted. Verify
            that the link points to the correct
            file and location.




casino           Allowed
games       with limitations                      The advertiser is the operator (or an agency representing the
                                                  operator) of social casino games (aggregators and affiliates will
                                                  not be accepted)
                                                  The advertiser holds a valid local license for distribution of their
                                                  games in the targeted countries, where applicable
                                                  Ads, sites, or apps don’t use real-money gambling logos, names,
                                                  or marks

                                                  Advertisers must also be certified with Google. See how to
                                                  apply.
Group 2




                                                                                                                 1811
                                                                                                                  2006
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   Hong Kong, India, Korea, Malaysia, Taiwan, Thailand, Vietnam


   Product     Allowed?
                The link ed image cannot be
                                                      Details
                display ed. The file may hav e been




   Social                                             Google allows social casino game ads if:
                moved, renamed, or deleted. Verify
                that the link points to the correct
                file and location.




   casino           Allowed
   games       with limitations                       The advertiser is the operator (or an agency representing the
                                                      operator) of social casino games (aggregators and affiliates will
                                                      not be accepted)
                                                      The advertiser holds a valid local license for distribution of their
                                                      games in the targeted countries, where applicable
                                                      Ads, sites, or apps don’t use real-money gambling logos, names,
                                                      or marks

                                                      Advertisers must also be certified with Google. See how to
                                                      apply.

   How to fix a violation
   Here's more detail about each violation and what you can do if your ad is disapproved.

   Gambling ad targets a restricted country

1. Read the policy above to see the types of gambling-related content that we don't allow
   and the country-specific restrictions for places that your campaign targets. If you're not
   properly licensed to promote gambling, you won't be able to run ads promoting
   gambling-related content.
     See the country requirements

   If you do meet the requirements:
2. Apply to be certified by Google. If you haven't already, send us your official gambling
   licensing information -- see how to apply. You need to complete the application form for
   every country that you'd like to target. If your application is approved, please request a
   review of your disapproved ads so they can start running.
3. Target your certified location. If you are properly licensed and have already been
   certified by Google, edit your location targeting to target only the countries for which
   you submitted in your certification request. If you'd like to target a new location, you
   need to apply again specifically for that country. Once you're targeting only countries
   where you've been certified by Google, please request a review of your disapproved ads
   so they can start running.

   If you don't meet the requirements:
4. Target a different location. If your ad meets the basic policy requirements but not those
   for the countries that your campaign targets, you can choose to edit your location
   targeting to run your ads somewhere else where they do meet our requirements. Once



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                                                                                                                      2007
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   you target your campaign only to acceptable locations, please request a review of your
   disapproved ads, and we'll check if they can start running:
   Request a review
5. Change your ad's landing page. If your ad leads to content that violates this policy, edit
   the landing page to make it comply. Once you've fixed the violation, resubmit your ad
   using the steps below.

   Or, you can change your final URL to point to another part of your website or app that
   doesn't violate this policy.
6. Remove that content from your ad.

   If your ad violates this policy, please edit it to make it comply.
   Take me to my account

           On your Ads tab, hover over the ad you want to edit.
           Click the pencil icon next to your ad to edit it.
           Click Save when you're done.

   Once you edit and save your ad, it gets sent to us for review. Most ads are reviewed
   within 1 business day, though some can take longer if they need a more complex
   review. If we find that you've removed the unacceptable content from your ad and
   landing page, we can approve your ad to start running. If you've made changes to fix
   certain kinds of violations, you might be able to resubmit your entire campaign for
   review.

           On your Ads tab, look at the "Status" column. Hover over the white speech
            bubble next to "Disapproved."
                    The
                    link ed
                    image
                    cannot
                    be
                    display




           Click "Resubmit my campaign for review." Remember that this link will
            appear only if your ad was disapproved for certain violations.
           Follow the on-screen instructions to resubmit the eligible disapproved ads
            in your campaign.

   If you aren't able to fix these violations, or you choose not to, please remove your ad to
   help prevent your account from becoming suspended in the future for having too many
   disapproved ads.
   Gambling certificate required

1. Read the policy above to see the types of gambling-related content that we don't allow
   and the country-specific restrictions for places that your campaign targets. If you're not
   properly licensed to promote gambling, you won't be able to run ads promoting
   gambling-related content.
     See the country requirements

   If you do meet the requirements:




                                                                                         1813
                                                                                          2008
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2. Apply to be certified by Google. If you haven't already, send us your official gambling
   licensing information -- see how to apply. You need to complete the application form for
   every country that you'd like to target. If your application is approved, please request a
   review of your disapproved ads so they can start running.
3. Target your certified location. If you are properly licensed and have already been
   certified by Google, edit your location targeting to target only the countries for which
   you submitted in your certification request. If you'd like to target a new location, you
   need to apply again specifically for that country. Once you're targeting only countries
   where you've been certified by Google, please request a review of your disapproved ads
   so they can start running.

   If you don't meet the requirements:
4. Target a different location. If your ad meets the basic policy requirements but not those
   for the countries that your campaign targets, you can choose to edit your location
   targeting to run your ads somewhere else where they do meet our requirements. Once
   you target your campaign only to acceptable locations, please request a review of your
   disapproved ads, and we'll check if they can start running:
   Request a review
5. Change your ad's landing page. If your ad leads to content that violates this policy, edit
   the landing page to make it comply. Once you've fixed the violation, resubmit your ad
   using the steps below.

   Or, you can change your final URL to point to another part of your website or app that
   doesn't violate this policy.
6. Remove that content from your ad.

   If your ad violates this policy, please edit it to make it comply.
   Take me to my account

          On your Ads tab, hover over the ad you want to edit.
          Click the pencil icon next to your ad to edit it.
          Click Save when you're done.

   Once you edit and save your ad, it gets sent to us for review. Most ads are reviewed
   within 1 business day, though some can take longer if they need a more complex
   review. If we find that you've removed the unacceptable content from your ad and
   landing page, we can approve your ad to start running. If you've made changes to fix
   certain kinds of violations, you might be able to resubmit your entire campaign for
   review.

          On your Ads tab, look at the "Status" column. Hover over the white speech
           bubble next to "Disapproved."
                   The
                   link ed
                   image
                   cannot
                   be
                   display




          Click "Resubmit my campaign for review." Remember that this link will
           appear only if your ad was disapproved for certain violations.




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          Follow the on-screen instructions to resubmit the eligible disapproved ads
           in your campaign.

   If you aren't able to fix these violations, or you choose not to, please remove your ad to
   help prevent your account from becoming suspended in the future for having too many
   disapproved ads.
   URL does not match gambling certificate
   When you apply for certification to run gambling-related ads, your certificate is limited
   to the specific website that you included in your application. Your gambling ads can use
   only that approved website. Here are your options:

1. Apply to have another website certified by Google. If you want to promote a different
   website than the one you originally applied for, submit another application -- see how to
   apply. You need to complete the application form for every country that you'd like to
   target. If your application is approved, please request a review of your disapproved ads
   so they can start running.
2. Use the approved website for your ad. Edit your ad's URL to match the one you
   submitted in your certification application.Take me to my account
 On your Ads tab, hover over the ad you want to edit.
 Click the pencil icon next to your ad to edit your ad's URL.
 Click Save when you're done.

   Once you edit and save your ad, it gets sent to us for review. Most ads are reviewed
   within 1 business day, though some can take longer if they need a more complex
   review. If we find that you've removed the unacceptable content from your ad and
   landing page, we can review your ad.

   If you aren't able to fix these violations, or you choose not to, please remove your ad to
   help prevent your account from becoming suspended in the future for having too many
   disapproved ads.

   Apply for certification to promote gambling
1. See the policy and country-specific requirements, and confirm that you meet those
   requirements.
2. Apply for certification:
 If you are a privately-licensed operator in one of the countries where we permit online
   gambling content, please fill out the online gambling application form in the Google Ads
   Help Center. To help prevent unnecessary delays, be sure to provide all of the requested
   information.
 If you operate in one of the countries where we allow only state-run entities, please use
   this form. When completing the form:
 In Summary of the issue: Note that you’re requesting certification to advertise as a
   state-run gambling entity, and provide your website URL.




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  In Campaign name and Ad group name: Enter N/A if you haven’t set up a campaign or
   ad group yet.
 If you are a social casino game operator, please use this form to submit your website
   URL or app, Google Ads customer ID, and the country group you are targeting.
3. If you want to target more than one country, please submit a separate application form
   for each country.

    Effect of the policy
    If your ad meets the requirements above and is eligible, here are details of how it can
    run:

    Certification
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




        Advertisers need to apply for certification from Google in order to run certain types of
    gambling-related ads. See more details above.
    Country
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          See the requirements above to learn where certain kinds of gambling ads can and cannot
    run.

                                           If your ad campaign targets only countries where we don't allow these ads, your
                                            ad will be labeled "Disapproved" and won't run at all.
                                           If your ad campaign targets allowed and disallowed countries, your ad will be
                                            labeled "Eligible (limited)" and won't run in the disallowed countries (but can run
                                            in the allowed countries).

    Ad platform
    The linked image cannot be
    display ed. The file may hav e been
                                                                                      The link ed image cannot be
                                                                                      displayed. The file may hav e been
    mov ed, renamed, or deleted. Verify                                               moved, renamed, or deleted. Verify
    that the link points to the correct                                               that the link points to the correct
    file and location.                                                                file and location.




                                          Can run gambling ads:                                                             Cannot run gambling ads:

                                           Google Ads                                                                       Google Ad Manager
                                           Google Display Network
                                           YouTube (Gambling advertisers
                                            who wish to use an age gate on
                                            their homepage, brand channel,
                                            and/or video may do so under our
                                            age gate policies)
                                           AdMob

    Ad Network
    The linked image cannot be
    display ed. The file may hav e been
                                                                                      The link ed image cannot be
                                                                                      displayed. The file may hav e been
    mov ed, renamed, or deleted. Verify                                               moved, renamed, or deleted. Verify
    that the link points to the correct                                               that the link points to the correct
    file and location.                                                                file and location.




         Google Search: Gambling ads can show on       Google Ad Manager Network: Gambling
    Google and our Search Network. However, if ads are not allowed to show on these partner
    someone has enabled the SafeSearch feature,  sites.
    they will not see this type of ad.



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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Display Network: Gambling ads can show
on partner sites that have opted-in to show such
content. Social casino game ads can show on
partner sites, but not on those that have opted
out of showing such content.
Ad Formats
Acceptable ad formats can vary depending on factors such as the platform you're using, the
status of your ad, and whether a publisher or partner has opted to show such ads. Here are some
typical examples, though they may vary:
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Cannot promote gambling:

                                       Gmail ads
                                       Shopping ads
                                       Reservation display ads
                                       Consumer ratings annotations


What happens if you violate our policies
Ad or extension disapproval: Ads and extensions that don't follow this policy may be
disapproved. A disapproved ad won't run until the policy violation is fixed and the ad is
approved.

Account suspension: An account may be suspended if you have several violations or a
serious violation. If this happens, all ads in the suspended account will stop running,
and we may no longer accept advertising from you. Any related accounts may also be
permanently suspended and your new accounts may be automatically suspended at
setup. Learn more about suspended accounts.

To ensure a safe and positive experience for users, Google requires that advertisers
comply with all applicable laws and regulations in addition to the Google Ads policies.
It's important to familiarize yourself with and keep up to date on these requirements for
the places where your business operates, as well as any other places your ads are
showing. When we find content that violates these requirements, we may block it from
appearing, and in cases of repeated or serious violations, you may no longer be able to
advertise with Google.

Need help?
If you have questions about our policies, let us know: Contact Google Ads Support




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                                                                                                          2012
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    Tell us what you think
    Rate how helpful this page is and share your feedback with us below:
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy



                                                                           1818
                                                                            2013
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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย



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40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy




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                                                                             2015
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   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit




                                                                            1821
                                                                             2016
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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                                                                                 2017
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    Google Ads Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
                                                                                            Next
    Help CenterCommunityAnnouncements


    About Quality Score
    Quality Score is a diagnostic tool meant to give you a sense of how well your ad quality
    compares to other advertisers.

    This score is measured on a scale from 1-10 and available at the keyword level. A higher
    Quality Score means that your ad and landing page are more relevant and useful to
    someone searching for your keyword, compared to other advertisers.

    You can use the Quality Score diagnostic tool to identify where it might be beneficial to
    improve your ads, landing pages, or keyword selection.

    Good to know about Quality Score

   Quality Score is not a key performance indicator and should not be optimized or
    aggregated with the rest of your data.
   Quality Score is not an input in the ad auction. It’s a diagnostic tool to identify how ads
    that show for certain keywords affect the user experience.

    How it’s calculated
    Quality Score is calculated based on the combined performance of 3 components:

1. Expected clickthrough rate (CTR): The likelihood that your ad will be clicked when
   shown.
2. Ad relevance: How closely your ad matches the intent behind a user's search.
3. Landing page experience: How relevant and useful your landing page is to people who
   click your ad.




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    Each component is evaluated with a status of “Above average,” “Average,” or “Below
    average.” This evaluation is based on a comparison with other advertisers whose ads
    showed for the exact same keyword, over the last 90 days.

    If one of these components has a status of “Average” or “Below average,” this may
    indicate an opportunity to make improvements.

    Example: Let’s say your Landing page experience has a status of “Below average,” while
    Ad relevance is “Above average.” This indicates that making changes to your landing
    page, rather than ad text may improve your performance. Learn more about using
    Quality Score to improve your ad performance.

    Keep in mind

   Quality Score is based on historical impressions for exact searches of your keyword,
    therefore changing keyword match types will not impact Quality Score.
   If you see “—” in the Quality Score column, it means there aren't enough searches that
    exactly match your keywords to determine a keyword’s Quality Score.
   There are factors related to your ad quality that might not be captured by Quality Score.
    These factors include, but are not limited to:
   Devices used in search
   Location of user
   Time of day
   Ad extensions

    How to check your Quality Score
1. Sign in to your Google Ads account.
2. In the left menu, select Keywords.                            The link ed image cannot
                                                                 be displayed. The file
                                                                 may hav e been moved,
                                                                 renamed, or deleted.
                                                                 Verify that the lin k




3. In the upper right corner of the table, click the columns icon    .
                                                                 points to the correct file
                                                                 and location.




4. Under “Modify columns for keywords” open the Quality Score section. To see the
   current Quality Score and its component statuses, choose any of the following to add to
   your statistics table:
 Quality Score
 Landing Page Exp.
 Exp. CTR
 Ad Relevance
5. To see past Quality Score stats for the reporting period you’re looking at, choose any of
   the following metrics:
 Quality Score (hist.)
 Landing Page Exper. (hist.)
 Ad Relevance (hist.)
 Exp. CTR. (hist.)




                                                                                              1824
                                                                                               2019
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     You can see the change in daily scores by segmenting your table by day.

6. Click Apply.

     Related links

    5 ways to use Quality Score to improve your performance
    9 things to know about ad quality

     Give feedback about this article
     Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                              Submit
                                       Need more help?
                 Sign in for additional support options to quickly solve your issue
                                              Sign in
     Ad quality
    About ad quality
    About Quality Score
    5 ways to use Quality Score to improve your performance

    ©2021 Google
    Privacy Policy
    Terms of Service
    Google Ads Advertising Policies
    About the Help Center

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   eesti
5.   English (Australia)
6.   English (United Kingdom)




                                                                                      1825
                                                                                       2020
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7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

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   Check the approval status of an ad or extension
   After you’ve created an ad or extension, you can check whether it’s been reviewed or not
   in the “Status” column.

   This article explains how to check that status and what each status means.

   Instructions

   To check the status of an ad or extension:

1. Sign in to your Google Ads account.
2. Click Ads & extensions from the page menu to see a list of your ads.
3. To check an ad or extension status, just look in the “Status” column. If you hover over
   each status, you’ll see a more detailed explanation of what the status means.

   To see more detailed policy information (or to check the status of a paused ad), enable
   the "Policy details" in the table.

1. Visit the Ads & extensions page in your Google Ads account.
                          The link ed image cannot
                          be displayed. The file
                          may hav e been moved,
                          renamed, or deleted.
                          Verify that the link




2. Click the column icon      above the statistics table, then click Modify columns.
                          points to the correct file
                          and location.




3. In the "Attributes" section, click select the checkbox next to "Policy details."
4. Click Apply.

   The Policy details column provides information about why a disapproved ad wasn't
   approved, or why an "approved (limited)" ad is limited to a certain audience.

   What each status means




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You’ll see a status both before your ad or extension is approved and after it’s been
reviewed.

Before review, your ad will have one of these statuses:

       Eligible: The ad is still being reviewed. Note, however:
       If you see this status for asset-based ads (for example, responsive ads or
        app campaign ads), it means that some combination of your assets have
        been approved and may be running.
       If you see this status for Video ads, it means the video has been reviewed
        for and approved to run in some contexts.
       Under review: The ad is still being reviewed and can't show until it's been
        approved.

After review, your ad can run if it has one of these statuses:

       Approved: The ad complies with the Google Ads policies, so it can be
        shown to all audiences.
       Approved (limited): The ad can run, but not in all situations because of
        policy restrictions, such as trademark use or gambling-related content.
       Approved (limited all locations): The ad can’t run in your targeted locations
        because of policy restrictions and targeting settings. The ad can run,
        however, to people interested in your targeted locations.
       Serving: The video ad is approved to appear on YouTube.

After review, your extension can run if it has one of these statuses:

       Approved: The extension complies with the Google Ads policies, so it can
        be shown to all audiences.
       Approved (limited): The extension can run, but not in all situations
        because of policy restrictions such as trademark use or gambling-related
        content.

After review, your ad can't run if it has one these statuses:

       Disapproved: The ad cannot run because its content or its destination
        violates Google Ads policy.

Not related to ad approval, your ad might have another status such as Paused, Ended,
and Pending.

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About the ad review process
Due to the preventive measures we're taking to protect the health of our support
specialists in light of COVID-19, we are currently experiencing longer than usual times to
process new ads in non-text formats (such as Video, RDA, App, etc.). Requests to
appeal a decision to disapprove an ad will also be delayed, and requests to expedite
unreviewed ads will not be supported at this time.

During this period, we encourage you to use existing approved ads (without editing) or
text formats for new ads (e.g., Expanded Text Ads, Original Text Ads, Responsive
Search Ads (VTA). We also encourage you to use Self-Service Appeals via Policy
Manager, which allows you to appeal a policy decision directly from your Google Ads
account using just a few clicks.

We sincerely apologize for any inconvenience this may cause you and appreciate your
patience. We will update this page as the situation changes.

Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

To keep ads safe and appropriate for everyone, ads are reviewed to make sure they
comply with Google Ads policies. Most ads are reviewed within 1 business day.

How ad review works




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    After you create or edit an ad or extension, the review process begins automatically. The
    content in your ad will be reviewed, including your headline, description, keywords,
    destination, and any images and video.

    If your ad passes the review, its status will change to "Eligible," and it will start to run. If
    the review indicates that your ad violates a policy, its status will change to
    "Disapproved," which means it can’t show anywhere. You’ll be notified of the policy
    violation and told what you can do next.

    Learn how to check the status of an ad.

    Ad status is “Under review”
    During the ad review process, the ad’s status will be "Under review." We review most ads
    within one business day, though some complex reviews may take longer. Google
    reserves the right to prioritize ad reviews or re-reviews to ensure the overall stability of
    system operations, or temporarily restrict ad serving to ensure policy compliance. If
    your ad is under review for more than 2 full business days, contact us for information.

    How long ad review takes
   Most ads are reviewed within 1 business day. However, some reviews take longer if the
    ad requires a more complex review.
   If your ad is under review for more than 2 full business days, contact us for information.
   Google reserves the right to prioritize ad reviews or re-reviews to ensure the overall
    stability of system operations, or temporarily restrict ad serving to ensure policy
    compliance.



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About abortion certification and disclosures
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

In the United States, United Kingdom, and Ireland, if you want to run ads using keywords
related to getting an abortion, you will first need to be certified as an advertiser that
either provides abortions or does not provide abortions. If you are not certified, you
won’t be able to run ads using keywords related to getting an abortion.

      You are considered an advertiser that provides abortions if you provide
      abortions at your own facilities. Hospitals, clinics (both abortion clinics
      and non-specialized clinics), or physician's offices where abortions are
      performed are considered advertisers that provide abortions.

      You are considered an advertiser that does not provide abortions if you
      don’t provide abortions at your own facilities. This may include
      organizations that provide pregnancy tests, ultrasounds, abortion
      counseling, general abortion information, abortion referrals, or that
      otherwise serve pregnant women but do not provide abortions. For the
      purposes of abortion advertiser certification and disclosure policy
      requirements, this may also include advertisers promoting non-service-
      based abortion content—for example, books about abortion or
      perspectives on abortion.

Depending on how you’re certified, Google will automatically generate one of the
following in-ad disclosures for your abortion product or service ads: “Provides
abortions” or “Does not provide abortions.” The disclosures will show on all Search ad




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    formats and help ensure that these ads transparently provide basic information users
    need to decide which abortion-related ads are most relevant to them.

    Keep in mind Google has other restrictions for ads related to abortion. Learn more

    How to certify
    To run ads using keywords related to getting an abortion, apply for certification.

    During the certification application process, you’ll be asked to identify if your
    organization provides abortions or does not provide abortions. Once the application is
    submitted, your organization will be reviewed to confirm the information you provided in
    the application. You will then be certified as an advertiser that either provides abortions
    or does not provide abortions, and you will be notified of your certification status. Once
    certified, you can immediately start running ads using keywords related to getting an
    abortion, and Google will automatically generate the appropriate in-ad disclosure.

    Your certification may be removed if at any point your account doesn’t meet policy
    requirements. In addition, concealing or misstating information about the business,
    product, or service you’re promoting is not allowed and may subject your account to
    suspension.

    Learn about what happens if you violate our policies.

    Requesting an appeal
    If for any reason you aren’t approved for the certification you requested, you’ll have the
    opportunity to appeal. You may submit additional documentation or information to
    confirm your requested certification status.

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    Approval process
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o   List of ad policies



o   Review process



o   Verification



o   Change log



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    About Google Ads account suspensions
    We take legal requirements and user safety very seriously, so advertiser actions that put
    our users, Google, or our partners at risk can lead to account suspensions.

    Advertisers whose accounts are suspended will receive an in-account notification, as
    well as an email notification.

    Use our account troubleshooter to automatically check your account status or
    suspensions and learn what next steps may be needed:


    Get started

    Know this first
   Suspended accounts cannot run any ads or create new content. Advertisers can,
    however, still access their suspended accounts and any associated reports.
   Accounts related to the suspended account (for example, accounts using the same
    email or payment method, or accounts linked to the same manager account) may be
    suspended.
   Merchant Center accounts linked to suspended Google Ads accounts may be
    suspended.
   Any new accounts that the advertiser tries to create may be suspended.

    Why we suspend accounts




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    Google Ads policies and Terms & Conditions help create a safe and positive experience
    for users and advertisers. Accounts may be suspended if we find violations of our
    policies or the Terms & Conditions.

    There are also other reasons an account can be temporarily suspended. See below for
    more details.

    1. Google Ads Policy

    You can learn more about suspension due to violations of Google Ads policy here.

    2. Age requirements

    If we find that you are violating the Age requirements on Google accounts, we will
    suspend your account.

    The age we use is the one you entered when creating the Google Account that's
    associated with your Google Ads account. When creating a Google Account, you should
    provide your own age — not the age of your business.

    Learn more about Age requirements on Google accounts.

    3. Ads Grant Policy

    Your Google Ad Grants account can be suspended for not complying with Google Ad
    Grants policy.

    Learn more about Ads Grant policy.

    4. Unauthorized account activity

    If we detect that an unauthorized user is trying to access your Google Ads account, we’ll
    temporarily suspend your account to protect against unauthorized charges.

    Learn more about keeping your account secure.

    5. Billing and payment issues

    Regarding payments and billing, your account may be suspended for one of the
    following reasons:

   Promotional code abuse: If you attempt to sell promotional codes or use more than one
    promotional code on an account, the account may be suspended. For more information,
    see the country-specific terms and conditions for promotional codes.




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   Requesting a chargeback: If you instruct your bank or credit card company to reverse a
    charge that was paid against a legitimate Google Ads balance (also known as
    requesting a chargeback), your account may be suspended.
   Suspicious payment activity: If we detect suspicious or fraudulent payment activity on
    your account, we may restrict how much the account can spend or suspend the
    account.
   Unpaid balance: If your account has one or more unpaid balances, it may be temporarily
    suspended.

    Fix your suspended account
    Get started

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   Canceling your Google Ads account
   Managing billing after canceling your Google Ads account
   Reactivate a cancelled Google Ads account
   Understanding Google Ads country restrictions
   About account cancellation
   About Google Ads account suspensions
   Transfer ownership of a Google Ads, Google Analytics, or Google Merchant Center
    account

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   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
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34. српски
35. українська
36. ‫עברית‬




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37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns




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o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


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    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary



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Google Partners Program


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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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    Advertising Policies Help

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    Age requirements on Google Accounts
    Below are the minimum age requirements to manage your own Google Account.

    Note: For younger children, parents can help create and manage a Google Account with
    Family Link. When a child reaches their country’s minimum age, they can manage their
    own account.

    Find your country’s age requirement
    For all countries not listed below, 13 is the minimum age to manage your own Google
    Account.

    Note: These requirements may not be applicable to G Suite users, including accounts in
    G Suite for Education domains.

    Asia
    Caribbean
    Europe
    South America

    Service-specific age requirements
    Some Google services have specific age requirements. Here are a few examples:

   YouTube: When a YouTube video has been age-restricted, a warning screen is displayed
    and only users who are 18 or older can watch it. Learn more about age-restricted
    videos.
   Google Payments: For age requirements, check your country's Terms of Service.
   AdSense: 18+



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   Google Ads: 18+

    Disabled account due to age requirement
    Across Google services, if we learn that you may not be old enough to have a Google
    Account, you'll have 14 days to update your account to meet age requirements or your
    account will be disabled.

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    Disapprovals and suspensions
   Fix ads with policy violations
   Submit a campaign for policy review
   What happens if you violate our policies
   About Google Ads policy account suspensions
   About Google Ads account pausing
   Age requirements on Google Accounts

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11. hrvatski
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   Google Help




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   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

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    Ad Grants Help

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    Program policies
    We reviewed our policies to add clarity and raise standards of quality for our free
    advertising grants. Policies were last updated on January 1, 2018 for all Ad Grantees.

    Please note that we primarily use in-product notifications to communicate personalized
    suggestions as well as notifications of non-compliance. After modifying your account
    to comply with policies, request account reinstatement online.

    We're also committed to helping you use your ad grant successfully. Review our
    introduction to Ad Grants video and past live streams. Look out for upcoming live
    streams, local events, outreach through in-product notifications, and tailored help
    content to support you more. Connect with members of the Ad Grants team for
    personalized tips, office hours, and in-person workshops by opting
    in your preferred email address in your notification preferences, under "Customized
    Help & Performance Suggestions." You can also contact us through our active Online
    Community Forum.

    Along with the policies specific to Ad Grants, all Ad Grants accounts must also follow
    standard Google Ads policies.

   Google Ad Grants Terms and Conditions
   Mission-based campaigns
   Website policy
   Account management policy
   Media and press inquiries
   Refunds
   Ad Grants Policy Compliance Guide




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5. español (Latinoamérica)
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27. српски
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29. िह ी
30. ไทย
31. 中文（简体）




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32. 中文（繁體）
33. 中文（香港）
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36. English

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    Google Help


   Help Center




o   Setup and basics



o   Manage your account



o   Troubleshooting and support




   Community



   Ad Grants




   Privacy Policy




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   Terms of Service



   Submit feedback


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    Conversion tracking
    Troubleshoot issues with your Ad Grants activationFix issues with your ads Account
    access troubleshooter
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Ad Grants Help

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Google Ad Grants Terms and Conditions
Organizations participating in the Google Ad Grants program are required to accept the
Google Terms and Conditions and abide by Google Ads policies.

Google doesn’t donate Ad Grants to organizations that discriminate on any basis in
either hiring or employment practices or in the administration of programs and services.
Ad Grants does not allow ads, keywords, or destinations that promote hatred,
intolerance, discrimination, or violence. Specifically, your ads, keywords, and websites
should not promote opposition or anti-sentiment related to beliefs about protected
groups, including religion, race, disability, age, nationality, veteran status, sexual
orientation, gender, gender identity, or other characteristics that are associated with
systemic discrimination or marginalization.

Google Ad Grants accounts are not eligible to run election ads in regions where
verification is required. Please see the political content policy for more detail.

Google Ad Grantees must be organized and operated exclusively for charitable
purposes. Any account found in violation of program policies is subject to automatic
suspension without notification. Google reserves the right to grant or deny an
organization's application or participation at any time, for any reason, and to
supplement or amend these eligibility guidelines at any time.

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    Program policies
   Google Ad Grants Terms and Conditions
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   Website policy
   Account management policy
   Media and press inquiries
   Refunds
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5. español (Latinoamérica)
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13. Nederlands
14. norsk
15. polski
16. português (Brasil)
17. română




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18. slovenčina
19. slovenščina
20. suomi
21. svenska
22. Tiếng Việt
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   Help Center




o   Setup and basics



o   Manage your account



o   Troubleshooting and support




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   Community



   Ad Grants




   Privacy Policy



   Terms of Service



   Submit feedback


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    Ad Grants Help

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    Mission-based campaigns
    To help you to get the right audience and to help users find what they're looking for,
    each ad and keyword in your Ad Grants account must reflect your organization’s
    primary mission, be relevant to your nonprofit's programs and services, and be specific
    enough to provide a good experience for the user seeing your ads.

    As such, the following keywords and queries for serving Ad Grants ads are not
    permitted:

   Single-word keywords (excluding your own branded words, recognized medical
    conditions, acronyms, and a small number of exception keywords published here)
   Note terms with dashes, periods, or special characters are not treated as single-word
    keywords
   Check Search Terms Report to add exact-match negative keywords where needed
   Overly generic keywords like “best videos”, "cool apps", “e-books”, “today's news”, “easy
    yoga”, “download games”, "things to do", “job alert”, or names of other
    organizations, places, historical events, or people on their own
   Allowed examples include "museums in [your city name]", "emergency preparedness
    apps" or "YouTube video to learn English", but not a city name, 'Android apps', or
    'YouTube' on their own
   You may see these terms disapproved for 'Unclear Relevance' in your account
   Check Search Terms Report to add negative keywords where needed
   Keywords with a Quality Score of 1 or 2
   To prevent account disruption, set up an automated rule to pause low quality keywords
    automatically.


    How do I comply with Ad Grants' policies? An automated rule can help




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    The Ad Grants Mission-based campaigns policy requires active keywords to have a
    quality score of 3 or higher (on a scale of 10), meaning keywords with a quality score of
    1 or 2 should be paused or removed. An automated rule is the best way to avoid
    compliance challenges related to quality scores. This video provides step-by-step
    instructions on how to set up an automated rule to stay compliant with this policy.


    Keywords found in violation of program policies are subject to automatic status
    changes without notification to pause the keyword. All keyword status changes are
    visible in the Change History section of your account. If you believe a keyword status
    was changed in error, you may appeal the decision.

    Alternatively, you may choose to use AdWords Express, which automatically manages
    your ad's search phrases (instead of keywords) based on your business product or
    service categories.

    If your account is temporarily deactivated, you may request it to be reinstated after
    you’ve adjusted your account to bring it into compliance.

    Any account found in violation of program policies is subject to automatic suspension
    without notification. Accounts that fall out of compliance can adjust the issue and
    request reinstatement. Google reserves the right to grant or deny an organization's
    application or participation at any time, for any reason, and to supplement or amend
    these eligibility guidelines at any time.

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   Account management policy



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     English?

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36. English

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   Help Center




o   Setup and basics



o   Manage your account



o   Troubleshooting and support




   Community



   Ad Grants




   Privacy Policy




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   Terms of Service



   Submit feedback


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    Ad Grants Help

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    Website policy
    Your organization may use only website domains that have been approved through the
    Ad Grants enrollment process or through the additional website domain(s) request
    form. Approved domains are subject to the following criteria:

   Owned website

    Your organization must own the domain that users land on when they click your ad. If
    you'd like users to land directly on a donation page, your content may be hosted by one
    of the these verified donation processors.

   High-quality website
   Your site must have a robust and clear description of your organization, mission, and
    activities. It must have substantial content, updated events and information, clear
    navigation, and clear calls to action for a high quality user experience.
   Your site's content must be unique to your organization.
   Your website must load quickly, not contain broken links, and (for newly approved
    domains) be secured with HTTPS.
   Commercial activity
   Commercial activity must not be the purpose of your website. This includes sales of
    products and services, offering consultations, generating leads, and providing referrals.
   Sites resembling businesses or for-profit blogs / vlogs are not permitted.
   Any limited commercial activities must describe how they support your mission.
   If your organization charges for products or services, your website must describe how
    your organization uses funds, for example, by disclosing an annual report.
   Your website may not make claims that promise results only after a consultation,
    service, or purchase.
   Your organization must serve the public in some way, rather than only those who pay for
    a service.



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   Limited ads on website
   Advertising on your organization’s website must be relevant to your mission and not be
    obtrusive to users.
   Your website may not host Google AdSense ads or affiliate advertising links. If you're
    required to link to an AdSense account to receive payments for the Android market,
    you're eligible as long as you don't display AdSense ads on your website.

    How to add a new website domain

    To add or update website domain(s) to your account, complete the additional website
    domain(s) request form. Your request will be reviewed within 10 business days.



    Any account found in violation of program policies is subject to automatic suspension
    without notification. Google reserves the right to grant or deny an organization's
    application or participation at any time, for any reason, and to supplement or amend
    these eligibility guidelines at any time.

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   Terms of Service
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    English

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    Account management policy
    Visit the Ad Grants Account Review Dashboard to understand your current Ad Grants account
    status with program policies and best practice adoption. Review your status regularly and use the
    linked resources provided to take action (see short video for instructions).


    A well maintained account is critical to making meaningful connections with website
    visitors. Tracking meaningful conversions is fundamental to understand your results
    and continuously optimize for performance.

    Account structure
    A well-structured account is imperative to show your audience the right ad at the right
    time.

   Ad Grants accounts must have:
   Proper location settings (specific geo-targeting to show ads in locations where users
    will find your nonprofit's information and services useful).
   If you do humanitarian relief in Nepal but your primary online goal is to raise donations
    and your donors are in the United States, show your ads in the US.
   If you would like to brand your organization in a wider geographic area, such as a
    museum that would like visitors from across the country to visit, one campaign may be
    geo-targeted widely that indicate your service and city's name, such as 'art museums in
    Toronto', while most of your campaigns would show ads in the Toronto area.
   If you are an organization that has different services locally and nationally, separate
    campaigns by geographic area to ensure that users can benefit from your services in
    their geographic location.




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   If you primarily serve your local community, your ads should be shown only in your town
    or local area, such as food banks and houses of worship.
    At least 2 active ad groups per campaign (if you are not exclusively using Smart
    Campaigns) each containing a set of closely related keywords and 2 active, unique text
    ad
   At least 2 unique sitelink ad extensions

    If your account is deactivated, bring your account into compliance and request it to be
    reinstated.

    Performance
    Ad Grants accounts who are not exclusively using Smart Campaigns must maintain a
    5% click-through rate (CTR) each month (at the account level, not necessarily each
    keyword). If the CTR requirement isn't met for 2 consecutive months, your account will
    be temporarily deactivated. You may request reinstatement after bringing your account
    into compliance with these suggestions.

    Tracking Conversions
    In order to use Ad Grants to drive meaningful impact, your account must have
    conversion tracking set up following tailored requirements intended to suit the needs of
    nonprofits. This Ad Grants Conversion Tracking Guide provides instructions to set up
    your conversion tracking properly.

    Examples of meaningful conversion goals include donations, purchases, ticket sales,
    membership registrations, email sign-ups, volunteer sign-ups, new membership form
    completions, petitions signed, quizzes completed, information request submissions,
    calls to your organization, or engagement with content on your website.

    For accounts created on or after April 22, 2019, at least one of the above conversion
    types must be set up as described in the Ad Grants activation guide and accrue at least
    1 conversion per month. Conversion types such as time spent on site or homepage
    visits may be added to your account, but must be excluded from “Conversions” and use
    the category of ‘Other.’

    For accounts created on or after January 1, 2018 or any account using a conversion-
    based Smart bidding strategy, valid conversion tracking must be set up as described in
    the Ad Grants Conversion Tracking Guide and accrue at least 1 conversion per month.

    If your account is deactivated, you may request it to be reinstated after you’ve adjusted
    your account to bring it into compliance.




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Bidding
In order to drive performance for Grantees, Ad Grants requires that accounts created on
or after April 22, 2019 must use conversion-based Smart bidding for all campaigns,
unless using Smart campaigns. Each campaign must use either Maximize conversions,
Maximize conversion values, Target CPA, or Target ROAS bidding.

If your account is deactivated, you may request it to be reinstated after you’ve adjusted
your account to bring it into compliance.

Third party management
Google Ad Grantees are permitted to work with third-party account managers. Ad
Grants Certified Professionals are a network of recommended partners for Grantees.

Program engagement
We’re always looking for ways to improve the Ad Grants program, and we’d like to hear
about your organization’s needs and how we can help support you. Periodically, we'll
send a program survey to all Grantees to understand how your organization uses and
benefits from Ad Grants and require your thoughtful response to participate in the
program.

To receive notifications, review your in-product notifications and make sure that the
email address used for notifications is opted into receiving emails from us.

If your account is deactivated, you may request it to be reinstated after you’ve
responded to the survey.

Any account found in violation of program policies is subject to automatic suspension
without notification. Google reserves the right to grant or deny an organization's
application or participation at any time, for any reason, and to supplement or amend
these eligibility guidelines at any time.




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Media and press inquiries
We don't allow press releases or press outreach upon your acceptance to the Ad Grants
program, but you're welcome to mention your participation in the program on social
media channels, newsletters, or on the in-kind donation page of your website, using the
language provided on our Google Press page, seen below. You may not publish the
Google Ad Grants logo on the in-kind donation page of your website. Violation of this
policy can result in the suspension of your account.

      [Organization name] is a recipient of a Google Ad Grant. The Google Ad
      Grants program supports registered nonprofit organizations, including
      many that share Google's philosophy of community service to help the
      world in areas such as science and technology, education, global public
      health, the environment, youth advocacy, and the arts. Google Ad Grants is
      an in-kind advertising program that awards free online advertising to
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    Refunds
    Please know that we won't refund any money if you mistakenly enter billing information
    in a Google Ads account.

    We clearly state in the Google Ad Grants activation guide to not create a Google Ads
    account for use with Google Ad Grants. After a nonprofit has submitted the account for
    review and received approval through the Google Ad Grants application process, Google
    Ad Grants support will invite the organization to access their Google Ad Grants
    account with free spend.

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   Ad Grants Policy Compliance Guide
   We launched updated Ad Grants policies in January 2018 to provide more guidance on
   running a high quality account.

   The instructions below are based on the new Google Ads experience. Check what
   Google Ads experience you’re using.

   No single-word keywords permitted
   Under Ad Grants' Mission based policy, single keywords aren’t permitted. Your own
   brand keywords, approved medical conditions and some other cases are deemed an
   exception to this policy. To pause single keywords you can use a filter.

   Filter for single keywords and pause them:

1. Sign in to your Google Ads account.
2. From the page menu, click Campaigns. On the filter bar above the statistics table, select
   Campaign status and All enabled.
3. From the page menu, click Ad groups. On the filter bar above the statistics table, select
   Ad group status and All enabled.
4. From the page menu, click Keywords. On the filter bar above the statistics table, select
   Keyword status and All enabled.
                          The link ed image cannot
                          be display ed. The file
                          may have been mov ed,
                          renamed, or deleted.
                          Verify that the link




5. Click the filter button  above the statistics table. Choose Keyword text from the list
                          points to the correct file
                          and location.




   of options and does not contain. In the text box enter a space by pressing the spacebar
   on your keyboard once. Click Apply to see a list of single keywords.
6. Check the select all checkbox, click Edit and then Pause, unless it’s your brand term, an
   excepted medical term or a listed exception.




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   No overly generic keywords permitted
   Ad Grants' Mission based policy requires overly generic keywords that don't indicate the
   intent of the person searching to be paused or removed, for example: ‘“free videos”, “e-
   books” or “today’s news”.

   Your landing page experience is a good indication of whether your keyword is too
   generic. If a keyword has a landing page experience below average, this indicates that
   users weren't finding the content that they were looking for when they searched.
   Consider rewording these keywords or adding keywords found in the Search Term
   report that show a strong CTR.

   No keywords with a quality score of 1 or 2 permitted
   Ad Grants' Mission based policy requires keywords with a quality score of 1 or 2 to be
   paused or removed. Check your quality score on a regular basis to pause non-
   permitted keywords. You can also setup an automated rule so the system automatically
   pauses these keywords for you.

   How to check your keywords' quality score

   The quality score can be found in a column in your Keywords tab. However, it may not
   be showing in your account as default. If you don’t see a Quality Score column in your
   keywords tab, you can add it:

1. Sign in to your Google Ads account.
2. To see data for a specific period, click the date range selector on the top corner of the
   page and select the time period you'd like to analyze.
3. Click Keywords in the page menu.
                             The link ed image cannot be
                             displayed. The file may have been
                             mov ed, renamed, or deleted. Verify
                             that the link points to the correct
                             file and location.




4. Click the Columns icon       above the statistics table and select Modify columns from
   the drop down.
5. Select Quality Score in the modify columns menu.
6. Click Apply to add the column Quality Score to your Keywords table.

     Quality scores marked as "—" are exempt from this policy and not monitored.

   Pause keywords with quality scores of 1 or 2 with an automated rule

   You can setup an automated rule so the system regularly pauses keywords with a
   quality score of 1 or 2 for you when the condition is met.




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1. Click Keywords in the page menu to reach the keywords page, and click the 3-dot icon
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     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




          .
2.   Select Create an automated rule.
3.   For Type of rule select Pause keywords.
4.   For the Apply to keywords selection choose All enabled keywords.
5.   For the Condition selection choose Quality Score, then < and 3. Ensure the checkbox for
     Include keywords with quality scores of “—” is deselected.
6.   For Frequency set Daily, time as 11:00PM and using data from Same day.
7.   Choose if you wish to receive an email notification, enter a rule name and click Save
     Rule.


     How do I comply with Ad Grants' policies? An automated rule can help
     The Ad Grants Mission-based campaigns policy requires active keywords to have a
     quality score of 3 or higher (on a scale of 10), meaning keywords with a quality score of
     1 or 2 should be paused or removed. An automated rule is the best way to avoid
     compliance challenges related to quality scores. This video provides step-by-step
     instructions on how to set up an automated rule to stay compliant with this policy.


     Must maintain a 5% click-through rate (CTR) each month
     Failing to meet 5% CTR for two consecutive months can result in temporary account
     deactivation.

     To correct your CTR before your account is temporarily deactivated, or once your
     account is temporarily deactivated, follow these steps:

1. Set the date range to the past 7 days that your account was active. If your account was
   deactivated or campaigns were paused, set the date range to the last 7 days that your
   ads accrued impressions.
2. From the page menu on the left sidebar, click Campaigns. On the filter bar above the
   statistics table, select Campaign status and All enabled.
3. From the page menu, click Ad groups. On the filter bar above the statistics table, select
   Ad group status and All enabled.
4. From the page menu, click Keywords. On the filter bar above the statistics table, select
   Keyword status and All enabled.
5. Order by top impressions down by clicking the column header Impr. at the top of the
   statistics table.
6. Pause keywords with high impressions (see Impr. column) and low CTR (see CTR
   column) by clicking the checkbox to the left of the keyword, click Edit and then Pause.
   This step will increase the average CTR of all enabled keywords.




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7. Continue until the CTR metric for the total bar on the statistics table, called Total:
   filtered keywords, reads at least 5%.

    If your account has already been temporarily deactivated, after following the above
    steps, and correcting any other outstanding Ad Grants policy issues, fill out this form to
    request reactivation.
    Check out our additional suggestions to improve CTR.

    Must have valid conversion tracking, if applicable
    Ad Grants policy requires that accounts created since January 2018 and advertisers in
    the program using Smart Bidding strategies must implement accurate conversion
    tracking.

    Accurate conversion tracking means that you are reporting at least 1 conversion per
    month (see the Conversions column) and that if your conversion rate is high (see
    the Conv. Rate column), it's accurately setup and due to strong performance of a
    meaningful conversion. Your total number of clicks should not nearly equate to your
    total number of conversions.

    If you haven’t received at least 1 conversion last month, please try one of the following
    options:

   Create a goal in Google Analytics and import it into Google Ads (recommended) or add
    a new conversion directly in Google Ads.
   If you’re using Google Ads conversion tracking already but not reporting conversions,
    troubleshoot your conversion tracking tag.
   If you have Google Analytics goals setup and imported into Google Ads already, then
    troubleshoot your Goals setup.

    If your conversion rate is high, please confirm that it's due strong performance for a
    meaningful conversion. Top fixes include:

   Consider changing your settings to suit the type of conversion and “count one” instead
    of “count every” conversion where appropriate (see counting options)
   Consider tracking a ‘thank you’ page where possible using Google Ads conversion
    tracking or a Destination goal with Google Analytics.
   If you don’t have a ‘thank you’ page to track on your site, try a Google Analytics Smart
    Goal
   Increase the barrier to what counts as a conversion:
   If using a Destination goal or conversion, ensure the page you’re tracking isn’t a
    frequently visited, common page, but instead one that’s accessed after someone
    completes a meaningful action, i.e. a ‘thank you’ page.
   If using a Duration goal, consider increasing the minimum amount of time spent on site.




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   If using a Pages/Screens per session goal, consider increasing the minimum amount
    number visited.

    Optimization tips and troubleshooting steps can be found in our Ad Grants Conversion
    Tracking guide.

    Must have at least 2 ads per ad group
    Invest in building out your campaign structure with at least 2 ads per ad group, leading
    to relevant landing pages and set the ad rotation to Optimize. This setting optimizes
    your ads for each individual auction using signals like keyword, search term, device,
    location, and more.

    Learn how to create ads.

    Must have at least 2 ad groups per campaign
    Create at least 2 ad groups per campaign with a set of highly relevant and tightly knit
    keywords that align with the 2 associated ads and destination landing pages. Check out
    your Search Terms report to see what multiple word searches have gained a good CTR
    and add these.

    Learn how to create ad groups.

    Must have at least 2 sitelink ad extensions
    Sitelinks provide the person searching more opportunities to click directly from your ad
    to landing pages on your site. Consider what specific pages might be most valuable to
    people searching and add these as sitelinks, for example a campaign page for a
    fundraising campaign.

    Learn how to add sitelinks.

    Must respond to program survey
    All grantees must complete an annual program survey. The survey has been sent to the
    login email addresses on each Ad Grants account earlier in the year. If you have
    submitted it but receive a notification that it still needs to be completed, then we haven't
    been able to successfully capture your submission based on the customer ID entered
    and please resubmit.

    The survey link can be found here. Pay careful attention to entering your customer ID in
    the format of 10 digits "XXXXXXXXXX" so we can identify your submission.



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    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
                                      Need more help?
                Sign in for additional support options to quickly solve your issue
                                             Sign in
    Program policies
   Google Ad Grants Terms and Conditions
   Mission-based campaigns
   Website policy
   Account management policy
   Media and press inquiries
   Refunds
   Ad Grants Policy Compliance Guide

   ©2021 Google
   Privacy Policy
   Terms of Service
   Contact us

     English?

    English

1. dansk
2. Deutsch
3. English (United Kingdom)
4. español
5. español (Latinoamérica)
6. Filipino
7. français
8. hrvatski
9. Indonesia
10. italiano
11. magyar
12. Melayu




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13. Nederlands
14. norsk
15. polski
16. português (Brasil)
17. română
18. slovenčina
19. slovenščina
20. suomi
21. svenska
22. Tiếng Việt
23. Türkçe
24. čeština
25. български
26. русский
27. српски
28. ‫עברית‬
29. िह ी
30. ไทย
31. 中文（简体）
32. 中文（繁體）
33. 中文（香港）
34. 日本語
35. 한국어
36. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Setup and basics



o   Manage your account



                                                                            1905
                                                                             2100
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o   Troubleshooting and support




   Community



   Ad Grants




   Privacy Policy



   Terms of Service



   Submit feedback


    Introduction to the Ad Grants programGoogle Ad Grants basicsProgram
    policiesEligibility requirementsSet up your accountApplication statusBilling
    informationProgram basics
    Conversion tracking
    Troubleshoot issues with your Ad Grants activationFix issues with your ads Account
    access troubleshooter


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




                                                                                     1906
                                                                                      2101
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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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Google Ads Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next
Help CenterCommunityAnnouncements


Keep your account secure
Keeping your data safe is a top priority. While we take a lot of steps to keep your Google
Ads account secure, here are a few more ways you can protect your account.

Note: To ensure your Google Ads account remains protected over time, we may
periodically suggest tailored recommendations through email updates and notifications
in your account.

Protect your Google account
Keep in mind that anyone with access to your Google account can access your Google
Ads account and look up your advertising data. To avoid unauthorized access, take
steps to protect your Google account.

Enable 2-Step Verification
2-Step Verification is a simple way to protect your account against password
theft. When you set up 2-Step Verification, you’ll sign into your account using a
password and a second verification step. The second verification step can involve a text
message (SMS) or call, security key, or a Google prompt on a compatible mobile device,
and ensures potential attackers can’t access your account even if they have your
password.

If you don’t want to enter a 2-Step Verification code or use your Security Key every time
you sign in to your Google Account, you can mark your computer or mobile device as
trusted and not be asked again.




                                                                                     1908
                                                                                      2103
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Choose a strong, unique password
A strong password contains a combination of numbers, characters, and case-sensitive
letters, so it can't be guessed easily. Don't use the same password for different
websites.

Keep your account recovery options up-to-date
Check that your account recovery options are up-to-date to prevent getting locked out of
your account.

Scan your computer for malware
Make sure your computer's antivirus protection is up to date and that you periodically
run a full system scan. Someone can steal your personal information by spreading
malware onto your system, so run full system scans on a regular basis to help ensure
that your system is free of malware. Learn more about protecting yourself from
malware.

Protect your Google Ads account
Below are a few best practices that can reduce the risk of your Google Ads accounts
being compromised by unauthorized users.

Require your users to enable 2-Step Verification


Account administrators can require all users of their Google Ads accounts to enable 2-
Step Verification, as described above. When you set up 2-Step Verification, you’ll sign
into your account using a password and a second verification step. The second
verification step can involve a text message (SMS) or call, security key, or a Google
prompt on a compatible mobile device, and ensures potential attackers can’t access
your account even if they have your password.

Users who try to access your Google Ads account without first enabling 2-Step
Verification will see this message prompting them to set up 2-Step Verification.

How to change authentication settings in your Google Ads account




How to change authentication settings across your
managed accounts
“Confirm it’s you” security challenges




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     To help protect your account, you may need to prove it’s you when you try to complete
     sensitive actions like the following:

    Inviting Standard or Admin users
    Performing out-of-the-ordinary budget changes
    Creating Ads with URL domains not previously used in your account

     When attempting these actions, you may be asked to confirm it’s really you by
     completing a security challenge such as receiving a security code on your phone. For
     more information on completing these challenges, learn how to verify it’s you when
     accessing your account.

     Restrict the email domains your users can use
     By adding allowed email domains in your security settings, you can ensure that users
     from outside your organization don’t get invited to access your Google Ads account. For
     instance, if you set “example.com” as the allowed email domain for your account, you
     will only be able to invite user@example.com to the account, but not user@gmail.com.
     Note that only users with admin access can add allowed email domains to accounts.

1. Sign in to your Google Ads account.
                          The linked image cannot
                          be display ed. The file
                          may hav e been mov ed,
                          renamed, or deleted.
                          Verify that the link points
                          to the correct file and




2.   Click the tools icon     in the top right corner of the page.
                          location.




3.   Under “Setup,” click Access and security.
4.   Along the top of the page, click Security settings.
5.   Click Allowed domains to expand the panel.
6.   Click Add Domain to add a domain to the list.
7.   Click the "x" symbol to the right of a domain to remove it.
8.   Click Save.

     Avoid sharing login credentials among multiple users
     If many people need to use your Google Ads Account, don't have them share the same
     username and password. Instead, grant each person access to the Google Ads account,
     using their individual Google account. Each Google account can have direct access to
     up to 20 Google Ads Accounts. Also keep in mind that if you're managing multiple
     Google Ads accounts, a manager account might be a better option for you. You can
     then give different users access to the manager account, and allow them to access
     multiple accounts from that single manager account.

     Review who has access to your Google ads account
     Last but not least, you should regularly check on user access and permissions across
     your Google Ads accounts.



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   Check for unauthorized changes
   Sign in to your Google Ads Account regularly to check for any unexpected or
   unauthorized activity such as changes to your ads or budget. If you think someone may
   have accessed your billing information, check your bank or credit card statements as
   well for any unauthorized activity. Report unauthorized Google Ads activity.

   Remove inactive users
   Remove access for users who have left your company or no longer work with your
   Google Ads account. Unless you remove these inactive users, they can still sign in to
   your account and make changes. Learn how to remove users from your account.

   Grant the minimum access needed for each user
   When you invite a new user, that user is assigned a specific access level. With different
   access levels, you can give users selective access to various tasks and features. For
   example, users with Admin access can invite new users into the account to make
   changes, while users with Standard access can't. Similarly, you can assign a “Read only”
   access or “Email only” access to users who don't need to make changes to your
   account. Learn more about access levels in your Google Ads Account.

   Review related manager accounts
   If you have client accounts under a manager account, you can check if they’re linked to
   any managers outside of your MCC hierarchy in the “Related managers” tab. Learn more
   about the Related managers tab.

   Opt out of 2-step verification
   Google strongly encourages all advertisers to use 2-step verification to log in to their
   accounts. Using 2-step verification protects your account and sensitive data from
   attackers, even if they have your password. If you’d prefer not to protect your account,
   follow the instructions below.

   Opt out of 2-step verification

   Step 1: Disable the 2-step verification requirement in Google Ads

   Note: You must have administrative access to make this change.

1. Sign in to your Google Ads account.




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    Note: If you see a message saying you must set up 2-step verification to log in, follow
     the instructions to set up 2-step verification on your Google account. (This can be
     disabled later.)     The linked image cannot
                          be display ed. The file
                          may hav e been mov ed,
                          renamed, or deleted.
                          Verify that the link points
                          to the correct file and




2.   Click the tools icon    in the top right corner of the page.
                          location.




3.   Under “Setup,” click Access and security.
4.   Along the top of the page, click Security settings.
5.   Click Authentication method to expand the panel.
6.   Set the authentication method to Standard.

     Step 2: Disable 2-step verification on your Google account

1.   Go to your Google account.
2.   On the left navigation panel, click Security.
3.   On the "Signing in to Google" panel, click 2-Step Verification.
4.   Click Turn Off.

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                                                          Was this helpful?
                                                              YesNo




                                                              Submit
                                                        Need more help?
             Sign in for additional support options to quickly solve your issue
                                                              Sign in
     Account administration and security
    The security and privacy of your account
    Keep your account secure
    Protect yourself from malware
    Suspicious emails or calls claiming to be from Google Ads
    Unauthorized Google Ads charges
    About direct debit daily spending limits

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    Privacy Policy
    Terms of Service
    Google Ads Advertising Policies
    About the Help Center



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    English?

   English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）



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42. 中文（香港）
43. 日本語
44. 한국어
45. English

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     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn




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o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program


    What is the issue with this selection?



                                                                                   1915
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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    Advertising Policies Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next


    Promotional codes
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    What's the policy?

    Google and our partners sometimes distribute promotional codes for Google Ads.
    These promotional codes can be used to redeem credit that gets applied to your Google
    Ads account. The terms and conditions for each promotion can vary by country or by
    promotion, so please be sure to check all the details in the promotional material. For
    your convenience, we've included a list of general terms and conditions for our
    promotional codes in the section below.

    How does this policy differ from country to country?

    Click a country below to see the general terms and conditions for using Google Ads
    promotional codes.

   Algeria (French)
   Algeria (Arabic)
   Argentina
   Australia
   Austria
   Belarus
   Belgium (French)
   Belgium (Dutch)
   Bolivia
   Bosnia And Herzegovina



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   Brazil
   Bulgaria
   Canada (English)
   Canada (French)
   Chile
   China
   Colombia
   Costa Rica
   Croatia
   Czech Republic
   Cyprus
   Denmark
   Dominican Republic
   Ecuador
   Egypt
   El Salvador
   Estonia
   Finland
   France
   Germany
   Greece
   Guatemala
   Honduras
   Hong Kong
   Hungary
   India
   Indonesia
   Ireland
   Israel
   Italy
   Japan
   Kazakhstan
   Korea
   Latvia
   Lithuania
   Luxembourg (French)
   Luxembourg (German)
   Macedonia
   Malaysia (English)
   Malaysia (Malay)
   Mexico
   Montenegro
   Morocco (French)
   Morocco (Arabic)




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   Netherlands
   New Zealand
   Nicaragua
   Norway
   Pakistan
   Panama
   Paraguay
   Peru
   Philippines
   Poland
   Portugal
   Puerto Rico
   Romania
   Russia
   Saudi Arabia
   Serbia
   Singapore
   Slovakia
   Slovenia
   South Africa
   Spain
   Sweden
   Switzerland (German)
   Switzerland (French)
   Switzerland (Italian)
   Taiwan
   Thailand
   Tunisia (French)
   Tunisia (Arabic)
   Turkey
   Ukraine
   United Arab Emirates (Arabic)
   United Arab Emirates (English)
   United Kingdom
   United States
   Uruguay
   Venezuela
   Vietnam

    Examples

    Acceptable                            Not acceptable




                                                                           1919
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    Opening a new Google Ads account and then Selling Google Ads promotional credits
    using a promotional credit that you received in Using more than one promotional credit per
    the mail                                        customer


    What happens if I violate this policy?

   Account suspension: An account may get suspended if you have several violations or a
    serious violation. If this happens, all ads in the suspended account will stop running,
    and we may no longer accept advertising from you. Any related accounts may also get
    permanently suspended and your new accounts may get automatically suspended at
    set up. Learn more about suspended accounts

    Contact information

    If you still have questions about this policy, you can contact us via the link below. You'll
    be taken to our "Ad Approvals and Policies" form where you can write to us about your
    issue.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Contact Google Ads Support
    Give feedback about this article
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                                                                       Was this helpful?
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                                                                           Submit
    Google's Brand
   About advertising incentives
   Google Advertising Cookies
   Promotional codes
   Requirements for third-party ad serving
   Reservation Display Ads Billing Policy

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   Terms of Service

              English?




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   English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語



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43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service




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   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit
    By continuing, you agree Google uses your answers, account & system info to improve
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    Google Ads Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                          Next
    Help CenterCommunityAnnouncements


    Canceling your Google Ads account
    You can cancel your Google Ads account at any time. This will automatically stop all
    your ads within 24 hours.

    This article shows you how to cancel your account, and what you should know before
    you cancel your account.

    Note:

    Canceling your Google Ads account is different from deleting your Google Account.
    When you cancel your Google Ads account, your ads stop showing, but you’re still able
    to access the account. When you delete your Google Account, all Google product
    accounts associated with that account will be canceled, and you'll be unable to access
    the accounts in the future. Your Gmail username will also be deleted and can't be used
    again in the future. Learn more about deleting your Google Account.

    Before you cancel

    Note that canceling your Google Ads account has the same effect as pausing your
    campaigns, with these exceptions:

   When you cancel your account, you can receive a refund for any unused account
    balance, excluding amounts from promotional offers.
   If you cancel your account, you'll need to reactivate your account first if you want to use
    it again in the future.

    If you don't have unused funds in your account, you may want to pause your campaigns
    instead of canceling your account.




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    If you’re canceling your account because you’re not happy with how your campaigns are
    performing, you may want to check out optimization tips that could help.

    Note: You can also cancel accounts that are still being set up by clicking the delete icon
    The linked image cannot
    be display ed. The file
    may have been mov ed,
    renamed, or deleted.
    Verify that the link




                                 next to them in the Account selector.
    points to the correct file
    and location.




    How cancellation works

    If you decide to cancel your account, keep in mind that you'll still need to pay for any
    accrued costs in your account. If you have money left in your account, we'll refund it to
    your payment method within 4 weeks. Learn more about managing billing after
    canceling your Google Ads account.

    After you cancel, you’ll still be able to access the data in your Google Ads account by
    logging in to Google Ads. If you want to use Google Ads again in the future, you can
    reactivate your account at any time.

    Note: If your Google Ads account has been inactive for more than 15 months - meaning
    your account hasn’t been spent in more than 15 months - your account will be
    automatically canceled. Learn more about cancellation of inactive accounts.

    Requirements for cancellation

    To cancel your account, you'll need:

   Administrative access to your account
   Billing set up for your account

    If you have a manager account and want to cancel one of your managed accounts, keep
    in mind the following requirements:

   You’ll need administrative access to your manager account
   Your manager account needs to have ownership of the client account you'd like to
    cancel.

    Learn more about canceling client accounts

    How to cancel your account

1. Go to your Google Ads account Preferences.
2. Click the Account Status section to expand it.
3. Click Cancel my account.

    After your account is canceled



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    The following will take place after canceling your account:

   All remarketing lists that are owned by the canceled account, including Customer
    Match, will be set to “Closed,” preventing new users from being added to these lists.

    In an effort to remove your data, the following will take place about a month after
    account cancellation:

   All remarketing lists that are owned by the canceled account, including Customer
    Match, will have their membership duration updated to 1 day. This action will remove all
    users from these lists.
   Once the users are removed, lists that are shared with other accounts will no longer be
    usable for those accounts.
   Any parameters for dynamic remarketing will be deleted.

    If you have any refundable credit left in your canceled account, you should receive a
    refund within 4-12 weeks. Learn more about managing billing after canceling your
    Google Ads account.

    Problems canceling your account

   If you don't see the option to cancel your account, you may not be eligible to cancel it.
    Review "Requirements for cancellation” above.
   If your administrative access user left the company, and you want to cancel your
    account, collect your Customer ID, sign-in email address, account billing information,
    and contact Google Ads support.

    Related links

   Managing billing after canceling your Google Ads account
   Access your canceled Google Ads account
   Reactivate a cancelled Google Ads account

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   Canceling your Google Ads account
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o   Setup and basics



o   Manage ads



o   Measure results



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o   Billing



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    other conversionsGoogle Analytics and Google AdsCommon reporting issues
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    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
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Help CenterCommunityAnnouncements


Requesting refunds
                                                      United States
   Showing information for the following country:
                                    United States

To see subtitles in your language, turn on YouTube captions. Click the Settings icon at
the bottom of the video player, select "Subtitles," and then specify your language.



You can request a refund by canceling your Google Ads account while there is existing
credit in the account. We'll automatically initiate a refund to your bank account or credit
card associated with your Google Ads account.

Processing time: 2 weeks for Google to process, and additional time for your credit card
company to process.

Reasons a refund might not be available

We don't offer refunds in these cases:

       You have money left over in your account from a promotional code.
       Your account is still active.
       You have an outstanding balance that you still need to pay.

Timelines and delayed refunds

Refunds typically take up to 2 weeks for us to process, and it can take an additional 10
business days for your bank or credit card company to credit the refund to your account,
depending on their own processes.



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    If you've waited longer than 4 weeks, please contact us.

    Checking for credit or outstanding balance
    Canceling your account

    Tip

    You can cancel your refund request if we haven't sent you a confirmation email about
    your refund. Just reactivate your account.

    Related article

    See how to reactivate your account.

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   Understanding credits and adjustments to your account
   Requesting refunds

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    other conversionsGoogle Analytics and Google AdsCommon reporting issues
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    Advertising Policies Help

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    Customer Match policy
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    This policy applies to advertisers using Customer Match for campaigns on Search,
    Shopping, Display, YouTube, Discovery, or Gmail.

    Starting in Fall 2021 advertisers with a good history of compliance can use certain
    aspects of Customer Match.

   If you don’t meet all the requirements listed below, you’ll only be able to use Customer
    Match on the “Observation” setting without bid adjustments, and for customer list
    exclusions.
   If you meet all the requirements listed below, you’ll also be able to use additional
    Customer Match features, like the “Targeting” setting and bid adjustments.




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    Requirements for using Customer Match
    Customer Match is not available for all advertisers. To use Customer Match, your
    account must have:

   A good history of policy compliance.
   A good payment history.
   At least 90 days history in Google Ads.
   More than 50,000 USD total lifetime spend. For advertisers whose accounts are
    managed in currencies other than USD, your spend amount will be converted to USD
    using the average monthly conversion rate for that currency.

    If your account does not meet the above criteria, then your account is currently ineligible
    to use Customer Match.

    For personalized ads on Google Search, Shopping, Gmail, and YouTube, first-party and
    third-party data use policies apply.

    Collecting customer data
    When using Customer Match, you may only upload customer information that you
    collected in the first-party context, such as information you collected from your
    websites, apps, physical stores, or other situations where customers shared their
    information directly with you.

    Examples:

           You collected information from a customer who had purchased an item
            from your website.
           You collected information from a customer who registered to receive
            marketing messages through your apps.
           You collected information from a customer who signed up for your loyalty
            program in your physical store.

    You must also:

           Ensure that your privacy policy discloses that you share customer data
            with third parties to perform services on your behalf, and that you obtain
            consent for such sharing where legally required.
           Only use Google’s approved API or interface to upload customer data.
           Comply with all applicable laws and regulations, including any self-
            regulatory or industry codes that may apply.




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    Additional Requirements
    You are prohibited from:

           Running ads that collect personally identifiable information, except for
            Gmail ads with HTML forms that comply with the Gmail ads policy.
           Uploading information for any customer who is under the age of 13 or that
            was collected from any site or app directed to children under the age of
            13.
           Creating ad content which implies knowledge of personally identifiable
            information or sensitive information about your customers (see below for
            more information).
           Using a customer list that targets an overly narrow or specific audience.
            For example, you can’t combine a customer list with other targeting
            criteria (such as geographic limitations) if it results in an ad targeted to a
            relatively small number of users.
           Advertising for products related to sensitive information, such as
            pharmaceutical products, in a Customer Match campaign (see below for
            more information) or
           Running any ads that are prohibited by our Google Ads policies.

    Restrictions on sensitive categories
    As defined under the Personalized advertising policy principles applicable to
    remarketing, advertisers can’t use sensitive interest categories to target ads to users or
    to promote advertisers’ products or services.These policies also apply to remarketing
    with Customer Match.

    Additionally, you can't use data from your Customer Match campaigns to identify
    sensitive interest categories related to your customers.

    For comprehensive information about what’s considered a sensitive interest category
    under Personalized ads and Customer match policies, see the Personalized advertising
    policies.

    What happens if you violate our policies
   Compliance review: We may review your business for compliance with the Customer
    Match policy at any time. If we contact you to request information related to
    compliance, you're required to respond in a timely manner and swiftly take any
    corrective action needed to comply with our policies. If you’re a manager account, we
    may also contact your managed accounts to verify compliance.




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    Notification of non-compliance: If we believe that you're violating Customer Match
     policy, we'll contact you to request corrective action. If you fail to make the requested
     corrections within the time period given, you may be denied the ability to use Customer
     Match, or your access to your Google Ads accounts may be suspended. In cases of
     serious or repeated violations, your account may be suspended immediately and
     without notification. Learn more about suspended accounts

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o   List of ad policies



o   Review process



o   Verification



o   Change log




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       GMAIL ADS SERVER NOT FOUND




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    Google Account Help

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    Age requirements on Google Accounts
    Below are the minimum age requirements to manage your own Google Account.

    Note: For younger children, parents can help create and manage a Google Account with
    Family Link. When a child reaches their country’s minimum age, they can manage their
    own account.

    Find your country’s age requirement
    For all countries not listed below, 13 is the minimum age to manage your own Google
    Account.

    Note: These requirements may not be applicable to G Suite users, including accounts in
    G Suite for Education domains.

    Asia
    Caribbean
    Europe
    South America

    Service-specific age requirements
    Some Google services have specific age requirements. Here are a few examples:

   YouTube: When a YouTube video has been age-restricted, a warning screen is displayed
    and only users who are 18 or older can watch it. Learn more about age-restricted
    videos.
   Google Payments: For age requirements, check your country's Terms of Service.



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   AdSense: 18+
   Google Ads: 18+

    Disabled account due to age requirement
    Across Google services, if we learn that you may not be old enough to have a Google
    Account, you'll have 14 days to update your account to meet age requirements or your
    account will be disabled.

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   Community



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As of June 15th, you can no longer send, request, receive, claim, or withdraw money
with the old Google Pay app. For these features and more, download the new Google
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Google Privacy Policy
Google Payments Privacy Notice

Google Pay Terms
Users in the United States and the European Economic Area (EEA), except the United
Kingdom, can find the Google Pay terms applicable to their country in the “Google
Payments Terms” section below.

India

Rest of World

Google Payments Terms
Argentina

Austria

Australia

Belgium



                                                                                  1952
                                                                                   2147
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Brazil

Bulgaria

Croatia

Cyprus

Czech Republic

Denmark

Estonia

Finland

France

Germany

Great Britain

Greece

Hong Kong

Hungary

Iceland

India

Indonesia

Ireland

Israel

Italy

Japan

Korea

Latvia



                                                                           1953
                                                                            2148
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Liechtenstein

Lithuania

Luxembourg

Malaysia

Malta

Mexico

Netherlands

New Zealand

Norway

Poland

Portugal

Romania

Russia

Saudi Arabia

Singapore

Slovakia

Slovenia

South Africa

Spain

Sweden

Switzerland

Taiwan

Thailand



                                                                       1954
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     Turkey

     Ukraine

     United States

     Vietnam

     Rest of world

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     Choose a section to give feedback on

                                                                      Was this helpful?
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                                                                          Submit
                                                                   Need more help?
                                             Sign in for additional support options to quickly solve your issue
     The linked image cannot be
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     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




     Having trouble using Google Pay in stores?

     See the next steps for fixing issues specific to your account.

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               English?

     English

1.   Afrikaans
2.   català
3.   dansk
4.   Deutsch
5.   eesti
6.   English (United Kingdom)
7.   español
8.   Filipino




                                                                                                                  1955
                                                                                                                   2150
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9. français
10. hrvatski
11. Indonesia
12. italiano
13. latviešu
14. lietuvių
15. magyar
16. Melayu
17. Nederlands
18. norsk
19. polski
20. português
21. português (Brasil)
22. română
23. slovenčina
24. slovenščina
25. suomi
26. svenska
27. Tiếng Việt
28. Türkçe
29. čeština
30. Ελληνικά
31. български
32. русский
33. српски
34. українська
35. ‫עברית‬
36. ‫اﻟﻌﺮﺑﯿﺔ‬
37. ‫ﻓﺎرﺳﯽ‬
38. िह ी
39.
40. ไทย
41. 中文（简体）
42. 中文（繁體）
43. 中文（香港）
44. 日本語
45. 한국어
46. English

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   This help content & information General Help Center experience




                                                                           1956
                                                                            2151
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     1




    Google Help


   Help Center



   Google Pay




   Privacy Policy



   Terms of Service



   Submit feedback




    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




                                                                            1957
                                                                             2152
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Share additional info or suggestions




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                1958
                                                                                 2153
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    Google Account Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity
    As a precautionary health measure for our support specialists in light of COVID-19,
    we're operating with a limited team. Thanks for your patience, as it may take longer than
    usual to connect with us. For additional support, consult the Help Center.


    Update your account to meet age requirements
    To manage your own Google Account, you must meet the minimum age requirement for
    the country associated with your account.

    If we have learned that you may not be old enough to manage your own account:

   You’ll have 14 days to either set up supervision for your account or verify that you’re old
    enough to manage your account. During this grace period you can log in and use your
    account as normal.
   If your account is through work, school, or another organization, your account may not
    be eligible for parental supervision. If that is the case, your account will be disabled
    immediately. You should contact your admin if you have questions.
   If you choose not to set up supervision or verify you’re old enough to manage your
    account within 14 days, your account will be disabled and your account information will
    be deleted after 30 days.

    Important: If your account is disabled, content you've published will be hidden. For
    example, YouTube videos you've created won't be visible while your account is disabled.
    If you re-enable your account it may take up to several days for your content to show up
    again.

    Set up supervision for your account
    If you're not old enough to manage your own account, you can have a parent use their
    Google Account to set up supervision so you can continue using your account. You have




                                                                                          1959
                                                                                           2154
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    14 days after you entered your birthdate to enable supervision before your account will
    be disabled. After your account is disabled, you have 30 days to enable supervision
    before your account will be deleted.

    Tip: Supervision can't be set up for a Brand Account. You’ll need to delete or change
    who manages your Brand Account before you can set up supervision.

    Verify you’re old enough to manage your account
    If you do meet the minimum age requirements, you can verify your age with a
    government-issued ID that shows you meet the requirement. You may also have the
    option to verify your age with a credit card.

    If you use a credit card, any temporary authorization will be fully refunded. If you use an
    ID, Google will delete the image after verifying your age.

    Important: After you sign in to your Google Account you’ll get instructions on how to
    directly upload a valid ID or enter credit card information. Google will never ask you to
    provide this type of information in an email.

    Use a government-issued ID
    You’ll need to upload an electronic copy of a valid, government-issued ID that shows
    your date of birth. Most requests are reviewed within 24 hours. If you provide a copy of
    your government ID, we’ll delete the copy after we validate your date of birth.

    Use a credit card
    Important: This option is not available in some countries.

    After we confirm that your credit card is valid, we’ll retain this data only as long as
    necessary to meet regulatory requirements for a credit card transaction.

    If you use a credit card to verify your date of birth, you might see an authorization for a
    small amount on your account. This checks that your card and account are valid. Your
    card won’t be billed and the authorization will go away soon.

    Tip: If your authorization doesn't go through, check if you’re using an invalid card or
    have provided incorrect information.

    Check the status of your request
   Within the first 14 days, you can check the status of your request. If you have more than
    one account, make sure you’re signed in to the correct account.
   If your account is disabled, sign in as normal to view the status of your request.



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         CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2161 of 29843




    Download data from your account
    If you’re waiting for your account to be re-enabled or you can’t re-enable your account,
    you may be able to download and save account data from some Google Services.

    Within the first 14 days, you can sign in to your account and download your data.

    If your account has been disabled, you may be able to download and save account data
    from some Google services.

    Delete your Google Account
    If you don't want to add supervision or verify your birthdate, you can choose to delete
    your Google Account before it is disabled.
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu



                                                                                         1961
                                                                                          2156
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13. lietuvių
14. magyar
15. Melayu
16. Nederlands
17. norsk
18. polski
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. ने पाली
36. िह ी
37. ංහල
38. ไทย
39. ລາວ
40. ქართული
41. 中文（简体）
42. 中文（繁體）
43. 日本語
44. 한국어
45. English

   Send feedback on...
   This help content & information General Help Center experience
     1




   Google Help




                                                                            1962
                                                                             2157
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   Help Center



   Community



   Google Account




   Privacy Policy



   Terms of Service



   Submit feedback




    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


                                                                            1963
                                                                             2158
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                                                                                1964
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    Advertising Policies Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next


    Approved animal medications for personalized
    advertising (Beta)
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    This page lists the prescription animal drug terms that can currently be promoted in ads
    that target personalized advertising audience segments, like remarketing lists. Ads are
    not permitted to target most kinds of audience segments if the ad or landing page
    contains any restricted drug terms that are not on this list. For more information, see
    our personalized advertising policy.

    To express interest in having an animal medication term added to future versions of this
    list, submit this form. Note that we will not add animal medications that can also be
    prescribed for human use, are prone to human abuse or other misuse, or are
    confusingly similar to other restricted drug terms.

   Apoquel
   Galliprant
   Trifexis
   Milbemycin
   Simparica
   Proheart
   NexGard
   Advantage Multi
   Bravecto
   Selamectin




                                                                                         1965
                                                                                          2160
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   Revolution


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                                      Was this helpful?
                                          YesNo




                                           Submit

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română




                                                                            1966
                                                                             2161
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24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process




                                                                            1967
                                                                             2162
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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links




                                                                            1968
                                                                             2163
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Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                1969
                                                                                 2164
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Advertising Policies Help

Sign in
                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next


Sexual content
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

Ads should respect user preferences and comply with legal regulations, so we don't
allow certain kinds of sexual content in ads and destinations. Some kinds of sexual
content in ads and destinations are allowed only if they comply with the policies below
and don't target minors, but they will only show in limited scenarios based on user
search queries, user age, and local laws where the ad is being served.

Learn about what happens if you violate our policies.




Strongly restricted categories
Ads that feature or promote the following types of sexual content are strongly
restricted. They will only serve based on the following conditions:

       The user’s age, the local laws where the ad is being served, and the user’s
        SafeSearch settings.
       The user’s sexual content Search queries.

Nudity



                                                                                      1970
                                                                                       2165
                                      CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2171 of 29843



The linked image cannot be
display ed. The file may hav e been
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that the link points to the correct
file and location.




     People or representations of people that display exposed intimate body parts,
including representations that are blurred or censored

                                        Examples: Visible genitalia, female breasts, or buttocks

Sexual encounter dating
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that the link points to the correct
file and location.




                                      Dating explicitly motivated by sexual encounters

                                        Examples: Hook-up or fling dating, swinger dating sites




Moderately restricted categories
Ads that feature or promote the following types of sexual content categories are
moderately restricted. They will only serve based on the following conditions:

                                       The user’s age, the local laws where the ad is being served, and the user’s
                                        SafeSearch settings.

Partial nudity
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display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    People or representations of people that display partially exposed intimate body
parts

                                        Examples: Lower or outer curve of the female breast exposed, majority of
                                        buttocks exposed

Sexualized theme dating
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that the link points to the correct
file and location.




                                      Dating explicitly motivated in terms of sexual themes

                                        Examples: Affair dating, sexual fetish dating

Sexual merchandise
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that the link points to the correct
file and location.




                                      Sale of merchandise that's intended to enhance sexual activity




                                                                                                                      1971
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                                      CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2172 of 29843




                                        Examples: Sex toys, lubricants, aphrodisiacs, sexual enhancers, sexual
                                        fetish lingerie

Sexual entertainment
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that the link points to the correct
file and location.




                                      Online or offline sexually suggestive entertainment

                                        Examples: Strip clubs, adult movie festivals, sexually suggestive live
                                        streaming or live chat, sexually suggestive role playing games

Mature cosmetic procedures
The linked image cannot be
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mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Cosmetic services and plastic surgery focused on intimate body parts

                                        Examples: Female breast augmentation, penis enlargement surgery,
                                        vaginal laser rejuvenation, buttock implants, pubic hair grooming

Sexually suggestive elements and themes
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Text, images, audio, or video that can be interpreted as suggesting sexual intent or
being sexually evocative. Content containing sexually suggestive poses or postures

                                        Examples: Lewd or sexual language, images featuring legs spread open,
                                        touching covered intimate body parts, mimicking sexual positions or
                                        movements, dating for general audiences that includes more sexually
                                        suggestive imagery




Country restrictions
The linked image cannot be                                                 The linked image cannot be
display ed. The file may hav e been                                        display ed. The file may hav e been
mov ed, renamed, or deleted. Verify                                        mov ed, renamed, or deleted. Verify
that the link points to the correct                                        that the link points to the correct
file and location.                                                         file and location.




     Countries where all sexual content will      Countries where strongly restricted content
not serve:                                   will not serve:
                                        Algeria                                                                  China
                                        Bahrain                                                                  Germany
                                        Djibouti                                                                 Hong Kong
                                        Egypt                                                                    Indonesia
                                        India                                                                    Malaysia
                                        Iran                                                                     Peru
                                        Iraq                                                                     Philippines
                                        Jordan                                                                   Russia



                                                                                                                               1972
                                                                                                                                2167
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                                        Kuwait                                                                                                           Singapore
                                        Lebanon                                                                                                          South Korea
                                        Libya                                                                                                            Taiwan
                                        Morocco                                                                                                          Thailand
                                        Oman                                                                                                             Ukraine
                                        Palestine                                                                                                        Vietnam
                                        Qatar
                                        Saudi Arabia
                                        Syria
                                        Tunisia
                                        United Arab Emirates
                                        Yemen

In addition to the requirements above, your ads must comply with local laws in the
regions your campaigns target.

Effect of the policy
If your ad meets the requirements above and is eligible, here are details of how it can
run.

Ad platform
The linked image cannot be
display ed. The file may hav e been
                                                                       The link ed image cannot be
                                                                       displayed. The file may have been
mov ed, renamed, or deleted. Verify                                    moved, renamed, or deleted. Verify
that the link points to the correct                                    that the link points to the correct
file and location.                                                     file and location.




                                      Sexual content ads cannot run:                                         Sexual content ads can run:
                                                                                                               Google Ads
                                        AdMob
                                        Google Ad Manager
                                        YouTube
Ad Network
The linked image cannot be
display ed. The file may hav e been
                                                                                                                 The link ed image cannot be
                                                                                                                 display ed. The file may hav e been
mov ed, renamed, or deleted. Verify                                                                              mov ed, renamed, or deleted. Verify
that the link points to the correct                                                                              that the link points to the correct
file and location.                                                                                               file and location.




                                      Sexual content ads cannot run:                                                                                   Sexual content ads can run:

                                        Display Network                                                                                                  Google Search Network
                                        Google Ad Manager Network
Ad Formats
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Sexual content ads cannot run, though acceptable ad formats can vary depending on factors
such as the platform you're using, the status of your ad, and whether a publisher or partner has
opted to show such ads:

                                        App ads and App extensions
                                        Consumer ratings annotations
                                        Dynamic display ads
                                        Gmail ads
                                        Image ads



                                                                                                                                                                                     1973
                                                                                                                                                                                      2168
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          Lightbox ads
          Reservation display ads
          Responsive ads
          TrueView video ads


    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features




                                                                                        1974
                                                                                         2169
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   Sexual content
   Technical requirements
   Trademarks

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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский




                                                                            1975
                                                                             2170
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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies



                                                                            1976
                                                                             2171
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   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                                Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Data collection and use
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

We want users to trust that information about them will be respected and handled with
appropriate care. As such, our advertising partners should not misuse this information,
nor collect it for unclear purposes or without appropriate disclosures or security
measures.

Note that additional policies apply when using personalized advertising, which includes
remarketing and custom audiences. If you use personalized advertising targeting
features, be sure to review the personalized ads data collection and use policies.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Violations of the policies below will not lead to immediate account suspension without
prior warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Inadequate data security
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Failing to use appropriate security measures for the type of
      information being collected based on relevant industry standards




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                                             Examples (non-exhaustive): Collecting numbers for credit or
                                             debit cards, bank and investment accounts, wire transfers,
                                             national identity, tax ID, pension, healthcare, driver's license,
                                             or social security numbers over an unsecured page that is
                                             not SSL (Secure Sockets Layer) protected and without a
                                             valid SSL certificate

      Troubleshooter: Inadequate data security

   1. Fix the ad's destination. Either stop collecting personal information from
      users or collect that personal information through a secure SSL server to
      keep it safe.
    Option 1: Use a secure server.
      Use a secure processing server (called SSL) when collecting personal
      information. With SSL, your webpage URL will appear with https:// instead
      of http://. Learn how to set up SSL on your site.
    Option 2: Don't collect user data.
      Change your website or app so that it doesn't ask for personal information
      when users access your content.
   2. Edit the ad. This will resubmit the ad and its destination for review.

      Most ads are reviewed within 1 business day, though some can take
      longer if they need a more complex review.

Unacceptable information sharing
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Sharing personally identifiable information (PII) with Google through
      remarketing tags, conversion tracking tags, or through any product data
      feeds that might be associated with ads

                                             Example (non-exhaustive): Sharing user’s email addresses
                                             through URLs that have remarketing tags

      Note: This requirement does not apply to Google Ads services subject to
      the Google Ads Data Processing Terms. (Enhanced Conversions, Google
      Ads Customer Match, Google Ads Store sales, Google Ads Store sales
      (direct upload))

      Troubleshooter: Unacceptable information sharing




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1. Identify the source. Use the breach notice email provided by Google to
   identify which URLs are violating the policy. Frequently, PII is accidentally
   included in URLs that are passed to Google from web forms, login pages,
   and custom email marketing campaign parameters.
2. Remove PII in shared data. Update your systems so that PII is not included
   in URLs. Below are the most common methods for removing PII from
   URLs.

          Web forms: HTML forms should be submitted with the POST
          protocol. If the GET protocol is used, the parameters of the
          form will end up as part of the URL in the address bar.
          Update the page source or the component generating the
          HTML so the form tag has method=”post” in the attribute.
          Learn more about the form method.

          Login pages: Some sites, especially those with user profiles
          or user login, use URL patterns that include PII as part of the
          design. Replace the PII in the URL with a unique site-specific
          identifier or a unique user ID (UUID).

          Custom email marketing campaign parameters: Examine the
          URLs generated by a test email marketing campaign to
          identify email addresses or other PII in URL parameters.
          Assign each user a unique site-specific identifier or a unique
          user ID (UUID) and track the UUID through URL parameters.

   You can implement a UUID to prevent PII from passing to Google. For
   example, site.com/my_settings/sample@email.com could be changed to
   site.com/my_settings/43231, where 43231 is a number that uniquely
   identifies the account with address sample@email.com.

3. Fill out the response form. Use the form to indicate that you have taken
   steps to fix the issue. The form helps Google know where you are in the
   process.
4. Verify the problem is fixed. After you respond through the form, Google
   will validate that the changes you made to your site addressed the issue.
   Within two weeks, you’ll receive another notice to confirm that the issue is
   fixed or let you know if PII is still being shared from URLs associated with
   your account. If PII is still detected, examine the updated list of URLs that
   don’t comply with the policy to determine the cause of the issue.

   Note that you can verify that your changes work on a test site before
   pushing code changes to your live site. Tag your test site with tags from
   the same Google Ads customer ID that you use for personalized
   advertising. Once your test site shows up in the list of URLs where PII was



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      detected, you can make test changes. If we stop detecting PII from your
      test site, it will drop off reports. Then you can push changes to your live
      site.

      Remarketing lists and other lists based on remarketing, such as custom
      combination lists or similar audiences, will be disabled if they don’t
      comply with this policy. Learn more about what happens if you violate our
      policies.

Misusing personal information
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Using personal information in ways that users have not consented to

                                               Examples (non-exhaustive): Re-selling users' contact
                                               information, using images of users in ads without their
                                               consent
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads that directly address the user using their personal information

                                               Example (non-exhaustive): Ads addressing a user by name,
                                               title, or job position

                                               Specific example: "Hello John Smith - buy flowers here!"
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads that imply knowledge of a user's personal information

                                               Example (non-exhaustive): Ads that claim to know your
                                               financial status or political affiliations

                                               Specific example: "You're buried in debt. Get help today."

Learn how to fix a disapproved ad or extension.

European Union user consent
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Promotions that violate our policy on consent for cookies from EU
      users



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                                                   Example (non-exhaustive): Using Google Ads features, such
                                                   as remarketing or conversion tracking, without obtaining
                                                   appropriate consent from EU users for using cookies

    Learn how to fix a disapproved ad or extension.

    Unauthorized cookies on Google domains
    The following is not allowed:
           The linked image cannot be
           display ed. The file may hav e been
           mov ed, renamed, or deleted. Verify
           that the link points to the correct
           file and location.




                                                 Setting a cookie on a Google domain

                                                   Examples (non-exhaustive): Any entity other than Google
                                                   setting a cookie on doubleclick.net or
                                                   googlesyndication.com, or enabling any other entity to set
                                                   such a cookie

    Learn how to fix a disapproved ad or extension.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                                                         Was this helpful?
                                                                             YesNo




                                                                              Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use



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   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk




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20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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     1




    Google Help


   Help Center




o   List of ad policies




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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

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services, per our Privacy & Terms.




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    Google Ads Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
                                                                                             Next
    Help CenterCommunityAnnouncements


    Understanding PII in Google's contracts and
    policies
    Many contracts, terms of service, and policies for Google's advertising and
    measurement products refer to "Personally Identifiable Information" (PII). This is a
    different categorization of data from what the EU General Data Protection Regulation
    (GDPR) refers to as "personal data".

    Please note that data excluded from Google's interpretation of PII may still be
    considered personal data under the GDPR, or personal information under the California
    Consumer Privacy Act (CCPA), and may therefore be subject to these laws.

    This article explains how Google will interpret the term PII in the event PII isn't defined in
    your existing contract or the applicable product's terms of service or policies. This is to
    minimize confusion among customers and distinguish PII from concepts of personal
    data or personal information under the GDPR, CCPA and other privacy legislation.

    What Google considers PII

    Google interprets PII as information that could be used on its own to directly identify,
    contact, or precisely locate an individual. This includes:

   email addresses
   mailing addresses
   phone numbers
   precise locations (such as GPS coordinates - but see the note below)
   full names or usernames




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    For example, if you're a publisher whose contract prohibits you from passing PII to
    Google, the URLs of pages on your website that display ads by Google must not include
    email addresses, because those URLs would be passed to Google in any ad request.
    Google has long interpreted its PII prohibition in this way.

    Note: Certain product's help centers and policies set out the limited means by which
    certain forms of PII may be sent to Google. For avoidance of doubt, this article does not
    amend such provisions. So, for example, certain products allow approximate location
    data to be sent to Google, provided the requirements of the applicable policies are met.

    Google interprets PII to exclude, for example:

   pseudonymous cookie IDs
   pseudonymous advertising IDs
   IP addresses
   other pseudonymous end user identifiers

    For instance, if an IP address is sent with an ad request (which will be the case with
    almost any ad request as a consequence of internet protocols), that transmission will
    not breach any prohibition on sending PII to Google.

    Note that data excluded from Google's interpretation of PII may still be considered
    personal data or personal information under the GDPR, CCPA, and other privacy
    legislation. This article doesn't affect any contract provisions or policies relating to
    personal data or personal information under those laws.

    Give feedback about this article
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                                          Was this helpful?
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                                               Submit
                                      Need more help?
            Sign in for additional support options to quickly solve your issue
                                               Sign in
    Manage ads
   Remarketing
   Reach people interested in what you offer
   Reach demographic groups



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   Manage advanced audience settings
   Privacy and policies for audiences
   Customer Match
   About Ads and Google Accounts managed with Family Link for children under 13 or the
    applicable age in their country
   About Accelerated Mobile Pages (AMP)
   How to use AMP with Google Ads
   Understanding PII in Google's contracts and policies
   About data segments that use Mobile Device IDs
   Google Ads and Google Ads Editor bulk tools to help with migration for the Housing,
    Employment, and Credit (HEC) policy
   About the audience attribution hierarchy
   About Audience Manager

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   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português




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22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback on...
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     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



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o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service



   Submit feedback



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Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
and when ads appearFind out if your ad is runningAccount administration and security
Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
Google Ads mobile appRecommendations and optimization score
Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
throughsGlossary
Google Partners Program


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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    Google Ads Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                        Next
    Help CenterCommunityAnnouncements


    How your data segments work
    To provide a comprehensive and consolidated view of your Audiences and make
    audience management and optimization simpler, you’ll see the following improvements
    in Google Ads:

   New audience reporting
    Detailed reporting about audience demographics, segments, and exclusions is now
    consolidated in one place, the “Audiences” tab within the left page navigation menu.
    You can also easily manage your Audiences from this report page. Learn more About
    Audiences reporting
   New terms
    We’re using new terms on your audience report and throughout Google Ads. For
    example, “audience types” (these include similar, custom, in-market, and affinity) are
    now referred to as audience segments and “remarketing” is now referred to as “your
    data”. Learn more about the New updates to Audience terms and phrases

    Your data segments include collections of website visitors or app users gathered by
    snippets of code added to your site or app. When you create a segment (or data
    segment), you set rules for when visitors or users should be added to the segment. You
    also specify a membership duration for how long you want your visitors or users to stay
    on the segment. You'll want to add these segments to your campaigns' ad group
    targeting so that you can show ads to visitors or users on your segments.

    If you've set up the Google Ads tag to track your website visitors, you'll see that it
    consists of a global site tag and an event snippet. Learn how to adapt an existing global
    site tag for your Google Ads account

    This article contains information to help you understand how your data segments work.




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Before you begin

If you aren't familiar with how to retarget to people who previously interacted with your
website or mobile app, you should read about setting up your data.

Google Ads does not permit the implementation of tags on pages related to policy-
restricted offers. Learn more about the Personalized advertising policy

About website visitors

Visitors are added to your data segments within seconds after visiting a page with
either the global site tag or with both the global site tag and an event snippet. Every time
someone visits a page on your site containing an event snippet, the visitor's timestamp
is updated so the person remains on the segment for the amount of time specified by
the membership duration.

If people visit multiple pages on your website that contain event snippets, they can be
added to multiple customer segments. When this happens, all the ads included in the
campaigns for those segments are eligible to serve. The ad with the highest ad rank will
then compete for placement in the auction.

Visitors or users

When you first create a segment, it won't have any visitors or users. As people visit your
website or use your mobile app, they'll be added to segments based on the rules you've
set. You'll want to make sure you've tagged your website or enabled tracking of your
data on your mobile app so that visitors or users can be added to your segments.

Rules

Rules are conditions that must be met in order for a visitor or user to be added to your
data segments. You can use rules to create your data segments beyond the default
segments that Google Ads creates for you.

Example

An airline wants to show ads about flight deals to people who visited a product page on
their website in the past month. They create a "Flight deals" segment with a
membership duration of 30 days and a rule to collect all visitors to a webpage that has a
URL that ends with "flight-deals.html." When people visit this flight deals page, they're
added to the "Flight deals" segment which the airline can target with an ad campaign
about flight deals.




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    For detailed instructions about rules, see Use rules for reaching out to your website
    visitors.

    Size of your data segment

    The requirement to serve your ads varies based on the target network. The accuracy of
    the estimated segment size will vary depending on your segment settings, the length of
    time since your tag was installed, your campaign settings, and other factors.

   Google Display Network must have a minimum of 100 active visitors or users within the
    last 30 days.
   Google Search Network must have a minimum of 1,000 active visitors or users within
    the last 30 days.
   YouTube must have a minimum of 1,000 active visitors or users within the last 30 days.
   Gmail ads must have a minimum of 1,000 active visitors or users within the last 30 days
    in the Display Network.
   Discovery ads must have a minimum of 1,000 active visitors or users within the last 30
    days.

    If you have trouble with managing your data segments:

   Learn how to fix problems with Google Ads data segments, tags, and ads
   Learn more about the compatibility of your data segment

    Note: Only users signed in to Gmail will be added to Gmail data segments.

    Segment status

    When you create your data segment with people who have visited your website and
    used your app, you'll be able to decide if it should be "Closed" or "Open". You can change
    this status at any time — the status won’t affect your event snippet or the segment
    settings. However, if you set a segment to "Closed", and the membership duration is too
    short, the segment may become too small to use for targeting.

   Closed: This means that your segment won't continue to grow and add more users or
    visitors. Your targeting will also still work — however, the audience you're targeting
    won't increase in size.
   Open: This status means that your segment is growing. Google Ads will continue to add
    more visitors or users to your segment. Keep in mind, if you don't use the segment in
    your campaign or ad group targeting for 540 days, Google Ads will automatically close
    it. However, you can reopen segments at any time, and they'll start adding users again.

    Membership duration




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    You can set a membership duration for how long a visitor or user stays on your
    segment. Visitors or users are removed from your segment by the time their
    membership duration expires, unless they use your website or app again (in this case
    the clock is reset for the duration you've set). You’re responsible for complying with any
    duration limitations under applicable law.

       Network     Default durationMax. duration
    Display Network30 days         540 days
    Google search 30 days          540 days

   If you set a duration longer than the maximum, the visitor or user will be removed from
    the data segment at the maximum duration.
   If you change the segment's membership duration, the segment size that you see in
    your Google Ads account may be temporarily inaccurate.
   If you change the membership duration after a segment has already accumulated
    visitors or users, the new duration is applied to all current and future visitors or users on
    the segment. For example, if your duration is 60 days and you shorten it to 30 days,
    anyone who joined the segment 31 - 60 days ago will be removed. Conversely, if your
    duration is 30 days and you extend it to 60 days, anyone already on the segment will
    stay on the segment for up to 60 days.

    You should choose a duration related to the length of time you expect your ads to be
    relevant for your visitors. In general, the membership duration should be similar to the
    length of your sales cycle.

    Inactive segments

    If your segments (or data segments) haven't been used in your targeting for 540 days,
    they'll be automatically set to the "Closed" status. These segments won't add more
    visitors or users, but they'll still be visible in your Audience table. You can reopen your
    data segments at any time, and people will be added to them again.

    Example

    If you sell movie tickets, you might set a membership duration of a few days. However,
    if you sell cars, you might choose a duration of a few months since it generally takes
    longer to make the decision to buy a car.

    Similarly, if you sell Valentine's Day gifts, you might choose a membership duration of a
    year plus a few days so that you can reach the customers on your segment when
    Valentine's Day comes around the next year.

    Related links

   Create your website visitor data segment



                                                                                            1998
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    Use templates for your website visitor data segments
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    Use your data segments to advertise on YouTube
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      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   eesti
5.   English (Australia)




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6. English (United Kingdom)
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8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
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14. latviešu
15. lietuvių
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37. ‫اﻟﻌﺮﺑﯿﺔ‬
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     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




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   Community



   Google Ads




   Privacy Policy



   Terms of Service



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    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
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    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




                                                                                   2002
                                                                                    2197
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    Google Ads Help

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    Help CenterCommunityAnnouncements


    Disable the collection of personalized
    advertising data
    To provide a comprehensive and consolidated view of your Audiences and make
    audience management and optimization simpler, you’ll see the following improvements
    in Google Ads:

   New audience reporting
    Detailed reporting about audience demographics, segments, and exclusions is now
    consolidated in one place, the “Audiences” tab within the left page navigation menu.
    You can also easily manage your Audiences from this report page. Learn more About
    Audiences reporting
   New terms
    We’re using new terms on your audience report and throughout Google Ads. For
    example, “audience types” (these include similar, custom, in-market, and affinity) are
    now referred to as audience segments and “remarketing” is now referred to as “your
    data”. Learn more about the New updates to Audience terms and phrases

    Personalized advertising
    Remarketing is one of the targeting features of personalized advertising that helps you
    reach people who have previously visited your website or used your mobile app. You
    can choose to disable the collection of remarketing data for the users who do not wish
    to view personalized ads. You can do so by using this parameter:
    allow_ad_personalization_signals.

    The default of this parameter is set to true. When you set the parameter’s value to false,
    it will disable the usage of the data for personalized ads.




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    Note: This parameter does not disable conversion tracking.
    Edit your global site tag to disable ad personalization signals

    Notes:

   You do not need to add a new tag to your website if you already implemented the global
    site tag. Simply edit your existing tag as per the example below.
   Setting the allow_ad_personalization_signals parameter will apply it to all products
    configured through the global site tag.

1. Sign in to Google Ads. The linked image cannot
                          be display ed. The file
                          may hav e been mov ed,
                          renamed, or deleted.
                          Verify that the link points
                          to the correct file and




2. Click on the tool icon    on the upper right and click Audience Manager under the
                          location.




   section labeled “Shared library”
3. On the left, click Audience sources. This opens a group of sources from which you can
   edit your data segments.                             The link ed image
                                                        cannot be
                                                        displayed. The file




4. In the “Google Ads tag” card, click the 3-dot icon in the upper right, then select Edit
                                                        may hav e been
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                                                        or deleted. Verify
                                                        that the link points
                                                        to the correct file
                                                        and location.




   source.
5. Click Save and continue.
6. When the installation screen appears, your global site tag and event snippet will be
   ready for use. You can modify the global site tag to disable ad personalization signals
   by following the example below. To integrate the code into your site, copy the code and
   paste it between the <head></head> tags of the website.

    The code below should not be copied and pasted as-is for use on your website. It
    contains placeholder values that your web developer must dynamically populate when
    they integrate the snippet code into their web server.

    < ! -- Global Site Tag (gtag.js) - Google Ads -->

    <script async src="https://www.googletagmanager.com/gtag/js?id=AW-
    999999"></script>

    <script>

    window.dataLayer = window.dataLayer | | [ ] ;

    function gtag ( ) { dataLayer.push ( arguments ) } ;

    gtag ('set', 'allow_ad_personalization_signals', false ) ;

    gtag ( 'js', new Date ( ) ) ;

    gtag ( 'config' , 'AW-999999' ) ;

    </script>




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7. Click Done.

Note: If you’re using the old AdWords tag, you can set var
google_allow_ad_personalization_signals = "false" ; where you set other AdWords
tag parameters. See the example below for more detail.




<script type="text/javascript">

/* <![CDATA[ */

    var google_conversion_id = 1234567890;

    var google_conversion_label = "xxx-XXx1xXXX123X1xX";

    var google_remarketing_only = false

    var google_conversion_value = 10.0;

    var google_conversion_currency = "USD";

    var google_allow_ad_personalization_signals = false;

    /* ] ] > */

</script>

<script type="text/javascript"
src="//www.googleadservices.com/pagead/conversion.js">

</script>




California Consumer Privacy Act
To help advertisers comply with the California Consumer Privacy Act (CCPA), a
dedicated parameter can be added to the Google Ads tag to indicate whether Google
should enable restricted data processing (RDP): restricted_data_processing. The default




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    of this parameter is set to false. When you set the parameter’s value to true, Google will
    limit how it uses certain data.

    Note:

    There are two options to enable restricted data processing in Google Ads.

   A “restricted_data_processing” parameter which can be set in your global site tag in
    Google Ads or Tag Manager, to enable restricted data processing for particular users on
    your site.
   A checkbox in Audience Manager where you configure your Google Ads remarketing tag
    to enable restricted data processing for all users located in California.

    You only need to select one of these options when you are enabling restricted data
    processing.

    Note: This parameter does not disable conversion tracking.
    Edit your global site tag to enable restricted data processing

    Notes:

   You do not need to add a new tag to your website if you already implemented the global
    site tag. Simply edit your existing tag as per the example below.
   You can find your global site tag in the Audience Manager (see instructions below) or in
    the Details page of your Google Ads website conversion or conversions.
   The instructions below will only set the restricted data processing parameter for Google
    Ads. Read how to help advertisers comply with CCPA in Google Ads for other Google
    products.

1. Sign in to Google Ads. The linked image cannot
                          be display ed. The file
                          may hav e been mov ed,
                          renamed, or deleted.
                          Verify that the link points
                          to the correct file and




2. Click on the tool icon    on the upper right and click Audience Manager under the
                          location.




   section labeled “Shared library”
3. On the left, click Audience sources. This opens a group of sources from which you can
   edit your data segments.                             The link ed image
                                                        cannot be
                                                        displayed. The file




4. In the “Google Ads tag” card, click the 3-dot icon on the upper right, then select Edit
                                                        may hav e been
                                                        moved, renamed,
                                                        or deleted. Verify
                                                        that the link points
                                                        to the correct file
                                                        and location.




   source.
5. Click Save and continue.

    Note: You’ll see a checkbox to “Exclude California users from your data segments.” This
    checkbox will enable restricted data processing for all users located in California. You
    don’t need to select this since you are editing your global site tag to enable restricted
    data processing.




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6. When the installation screen appears, your global site tag and event snippet will be
   ready for use. You can modify the global site tag to disable ad personalization signals
   by following the example below. To integrate the code into your site, copy the code and
   paste it between the <head></head> tags of the website.

   The code below should not be copied and pasted as-is for use on your website. It
   contains placeholder values that your web developer must dynamically populate when
   they integrate the snippet code into their web server.

   < ! -- Global Site Tag (gtag.js) - Google Ads -->

   <script async src="https://www.googletagmanager.com/gtag/js?id=AW-
   999999"></script>

     <script>

     window.dataLayer = window.dataLayer | | [ ] ;

     function gtag ( ) { dataLayer.push ( arguments ) } ;

     gtag ( 'js', new Date ( ) ) ;

     gtag ( 'config' , 'AW-999999', { 'restricted_data_processing': true } ) ;

   </script>

7. Click Done.

   Note: If you’re using the old AdWords tag, you can set var restricted_data_processing =
   "true"; where you set other AdWords tag parameters. See the example below for more
   detail.

   <script type="text/javascript">

   /* <![CDATA[ */

   var google_conversion_id = 1234567890;

   var google_conversion_label = "xxx-XXx1xXXX123X1xX";

   var google_remarketing_only = false

   var google_conversion_value = 10.0;

   var google_conversion_currency = "USD";

   var google_restricted_data_processing = true;

   /* ] ] > */




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     </script>

     <script type="text/javascript"
     src="//www.googleadservices.com/pagead/conversion.js">

     </script>

     If you are using the AdWords API to send remarketing pings via server to server (eg: for
     app dynamic remarketing), make sure to include the parameter rdp=1 to mark the
     request as restricted data processing
     Edit your Google Ads tag in Google Tag Manager to enable restricted data processing

1. Sign in to Google Tag Manager.
2. Click Tags in the left column to access your tags.
3. Create or edit your Google Ads Remarketing tag or Google Ads Conversion tag.
4. In the tag configuration section, select True for the field “Enable Restricted Data
   Processing.”
5. Alternatively, this field can be set dynamically via a data layer variable.
6. Click Save.

     Enable restricted data processing in Audience Manager

     Restricted data processing instructs Google to limit how certain data is used. If you
     select this option, users located in California won’t be added to your data segments.

1. Sign in to Google Ads.   The link ed image cannot
                            be display ed. The file
                            may hav e been mov ed,
                            renamed, or deleted.
                            Verify that the link points
                            to the correct file and




2. Click on the tool icon    in the upper right and click Audience Manager under the
                            location.




   section labeled “Shared library”
3. On the left, click Audience sources. This opens a group of sources from which you can
   edit your data segments.                               The link ed image
                                                          cannot be
                                                          display ed. The file




4. In the “Google Ads tag” card, click the 3-dot icon     in the upper right, then select Edit
                                                          may hav e been
                                                          mov ed, renamed,
                                                          or deleted. Verify
                                                          that the link points
                                                          to the correct file
                                                          and location.




   source.
5. Under the “Restricted data processing” section, select the checkbox to “Exclude
   California users from segments.” When you select this checkbox, you will enable
   restricted data processing for all users located in California.
6. Click Save and Continue.
7. This will take you to a page that says "Reinstall the tag on your website." You don’t need
   to take any action on this page since you’ve already enabled restricted data processing
   in Audience Manager. Click Cancel.

     You can choose to enable restricted data processing on a per-user basis using the
     restricted_data_processing parameter in your global site tag.

     Learn more about enabling restricted data processing in other tracking systems in
     Google Ads



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    Fix common formatting issues for custom parameters
    Fix tag and list issues for dynamic remarketing
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    Validations and alerts in Google Ads tag

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3.   Deutsch
4.   eesti
5.   English (Australia)




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6. English (United Kingdom)
7. español
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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




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   Google Ads




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    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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    Google Ads Help

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    What to include in your privacy policy for
    remarketing
    The remarketing, re-engagement, or similar audiences feature in Google Ads allows you
    to reach people who previously visited your website or used your app, and match the
    right people with the right message. While these features can be a great way to attract
    past visitors back to your site or app, you should inform these people that you gather
    information for remarketing, re-engagement, or similar audiences on your website or in
    your app.

    When you use the remarketing, re-engagement, or similar audiences feature in your
    website or your app, you're required to have the following information in your privacy
    policy:

   An appropriate description of how you're using remarketing or similar audiences to
    advertise online.
   A message about how third-party vendors, including Google, show your ads on sites
    across the Internet.
   A message about how third-party vendors, including Google, use cookies and/or device
    identifiers to serve ads based on someone's past visits to your website or use of your
    app.
   Information about how your visitors can opt out of Google's use of cookies or device
    identifiers by visiting Google's Ads Settings. Alternatively, you can point your visitors to
    opt out of a third-party vendor's use of cookies by visiting the Network Advertising
    Initiative opt-out page or control the use of device identifiers by using their device’s
    settings.

    Using Google Marketing Platform's remarketing pixels




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     If you're using Google Marketing Platform's remarketing pixels, your privacy policy can
     instead tell people to opt out of Google Marketing Platform's use of cookies by visiting
     the Google Marketing Platform opt-out page or the Network Advertising Initiative opt-
     out page.

     Next steps

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    More about our policy for advertising based on interests and location.

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    Personalized advertising
    What to include in your privacy policy for remarketing
    Customer Match policy

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      English?

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1.   català
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4.   eesti




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5. English (Australia)
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25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
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33. русский
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36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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    What is the issue with this selection?

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                                                                                   2019
                                                                                    2214
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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                2020
                                                                                 2215
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    YouTube Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
                                                                                            Next
    Help CenterCommunity


    Send-to-phone ads
    Send-to-phone ads have a field that allows viewers to send themselves info about the
    ad through text. This process is different from tell-a-friend where the ad encourages the
    viewer to share the ad with a friend.

   Ads can only use text messages to send messages to the users themselves.
   The ad text must say: "send to yourself" and may not say "send to a friend."
   The text message can’t include user-contributed content.
   All phone numbers must be erased after the info is sent. They also can only be used to
    limit the number of messages sent. Advertisers may not store or log this info in any
    way.
   The ad must include notice of one-time use in the ad, for example, "Your email address
    is only used for the purpose of this feature.” Or, the advertiser landing page must link to
    a privacy policy that explains the service they’re using (like tell-a-friend or data capture
    services), and how this service collects and uses data.
   Messages are limited to one referral text to any single phone number per creative.

    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                               Submit
    Understand ad policies for advertisers


                                                                                           2021
                                                                                            2216
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   Advertiser live streaming
   Brand Lift surveys
   Add paid product placements, sponsorships & endorsements
   Remarketing
   Send-to-phone ads
   Tell-a-friend
   About advertiser verification

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български




                                                                            2022
                                                                             2217
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30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



                                                                            2023
                                                                             2218
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium



                                                                                  2024
                                                                                   2219
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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                2025
                                                                                 2220
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                           Next
    Help CenterCommunity


    Tell-a-friend
    You can send a referral email or voicemail through the ad unit to others for viral
    campaigns. All of these ads must meet the following criteria:

   Email addresses and phone numbers may not be used for any other purpose except to
    share the ad.
   The ad must include notice of one-time use in the ad:
   You could include a disclaimer like "Your email address is only used for the purpose of
    this feature.”
   Or, the advertiser landing page must link to a privacy policy that explains the service
    they’re using (like tell-a-friend or data capture services), and how this service collects
    and uses data.
   The ad must include both a 'To' and a 'From' field for the user to fill.
   The tell-a-friend feature can’t be used in an ad that gives an incentive for sharing the ad
    with a friend (like a coupon, movie tickets, or cash).
   The ad backend must include a cap on the number of referrals that can be sent to one
    email address or phone number from a single ad. This cap is per campaign.

    Also, for tell-a-friend email:

   Email messages must contain a link to, or info about, the ad and the product or service
    promoted.
   Email messages must clearly identify both the advertiser and the user who sent the ad.
    For example, a "To" and "From" field should say 'John Doe, Jane Doe has sent you a
    message".
   Email messages must include the advertiser's postal address.
   All messages that are sent through the advertiser's backend must include an easy-to-
    understand opt-out method for the receiver of the email that complies with CAN-SPAM
    regulations.



                                                                                           2026
                                                                                            2221
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    Messages are limited to 3 referral emails per ad to any single email address.

     Also, for offline message service:

    You can send a voicemail to others using an IVR provider.
    The voicemail must clearly identify both the advertiser and the user who sent the ad.
    Messages are limited to one referral voicemail per ad to any single phone number.

     Give feedback about this article
     Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                              Submit
     Understand ad policies for advertisers
    Advertiser live streaming
    Brand Lift surveys
    Add paid product placements, sponsorships & endorsements
    Remarketing
    Send-to-phone ads
    Tell-a-friend
    About advertiser verification

    ©2021 Google
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    YouTube Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   English (United Kingdom)
5.   español
6.   español (Latinoamérica)
7.   Filipino
8.   français
9.   hrvatski



                                                                                        2027
                                                                                         2222
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10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




                                                                            2028
                                                                             2223
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o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




                                                                            2029
                                                                             2224
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   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations




                                                                                  2030
                                                                                   2225
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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                2031
                                                                                 2226
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Ads Help

Sign in
                                                                                                                                                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                                                                                                                                                    Next


Report an ad
Please know that the ads in our program are reviewed according to our advertising
guidelines. While we make every effort to ensure that ads which may violate our policies
do not run prior to review, some ads may run on Google before our Google Ads
Specialists check them.

Please keep in mind that you will need to provide us the clickstring of the ad you are
giving feedback about. Filling out this form will take approximately 2-3 minutes.

For clarification about the below terms please refer to our ads policy site.

Please choose the option that best describes your complaintAn ad violates other
Google Ads policies                                                                                                                                       An ad violates trademark policy   An ad violates counterfeit
goods policy   An ad violates other Google Ads policies                                                                                                                                      Multiple ads are showing
for one company ("Gaining an unfair advantage" policy)

* Required field

What type of ad/listing do you want to report? *
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                                                                    2032
                                                                                                                                                                                                                     2227
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Search Ad, i.e. Ad found on a Google search result page

Shopping ad or listing

Youtube Ad, i.e. Ad found on a Youtube Page

Other Ads, i.e. Ads found on the Google Display Network, Gmail, Maps etc.
What’s inappropriate about this ad/listing? *

Cyber Frauds

Hateful or abusive content

Legal issues

Misleading content or scam

Promotes dangerous products or services

Sexual content

Violation of trademark policy

Violation of counterfeit goods policy

Other
What’s inappropriate about this ad/listing? *

Hateful or abusive content

Inaccurate information

Problematic promotion of healthcare-related product

Promotes dangerous products or services

Sexual content

Violation of trademark policy




                                                                            2033
                                                                             2228
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Violation of counterfeit goods policy

Other
Trademark Specifications *

Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news

False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

Misleading use of my trade name, company name or registered business name

Nudity/pornography

Other

Phishing, i.e. stealing credentials, financial details, etc

Price information that doesn’t match information on merchant's website

Product is not in stock on merchant's website

Products or services that aren't available

Shipping information that doesn't match information on merchant's website

Tobacco



                                                                                       2034
                                                                                        2229
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Trademarks in Shopping ads and listings

Violation of printer cartridges requirements

Weapons
For counterfeit goods issues in Google search ads, please fill out our counterfeit goods
complaint form.
For trademark issues in Google search ads, please fill out our trademark complaint
form.
For trademark issues in Shopping ads and listings, please fill out our shopping
complaint form.
For counterfeit issues in Shopping ads and listings, please fill out our shopping
complaint form.
What does the ad/listing promote or include? *

Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news

False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

Misleading use of my trade name, company name or registered business name

Nudity/pornography

Other




                                                                                       2035
                                                                                        2230
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Phishing, i.e. stealing credentials, financial details, etc

Price information that doesn’t match information on merchant's website

Product is not in stock on merchant's website

Products or services that aren't available

Shipping information that doesn't match information on merchant's website

Tobacco

Trademarks in Shopping ads and listings

Violation of printer cartridges requirements

Weapons
Tell us more about the legal issue: *

Cloaking, i.e. deceptive redirection upon clicking on the ad/listing

Content involving minors

Drugs

EU user consent

Fake news

False claims about identity, qualifications, product or service

Healthcare product or service

Inaccurate information, i.e. pricing, availability, shipping, etc

Malware, i.e. deceptive redirection without clicking on the ad/listing, unauthorized
downloads, etc

Misleading use of my trade name, company name or registered business name

Nudity/pornography



                                                                                       2036
                                                                                        2231
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   Other

   Phishing, i.e. stealing credentials, financial details, etc

   Price information that doesn’t match information on merchant's website

   Product is not in stock on merchant's website

   Products or services that aren't available

   Shipping information that doesn't match information on merchant's website

   Tobacco

   Trademarks in Shopping ads and listings

   Violation of printer cartridges requirements

   Weapons
   Ad’s / listing's destination website or app does not meet Google's EU User Consent
   Policy in obtaining consent from users for the collection of data for personalized ads
   and/or for the use of cookies where legally required.
   Your email *

1. Right-click on the ad’s/listing's title.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2.
3. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
4. Paste the link address.(Do not change if pre-filled)

   *




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                                              CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2238 of 29843




   0/2500

1. Right-click on the ad’s/listing's title or image.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                              The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)

   *




   0/2500

1. Right-click anywhere in the ad/listing.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy Link Address (for Chrome)
 Copy Link (for Internet Explorer or Safari)
 Copy Link Location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)

   *




                                                                                                                                                                                                                                                                                                                          2038
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                                              CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2239 of 29843




   0/2500

1. Right-click anywhere in the ad/listing.
    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                              The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




2. Click:
 Copy link address (for chrome)
 Copy link (for internet explorer or safari)
 Copy link location (for Firefox)
3. Paste the link address.(Do not change if pre-filled)

   *




   0/2500
   Provide additional details:




   0/1000
   Provide additional details: *




   0/1000




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                                                                                                                                                                                                                                                                                                                           2234
          CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2240 of 29843




     Submit
     Some account and system information will be sent to Google, and support calls and
     chats may be recorded. We will use this information to improve support quality and
     training, to help address technical issues, and to improve our products and services,
     subject to our Privacy Policy and Terms of Service.
     Additional info
                                                                                             OK
     Your email has been sent
     Your email has been sent to our team! Due to the preventative measures being taken for
     our support specialists in light of COVID-19, it may take longer than usual to respond to
     your support request. We apologize for any inconvenience this may cause, and we’ll
     send you a reply as soon as we can.

                                         Was this helpful?
                                             YesNo




                                              Submit

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    Privacy Policy
    Terms of Service

      English?

     English

1.   català
2.   dansk
3.   Deutsch
4.   eesti




                                                                                         2040
                                                                                          2235
        CCase 3:20-cv-04011-VC Document 77 Filed 10/05/21 Page 2241 of 29843




5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Nederlands
18. norsk
19. polski
20. português
21. português (Brasil)
22. română
23. slovenčina
24. slovenščina
25. suomi
26. svenska
27. Tiếng Việt
28. Türkçe
29. čeština
30. Ελληνικά
31. български
32. русский
33. српски
34. українська
35. ‫עברית‬
36. ‫اﻟﻌﺮﺑﯿﺔ‬
37. िह ी
38. ไทย
39. 中文（简体）
40. 中文（繁體）
41. 中文（香港）
42. 日本語
43. 한국어
44. English

   Send feedback about our Help Center




                                                                           2041
                                                                            2236
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     1




    Google Help


   Help Center



   Ads




   Privacy Policy



   Terms of Service



   Submit feedback


    Send feedback on...
    This help content & information General Help Center experience




                                                                             2042
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     Transparency Report
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Combating Child Sexual Abuse Material

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Content delistings due to copyright

Government requests to remove content

Requests to delist content under European privacy law

YouTube Community Guidelines enforcement

Removals under the Network Enforcement Law

Additional reports

PDF Download Center




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                                                                                                          2238
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Political advertising on Google

Traffic and disruptions to Google

Privacy policy                           The link ed image cannot be
                                         display ed. The file may hav e been
                                         moved, renamed, or deleted. Verify
                                         that the link points to the correct
                                         file and location.




menu                                                                           Transparency Report
Overview Australia EU and UK India Israel New Zealand Taiwan United States




Political advertising on Google
Our goal is to provide greater transparency in political advertising on Google, YouTube, and
partner properties. To help everyone understand the ads they see online, this report includes
information about verified advertisers’ spending on ads related to elections.

Updated Aug 31, 2021


Select a country or region


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display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Australia



The linked image cannot be            The linked image cannot be
display ed. The file may hav e been   display ed. The file may hav e been
mov ed, renamed, or deleted. Verify   mov ed, renamed, or deleted. Verify
that the link points to the correct   that the link points to the correct
file and location.                    file and location.




                                                                            European Union and UK



The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      India



The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Israel




                                                                                                         2044
                                                                                                          2239
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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      New Zealand



The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Taiwan



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display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      United States




Supporting election integrity
We launched the Political Advertising Transparency Report as part of our commitment to support
election integrity and transparency in political advertising. We’ll continue to expand the
Transparency Report to include other countries and regions. For details about this report, see
Political Advertising Transparency Report FAQs.

Data in the Political Advertising Transparency Report is cumulative based on the launch date for a
country or region. This data is generally updated daily.

Download data (CSV) file_download

Political Advertising Transparency Report FAQs arrow_forward
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                                       About
                                       FAQ




                                                                                                         2045
                                                                                                          2240
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Security and privacy
      Requests for user information
      Google Safe Browsing
      Email encryption in transit
      HTTPS encryption on the web
      Android ecosystem security
      Combating Child Sexual Abuse Material


Content removal
      Content delistings due to copyright
      Government requests to remove content
      Requests to delist content under European privacy law
      YouTube Community Guidelines enforcement
      Removals under the Network Enforcement Law


Additional reports
      PDF Download Center
      Political advertising on Google
      Traffic and disruptions to Google

      Help
      Privacy
      About Google
      Send feedback

                                    English
      Change language or region




                                                                         2046
                                                                          2241
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file and location.




     Transparency Report
close

Home

About

FAQ

Security and privacy

Requests for user information

Google Safe Browsing

Email encryption in transit

HTTPS encryption on the web

Android ecosystem security

Combating Child Sexual Abuse Material

Content removal

Content delistings due to copyright

Government requests to remove content

Requests to delist content under European privacy law

YouTube Community Guidelines enforcement

Removals under the Network Enforcement Law

Additional reports

PDF Download Center




                                                                                                         2047
                                                                                                          2242
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Political advertising on Google

Traffic and disruptions to Google

Privacy policy
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       moved, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




menu                                         Transparency Report
Overview Australia EU and UK India Israel New Zealand Taiwan United States




Political advertising in the
United States
Our goal is to provide greater transparency in political advertising on Google, YouTube, and
partner properties. To run election ads, we require advertisers to be verified, and observe our
policies and applicable laws. Election ads in this report feature a current officeholder or candidate
for an elected federal or state office, federal or state political party, or state ballot measure,
initiative, or proposition that qualifies for the ballot in a state. The report also includes all ads from
advertisers that completed the express notification process related to California candidates for
elected office or California ballot measures.

Updated Aug 31, 2021

Ads since May 31, 2018
598,615
Ad spend since May 31, 2018
$779,090,400


Ad spend per geography
Select a state to see total advertiser spending by congressional district

0078,726,90078,726,900
Federal Election Commission campaign finance dataarrow_forward
All states




                                                                                                    2048
                                                                                                     2243
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    State                      Ad spend

    Alabama                     $6,086,300

    Alaska                      $2,039,600

    Arizona                    $36,206,400

    Arkansas                    $3,055,500

    California                 $78,726,900

    Colorado                   $16,556,800

    Connecticut                 $3,929,700

    Delaware                    $1,298,900

    District of Columbia        $3,900,800

    Florida                    $72,484,000
previous 1 of 6 next


Top advertisers
Data represents total spend by verified advertisers since May 31, 2018. Learn more about the
verification process for advertisers.


                   search
All states
All states close

    Advertiser                                                                  Total ad
                                                                                spend

    BIDEN FOR PRESIDENT                                                           $83,716,900

    DONALD J. TRUMP FOR PRESIDENT, INC.                                           $83,476,500

    MIKE BLOOMBERG 2020 INC                                                       $62,250,100




                                                                                               2049
                                                                                                2244
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Advertiser                                                  Total ad
                                                            spend

TRUMP MAKE AMERICA GREAT AGAIN COMMITTEE                      $47,351,300

BIDEN VICTORY FUND                                            $15,933,100

DNC SERVICES CORP / DEMOCRATIC NATIONAL
                                                              $15,552,700
COMMITTEE

DSCC                                                          $15,523,700

SENATE LEADERSHIP FUND                                        $14,758,700

NRSC                                                          $13,478,800

REPUBLICAN NATIONAL COMMITTEE                                 $10,513,200

TOM STEYER 2020                                                $8,872,700

BERNIE 2020                                                    $8,785,000

AMERICA FIRST ACTION, INC.                                     $8,292,000

NRCC                                                           $7,944,000

PRIORITIES USA ACTION                                          $7,845,800

CONGRESSIONAL LEADERSHIP FUND                                  $7,475,400

PETE FOR AMERICA, INC.                                         $7,214,700

AMY MCGRATH FOR SENATE, INC.                                   $7,179,300

YES ON 22 - SAVE APP-BASED JOBS & SERVICES                     $7,170,400

JON OSSOFF FOR SENATE                                          $6,942,100

JAIME HARRISON FOR US SENATE                                   $6,555,200

HOME BOX OFFICE, INC.                                          $6,032,000

PRIORITIES USA ACTION & SMP                                    $5,911,300




                                                                       2050
                                                                        2245
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   Advertiser                                                  Total ad
                                                               spend

   TEAM GRAHAM, INC.                                              $5,772,300

   WARNOCK FOR GEORGIA                                            $5,578,700

   CONSERVATIVE BUZZ LLC                                          $5,337,600

   AMERICANS FOR PROSPERITY ACTION INC                            $5,011,600

   WARREN FOR PRESIDENT, INC.                                     $4,939,900

   SMP                                                            $4,910,600

   MARK KELLY FOR SENATE                                          $4,718,800
previous 1 of 163 next


View ads

              search
Start date_range
 5/ 31/ 2018

End date_range
 8/ 31/ 2021

Amount Spent
All
Impressions
Any
Format
All
Sort sort
Most recent

Jake Bequette | Patriot. Veteran. Razorback | U.S. Senate
Ad
jakebequette.com
Army veteran, former NFL player and Arkansas Razorback.
Text ad.




                                                                          2051
                                                                           2246
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Paid for by BEQUETTE FOR ARKANSAS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt $100–$1k
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Video ad.

44:14

Paid for by BLAZE MEDIA LLC FKA CRTV LLC

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Jake Bequette | U.S. Senate | Patriot. Veteran. Razorback.
Ad
jakebequette.com
Jake learned his conservative values on the football and battle field. He is ready to bring those
conservative values to the U.S. Senate.
Text ad.

Paid for by BEQUETTE FOR ARKANSAS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Jake Bequette | U.S. Senate | Patriot. Veteran. Razorback.
Ad
jakebequette.com
Army veteran, former NFL player and Arkansas Razorback. Jake Bequette is now ready to tackle
Washington. Learn more.
Text ad.

Paid for by BEQUETTE FOR ARKANSAS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Jake Bequette | U.S. Senate
Ad




                                                                                                         2052
                                                                                                          2247
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jakebequette.com
Jake Bequette is a former patriot, veteran and Razorback. Now he’s ready to fight for Arkansas.
Learn more today.
Text ad.

Paid for by BEQUETTE FOR ARKANSAS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Jake Bequette | U.S. Senate | Patriot. Veteran. Razorback.
Ad
jakebequette.com
Jake Bequette has a deep calling to serve. A former football player and veteran, he is now running
for U.S. Senate.
Text ad.

Paid for by BEQUETTE FOR ARKANSAS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NRCC

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Video ad.

30:04

Paid for by IAN BAYNE

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Tim Walz Is Creating Jobs | Jumpstarting MN's Economy | Investing in Small Businesses
Ad
abetterminnesota.org



                                                                                                         2053
                                                                                                          2248
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Tim Walz is keeping Minnesotans safe and delivering historic investments in small business See
what Minnesota Governor Tim Walz is doing for us. Learn more today.
Text ad.

Paid for by ALLIANCE FOR A BETTER MINNESOTA

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Matt Jacobs For Congress | Running to End Radical Rule | Donate Now
Ad
mattjacobsforcongress.com
Defending the American Dream takes grit. Matt Jacobs has what it takes!
Text ad.

Paid for by MATT JACOBS FOR CONGRESS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

GOP Senate | Audit is a Sham | Election Audit Live Steamed | AZ Audit Update | Latest News
Ad
votingbooth.media/republicans/Speak-AZ-Audit
Maricopa County Recorder Stephen Richer, voted for Trump, says there was no fraud A growing
chorus of Republicans criticize Arizona Senate's 2020 election audit.
Text ad.




                                                                                           2054
                                                                                            2249
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Paid for by FAITH VOTERS

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by GROUND NEWS INC

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Biden News Conference | Easily Explore Media Bias | Know The Bias Behind The News
Ad
ground.news
Stay current with most up to date news on Joe Bidden from hundreds of news sources Ground
News offers the most in-depth media bias analysis and ratings. Try it free today.
Text ad.

Paid for by GROUND NEWS INC

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

John Castorani for Congress | Flip a Virginia Swing District | Donate to a Conservative Vet
Ad
secure.winred.com
Castorani gave up his career in intelligence and security clearance to run for Congress. Support
strong defense, border security, and traditional values. Donate to flip the house!
Text ad.

Paid for by JOHN CASTORANI FOR VIRGINIA

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by COHEN RESEARCH GROUP




                                                                                              2055
                                                                                               2250
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8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.




                                                                        2056
                                                                         2251
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Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100




                                                                        2057
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Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100



                                                                        2058
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Image ad.

Paid for by NATIONAL RIFLE ASSOCIATION OF AMERICA POLITICAL VICTORY FUND

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100

Tom Kean for Congress | Because Character Counts | Donate Now
Ad
secure.winred.com
Tom Kean will fight to bring New Jersey Values to Washington. Donate Now!
Text ad.

Paid for by KEAN FOR CONGRESS INC

8/28/21 - 8/28/21 (1 day)
visibility ≤ 10k universal_currency_alt ≤ $100
Load more

Data in the Political Advertising Transparency Report is cumulative based on the launch date for a
country or region. This data is generally updated daily.

Download data (CSV) file_download

Political Advertising Transparency Report FAQs arrow_forward
Back to top

Share

   
   


Transparency Report
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       About
       FAQ


Security and privacy


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      Requests for user information
      Google Safe Browsing
      Email encryption in transit
      HTTPS encryption on the web
      Android ecosystem security
      Combating Child Sexual Abuse Material


Content removal
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      Government requests to remove content
      Requests to delist content under European privacy law
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      Change language or region




                                                                         2060
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                       Next


Political content

Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We support responsible political advertising, and expect all political ads and
destinations to comply with local legal requirements. This includes campaign and
election laws and mandated election “silence periods" for any geographic areas they
target.

Google has different requirements for political and election advertising based on region.

In some regions, election ads may run only if the advertiser is verified by Google. In
these regions, election ads are subject to disclosure requirements and targeting
restrictions; see below for additional information. Google Ad Grants accounts are not
eligible to run election ads or apply for election ads verification in these regions. Check
the information under your regional heading for applicable verification and restriction
information.

In other regions, there are restrictions on political ads. See below for a list of these
regions and what is prohibited. There may be additional prohibitions or requirements
listed in the local legal requirements policy.




                                                                                      2061
                                                                                       2256
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    If the region your ads target is not listed either here or within local legal requirements
    for a given region, political ads may run as long as they are compliant with all other
    Google Ad policies and local laws and regulations.

    Non-compliance with our political content policies may result in information about your
    account and political ads being disclosed publicly or to relevant government agencies
    and regulators.

    Election ads
    In these regions, election ads are allowed to run only if the advertiser is verified by
    Google. See below for how we define election ads in each region and the advertiser
    requirements that apply.

    Learn how to apply for verification.
    Election ads in Australia
    Election ads in European Union
    Election ads in India
    Election ads in Israel
    Election ads in New Zealand
    Election ads in Taiwan
    Election ads in the United Kingdom
    Election ads in the United States

    In the United States, election ads include ads that feature:

   A current officeholder or candidate for an elected federal office. This includes federal
    offices such as that of the President or Vice President of the United States, members of
    the United States House of Representatives or United States Senate
   A current officeholder or candidate for a state-level elected office, such as Governor,
    Secretary of State, or member of a state legislature
   A federal or state level political party
   A state-level ballot measure, initiative, or proposition that has qualified for the ballot in
    its state

    Note that election ads don’t include ads for products or services, including promotional
    political merchandise like t-shirts, or ads run by news organizations to promote their
    coverage of federal or state-level election campaigns, political parties, candidates, or
    current elected officeholders or state-level ballot measures, initiatives, or propositions.

    Below are requirements that must be met by advertisers who want to run federal or
    state election ads in the United States.

    Advertiser verification requirements for election ads in the United States




                                                                                              2062
                                                                                               2257
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    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                          Election ads in the United States may run if the advertiser is verified by Google.

   Learn how to apply for verification

   Troubleshooter

1. U.S. election ads may run only in the United States. Check that your U.S. election ads are
   running only in the United States, and that you’ve been verified to run U.S. election ads.
   Learn more about the verification process.
2. Contact us to have your ad reviewed again, or edit the ad. This will resubmit the ad and
   its destination for review. Most ads are reviewed within 1 business day, though some
   can take longer if they need a more complex review.
3. If you’re unable to complete the verification process, remove any content that violates
   the policy on election ads.

   State and local election ads in the United States

   Restricted targeting for election ads

   Only the following criteria may be used to target election ads in regions where election
   ad verification is required:
    The linked image cannot
    be display ed. The file
    may have been mov ed,
    renamed, or deleted.
    Verify that the link points
    to the correct file and




                                  Geographic location (except radius around a location)
    location.




    The linked image cannot
    be display ed. The file
    may have been mov ed,
    renamed, or deleted.
    Verify that the link points
    to the correct file and




                                  Age, gender
    location.




    The linked image cannot
    be display ed. The file
    may have been mov ed,
    renamed, or deleted.
    Verify that the link points
    to the correct file and




      Contextual targeting options such as: ad placements, topics, keywords against sites,
    location.




   apps, pages and videos

   All other types of targeting are not allowed for use in election ads.

   Disclosure requirements for election advertising
   For regions where election ad verification is required, all election ads must show a
   disclosure that identifies who paid for the ad. For most ad formats, Google will
   automatically generate a “Paid for by“ disclosure, using the information provided during
   the verification process. Please note that this disclosure is not a replacement for any
   other disclosures you may be required to include in your ad by law.
                                            The linked image cannot be
                                            display ed. The file may hav e been
                                            mov ed, renamed, or deleted. Verify
                                            that the link points to the correct
                                            file and location.




                                                For the following ad formats and features available across Google,
                                           the advertiser is responsible for including a “Paid for by” disclosure



                                                                                                                           2063
                                                                                                                            2258
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          directly in the ad, followed by the name of the organization or individual
          paying for the ad. The disclosure must be visible at all times in the ad.

                 Third-party ad serving on Google Display
                  Network and YouTube
                 Audio creatives and Native creatives on Display & Video 360
                 Video creatives on Display & Video 360 (except for creatives
                  served on YouTube)
                 YouTube Mastheads

    Please note that this disclosure is not a replacement for any other disclosures you may
    be required to include in your ad by law.

    Regional Restrictions
    In these regions, there are restrictions on political ads. See below for a list of these
    regions and what is prohibited for each region. There may be additional prohibitions or
    requirements listed in the local legal requirements policy.

    Canada
    France
    Singapore
    South Korea

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content




                                                                                        2064
                                                                                         2259
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   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu




                                                                            2065
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15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




                                                                            2066
                                                                             2261
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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product




                                                                            2067
                                                                             2262
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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                2068
                                                                                 2263
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    YouTube Help

    Sign in
                                      Send feedback on...

    This help content & information

    General Help Center experience
                                                                                Next
    Help CenterCommunity


    Targeting & serving
   Age targeting and ads
   Flash cookies
   Using social media and third-party apps
   SSL capability
   Third-party ad serving
   YouTube monetized markets

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar



                                                                            2069
                                                                             2264
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15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   Fix a problem




                                                                            2070
                                                                             2265
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o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service




                                                                            2071
                                                                             2266
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   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management
    Send feedback on...
    This help content & information General Help Center experience




                                                                                  2072
                                                                                   2267
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YouTube Help

Sign in
                                   Send feedback on...

This help content & information

General Help Center experience
                                                                                   Next
Help CenterCommunity


Age targeting and ads
YouTube Age Gates:

Videos or brand channels are age-gated by advertiser choice or after a Community
Guidelines violation. Only “of age” viewers can view this content while signed in to
YouTube. Sometimes, a video has to be age-gated before an advertiser can use it in an
ad (like a Promoted Videos ad for an alcohol campaign). The YouTube Age Gate is the
only option available to age-gating requests on the video watch page.

Demographic targeting by age for ads:

Our policies or advertisers sometimes ask for an ad to be targeted to a certain age
demographic. Our ad serving technology can target these ads based on the birth dates
of signed-in YouTube channels. For example, if an ad isn’t appropriate for a general
audience under our policies, the ad has to be demo-targeted to 18+ viewers. This means
that only signed-in viewers that are at least 18 years old will get this ad on our site.
Signed-out viewers will get a different ad.

Custom-built Age Gates:

Alcohol, gaming, and movie advertisers can build custom age gates on homepage ads.
We allow this because these are highly regulated industries, and the YouTube age gate
may not meet industry regulations. For example, video game advertisers might need to
meet ESRB guidelines on a mature-rated game. Requests for a custom age gate from
these advertisers need to be submitted to the YouTube Ads Policy team for prior
approval. Advertisers in all other verticals have to use the standard YouTube Age Gating
features available on brand channels and video watch pages.

Give feedback about this article



                                                                                   2073
                                                                                    2268
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                                              Submit
    Understand ad policies for advertisers
   Age targeting and ads
   Flash cookies
   Using social media and third-party apps
   SSL capability
   Third-party ad serving
   YouTube monetized markets

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     English?

    English

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3. Deutsch
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5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)



                                                                            2074
                                                                             2269
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20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

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    Google Help


   Help Center




o   Fix a problem



o   Watch videos




                                                                            2075
                                                                             2270
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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




                                                                            2076
                                                                             2271
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Troubleshoot problems playing videosTroubleshoot account issuesFix upload
problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




                                                                              2077
                                                                               2272
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                            Next
    Help CenterCommunity


    Advertiser age restrictions
    Some videos don't violate our policies, but may not be appropriate for all audiences. To
    comply with industry or regulatory viewing-age guidelines that fall outside of the
    Community Guidelines, certain advertisers can age-restrict their videos.

    The uploader imposes this age restriction. It’s not due to the YouTube viewer
    community reporting the video. Videos that the uploader proactively age restricts are
    still subject to YouTube's Community Guidelines.

    If you find something inappropriate, you can still report these videos and we’ll take
    further action if necessary. Learn more in the YouTube Reporting Center.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit

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     English?

    English



                                                                                            2079
                                                                                             2274
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1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
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23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

   Send feedback on...
   This help content & information General Help Center experience



                                                                           2080
                                                                            2275
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




                                                                            2081
                                                                             2276
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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                  2082
                                                                                   2277
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                2083
                                                                                 2278
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    YouTube Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                         Next
    Help CenterCommunity


    Flash cookies
    You can’t use locally shared object technologies (LSO) for behavioral advertising, ad
    delivery, reporting, or multi-site advertising. LSO technologies don’t show up in typical
    user browsing. These technologies include, but aren’t limited to: flash cookies, browser
    helper objects, and HTML5 local storage.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Understand ad policies for advertisers
   Age targeting and ads
   Flash cookies
   Using social media and third-party apps
   SSL capability
   Third-party ad serving
   YouTube monetized markets

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                                                                                         2084
                                                                                          2279
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    English?

   English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
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22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어




                                                                           2085
                                                                            2280
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41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright



                                                                            2086
                                                                             2281
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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    settingsManage accessibility settingsTroubleshoot account issues
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    issues
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
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    rights management




                                                                                  2087
                                                                                   2282
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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

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                                                                                 2283
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
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    Help CenterCommunity


    Using social media and third-party apps
    Ads or Brand Channels that include social media from third-party sites or apps may only
    incorporate content that the advertiser owns and controls.

    In addition to the above restrictions, when ads or Brand Channels incorporate third-party
    or Google-owned apps or APIs, all ads must meet the following criteria:

   Advertiser must be wholly compliant with third party's terms or have third-party approval
    where appropriate.
   Advertiser must use an approved or official version of the API or app.
   Advertiser may not pass any data from the third party either to or through YouTube's
    servers.

    Also, some APIs won’t be allowed on YouTube. You can check in with your sales
    contact for more info.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Understand ad policies for advertisers



                                                                                        2089
                                                                                         2284
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   Age targeting and ads
   Flash cookies
   Using social media and third-party apps
   SSL capability
   Third-party ad serving
   YouTube monetized markets

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     English?

    English

1. català
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6. español (Latinoamérica)
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9. hrvatski
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12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский




                                                                            2090
                                                                             2285
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31. српски
32. українська
33. ‫עברית‬
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40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium




                                                                            2091
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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
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    settingsManage accessibility settingsTroubleshoot account issues
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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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What is the issue with this selection?

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Other suggestions - ideas to improve the content

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                                                                                2093
                                                                                 2288
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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                       Next
    Help CenterCommunity


    SSL capability
    Depending on whether someone is signed in or out, YouTube pages can be loaded over
    a secure or insecure connection. Secure connections are achieved with SSL. To avoid
    warning messages in the viewer’s browser, we require that ads, creatives, and tracking
    elements are requested using an appropriate connection:

   For non-secure pages (HTTP://), the ad, creative, and tracking pixels can use either
    HTTP or HTTPS.
   For secure pages (HTTPS://), the ad, creative, and tracking pixels must only use HTTPS.
    Also, for ads and creatives loaded with HTTPS://, all subsequent requests to media
    assets or tracking URLs must also use HTTPS://. All creatives must be able to deliver
    over HTTP and HTTPS without the need for special trafficking. If tracking pixel URLs are
    given, they must be SSL-compliant (begin with HTTPS://). The only part of an ad
    permitted to be non-SSL compliant is the click URL (target landing page).

    More details
    3rd party served display ads

    Some vendors autocorrect their creative to be SSL-compliant. For these vendors, there’s
    little change needed for your creative to be SSL-compliant. A list of vendors and their
    capabilities is available here.

    VAST tracking pixels

    For the tracking of VAST ads such as inStream and inVideo, we’ll request any insecure
    URLs via a secure connection. We’ll achieve this by swapping out HTTP:// with
    HTTPS:// before requesting the URL. If your tracking vendor can’t support this




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    functionality, the tracking URL supplied must be SSL-compliant (start with HTTPS://). A
    list of vendors and their capabilities is available here.

    3rd party served VAST ads

    All 3rd party VAST ads must be SSL-compliant. Any URL within a VAST response must
    use the appropriate connection.

   For non-secure pages (HTTP://), the creative and tracking pixels can use either HTTP or
    HTTPS.
   For secure pages (HTTPS://), the creative and tracking pixels must only use HTTPS.
    Sometimes, your vendor won’t autocorrect the ad response to the right protocol or won’t
    swap HTTP:// for HTTPS://. In these cases, all media and tracking URLs in the VAST ad
    must use HTTPS:// by default.



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     English?

    English

1. català



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o   Policy, safety, & copyright




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   Community



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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
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    Learn about YouTube Premium benefitsManage Premium membershipManage
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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
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YouTube VAST Validator
YouTube VAST Validator

SUBMIT URL
YouTube VAST Validator

Welcome to the YouTube VAST Validator Tool! You can use this tool to verify that your VAST
ad tags meet specifications for third party served video ads on YouTube. Just input the VAST
tag, and we'll show you a summary of the results.
Try it out

Try it out using this sample tag:

https://ytvastqa.appspot.com/static/sampletag/vast.xml
Video ads on YouTube

For specifications please see:

Video Ads Specs

Certified 3PAS Vendors

Third Party Serving Policies & Attributes

Loading... Please wait...

VAST Tag: info_outline
Overall Verdict: info_outline FAIL error Errors: info_outline Unique Media Files: info_outline
Cachebusting: info_outline Clickthrough url(s): info_outline
Video Ad:

Companion Ad:
Preview: info_outline
Ads: info_outline
Privacy Policy - Terms of Service
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Third-party ad serving
You can use the YouTube VAST QA tool to verify whether your VAST ad tags meet our
third-party ad-serving specifications. You can also use this tool to easily preview your
third-party served video ad on the YouTube player.

Approved Third-Party Vendors
Third-party in-stream ads and their companion banner ads must use a linear VAST tag
from a YouTube VAST-approved vendor. Note that third-party served ads that violate our
ad policies may be limited or suspended. Check below for the detailed XML summary.

In-Stream ads XML summary for VAST ad server response
Element                Attributes          Values       Required       Supported Notes
VAST                                       Root node Yes               Yes
                                                                                 Must support any
                       version             String (3.0) Yes            Yes       VAST 2.* or 3.0
                                                                                     version
                                                                                     Top-level element
Ad                     ID                  String         Yes          Yes           wraps each ad in
                                                                                     the response
                                                                                     Second-level
InLine                 None                None           Yes          Yes           element
                                                                                     surrounding
                                                                                     complete ad data
                                                                                     for a single ad
                                                                                     Indicates source
AdSystem               None                String         Yes          Yes           ad server
                                                                                     Internal version
                       version             String         Preferred    Yes           used by ad system
                                                                                     Common name of
AdTitle                None                String         No           Yes           ad




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                                                                                          Longer
Description            None             String           No    Yes                        description of ad
                                                                                          URI of request to
Survey                 None             URI              No    No                         survey vendor
                                                                                          (YouTube will
                                                                                          only support
                                                                                          research tracking
                                                                                          pixels from
                                                                                          certified research
                                                                                          vendors in this
                                                                                          node. Surveys or
                                                                                          survey invitations
                                                                                          can’t be served
                                                                                          via the VAST
                                                                                          XML currently.)
                                                                                          URI to request if
Error                  None             URI              No    Yes                        ad doesn’t play
                                                                                          due to error.
                                                                                          YouTube will
                                                                                          only execute a
                                                                                          request to the URI
                                                                                          upon error but
                                                                                          can’t pass extra
                                                                                          error info.
                                                                                          URI to track
Impression             None             URI              Yes   Yes                        impression
                                                                                          Container for one
Creatives              None             None             Yes   Yes                        or more Creative
                                                                                          elements
                                                                                          Wraps each
Creative                                                 Yes   Yes                        creative element
                                                                                          Optional identifier
                       ID               String           No    Yes
                                                                                          The preferred
                       sequence         Integer          No    Yes                        order in which
                                                                                          multiple Creatives
                                                                                          should be
                                                                                          displayed
                                                                                          Ad-ID for the
                       AdID             String           No    Yes                        creative (formerly
                                                                                          ISCI)

Linear                                                   Yes   Yes
                                                                                          VAST 3.0 only
                       skipoffset       00:00:05         No    Yes
Duration               None             Time             Yes   Yes
TrackingEvents                                           No    Yes
                                                                                          URI to track
Tracking                                URI              No    Yes                        various events
                                                                                          during playback
                                        creativeView,                                     The name of the
                       event            start,
                                                         No    Yes                        event to track for
                                        firstQuartile,                                    the Linear
                                                               (only for start,
                                        midpoint,                                         element. The
                                                               firstQuartile, midpoint,
                                        thirdQuartile,                                    creativeView
                                                               thirdQuartile,
                                        complete,                                         should always be
                                                               complete). Only VAST
                                        mute,                                             requested when
                                                               3.0 supports Skip
                                        unmute,                                           present.
                                        pause,
                                        rewind,
                                        resume,
                                        fullscreen,
                                        expand,




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                                     collapse,
                                     acceptInvitation,
                                     close
                                     acceptInvitationLinear
                                     closeLinear
                                     progress
                                     skip
                                                                                                      Data to be passed
AdParameters                         String                   No                                No    into the video ad.

VideoClicks                                                   Yes                               Yes
                                                                                                      URI to open as
ClickThrough       None              URI                      Yes                               Yes   destination page
                                                                                                      when viewer
                                                                                                      clicks the video
                                                                                                      URI to request for
ClickTracking                        URI                      No                                Yes   tracking purposes
                                                                                                      when viewer
                                                                                                      clicks the video
                                                                                                      URIs to request
CustomClick                          URI                      No                                Yes   on custom events
                                                                                                      such as hotspotted
                                                                                                      video
                                                                                                      Optional identifier
                   ID                String                   No                                No
MediaFiles                                                    Yes                               Yes
                                                                                                      Location of linear
MediaFile                            URI                      Yes                               Yes   file

                                                              (There needs to be a minimum
                                                              of 2 separate MediaFile nodes -
                                                              one for each MP4, and WebM
                                                              video formats)
                                                                                                      Method of
                   delivery          progressive Yes                                            Yes   delivery of ad
                                                                                                      (YouTube doesn’t
                                                                                                      prefer streaming)
                                                                                                      MIME type
                   type              String                   Yes (MP4, and Yes                       (Popular MIME
                                                              WebM)                                   types include, but
                                                                                                      are not limited to
                                                                                                      “video/x-ms-
                                                                                                      wmv” for
                                                                                                      Windows Media)
                                                                                                      Bitrate of encoded
                   bitrate           Integer                  Yes                               Yes   video in Kbps
                                                                                                      Pixel dimensions
                   width             Integer (480)Yes                                           Yes   of video
                                                                                                      Pixel dimensions
                   height            Integer (360)Yes                                           Yes   of video
                                                                                                      Whether it is
                   scalable          Boolean                  No                                No    acceptable to
                                                                                                      scale the image
                                                                                                      (YouTube does
                                                                                                      this by default).

                   maintainAspectRatioBoolean                 No                                Yes
                                                                                                      If the MediaFile is
                   apiFramework       String                  No                                No    interactive, the
                                                                                                      apiFramework
                                                                                                      defines the
                                                                                                      method to use for
                                                                                                      communication.

CompanionAds                                                  No                                Yes



                                                                                                              2103
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                                                                           Any number of
Companion                                          No                Yes   companions in
                                                                           any desired pixel
                                                                           dimensions.
                                                                           Optional identifier
                     ID               String       No                Yes
                                                                           Pixel dimensions
                     width            Integer (300)Yes (if serving   Yes   of companion
                                                   companion)
                                                                           Pixel dimensions
                     height           Integer (60) Yes (if serving   Yes   of companion
                                                   companion)
                                                                           Pixel dimensions
                     expandedWidth    Integer      No                No    of expanding
                                                                           companion ad
                                                                           when in expanded
                                                                           state (expandables
                                                                           not allowed with
                                                                           In-Stream ads on
                                                                           YouTube)

                     expandedHeight   Integer      No                No    Pixel dimensions of
                                                                           expanding companion
                                                                           ad when in expanded
                                                                           state (expandables not
                                                                           allowed with In-Stream
                                                                           ads on YouTube)
                                                                           The
                     apiFramework     String       No                No    apiFramework
                                                                           defines the
                                                                           method to use for
                                                                           communication
                                                                           with the
                                                                           companion
                                                                           URI to a static
StaticResource                        URI          No                Yes   file, such as an
                                                                           image.
                                                                           Mime type of
                     creativeType     String       Yes (if serving Yes     static resource,
                                                   companion               only Image types

                                                   using                   are supported

                                                   StaticResource)
                                                                           URI source for an
IFrameResource       None             URI          No              Yes     IFrame to display
                                                                           the companion
                                                                           element
                                                                           HTML to display
HTMLResource         None             CDATA        No                No    the companion
                                                                           element
                                                                           JavaScript to
JavaScriptResource   None             CDATA        No                No    display the
                                                                           companion
                                                                           element

TrackingEvents                                     No                No
                                                                           URI to display the
Tracking                              URI          No                No    companion
                                                                           element
                                                                           The creativeView
                     event            creativeViewYes (if serving No       should always be
                                                  companion)               requested when
                                                                           present. For
                                                                           Companions
                                                                           creativeView is
                                                                           the only
                                                                           supported event.




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                                                                                 URI to open as
    CompanionClickThroughNone                  URI         Yes (if serving Yes   destination page
                                                           static                when viewer

                                                           image without         clicks the
                                                                                 companion.
                                                           hard-coded
                                                           click-through)
                                                                                 Alt test to be
    AltText               None                 String      No              Yes   displayed when
                                                                                 companion is
                                                                                 rendered in
                                                                                 HTML
                                                                                 environment
                                                                                 Data to be passed
    AdParameters                               String      No             No     into the
                                                                                 companion ads
                                                                                 Not currently
    NonLinearAds                                           No             No     supported (only
                                                                                 Linear In-Stream)

    Extensions                                             No             No
                                                                                 Any valid XML
    Extension             type                 Any         No             No     may be included
                                                                                 in the Extensions
                                                                                 node but will be
                                                                                 ignored.
                                                                                 Second-level
    Wrapper               None                 None        No             No     element
                                                                                 surrounding
                                                                                 wrapper ad
                                                                                 pointing to
                                                                                 Secondary ad
                                                                                 server

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40. 한국어
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    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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    channelAnalyze performance with analyticsTranslate videos & captionsManage your
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    YouTube monetized markets
    Advertisers can only target their ads to countries where YouTube has launched a
    monetized site. Product availability may differ between countries. These countries
    include:

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   Argentina
   Australia
   Austria
   Azerbaijan
   Bahrain
   Bangladesh
   Belarus
   Belgium
   Bolivia
   Bosnia and Herzegovina
   Brazil
   Bulgaria
   Canada
   Chile
   Colombia
   Costa Rica
   Croatia
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   Czech Republic
   Denmark
   Dominican Republic
   Ecuador
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   El Salvador
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   Georgia
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   Greece
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   Iceland
   India
   Indonesia
   Iraq
   Ireland
   Israel
   Italy
   Japan
   Jamaica
   Jordan
   Kazakhstan
   Kenya
   Kuwait
   Latvia
   Lebanon
   Libya
   Liechtenstein
   Lithuania
   Luxembourg
   Macedonia
   Malaysia
   Malta
   Mexico
   Montenegro
   Morocco
   Nepal
   Netherlands
   New Zealand
   Nicaragua
   Nigeria
   Norway
   Oman




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   Pakistan
   Panama
   Paraguay
   Peru
   Philippines
   Poland
   Portugal
   Puerto Rico
   Qatar
   Romania
   Russia
   Saudi Arabia
   Senegal
   Serbia
   Singapore
   Slovakia
   Slovenia
   South Africa
   South Korea
   Spain
   Sri Lanka
   Sweden
   Switzerland
   Taiwan
   Tanzania
   Thailand
   Tunisia
   Turkey
   Uganda
   Ukraine
   United Arab Emirates
   United Kingdom
   United States of America
   Uruguay
   Vietnam
   Yemen
   Zimbabwe

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20. română
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22. slovenščina
23. suomi



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    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
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    Program




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Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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YouTube Kids Parental Guide

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Videos in YouTube Kids
We’ve built the YouTube Kids app to be a family-friendly place for kids to explore their
interests. Videos available in the app are determined by a mix of algorithmic filtering,
user input and human review.

Videos on the homescreen are pre-selected content and go through an additional level
of quality control via human review.

Videos discovered through Search and Recommended videos are selected by our
algorithm without human review.

Though our system has been rigorously tuned and tested, no algorithm is perfect, and
even a perfect algorithm isn't the same as your judgment. This means that it's possible
that your child may find content in the app that you may not want your child to come
across. If this happens, you can notify YouTube by flagging the video. We take these
flags seriously and use them to improve the app for everyone.

For a more contained experience, you can turn off Search using Parental Settings.

When you turn search off, your child is limited to videos from a set of channels that
have been verified by YouTube Kids. Please keep in mind that regardless of the settings
for Search in your app, there is a chance that your child will find content that you don’t
want them to watch.



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    Help
   Homescreen video categories
   Videos in YouTube Kids
   Recommended videos
   Ads in YouTube Kids
   Search in YouTube Kids
   Watch it again
   Save videos offline in certain countries on YouTube Kids
   Customize your child’s experience: Block content in YouTube Kids
   Accessibility on YouTube Kids
   Send feedback
   Report inappropriate videos
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   YouTube Kids with Google Nest or Home Speaker or Display Devices
   Watch YouTube Kids on the web

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3. dansk
4. Deutsch
5. eesti
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. français
10. hrvatski
11. Indonesia
12. italiano
13. latviešu



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14. lietuvių
15. magyar
16. Nederlands
17. norsk
18. polski
19. português
20. português (Brasil)
21. română
22. shqip
23. slovenčina
24. slovenščina
25. suomi
26. svenska
27. Tiếng Việt
28. Türkçe
29. íslenska
30. čeština
31. Ελληνικά
32. български
33. македонски
34. русский
35. српски
36. українська
37. ‫עברית‬
38. ‫اﻟﻌﺮﺑﯿﺔ‬
39. िह ी
40. বাংলা
41. ไทย
42. ქართული
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   Community



   YouTube Kids Parental Guide




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Video Ads (formerly in-stream video ads)

Technical Specifications
Next: Reporting & Third Party Capabilities

Third-party ad serving (3PAS) on YouTube reservation:

As of May 15, 2019, support for YouTube 3PAS (VAST) is available through a new API-
based framework that ingests and serves advertisers’ creatives via Google’s
systems. Innovid, Sizmek, Extreme Reach, Adform, and Flashtalking are currently
integrated with the framework. The list of integrated providers will be available here and
updated as needed.


To leverage this solution, third party providers need to integrate with Ads Data Hub,
which handles performance measurement.

As part of this launch, YouTube will no longer support third-party-served companion
banners.

This section covers detailed specifications for both YouTube-hosted (site served) and
third-party served video ads, as well as video upload best practices and compatible
browsers.

Site Served
Video Requirements: Must be uploaded to YouTube (send Video URL, shortened URL not
                    allowed)
                    Must allow embedding



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                       Must be public or unlisted
                       True streaming is not allowed
Minimum Video          12 seconds (for skippable ads)
Length:
Maximum Video          Up to 6 minutes (skippable ads)
Length:                *60 seconds (skippable ads on YouTube Kids)
                       15 seconds (non-skippable ads)

                       6 seconds (bumper ads)
                       20 seconds (non-skippable ads, EMEA, Mexico, India, Malaysia, and
                       Singapore only)


Third-Party Served (VAST-Compliant)
You can use the YouTube VAST QA tool to verify whether your VAST ad tags meet our
third party ad serving specifications. You can also use this tool to easily preview your
third party served ad on the YouTube player.
Format:          H.264 (MP4) video file type must be included for each video creative (other
                 formats such as WebM can be included but may not be used)
Aspect Ratio and 720p or below is required, the optional inclusion of 1080p is recommended -
Bitrate:         either 16:9 or 4:3 aspect ratios are acceptable. (Examples of each are 16:9 -
                 854x480; 1280x720; 1920x1080 and 4:3 - 480x360; 720x540; 960x720)

                 Must contain at least one mediafile under 1000kbps
Audio Format:    MP3 or AAC preferred
Frames per       Up to 30fps
second:
Maximum file     10 MB
size:
Requirements:    Must comply with YouTube's XML summary for VAST ad server response
                 Must be SSL-compliant
                 Only VAST 3.0 tags are allowed for skippable video ads. VAST 2.0 will not be
                 accepted.
                 Must be served via a linear VAST tag (pre-fetch tag) by a YouTube-approved
                 vendor.
                 Must NOT have geo, browser or any other targeting on the third party end.
                 Please ensure your ad server returns a valid crossdomain.xml file. If you
                 choose to explicitly list domains, please ensure all ad serving domains are
                 included.
                 VAST-served video ads are not guaranteed to run on all mobile web browsers,
                 game consoles or connected TV devices (most modern updated environments
                 are supported)
                 Only VAST 2.0 and 3.0 are currently supported
                 VPAID is not allowed on YouTube
                 Up to 6 minutes (skippable ads)



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                    15 seconds (non-skippable ads)
    Maximum Video
                  6 seconds (bumper ads)
    Length:
                  20 seconds (non-skippable ads, EMEA, Mexico, India, Malaysia, and
                  Singapore only)

    Video Recommendations
   Resizing your video based on YouTube's best practices before uploading it will help your
    videos look better on YouTube. Please reference our help pages on how to upload your
    video, accepted file formats, and optimizing your video.
   If you would like your video to not be viewable or searchable to the public outside of the
    ad, you can make it unlisted by following the instructions here.
   Interactive elements such as annotations, call to action overlays or info cards will
    automatically appear on the video ad, if enabled. If you do not want the interactivity
    elements to appear on the ad, please remove these directly from the Video.
   If you would like to use a 360° video in a video ad, please follow the guidelines here, and
    please note that 360° videos have browser and device limitations for correct rendering.

    Compatible Browsers:
   Internet Explorer 10+, Firefox 25+, Safari 6+; Chrome 33+

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    Next: Reporting & Third Party Capabilities

    Video Ads (formerly in-stream video ads)
   Intro to Video Ads
   How Video Ads Work
   Assets Overview and Creative Submission
   Technical Specifications
   Reporting & Third Party Capabilities

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11. norsk
12. polski
13. português
14. português (Brasil)
15. suomi
16. svenska
17. Tiếng Việt
18. Türkçe
19. čeština
20. Ελληνικά
21. русский
22. ‫עברית‬
23. ‫اﻟﻌﺮﺑﯿﺔ‬
24. िह ी
25. ไทย
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27. 中文（繁體）
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YouTube Help

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Advertising on YouTube Kids
All advertisements sold in the YouTube Kids app must comply with the additional
advertising policies outlined below, as well as YouTube’s general advertising policies.
YouTube Kids advertising policies may evolve over time. We encourage you to check
back often to read the latest updates. All YouTube Kids Paid Ads must be pre-approved
by YouTube’s policy team prior to being served in the YouTube Kids app. Additionally,
advertisers must also comply with applicable laws and regulations (including any
relevant self-regulatory or industry guidelines). You can read more about our ad format
requirements below.

What is a Paid Ad in YouTube Kids?
To provide an experience free of charge, YouTube Kids is ad-supported with limited
advertising. When you select a YouTube video in the app, you may see an ad bumper
followed by a video ad- marked with an "Ad" disclaimer- before the video you selected.
These are paid advertisements ("Paid Ads").

Videos uploaded by users to YouTube are not Paid Ads and therefore they are not
marked as an Ad nor are they subject to our advertising policies. This may also include
content about or from companies who may have also purchased Ads in the app. For
example, a search for trains could result in train cartoons, songs and videos of real
trains uploaded by a user or a toy train company, none of which we consider as Paid
Ads, as they are not part of the YouTube Kids advertising program. Likewise, a search
for chocolate can show a user-uploaded video on making chocolate fudge even though
we do not allow paid Ads for chocolatiers. Learn more about Videos on YouTube Kids.

Ad Format Requirements


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   Format: At this time we only accept the in-stream video ad format in YouTube Kids.
   Maximum time length: 15-20 seconds long for non-skippable (depending on where the
    viewer is based) and 60 seconds for skippable (length may vary based on market). This
    excludes the 3 second ad bumper that may play before the Paid Ad.
   Destination URLs: Destination URLs and outbound links (including call-to-action
    overlays and infocards) are disabled from the app. Ads in YouTube Kids will not be
    clickable.
   Site-served: All Paid Ads must be hosted on YouTube. Third-party served ads are
    prohibited.

    Ad Targeting and Data Collection
   We prohibit interest-based advertising in YouTube Kids.
   Paid Ads with remarketing or other tracking pixels are prohibited.

    Restricted Product Categories
    Paid Ads for the following products are prohibited in YouTube Kids.

    Age Sensitive Media Content

    Media that is sensitive to show to users under the age of 13 are prohibited. Examples
    include advertisements for films rated higher than ‘PG’ by the MPAA and television
    shows rated higher than 'G' by TV Parental Guidelines.

    Beauty and Fitness

    Products related to external personal care, fitness, exercise, weight-loss, diet and
    nutrition are prohibited.

    Dating or Relationship

    Paid Ads for dating sites, family counseling, and marital or divorce services are
    prohibited.

    Food and Beverages

    Products related to consumable food and drinks are prohibited, regardless of nutrition
    content.

    Illegal or Regulated Products




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Products that are regulated or illegal to advertise to children, including Prohibited
Content and Restricted Content are prohibited. This also includes products that may
pose safety risks for children.

Online or Virtual Communities

Platforms and services related to virtual communities in which members interact
primarily on the internet are prohibited.

Political Ads

Political Paid Ads of any kind are prohibited, including information about political
candidates or their policy positions, political parties, fundraising or political action
committees or their agendas.

Religious Ads

Religious Paid Ads of any kind are prohibited.

Video Games

Electronic video games (and related accessories) that may be played on a video game
console, the computer, or another electronic device such as a cell phone or tablet are
prohibited if the industry rating of the game would not be suitable for audiences 12
years or under. For example, up to and including ESRB E10+, PEGI 7, or any equivalent
local industry rating according to IARC, are allowed. Apps or web content with
interactive educational content such as puzzles, worksheets, math problems, language
learning exercises are allowed.

Prohibited Content Guidelines
Paid Ads that feature or promote any of the following content are strictly prohibited.

Adult and Sexually Suggestive Content

Sexual and mature content that is intended for adult audiences and not suitable for
users under the age of 13.

Branding

Paid Ads need to be clearly branded by the advertiser and/or product marketed in the
video. The Paid Ad needs to be distinctive to the user that this is an ad, and not general
YouTube content.




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    Contests

    Contests or sweepstakes promotions, even if free to enter.

    Dangerous Content

    Content that is dangerous and inappropriate for users under the age of 13 or that
    generally requires adult supervision.

    Incitement to Purchase

    Promotions or content that incites children to purchase a product or service or to urge
    parents or others to buy the item.

    Misleading and Deceptive Claims

   Paid Ads cannot be misleading to children and make any deceptive and/or
    unsubstantiated claims. All claims and assertions need to be substantiated within the
    video itself.
   Paid Ads cannot imply that the product will improve your social status.
   Paid Ads cannot include features or call-to-actions that don’t work or where the desired
    action can’t be completed.

    Violent Content

    Violent and graphic content that is intended for adult audiences and not suitable for
    users under the age of 13.

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13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




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    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
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    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




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Advertising Policies Help

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Dangerous products or services
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We want to help keep people safe both online and offline, so we don't allow the
promotion of some products or services that cause damage, harm, or injury.

Below are some examples of products and services that we consider to be dangerous,
which you should avoid in your ads or destinations. Learn about what happens if you
violate our policies.

Violations of the policies below will not lead to immediate account suspension without
prior warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Explosives
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




         Ads for products that are designed to explode and could cause
      damage to nearby people or property

                                                Examples (non-exhaustive): Nail bomb, chemical bomb, any
                                                fireworks that explode, firecrackers, grenades



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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Ads for instructional content about the assembly, enhancement, or
      acquisition of explosive items

                                             Example (non-exhaustive): Bomb-making site, guides,
                                             software, or equipment for 3D printing of parts of grenades

Learn how to fix a disapproved ad or extension.

Guns, gun parts, & related products
The following is allowed:
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




         Ads for gun parts and associated items that increase the safety of a
       points to the correct file
       and location.




      gun

                                             Examples (non-exhaustive): Gun locks, trigger locks, safety
                                             pins, chamber block

The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Ads for functional devices that appear to discharge a projectile at
      high velocity, whether for sport, self-defense, or combat

                                             Note: We err on the side of caution and apply this policy to
                                             sporting or recreational guns that can cause serious harm if
                                             misused, or that appear to be real guns.

                                             Examples (non-exhaustive): Handguns, rifles, shotguns,
                                             hunting guns, functioning antique guns, airsoft guns,
                                             paintball guns, bb guns, 3D-printed guns
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Ads for any part or component, whether finished or unfinished, that's
      essential to or enhances the functionality of a gun

                                             Examples (non-exhaustive): Ammunition, ammunition clips,
                                             silencers, tripods and bipods for guns, stocks, conversion
                                             kits, gun-grips, scopes and sights, bump stocks
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for instructions on the assembly or enhancement of the
      functionality of firearms




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Other weapons
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for knives that are designed or promoted (in modern-day usage)
      as products that can be used to injure an opponent in sport, self-defense,
      or combat
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for any knife design that provides a confrontational advantage
      (including disguised appearance or assisted-opening mechanism)

                                             Examples (non-exhaustive): Switchblades, fighting knives,
                                             sword-canes, balisongs, military knives, push daggers,
                                             throwing axes
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for any other product that's designed to (in modern-day usage)
      injure an opponent in sport, self-defense, or combat

                                             Examples (non-exhaustive): Throwing stars, brass knuckles,
                                             tasers, pepper spray
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Ads for instructional content about the assembly, enhancement, or
      acquisition of any product covered under the Other weapons policy

                                             Examples (non-exhaustive): Guides, software, or equipment
                                             for 3D printing of push daggers, brass knuckles, throwing
                                             stars

Learn how to fix a disapproved ad or extension.

Recreational drugs
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
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       that the link points to the correct
       file and location.




           Ads for substances that alter mental state for the purpose of
      recreation or otherwise induce "highs"




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                                              Examples (non-exhaustive): Cocaine, crystal meth,
                                              heroin and other illegal opioids, marijuana, cocaine
                                              substitutes, mephedrone, "legal highs"
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for products or services marketed as facilitating recreational
      drug use

                                              Examples (non-exhaustive): Pipes, bongs, cannabis coffee
                                              shops
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for instructional content about producing, purchasing, or using
      recreational drugs

                                              Examples (non-exhaustive): Forums to exchange tips or
                                              recommendations on drug use

Learn how to fix a disapproved ad or extension.

Tobacco
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
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                                             Ads for tobacco or any products containing tobacco

                                              Examples (non-exhaustive): Cigarettes, cigars, snus, chewing
                                              tobacco, rolling tobacco, pipe tobacco
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads for products that form a component part of a tobacco product, as
      well as products and services that directly facilitate or promote tobacco
      consumption

                                              Examples (non-exhaustive): Rolling papers, pipes, tobacco
                                              filters, hookah lounges, cigar bars
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads for products designed to simulate tobacco smoking

                                              Examples (non-exhaustive): Herbal cigarettes, electronic
                                              cigarettes, e-cigarettes

Learn how to fix a disapproved ad or extension.



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                                                                                                              2335
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                                         Was this helpful?
                                             YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy



                                                                                        2141
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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย



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40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy




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   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                                                     Send feedback on...

This help content & information

General Help Center experience
                                                                                                                         Next


Enabling dishonest behavior
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We value honesty and fairness, so we don't allow the promotion of products or services
that are designed to enable dishonest behavior.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Enabling dishonest behavior
The following is not allowed:
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Products or services that help users mislead others

                                        Examples (non-exhaustive): Creation of fake or false documents such as
                                        passports or diplomas; selling numbers (e.g., “credit privacy numbers”)
                                        that mimic the appearance of national identification numbers; services
                                        that broker the inclusion of clients as authorized users on credit lines; aids
                                        to pass drug tests; paper-writing or exam-taking services; selling falsified
                                        user activity in the form of invalid clicks, reviews, or social media
                                        endorsements




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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Products or services that enable a user to gain unauthorized access
      (or make unauthorized changes) to systems, devices, or property

                                             Examples (non-exhaustive): Hacking services, stealing cable,
                                             radar jammers, changing traffic signals, phone or wire-
                                             tapping
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Products or services that enable a user to track or monitor another
      person or their activities without their authorization

                                             Examples (non-exhaustive): Spyware and technology used
                                             for intimate partner surveillance including but not limited to
                                             spyware/malware that enable a user to monitor texts, phone
                                             calls, or browsing history; GPS trackers specifically marketed
                                             to spy or track someone without their consent; promotion of
                                             surveillance equipment (e.g. cameras, audio recorders, dash
                                             cams, nanny cams) marketed with the express purpose of
                                             spying

                                             This does not include (a) private investigation services or (b)
                                             products or services designed for parents to track or monitor
                                             their underage children.

Violations of this policy will not lead to immediate account suspension without prior
warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.
Learn how to fix a disapproved ad or extension.

Need help?
If you have questions about our policies, let us know: Contact Google Ads Support
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Choose a section to give feedback on

                                                                    Was this helpful?
                                                                        YesNo




                                                                         Submit
Advertising policies


                                                                                                               2147
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   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français




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11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

   Send feedback on...
   This help content & information General Help Center experience
     1




   Google Help




                                                                            2149
                                                                             2344
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   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

                                                                            2150
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2151
                                                                                 2346
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Advertising Policies Help

Sign in
                                                Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Inappropriate content
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We value diversity and respect for others, and we strive to avoid offending users, so we
don’t allow ads or destinations that display shocking content or promote hatred,
intolerance, discrimination, or violence.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

Violations of the policies below will not lead to immediate account suspension without
prior warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.


Dangerous or derogatory content
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Content that incites hatred against, promotes discrimination of, or
      disparages an individual or group on the basis of their race or ethnic
      origin, religion, disability, age, nationality, veteran status, sexual




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      orientation, gender, gender identity, or any other characteristic that is
      associated with systemic discrimination or marginalization

                                               Examples (non-exhaustive): Content promoting hate groups
                                               or hate group paraphernalia; content that encourages others
                                               to believe that a person or group is inhuman, inferior, or
                                               worthy of being hated
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Content that harasses, intimidates, or bullies an individual or group of
      individuals

                                               Examples (non-exhaustive): Content that singles out
                                               someone for abuse or harassment; content that suggests a
                                               tragic event did not happen, or that victims or their families
                                               are actors, or complicit in a cover-up of the event
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Content that threatens or advocates for physical or mental harm on
      oneself or others

                                               Examples (non-exhaustive): Content advocating suicide,
                                               anorexia, or other self-harm; threatening someone with real-
                                               life harm or calling for the attack of another person;
                                               promoting, glorifying, or condoning violence against others;
                                               content made by or in support of terrorist groups, or
                                               transnational drug trafficking organizations, or content that
                                               promotes terrorist acts, including recruitment, or that
                                               celebrates attacks by transnational drug trafficking or
                                               terrorist organizations.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Content that seeks to exploit others

                                               Examples (non-exhaustive): Extortion, blackmail, soliciting or
                                               promoting dowries



Learn how to fix a disapproved ad or extension.

Sexually explicit content
The following is not allowed:




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                                                                                                                 2348
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       The linked image cannot be
       display ed. The file may hav e been
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       that the link points to the correct
       file and location.




                                             Text, image, audio, or video of graphic sexual acts intended to arouse

                                               Examples (non-exhaustive): Hardcore pornography; sex acts
                                               such as genital, anal, and oral sex; masturbation; cartoon
                                               porn or hentai
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Content promoting underage, non-consensual, or other illegal sexual
      themes, whether simulated or real

                                               Examples (non-exhaustive): Rape, incest, bestiality,
                                               necrophilia, lolita or teen-themed pornography, underage
                                               dating

Learn how to fix a disapproved ad or extension.

Compensated sexual acts
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
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       that the link points to the correct
       file and location.




          Content that may be interpreted as promoting a sexual act in
      exchange for compensation

                                               Examples (non-exhaustive): Prostitution, companionship and
                                               escort services, intimate massage and similar services,
                                               cuddling sites; compensated dating or sexual arrangements
                                               where one participant is expected to provide money, gifts,
                                               financial support, mentorship or other valuable benefits to
                                               another participant such as ‘Sugar’ dating

Learn how to fix a disapproved ad or extension.

Child sexual abuse imagery
The following is not allowed:
       The linked image cannot be
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       that the link points to the correct
       file and location.




                                             Content promoting the sexual exploitation of minors

                                               Examples (non-exhaustive): Child sexual abuse imagery or
                                               other content

Learn how to fix a disapproved ad or extension.



                                                                                                                      2154
                                                                                                                       2349
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Mail-order brides
The following is not allowed:
       The linked image cannot be
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       that the link points to the correct
       file and location.




                                             Content promoting marriage to a foreigner

                                               Examples (non-exhaustive): Mail-order brides, international
                                               marriage brokers, romance tours

Learn how to fix a disapproved ad or extension.

Adult themes in family content
The following is not allowed:
       The linked image cannot be
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       that the link points to the correct
       file and location.




            Content that is made to appear appropriate for a family audience but
      contains adult themes, including sex, violence, vulgarity, or other
      depictions of children or popular children’s characters, that are unsuitable
      for a general audience

Learn how to fix a disapproved ad or extension.

Shocking content
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Promotions containing violent language, gruesome or disgusting
      imagery, or graphic images or accounts of physical trauma

                                               Examples (non-exhaustive): Crime scene or accident photos,
                                               execution videos
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Promotions containing gratuitous portrayals of bodily fluids or waste

                                               Examples (non-exhaustive): Blood, guts, gore, sexual fluids,
                                               human or animal waste
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Promotions containing obscene or profane language




                                                                                                                     2155
                                                                                                                      2350
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                                               Examples (non-exhaustive): Swear or curse words, slurs
                                               relating to race or sexuality, variations and misspellings of
                                               profane language

                                               Note: If the official name of your product, website, or app
                                               includes profane language, request a review and provide
                                               details of the name.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Promotions that are likely to shock or scare

                                               Examples (non-exhaustive): Promotions that suggest you
                                               may be in danger, be infected with a disease, or be the victim
                                               of a conspiracy

Learn how to fix a disapproved ad or extension.

Sensitive events
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads that potentially profit from or exploit a sensitive event with
      significant social, cultural, or political impact, such as civil emergencies,
      natural disasters, public health emergencies, terrorism and related
      activities, conflict, or mass acts of violence

                                               Examples (non-exhaustive): Appearing to profit from a tragic
                                               event with no discernible benefit to users; price gouging or
                                               artificially inflating prices that prohibits/restricts access to
                                               vital supplies; sale of products or services which may be
                                               insufficient for the demand during a sensitive event; using
                                               keywords related to a sensitive event to attempt to drive
                                               additional traffic
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads that claim victims of a sensitive event were responsible for their
      own tragedy or similar instances of victim blaming; ads that claim victims
      of a sensitive event are not deserving of remedy or support

                                               Examples (non-exhaustive): Ads which claim victims from
                                               certain countries were responsible or deserving of a global
                                               public health crisis

Learn how to fix a disapproved ad or extension.



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COVID-19 update

      Current as of August 31, 2021

      Google is monitoring the impact of coronavirus (COVID-19) as the
      situation evolves, and we are taking the necessary steps to maintain a
      safe advertising ecosystem.

Starting August 31, 2021 merchants and suppliers will be able to apply for approval to
list offers for N95 masks (U.S. only) and N95-adjacent masks (KN95, FFP2, and KF94)
globally. Apply here for N95 listing approval via Project N95 and apply here for N95-
adjacent listing approval via LegitScript. Please check Google Ads Help Center for the
latest updates on our “Sensitive Events” policy.

Animal cruelty
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Content that promotes cruelty or gratuitous violence towards animals

                                               Example (non-exhaustive): Promoting animal cruelty for
                                               entertainment purposes, such as cock or dog fighting
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Content that may be interpreted as trading in, or selling products
      derived from, threatened or extinct species

                                               Examples (non-exhaustive): Sale of tigers, shark fins,
                                               elephant ivory, tiger skins, rhino horn, dolphin oil

Learn how to fix a disapproved ad or extension.

Hacked political materials
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Ads that directly facilitate or advertise access to hacked material
      related to political entities within scope of Google's election ads policies.
      This applies to all protected material that was obtained through the
      unauthorized intrusion or access of a computer, computer network, or
      personal electronic device, even if distributed by a third party.




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                 Examples (non-exhaustive): Advertising access to hacked
                 content (“See all of the leaked emails right now!”, “The
                 President’s text messages were hacked! Access them
                 now!”); linking to hacked content (“View our database of
                 hacked documents from the President's campaign.”,
                 “Foreign agents hacked into his computer, take a look at the
                 real documents.”)

    Note that discussion of or commentary on hacked political materials is allowed,
    provided that the ad or landing page does not provide or facilitate direct access to those
    materials.

    Learn how to fix a disapproved ad or extension.


    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games



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   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina




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25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



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o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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Share additional info or suggestions




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

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                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Financial products and services
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We want users to have adequate information to make informed financial decisions. Our
policies are designed to give users information to weigh the costs associated with
financial products and services, and to protect users from harmful or deceitful
practices. For the purposes of this policy, we consider financial products and services
to be those related to the management or investment of money and cryptocurrencies,
including personalized advice.

When promoting financial products and services, you must comply with state and local
regulations for any region or country that your ads target — for example, include specific
disclosures required by local law. Refer to our non-exhaustive list of country-specific
requirements for more information but note that advertisers are expected to do their
own research on the local regulations for any location their ads target.

Below you can find policy requirements related to financial services, personal loans, and
certain restricted financial products. As the online advertising and regulatory space
continues to evolve, we'll update this policy with additional product-specific guidelines
on an ongoing basis. Learn about what happens if you violate our policies.

Violations of the policies below will not lead to immediate account suspension without
prior warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.



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Financial products and services disclosures
      Financial products and services can be very complex and sometimes
      difficult to understand. Disclosures increase transparency and provide
      consumers with valuable information to make informed decisions.

      The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Failure to provide legitimate contact information for a physical
      location for the business being promoted
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Failure to disclose associated fees

                                               Note: Disclosures can’t be posted as roll-over text or made
                                               available through another link or tab. They must be clearly
                                               and immediately visible without needing to click or hover
                                               over anything.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Failure to include links to third-party accreditation or endorsement
      where affiliation is asserted or implied, particularly when it serves to
      improve the reputation of the site

                                               Examples (non-exhaustive): Verification of government
                                               affiliation, third-party ratings

Learn how to fix a disapproved ad or extension.

Personal loans
      For this policy, we define personal loans as lending money from one
      individual, organization, or entity to an individual consumer on a
      nonrecurring basis, not for the purpose of financing purchase of a fixed
      asset or education. Personal loan consumers require information about
      the quality, features, fees, risks, and benefits of loan products in order to
      make informed decisions about whether to undertake the loan.

                                               Examples (non-exhaustive): Payday loans, title loans, pawn
                                               shops

                                               Not included: Mortgages, car loans, student loans, revolving
                                               lines of credit (such as credit cards, personal lines of credit)




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      Advertisers for personal loans must prominently disclose additional
      information on their destination site or app. Disclosures increase
      transparency and provide consumers with valuable information to make
      informed decisions.

      The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Failure to provide minimum and maximum period for repayment
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Failure to provide maximum Annual Percentage Rate (APR), which
      generally includes interest rate plus fees and other costs for a year, or
      similar other rate calculated consistently with local law
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Failure to display a representative example of the total cost of the
      loan, including all applicable fees
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Personal loans which require repayment in full in 60 days or less from
      the date the loan is issued. This policy applies to advertisers who offer
      loans directly, lead generators, and those who connect consumers with
      third-party lenders.

Learn how to fix a disapproved ad or extension.

High APR personal loans
      We want to protect our users from deceptive or harmful financial
      products, such as ultra high-cost personal loans. In some instances we
      have country-specific restrictions that reflect local market conditions.

      United States
      Product        Allowed?                          The link ed image cannot be
                                                       display ed. The file may hav e been




      Personal loans
                                                       mov ed, renamed, or deleted. Verify
                                                       that the link points to the correct
                                                       file and location.




      with an APR         Not allowed
      over 36%
                     In the United States, we do not allow ads for personal loans where the Annual
                     Percentage Rate (APR) is 36% or higher. Advertisers for personal loans in the
                     United States must display their maximum APR, calculated consistently with the
                     Truth in Lending Act (TILA).

                                                      This policy applies to advertisers who make loans directly, lead generators, and
                                                      those who connect consumers with third-party lenders.



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      Tip

      The TILA regulations can be found at 12 CFR Part 1026. The description of
      which charges are included and excluded from the calculation of "Finance
      Charge" is found in Section 1026.4. The APR calculation for "Open-End
      Credit" is found in Section 1026.14. The APR calculation for "Closed-End
      Credit" is found in Section 1026.22.

Learn how to fix a disapproved ad or extension.

Loan modification
      To protect consumers from deceptive and harmful practices, in ads for
      mortgage-related or foreclosure-related sites and apps, the following is
      not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Guaranteeing loan modification or foreclosure prevention
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Charging an upfront fee, unless service is being provided by a law firm
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Asking users to transfer or surrender property titles, or offering to buy
      a house at a below-market price
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




         Asking users to bypass the lender and make payments directly to the
      company or other third party
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Encouraging users not to contact their lender, lawyer, credit
      counselor, or housing counselor

Learn how to fix a disapproved ad or extension.

Binary options
      Due to the significant risk of financial loss involved in trading binary
      options, the following is not allowed:

       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads for binary options or synonymous financial products




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                                           Examples (non-exhaustive): Ads for digital options, binary
                                           options, digital 100, fixed return options, all-or-nothing
                                           options

     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




         Binary Options broker: Site only offers binary options. Including
    signals/software for binary options with no other financial products

     The linked image cannot be
     display ed. The file may hav e been
     mov ed, renamed, or deleted. Verify
     that the link points to the correct
     file and location.




         Binary Options Informational/ educational sites / Blogs: Educational
    sites or blogs on binary options and synonymous products

Complex speculative financial products
    Due to the inherent complexities and risks involved in trading the following
    types of financial products, we only allow them to be advertised in limited
    circumstances.

    The following complex speculative financial products may only be
    advertised if the advertiser is a licensed provider or aggregator, the
    products and ads comply with local laws and industry standards, and the
    account is certified by Google.
                                           The link ed image cannot
                                           be display ed. The file
                                           may hav e been mov ed,
                                           renamed, or deleted.
                                           Verify that the link




                                               Contracts for Difference (CFD), financial spread betting,
                                           points to the correct file
                                           and location.




                                           rolling spot forex, and related forms of speculative products

                                           If you meet the requirements, apply for certification. If you
                                           want to advertise in more than one country, submit a
                                           separate application for each country or group of countries.
                                           Approved countries

                                           Ads for complex speculative financial products are allowed
                                           in the following countries:

                                           Australia                    Iceland    Portugal
                                           Austria                      Indonesia Romania
                                           Brazil                       Ireland    Russia
                                           Bulgaria                     Israel     Singapore
                                           Canada                       Italy      Slovakia
                                           Croatia                      Japan      Slovenia
                                           Cyprus                       Latvia     South Africa
                                           Czechia                      Lithuania  Spain
                                           Denmark                      Luxembourg Sweden



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                                                                                                            2362
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                                              Estonia  Malta      Switzerland
                                              Finland  Malaysia   Taiwan
                                              Germany Netherlands Turkey
                                              Greece   New ZealandUnited Arab Emirates
                                              Hong KongNorway     United Kingdom
                                              Hungary Poland      United States

      The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Ad destinations that provide signals for the trading of complex
      speculative financial products

                                              Examples (non-exhaustive): Trading signals, tips, or
                                              speculative trading information; affiliate sites containing
                                              related content or broker reviews

Credit repair services
      We want consumers to make informed decisions about the services
      offered to help them address bad credit. To protect users from harmful
      practices the following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ads for credit repair services

      This policy applies to advertisers who offer credit repair services directly,
      lead generators, and those who connect consumers with third-party credit
      repair services.

Debt services
We want consumers to make informed decisions about the services offered to help
them address overwhelming debt. To protect users from deceptive and harmful
practices, we only allow advertisements for the following debt services in select
countries and only if (1) the services and ads comply with local laws and industry
standards, and (2) the account is certified by Google:
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




          Ads for debt settlement services that offer to negotiate with creditors
       points to the correct file
       and location.




      a reduced, lump-sum payment that will be regarded as payment in full
       The linked image cannot
       be display ed. The file
       may have been mov ed,
       renamed, or deleted.
       Verify that the link




          Ads for debt management services that offer to negotiate with
       points to the correct file
       and location.




      creditors reduced periodic payments, interest rates, and/or fees




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This policy applies to advertisers who offer these debt services directly, lead generators,
and those who connect consumers with third-party debt services.

       If you meet the requirements, apply for certification. If you want to
       advertise in more than one country, submit a separate application for each
       country.

       Approved countries
       Australia
       Brazil
       Canada
       Germany
       Japan
       South Africa
       South Korea
       Spain
       United Kingdom
       United States


Cryptocurrencies
Due to the complex and evolving nature of regulations related to cryptocurrencies and
related products and services, we only allow them to be advertised in limited
circumstances.


       The following is allowed:

              The link ed image cannot
              be display ed. The file
              may hav e been mov ed,
              renamed, or deleted.
              Verify that the link




                  Business not pertaining to the purchase, holding, or
              points to the correct file
              and location.




              exchange of cryptocurrencies, subject to other Google Ads
              policies.


                                           Examples: Businesses accepting payment in
                                           cryptocurrency, cryptocurrency mining
                                           hardware, tax and legal services, security
                                           services, platforms that rely on blockchain for
                                           operations and do not market or sell
                                           cryptocurrencies or tokens, educational
                                           materials.


       The following cryptocurrency products and services may only be
       advertised if the advertiser is a licensed provider, the products and ads



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 comply with local laws and industry standards, and the account is certified
 by Google.


        The link ed image cannot
        be display ed. The file
        may hav e been mov ed,
        renamed, or deleted.
        Verify that the link




                                     Cryptocurrency Exchanges and Wallets
        points to the correct file
        and location.




       If you meet the requirements, apply for certification. If you
       want to advertise in more than one country, submit a
       separate application for each country.

       Approved countries

       Ads for cryptocurrency exchanges are allowed in the
       following countries:

       Japan

       Ads for cryptocurrency exchanges and wallets are allowed in
       the following countries:

       United States


 The following is not allowed:
        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Ads for initial coin offerings, DeFi trading protocols, or
       otherwise promoting the purchase, sale, or trade of
       cryptocurrencies or related products


                                              Examples (non-exhaustive): ICO pre-sales or
                                              public offerings, cryptocurrency loans, initial
                                              DEX offerings, token liquidity pools, celebrity
                                              cryptocurrency endorsements, unhosted
                                              wallets, unregulated DApps


        The link ed image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




            Ad destinations that aggregate or compare issuers of
       cryptocurrencies or related products

                                              Examples (non-exhaustive): Cryptocurrency
                                              trading signals, cryptocurrency investment



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                        advice, aggregators or affiliate sites containing
                        related content or broker reviews

    Learn how to fix a disapproved ad or extension.

    Financial services advertising in the United Kingdom
    In order to show financial services ads of any kind in the UK - including showing ads to
    UK users who appear to be seeking financial services - advertisers need to be verified by
    Google. As part of the verification process, advertisers must demonstrate that they are
    authorized by the UK Financial Conduct Authority or qualify for one of the exemptions
    described in the UK Financial Services verification page. Please note that this
    requirement covers financial services regulated by and not regulated by the UK
    Financial Conduct Authority.

    Advertisers can initiate verification, or Google may require an advertiser to complete the
    verification process. Advertisers that fail to complete step 2 of verification within the
    time given will have their accounts paused. Learn more about UK Financial Services
    verification.

    Ads related to the following categories are not considered financial services for the
    purposes of this policy, but are still required to comply with all other Google Ads
    policies:

   Products in scope of our Debt services policy
   Products in scope of our Complex speculative financial products policy: contracts for
    difference, rolling spot forex, financial spread betting*
   Gambling (see our Gambling and Games policy)
   Products in scope of our Cryptocurrencies, Credit repair, and Binary options policies



    *Ads for this category can target UK users seeking financial services as long as they
    meet the requirements of our Complex speculative financial products policy and
    complete verification, if requested by Google.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo



                                                                                         2171
                                                                                          2366
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                                         Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch



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4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

   Send feedback on...
   This help content & information General Help Center experience



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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

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                                    Send feedback on...

This help content & information

General Help Center experience
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Other restricted businesses
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

We restrict certain kinds of businesses from advertising with us to prevent users from
being exploited, even if individual businesses appear to comply with our other policies.
Based on our own continuous reviews, and feedback from users, regulators, and
consumer protection authorities, we occasionally identify products or services that are
prone to abuse. If we feel that certain kinds of businesses pose an unreasonable risk to
user safety or user experience, then we may limit or stop related ads from running.

Below are some examples of what to avoid in your ads. Repeated violations of our
policies can lead to account suspension. Learn about what happens if you violate our
policies.

Violations of the policies below will not lead to immediate account suspension without
prior warning. A warning will be issued, at least 7 days, prior to any suspension of your
account. Learn more about suspended accounts.

Solicitation of funds




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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Soliciting funds or donations is allowed only on behalf of a politician, political party,
or tax-exempt charity, and only when the tax exempt status, charity or tax exemption
number is clearly stated on the ad's destination.

                                       Troubleshooter: Solicitation of funds

                           1. Check the ad and its destination to see where important information about
                              your tax exempt status might be missing.

                                       If your ad or landing page solicits donations that are tax-exempt, please
                                       clearly indicate your tax-exempt status on your landing page or donation
                                       page, including your charity number. For example, in the United States,
                                       501(c)(3) or 501(c)(4) status is an indicator of the required tax-exempt
                                       status.

                           2. Fix the ad’s destination. Add any required information. If you can’t fix the
                              ad’s destination, update the ad with a new destination that complies with
                              this policy.
                           3. Edit the ad. Add any required information. If your ad already complies with
                              the policy but you made changes to the ad’s destination, make an edit in
                              the ad and save it. This will resubmit the ad and its destination for review.
                              Most ads are reviewed within 1 business day, though some can take
                              longer if they need a more complex review.

Free desktop software
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Ads for free desktop software must include the name of the specific software
being advertised and lead to the authoritative online distribution source for the
software.

                                       Examples (non-exhaustive): Executable files (such as .exe, .dmg, zipped
                                       files, extensions, plug-ins, add-ons, desktop applications) that can run on
                                       desktop computers, laptops, or notebooks and do not require payment
                                       information to download; free trials; freeware; shareware; freemium
                                       software; demos that offer downloadable content


                                       Note: The authoritative online distribution source must not have a history
                                       or reputation of policy violations.



                                       Troubleshooter: Free Desktop Software



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   1. If you are the publisher of the specific software that you want to advertise,
      register your site as the authoritative online distribution source. If we
      determine that your site is the authoritative online distribution source, we
      can approve your disapproved ads.
   2. Change the ad’s destination. If a different site is already registered as the
      authoritative online distribution source for your software, edit your ad so
      that the final URL points to the approved destination.

Once you edit and save your ad, it's sent for review. Most ads are reviewed within 1
business day, though some can take longer if they need a more complex review.

If you aren't able to fix these violations or choose not to, remove your ad to help prevent
your account from becoming suspended in the future for repeated policy violations.
Learn more about suspended accounts.

Local services
Ads for locksmith services are restricted in the United States of America and Canada.
Ads for garage door repair services are restricted in the United States of America. To
advertise, you must apply for advanced verification. Learn more about advanced
verification.

Ads for locksmith services are restricted in Germany, Sweden, Belgium and the
Netherlands. Ads are not able to run.

Ads for local services will still be able to run outside of restricted areas, even if the
business hasn’t completed verification.

Consumer advisories
        The linked image cannot
        be display ed. The file
        may have been mov ed,
        renamed, or deleted.
        Verify that the link




         For business areas where consumer advisories are common, Google
        points to the correct file
        and location.




       may limit how ads about those products and services are served.

                                     Example (non-exhaustive): Penny auctions (Google Ads will
                                     only show penny auction ads if the phrase "penny auction" or
                                     similar terms are included in the user's query. On the Google
                                     Display Network, these ads will be shown only on sites
                                     related to auctions.)

       What is a consumer advisory?

       Consumer advisories are alerts that provide information about the risks
       and benefits of certain products and services. These alerts are typically
       distributed by organizations that help protect consumers. Examples of



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                                       organizations that issue consumer advisories are the Federal Trade
                                       Commission (US), the Consumer Affairs Agency (Japan), and other
                                       regional agencies that help protect consumers' interests. Consumer
                                       advisory organizations may be government agencies, but they may also be
                                       run by third-party consumer advocacy groups.

                                       How do consumer advisories affect ads?

                                       If a consumer advisory is issued about a certain product in one country,
                                       Google may change how ads about that product are served globally. This
                                       allows users to still see ads related to these kinds of products when
                                       specifically searching for them, but protects other users who might be
                                       unaware of the consumer concerns about similar products.

Government documents and official services
The following is not allowed:
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Promotions for documents and/or services that facilitate the acquisition, renewal,
replacement, or lookup of official documents or information that are available directly
from a government or government delegated provider.

                                       Examples (non-exhaustive): Passports and other forms of national ID;
                                       proof of permanent residency; proof of immigration status/registration;
                                       driving licenses; travel documents like visas and Electronic Travel
                                       Authorizations (ETAs); social security cards; hunting or fishing licenses;
                                       gun licenses or registration; and documents or information derived from
                                       official registries like birth certificates, marriage certificates, and military
                                       records


The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Promotions for assistance with applying or paying for official services that are
directly available via a government or government delegated provider.

                                       Examples (non-exhaustive): Assistance with applying for government
                                       appointments or benefits; assistance with requesting an official change of
                                       address, an official name change, unclaimed money, or a mail hold; and
                                       assistance with paying transportation fees, such as bridge tolls or
                                       congestion charges

Services that are not restricted by this policy




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The following professional services are not restricted by this policy: Tax preparation
services, legal services, business-to-business (B2B) / enterprise services, immigration
lawyers or immigration consultants where the focus is on consultation and not mere
assistance acquiring particular travel documents or official services.

If you are a government or delegated provider this advertising restriction does not apply
to you. A delegated provider is defined as a company that has been officially entrusted
or assigned by the original provider (the Government) to provide certain products or
services on their behalf, that are either usually executed or had previously been done by
the Government itself. Delegated providers do not include entities that are authorized
providers or resellers. If you are a government or delegated provider and you believe this
policy has been improperly applied to you, please contact us here.

Call directory, forwarding, and recording services
The following is not allowed:
                                        The linked image cannot be
                                        display ed. The file may hav e been
                                        mov ed, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                                                                              Promotions for call directory, forwarding, and recording services.

                                                                               Examples (non-exhaustive): Call directory, call forwarding,
                                                                               and call recording services. These services usually involve
                                                                               calling a phone number to obtain another phone number (or
                                                                               business information such as address) or to be connected to
                                                                               another service.

Event ticket sale
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Live event ticket sellers are allowed to advertise if they have been certified by
Google. Note that if you sell or link to sites that sell resale live event tickets, you’ll need
to meet certain destination requirements in order to be certified.

Event ticket sale is restricted to certified primary providers in France and French
territories.

Event ticket resale ad requirements
The following is not allowed:
                                        The linked image cannot be
                                        display ed. The file may hav e been
                                        mov ed, renamed, or deleted. Verify
                                        that the link points to the correct
                                        file and location.




                                            Ads, run by live event ticket sellers who sell or link to resale tickets,
                                       that don’t comply with applicable ad requirements.




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Bail bond services
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Advertising of bail bonds services, which offer to act as surety in
      order to secure bail for a defendant.

                                             Examples (non-exhaustive): Commercial bail bond agents,
                                             bail bonds financing services, bounty hunters, bail
                                             bondsmen, immigration bail services, detention bail services

Third-party consumer technical support
The following is not allowed:

       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Technical support by third-party providers for consumer technology
      products and online services


                                             Examples (non-exhaustive): Technical support for
                                             troubleshooting, security, virus removal, internet connectivity,
                                             online accounts (for example, password resets or login
                                             support), hardware support and repairs, or software
                                             installation
                                             Note: We allow advertising for the sale of consumer
                                             technology where the landing page might contain
                                             navigational features related to technical support.

High Fat Sugar Salt Food and Beverage Ads
We support responsible advertising of food and beverages. HFSS F&B ads and
destination sites are allowed if they comply with the policies below and don’t target
minors. The information reflected in this policy is not intended to be legal advice and we
expect all advertisers to comply with the local laws for any region their ads target,
including local requirements that may differ from this HFSS F&B policy.

Advertisers are required to self-declare that they are using an account to run HFSS F&B
campaigns, and all the creatives within that account will be subject to the HFSS F&B
policy restrictions. In order to self-declare please use the form here.




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We consider ads to be promoting the sale of HFSS products when one or more HFSS
food item, beverage, or meal is promoted on the ad creative (text, imagery, audio and/or
video) or destination site.

Below are some examples of F&B products (non-exhaustive) that are considered HFSS,
unless the ad creative or destination site contains nutritional information indicating the
products are within the allowed threshold for FSS and serving size/calories, or on
successful appeal by the advertiser. For the complete nutritional thresholds for HFSS
F&B products, please see the table below.

These are some examples of HFSS F&B:

       Sweetened beverages (soda, water, juice, coffee, tea, or sport drinks with
        added sugar or other caloric sweeteners), energy drinks
       Doughnuts, cakes, sweet biscuits, pastries, croissants, sweet bakery treats
       Fruits canned in syrup, dried fruit with added sugar
       Chocolate nut spreads, trail mix or nut bar with chocolate or candy, nuts
        coated in candy or honey
       Milkshakes
       Pork and beef sausage/hot dogs, salami, prosciutto, bacon, fried meats,
        fried fish
       Pizza, hamburger meals with fries, fried food (such as jalapeno poppers)
       Candy, chocolate, sweets, sugar confections, gummy snacks, ice cream,
        marshmallows
       Butter, salt, caloric sweeteners (e.g., maple syrup, agave, honey, sugar),
        coconut oil

        Examples of ads outside the scope of this policy:

              Ads or destination sites that include only text, imagery,
               audio, and/or video, etc. of foods, beverages, and meals that
               are not HFSS. Examples of non-HFSS F&B include (non-
               exhaustive): 100% juice; plain bottled water; carbonated
               water and flavored water with no added sugar or sweeteners;
               beverages containing ONLY water and 100% juice (e.g.,
               diluted juice); unsweetened coffee and tea; low or non-fat
               plain milk; grains with no added ingredients; plain fresh or
               frozen fruits and vegetables; dry beans and lentils; fruit
               canned in water or 100% juice; plain nuts and seeds; nuts
               and dried fruit with no added salt or sugar; low or non-fat
               plain yogurt with no added sugar; plain fish, poultry, eggs or
               meat (no added salt, fat, sugar); plain flours; baking soda;
               baking powder; olive oil; canola oil




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              Food or beverage company ads or destination sites that do
               not include text, imagery, audio, and/or video, etc. of any
               HFSS foods and beverages, such as:

                      Brand logo or company name depicted in a
                       sponsorship or charity situation, i.e.,
                       “Sponsored by or brought to you by [company
                       name]”
                      Restaurant locator websites
                      Restaurant review websites
                      Restaurant delivery services

              Ads or destination sites that feature one or more HFSS F&B
               products, to promote a product or service that is not related
               to F&B, such as:

                      A trailer for a baking show
                      A tourism advertisement
                      Ads for kitchen cleaning supplies

              Ads or destination sites that feature one or more HFSS F&B
               products, to promote a PSA message on healthy diets and
               eating

Effect of the policy

This policy update will apply to all HFSS F&B ads serving in the UK and EU on the Google
Display Network and YouTube. Ads within accounts that are self-declared as HFSS F&B
and have received the HFSS label will only serve to users with a declared age of 18 and
above.

What happens if you violate our policies

       If we become aware that you have run an ad for an HFSS F&B product (or
        for a product whose HFSS status cannot be confirmed due to lack of
        nutritional information) outside of an HFSS F&B self-declared account, you
        will receive a notification that the ad has been restricted from serving to
        minors in the UK and EU as described above. If you would like to appeal
        the decision, you must make revisions or submit nutritional information to
        us to substantiate your position.
       Ads and extensions that violate this policy may be disapproved. A
        disapproved ad will be restricted until the policy violation is fixed and the
        ad is approved.

How to fix a violation



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       If you have received notice that one or more of your advertisements have
        violated the HFSS F&B policy, please visit the help page and ensure that all
        products you are advertising through your ads and destination sites are
        within the nutrient guidelines.
       If you would like to advertise products that contain HFSS, Google requires
        that you self-declare that they are in scope for HFSS F&B.
       If you want only a subset of ads to be restricted, you are required to create
        a separate account and self-declare that account for HFSS F&B.
       If you believe your ads have incorrectly been labeled as HFSS F&B, please
        submit an appeal with nutritional information to confirm that the ads are
        out of scope of HFSS F&B.

Please review this policy to determine whether or not any of your ads fall in scope of
this policy, and if so, self-declare those ads here.

Need help?

       If you have questions about our policies, let us know: Contact Google Ads
        Support

Google HFSS F&B Nutritional Profile

Nutrient levels are applied on a 100-gram and per serving basis for global applicability
and to reflect common labeled serving sizes and calorie levels for meal and meal
components. If the serving size of your advertised food or beverage does not closely
match the listed serving size (LSS), please evaluate your product using the per 100-
gram criteria.



                                                 Sat fatSodium Total     Added
       Food and Beverage        PER              (g)    (mg)   sugar (g) sugar (g) Calories
           Beverages
                                LSS (est 8 oz)    N/A   105 mg    N/A         0         N/A
  All beverages except milk        100 g          N/A   46 mg                 0

        Grains/breads
   Bread, bread products,       LSS (est 100g)     2      360      10       N/A         N/A
noodles, rice, grains, pancakes     100 g          2      360      10

                                 LSS (est 30g)    1.5     250     6.75      N/A         N/A
        Breakfast cereals           100 g          5      625     22.5

 Fruits, vegetables & legumes
                                 LSS (est 90g)     2      350     N/A         0         N/A




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                                                   Sat fatSodium Total     Added
    Food and Beverage         PER                  (g)    (mg)   sugar (g) sugar (g) Calories
Processed fruit, vegetables &                        2.2     390               0
          legumes                 100 g

        Nuts & seeds
                                 LSS (est 30g)         3.5   130      4       N/A      N/A
        Nuts & seeds                100 g              12    430     13

            Dairy
                                   LSS (est 8      5         200     22       N/A      N/A
                                   oz/245 g)
  Milks & milk alternatives          100 g         3         82       9

                                 LSS (est 30 g)         3    228    N/A       N/A      N/A
  Cheese & cheese products          100 g              10    760

                                 LSS (est 170 g) 5           136     19       N/A      N/A
Yogurt & yogurt-type products        100 g       3            80    11.5

 Meat, fish, egg, poultry &
     meat replacements
Processed meat, poultry, fish,   LSS (est 50g)         2     335    N/A       N/A      N/A
    eggs and alternatives           100 g              4     670

  Meals & meal components
                                  <315 calories        5     545     14       N/A      315
    Ready-made dishes &          (est 140 grams)
         appetizers                    100 g           4     390     10                225

                                  <510 calories        6.6   660     18       N/A      510
                                   (est 300 g)
       Complete meal                  100 g            2.2   220      6                200

       Snacks & treats
                                  <150 calories        1.5   120    6.75      N/A      150
                                    (est 30g)
       Snacks & treats                100 g            5     400    22.5               500

   Sauces, condiments and
     culinary ingredients
   Sauces, condiments and        LSS (est 30g)          2    135     1.5      N/A      N/A
     culinary ingredients           100 g              6.6   450     4.9




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    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support
    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy



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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย



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40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy




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   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Google Ads Help

Sign in
                                   Send feedback on...

This help content & information

General Help Center experience
                                                                                    Next
Help CenterCommunityAnnouncements


Advance Verification Request
* Required field

Important: Advanced Verification is only required for advertisers who promote a
locksmith or garage door service business in the United States.
Please select a request type *

Apply for Advanced Verification

Advanced Verification Appeal

Get help with Advanced Verification
This application is for AdWords ads only. If you are applying for Advanced Verification
for your Local Services ad (“Google Guarantee”), do not use this application form.
Instead, visit https://ads.google.com/local-services-ads/ to sign up. If you have already
begun the Local Services onboarding process, you do not need to apply for Advanced
Verification separately.
Use this option to appeal the outcome of an unsuccessful Advanced Verification
application. If you have never applied for Advanced Verification, please apply using
Apply for Advanced Verification option instead.
Use this option to contact the Advanced Verification team whenever you have a
question or issue. You can expect a response within one business day.
Select a Google Ads Customer ID *
If you are an agency or someone who manages multiple Google Ads accounts, please
do not enter the Customer ID for your Google Ads Manager Account. Please select the
Customer ID for the individual account. Learn how to find your Google Ads customer ID.
Select a Google Ads Customer ID




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Google Ads Customer ID
                      Select one
Business Country *
Select one
If you do not see the country of the business you are attempting to verify in this list,
Advanced Verification is currently unavailable for your region.
Additional Google Ads Customer ID(s)
If the business has more than one Google Ads account, please list the other Customer
IDs here, separated by commas. Do not submit MCC IDs.
Business type *
Select the primary service offered by the business you wish to advertise.

Locksmith service

Garage door service

Locksmith and Garage door services
Business model *
If your business has technicians who provide services under your own business name,
select “Direct service provider”. If your business’s role is to refers customers to service
providers, select “Aggregator / Lead-generator”.

Direct service provider

Aggregator / Lead-generator
Business Name *
This must match the name on your state-issued business registration or DBA
certificate.
Business street address *

Full street address including any suite or unit numbers, for example: 123 Main Street,
Suite #3A

If you are applying as a mobile-only business, please indicate the street address you use
for your state registration, license, insurance, etc.

City *
         Select one
State *
Select one
Zip code *
Business phone number *



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Business Owner's Name *
Business Owner's Email *
Business Website *
Enter the website you want to use in your ads.
If your business has changed since you previously applied, please describe the changes
below. *




0/1000
Primary license type *
In order to advertise, businesses must be licensed in accordance with state and local
laws. Failure to provide your license details will delay your application if a license is
required in your service area.

Locksmith license

Contractor license

Other license type

No license (not required in my service area)
License expiration date *


License # *
The business name on your license must match the name on your state-issued
business registration or DBA certificate.
Please use the space below to share any other information that you think may be helpful
for us in re-reviewing your application. *




0/1000
If you believe your business was incorrectly denied, please use the space above to
explain why you believe that is the case, and include any specific information that you
believe we may have overlooked or misinterpreted.
What is your position or role in the business? *
Please indicate who is filling out this application form.




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Owner

Manager

Employee (authorized by owner/manager)

Marketing agency (authorized by owner/manager)


Other
Contact name *
Contact email *
Email CC              Add additional
Include email address(es) of those you would like to CC on this submission.
Account Login Email ID
Please provide a phone number we can call to reach you *
    United States (+1)

United States (+1)
Keep in mind: We'll do our best to call you, but we still might email you if that's the
quickest way to give you help.
How long has the business been operating under its current name? *

Less than 1 year

1-2 years

3-5 years

6 or more years
How many storefronts or retail spaces (where customers can visit) does the business
operate? *
Warehouses and other facilities not open to the public should not be counted here.

0 (mobile-only business)

1

2

3 or more
Please upload a copy of your state-issued business registration document *



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No files chosen
Choose files
Please upload a copy of your state-issued business registration document, showing the
legal name of your business. If you do not have a copy of the document itself, you may
submit a screenshot containing the full details from your state’s online business
registry.
Please upload a copy of your fictitious name registration document(s)
No files chosen
Choose files
If your business operates under a name that is different from the name under which the
business was formed, please upload a copy of your fictitious name registration
document issued by your state, county, or city. This could be a Doing Business As
("DBA") certificate, Fictitious Business Name ("FBN") registration, trade name certificate,
or another type of document.
Upload a document
No files chosen
Choose files
If you would like to provide us with some documentation to help us re-review your
application, such as a business registration certificate, a "DBA" certificate, or another
type of document, you may upload it here.
Upload another document
No files chosen
Choose files
If you would like to provide us with a second form of documentation to help us re-review
your application, you may upload it here.
Topic *

Update on my application status

Transferring verification status to another website or Google Ads account

Ads are still disapproved after getting verified

Other question or issue
Question or issue *




0/1000




                                                                                     2195
                                                                                      2390
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    Submit
    Some account and system information will be sent to Google, and support calls and
    chats may be recorded. We will use this information to improve support quality and
    training, to help address technical issues, and to improve our products and services,
    subject to our Privacy Policy and Terms of Service.
    Additional info
                                                                                           OK
    Your email has been sent
    Your email has been sent to our team! Due to the preventative measures being taken for
    our support specialists in light of COVID-19, it may take longer than usual to respond to
    your support request. We apologize for any inconvenience this may cause, and we’ll
    send you a reply as soon as we can.


   ©2021 Google
   Privacy Policy
   Terms of Service
   Google Ads Advertising Policies
   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands




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19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates




                                                                            2197
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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




   Privacy Policy



   Terms of Service




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   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program
    Send feedback on...
    This help content & information General Help Center experience
    August 2021
     S MTWT F S
     1 2 3 4 5 6 7
     8 9 10 11 12 13 14
    15 16 17 18 19 20 21
    22 23 24 25 26 27 28
    29 30 31




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    Advertising Policies Help

    Sign in
                                        Send feedback on...

    This help content & information

    General Help Center experience
                                                                                          Next


    About event ticket seller certification
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    Businesses that sell event tickets are allowed to advertise through Google Ads, but they
    must first be certified by Google. This certification is required for all ad formats and
    extensions. Apply for certification using this form.

    To be certified, businesses may need to meet specific destination requirements. In
    addition, some businesses may be required to comply with additional ad-level
    requirements.

    Below, you’ll find the following:

   Definition of business models: You’ll need to identify the business model you belong to,
    in order to determine the requirements you need to meet for certification and ads.
   Destination requirements for certification: Requirements for certification, by business
    model.
   Ad-level requirements: Requirements for ads, by business model.

    Authorized Buyers and Display & Video 360 accounts that engage in ticket resale don’t
    need to get certified but will still be subject to the destination requirements described
    below.

    Definition of terms for event ticket reseller policy




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   Primary provider: The event owner, organizer, or venue that is initially selling the
    ticket, or a ticket seller that has been authorized to do so on their behalf, via a
    contractual agreement. The tickets, in either case, may not have been sold or allocated
    previously.
   Reseller: Businesses that resell tickets which have already been allocated or sold in the
    primary marketplace. A reseller or resale marketplace determines the price of the
    tickets (which may be above or below the face value) and any additional applicable
    taxes, or service charges, or fees.
   Event-associated group: Any artist, tour, team, league, venue, and similar event or group
    on behalf of whom tickets are sold.
   Ticket aggregator: Any site which aggregates ticket prices from other reseller sites, but
    does not conduct any ticket sales on their own site.

    Destination requirements for certification
    If you sell or link to sites for resale tickets, you must meet some or all of the following
    destination requirements. Note that if you’re a primary provider, you don’t have any
    destination requirements, unless you link to a site that sells resale tickets.

    Following is a summary of each destination requirement. Below the summary, you can
    check when each requirement applies, depending on your business model, and what
    your ad is promoting.

    Destination requirements summary

    URL domain

    If you sell or link to resale tickets, you can have the event-associated group’s name in
    your URL domain only if you provide one of the following:

   A contract or legal documentation indicating affiliation or partnership between your
    company and the event-associated group
   A letter on company letterhead signed by an attorney or an executive at your company,
    attesting to having affiliation or partnership with the event-associated group

    Disclosures

    To protect customers from scams and prevent potential confusion, if you sell resale
    tickets, you must clearly disclose on your website or app that:

   You are a resale market and aren’t the primary provider of the tickets
   Your ticket prices may be higher than face value (that is, the price offered by the primary
    provider)




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This disclosure should be easily visible and clearly explained in the top 20% (above the
fold) of the reseller’s website, including the home page and any landing pages. This
disclosure must not be provided in a closable or hideable notification format, and the
font must be equal to or bigger than the majority of the text on the page.

Tax/fee breakdown

If you sell resale tickets, you must provide a price tax/fee breakdown during the
checkout process, and before the customer provides payment information. The
breakdown should show the specific costs added, such as taxes, and any fees that have
been added.

If you’re a primary provider that links to a site that sells resale tickets, you must ensure
that the site you link to meet the destination requirements summarized here. See
Primary provider below for more details.

Destinations requirements by business model

Primary provider
                               What ads                                       Tax/fee
Advertiser description         promote             Disclosures (site)         breakdown (site)
You're a primary provider only Primary tickets for Not required               Not required
                               an event
You're a primary provider but Primary tickets for Not required on your site Not required on
your homepage or event page an event                                          your site
links to a reseller's site     Your site only, or Required only on linked Required on
                               resale tickets for reseller's landing page and linked reseller's
                               an event            homepage                   site

Reseller
                                    What ads                                          Tax/fee
Advertiser description              promote               Disclosures                 breakdown
You're an "authorized" or           Specific events       Required                    Required
"official" reseller for specific    Your site only, or Required                       Required
events                              events you're not
                                    the official reseller
                                    for
                                    Specific US pro Required                          Required
                                    sports leagues for
                                    which you are
                                    official reseller
You're a reseller, only             Your site or resale Required                      Required
                                    tickets for an event
You're a reseller that a) is also a Primary tickets for Required on homepage, but     Not Required
primary provider for specific       an event              not on landing page if it



                                                                                                 2202
                                                                                                  2397
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                                   What ads                                           Tax/fee
Advertiser description             promote            Disclosures                     breakdown
events, b) links to primary                           shows only information
providers, or c) links to other                       related to primary tickets
resellers                          Your site only, or Required                        Required
                                   resale tickets for
                                   an event

Event-associated group
                                      What ads                                     Tax/fee
Advertiser description                promote        Disclosures                   breakdown
You're an event-associated group Primary             Not required on your site     Not required on
and your site links to a primary      tickets for an                               your site
provider for your ticketing           event
You're an event-associated group Your site           Required only on linked       Required only on
and your site links to a reseller for only           reseller's landing page and   linked reseller's
your ticketing                                       home page                     site

                                     Your site      Required only on linked     Required on
You're an event-associated group only               reseller's landing page and linked reseller's
and your site links to both a primary               homepage                    site
provider and a reseller for your
ticketing

Ticket aggregator
Advertiser description                            Disclosures                  Tax/fee breakdown
You're a ticket aggregator and link to resellers. Required on your site and    Required on linked
You don't sell any tickets on your site.          linked resellers' site       resellers' site

Ad-level requirements
If you’re not a primary provider of tickets, you must meet some or all of the following ad-
level requirements.

Following is a summary of each ad-level requirement. Below the summary, you can
check when each requirement applies, depending on your business model, and what
your ad is promoting.

Ad-level requirements summary

Use of the term “official”

If your business model sometimes qualifies as a reseller or ticket aggregator, don’t
imply that you’re only a primary provider of tickets by using words like "official” in your




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    ads, or in reference to your site (for example, “official providers for EventName tickets”
    or "official TicketReseller site").

    However, if you have a legal agreement with an event-associated group specifying that
    you can refer to yourself as an official reseller for that group, or an official primary seller
    for that group, you’ll be allowed to use the term “official” in your ad, as long as you meet
    the following requirements:

   You must provide a letter from the relevant event-associated group which explicitly
    states that you’re allowed to use the "official" designation in reference to the group for
    your event ticket promotions.
   You can use “official” in one of the following phrases, followed by the name of the
    event-associated group (for example, “Official Fan to Fan Marketplace for [group
    name]”).

    If the agreement is that you can refer to yourself as an
    official primary seller for an event-associated group
   Official Primary Ticketing Partner
   Official Primary Ticket Marketplace
   Official Primary Ticket Provider
   Official Primary Market Ticketing Partner
   Official Primary Market Ticketing Provider
   Official Primary Ticket Sales
   Official Primary Ticket Seller

    If the agreement is that you can refer to yourself as an
    official reseller for an event-associated group
   Official Fan to Fan Ticket Marketplace
   Official Fan to Fan Marketplace
   Official Fan to Fan Secondary Marketplace
   Official Secondary Ticketing Partner
   Official Secondary Ticket Marketplace
   Official Secondary Ticket Provider
   Official Secondary Market Ticketing Partner
   Official Secondary Market Ticketing Provider
   Official Fan Ticket Marketplace
   Official Ticket Exchange/Marketplace
   Official Ticket Resale Marketplace
   Official Reseller




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Display URL restrictions

To help ensure customers aren’t misled about your relationship to the event-associated
group, if you’re a reseller or ticket aggregator, you cannot have any post-domain paths
or subdomains in your display URL.

Ad requirements by business model

Reseller
                                           What ads           Use of terms Display URL
Advertiser description                     promote            like "official" restrictions
You're a reseller, only                    Your site or       Not allowed Display URL cannot
                                           resale tickets for                 contain subdomain or
                                           an event                           post-domain path
You're a reseller that a) is also a primaryPrimary tickets Not allowed Display URL cannot
provider for specific events, b) links to for an event                        contain subdomain or
primary providers or c) links to other                                        post-domain path
resellers                                  Your site only, or Not allowed Display URL cannot
                                           resale tickets for                 contain subdomain or
                                           an event                           post-domain path

Event-associated group
                                            What ads      Use of terms            Display URL
Advertiser description                      promote       like "official"         restrictions
You're an event-associated group and your Primary tickets Allowed                 None
site links to a primary provider for your   for an event
ticketing
You're an event-associated group and your Your site only Allowed                  None
site links to a reseller for your ticketing

Ticket aggregator
                                              Use of terms like
Advertiser description                        "official"        Display URL restrictions
You're a ticket aggregator and link to        Not allowed       Display URL cannot contain
resellers. You don't sell any tickets on your                   subdomain or post-domain path
site.

How to certify
If you meet the requirements above, apply for certification. The application form will ask
for information about your business and the URLs that you plan to advertise.

Google will review your application and notify you of your certification status. Once
you’re certified, you can start advertising immediately. Keep in mind that your



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    certification may be removed if at any point your account doesn’t meet the
    requirements.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                             Submit
    Approval process
   Eligible (limited): Definition
   About the ad review process
   About event ticket seller certification
   About restricted financial products certification
   Verification for election advertising in the European Union
   About abortion certification and disclosures
   About debt services certification
   California law best practices for advertisers
   Eligible: Definition

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia



                                                                                 2206
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13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?



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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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                                                                                 2404
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
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High fat salt sugar food and beverage self-
declaration
Google requires advertisers to self-declare ads containing food and/or beverage
products that are high in fat, salt and/or sugar (HFSS). This self-declaration is required
for all ad formats and extensions. With the information you provide, all the creatives
within the account will be subject to HFSS food and beverage policy restrictions. Learn
more about Google’s HFSS food and beverage advertising policy.

Important note

Google will process your application and change the serving restrictions of accounts.
Most applications are reviewed within 3 business days. Some applications, however,
may take longer if they require a more complex review. Google will send you an email
notification about your self-declaration status once your account is changed., The High
Fat Salt Sugar (HFSS) Food and Beverage Policy restrictions cannot not apply to your
account until you have received this notification.

* Required field

Contact Name *
Company name *
Account Login Email ID *
Contact email *
Additional email addresses to copy on this request, separated by a comma


Google Ads Customer ID




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    If you are an agency or someone who manages multiple Google Ads accounts, please
    do not enter the Customer ID for your Google Ads Manager Account. Please enter the
    Customer ID for the individual account. Learn how to find your Google Ads customer ID.

    Please use the format xxx-xxx-xxxx

    Website(s)

    Submit
    Some account and system information will be sent to Google, and support calls and
    chats may be recorded. We will use this information to improve support quality and
    training, to help address technical issues, and to improve our products and services,
    subject to our Privacy Policy and Terms of Service.
    Additional info
                                                                                            OK
    Your email has been sent
    Your email has been sent to our team! Due to the preventative measures being taken for
    our support specialists in light of COVID-19, it may take longer than usual to respond to
    your support request. We apologize for any inconvenience this may cause, and we’ll
    send you a reply as soon as we can.


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   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių



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16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback about our Help Center
     1




    Google Help


   Help Center




o   List of ad policies



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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes
    Send feedback on...
    This help content & information General Help Center experience




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   Google Ads Help

   Sign in
                                       Send feedback on...

   This help content & information

   General Help Center experience
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   Help CenterCommunityAnnouncements


   Fix error messages with Uploaded ads
   When uploading creatives in Google Ads, you may receive an error message. In most
   situations, the problem can be fixed by altering your file and re-saving. You can then try
   to upload your file again.

   Check your ads using the Google Ads HTML5 validator.

   This article will help you respond to specific error messages that you may receive while
   trying to upload creatives. For more detailed requirements, check our Image Policy
   page.

   Note: When you upload a new custom dynamic ad, make sure it has the appropriate
   type (dynamic) and business type. The business type of the creative should match the
   campaign, you can find more information about your feed at the Campaign Settings
   page. Custom dynamic ads can only be created in Google Web Designer.

   Additionally, make sure that your ad is designed to show one product or more, but not a
   specific, fixed number of products (2 or 3, for example), because Google will only be
   able to guarantee that one or more products will be shown for dynamic remarketing.

   HTML5 ads
   The ad contains an unsupported file type. To fix the issue, remove any unsupported file
   types

   To see if your .ZIP contains an unsupported file type, try the following:

1. Open the .ZIP by double-clicking on it.




                                                                                         2214
                                                                                          2409
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2. In the resulting folder, make sure that each file is one of the supported file types: .CSS,
   .JS, .HTML, .GIF, .PNG, .JPEG and .SVG. If you find one that is not supported, remove it.
3. To save your updated version, select all of the files in the folder, and click File >
   Compress items.
4. If your folder doesn't zip correctly, it might be because you compressed the folder.
   Make sure to select each item, not the entire folder.

   The file size for your ad is too big. Upload an ad less than 150 KB in size
   Note that the 150KB applies to all of the files in your zip. You can check the size of your
   files by selecting the files and using File > Get Info or File > Properties, depending on
   your computer. The popup box will indicate the size in KB.
   The ad you uploaded includes a file path or file name with characters other than letters,
   numbers, periods (.), hyphens (-), and underscore (_)

   To see if your .ZIP file contains filenames with unsupported characters, try the
   following:

1. Open the .ZIP file by double-clicking on it.
2. In the resulting folder, make sure that each file name uses only supported characters:
   letters, numbers, periods (.), hyphens (-), and underscores (_). Rename files with names
   that contain characters other than the supported ones. If you have subfolders in your
   .ZIP file, make sure to open and inspect those files, too.
3. To save your updated version, select all of the files in the folder, and click File >
   Compress items.
4. If your folder doesn't zip correctly, it might be because you compressed the folder.
   Make sure to select each item, not the entire folder.

   The ad you uploaded contains HTML5 code that does not meet Google Ads policies

   To fix the issue, search for the above unsupported tags in your creative code. You’ll
   need to check all files stored within your .ZIP file and delete them.

   In many cases, the issue is with unsupported .SVG tags. In that case, search your
   creative code for tags that are not included in one of the supported categories
   (container elements, gradient elements, and graphics elements). Learn more about
   which supported tags are mapped to which categories

   Your HTML5 ad is missing a primary .HTML file. Make sure there's an .HTML file with an
   Ad Size tag in your HTML5 ad, and try again. An Ad Size tag should look like <meta
   name=”ad.size” content=”width=300,height=250”>.

   Primary .HTML files include an Ad Size tag such as <meta name=”ad.size”
   content=”width=300,height=250”>.




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1. Open your .HTML file and search for the Ad Size meta tag. If you find it, make sure it’s
   contained in the <head> tag and that the <head> statement is closed with a </head>.
2. Replace quotation marks manually as copy/pasted ones can throw an error (are not
   accepted by Google Ads).
3. This error can also appear when you try to upload files from DCLK Studio. Those files
   are not accepted by Google Ads and cannot be uploaded. DCLK should be trafficked via
   3PAS per usual.

    Your HTML5 ad is trying to reference an asset that we can't find in your .ZIP file

    Make sure the filenames of all files in your .ZIP file are exactly the same as the name
    listed in the reference file.

    For example, if one of the files in your .ZIP file is called path/to/example/asset, but in
    your HTML file you reference path/to/example/asset2, Google Ads will not be able to
    find the correct file.

    To fix the issue, compare the filename listed above with every file in your HTML5 code.
    If it is not exactly the same, correct the reference.

    HTML5 ad contains multiple exits

    Google Ads doesn't allow multiple exits. Remove multiple exits and try to re-upload the
    ads.

    Your HTML5 ad is trying to reference an asset not found in your .ZIP file. Make sure
    your .ZIP file only references internal assets

    You can only reference files found in your uploaded .ZIP file, and the file listed above is
    not found there. To continue, remove any references in your HTML file to assets found
    outside of the .ZIP file.

    The asset listed in the error message cannot be found in your .ZIP file. You will also
    need to remove any references to that file. The only allowed external references are the
    following:

   Google Fonts
   Google-hosted jQuery

    The .ZIP file can't be processed because the file itself or one of the files inside it was
    corrupted

    To fix corrupted files inside of your .ZIP, try the following:

1. Open the .ZIP file by double-clicking on it.



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2. In the resulting folder, open each individual file and save it again.
3. To save your updated version, select all of the files in the folder, and click File >
   Compress items.
4. If your folder doesn't zip correctly, it might be because you compressed the folder.
   Make sure to select each item, not the entire folder.

    Your HTML5 ad is modifying clickability, which is not supported
    The use of Tap Area in HTML5 ads created in Google Web Designer and the use of
    Javascript Exitapi.exit() in ads created in other tools is not supported.
    If your HTML5 is built by Google Web Designer, please delete tap area component.
    The changes do not impact dynamic remarketing ads built with Google Web Designer
    (GWD) so for these ads, there's no need for you to remove tap area and re-upload.
    If your HTML5 is from other tools, please remove the ExitApi script from the <head>
    section of your index.html file.

   <script
    src="https://tpc.googlesyndication.com/pagead/gadgets/html5/api/exitapi.js"><
    /script>

    After removing this script tag, your entire ad will be clickable. You can leave the button
    but any click on the ad will take the user to the landing page.

    Remove your onclick event to call the ExitAPI.exit from your index.html file.

   For example: <button onclick="ExitApi.exit()">

    Your HTML5 ad could not be uploaded. Your account does
    not support HTML5 ads
    Requirements for using HTML5 ads

    You should be able to gain access to HTML5 ads in your Google Ads account once your
    account has generated sufficient history on our platform and has met the following
    requirements:

   Account has been open for more than 90 days.
   Account has more than USD 9,000 total lifetime spend.
   Account has a good history of policy compliance.

    Keep in mind, that meeting the requirements above doesn’t always guarantee access to
    HTML5 ads.

    If HTML5 ads are unavailable in your account, you can apply for access via this form.
    Before you submit your application, make sure that your account meets the eligibility




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     criteria listed below. You will receive an email notification with a status update within 7
     business days of your application submission.

    Account has a good history of policy compliance.
    Account has a good payment history.
    Account has more than USD 1,000 total lifetime spend.

     To maintain continued access to HTML5 ads, please make sure that you do not violate
     our policies and sustain a good history of policy compliance.

     In the meantime, you can use other options like uploaded AMPHTML ads or responsive
     display ads.

     Make sure you follow the correct display ads specifications.

     The uploaded ZIP file is not supported. Please upload ads
     that are not linked to a feed
     When receiving this error, follow these steps:

1.   Verify if this is the right campaign for this ad.
1.   If this is the right ad and right campaign, link the campaign to a feed
2.   If this is not the right campaign or ad:
1.   Right ad: upload this ad to a campaign linked to a feed
2.   Right campaign: upload an ad not linked to a feed to this campaign

     Creatives is missing text
     All non-ASCII characters must use UTF-8.

     Preview does not click through
    Fully functioning preview is only available via the "View full size ad" link after saving the
     ad.
    Clients must then copy/paste the URL in their browser.
    Creatives will not click-through in the ad creation preview or the "View full size ad"
     preview pop-up

     AMPHTML Ads
     The HTML document was rejected by the canonical AMP validator
     Alert     Your HTML file is not a valid AMPHTML ads document. Please check it with the
     message   AMP validator first.
     Solution  Make sure the AMPHTML ads pass the validation using this publicly available
               AMP validator.



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Best practiceUse the AMP validator before uploading your HTML documents.
Critical internal errors occurred during ad bundle validation
Alert       Internal error occurred. If the error still persists, reach out to the support team with
message the testing bundle. We will look into the issue at the earliest.
Solution N/A
The custom AMP element is not supported in Google Ads

Example: An AMP custom element like <amp-audio> is not supported.

Alert    AMP custom element <$name> is not supported.
message
Solution Remove the unsupported AMP elements as well as their javascript imports from the
         HTML.
         For example:
           <amp-audio width=”400” height=”300” src=”audios/myaudio.mp3”></amp-
           audio> from the <body> section, and also
           <script async custom-element=”amp-audio”
           src=”https://cdn.ampproject.org/v0/amp-audio-0.1.js”></script> from the
           <head> section.
Best     Only use supported AMP elements.
practice
A custom AMP element is not supported in Google Ads

Example: Unsupported AMP custom element <amp-audio> is imported.

Alert    Unsupported AMP custom element <$name> is imported.
message
Solution Remove the unsupported AMP elements as well as their javascript imports from the
         HTML.
         For example:
           <amp-audio width=”400” height=”300” src=”audios/myaudio.mp3”></amp-
           audio> from the <body> section, and also
           <script async custom-element=”amp-audio”
           src=”https://cdn.ampproject.org/v0/amp-audio-0.1.js”></script> from the
           <head> section.
Best     Only use supported AMP elements.
practice
The bundle contains a media asset with a reserved asset path

Example: Forbidden asset path: _a4a/invalid.

Alert messageForbidden asset path: $assetPath.
Solution      Rename the directory.
Best practice Avoid using reserved directory names for asset paths, such as “_a4a.”

The bundle contains incompatible vertical information


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Custom HTML5 creative for Smart Shopping campaigns support only dynamic HTML5
for the retail vertical.
Parsing errors found in amp-custom style block

Example: CSS parsing error: ”... .foo:nth-child(1n) { color: red } …”.

Alert     CSS parsing error: ”... .foo:nth-child(1n) { color: red } …”.
message
Solution Fix the errors in the attached CSS snippet. Most of the time these errors are related to
          CSS pseudo selectors, which are not supported in the current Google Ads experience.
          Please remove them from the amp-custom style block.
The attribute contains an invalid value

Example: The attribute “srcset” in tag “amp-ing” contains invalid value “a b c”.

Alert     The attribute “$attrName” in tag “$tagName” contains invalid value “$value”.
message
Solution This usually means that the attribute value is malformed. For example, the “on”
          attribute may contain a malformed event action. See the current AMPHTML
          specifications to see the correct value format.
The attribute contains a forbidden value

Example: The attribute “class” in tag “div” contains value “amp-carousel-slide,” which
is forbidden.

Alert    The attribute “$attrName” in tag “$tagName” contains value “$value” that is
message forbidden.
Solution Check to make sure that your attributes don’t contain any reserved values. Element
         classes shouldn’t contain reserved class names like “amp-carousel-button.”
         Likewise, “AMP” is not allowed as the target of an event action.
Best     You may want to refer to the Google Ads AMPHTML ads specifications and see the
practice list of disallowed values before creating your ads.
A configuration item is missing

Example: Missing “finalURL” for “exit1” in tag “amp-ad-exit” configuration.

Alert    Missing “$value” for “$item” in tag “$tagName” configuration.
message
Solution AMP elements like <amp-ad-exit> and <amp-animation> require a JSON
         configuration. Please refer to the corresponding AMP element specifications for the
         valid configuration format.
A configuration item contains an invalid value

Example: Invalid value for “selector” in tag “amp-ad-exist” configuration.




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Alert    Invalid “$value” for “$item” in tag “$tagName” configuration.
message
Solution AMP elements like <amp-ad-exit> and <amp-animation> require a JSON
         configuration. Please refer to the corresponding AMP element specifications for the
         valid configuration format.
A configuration item is not supported in Google Ads

Example: “Filters” is not a supported tag in “amp-ad-exit” configuration.

Alert        “$item” is not supported in tag “$tagName” configuration.
message
Solution    The configuration item is not supported in Google Ads. Remove it from the
            configuration.
The AMP document contains multiple occurrences of an element/value that should
appear only once

Example: Multiple occurences of “amp-ad-exit”.

Alert messageFound multiple occurrences of “$item”.
Solution     Remove those extra elements from the document and keep only the one instance.
A custom exit in AMPHTML ad bundle is not supported

Example: Your AMPHTML ad has modified clickability, “tap:exit-
api.exit(target=’product1’)”, which is not supported.

Alert    Your AMPHTML ad has modified clickability, “$exit”, which is not supported.
message
Solution Remove the <amp-ad-exit> configuration and javascript import from the HTML.
         Remove the event actions that invoke exit-api.exit (for example, <button
         on=”tap:exit-api.exit(target=’product1’)”>)
Ads contain multiple HTML files
Alert      The ad contains multiple entry points. Make sure there is only one .HTML file with
message an ad size tag in your HTML5 ad, and try again.
Solution Make sure there is only one HTML file to show ad content in the .zip file, and
           remove the extra HTML files.
A CSS rule contains a forbidden property value

Example: The CSS property value “width:100%” is not allowed for selector “.amp-
carousel-button.”

Alert      The CSS property value “$cssPropertyName:$cssPropertyValue” is not allowed
message    for selector “$cssSelector.”
Solution   Remove the CSS property value indicated in the message from the amp-custom style
           block.




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    Google Web Designer HTML5
    Note: To build AMPHTML banner ads in Google Web Designer, the initial step is
    presented in the New File dialog, where you can click AMPHTML banner to begin
    creating the ad. For AMPHTML ads, Google Web Designer has restrictions on certain
    functionality. For more information, read this article about AMPHTML ads.
    You must upload a published file. You must publish your file in Google Web Designer
    before you can upload it to Google Ads
    To upload your ad, you must upload a published file, not the author file. Before you can
    upload your ad, you must open the author file in Google Web Designer and choose the
    options: Publish > Publish Locally. Learn more about publishing your work
    This ad was created with the environment "Generic" instead of "Google Ads." To
    continue, convert the file to an "Google Ads" environment in Google Web Designer
    When creating the ad, you selected the wrong environment. Your ad was created with
    the “Generic” environment instead of “Google Ads.” To continue, you must convert the
    file to an “Google Ads” environment. Learn more about environment conversion.
    The ad you uploaded contains HTML5 code that violates Google Ads policies. Remove
    any references to the tags listed above before you upload your ads

    Your ad violates one of the Google Ads policies. See problems listed in the original error
    message.

    Before you can upload your ad, you'll need to remove any unsupported features. You
    can do this by opening the index.html file in your .ZIP file. You can find unsupported
    features in the "gwd-admetadata" section.

   Expandable ad: Search "creativeProperties." The minWidth should equal maxWidth and
    minHeight should equal maxHeight.
   Counters or timers: search “counters” or “timers.” These arrays should be empty.
   Multiple exits
   Videos
   Maps
   You can find a complete list of Supported features here.

    Your HTML5 ad is trying to reference an asset not found in your .ZIP file. Make sure
    your .ZIP file only references internal assets

    In Google Web Designer, you must include images for all visual states of the image
    button.

    For example, in the below code snippet from an example index.html file, the images for
    the up-image, over-image, and the down-image are missing (see bolded text).

    <gwd-imagebutton id="gwd-imagebutton_1" up-image="" over-image="" down-
    image="" scaling="cover" class="gwd-imagebutton-tcf2"></gwd-imagebutton>




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    Learn more about the image button component.

    To fix the issue, replace the placeholder.png with the image(s) you want to use and
    make sure the image is included in the .ZIP file.

    Note: The error message should explain what is missing. In some cases, you’ll see "" as
    missing. In this case, it's likely that the image location wasn't specified. Open your .ZIP
    file and locate your index.html file. Inside, you can search for ' ="" to find the error.

    If you want to learn more about the issue described in this article, please check this
    SMEs recommended training
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   About advanced format options for responsive display ads
   About auto-generated videos for responsive display ads



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   About Ad strength for responsive display ads
   Transitioning responsive ads to responsive display ads
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




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25. slovenščina
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37. ‫اﻟﻌﺮﺑﯿﺔ‬
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o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



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o   Measure results



o   Smart campaigns



o   Billing



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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

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    About call campaigns
    To get phone calls to your business, set up a call campaign to encourage customers to
    call you by clicking or tapping your ad. You can set your ads to show only when your
    business can take calls, so you won’t miss an opportunity to connect with your
    customers.

    This is an informational article about call campaigns. For instructions, go to Create a
    call campaign. To add phone numbers to existing text ads, skip to About call
    extensions.

    How they work
    Ads created in call campaigns are fine-tuned to show only on mobile devices that are
    capable of making calls. These ads are very flexible with how they can appear. To
    optimize for mobile and enhance performance, your ads may not always show every line
    of text you enter when setting up your campaign. Likewise, select extensions, which are
    available for call campaigns, may also be hidden in order to make the most of the
    smaller screen space on mobile devices.

    Extensions expand your ad with additional information and can give your ad greater
    visibility and prominence on the search results page. There's no cost to add them, and it
    is recommended that you add all extensions that are relevant to your business. Clicks
    on your ad (including your extension) will be charged as usual. To learn more about
    extensions, skip to About extensions.

    Here are some key points to know about using call campaigns:

   You can share your phone numbers across ads within an ad group or entire campaign.




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   You can set numbers to show only when your business can take calls.
   You can count calls as conversions. Learn more About phone call conversion tracking
    and About call reporting
   Clicks on your number are the same cost as headline clicks (a standard CPC).
   Call campaigns are not yet available for campaigns targeting the Display Network.
   When you create a new ad in your call campaign, you’ll be asked to enter a phone
    number for your business. In order to verify your ad and number, we’ll ask for a
    verification URL, which should lead to page that displays your phone number. Learn
    more about call ad requirements

    Bidding and reporting
    By leaving the Final URL field on your call ads blank, your call campaigns will only allow
    clicks to call. In this case, you’re able to bid for calls to your business instead of clicks
    to your website. This means your cost per click bid should match the value you would
    place on a phone call from your ad. The default bid strategy is maximize clicks, or in this
    case, calls. If you’ve set up conversion tracking for calls, you can use maximize
    conversions, or Target CPA bidding.

    Calls from your ads will appear under the “Clicks” column in your reporting table for
    each call campaign.

    If you provide a Final URL, your bid applies both to the call click and the website click
    and should represent the value you would place on a phone call from your ad. The
    default bid strategy is maximize clicks. If you’ve set up conversion tracking for calls, you
    can use maximize conversions, or Target CPA bidding. Calls from your ads and clicks to
    your website will appear together under the “Clicks” column in your reporting table for
    each call campaign. To view call clicks and website clicks separately, you can segment
    on Click Type.

    Related links

   Create call campaigns
   Call ad requirements (policy)

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o   Manage ads



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o   Billing



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    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Help CenterCommunityAnnouncements


About call extensions
Call extensions let you add phone numbers to your ads, which can significantly increase
clickthrough rates. When your call extensions appear, people can tap or click a button to
call your business directly. That means more customer engagement with your ads, and
more chances for you to get and track your conversions.

Google Ads may set up automated call extensions when your website has a phone
number and your business goals include getting people to call you.

This article gives you background information about call extensions. For instructions, go
to Use call extensions.

Before you begin
Call extensions are the easiest way to add phone numbers to existing ads. If you
attempt to include a phone number elsewhere in your ad text, it may lead to the
disapproval of the ad, so if you would like to include a phone number, it is best to use a
call extension. You can also create call campaigns. For more details, go to About call
campaigns.

Example

You own a pizzeria in downtown Chicago, so you add a call extension to your campaign
promoting deep-dish pizzas. If a visitor to the windy city searches for “Chicago pizza” on
their phone and one of your ads is triggered, this visitor can click through to your
website to read your menu or tap the call button on your ad to go straight to your
ordering line.




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    How it works
    Here are key points to know about call extensions:

   Phone or website: When your call extensions appear with your ad, people see your
    number or, when their device can make calls, a clickable call button. People can also
    click on your ad to go to your website.
   Business hours: You can set numbers to appear only when your business can take calls.
   A call is a click: These clicks on your number cost the same as headline clicks (a
    standard CPC).
   Easy conversion tracking: You can count calls as conversions by turning on call
    reporting in your account. Only available on the Search Network, call reporting uses
    Google forwarding numbers to give you detailed conversion information.

    Account levels

    You can add call extensions at the account, campaign, or ad group levels. Call
    extensions can run on Search campaigns and Smart campaigns. They can also be
    added to Display campaigns to track calls to a phone number on a website. If you create
    call extensions at different levels (account, campaign, or ad group), the most specific
    will be used. So when you add call extensions to an ad group, those extensions appear
    instead of your campaign- or account-level call extensions. Likewise, campaign-level
    extensions override account-level extensions.

    Call extensions won't serve with every impression
    Like other ad extensions, call extensions don't appear with every ad impression. When
    the ad auction runs, an algorithm determines whether to show the call extension, and
    any other extensions to show next to it, based on historical performance and other
    factors. It is completely normal for call extensions to appear for only a subset of total
    ad impressions. However, you can do bid adjustments to show your call interaction ads
    more often. Learn more about bid adjustments for interactions

    Device preferences

    Extensions with a checked box for Mobile are given preference on mobile devices, but
    are still eligible to appear on computers and tablets.

    Eligible numbers

    Vanity numbers, premium numbers, and fax numbers aren’t acceptable numbers for call
    extensions. Phone numbers will be verified to confirm they represent the business being
    promoted. Learn more about the policies under call extension requirements

    When disclaimers might appear with your call extensions



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    Call extensions can be used with toll-free, standard, mobile, shared-cost, or non-
    standard cost numbers. If you use a shared-cost or non-standard cost number with your
    call extension, your extension will include a disclaimer saying that additional charges
    may apply. Here’s more information about both types:

   Shared cost phone numbers use a billing method where calls to an international phone
    number are partially paid for by the recipient.
   Non-standard cost numbers may not be included in a typical phone plan, so additional
    charges to your customer may apply.

    Country-specific information
    Country name Non-standard cost numbers
    UAE           07000, 07005
    Albania       0808
    Algeria       0801 10, 0801 11, 0801 12, 0801 13, 0801 14, 0801 15, 0801 16, 0801 17, 0801
                  18, 0801 19, 0802 10, 0802 11, 0802 12, 0802 13, 0802 14, 0802 15, 0802 16,
                  0802 17, 0802 18, 0802 19
    Armenia       0801, 0802, 0803, 0804
    Austria       0810, 0820, 0821, 0828
    Bosnia and    082
    Herzegovina
    Brazil*       0800, 3003, 4000, 4001, 4002, 4003, 4004, 4005, 4006, 4007, 4008, 4009

                  * See the section below this table for additional information on call extensions in
                  Brazil
    Czech Republic810, 811, 812, 813, 814, 815, 816, 817, 818, 819, 830, 831, 832, 833, 834, 835,
                  836, 837, 838, 839, 840, 841, 842, 843, 844, 845, 846, 847, 848, 849
    Germany       0180
    Greece        801, 806, 812, 825
    Ireland       1850, 1890
    Israel        1-700, 1-809
    Jordan        0810, 0850, 0851, 0852, 0853, 0854, 0855, 0856, 0857, 0858, 0859, 0870, 0871,
                  0872, 0873, 0874, 0875, 0876, 0877, 0878, 0879
    Lebanon       090, 091
    Liechtenstein 900 22, 900 27, 900 28, 900 79, 901 23, 906 66, 0900, 0901, 0906
    Macedonia     0801, 0802, 0803, 0804, 0805, 0806, 0807, 0808, 0809, 0810, 0811, 0812, 0813,
                  0814, 0815, 0816, 0817, 0818, 0819, 0820, 0821, 0822, 0823, 0824, 0825, 0826,
                  0827, 0828, 0829, 0830, 0831, 0832, 0833, 0834, 0835, 0836, 0837, 0838, 0839,
                  0840, 0841, 0842, 0843, 0844, 0845, 0846, 0847, 0848, 0849, 0850, 0851, 0852,
                  0853, 0854, 0855, 0856, 0857, 0858, 0859, 0860, 0861, 0862, 0863, 0864, 0865,
                  0866, 0867, 0868, 0869, 0870, 0871, 0872, 0873, 0874, 0875, 0876, 0877, 0878,
                  0879, 0880, 0881, 0882, 0883, 0884, 0885, 0886, 0887, 0888, 0889, 0890, 0891,
                  0892, 0893, 0894, 0895, 0896, 0897, 0898, 0899
    Netherlands   100, 101, 102, 103, 104, 105, 106, 107, 108, 109, 690, 691, 692, 693, 694, 695,
    Antilles      696, 697, 698, 699




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    Country name Non-standard cost numbers
    Norway       810 00, 810 01, 810 02, 810 03, 810 04, 810 05, 810 06, 810 20, 810 21, 810 22,
                 810 23, 810 24, 810 25, 810 26, 810 27, 810 28, 810 29, 810 30, 810 31, 810 32,
                 810 33, 810 34, 810 35, 810 36, 810 37, 810 38, 810 39, 810 40, 810 41, 810 42,
                 810 43, 810 44, 810 45, 810 46, 810 47, 810 48, 810 49, 810 50, 810 51, 810 52,
                 810 53, 810 54, 810 55, 810 56, 810 57, 810 58, 810 59, 810 60, 810 61, 810 62,
                 810 63, 810 64, 810 65, 810 66, 810 67, 810 68, 810 69, 810 70, 810 71, 810 72,
                 810 73, 810 74, 810 75, 810 76, 810 77, 810 78, 810 79, 810 80, 810 81, 810 82,
                 810 83, 810 84, 810 85, 810 86, 810 87, 810 88, 810 89
    Pakistan     021 111, 022 111, 025 111, 040 111, 041 111, 042 111, 044 111, 046 111, 047
                 111, 048 111, 049 111, 051 111, 052 111, 053 111, 055 111, 056 111, 057 111,
                 061 111, 062 111, 063 111, 064 111, 065 111, 066 111, 067 111, 068 111, 071
                 111, 074 111, 081 111, 086 111, 091 111, 0232 111, 0233 111, 0235 111, 0238
                 111, 0242 111, 0243 111, 0244 111, 0292 111, 0293 111, 0294 111, 0295 111,
                 0296 111, 0297 111, 0298 111, 0453 111, 0454 111, 0457 111, 0459 111, 0542
                 111, 0543 111, 0544 111, 0546 111, 0547 111, 581111, 582111, 586111, 0604
                 111, 0606 111, 0608 111, 0722 111, 0723 111, 0726 111, 0822 111, 0823 111,
                 0824 111, 0825 111, 0826 111, 0828 111, 0829 111, 0832 111, 0833 111, 0835
                 111, 0837 111, 0838 111, 0843 111, 0844 111, 0847 111, 0848 111, 0852 111,
                 0853 111, 0855 111, 0856 111, 0922 111, 0932 111, 0937 111, 0938 111, 0939
                 111, 0942 111, 0943 111, 0944 111, 0945 111, 0946 111, 0963 111, 0965 111,
                 0966 111, 0969 111, 0992 111, 0993 111, 0944 111, 0995 111, 0996 111, 0997
                 111
    Poland       0801
    Réunion      0810, 0811, 0819, 0820, 0821, 0825, 0826, 0884, 0890
    Romania      0801
    Slovakia     0850, 0851, 0852, 0853, 0854, 0855, 0856, 0857, 0858, 0859, 0860, 0861, 0862,
                 0863, 0864, 0865, 0866, 0867, 0868, 0869, 0870, 0871, 0872, 0873, 0874, 0875,
                 0876, 0877, 0878, 0879, 0880, 0881, 0882, 0883, 0884, 0885, 0886, 0887, 0888,
                 0889, 0890, 0891, 0892, 0893, 0894, 0895, 0896, 0897, 0898, 0899
    Switzerland  0840, 0842, 0844, 0848
    Tanzania     0840, 0860, 0861

    Related links

   Use call extensions
   Call extension requirements

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    Choose a section to give feedback on

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                                             Submit
                                      Need more help?
                Sign in for additional support options to quickly solve your issue
                                             Sign in
    Add more information to your ad
   About location extensions
   Use location extensions
   Remove location extensions
   Filter your locations for extensions with location groups
   About affiliate location extensions
   About call campaigns
   About call extensions
   Create call campaigns
   About call reporting
   Manage call reporting for your campaigns
   Use call extensions
   Edit call extensions in bulk

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   About the Help Center

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski




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12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 中文（香港）
43. 日本語
44. 한국어
45. English

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   Google Help




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   Help Center




o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



o   Learn



o   Google Partners




   Community



   Google Ads




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   Privacy Policy



   Terms of Service



   Submit feedback


    Your guide to Google AdsGoogle Ads basicsCreate ads and campaignsChoose where
    and when ads appearFind out if your ad is runningAccount administration and security
    Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
    audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
    Google Ads mobile appRecommendations and optimization score
    Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
    other conversionsGoogle Analytics and Google AdsCommon reporting issues
    Get startedSetup and managementCalls in Smart campaigns
    Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
    throughsGlossary
    Google Partners Program


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

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    Other suggestions - ideas to improve the content




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Advertising Policies Help

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Technical requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

To help us keep ads clear and functional, advertisers must meet certain technical
requirements.

Below are some examples of what to avoid in your ads. Learn about what happens if
you violate our policies.

One website per ad group
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Using more than one display URL domain in a single ad group

                                                  Example: Using two display URLs that are hosted on
                                                  different sites
      Troubleshooter: One website per ad group




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  The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




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      If your ad was disapproved, your ad group may have contained more than
      one top-level domain in your ads' display URLs or keyword URLs.
      Remember that paused ads also need to use the same domain as the
      other ads and keywords in your ad group.

      Here's what you can do:

                                              Edit your URLs so that all ad display URLs and keyword URLs
                                               in your ad group use the same domain.
                                              Move ads and keywords to a new ad group or campaign if
                                               you'd like to advertise another website.
                                              Remove the ads or remove the keywords if you don't want to
                                               keep them in your ad group.

      Once your ad group contains only active and paused ads using the same
      domain, request a review and we'll see if we can approve your ad to start
      running:

                                  1. Visit your Ads tab and look at the "Status" column. Hover
                                     over the white speech bubble next to "Disapproved."
                                                                            The
                                                                            link ed
                                                                            image
                                                                            cannot
                                                                            be
                                                                            display




                                  2. Click "Resubmit my campaign for review." Remember that
                                     this link will appear only if your ad was disapproved for
                                     certain violations.
                                  3. Follow the on-screen instructions to resubmit the eligible
                                     disapproved ads in your campaign.

Unacceptable HTML5 ad
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             HTML5 ads that don’t function properly or appear blank

                                               Examples: Embedding assets in child frames, loading
                                               resources from unapproved third-party sources, using non-
                                               Google fonts, adding audio or video tags

      Troubleshooter: Unacceptable HTML5 ad

   1. Find the problem. Review the ad and its contents and use the Google Ads
      HTML5 Validator to find out what’s causing the ad to appear broken or
      blank.
   2. Edit the ad. Once you’ve fixed the problem, upload the ad again. This will
      submit the ad for review.




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      Most ads are reviewed within 1 business day, though some can take
      longer if they need a more complex review.

Account limits
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Exceeding account limits for ads and other content
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Excessive submissions through multiple accounts
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Campaign configuration that creates an undue burden on our
      systems

See the account limits for information on the amount of content we accept from
advertisers. Until you remove the excessive content, you may not be able to create any
new campaigns, ads, or extensions.

Unsupported language
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Ad or destination content in an unsupported targeting language

                                               Example: Languages that aren’t supported by Google Ads
                                               language targeting

                                               Note: The standard languages available for language
                                               targeting can be used in ads and destinations, but some ad
                                               formats, such as Review extensions have different language
                                               restrictions. Make sure that content for these formats is in
                                               an approved language.

Learn how to fix a disapproved ad or extension.

Unavailable video
The following is not allowed:




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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




            Videos that are removed, marked private, or otherwise unavailable to
       the public
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Videos that are not available in a country that the ad targets

Learn how to fix a disapproved ad or extension. Make sure that the video isn’t removed
or marked private. If your video hosting service is down, try uploading the video to
YouTube.

Unacceptable video format
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Uploading videos in a format that is not supported in Google Ads or
       YouTube

Learn how to fix a disapproved ad or extension. If you can’t convert the video to an
accepted format, upload a different video that complies with the policy. Refer to the list
of supported video formats for YouTube upload.

Unacceptable script
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Using Google Ads scripts to circumvent any restrictions or limits on
       usage of Google Ads, or using them for any other non-business-related
       purpose

                                               Example: Using scripts to circumvent operations quota limits
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Using unsupported methods to access the Google Ads scripts

                                               Note: Acceptable methods are outlined in the scripts
                                               documentation.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Excessive or abusive use of scripts, including unreasonable request
       volumes




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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Scripts that modify, disrupt, or disable any features, performance, or
      functionality of the Google Ads platform
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Failing to comply with best practices when using scripts to read data
      for more than 1 million entities (such as keywords or ads) or edit more
      than 100 thousand entities daily

                                             Note: Refer to the scripts documentation for best practices.

Check your scripts for abusive or excessive activity and then edit them to comply with
these policies.

Policy enforcement for Google Ads scripts

Right to review scripts

Google may monitor and audit any Google Ads scripts activity. These investigations
may include Google accessing, reviewing, and using your script to, for example, identify
security issues that could affect Google or its users. Upon request from Google, you
must provide access to all of your Google Ads scripts (even if they are stored outside of
Google Ads) within 2 business days of the request.

You cannot interfere with this monitoring or auditing and cannot otherwise conceal or
obfuscate from Google your Google Ads scripts activity.

Notice and consequences of violations

If you violate any of these policies, Google will notify the email addresses of the users
with administrative access to your manager account or Google Ads account. You may
also be required to provide additional contact information. If you do not correct the
violations within 2 business days of notification, Google may suspend all scripts in your
manager account or Google Ads account and/or reduce your overall rate limits.

In addition, if Google reasonably believes that you have committed a serious violation of
these policies (for example, if your usage of scripts disrupts or disables any features,
performance, or functionality of the Google Ads platform), Google may suspend all
scripts in your manager account or Google Ads account without any prior notice.

Need help?
If you have questions about our policies, let us know: Contact Google Ads Support
Give feedback about this article




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    Choose a section to give feedback on

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                                             Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use
   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

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     English?

    English



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1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
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38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback



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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
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What is the issue with this selection?

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Missing info - relevant but not comprehensive

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Google Ads Help

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Help CenterCommunityAnnouncements


Uploaded display ads specifications
This article describes the size and dimension specifications of ads you can upload on
the Google Display Network.

Display ads capture people’s attention across the Google Display Network’s 2 million
websites and apps. Google Ads gives you several ways to create display ads—
responsive display ads, and uploaded display ads. You can upload custom display ads
or use responsive ads.

Before you begin
Make sure that uploading custom display ads is the best choice for you. If not, you also
have the option to create display ads that fit just about anywhere across the Display
Network with responsive display ads. If you do upload your own ads, you still may want
to upload assets to create responsive display ads in the spaces where your custom
display ads may not fit.

Keep in mind that you can run multiple kinds of ads, not just display ads, from the same
Google Ads account and, in some cases, from the same campaign. Learn about the
different campaign types and available ad formats.

Note: Some ad sizes will show only in certain regions.

Specifications
Animated and non-animated image ads
File types
Formats            GIF, JPG, PNG



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Max. size           150KB
Ad sizes
Square and rectangle
200 × 200            Small square
240 × 400            Vertical rectangle
250 × 250            Square
250 × 360            Triple widescreen
300 × 250            Inline rectangle
336 × 280            Large rectangle
580 × 400            Netboard
Skyscraper
120 × 600            Skyscraper
160 × 600            Wide skyscraper
300 × 600            Half-page ad
300 × 1050           Portrait
Leaderboard
468 × 60             Banner
728 × 90             Leaderboard
930 × 180            Top banner
970 × 90             Large leaderboard
970 × 250            Billboard
980 × 120            Panorama
Mobile
300 × 50             Mobile banner
320 × 50             Mobile banner
320 × 100            Large mobile banner
*Animated ads (GIF)Animation length and speed:
                     Animation length must be 30 seconds or shorter
                     Animations can be looped, but the animations must stop after 30 seconds
                     Animated GIF ads must be slower than 5 FPS

AMPHTML ads

You can build ads with AMP (Accelerated Mobile Pages). AMPHTML ads load faster
than regular ads, which makes them ideal for mobile devices. Learn more.




AMPHTML ads created in Google Web Designer
Dimensions/meta The dimensions of all AMPHTML ads must be declared with a <meta> tag in
tags            the document <head>:

                 <meta name="ad.size" content="width=W,height=H">

                 The supported ad dimensions are the same as those for HTML5.




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Primary asset zip You may upload a ZIP file containing a single HTML document (the "primary
bundle            asset"), and up to 39 media assets. The total size of the compressed ZIP should
                  not be more than 150KiB (153600 B).
Primary asset     All AMPHTML ads must adhere to the AMPHTML ad format rules. To
rules             validate your ads, use the public AMP validator.
URLs              All URLs must correspond to assets in the bundle, except for the following
                  three exceptions:

                 AMP runtime and custom elements
                 Custom fonts in the href of a <link rel="stylesheet"> element
                 Embedded data: URLs

              Relative paths must be relative to the primary asset path, mirroring the
              structure of the ZIP. Absolute paths are not allowed.
Supported AMP amp-accordion
components    amp-animation
              amp-anim: Images must be relative references to assets in the ZIP bundle
              amp-carousel
              amp-fit-text
              amp-font: CSS class names must not be used elsewhere in the document, for
              example the following would be forbidden:

                 <amp-font layout="nodisplay” font-family="My Font"
                 timeout="1000" on-load-add-class="amp-font-
                 class1"></amp-font> <div class="amp-font-
                 class1"></div>

                 amp-gwd-animation
                 amp-img: Images must be relative references to assets in the ZIP bundle
                 amp-layout

Custom exits     Custom exits, using either <amp-ad-exit> or <a href>, are not allowed. Your
                 entire ad will be clickable.
Disallowed       Elements should not have any the following class names:
values
                 amp-carousel-slide
                 amp-carousel-button
                 amp-carousel-button-next
                 amp-carousel-button-prev

                 An event action cannot use "AMP" as the event target, as in the following,
                 which is forbidden:

                 <button
                 on="tap:AMP.navigateTo(url='http://google.com')">




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                     Likewise, "tap" events are forbidden.

                          <button on="tap:popup.toggleVisibility()">



    HTML5 ads



    Requirements for using HTML5 ads

    You should be able to gain access to HTML5 ads in your Google Ads account once your
    account has generated sufficient history on our platform and has met the following
    requirements:

   Account has been open for more than 90 days.
   Account has more than USD 9,000 total lifetime spend.
   Account has a good history of policy compliance.

    Keep in mind, that meeting the requirements above doesn’t always guarantee access to
    HTML5 ads.

    If HTML5 ads are unavailable in your account, you can apply for access via this form.
    Before you submit your application, make sure that your account meets the eligibility
    criteria listed below. You will receive an email notification with a status update within 7
    business days of your application submission.

   Account has a good history of policy compliance.
   Account has a good payment history.
   Account has more than USD 1,000 total lifetime spend.

    To maintain continued access to HTML5 ads, please make sure that you do not violate
    our policies and sustain a good history of policy compliance.

    In the meantime, you can use other options like uploaded AMPHTML ads or responsive
    display ads.

    Make sure you follow the correct display ads specifications.



    If you're creating an App campaign, learn about HTML5 for App campaigns.




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Check your ads using the Google Ads HTML5 validator.

All HTML5 ads
Supported ad sizes
Square and rectangle
200 × 200            Small square
240 × 400            Vertical rectangle
250 × 250            Square
250 × 360            Triple widescreen
300 × 250            Inline rectangle
336 × 280            Large rectangle
580 × 400            Netboard
Skyscraper
120 × 600            Skyscraper
160 × 600            Wide skyscraper
300 × 600            Half-page ad
300 × 1050           Portrait
Leaderboard
468 × 60             Banner
728 × 90             Leaderboard
930 × 180            Top banner
970 × 90             Large leaderboard
970 × 250            Billboard
980 × 120            Panorama
Mobile
300 × 50             Mobile banner
320 × 50             Mobile banner
320 × 100            Large mobile banner
Supported file size 150 KB or smaller

HTML5 ads created in Google Web Designer
Ad          When creating your ad in Google Web Designer, you must specify the “Google
environment Ads” environment.
Static and  HTML5 ads can be both static and dynamic. Dynamic ads use information in a
dynamic ads data feed to determine which images, text, and other information will be shown.

               To create a dynamic ad, you create an ad using placeholder elements for each
               piece of image or text you want to be dynamically generated, then bind data
               objects to each element. When the data feed changes, the elements that are
               bound to the data will reflect those changes automatically.
Supported      iFrame
components     Swipeable Gallery
               Carousel Gallery
               360° Gallery
               Gallery Navigation
               Image Button



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                 Spritesheet
                 Particle Effects
                 Transition Gallery
                 Star Ratings
                 Tap Area

Publishing for In Google Web Designer:
Google Ads
               Click the Publish button.
               Select Publish locally.
               Upload the resulting .ZIP file to Google Ads.

Limitations      Expandable ads are not supported.
                 All images used in HTML5 ads must be local images, not referenced images,
                 and should be part of the assets that comprise the ZIP file.
                 Only Google web fonts are supported. Other web fonts are not supported.
                 For environment target actions, timer and multiple exits are not supported.
                 Local storage methods cannot be used in HTML5 ads.


All other HTML5 ads
HTML         HTML5 ads must include:
requirements
             <!DOCTYPE html> declaration
             <html> tag
             <body>tag
             Ad format size meta tag within the <head> tag. For example:

              <meta name="ad.size" content="width=300,height=250">

              Explicit end tags (inline ending tags will not be accepted):

              Example of valid end tags: <path></path>
              Example of what not to do: <path> or <path />

             Alternatively, you can extract the inline svg into a separate file.
Upload       All code and assets must be referenced using a relative path to resources included in
requirements the .ZIP file. No external references are allowed except references to:

              Google Fonts
              Google-hosted jQuery
              Google-hosted Greensock (files should work regardless of version)
                    https://s0.2mdn.net/ads/studio/cached_libs/
                     tweenlite_1.18.0_56fa823cfbbef1c2f4d4346f0f0e6c3c_min.js




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                   https://s0.2mdn.net/ads/studio/cached_libs/
                    tweenmax_1.18.0_499ba64a23378545748ff12d372e59e9_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    cssplugin_1.18.0_71489205621d46cbe88348eeb8fe493f_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    easepack_1.18.0_ed5816e732515f56d96a67f6a2a15ccb_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    timelinelite_1.19.0_13e3bd0e510d63fd5e5ef9bf9dac7017_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    timelinemax_1.19.0_4cba7b163d6263b39d53727ed4c7bb6f_min.js
            Google-hosted CreateJS
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    tweenjs_0.6.1_40840f08e9fb382ae9e4a337da542ed5_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    easeljs_0.8.1_58add2e69ca7fbe25e8f82a2b5f6a510_min.js
                   https://s0.2mdn.net/ads/studio/cached_libs/
                    createjs_2015.11.26_54e1c3722102182bb133912ad4442e19_min.js




When uploading a .zip folder, the maximum number of files included is 40.

Keep in mind

UTF-8 must be used for non-ASCII characters

Regionally available ad sizes

Here are more image ad sizes that you can use, depending on the region where you
show your ad.

Ad type             DimensionSize limitRegional use
PL billboard        750x100 150 KB Poland
PL double billboard750x200 150 KB Poland
PL triple billboard 750x300 150 KB Poland
Vertical rectangle 240x400 150 KB Russia
Panorama            980x120 150 KB Sweden
Top banner          930x180 150 KB Denmark
Triple widescreen 250x360 150 KB Sweden
Netboard            580x400 150 KB Norway

Related links




                                                                                   2261
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   Responsive ads
   Choose an ad format
   Select the ad environment

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   About responsive display ads
   Create a responsive display ad
   Manage your responsive display ads
   Display ads: a creative Best Practices guide
   Uploaded display ads specifications
   About uploading your own display ads
   Upload your own display ads
   Fix error messages with Uploaded ads
   About Lightbox ads
   Create a Lightbox ad
   About Lightbox ads specifications
   Tips for creating effective display ads
   About engagements reporting
   About advanced format options for responsive display ads
   About auto-generated videos for responsive display ads
   About Ad strength for responsive display ads
   Transitioning responsive ads to responsive display ads
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Reach your marketing goals with Google Ads




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    Google Ads can help you make the most of your online marketing efforts with tools to
    help you succeed. Learn more from success stories to see what others have achieved
    with the help of the right campaigns for their goals.

    Get Started

    or Call 1-855-500-2754 to get started

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10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska




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28. Tiếng Việt
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o   Coronavirus (COVID-19) Resources and Updates



o   Setup and basics



o   Manage ads




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o   Measure results



o   Smart campaigns



o   Billing



o   Learn



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    and when ads appearFind out if your ad is runningAccount administration and security




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Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
Google Ads mobile appRecommendations and optimization score
Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
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    About your Google Ads account limits
    Your account has maximum limits on areas like the maximum number of keywords you
    can have. While you'll likely never notice them, keep these limits in mind when planning
    your future advertising efforts.

    This article lists limits for several key areas of your account.

    Campaign and ad group limits
   10,000 campaigns per account (includes active and paused)
   20,000 ad groups per campaign

    Note: Local campaigns and App campaigns are limited to 100 ad groups per campaign.

   20,000 ad group targeting items per ad group (such as keywords, placements, and
    audience lists)
   100 Smart Shopping campaigns per account

    Ad limits
   300 image or gallery ads per ad group
   50 active text and non-image/gallery ads per ad group
   4 million ads per account (includes active and paused)
   3 responsive ads per ad group

    Targeting limits



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   5 million ad group targeting items per account (such as keywords, placements, and
    audience lists)
   1 million campaign targeting items per account (such as location targets and campaign-
    level negative keywords)
   10,500 location targets per campaign, targeted and excluded, including up to 500
    proximity targets per campaign
   20 shared placement exclusion lists per account, with a maximum of 65,000 exclusions
    per list
   65,000 account-level placement exclusions per account (separate from your list,
    campaign, and ad group exclusions)
   128,000 total placement exclusions per ad group (this includes the total of your
    account, list, campaign, and ad group exclusions)
   3 placement exclusion lists for each manager account, with a maximum of 250,000
    exclusions per list
   11,000 shared budgets per account
   25,000 Dynamic Search Ad targets per account

    In Google Ads UI, at most 5000 placements can be added at once. You can add more
    placements (limits above) but in one go you can't add more than 5000 placements.

    Negative keyword limits
   20 shared negative keyword lists per account
   5,000 keywords per negative keyword list
   10,000 negative keywords per campaign
   A maximum of 5,000 negative keywords are considered for Display Network and Video
    campaigns

    Limits for business data and feeds
   5 million rows or feed items per account for dynamic ads, ad customizers, and
    extensions
   100 user-generated feeds or business data sets per account
   3,000 bytes per attribute (roughly 750 - 3,000 characters depending on the byte size of
    the character)

    Ad extension limits
   250,000 ad group-level extensions per account
   50,000 campaign-level extensions per account
   10,000 ad group-level extensions per campaign




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    For example, let's say you have one campaign with an extension containing 8 sitelinks.
    Then you add these same sitelinks to another campaign and also to 10 ad groups in a
    third campaign. Now, your account has 8 feed items, 2 campaign-level extensions, and
    10 ad group-level extensions.

    Manager account limits
    All manager accounts can be linked to a maximum of 85,000 non-manager accounts,
    including both active and inactive or canceled accounts. The maximum number of
    active non-manager accounts your top-level manager account can be linked to is based
    on your accounts’ total monthly spend from over the last 12 months. Learn more about
    maximum account limits for manager accounts

    Additional Limits
    Notwithstanding the above, certain combinations of campaign or creative structures
    within these limits may overload our systems and processes thereby interfering (or
    attempting to interfere) with the functioning of our programs.

    For example:

   Generating a large number of ad groups or campaigns with few creatives or keywords in
    each
   Generating responsive ads with significant combinations of creative content, assets,
    destinations or keywords

    Note: If advertisers inadvertently cause an overload on our ads systems or processes, a
    notification will be issued to them with specific details at least 7 days in advance to
    remediate the issue. No action will be taken on the advertiser’s Google ads account
    prior to issuance of the warning notification.

    Related links

   About your account organization
   Organize your account with ad groups
   Add keywords

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o   Setup and basics



o   Manage ads




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o   Measure results



o   Smart campaigns



o   Billing



o   Learn



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    and when ads appearFind out if your ad is runningAccount administration and security



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Ads and approvalsCampaign settingsBudgets and bidsKeywordsReach your
audienceTarget placements and topicsMultiple or large accountsLocal Services adsThe
Google Ads mobile appRecommendations and optimization score
Connect your goals to dataFind and run reportsUnderstanding your dataTrack sales and
other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
Payment methods and settingsBasic billing tasksPromotions and couponsRefunds and
adjustmentsTaxesIssues with payments and charges
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About language targeting
If you try to communicate with others who don't speak the same language, you might
find it tough to get your message across. Similarly, when advertising using Google Ads,
you want your ads to appear to customers who can understand them. Learn how
to Target ads to geographic locations.

Language targeting lets you target your ads to potential customers who use Google
products and third-party websites based on the languages those customers understand.

Choose your target language

Language targeting allows you to choose the language of the potential customers you'd
like to reach. We'll show your ads to customers who use Google products (such as
Search or Gmail) or visit sites and apps on the Google Display Network (GDN) in that
same language. Keep in mind that Google doesn't translate ads or keywords.

Target languages on the Search Network

Google Ads on the Search Network can target one language, multiple languages, or all
languages. Your ads will be eligible for queries where the keywords match and Google
believes that the user understands at least one targeted language.

You might find it helpful to target all languages. By targeting all languages, you can
reach people who speak more than one language and may search in several languages.

How Google Ads detects languages

On the Search Network




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    Google Ads uses a variety of signals to understand which language the user knows, and
    attempts to serve the best ad available in a language the user understands. These
    signals could include query language, user settings, and other language signals as
    derived by our machine learning algorithms.

    Example

    Pat understands both English and Spanish. While her mobile browser is set to a Spanish
    interface, her other activity on Google strongly suggests she speaks English too; e.g.,
    many of her queries are also in English, such as "buy shoes online." She would therefore
    be eligible to see ads that target either English or Spanish, when the keywords match.

    On the Display Network

    On the Google Display Network, Google Ads may detect and look at the language of
    pages or apps that someone is viewing or has recently viewed, to determine which ads
    to show. This means that we may detect the language from either pages or apps that
    the person had viewed in the past, or the page that she is currently viewing.

    Example

    Maya has viewed several cooking blogs on the Google Display Network that are written
    in Japanese, and she sees ads from campaigns targeted to Japanese speakers. She
    may also see Japanese ads even when she reads other blogs on the Display Network
    that are written in English because of her viewing history.

    Related links

   Target ads to geographic locations
   Choose your location and language settings

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    Choose where and when ads appear
   About language targeting
   Target ads to geographic locations
   Exclude ads from geographic locations
   About advanced location options
   About ad reach
   About targeting geographic locations
   Location target types by country
   Refine your location targeting
   Target customers near an address with location extensions

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     English?

    English

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2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
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18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română



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24. slovenčina
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27. svenska
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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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45. English

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o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



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Google Ads mobile appRecommendations and optimization score
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other conversionsGoogle Analytics and Google AdsCommon reporting issues
Get startedSetup and managementCalls in Smart campaigns
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adjustmentsTaxesIssues with payments and charges
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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

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About extensions
Extensions expand your ad with additional information—giving people more reasons to
choose your business. They typically increase an ad's click-through-rate by several
percentage points. Extension formats include call buttons, location information, links to
specific parts of your website, additional text, and more.

This article gives an overview of extensions in general. To learn what each extension
type does, and how to pick the right extensions for you, go to Select extensions to use.

How they work

To maximize the performance of your text ads, Google Ads selects which extensions to
show in response to each individual search on Google. For that reason, it’s a good idea
to use all the extensions relevant to your business goals.

By adding more content to your ad, extensions give your ad greater visibility and
prominence on the search results page. That means you tend to get more value from
your ad. Extensions often increase your total number of clicks, and can give people
additional, interactive ways of reaching you—as with maps or calls.

Many extension types require a bit of set-up—those are manual. Some extensions are
added automatically when Google Ads predicts they’ll improve your performance—those
are automated. No setup is required for automated extensions, so they don’t show up
among the options when you’re creating manual extensions. Learn more about
automated extensions.

When extensions show




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    Adding an extension won’t guarantee that it will show with your ad all the time.
    Extensions show with your ad when:

   The extension (or combination of extensions) is predicted to improve your performance.
   Your ad’s position and Ad Rank is high enough for extensions to show. To show
    extensions, Google Ads requires a minimum Ad Rank. (Ad Rank calculations factor in
    your extensions).

    Learn more about When extensions show. To keep track of when your extensions
    show See extension performance. Finally, you can find instructions to Make your
    extensions more likely to show.

    Cost

    There's no cost to add extensions to your campaign. Clicks on your ad (including your
    extension) will be charged as usual. (The exception is clicks on seller ratings, which are
    not charged.) So you’re charged a click when someone calls you from a call
    extension or when someone downloads your app from an app extension. Google Ads
    charges no more than two clicks per impression for each ad and its extensions. Learn
    more About extensions and actual cost-per-click.

    Related links

   Select extensions to use
   About extensions and your actual cost per click
   When extensions show

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   Select extensions to use
   When extensions show



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   Make extensions more likely to show
   About extensions and your actual cost-per-click
   Remove extensions
   Schedule your extensions
   Measure ad extension performance
   About automated extensions
   Check the performance of automated extensions
   Show business locations or phone numbers
   Show additional information, links, or apps
   Reviews, social information, and additional site details
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2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português




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22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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o   Measure results



o   Smart campaigns



o   Billing



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other conversionsGoogle Analytics and Google AdsCommon reporting issues
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    Supported YouTube file formats
    Note: Audio files, like MP3, WAV, or PCM files, can’t be uploaded to YouTube. You can
    use video editing software to convert your audio file to a video.

    If you're not sure which format to save your video as or are getting an "invalid file
    format" error message when you're uploading, make sure that you’re using one of the
    following formats:

   .MOV
   .MPEG-1
   .MPEG-2
   .MPEG4
   .MP4
   .MPG
   .AVI
   .WMV
   .MPEGPS
   .FLV
   3GPP
   WebM
   DNxHR
   ProRes
   CineForm
   HEVC (h265)

    If you're using a file format that's not listed above, use this troubleshooter to learn how
    to convert your file.




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    For more advanced information on file formats you can read through this article on
    encoding settings.

    Select the file format you'd like to convert     mswmm (Movie maker project file),
    .msdvd (DVD Maker project file), .wlmp (Movie maker project file)         .camproj
    (Camtasia project file)      imovieproject, .dvdproj (iDVD project file), .rcproject (iMovie
    project file)   .piv      Other
    Are you using Windows Movie Maker or Windows Live Movie Maker?               Windows Live
    Movie Maker
                                    Was this helpful?
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2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
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14. magyar
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17. polski
18. português




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25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
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o   Watch videos




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o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
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Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
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Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
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Google Ads automation made easy
Google Ads scripts provide a way to programmatically control your Google Ads data using
simple JavaScript in a browser-based IDE. You can use scripts to automate common procedures
or interact with external data—for one to many Google Ads accounts.

Getting started
Only entry-level familiarity with JavaScript is needed—the IDE helps with syntax highlighting,
auto-complete, and previewing. All you need is a Google Ads account to start writing your first
script.

Get started

What's new
August 6, 2020
       Added beta support for search.
February 24, 2020
       Added support for new style responsive display ads.
August 8, 2019
       Added support for price extensions.

Read more

[{ "type": "thumb-down", "id": "missingTheInformationINeed", "label":"Missing the information
I need" },{ "type": "thumb-down", "id": "tooComplicatedTooManySteps", "label":"Too
complicated / too many steps" },{ "type": "thumb-down", "id": "outOfDate", "label":"Out of
date" },{ "type": "thumb-down", "id": "samplesCodeIssue", "label":"Samples / code issue" },{
"type": "thumb-down", "id": "otherDown", "label":"Other" }] [{ "type": "thumb-up", "id":
"easyToUnderstand", "label":"Easy to understand" },{ "type": "thumb-up", "id":
"solvedMyProblem", "label":"Solved my problem" },{ "type": "thumb-up", "id": "otherUp",
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                                          o   Twitter
                                          o   YouTube
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                                          o   Google Developer Groups
                                          o   Google Developers Experts
                                          o   Accelerators
                                          o   Developer Student Clubs
                                      Developer consoles
                                          o   Google API Console
                                          o   Google Cloud Platform Console
                                          o   Google Play Console
                                          o   Firebase Console
                                          o   Actions on Google Console
                                          o   Cast SDK Developer Console
                                          o   Chrome Web Store Dashboard
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                                           o Selectors
                                           o Builders
                                           o IDs
                                           o Execution Info




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           o   Execution Logs
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           o Ad Params
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           o Bidding
           o Bulk Upload
           o Bulk Upload Entities
           o Campaign Drafts & Experiments
           o Campaign Targeting
           o Dates and Times
           o External Data Integration
           o Labels
           o Ads Manager (MCC) Scripts
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Google Ads Entities

Google Ads scripts work with the following Google Ads entities:

Account
       Get account information. Can also fetch accounts of a manager account.
Ad customizers
       Get, create, set, or remove ad customizers items.
Ad groups



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        Pause/enable or change default keyword max cpc bid. Create keywords, expanded text
        ads, and negative keywords.
Ad params
        Create or remove ad params.
Ad media
        Upload or query ad media.
Ads
        Pause/enable/remove or get an ad.
Ad schedule
        Get or remove an ad schedule. Set bid modifier.
Bidding Strategy
        Access account-level flexible bidding strategies. More about bidding.
Budget orders
        Query budget orders.
Budgets
        Get or set budget amount.
Campaigns
        Pause/enable or modify budget. Create ad groups and negative keywords.
Display
        Create, remove, or change CPM and max CPC bid for keywords, placements, topics, or
        audiences.
Extensions
        Create or remove ad extensions: callout, message, mobile app, phone number, review,
        sitelink, or snippet.
Keywords
        Pause/enable, remove, or change max CPC bid. Search keywords only.
Labels
        Create, remove, apply to, or remove from entities. More on labels.
Negative keywords
        create or remove.
Reports
        Support for all listed reports.
Shared sets (excluded placement list, negative keyword list)
        Share negative keyword or placement lists across campaigns.
Shopping campaigns
        Set up or manage Shopping campaigns.
Targeting
        Access campaign-level targeting. Available targets include location, proximity,
        platforms, language, content labels, and audiences.
User lists
        Query or manage user lists.
Video campaigns
        Set up or manage video campaigns.
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[{ "type": "thumb-down", "id": "missingTheInformationINeed", "label":"Missing the information
I need" },{ "type": "thumb-down", "id": "tooComplicatedTooManySteps", "label":"Too
complicated / too many steps" },{ "type": "thumb-down", "id": "outOfDate", "label":"Out of
date" },{ "type": "thumb-down", "id": "samplesCodeIssue", "label":"Samples / code issue" },{
"type": "thumb-down", "id": "otherDown", "label":"Other" }] [{ "type": "thumb-up", "id":
"easyToUnderstand", "label":"Easy to understand" },{ "type": "thumb-up", "id":
"solvedMyProblem", "label":"Solved my problem" },{ "type": "thumb-up", "id": "otherUp",
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                                      Developer consoles
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       中文 – 简体
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                                      Solutions

                                      What's New
                                      AdsApp
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                   AdCustomizerSourceOperation
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                   AdGroupCallout
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                   ExcludedDisplayKeywordOperation
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                   ExcludedPlacementOperation
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Best Practices

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            o  Use labels when there are too many filtering conditions
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   

This page covers various best practices for developing with Google Ads scripts.

Selectors
Filter with selectors

When possible, use filters to request only the entities you need. Applying proper filters has the
following benefits:

       The code is simpler and easier to understand.
       The script will execute much faster.
       Your script is less likely to run into a fetching limit.

Compare the following code snippets:

       Coding approach                                      Code snippet
                               var keywords = AdsApp.keywords()
                                   .withCondition('Clicks > 10')
                                   .forDateRange('LAST_MONTH')
                                   .get();
Filter using selectors         while (keywords.hasNext()) {
(recommended)                    var keyword = keywords.next();
                                 // Do work here.
                               }

                               var keywords = AdsApp.keywords().get();
Filter in code (not            while (keywords.hasNext()) {
recommended)                     var keyword = keywords.next();
                                 var stats = keyword.getStatsFor(




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                                      'LAST_MONTH');
                                  if (stats.getClicks() > 10) {
                                    // Do work here.
                                  }
                              }



The second approach is not recommended because it attempts to retrieve the list of all the
keywords in your account only to apply a filter to the list.

Avoid traversing the campaign hierarchy

When you want to retrieve entities at a particular level, use a collection method at that level
instead of traversing the entire campaign hierarchy. In addition to being simpler, this will also
perform much better: the system will not have to unnecessarily read in all the campaigns and ad
groups.

Compare the following code snippets that retrieve all ads in your account:

     Coding approach                                     Code snippet

Use appropriate collection var ads = AdsApp.ads();
method (Recommended)

                              var campaigns = AdsApp.campaigns().get();
                              while (campaigns.hasNext()) {
                                var adGroups = campaigns.next().
                                    adGroups().get();
Traverse the hierarchy          while (adGroups.hasNext()) {
(Not recommended)                 var ads = adGroups.next().ads().get();
                                  // Do your work here.
                                }
                              }



The second approach is not recommended since it attempts to fetch entire hierarchies of objects
(campaigns, ad groups) whereas only ads are required.

Use specific parent accessor methods

Sometimes you need to obtain a retrieved object's parent entity. In this case, you should use a
provided accessor method instead of fetching entire hierarchies.

Compare the following code snippets that retrieve the ad groups that have text ads with more
than 50 clicks last month:

     Coding approach                                     Code snippet




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                              var ads = AdsApp.ads()
                                  .withCondition('Clicks > 50')
                                  .forDateRange('LAST_MONTH')
                                  .get();
Use appropriate parent        while (ads.hasNext()) {
accessor method                 var ad = ads.next();
(recommended)                   var adGroup = ad.getAdGroup();
                                var campaign = ad.getCampaign();
                                // Store (campaign, adGroup) to an array.
                              }

                              var campaigns = AdsApp.campaigns().get();
                              while (campaigns.hasNext()) {
                                var adGroups = campaigns.next()
                                    .adGroups()
                                    .get();
                                while (adGroups.hasNext()) {
                                  var ads = adGroups.ads()
Traverse the hierarchy               .withCondition('Clicks > 50')
(not recommended)                    .forDateRange('LAST_MONTH')
                                     .get();
                                  if (ads.totalNumEntities() > 0) {
                                    // Store (campaign, adGroup) to an array.
                                  }
                                }
                              }



The second approach is not recommended since it fetches the entire campaign and ad group
hierarchies in your account, whereas you need only a subset of campaigns and ad groups that is
associated with your set of ads. The first approach restricts itself to fetch only the relevant ads
collection, and uses an appropriate method to access its parent objects.

Use specific parent filters

For accessing entities within a specific campaign or ad group, use a specific filter in the selector
instead of fetching then traversing through a hierarchy.

Compare the following code snippets that retrieve the list of text ads within a specified campaign
and ad group having more than 50 clicks last month.

     Coding approach                                      Code snippet
                              var ads = AdsApp.ads()
                                  .withCondition('CampaignName = "Campaign 1"')
                                  .withCondition('AdGroupName = "AdGroup 1"')
Use appropriate parent            .withCondition('Clicks > 50')
level filters                     .forDateRange('LAST_MONTH')
(recommended)                     .get();

                              while (ads.hasNext()) {
                                var ad = ads.next();




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                                    var adGroup = ad.getAdGroup();
                                    var campaign = ad.getCampaign();
                                    // Store (campaign, adGroup, ad) to
                                    // an array.
                                }

                                var campaigns = AdsApp.campaigns()
                                    .withCondition('Name = "Campaign 1"')
                                    .get();

                                while (campaigns.hasNext()) {
                                  var adGroups = campaigns.next()
                                      .adGroups()
                                      .withCondition('Name = "AdGroup 1"')
                                      .get();
                                  while (adGroups.hasNext()) {
Traverse the hierarchy              var ads = adGroups.ads()
(not recommended)                      .withCondition('Clicks > 50')
                                       .forDateRange('LAST_MONTH')
                                       .get();
                                    while (ads.hasNext()) {
                                      var ad = ads.next();
                                      // Store (campaign, adGroup, ad) to
                                      // an array.
                                    }
                                  }
                                }



The second approach is not recommended since it iterates on campaign and ad group hierarchy
in your account, whereas you need only a selected set of ads, and their parent campaigns and ad
groups. The first approach limits the iteration to the list of ads by applying a specific filter for
parent entities on the selector.

Use IDs for filtering when possible

When filtering for entities, it is preferable to filter for entities by their IDs instead of other fields.

Consider the following code snippets that select a campaign.

      Coding approach                                        Code snippet
                                var campaign = AdsApp.campaigns()
                                    .withIds([12345])
Filter by ID                        .get()
(recommended)                       .next();

                                var campaign = AdsApp.campaigns()
                                    .withCondition('Name="foo"')
Filter by Name (less                .get()
optimal)                            .next();




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The second approach is less optimal since we are filtering by a non-ID field.

Filter by parental IDs whenever possible

When selecting an entity, filter by parent IDs whenever possible. This will make your queries
faster by limiting the list of entities being retrieved by the servers when filtering results.

Consider the following code snippet that retrieves an AdGroup by its ID. Assume that the parent
campaign ID is known.

     Coding approach                                     Code snippet
                              var adGroup = AdsApp.adGroups()
                                  .withIds([12345])
Filter by campaign and ad         .withCondition('CampaignId="54678"')
group IDs (recommended)           .get()
                                  .next();

                              var adGroup = AdsApp.adGroups()
                                  .withIds([12345])
Filter by ad group ID             .get()
alone (less optimal)              .next();



Even though both code snippets give identical results, the additional filtering in code snippet 1
using a parent ID (CampaignId="54678") makes the code more efficient by restricting the list
of entities that the server has to iterate when filtering the results.

Don't run selectors in a tight loop

While Google Ads scripts are efficient at fetching entities when a proper filter is applied, the
benefit can be offset if you trigger too many selection operations using a very narrow selector.

Consider the following scripts that applies a "Moderate performance" label to keywords whose
TopImpressionPercentage > 0.4 last month:


     Coding approach                                     Code snippet
                              var labelText = 'Moderate performance';

                              var report = AdsApp.report('SELECT AdGroupId, Id,
                              CpcBid FROM ' +
                                  'KEYWORDS_PERFORMANCE_REPORT WHERE
Select and update             TopImpressionPercentage > 0.4 ' +
keywords grouped by ad            'DURING LAST_MONTH');
groups (recommended)
                              var map = {
                              };

                              var rows = report.rows();
                              while (rows.hasNext()) {




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                                 var row = rows.next();
                                 var adGroupId = row['AdGroupId'];
                                 var id = row['Id'];

                                 if (map[adGroupId] == null) {
                                   map[adGroupId] = [];
                                 }
                                 map[adGroupId].push([adGroupId, id]);
                             }

                             for (var key in map) {
                               var keywords = AdsApp.keywords()
                                   .withCondition('AdGroupId = "' + key + '"')
                                   .withIds(map[key]).get();

                                 while (keywords.hasNext()) {
                                   var keyword = keywords.next();
                                   keyword.applyLabel(labelText);
                                 }
                             }


                             var labelText = 'Moderate performance';

                             var report = AdsApp.report('SELECT AdGroupId, Id,
                             CpcBid FROM ' +
                                 'KEYWORDS_PERFORMANCE_REPORT WHERE
                             TopImpressionPercentage > 0.4 ' +
                                 'DURING LAST_MONTH');

                             var list = [];

                             var rows = report.rows();
                             while (rows.hasNext()) {
                               var row = rows.next();
Select and update              var adGroupId = row['AdGroupId'];
keywords by their ID (less     var id = row['Id'];
optimal)
                                 list.push([adGroupId, Id]);
                             }

                             var keywords = AdsApp.keywords()
                                 .withIds(list)
                                 .get();

                             while (keywords.hasNext()) {
                               var keyword = keywords.next();
                               keyword.applyLabel(labelText);
                             }

                             var report = AdsApp.report('SELECT AdGroupId, Id,
Select and update            CpcBid FROM ' +
keywords one at a time           'KEYWORDS_PERFORMANCE_REPORT WHERE
(not recommended)            TopImpressionPercentage > 0.4 ' +
                                 'DURING LAST_MONTH');




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                              var rows = report.rows();
                              while (rows.hasNext()) {
                                var row = rows.next();
                                var adGroupId = row['AdGroupId'];
                                var id = row['Id'];
                                var keyword = AdsApp.keywords()
                                    .withIds([[AdGroupId, Id]])
                                    .get()
                                    .next();
                                keyword.applyLabel(labelText);
                              }



The first approach gives you the best performance, because you are grouping your select and
update operations by a specific ad group. The second approach is less optimal, but still gives you
good performance, since you are restricting your select operation to a single get() call. The
third approach gives you the worst performance. The performance gain you get by applying a
very specific filter to optimize your get() calls is offset by the large number of get() calls you
are making in a tight loop.

Use labels when there are too many filtering conditions

When you have too many filtering conditions, it is a good idea to create a label for the entities
you process, and use that label to filter your entities.

Consider the following snippet of code that retrieves a list of campaigns by their name.

     Coding approach                                      Code snippet
                              var label = AdsApp.labels()
                                  .withCondition('Name = "My Label"')
                                  .get()
                                  .next();
Use a label                   var campaigns = label.campaigns.get();
(recommended)                 while (campaigns.hasNext()) {
                                var campaign = campaigns.next();
                                // Do more work
                              }

                              var campaignNames = [‘foo’, ‘bar’, ‘baz’];

                              for (var i = 0; i < campaignNames.length; i++) {
                                campaignNames[i] = '"' + campaignNames[i] + '"';
                              }
Build complex selectors
(not recommended)             var campaigns = AdsApp.campaigns
                                  .withCondition('CampaignName in [' +
                              campaignNames.join(',') + ']')
                                  .get();

                              while (campaigns.hasNext()) {




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                                  var campaign = campaigns.next();
                                  // Do more work.
                              }



While both code snippets give you similar level of performance, the second approach tends to
generate more complex code as the number of conditions in your selector increases. It is also
easier to apply the label to a new entity than editing the script to include a new entity.

Limit the number of conditions in your IN clause

When running scripts, a common use case is to run a report for a list of entities. Developers
usually accomplish this by constructing a very long AWQL query that filters on the entity IDs
using an IN clause. This approach works fine when the number of entities are limited. However,
as the length of your query increases, your script performance deteriorates due to two reasons:

       A longer query takes longer to parse.
       Each ID you add to an IN clause is an additional condition to evaluate, and hence takes
        longer.

Under such conditions, it is preferable to apply a label to the entities, and then filter by LabelId.

       Coding approach                                    Code snippet
                              // The label applied to the entity is "Report
                              Entities"
                              var label = AdsApp.labels()
                                  .withCondition('LabelName contains "Report
                              Entities"')
                                  .get()
Apply a label and filter by       .next();
labelID (recommended)
                              var report = AdsApp.report('SELECT AdGroupId, Id,
                              Clicks, ' +
                                  'Impressions, Cost FROM
                              KEYWORDS_PERFORMANCE_REPORT ' +
                                  'WHERE LabelId = "' + label.getId() + '"');

                              var report = AdsApp.report('SELECT AdGroupId, Id,
                              Clicks, ' +
Build a long query using          'Impressions, Cost FROM
IN clause (not                KEYWORDS_PERFORMANCE_REPORT WHERE ' +
                                  'AdGroupId IN (123, 456) and Id in (123,345,
recommended)
                              456…)');



Account updates
Batch changes



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When you make changes to an Google Ads entity, Google Ads scripts doesn't execute the change
immediately. Instead, it tries to combine multiple changes into batches, so that it can issue a
single request that does multiple changes. This approach makes your scripts faster and reduces
the load on Google Ads servers. However, there are some code patterns that force Google Ads
scripts to flush its batch of operations frequently, thus causing your script to run slowly.

Consider the following script that updates the bids of a list of keywords.

     Coding approach                                     Code snippet
                              var keywords = AdsApp.keywords()
                                  .withCondition('Clicks > 50')
                                  .withCondition('CampaignName = "Campaign 1"')
                                  .withCondition('AdGroupName = "AdGroup 1"')
                                  .forDateRange('LAST_MONTH')
                                  .get();

                              var list = [];
                              while (keywords.hasNext()) {
Keep track of updated           var keyword = keywords.next();
elements (recommended)          keyword.bidding().setCpc(1.5);
                                list.push(keyword);
                              }

                              for (var i = 0; i < list.length; i++) {
                                var keyword = list[i];
                                Logger.log('%s, %s', keyword.getText(),
                                    keyword.bidding().getCpc());
                              }

                              var keywords = AdsApp.keywords()
                                  .withCondition('Clicks > 50')
                                  .withCondition('CampaignName = "Campaign 1"')
                                  .withCondition('AdGroupName = "AdGroup 1"')
                                  .forDateRange('LAST_MONTH')
                                  .get();
Retrieve updated elements
in a tight loop (not      while (keywords.hasNext()) {
recommended)                var keyword = keywords.next();
                                  keyword.bidding().setCpc(1.5);
                                  Logger.log('%s, %s', keyword.getText(),
                                      keyword.bidding().getCpc());
                              }



The second approach is not recommended since the call to keyword.bidding().getCpc()
forces Google Ads scripts to flush the setCpc() operation and execute only one operation at a
time. The first approach, while similar to the second approach, has the added benefit of
supporting batching since the getCpc() call is done in a separate loop from the one where
setCpc() is called.

Don't leave your selectors in an indeterminate state



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When you update a list of entities, make sure your code doesn't break the iterator's selector
condition as a side effect. This leaves the selector in an indeterminate state and may cause
unexpected behavior.

Consider the following code snippet that pauses a list of keywords.

     Coding approach                                      Code snippet
                              var list = [];

                              var keywords = AdsApp.keywords()
                                  .withCondition('Status="ENABLED"')
                                  .get();

                              while (keywords.hasNext()) {
Keep a separate list for        var keyword = keywords.next();
entities (recommended)          list.push(keyword);
                              }

                              for (var i = 0; i < list.length; i++) {
                                list[i].pause();
                              }

                              var keywords = AdsApp.keywords()
                                  .withCondition('Status="ENABLED"')
                                  .get();
Update the entities within
the iterator loop (not     while (keywords.hasNext()) {
                             var keyword = keywords.next();
recommended)
                                  keyword.pause();
                              }



The second code snippet may skip some keywords. This happens because you are pausing the
keywords within the iterator (Status="PAUSED") and this breaks the original selector condition
associated with the iterator (Status="ENABLED"). The first approach works since we are keeping
track of the entities we want to modify, and updating them once we have iterated through all the
entities.

Use builders when possible

Google Ads scripts support two ways to create new objects—builders and creation methods.
Builders are more flexible than creation methods, since it gives you access to the object that is
created from the API call.

Consider the following code snippets:

     Coding approach                                      Code snippet
Use builders                  var operation = adGroup.newKeywordBuilder()
(recommended)                     .withText('shoes')




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                                  .build();
                              var keyword = operation.getResult();

                              adGroup.createKeyword('shoes');
                              var keyword = adGroup.keywords()
Use creation methods (not         .withCondition('KeywordText="shoes"')
recommended)                      .get()
                                  .next();



The second approach is not preferred due to the extra selection operation involved in retrieving
the keyword. In addition, creation methods are also deprecated.

However, keep in mind that builders, when used incorrectly, can prevent Google Ads scripts
from batching its operations.

Consider the following code snippets that create a list of keywords, and prints the ID of the
newly created keywords:

     Coding approach                                     Code snippet
                              var keywords = [‘foo’, ‘bar’, ‘baz’];

                              var list = [];
                              for (var i = 0; i < keywords.length; i++) {
                                var operation = adGroup.newKeywordBuilder()
                                    .withText(keywords[i])
                                    .build();
                                list.push(operation);
Keep track of updated         }
elements (recommended)
                              for (var i = 0; i < list.length; i++) {
                                var operation = list[i];
                                var result = operation.getResult();
                                Logger.log('%s %s', result.getId(),
                                    result.getText());
                              }

                              var keywords = [‘foo’, ‘bar’, ‘baz’];

                              for (var i = 0; i < keywords.length; i++) {
                                var operation = adGroup.newKeywordBuilder()
Retrieve updated elements           .withText(keywords[i])
in a tight loop (not                .build();
                                var result = operation.getResult();
recommended)
                                Logger.log('%s %s', result.getId(),
                                    result.getText());
                              }



The second approach is not preferred because it calls operation.getResult() within the same
loop that creates the operation, thus forcing Google Ads scripts to execute one operation at a



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time. The first approach, while similar, allows batching since we call operation.getResult() in a
different loop than where it was created.

Consider using bulk uploads for large updates

A common task that developers perform is to run reports and update entity properties (e.g.
keyword bids) based on current performance values. When you have to update a large number of
entities, bulk uploads tend to give you better performance. For instance, consider the following
scripts that increase the MaxCpc of keywords whose TopImpressionPercentage > 0.4 for the
last month:

Coding approach                                     Code snippet

                    var report = AdsApp.report(
                      'SELECT AdGroupId, Id, CpcBid FROM
                    KEYWORDS_PERFORMANCE_REPORT ' +
                      'WHERE TopImpressionPercentage > 0.4 DURING LAST_MONTH');

                    var upload = AdsApp.bulkUploads().newCsvUpload([

                    report.getColumnHeader('AdGroupId').getBulkUploadColumnName(),
                      report.getColumnHeader('Id').getBulkUploadColumnName(),
Use bulk upload report.getColumnHeader('CpcBid').getBulkUploadColumnName()]);
(recommended) upload.forCampaignManagement();

                    var reportRows = report.rows();
                    while (reportRows.hasNext()) {
                      var row = reportRows.next();
                      row['CpcBid'] = row['CpcBid'] + 0.02;
                      upload.append(row.formatForUpload());
                    }

                    upload.apply();

                    var reportRows = AdsApp.report('SELECT AdGroupId, Id, CpcBid
                    FROM ' +
                        'KEYWORDS_PERFORMANCE_REPORT WHERE TopImpressionPercentage
                    > 0.4 ' +
                        ' DURING LAST_MONTH')
                        .rows();

Select and      var map = {
update keywords };
by ID (less
                while (reportRows.hasNext()) {
optimal)
                      var row = reportRows.next();
                      var adGroupId = row['AdGroupId'];
                      var id = row['Id'];

                      if (map[adGroupId] == null) {
                        map[adGroupId] = [];
                      }




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                        map[adGroupId].push([adGroupId, id]);
                    }

                    for (var key in map) {
                      var keywords = AdsApp.keywords()
                          .withCondition('AdGroupId="' + key + '"')
                          .withIds(map[key])
                          .get();

                      while (keywords.hasNext()) {
                        var keyword = keywords.next();
                        keyword.bidding().setCpc(keyword.bidding().getCpc() +
                    0.02);
                      }
                    }



While approach 2 gives you pretty good performance, approach 1 is preferred in this case
because

       Google Ads scripts has a limit on the number of objects that can be retrieved or updated
        in a single run, and the select and update operations in the second approach counts
        towards that limit.
       Bulk uploads have higher limits both in terms of number of entities it can update, and the
        overall execution time.

Group your bulk uploads by campaigns

When you create your bulk uploads, try to group your operations by the parent campaign. This
increases efficiency and decreases the chance of conflicting changes / concurrency errors.

Consider two bulk upload tasks running in parallel. One pauses ads in an ad group; the other
adjusts keyword bids. Even though the operations are unrelated, the operations may apply to
entities under the same ad group (or two different ad groups under the same campaign). When
this happens, the system will lock the parent entity (the shared ad group or campaign), thus
causing the bulk upload tasks to block on each other.

Google Ads scripts can optimize execution within a single bulk upload task, so the simplest thing
to do is to run only one bulk upload task per account at a time. If you decide to run more than
one bulk upload per account, then ensure that the bulk uploads operate on mutually exclusive list
of campaigns (and their child entities) for optimal performance.

Reporting
Use reports for fetching stats




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When you want to retrieve large amounts of entities and their stats, it is often better to use
reports rather than standard AdsApp methods. The use of reports is preferred due to the
following reasons:

        Reports give you better performance for large queries.
        Reports will not hit normal fetching quotas.

Compare the following code snippets that fetch the Clicks, Impressions, Cost and Text of all
keywords that received more than 50 clicks last month:

        Coding approach                                     Code snippet
                               var report = AdsApp.report(
                                   'SELECT Criteria, Impressions, Clicks, Cost' +
                                   ' FROM KEYWORDS_PERFORMANCE_REPORT WHERE Clicks >
                               50 DURING' +
                                   ' LAST_MONTH');

                               var rows = report.rows();
                               while (rows.hasNext()) {
Use reports                      var row = rows.next();
(recommended)                    Logger.log('Keyword: %s Impressions: %s ' +
                                     'Clicks: %s Ctr: %s',
                                     row['Criteria'],
                                     row['Impressions'],
                                     row['Clicks'],
                                     row['Cost']);
                               }

                               var keywords = AdsApp.keywords()
                                   .withCondition('Clicks > 50')
                                   .forDateRange('LAST_MONTH')
                                   .get();
                               while (keywords.hasNext()) {
                                 var keyword = keywords.next();
                                 var stats = keyword.getStatsFor('LAST_MONTH');
Use AdsApp iterators (not        Logger.log('Keyword: %s Impressions: %s ' +
recommended)                         'Clicks: %s Ctr: %s',
                                     keyword.getText(),
                                     stats.getImpressions(),
                                     stats.getClicks(),
                                     stats.getCost());
                               }



The second approach is not preferred because it iterates over the keywords and retrieves the stats
one entity at a time. Reports perform faster in this case since it fetches all the data in a single call
and streams it as required. In addition, the keywords retrieved in the second approach is counted
towards your script's quota for number of entities retrieved using a get() call.

Don't run reports in a tight loop




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While reports are efficient in returning data, creating a report itself is a costly operation, so one
should try to minimize the number of reports that a script creates during its runtime, ideally
under 100.

Consider the following code snippets that generate a report with the following columns:

AdGroupId, AdGroupName, EstimatedTotalConversions
     Coding approach                                       Code snippet
                               var list = [];

                               var report = AdsApp.report('SELECT AdGroupId,
                                  AdGroupName, EstimatedTotalConversions FROM
                                  ADGROUP_PERFORMANCE_REPORT DURING
                                  LAST_MONTH');

                               var rows = report.rows();
Use reports only               while (rows.hasNext()) {
(recommended)                    var row = rows.next();
                                 list.push({
                                   "Id": row["AdGroupId"],
                                   "Name": row["AdGroupName"],
                                   "EstimatedTotalConversions":
                                        row["EstimatedTotalConversions"]
                                 });
                               }

                               var list = {};

                               var adGroupIterator = AdsApp.adGroups().get();

                               while (adGroupIterator.hasNext()) {
                                 var adGroup = adGroupIterator.next();
                                 list[adGroup.getId()] = {
                                   "Id": adGroup.getId(),
                                   "Name": adGroup.getName()
                                 }
                               }
Run reports and Iterators var report = AdsApp.report("SELECT AdGroupId, " +
separately (less optimal)     "EstimatedTotalConversions " +
                                   "FROM ADGROUP_PERFORMANCE_REPORT DURING
                               LAST_MONTH");

                               var rows = report.rows();
                               while rows.hasNext()) {
                                 var row = rows.next();
                                 var temp = list[row["AdGroupId"]];
                                 temp["EstimatedTotalConversions"] =
                                    row["EstimatedTotalConversions"]
                               }




                                                                                                 2332
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                              var list = {};

                              var adGroupIterator = AdsApp.adGroups().get();

                              while (adGroupIterator.hasNext()) {
                                var adGroup = adGroupIterator.next();
                                var report = AdsApp.report("SELECT AdGroupId,
                                    EstimatedTotalConversions FROM
Run reports and iterators           ADGROUP_PERFORMANCE_REPORT WHERE AdGroupId =
in a tight loop (not                " + adGroup.getId() + " DURING LAST_MONTH")
                                    .rows().next();
recommended)
                                list[adGroup.getId()] = {
                                  "Id": adGroup.getId(),
                                  "Name": adGroup.getName(),
                                  "EstimatedTotalConversions":
                              report["EstimatedTotalConversions"]
                                }
                              }



The first approach is most recommended because you get all the necessary values from the
AD_PERFORMANCE_REPORT itself. The second approach is less optimal since the code iterates over
the list of ad groups and then runs an additional report to get the missing stat value. However,
some developers prefer this approach due to ease of iterating over a collection. The third
approach is the worst in terms of performance since it runs one report for each ad group.

Ads Manager (MCC) scripts
Prefer executeInParallel over serial execution

When writing scripts for manager accounts, use executeInParallel() instead of serial
execution when possible. executeInParallel() gives your script more processing time (up to
one hour) and up to 30 minutes per account processed (instead of 30 minutes combined for serial
execution). See our limits page for more details.

Spreadsheets
Use batch operations when updating spreadsheets

When updating spreadsheets, try to use the bulk operation methods (e.g. getRange()) over
methods that update one cell at a time.

Consider the following code snippet that generates a fractal pattern on a spreadsheet.

     Coding approach                                     Code snippet




                                                                                           2333
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                              var colors = new Array(100);
                              for (var y = 0; y < 100; y++) {
                                xcoord = xmin;
                                colors[y] = new Array(100);
                                for (var x = 0; x < 100; x++) {
Update a range of cells in        colors[y][x] = getColor_(xcoord, ycoord);
a single call                     xcoord += xincrement;
                                }
(recommended)
                                ycoord -= yincrement;
                              }
                              sheet.getRange(1, 1, 100,
                              100).setBackgroundColors(colors);

                              var cell = sheet.getRange('a1');
                              for (var y = 0; y < 100; y++) {
                                xcoord = xmin;
                                for (var x = 0; x < 100; x++) {
                                  var c = getColor_(xcoord, ycoord);
Update one cell at a time         cell.offset(y, x).setBackgroundColor(c);
(not recommended)                 xcoord += xincrement;
                                }
                                ycoord -= yincrement;
                                SpreadsheetApp.flush();
                              }



While Google Spreadsheets tries to optimize the second code snippet by caching values, it still
gives you poor performance compared to the first snippet, due to the number of API calls being
made.

Was this helpful?
Send feedback

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its affiliates.

Last updated 2021-07-02 UTC.

[{ "type": "thumb-down", "id": "missingTheInformationINeed", "label":"Missing the information
I need" },{ "type": "thumb-down", "id": "tooComplicatedTooManySteps", "label":"Too
complicated / too many steps" },{ "type": "thumb-down", "id": "outOfDate", "label":"Out of
date" },{ "type": "thumb-down", "id": "samplesCodeIssue", "label":"Samples / code issue" },{
"type": "thumb-down", "id": "otherDown", "label":"Other" }] [{ "type": "thumb-up", "id":
"easyToUnderstand", "label":"Easy to understand" },{ "type": "thumb-up", "id":
"solvedMyProblem", "label":"Solved my problem" },{ "type": "thumb-up", "id": "otherUp",
"label":"Other" }] Need to tell us more?

       Connect



                                                                                             2334
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                                          o   Blog
                                          o   Facebook
                                          o   Medium
                                          o   Twitter
                                          o   YouTube
                                      Programs
                                          o   Women Techmakers
                                          o   Google Developer Groups
                                          o   Google Developers Experts
                                          o   Accelerators
                                          o   Developer Student Clubs
                                      Developer consoles
                                          o   Google API Console
                                          o   Google Cloud Platform Console
                                          o   Google Play Console
                                          o   Firebase Console
                                          o   Actions on Google Console
                                          o   Cast SDK Developer Console
                                          o   Chrome Web Store Dashboard
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Android
                                      Chrome
                                      Firebase
                                      Google Cloud Platform
                                      All products

                                      Terms
                                      Privacy
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              English

Select an optionEnglish

                                      English
                                      Bahasa Indonesia
                                      Deutsch
                                      Español
                                      Français
                                      Português – Brasil
                                      Русский
                                      中文 – 简体
                                      日本語




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    한국어




                                                                       2336
                                                                        2531
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    Advertising Policies Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                       Next


    Ad format requirements
    In order to help you provide a quality user experience and deliver attractive,
    professional-looking ads, we only allow ads that comply with specific requirements for
    each ad format. Review the requirements for all ad formats that you're using.

    Note that we don't allow Non-family safe ads in image ads, video ads, and other non-
    text ad formats. Read more about our Adult content policy.

    Advertisers participating in beta programs of new ad formats should reach out to their
    Google Ads representatives or Google Ads customer support to learn about format-
    specific policy requirements.

   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements



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   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska




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28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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44. English

    Send feedback about our Help Center
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log



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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes
    Send feedback on...
    This help content & information General Help Center experience




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    Advertising Policies Help

    Sign in
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    This help content & information

    General Help Center experience
                                                                                                Next


    Ad requirements for YouTube
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    While all ads must comply with our advertising policies, this article outlines the
    additional requirements your ad assets must meet in order for your campaigns to serve
    on YouTube.

    Prohibited categories
    Exaggerated or inaccurate claims
    The linked
    image cannot




      Assets that contain exaggerated or false claims for a product or a service or to
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    mislead users

    Examples:

   False claims related to money or overnight success (for example, ads that tell people
    how to get rich in a short time frame)
   False or exaggerated claims around curing diseases

    Offensive language
    The linked
    image cannot




                        Assets that use inappropriate or offensive language
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    Example:




                                                                                            2341
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   Assets containing obscene or offensive language, which may offend users
   Derogatory language that incites hatred against, promotes discrimination of, or
    disparages an individual or group that is associated with systemic discrimination

    Negative events and imagery
    The linked




       Assets that include mentally-distressing, disturbing, repulsive, or gross content; or
    image cannot
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    scary content related to injuries, death, and decay

    Examples:

   Dangerous actions that could potentially result in bodily harm or encourages imitation
    of the action, such as dangerous challenges
   Dramatized or animated content that is excessively gory or realistic
   Funerals that show people weeping, mourning, or screaming
   Videos designed to scare you intentionally or that contain footage of distressing
    accidents or natural disasters (enforcement applies to simulated or real content)
    The linked
    image cannot




                        Allowed with limitations
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




   Content such as movies, TV shows, news channels, and video games are permitted in
    ads, but should avoid showing gory content

    Improper content
    The linked
    image cannot




                        Assets that focus on specific body parts or health conditions
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    Examples:

   Medical or dental surgery procedures that show blood, guts, gore, bodily fluids, or tooth
    decay
   Emphasizing body parts (for example, zooming in on belly fat)
   Showing bodily symptoms (for example, fluids or rashes)
    The linked
    image cannot




                        Assets with nudity, or that include racy or sexually suggestive topics
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    Examples:

   Adult content promotions where the majority of the ad is focused on nudity or sexual
    topics
   Ads that promote dating using sexually-explicit imagery or language
    The linked
    image cannot




                        Allowed with limitations
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




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   Ads for weight loss, hair loss, skin conditions, and other health conditions are allowed
    as long as the imagery isn’t disturbing
   Promotion of products like swimwear or spa treatments are permitted as long as the
    content is not overtly sexualized

    YouTube masthead content requirements
    YouTube masthead ads are the ads that YouTube users see at the top of the YouTube
    homepage. This type of ad is the most prominent Google advertising placement
    available to advertisers. To ensure that we provide a high-quality consumer ad
    experience, YouTube masthead ads must comply with all Google Ads policies and
    YouTube ad requirements. We will review each YouTube masthead ad asset for
    compliance with the YouTube masthead ad content requirements listed below, which
    apply in addition to the Google Ads policies and YouTube ad requirements. The
    YouTube masthead ad content requirements may be more restrictive than the ad
    requirements for other platforms and surfaces, meaning disapproved YouTube
    masthead ad assets may continue to run on Google’s other owned and operated
    properties.

    Prohibited categories

    Gambling
    The linked
    image cannot




       Assets that depict or reference gambling-related content, including offline gambling,
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    online gambling, online non-casino games, and social casino games.

    Elections and political content
    The linked
    image cannot




                        Assets related to elections or politics
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    Alcohol
    The linked
    image cannot




       Assets that depict or reference alcohol-related content, including ads promoting the
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    sale of alcohol as well as branding or informational ads focusing on alcoholic
    beverages

    Prescription drug terms
    The linked
    image cannot




                        Assets that depict or reference prescription drug terms
    be display ed.
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    Give feedback about this article
    Choose a section to give feedback on

                                                          Was this helpful?



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                                           YesNo




                                           Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
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   Structured snippet requirements
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   Video ad requirements

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     English?

    English

1. català



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2. dansk
3. Deutsch
4. eesti
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8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
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30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English




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    This help content & information General Help Center experience
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback



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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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services, per our Privacy & Terms.




                                                                                2347
                                                                                 2542
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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
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App ad requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

App ads can be used to encourage app installation or app engagement. App ads,
extensions, and the apps they promote are subject to the standard Google Ads policies
and the requirements below.

When reviewing app ads, we look at a variety of elements, such as the ad, the developer
name or app title, the app icon, the app installation page, and the app itself for
compliance with our policies.

Note that the Google Play Store might exclude certain apps from being promoted within
the store, even though the app continues to be available. App promotion ads for such
apps may not serve within the Google Play Store.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to app ads and are often
associated with disapprovals.

      Compliant app installation page and app metadata

      The installation page for an app must comply with our advertising policies
      because application metadata can be used in the ad during serving.

      App versions



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 Due to the nuanced nature of app binary versioning, we might require that
 multiple versions of an app are policy compliant in order to allow ads for
 that app to run. This is because app stores can allow multiple versions of
 an app to be published at the same time for different devices, and app
 engagement ads can work with multiple versions of the same app.

 App violates policy

 If your app is disapproved, follow the instructions in the Destination
 requirements policy to fix your app and get your ads running again.

 Sexual content

 To keep ads relevant and safe for users, Google restricts sexual content in
 certain circumstances. See the Sexual content policy for more
 information.

 Editorial

 For app ads, the app title and developer name is sometimes used in the ad
 text and needs to comply with our Editorial policies, such as Capitalization,
 Punctuation, and Style and spelling.

 Style and spelling

 According to the Style and spelling policy, ads must be comprehensible
 and easy to understand. For example, interactive app ads should prompt
 the user with the expected action whenever options are confusing or
 ambiguous.

 Unidentified business

 App ads must comply with our Unidentified business policy by clearly
 showing the app name throughout the ad interaction.

 Image quality

 Images must comply with our Image quality policy. For example, we don’t
 allow strobing, flashing, or otherwise distracting images. For HTML5 app
 ads that include an interactive demo of a game or app features, the demo
 may include imagery that flashes or strobes, but other parts of ad content
 such as install or download buttons must comply with this policy.

 Destination requirements



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 For deep link ads, ensure that you have set up your deep link URL
 correctly. We currently don’t support web redirects (for example, goo.gl or
 third party tracking links) for app engagement ads. For App promotion
 ads, ensure that any third-party tracking redirects take the user to the
 correct app on the correct store. Apps can’t be promoted in places where
 the application is not available for download. See the full Destination
 requirements policy for more information.

 Destination experience

 Apps must comply with our Destination experience policy. For example,
 we don’t allow sign-in barriers during an ad interaction to access
 promoted content. If your app requires sign-in or activation, ensure that
 after a user has completed this during first use, the app does not prompt
 for sign-in or activation during an ad interaction. The app ad must allow
 the user to close the ad within 5 seconds after the ad is first displayed.

 Misleading content

 Ensure that your app complies with our Misleading Content policy. Be
 clear about the content and functionality of your app and any prerequisites
 that your app might have, such as other apps, peripheral devices, or
 sensors. Prerequisite apps must be available in the appropriate app store
 and compliant with our policies. Don’t attempt to trick the user into
 accidentally clicking the ad. For example, you can't show an install button
 suddenly or unexpectedly during an ad interaction.

 Unwanted software

 Apps must comply with Google's Unwanted Software policy. This includes
 device hardware and network usage that could be deemed harmful or
 unexpected.

 Trademarks

 Google may remove ads in response to trademark owner complaints.
 Advertisers are responsible for proper trademark use in their ad text, app
 icon, app title, and developer name. For more information, please visit our
 Trademark policy page.

 Universal links and app links

 If your ad destination uses universal links or app links, make sure both the
 web and the app destinations are compliant with our policies.




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    Ad format requirements
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   App ad requirements
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   Call extension requirements
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   Custom Lightbox ad requirements
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   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
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    English?

   English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
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31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）



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42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



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   Submit feedback


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    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Advertising Policies Help

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General Help Center experience
                                                                                                     Next


Call ad requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Call ads are text ads that include a phone number and are designed to encourage calls
rather than clicks. They appear exclusively on mobile phones. Call ads are subject to the
standard Google Ads policies and the requirements below.

Business name requirements in call ads
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           An inaccurate business name, or a business name that does not
      clearly represent the advertised business or disambiguate from similar
      businesses
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Promotional language in the business name field

                                                  Examples: "Buy Acme Shoes" or "Sale at Acme Home
                                                  Services"

Given the wide variety of business names, there are special considerations for the
following:

      Domain-based business names: You can use your domain name as your
      business name, using appropriate spacing between words. For example,



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       www.acmesolutions.com could be identified as "Acme Solutions" in the
       ad.

       Resellers and authorized dealers: If you are an authorized reseller or
       dealer for a product or service, use appropriate qualifying language. For
       example, a car dealer of Acme vehicles in San Antonio could use the
       business name "Acme of San Antonio."

Statement of business name in phone calls
The following applies to all call ads:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           When answering calls from users who’ve clicked on their call ad,
       advertisers must begin the call by stating their business name, as it
       appears in their call ads.

Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to call ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.

       Unacceptable phone number

       Phone numbers in ads and extensions must be accurate, active, and
       relevant to the business being advertised. See the Unacceptable phone
       number policy for more information.

       Unverified phone number

       To promote a better user experience, phone numbers must be verified by
       Google before they can be used in ads and extensions. See the Unverified
       phone number policy for more information.

       Sexual content

       To keep ads relevant and safe for users, Google restricts sexual content in
       certain circumstances. See the Sexual content policy for more
       information.

       Unavailable offers




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          Products or services should be priced accurately, easily found at the ad's
          destination, and match with headers and descriptions. See the Unavailable
          offers policy for more information.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
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   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
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   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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8. español (Latinoamérica)
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14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
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24. slovenčina
25. slovenščina
26. suomi
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29. Türkçe
30. čeština
31. Ελληνικά




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32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


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    Verification programs
    Upcoming and recent changesPast changes


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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Advertising Policies Help

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Call extension requirements
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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Call extensions add a phone number to text ads. Call extensions are subject to the
standard Google Ads policies. See below for information about Google Ads policy
issues that are commonly associated with call extensions.

Related policies and common disapprovals
The following Google Ads policies are particularly relevant to call extensions and are
often associated with disapprovals.

      Unverified phone number

      To promote a better user experience, phone numbers must be verified by
      Google before they can be used in ads and extensions. See the Unverified
      phone number policy for more information.

      Unacceptable phone number

      Phone numbers in ads and extensions must be accurate, active, and
      relevant to the business being advertised. See the Unacceptable phone
      number policy for more information.
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    Ad format requirements
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   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
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   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
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     English?

    English




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1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
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16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English



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   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Privacy Policy



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   Submit feedback



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Minor errors - formatting issues, typos, and / or broken links

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Advertising Policies Help

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Callout extension requirements
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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Callout extensions allow ads to include additional information about a business or its
products and services. Callout extensions are subject to the standard Google Ads
policies and the requirements below.

Punctuation and symbols in callout extensions
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Punctuation and symbols in callout text that serve no purpose other
      than to draw attention to the ad

                                                Examples: Exclamation marks, punctuation at the beginning
                                                of the text, adding a ► symbol

Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to callout extensions and are
often associated with disapprovals. Learn about what happens if you violate our
policies.




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          Repetition

          To maintain a professional appearance in ads, we don’t allow excessive or
          gimmicky repetition of words or phrases. See the Repetition policy for
          more information. For callout extensions, this means that the text can’t
          repeat within a callout or from other callouts, ad text, or sitelink text within
          the same ad group, campaign, or account. For example, a callout
          extension would be disapproved if ad text and ad group, campaign, or
          account-level callouts include the text "Free shipping."

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
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   App ad requirements
   Call ad requirements
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   Callout extension requirements
   Custom Lightbox ad requirements
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   Local Services platform policies
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   Structured snippet requirements
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13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina




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26. suomi
27. svenska
28. Tiếng Việt
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o   List of ad policies



o   Review process



o   Verification




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   Privacy Policy



   Terms of Service



   Submit feedback


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    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content




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Advertising Policies Help

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Custom Lightbox ad requirements
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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Custom Lightbox ads must be hosted in Studio, trafficked from Campaign Manager 360,
and implemented in Google Ads.

Lightbox templates are available through Google Web Designer. These templates allow
users to create custom cross-device fullscreen Lightbox ads that adapt to various
screen sizes and orientations with little to no coding. Once created, Google Web
Designer publishes and uploads your creative directly to Studio. The templates are
customizable in Google Web Designer and come with a supplementary build guide.

As an alternative to Google Web Designer, HTML5 Lightbox starter files are also
available in the Rich Media Gallery. The HTML5 Lightbox build guide provides a full
walkthrough of these files and explains how to use them. See our gallery for sample
Lightbox creatives.

Formatting
Load
Attributes
Video and animation
Serving and tracking
HTML5 feature readiness
Supported devices

Lightbox ads and their associated websites or apps cannot contain Sexual content. For
more information see the Sexual content policy.



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    Submissions and turnaround times
    Custom Lightbox ads

    Creative assets for your Lightbox ads (or creatives published to Studio QA) should be
    delivered to Studio no later than 9-11 business days before your campaign's start date.
    Note that, depending on creative volume and complexity, production and QA might take
    longer.

    Submission and turnaround times vary by region. Please contact your Google
    representative for region-specific rules.

    A maximum of 2 creative revisions for site-served ads are allowed per 90-day period for
    active campaigns.

            Turnaround times vary as follows:

           Post-production and QA: 4 business days
           Revisions and client approval: 2-3 business days
           Trafficking in Campaign Manager 360: 1-2 business days
           Google Display Network site testing and beta testing: 2 business days

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    Ad format requirements
   Ad requirements for YouTube
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   Call ad requirements
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   Callout extension requirements
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   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements



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   Smart display campaign requirements
   Structured snippet requirements
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   Video ad requirements

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     English?

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14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk




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20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies




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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
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Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Discovery ads format requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Discovery campaigns combine audience targeting features and visually engaging
formats to help you better personalize your ads within Google's feeds to inspire
customer action. This article outlines the requirements your Discovery ad assets
(headline, description, or image) must meet in order for your Discovery campaigns to
serve.

Users visit the YouTube Home and Watch Next feeds, Google Discover*, and the Gmail
Promotions and Social tabs to browse and explore new content that aligns with their
interests. To ensure that we provide a high-quality consumer ad experience on Google’s
owned and operated surfaces, Discovery ads must comply with all Google Ads and
personalization policies. In addition, we will review each Discovery ad asset for
compliance with the Discovery ads requirements listed below, which will take priority in
the event there is conflict with the Google Ads and personalization policies.The
Discovery ads requirements are more restrictive than the ads requirements for other
platforms and surfaces, meaning disapproved Discovery ad assets may continue to run
on Google’s other owned and operated properties.

*Ads on Google Discover are currently unavailable for consumers in Australia, France,
and Germany.

Discovery ads requirements
You can view any asset-level disapprovals in your Discovery campaign asset report.




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Prohibited categories

Regulated goods
Weapons or criminality
Cash giveaways or gambling-related content

Improper content
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that depict or reference:

                                       Sexually suggestive content
                                       Unnecessarily exposed body parts
                                       Bodily fluids
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that depict invasive medical procedures

                                        Example:
                                         The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Negative events
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that depict negative life events including (but not limited to):

                                       Divorce, breakups or family separation, home foreclosures, financial
                                        difficulties, accidents and personal injuries (non exhaustive examples
                                        include sport, professional/work, medical and general accidents and
                                        injuries), or damage to objects or properties (non exhaustive examples
                                        include vandalism or destroyed personal property)
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that depict or reference natural or man-made crises.
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Assets that depict or reference addiction recovery including, rehabilitation facilities
and products that aid in addiction recovery.




                                                                                                                                                                                                     2380
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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that depict death or death-related content including but not limited to:

                                       A dead person or animal
                                       A funeral home, mortuary, cemetery, mausoleum
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Assets that depict trauma or pain including (but not limited to) a person grieving or
crying.

                                        Examples:
                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




The linked
image cannot




                        Allowed with limitations
be display ed.
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




                                       Assets that reference services for a funeral home, mortuary, cemetery,
                                        mausoleum, and memorial services companies so long as they don’t
                                        depict any of the negative events listed above
                                       Assets that reference family and divorce services (attorney/law
                                        offices/counseling) so long as they don’t depict any of the negative events
                                        listed above
                                       Assets that reference insurance or event support services so long as they
                                        don’t depict any of the negative events listed above
                                       Assets that depict or reference the negative events listed above in a scene
                                        from a fictional work of entertainment (video game, TV-show, movie, etc.)



                                                                                                                                                                                                                                                                                                                                                                2381
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Dating-related prohibitions: specific demographic
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Assets that depict or reference dating services, or matchmakers for a certain age
group, ethnic group, or nationality group.

                                        Example:
                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Implied interactivity
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Assets that feature visual elements that appear to be interactive or clickable.

                                        Example:
                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Assets that make inaccurate statements or exaggerated claims, including (but not
limited to) suggesting that people have searched for the user or have sent the user a
message while advertising a dating site.

                                        Example:
                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                                                    2382
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Selfie image
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Selfie images are not allowed except for images related to relevant products and
services, including (but not limited to) selfie sticks and photography.

                                       Example:
                                        The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Unclear image

Blurry                                  The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Distorted                               The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Poorly cropped                          The link ed image cannot be display ed. The file may have been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be displayed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




Offensive language




                                                                                                                                                                                                                                                                                                                                                                2383
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    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




        Assets containing obscene or offensive language, including (but not limited to)
    profanity and sexual innuendos.

    Confusing text
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




        Assets that use placeholder text or don’t use commonly accepted spelling or
    grammar in a way that makes the subject of the asset difficult to understand.

    Give feedback about this article
    Choose a section to give feedback on

                                                                     Was this helpful?
                                                                         YesNo




                                                                         Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)




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   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά




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32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2388
                                                                                 2583
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Advertising Policies Help

Sign in
                                                                       Send feedback on...

This help content & information

General Help Center experience
                                                                                                            Next


Dynamic ad requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Dynamic ads show personalized content to customers from a feed you control. Ads
show the new products, services, or promotions you update on your feed. Dynamic ads
are subject to the standard Google Ads policies and the requirements below.

Feed image format
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Feed images in an unsupported format

                                                  Note: Images are only allowed in PNG, JPG, JPEG, or GIF
                                                  format

Learn how to fix a disapproved ad or extension. If you can’t convert the image to meet
this requirement, upload a different image that complies with the policy. For best
results, save images in RGB color code with an ICC profile attached.

Feed image file size
The following is not allowed:




                                                                                                            2389
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Feed images that are larger than 11.4 MB
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Feed images with more than 6 million pixels

Learn how to fix a disapproved ad or extension. If you can’t edit the image to meet this
requirement, upload a different image that complies with the policy. For best results,
size your images to 300px by 300px at 72 dpi.

Unavailable feed image
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Images in a feed that are missing, blocked by permissions, or
      otherwise inaccessible
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Images that can’t be retrieved because of problems with the website’s
      SSL certificate

      Troubleshooter: Unavailable feed image

Unacceptable address format
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Addresses that are not formatted correctly

      Troubleshooter: Unacceptable address format

Related policies and common disapprovals
The following Google Ads policies are especially relevant to dynamic ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.

      Sexual content

      To keep ads relevant and safe for users, Google restricts sexual content in
      certain circumstances. See the Sexual content policy for more
      information.




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          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.
    Give feedback about this article
    Choose a section to give feedback on

                                       Was this helpful?
                                           YesNo




                                            Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements



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   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt




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29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log



                                                                            2393
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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
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    Upcoming and recent changesPast changes


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    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions



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Advertising Policies Help

Sign in
                                                Send feedback on...

This help content & information

General Help Center experience
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Dynamic search ad requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Dynamic search ads automatically generate ads and keywords for a campaign based on
the content of a landing page. Dynamic search ads are subject to the standard Google
Ads policies. See below for information about AdWords policy issues that are
commonly associated with this format.


Duplicate URLs in page feed
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Duplicate webpage URLs in your page feed are not allowed. Make
      sure that your page feed contains only unique URLs.

Related policies and common disapprovals
      Trademarks

      Google may remove ads or extensions in response to trademark owner
      complaints. Advertisers are responsible for proper trademark use in their
      ad text, assets, and business information. See the Trademarks policy for
      more information.




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          Destination not working

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.

          All URLs must lead to destination webpages that are set up correctly and
          work properly. See the Destination not working policy for more
          information.



          Editorial

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.

          The standard requirements for clarity, correct spelling, and use of
          capitalization and symbols apply to all ads. See the Editorial policy for
          more information.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements



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   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
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   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
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   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
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10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių




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16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




                                                                            2399
                                                                             2594
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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product




                                                                            2400
                                                                             2595
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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2401
                                                                                 2596
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Advertising Policies Help

Sign in
                                                                       Send feedback on...

This help content & information

General Help Center experience
                                                                                                                    Next


Form ads requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Affiliate Networks in Form ads
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Affiliate networks and lead generation businesses are not allowed

Related policies and common disapprovals
      Trademarks

      Google may remove ads or extensions in response to trademark owner
      complaints. Advertisers are responsible for proper trademark use in their
      ad text, assets, and business information. See the Trademarks policy for
      more information.

      Destination not working

      Google may remove ads or extensions in response to trademark owner
      complaints. Advertisers are responsible for proper trademark use in their
      ad text, assets, and business information. See the Trademarks policy for
      more information.




                                                                                                                    2402
                                                                                                                     2597
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          All URLs must lead to destination webpages that are set up correctly and
          work properly. See the Destination not working policy for more
          information.

          Editorial

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.


          The standard requirements for clarity, correct spelling, and use of
          capitalization and symbols apply to all ads. See the Editorial policy for
          more information.
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies



                                                                                      2403
                                                                                       2598
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   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi




                                                                            2404
                                                                             2599
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27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification




                                                                            2405
                                                                             2600
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o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions


                                                                            2406
                                                                             2601
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Do not share any personal info
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2407
                                                                                 2602
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Advertising Policies Help

Sign in
                                                                         Send feedback on...

This help content & information

General Help Center experience
                                                                                               Next


Gmail ad requirements
Gmail ads campaigns are now “read only”, which means that advertisers will not be able
to create new Gmail campaigns or make changes to existing campaigns. This
includes edits to any existing Gmail ads.

To continue serving ads on Gmail, we recommend that you create a Discovery
campaign. Discovery ads allow you to expand your reach from Gmail to other Google-
owned surfaces, which reach 3 billion people monthly and include YouTube and
Discover. Learn more about creating and managing Discovery ads

Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Gmail ads allow you to target users with sophisticated targeting signals and a high-
impact, message-like ad format. Users are shown a collapsed ad in the Promotions and
Social tabs of their Gmail account. The collapsed ad opens to an expanded ad that can
be designed to promote a variety of goals (including embedded forms or video). You
can also include links to an external site, app marketplace, or click-to-call.

Gmail ads are subject to the standard Google Ads policies, the personalized advertising
policies, and the requirements below.

Data collection in Gmail ads
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Collection of user-specific statistics



                                                                                               2408
                                                                                                2603
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                                        Note: This includes pixel placement and any connection to a
                                        user’s web browser cookie while they are in Gmail, prior to a
                                        click which will take the user out of Gmail. Post-click user
                                        statistics collection is permitted in accordance with your
                                        website’s privacy policy.
  The linked image cannot be
  display ed. The file may hav e been
  mov ed, renamed, or deleted. Verify
  that the link points to the correct
  file and location.




     Failure to link to the advertiser’s privacy policy when using embedded
 forms
  The linked image cannot be
  display ed. The file may hav e been
  mov ed, renamed, or deleted. Verify
  that the link points to the correct
  file and location.




     Requesting prohibited information from users with an embedded
 form

 List of permitted form fields
 Basic info                                                     Permitted form fields
 Category                                                       Name (First name, Last name)
                                                                Address
                                                                City
                                                                State
                                                                Zip code
                                                                Country
                                                                Email address
                                                                Phone number
                                                                Age
                                                                       13-18
                                                                       18-24
                                                                       25-34
                                                                       35-44
                                                                       45-54
                                                                       55-64
                                                                       65 or more
                                                                Gender
                                                                Best time to call
                                                                Program or product of interest
 Education                                                      Year graduated
                                                                Highest level of education
 Local and classifieds                                          Desired location of service
                                                                Type of service
 Finance/Insurance                                              Amount of loan (range)
                                        ranges for $ fields:    Currency
                                        0 - 14999               Finance type (loan, mortgage, credit card)
                                        15000 - 24999           Household income (range)
                                        25000 - 39999           Investible assets (range)
                                                                Life insurance cover amount (range)




                                                                                                             2409
                                                                                                              2604
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                                               40000 - 59999           Military member
                                               60000 - 74999           Own or rent (auto, home, etc.)
                                               75000 - 99999           Rate your credit
                                               100000+                        very poor
                                                                              poor
                                                                              fair
                                                                              good
                                                                              excellent
                                                                       What is your home worth? (range)
      Automotive                                                       Car make/model
      Travel                                                           Origin or destination
                                                                       Departure/return date
      B2B                                                              Company
                                                                       Job
                                                                       Title
                                                                       Number of employees
                                                                              1-10
                                                                              10-50
                                                                              50-100
                                                                              100-500
                                                                              more than 500

Learn how to fix a disapproved ad or extension.

Third-party serving in Gmail ads
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Third-party ad serving and third-party impression tracking
Learn how to fix a disapproved ad or extension.

Animation in Gmail ads
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Animated images or animation effects
Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals



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                                                                                                           2605
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The following Google Ads policies are especially relevant to Gmail ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.

      Personalized advertising

      Gmail ad advertisers must comply with our personalized advertising
      policies for all Gmail ads. Gmail ad advertisers can't use personalized
      advertising policy categories to target ads to users or to promote
      advertisers’ products or services. They also apply in Gmail ads that aren't
      targeted to users using keywords.

      Data collection and use

      All ads and extensions must follow the Data collection and use policies,
      which govern how much information you can collect and the specific ways
      you can use it.

      Sexual content

      To keep ads relevant and safe for users, Google restricts sexual content in
      certain circumstances. See the Sexual content policy for more
      information.

      Misleading content

      All information should be accurate and descriptive of what you’re
      advertising. See the Misleading content policy for more information. For
      example, the business name should clearly represent the advertised
      business.

      Unclear relevance

      All information should be relevant to what you’re advertising. For example,
      all submitted ad fields must represent the same advertiser and be relevant
      to the promoted product. See the policy on Unclear relevance for more
      information.

      Editorial

      The standard requirements for clarity, correct spelling, and use of
      capitalization and symbols apply to all ads. See the Editorial policy for
      more information.

      Trademarks



                                                                                    2411
                                                                                     2606
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          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.

    If your ads are marked "Eligible (limited)" review how this status impacts where your ad
    can show.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements



                                                                                        2412
                                                                                         2607
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   Structured snippet requirements
   Text ad requirements
   Video ad requirements

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский




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34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
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41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies



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   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




                                                                            2415
                                                                             2610
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services, per our Privacy & Terms.




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Advertising Policies Help

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                                    Send feedback on...

This help content & information

General Help Center experience
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Image extensions format requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Image extensions are ad extensions that allow you to upload rich, relevant images to
complement your existing text ads. With compelling visuals of products or services that
enhance the message of your text ad, image extensions can help drive performance for
your ads.

       Image extensions perform best when closely relevant to queries within the
        ad group or campaign.
       Images should convey useful information to the searcher and match the
        experience they will find on your landing page.
       Put your important content in the center 80% of the image.

To ensure that we provide a high-quality consumer ad experience, image extensions
must comply with all Google Ads and personalization policies. In addition, we will review
each image extension for compliance with the image extension requirements listed
below, which will take priority in the event there is conflict with the Google Ads and
personalization policies.The image extension requirements are more restrictive than the
ads requirements for other platforms and surfaces, meaning disapproved image
extensions may continue to run on Google’s other owned and operated properties.

Performance of an image extension may depend on image quality and relevance to the
associated keywords and ads in your Google Ads account. Images should highlight the
actual product experience and conform to the requirements outlined below.




                                                                                     2417
                                                                                      2612
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    Requirements for using image extensions:
    You should be able to use image extensions in your Google Ads account once your
    account has generated sufficient history on our platform and has met the following
    requirements:

   Account has been open for more than 90 days.
   Account has a good history of policy compliance.
   Account is in an eligible vertical or sub-vertical. Sensitive verticals or sub-verticals (for
    example, sexual content, alcohol, gambling) aren't eligible for image extensions.



    Disclaimer: By opting into image extensions, you confirm and acknowledge that

1. You (the advertiser) own all legal rights to publish images and to share those images
   with Google.
2. You hereby instruct Google to publish the shared images on your behalf for advertising
   purposes

    Image specifications


    Image resolution: PNG, JPG, static GIF

    Aspect ratio:

    Aspect ratio    Where can it show                                      Required
    Square (1x1)    Google.com, YouTube search via AdSense For Search      Yes
                    (Search Partners)
    Landscape       YouTube search via AdSense For Search (Search          Optional, but
    (1.91x1)        Partners)                                              recommended

    Note: You can crop images using the image picker during implementation



    Image resolution:

    Aspect ratio      Minimum pixelsRecommended pixels
    Square (1x1)      300 x 300     1200 x 1200
    Landscape (1.91x1)600 x 314     1200 x 628




                                                                                              2418
                                                                                               2613
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Maximum file size: 5120 KB

Recommended image safe area: Place the most important content in the center 80% of
the image

Image extension requirements
Text or graphic overlay
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Images with text or graphic overlay including brand logos or brand logos being
used as the image asset
                                                                                                                                                          The link ed image cannot be
                                                                                                                                                          displayed. The file may hav e been
                                                                                                                                                          moved, renamed, or deleted. Verify
                                                                                                                                                          that the link points to the correct
                                                                                                                                                          file and location.


The linked
image cannot
be display ed.
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …
                    Allowed
The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.
                                                                                                                                                                                                 Not allowed
                                                                                                                                                          The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




                                                                                                                                                                                                                                                                                                                      2419
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                                                                                                                                                          The link ed image cannot be
                                                                                                                                                          displayed. The file may hav e been
                                                                                                                                                          moved, renamed, or deleted. Verify
                                                                                                                                                          that the link points to the correct
                                                                                                                                                          file and location.


The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




                                                                                                                                                          The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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Image has too much blank space
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Images with excessive whitespace or the focus of the image is proportioned such
that the product or service offering cannot be recognized
                                                                                                                                                          The link ed image cannot be
                                                                                                                                                          displayed. The file may hav e been
                                                                                                                                                          moved, renamed, or deleted. Verify
                                                                                                                                                          that the link points to the correct
                                                                                                                                                          file and location.



The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …



The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Collage
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Images that are collaged or combined together in post production
The linked
image cannot




                        Allowed with limitations
be display ed.
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




                                                           Images of naturally occurring collages, including but not limited to,
                                                            scrapbooks, greeting cards, printing catalogues, or yearbooks




                                                                                                                                                                                                                                                                                                                      2421
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                                                                                                                                                          The link ed image cannot be
                                                                                                                                                          displayed. The file may hav e been
                                                                                                                                                          moved, renamed, or deleted. Verify
                                                                                                                                                          that the link points to the correct
                                                                                                                                                          file and location.


The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Blurry or unclear image
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Images that are blurry, unclear, unrecognizable




                                                                                                                                                                                                                                                                                                                      2422
                                                                                                                                                                                                                                                                                                                       2617
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                                                                                                                                                          The link ed image cannot be
                                                                                                                                                          displayed. The file may hav e been
                                                                                                                                                          moved, renamed, or deleted. Verify
                                                                                                                                                          that the link points to the correct
                                                                                                                                                          file and location.


The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Distorted images
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




    Images that are visually skewed or warped in a way that makes the subject of the
asset difficult to understand




                                                                                                                                                                                                                                                                                                                      2423
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                                                                                                                                                          The link ed image cannot be
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The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
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deleted. Verify …




The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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The linked
image cannot
be display ed.




                    Allowed                                                                                                Not allowed
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




                                                                                    The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Poorly cropped images
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




     Images that are cropped in a way that makes the subject of the asset difficult to
distinguish




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The linked
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be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
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The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




Prohibited content
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Images with nudity, including nudity used for artistic purposes
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                      Sexually suggestive images
The linked
image cannot




                        Allowed with limitations
be display ed.
The file may
hav e been
mov ed,
renamed, or
deleted. Verify …




                                                           Images for modeled clothing are allowed if there is good coverage and the
                                                            model is not showing excessive skin
                                                           Images that contain lingerie and bathing suits are allowed if they are
                                                            pictured as a flat lay or on a mannequin




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The linked
image cannot
be display ed.




                    Allowed                                                                                                                                                                      Not allowed
The file may
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deleted. Verify …




The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.   The link ed image cannot be display ed. The file may hav e been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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    The linked
    image cannot
    be display ed.




                        Allowed                                                                                                                                                                                         Not allowed
    The file may
    hav e been
    mov ed,
    renamed, or
    deleted. Verify …




    The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements



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   Image ad requirements
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   Structured snippet requirements
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   Video ad requirements

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    English

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16. magyar
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18. Nederlands




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19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
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26. suomi
27. svenska
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42. 日本語
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44. English

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    Google Help


   Help Center




o   List of ad policies




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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


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    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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Advertising Policies Help

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                                                                                           Next


Image quality requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

In order to provide a good user experience, Google requires that all images used in ad
formats such as Gallery ads meet high quality standards. All images used in your ads
must comply with the requirements below, and the image quality requirements in the
Editorial policy.

Image is not static
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Moving images or gif images

Photoshopped background
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Images with photoshopped backgrounds that weren’t a part of the
      original photographic image

Logo overlay in image
The following is not allowed:



                                                                                           2433
                                                                                            2628
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Images with logos that have been overlaid on top of the original
      photographic image

      Note: A logo that shows because it was a part of the original photographic
      image (for example, a car’s make as captured on the original image of a
      car, or a credit card brand name that appears on the original image of the
      credit card) is acceptable.

Text overlay in image
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Images with text that have been overlaid on top of the original
      photographic image

      Note: Text that shows because it was a part of the original photographic
      image (for example, a product name as captured on the original product
      image) is acceptable.

Image is a collage
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Images that are a combination of different images assembled
      together

Repetitive image
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Images that are identical to other images in the same ad, or very
      similar to other images in the same ad, with only minor differences



Learn how to fix a disapproved ad or extension.

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   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
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   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
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     English?

    English




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5. English (Australia)
6. English (United Kingdom)
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10. français
11. hrvatski
12. Indonesia
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15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
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   Help Center




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o   Verification



o   Change log




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   Privacy Policy



   Terms of Service



   Submit feedback



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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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Advertising Policies Help

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Lead form requirements
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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Lead forms allow your customers to express their interests in response to an
advertisement, by filling in a contact form. Lead forms, including advertiser-provided
text and image, are subject to the standard Google Ads policies. To ensure that your
customers have the best experience when providing their details, see the additional
requirements below.

Image requirements in lead forms
All images used in advertising must meet certain quality standards. The image layout
must conform to Google Ads standards and the image itself can’t be blurry. See the
Image quality policy for more information.

Related policies and common disapprovals
The following Google Ads policies are particularly relevant to lead forms, and are often
associated with disapprovals. Learn about what happens if you violate our policies.

Sexual content

To keep ads relevant and safe for users, Google restricts sexual content in certain
circumstances. Advertisements for adult-oriented content are not allowed for lead
forms. See the Sexual content policy for more information.




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Affiliate network / lead aggregator

Only first-party advertisers or third-party agencies with a well-established, direct
relationship with the products and / or services being offered, can use lead form ads.
Affiliate networks or lead generation businesses will not be allowed in our sole
discretion.

Alcohol-related content

Advertisements for alcohol-related content are not allowed for lead forms. See the
Google Ads Alcohol-related content policy for more information.

Gambling-related content

Advertisements for gambling-related content are not allowed for lead forms. See the
Google Ads Gambling-related content policy for more information.

Healthcare and medicines

Advertisements for healthcare-related content are not allowed for lead forms. See the
Google Ads Healthcare and medicines policy for more information.

Political content

Advertisements for political content are not allowed for lead forms. See the Google Ads
Political content policy for more information.

Misusing personal information

Using personal information in ways that users have not consented to is strictly not
allowed. See the Data collection and use policy for more information about what you
can collect, and how to handle personal information. We also require all advertisers
comply with local legal requirements.

Unavailable offers

The information in the products or services that are advertised, and requested by the
user, should be accurate and available. See the Unavailable offers policy for more
information.

Trademarks

Google may remove ads or extensions, including lead forms you create, in response to
trademark owner complaints. Advertisers are responsible for proper trademark use in




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    their ad text, assets, and business information. See the Trademarks policy for more
    information.

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   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
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32. български
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36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी




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39. ไทย
40. 中文（简体）
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42. 日本語
43. 한국어
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



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   Terms of Service



   Submit feedback


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    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




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Advertising Policies Help

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Lightbox ad requirements

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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Lightbox ads are expandable, rich media display ads that run across the Google Display
Network. Lightbox ads are subject to the standard Google Ads policies, the policies for
images and video, and the requirements below.

Mixed ads in Lightbox campaigns
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Using any other ad format in a campaign containing Lightbox ads

Learn how to fix a disapproved ad or extension. Make sure that the only ads in your
campaign are Lightbox ads.

Missing image CTA
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




           Failing to provide a call-to-action (CTA) for any images in a custom
      invitation state




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Learn how to fix a disapproved ad or extension. Add a call-to-action, such as “Hover to
expand,” to the image so the user knows how to interact with the ad, and then re-upload
the image. If you can’t edit the image to meet this requirement, upload a different image
that complies with the policy.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to Lightbox ads and are often
associated with disapprovals. Learn about what happens if you violate our policies.

      Destination mismatch

      All URLs used in ads and extensions must direct to the same domain as
      the ad’s destination. See the Destination mismatch policy for more
      information. For Lightbox ads, pay particular attention to the logo click
      URL, header call-to-action URL, and display URL, all of which must comply
      with this policy.

      Unacceptable video format

      All videos must be uploaded in an approved format. See the Unacceptable
      video format policy for more information.

      Unavailable video

      All videos must be publicly available. See the Unavailable video policy for
      more information.

      Image quality

      All images used in advertising must meet certain quality standards. The
      image layout must conform to Google Ads standards and the image itself
      can’t be blurry. See the Image quality policy for more information.

      Video quality

      All videos used in advertising must meet certain quality standards. See the
      Video quality policy for more information.

      Sexual content

      To keep ads relevant and safe for users, Google restricts sexual content in
      certain circumstances. See the Sexual content policy for more
      information.



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          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information.
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   Video ad requirements

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     English?

    English

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30. čeština
31. Ελληνικά
32. български
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34. српски
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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




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   Privacy Policy



   Terms of Service



   Submit feedback


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    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info



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Advertising Policies Help

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Local Services platform policies
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

All service providers and businesses acting on behalf of providers—such as agencies,
lead generation, aggregators, and lead management companies—must abide by the
following policies when using any Local Services platform. For all providers, these
policies apply to your employees, contractors (including subcontractors), or other
workers who provide services in customers’ homes, workplaces, or any other properties
on your behalf. You are responsible for ensuring your workers comply with these
policies. For businesses acting on behalf of providers, you are responsible for sharing
these policies with your providers and for instructing them to comply.

Local laws and regulations

You must comply with all applicable laws and regulations in the jurisdictions in which
you provide or offer services through the Local Services platform. You must comply
with all relevant licensing, insurance, privacy, or other regulatory requirements, and you
are solely responsible for all compensation, licensing, regulatory fees or dues,
insurance, or any other related costs and legal duties required of you as a service
provider.

Age restrictions

You, your workers, and each of your customers must be 18 years of age or older.

Employment



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Employees of Google and its affiliates may not provide services (or help you provide
services) as part of the Local Services platform. You can't say or imply to anyone that
you are an employee of Google or its affiliates, or that you otherwise work for Google or
its affiliates. At all times you must ensure that each member of your team is properly
classified and paid according to the applicable employment laws of your jurisdiction.

Required disclosures and other responsibilities
Required disclosures
Other responsibilities

Customer relationships
When you provide services, your customers are not Google’s customers. You can’t claim
to work for Google, and you can’t involve Google in any service issues between you and
your customers. If a dispute arises, the customer may use the Local Services platform
to find an alternative service provider, or the customer may file a Google Guarantee
request, but we won’t help resolve any issues between you and your customer.

Google won’t recommend prices or fees for services and won’t negotiate prices with
your customers.

You are solely responsible for deciding which referrals to accept or reject from Local
Services Ads.

You are solely responsible for training, instructing, monitoring, evaluating, and
disciplining your workers who interact with customers. Serious or repeatedly negative
customer feedback — or repeatedly failing to promptly respond to customer requests —
may result in lower placement, removal of the option to receive message requests, or
your ad or other commercial content not showing at all. Google may suspend or
terminate your access to the program in the event of your egregious or repeatedly
inappropriate conduct towards customers — such as fraud, criminal activity, excessive
property damage, subcontracting to non-certified companies or workers, or related
misconduct. Google may show your ads or other commercial content on our platform to
help customers find you. The rest is up to you.

Keep in mind

Google doesn't dictate how you choose your customers, so you can’t suggest to
customers that Google told you which requests to accept or reject. Be careful not to
imply that Google influences the pricing of your services or how those services are
performed.




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Customer service
Be responsive

From the time you receive a lead call or booked service, you are responsible to respond
in a timely manner when customers reach out with a question, complaint, or need a
resolution. This goes for before, during, and after a service is provided. Good customer
communication is key to receiving high ratings and reviews. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Keep commitments

If you commit to providing a service to a customer, make sure your business follows
through with all agreements. Only agree to perform services that are within your
expertise and license requirements so you can provide the service at a satisfactory
level. Show up on time as agreed. If you agree to perform the service make sure that
your business is the one to fulfill that commitment. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Customer pricing and payment

The pricing information you provide to customers must be accurate, complete, and not
misleading. We do not allow low estimates to be given that trick customers into booking
services only to be later charged unusually high rates when the service is provided.
Learn more.

What these policies mean for you
What happens when service providers violate this policy

Incompetence or damage

All service professionals should be experienced and qualified to do the work. If you
make a mistake that causes damage to a customer’s property then promptly repair the
damage or provide the customer with your insurance information so they can be paid
for the damages. Only use non-defective and appropriate materials to do the job. Learn
more.

What these policies mean for you
What happens when service providers violate this policy




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Resolving customer disputes

You are responsible to try to resolve any dispute with the customer. Any customer that
is dissatisfied with a provider’s services should first attempt to resolve the dispute with
the provider before filing a Google Guarantee request. This gives you the opportunity to
make things right with the customer. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Safety
Rudeness, threats, bullying, & harassment

You should treat everyone with respect and act in a professional manner during every
interaction. We do not tolerate rudeness, condescending or patronizing tones, or pushy
sales tactics. You should not make threats, use derogatory terms, sexualize someone,
stalk, disparage or belittle, physically intimidate, invade privacy, incite violence, reveal
personal information, or harass in other ways. We may refer threats of harm and other
dangerous situations to law enforcement. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Physical harm

You should not facilitate or commit physical or sexual assault, sexual abuse or hold
someone against their will, or engage in other acts of violence. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Safe environments

You are responsible for creating a safe environment by ensuring that your tools,
products, and actions do not jeopardize the health, welfare, or safety of any person.
Providers should not work under the influence of alcohol, illegal drugs, heavy
medication, or any other substance that leads to impairment. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Theft or vandalism




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Do not take any items that do not belong to you or vandalize property. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Spam, phishing, & fraud

Providers should not send unsolicited promotional or commercial content, attempt to
drive traffic to additional websites, or trick someone into handing over money or
personal information. Do not commit credit card fraud, booking fraud, or launder money.
Making false claims against another provider is prohibited. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Fairness
Discriminatory behavior or hate speech

You should treat everyone equally and with respect. You may not demonstrate
discriminatory behavior, insult others, or engage in hate speech against anyone based
on their race, color, ethnicity, caste, national origin, ancestry, citizenship status, religion,
age, sex, sexual orientation, gender, gender identity, gender expression, pregnancy,
marital status, physical or mental disability, medical condition, or any other
characteristic that is associated with systemic discrimination or marginalization. Learn
more.

What these policies mean for you
What happens when service providers violate this policy

Authenticity
Misrepresentation and impersonation

You should accurately represent yourself and your business. Do not deceive, mislead, or
confuse. This includes misleading information about accounts or account ownership,
qualifications, licenses, insurance, work experience, service areas, work verticals, prices,
or any other aspect of yourself or your business. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Customer reviews



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Do not write reviews for your own business or the businesses of competitors, and do
not request that friends or relatives write a review for you unless they’ve hired you to
provide a service. Customers may not receive compensation or discounts in exchange
for a positive review. Providers may not ask customers to change or remove their
reviews or threaten a customer for leaving a negative review. Any conduct related to
customer reviews that may result in misleading information to consumers is strictly
prohibited. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Account policies
Subcontracting and lead selling

Consumers expect to be connected with providers vetted by Local Services quality
standards. For that reason, businesses that join our platform must truthfully represent
the qualifications and identities of the field technicians at their company. In addition,
every business must certify that its fieldworkers and staff carry appropriate licensing.
Accordingly, you may not sell the leads you receive through your Local Services ads.
Those leads are only to be fulfilled by the vetted and/or background-checked field
technicians of your company. If you subcontract to another service provider your ad
may be permanently removed. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Serving areas

In order to ensure fair business competition, if you have multiple accounts, only one
account and job type may use a specific ZIP Code at a time. Additionally, you should
only list the service areas where you are currently permitted to work. If you have a
professional license that limits you to a specific geographical region, you must stay
within that area. Learn more.

Service areas
What these policies mean for you
What happens when service providers violate this policy

Duplicate accounts

Duplicate accounts could allow providers to unfairly subvert our ads serving system.
Accounts that are either inactive for more than six months or have nearly identical job
types and serving areas may be flagged for follow-up and/or removal. Learn more.



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What these policies mean for you
What happens when service providers violate this policy

Circumvention and system interference

Do not engage in actions intended to bypass our policies or subvert restrictions placed
on your account. This includes the creation or use of multiple accounts or other
methods intended to engage in a behavior that is prohibited.

Do not attempt to drive traffic to additional websites or divert potential first time
customers to a different phone number in order to avoid paying for a lead. Your
company may not have “.com” as part of the displayed name. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Ad content

Feel free to include the images of the good work you do in order to help sell your
service. Photos must be high quality, relevant to your work, original, and not copied or
stolen. Respect copyright laws and only upload content that you are authorized to use.
Sexual content is prohibited. Additional policies regarding photo submissions may apply
to Professional Service providers. Additional details can be found here. Learn more.

What these policies mean for you
What happens when service providers violate this policy

Prohibited practices
The following are not allowed by you or others acting on your behalf:

Unauthorized use of Google branding and trademarks

You can’t use the Google logo, Google Guarantee Badge, or other brand elements
without permission. If you wish to use any of Google’s brand features on your website
or other public materials, read Google's brand-usage guidelines.

Additional policies that apply based on contractual terms with Google

If you or your business agreed to contractual terms with Google -- for example, if you
agreed to the Google Ads Terms and Conditions, the Local Services Additional Terms
for Providers, or the Local Services on Assistant Terms for Providers (see Table below) -
- you also must comply with the following Minimum Provider Requirements:




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Minimum Provider Requirements (background checks)
Business entity checks, license verification, and insurance verification

In order to advertise on the Local Services platform, you must satisfy the Minimum
Provider Requirements related to entity verification (Europe and select U.S. verticals),
license verification, and insurance verifications:

   1. Your business entity must pass Google’s regionally-specific entity
      verification process (Europe and select U.S. verticals) before you are
      authorized to serve Local Services ads.
   2. Google will verify and/or ask you to submit proof that you hold relevant
      professional licenses where required. In addition, you will need to certify
      that all your workers hold the necessary licenses as well. You will not be
      able to serve Local Services ads until this verification is complete.
   3. You will be asked to produce proof of a minimum amount of relevant
      insurance in order to go live on Local Services ads.

To learn more about Local Services Ads’ minimum provider requirements, visit How
providers qualify for Local Services ads.

Background Checks - U.S. and Canada Only

In the U.S. and Canada, you must satisfy Google’s Minimum Provider Requirements
related to background checks:

   1. You and any employees, contractors (including subcontractors), or other
      workers who provide services in customers' homes, workplaces, or any
      other properties must pass third-party background checks before you may
      participate in the Local Services platform.
   2. Your company must meet the criteria for passing a background check as
      described below at all times.

Cooperating with the background check process
What's included in a background check
Who conducts the background checks
        Background Check
Country Partner                Contact information
USA,    Pinkerton Consulting & pes.disputes@pinkerton.com or (800) 635-1649, Monday
Canada Investigations, Inc.    through Friday, from 8:00 am to 8:00 pm Eastern.




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            Background Check
    Country Partner                   Contact information
    USA     EvidentID                 You may contact Evident support at the following link:
                                      Evident Support.

    Criteria for passing a background check
    Eligibility to provide services
    Obligation to provide updated information
    Recertification
    Privacy
    Audits
    More information

    For more information about background checks, contact the background check provider
    for your country, listed in the table above.

    What happens if you violate our policies

    If you violate our policies, you may be subject to one or more of the following:

   Ad disapproval: Local Services ads or other commercial content that doesn't follow our
    policies may get disapproved. Disapproved ads or other commercial content won't be
    able to run until the policy violation is fixed and the ad is eligible.
   Domain disabling: We may suspend websites that violate our policies, meaning that the
    website can no longer be advertised until the problem is fixed.
   Account suspension: An account may get suspended if you have several violations or a
    serious violation. If this happens, all ads and other commercial content in the
    suspended account will stop running, and we may no longer accept advertising or
    commercial content from you. Any related accounts may also get permanently
    suspended and your new accounts may get automatically suspended at setup. Learn
    more about suspended accounts.

    Need help?
    If you have questions about our policies, let us know: Contact Google Ads Support




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Links to Additional Terms and Policies
If you or your business accepted terms as part of your participation in the Local
Services platform, you can find links to those terms below. The following links are
provided for reference so you can see which terms apply to your participation in Local
Services.

              Products/Platforms                              Terms & Policies
If you or your business accepted terms with    Google Ads Terms and Conditions.
Google AND your Local Services listings        Local Services Additional Terms for Providers.
appear on Google Search:                              US
                                                      Canada
                                                      Austria
                                                      Belgium (French)
                                                      Belgium (Dutch)
                                                      Belgium (German)
                                                      France
                                                      Germany
                                                      Ireland
                                                      Italy
                                                      Netherlands
                                                      Spain
                                                      Switzerland (German)
                                                      Switzerland (Italian)
                                                      Switzerland (French)
                                                      United Kingdom
                                               Google Ads Policies, including all policies
                                               listed above.

If you and your business accepted terms with Local Services on Assistant Terms for
Google AND your Local Services listing appear Providers.
only on the Google Assistant.                 Google Ads Policies, including all policies
                                              listed above.




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     English?

    English




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12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English



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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback



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Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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Advertising Policies Help

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Location extension requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Location extensions allow ads to include a business address, phone number, and other
information (e.g. business hours and ratings) about a specific business location.
Location extensions are subject to the standard Google Ads policies and the
requirements below.

Remember that location extensions get their information from your Google My Business
(GMB) account and are only available in countries currently supported by Google My
Business. This means that information about your business and images of your location
are managed in your GMB account directly, not in Google Ads.

Location owner approval
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Advertising a business location without the explicit approval of the
      business owner at that location
Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals




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    The following AdWords policies are especially relevant to location extensions and are
    often associated with disapprovals. Learn about what happens if you violate our
    policies.

          Misleading content

          All information should be accurate and descriptive of what you’re
          advertising. See the Misleading content policy for more information.

          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information. In the case of location extensions, make sure the extension is
          relevant to the particular location you’re advertising, especially if the
          business has multiple locations.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.
    Give feedback about this article
    Choose a section to give feedback on

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    Ad format requirements
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   Dynamic search ad requirements
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   Video ad requirements

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     English?

    English

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12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu




                                                                            2469
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18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies




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                                                                             2665
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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong




                                                                            2471
                                                                             2666
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Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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services, per our Privacy & Terms.




                                                                                2472
                                                                                 2667
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Advertising Policies Help

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General Help Center experience
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Price extension requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Price extensions provide structured information to help users make a decision on which
ad to click. Price extensions are subject to the standard Google Ads policies and the
requirements below.

Header and description requirements
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Price information in the header or description

                                                  Note: This policy does not apply to price qualifications that
                                                  are required by local law. Such qualifications should be
                                                  included, as directed by law.
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Promotional text in the header or description

                                                  Examples: Including “Sale” in the header, adding “Free
                                                  Shipping” to the description

Learn how to fix a disapproved ad or extension.




                                                                                                                  2473
                                                                                                                   2668
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URL requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Extension URLs that do not lead to the same final URL domain as the
      text ad they are attached to

Learn how to fix a disapproved ad or extension.

Brand requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than brand names
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing brands that aren’t offered by your business
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Descriptions containing anything other than information about the
      brand mentioned in the header

Learn how to fix a disapproved ad or extension.

Event requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Headers containing anything other than information about specific
      events

                                               Note: Event headers can contain information about the date
                                               of the event, location of the event, type of event, or
                                               performer.
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




         Descriptions containing anything other than details about the event
      mentioned in the header

Learn how to fix a disapproved ad or extension.




                                                                                                              2474
                                                                                                               2669
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Location requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Headers containing anything other than names of locations relevant
      to your business
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




         Descriptions containing anything other than details about the location
      mentioned in the header

Learn how to fix a disapproved ad or extension.

Neighborhood requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Headers containing anything other than the names of sub-regions or
      districts within a city or region
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Descriptions containing anything other than details about the
      neighborhood mentioned in the header

Learn how to fix a disapproved ad or extension.

Product category requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than names of product categories
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Descriptions containing anything other than details about the product
      category mentioned in the header

      Troubleshooter: Product category requirements

Product tier requirements
The following is not allowed:



                                                                                                                  2475
                                                                                                                   2670
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than levels or sizes of a product
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Descriptions containing anything other than details about the product
      tier mentioned in the header

      Troubleshooter: Product tier requirements

Service requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than types of services
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




         Descriptions containing anything other than details about the service
      mentioned in the header

Learn how to fix a disapproved ad or extension.

Service category requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than services categories

                                               Note: Categories should collectively describe several
                                               different but related services, such as "Dental" or "Car repair."
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Descriptions containing anything other than details about the service
      category mentioned in the header

      Troubleshooter: Service category requirements

Service tier requirements
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Headers containing anything other than levels of a service




                                                                                                                   2476
                                                                                                                    2671
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Descriptions containing anything other than details about the service
      tier mentioned in the header

      Troubleshooter: Service tier requirements

Related policies and common disapprovals
The following Google Ads policies are especially relevant to price extensions and are
often associated with disapprovals. Learn about what happens if you violate our
policies.

      Unclear relevance

      All information should be relevant to what you’re advertising. For example,
      all submitted ad fields must represent the same advertiser and be relevant
      to the promoted product. See the policy on Unclear relevance for more
      information.

      Editorial

      The standard requirements for clarity, correct spelling, and use of
      capitalization and symbols apply to all ads. See the Editorial policy for
      more information.

      Unavailable offers

      Products or services should be priced accurately, easily found at the ad's
      destination, and match with headers and descriptions. See the Unavailable
      offers policy for more information.

      Trademarks

      Google may remove ads or extensions in response to trademark owner
      complaints. Advertisers are responsible for proper trademark use in their
      ad text, assets, and business information. See the Trademarks policy for
      more information.
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                                                                                    2477
                                                                                     2672
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                                           Submit
    Ad format requirements
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   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
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   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
2. dansk



                                                                            2478
                                                                             2673
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3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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                                                                            2674
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    This help content & information General Help Center experience
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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback




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What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                 2676
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Advertising Policies Help

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Promotion extension requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Promotion extensions add relevant information about sales and deals to regular text
ads. Promotion extensions are subject to the standard Google Ads policies and the
requirements below.

Promo codes in Promotion extensions
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Text in the Promo code field that isn’t a promo code

                                                  Examples: Product descriptions, phone numbers,
                                                  promotional statements

Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals
The following AdWords policies are especially relevant to promotion extensions and are
often associated with disapprovals. Learn about what happens if you violate our
policies.

      Editorial



                                                                                                       2482
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          The standard requirements for clarity, correct spelling, and use of
          capitalization and symbols apply to all ads. See the Editorial policy for
          more information.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.

          Unavailable offers

          Products or services should be priced accurately, easily found at the ad's
          destination, and match with headers and descriptions. See the Unavailable
          offers policy for more information.

          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information.

          Unavailable language

          All ads and extensions must be written in a supported language and link to
          a destination in a supported language. See the Unsupported language
          policy for more information.
    Give feedback about this article
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                                        Was this helpful?
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                                             Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements



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   Call extension requirements
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   Dynamic ad requirements
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   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia




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                                                                             2679
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13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
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33. русский
34. српски
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37. ‫اﻟﻌﺮﺑﯿﺔ‬
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44. English

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   Privacy Policy



   Terms of Service



   Submit feedback


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    What is the issue with this selection?



                                                                            2486
                                                                             2681
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Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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                                                                                2487
                                                                                 2682
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Advertising Policies Help

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Responsive ad requirements
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language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Responsive ads automatically adjust their size, appearance, and format to fit available
ad spaces. Your responsive ad might show as a native ad on one site and a text ad on
another, automatically transforming itself to fit based on your targeting and campaign
goals. Responsive ads are subject to the standard Google Ads policies and the
requirements below.

Image text in responsive ads
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Text (including logos with text) that covers more than 20% of the
      image

Learn how to fix a disapproved ad or extension. Remove excess text, and then re-upload
your image. If you can’t edit the image to meet this requirement, upload a different
image that complies with the policy.

Animation in responsive ads
The following is not allowed:




                                                                                     2488
                                                                                      2683
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Animated images (such as animated GIFs)

Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals
The following Google Ads policies are especially relevant to responsive ads and are
often associated with disapprovals. Learn about what happens if you violate our
policies.

      Editorial

      The standard requirements for clarity, correct spelling, and use of
      capitalization and symbols apply to all ads. See the Editorial policy for
      more information.

      Unclear relevance

      All information should be relevant to what you’re advertising. For example,
      all submitted ad fields must represent the same advertiser and be relevant
      to the promoted product. See the policy on Unclear relevance for more
      information.

      Misleading content

      All information should be accurate and descriptive of what you’re
      advertising. See the Misleading content policy for more information.

      Sexual content

      To keep ads relevant and safe for users, Google restricts sexual content in
      certain circumstances. See the Sexual content policy for more
      information.

      Image quality

      All images used in advertising must meet certain quality standards. The
      image layout must conform to Google Ads standards and the image itself
      can’t be blurry. See the Image quality policy for more information.

      Trademarks




                                                                                       2489
                                                                                        2684
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          Google may remove ads or extensions in response to trademark owner
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   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
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   Location extension requirements
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   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements




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     English?

    English

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30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬




                                                                            2491
                                                                             2686
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38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




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   Advertising Policies




                                                                            2492
                                                                             2687
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   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info
    Cancel
    Submit



                                                                            2493
                                                                             2688
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2494
                                                                                 2689
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Advertising Policies Help

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This help content & information

General Help Center experience
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Sitelink extension requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Sitelink extensions display additional links with your ad. Sitelink extensions are subject
to the standard Google Ads policies and the requirements below.

Link text repetition
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




                                                Using the same link text for more than one sitelink

                                                  Note: Reusing link text is not allowed even if each sitelink
                                                  points to a different destination.

Learn how to fix a disapproved ad or extension.

Duplicate URLs
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Multiple sitelinks in the same campaign or ad group that point to the
       same landing page or the same content




                                                                                                                 2495
                                                                                                                  2690
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Sitelinks that point to the same landing page or the same content

                                               Examples: Links to different tabs on the same webpage,
                                               links to different anchors or fragment identifiers on the same
                                               webpage

                                               Note: Approximately 80% of the content on a page should be
                                               unique for that webpage to count as a different destination.

Learn how to fix a disapproved ad or extension.

Third-party URLs
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Sitelink URLs that don’t match the domain of the ad’s final URL

                                               Note: While links should normally point to the same domain
                                               as the ad URL, we do allow links to point to third-party sites,
                                               under limited circumstances. Some examples include links
                                               to select online retailers (Amazon, Best Buy), a Facebook
                                               page, Twitter account, YouTube video, LinkedIn profile, or
                                               Instagram account. In such cases, the link text must be
                                               descriptive of what someone would find at the link
                                               destination. It should also include the full domain name in
                                               the text.

                                               For example, “Watch our video on Youtube.com” should lead
                                               to your video on YouTube.


Learn how to fix a disapproved ad or extension.

Punctuation and symbols in sitelink extensions
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Punctuation and symbols in the link text or description that serve no
      purpose other than to draw attention to the ad




                                                                                                                 2496
                                                                                                                  2691
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                 Examples: Exclamation marks, punctuation at the beginning
                 of the text, adding a ► symbol

    Learn how to fix a disapproved ad or extension.

    Related policies and common disapprovals
    The following Google Ads policies are especially relevant to sitelink extensions and are
    often associated with disapprovals. Learn about what happens if you violate our
    policies.

          Unclear relevance

          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information. For sitelink extensions, this means that link text should
          clearly and accurately indicate what kind of product, service, or other
          content is found at the link’s destination.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.
    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements




                                                                                        2497
                                                                                         2692
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   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu




                                                                            2498
                                                                             2693
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15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




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o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product




                                                                            2500
                                                                             2695
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Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




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                                                                                2501
                                                                                 2696
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Advertising Policies Help

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Smart display campaign requirements
Smart display campaigns allow advertisers to automate much of the creation and
management process for display advertising. Smart display campaigns are subject to
the standard Google Ads policies.

Related policies and common disapprovals
The following AdWords policies are particularly relevant to Smart display campaigns
and are often associated with disapprovals. Learn about what happens if you violate our
policies.

      Image quality

      All images used in advertising must meet certain quality standards. The
      image layout must conform to Google Ads standards and the image itself
      can’t be blurry. See the Image quality policy for more information.

      Unclear relevance

      All information should be relevant to what you’re advertising. For example,
      all submitted ad fields must represent the same advertiser and be relevant
      to the promoted product. See the policy on Unclear relevance for more
      information.

      Misleading content

      All information should be accurate and descriptive of what you’re
      advertising. See the Misleading content policy for more information.




                                                                                    2502
                                                                                     2697
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          Sexual content

          To keep ads relevant and safe for users, Google restricts sexual content in
          certain circumstances. See the Sexual content policy for more
          information.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.
    Give feedback about this article
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                                       Was this helpful?
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                                            Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
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   Form ads requirements
   Gmail ad requirements
   Image ad requirements
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   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements



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   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
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7. español
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11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe




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30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
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44. English

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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




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   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
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    What is the issue with this selection?

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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions



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                                                                                2507
                                                                                 2702
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Advertising Policies Help

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Structured snippet requirements
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are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Structured snippets allow advertisers to describe features of a specific product or
describe the range of products or services their business offers. Structured snippets are
subject to the standard Google Ads policies and the requirements below.

Punctuation and symbols in structured snippets
The following is not allowed:
          The linked image cannot be
          display ed. The file may hav e been
          mov ed, renamed, or deleted. Verify
          that the link points to the correct
          file and location.




          Punctuation and symbols in snippet text that serve no purpose other
      than to draw attention to the ad

                                                Examples: Exclamation marks, punctuation at the beginning
                                                of the text, adding a ► symbol, emoticons

Learn how to fix a disapproved ad or extension.

Structured snippet repetition
The following is not allowed:




                                                                                                            2508
                                                                                                             2703
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       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Snippet text values that repeat in the same header or across different
      headers

Learn how to fix a disapproved ad or extension.

Multiple items in value
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Entering more than one item in each value

                                               Examples: Adding a comma-separated list into one value
                                               field, putting two related items in one value field

                                               Note: Add a new value field for every item you want to
                                               include in the extension. Google Ads will automatically
                                               separate them with commas.

Learn how to fix a disapproved ad or extension.

Promotional text in value
The following is not allowed:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Promotional text in snippet values

                                               Examples: “Sale” or “Free shipping”

Learn how to fix a disapproved ad or extension.

Amenities in structured snippets
The following is not allowed in the Amenities header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Values that do not list useful features or facilities of a building or
      place

      Examples
       The linked image cannot be                                                    The link ed image cannot be
       display ed. The file may hav e been                                           displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                           moved, renamed, or deleted. Verify
       that the link points to the correct                                           that the link points to the correct
       file and location.                                                            file and location.




                                             Allowed                                                                       Not allowed



                                                                                                                                         2509
                                                                                                                                          2704
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      Amenities: Ski Storage, Swimming Pool,                                         Amenities: Rated most comfortable, 100%
      Restaurant                                                                     satisfaction guarantee

      Amenities: Wi-Fi, Breakfast, Pool, Gym, Spa
Learn how to fix a disapproved ad or extension.

Brands in structured snippets
The following is not allowed in the Brands header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not actual brands offered by the advertiser
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Description of number of brands offered by the advertiser

      Examples
       The linked image cannot be                                                    The link ed image cannot be
       display ed. The file may hav e been                                           displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                           moved, renamed, or deleted. Verify
       that the link points to the correct                                           that the link points to the correct
       file and location.                                                            file and location.




          Allowed                                                                        Not allowed
      Brands: Nest, Nexus, Chromebook                                                Brands: Over 200 Brand names, Save on Brand
                                                                                     names

                                                                                     Brands: Cheap Nest, New Nexus phones,
                                                                                     Exclusive Chromecasts
Learn how to fix a disapproved ad or extension.

Courses in structured snippets
The following is not allowed in the Courses header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Values that do not list specific classes educational providers offer, or
      that promote entire degree programs

      Examples
       The linked image cannot be                                                    The link ed image cannot be
       display ed. The file may hav e been                                           displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                           moved, renamed, or deleted. Verify
       that the link points to the correct                                           that the link points to the correct
       file and location.                                                            file and location.




           Allowed                                        Not allowed
      Courses: Linear Algebra, Creative Writing, Data Courses: MBA, M.Ed, BS
      Structures
Learn how to fix a disapproved ad or extension.

Degree programs in structured snippets


                                                                                                                           2510
                                                                                                                            2705
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The following is not allowed in the Degree programs header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Values that are not courses of study at online or traditional
      educational institutions
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Course duration or other additional information about the course

      Examples
       The linked image cannot be                                                   The link ed image cannot be
       display ed. The file may hav e been                                          displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                          moved, renamed, or deleted. Verify
       that the link points to the correct                                          that the link points to the correct
       file and location.                                                           file and location.




          Allowed                                                                        Not allowed
      Degree programs: Accounting, Biology,                                         Degree programs: 2 year, 4 year, masters,
      Psychology                                                                    associates
Learn how to fix a disapproved ad or extension.

Destinations in structured snippets
The following is not allowed in the Destinations header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Values that are not names of cities, states, countries, continents,
      places of interest, cultural and heritage sites, or tourist attractions

      Examples
       The linked image cannot be                                                   The link ed image cannot be
       display ed. The file may hav e been                                          displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                          moved, renamed, or deleted. Verify
       that the link points to the correct                                          that the link points to the correct
       file and location.                                                           file and location.




           Allowed                                       Not allowed
      Destinations: Las Vegas, New York, Tokyo,     Destinations: Hotels in 200 cities, Visit Paris
      Rome, Cancun, Paris
      Destinations: Taj Mahal, Red Fort, Qutb Minar Destinations: Taj Mahal tour package, Visit
                                                    New Delhi
Learn how to fix a disapproved ad or extension.

Featured hotels in structured snippets
The following is not allowed in the Featured hotels header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Values that are not hotel names for which the advertiser is offering
      booking services

      Examples




                                                                                                                          2511
                                                                                                                           2706
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       The linked image cannot be                                                                   The link ed image cannot be
       display ed. The file may hav e been                                                          displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                                          moved, renamed, or deleted. Verify
       that the link points to the correct                                                          that the link points to the correct
       file and location.                                                                           file and location.




           Allowed                                                                                  Not allowed
      Featured hotels: Luxury Inn, Alpine Lodge,                                              Featured hotels: 10% off Alpine Lodge, Lowest
      Lakeside Hotel                                                                          rate on Lakeside Hotel
Learn how to fix a disapproved ad or extension.

Insurance coverage in structured snippets
The following is not allowed in the Insurance coverage header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not specific types of insurance coverage

      Examples
       The linked image cannot be                                                   The link ed image cannot be
       display ed. The file may hav e been                                          displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                          moved, renamed, or deleted. Verify
       that the link points to the correct                                          that the link points to the correct
       file and location.                                                           file and location.




          Allowed                                      Not allowed
      Coverage: Liability, Collision, ComprehensiveCoverage: Quotes for all coverages, Save now

      Coverage: Term life, whole life, universal life
Learn how to fix a disapproved ad or extension.

Models in structured snippets
The following is not allowed in the Models header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not specific models of a product or a range of models
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Names of manufacturers, stores, or dealerships
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Model year, specs, price, condition, or other descriptions

      Examples
       The linked image cannot be                                                                   The link ed image cannot be
       display ed. The file may hav e been                                                          displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                                          moved, renamed, or deleted. Verify
       that the link points to the correct                                                          that the link points to the correct
       file and location.                                                                           file and location.




         Allowed                                                                                  Not allowed
      Models: Corolla, Camry, Prius                                                           Models: 2016 models in stock, Deals on 2015
                                                                                              models
      Models: Corolla L, Corolla LE, Corolla
      Premium, Corolla LE Plus                                                                Models: Toyota, Honda, Ford, Chevy

                                                                                              Models:Corolla 2014, Camry 2016, Avalon
                                                                                              2014



                                                                                                                                          2512
                                                                                                                                           2707
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      Models: Nexus 5x, Nexus 6P, Pixel, Pixel XL                                     Models: Great deals on Pixel, Buy Pixel Now

                                                                                      Models: Pixel 5.0 inches display, 143 grams, 32
                                                                                      or 128 GB
Learn how to fix a disapproved ad or extension.

Neighborhoods in structured snippets
The following is not allowed in the Neighborhoods header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not sub-regions or districts within a city
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Names of cities, countries, or apartment buildings

      Examples
       The linked image cannot be                                                      The link ed image cannot be
       display ed. The file may hav e been                                             displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                             moved, renamed, or deleted. Verify
       that the link points to the correct                                             that the link points to the correct
       file and location.                                                              file and location.




          Allowed                                                                         Not allowed
      Neighborhoods: Downtown, Hayes Valley,                                          Neighborhoods: San Francisco, Oakland
      Mission, Excelsior
                                                 Neighborhoods: SOMA apartments, North
      Neighborhoods: Westminster, Camden, King’s Beach apartments, Pac Heights homes
      Cross
Learn how to fix a disapproved ad or extension.

Service catalog in structured snippets
The following is not allowed in the Service catalog header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




           Values that are not specific offerings of a service provider, meaning
      services performed in exchange for money
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that list features of a product

      Examples
       The linked image cannot be                                                      The link ed image cannot be
       display ed. The file may hav e been                                             displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                             moved, renamed, or deleted. Verify
       that the link points to the correct                                             that the link points to the correct
       file and location.                                                              file and location.




           Allowed                                                                         Not allowed
      Services: Oil change, Smog check, tire                                          Services: Reviews, Quotes, Rankings
      alignment
                                                                                      Services: Top rates, Compare 5 credit cards




                                                                                                                             2513
                                                                                                                              2708
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      Services: Packing, Auto transport, Storage,
      Debris pickup
Learn how to fix a disapproved ad or extension.

Shows in structured snippets
The following is not allowed in the Shows header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not names of performances or actual TV shows
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




          Information regarding the show, time, or description of a show or
      venue

      Examples
       The linked image cannot be                                                     The link ed image cannot be
       display ed. The file may hav e been                                            display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                            moved, renamed, or deleted. Verify
       that the link points to the correct                                            that the link points to the correct
       file and location.                                                             file and location.




          Allowed                                    Not allowed
      Shows: The Voyage, Knights, American DancerShows: At 10am, 2pm, & 5pm, Tickets required
Learn how to fix a disapproved ad or extension.

Styles in structured snippets
The following is not allowed in the Styles header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not variations of a fairly specific category

                                               Note: Don’t confuse the category with the styles that fall
                                               within that category. For example, "cocktail" and "strapless"
                                               are styles of dresses, but "dresses" itself is a category and
                                               should not be submitted as a style.

      Examples
       The linked image cannot be                                                        The link ed image cannot be
       display ed. The file may hav e been                                               displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                               moved, renamed, or deleted. Verify
       that the link points to the correct                                               that the link points to the correct
       file and location.                                                                file and location.




           Allowed                                                                         Not allowed
      Styles: Wingback, Button Tufted, French                                         Styles: Performance Apparel, Yoga Apparel,
      Country, Swivel, Nailhead, Scalloped                                            Running Gear, Athletic Jackets

      Styles: Flatweave, Jute, Striped, Shag, Solid,                                  Styles: Mailbox Posts, Cluster Mailboxes,
      Geometric                                                                       Lockable Mailboxes

                                                                                      Styles: Lingerie, Lace Dresses, Two Piece Sets




                                                                                                                               2514
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Learn how to fix a disapproved ad or extension.

Types in structured snippets
The following is not allowed in the Types header:
       The linked image cannot be
       display ed. The file may hav e been
       mov ed, renamed, or deleted. Verify
       that the link points to the correct
       file and location.




                                             Values that are not variations of a product category

      Examples
       The linked image cannot be                                                     The link ed image cannot be
       display ed. The file may hav e been                                            displayed. The file may hav e been
       mov ed, renamed, or deleted. Verify                                            moved, renamed, or deleted. Verify
       that the link points to the correct                                            that the link points to the correct
       file and location.                                                             file and location.




          Allowed                                                                        Not allowed
      Types: Pendant lamps, Ceiling lights, Wall                                     Types: Red, Blue, Green
      lamps

      Types: LED, Incandescent, Halogen,
      Fluorescent, Metal Halide
Learn how to fix a disapproved ad or extension.

Related policies and common disapprovals
The following AdWords policies are especially relevant to structured snippets and are
often associated with disapprovals. Learn about what happens if you violate our
policies.

      Repetition

      To maintain a professional appearance in ads, we don’t allow excessive or
      gimmicky repetition of words or phrases. See the Repetition policy for
      more information. Note that this is slightly different than the Structured
      snippet repetition policy above and applies to any ad text that is repeated
      in your snippet text.

      Trademarks

      Google may remove ads or extensions in response to trademark owner
      complaints. Advertisers are responsible for proper trademark use in their
      ad text, assets, and business information. See the Trademarks policy for
      more information.
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                                                                      Was this helpful?



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                                           YesNo




                                           Submit
    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements
   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
   Location extension requirements
   Price extension requirements
   Promotion extension requirements
   Responsive ad requirements
   Shopping ads (Google Shopping)
   Sitelink extension requirements
   Smart display campaign requirements
   Structured snippet requirements
   Text ad requirements
   Video ad requirements

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     English?

    English

1. català



                                                                            2516
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2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English




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    Google Help


   Help Center




o   List of ad policies



o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback



                                                                            2518
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Advertising policiesThird-party policiesRelated policies & terms
Approval processDisapprovals and suspensions
Verification programs
Upcoming and recent changesPast changes


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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Advertising Policies Help

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                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Text ad requirements
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Text ads are the most basic type of Google Ads, and they form the foundation for ad
extensions. Text ads are subject to the standard Google Ads policies. See below for
information about Google Ads policy issues that are commonly associated with this
format.

Related policies and common disapprovals
The following AdWords policies are particularly relevant to text ads and are often
associated with disapprovals.

      Editorial

      The standard requirements for clarity, correct spelling, and use of
      capitalization and symbols apply to all ads. See the Editorial policy for
      more information. Note the Style and spelling policies, which help
      maintain a clear and professional appearance for ads. For example, text
      ads can’t use description text to lead into the URL, use the display URL
      field as another line of text, or include text that appears cut off or
      incomplete. Also note the character limits for languages that use double-
      width characters.

      Unclear relevance




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          All information should be relevant to what you’re advertising. For example,
          all submitted ad fields must represent the same advertiser and be relevant
          to the promoted product. See the policy on Unclear relevance for more
          information.

          Inappropriate content

          Google values diversity and respect for others. For this reason, we don't
          allow content that offends users or that is otherwise inappropriate. See
          the policy on Inappropriate content for more information.

          Sexual content

          To keep ads relevant and safe for users, Google restricts sexual content in
          certain circumstances. See the Sexual content policy for more
          information.

          Trademarks

          Google may remove ads or extensions in response to trademark owner
          complaints. Advertisers are responsible for proper trademark use in their
          ad text, assets, and business information. See the Trademarks policy for
          more information.
    Give feedback about this article
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                                        Was this helpful?
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    Ad format requirements
   Ad requirements for YouTube
   App ad requirements
   Call ad requirements
   Call extension requirements
   Callout extension requirements
   Custom Lightbox ad requirements
   Discovery ads format requirements
   Dynamic ad requirements
   Dynamic search ad requirements



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   Form ads requirements
   Gmail ad requirements
   Image ad requirements
   Image extensions format requirements
   Image quality requirements
   Lead form requirements
   Lightbox ad requirements
   Local Services platform policies
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   Price extension requirements
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   Responsive ad requirements
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   Smart display campaign requirements
   Structured snippet requirements
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     English?

    English

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2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands




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19. norsk
20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

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    Google Help


   Help Center




o   List of ad policies




                                                                            2523
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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

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    YouTube Help

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    This help content & information

    General Help Center experience
                                                                                      Next
    Help CenterCommunity


    Mimicking YouTube site elements
    Ads can’t mimic YouTube site elements in any way, shape, or form. The following is not
    allowed (this list is not exhaustive):

   Ads should not resemble or try to resemble part of the YouTube homepage site
    experience.
   Ads should not deliver or seem to deliver messages that are meant to look like they
    originate from YouTube.
   Ads during streams (also known as in-stream video ads), including TrueView, should not
    mimic the Skip ads button.
   Any YouTube thumbnails in an ad need to allow viewers to click and watch a video
    within the masthead or on the YouTube watch page. For example, a few seconds of
    animation of thumbnails being destroyed doesn't give viewers an opportunity to click
    and watch the videos. Also, any metadata associated with video thumbnails must be
    accurate.

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                                            Submit
    Understand ad policies for advertisers



                                                                                      2526
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   Ad policy overview
   Advertising on YouTube Kids
   Mimicking YouTube site elements
   How ads work on YouTube for supervised accounts and content set as "made for kids"

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     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
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25. Tiếng Việt
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30. русский
31. српски
32. українська




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33. ‫עברית‬
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38. 中文（繁體）
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium




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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues



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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

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    YouTube Help

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    This help content & information

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    Help CenterCommunity


    Unbranded ads or brand channels
    YouTube requires that all ads run on or through the site are clearly branded with the
    advertiser or product's name or logo. This rule includes Homepage Ads, Channels,
    display ads, and TrueView ads.

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                                        Was this helpful?
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    Understand ad policies for advertisers
   Unbranded ads or brand channels
   User-generated content in ads
   Violent and shocking content in ads
   YouTube’s contest policies and guidelines

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     English?

    English



                                                                                        2531
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1. català
2. dansk
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4. English (United Kingdom)
5. español
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23. suomi
24. svenska
25. Tiếng Việt
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27. čeština
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29. български
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31. српски
32. українська
33. ‫עברית‬
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     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




                                                                                  2534
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Inaccurate - doesn't match what I see in the product

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                                                                                2535
                                                                                 2730
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    YouTube Help

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                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                       Next
    Help CenterCommunity


    User-generated content in ads
    To include user-generated content in an ad, like videos uploaded by YouTube creators,
    the advertiser must get explicit permission from the owner of that content. This rule
    applies to all ad formats except for homepage mastheads. User-generated content is
    prohibited in homepage mastheads even if the creator has given permission.
    Advertisers can feature creator videos in their brand channel through existing channel
    functions (like creating Playlists of the videos or adding them as Favorites).

    Some limited use of third-party social media APIs or features is allowed when approved
    by YouTube. Learn more about third-party apps.

    Give feedback about this article
    Choose a section to give feedback on

                                        Was this helpful?
                                            YesNo




                                             Submit
    Understand ad policies for advertisers
   Unbranded ads or brand channels
   User-generated content in ads
   Violent and shocking content in ads
   YouTube’s contest policies and guidelines




                                                                                       2536
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     English?

    English

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3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
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20. română
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22. slovenščina
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24. svenska
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27. čeština
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29. български
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31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）



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38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program




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o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers




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YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

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   YouTube Help

   Sign in
                                        Send feedback on...

   This help content & information

   General Help Center experience
                                                                                           Next
   Help CenterCommunity


   YouTube’s contest policies and guidelines
   All contests run on YouTube or that use YouTube are subject to the below rules. In
   addition, your contest cannot be run or conducted in a way that conflicts with our
   Privacy Policy. The content also cannot conflict with YouTube's Terms of Service or
   Community Guidelines.

   YouTube does not allow contests to be run through ad units. If the contest conforms
   with the below rules, you can use contests through your content on the platform.

   I. General Restrictions and Requirements:

1. You're solely responsible for your contest.
2. Your contest on YouTube must comply with all relevant federal, state, and local laws,
   rules, and regulations, including U.S. sanctions.
3. Your contest cannot infringe upon or encourage the infringement of any third-party
   rights or the participation in any unlawful activity.
4. You cannot ask the viewer to give all rights for, or transfer the ownership of, their entry
   to you.
5. Your contest must be free to enter (don't forget to check your local lottery laws!).
6. You and any third-party may not manipulate metrics on the YouTube service to
   misrepresent genuine viewer engagement with the YouTube service. These metrics
   include numbers of views, likes, dislikes, or subscribers.
7. You cannot associate or affiliate YouTube with your contest without YouTube's prior
   written consent. This rule prohibits, among other examples, expressly stating or doing
   anything that suggests that YouTube is involved with or has endorsed your contest in
   any way.

   II. Your Official Contest Rules:




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1. You must have a set of "Official Rules" which:
   a. include links to the YouTube Community Guidelines and indicate entries that don’t
   comply will be disqualified.
   b. state all disclosures required by all applicable federal, state and local laws, rules and
   regulations, including U.S. sanctions.
   c. are wholly compliant and consistent with the YouTube Terms of Service.
2. Your contest must be conducted, and all prizes awarded as outlined in your Official
   Rules.
3. You're responsible for your rules and all aspects of your contest administration.
4. Your rules must clearly state that YouTube is not a sponsor of your contest and require
   viewers to release YouTube from any liability related to your contest.
5. You must include a legally compliant privacy notice in your Official Rules. This notice
   explains how you'll use any personal data you collect for the contest and adhere to that
   use.

    Disclaimer: We're not your attorneys and the info presented here is not legal advice. We
    give it for informational purposes and suggest you seek advice in your jurisdiction for
    running a contest legally.

    Give feedback about this article
    Choose a section to give feedback on

                                         Was this helpful?
                                             YesNo




                                              Submit
    Understand ad policies for advertisers
   Unbranded ads or brand channels
   User-generated content in ads
   Violent and shocking content in ads
   YouTube’s contest policies and guidelines

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català



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2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
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14. magyar
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16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina
22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
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    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




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   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube
    YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
    Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
    YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
    rights management


    What is the issue with this selection?




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Inaccurate - doesn't match what I see in the product

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    Advertising Policies Help

    Sign in
                                         Send feedback on...

    This help content & information

    General Help Center experience
                                                                                             Next


    Fix ads with policy violations
    Google provides translated versions of our Help Center as a convenience, though they
    are not meant to change the content of our policies. The English version is the official
    language we use to enforce our policies. To view this article in a different language, use
    the language dropdown at the bottom of the page.

    When you have an ad with policy violations, you’ll want to review the policy and fix the
    ad to get it running again. Once you fix your ad, we'll review the ad and allow it to run if
    it’s compliant with policy.

    However, there may be other scenarios where you’ll need to appeal your ad for further
    review.

   If your ad is disapproved due to issues in your destination, you’ll need to fix your
    destination, and then appeal.
   If you’ve reviewed the policy and believe your ad is compliant with the policy, you’ll want
    to appeal.

    This article explains how to take these steps. To learn more about how to check ads for
    policy violations and what different ad statuses mean, read Check your ad’s policy
    review status.

    Fix your ad
    The steps to fix your ad vary depending on the type of policy violation impacting your
    ad. Your ad itself may not be compliant with specific Google Ads policies (for example,
    your ad is not compliant with our Editorial policy), or there may be issues with your
    destination (for example, your destination is not working, or your destination has




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content that’s not allowed). First, check which policy is affecting your ad, and then
follow the applicable steps below.




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The linked image cannot be display ed. The file may have been moved, renamed, or deleted. Verify that the link points to the correct file and location.




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    If your ad is affected by policies not related to the destination, below are steps to fix the
    ad:

1. Go to the "Ads and extensions" page and find the ad or extension you want to fix.

    Some policies apply to the ad’s destination. If your ad complies with the policy, check
    your destination to see if it’s causing the disapproval and make any necessary changes
    before proceeding.

2. Hover over the ad or extension and click Edit.
3. Edit the ad or extension so that it complies with the policy.
4. Click Save. Your ad will be automatically reviewed again. Check the ad’s status in the
   “Ads and extensions” page for updates.

    Appeal policy decision
    The option to appeal a policy decision directly from your Google Ads account is now
    available for most formats and policies.

    For any unsupported formats and policies, you can dispute policy decisions using the
    Disapproved ads and policy questions form.

    If you believe we’ve made an error or have fixed your destination, you can appeal the
    policy decision directly from your Google Ads account. Start by clicking Ads and
    extensions in the left page menu. From here, there are two ways to appeal.

    How to appeal policy decisions from the “Ads and
    extensions” table
    How to appeal policy decisions from an ad's "Status"
    column
    Check appeal status
    After appealing, you can always check on the review status in the Policy Manager.
                        The link ed image cannot
                        be display ed. The file
                        may have been moved,
                        renamed, or deleted.
                        Verify that the link points
                        to the correct file and




1. Click the tool icon    in the upper right corner of your account.
                        location.




2. Under "Setup," click Policy Manager.
3. On the “Appeal history” tab, you’ll find details for all ads you’ve appealed.

   The “Status” column shows whether the appeal is still in progress or complete.




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           Review complete: Your review is now complete. See “Results” column for
            more details.
           In progress: Your appeal is currently under review. Please check back in 24
            hours.
           Not reviewed: Your appeal was not reviewed. See “Results” column for
            more details.

   The “Results” column shows the results of the appeal, including how many ads had their
    policy review status updated after the review. If you submit the same appeal too many
    times, you may see the status 'Exceeded appeal retry-limit' in the Appeals History tab
    within Policy Manager. Please contact customer support for assistance with filing a
    new appeal.

           Successful: The policy appealed no longer applies to any of the ads that
            were reviewed. All of your ads in this appeal are no longer restricted due to
            the policy appealed. If there are remaining policies applied to your ads that
            are restricting serving, please appeal if you've read the respective policy
            and disagree with the decision.
           Partially successful: The policy appealed no longer applies to at least one
            of the ads that were reviewed. If there are remaining policies applied to
            your ads that are restricting serving, please appeal if you've read the
            respective policy and disagree with the decision.
           Error: Try again: There was an error in processing your request. Please
            contact our support team.
           Failed: None of your ads in this appeal are Eligible. Please review Google
            Ads policies and fix your ads and landing pages.
           Duplicate: Your appeal has not been processed because it was submitted
            while we were still processing your previous appeal on the same set of
            ads. Please contact our support team.
           Exceeded appeal retry-limit: You submitted the same appeal too many
            times. Please contact customer support for assistance with filing a new
            appeal.

    Related link

   About Google Ads policies

    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
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                                                                                            2551
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                                         Submit
    Disapprovals and suspensions
   Fix ads with policy violations
   Submit a campaign for policy review
   What happens if you violate our policies
   About Google Ads policy account suspensions
   About Google Ads account pausing
   Age requirements on Google Accounts

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     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
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22. português (Brasil)
23. română



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     1




    Google Help


   Help Center




o   List of ad policies



o   Review process




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o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

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Google Ads Help

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This help content & information

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                                                                                      Next
Help CenterCommunityAnnouncements


Under review: Definition
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

A status given to ads that are being reviewed to ensure they are safe, appropriate, and
comply with advertising policies.

We review most ads within one business day, though some complex reviews may take
longer. If your ad is under review for longer than one full business day, contact us.
Google reserves the right to prioritize reviews to ensure the overall stability of system
operations.

Related links

About the ad review process

Check the review status of an ad

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                                     Was this helpful?
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                                                                                     2556
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                                    Need more help?
            Sign in for additional support options to quickly solve your issue
                                            Sign in
    Glossary
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   About top and absolute top metrics
   About URL parameters
   Account budget
   Active View
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   Ad delivery options
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   Ad position
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   Alternate email address
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   Organic search result
   Outstream video ad format: Definition
   Pacific Time (PST or PDT)
   Parked domain site
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   Target cost-per-thousand impressions (tCPM): Definition
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   Text ad
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    English

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3. Deutsch
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6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
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20. polski
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24. slovenčina
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26. suomi
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29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
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    Google Help


   Help Center




o   Coronavirus (COVID-19) Resources and Updates




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o   Setup and basics



o   Manage ads



o   Measure results



o   Smart campaigns



o   Billing



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    Get startedSetup and managementCalls in Smart campaigns
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    adjustmentsTaxesIssues with payments and charges
    Your guide to Google AdsGoogle Ads training on SkillshopAccount walk-
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    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive

    Irrelevant - doesn’t match the title and / or my expectations

    Minor errors - formatting issues, typos, and / or broken links

    Other suggestions - ideas to improve the content

    Share additional info or suggestions




    Do not share any personal info




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    Check how long your Google ads have been under review
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     Google Ads Help

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     Pause or resume your ads
     Once your ads are up and running, there may come a time when you want to stop them.
     If you’re running an ad for wool coats in the US, you probably don’t need that ad to run in
     the summer. Come October, however, you might want to get it up and running again. By
     pausing your ad, you can save the ad for later without having to rewrite it and send it
     through review again.

     This article shows you how to pause or resume a single ad or multiple ads at the same
     time.

     Instructions
     How to pause or resume a single ad

     You can pause or resume a single ad:

1.   Sign in to your Google Ads account.
2.   From the page menu, click Ads & extensions.
3.   Click the green dot next to the ad you’d like to pause.
4.   From the menu, select Pause to pause your ad or Enable to resume your ad.

     How to pause or resume multiple ads

     To pause or resume multiple ads:

1.   Sign in to your Google Ads account.
2.   From the page menu, click Ads & extensions.
3.   Select the checkboxes next to the ads that you want to pause or resume.
4.   At the top of the table, click Edit.



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5. From the menu, select Pause to pause your ad or Enable to resume your ad. From this
   drop-down you also have the following options:
 Remove your ads altogether. Learn more
 Click Change text ads to replace the details of several ads with a single headline,
   description, and landing page.

    Keep in mind

   You're in control of your ads. You can pause your ads for any period of time that you'd
    like, and you can resume your ads when you want.
   Your ads won't accrue charges while they're paused.

    Tip

    Try using automated rules to pause or resume ads that meet specific conditions such
    as special ads for a promotional event -- this can help you free up your time. Learn more

    Related links

   Pause, resume, or remove a campaign
   Remove your ads

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   Find your ad status
   Pause or resume your ads
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   How to upgrade URLs with cross-domain redirects
   About version history
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   Use parallel tracking
   Measure ad interactions on Google-hosted pages
   Approved click measurement providers for interaction events

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o   Learn



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    YouTube Help

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    How ads work on YouTube for supervised
    accounts and content set as "made for kids"
    Made for kids advertising policies may evolve over time. We encourage you to check
    back often to read the latest updates.

    In order to comply with the Children’s Online Privacy Protection Act and other laws,
    personalized ads, remarketing, and other personalized targeting features are prohibited
    on YouTube for:

   Google Accounts managed by Family Link for children under the age of 13 (or relevant
    age in your country), referred to here as supervised accounts
   Content set as made for kids

    Contextual ads can be served on YouTube for supervised accounts and on content set
    as made for kids. These ads are based on factors like:

   The content being viewed
   The viewer’s current search
   The viewer’s general location (such as city or state)

    Ads must follow the made for kids ad policy to be eligible to appear on YouTube for
    supervised accounts and on content set as made for kids.

    Policies for advertisers
    Advertisers may not run personalized ads on YouTube for supervised accounts nor on
    content set as made for kids.




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    Advertising that is intended for children or on content set as made for kids must comply
    with all relevant laws and regulations. It cannot:

   Be deceptive, unfair, or inappropriate for its intended audience
   Make use of any third party trackers or otherwise attempt to collect personal info

    Below are some products that advertisers may not advertise on YouTube for supervised
    accounts or content set as made for kids:

   Media unsuitable for children: Media (Movies, TV shows, etc.) that is sensitive to show
    to users under the age of 13.
   Video games unsuitable for children: Electronic video games (and related accessories)
    that may be played on a video game console, the computer, or another electronic device
    such as a cell phone or tablet are prohibited if the industry rating of the game would not
    be suitable for audiences under the age of 13.
   Dating and relationships: Ads for dating sites, family counseling, and marital or divorce
    services.
   Beauty and weight loss: Products related to external personal care, fitness products
    relating to weight loss, weight-loss, diet and nutrition.
   Food and Beverage: Products related to consumable food and drinks are prohibited,
    regardless of nutrition content.
   Illegal or Regulated Products: Products that are regulated or illegal to advertise to
    children, including Prohibited Content and Restricted Content are prohibited. This also
    includes products that may pose safety risks for children.
   Political ads: Political paid ads of any kind, including info about political candidates or
    their policy positions, political parties, fundraising or political action committees or their
    agendas.
   Religious ads: Religious ads of any kind are prohibited, e.g, offers relating to religion,
    religious beliefs, including religious schools, religious books, etc.
   Ads related to adult content: Sexual and mature content that is intended for adult
    audiences and not suitable for users under the age of 13.
   Dangerous Content: Content that is dangerous and inappropriate for users under the
    age of 13 or that generally requires adult supervision.
   Violent Content: Violent and graphic content that is intended for adult audiences and
    not suitable for users under the age of 13.

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                                          Submit
    Understand ad policies for advertisers
   Ad policy overview
   Advertising on YouTube Kids
   Mimicking YouTube site elements
   How ads work on YouTube for supervised accounts and content set as "made for kids"

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   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



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o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




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    Program
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    settingsManage accessibility settingsTroubleshoot account issues
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membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
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Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
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YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
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file and location.




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mov ed, renamed, or deleted. Verify   mov ed, renamed, or deleted. Verify
that the link points to the correct   that the link points to the correct
file and location.                    file and location.




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   5. Complying with COPPA: Frequently Asked Questions


Complying with COPPA: Frequently Asked
Questions
Tags:

       Privacy and Security
       Children's Privacy

A GUIDE FOR BUSINESS AND PARENTS AND SMALL
ENTITY COMPLIANCE GUIDE
The following FAQs are intended to supplement the compliance materials available on the FTC
website. In addition, you may send questions or comments to the FTC staff’s COPPA mailbox,
CoppaHotLine@ftc.gov(link sends e-mail). This document represents the views of FTC staff
and is not binding on the Commission. To view the Rule and compliance materials, go to the
FTC's Children’s Privacy page for businesses. This document serves as a small entity
compliance guide pursuant to the Small Business Regulatory Enforcement Fairness Act.

Some FAQs refer to a document called a Statement of Basis and Purpose. A Statement of Basis
and Purpose is a document an agency issues when it promulgates or amends a rule that explains
the rule’s provisions and addresses comments received in the rulemaking process. A Statement
of Basis and Purpose was issued when the COPPA Rule was promulgated in 1999, and another
Statement of Basis and Purpose was issued when the Rule was revised in 2013.

A. GENERAL QUESTIONS ABOUT THE COPPA RULE

B. COPPA ENFORCEMENT

C. PRIVACY POLICIES AND DIRECT NOTICES TO PARENTS

D. WEBSITES AND ONLINE SERVICES DIRECTED TO CHILDREN, INCLUDING
MIXED AUDIENCE SITES AND SERVICES

E. THIRD PARTIES, SUCH AS AD NETWORKS AND PLUG-INS, COLLECTING
PERSONAL INFORMATION ON SITES DIRECTED TO CHILDREN

F. PHOTOS, VIDEOS, AND AUDIO RECORDINGS

G. GEOLOCATION DATA

H. GENERAL AUDIENCE AND TEEN SITES OR SERVICES




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I. VERIFIABLE PARENTAL CONSENT

J. EXCEPTIONS TO PRIOR PARENTAL CONSENT

K. PARENTAL ACCESS TO CHILDREN'S PERSONAL INFORMATION

L. DISCLOSURE OF INFORMATION TO THIRD PARTIES

M. REQUIREMENT TO LIMIT INFORMATION COLLECTION

N. COPPA AND SCHOOLS

O. COPPA SAFE HARBOR PROGRAMS

A. GENERAL QUESTIONS ABOUT THE COPPA RULE
1. What is the Children’s Online Privacy Protection Rule?

Congress enacted the Children’s Online Privacy Protection Act (COPPA) in 1998. COPPA
required the Federal Trade Commission to issue and enforce regulations concerning children’s
online privacy. The Commission’s original COPPA Rule became effective on April 21, 2000.
The Commission published an amended Rule on January 17, 2013. The amended Rule took
effect on July 1, 2013.

The primary goal of COPPA is to place parents in control over what information is collected
from their young children online. The Rule was designed to protect children under age 13, while
accounting for the dynamic nature of the Internet. The Rule applies to operators of commercial
websites and online services (including mobile apps and IoT devices, such as smart toys)
directed to children under 13 that collect, use, or disclose personal information from children, or
on whose behalf such information is collected or maintained (such as when personal information
is collected by an ad network to serve targeted advertising). The Rule also applies to operators of
general audience websites or online services with actual knowledge that they are collecting,
using, or disclosing personal information from children under 13, and to websites or online
services that have actual knowledge that they are collecting personal information directly from
users of another website or online service directed to children. Operators covered by the Rule
must:

   1. Post a clear and comprehensive online privacy policy describing their information
      practices for personal information collected online from children;
   2. Provide direct notice to parents and obtain verifiable parental consent, with limited
      exceptions, before collecting personal information online from children;
   3. Give parents the choice of consenting to the operator’s collection and internal use of a
      child’s information, but prohibiting the operator from disclosing that information to third
      parties (unless disclosure is integral to the site or service, in which case, this must be
      made clear to parents);




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   4. Provide parents access to their child's personal information to review and/or have the
      information deleted;
   5. Give parents the opportunity to prevent further use or online collection of a child's
      personal information;
   6. Maintain the confidentiality, security, and integrity of information they collect from
      children, including by taking reasonable steps to release such information only to parties
      capable of maintaining its confidentiality and security;
   7. Retain personal information collected online from a child for only as long as is necessary
      to fulfill the purpose for which it was collected and delete the information using
      reasonable measures to protect against its unauthorized access or use; and
   8. Not condition a child’s participation in an online activity on the child providing more
      information than is reasonably necessary to participate in that activity.

2. Who is covered by COPPA?

The Rule applies to operators of commercial websites and online services (including mobile apps
and IoT devices) directed to children under 13 that collect, use, or disclose personal information
from children. It also applies to operators of general audience websites or online services with
actual knowledge that they are collecting, using, or disclosing personal information from
children under 13. The Rule also applies to websites or online services that have actual
knowledge that they are collecting personal information directly from users of another website or
online service directed to children.

3. What is Personal Information?

The Rule defines personal information to include:

       First and last name;
       A home or other physical address including street name and name of a city or town;
       Online contact information;
       A screen or user name that functions as online contact information;
       A telephone number;
       A Social Security number;
       A persistent identifier that can be used to recognize a user over time and across different
        websites or online services;
       A photograph, video, or audio file, where such file contains a child’s image or voice;
       Geolocation information sufficient to identify street name and name of a city or town; or
       Information concerning the child or the parents of that child that the operator collects
        online from the child and combines with an identifier described above.

4. Where can I find information about COPPA?

The FTC has a comprehensive website that provides information to the public on a variety of
agency activities. The Children’s Privacy section includes a variety of materials regarding
COPPA, including all proposed and final Rules, public comments received by the Commission
in the course of its rulemakings, guides for businesses, parents, and teachers, information about



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the Commission-approved COPPA safe harbor programs, and FTC cases brought to enforce
COPPA. Many of the educational materials on the FTC website also are available in hard copy
free of charge at www.bulkorder.ftc.gov.

5. What should I do if I have questions about the COPPA Rule?

The first thing you should do is read the FTC’s Children’s Privacy guidance materials. If, after
reviewing the FTC’s online materials, you continue to have specific COPPA questions, please
send an email to our COPPA hotline at CoppaHotLine@ftc.gov(link sends e-mail).

6. What should I do if I have a complaint about someone violating the COPPA
Rule?

If you want to help law enforcement potentially spot a pattern of violations requiring law
enforcement action, you may report that to the FTC online. You also may call our toll free
telephone number at (877) FTC-HELP to report to a live operator. Please note that the FTC does
not resolve individual consumer disputes. If you have a complaint about someone violating the
COPPA Rule and need individual help, you should contact your State Attorney General(link is
external).

7. I know that COPPA doesn't just apply to websites, but also to “online
services.” What types of online services does COPPA apply to?

COPPA applies to personal information collected online by operators of both websites and
online services. The term “online service” broadly covers any service available over the Internet,
or that connects to the Internet or a wide-area network. Examples of online services include
services that allow users to play network-connected games, engage in social networking
activities, purchase goods or services online, receive online advertisements, or interact with other
online content or services. Mobile applications that connect to the Internet, Internet-enabled
gaming platforms, connected toys, smart speakers, voice assistants, voice-over-Internet protocol
services, and Internet-enabled location-based services also are online services covered by
COPPA.

8. Does COPPA apply to information about children collected online from
parents or other adults?

No. COPPA only applies to personal information collected online from children, including
personal information about themselves, their parents, friends, or other persons. However, the
Commission’s 1999 Statement of Basis and Purpose notes that the Commission expects that
operators will keep confidential any information obtained from parents in the course of obtaining
parental consent or providing for parental access pursuant to COPPA. See 64 Fed. Reg. 59888,
59902 n.213.

9. Why does COPPA apply only to children under 13? What about protecting the
online privacy of teens?



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In enacting the Children’s Online Privacy Protection Act, Congress determined to apply the
statute’s protections only to children under 13, recognizing that younger children are particularly
vulnerable to overreaching by marketers and may not understand the safety and privacy issues
created by the online collection of personal information.

Although COPPA does not apply to teenagers, the FTC is concerned about teen privacy and does
believe that strong, more flexible, protections may be appropriate for this age group. See FTC
Report: Protecting Consumer Privacy in an Era of Rapid Change: Recommendations for
Businesses and Policymakers (Mar. 2012), at 29, 60. The FTC also has issued a number of
guidance documents for teens and their parents. These educational materials are available at
www.OnguardOnline.gov.

10. I know the COPPA Rule is triggered by the collection of personal information
from children, but the information I collect at my site or service is voluntary, not
mandatory. Does COPPA still apply?

Yes. The Rule governs the online collection of personal information from children by a covered
operator, even if children volunteer the information or are not required by the operator to input
the information to participate on the website or service. The Rule also covers operators that allow
children publicly to post personal information. Finally, the Rule defines “collection” to include
the passive tracking of children’s personal information through a persistent identifier, and not
just active collection. See 16 C.F.R. § 312.2 (definition of “collection”).

11. Will the COPPA Rule keep my child from accessing inappropriate materials,
such as pornography?

No. COPPA is meant to give parents control over the online collection, use, or disclosure of
personal information from children. It was not designed to protect children from viewing
particular types of content wherever they might go online. If you are concerned about your
children seeing inappropriate materials online, you may want to consider a filtering program or
an Internet Service Provider that offers tools to help screen out or restrict access to such material.
Information about such tools is available at ConnectSafely.org(link is external) and Stay Safe
Online’s advice about parental controls(link is external), and from operating system developers.

12. Will the COPPA Rule prevent children from lying about their age to register
for general audience sites or online services whose terms of service prohibit their
participation?

No. COPPA covers operators of general audience websites or online services only where such
operators have actual knowledge that a child under age 13 is the person providing personal
information. The Rule does not require operators to ask the age of visitors. However, an operator
of a general audience site or service that chooses to screen its users for age in a neutral fashion
may rely on the age information its users enter, even if that age information is not accurate. In
some circumstances, this may mean that children are able to register on a site or service in
violation of the operator’s Terms of Service. If, however, the operator later determines that a




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particular user is a child under age 13, COPPA’s notice and parental consent requirements will
be triggered.

Importantly, however, a website or online service may be deemed directed to children even if its
Terms of Service prohibits children from using the site or service. In determining whether a
particular site or service is directed to children, the FTC will consider the factors set forth in the
Rule. See 16 C.F.R. 312.2 (definition of “Web site or online service directed to children”); see
also FAQs Section D.


B. COPPA ENFORCEMENT
1. How does the FTC enforce the Rule?

Information about the FTC’s COPPA enforcement actions can be found by clicking on the Cases
link on the FTC’s Children’s Privacy page. Parents, consumer groups, industry members, and
others that believe an operator is violating COPPA may report that to the FTC online or call our
toll free telephone number at (877) FTC-HELP.

2. What are the penalties for violating the Rule?

A court can hold operators who violate the Rule liable for civil penalties of up to $43,792 per
violation. The amount of civil penalties the FTC seeks or a court assesses may turn on a number
of factors, including the egregiousness of the violations, whether the operator has previously
violated the Rule, the number of children involved, the amount and type of personal information
collected, how the information was used, whether it was shared with third parties, and the size of
the company. The determination of the appropriate civil penalty will vary on a case-by-case
basis. In some cases, the FTC has elected to seek no civil penalty, while in other cases, the
penalties have been millions of dollars. Information about the FTC’s COPPA enforcement
actions, including the amounts of civil penalties obtained, can be found by clicking on the Cases
link on the FTC’s Children’s Privacy page.

3. Can the states or other federal government agencies enforce COPPA?

Yes. COPPA gives states and certain federal agencies authority to enforce compliance with
respect to entities over which they have jurisdiction. For example, New York has brought several
COPPA enforcement actions. See https://ag.ny.gov/press-release/2019/ag-james-google-and-
youtube-pay-record-figure-illegally-tracking-and-collecting (Sept. 2019); https://ag.ny.gov/press-
release/2018/ag-underwood-announces-record-coppa-settlement-oath-formerly-aol-violating
(Dec. 2018); https://ag.ny.gov/press-release/2016/ag-schneiderman-announces-results-operation-
child-tracker-ending-illegal-online (Sept. 2016). In addition, some federal agencies, such as the
Office of the Comptroller of the Currency and the Department of Transportation, are responsible
for handling COPPA compliance for the specific industries they regulate.

4. What should I do if my website or app doesn't comply with the Rule?



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First, until you get your website or online service into compliance, you must stop collecting,
disclosing, or using personal information from children under age 13.

Second, carefully review your information practices and your online privacy policy. In
conducting your review, look closely at what information you collect, how you collect it, how
you use it, whether the information is necessary for the activities on your site or online service,
whether you have adequate mechanisms for providing parents with notice and obtaining
verifiable consent, whether you have adequate methods for parents to review and delete their
children’s information, and whether you employ adequate data security, retention, and deletion
practices.

Educational materials aimed at operators of websites and online services are available in the
Children’s Privacy section of the FTC’s Business Center, including Children’s Online Privacy
Protection Rule: Six Step Compliance Plan for Your Business. See also Marketing Your Mobile
App: Get it Right From the Start. These materials can provide you with helpful guidance. You
might also choose to consult with one of the Commission-approved COPPA Safe Harbor
Programs or seek the advice of counsel.

5. Are websites and online services operated by nonprofit organizations subject
to the Rule?

COPPA expressly states that the law applies to commercial websites and online services and not
to nonprofit entities that otherwise would be exempt from coverage under Section 5 of the FTC
Act. In general, because many types of nonprofit entities are not subject to Section 5 of the FTC
Act, these entities are not subject to the Rule. However, nonprofit entities that operate for the
profit of their commercial members may be subject to the Rule. See FTC v. California Dental
Association, 526 U.S. 756 (1999). Although nonprofit entities generally are not subject to
COPPA, the FTC encourages such entities to post privacy policies online and to provide
COPPA’s protections to their child visitors.

6. Does COPPA apply to websites and online services operated by the Federal
Government?

As a matter of federal policy, all websites and online services operated by the Federal
Government and contractors operating on behalf of federal agencies must comply with the
standards set forth in COPPA. See OMB Guidance for Implementing the Privacy Provisions of
the E-Government Act of 2002 (Sept. 2003).

7. The Internet is a global medium. Do websites and online services developed
and run abroad have to comply with the Rule?

Foreign-based websites and online services must comply with COPPA if they are directed to
children in the United States, or if they knowingly collect personal information from children in
the U.S. The law’s definition of “operator” includes foreign-based websites and online services
that are involved in commerce in the United States or its territories. As a related matter, U.S.-
based sites and services that collect information from foreign children also are subject to



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COPPA.


C. PRIVACY POLICIES AND DIRECT NOTICES TO
PARENTS
1. My child-directed website doesn't collect any personal information. Do I still
need to post a privacy policy online?

COPPA applies only to those websites and online services that collect, use, or disclose personal
information from children. However, the FTC recommends that all websites and online services
– particularly those directed to children – post privacy policies online so visitors can easily learn
about the operator’s information practices. See Mobile Apps for Kids: Disclosures Still Not
Making the Grade (Dec. 2012) and Mobile Apps for Kids: Current Privacy Disclosures are
Disappointing (Feb. 2012).

2. What information must I include in my online privacy policy?

Section 312.4(d) of the Rule identifies the three categories of information that you must disclose
in your online privacy policy:

       The name, address, telephone number, and email address of all operators collecting or
        maintaining personal information through the site or service (or, after listing all such
        operators, provide the contact information for one that will handle all inquiries from
        parents);
       A description of what information the operator collects from children, including whether
        the operator enables children to make their personal information publicly available, how
        the operator uses such information, and the operator’s disclosure practices for such
        information; and
       That the parent can review or have deleted the child’s personal information and refuse to
        permit its further collection or use. You must also state the procedures for doing so. See
        16 C.F.R. § 312.4(d).

3. May I include promotional materials in my privacy policy?

No. The Rule requires that privacy policies must be “clearly and understandably written,
complete, and must contain no unrelated, confusing, or contradictory materials.” See 16 C.F.R. §
312.4(a) (“General principles of notice”).

4. Do I have to list the names and contact information of all the operators
collecting information at my website? This will make my online privacy policy
very long and confusing.




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The Rule provides that, if there are multiple operators collecting information through your site
(including via plug-ins), you may list the name, address, phone number, and email address of one
operator who will respond to all inquiries from parents regarding all of the operators’ privacy
policies and use of children’s information, as long as the names of all the operators are also listed
in this online notice. See 16 C.F.R. § 312.4(d)(1). If you wish to keep your online privacy policy
simple, you may include a clear and prominent link in the privacy policy to the complete list of
operators, as opposed to listing every operator in the policy itself. You must ensure, however,
that your privacy policy signals parents to, and enables them easily to access, this list of
operators. See .com Disclosures: How to Make Effective Disclosures in Digital Advertising
(Mar. 2013), at ii.

5. Do I have to disclose in my privacy policy and direct notices to parents the
collection of “cookies,” “GUIDs,” “IP addresses,” or other passive information
collection technologies on or through my site?

The Rule defines “personal information” to include persistent identifiers, such as a customer
number held in a cookie, an IP address, a processor or device serial number, or a unique device
identifier that can be used to recognize a user over time and across different websites or online
services. Therefore, you will need to disclose in your privacy policy (see FAQ C.2), and in your
direct notice to parents (see FAQ C.9), your collection, use or disclosure of such persistent
identifiers unless (1) you collect no other “personal information,” and (2) such persistent
identifiers are collected on or through your site or service solely for the purpose of providing
“support for the internal operations” of your site or service. For more detailed information about
activities considered support for internal operations, see FAQs J.5-8, below.

6. Where should I post links to my privacy policy? If I have an app, do I need to
make sure that my privacy policy is included in the app store, at the point of
purchase or download?

The Rule requires that the operator post a clearly and prominently labeled link to the online
privacy policy on the home or landing page or screen of the website or online service, and at
each area of the site or service where personal information is collected from children. This link
must be in close proximity to the requests for information in each such area. 16 C.F.R. §
312.4(d). In addition, an operator of a general audience website or online service that has a
separate children’s area must post a link to its notice of information practices with regard to
children on the home or landing page or screen of the children’s area. See 16 C.F.R. § 312.4(d).

In the case of an app, the link to the privacy policy must be on the home page of the app. The
Rule does not mandate that a privacy policy be posted at the point of purchase, such as in the app
store. However, there is a substantial benefit in providing greater transparency about the data
practices and interactive features of child-directed apps at the point of purchase and we
encourage it as a best practice. In fact, the FTC Staff Report, Mobile Apps for Kids: Disclosures
Still Not Making the Grade (Dec. 2012), notes that “information provided prior to download is
most useful in parents’ decision-making since, once an app is downloaded, the parent already
may have paid for the app. . .” See p. 7. In addition, if a child-directed app were designed to
collect personal information as soon as it is downloaded, it would be necessary to provide the



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direct notice and obtain verifiable consent at the point of purchase or to insert a landing page
where a parent can receive notice and give consent before the download is complete.

7. Is it okay for the link to my privacy policy to be located at the bottom of the
home page of my website?

The Rule states that the “operator must post a prominent and clearly labeled link to an online
notice of its information practices with regard to children on the home or landing page or screen
of its Web site or online service, and, at each area of the Web site or online service where
personal information is collected from children.” 16 C.F.R. § 312.4(d). In the 1999 Statement of
Basis and Purpose, the Commission explained that “‘clear and prominent’ means that the link
must stand out and be noticeable to the site’s visitors through use, for example, of a larger font
size in a different color on a contrasting background. The Commission does not consider ‘clear
and prominent’ a link that is in small print at the bottom of the home page, or a link that is
indistinguishable from a number of other, adjacent links.” See 64 Fed. Reg. 59888, 59894. A link
that is at the bottom of the page may be acceptable if the manner in which it is presented makes it
clear and prominent.

8. I operate a general audience website that contains a specific children’s section.
May I post a single privacy policy for the entire site that combines information
about my children’s and general information practices, or must I have a separate
privacy policy for children’s data?

In the 1999 Statement of Basis and Purpose, the Commission noted that “operators are free to
combine the privacy policies into one document, as long as the link for the children’s policy
takes visitors directly to the point in the document where the operator’s policies with respect to
children are discussed, or it is clearly disclosed at the top of the notice that there is a specific
section discussing the operator’s information practices with regard to children.” See 64 Fed. Reg.
59888, 59894 n.98. This advice remains in effect. Operators should also ensure that the link for
the children’s portion of the privacy policy appears on the home page or screen of the children’s
area of the site or service, and at each area where personal information is collected from children.
See 16 C.F.R. § 312.4(d).

9. I know that the Rule requires that I provide a direct notice to parents before I
collect personal information from children. What information must be included
in the direct notice?

The Rule requires operators to make reasonable efforts, taking into account available technology,
to ensure that a parent of a child receives direct notice of the operator’s practices with regard to
the collection, use, or disclosure of personal information from children, including notice of any
material changes to practices to which the parent previously consented. The Rule provides a very
detailed roadmap of what information must be included in your direct notice in four specific
instances.




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First: Where an operator collects the name or online contact information of a parent or
child in order to obtain a parent’s verifiable consent prior to the collection, use, or
disclosure of a child’s personal information. In this case, the direct notice must:

       State that the operator has collected the parent’s online contact information from the
        child, and, if such is the case, the name of the child or the parent, in order to obtain the
        parent’s consent;
       State that the parent’s consent is required for the collection, use, or disclosure of such
        information, and that the operator will not collect, use, or disclose any personal
        information from the child if the parent does not provide such consent;
       Set forth the additional items of personal information the operator intends to collect from
        the child, or the potential opportunities for the disclosure of personal information, should
        the parent provide consent;
       Contain a hyperlink to the operator’s online notice of its information practices (i.e., its
        privacy policy); Provide the means by which the parent can provide verifiable consent to
        the collection, use, and disclosure of the information; and
       State that if the parent does not provide consent within a reasonable time from the date
        the direct notice was sent, the operator will delete the parent’s online contact information
        from its records. See 16 C.F.R. § 312.4(c)(1).

Second: Where an operator voluntarily seeks to provide notice to a parent of a child’s
online activities that do not involve the collection, use or disclosure of personal information.
In this case, the direct notice must:

       State that the operator has collected the parent’s online contact information from the child
        in order to provide notice to, and subsequently update the parent about, a child’s
        participation in a website or online service that does not otherwise collect, use, or
        disclose children’s personal information;
       State that the parent’s online contact information will not be used or disclosed for any
        other purpose;
       State that the parent may refuse to permit the child’s participation in the website or online
        service and may require the deletion of the parent’s online contact information, and how
        the parent can do so; and
       Provide a hyperlink to the operator’s online notice of its information practices. See 16
        C.F.R. § 312.4(c)(2).

Third: Where an operator intends to communicate with the child multiple times via the
child’s online contact information and collects no other information. In this case, the direct
notice must:

       State that the operator has collected the child’s online contact information from the child
        in order to provide multiple online communications to the child;
       State that the operator has collected the parent’s online contact information from the child
        in order to notify the parent that the child has registered to receive multiple online
        communications from the operator;




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       State that the online contact information collected from the child will not be used for any
        other purpose, disclosed, or combined with any other information collected from the
        child;
       State that the parent may refuse to permit further contact with the child and require the
        deletion of the parent’s and child’s online contact information, and how the parent can do
        so;
       State that if the parent fails to respond to this direct notice, the operator may use the
        online contact information collected from the child for the purpose stated in the direct
        notice; and
       Provide a hyperlink to the operator’s online notice of its information practices. See 16
        C.F.R. § 312.4(c)(3)

Fourth: Where the operator’s purpose for collecting a child’s and a parent’s name and
online contact information is to protect a child’s safety and the information is not used or
disclosed for any other purpose. In this case, the direct notice must:

       State that the operator has collected the name and the online contact information of the
        child and the parent in order to protect the safety of a child;
       State that the information will not be used or disclosed for any purpose unrelated to the
        child’s safety;
       State that the parent may refuse to permit the use, and require the deletion, of the
        information collected, and how the parent can do so;
       State that if the parent fails to respond to this direct notice, the operator may use the
        information for the purpose stated in the direct notice; and
       Provide a hyperlink to the operator’s online notice of its information practices. See 16
        C.F.R. § 312.4(c)(4).

10. When I send a direct notice to parents, may I send them a simple email
containing a link to my online privacy policy?

No. As described in FAQ C.9 above, the Rule makes clear that the direct notice to parents must
contain certain key information within the four corners of the notice itself, depending on the
purpose for which the information is being collected. Therefore, you may not simply link to a
separate online notice. Note, however, that the Rule requires that each direct notice you send also
contain a link to your online privacy policy. The intention is to help ensure that the direct notice
functions as an effective “just-in-time” message to parents about an operator’s information
practices, while also directing parents online to view any additional information contained in the
operator’s online notice.

11. I have an app directed to children. At what point in the download process
should I send parents my direct notice?

Unless one of the limited exceptions applies (see FAQ I.2), the Rule requires that you send
parents the direct notice prior to the collection of any personal information from the child. The
limited exception to this is that you may collect the parent’s online contact information for the
sole purpose of sending the parent the direct notice. Alternatively, you may provide the direct



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notice to the parent through other means, such as through the device onto which the app is
downloaded, if the mechanisms both (1) provide such notice and obtain the parent’s consent
before any collection of personal information and (2) are reasonably designed to ensure that it is
the parent who receives the notice and provides the consent.


D. WEBSITES AND ONLINE SERVICES DIRECTED TO
CHILDREN, INCLUDING MIXED AUDIENCE SITES
AND SERVICES
1. COPPA applies to websites or online services that are “directed to children.”
What determines whether or not a website or online service is directed to
children?

The Rule sets out a number of factors for determining whether a website or online service is
directed to children. These include:

       the subject matter;
       visual content;
       the use of animated characters or child-oriented activities and incentives;
       music or other audio content;
       age of models;
       presence of child celebrities or celebrities who appeal to children;
       language or other characteristics of the website or online service;
       whether advertising promoting or appearing on the website or online service is directed to
        children;
       competent and reliable empirical evidence regarding audience composition; and
       evidence regarding the intended audience of the site or service.

See 16 C.F.R. § 312.2 (definition of “Web site or online service directed to children,” paragraph
(1)).

As described in FAQ E.1 below, the Rule also considers a website or online service to be
“directed to children” where it has actual knowledge that it is collecting personal information
directly from users of another website or online service that is directed to children. See 16 C.F.R.
§ 312.2 (definition of “Web site or online service directed to children,” paragraph (2)).

2. I post videos for a commercial purpose on a general audience platform that
hosts a wide variety of user-generated content. Do I need to comply with
COPPA?

It depends. COPPA applies to commercial websites and online services that are directed to
children. If the content you post on the platform is directed to kids, and personal information is
collected by you or on your behalf (such as a persistent identifier used to serve targeted



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advertising), you will be deemed an operator of an online service that needs to comply with
COPPA. By the same token, if the platform has actual knowledge that your content is directed to
children and is collecting personal information, it will also need to comply with COPPA.

3. I don’t know whether kids watch the videos I post on the general audience
platform. How do I determine if my videos are directed to kids?

The Rule sets out a number of factors for determining whether a website or online service is
directed to children (See FAQ D.1). The FTC staff recognizes that the determination of whether
content is child-directed will be clearer in some contexts than in others. We can, however,
provide some general guidance.

       Your website or online service will not be considered “directed to children” just because
        some children visit your site or use your service. However, if your intended audience
        includes kids under 13, even if that is only a portion of your intended audience, you must
        comply with the Rule’s requirements if you are collecting personal information from your
        users, or it is being collected on your behalf.
       Unless you are affirmatively targeting kids, there are many subject matter categories
        where COPPA clearly wouldn’t apply, such as those involving traditionally adult
        activities like employment, finances, politics, home ownership, home improvement, or
        content aimed at college students. On the other hand, if your content involves
        traditionally child-oriented activities, such as dress up games or playing with toys, you
        may be child-directed.
       Consider the context of your videos when determining whether your content is child-
        directed. Although the use of bright colors and animated characters are some of the
        factors the FTC and courts consider in determining whether a site or service is directed to
        kids, the FTC recognizes that some animated characters are directed to a general
        audience.
       Finally, you may want to consider whether there is empirical evidence about your
        audience composition, or other indicia about your actual audience.

Unfortunately, the FTC cannot provide an opinion on whether a specific site or service is
directed to children. If you continue to have questions about whether your content is directed to
children, consider contacting an attorney or consulting one of the COPPA Safe Harbor programs
– self-regulatory groups that offer guidance on how operators can comply with the law.

4. I run a child-directed app. I would like to screen users so that I only have to
get parental consent from children under age 13, not from everyone who uses the
app. May I?

It depends. Because of its very nature, in most instances, a website or online service (such as an
app) directed to children must treat all visitors as children and provide COPPA’s protections to
every such visitor. This means that for the most part, a website or online service directed to
children may not screen users for age.




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However, the Rule provides a narrow exception for a site or service that may be directed to
children under the criteria set forth in FAQ D.1 above, but that does not target children as its
primary audience (sometimes referred to as “mixed audience”). If your site or service targets
children under age 13, but children under 13 are not your primary audience (e.g., your site also
targets adults or older teens), you can take advantage of this exception. You can implement an
age screen; for users who indicate they are children under 13, you can ensure that you do not
collect personal information from those users, or you can obtain verifiable parental consent. It is
important to emphasize that the “mixed audience” category is a subset of the “directed to
children” category, and a general audience site does not become “mixed audience” just because
some children use the site or service.

An operator of a site or service meeting this standard may age-screen its users if it: (1) does not
collect personal information from any visitor prior to collecting age information, and (2) prevents
the collection, use, or disclosure of personal information from visitors who identify themselves
as under age 13 without first complying with the Rule’s notice and parental consent provisions.
See 16 C.F.R. § 312.2 (definition of “Web site or online service directed to children,” paragraph
(3)). Keep in mind that unlike a general audience website or service, as an operator of a website
or online service directed to children, you may not block children from participating in the
website or online service.

5. What evidence would I need to demonstrate whether children under age 13 are
or are not the primary audience for my website or online service?

As the operator, you should carefully analyze who your intended audience is, the actual
audience, and in many instances, the likely audience for your website or online service. In
making these determinations, you should keep in mind the factors for a “Web site or online
service directed to children” contained in paragraph (1) of 16 C.F.R. § 312.2. See FAQ D.1 and
D.3 above. You may also get a better sense of your site or service once it has been in operation,
and may need to make some changes accordingly.

6. I run a site that I believe may fall within the FTC’s sub-category of a website
directed to children but where it is acceptable to age-screen users because
children are not the primary audience (i.e., “mixed audience”). Can I age-screen
and completely block users who identify as being under age 13 from
participating on my site?

No. If your site is “mixed audience” (i.e., it falls within the definition of a “Web site or online
service directed to children” as set forth in paragraph (3) of 16 C.F.R. § 312.2), then you may
age screen your users, but you may not block children from participating altogether. Instead, the
Rule permits you to use an age screen in order to differentiate between users under age 13 and
other users. You may decide to offer different activities, or functions, to your users depending
upon age, but you may not collect personal information from users who have indicated they are
under 13 without first obtaining verifiable parental consent.




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7. I have a “mixed audience” app and would like to age screen my users. Are
there specific requirements for the age screen?

In designing your age screen, you should ask age information in a neutral manner, making sure
the data entry point allows users to enter their age accurately and does not default to an age 13 or
over. An example of a neutral age screen would be a system that allows a user freely to enter the
month and year of birth. Avoid encouraging children to falsify age information by, for example,
stating that certain features will not be available to users under age 13. In addition, consistent
with long standing Commission advice, FTC staff recommends using technical means, such as a
cookie, to prevent children from back-buttoning to enter a different age.

8. I have a “mixed audience” app and would like to have an age screen. Can I ask
a question that a child is unlikely to be able to answer, such as a math problem,
to determine whether a user is 13 or over instead of asking age directly?

No. Requiring a child to answer a question he or she is unlikely to be able to answer, without
more, is inadequate for determining the age of the user. There are many children under 13, for
example, that can perform complex math problems, and some users over 13 that may have
difficulty with those same complex problems. You may, however, use a math problem in
addition to asking the age of the user, as described in FAQ D.7 above.

9. Am I required to inform third parties that my website or online service is
directed to children? Even if I am not required to do so, how can I do this? If I
signal the nature of my site or service, will this protect me from liability under
COPPA?

The Rule does not require you to inform third parties of the child-directed nature of your site or
service, and doing so, without more, will not relieve you of your obligations under COPPA.
Remember, you are responsible for the collection of personal information from your users, no
matter who is doing the collection; therefore, you will need to do more than simply identify
yourself to third parties. As a child-directed property, absent an exception under the Rule (see
FAQ I.2 below), you must: (1) not collect or allow any other entity to collect personal
information from your visitors; or (2) provide notice and obtain prior parental consent before
collecting or allowing any entity to collect personal information from your visitors, as well as
provide all of the other COPPA protections. In addition, Commission staff recommends that
operators of child-directed websites or services signal their status to third parties and you may
arrange with the third party collecting the personal information to provide adequate COPPA
protections.

10. I want to run ads on my child-directed websites and apps. What do I need to
know to make sure that I am complying with COPPA?

There are a number of questions you must find answers to before you enter into an arrangement
with any entity to serve advertising to run on your child-directed sites and services. These
include:



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       Is there a way to control the type of advertising that appears on the sites and services?
        (e.g., can you stipulate and contract only for contextual advertising, and can you prohibit
        behavioral advertising or retargeting?)
       What categories of information will be collected from users on the sites and services in
        connection with the ads they are served? Will persistent identifiers be collected for
        purposes other than support for internal operations? Will geolocation information be
        collected in connection with the ads served?

You should make informed decisions before you permit advertising to run on your sites and
services. Depending on what advertising choices you make, you may be required to notify
parents in your online privacy policies and in a direct notice, and obtain verifiable parental
consent, before you permit advertising to occur. Remember that the Rule holds you liable for the
collection of information that occurs on or through your sites and services, even if you yourself
do not engage in such collection.

11. I have no idea what information the third parties whose content I have
embedded in my kids’ app might collect from my users. Do I need to know this
information?

Yes. As the operator of a child-directed app, you must conduct an inquiry into the information
collection practices of every third party that can collect information via your app. You need to
determine each third party’s information collection practices so that you can make an informed
decision as to whether its presence on your app will require you to give parents notice and obtain
their consent prior to their collection of personal information from children. See FAQ D.9 above.

12. I operate a child-directed app that allows kids to make paintings. I don’t
collect the paintings — they rest on the device — but the app includes buttons for
popular email and social media providers that kids can click on within the app.
The buttons open the email program or social network, populate it with the
painting, and allow the child to share it along with a message. I don’t collect or
share any other personal information through the app. Do I have to seek
verifiable parental consent?

Yes. The COPPA rule defines “collection” to include requesting, prompting, or encouraging a
child to submit personal information online, and enabling a child to make personal information
publicly available in identifiable form. In addition, under the COPPA Rule, “disclosure” includes
making a child’s personal information publicly available in identifiable form through an email
service or other means, such as a social network. You must get verifiable parental consent before
enabling children to share personal information in this manner, even through third parties on
your app. This is true unless an exception applies. (See Section I, Exceptions to Prior Parental
Consent). However, in the situation you describe — where a child can email a painting and a
message or post content on his or her social networking page through your app — no exception
applies.




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E. THIRD PARTIES, SUCH AS AD NETWORKS AND
PLUG-INS, COLLECTING PERSONAL INFORMATION
ON SITES DIRECTED TO CHILDREN
1. I operate an advertising network service. Under what circumstances will I be
held to have “actual knowledge” that I have collected personal information
directly from users of another website or online service directed to children?

The circumstances under which you will be deemed to have acquired “actual knowledge” that
you have collected personal information directly from users of a child-directed site or service
will depend a lot on the particular facts of your situation. In the 2013 Statement of Basis and
Purpose, the Commission set forth two cases where it believes that the actual knowledge
standard will likely be met:

   1. where a child-directed content provider (which is strictly liable for any collection)
      directly communicates the child-directed nature of its content to you, the ad network; or
   2. where a representative of your ad network recognizes the child-directed nature of the
      content.

Under the first scenario, any direct communications that the child-directed provider has with you
that indicate the child-directed nature of its content would give rise to actual knowledge. In
addition, if a formal industry standard or convention is developed through which a site or service
could signal its child-directed status to you, that would give rise to actual knowledge. Under the
second scenario, whether a particular individual can obtain actual knowledge on behalf of your
business depends on the facts. Prominently disclosing on your site or service methods by which
individuals can contact your business with COPPA information – such as: 1) contact information
for designated individuals, 2) a specific phone number, and/or 3) an online form or email address
– will reduce the likelihood that you would be deemed to have gained actual knowledge through
other employees. (See also FAQ E.2 below).

2. I operate a social media plug-in. I receive a list of websites from a parents’
organization, advocacy group or someone else, which says that these websites are
using my plug-in and are child-directed. Does this give me actual knowledge of
the child-directed nature of these sites?

It’s unlikely the receipt of a list of purportedly child-directed websites alone would constitute
actual knowledge. You would have no duty to investigate. It's possible, however, that you will
receive screenshots or other forms of concrete information that do give you actual knowledge
that the website is directed at children. If you receive information and are uncertain whether the
site is child-directed, you may ordinarily rely on a specific affirmative representation from the
website operator that its content is not child-directed. For this purpose, a website operator would
not be deemed to have provided a specific affirmative representation if it merely accepts a
standard provision in your Terms of Service stating that, by incorporating your code, the first
party agrees that it is not child directed.



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3. I operate an ad network and am considering participating in a system in which
first-party sites could signal their child-directed status to me, such as by explicit
signaling from the embedding webpage to ad networks. I understand that I
would have “actual knowledge” if I collect information from users on a first-
party site that has signaled its child-directed status. Are there any benefits to me
if I participate in such a system?

Such a system could provide more certainty for you. If the system requires the first-party site to
affirmatively certify whether it is “child-directed” or “not child-directed,” and the site signals
that it is “not child-directed,” you may ordinarily rely on such a representation. Such reliance is
advisable, however, only if first parties affirmatively signal that their sites or services are “not
child-directed." You could not set that option for them as the default.

Remember, though, that you may still be faced with screenshots or other concrete information
that gives you actual knowledge of the child-directed nature of the website despite a
contradictory representation by the site. If, however, such information is inconclusive, you may
ordinarily continue to rely on a specific affirmative representation made through a system that
meets the criteria above.


F. PHOTOS, VIDEOS, AND AUDIO RECORDINGS
1. I run a moderated website that is directed to children and I prescreen all
children’s submissions in order to delete personal information before postings go
live. Do I have to get parental consent if I allow children to post photos of
themselves but no other personal information?

Yes. The Rule considers photos, videos, and audio recordings that contain a child’s image or
voice to be personal information. This means that prior to posting photos, videos, and audio
recordings that contain a child’s image or voice, operators covered by COPPA must either (i)
prescreen and delete from children’s submissions any photos, videos, or audio recordings of
themselves or other children or (ii), first give parents notice and obtain their consent prior to
permitting children to upload any photos, videos, or audio recordings of themselves or other
children.

2. I want to offer a child-directed app. The app would allow children to upload
pictures of their favorite pets or places. I do not ask children to provide their
email addresses or their names, or really any personal information for that
matter. How does COPPA apply to me?

COPPA applies to photos, videos, and audio files that contain children’s images or voices. It also
applies to geolocation data contained in these files sufficient to identify street name and name of
city or town. Finally, it applies to any persistent identifiers collected via the children’s upload of




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their photos. Therefore, in order to offer an app without parental notice and consent, the operator
must take the following steps:

   1. Pre-screen the children’s photos in order to delete any that depict images of children or to
      delete the applicable portion of the photo, if possible. The operator must also delete any
      other personal information, for example, geolocation metadata, contained in the photos
      prior to posting them through the app. Note that if an operator does not pre-screen, then it
      may be subject to civil penalties under COPPA if any personal information is collected
      from children without the operator first notifying parents and obtaining their consent; and
   2. Ensure that any persistent identifiers are used only to support the internal operations of
      the app (as that term is defined in the Rule – see 16 C.F.R. 312.2) and are not used or
      disclosed to contact a specific individual, including through behavioral advertising, to
      amass a profile on a specific individual, or for any other purpose.

3. Do I have to get parental consent if first I blur images in the children’s photos
so that you cannot see any facial features when the pictures go live on my site?

An operator of a site directed to children does not need to notify parents or obtain their consent if
it blurs the facial features of children in photos before posting them on its website. See 2013
Statement of Basis and Purpose, 78 Fed. Reg. 3972, 3982 n.123. The same goes for a site that
has actual knowledge it has collected the photos from children. Before posting such photos,
however, the operator must also remove any other personal information they contain, such as
geolocation metadata, and ensure that it is not using or disclosing persistent identifiers collected
from children in a manner that violates the Rule.

4. Does the Rule prohibit adults, such as parents, grandparents, teachers, or
coaches from uploading photos of children?

COPPA only covers information collected online from children. It does not cover information
collected from adults that may pertain to children. Thus, COPPA is not triggered by (1) an adult
uploading photos of children on a general audience site, (2) an adult uploading photos of children
in the non-child directed portion of an otherwise child-directed website (e.g., a parent’s corner),
or (3) an age-screened user (age 13 or older) uploading photos of children on a mixed audience
site or service.

However, operators of websites or online services that are primarily directed to children (as
defined by the Rule) must assume that the person uploading a photo is a child and they must
design their systems either to: (1) give notice and obtain prior parental consent, or (2) remove
any child images and metadata prior to posting.

5. My app is directed to children. A child can upload photos into the app and
manipulate and decorate the photos in different ways, but the app does not
transmit any personal information (photos or otherwise) from the child’s device.
Am I “collecting” personal information because the child is interacting with a
photo stored on the device?



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No. You are not collecting personal information simply because your app interacts with personal
information that is stored on the device and is never transmitted.

6. I have a child-directed toy that includes an Internet-connected search function.
The toy uses a microphone to allow the child to ask the toy a question, which the
toy does by conducting an Internet search and speaking the answer back to the
child. Do I need to get verifiable parental consent?

It depends. Audio files of a child’s voice, like photographs and videos containing a child’s
image, are personal information in and of themselves and require verifiable parental consent.
However, the Commission has issued an enforcement policy statement that states that when an
operator collects an audio file containing a child’s voice solely as a replacement for written
words, such as to perform a search or fulfill a verbal instruction or request, and only maintains
the file for the brief time necessary for that purpose, the FTC will not take an enforcement action
against the operator for failing to obtain parental consent. The operator must, however, provide a
clear online notice of its collection, use, and deletion policy regarding these audio files. The
Commission reasoned that, where an operator collects an audio file in these circumstances, there
is little risk that the file will be used to contact an individual child.

There are limitations on this non-enforcement policy. First, this policy is not applicable when the
operator requests information via voice that otherwise would be considered personal information
under the Rule, such as a name. Second, as described above, the operator must provide clear
notice of its information, use, and deletion policy for these audio files in its privacy policy.
Third, the operator may not make any other use of the audio file in the brief period before the file
is destroyed. Finally, this policy does not affect the operator’s COPPA compliance requirements
in any other respect. In other words, if the operator is collecting other types of personal
information, it must obtain verifiable parental consent.


G. GEOLOCATION DATA
1. I automatically collect geolocation information from users of my children’s
app, but I do not use this information for anything. Am I responsible for
notifying parents and getting their consent to such collection?

Yes. COPPA covers the collection of geolocation information, not just its use or disclosure.

2. What if I give my users a choice to turn off geolocation information? Do I still
have to notify parents and get prior parental consent?

COPPA is designed to notify parents and give them the choice to consent. Therefore, it is not
sufficient to provide such notification and choice to the child user of a website or service. If the
operator intends to collect geolocation information, the operator will be responsible for notifying
parents and obtaining their consent prior to such collection.




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3. The Rule covers “geolocation information sufficient to identify street name
and name of city or town.” What if my children’s app only collects coarse
geolocation information, tantamount to collecting a ZIP code but nothing more
specific?

COPPA does not require an operator to notify parents and obtain their consent before collecting
the type of coarse geolocation services described. However, the operator should be quite certain
that, in all instances, the geolocation information it collects is more general than that sufficient to
identify street name and name of city or town.

4. The geolocation information I collect through my app provides coordinate
numbers. It does not specifically identify a street name and name of city or town.
Do I have to notify parents and get their consent in this instance? What if I
collect other types of information, such as wireless network information, that can
be used to determine precise location?

COPPA covers the collection of geolocation information “sufficient” to identify street name and
name of city or town. COPPA applies even if the child is not asked to provide an actual street
address. For example, COPPA would apply if an app collects the user’s longitude and latitude.
Similarly, the Commission alleged that COPPA applied in United States v. InMobi Pte Ltd.,
where the company collected wireless network identifiers to infer the child’s precise location
without providing notice or obtaining verifiable parental consent.


H. GENERAL AUDIENCE AND TEEN SITES OR
SERVICES
1. Am I responsible if children lie about their age during the registration process
on my general audience website?

The Rule does not require operators of general audience sites to investigate the ages of visitors to
their sites or services. See 1999 Statement of Basis and Purpose, 64 Fed. Reg. 59888, 59892.
However, operators will be held to have acquired actual knowledge of having collected personal
information from a child where, for example, they later learn of a child’s age or grade from a
concerned parent who has learned that his child is participating on the site or service.

2. I have an online service that is intended for teenagers. How does COPPA affect
me?

COPPA applies to websites and online services that are directed to children under 13. However,
although you may intend to operate a “teen service,” in reality, your site may attract a substantial
number of children under 13, and thus may be considered a “Web site or online service directed
to children” under the Rule. Just as the Commission considers several factors in determining
whether a site or service is directed to children, you too should consider your service’s subject



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matter, visual content, character choices, music, and language, among other things. If your
service targets children as one of its audiences – even if children are not the primary audience –
then your service is “directed to children.” If children are not your primary audience, however,
you may employ a neutral age screen in order to provide COPPA’s protections to only those
visitors who indicate they are under age 13. See Section D above for more information on mixed
audience sites. Note that sites or services directed to children cannot use the age screen to block
children under age 13. See FAQ D.4 above. Once you identify child visitors, you may choose to:

   1. Collect parents’ online contact information to provide direct notice in order to obtain
      parents’ consent to your information collection, use and disclosure practices; or
   2. Direct child visitors to content that does not involve the collection, use, or disclosure of
      personal information.

3. Can I block children under 13 from my general audience website or online
service?

Yes. COPPA does not require you to permit children under age 13 to participate in your general
audience website or online service, and you may block children from participating if you so
choose. By contrast, you may not block children from participating in a website or online service
that is directed to children as defined by the Rule, even if the website or online service is also
directed to users age 13 or older. See FAQ D.4 above.

If you choose to block children under 13 on your general audience site or service, you should
take care to design your age screen in a manner that does not encourage children to falsify their
ages to gain access to your site or service. Ask age information in a neutral manner at the point at
which you invite visitors to provide personal information or to create a user ID.

In designing a neutral age-screening mechanism, you should consider:

       Making sure the data entry point allows users to enter their age accurately. An example of
        a neutral age-screen would be a system that allows a user freely to enter month and year
        of birth. A site that includes a drop-down menu that only permits users to enter birth
        years making them 13 or older would not be considered a neutral age-screening
        mechanism since children cannot enter their correct ages on that site.
       Avoiding encouraging children to falsify their age information, for example, by stating
        that visitors under 13 cannot participate or should ask their parents before participating.
        In addition, simply including a check box stating, “I am over 12 years old” would not be
        considered a neutral age-screening mechanism.

In addition, consistent with long standing Commission advice, FTC staff recommends using a
cookie to prevent children from back-buttoning to enter a different age. Note that if you ask
participants to enter age information, and then you fail either to screen out children under age 13
or to obtain their parents’ consent to collecting these children’s personal information, you may
be liable for violating COPPA. See, e.g., the FTC’s COPPA cases against Path, Inc., Playdom,
Inc., Sony BMG Music Entertainment, and Yelp.




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4. I operate a general audience video game service and do not ask visitors to
reveal their ages. I do permit users to submit feedback, comments, or questions
by email. What are my responsibilities if I receive a request for an email
response from a player who indicates that he is under age 13?

Under the Rule’s one-time response exception (16 C.F.R. § 312.5(c)(3)) you are permitted to
send a response to the child, via the child’s online contact information, without sending notice to
the parent or obtaining parental consent. However, you must delete the child’s online contact
information from your records promptly after you send your response. You may not use the
child’s online contact information to re-contact the child (or for any other purpose), or disclose
the child’s online contact information. Note that if you choose not to respond to the child’s
inquiry, you must still immediately delete the child’s personal information from your records.
Additionally, such an email may give you actual knowledge that you have collected personal
information from a child (e.g., if you had previously collected the child’s email address as part of
a website registration process). In such a circumstance, you would need to take steps to ensure
that you are complying with COPPA, such as obtaining parental consent or immediately deleting
any personal information collected from the child.

5. I run a video game website that has some child users, but also many adult and
teen users. How do I determine if my site is “mixed audience” (i.e., directed to
children but where it is acceptable to age screen) or general audience (where
COPPA does not apply)?

In determining whether a website or online service is directed to children, you should carefully
consider the factors set forth in the Rule, including the subject matter of the game, visual content,
use of animated characters or child-oriented activities and incentives, music or other audio
content, age of models, presence of child celebrities or celebrities who appeal to children,
language or other characteristics of the website or online service, and whether advertising
promoting or appearing on the site or service is directed to children. You should also consider
any competent and empirical evidence regarding your audience composition, and who your
intended audience is. The Commission considers the totality of the circumstances in determining
whether a website or online service is directed to children, and no single factor is determinative.
If after considering these factors you determine that your site or service is directed to children,
then you can separately determine whether your site falls in the “mixed audience” subcategory –
i.e., whether children are not your primary audience.

Importantly, “mixed audience” sites or services are a subcategory of “directed to children.” In
other words, a website or online service that is appealing to all ages and not specifically directed
at children is not deemed “mixed audience” simply because some children may use the site or
service. In determining whether your site or service is mixed audience, you should consider your
intended audience (are you marketing to under 13 users, such as through selling related toys, for
example). You should also determine whether your site or service involves child-oriented
activities, such as a dress up game, and whether you have empirical evidence as to the actual
users of your video game site. If you continue to have questions about whether your content is




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mixed audience, consider contacting an attorney or consulting one of the COPPA Safe Harbor
programs – self-regulatory groups that offer guidance on how operators can comply with the law.

6. I operate a general audience online service and do not ask visitors to reveal
their ages. However, I do permit users to create their own blog pages, and my
service has a number of online forums. What happens if a child registers on my
service and posts personal information (e.g., on a comments page) but does not
reveal her age anywhere? What if a child announces her age in an online forum?

The COPPA Rule applies to an operator of a general audience website if it has actual knowledge
that a particular visitor is a child. If a child posts personal information on a general audience site
or service but does not reveal her age, and if the operator has no other information that would
lead it to know that the visitor is a child (such as the child posting that she attends an elementary
school), then the operator would not be deemed to have acquired “actual knowledge” under the
Rule and would not be subject to the Rule’s requirements.

Even where the child does reveal age-identifying information, if no one in your organization is
aware of the post, then you may not have the requisite actual knowledge under the Rule.
However, you may be considered to have actual knowledge where a child announces her age
under certain circumstances, for example, if you monitor user posts, if a responsible member of
your organization sees the post, or if someone alerts you to the post (e.g., a concerned parent
who learns that his child is participating on your site). Where an operator knows that a particular
visitor is a child, the operator must either meet COPPA’s notice and parental consent
requirements or delete the child’s information.


I. VERIFIABLE PARENTAL CONSENT
1. When do I have to get verifiable parental consent?

The Rule provides generally that an operator must obtain verifiable parental consent before
collecting any personal information from a child, unless the collection fits into one of the Rule’s
exceptions described in various FAQs herein. See 16 C.F.R. § 312.5(c).

2. May I first collect personal information from the child, and then get parental
permission to such collection if I do not use the child’s information before getting
the parent’s consent?

As a general rule, operators must get verifiable parental consent before collecting personal
information online from children under 13. Certain, limited exceptions let operators collect
certain personal information from a child before obtaining parental consent. See 16 C.F.R. §
312.5(c). These exceptions include:

       Where the sole purpose of collecting the name or online contact information of the parent
        or child is to provide notice to the parent and obtain parental consent. Note that under this



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        exception, if the operator has not obtained parental consent after a reasonable time from
        the date of the information collection, the operator must delete such information from its
        records;
       Where the sole purpose of collecting a parent’s online contact information is to provide
        voluntary notice about the child’s participation in a website or online service that does
        not otherwise collect, use, or disclose children’s personal information. Such information
        cannot be used or disclosed for any other purpose and the operator must make reasonable
        efforts, taking into consideration available technology, to provide a parent with
        appropriate notice;
       Where the sole purpose of collecting online contact information from a child is to
        respond directly on a one-time basis to a specific request from the child, and where such
        information is not used to re-contact the child or for any other purpose, is not disclosed,
        and is deleted by the operator from its records promptly after responding to the child’s
        request;
       Where the purpose of collecting a child’s and a parent’s online contact information is to
        respond directly more than once to the child’s specific request, such as to receive a
        monthly newsletter, and where such information is not used for any other purpose,
        disclosed, or combined with any other information collected from the child. Here, the
        operator must provide parents with notice and the means to opt out of allowing the site’s
        future contact of the child. In providing such notice, the operator must make reasonable
        efforts, taking into consideration available technology, to ensure that the parent receives
        appropriate notice and will not be deemed to have made reasonable efforts where the
        notice to the parent was unable to be delivered;
       Where the purpose of collecting a child’s and a parent’s name and online contact
        information, is to protect the safety of a child, and where such information is not used or
        disclosed for any purpose unrelated to the child’s safety. Here, the operator must make
        reasonable efforts, taking into consideration available technology, to provide a parent
        with appropriate notice;
       Where the purpose of collecting a child’s name and online contact information is to:
            o Protect the security or integrity of its website or online service;
            o Take precautions against liability;
            o Respond to judicial process; or
            o To the extent permitted under other provisions of law, to provide information to
                 law enforcement agencies or for an investigation on a matter related to public
                 safety;
       Where an operator collects a persistent identifier and no other personal information and
        such identifier is used for the sole purpose of providing support for the internal operations
        of the website or online service as outlined in FAQ J.5 below; or
       Where a third-party operator has actual knowledge that it has a presence on a child-
        directed site (e.g., through a social widget or plug-in embedded on the site), it collects a
        persistent identifier and no other personal information from a visitor of the child-directed
        site, and the third-party operator’s previous affirmative interaction with that user
        confirmed the user was not a child (e.g., an age-gated registration process).

3. I collect personal information from children who use my online service, but I
only use the personal information I collect for internal purposes and I never give



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it to third parties. Do I still need to get parental consent before collecting that
information?

It depends. First, you should determine whether the information you collect falls within one of
the Rule’s limited exceptions to parental consent outlined in FAQ I.2 above. If you fall outside of
one of those exceptions, you must notify parents and obtain their consent. However, if you only
use the information internally, and do not disclose it to third parties or make it publicly available,
then you may obtain parental consent through use of the Rule’s “email plus” mechanism, as
outlined in FAQ I.4 below. See 16 C.F.R. § 312.5(b)(2).

4. How do I get parental consent?

You may use any number of methods to obtain verifiable parental consent, as long as the method
you choose is reasonably calculated to ensure that the person providing consent is the child’s
parent. The Rule sets forth several non-exhaustive options, and you can apply to the FTC for pre-
approval of a new consent mechanism, as set out in FAQ I.12 below.

If you are going to disclose children’s personal information to third parties, or allow children to
make it publicly available (e.g., through a social networking service, online forums, or personal
profiles) then you must use a method that is reasonably calculated, in light of available
technology, to ensure that the person providing consent is the child’s parent. Specific methods
identified in the Rule or otherwise approved by the Commission include:

       Providing a consent form to be signed by the parent and returned via U.S. mail, fax, or
        electronic scan (the “print-and-send” method);
       Requiring the parent, in connection with a monetary transaction, to use a credit card,
        debit card, or other online payment system that provides notification of each discrete
        transaction to the primary account holder;
       Having the parent call a toll-free telephone number staffed by trained personnel, or have
        the parent connect to trained personnel via video-conference;
       Verifying a parent’s identity by checking a form of government-issued identification
        against databases of such information, provided that you promptly delete the parent’s
        identification after completing the verification;
       Requiring a parent to answer a series of knowledge-based challenge questions that would
        be difficult for someone other than the parent to answer, as separately approved by the
        Commission using the procedures set forth in FAQ I.12;
       Verifying a picture of a driver's license of other photo ID submitted by the parent and
        then comparing that photo to a second photo submitted by the parent, using facial
        recognition technology, as separately approved by the Commission using the procedures
        set forth in FAQ I.12; and
       If you are going to use children’s personal information only for internal purposes – that
        is, you will not be disclosing the information to third parties or making it publicly
        available – then you can use any of the above methods or you can use the “email plus”
        method of parental consent. “Email plus” allows you to request (in the direct notice sent
        to the parent’s online contact address) that the parent indicate consent in a return
        message. To properly use the email plus method, you must take an additional confirming



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       step after receiving the parent’s message (this is the “plus” factor). The confirming step
       may be:
           o Requesting in your initial message to the parent that the parent include a phone or
               fax number or mailing address in the reply message, so that you can follow up
               with a confirming phone call, fax or letter to the parent; or
           o After a reasonable time delay, sending another message via the parent’s online
               contact information to confirm consent. In this confirmatory message, you should
               include all the original information contained in the direct notice, inform the
               parent that he or she can revoke the consent, and inform the parent how to do so.

5. I would like to get consent by collecting a credit card or debit card number
from the parent, but I don't want to engage in a monetary transaction. Is this ok?

It depends. The general rule is that any parental consent mechanism “must be reasonably
calculated, in light of available technology, to ensure that the person providing consent is the
child’s parent.” The Rule lists several methods that automatically meet this standard, one of
which is the use of a credit card, debit card, or other online payment system in connection with a
monetary transaction. Importantly, the listed methods are not exhaustive; you may use other
methods as long as they are “reasonably calculated” to ensure that the consent is being provided
by the parent. Although collecting a 16-digit credit or debit card number alone would not satisfy
the method listed in the Rule, there may be circumstances in which collection of the card number
– in conjunction with implementing other safeguards – would suffice to meet the standard for
verifiable parental consent. For example, you could supplement the request for credit card
information with special questions to which only parents would know the answer and find
supplemental ways to contact the parent.

6. I would like to use a credit card or a government-issued identification as a
method of parental consent. I am worried, however, that I will not know whether
it is the child’s parent or another adult who is submitting identification for
consent. Do I need to collect additional information to confirm that, in fact, it is
the parent?

No. By providing appropriate notice and obtaining consent in connection with the Rule’s proper
use of a credit card or government identification, the operator will be deemed to fulfill its
obligation under the Rule.

7. What do I do if some parents cannot or will not use the consent method I have
chosen? For instance, some parents might not have a credit card, or might feel
uncomfortable providing government identification information online.

Many operators find it useful to offer a choice of consent methods for those parents who cannot,
or will not, use their primary consent mechanism. At the very least, you might consider offering
one alternate method that parents might be more comfortable with, such as a print-and-send
form.




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8. Should I give out passwords or PIN numbers to parents to confirm their
identity in any future contact with them?

Once you have notified a parent and obtained verifiable consent, providing a password or a PIN
number is a good way to confirm a parent’s identity for any future contact you might have with
that parent. Remember that if you change your information practices in a material way in the
future, you will have to send a new parental notice and obtain an updated consent to the new
practices. Obtaining an updated consent may be easier if you have given the parent a password or
a PIN number in your initial consent process.

In addition, the Rule requires you to give a parent access to any personal information you have
collected from the child. Before you provide that information, you will need to confirm that the
person requesting the information is the child’s parent. Again, providing the parent a password or
a PIN number makes it easier to confirm the parent’s identity if the parent requests access to the
child’s personal information.

9. I know that I must allow parents to consent to my collection and use of their
children’s information, while giving them the option of prohibiting me from
disclosing that information to third parties. Does that mean that if I operate a
social networking site, or have chat rooms or message boards, I have to offer the
same kind of “choice” about these types of sites as well?

The Rule requires an operator to give parents the option to consent to the collection and use of a
child’s personal information without consenting to the disclosure of such information to third
parties. See 16 C.F.R. § 312.5(a)(2). However, an operator need provide this choice only where
the disclosure of the information is not inherent in the activity to which the parent is consenting.

You should note that the Rule’s definition of “disclosure” is broader than merely “releasing”
personal information to third parties. Under the Rule, “disclosure” includes “[m]aking personal
information collected by an operator from a child publicly available in identifiable form by any
means, including but not limited to a public posting through the Internet, or through a personal
home page or screen posted on a website or online service; a pen pal service; an electronic mail
service; a message board; or a chat room.” See 16 C.F.R. § 312.2.

In the case of social networking sites, chat rooms, message boards, and other similar online
services, sharing personal information is a central feature of the site. Therefore, in these cases,
you are not required to give parents the choice to allow you to collect and use their children’s
personal information, but not disclose it to third parties. However, you must clearly disclose your
information collection, use, and disclosure practices in your direct notice and online privacy
policy so that parents can make an informed decision about their children’s participation in your
site or service.

10. I am the developer of an app directed to kids. Can I use a third party, such as
one of the app stores, to get parental consent on my behalf?




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Yes. The Commission recognized in the 2013 Statement of Basis and Purpose that common
consent mechanisms, such as one done through an app store or other platform, could benefit
operators (especially smaller ones) and parents if they offer a proper means for providing notice
and obtaining verifiable parental consent, as well as ongoing controls for parents to manage their
children’s accounts. See 78 Fed. Reg. 3972, 3989. When using a common consent method,
however, you must ensure that COPPA requirements are being met. For example, you must
make sure that the third party is obtaining consent in a way that is reasonably calculated, in light
of available technology, to ensure that the person providing consent is the child’s parent. The
mere entry of an app store account number or password, for example, without other indicia of
reliability (e.g., knowledge-based authentication questions or verification of government
identification), does not provide sufficient assurance that the person entering the account or
password information is the parent, and not the child. In addition, as the operator, you are
responsible for ensuring that your direct notice accurately and completely reflects your
information collection practices.

11. What types of information can I collect to obtain or confirm parental
consent? Can I use a parent’s mobile phone number to obtain or confirm
parental consent?

The Rule permits you to collect the parent’s “online contact information,” defined as an email
address, an IM user identifier, a VOIP identifier, a video chat user identifier, or other
substantially similar identifier. A mobile phone number is not online contact information and
therefore cannot be collected from the child as part of the consent initiation process. However,
once you have connected with the parent via the parent’s online contact information, you may
request a parent’s mobile phone number in order to further communicate with him or her.

12. Can I apply to the FTC for pre-approval of a new consent mechanism?

Yes. The Rule provides a mechanism for interested parties to file a written request for
Commission approval of parental consent methods not currently enumerated in 16 C.F.R. §
312.5(b). See 16 C.F.R. § 312.12(a). See FTC’s Verifiable Parental Consent page for information
on previous requests.

13. I would like to apply to the FTC for approval of a new method of parental
consent that I have developed, but I am concerned about having my trade secrets
publicly posted. Is there a way to prevent this?

The Commission recognized this concern in the 2013 Statement of Basis and Purpose, noting
that, “just as the Commission has done for COPPA safe harbor applicants, it would permit those
entities that voluntarily seek approval of consent mechanisms to seek confidential treatment for
those portions of their applications that they believe warrant trade secret protection. In the event
an applicant is not comfortable with the Commission’s determination as to which materials will
be placed on the public record, it will be free to withdraw the proposal from the approval
process.” See 78 Fed. Reg. 3972, 3992.




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14. I run an app store, and would like to help app developers that operate on my
platform by providing a verifiable parental consent mechanism for them to use.
Under what circumstances will this expose me to liability under COPPA?

The Commission recognized in the 2013 Statement of Basis and Purpose that platform methods
of parental consent could benefit operators (especially smaller ones) and parents, and has made
clear that operators may use one so long as it meets the Rule’s notice and consent requirements.
See 78 Fed. Reg. 3972, 3989. To the extent you are simply providing a verifiable parental
consent mechanism – and are therefore not an “operator” under COPPA – you will not be liable
under COPPA for failing to investigate the privacy practices of the operators for whom you
obtain consent. At the same time, you should also evaluate your potential liability under Section
5 of the FTC Act. For example, it could be a deceptive practice to misrepresent the level of
oversight you provide for a child-directed app.


J. EXCEPTIONS TO PRIOR PARENTAL CONSENT
1. I want to have a contest on my child-directed website. Can I use the Rule’s
“one-time contact” exception and not obtain parental consent?

Yes, if you properly design your contest. You may use the “one time contact” exception if you
collect children’s online contact information, and only this information, to enter them in the
contest, and then only contact such children once when the contest ends to notify them if they
have won or lost. At that point, you must delete the online contact information you have
collected.

If, however, you expect to contact the children more than one time, you must use the “multiple-
contact” exception, for which you must also collect a parent’s online contact information and
provide parents with direct notice of your information practices and an opportunity to opt out. In
either case, the Rule prohibits you from using the children’s online contact information for any
other purpose, and requires you to ensure the security of the information, which is particularly
important if the contest runs for any length of time.

If you wish to collect any information from children online beyond online contact information in
connection with contest entries – such as collecting a winner’s home address to mail a prize –
you must first provide parents with direct notice and obtain verifiable parental consent, as you
would for other types of personal information collection beyond online contact information. If
you do need to obtain a mailing address and wish to stay within the one-time exception, you may
ask the child to provide his parent’s online contact information and use that identifier to notify
the parent if the child wins the contest. In your prize notification message to the parent, you may
ask the parent to provide a home mailing address to ship the prize, or invite the parent to call a
telephone number to provide the mailing information.




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2. I have a child-directed website that has an “Ask the Author” corner where
children can email questions to featured authors. Do I need to provide notice and
obtain parental consent?

If you simply answer the child’s question and then delete the child’s email address (and do not
otherwise maintain or store the child’s personal information in any form), then you fall into the
Rule’s “one-time contact” exception and do not need to obtain parental consent.

3. I offer e-cards and the ability for children to forward items of interest to their
friends on my child-directed app. Can I take advantage of one of the Rule’s
exceptions to parental consent or must I notify parents and obtain consent for
this activity?

The answer depends on how you design your e-card or forward-to-a-friend system. Any system
providing any opportunity to reveal personal information other than the recipient’s email address
requires you to obtain verifiable consent from the sender’s parent (not email plus), and does not
fall within one of COPPA’s limited exceptions. This means that if your e-card/forward-to-a-
friend system permits personal information to be disclosed either in the “from” or “subject”
lines, or in the body of the message, then you must notify the sender’s parent and obtain
verifiable parental consent before collecting any personal information from the child.

In order to take advantage of COPPA’s “one-time contact exception” for your e-cards, you may
only collect the recipient’s email address (and, if desired, the sender or recipient’s first name);
you may not collect any other personal information either from the sender or the recipient,
including persistent identifiers that track the user over time and across sites. Moreover, in order
to meet this one-time contact exception, your e-card system must not allow the sender to enter
her full name, her email address, or the recipient’s full name. Nor may you allow the sender to
freely type messages either in the subject line or in any text fields of the e-card.

Finally, you should send the e-card immediately and automatically delete the recipient’s email
address immediately after sending. If you choose to retain the recipient’s email address until
some point in the future (e.g., until the e-card is opened by the recipient, or you allow the sender
to indicate a date in the future when the e-card should be sent), then this collection parallels the
conditions for the Rule’s “multiple contact exception” for obtaining verifiable parental consent.
In this scenario, you must collect the sender’s parent’s email address and provide notice and an
opportunity to opt out to the sender’s parent before the e-card is sent. See 1999 Statement of
Basis and Purpose, 64 Fed. Reg. 59888, 59902 n.222.

4. I would like to collect email address, but no other personally identifying
information, during my website’s registration process. I intend to use the email
address only for the purpose of providing password reminders to users who
register on my site. Do I first have to provide notice and obtain parental consent
before collecting a child’s email address?




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If you plan to retain the child’s email address in retrievable form after the initial collection, to be
used, for example, to email children reminders of their passwords, then you must provide notice
to parents and the opportunity to opt out under the Rule’s multiple-contact exception. See 16
C.F.R. § 312.5(c)(4).

However, you may collect a child’s email address to be used to authenticate the child for
purposes of generating a password reminder without first providing parental notice and giving a
parent the opportunity to opt out if you meet the following conditions: (1) you do not collect any
personal information from the child other than the child’s email address; (2) the child cannot
disclose any personal information on your website; and (3) you immediately and permanently
alter the email address (e.g., through “hashing”) such that it can only be used as a password
reminder and cannot be reconstructed into its original form or used to contact the child. You
should explain this process in a clear and conspicuous manner, both at the point of collection and
in your site’s online privacy policy, so that your users and their parents are informed about how
the email addresses will be used. This will prevent confusion by visitors and others who may
otherwise assume that your site is improperly collecting and retaining email addresses without
any form of parental notice.

5. What does “support for the internal operations of the Web site or online
service” mean?

“Support for the internal operations of the Web site or online service,” as defined in 16 C.F.R.
312.2, means activities necessary for the site or service to maintain or analyze its functioning;
perform network communications; authenticate users or personalize content; serve contextual
advertising or cap the frequency of advertising; protect the security or integrity of the user,
website, or online service; ensure legal or regulatory compliance; or fulfill a request of a child as
permitted by § 312.5(c)(3) and (4). The Commission has separately noted that encompassed
within the activities necessary for the site or service to maintain or analyze its functioning are
intellectual property protection, payment and delivery functions, spam protection, optimization,
statistical reporting, and debugging. See 2013 Statement of Basis and Purpose, 78 Fed Reg.
3972, 3981. Persistent identifiers collected for the sole purpose of providing support for the
internal operations of the website or online service do not require parental notice or consent, so
long as no other personal information is collected and the persistent identifiers are not used or
disclosed to contact a specific individual, including through behavioral advertising; to amass a
profile on a specific individual; or for any other purpose.

6. Can both a child-directed website and a third-party plug-in that collect
persistent identifiers from users of that child-directed site rely on the Rule’s
exception for “support for internal operations”?

Yes. A child-directed site and a third-party plug-in collecting persistent identifiers from users of
that child-directed site can both rely upon the Rule’s “support for internal operations” exception
where the only personal information collected from such users are persistent identifiers for
purposes outlined in the “support for internal operations” definition. The persistent identifier
information collected by the third-party plug-in may in some instances support only the plug-in’s




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internal operations; in other instances, it may support both its own internal operations and the
internal operations of the child-directed site.

7. Does the exception for “support for internal operations” allow me to perform,
or retain another party to perform, site analytics?

Yes. Where you, a service provider, or a third party collects persistent identifier information
from users of your child-directed site to perform analytics encompassed by the Rule’s “support
for internal operations” definition, and the information is not used for any other purposes not
covered by the support for internal operations definition, then you can rely upon the Rule’s
exemption from parental consent.

8. I am an ad network that uses persistent identifiers to personalize
advertisements on websites. I know that I operate on a child-directed site, but
isn’t personalization considered “support for internal operations”?

No. The term “support for internal operations” does not include behavioral advertising. The
inclusion of personalization within the definition of support for internal operations was intended
to permit operators to maintain user driven preferences, such as game scores, or character
choices in virtual worlds. “Support for internal operations” does, however, include the collection
or use of persistent identifiers in connection with serving contextual advertising on the child-
directed site.

9. I have a child-directed app and want to send push notifications. Do I need to
get parental consent?

The information you collect from the child’s device used to send push notifications is online
contact information – it permits you to contact the user – and is therefore personal information
under the Rule. To the extent the child has specifically requested push notifications, however,
you may be able to rely on the “multiple-contact” exception to verifiable parental consent, for
which you must also collect a parent’s online contact information and provide parents with direct
notice of your information practices and an opportunity to opt-out. See FAQ I.2. Importantly, in
order to fit within this exception, your push notifications must be reasonably related to the
content of your app. If you want to combine this online contact information with other personal
information collected from the child, you cannot rely on this exception and must provide parents
with direct notice and obtain verifiable parental consent prior to sending push notifications to the
child.

10. I have a child-directed website. Can I put a plug-in, such as a Facebook Like
button, on my site without providing notice and obtaining verifiable parental
consent?

In determining whether you must provide notice and obtain verifiable parental consent, you will
need to evaluate whether any exceptions apply. Section 312.5(c)(8) of the Rule has an exception
to its notice and consent requirements where:



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   1. a third-party operator only collects a persistent identifier and no other personal
      information;
   2. the user affirmatively interacts with that third-party operator to trigger the collection;and
   3. the third-party operator has previously conducted an age-screen of the user, indicating the
      user is not a child.

If the third-party operator meets all of those requirements, and if your site doesn't collect
personal information (except for that covered by an exception), you don't need to provide notice
or obtain consent.

This exception doesn't apply to types of plug-ins where the third party collects more information
than a persistent identifier — for example, where the third party also collects user comments or
other user-generated content. In addition, a child-directed website can’t rely on this exception to
treat particular visitors as adults and track their activities.

If your inclusion of the plug-in satisfies all the criteria of section 312.5(c)(8) outlined above
and/or satisfies another exception to the notice and consent requirements in the Rule (see, for
example, the “support for internal operations" exception discussed in FAQ J.5 and J.6 above),
you do not have to provide notice and obtain verifiable parental consent.


K. PARENTAL ACCESS TO CHILDREN'S PERSONAL
INFORMATION
1. Do I have to keep all information I have ever collected online from a child in
case a parent may want to see it in the future?

No. In fact, the Rule specifically states that operators should retain personal information
collected online from a child for only as long as is reasonably necessary to fulfill the purpose for
which the information was collected. As the Commission noted in the 1999 Statement of Basis
and Purpose, “if a parent seeks to review his child’s personal information after the operator has
deleted it, the operator may simply reply that it no longer has any information concerning that
child.” See 64 Fed. Reg. 59888, 59904.

2. What if, despite my most careful efforts, I mistakenly give out a child’s
personal information to someone who is not that child’s parent or guardian?

The Rule requires you to provide parents with a means of reviewing any personal information
you collect online from children. Although the Rule provides that the operator must ensure that
the requestor is a parent of the child, it also notes that if you follow reasonable procedures in
responding to a request for disclosure of this personal information, you will not be liable under
any federal or state law if you mistakenly release a child’s personal information to a person other
than the parent. See 16 C.F.R. § 312.6(a)(3)(i) and (b).




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L. DISCLOSURE OF INFORMATION TO THIRD
PARTIES
1. If I want to share children’s personal information with a service provider or a
third party, how should I evaluate whether the security measures that entity has
in place are “reasonable” under the Rule?

Before sharing information with such entities, you should determine what the service providers’
or third parties’ data practices are for maintaining the confidentiality and security of the data and
preventing unauthorized access to or use of the information. Your expectations for the treatment
of the data should be expressly addressed in any contracts that you have with service providers or
third parties. In addition, you must use reasonable means, such as periodic monitoring, to
confirm that any service providers or third parties with which you share children’s personal
information maintain the confidentiality and security of that information.


M. REQUIREMENT TO LIMIT INFORMATION
COLLECTION
1. If I operate a social networking service and a parent revokes her consent to my
maintaining personal information collected from the child, can I deny that child
access to my service?

Yes. If a parent revokes consent and directs you to delete the personal information you had
collected from the child, you may terminate the child’s use of your service. See 16 C.F.R. §
312.6(c).

2. I know that the Rule says I cannot condition a child’s participation in a game
or prize offering on the child disclosing more information than is reasonably
necessary to participate in those activities. Does this limitation apply to other
online activities?

Yes. The applicable Rule provision is not limited to games or prize offerings, but includes
“another activity.” See 16 C.F.R. § 312.7. This means that you must carefully examine the
information you intend to collect in connection with every activity you offer in order to ensure
that you are only collecting information that is reasonably necessary to participate in that
activity. This guidance is in keeping with the Commission’s general guidance on data
minimization. There are some sites or services, however, where the sharing of personal
information is a central feature, such as social networking sites or chat rooms. This provision
does not prohibit these types of sites from allowing children to share personal information. See
FAQ I.9.




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N. COPPA AND SCHOOLS
1. Can an educational institution consent to a website or app’s collection, use or
disclosure of personal information from students?

Yes. Many school districts contract with third-party website operators to offer online programs
solely for the benefit of their students and for the school system – for example, homework help
lines, individualized education modules, online research and organizational tools, or web-based
testing services. In these cases, the schools may act as the parent’s agent and can consent under
COPPA to the collection of kids’ information on the parent’s behalf. However, the school’s
ability to consent for the parent is limited to the educational context – where an operator collects
personal information from students for the use and benefit of the school, and for no other
commercial purpose. Whether the website or app can rely on the school to provide consent is
addressed in FAQ N.2. FAQ N.5 provides examples of other “commercial purposes.”
Importantly, operators should not state in Terms of Service or anywhere else that the school is
responsible for complying with COPPA, as it is the responsibility of the operator to comply with
the Rule.

In order for the operator to rely on consent obtained from the school under COPPA instead of the
parent, the operator must provide the school with the same type of direct notice regarding its
practices as to the collection, use, or disclosure of personal information from children as it would
otherwise provide to the parent. In addition, the operator, upon request from the school, must
provide the school a description of the types of personal information collected; an opportunity to
review the child’s personal information and the right to have the information deleted; and the
opportunity to prevent further use or online collection of a child’s personal information. As long
as the operator limits use of the child’s information to the educational context authorized by the
school, the operator can presume that the school’s authorization is based on the school’s having
obtained the parent’s consent. However, as a best practice, schools should consider making such
notices available to parents, and consider the feasibility of allowing parents to review the
personal information collected. See FAQ N.4. Schools also should ensure operators delete
children’s personal information once the information is no longer needed for its educational
purpose.

In addition, schools and operators should consider their obligations under the Family Educational
Rights and Privacy Act (FERPA), which gives parents certain rights with respect to their
children’s education records. FERPA provides parents with rights to access their student’s
education records, protect against unauthorized disclosures of the personally identifiable
information from those records, and other related rights. FERPA is administered by the U.S.
Department of Education (ED) and applies to educational agencies and institutions that are
funded by a program administered by ED. The school’s agreement with a third party operator
must also be reviewed under the school official exception or other applicable exception under
FERPA. For general information on FERPA, see https://studentprivacy.ed.gov/. Schools and
operators also must comply with the Individuals with Disabilities Education Act and Protection
of Pupil Rights Amendment (PPRA), which are also administered by ED. See
https://studentprivacy.ed.gov/ and https://sites.ed.gov/idea/; see also FAQ N.5 for more
information on the PPRA.)



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Student data may be protected under state law, too. For example, California’s Student Online
Personal Information Protection Act, among other things, places restrictions on the use of K-12
students’ information for targeted advertising, profiling, or onward disclosure. States such as
Oklahoma, Idaho, and Arizona require educators to include express provisions in contracts with
private vendors to safeguard privacy and security or to prohibit secondary uses of student data
without parental consent.

2. Under what circumstances can an operator of a website or online service rely
upon an educational institution to provide consent?

Where a school has contracted with an operator to collect personal information from students for
the use and benefit of the school, and for no other commercial purpose, the operator is not
required to obtain consent directly from parents under COPPA, and can presume that the
school’s authorization for the collection of students’ personal information is based upon the
school having obtained the parents’ consent. However, the operator must provide the school with
full notice of its collection, use, and disclosure practices in the same way that it is otherwise
required to do for a parent.

If, however, an operator intends to use or disclose children’s personal information for its own
commercial purposes in addition to the provision of services to the school, it will need to obtain
parental consent. Operators may not use the personal information collected from children based
on a school’s consent for another commercial purpose because the scope of the school’s
authority to act on behalf of the parent is limited to the school context.

Where an operator gets consent from the school rather than the parent, the operator’s method
must be reasonably calculated, in light of available technology, to ensure that a school is actually
providing consent, and not a child pretending to be a teacher, for example.

3. Who should provide consent – an individual teacher, the school
administration, or the school district?

As a best practice, we recommend that schools or school districts decide whether a particular
site’s or service’s information practices are appropriate, rather than delegating that decision to
the teacher. Many schools have a process for assessing sites’ and services’ practices so that this
task does not fall on individual teachers’ shoulders. School districts and schools have separate
specific obligations under FERPA. See https://studentprivacy.ed.gov for more information.

4. When the school gives consent, what are the school’s obligations regarding
notifying the parent?

As a best practice, the school should consider providing parents with a notice of the websites and
online services whose collection it has consented to on behalf of the parent under COPPA.
Schools can identify, for example, sites and services that have been approved for use district-
wide or for the particular school.




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In addition, the school may want to make the operators’ direct notices regarding their
information practices available to interested parents. Many school systems have implemented
Acceptable Use Policies for Internet use (AUPs) to educate parents and students about in-school
Internet use. The school could maintain this information on a website or provide a link to the
information at the beginning of the school year. There are separate parent notification
requirements under FERPA. See https://studentprivacy.ed.gov for more information.

5. What information should a school seek from an operator before entering into
an arrangement that permits the collection, use, or disclosure of personal
information from students?

In deciding whether to use online technologies with students, a school should be careful to
understand how an operator will collect, use, and disclose personal information from its students.
Among the questions that a school should ask potential operators are:

       What types of personal information will the operator collect from students?
       How does the operator use this personal information?
       Does the operator use or share the information for commercial purposes not related to the
        provision of the online services requested by the school? For instance, does it use the
        students’ personal information in connection with online behavioral advertising, or
        building user profiles for commercial purposes not related to the provision of the online
        service? If so, the school cannot consent on behalf of the parent.
       Does the operator enable the school to review and have deleted the personal information
        collected from their students? If not, the school cannot consent on behalf of the parent.
       What measures does the operator take to protect the security, confidentiality, and
        integrity of the personal information that it collects?
       What are the operator’s data retention and deletion policies for children’s personal
        information?

Schools also should keep in mind that under the Protection of Pupil Rights Amendment, Local
Educational Agencies (LEAs) must adopt policies and must provide direct notification to parents
at least annually regarding the specific or approximate dates of, and the rights of parents to opt
their children out of participation in, activities involving the collection, disclosure, or use of
personal information collected from students for the purpose of marketing or selling that
information (or otherwise providing the information to others for that purpose).


O. COPPA SAFE HARBOR PROGRAMS
1. How can I qualify as a Commission-approved COPPA safe harbor program?

To be considered for COPPA safe harbor status, an industry group or other person must submit
its self-regulatory guidelines to the FTC for approval. The Rule requires the Commission to
publish the safe harbor application in the Federal Register seeking public comment. The




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Commission then is required to make a written determination on the application within 180 days
after its filing.

COPPA safe harbor applications must contain:

       A detailed explanation of the applicant’s business model and technological capabilities
        and mechanisms it will use to assess member operator’s information collection practices;
       A copy of the full text of the safe harbor program’s guidelines and any accompanying
        commentary;
       A comparison of each program guideline with each corresponding Rule provision and a
        statement of how each guideline meets the Rule’s requirements; and
       A statement of how the assessment mechanisms and disciplinary consequences provide
        effective COPPA enforcement.

The Rule sets forth the key criteria the FTC will consider in reviewing a safe harbor application:

       Whether the applicant’s program includes guidelines that provide substantially the same
        or greater protection than the standards set forth in the COPPA Rule;
       Whether the program includes an effective, mandatory mechanism to independently
        assess member operators’ compliance with the program’s guidelines, which at a
        minimum must include a comprehensive annual review by the safe harbor program of
        each member operator;
       Whether the program includes effective disciplinary actions for member operators who
        do not comply with the safe harbor program guidelines.

See 16 C.F.R. § 312.11.

2. What should I do if I am interested in submitting my self-regulatory program
to the FTC for approval under the safe harbor provision?

Information about applying for FTC approval of a safe harbor program is provided in Section
312.11 of the Rule and online at the COPPA Safe Harbor Program portion of the FTC’s Business
Center website. In addition, you may send an email to CoppaHotLine@ftc.gov(link sends e-
mail), and a member of the FTC staff will help answer your questions.

3. How can I learn about safe harbor programs that have been approved by the
Commission?

Information about the applicants who have sought safe harbor status can be found online at the
COPPA Safe Harbor Program portion of the FTC’s Business Center website. The site includes
each organization’s applications and guidelines, along with comments submitted by the public,
and the basis for the Commission’s written determination of each application.

YOUR OPPORTUNITY TO COMMENT



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The National Small Business Ombudsman and 10 Regional Fairness Boards collect comments
from small businesses about federal compliance and enforcement activities. Each year, the
Ombudsman evaluates the conduct of these activities and rates each agency’s responsiveness to
small businesses. Small businesses can comment to the Ombudsman without fear of reprisal. To
comment, call toll-free 1-888-REGFAIR (1-888-734-3247) or go to www.sba.gov/ombudsman.

July 2020
Utility menu

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Policy
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Tips & Advice
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      For Military Consumers
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I Would Like To...
      Report Fraud to the FTC
      Apply for a Refund in an FTC Case
      Report Identity Theft
      List a Number on the National Do Not Call Registry
      Get a Free Copy of My Credit Report
      File a Comment
      Report An Antitrust Violation

Site Information



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                                      Privacy Policy
                                      Website Policy
                                      No FEAR Act
                                      USA.gov
                                      Accessibility
                                      Digital Government Strategy
                                      Open Government
                                      Plain Writing
                                      Information Quality
                                      Small Business Non-Retaliation Policy
                                      Vulnerability Disclosure Policy

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                                      Facebook
                                      Twitter
                                      YouTube
                                      LinkedIn
                                      Stay Connected

Stay Connected with the FTC
The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




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Advertising Policies Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                     Next


Ads & made for kids content
Google provides translated versions of our Help Center as a convenience, though they
are not meant to change the content of our policies. The English version is the official
language we use to enforce our policies. To view this article in a different language, use
the language dropdown at the bottom of the page.

Display & Video 360 users must comply with this Google Ads policy. Visit the Display &
Video 360 help center for additional restrictions.

Policies for advertisers

Advertisers may not run personalized ads on content set as made for kids.

In addition, advertising that is intended for children or on content set as made for kids
must not be deceptive, unfair or inappropriate for its intended audience, must not make
use of any third party trackers or otherwise attempt to collect personal information
without first obtaining parental consent, and must otherwise comply with all applicable
laws and regulations.

Restricted Ad Categories

The following categories are restricted for advertising on made for kids content:

Adult and Sexually Suggestive Content: Sexual and mature content that is intended for
adult audiences and not suitable for users under the age of 13.

Age Sensitive Media Content: Media that is sensitive to show to users under the age of
13. This includes movies and TV shows with ratings greater than G and PG. This also
includes offers promoting fictional material, including books or comics, that fall in the
Romance genre.



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Alcohol / Tobacco / Recreational Drugs: Products such as alcohol, tobacco, and
recreational drugs that are regulated or illegal to advertise to children. This also
includes Prohibited Content and Restricted Content. In addition, products that are
strongly related to alcohol, tobacco or recreational drugs are also prohibited (for
example, offers for vineyard tours, e-cigarettes or drug paraphernalia).

Astrology / Occult / Paranormal: Advertisements for content relating to astrology, the
occult or the paranormal.

Beauty and Cosmetics: Cosmetics and other products related to external personal care
focused on body image. Also included are advertisements related to cosmetic
procedures or surgeries, tanning, tattoos, or piercings.

Contests and Sweepstakes: Contests or sweepstakes promotions, even if free to enter.

Dangerous Content: Content that is dangerous and inappropriate for users under the
age of 13 or that generally requires adult supervision, such as fireworks, weapons or
weapon accessories, offers related to hunting, paintball, etcetera.

Dating and Relationships: Ads for dating services, matchmakers, relationship advice or
counseling.

Fight Sports: Offers related to boxing, wrestling, martial arts and self-defense training.

Food and Beverage: Products related to consumable food and drinks, regardless of
nutrition content.

Gambling: Advertisements for online or real world gambling, lotteries, or betting. This
includes offers for entertainment hosted at casinos and lodging at casino hotels.

Health and Wellness: Offers related to health care and medical issues of all kinds,
including reproductive health, substance abuse or recovery, eating disorders, ‘miracle
cures,’ and health insurance. Also included are ads related to weight-loss, diet and
nutrition.

Mobile Subscriptions: Offers which are billed via recurring mobile phone add-on charges
(e.g., ringtone subscription services).

Online or Virtual Communities: Offers for platforms or services that primarily exist to
allow users to connect and communicate with other users. This includes, but is not
limited to, social and professional networks of friends and colleagues, communication
with strangers, virtual worlds and platforms for users to broadcast live streams.

Pharmaceuticals and Supplements: Advertisements for pharmaceuticals or
medications, vitamins, and nutritional supplements.



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    Political Ads: Political ads of any kind, including information about political candidates,
    political action committees or their policy positions. Also included are offers related to
    sensitive or controversial societal issues.

    References to Death: Offers which touch on death, murder, funerals, and natural
    disasters.

    Religion: Religious ads of any kind.

    Spray Paint and Glass Etching: Offers selling or providing information on spray paint,
    aerosol paint, glass-etching substances or graffiti products.

    Spying and Arrest Records: Offers for services that imply they will help spy on a partner,
    or find non-shared personal information about a third party. Also included are services
    that perform public records searches for arrest records (e.g., sex offender look-up).

    Video Games: Ads for video games are prohibited if the industry rating of the game
    would not be suitable for audiences 12 years or under, or if they fall under any of the
    categories below:

   Casino Games:

           Games strongly associated with casinos and betting (even if there isn't
            actual money at stake) or guides on how to succeed at such games

   Adult-themed games:

           Games featuring sexual elements or other adult content
           Promotions for games which feature characters kissing or otherwise
            engaged in romantic pursuit

   First-person Shooter and Battle games:

           Games where user has a first-person perspective and shoots at other
            characters
           Games that involve controlling armies or fighters in battles or in combat

   Offers for video game weaponry or character skins

    Prohibited Ad Content

    Violent and Graphic Content: Violent and graphic content that is intended for adult
    audiences and not suitable for users under the age of 13 is prohibited.




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    Scary Imagery: Ads that involve imagery which may be scary for younger audiences are
    prohibited, for example zombies, skeletons, masks, scary clowns, blood.

    Crude Humor: Ads employing crude or vulgar humor or unsettling imagery in the
    promotion of a product are prohibited.

    Profanity and Sexual Innuendo: Ads which incorporate 'swear' words, or which use
    sexual innuendo are prohibited.

    Significant Skin Exposure: Ads featuring men or women with significant exposed skin or
    sheer clothing (whether or not the imagery has sexual connotations) are prohibited.

    Incitement to Purchase: Promotions or content that incites children to purchase a
    product or service or to urge parents or others to buy the item.

    Misleading and Deceptive Claims:

   Paid Ads cannot be misleading to children or make any deceptive or unsubstantiated
    claims. All claims and assertions need to be substantiated within the video itself.
   Paid Ads cannot imply that the product will improve your social status.
   Paid Ads cannot include features or call-to-actions that do not work or where the
    desired action can’t be completed.

    Give feedback about this article
    Choose a section to give feedback on

                                       Was this helpful?
                                           YesNo




                                            Submit
    Advertising policies
   Ad format requirements
   Ad targeting
   Abusing the ad network
   Ads & made for kids content
   Alcohol
   Copyrights
   Counterfeit goods
   Dangerous products or services
   Data collection and use




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   Destination requirements
   Editorial
   Enabling dishonest behavior
   Financial products and services
   Gambling and games
   Healthcare and medicines
   Inappropriate content
   Lead form requirements
   Legal requirements
   Misrepresentation
   Other restricted businesses
   Personalized advertising
   Political content
   Restricted ad formats and features
   Sexual content
   Technical requirements
   Trademarks

   ©2021 Google
   Privacy Policy
   Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. eesti
5. English (Australia)
6. English (United Kingdom)
7. español
8. español (Latinoamérica)
9. Filipino
10. français
11. hrvatski
12. Indonesia
13. italiano
14. latviešu
15. lietuvių
16. magyar
17. Melayu
18. Nederlands
19. norsk




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20. polski
21. português
22. português (Brasil)
23. română
24. slovenčina
25. slovenščina
26. suomi
27. svenska
28. Tiếng Việt
29. Türkçe
30. čeština
31. Ελληνικά
32. български
33. русский
34. српски
35. українська
36. ‫עברית‬
37. ‫اﻟﻌﺮﺑﯿﺔ‬
38. िह ी
39. ไทย
40. 中文（简体）
41. 中文（繁體）
42. 日本語
43. 한국어
44. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   List of ad policies




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o   Review process



o   Verification



o   Change log




   Advertising Policies




   Privacy Policy



   Terms of Service



   Submit feedback


    Advertising policiesThird-party policiesRelated policies & terms
    Approval processDisapprovals and suspensions
    Verification programs
    Upcoming and recent changesPast changes


    What is the issue with this selection?

    Inaccurate - doesn't match what I see in the product

    Hard to understand - unclear or translation is wrong

    Missing info - relevant but not comprehensive




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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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    YouTube Help

    Sign in
                                       Send feedback on...

    This help content & information

    General Help Center experience
                                                                                        Next
    Help CenterCommunity


    Violent and shocking content in ads
    We value diversity and respect for others. We also strive to avoid offending or shocking
    viewers with ads, websites, or apps that are inappropriate for our ad network.

    Here are some examples of content that we may consider violent or shocking:

   Profane language
   Violent language
   Discriminatory terms or imagery
   Gruesome imagery
   Graphic images or accounts of physical trauma
   Gratuitous bodily fluids or waste
   Promotions that are likely to shock or scare
   Promotions that are capitalizing on sensitive events

    What we consider as shocking factors in video ads:

   Scenes containing violent or graphic imagery that can be shocking or disturbing to
    viewers like:
   blood splatter
   sexual fluids
   human or animal waste
   The graphic aftermath of a violent act
   Shots of violence or gore as the focal point of the scene in the video
   The violence contained in the video is realistic when posted in a dramatic context
   Other factors including the camera angle and focus, and the clarity of the images in the
    video

    Give feedback about this article



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    Choose a section to give feedback on

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                                           YesNo




                                           Submit
    Understand ad policies for advertisers
   Unbranded ads or brand channels
   User-generated content in ads
   Violent and shocking content in ads
   YouTube’s contest policies and guidelines

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
7. Filipino
8. français
9. hrvatski
10. Indonesia
11. italiano
12. latviešu
13. lietuvių
14. magyar
15. Nederlands
16. norsk
17. polski
18. português
19. português (Brasil)
20. română
21. slovenčina



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22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी
36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



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o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel



o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback




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Troubleshoot problems playing videosTroubleshoot account issuesFix upload
problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
Program
Find videos to watchChange video settingsWatch videos on different devicesComment,
subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
problems playing videosPurchase and watch movies and TV shows
Sign up and manage your accountManage account settingsManage privacy
settingsManage accessibility settingsTroubleshoot account issues
Learn about YouTube Premium benefitsManage Premium membershipManage
Premium billingGet a YouTube Premium family planSign up for a student Premium
membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
issues
Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
channelAnalyze performance with analyticsTranslate videos & captionsManage your
community & commentsLive stream on YouTube
YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

Missing info - relevant but not comprehensive

Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




                                                                              2638
                                                                               2833
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Do not share any personal info
Cancel
Submit
By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




                                                                                2639
                                                                                 2834
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YouTube Help

Sign in
                                    Send feedback on...

This help content & information

General Help Center experience
                                                                                      Next
Help CenterCommunity


About advertiser verification
You should have the tools and information to make informed decisions about ads from
Google.

In addition to tools like “Report this ad,” our policies and verification programs promote
greater transparency in advertising with information about advertisers and how Google
ads work.

Advertisers show ads with Google around the world. Some of our advertiser policies,
such as ads for specific types of products and services, are based on where the
advertiser is located or where their ads appear.

When an advertiser doesn’t follow required policies, Google may stop showing their ads
or suspend their account.

Learn who's behind the ads you see
Ad disclosures that include an advertiser’s name and location are being introduced over
the next few years across the world. Advertiser identity verification requires advertisers
to provide legal documentation with their name and location. When an advertiser
completes identity verification, that advertiser’s name and location appear with their
Google ads. You’ll see these ad disclosures on Google services, such as Search and
YouTube, and other sites that show ads from our network.

See who paid for election ads
For ads covered by Google election ad policies, you can see more details about the
advertiser by selecting the icon in the corner of the ad.



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    The election ad disclosures provide additional information about the advertiser who
    paid for the ad. You can also learn more about these advertisers in the Political
    Advertising Transparency Report.

    See details about policies for election ads in the Political content policy.

    Protecting you from deceptive ads
    You should feel confident that ads are not fraudulent or misleading. Our policies and
    technology enable us to prevent and remove billions of bad ads from the internet every
    year.

    To help prevent fraud and abuse, we have policies and programs for certain types of
    products or services. To show ads for these products or services, advertisers need to
    prove that they have a license or that they are registered with the appropriate
    organization.

    For example, we have certification programs for advertisers who want to show ads for
    healthcare and medicine, gambling, financial services, and other topics. Based on the
    topic, we may work with experts to confirm that the advertiser meets the current
    standards for their industry, and whether they have the appropriate license. What
    advertisers can show also depends on the laws or policies in the country where the
    advertiser is located, or where their ads show.

    Learn more about our verification programs in the Advertising Policies Help Center.

    Give feedback about this article
    Choose a section to give feedback on

                                          Was this helpful?
                                              YesNo




                                               Submit
    Understand ad policies for advertisers
   Advertiser live streaming
   Brand Lift surveys
   Add paid product placements, sponsorships & endorsements
   Remarketing
   Send-to-phone ads
   Tell-a-friend



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   About advertiser verification

   ©2021 Google
   Privacy Policy
   YouTube Terms of Service

     English?

    English

1. català
2. dansk
3. Deutsch
4. English (United Kingdom)
5. español
6. español (Latinoamérica)
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8. français
9. hrvatski
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22. slovenščina
23. suomi
24. svenska
25. Tiếng Việt
26. Türkçe
27. čeština
28. Ελληνικά
29. български
30. русский
31. српски
32. українська
33. ‫עברית‬
34. ‫اﻟﻌﺮﺑﯿﺔ‬
35. िह ी




                                                                            2642
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36. ไทย
37. 中文（简体）
38. 中文（繁體）
39. 日本語
40. 한국어
41. English

    Send feedback on...
    This help content & information General Help Center experience
     1




    Google Help


   Help Center




o   Fix a problem



o   Watch videos



o   Manage your account & settings



o   Supervised experience on YouTube



o   Join & manage YouTube Premium



o   Create & grow your channel




                                                                            2643
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o   Monetize with the YouTube Partner Program



o   Policy, safety, & copyright




   Community



   YouTube




   Privacy Policy



   YouTube Terms of Service



   Submit feedback


    Troubleshoot problems playing videosTroubleshoot account issuesFix upload
    problemsFix YouTube Premium membership issuesGet help with the YouTube Partner
    Program
    Find videos to watchChange video settingsWatch videos on different devicesComment,
    subscribe, & connect with creatorsSave or share videos & playlistsTroubleshoot
    problems playing videosPurchase and watch movies and TV shows
    Sign up and manage your accountManage account settingsManage privacy
    settingsManage accessibility settingsTroubleshoot account issues
    Learn about YouTube Premium benefitsManage Premium membershipManage
    Premium billingGet a YouTube Premium family planSign up for a student Premium
    membershipFix YouTube Premium membership issuesTroubleshoot billing & charge
    issues
    Upload videosEdit videos & video settingsCreate ShortsCustomize & manage your
    channelAnalyze performance with analyticsTranslate videos & captionsManage your
    community & commentsLive stream on YouTube




                                                                                  2644
                                                                                   2839
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YouTube Partner Program BasicsEarn money on YouTubeGet help with the YouTube
Partner ProgramUnderstand ad policies for advertisersYouTube for Content Managers
YouTube policiesReporting and enforcementPrivacy and safety centerCopyright and
rights management


What is the issue with this selection?

Inaccurate - doesn't match what I see in the product

Hard to understand - unclear or translation is wrong

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Irrelevant - doesn’t match the title and / or my expectations

Minor errors - formatting issues, typos, and / or broken links

Other suggestions - ideas to improve the content

Share additional info or suggestions




Do not share any personal info
Cancel
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By continuing, you agree Google uses your answers, account & system info to improve
services, per our Privacy & Terms.




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                                                                                 2840
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                   Exhibit "E"


                                                                     2646
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    Privacy & Terms
    Privacy & Terms
    Sign in
                   Overview
                   Privacy Policy
                   Terms of Service
                   Technologies
                   FAQ
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                   Overview
                   Privacy Policy
                   Terms of Service
                   Technologies
                   FAQ
    Privacy & Terms – Google
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




       Privacy & Terms
                   Overview
                   Privacy Policy
                   Terms of Service
                   Technologies
                   FAQ
                   Google Account
    Privacy Policy
    Explains what information we collect and why, how we use it, and how to review and update it.

    Read our Privacy Policy


    Terms of Service
    Describes the rules you agree to when using our services.

    Read our Terms of Service


    Google Safety Center
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Making products for everyone means protecting everyone who uses them. Visit safety.google to
    learn more about our built-in security, privacy controls, and tools to help set digital ground rules for
    your family online.




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    Explore what we do to help keep you safe


    Google Account
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Control, protect, and secure your account, all in one place. Your Google Account gives you quick
    access to settings and tools that let you safeguard your data and protect your privacy.

    Visit your Google Account


    Our Privacy and Security Principles
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    We build privacy that works for everyone. It’s a responsibility that comes with creating products and
    services that are free and accessible for all. We look to these principles to guide our products, our
    processes, and our people in keeping our users’ data private, safe, and secure.

    Explore our Privacy and Security Principles


    Google Product Privacy Guide
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    As you use Gmail, Search, YouTube, and other products from Google, you have the power to control
    and protect your personal information and usage history. The Google Product Privacy Guide can help
    you find information about how to manage some of the privacy features built into Google's products.


                                                  English
    Change language:



   Google

   About Google

   Privacy

   Terms




                                                                                                             2648
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        Privacy & Terms
        Privacy & Terms
        Sign in
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                       Overview
                       Privacy Policy
                                             Data transfer frameworks
                                             Key terms
                                             Partners
                         Updates
                       Terms of Service
                       Technologies
                       FAQ
        Privacy Policy – Privacy & Terms – Google
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Privacy & Terms
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
                       Google Account

       Privacy Policy
       Introduction
       Information Google collects
       Why Google collects data
       Your privacy controls
       Sharing your information
       Keeping your information secure
       Exporting & deleting your information
       Retaining your information
       Compliance & cooperation with regulators
       About this policy
       Related privacy practices
       Data transfer frameworks
       Key terms
       Partners
       Updates




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                                                                          displayed. The file may hav e been
                                                                          moved, renamed, or deleted. Verify
                                                                          that the link points to the correct
                                                                          file and location.




    GOOGLE PRIVACY POLICY


    When you use our services, you’re trusting us with your
    information. We understand this is a big responsibility and
    work hard to protect your information and put you in
    control.
    This Privacy Policy is meant to help you understand what information we collect, why we collect it,
    and how you can update, manage, export, and delete your information.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                          Privacy Checkup

                          Looking to change your privacy settings?

                          Take the Privacy Checkup


    Effective July 1, 2021 | Archived versions | Download PDF

    Contents
    Introduction
    Information Google collects
    Why Google collects data
    Your privacy controls
    Sharing your information
    Keeping your information secure
    Exporting & deleting your information
    Retaining your information
    Compliance & cooperation with regulators
    About this policy
    Related privacy practices

    We build a range of services that help millions of people daily to explore and interact with the world
    in new ways. Our services include:


                   Google apps, sites, and devices, like Search, YouTube, and Google Home
                   Platforms like the Chrome browser and Android operating system
                   Products that are integrated into third-party apps and sites, like ads and embedded Google Maps




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You can use our services in a variety of ways to manage your privacy. For example, you can sign up
for a Google Account if you want to create and manage content like emails and photos, or see more
relevant search results. And you can use many Google services when you’re signed out or without
creating an account at all, like searching on Google or watching YouTube videos. You can also
choose to browse the web privately using Chrome in Incognito mode. And across our services, you
can adjust your privacy settings to control what we collect and how your information is used.

To help explain things as clearly as possible, we’ve added examples, explanatory videos, and
definitions for key terms. And if you have any questions about this Privacy Policy, you can contact
us.

INFORMATION GOOGLE COLLECTS


We want you to understand the types of information we
collect as you use our services
We collect information to provide better services to all our users — from figuring out basic stuff like
which language you speak, to more complex things like which ads you’ll find most useful, the people
who matter most to you online, or which YouTube videos you might like. The information Google
collects, and how that information is used, depends on how you use our services and how you
manage your privacy controls.

When you’re not signed in to a Google Account, we store the information we collect with unique
identifiers tied to the browser, application, or device you’re using. This helps us do things like
maintain your language preferences across browsing sessions.

When you’re signed in, we also collect information that we store with your Google Account, which we
treat as personal information.

Things you create or provide to us                 The link ed image cannot be
                                                   displayed. The file may hav e been
                                                   moved, renamed, or deleted. Verify
                                                   that the link points to the correct
                                                   file and location.




When you create a Google Account, you provide us with personal information that includes your
name and a password. You can also choose to add a phone number or payment information to your
account. Even if you aren’t signed in to a Google Account, you might choose to provide us with
information — like an email address to receive updates about our services.




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    We also collect the content you create, upload, or receive from others when using our services. This
    includes things like email you write and receive, photos and videos you save, docs and spreadsheets
    you create, and comments you make on YouTube videos.

    Information we collect as you use our services
    Your apps, browsers & devices                    The link ed image cannot be
                                                     displayed. The file may hav e been
                                                     moved, renamed, or deleted. Verify
                                                     that the link points to the correct
                                                     file and location.




    We collect information about the apps, browsers, and devices you use to access Google services,
    which helps us provide features like automatic product updates and dimming your screen if your
    battery runs low.

    The information we collect includes unique identifiers, browser type and settings, device type and
    settings, operating system, mobile network information including carrier name and phone number,
    and application version number. We also collect information about the interaction of your apps,
    browsers, and devices with our services, including IP address, crash reports, system activity, and the
    date, time, and referrer URL of your request.

    We collect this information when a Google service on your device contacts our servers — for
    example, when you install an app from the Play Store or when a service checks for automatic
    updates. If you’re using an Android device with Google apps, your device periodically contacts
    Google servers to provide information about your device and connection to our services. This
    information includes things like your device type, carrier name, crash reports, and which apps you've
    installed.

    Your activity                                    The link ed image cannot be
                                                     displayed. The file may hav e been
                                                     moved, renamed, or deleted. Verify
                                                     that the link points to the correct
                                                     file and location.




    We collect information about your activity in our services, which we use to do things like recommend
    a YouTube video you might like. The activity information we collect may include:


     Terms you search for
     Videos you watch
     Views and interactions with content and ads
     Voice and audio information when you use audio features
     Purchase activity
     People with whom you communicate or share content
     Activity on third-party sites and apps that use our services




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                   Chrome browsing history you’ve synced with your Google Account


    If you use our services to make and receive calls or send and receive messages, we may collect call
    and message log information like your phone number, calling-party number, receiving-party number,
    forwarding numbers, sender and recipient email address, time and date of calls and messages,
    duration of calls, routing information, and types and volumes of calls and messages.

    You can visit your Google Account to find and manage activity information that’s saved in your
    account.


    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Go to Google Account

    Your location information                                             The link ed image cannot be
                                                                          displayed. The file may hav e been
                                                                          moved, renamed, or deleted. Verify
                                                                          that the link points to the correct
                                                                          file and location.




    We collect information about your location when you use our services, which helps us offer features
    like driving directions for your weekend getaway or showtimes for movies playing near you.

    Your location can be determined with varying degrees of accuracy by:


                   GPS
                   IP address
                   Sensor data from your device
                   Information about things near your device, such as Wi-Fi access points, cell towers, and
                    Bluetooth-enabled devices


    The types of location data we collect depend in part on your device and account settings. For
    example, you can turn your Android device’s location on or off using the device’s settings app. You
    can also turn on Location History if you want to create a private map of where you go with your
    signed-in devices.




    In some circumstances, Google also collects information about you from publicly accessible
    sources. For example, if your name appears in your local newspaper, Google’s Search engine may
    index that article and display it to other people if they search for your name. We may also collect




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information about you from trusted partners, such as directory services who provide us with
business information to be displayed on Google’s services, marketing partners who provide us with
information about potential customers of our business services, and security partners who provide
us with information to protect against abuse. We also receive information from advertisers to
provide advertising and research services on their behalf.

We use various technologies to collect and store information, including cookies, pixel tags, local
storage, such as browser web storage or application data caches, databases, and server logs.

WHY GOOGLE COLLECTS DATA


We use data to build better services
We use the information we collect from all our services for the following purposes:

Provide our services                             The link ed image cannot be
                                                 displayed. The file may hav e been
                                                 moved, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




We use your information to deliver our services, like processing the terms you search for in order to
return results or helping you share content by suggesting recipients from your contacts.

Maintain & improve our services                  The link ed image cannot be
                                                 displayed. The file may hav e been
                                                 moved, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




We also use your information to ensure our services are working as intended, such as tracking
outages or troubleshooting issues that you report to us. And we use your information to make
improvements to our services — for example, understanding which search terms are most frequently
misspelled helps us improve spell-check features used across our services.

Develop new services                             The link ed image cannot be
                                                 displayed. The file may hav e been
                                                 moved, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




We use the information we collect in existing services to help us develop new ones. For example,
understanding how people organized their photos in Picasa, Google’s first photos app, helped us
design and launch Google Photos.

Provide personalized services, including content and ads
                                                 The link ed image cannot be
                                                 displayed. The file may hav e been
                                                 moved, renamed, or deleted. Verify
                                                 that the link points to the correct
                                                 file and location.




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    We use the information we collect to customize our services for you, including providing
    recommendations, personalized content, and customized search results. For example, Security
    Checkup provides security tips adapted to how you use Google products. And Google Play uses
    information like apps you’ve already installed and videos you’ve watched on YouTube to suggest
    new apps you might like.

    Depending on your settings, we may also show you personalized ads based on your interests. For
    example, if you search for “mountain bikes,” you may see an ad for sports equipment when you’re
    browsing a site that shows ads served by Google. You can control what information we use to show
    you ads by visiting your ad settings.


                   We don’t show you personalized ads based on sensitive categories, such as race, religion, sexual
                    orientation, or health.
                   We don’t show you personalized ads based on your content from Drive, Gmail, or Photos.
                   We don’t share information that personally identifies you with advertisers, such as your name or
                    email, unless you ask us to. For example, if you see an ad for a nearby flower shop and select the
                    “tap to call” button, we’ll connect your call and may share your phone number with the flower
                    shop.


    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Go to Ad Settings

    Measure performance                                                   The link ed image cannot be
                                                                          displayed. The file may hav e been
                                                                          moved, renamed, or deleted. Verify
                                                                          that the link points to the correct
                                                                          file and location.




    We use data for analytics and measurement to understand how our services are used. For example,
    we analyze data about your visits to our sites to do things like optimize product design. And we also
    use data about the ads you interact with to help advertisers understand the performance of their ad
    campaigns. We use a variety of tools to do this, including Google Analytics. When you visit sites that
    use Google Analytics, a Google Analytics customer may choose to enable Google to link information
    about your activity from that site with activity from other sites that use our ad services.

    Communicate with you                                                  The link ed image cannot be
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We use information we collect, like your email address, to interact with you directly. For example, we
may send you a notification if we detect suspicious activity, like an attempt to sign in to your Google
Account from an unusual location. Or we may let you know about upcoming changes or
improvements to our services. And if you contact Google, we’ll keep a record of your request in order
to help solve any issues you might be facing.

Protect Google, our users, and the public        The link ed image cannot be
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We use information to help improve the safety and reliability of our services. This includes detecting,
preventing, and responding to fraud, abuse, security risks, and technical issues that could harm
Google, our users, or the public.




We use different technologies to process your information for these purposes. We use automated
systems that analyze your content to provide you with things like customized search results,
personalized ads, or other features tailored to how you use our services. And we analyze your
content to help us detect abuse such as spam, malware, and illegal content. We also use algorithms
to recognize patterns in data. For example, Google Translate helps people communicate across
languages by detecting common language patterns in phrases you ask it to translate.

We may combine the information we collect among our services and across your devices for the
purposes described above. For example, if you watch videos of guitar players on YouTube, you might
see an ad for guitar lessons on a site that uses our ad products. Depending on your account
settings, your activity on other sites and apps may be associated with your personal information in
order to improve Google’s services and the ads delivered by Google.

If other users already have your email address or other information that identifies you, we may show
them your publicly visible Google Account information, such as your name and photo. This helps
people identify an email coming from you, for example.

We’ll ask for your consent before using your information for a purpose that isn’t covered in this
Privacy Policy.

YOUR PRIVACY CONTROLS


You have choices regarding the information we collect and
how it's used

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This section describes key controls for managing your privacy across our services. You can also
visit the Privacy Checkup, which provides an opportunity to review and adjust important privacy
settings. In addition to these tools, we also offer specific privacy settings in our products — you can
learn more in our Product Privacy Guide.


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file and location.




Go to Privacy Checkup

Managing, reviewing, and updating your information
When you’re signed in, you can always review and update information by visiting the services you
use. For example, Photos and Drive are both designed to help you manage specific types of content
you’ve saved with Google.

We also built a place for you to review and control information saved in your Google Account. Your
Google Account includes:

Privacy controls

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file and location.




Activity Controls

Decide what types of activity you’d like saved in your account. For example, you can turn on Location
History if you want traffic predictions for your daily commute, or you can save your YouTube Watch
History to get better video suggestions.

Go to Activity Controls


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that the link points to the correct
file and location.




Ad settings

Manage your preferences about the ads shown to you on Google and on sites and apps that partner
with Google to show ads. You can modify your interests, choose whether your personal information
is used to make ads more relevant to you, and turn on or off certain advertising services.

Go to Ad Settings



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About you

Control what others see about you across Google services.

Go to About You


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that the link points to the correct
file and location.




Shared endorsements

Choose whether your name and photo appear next to your activity, like reviews and
recommendations, that appear in ads.

Go to Shared Endorsements

Ways to review & update your information

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that the link points to the correct
file and location.




My Activity

My Activity allows you to review and control data that’s created when you use Google services, like
searches you’ve done or your visits to Google Play. You can browse by date and by topic, and delete
part or all of your activity.

Go to My Activity


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that the link points to the correct
file and location.




Google Dashboard

Google Dashboard allows you to manage information associated with specific products.

Go to Dashboard


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    Your personal information

    Manage your contact information, such as your name, email, and phone number.

    Go to Personal Info

    When you’re signed out, you can manage information associated with your browser or device,
    including:


                   Signed-out search personalization: Choose whether your search activity is used to offer you more
                    relevant results and recommendations.
                   YouTube settings: Pause and delete your YouTube Search History and your YouTube Watch
                    History.
                   Ad Settings: Manage your preferences about the ads shown to you on Google and on sites and
                    apps that partner with Google to show ads.


    Exporting, removing & deleting your information
    You can export a copy of content in your Google Account if you want to back it up or use it with a
    service outside of Google.


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    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Export your data

    You can also request to remove content from specific Google services based on applicable law.

    To delete your information, you can:


                   Delete your content from specific Google services
                   Search for and then delete specific items from your account using My Activity
                   Delete specific Google products, including your information associated with those products
                   Delete your entire Google Account


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    that the link points to the correct
    file and location.




    Delete your information




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    And finally, Inactive Account Manager allows you to give someone else access to parts of your
    Google Account in case you’re unexpectedly unable to use your account.




    There are other ways to control the information Google collects whether or not you’re signed in to a
    Google Account, including:


     Browser settings: For example, you can configure your browser to indicate when Google has set a
      cookie in your browser. You can also configure your browser to block all cookies from a specific
      domain or all domains. But remember that our services rely on cookies to function properly, for
      things like remembering your language preferences.
     Device-level settings: Your device may have controls that determine what information we collect.
      For example, you can modify location settings on your Android device.
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    SHARING YOUR INFORMATION


    When you share your information
    Many of our services let you share information with other people, and you have control over how you
    share. For example, you can share videos on YouTube publicly or you can decide to keep your videos
    private. Remember, when you share information publicly, your content may become accessible
    through search engines, including Google Search.

    When you’re signed in and interact with some Google services, like leaving comments on a YouTube
    video or reviewing an app in Play, your name and photo appear next to your activity. We may also
    display this information in ads depending on your Shared endorsements setting.

    When Google shares your information
    We do not share your personal information with companies, organizations, or individuals outside of
    Google except in the following cases:

    With your consent
    We’ll share personal information outside of Google when we have your consent. For example, if you
    use Google Home to make a reservation through a booking service, we’ll get your permission before




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    sharing your name or phone number with the restaurant. We’ll ask for your explicit consent to share
    any sensitive personal information.

    With domain administrators
    If you’re a student or work for an organization that uses Google services, your domain administrator
    and resellers who manage your account will have access to your Google Account. They may be able
    to:


     Access and retain information stored in your account, like your email
     View statistics regarding your account, like how many apps you install
     Change your account password
     Suspend or terminate your account access
     Receive your account information in order to satisfy applicable law, regulation, legal process, or
      enforceable governmental request
     Restrict your ability to delete or edit your information or your privacy settings


    For external processing
    We provide personal information to our affiliates and other trusted businesses or persons to process
    it for us, based on our instructions and in compliance with our Privacy Policy and any other
    appropriate confidentiality and security measures. For example, we use service providers to help us
    with customer support.

    For legal reasons
    We will share personal information outside of Google if we have a good-faith belief that access, use,
    preservation, or disclosure of the information is reasonably necessary to:


     Meet any applicable law, regulation, legal process, or enforceable governmental request. We share
      information about the number and type of requests we receive from governments in our
      Transparency Report.
     Enforce applicable Terms of Service, including investigation of potential violations.
     Detect, prevent, or otherwise address fraud, security, or technical issues.
     Protect against harm to the rights, property or safety of Google, our users, or the public as
      required or permitted by law.


    We may share non-personally identifiable information publicly and with our partners — like
    publishers, advertisers, developers, or rights holders. For example, we share information publicly to




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    show trends about the general use of our services. We also allow specific partners to collect
    information from your browser or device for advertising and measurement purposes using their own
    cookies or similar technologies.

    If Google is involved in a merger, acquisition, or sale of assets, we’ll continue to ensure the
    confidentiality of your personal information and give affected users notice before personal
    information is transferred or becomes subject to a different privacy policy.
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    KEEPING YOUR INFORMATION SECURE


    We build security into our services to protect your
    information
    All Google products are built with strong security features that continuously protect your
    information. The insights we gain from maintaining our services help us detect and automatically
    block security threats from ever reaching you. And if we do detect something risky that we think you
    should know about, we’ll notify you and help guide you through steps to stay better protected.

    We work hard to protect you and Google from unauthorized access, alteration, disclosure, or
    destruction of information we hold, including:


     We use encryption to keep your data private while in transit
     We offer a range of security features, like Safe Browsing, Security Checkup, and 2 Step
      Verification to help you protect your account
     We review our information collection, storage, and processing practices, including physical
      security measures, to prevent unauthorized access to our systems
     We restrict access to personal information to Google employees, contractors, and agents who
      need that information in order to process it. Anyone with this access is subject to strict
      contractual confidentiality obligations and may be disciplined or terminated if they fail to meet
      these obligations.
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    EXPORTING & DELETING YOUR INFORMATION




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    You can export a copy of your information or delete it from
    your Google Account at any time
    You can export a copy of content in your Google Account if you want to back it up or use it with a
    service outside of Google.


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    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Export your data

    To delete your information, you can:


                   Delete your content from specific Google services
                   Search for and then delete specific items from your account using My Activity
                   Delete specific Google products, including your information associated with those products
                   Delete your entire Google Account


    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




    Delete your information

    RETAINING YOUR INFORMATION

    We retain the data we collect for different periods of time depending on what it is, how we use it, and
    how you configure your settings:


                   Some data you can delete whenever you like, such as the content you create or upload. You can
                    also delete activity information saved in your account, or choose to have it deleted automatically
                    after a set period of time.
                   Other data is deleted or anonymized automatically after a set period of time, such as advertising
                    data in server logs.
                   We keep some data until you delete your Google Account, such as information about how often
                    you use our services.
                   And some data we retain for longer periods of time when necessary for legitimate business or
                    legal purposes, such as security, fraud and abuse prevention, or financial record-keeping.




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    When you delete data, we follow a deletion process to make sure that your data is safely and
    completely removed from our servers or retained only in anonymized form. We try to ensure that our
    services protect information from accidental or malicious deletion. Because of this, there may be
    delays between when you delete something and when copies are deleted from our active and
    backup systems.

    You can read more about Google’s data retention periods, including how long it takes us to delete
    your information.
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    COMPLIANCE & COOPERATION WITH REGULATORS

    We regularly review this Privacy Policy and make sure that we process your information in ways that
    comply with it.

    Data transfers
    We maintain servers around the world and your information may be processed on servers located
    outside of the country where you live. Data protection laws vary among countries, with some
    providing more protection than others. Regardless of where your information is processed, we apply
    the same protections described in this policy. We also comply with certain legal frameworks relating
    to the transfer of data.

    When we receive formal written complaints, we respond by contacting the person who made the
    complaint. We work with the appropriate regulatory authorities, including local data protection
    authorities, to resolve any complaints regarding the transfer of your data that we cannot resolve with
    you directly.

    California requirements
    The California Consumer Privacy Act (CCPA) requires specific disclosures for California residents.

    This Privacy Policy is designed to help you understand how Google handles your information:


     We explain the categories of information Google collects and the sources of that information in
      Information Google collects.
     We explain how Google uses information in Why Google collects data.
     We explain when Google may share information in Sharing your information. Google does not sell
      your personal information.




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The CCPA also provides the right to request information about how Google collects, uses, and
discloses your personal information. And it gives you the right to access your information and
request that Google delete that information. Finally, the CCPA provides the right to not be
discriminated against for exercising your privacy rights.

We describe the choices you have to manage your privacy and data across Google’s services in Your
privacy controls. You can exercise your rights by using these controls, which allow you to access,
review, update and delete your information, as well as export and download a copy of it. When you
use them, we’ll validate your request by verifying that you’re signed in to your Google Account. If you
have questions or requests related to your rights under the CCPA, you (or your authorized agent) can
also contact Google. You can also find more information on Google’s handling of CCPA requests.

The CCPA requires a description of data practices using specific categories. This table uses these
categories to organize the information in this Privacy Policy.

Categories of personal information we collect


Identifiers such as your name, phone number, and address, as well as unique identifiers tied to the
browser, application, or device you’re using.

Demographic information, such as your age, gender and language.

Commercial information such as your payment information and a history of purchases you make on
Google’s services.

Biometric information if you choose to provide it, such as fingerprints in Google’s product
development studies.

Internet, network, and other activity information such as your search terms; views and interactions
with content and ads; Chrome browsing history you’ve synced with your Google Account;
information about the interaction of your apps, browsers, and devices with our services (like IP
address, crash reports, and system activity); and activity on third-party sites and apps that use our
services. You can review and control activity data stored in your Google Account in My Activity.

Geolocation data, such as may be determined by GPS, IP address, and other data from sensors on or
around your device, depending in part on your device and account settings. Learn more about
Google’s use of location information.

Audio, electronic, visual and similar information, such as voice and audio information when you use
audio features.




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Professional, employment, and education information, such as information you provide or that is
maintained through an organization using Google services at which you study or work.

Other information you create or provide, such as the content you create, upload, or receive (like
photos and videos or emails, docs and spreadsheets). Google Dashboard allows you to manage
information associated with specific products.

Inferences drawn from the above, like your ads interest categories.

Business purposes for which information may be used or disclosed


Protecting against security threats, abuse, and illegal activity: Google uses and may disclose
information to detect, prevent and respond to security incidents, and for protecting against other
malicious, deceptive, fraudulent, or illegal activity. For example, to protect our services, Google may
receive or disclose information about IP addresses that malicious actors have compromised.

Auditing and measurement: Google uses information for analytics and measurement to understand
how our services are used, as well as to fulfill obligations to our partners like publishers, advertisers,
developers, or rights holders. We may disclose non-personally identifiable information publicly and
with these partners, including for auditing purposes.

Maintaining our services: Google uses information to ensure our services are working as intended,
such as tracking outages or troubleshooting bugs and other issues that you report to us.

Research and development: Google uses information to improve our services and to develop new
products, features and technologies that benefit our users and the public. For example, we use
publicly available information to help train Google’s language models and build features like Google
Translate.

Use of service providers: Google shares information with service providers to perform services on
our behalf, in compliance with our Privacy Policy and other appropriate confidentiality and security
measures. For example, we may rely on service providers to help provide customer support.

Advertising: Google processes information, including online identifiers and information about your
interactions with advertisements, to provide advertising. This keeps Google’s services and many of
the websites and services you use free of charge. You can control what information we use to show
you ads by visiting your ad settings.

Legal reasons: Google also uses information to satisfy applicable laws or regulations, and discloses
information in response to legal process or enforceable government requests, including to law




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    enforcement. We provide information about the number and type of requests we receive from
    governments in our Transparency Report.

    Parties with whom information may be shared


    Other people with whom you choose to share your information, like docs or photos, and videos or
    comments on YouTube.

    Third parties to whom you consent to sharing your information, such as services that integrate with
    Google’s services. You can review and manage third party apps and sites with access to data in your
    Google Account.

    Service providers, trusted businesses or persons that process information on Google’s behalf,
    based on our instructions and in compliance with our Privacy Policy and any other appropriate
    confidentiality and security measures.

    Domain administrators, if you work or study at an organization that uses Google services.

    Law enforcement or other third parties, for the legal reasons described in Sharing your information.

    ABOUT THIS POLICY


    When this policy applies
    This Privacy Policy applies to all of the services offered by Google LLC and its affiliates, including
    YouTube, Android, and services offered on third-party sites, such as advertising services. This
    Privacy Policy doesn’t apply to services that have separate privacy policies that do not incorporate
    this Privacy Policy.

    This Privacy Policy doesn’t apply to:


     The information practices of other companies and organizations that advertise our services
     Services offered by other companies or individuals, including products or sites that may include
      Google services, be displayed to you in search results, or be linked from our services


    Changes to this policy
    We change this Privacy Policy from time to time. We will not reduce your rights under this Privacy
    Policy without your explicit consent. We always indicate the date the last changes were published
    and we offer access to archived versions for your review. If changes are significant, we’ll provide a
    more prominent notice (including, for certain services, email notification of Privacy Policy changes).




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    RELATED PRIVACY PRACTICES


    Specific Google services
    The following privacy notices provide additional information about some Google services:


        Chrome & the Chrome Operating System
        Payments
        Fiber
        Google Fi
        Google Workspace for Education
        Read Along
        YouTube Kids
        Google Accounts Managed with Family Link, for Children under 13 (or applicable age in your
         country)
        Voice and Audio Collection from Children’s Features on the Google Assistant


    If you’re a member of an organization that uses Google Workspace or Google Cloud Platform, learn
    how these services collect and use your personal information in the Google Cloud Privacy Notice.

    Other useful resources
    The following links highlight useful resources for you to learn more about our practices and privacy
    settings.


        Your Google Account is home to many of the settings you can use to manage your account
        Privacy Checkup guides you through key privacy settings for your Google Account
        Google’s safety center helps you learn more about our built-in security, privacy controls, and tools
         to help set digital ground rules for your family online
        Privacy & Terms provides more context regarding this Privacy Policy and our Terms of Service
        Technologies includes more information about:
          How Google uses cookies
          Technologies used for Advertising
          How Google uses pattern recognition to recognize things like faces in photos
          How Google uses information from sites or apps that use our services


    Key terms
    Affiliates




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An affiliate is an entity that belongs to the Google group of companies, including the following
companies that provide consumer services in the EU: Google Ireland Limited, Google Commerce Ltd,
Google Payment Corp, and Google Dialer Inc. Learn more about the companies providing business
services in the EU.

Algorithm
A process or set of rules followed by a computer in performing problem-solving operations.

Application data cache
An application data cache is a data repository on a device. It can, for example, enable a web
application to run without an internet connection and improve the performance of the application by
enabling faster loading of content.

Browser web storage
Browser web storage enables websites to store data in a browser on a device. When used in "local
storage" mode, it enables data to be stored across sessions. This makes data retrievable even after
a browser has been closed and reopened. One technology that facilitates web storage is HTML 5.

Cookies
A cookie is a small file containing a string of characters that is sent to your computer when you visit
a website. When you visit the site again, the cookie allows that site to recognize your browser.
Cookies may store user preferences and other information. You can configure your browser to
refuse all cookies or to indicate when a cookie is being sent. However, some website features or
services may not function properly without cookies. Learn more about how Google uses cookies and
how Google uses data, including cookies, when you use our partners' sites or apps.

Device
A device is a computer that can be used to access Google services. For example, desktop
computers, tablets, smart speakers, and smartphones are all considered devices.

Google Account
You may access some of our services by signing up for a Google Account and providing us with
some personal information (typically your name, email address, and a password). This account
information is used to authenticate you when you access Google services and protect your account
from unauthorized access by others. You can edit or delete your account at any time through your
Google Account settings.




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IP address
Every device connected to the Internet is assigned a number known as an Internet protocol (IP)
address. These numbers are usually assigned in geographic blocks. An IP address can often be
used to identify the location from which a device is connecting to the Internet.

Non-personally identifiable information
This is information that is recorded about users so that it no longer reflects or references an
individually-identifiable user.

Personal information
This is information that you provide to us which personally identifies you, such as your name, email
address, or billing information, or other data that can be reasonably linked to such information by
Google, such as information we associate with your Google Account.

Pixel tag
A pixel tag is a type of technology placed on a website or within the body of an email for the purpose
of tracking certain activity, such as views of a website or when an email is opened. Pixel tags are
often used in combination with cookies.

Referrer URL
A Referrer URL (Uniform Resource Locator) is information transmitted to a destination webpage by a
web browser, typically when you click a link to that page. The Referrer URL contains the URL of the
last webpage the browser visited.

Sensitive personal information
This is a particular category of personal information relating to topics such as confidential medical
facts, racial or ethnic origins, political or religious beliefs, or sexuality.

Server logs
Like most websites, our servers automatically record the page requests made when you visit our
sites. These “server logs” typically include your web request, Internet Protocol address, browser type,
browser language, the date and time of your request, and one or more cookies that may uniquely
identify your browser.

A typical log entry for a search for “cars” looks like this:




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    123.45.67.89 - 25/Mar/2003 10:15:32 -
    http://www.google.com/search?q=cars -
    Firefox 1.0.7; Windows NT 5.1 -
    740674ce2123e969


     123.45.67.89 is the Internet Protocol address assigned to the user by the user’s ISP. Depending
      on the user’s service, a different address may be assigned to the user by their service provider
      each time they connect to the Internet.
     25/Mar/2003 10:15:32 is the date and time of the query.
     http://www.google.com/search?q=cars is the requested URL, including the search query.
     Firefox 1.0.7; Windows NT 5.1 is the browser and operating system being used.
     740674ce2123a969 is the unique cookie ID assigned to this particular computer the first time it
      visited Google. (Cookies can be deleted by users. If the user has deleted the cookie from the
      computer since the last time they’ve visited Google, then it will be the unique cookie ID assigned
      to their device the next time they visit Google from that particular device).


    Unique identifiers
    A unique identifier is a string of characters that can be used to uniquely identify a browser, app, or
    device. Different identifiers vary in how permanent they are, whether they can be reset by users, and
    how they can be accessed.

    Unique identifiers can be used for various purposes, including security and fraud detection, syncing
    services such as your email inbox, remembering your preferences, and providing personalized
    advertising. For example, unique identifiers stored in cookies help sites display content in your
    browser in your preferred language. You can configure your browser to refuse all cookies or to
    indicate when a cookie is being sent. Learn more about how Google uses cookies.

    On other platforms besides browsers, unique identifiers are used to recognize a specific device or
    app on that device. For example, a unique identifier such as the Advertising ID is used to provide
    relevant advertising on Android devices, and can be managed in your device’s settings. Unique
    identifiers may also be incorporated into a device by its manufacturer (sometimes called a
    universally unique ID or UUID), such as the IMEI-number of a mobile phone. For example, a device’s
    unique identifier can be used to customize our service to your device or analyze device issues
    related to our services.

    Additional Context
    ads you’ll find most useful




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    For example, if you watch videos about baking on YouTube, you may see more ads that relate to
    baking as you browse the web. We also may use your IP address to determine your approximate
    location, so that we can serve you ads for a nearby pizza delivery service if you search for “pizza.”
    Learn more about Google ads and why you may see particular ads.

    advertising and research services on their behalf
    For example, advertisers may upload data from their loyalty-card programs so that they can better
    understand the performance of their ad campaigns. We only provide aggregated reports to
    advertisers that don’t reveal information about individual people.

    Android device with Google apps
    Android devices with Google apps include devices sold by Google or one of our partners and include
    phones, cameras, vehicles, wearables, and televisions. These devices use Google Play Services and
    other pre-installed apps that include services like Gmail, Maps, your phone’s camera and phone
    dialer, text-to-speech conversion, keyboard input, and security features.

    combine the information we collect
    Some examples of how we combine the information we collect include:


     When you’re signed in to your Google Account and search on Google, you can see search results
      from the public web, along with relevant information from the content you have in other Google
      products, like Gmail or Google Calendar. This can include things like the status of your upcoming
      flights, restaurant, and hotel reservations, or your photos. Learn more
     If you have communicated with someone via Gmail and want to add them to a Google Doc or an
      event in Google Calendar, Google makes it easy to do so by autocompleting their email address
      when you start to type in their name. This feature makes it easier to share things with people you
      know. Learn more
     The Google app can use data that you have stored in other Google products to show you
      personalized content, depending on your settings. For example, if you have searches stored in
      your Web & App Activity, the Google app can show you news articles and other information about
      your interests, like sports scores, based your activity. Learn more
     If you link your Google Account to your Google Home, you can manage your information and get
      things done through the Google Assistant. For example, you can add events to your Google
      Calendar or get your schedule for the day, ask for status updates on your upcoming flight, or send
      information like driving directions to your phone. Learn more




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    customized search results
    For example, when you’re signed in to your Google Account and have the Web & App Activity control
    enabled, you can get more relevant search results that are based on your previous searches and
    activity from other Google services. You can learn more here. You may also get customized search
    results even when you’re signed out. If you don’t want this level of search customization, you can
    search and browse privately or turn off signed-out search personalization.

    deliver our services
    Examples of how we use your information to deliver our services include:


     We use the IP address assigned to your device to send you the data you requested, such as
      loading a YouTube video
     We use unique identifiers stored in cookies on your device to help us authenticate you as the
      person who should have access to your Google Account
     Photos and videos you upload to Google Photos are used to help you create albums, animations,
      and other creations that you can share. Learn more
     A flight confirmation email you receive may be used to create a “check-in” button that appears in
      your Gmail
     When you purchase services or physical goods from us, you may provide us information like your
      shipping address or delivery instructions. We use this information for things like processing,
      fulfilling, and delivering your order, and to provide support in connection with the product or
      service you purchase.


    detect abuse
    When we detect spam, malware, illegal content, and other forms of abuse on our systems in
    violation of our policies, we may disable your account or take other appropriate action. In certain
    circumstances, we may also report the violation to appropriate authorities.

    devices
    For example, we can use information from your devices to help you decide which device you’d like to
    use to install an app or view a movie you buy from Google Play. We also use this information to help
    protect your account.

    ensure and improve




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For example, we analyze how people interact with advertising to improve the performance of our
ads.

ensure our services are working as intended
For example, we continuously monitor our systems to look for problems. And if we find something
wrong with a specific feature, reviewing activity information collected before the problem started
allows us to fix things more quickly.

Information about things near your device
If you use Google’s Location services on Android, we can improve the performance of apps that rely
on your location, like Google Maps. If you use Google’s Location services, your device sends
information to Google about its location, sensors (like accelerometer), and nearby cell towers and
Wi-Fi access points (like MAC address and signal strength). All these things help to determine your
location. You can use your device settings to enable Google Location services. Learn more

legal process, or enforceable governmental request
Like other technology and communications companies, Google regularly receives requests from
governments and courts around the world to disclose user data. Respect for the privacy and security
of data you store with Google underpins our approach to complying with these legal requests. Our
legal team reviews each and every request, regardless of type, and we frequently push back when a
request appears to be overly broad or doesn’t follow the correct process. Learn more in our
Transparency Report.

make improvements
For example, we use cookies to analyze how people interact with our services. And that analysis can
help us build better products. For example, it may help us discover that it’s taking people too long to
complete a certain task or that they have trouble finishing steps at all. We can then redesign that
feature and improve the product for everyone.

may link information
Google Analytics relies on first-party cookies, which means the cookies are set by the Google
Analytics customer. Using our systems, data generated through Google Analytics can be linked by
the Google Analytics customer and by Google to third-party cookies that are related to visits to other
websites. For example, an advertiser may want to use its Google Analytics data to create more
relevant ads, or to further analyze its traffic. Learn more




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partner with Google
There are over 2 million non-Google websites and apps that partner with Google to show ads. Learn
more

payment information
For example, if you add a credit card or other payment method to your Google Account, you can use
it to buy things across our services, like apps in the Play Store. We may also ask for other
information, like a business tax ID, to help process your payment. In some cases, we may also need
to verify your identity and may ask you for information to do this.

We may also use payment information to verify that you meet age requirements, if, for example, you
enter an incorrect birthday indicating you’re not old enough to have a Google Account. Learn more

personalized ads
You may also see personalized ads based on information from the advertiser. If you shopped on an
advertiser's website, for example, they can use that visit information to show you ads. Learn more

phone number
If you add your phone number to your account, it can be used for different purposes across Google
services, depending on your settings. For example, your phone number can be used to help you
access your account if you forget your password, help people find and connect with you, and make
the ads you see more relevant to you. Learn more

protect against abuse
For example, information about security threats can help us notify you if we think your account has
been compromised (at which point we can help you take steps to protect your account).

publicly accessible sources
For example, we may collect information that’s publicly available online or from other public sources
to help train Google’s language models and build features like Google Translate. Or, if your
business’s information appears on a website, we may index and display it on Google services.

rely on cookies to function properly
For example, we use a cookie called ‘lbcs’ that makes it possible for you to open many Google Docs
in one browser. Blocking this cookie would prevent Google Docs from working as expected. Learn
more




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    safety and reliability
    Some examples of how we use your information to help keep our services safe and reliable include:


     Collecting and analyzing IP addresses and cookie data to protect against automated abuse. This
      abuse takes many forms, such as sending spam to Gmail users, stealing money from advertisers
      by fraudulently clicking on ads, or censoring content by launching a Distributed Denial of Service
      (DDoS) attack.
     The “last account activity” feature in Gmail can help you find out if and when someone accessed
      your email without your knowledge. This feature shows you information about recent activity in
      Gmail, such as the IP addresses that accessed your mail, the associated location, and the date
      and time of access. Learn more


    sensitive categories
    When showing you personalized ads, we use topics that we think might be of interest to you based
    on your activity. For example, you may see ads for things like "Cooking and Recipes" or "Air Travel.”
    We don’t use topics or show personalized ads based on sensitive categories like race, religion,
    sexual orientation, or health. And we require the same from advertisers that use our services.

    Sensor data from your device
    Your device may have sensors that can be used to better understand your location and movement.
    For example, an accelerometer can be used to determine your speed and a gyroscope to figure out
    your direction of travel.

    servers around the world
    For example, we operate data centers located around the world to help keep our products
    continuously available for users.

    services to make and receive calls or send and receive messages
    Examples of these services include:


     Google Voice, for making and receiving calls, sending text messages, and managing voicemail
     Google Meet, for making and receiving video calls
     Gmail, for sending and receiving emails
     Google Chat, for sending and receiving messages
     Google Duo, for making and receiving video calls and sending and receiving messages




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     Google Fi, for a phone plan


    show trends
    When lots of people start searching for something, it can provide useful information about particular
    trends at that time. Google Trends samples Google web searches to estimate the popularity of
    searches over a certain period of time and shares those results publicly in aggregated terms. Learn
    more

    specific Google services
    For example, you can delete your blog from Blogger or a Google Site you own from Google Sites. You
    can also delete reviews you’ve left on apps, games, and other content in the Play Store.

    specific partners
    For example, we allow YouTube creators and advertisers to work with measurement companies to
    learn about the audience of their YouTube videos or ads, using cookies or similar technologies.
    Another example is merchants on our shopping pages, who use cookies to understand how many
    different people see their product listings. Learn more about these partners and how they use your
    information.

    synced with your Google Account
    Your Chrome browsing history is only saved to your account if you’ve enabled Chrome
    synchronization with your Google Account. Learn more

    the people who matter most to you online
    For example, when you type an address in the To, Cc, or Bcc field of an email you're composing,
    Gmail will suggest addresses based on the people you contact most frequently.

    third parties
    For example, we process your information to report use statistics to rights holders about how their
    content was used in our services. We may also process your information if people search for your
    name and we display search results for sites containing publicly available information about you.

    Views and interactions with content and ads
    For example, we collect information about views and interactions with ads so we can provide
    aggregated reports to advertisers, like telling them whether we served their ad on a page and




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    whether the ad was likely seen by a viewer. We may also measure other interactions, such as how
    you move your mouse over an ad or if you interact with the page on which the ad appears.

    your activity on other sites and apps
    This activity might come from your use of Google services, like from syncing your account with
    Chrome or your visits to sites and apps that partner with Google. Many websites and apps partner
    with Google to improve their content and services. For example, a website might use our advertising
    services (like AdSense) or analytics tools (like Google Analytics), or it might embed other content
    (such as videos from YouTube). These services may share information about your activity with
    Google and, depending on your account settings and the products in use (for instance, when a
    partner uses Google Analytics in conjunction with our advertising services), this data may be
    associated with your personal information.

    Learn more about how Google uses data when you use our partners' sites or apps.
    The linked image cannot be
    display ed. The file may hav e been
    mov ed, renamed, or deleted. Verify
    that the link points to the correct
    file and location.




                                                  English
    Change language:



   Google

   About Google

   Privacy

   Terms




                                                                                                                 2873
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        Privacy & Terms
        Privacy & Terms
        Sign in
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                                             Advertising
                                             How Google uses cookies
                                             How Google uses pattern recognition
                                             How Google uses location information
                                             How Google uses credit card numbers for payments
                                             How Google Voice works
                                             Google Product Privacy Guide
                                             How Google retains data we collect
                                               How Google anonymizes data
                       FAQ
        How Google retains data we collect – Privacy & Terms – Google
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Privacy & Terms
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
                       Google Account

       Technologies
       Advertising
       How Google uses cookies
       How Google uses pattern recognition
       How Google uses location information
       How Google uses credit card numbers for payments
       How Google Voice works
       Google Product Privacy Guide
       How Google retains data we collect
       How Google anonymizes data




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    HOW GOOGLE RETAINS DATA WE COLLECT

    We collect data as you use Google services. What we collect, why we collect it, and how you can
    manage your information are described in our Privacy Policy. This retention policy describes why we
    hold onto different types of data for different periods of time.

    Some data you can delete whenever you like, some data is deleted automatically, and some data we
    retain for longer periods of time when necessary. When you delete data, we follow a deletion policy
    to make sure that your data is safely and completely removed from our servers or retained only in
    anonymized form. How Google anonymizes data

    Information retained until you remove it
    We offer a range of services that allow you to correct or delete data stored in your Google Account.
    For example, you can:


     Edit your personal info
     Delete items from My Activity
     Delete content like photos and documents
     Remove a product from your Google Account
     Delete your Google Account entirely


    We’ll keep this data in your Google Account until you choose to remove it. And if you use our
    services without signing in to a Google Account, we also offer you the ability to delete some
    information linked to what you use to access our services, like a device, browser or app.

    Data that expires after a specific period of time
    In some cases, rather than provide a way to delete data, we store it for a predetermined period of
    time. For each type of data, we set retention timeframes based on the reason for its collection. For
    example, to ensure that our services display properly on many different types of devices, we may
    retain browser width and height for up to 9 months. We also take steps to anonymize certain data
    within set time periods. For example, we anonymize advertising data in server logs by removing part
    of the IP address after 9 months and cookie information after 18 months.

    Information retained until your Google Account is deleted
    We keep some data for the life of your Google Account if it’s useful for helping us understand how
    users interact with our features and how we can improve our services. For example, after you delete
    a specific Google search from My Activity, we might keep information about how often you search




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    for things, but not what you searched for. When you delete your Google Account, the information
    about how often you search for things is also removed.

    Information retained for extended time periods for limited
    purposes
    Sometimes business and legal requirements oblige us to retain certain information, for specific
    purposes, for an extended period of time. For example, when Google processes a payment for you,
    or when you make a payment to Google, we’ll retain this data for longer periods of time as required
    for tax or accounting purposes. Reasons we might retain some data for longer periods of time
    include:


     Security, fraud & abuse prevention
     Financial record-keeping
     Complying with legal or regulatory requirements
     Ensuring the continuity of our services
     Direct communications with Google


    Enabling safe and complete deletion
    When you delete data in your Google account, we immediately start the process of removing it from
    the product and our systems. First, we aim to immediately remove it from view and the data may no
    longer be used to personalize your Google experience. For example, if you delete a video you
    watched from your My Activity dashboard, YouTube will immediately stop showing your watch
    progress for that video.

    We then begin a process designed to safely and completely delete the data from our storage
    systems. Safe deletion is important to protect our users and customers from accidental data loss.
    Complete deletion of data from our servers is equally important for users’ peace of mind. This
    process generally takes around 2 months from the time of deletion. This often includes up to a
    month-long recovery period in case the data was removed unintentionally.

    Each Google storage system from which data gets deleted has its own detailed process for safe and
    complete deletion. This might involve repeated passes through the system to confirm all data has
    been deleted, or brief delays to allow for recovery from mistakes. As a result, deletion could
    sometimes take longer when extra time is needed to safely and completely delete the data.




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Our services also use encrypted backup storage as another layer of protection to help recover from
potential disasters. Data can remain on these systems for up to 6 months.

As with any deletion process, things like routine maintenance, unexpected outages, bugs, or failures
in our protocols may cause delays in the processes and timeframes defined in this article. We
maintain systems designed to detect and remediate such issues.

Security, fraud & abuse prevention

Description

To protect you, other people, and Google from fraud, abuse, and unauthorized access.

Scenarios

For example, when Google suspects someone is committing ad fraud.

Financial record-keeping

Description

When Google is a party to a financial transaction, including when Google processes your payment or
when you make a payment to Google. Lengthy retention of this information is often required for
purposes such as accounting, dispute resolution and compliance with tax, escheatment, anti-money
laundering, and other financial regulations.

Scenarios

For example, when you purchase apps from the Play Store or products from the Google Store.

Complying with legal or regulatory requirements

Description

To meet any applicable law, regulation, legal process or enforceable governmental request, or is
required to enforce applicable Terms of Service, including investigation of potential violations.

Scenarios

For example, if Google receives a lawful subpoena.

Ensuring the continuity of our services

Description




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    To ensure continuity of service for you and other users.

    Scenarios

    For example, when you share information with other users (such as when you have sent an email to
    someone else), deleting it from your Google Account will not eliminate copies maintained by the
    recipients.

    Direct communications with Google

    Description

    If you have directly communicated with Google, through a customer support channel, feedback form,
    or a bug report, Google may retain reasonable records of those communications.

    Scenarios

    For example, when you send feedback within a Google app like GMail or Drive.

                       English
    Change language:



   Google

   About Google

   Privacy

   Terms




                                                                                                      2878
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        Privacy & Terms
        Privacy & Terms
        Sign in
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                                             Advertising
                                             How Google uses cookies
                                             How Google uses pattern recognition
                                             How Google uses location information
                                             How Google uses credit card numbers for payments
                                             How Google Voice works
                                             Google Product Privacy Guide
                         How Google retains data we collect
                       FAQ
        Google Product Privacy Guide – Privacy & Terms – Google
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Privacy & Terms
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
                       Google Account

       Technologies
       Advertising
       How Google uses cookies
       How Google uses pattern recognition
       How Google uses location information
       How Google uses credit card numbers for payments
       How Google Voice works
       Google Product Privacy Guide
       How Google retains data we collect

        GOOGLE PRODUCT PRIVACY GUIDE




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    Welcome! The articles in this guide will give you more information about how Google's products
    work and how you can manage your privacy. To learn more about what you can do to protect
    yourself and your family online, visit our Safety Center.


    Search
   Delete searches and browsing activity
   Your location in Search
   Remove information from Google


    YouTube
   View and manage YouTube watch history
   View and manage YouTube search history
   View and manage video privacy settings
   Control YouTube ads based on my interests
   Collection and use of information on YouTube Kids
   YouTube account settings
   YouTube video settings
   Delete your YouTube channel


    Google Maps
   See your personal places in Maps
   See your location on Maps
   Find your reservations, flight info and more in Maps
   View or delete your Google Maps history
   Manage or delete location history
   Improve your location accuracy
   See and manage your timeline
   Add, delete, or share photos of places


    Android Nexus Devices
   Manage location for your device
   Manage security settings
   Manage settings for Google apps and services on any device that has Google Play installed
   Manage your location history




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   Manage location settings for apps
   Back up or restore data on your device


    Google Play
   Add an account on your device
   Manage your shared Play activity
   Read books on Google Play
   Nearby player permissions
   Sharing data with news and magazine publishers
   Sharing your game activity


    Google Drive
   Sharing basics
   Access your files offline
   Privacy and policies
   Manage your maps in Google Drive


    Google Docs (including Docs, Sheets, Slides, Forms, and
    Drawings)
   Sharing basics
   Publish a document, spreadsheet, presentation, or drawing


    Book Search
   Make bookshelves public or private
   Choose to link your Google Profile to Google Books
   What Google keeps track of as you use Google Books


    Google Payments
   About Google Payments
   Verify your identity
   Disable, close, or reopen your Google Payments account
   Set your payment method with a site or app




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    Google Groups
   Control group permissions
   Edit group permissions
   Configure member identity settings
   Delete a post you authored
   Delete, reset or disable a group


    Gmail
   How Gmail ads work
   Choose whether to show images
   Compromised Gmail account
   Delete or restore your Gmail account
   Import, export, & sync contacts
   Gmail security checklist


    Hangouts
   Turn Hangout history on or off
   Delete your Hangout message history
   Change my status and profile picture
   Control how people get in touch with you


    Google Chrome
   Choose your privacy settings
   Delete your cache, history, and other browser data
   Manage multiple users on Chrome
   Incognito mode
   Manage and delete cookies
   Manage location sharing on Chrome
   Turn sync on or off in Chrome


    Google+
   See and edit your Google+ profile
   Delete and manage activity




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   Delete your Google+ profile


    Calendar
   Control how you share your calendar with someone
   Change the privacy settings for your event
   Export your calendar


    Ads
   See our privacy information about Advertising
   Control your ads settings


    Blogger
   Edit your Blogger profile
   Export, import and delete your blog
   Control access to your blog
   Manage Google+ for Blogger


    Google Photos
   Hide where photos or videos were taken
   See albums you’ve shared or joined
   Share photos and videos
   Create, delete, and share photo albums
   Delete photos and videos


    Google News
   Personalization basics
   How Google News stores your settings
   News history personalization


    Google Keep
   Control sharing of notes, lists, and drawings
   Delete notes and lists
   Edit and delete reminders




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    Google Analytics
   Safeguarding Google Analytics data
   Opt-out of Analytics for the web


    Google Nest
   Our commitment to privacy in the home
   Sensors in Google Nest devices
   Privacy - Google Nest connected home devices and services

    For further assistance with privacy controls in our products, see our privacy troubleshooter.

                       English
    Change language:



   Google

   About Google

   Privacy

   Terms




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        Privacy & Terms
        Privacy & Terms
        Sign in
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




                       Overview
                       Privacy Policy
                                             Data transfer frameworks
                                             Key terms
                                             Partners
                         Updates
                       Terms of Service
                       Technologies
                       FAQ
        The linked image cannot be
        display ed. The file may hav e been
        mov ed, renamed, or deleted. Verify
        that the link points to the correct
        file and location.




           Privacy & Terms
                       Overview
                       Privacy Policy
                       Terms of Service
                       Technologies
                       FAQ
                       Google Account

       Privacy Policy
       Data transfer frameworks
       Key terms
       Partners
       Updates

        KEY TERMS


                       Affiliates
                       Algorithm
                       Application data cache
                       Browser web storage
                       Cookies
                       Device




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     Google Account
     IP address
     Non-personally identifiable information
     Personal information
     Pixel tag
     Referrer URL
     Sensitive personal information
     Server logs
     Unique identifiers


    Affiliates
    An affiliate is an entity that belongs to the Google group of companies, including the following
    companies that provide consumer services in the EU: Google Ireland Limited, Google Commerce Ltd,
    Google Payment Corp, and Google Dialer Inc. Learn more about the companies providing business
    services in the EU.

    Algorithm
    A process or set of rules followed by a computer in performing problem-solving operations.

    Application data cache
    An application data cache is a data repository on a device. It can, for example, enable a web
    application to run without an internet connection and improve the performance of the application by
    enabling faster loading of content.

    Browser web storage
    Browser web storage enables websites to store data in a browser on a device. When used in "local
    storage" mode, it enables data to be stored across sessions. This makes data retrievable even after
    a browser has been closed and reopened. One technology that facilitates web storage is HTML 5.

    Cookies
    A cookie is a small file containing a string of characters that is sent to your computer when you visit
    a website. When you visit the site again, the cookie allows that site to recognize your browser.
    Cookies may store user preferences and other information. You can configure your browser to
    refuse all cookies or to indicate when a cookie is being sent. However, some website features or




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services may not function properly without cookies. Learn more about how Google uses cookies and
how Google uses data, including cookies, when you use our partners' sites or apps.

Device
A device is a computer that can be used to access Google services. For example, desktop
computers, tablets, smart speakers, and smartphones are all considered devices.

Google Account
You may access some of our services by signing up for a Google Account and providing us with
some personal information (typically your name, email address, and a password). This account
information is used to authenticate you when you access Google services and protect your account
from unauthorized access by others. You can edit or delete your account at any time through your
Google Account settings.

IP address
Every device connected to the Internet is assigned a number known as an Internet protocol (IP)
address. These numbers are usually assigned in geographic blocks. An IP address can often be
used to identify the location from which a device is connecting to the Internet.

Non-personally identifiable information
This is information that is recorded about users so that it no longer reflects or references an
individually-identifiable user.

Personal information
This is information that you provide to us which personally identifies you, such as your name, email
address, or billing information, or other data that can be reasonably linked to such information by
Google, such as information we associate with your Google Account.

Pixel tag
A pixel tag is a type of technology placed on a website or within the body of an email for the purpose
of tracking certain activity, such as views of a website or when an email is opened. Pixel tags are
often used in combination with cookies.

Referrer URL



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    A Referrer URL (Uniform Resource Locator) is information transmitted to a destination webpage by a
    web browser, typically when you click a link to that page. The Referrer URL contains the URL of the
    last webpage the browser visited.

    Sensitive personal information
    This is a particular category of personal information relating to topics such as confidential medical
    facts, racial or ethnic origins, political or religious beliefs, or sexuality.

    Server logs
    Like most websites, our servers automatically record the page requests made when you visit our
    sites. These “server logs” typically include your web request, Internet Protocol address, browser type,
    browser language, the date and time of your request, and one or more cookies that may uniquely
    identify your browser.

    A typical log entry for a search for “cars” looks like this:
    123.45.67.89 - 25/Mar/2003 10:15:32 -
    http://www.google.com/search?q=cars -
    Firefox 1.0.7; Windows NT 5.1 -
    740674ce2123e969


     123.45.67.89 is the Internet Protocol address assigned to the user by the user’s ISP. Depending
      on the user’s service, a different address may be assigned to the user by their service provider
      each time they connect to the Internet.
     25/Mar/2003 10:15:32 is the date and time of the query.
     http://www.google.com/search?q=cars is the requested URL, including the search query.
     Firefox 1.0.7; Windows NT 5.1 is the browser and operating system being used.
     740674ce2123a969 is the unique cookie ID assigned to this particular computer the first time it
      visited Google. (Cookies can be deleted by users. If the user has deleted the cookie from the
      computer since the last time they’ve visited Google, then it will be the unique cookie ID assigned
      to their device the next time they visit Google from that particular device).


    Unique identifiers
    A unique identifier is a string of characters that can be used to uniquely identify a browser, app, or
    device. Different identifiers vary in how permanent they are, whether they can be reset by users, and
    how they can be accessed.




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    Unique identifiers can be used for various purposes, including security and fraud detection, syncing
    services such as your email inbox, remembering your preferences, and providing personalized
    advertising. For example, unique identifiers stored in cookies help sites display content in your
    browser in your preferred language. You can configure your browser to refuse all cookies or to
    indicate when a cookie is being sent. Learn more about how Google uses cookies.

    On other platforms besides browsers, unique identifiers are used to recognize a specific device or
    app on that device. For example, a unique identifier such as the Advertising ID is used to provide
    relevant advertising on Android devices, and can be managed in your device’s settings. Unique
    identifiers may also be incorporated into a device by its manufacturer (sometimes called a
    universally unique ID or UUID), such as the IMEI-number of a mobile phone. For example, a device’s
    unique identifier can be used to customize our service to your device or analyze device issues
    related to our services.

                       English
    Change language:



   Google

   About Google

   Privacy

   Terms


    Key terms – Privacy & Terms – Google




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                  Exhibit “E”

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file and location.




                                     Terms of Service

                                     Paid Service Terms of Service
                                     Paid Service Usage Rules
                                     Collecting Society Notices
                                     Copyright Notices
                                     Community Guidelines


                                                                      Terms of
                                                                      Service
                                                                      What’s in these terms?

                                                                      This index is designed to help you
                                                                      understand some of the key updates we’ve
                                                                      made to our Terms of Service (Terms). We
                                                                      hope this serves as a useful guide, but please
                                                                      ensure you read the Terms in full.


                                                                      Welcome to YouTube!
                                                                      This section outlines our relationship with
                                                                      you. It includes a description of the Service,
                                                                      defines our Agreement, and names your
                                                                      service provider.


                                                                      Who May Use the Service?
                                                                      This section sets out certain requirements for
                                                                      use of the Service, and defines categories of
                                                                      users.


                                                                      Your Use of the Service
                                                                      This section explains your rights to use the
                                                                      Service, and the conditions that apply to your




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                                use of the Service. It also explains how we
                                may make changes to the Service.


                                Your Content and Conduct
                                This section applies to users who provide
                                Content to the Service. It defines the scope of
                                the permissions that you grant by uploading
                                your Content, and includes your agreement
                                not to upload anything that infringes on
                                anyone else’s rights.


                                Account Suspension and Termination
                                This section explains how you and YouTube
                                may terminate this relationship.


                                About Software in the Service
                                This section includes details about software
                                on the Service.


                                Other Legal Terms
                                This section includes our service
                                commitment to you. It also explains that
                                there are some things we will not be
                                responsible for.


                                About this Agreement
                                This section includes some further important
                                details about our contract, including what to
                                expect if we need to make changes to these
                                Terms; or which law applies to them.



                                Terms of Service

                                Dated: November 18, 2020




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                                Welcome to YouTube!

                                Introduction
                                Thank you for using the YouTube platform
                                and the products, services and features we
                                make available to you as part of the platform
                                (collectively, the “Service”).


                                Our Service


                                The Service allows you to discover, watch
                                and share videos and other content, provides
                                a forum for people to connect, inform, and
                                inspire others across the globe, and acts as a
                                distribution platform for original content
                                creators and advertisers large and small. We
                                provide lots of information about our
                                products and how to use them in our Help
                                Center. Among other things, you can find out
                                about YouTube Kids, the YouTube Partner
                                Program and YouTube Paid Memberships
                                and Purchases (where available).You can
                                also read all about enjoying content on other
                                devices like your television, your games
                                console, or Google Home.
                                Your Service Provider


                                The entity providing the Service is Google
                                LLC, a company operating under the laws of
                                Delaware, located at 1600 Amphitheatre
                                Parkway, Mountain View, CA 94043 (referred
                                to as “YouTube”, “we”, “us”, or “our”).
                                References to YouTube’s “Affiliates” in these
                                terms means the other companies within the




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                                Alphabet Inc. corporate group (now or in the
                                future).


                                Applicable Terms
                                Your use of the Service is subject to these
                                terms, the YouTube Community
                                Guidelines and the Policy, Safety and
                                Copyright Policies which may be updated
                                from time to time (together, this
                                "Agreement"). Your Agreement with us will
                                also include the Advertising on YouTube
                                Policies if you provide advertising or
                                sponsorships to the Service or incorporate
                                paid promotions in your content. Any other
                                links or references provided in these terms
                                are for informational use only and are not
                                part of the Agreement.
                                Please read this Agreement carefully and
                                make sure you understand it. If you do not
                                understand the Agreement, or do not accept
                                any part of it, then you may not use the
                                Service.


                                Who may use the Service?

                                Age Requirements
                                You must be at least 13 years old to use the
                                Service. However, children of all ages may
                                use YouTube Kids (where available) if
                                enabled by a parent or legal guardian.


                                Permission by Parent or Guardian


                                If you are under 18, you represent that you
                                have your parent or guardian’s permission to




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                                use the Service. Please have them read this
                                Agreement with you.


                                If you are a parent or legal guardian of a user
                                under the age of 18, by allowing your child to
                                use the Service, you are subject to the terms
                                of this Agreement and responsible for your
                                child’s activity on the Service. You can find
                                tools and resources to help you manage your
                                family’s experience on YouTube in our Help
                                Center and through Google’s Family Link.
                                Businesses
                                If you are using the Service on behalf of a
                                company or organisation, you represent that
                                you have authority to act on behalf of that
                                entity, and that such entity accepts this
                                Agreement.


                                Your Use of the Service

                                Content on the Service
                                The content on the Service includes videos,
                                audio (for example music and other sounds),
                                graphics, photos, text (such as comments
                                and scripts), branding (including trade
                                names, trademarks, service marks, or logos),
                                interactive features, software, metrics, and
                                other materials whether provided by you,
                                YouTube or a third-party (collectively,
                                "Content”).


                                Content is the responsibility of the person or
                                entity that provides it to the Service. YouTube
                                is under no obligation to host or serve
                                Content. If you see any Content you believe




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                                does not comply with this Agreement,
                                including by violating the Community
                                Guidelines or the law, you can report it to us.
                                Google Accounts and YouTube Channels
                                You can use parts of the Service, such as
                                browsing and searching for Content, without
                                having a Google account. However, you do
                                need a Google account to use some features.
                                With a Google account, you may be able to
                                like videos, subscribe to channels, create
                                your own YouTube channel, and more. You
                                can follow these instructions to create a
                                Google account.
                                Creating a YouTube channel will give you
                                access to additional features and functions,
                                such as uploading videos, making comments
                                or creating playlists (where available). Here
                                are some details about how to create your
                                own YouTube channel.
                                To protect your Google account, keep your
                                password confidential. You should not reuse
                                your Google account password on third-party
                                applications. Learn more about keeping your
                                Google account secure, including what to do
                                if you learn of any unauthorized use of your
                                password or Google account.
                                Your Information
                                Our Privacy Policy explains how we treat your
                                personal data and protect your privacy when
                                you use the Service. The YouTube Kids
                                Privacy Notice provides additional
                                information about our privacy practices that
                                are specific to YouTube Kids.
                                We will process any audio or audiovisual
                                content uploaded by you to the Service in
                                accordance with the YouTube Data




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                                Processing Terms, except in cases where you
                                uploaded such content for personal purposes
                                or household activities. Learn More.
                                Permissions and Restrictions
                                You may access and use the Service as made
                                available to you, as long as you comply with
                                this Agreement and applicable law. You may
                                view or listen to Content for your personal,
                                non-commercial use. You may also show
                                YouTube videos through the embeddable
                                YouTube player.


                                The following restrictions apply to your use of
                                the Service. You are not allowed to:


                                 1. access, reproduce, download, distribute,
                                    transmit, broadcast, display, sell, license,
                                    alter, modify or otherwise use any part of
                                    the Service or any Content except: (a) as
                                    expressly authorized by the Service; or
                                    (b) with prior written permission from
                                    YouTube and, if applicable, the
                                    respective rights holders;

                                 2. circumvent, disable, fraudulently engage
                                    with, or otherwise interfere with any part
                                    of the Service (or attempt to do any of
                                    these things), including security-related
                                    features or features that (a) prevent or
                                    restrict the copying or other use of
                                    Content or (b) limit the use of the Service
                                    or Content;

                                 3. access the Service using any automated
                                    means (such as robots, botnets or
                                    scrapers) except (a) in the case of public
                                    search engines, in accordance with




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                                    YouTube’s robots.txt file; or (b) with
                                    YouTube’s prior written permission;

                                 4. collect or harvest any information that
                                    might identify a person (for example,
                                    usernames or faces), unless permitted
                                    by that person or allowed under section
                                    (3) above;

                                 5. use the Service to distribute unsolicited
                                    promotional or commercial content or
                                    other unwanted or mass solicitations;

                                 6. cause or encourage any inaccurate
                                    measurements of genuine user
                                    engagement with the Service, including
                                    by paying people or providing them with
                                    incentives to increase a video’s views,
                                    likes, or dislikes, or to increase a
                                    channel’s subscribers, or otherwise
                                    manipulate metrics in any manner;

                                 7. misuse any reporting, flagging,
                                    complaint, dispute, or appeals process,
                                    including by making groundless,
                                    vexatious, or frivolous submissions;

                                 8. run contests on or through the Service
                                    that do not comply with YouTube’s
                                    contest policies and guidelines;
                                 9. use the Service to view or listen to
                                    Content other than for personal, non-
                                    commercial use (for example, you may
                                    not publicly screen videos or stream
                                    music from the Service); or

                                 10. use the Service to (a) sell any
                                     advertising, sponsorships, or promotions
                                     placed on, around, or within the Service




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                                    or Content, other than those allowed in
                                    the Advertising on YouTube policies
                                    (such as compliant product placements);
                                    or (b) sell advertising, sponsorships, or
                                    promotions on any page of any website
                                    or application that only contains Content
                                    from the Service or where Content from
                                    the Service is the primary basis for such
                                    sales (for example, selling ads on a
                                    webpage where YouTube videos are the
                                    main draw for users visiting the
                                    webpage).
                                Reservation


                                Using the Service does not give you
                                ownership of or rights to any aspect of the
                                Service, including user names or any other
                                Content posted by others or YouTube.


                                Changes to the Service


                                YouTube is constantly changing and
                                improving the Service. We may also need to
                                alter or discontinue the Service, or any part of
                                it, in order to make performance or security
                                improvements, change functionality and
                                features, make changes to comply with law,
                                or prevent illegal activities on or abuse of our
                                systems. These changes may affect all users,
                                some users or even an individual user.
                                Whenever reasonably possible, we will
                                provide notice when we discontinue or make
                                material changes to our Service that will have
                                an adverse impact on the use of our Service.
                                However, you understand and agree that
                                there will be times when we make such




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                                changes without notice, such as where we
                                feel we need to take action to improve the
                                security and operability of our Service,
                                prevent abuse, or comply with legal
                                requirements.


                                Your Content and Conduct

                                Uploading Content


                                If you have a YouTube channel, you may be
                                able to upload Content to the Service. You
                                may use your Content to promote your
                                business or artistic enterprise. If you choose
                                to upload Content, you must not submit to
                                the Service any Content that does not comply
                                with this Agreement (including the YouTube
                                Community Guidelines) or the law. For
                                example, the Content you submit must not
                                include third-party intellectual property (such
                                as copyrighted material) unless you have
                                permission from that party or are otherwise
                                legally entitled to do so. You are legally
                                responsible for the Content you submit to the
                                Service. We may use automated systems that
                                analyze your Content to help detect
                                infringement and abuse, such as spam,
                                malware, and illegal content.
                                Rights you Grant


                                You retain ownership rights in your Content.
                                However, we do require you to grant certain
                                rights to YouTube and other users of the
                                Service, as described below.




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                                License to YouTube


                                By providing Content to the Service, you grant
                                to YouTube a worldwide, non-exclusive,
                                royalty-free, sublicensable and transferable
                                license to use that Content (including to
                                reproduce, distribute, prepare derivative
                                works, display and perform it) in connection
                                with the Service and YouTube’s (and its
                                successors' and Affiliates') business,
                                including for the purpose of promoting and
                                redistributing part or all of the Service.


                                License to Other Users


                                You also grant each other user of the Service
                                a worldwide, non-exclusive, royalty-free
                                license to access your Content through the
                                Service, and to use that Content, including to
                                reproduce, distribute, prepare derivative
                                works, display, and perform it, only as
                                enabled by a feature of the Service (such as
                                video playback or embeds). For clarity, this
                                license does not grant any rights or
                                permissions for a user to make use of your
                                Content independent of the Service.


                                Duration of License


                                The licenses granted by you continue for a
                                commercially reasonable period of time after
                                you remove or delete your Content from the
                                Service. You understand and agree, however,
                                that YouTube may retain, but not display,
                                distribute, or perform, server copies of your
                                videos that have been removed or deleted.




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                                Right to Monetize


                                You grant to YouTube the right to monetize
                                your Content on the Service (and such
                                monetization may include displaying ads on
                                or within Content or charging users a fee for
                                access). This Agreement does not entitle you
                                to any payments. Starting November 18,
                                2020, any payments you may be entitled to
                                receive from YouTube under any other
                                agreement between you and YouTube
                                (including for example payments under the
                                YouTube Partner Program, Channel
                                memberships or Super Chat) will be treated
                                as royalties. If required by law, Google will
                                withhold taxes from such payments.


                                Removing Your Content


                                You may remove your Content from the
                                Service at any time. You also have the option
                                to make a copy of your Content before
                                removing it. You must remove your Content if
                                you no longer have the rights required by
                                these terms.
                                Removal of Content By YouTube


                                If we reasonably believe that any Content is in
                                breach of this Agreement or may cause harm
                                to YouTube, our users, or third parties, we
                                may remove or take down that Content in our
                                discretion. We will notify you with the reason
                                for our action unless we reasonably believe
                                that to do so: (a) would breach the law or the
                                direction of a legal enforcement authority or
                                would otherwise risk legal liability for




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                                YouTube or our Affiliates; (b) would
                                compromise an investigation or the integrity
                                or operation of the Service; or (c) would
                                cause harm to any user, other third party,
                                YouTube or our Affiliates. You can learn more
                                about reporting and enforcement, including
                                how to appeal on the Troubleshooting page
                                of our Help Center.
                                Copyright Protection


                                We provide information to help copyright
                                holders manage their intellectual property
                                online in our YouTube Copyright Center. If
                                you believe your copyright has been infringed
                                on the Service, please send us a notice.
                                We respond to notices of alleged copyright
                                infringement according to the process in our
                                YouTube Copyright Center, where you can
                                also find information about how to resolve a
                                copyright strike. YouTube's policies provide
                                for the termination, in appropriate
                                circumstances, of repeat infringers’ access to
                                the Service.
                                Account Suspension &
                                Termination

                                Terminations by You
                                You may stop using the Service at any time.
                                Follow these instructions to delete the
                                Service from your Google Account, which
                                involves closing your YouTube channel and
                                removing your data. You also have the option
                                to download a copy of your data first.
                                Terminations and Suspensions by YouTube
                                for Cause




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                                YouTube may suspend or terminate your
                                access, your Google account, or your Google
                                account’s access to all or part of the
                                Service if (a) you materially or repeatedly
                                breach this Agreement; (b) we are required to
                                do so to comply with a legal requirement or a
                                court order; or (c) we believe there has been
                                conduct that creates (or could create) liability
                                or harm to any user, other third party,
                                YouTube or our Affiliates.


                                Terminations by YouTube for Service
                                Changes


                                YouTube may terminate your access, or your
                                Google account’s access to all or part of the
                                Service if YouTube believes, in its sole
                                discretion, that provision of the Service to you
                                is no longer commercially viable.


                                Notice for Termination or Suspension


                                We will notify you with the reason for
                                termination or suspension by YouTube
                                unless we reasonably believe that to do so:
                                (a) would violate the law or the direction of a
                                legal enforcement authority, or would
                                otherwise risk legal liability for YouTube or
                                our Affiliates; (b) would compromise an
                                investigation or the integrity or operation of
                                the Service; or (c) would cause harm to any
                                user, other third party, YouTube or our
                                Affiliates. Where YouTube is terminating your
                                access for Service changes, where
                                reasonably possible, you will be provided with




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                                sufficient time to export your Content from
                                the Service.


                                Effect of Account Suspension or Termination


                                If your Google account is terminated or your
                                Google account’s access to the Service is
                                restricted, you may continue using certain
                                aspects of the Service (such as viewing only)
                                without an account, and this Agreement will
                                continue to apply to such use. If you believe
                                your Google account has been terminated in
                                error, you can appeal using this form.
                                About Software in the Service

                                Downloadable Software
                                When the Service requires or includes
                                downloadable software (such as the
                                YouTube Studio application), you give
                                permission for that software to update
                                automatically on your device once a new
                                version or feature is available, subject to your
                                device settings. Unless that software is
                                governed by additional terms which provide a
                                license, YouTube gives you a personal,
                                worldwide, royalty-free, non-assignable and
                                non-exclusive license to use the software
                                provided to you by YouTube as part of the
                                Service. This license is for the sole purpose
                                of enabling you to use and enjoy the benefit
                                of the Service as provided by YouTube, in the
                                manner permitted by this Agreement. You are
                                not allowed to copy, modify, distribute, sell, or
                                lease any part of the software, or to reverse-
                                engineer or attempt to extract the source




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                                code of that software, unless laws prohibit
                                these restrictions or you have YouTube’s
                                written permission.


                                Open Source
                                Some software used in our Service may be
                                offered under an open source license that we
                                make available to you. There may be
                                provisions in an open source license that
                                expressly override some of these terms, so
                                please be sure to read those licenses.


                                Other Legal Terms

                                Warranty Disclaimer
                                OTHER THAN AS EXPRESSLY STATED IN
                                THIS AGREEMENT OR AS REQUIRED BY LAW,
                                THE SERVICE IS PROVIDED “AS IS” AND
                                YOUTUBE DOES NOT MAKE ANY SPECIFIC
                                COMMITMENTS OR WARRANTIES ABOUT
                                THE SERVICE. FOR EXAMPLE, WE DON’T
                                MAKE ANY WARRANTIES ABOUT: (A) THE
                                CONTENT PROVIDED THROUGH THE
                                SERVICE; (B) THE SPECIFIC FEATURES OF
                                THE SERVICE, OR ITS ACCURACY,
                                RELIABILITY, AVAILABILITY, OR ABILITY TO
                                MEET YOUR NEEDS; OR (C) THAT ANY
                                CONTENT YOU SUBMIT WILL BE
                                ACCESSIBLE ON THE SERVICE.


                                Limitation of Liability


                                EXCEPT AS REQUIRED BY APPLICABLE LAW,
                                YOUTUBE, ITS AFFILIATES, OFFICERS,
                                DIRECTORS, EMPLOYEES AND AGENTS WILL




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                                NOT BE RESPONSIBLE FOR ANY LOSS OF
                                PROFITS, REVENUES, BUSINESS
                                OPPORTUNITIES, GOODWILL, OR
                                ANTICIPATED SAVINGS; LOSS OR
                                CORRUPTION OF DATA; INDIRECT OR
                                CONSEQUENTIAL LOSS; PUNITIVE
                                DAMAGES CAUSED BY:


                                 1. ERRORS, MISTAKES, OR INACCURACIES
                                    ON THE SERVICE;

                                 2. PERSONAL INJURY OR PROPERTY
                                    DAMAGE RESULTING FROM YOUR USE
                                    OF THE SERVICE;

                                 3. ANY UNAUTHORIZED ACCESS TO OR
                                    USE OF THE SERVICE;

                                 4. ANY INTERRUPTION OR CESSATION OF
                                    THE SERVICE;

                                 5. ANY VIRUSES OR MALICIOUS CODE
                                    TRANSMITTED TO OR THROUGH THE
                                    SERVICE BY ANY THIRD PARTY;

                                 6. ANY CONTENT WHETHER SUBMITTED
                                    BY A USER OR YOUTUBE, INCLUDING
                                    YOUR USE OF CONTENT; AND/OR

                                 7. THE REMOVAL OR UNAVAILABILITY OF
                                    ANY CONTENT.

                                THIS PROVISION APPLIES TO ANY CLAIM,
                                REGARDLESS OF WHETHER THE CLAIM
                                ASSERTED IS BASED ON WARRANTY,
                                CONTRACT, TORT, OR ANY OTHER LEGAL
                                THEORY.




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                                YOUTUBE AND ITS AFFILIATES’ TOTAL
                                LIABILITY FOR ANY CLAIMS ARISING FROM
                                OR RELATING TO THE SERVICE IS LIMITED
                                TO THE GREATER OF: (A) THE AMOUNT OF
                                REVENUE THAT YOUTUBE HAS PAID TO YOU
                                FROM YOUR USE OF THE SERVICE IN THE 12
                                MONTHS BEFORE THE DATE OF YOUR
                                NOTICE, IN WRITING TO YOUTUBE, OF THE
                                CLAIM; AND (B) USD $500.


                                Indemnity


                                To the extent permitted by applicable law,
                                you agree to defend, indemnify and hold
                                harmless YouTube, its Affiliates, officers,
                                directors, employees and agents, from and
                                against any and all claims, damages,
                                obligations, losses, liabilities, costs or debt,
                                and expenses (including but not limited to
                                attorney's fees) arising from: (i) your use of
                                and access to the Service; (ii) your violation
                                of any term of this Agreement; (iii) your
                                violation of any third party right, including
                                without limitation any copyright, property, or
                                privacy right; or (iv) any claim that your
                                Content caused damage to a third party. This
                                defense and indemnification obligation will
                                survive this Agreement and your use of the
                                Service.


                                Third-Party Links
                                The Service may contain links to third-party
                                websites and online services that are not
                                owned or controlled by YouTube. YouTube
                                has no control over, and assumes no
                                responsibility for, such websites and online




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                                services. Be aware when you leave the
                                Service; we suggest you read the terms and
                                privacy policy of each third-party website and
                                online service that you visit.


                                About this Agreement

                                Modifying this Agreement
                                We may modify this Agreement, for example,
                                to reflect changes to our Service or for legal,
                                regulatory, or security reasons. YouTube will
                                provide reasonable advance notice of any
                                material modifications to this Agreement and
                                the opportunity to review them, except that
                                modifications addressing newly available
                                features of the Service or modifications
                                made for legal reasons may be effective
                                immediately without notice. Modifications to
                                this Agreement will only apply going forward.
                                If you do not agree to the modified terms, you
                                should remove any Content you have
                                uploaded and discontinue your use of the
                                Service.

                                Continuation of this Agreement
                                If your use of the Service ends, the following
                                terms of this Agreement will continue to
                                apply to you: “Other Legal Terms”, “About
                                This Agreement”, and the licenses granted by
                                you will continue as described under
                                “Duration of License”.


                                Severance
                                If it turns out that a particular term of this




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                                Agreement is not enforceable for any reason,
                                this will not affect any other terms.


                                No Waiver
                                If you fail to comply with this Agreement and
                                we do not take immediate action, this does
                                not mean that we are giving up any rights that
                                we may have (such as the right to take action
                                in the future).


                                Interpretation


                                In these terms, “include” or “including” means
                                “including but not limited to,” and any
                                examples we give are for illustrative
                                purposes.


                                Governing Law
                                All claims arising out of or relating to these
                                terms or the Service will be governed by
                                California law, except California’s conflict of
                                laws rules, and will be litigated exclusively in
                                the federal or state courts of Santa Clara
                                County, California, USA. You and YouTube
                                consent to personal jurisdiction in those
                                courts.


                                Limitation on Legal Action


                                YOU AND YOUTUBE AGREE THAT ANY
                                CAUSE OF ACTION ARISING OUT OF OR
                                RELATED TO THE SERVICES MUST
                                COMMENCE WITHIN ONE (1) YEAR AFTER
                                THE CAUSE OF ACTION ACCRUES.
                                OTHERWISE, SUCH CAUSE OF ACTION IS
                                PERMANENTLY BARRED.




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                                Effective as of November 18, 2020 (view
                                previous version)




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                  Exhibit “F”

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The linked image cannot be
display ed. The file may hav e been
mov ed, renamed, or deleted. Verify
that the link points to the correct
file and location.




                                     Terms of Service

                                     Paid Service Terms of Service
                                     Paid Service Usage Rules
                                     Collecting Society Notices
                                     Copyright Notices
                                     Community Guidelines


                                                                      Terms of
                                                                      Service
                                                                      Our Terms of Service have
                                                                      been updated.

                                                                      This summary is designed to help you
                                                                      understand some of the key updates we’ve
                                                                      made to our Terms of Service (Terms). We
                                                                      hope this serves as a useful guide, but please
                                                                      ensure you read the new Terms in full.


                                                                      Welcome to YouTube!
                                                                      This section outlines our relationship with
                                                                      you. It includes a description of the Service,
                                                                      defines our Agreement, and names your
                                                                      service provider. Key updates:


                                                                          Service Provider. Your service provider is
                                                                           now Google LLC.

                                                                          Policies. We have added a link to the
                                                                           Policy, Safety and Copyright Policies, and
                                                                           our Advertising on YouTube Policies,
                                                                           which all form part of the Agreement.




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                                     These are the policies that underpin our
                                     Community Guidelines, and we wanted
                                     to make sure to call out this detail to you
                                     upfront in our Terms.
                                    Affiliates. To ensure you understand
                                     exactly who we mean when we talk
                                     about our group companies, we’ve
                                     included a definition of our “Affiliates”,
                                     meaning the companies in the Alphabet
                                     corporate group.

                                Who May Use the Service?
                                This section sets out certain requirements for
                                use of the Service, and defines categories of
                                users. Key updates:


                                    Age Requirements. We have stated the
                                     specific age requirements for your
                                     country, reflecting our Google wide
                                     policies, and included a notice that, if you
                                     are a minor in your country, you must
                                     always have your parent or guardian’s
                                     permission before using the Service.
                                    Parental Permission. We’ve added a
                                     section to explain your responsibility if
                                     you allow your child to use YouTube.

                                    Businesses. Our Terms now make clear
                                     that, if you are using the Service on
                                     behalf of a company or organisation, that
                                     business accepts this Agreement.

                                Your Use of the Service
                                This section explains your rights to use the
                                Service, and the conditions that apply to your
                                use of the Service. It also explains how we




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                                may make changes to the Service. Key
                                updates:


                                    Google Accounts and YouTube
                                     Channels. We’ve provided details about
                                     which features of the Service can be
                                     accessed without a Google account or
                                     YouTube channel, and which features
                                     require one.
                                    Your Information. We haven’t made any
                                     changes to the way we treat your
                                     information. You can read about our
                                     privacy practices by reviewing the
                                     Privacy Policy and YouTube Kids
                                     Privacy Notice. As a reminder, you can
                                     always review your privacy settings and
                                     manage your data and personalisation
                                     by visiting your Google Account.
                                    Restrictions. We have updated this
                                     section to reflect our requirements
                                     around contests, and to include a
                                     prohibition on manipulating metrics.

                                    Service Changes. We have improved our
                                     Terms to be more transparent about why
                                     we might need to make changes to the
                                     Service, and provided a commitment to
                                     give you notice when those changes
                                     might affect you.

                                Your Content and Conduct
                                This section applies to users who provide
                                Content to the Service. It defines the scope of
                                the permissions that you grant by uploading
                                your Content, and includes your agreement
                                not to upload anything that infringes on
                                anyone else’s rights. Key updates:




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                                    License. We’ve clarified the content
                                     license you grant us to make it easier to
                                     understand. We’re not asking for
                                     additional permissions and there’s no
                                     difference in how we’re using your
                                     content.

                                    Duration. We have removed the right for
                                     YouTube to use your comments in
                                     perpetuity.

                                    Removals. We have included a link to the
                                     tools you will need to remove your
                                     content, as well as a clear description
                                     about why we might need to take down
                                     content, and how to appeal removals.
                                    Analyzing Content. We may
                                     automatically analyze content on
                                     YouTube, to help detect abuse and keep
                                     the platform safe.

                                Account Suspension and Termination
                                This section explains how you and YouTube
                                may terminate this relationship. Key updates:


                                    Terminations. Our Terms now include
                                     more details about when we might need
                                     to terminate our Agreement with bad
                                     actors. We provide a greater
                                     commitment to give notice when we take
                                     such action and what you can do to
                                     appeal if you think we’ve got it wrong.
                                     We’ve also added instructions for you, if
                                     you decide you no longer want to use the
                                     Service.
                                About Software in the Service




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                                This section includes details about software
                                on the Service. Key updates:


                                    Software Licences. We’ve made the
                                     software licence we grant you more
                                     specific, and included some details
                                     around open source.

                                Other Legal Terms
                                This section includes our service
                                commitment to you. It also explains that
                                there are some things we will not be
                                responsible for. Key updates:


                                    Our liability. We’ve made changes to the
                                     disclaimers and limitations of liability in
                                     the Terms.

                                About this Agreement
                                This section includes some further important
                                details about our contract, including what to
                                expect if we need to make changes to these
                                Terms; or which law applies to them. Key
                                updates:


                                    Modifications. We want to give you the
                                     chance to review future material
                                     updates to these Terms.

                                Still have questions?


                                You can also find further details in our Help
                                Center.
                                -----



                                Terms of Service


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                                Dated: December 10, 2019


                                Welcome to YouTube!

                                Introduction
                                Thank you for using the YouTube platform
                                and the products, services and features we
                                make available to you as part of the platform
                                (collectively, the “Service”).


                                Our Service

                                The Service allows you to discover, watch
                                and share videos and other content, provides
                                a forum for people to connect, inform, and
                                inspire others across the globe, and acts as a
                                distribution platform for original content
                                creators and advertisers large and small. We
                                provide lots of information about our
                                products and how to use them in our Help
                                Center. Among other things, you can find out
                                about YouTube Kids, the YouTube Partner
                                Program and YouTube Paid Memberships
                                and Purchases (where available).You can
                                also read all about enjoying content on other
                                devices like your television, your games
                                console, or Google Home.
                                Your Service Provider


                                The entity providing the Service is Google
                                LLC, a company operating under the laws of
                                Delaware, located at 1600 Amphitheatre
                                Parkway, Mountain View, CA 94043 (referred
                                to as “YouTube”, “we”, “us”, or “our”).
                                References to YouTube’s “Affiliates” in these




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                                terms means the other companies within the
                                Alphabet Inc. corporate group (now or in the
                                future).


                                Applicable Terms
                                Your use of the Service is subject to these
                                terms, the YouTube Community
                                Guidelines and the Policy, Safety and
                                Copyright Policies which may be updated
                                from time to time (together, this
                                "Agreement"). Your Agreement with us will
                                also include the Advertising on YouTube
                                Policies if you provide advertising or
                                sponsorships to the Service or incorporate
                                paid promotions in your content. Any other
                                links or references provided in these terms
                                are for informational use only and are not
                                part of the Agreement.
                                Please read this Agreement carefully and
                                make sure you understand it. If you do not
                                understand the Agreement, or do not accept
                                any part of it, then you may not use the
                                Service.


                                Who may use the Service?

                                Age Requirements
                                You must be at least 13 years old to use the
                                Service. However, children of all ages may
                                use YouTube Kids (where available) if
                                enabled by a parent or legal guardian.


                                Permission by Parent or Guardian




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                                If you are under 18, you represent that you
                                have your parent or guardian’s permission to
                                use the Service. Please have them read this
                                Agreement with you.


                                If you are a parent or legal guardian of a user
                                under the age of 18, by allowing your child to
                                use the Service, you are subject to the terms
                                of this Agreement and responsible for your
                                child’s activity on the Service. You can find
                                tools and resources to help you manage your
                                family’s experience on YouTube in our Help
                                Center and through Google’s Family Link.
                                Businesses
                                If you are using the Service on behalf of a
                                company or organisation, you represent that
                                you have authority to act on behalf of that
                                entity, and that such entity accepts this
                                Agreement.


                                Your Use of the Service

                                Content on the Service
                                The content on the Service includes videos,
                                audio (for example music and other sounds),
                                graphics, photos, text (such as comments
                                and scripts), branding (including trade
                                names, trademarks, service marks, or logos),
                                interactive features, software, metrics, and
                                other materials whether provided by you,
                                YouTube or a third-party (collectively,
                                "Content”).


                                Content is the responsibility of the person or
                                entity that provides it to the Service. YouTube




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                                is under no obligation to host or serve
                                Content. If you see any Content you believe
                                does not comply with this Agreement,
                                including by violating the Community
                                Guidelines or the law, you can report it to us.
                                Google Accounts and YouTube Channels
                                You can use parts of the Service, such as
                                browsing and searching for Content, without
                                having a Google account. However, you do
                                need a Google account to use some features.
                                With a Google account, you may be able to
                                like videos, subscribe to channels, create
                                your own YouTube channel, and more. You
                                can follow these instructions to create a
                                Google account.
                                Creating a YouTube channel will give you
                                access to additional features and functions,
                                such as uploading videos, making comments
                                or creating playlists (where available). Here
                                are some details about how to create your
                                own YouTube channel.
                                To protect your Google account, keep your
                                password confidential. You should not reuse
                                your Google account password on third-party
                                applications. Learn more about keeping your
                                Google account secure, including what to do
                                if you learn of any unauthorised use of your
                                password or Google account.
                                Your Information
                                Our Privacy Policy explains how we treat your
                                personal data and protect your privacy when
                                you use the Service. The YouTube Kids
                                Privacy Notice provides additional
                                information about our privacy practices that
                                are specific to YouTube Kids.




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                                We will process any audio or audiovisual
                                content uploaded by you to the Service in
                                accordance with the YouTube Data
                                Processing Terms, except in cases where you
                                uploaded such content for personal purposes
                                or household activities. Learn More.
                                Permissions and Restrictions
                                You may access and use the Service as made
                                available to you, as long as you comply with
                                this Agreement and applicable law. You may
                                view or listen to Content for your personal,
                                non-commercial use. You may also show
                                YouTube videos through the embeddable
                                YouTube player.


                                The following restrictions apply to your use of
                                the Service. You are not allowed to:


                                 1. access, reproduce, download, distribute,
                                    transmit, broadcast, display, sell, license,
                                    alter, modify or otherwise use any part of
                                    the Service or any Content except: (a) as
                                    expressly authorized by the Service; or
                                    (b) with prior written permission from
                                    YouTube and, if applicable, the
                                    respective rights holders;

                                 2. circumvent, disable, fraudulently engage
                                    with, or otherwise interfere with any part
                                    of the Service (or attempt to do any of
                                    these things), including security-related
                                    features or features that (a) prevent or
                                    restrict the copying or other use of
                                    Content or (b) limit the use of the Service
                                    or Content;




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                                 3. access the Service using any automated
                                    means (such as robots, botnets or
                                    scrapers) except (a) in the case of public
                                    search engines, in accordance with
                                    YouTube’s robots.txt file; or (b) with
                                    YouTube’s prior written permission;

                                 4. collect or harvest any information that
                                    might identify a person (for example,
                                    usernames), unless permitted by that
                                    person or allowed under section (3)
                                    above;

                                 5. use the Service to distribute unsolicited
                                    promotional or commercial content or
                                    other unwanted or mass solicitations;

                                 6. cause or encourage any inaccurate
                                    measurements of genuine user
                                    engagement with the Service, including
                                    by paying people or providing them with
                                    incentives to increase a video’s views,
                                    likes, or dislikes, or to increase a
                                    channel’s subscribers, or otherwise
                                    manipulate metrics in any manner;

                                 7. misuse any reporting, flagging,
                                    complaint, dispute, or appeals process,
                                    including by making groundless,
                                    vexatious, or frivolous submissions;

                                 8. run contests on or through the Service
                                    that do not comply with YouTube’s
                                    contest policies and guidelines;
                                 9. use the Service to view or listen to
                                    Content other than for personal, non-
                                    commercial use (for example, you may




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                                    not publicly screen videos or stream
                                    music from the Service); or

                                 10. use the Service to (a) sell any
                                     advertising, sponsorships, or promotions
                                     placed on, around, or within the Service
                                     or Content, other than those allowed in
                                     the Advertising on YouTube policies
                                     (such as compliant product placements);
                                     or (b) sell advertising, sponsorships, or
                                     promotions on any page of any website
                                     or application that only contains Content
                                     from the Service or where Content from
                                     the Service is the primary basis for such
                                     sales (for example, selling ads on a
                                     webpage where YouTube videos are the
                                     main draw for users visiting the
                                     webpage).
                                Reservation


                                Using the Service does not give you
                                ownership of or rights to any aspect of the
                                Service, including user names or any other
                                Content posted by others or YouTube.


                                Changes to the Service


                                YouTube is constantly changing and
                                improving the Service. We may also need to
                                alter or discontinue the Service, or any part of
                                it, in order to make performance or security
                                improvements, change functionality and
                                features, make changes to comply with law,
                                or prevent illegal activities on or abuse of our
                                systems. These changes may affect all users,
                                some users or even an individual user.




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                                Whenever reasonably possible, we will
                                provide notice when we discontinue or make
                                material changes to our Service that will have
                                an adverse impact on the use of our
                                Service. However, you understand and agree
                                that there will be times when we make such
                                changes without notice, such as where we
                                feel we need to take action to improve the
                                security and operability of our Service,
                                prevent abuse, or comply with legal
                                requirements.


                                Your Content and Conduct

                                Uploading Content


                                If you have a YouTube channel, you may be
                                able to upload Content to the Service. You
                                may use your Content to promote your
                                business or artistic enterprise. If you choose
                                to upload Content, you must not submit to
                                the Service any Content that does not comply
                                with this Agreement (including the YouTube
                                Community Guidelines) or the law. For
                                example, the Content you submit must not
                                include third-party intellectual property (such
                                as copyrighted material) unless you have
                                permission from that party or are otherwise
                                legally entitled to do so. You are legally
                                responsible for the Content you submit to the
                                Service. We may use automated systems that
                                analyze your Content to help detect
                                infringement and abuse, such as spam,
                                malware, and illegal content.
                                Rights you Grant




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                                You retain ownership rights in your Content.
                                However, we do require you to grant certain
                                rights to YouTube and other users of the
                                Service, as described below.


                                License to YouTube


                                By providing Content to the Service, you grant
                                to YouTube a worldwide, non-exclusive,
                                royalty-free, sublicensable and transferable
                                license to use that Content (including to
                                reproduce, distribute, prepare derivative
                                works, display and perform it) in connection
                                with the Service and YouTube’s (and its
                                successors' and Affiliates') business,
                                including for the purpose of promoting and
                                redistributing part or all of the Service.


                                License to Other Users


                                You also grant each other user of the Service
                                a worldwide, non-exclusive, royalty-free
                                license to access your Content through the
                                Service, and to use that Content, including to
                                reproduce, distribute, prepare derivative
                                works, display, and perform it, only as
                                enabled by a feature of the Service (such as
                                video playback or embeds). For clarity, this
                                license does not grant any rights or
                                permissions for a user to make use of your
                                Content independent of the Service.


                                Duration of License


                                The licenses granted by you continue for a
                                commercially reasonable period of time after




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                                you remove or delete your Content from the
                                Service. You understand and agree, however,
                                that YouTube may retain, but not display,
                                distribute, or perform, server copies of your
                                videos that have been removed or deleted.


                                Removing Your Content


                                You may remove your Content from the
                                Service at any time. You also have the option
                                to make a copy of your Content before
                                removing it. You must remove your Content if
                                you no longer have the rights required by
                                these terms.
                                Removal of Content By YouTube


                                If we reasonably believe that any Content is in
                                breach of this Agreement or may cause harm
                                to YouTube, our users, or third parties, we
                                may remove or take down that Content in our
                                discretion. We will notify you with the reason
                                for our action unless we reasonably believe
                                that to do so: (a) would breach the law or the
                                direction of a legal enforcement authority or
                                would otherwise risk legal liability for
                                YouTube or our Affiliates; (b) would
                                compromise an investigation or the integrity
                                or operation of the Service; or (c) would
                                cause harm to any user, other third party,
                                YouTube or our Affiliates. You can learn more
                                about reporting and enforcement, including
                                how to appeal on the Troubleshooting page
                                of our Help Center.
                                Copyright Protection




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                                We provide information to help copyright
                                holders manage their intellectual property
                                online in our YouTube Copyright Center. If
                                you believe your copyright has been infringed
                                on the Service, please send us a notice.
                                We respond to notices of alleged copyright
                                infringement according to the process in our
                                YouTube Copyright Center, where you can
                                also find information about how to resolve a
                                copyright strike. YouTube's policies provide
                                for the termination, in appropriate
                                circumstances, of repeat infringers’ access to
                                the Service.
                                Account Suspension &
                                Termination

                                Terminations by You
                                You may stop using the Service at any time.
                                Follow these instructions to delete the
                                Service from your Google Account, which
                                involves closing your YouTube channel and
                                removing your data. You also have the option
                                to download a copy of your data first.
                                Terminations and Suspensions by YouTube
                                for Cause


                                YouTube may suspend or terminate your
                                access, your Google account, or your Google
                                account’s access to all or part of the
                                Service if (a) you materially or repeatedly
                                breach this Agreement; (b) we are required to
                                do so to comply with a legal requirement or a
                                court order; or (c) we believe there has been
                                conduct that creates (or could create) liability




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                                or harm to any user, other third party,
                                YouTube or our Affiliates.


                                Terminations by YouTube for Service
                                Changes


                                YouTube may terminate your access, or your
                                Google account’s access to all or part of the
                                Service if YouTube believes, in its sole
                                discretion, that provision of the Service to you
                                is no longer commercially viable.


                                Notice for Termination or Suspension


                                We will notify you with the reason for
                                termination or suspension by YouTube
                                unless we reasonably believe that to do so:
                                (a) would violate the law or the direction of a
                                legal enforcement authority, or would
                                otherwise risk legal liability for YouTube or
                                our Affiliates; (b) would compromise an
                                investigation or the integrity or operation of
                                the Service; or (c) would cause harm to any
                                user, other third party, YouTube or our
                                Affiliates. Where YouTube is terminating your
                                access for Service changes, where
                                reasonably possible, you will be provided with
                                sufficient time to export your Content from
                                the Service.


                                Effect of Account Suspension or Termination


                                If your Google account is terminated or your
                                Google account’s access to the Service is
                                restricted, you may continue using certain
                                aspects of the Service (such as viewing only)




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                                without an account, and this Agreement will
                                continue to apply to such use. If you believe
                                your Google account has been terminated in
                                error, you can appeal using this form.
                                About Software in the Service

                                Downloadable Software
                                When the Service requires or includes
                                downloadable software (such as the
                                YouTube Studio application), you give
                                permission for that software to update
                                automatically on your device once a new
                                version or feature is available, subject to your
                                device settings. Unless that software is
                                governed by additional terms which provide a
                                license, YouTube gives you a personal,
                                worldwide, royalty-free, non-assignable and
                                non-exclusive license to use the software
                                provided to you by YouTube as part of the
                                Service. This license is for the sole purpose
                                of enabling you to use and enjoy the benefit
                                of the Service as provided by YouTube, in the
                                manner permitted by this Agreement. You are
                                not allowed to copy, modify, distribute, sell, or
                                lease any part of the software, or to reverse-
                                engineer or attempt to extract the source
                                code of that software, unless laws prohibit
                                these restrictions or you have YouTube’s
                                written permission.


                                Open Source
                                Some software used in our Service may be
                                offered under an open source license that we
                                make available to you. There may be
                                provisions in an open source license that




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                                expressly override some of these terms, so
                                please be sure to read those licenses.


                                Other Legal Terms

                                Warranty Disclaimer
                                OTHER THAN AS EXPRESSLY STATED IN
                                THIS AGREEMENT OR AS REQUIRED BY LAW,
                                THE SERVICE IS PROVIDED “AS IS” AND
                                YOUTUBE DOES NOT MAKE ANY SPECIFIC
                                COMMITMENTS OR WARRANTIES ABOUT
                                THE SERVICE. FOR EXAMPLE, WE DON’T
                                MAKE ANY WARRANTIES ABOUT: (A) THE
                                CONTENT PROVIDED THROUGH THE
                                SERVICE; (B) THE SPECIFIC FEATURES OF
                                THE SERVICE, OR ITS ACCURACY,
                                RELIABILITY, AVAILABILITY, OR ABILITY TO
                                MEET YOUR NEEDS; OR (C) THAT ANY
                                CONTENT YOU SUBMIT WILL BE
                                ACCESSIBLE ON THE SERVICE.


                                Limitation of Liability


                                EXCEPT AS REQUIRED BY APPLICABLE LAW,
                                YOUTUBE, ITS AFFILIATES, OFFICERS,
                                DIRECTORS, EMPLOYEES AND AGENTS WILL
                                NOT BE RESPONSIBLE FOR ANY LOSS OF
                                PROFITS, REVENUES, BUSINESS
                                OPPORTUNITIES, GOODWILL, OR
                                ANTICIPATED SAVINGS; LOSS OR
                                CORRUPTION OF DATA; INDIRECT OR
                                CONSEQUENTIAL LOSS; PUNITIVE
                                DAMAGES CAUSED BY:




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                                 1. ERRORS, MISTAKES, OR INACCURACIES
                                    ON THE SERVICE;

                                 2. PERSONAL INJURY OR PROPERTY
                                    DAMAGE RESULTING FROM YOUR USE
                                    OF THE SERVICE;

                                 3. ANY UNAUTHORIZED ACCESS TO OR
                                    USE OF THE SERVICE;

                                 4. ANY INTERRUPTION OR CESSATION OF
                                    THE SERVICE;

                                 5. ANY VIRUSES OR MALICIOUS CODE
                                    TRANSMITTED TO OR THROUGH THE
                                    SERVICE BY ANY THIRD PARTY;

                                 6. ANY CONTENT WHETHER SUBMITTED
                                    BY A USER OR YOUTUBE, INCLUDING
                                    YOUR USE OF CONTENT; AND/OR

                                 7. THE REMOVAL OR UNAVAILABILITY OF
                                    ANY CONTENT.

                                THIS PROVISION APPLIES TO ANY CLAIM,
                                REGARDLESS OF WHETHER THE CLAIM
                                ASSERTED IS BASED ON WARRANTY,
                                CONTRACT, TORT, OR ANY OTHER LEGAL
                                THEORY.


                                YOUTUBE AND ITS AFFILIATES’ TOTAL
                                LIABILITY FOR ANY CLAIMS ARISING FROM
                                OR RELATING TO THE SERVICE IS LIMITED
                                TO THE GREATER OF: (A) THE AMOUNT OF
                                REVENUE THAT YOUTUBE HAS PAID TO YOU
                                FROM YOUR USE OF THE SERVICE IN THE 12
                                MONTHS BEFORE THE DATE OF YOUR
                                NOTICE, IN WRITING TO YOUTUBE, OF THE
                                CLAIM; AND (B) USD $500.




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                                Indemnity


                                To the extent permitted by applicable law,
                                you agree to defend, indemnify and hold
                                harmless YouTube, its Affiliates, officers,
                                directors, employees and agents, from and
                                against any and all claims, damages,
                                obligations, losses, liabilities, costs or debt,
                                and expenses (including but not limited to
                                attorney's fees) arising from: (i) your use of
                                and access to the Service; (ii) your violation
                                of any term of this Agreement; (iii) your
                                violation of any third party right, including
                                without limitation any copyright, property, or
                                privacy right; or (iv) any claim that your
                                Content caused damage to a third party. This
                                defense and indemnification obligation will
                                survive this Agreement and your use of the
                                Service.


                                Third-Party Links
                                The Service may contain links to third-party
                                websites and online services that are not
                                owned or controlled by YouTube. YouTube
                                has no control over, and assumes no
                                responsibility for, such websites and online
                                services. Be aware when you leave the
                                Service; we suggest you read the terms and
                                privacy policy of each third-party website and
                                online service that you visit.


                                About this Agreement

                                Modifying this Agreement
                                We may modify this Agreement, for example,




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                                to reflect changes to our Service or for legal,
                                regulatory, or security reasons. YouTube will
                                provide reasonable advance notice of any
                                material modifications to this Agreement and
                                the opportunity to review them, except that
                                modifications addressing newly available
                                features of the Service or modifications
                                made for legal reasons may be effective
                                immediately without notice. Modifications to
                                this Agreement will only apply going forward.
                                If you do not agree to the modified terms, you
                                should remove any Content you have
                                uploaded and discontinue your use of the
                                Service.


                                Continuation of this Agreement
                                If your use of the Service ends, the following
                                terms of this Agreement will continue to
                                apply to you: “Other Legal Terms”, “About
                                This Agreement”, and the licenses granted by
                                you will continue as described under
                                “Duration of License”.


                                Severance
                                If it turns out that a particular term of this
                                Agreement is not enforceable for any reason,
                                this will not affect any other terms.


                                No Waiver
                                If you fail to comply with this Agreement and
                                we do not take immediate action, this does
                                not mean that we are giving up any rights that
                                we may have (such as the right to take action
                                in the future).


                                Interpretation




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                                In these terms, “include” or “including” means
                                “including but not limited to,” and any
                                examples we give are for illustrative
                                purposes.


                                Governing Law
                                All claims arising out of or relating to these
                                terms or the Service will be governed by
                                California law, except California’s conflict of
                                laws rules, and will be litigated exclusively in
                                the federal or state courts of Santa Clara
                                County, California, USA. You and YouTube
                                consent to personal jurisdiction in those
                                courts.


                                Limitation on Legal Action


                                YOU AND YOUTUBE AGREE THAT ANY
                                CAUSE OF ACTION ARISING OUT OF OR
                                RELATED TO THE SERVICES MUST
                                COMMENCE WITHIN ONE (1) YEAR AFTER
                                THE CAUSE OF ACTION ACCRUES.
                                OTHERWISE, SUCH CAUSE OF ACTION IS
                                PERMANENTLY BARRED.


                                Effective as of December 10, 2019 (view
                                previous version)




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                  Exhibit “G”

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                                                        erms o Serv ce



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      Terms of Service                             1. Your Acceptance

      Paid Service Terms of Service                    A. By using or visiting the YouTube website or any YouTube
      Paid Service Usage Rules                            products, software, data feeds, and services provided to
                                                          you on, from, or through the YouTube website
      Collecting Society Notices
                                                         (collectively the "Service") you signify your agreement to
      Copyright Notices                                  (1) these terms and conditions (the "Terms of Service"),
                                                         (2) Google's Privacy Policy, found at
      Community Guidelines                               https://www.youtube.com/t/privacy and incorporated
                                                         herein by reference, and (3) YouTube's Community
                                                         Guidelines, found at
                                                         https://www.youtube.com/t/community_guidelines and
                                                         also incorporated herein by reference. If you do not agree
                                                         to any of these terms, the Google Privacy Policy, or the
                                                         Community Guidelines, please do not use the Service.

                                                       B. Although we may attempt to notify you when major
                                                          changes are made to these Terms of Service, you should
                                                          periodically review the most up-to-date version
                                                          https://www.youtube.com/t/terms). YouTube may, in its
                                                         sole discretion, modify or revise these Terms of Service
                                                         and policies at any time, and you agree to be bound by
                                                         such modi cations or revisions. Nothing in these Terms
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                                                         of Service shall be deemed to confer any third-party
                                                         rights or bene ts.
                                                                         fi
                                                   2. Serv ce
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                                                       A. These Terms of Service apply to all users of the Service,
                                                          including users who are also contributors of Content on
                                                          the Service. “Content” includes the text, software, scripts,
                                                          graphics, photos, sounds, music, videos, audiovisual
                                                          combinations, interactive features and other materials
                                                          you may view on, access through, or contribute to the
                                                          Service. The Service includes all aspects of YouTube,
                                                          including but not limited to all products, software and
                                                          services offered via the YouTube website, such as the

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                                                       YouTube channels, the YouTube "Embeddable Player," the
                                                       YouTube "Uploader" and other applications.

                                                     B. The Service may contain links to third party websites that
                                                        are not owned or controlled by YouTube. YouTube has no
                                                        control over, and assumes no responsibility for, the
                                                       content, privacy policies, or practices of any third party
                                                       websites. In addition, YouTube will not and cannot censor
                                                       or edit the content of any third-party site. By using the
                                                       Service, you expressly relieve YouTube from any and all
                                                       liability arising from your use of any third-party website.

                                                    C. Accordingly, we encourage you to be aware when you
                                                       leave the Service and to read the terms and conditions
                                                       and privacy policy of each other website that you visit.

                                                   3. You ube Accounts
                                                        T
                                                    A. In order to access some features of the Service, you will
                                                       have to create a YouTube or Google Account. You may
                                                       never use another's account without permission. When
                                                       creating your account, you must provide accurate and
                                                       complete information. You are solely responsible for the
                                                       activity that occurs on your account, and you must keep
                                                       your account password secure. You must notify YouTube
                                                       immediately of any breach of security or unauthorized
                                                       use of your account.

                                                     B. Although YouTube will not be liable for your losses
                                                        caused by any unauthorized use of your account, you
                                                        may be liable for the losses of YouTube or others due to
                                                        such unauthorized use.


                                                   4. General Use o he Serv ce Perm ss ons and Res r c ons
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                                                   YouTube hereby grants you permission to access and use the
                                                   Service as set forth in these Terms of Service, provided that:


                                                    A. You agree not to distribute in any medium any part of the
                                                       Service or the Content without YouTube's prior written
                                                       authorization, unless YouTube makes available the
                                                       means for such distribution through functionality offered
                                                       by the Service (such as the Embeddable Player).
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                                                   B. You agree not to alter or modify any part of the Service.

                                                   C. You agree not to access Content through any technology
                                                      or means other than the video playback pages of the
                                                      Service itself, the Embeddable Player, or other explicitly
                                                      authorized means YouTube may designate.

                                                   D. You agree not to use the Service for any of the following
                                                     commercial uses unless you obtain YouTube's prior
                                                     written approval:
                                                          the sale of access to the Service;

                                                          the sale of advertising, sponsorships, or promotions
                                                          placed on or within the Service or Content; or

                                                          the sale of advertising, sponsorships, or promotions
                                                          on any page of an ad-enabled blog or website
                                                          containing Content delivered via the Service, unless
                                                          other material not obtained from YouTube appears
                                                          on the same page and is of su cient value to be the




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                                                          basis for such sales.

                                                   E. Prohibited commercial uses do not include:
                                                          uploading an original video to YouTube, or
                                                          maintaining an original channel on YouTube, to
                                                          promote your business or artistic enterprise;

                                                          showing YouTube videos through the Embeddable
                                                          Player on an ad-enabled blog or website, subject to
                                                          the advertising restrictions set forth above in Section
                                                          4.D; or

                                                          any use that YouTube expressly authorizes in writing.

                                                     (For more information about what constitutes a
                                                     prohibited commercial use, see our FAQ.)

                                                   F. If you use the Embeddable Player on your website, you
                                                      may not modify, build upon, or block any portion or
                                                      functionality of the Embeddable Player, including but not
                                                      limited to links back to the YouTube website.

                                                   G. If you use the YouTube Uploader, you agree that it may
                                                      automatically download and install updates from time to

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                                                       time from YouTube. These updates are designed to
                                                       improve, enhance and further develop the Uploader and
                                                       may take the form of bug xes, enhanced functions, new




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                                                       software modules and completely new versions. You
                                                       agree to receive such updates (and permit YouTube to
                                                       deliver these to you) as part of your use of the Uploader.

                                                    H. You agree not to use or launch any automated system,
                                                       including without limitation, "robots," "spiders," or "o ine




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                                                       readers," that accesses the Service in a manner that
                                                       sends more request messages to the YouTube servers in
                                                       a given period of time than a human can reasonably
                                                       produce in the same period by using a conventional on-
                                                       line web browser. Notwithstanding the foregoing,
                                                       YouTube grants the operators of public search engines
                                                       permission to use spiders to copy materials from the site
                                                       for the sole purpose of and solely to the extent necessary
                                                       for creating publicly available searchable indices of the
                                                       materials, but not caches or archives of such materials.
                                                       YouTube reserves the right to revoke these exceptions
                                                       either generally or in speci c cases. You agree not to

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                                                       collect or harvest any personally identi able information,




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                                                       including account names, from the Service, nor to use the
                                                       communication systems provided by the Service (e.g.,
                                                       comments, email) for any commercial solicitation
                                                       purposes. You agree not to solicit, for commercial
                                                       purposes, any users of the Service with respect to their
                                                       Content.

                                                     I. In your use of the Service, you will comply with all
                                                        applicable laws.

                                                     J. YouTube reserves the right to discontinue any aspect of
                                                        the Service at any time.


                                                   5. Your Use o Conten
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                                                   In addition to the general restrictions above, the following
                                                   restrictions and conditions apply speci cally to your use of
                                                                                            fi
                                                   Content.




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                                                    A. The Content on the Service, and the trademarks, service
                                                       marks and logos ("Marks") on the Service, are owned by
                                                       or licensed to YouTube, subject to copyright and other
                                                       intellectual property rights under the law.

                                                    B. Content is provided to you AS IS. You may access
                                                       Content for your information and personal use solely as
                                                       intended through the provided functionality of the Service
                                                       and as permitted under these Terms of Service. You shall
                                                       not download any Content unless you see a “download”
                                                       or similar link displayed by YouTube on the Service for
                                                       that Content. You shall not copy, reproduce, distribute,
                                                       transmit, broadcast, display, sell, license, or otherwise
                                                       exploit any Content for any other purposes without the
                                                       prior written consent of YouTube or the respective
                                                       licensors of the Content. YouTube and its licensors
                                                       reserve all rights not expressly granted in and to the
                                                       Service and the Content.

                                                    C. You agree not to circumvent, disable or otherwise
                                                       interfere with security-related features of the Service or
                                                       features that prevent or restrict use or copying of any
                                                       Content or enforce limitations on use of the Service or
                                                       the Content therein.

                                                    D. You understand that when using the Service, you will be
                                                       exposed to Content from a variety of sources, and that
                                                       YouTube is not responsible for the accuracy, usefulness,
                                                       safety, or intellectual property rights of or relating to such
                                                       Content. You further understand and acknowledge that
                                                       you may be exposed to Content that is inaccurate,
                                                       offensive, indecent, or objectionable, and you agree to
                                                       waive, and hereby do waive, any legal or equitable rights
                                                       or remedies you have or may have against YouTube with
                                                       respect thereto, and, to the extent permitted by applicable
                                                       law, agree to indemnify and hold harmless YouTube, its
                                                       owners, operators, a liates, licensors, and licensees to
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                                                       the fullest extent allowed by law regarding all matters
                                                       related to your use of the Service.

                                                   6. Your Conten and Conduc
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https://www.youtube.com/t/terms?archive=20180525                                                                    5/13
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                                                   A. As a YouTube account holder you may submit Content to
                                                      the Service, including videos and user comments. You
                                                      understand that YouTube does not guarantee any
                                                      con dentiality with respect to any Content you submit.




                                                         fi
                                                   B. You shall be solely responsible for your own Content and
                                                      the consequences of submitting and publishing your
                                                     Content on the Service. You a rm, represent, and warrant




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                                                     that you own or have the necessary licenses, rights,
                                                     consents, and permissions to publish Content you
                                                     submit; and you license to YouTube all patent, trademark,
                                                     trade secret, copyright or other proprietary rights in and
                                                     to such Content for publication on the Service pursuant
                                                     to these Terms of Service.

                                                   C. For clarity, you retain all of your ownership rights in your
                                                      Content. However, by submitting Content to YouTube, you
                                                      hereby grant YouTube a worldwide, non-exclusive, royalty-
                                                      free, sublicenseable and transferable license to use,
                                                      reproduce, distribute, prepare derivative works of, display,
                                                      and perform the Content in connection with the Service
                                                      and YouTube's (and its successors' and a liates')




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                                                      business, including without limitation for promoting and
                                                      redistributing part or all of the Service (and derivative
                                                     works thereof) in any media formats and through any
                                                     media channels. You also hereby grant each user of the
                                                     Service a non-exclusive license to access your Content
                                                     through the Service, and to use, reproduce, distribute,
                                                     display and perform such Content as permitted through
                                                     the functionality of the Service and under these Terms of
                                                     Service. The above licenses granted by you in video
                                                     Content you submit to the Service terminate within a
                                                     commercially reasonable time after you remove or delete
                                                     your videos from the Service. You understand and agree,
                                                     however, that YouTube may retain, but not display,
                                                     distribute, or perform, server copies of your videos that
                                                     have been removed or deleted. The above licenses
                                                     granted by you in user comments you submit are
                                                     perpetual and irrevocable.

                                                   D. You further agree that Content you submit to the Service
                                                      will not contain third party copyrighted material, or
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                                                       material that is subject to other third party proprietary
                                                       rights, unless you have permission from the rightful
                                                       owner of the material or you are otherwise legally entitled
                                                       to post the material and to grant YouTube all of the
                                                       license rights granted herein.

                                                     E. You further agree that you will not submit to the Service
                                                        any Content or other material that is contrary to the
                                                       YouTube Community Guidelines, currently found at
                                                       https://www.youtube.com/t/community_guidelines,
                                                       which may be updated from time to time, or contrary to
                                                       applicable local, national, and international laws and
                                                       regulations.

                                                     F. YouTube will process any audio or audiovisual content
                                                        uploaded by you to the Service in accordance with the
                                                        YouTube Data Processing Terms
                                                        (www.youtube.com/t/terms_dataprocessing), except in
                                                        cases where you uploaded such content for personal
                                                        purposes or household activities. Learn more here:
                                                        support.google.com/youtube/?p=data_applicability.

                                                    G. YouTube does not endorse any Content submitted to the
                                                       Service by any user or other licensor, or any opinion,
                                                       recommendation, or advice expressed therein, and
                                                       YouTube expressly disclaims any and all liability in
                                                       connection with Content. YouTube does not permit
                                                       copyright infringing activities and infringement of
                                                       intellectual property rights on the Service, and YouTube
                                                       will remove all Content if properly noti ed that such
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                                                       Content infringes on another's intellectual property rights.
                                                       YouTube reserves the right to remove Content without
                                                       prior notice.


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                                                    A. YouTube will terminate a user's access to the Service if,
                                                       under appropriate circumstances, the user is determined
                                                       to be a repeat infringer.

                                                    B. YouTube reserves the right to decide whether Content
                                                       violates these Terms of Service for reasons other than
                                                       copyright infringement, such as, but not limited to,
https://www.youtube.com/t/terms?archive=20180525                                                                7/13
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                                                          pornography, obscenity, or excessive length. YouTube
                                                          may at any time, without prior notice and in its sole
                                                          discretion, remove such Content and/or terminate a
                                                          user's account for submitting such material in violation of
                                                          these Terms of Service.

                                                   8. D g tal M llenn um Copyr gh Ac




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                                                    A. If you are a copyright owner or an agent thereof and
                                                       believe that any Content infringes upon your copyrights,
                                                       you may submit a noti cation pursuant to the Digital




                                                                                      fi
                                                          Millennium Copyright Act ("DMCA") by providing our
                                                          Copyright Agent with the following information in writing
                                                          (see 17 U.S.C 512(c)(3) for further detail):
                                                              A physical or electronic signature of a person
                                                              authorized to act on behalf of the owner of an
                                                              exclusive right that is allegedly infringed;

                                                              Identi cation of the copyrighted work claimed to
                                                                         fi
                                                              have been infringed, or, if multiple copyrighted works
                                                              at a single online site are covered by a single
                                                              noti cation, a representative list of such works at
                                                                    fi
                                                              that site;

                                                              Identi cation of the material that is claimed to be
                                                                         fi
                                                              infringing or to be the subject of infringing activity
                                                              and that is to be removed or access to which is to be
                                                              disabled and information reasonably su cient to
                                                                                                         ffi
                                                              permit the service provider to locate the material;

                                                              Information reasonably su cient to permit the
                                                                                                   ffi
                                                              service provider to contact you, such as an address,
                                                              telephone number, and, if available, an electronic
                                                              mail;

                                                              A statement that you have a good faith belief that
                                                              use of the material in the manner complained of is
                                                              not authorized by the copyright owner, its agent, or
                                                              the law; and

                                                              A statement that the information in the noti cation is
                                                                                                                 fi
                                                              accurate, and under penalty of perjury, that you are


https://www.youtube.com/t/terms?archive=20180525                                                                      8/13
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                                                          authorized to act on behalf of the owner of an
                                                          exclusive right that is allegedly infringed.

                                                     You may direct copyright infringement noti cations to our




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                                                     DMCA Agent at 901 Cherry Ave., San Bruno, CA 94066,
                                                     email: copyright@youtube.com, fax: 650-872-8513. For
                                                     clarity, only DMCA notices should go to the Copyright
                                                     Agent; any other feedback, comments, requests for
                                                     technical support, and other communications should be
                                                     directed to YouTube customer service through
                                                     https://support.google.com/youtube. You acknowledge
                                                     that if you fail to comply with all of the requirements of
                                                     this Section 5(D), your DMCA notice may not be valid.

                                                   B. Counter-Notice. If you believe that your Content that was
                                                     removed (or to which access was disabled) is not
                                                     infringing, or that you have the authorization from the
                                                     copyright owner, the copyright owner's agent, or pursuant
                                                     to the law, to post and use the material in your Content,
                                                     you may send a counter-notice containing the following
                                                     information to the Copyright Agent:
                                                          Your physical or electronic signature;

                                                          Identi cation of the Content that has been removed
                                                                   fi
                                                          or to which access has been disabled and the
                                                          location at which the Content appeared before it was
                                                          removed or disabled;

                                                          A statement that you have a good faith belief that
                                                          the Content was removed or disabled as a result of
                                                          mistake or a misidenti cation of the Content; and
                                                                                 fi
                                                          Your name, address, telephone number, and e-mail
                                                          address, a statement that you consent to the
                                                          jurisdiction of the federal court in San Francisco,
                                                          California, and a statement that you will accept
                                                          service of process from the person who provided
                                                          noti cation of the alleged infringement.
                                                              fi
                                                     If a counter-notice is received by the Copyright Agent,
                                                     YouTube may send a copy of the counter-notice to the
                                                     original complaining party informing that person that it

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                                                       may replace the removed Content or cease disabling it in
                                                       10 business days. Unless the copyright owner les an




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                                                       action seeking a court order against the Content provider,
                                                       member or user, the removed Content may be replaced,
                                                       or access to it restored, in 10 to 14 business days or
                                                       more after receipt of the counter-notice, at YouTube's
                                                       sole discretion.


                                                   9. Warranty D sclaimer




                                                                i
                                                   YOU AGREE THAT YOUR USE OF THE SERVICES SHALL BE AT
                                                   YOUR SOLE RISK. TO THE FULLEST EXTENT PERMITTED BY
                                                   LAW, YOUTUBE, ITS OFFICERS, DIRECTORS, EMPLOYEES,
                                                   AND AGENTS DISCLAIM ALL WARRANTIES, EXPRESS OR
                                                   IMPLIED, IN CONNECTION WITH THE SERVICES AND YOUR
                                                   USE THEREOF. YOUTUBE MAKES NO WARRANTIES OR
                                                   REPRESENTATIONS ABOUT THE ACCURACY OR
                                                   COMPLETENESS OF THIS SITE'S CONTENT OR THE
                                                   CONTENT OF ANY SITES LINKED TO THIS SITE AND
                                                   ASSUMES NO LIABILITY OR RESPONSIBILITY FOR ANY (I)
                                                   ERRORS, MISTAKES, OR INACCURACIES OF CONTENT, (II)
                                                   PERSONAL INJURY OR PROPERTY DAMAGE, OF ANY
                                                   NATURE WHATSOEVER, RESULTING FROM YOUR ACCESS TO
                                                   AND USE OF OUR SERVICES, (III) ANY UNAUTHORIZED
                                                   ACCESS TO OR USE OF OUR SECURE SERVERS AND/OR ANY
                                                   AND ALL PERSONAL INFORMATION AND/OR FINANCIAL
                                                   INFORMATION STORED THEREIN, (IV) ANY INTERRUPTION
                                                   OR CESSATION OF TRANSMISSION TO OR FROM OUR
                                                   SERVICES, (IV) ANY BUGS, VIRUSES, TROJAN HORSES, OR
                                                   THE LIKE WHICH MAY BE TRANSMITTED TO OR THROUGH
                                                   OUR SERVICES BY ANY THIRD PARTY, AND/OR (V) ANY
                                                   ERRORS OR OMISSIONS IN ANY CONTENT OR FOR ANY LOSS
                                                   OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF THE
                                                   USE OF ANY CONTENT POSTED, EMAILED, TRANSMITTED,
                                                   OR OTHERWISE MADE AVAILABLE VIA THE SERVICES.
                                                   YOUTUBE DOES NOT WARRANT, ENDORSE, GUARANTEE, OR
                                                   ASSUME RESPONSIBILITY FOR ANY PRODUCT OR SERVICE
                                                   ADVERTISED OR OFFERED BY A THIRD PARTY THROUGH THE
                                                   SERVICES OR ANY HYPERLINKED SERVICES OR FEATURED
                                                   IN ANY BANNER OR OTHER ADVERTISING, AND YOUTUBE
                                                   WILL NOT BE A PARTY TO OR IN ANY WAY BE RESPONSIBLE
https://www.youtube.com/t/terms?archive=20180525                                                             10/13
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                                                   FOR MONITORING ANY TRANSACTION BETWEEN YOU AND
                                                   THIRD-PARTY PROVIDERS OF PRODUCTS OR SERVICES. AS
                                                   WITH THE PURCHASE OF A PRODUCT OR SERVICE
                                                   THROUGH ANY MEDIUM OR IN ANY ENVIRONMENT, YOU
                                                   SHOULD USE YOUR BEST JUDGMENT AND EXERCISE
                                                   CAUTION WHERE APPROPRIATE.

                                                   10. Lim ta on o L ab l ty




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                                                   IN NO EVENT SHALL YOUTUBE, ITS OFFICERS, DIRECTORS,
                                                   EMPLOYEES, OR AGENTS, BE LIABLE TO YOU FOR ANY
                                                   DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, OR
                                                   CONSEQUENTIAL DAMAGES WHATSOEVER RESULTING
                                                   FROM ANY (I) ERRORS, MISTAKES, OR INACCURACIES OF
                                                   CONTENT, (II) PERSONAL INJURY OR PROPERTY DAMAGE,
                                                   OF ANY NATURE WHATSOEVER, RESULTING FROM YOUR
                                                   ACCESS TO AND USE OF OUR SERVICES, (III) ANY
                                                   UNAUTHORIZED ACCESS TO OR USE OF OUR SECURE
                                                   SERVERS AND/OR ANY AND ALL PERSONAL INFORMATION
                                                   AND/OR FINANCIAL INFORMATION STORED THEREIN, (IV)
                                                   ANY INTERRUPTION OR CESSATION OF TRANSMISSION TO
                                                   OR FROM OUR SERVICES, (IV) ANY BUGS, VIRUSES, TROJAN
                                                   HORSES, OR THE LIKE, WHICH MAY BE TRANSMITTED TO OR
                                                   THROUGH OUR SERVICES BY ANY THIRD PARTY, AND/OR (V)
                                                   ANY ERRORS OR OMISSIONS IN ANY CONTENT OR FOR ANY
                                                   LOSS OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF
                                                   YOUR USE OF ANY CONTENT POSTED, EMAILED,
                                                   TRANSMITTED, OR OTHERWISE MADE AVAILABLE VIA THE
                                                   SERVICES, WHETHER BASED ON WARRANTY, CONTRACT,
                                                   TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR
                                                   NOT THE COMPANY IS ADVISED OF THE POSSIBILITY OF
                                                   SUCH DAMAGES. THE FOREGOING LIMITATION OF LIABILITY
                                                   SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW
                                                   IN THE APPLICABLE JURISDICTION.

                                                   YOU SPECIFICALLY ACKNOWLEDGE THAT YOUTUBE SHALL
                                                   NOT BE LIABLE FOR CONTENT OR THE DEFAMATORY,
                                                   OFFENSIVE, OR ILLEGAL CONDUCT OF ANY THIRD PARTY
                                                   AND THAT THE RISK OF HARM OR DAMAGE FROM THE
                                                   FOREGOING RESTS ENTIRELY WITH YOU.


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                                                   The Service is controlled and offered by YouTube from its
                                                   facilities in the United States of America. YouTube makes no
                                                   representations that the Service is appropriate or available for
                                                   use in other locations. Those who access or use the Service
                                                   from other jurisdictions do so at their own volition and are
                                                   responsible for compliance with local law.

                                                   11. Indemn ty




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                                                   To the extent permitted by applicable law, you agree to
                                                   defend, indemnify and hold harmless YouTube, its parent
                                                   corporation, o cers, directors, employees and agents, from




                                                                                    ffi
                                                   and against any and all claims, damages, obligations, losses,
                                                   liabilities, costs or debt, and expenses (including but not
                                                   limited to attorney's fees) arising from: (i) your use of and
                                                   access to the Service; (ii) your violation of any term of these
                                                   Terms of Service; (iii) your violation of any third party right,
                                                   including without limitation any copyright, property, or privacy
                                                   right; or (iv) any claim that your Content caused damage to a
                                                   third party. This defense and indemni cation obligation will




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                                                   survive these Terms of Service and your use of the Service.


                                                   12. Ab l ty o Accep                            erms o Serv ce
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                                                   You a rm that you are either more than 18 years of age, or an
                                                              ffi
                                                   emancipated minor, or possess legal parental or guardian
                                                   consent, and are fully able and competent to enter into the
                                                   terms, conditions, obligations, a rmations, representations,
                                                                                                            ffi
                                                   and warranties set forth in these Terms of Service, and to
                                                   abide by and comply with these Terms of Service. In any case,
                                                   you a rm that you are over the age of 13, as the Service is
                                                        ffi
                                                   not intended for children under 13. If you are under 13 years
                                                   of age, then please do not use the Service. There are lots of
                                                   other great web sites for you. Talk to your parents about what
                                                   sites are appropriate for you.

                                                   13. Ass gnmen
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                                                   These Terms of Service, and any rights and licenses granted
                                                   hereunder, may not be transferred or assigned by you, but may
                                                   be assigned by YouTube without restriction.

https://www.youtube.com/t/terms?archive=20180525                                                                                  12/13
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                                                   14. General

                                                   You agree that: (i) the Service shall be deemed solely based in
                                                   California; and (ii) the Service shall be deemed a passive
                                                   website that does not give rise to personal jurisdiction over
                                                   YouTube, either speci c or general, in jurisdictions other than




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                                                   California. These Terms of Service shall be governed by the
                                                   internal substantive laws of the State of California, without
                                                   respect to its con ict of laws principles. Any claim or dispute




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                                                   between you and YouTube that arises in whole or in part from
                                                   the Service shall be decided exclusively by a court of
                                                   competent jurisdiction located in Santa Clara County,
                                                   California. These Terms of Service, together with the Privacy
                                                   Notice at https://www.youtube.com/t/privacy and any other
                                                   legal notices published by YouTube on the Service, shall
                                                   constitute the entire agreement between you and YouTube
                                                   concerning the Service. If any provision of these Terms of
                                                   Service is deemed invalid by a court of competent jurisdiction,
                                                   the invalidity of such provision shall not affect the validity of
                                                   the remaining provisions of these Terms of Service, which
                                                   shall remain in full force and effect. No waiver of any term of
                                                   this these Terms of Service shall be deemed a further or
                                                   continuing waiver of such term or any other term, and
                                                   YouTube's failure to assert any right or provision under these
                                                   Terms of Service shall not constitute a waiver of such right or
                                                   provision. YouTube reserves the right to amend these Terms
                                                   of Service at any time and without notice, and it is your
                                                   responsibility to review these Terms of Service for any
                                                   changes. Your use of the Service following any amendment of
                                                   these Terms of Service will signify your assent to and
                                                   acceptance of its revised terms. YOU AND YOUTUBE AGREE
                                                   THAT ANY CAUSE OF ACTION ARISING OUT OF OR RELATED
                                                   TO THE SERVICES MUST COMMENCE WITHIN ONE (1) YEAR
                                                   AFTER THE CAUSE OF ACTION ACCRUES. OTHERWISE, SUCH
                                                   CAUSE OF ACTION IS PERMANENTLY BARRED.

                                                   Effective as of May 25, 2018




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                 Exhibit “H”




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Terms of Service

Community Guidelines
1. Your Acceptance
  A. By using or visiting the YouTube website or any YouTube products, software, data feeds, and
      services provided to you on, from, or through the YouTube website (collectively the "Service") you
      signify your agreement to (1) these terms and conditions (the "Terms of Service"), (2) Google's
      Privacy Policy, found at http://www.google.com/intl/en/policies/privacy/ and incorporated herein by
      reference, and (3) YouTube's Community Guidelines, found
      at www.youtube.com/t/community_guidelines and also incorporated herein by reference. If you do
      not agree to any of these terms, the Google Privacy Policy, or the Community Guidelines, please
      do not use the Service.
  B. Although we may attempt to notify you when major changes are made to these Terms of Service,
      you should periodically review the most up-to-date version www.youtube.com/t/terms). YouTube
      may, in its sole discretion, modify or revise these Terms of Service and policies at any time, and
      you agree to be bound by such modifications or revisions. Nothing in these Terms of Service shall
      be deemed to confer any third-party rights or benefits.
2. Service
  A. These Terms of Service apply to all users of the Service, including users who are also contributors
     of Content on the Service. “Content” includes the text, software, scripts, graphics, photos, sounds,
     music, videos, audiovisual combinations, interactive features and other materials you may view on,
     access through, or contribute to the Service. The Service includes all aspects of YouTube, including
     but not limited to all products, software and services offered via the YouTube website, such as the
     YouTube channels, the YouTube "Embeddable Player," the YouTube "Uploader" and other
     applications.
  B. The Service may contain links to third party websites that are not owned or controlled by YouTube.
     YouTube has no control over, and assumes no responsibility for, the content, privacy policies, or
     practices of any third party websites. In addition, YouTube will not and cannot censor or edit the
     content of any third-party site. By using the Service, you expressly relieve YouTube from any and
     all liability arising from your use of any third-party website.
  C. Accordingly, we encourage you to be aware when you leave the Service and to read the terms and
     conditions and privacy policy of each other website that you visit.
3. YouTube Accounts
  A. In order to access some features of the Service, you will have to create a YouTube or Google
     account. You may never use another's account without permission. When creating your account,
     you must provide accurate and complete information. You are solely responsible for the activity that
     occurs on your account, and you must keep your account password secure. You must notify
     YouTube immediately of any breach of security or unauthorized use of your account.
  B. Although YouTube will not be liable for your losses caused by any unauthorized use of your
     account, you may be liable for the losses of YouTube or others due to such unauthorized use.
4. General Use of the Service—Permissions and Restrictions
YouTube hereby grants you permission to access and use the Service as set forth in these Terms of
Service, provided that:

  A. You agree not to distribute in any medium any part of the Service or the Content without YouTube's
     prior written authorization, unless YouTube makes available the means for such distribution through
     functionality offered by the Service (such as the Embeddable Player).
  B. You agree not to alter or modify any part of the Service.
  C. You agree not to access Content through any technology or means other than the video playback
     pages of the Service itself, the Embeddable Player, or other explicitly authorized means YouTube
     may designate.




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  D. You agree not to use the Service for any of the following commercial uses unless you obtain
     YouTube's prior written approval:
            the sale of access to the Service;
            the sale of advertising, sponsorships, or promotions placed on or within the Service or
             Content; or
            the sale of advertising, sponsorships, or promotions on any page of an ad-enabled blog or
             website containing Content delivered via the Service, unless other material not obtained from
             YouTube appears on the same page and is of sufficient value to be the basis for such sales.
  E. Prohibited commercial uses do not include:
            uploading an original video to YouTube, or maintaining an original channel on YouTube, to
             promote your business or artistic enterprise;
            showing YouTube videos through the Embeddable Player on an ad-enabled blog or website,
             subject to the advertising restrictions set forth above in Section 4.D; or
            any use that YouTube expressly authorizes in writing.
       (For more information about what constitutes a prohibited commercial use, see our FAQ.)
  F. If you use the Embeddable Player on your website, you may not modify, build upon, or block any
     portion or functionality of the Embeddable Player, including but not limited to links back to the
     YouTube website.
  G. If you use the YouTube Uploader, you agree that it may automatically download and install updates
     from time to time from YouTube. These updates are designed to improve, enhance and further
     develop the Uploader and may take the form of bug fixes, enhanced functions, new software
     modules and completely new versions. You agree to receive such updates (and permit YouTube to
     deliver these to you) as part of your use of the Uploader.
  H. You agree not to use or launch any automated system, including without limitation, "robots,"
     "spiders," or "offline readers," that accesses the Service in a manner that sends more request
     messages to the YouTube servers in a given period of time than a human can reasonably produce
     in the same period by using a conventional on-line web browser. Notwithstanding the foregoing,
     YouTube grants the operators of public search engines permission to use spiders to copy materials
     from the site for the sole purpose of and solely to the extent necessary for creating publicly
     available searchable indices of the materials, but not caches or archives of such materials.
     YouTube reserves the right to revoke these exceptions either generally or in specific cases. You
     agree not to collect or harvest any personally identifiable information, including account names,
     from the Service, nor to use the communication systems provided by the Service (e.g., comments,
     email) for any commercial solicitation purposes. You agree not to solicit, for commercial purposes,
     any users of the Service with respect to their Content.
  I.   In your use of the Service, you will comply with all applicable laws.
  J.   YouTube reserves the right to discontinue any aspect of the Service at any time.
5. Your Use of Content
In addition to the general restrictions above, the following restrictions and conditions apply specifically to
your use of Content.

  A. The Content on the Service, and the trademarks, service marks and logos ("Marks") on the Service,
     are owned by or licensed to YouTube, subject to copyright and other intellectual property rights
     under the law.
  B. Content is provided to you AS IS. You may access Content for your information and personal use
     solely as intended through the provided functionality of the Service and as permitted under these
     Terms of Service. You shall not download any Content unless you see a “download” or similar link
     displayed by YouTube on the Service for that Content. You shall not copy, reproduce, distribute,
     transmit, broadcast, display, sell, license, or otherwise exploit any Content for any other purposes




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     without the prior written consent of YouTube or the respective licensors of the Content. YouTube
     and its licensors reserve all rights not expressly granted in and to the Service and the Content.
 C. You agree not to circumvent, disable or otherwise interfere with security-related features of the
    Service or features that prevent or restrict use or copying of any Content or enforce limitations on
    use of the Service or the Content therein.
 D. You understand that when using the Service, you will be exposed to Content from a variety of
    sources, and that YouTube is not responsible for the accuracy, usefulness, safety, or intellectual
    property rights of or relating to such Content. You further understand and acknowledge that you
    may be exposed to Content that is inaccurate, offensive, indecent, or objectionable, and you agree
    to waive, and hereby do waive, any legal or equitable rights or remedies you have or may have
    against YouTube with respect thereto, and, to the extent permitted by applicable law, agree to
    indemnify and hold harmless YouTube, its owners, operators, affiliates, licensors, and licensees to
    the fullest extent allowed by law regarding all matters related to your use of the Service.
6. Your Content and Conduct
 A. As a YouTube account holder you may submit Content to the Service, including videos and user
    comments. You understand that YouTube does not guarantee any confidentiality with respect to
    any Content you submit.
 B. You shall be solely responsible for your own Content and the consequences of submitting and
    publishing your Content on the Service. You affirm, represent, and warrant that you own or have
    the necessary licenses, rights, consents, and permissions to publish Content you submit; and you
    license to YouTube all patent, trademark, trade secret, copyright or other proprietary rights in and to
    such Content for publication on the Service pursuant to these Terms of Service.
 C. For clarity, you retain all of your ownership rights in your Content. However, by submitting Content
    to YouTube, you hereby grant YouTube a worldwide, non-exclusive, royalty-free, sublicenseable
    and transferable license to use, reproduce, distribute, prepare derivative works of, display, and
    perform the Content in connection with the Service and YouTube's (and its successors' and
    affiliates') business, including without limitation for promoting and redistributing part or all of the
    Service (and derivative works thereof) in any media formats and through any media channels. You
    also hereby grant each user of the Service a non-exclusive license to access your Content through
    the Service, and to use, reproduce, distribute, display and perform such Content as permitted
    through the functionality of the Service and under these Terms of Service. The above licenses
    granted by you in video Content you submit to the Service terminate within a commercially
    reasonable time after you remove or delete your videos from the Service. You understand and
    agree, however, that YouTube may retain, but not display, distribute, or perform, server copies of
    your videos that have been removed or deleted. The above licenses granted by you in user
    comments you submit are perpetual and irrevocable.
 D. You further agree that Content you submit to the Service will not contain third party copyrighted
    material, or material that is subject to other third party proprietary rights, unless you have
    permission from the rightful owner of the material or you are otherwise legally entitled to post the
    material and to grant YouTube all of the license rights granted herein.
 E. You further agree that you will not submit to the Service any Content or other material that is
    contrary to the YouTube Community Guidelines, currently found
    at www.youtube.com/t/community_guidelines, which may be updated from time to time, or contrary
    to applicable local, national, and international laws and regulations.
 F. YouTube does not endorse any Content submitted to the Service by any user or other licensor, or
    any opinion, recommendation, or advice expressed therein, and YouTube expressly disclaims any
    and all liability in connection with Content. YouTube does not permit copyright infringing activities
    and infringement of intellectual property rights on the Service, and YouTube will remove all Content
    if properly notified that such Content infringes on another's intellectual property rights. YouTube
    reserves the right to remove Content without prior notice.
7. Account Termination Policy




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 A. YouTube will terminate a user's access to the Service if, under appropriate circumstances, the user
    is determined to be a repeat infringer.
 B. YouTube reserves the right to decide whether Content violates these Terms of Service for reasons
    other than copyright infringement, such as, but not limited to, pornography, obscenity, or excessive
    length. YouTube may at any time, without prior notice and in its sole discretion, remove such
    Content and/or terminate a user's account for submitting such material in violation of these Terms
    of Service.
8. Digital Millennium Copyright Act
 A. If you are a copyright owner or an agent thereof and believe that any Content infringes upon your
    copyrights, you may submit a notification pursuant to the Digital Millennium Copyright Act ("DMCA")
    by providing our Copyright Agent with the following information in writing (see 17 U.S.C 512(c)(3)
    for further detail):
          A physical or electronic signature of a person authorized to act on behalf of the owner of an
           exclusive right that is allegedly infringed;
          Identification of the copyrighted work claimed to have been infringed, or, if multiple
           copyrighted works at a single online site are covered by a single notification, a representative
           list of such works at that site;
          Identification of the material that is claimed to be infringing or to be the subject of infringing
           activity and that is to be removed or access to which is to be disabled and information
           reasonably sufficient to permit the service provider to locate the material;
          Information reasonably sufficient to permit the service provider to contact you, such as an
           address, telephone number, and, if available, an electronic mail;
          A statement that you have a good faith belief that use of the material in the manner
           complained of is not authorized by the copyright owner, its agent, or the law; and
          A statement that the information in the notification is accurate, and under penalty of perjury,
           that you are authorized to act on behalf of the owner of an exclusive right that is allegedly
           infringed.
     YouTube's designated Copyright Agent to receive notifications of claimed infringement is Shadie
     Farazian, 901 Cherry Ave., San Bruno, CA 94066, email: copyright@youtube.com, fax: 650-872-
     8513. For clarity, only DMCA notices should go to the Copyright Agent; any other feedback,
     comments, requests for technical support, and other communications should be directed to
     YouTube customer service through //support.google.com/youtube/?hl=en-US. You acknowledge
     that if you fail to comply with all of the requirements of this Section 5(D), your DMCA notice may not
     be valid.
 B. Counter-Notice. If you believe that your Content that was removed (or to which access was
    disabled) is not infringing, or that you have the authorization from the copyright owner, the copyright
    owner's agent, or pursuant to the law, to post and use the material in your Content, you may send a
    counter-notice containing the following information to the Copyright Agent:
          Your physical or electronic signature;
          Identification of the Content that has been removed or to which access has been disabled
           and the location at which the Content appeared before it was removed or disabled;
          A statement that you have a good faith belief that the Content was removed or disabled as a
           result of mistake or a misidentification of the Content; and
          Your name, address, telephone number, and e-mail address, a statement that you consent to
           the jurisdiction of the federal court in San Francisco, California, and a statement that you will
           accept service of process from the person who provided notification of the alleged
           infringement.
     If a counter-notice is received by the Copyright Agent, YouTube may send a copy of the counter-
     notice to the original complaining party informing that person that it may replace the removed




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      Content or cease disabling it in 10 business days. Unless the copyright owner files an action
      seeking a court order against the Content provider, member or user, the removed Content may be
      replaced, or access to it restored, in 10 to 14 business days or more after receipt of the counter-
      notice, at YouTube's sole discretion.

9. Warranty Disclaimer
YOU AGREE THAT YOUR USE OF THE SERVICES SHALL BE AT YOUR SOLE RISK. TO THE
FULLEST EXTENT PERMITTED BY LAW, YOUTUBE, ITS OFFICERS, DIRECTORS, EMPLOYEES,
AND AGENTS DISCLAIM ALL WARRANTIES, EXPRESS OR IMPLIED, IN CONNECTION WITH THE
SERVICES AND YOUR USE THEREOF. YOUTUBE MAKES NO WARRANTIES OR
REPRESENTATIONS ABOUT THE ACCURACY OR COMPLETENESS OF THIS SITE'S CONTENT OR
THE CONTENT OF ANY SITES LINKED TO THIS SITE AND ASSUMES NO LIABILITY OR
RESPONSIBILITY FOR ANY (I) ERRORS, MISTAKES, OR INACCURACIES OF CONTENT, (II)
PERSONAL INJURY OR PROPERTY DAMAGE, OF ANY NATURE WHATSOEVER, RESULTING
FROM YOUR ACCESS TO AND USE OF OUR SERVICES, (III) ANY UNAUTHORIZED ACCESS TO
OR USE OF OUR SECURE SERVERS AND/OR ANY AND ALL PERSONAL INFORMATION AND/OR
FINANCIAL INFORMATION STORED THEREIN, (IV) ANY INTERRUPTION OR CESSATION OF
TRANSMISSION TO OR FROM OUR SERVICES, (IV) ANY BUGS, VIRUSES, TROJAN HORSES, OR
THE LIKE WHICH MAY BE TRANSMITTED TO OR THROUGH OUR SERVICES BY ANY THIRD
PARTY, AND/OR (V) ANY ERRORS OR OMISSIONS IN ANY CONTENT OR FOR ANY LOSS OR
DAMAGE OF ANY KIND INCURRED AS A RESULT OF THE USE OF ANY CONTENT POSTED,
EMAILED, TRANSMITTED, OR OTHERWISE MADE AVAILABLE VIA THE SERVICES. YOUTUBE
DOES NOT WARRANT, ENDORSE, GUARANTEE, OR ASSUME RESPONSIBILITY FOR ANY
PRODUCT OR SERVICE ADVERTISED OR OFFERED BY A THIRD PARTY THROUGH THE
SERVICES OR ANY HYPERLINKED SERVICES OR FEATURED IN ANY BANNER OR OTHER
ADVERTISING, AND YOUTUBE WILL NOT BE A PARTY TO OR IN ANY WAY BE RESPONSIBLE FOR
MONITORING ANY TRANSACTION BETWEEN YOU AND THIRD-PARTY PROVIDERS OF
PRODUCTS OR SERVICES. AS WITH THE PURCHASE OF A PRODUCT OR SERVICE THROUGH
ANY MEDIUM OR IN ANY ENVIRONMENT, YOU SHOULD USE YOUR BEST JUDGMENT AND
EXERCISE CAUTION WHERE APPROPRIATE.

10. Limitation of Liability
IN NO EVENT SHALL YOUTUBE, ITS OFFICERS, DIRECTORS, EMPLOYEES, OR AGENTS, BE
LIABLE TO YOU FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, OR
CONSEQUENTIAL DAMAGES WHATSOEVER RESULTING FROM ANY (I) ERRORS, MISTAKES, OR
INACCURACIES OF CONTENT, (II) PERSONAL INJURY OR PROPERTY DAMAGE, OF ANY NATURE
WHATSOEVER, RESULTING FROM YOUR ACCESS TO AND USE OF OUR SERVICES, (III) ANY
UNAUTHORIZED ACCESS TO OR USE OF OUR SECURE SERVERS AND/OR ANY AND ALL
PERSONAL INFORMATION AND/OR FINANCIAL INFORMATION STORED THEREIN, (IV) ANY
INTERRUPTION OR CESSATION OF TRANSMISSION TO OR FROM OUR SERVICES, (IV) ANY
BUGS, VIRUSES, TROJAN HORSES, OR THE LIKE, WHICH MAY BE TRANSMITTED TO OR
THROUGH OUR SERVICES BY ANY THIRD PARTY, AND/OR (V) ANY ERRORS OR OMISSIONS IN
ANY CONTENT OR FOR ANY LOSS OR DAMAGE OF ANY KIND INCURRED AS A RESULT OF
YOUR USE OF ANY CONTENT POSTED, EMAILED, TRANSMITTED, OR OTHERWISE MADE
AVAILABLE VIA THE SERVICES, WHETHER BASED ON WARRANTY, CONTRACT, TORT, OR ANY
OTHER LEGAL THEORY, AND WHETHER OR NOT THE COMPANY IS ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES. THE FOREGOING LIMITATION OF LIABILITY SHALL APPLY TO
THE FULLEST EXTENT PERMITTED BY LAW IN THE APPLICABLE JURISDICTION.

YOU SPECIFICALLY ACKNOWLEDGE THAT YOUTUBE SHALL NOT BE LIABLE FOR CONTENT OR
THE DEFAMATORY, OFFENSIVE, OR ILLEGAL CONDUCT OF ANY THIRD PARTY AND THAT THE
RISK OF HARM OR DAMAGE FROM THE FOREGOING RESTS ENTIRELY WITH YOU.

The Service is controlled and offered by YouTube from its facilities in the United States of America.
YouTube makes no representations that the Service is appropriate or available for use in other locations.




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Those who access or use the Service from other jurisdictions do so at their own volition and are
responsible for compliance with local law.

11. Indemnity
To the extent permitted by applicable law, you agree to defend, indemnify and hold harmless YouTube,
its parent corporation, officers, directors, employees and agents, from and against any and all claims,
damages, obligations, losses, liabilities, costs or debt, and expenses (including but not limited to
attorney's fees) arising from: (i) your use of and access to the Service; (ii) your violation of any term of
these Terms of Service; (iii) your violation of any third party right, including without limitation any
copyright, property, or privacy right; or (iv) any claim that your Content caused damage to a third party.
This defense and indemnification obligation will survive these Terms of Service and your use of the
Service.

12. Ability to Accept Terms of Service
You affirm that you are either more than 18 years of age, or an emancipated minor, or possess legal
parental or guardian consent, and are fully able and competent to enter into the terms, conditions,
obligations, affirmations, representations, and warranties set forth in these Terms of Service, and to abide
by and comply with these Terms of Service. In any case, you affirm that you are over the age of 13, as
the Service is not intended for children under 13. If you are under 13 years of age, then please do not use
the Service. There are lots of other great web sites for you. Talk to your parents about what sites are
appropriate for you.

13. Assignment
These Terms of Service, and any rights and licenses granted hereunder, may not be transferred or
assigned by you, but may be assigned by YouTube without restriction.

14. General
You agree that: (i) the Service shall be deemed solely based in California; and (ii) the Service shall be
deemed a passive website that does not give rise to personal jurisdiction over YouTube, either specific or
general, in jurisdictions other than California. These Terms of Service shall be governed by the internal
substantive laws of the State of California, without respect to its conflict of laws principles. Any claim or
dispute between you and YouTube that arises in whole or in part from the Service shall be decided
exclusively by a court of competent jurisdiction located in Santa Clara County, California. These Terms of
Service, together with the Privacy Notice at http://www.google.com/intl/en/policies/privacy/ and any other
legal notices published by YouTube on the Service, shall constitute the entire agreement between you
and YouTube concerning the Service. If any provision of these Terms of Service is deemed invalid by a
court of competent jurisdiction, the invalidity of such provision shall not affect the validity of the remaining
provisions of these Terms of Service, which shall remain in full force and effect. No waiver of any term of
this these Terms of Service shall be deemed a further or continuing waiver of such term or any other
term, and YouTube's failure to assert any right or provision under these Terms of Service shall not
constitute a waiver of such right or provision. YouTube reserves the right to amend these Terms of
Service at any time and without notice, and it is your responsibility to review these Terms of Service for
any changes. Your use of the Service following any amendment of these Terms of Service will signify
your assent to and acceptance of its revised terms. YOU AND YOUTUBE AGREE THAT ANY CAUSE
OF ACTION ARISING OUT OF OR RELATED TO THE SERVICES MUST COMMENCE WITHIN ONE
(1) YEAR AFTER THE CAUSE OF ACTION ACCRUES. OTHERWISE, SUCH CAUSE OF ACTION IS
PERMANENTLY BARRED.
Dated: June 9, 2010




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                  Exhibit “I”



                                                                     2957
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                                             SUPERIOR COURT OF CALIFORNIA
                                                COUNTY OF SANTA CLARA


      PRAGER UNIVERSITY,                                                    Case No.: 19CV340667

                            Plaintiff,

                                                                           ORDER AFTER HEARING ON
                VS.
                                                                           OCTOBER 25, 2019
      GOOGLE LLC’ et a1              _
                                         ’
                                                                           (l)   Demurrer by Defendants Goo le
                                                                                 LLC and YouTube, LLC to thge
                                                                                 First   Amended Complaint
                            Defendants-
                                                                           (2)   Motion by     Plaintiff Prager
                                                                                 University for Preliminary
                                                                                 Injunction



19              The   above-entitled matter      came on   for hearing   on Friday, October 25, 201 9        at   11:00

20   am.   in   Department       1   (Complex   Civil Litigation), the   Honorable Brian C. Walsh presiding.              A
2!   tentative ruling        was issued prior t0   the hearing.   The appearances        are as stated inthe record.

22   The Court has reviewed and considered              the written submissions of all parties and has reﬂected

23   0n the   oral    argument of counsel, including by reviewing the transcript lodged by plaintiff on

24   November         14,   201 9. Being fully advised, the Court adopts the tentative ruling as follows:

25


26              This action arises from Prager University’s allegations that YouTube,                LLC    and   its   parent

27   company Google LLC have unlawfully restricted content                   created   by Prager on YouTube,

28   defendants’ social media and video sharing platform. Before the Court are defendants’ demurrer




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       t0 the operative First        Amended Complaint (“FAC”)                        and Prager’s motion for a preliminary

       injunction.        Both motions are opposed.



       I.    Factual and Procedural Background

                    As   alleged in the   FAC, Prager              is   a n011-pr0ﬁt, 501(c)(3) tax exempt, educational

      organization that promotes discussion 0n historical, religious, and current events
                                                                                                                      by
      disseminating educational videos intended for younger, student—based audiences between the

      ages 0f 13 and 35. (FAC,             1]   10.)    The Videos          depict scholars, sources, and other prominent

      speakers          who   often espouse Viewpoints in the mainstream 0f conservative thought. (Ibid)

                   Defendants operate YouTube as the largest and most proﬁtable mechanism for

      monetizing free speech and freedom 0f expression                              in the history   0f the world, generating $10     t0

      15 billion in annual revenue by monetizing the content 0f users like Prager                              Who   are invited t0

      post videos t0 YouTube. (FAC,                    1]   11.)    Since   its   inception, Prager has posted    more than 250 of
      its   Videos t0 YouTube.         (Id. at    ﬂ 39.)

                   A. The Alleged Content Restriction Scheme

                   T0 induce     users like Prager t0 upload Video content, defendants represent that                      YouTube
      is    a public place for free speech         deﬁned by “four                essential   freedoms” that govem the public’s use

     0f the platform:

             1.    Freedom 0f Expression:                   We
                                                 believe people should be able t0 speak freely, share
                   opinions, foster open dialogue, and that creative freedom leads t0 116w voices,
                   formats and possibilities.


             2.    Freedom 0f Information:                   We     believe everyone should have easy, Open access
22
                   t0   information and that Video                   is a powerful   force for education, building
                  understanding, and documenting world events, big and small.
23


24           3.   Freedom        0f Opportunity:              We        believe everyone should have a chance to be
                  discovered, build a business and succeed 0n their                       own   terms, and that   people%not
25
                  gatekeepel‘s—decide what’s popular.

26
            4.    Freedom       t0 Belong:       We believe everyone should be               able t0 ﬁnd communities 0f
27                support, break     down       barriers, transcend borders             and come together around shared
                  interests    and passions.
28




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       (FAC,         1]   12.)   Defendants fuﬁher promise that YouTube                        is   governed by content-based mles and

       ﬁltering           which “apply equally              t0 all,” regardless      0f the viewpoint,        identity, 0r source       0f the
       speaker.           (Id. at   1]   13.)


                      However, contrary              t0 these representations,         defendants censor,          restrict,   and restrain Video

       content based 0n animus, discrimination, proﬁt, and/or for any other reason “0r
                                                                                                                                110   reason.”

       (FAC,         1]   14.)   According         t0 Prager, an internal          memo   and presentation         entitled    “The Good
       Censor” shows              that defendants           have secretly decided              “
                                                                                          t0       ‘migrate’    away from [sewing            as]   a

      hosting platform ...where the public                        is   invited t0 engage in freedom 0f expression” t0                    become          a

      media company                 that proﬁts       “by promoting Defendants’ own,                  01'   their prefen‘ed content          through
      the exercise 0f unfettered discretion t0 censor and curate othelwise
                                                                           public content.”                                            (1d. at


      Tm 56-65.) T0 effectuate                     their discriminatory practices, defendants                 use clandestine ﬁltering             tools,

      including algorithms and other machine-based and manual review tools, that are
                                                                                     embedded with
      discriminatory and anti-competitive animus—based code, including code that                                               used
                                                                                                                          is          t0 identify

      and   restrict content              based 0n the       identity, Viewpoint, 0r topic            0f the speaker.     (1d,,   ﬂ   19.)    They
      also “ensure that the                    YouTube employees charged              With administering the content ﬁltering and

      regulation scheme                  ...   operate in a dysfunctional and politically panisan workplace environment.”

      (1d. at   1]    20.)

                 Against         this     background, Prager’s rights under California law have been violated
                                                                                                              by two
      unlawful contenbbased restrictions:                       (i)    “Restricted    Mode,” a       ﬁltering protocol that defendants

20   use t0 block what they deem, in their sole, unfettered discretion, t0 be “inappropriate”
                                                                                              for
21   “sensitive” audiences and                     (ii)   “Advertising Restrictions,” a content-based video advertising

22   restriction policy that prohibits potential advertisers                           from accessing Videos           that defendants         deem
23   “inappropriate” for advertising. (FAC,
                                                                      ﬂ]   17.)   Defendants use these mechanisms as a pretext                      t0
24   restrict   and censor Prager’s Videos, even though the content 0f its videos complies with

25   YouTube’s Terms 0f Service, Community Guidelines, and                                         cn'teria for “sensitive      audiences” and
26   advertisers, while they fail t0 restri ct the content                         0f other prefen‘ed users, content partners, and

     content produced               by defendants themselves                 that is not compliant.          (Id. at 1H] 18,   23.)   Defendants
28




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      have provided n0 rational basis for                              restricting Prager’s content while allowing similar                          01'



      noncompliant content                      t0   g0   unrestricted. (Id. at           ﬂ 25.)

                       B. Restricted        Mode
                       According        t0 defendants, Restricted                Mode       is   intended “t0 help institutions like schools as

      well as people             who wanted               t0 better control the content they see                       on YouTube With an option             to

      choose an intentionally limited YouTube experience.” (FAC,                                                 1]   68.)   Viewers can choose           t0 turn

      Restricted         Mode 0n from                 their personal accounts, but                it   may      also   be turned 0n by system

      administrators for libraries, schools, and other institutions                                     01‘     workplaces. (Ibid) Defendants

      estimate that about 1.5 percent 0f YouTube’s daily Views                                          (01‘    approximately 75 million views per

     day)        come from        individuals using Restricted                     Mode.         (1d. at   1]   69.)    When Restricted Mode is
     activated, a video’s                 name, creator 0r              subject,   and content, along with any other infonnation

     related t0 the video, are blocked, as if the Video did not exist                                           0n the YouTube platform.                (Id. at


     1]   68.)

                   Defendants claim t0                    restrict content in Restricted               Mode       based upon their “Restricted

     Mode         Guidelines,” which identify                        ﬁve   criteria for     determining whether content warrants

     restriction:


            1.     Talking about drug use                      01'   abuse, or drinking alcohol in Videos;
           2.      Overly detailed conversations about 01‘ depictions 0f sex 0r sexual activity;
           3.      Graphic descriptions 0f Violence, violent acts, natural disasters and tragedies, 0r even
                   Violence in the news;
           4.      Videos that cover speciﬁc details about events related t0 terrorism, war, crime, and
                   political conﬂicts that resulted in                      death 0r serious injury, even if 110 graphic imagery                            is
                   shown;
           LI]
                   Inappropriate language, including profanity; and
22         6.      Video content           that is gratuitously incendiary,                      inﬂammatory,            01‘   demeaning towards an
                   individual       01'   group.
23


24
     (FAC,        1]   70.) Videos are initially restricted through an automated ﬁltem’ng algorithm that

25
     examines ceﬂain “signals”                         like the video’s metadata, title,                and language, 0r following manual
26                                      “ﬂagged”
     review       if a   Video     is                         as inappropriate      by public Viewers. (Id,                    1]
                                                                                                                                    71   .)


27
                  YouTube          also publishes               “Community Guidelines” and “Age Based                                    Restriction”

28
     guidelines similar t0                its   “Restricted           Mode Guidelines”;            however, content that complies with




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       these guidelines             may nevertheless be subject t0                          Restricted    Mode. (FAC,         1H]   72-73.) Prager’s

       Videos have never been age restricted                         01‘   found           t0 Violate    YouTube’s Community Guidelines.

       (Id. at   1]   75.)

                  Defendants have admitted                 that they                make “mistakes          in   understanding context and

      nuances when [assessing] which Videos                            t0       make         available in Restﬁcted         Mode.” (FAC,              91
                                                                                                                                                 1]        .)


      For example, 0n March                   19,   201 7, they publicly admitted that they improperly restricted Videos

      posted 0r produced by members 0f the                            LGBTQ community and                         changed     their policy, ﬁltering

      algorithm, and manual review policies in response t0 complaints from this community.
                                                                                                                                                 (Id. at


      1H]   94-96.) However, Prager alleges that defendants have continued t0 improperly restﬁct
                                                                                                 videos

      by    LGBTQ users,              which   is    evidence 0f viewpoint animus.                          (Id. at    1N 97-98.)
                 C. Advertising Restrictions

                 Defendants also           restrict users like              Prager “from monetizing 0r boosting the reach or

      viewer distribution 0f [their] Videos.” (PAC,                                        78.) Prager alleges that these restrictions are
                                                                                     1]



      ostensibly       govemed by          the     “AdSense program                        policies,”   which    it   suggests are “similar[ly]

      vague, ambiguous, and arbitrary” t0 the Restricted                                         Mode   Guidelines.       (Id. at   W 78, 80.)   Prager

      claims     that, similar t0 their            “mistakes” in applying “Restricted Mode,” defendants once “denied
                                                                                                                     a

     reach boost 0r ad product” 0n the ground 0f “shocking content” based on a user’s sexual                                                      01‘


     gender orientation and Viewpoint.                    (1d. at          1]
                                                                                8   l .)    It   alleges that the application 0f such an

     “inappropriate” 0r “shocking content” designation falsely and unfairly
                                                                            stigmatizes Prager as

     well. (Id. at       1]    82.)   (However, while Prager alleges                              that certain   0f its videos have been

     demonetized,             it   does not allege whether defendants gave speciﬁc reasons for these actions 0r

     what those reasons were.) (See                    id. at   1]   84.)

                 D. The Parties’ Disgute

                 In July 0f 201 6, Prager discovered that defendants                                    were     restricting user access t0 its

25   videos through Restricted Mode. (FAC,                            1]    101       .)    It   raised the issue with defendants, but they

26   have    failed t0 offer          any reasonable 0r consistent explanation                             for   why    Prager’s Videos are being

27   restricted.       (Id. at      W 101-1    17.)   In 2016, at least 16 Prager videos                          were    restricted;   by 2017,      a total
28   0f 21 were. (Ibid)               By the time the FAC was                        ﬁled in       May 0f 201 9,       the total had risen t0 80.          (Id.




     nger   Universiry v. Goog/e LLC, 6f (11., Superior Court ofCa/{fbmim County ofSanm Clam, Case
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     at   1]   127.) Prager’s Videos                    were    either “restn'cted as t0 content, demonetized, or both.” (Id. at


     ﬂ 116.) Defendants also discontinued Prager’s “ad grants” account for more than                                                    six   days in

     October 0f 2017.              (Id. at         1]   118.)   On pages         9~17 0f the         PAC, Prager provides          a chart listing   its


                                                                                                            3“
     restricted Videos            by   title,      along with videos from defendants                             preferred content providers” with

     similar     titles   that are unrestricted.                  (Id. at   ‘H   23.)


                 On October 23,               2017, Prager sued defendants in federal court, asserting claims for

     (1) violation        0f Article          I,   section 2 0f the California Constitution; (2) Violation Ofthe First

     Amendment 0f the United                            States Constitution; (3) Violation 0f the California                       Unruh   Civil Rights

     Act (“Unruh Act”),                Cal. Civ.          Code.     § 51 er       seq; (4) Violation 0f California’s Unfair Competition

     Law (“UCL”),            Cal. Bus.             & Prof.      Code   §    17200       er    seq;   (5)   breach 0f the implied covenant 0f

     good      faith   and   fair dealing; (6) Violation                    0f the Lanham Act, 15 U.S.C.                    §   1125 et seq; and

     (7) declaratory relief.              (Prager University                 v,    Google      LLC (ND.           Cal.,   Mar. 26, 2018, N0. 17-CV—

     06064-LHK) 2018               WL         1471939,           at *2.)    It    ﬁled a motion for a preliminary injunction in the

     federal action        0n December 29, 2017.                       (Id. at *3.)           On March       26, 201 8, the federal court granted

     defandants’ motion t0 dismiss Prager’s federal claims and denied Prager’s motion for a

     preliminary injunction, ﬁnding that Prager had failed t0 state a claim for Violation 0f the First

     Amendment because                   it   did not allege state action, and had also fai1ed t0 state a claim under the

     Lanham       Act. (Id. at *5-1 3.)                   Having dismissed              all   0f Prager’s federal claims, the court declined

     t0 exercise        supplemental jurisdiction over                       its   state      law claims, explaining:

20               Here, the factors of economy, convenience, fairness, and comity support dismissal
                 0f Plaintiff‘s remaining state law claims. This case is still at the pleading stage,
21
                 and n0 discovery has taken place. Federal judicial resources are conserved by
22               dismissing the state law theon'es 0f relief at this stage. Fuﬂher, the Court ﬁnds
                 that     dismissal           promotes comity as it enables California courts t0 interpret
23               questions 0f state law. This           is an especially important consideration in the instant

                 case because Plaintiff asserts a claim that demands an analysis 0f the reach 0f
24
                 Alﬁcle      1,   section 2 0f the California Constitution in the age 0f social                                      media and
                 the Internet.


     (Prager University             v.   Google LLC, supra, 2018                        WL      147193 9,     at   *13.) Prager has appealed the

27
     federal court’s ruling t0 the                      Couﬁ 0f Appeal             for the     Ninth    Circuit,    which heard argument          in the

28
     matter     011   August 27, 201 9.




     Prager University v. Goog/e LLC, et m". Superior Cour!                  ofCaII'form’a, County ofSanm Clam, Case N0. 1'9CV340667                       (J



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                   Prager ﬁled this action 0n January                8,   2019, reasserting     its   state      law claims for

          (l) Violation    0f Article     I,   section 2 0f the California Constitution; (2) Violation of the                                 Unmh Act;
         (3) violation     0f the UCL; and           (4) breach     0f the implied covenant 0f good                    faith     and     fair dealing.

         On May      13, the   (301,111   entered a stipulated order establishing a brieﬁng schedule for Prager’s

         anticipated motion for a preliminary injunction and defendants’ anticipated demun‘er
                                                                                              and/or

         special   motion    to strike.        On May        20, pursuant t0 that order, Prager            moved         for a preliminary

         injunction and ﬁled the           FAC, Which          asserts the   same   four causes 0f action as                   its   original

         complaint. Defendants ﬁled their demurrer 0n June 28. Both matters are                                        now      fully briefed        and
         came on    for hearing      by   the Court      0n October 25, 2019.



         II.   Demurrer    t0 the    FAC
                   Defendants demur            t0   each cause 0f action in the          FAC for failure t0              state a claim.         (Code
         CiV. Proo, § 430.10, subd. (6).)              They contend        that Prager’s claims are barred                     by two provisions
         0f section 230 0f the Communications Decency Act                                “CDA”) and by
                                                                                 (the                              the First           Amendment,
         and othexwise     fail t0 state       a cause 0f action.

                  Defendants’ request for judicial notice, which                    is   unopposed,        is   GRANTED                 as t0 public

         web pages    displaying the terms 0f the various                 YouTube policies       at issue         1'11
                                                                                                                         this action (Exhibits

         1-9).   (Evid.   Code   §   452, subd.       (h);   see Pacific Employers 1m. C0.            v.    Slate ofCaZ.               (1   970) 3

     Cal.3d 573, 575, fn.l [where portions 0f agreement were attached t0 plaintiff‘s
                                                                                     complaint, the

     balance Ofthat agreement was properly a subject ofjudicial notice]; Ingram                                           v.   Flippo (1999) 74

     Cal.App.4th 1280, 1285 [judicial notice 0f letter and media release was proper where,
                                                                                           although

     they were not attached to the complaint, they formed a basis for the claims, and the complaint

23
     excerpted quotes and summarized paﬁs in detail, thus                           “it is essential that         we      evaluate the
24   complaint by reference t0 these docu111ents”].) Defendants’ request                               is       also     GRANTED              as t0 a

25   transcript 0f a case        management conference held                  in the federal action, although the Court is not

26   bound by       the court’s      comments 0r         rulings in that case. (Evid.         Code     §    452, subd.               ((1).)

27   /   H
28   / / /




     Prager University v. Google LLC, 6i 0]., Superior Cour! ofCaIffornia, County                                                                        7
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                  A. Legal Standard

                  The function 0f a demurrer       is    t0 test the legal          sufﬁciency 0f a pleading. (Trs, OfCapiraZ

       Wholesale Elec. Etc.       Fund v. Shearson Lehman               Bros. (1990) 221 Cal.App.3d 617, 621                                .)



          Consequently, “[a] demurrer reaches only              t0 the contents            of the pleading and such matters as

      may be considered         under the doctrine ofjudicial notice.” (South Shore Land C0.                                        v.


      Petersen (1964) 226 Cal.App.2d 725, 732, internal citations and quotations omitted; see also

      Code     Civ. Proc., § 430.30, subd. (3).) “It           is   not the ordinary function 0f a demurrer t0 test the

      truth   0f the plaintiff s allegations     01‘   the accuracy with            Which he describes the defendant’s

      conduct.        Thus,       the facts alleged in the pleading are                deemed          t0   be   true,   however improbable

      they    may be.”    (Align Technology, Inc.         v,   Tran (2009) 179 Cal.App.4th 949, 958, intemal

      citations    and quotations omitted.)

                 In ruling   0n a demurrer, the allegations 0f the complaint must be                              liberally construed,                 with

      a   View   t0 substantial justice   between      the parties. (Glennen               v.   Allergan, Inc. (2016) 247

      Cal.App.4th      1, 6.)   Nevertheless, while “[a] demun'er admits                        all   facts properly pleaded,                [it   does]

      not [admit] contentions, deductions          01'   conclusions oflaw 0r fact.” (George                             v.   Automobile Club

      quouthem        California (201 1) 201 Cal.App.4th               1 1   12, 1120.)         A demurrer will               lie


     where the      allegations and matters subject t0 judicial notice clearly disclose                             some defense                 01'   bar

     t0 recovery, including a statutory         immunity. (Casterson                  v.   Superior Court {C(zrdoso) (2002) 101

     Ca1.App.4th 177, 183.)

                 B. Violation 0f the Califomia Constitution

                 Because concepts related      t0 the parties’ speech rights                    under the    First       Amendment and
22   California Constitution are important t0 other aspects 0f its analysis, the Court will ﬁrst examine

23   whether Prager      states a claim for Violation          0f Article      I,   section 2 0f the California Constitution.

24               As urged by    defendants, “California’s free speech clause’°—like the First                                       Amendment»
25   “contains a state action limitation.” (Golden                  Gateway Center              v.    Golden Gateway Tenants
26   Assn. (2001) 26 Cal.4th 101 3, 1023.) However, the California Constitution’s protection 0f

27   speech has been interpreted        mom broadly in this regard.                   (See Fashion Valley Mall,                          LLC v.
28   National Labor Relations Bd. (2007) 42 Ca1.4th 850, 862-863.) Most notably, in the




     Prager Univensig: v, Goggle LLC, e! at", Superior Cour! ofCalifomin, County QfSanm Clam, Case N0, 19CV340667                                            8
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        “groundbreaking” decision ofRobins                       v.   Pruneyard Shopping Cenfer                (1   979) 23 Cal.3d 899, the

        Supreme Court 0f California “departed from                           the First          Amendment jurispmdence 0f the United
       States   Supreme Court and extended the reach 0f the                                free   speech clause 0f the California

       Constitution t0 privately              owned shopping               centers.” (Golden           Gateway Center     v.   Golden Gateway
       Tenants Assn, supra, 26 Cal.4th                   at p.   1016.)

                 More    than 20 years after Robins                   v.   Przmeyard, Golden Gateway Center conﬁrmed and

       began    t0   deﬁne the scope 0f the             state action limitation                 under the California Constitution, ﬁnding

       the requirement         was not satisﬁed where                 a tenants’ association sought to distribute leaﬂets in a

       private apartment         complex         that   was “not       freely      open    to the public.”     (Golden Gateway Center                v.

       Golden Gateway Tenants Assn, supra, 26 Cal.4th                                           1031.) Golder:
                                                                                        at p.                    Gateway Center looked
      t0 the   reasoning ofRobz’ns for guidance, noting that “Robins relied
                                                                            heavily 0n the functional

      equivalence 0f the shopping center t0 a traditional public forum-the
                                                                                                              downtown     0r central

      business district,” and relied 0n “the public character 0f the property,”
                                                                                emphasizing “the public’s

      unrestricted access.”            (Id. at   pp. 1032—1033, internal citations and quotations omitted.)
                                                                                                            Golden
      Gateway Center held              that this unrestricted access is a “threshold                      requirement for establishing

      state action”:    without        it,   private property “is not the functional equivalent 0f a traditional
                                                                                                                 public
      fomm.”      (Id. at p.    1033.) In announcing this requirement, the opinion                              conﬁrmed       that   it   “largely

      f0110w[ed] the Court 0f Appeal decisions constming Robins,” including
                                                                            Planned Parenthood                                                  v.

      Wilson (199]) 234 Ca1.App.3d 1662.                      (Id. at p.       1033.) Those decisions also emphasized
20   Robins’s focus 0n “the unique character Ofthe modern shopping
                                                                   center and                                             the public role
21
      such centers have assumed in contemporary society” by effectively replacing “the
                                                                                       traditional
22   town center business block, where                   historically the public’s First                 Amendment      activity      was
23
     exercised and      its   right t0 d0 so scrupulously guarded.”                         (Planned Parenthood v. Wilson, supra,
24   234 Cal.App.3d           at pp.   1669—1670.) This concept was again emphasized
                                                                                     by the California
25   Supreme Court       in    Fashion Valley, which repeatedly referenced “[t]he idea that private
                                                                                                    property
26   can constitute a public           fomm      for free speech if           it   is   open     t0 the public in a   manner similar        t0 that
27   ofpublic streets and sidewalks                ....”   (Fashion Valley Mall,                   LLC v.   National LaborRelaIions Bd,
28
     supra, 42 Cal.4th at p. 858; see also                 id. at p.       859.)




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                      With     this   fundamental principle                in   mind,   it   is   apparent that Prager does not state a claim

           under the California Constitution. Prager contends                                that   “YouTube            is   the cyber equivalent 0f a

           town square where                citizens      exchange ideas 0n matters 0f public                       interest”      and    that defendants

           have opened         their platform t0 the public                by advertising           its   use for    this    purpose. However, Prager

           does not allege that             it   has been denied access to the core                  YouTube           sewice. Rather,             it   urges that

           its   access t0 “Restricted              Mode” and YouTube’s                advertising service has been restricted. Prager

          does not persuade the Court                      that these    sewices are freely open                t0 the public           01'   are the functional

          equivalent 0f a traditional public                    fomm      like a     town square 0r a           central business district}

          Considering “the nature, purpose, and primary use 0f the property; the extent and nature 0f the

          public invitation t0 use the property; and the relationship between the ideas sought t0 be

          presented and the purpose 0f the propeﬁy’s occupants” (Albertson                                            ’s,   Inc.   v.   Young (2003) 107
          Cal.App.4th        at p. 119),          it is   clear that these services are nothing like a traditional public forum.

          “Restricted       Mode”       is   an optional service that enables users                       t0 limit the content that they (0r their

          children, patrons,          01'   employees) view             in order t0 avoid          mature content. Limiting content                        is   the

          very purpose 0f this service, and defendants d0 not give content creators unrestricted access t0                                                        it


          01'   suggest that they will d0 so.                The     service exists t0 permit users t0 avoid the                          more open
          experience 0f the core                 YouTube      service.      Similarly, the use            onouTube’s               advertising sewice            is


          restricted t0     meet the preferences 0f advertisers. (See FAC,                                     80   [stated    purpose 0f advertising
                                                                                                          1]


          restrictions “is t0      keep Google’s content and search networks safe and clean for our advertisers

20        ...”];   Declaration ofBrian               M.     Willem, Exs. 7—9.)

21
                    Defendants correctly urge                  that    even     t0   recognize the core             YouTube platfonn               as a public

22    forum would be             a dramatic expansion 0f Robins.                        As one       federal court observed, “[t]he analogy

23    between a shopping mall and the Internet                             is   imperfect, and there are a host ofpotential ‘slippery

24    slope’ problems that are likely t0 surface                           were [Robins]           t0   apply t0 the Internet.” (hiQ Labs, Inc.
25          Lz’nkedln Corporation
      v.                                            (ND.    Cal.    2017) 273 F.Supp.3d 1099,                   11 I6 [observing that “[11]0 court

26


2’7

      1
          Prager   Cites   no authority      that   suppoﬂs   its   position that a court can never determine the applicability ofRobins 011
28    demurrer, and        this position is inCOITeCt.        v, Tmmmell Crow C0. (1990) 223 Cal.App.3d 1562,
                                                               (See Savage                                     1577, fn.
      4 [stating that scope ofRabins can be addressed 0n demun‘er in appropriate circumstances].)
                                                                                                  Here, the necessary
      facts are alleged in the FAC and/or subject t0 judicial notice,




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      has expressly extended [Robins] t0 the Internet generally”], aff’d and remanded (9th                                       Cir.   2019)

       938 F.3d 985.) However the courts 0f this                 state ultimately       view   that      analogy with regard t0 a

      dominant, widely—used          site like the core     YouTube       service, the     analogy         falls apart      completely on

      the facts alleged here. “Restricted             Mode” and YouTube’s              advertising service are new, inherently

      selective platforms that        d0 not resemble       a traditional public forum.              As discussed below, even
      more than       the core    YouTube     service, these platforms necessarily reﬂect the exercise                           of editorial

      discretion rather than serving as an open             “town square.”

                   Finally, Prager contends that cases that            have deemed web          sites t0     be “public fomms” for

      purposes 0f California’s “anti-SLAPP” statute require                   this     Court   t0   extend Robins t0             its   claim.

      However, the anti—SLAPP            statute     encompasses speech “in a place open                   t0 the public 0r a public

      forum in connection with an issue ofpublic                 interest”   (Code Civ.        Proc., § 425.1 6, subd. (c)(3),

      emphasis added), and has been applied               t0 locations that clearly        d0 not meet the standard

      described in Golden Gateway Center. (See,                  e.g.,   Seelig   v.   Inﬁnity Broadcasting Corp. (2002) 97

      Cal.App.4th 798, 807 [anti—SLAPP statute applied t0 comments made during on-air discussion

     0n   talk radio].)    “[T]he protections afforded by the anti-SLAPP statute are not coextensive with

     the categories 0f conduct         01'   speech protected by the First         Amendment             01‘ its   California

     counterparts (Cal. Const,         art.   I,   §§ 2—4).” (Industrial Waste           & Debris Box Service,               Inc. v.

     Murphy (2016) 4 Cal.App.5th               1   135, 1152.)   “As our high court recently reafﬁrmed:                       “courts

     determining whether conduct              is   protected under the anti—SLAPP statute 100k not t0 First

     Amendment         law, but t0 the statutory deﬁnitions in section 425.16, subdivision                                   ”
                                                                                                                     (e).’       (Ibid,

     quoting City ofMontebello           v.   Vasquez (2016)       l   Ca1.5th 409, 422.)

               Defendants’ demurrer t0 the ﬁrst cause 0f action will accordingly be sustained without

     leave to amend. In addition t0 failing t0 state a claim under Robins                           v.   Pruneyard,      this    cause 0f

     action   is   balred by section 230 0f the         CDA for the reasons discussed below.                       (See In re

     Garcia (2014) 58 Ca1.4th 440, 452 [supremacy clause 0f the federal Constitution requires that

26
     any conﬂicting       state   law give    way t0   federal statute], citing U.S. Const, art. VI,                  cl.    2 [“This

27   Constitution, and the laws 0f the United States               which     shall     be made      in   pursuance thereof               shall

28




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          be    the   supreme law 0f the land; and               the judges in every state shall     be bound thereby, any thing in

          the Constitution 0r laws 0f any state t0 the contraIy notwithstanding”].)

                       B.    CDA Immunity
                       Section 230(c)(1) 0f the             CDA provides that “[11]0 provider or user 0f an interactive
          computer sewice              shall    be treated as the publisher 0r speaker of any information provided
                                                                                                                   by
         another information content provider.” “§ 230 precludes 0011sz from entertaining
                                                                                          claims that

         would place           a    computer service provider         in a publisher’s role.    Thus, lawsuits seeking            t0   hold a

         service provider liable for                its   exercise 0f a publisher’s traditional editorial functions—such as

         deciding whether t0 publish, withdraw, postpone 0r alter content~are barred.”
                                                                                       (Hassell                                        v.


         Bird (2018)          5 Cal.5th 522, 536, quoting            Zeran        America Online,
                                                                             v.                      Inc. (4th Cir.   1997) 129 F.3d

         327, 330.)

                      “The     CDA—of which section 230 is a partwwas                    enacted in 1996.” (Delﬁno           v.   Agilent

         Technologies, Inc. (2006) 145 Cal.App.4th 790, 802.) “Its “primary goal                               was    t0 control the

         exposure 0f minors t0 indecent material’ over the Internet.” (Ibid, quoting Barzel                             v.   Smith (9th

         Cir.   2003) 333 F.3d 1018, 1026, superseded by statute 0n another point as stated in Breazeale                                     v‘


         Victim Services, Inc. (9th Cir. 2017) 878 F.3d 759, 766.) “Thus, an ‘important
                                                                                        purpose 0f

         [the   CDA] was t0            encourage [Internet] sewice providers t0 selﬁregulate the dissemination of

         offensive materials over their services.’ ” (Ibid, quoting Zeran                      v.   America Online, Ina, supra,

         129 F.3d       at p. 331.)         Section 230(c)(2) consequently immunizes service providersz                  who
20       endeavor       t0 restrict access t0 material            desmed    objectionable, providing that

21
                      [n]0 provider 0r user 0f an interactive computer service shall be held liable 0n
                      account 0f—~
22


23                (A) any action voluntarily taken in good faith t0 restrict access t0 01' availability 0f
                  material that the provider 0r user considers t0 be obscene, lewd, lascivious,
                                                                                                   ﬁlthy,
24
                  excessively Violent, harassing, or othem/ise objectionable, whether                           01‘   not such
                  materialis constitutionally protected; 0r
25


26                (B) any action taken t0 enable 0r                  make    available t0 information content providers
                  0r        others     the     technical     means    t0   restrict   access   t0   material   described          in
27


28
     2
         There   is   n0 dispute     that   defendants are providers 0f “an interactive computer service” under section 230.




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                          paragraph       (1).3



          (47 U.S.C.            § 230(c)(2).)


                          A   second, but related, objective 0f the               CDA “was         t0   avoid the chilling effect upon

          Internet free speech that                would be occasioned by               the imposition 0f tom liability               upon companies
         that      d0 not create potentially harmful messages but are simply intermediaries for                                           their delivery.”

         (Delﬁno           v.   Agilenr Technologies, Ina, supra, 145 Cal.App.4th                            at   pp. 802—803.)           The   legislative

         history reﬂects that Congress                     was responding        t0 a   New York trial             001111      case where “a service

         provider was held liable for defamatory comments posted 0n one ofits bulletin boards,
                                                                                               based 0n

         a ﬁnding that the provider had adopted the role 0f ‘publisher’
                                                                        by actively screening and editing
         postings.” (Barrett                    Rosemhal (2006) 40 Ca1.4th                              “
                                           v.                                            33, 44.)           ‘Fearing that the specter 0f liability

         would             deter service providers from blocking and screening offensive material,’ ” Congress

                     “ ‘the
         forbid             imposition            0f publisher         liability 011 a service    provider for the exercise 0f its editorial

         and self~regulat0ry functions.’ ” (Id, quoting                         Zemn      v.   America Online, Ina, supra, 129 F.3d                        at

              33                                                  “                                                                                  ”         “
         p.        I .)       Thus, section 230(c)(1)                 ‘confer[s] broad    immunity 0n              Internet intelmediaries’              in

         “a   strong demonstration 0f legislative                      commitment        t0 the   value 0f maintaining a free market for
                                          ”
         online expression.’                    (Hassell    v.   Bird, supra, 5 Cal.5th at p. 539, quoting Barrett                        v.   Rosenthal,

         supra, 40 Cal.4th              at p. 56.)


                      Of the two         provisions, section 230(c)(1) has been applied                           more frequently and broadly,
         including         by    courts in the Northern District 0f California t0 conduct indistinguishable from
                                                                                                                 that

         alleged in this action. Notably, in Sz'khsfor Justice "SFJ”, Inc.                                        Facebook,
                                                                                                             v.                    Inc.   (ND.    Cal.

     201 5) 144 F.Supp.3d 1088, 1090,                            qff’a’   sub nom. Sikhsfor Justice,               Inc.   v.   Facebook,       Inc. (9th
22
     Cir.      2017) 697 FedApp’x. 526, a human rights organization alleged                                          that      Facebook blocked
23
     access t0            its   page    in India   “0n   its     own   0r 0n the behest 0f the          Govemment 0f India,” because of
24
     discrimination               011   the grounds 0f race, religion, ancestry, and national origin. Quoting Barnes
                                                                                                                                                              v.
25
     Yahool, Inc. (9th Cir. 2009) 570 F.3d 1096 and FairHouSing Council ofSan Fernando
                                                                                       Valley                                                                 v.
26
     R00mmates.C0m,                     LLC (9th     Cir.    2008) 521 F.3d        1   157, the court reasoned that
27

     3
28     It is widely agreed that section 230(c)(2)(B)’s reference to “paragraph
                                                                               (1)” is an error, and the provision should be
     interpreted t0 refer 10 section 230(c)(2)(A) 0r “paragraph (A).” (See, e.g., Enigma Sqfnwn‘e
                                                                                                     Group USA, LLC v,
     Malwarebytes, Inc, (9th Cir. 2019) 938 F.3d 1026, 1031, fn. l.)




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     IQ
                         [p]ublication involves reviewing, editing, and deciding Whether t0 publish 0r t0
                        withdraw from publication third-party content. Thus, a publisher decides whether
                        to publish material submitted for publication.     It is immaterial  whether this
                        decision comes in the form 0f deciding what t0 publish in the ﬁrst place 01' what
                        t0 remove among the published material. In other words,
                                                                                  (my activity that can be
                        boiled down to deciding whether t0 exclude material that third parties seek t0
                        post online is pelforce immune under section 230.


              (SikhsfarJustice          “SF       Inc.   v.   Facebook, Inc, supra, 144 F.Supp.3d                  at p.   1094, emphasis

              added, internal citations and quotations omitted.) This approach has been endorsed                                             the Ninth
                                                                                                                                        by
              Circuit. (See      Riggs   v.   MySpace,        Inc. (9th Cir.   201      1)   444 FedApp’x. 986, 987             [district couIT

              properly dismissed claims “arising from MySpace’s decisions                              t0 delete   Riggs’s user proﬁles 0n

              its   social   networking website yet not delete other proﬁles Riggs alleged were created
                                                                                                        by celebrity
              imposters,” citing Fair Housing Council ofSan Fernando Valley                               v.    Roommates. Com, LLC,

              supra, 521 F.3d      at   pp. 1170-1 171 for the proposition that “any activity that can be boiled                                 down
              t0 deciding      whether   t0   exclude material that third parties seek                t0 post    online    is   perforce     immune
              under section 230”].) California opinions have similarly reasoned                               that the “type         0f activity”   at

              issue   here—“to     restrict 01'   make        available certain material”—“is expressly covered                        by section
              230.” (Doe II v.      MySpace Inc. (2009) 175 Cal.App.4th                        561, 572-573 [describing “the general

              consensus      t0 interpret section        230 immunity broadly, extending from Zeran                        ...”];     see also

          Hassel]       v.   Bird, supra, 5 Ca1.5th at p.             537 [California “courts have followed Zeran                      in adopting a

          broad View of section 230’s immunity provisions”].) This interpretation was recently applied

          again by the Northern District in Federal Agency                        ofNews LLC V. Facebook,                  Inc.      (ND.    Cal., July

22        20, 2019, N0.          18—CV-07041-LHK)               —-—   F.Sup.3d   ---,   2019    WL 3254208, where               it   was held    that

23        section 230(c)(1)         immunized Facebook from claims                       arising   from   its   removal 0f a Russian

24        company’s account and page due                      t0 its alleged control         by an   entity   found t0 have interfered in

25        the       2016 United    States presidential election.“

26

          4
27          See also Langdon v. Google, Inc. (D. Del. 2007) 474 F.Supp.2d 622, 630-631
                                                                                            (applying immunity under section
          230(c)(1) and/or (2) where plaintiff alleged defendants refused t0 display ads 0n his web pages criticizing the North
28        Carolina and Chinese governments based on political viewpoint discrinﬂnation); Levitt v.
                                                                                                      Yelp! Inc. (ND. CaL, Oct.
          26, 2011, No. C-10—1321 EMC) 2011               WL
                                                      5079526, at *7—9, aff‘d (9th Cir. 2014) 765 F.3d 1123 (section 230(c)(1)
          immunity applied lo allagations that Yelp manipulated plaintiffs’ user reviews in order t0 induce them to
                                                                                                                     pay for



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                       Consistent with the language 0f section 230(c)(1), these cases d0 not
                                                                                             question the sewice

           provider’s motive in deciding t0 remove content ﬁ‘om                                       its   service.    While Prager contends      that

           section 230(c)(1) immunity should not be applied where a plaintiff
                                                                              alleges a service provider

           acted in bad faith 0r t0 stiﬂe competition,                         it   cites   n0 persuasive authority adopting               this

          intelpretation.5


                      Coulis have expressed greater concern with the issue 0f motive                                          when   interpreting section

          230(c)(2), perhaps because paragraph (A) 0f that provision expressly includes a “good faith”

          requirement. Here, defendants rely 0n paragraph
                                                          (B) of that provision, which they                                                urgeahke
          section 230(c)(1)—does not require                           good   faith.      In Zango, Inc.         v.    Kaspersky Lab,     Inc. (9th Cir.

          2009) 568 F.3d 1169,                 1   176-1   1’77,    the Ninth Circuit applied section 230(c)(2)(B) t0 a provider
                                                                                                                                 0f
          Internet security software that                   deemed        the plaintiff" S software t0 be “malware,” noting that the

          plaintiff had    waived the issue 0f “whether subparagraph                                           which has no good
                                                                                                       (B),                            faith   language,



          advertising); Lancaster             Alphabet             (ND.
                                         v.                Inc.    2016, N0, 15—CV-05299-HSG) 2016
                                                                          Cal., July 8,
                                                                                                             3648608, at *2-           WL
      3 (“§ 230[(c)(1) of the        CDA prohibits any claim arising from Defendanls’
                                                                                 removal 0f Plaintiffs’ Videos”); Green v4
      YouTube, LLC (D‘N.H., Mar. 13, 2019, N0. 18—CV-203-PB) 2019                                     WL
                                                                              1428890, at *6, report and recommendation
      adoptedsub Ham. Green v. YouTube, Inc‘ (D,N.H., Mar. 29, 2019, N0. 18—CV-203-PB)
                                                                                               2019       1428311                    WL
      (applying immunity under section 230(c)(1) where plaintiff alleged his accounts
                                                                                       were improperly shut down);
      Brittaz'n v. Twitler, Inc, (ND. Cal., June
                                                 10, 2019, N0. 19—CV—001 14-YGR) 2019        2423375, at *3 (section     WL
      230(c)(1) immunity applied where plaintiff alleged improper suspension of his Twitter
                                                                                              accounts and that Twitter
      “limit[ed] users who reference new/competing networks and/or utilize
                                                                             Third Party API services”); King v.
      Facebook, Inc. (ND. (331., Sept. 5, 2019, No. 19—CV-01987—WHO) 2019                                      WL
                                                                                    4221768 (section      230(c)(1) immunity
      applied t0 theory that “Facebook has violated its (Telms 0f Service] in
                                                                                removing [plaintiff s] posts and suspending
      his account, and that Facebook treats black activists and their
                                                                      posts differently than it does other groups, particularly
      white supremacists and ceﬁain ‘ha1e groups’ ”).
2O
      5
          To                                 LLC 1d Google, Inc. (MD. Fla. 2016) I88 F.Supp.3d 1265 adopts Prager’s
               the extent e—ventm‘cs Worldw‘de,
2|    View,   does so by conﬂaling section 230(c)( 1) and section 230(c)(2) with n0
                it
                                                                                       analysis. The Court does 1101 ﬁnd this
     persuasive. While a subsequent, unpublished opinion in that action,
                                                                            e—venhzres Worldwide, LLC v. Google,
     Inc, (MD. Fla., Feb. 8, 2017, N0. 214CV646FTMPAMCM) 2017
22                                                                                                    WL
                                                                               2210029, *3-4 reasoned that applying
     section 230(c)(1) to service providers’ editorial decisions regarding
                                                                           a plaintiff’s own content would swallow “the
23   more speciﬁc immunity in (c)(2)” with its good faith requirement, the opinion         went 0n t0 grant summary judgment
     based on the       FirstAmendment’s protection 0f editorial judgments, “no matter the motive,” This
                                                                                                             case does not
24   persuade the       Court t0 part ways with the courts that apply section 230(c)(1) to [he same
                                                                                                    end based 0n the same
     reasonmg.
25
     Similarly, Levitt      v.   Yelpllnc‘         (ND.   C211,,   Mar. 22, 201 1, N0.      C     10—1321MHP) 2011        WL
                                                                                                                          13153230, at *9 deemed it
26   “a[] close[] question           whether Yelp            may     be held liable for     its   removal ofpositive reviews for the alleged pumose
     0f coercing businesses         10   purchase advertising?” considering that this theory implicated bad faith.
                                                                                                                      The court
27   ultimately did not resolve the issue as         it found the complaint otherwise
                                                                                        failed t0 state a cause 0f action. A
     subsequent opinion in that case, Levitt v. Yelp! Inc. (ND.                                 OcL
                                                                                      C211,,          26, 2011, No. C-10—1321      EMC) 2011      WL
28   5079526, *9 held that section 230(c)(1) does not include                        a   good     faith requirement,     and applied “even assuming
              have adequately pled allegations stating a claim 0f an extortionate threat with
     Plaintiffs
                                                                                              respect to Yelp’s alleged
     manipulation Ofuser reviews.” The Court ﬁnds the reasoning 0f the subsequent
                                                                                      opinion more persuasive.




     Prager Univem‘ly v. Google LLC, et (11., Superior Court                 a_f‘Calf/bmia,  County ofSanta Clam, Case Na [90/340667                      15
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          should be construed implicitly t0 have a good                     faith   component       like   subparagraph (A).” The

          concurring opinion expressed concern with extending immunity beyond the
                                                                                  facts present in that

          03561


                    Congress plainly intended t0 give computer users the tools t0 ﬁlter the Internet’s
                    deluge 0f material users would ﬁnd objectionable, in part
                                                                                 by immunizing the
                    providers 0f blocking software from   liability. See § 230(b)(3). But under the
                   generous coverage of § 230(c)(2)(B)’s immunity language, a blocking software
                   provider might abuse that immunity t0 block content for anticompetitive
                                                                                           pulposes
                   0r merely         malicious whim, under the cover 0f considering such material
                                    at its

                   “otherwise obj ectionable.”


         (Zango, Inc.      v.   KasperS/gj Lab, Ina, supra, 568 F.3d                at p.   1178    (0011c.   opn. ofFisher,        J.).)

         Noting that    “[d]istrict courts        nationwide have grappled with the issues discussed in Zango’s

         majority and concurring opinions, and have reached differing results,” the Ninth
                                                                                          Circuit recently

         held that a service provider’s intent             may be relevant under section 23 0(c)(2)(B):                       speciﬁcally,

         where a    plaintiff alleges blocking            by a   direct competitor for anticompetitive purposes,                     its    claims

         survive dismissal. (Enigma Sofnvare                 Group USA,          LLC v.     Malwarebytes,         Inc. (9th Cir.      2019) 938
         F.3d 1026.)

                   Here, defendants’ creation 0f a “Restricted                   Mode”      t0   allow sensitive users t0 voluntarily

         choose a more limited experience 0f the YouTube service                            is   exactly the type 0f self—regulation

         that   Congress sought t0 encourage in enacting section 230, and ﬁts within section
                                                                                             230(c)(2)(B)’s

         immunity    for   “any action taken        t0 enable       01’   make   available to         others,” namely,          YouTuba
     users, “the technical            means   t0 restrict access t0” material “that the provider 0r user
                                                                                                         considers t0

     be obscene,                excessively violent,             0r othelwise objectionable.” Rather than unilaterally

     restm'cting access t0 material            0n   its   core platform as contemplated by section 230(c)(2)(A)—

23   which contains a “good              faith”   requirement—defendants allow users to voluntarily                             restrict access

24   t0 material that           defendants deem objectionable for the stated reason                     that, like the        categories 0f

25   material enumerated             by the   statute, it   may be        inappropriate for young          01’   sensitive viewers.“          The
26


27
     6
       Consistent with these circumstances, a page discussing options for administrators
                                                                                         employing “Restricted Mode,”
28   which was submitted by Pragel' in connection with its motion for preliminary injunction,
                                                                                               indicates that
     “[a]dministralors and designated approvers can 110w whitelisl entire channels,” in
                                                                                        addition to individual                      videos, t0
     ensure a channel      is   “watchable by your users” (Declaration 0f Peter Obstler, Ex.
                                                                                             L.) Thus,               it,   appears that users can



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          Court Views         this as a critical difference                   between the two provisions and disagrees with the

          majority in        Enigma] who             ignore the plain language 0f the statute by reading a good faith

          limitation into section 230(c)(2)(B). (See                             Enigma Software Group USA,                      LLC v.        Malwarebytes,

         Ina, supra, 938 F.3d               at p.    1040     (dis.     opn. 0f Rawlinson,              J.)   [“The majority’s policy arguments

         are in conﬂict with our recognition in                          Zango        that the      broad language of the Act                 is   consistent With

         ‘the Congressional goals for                      immunity’ as expressed                   in the    language 0f the       statute.        [Citation]

         As   the district court cogently noted,                        we    ‘must presume that a legislature says in a statute what                               it


         means and means              in a statute         what    it   says there.’         ”].)


                   Finding         CDA      immunity here               is   also consistent with cases that apply                  it   in

         indistinguishable circumstances based 0n section 230(c)(1), and with their reasoning, which

         recognizes that challenges t0 a sewice provider’s editorial discretion “treat[]” the provider “as
                                                                                                           a

         publisher.” (See Sikhsforjustice ”SFJ”, Inc.                                  v,   Facebook,         1120.,   supra, 144 F.Supp.3d 1088

         [applying section 230(c)(1) t0 claim under Title                                   H   of the Civil Rights Act 0f 1964]; Federai

         Agency    quews LLC v.                 Faceboo/c, Inc, supra, 201 9                      WL 3254208            [applying section 230(c)(1) t0

         claims under Title           II   0f the Civil Rights Act of 1964, the                         Umuh Act,         and for breach 0f the

         implied covenant 0f good faith and                        fair      dealing.)          The Court ﬁnds          that   immunity under section

         230(c)(1) also applies here, t0 the allegations involving both “Restricted                                             Mode” and           defendants’

         advertising sewice.

I9
                  While the Court understands Prager’s argument                                       that    all   three provisions 0f section            230
2O   should have a good faith requirement,                              this     argument        is   contrary t0 the plain language 0f the

21
     statute.      (See Hassell            v.   Bird, supra, 5 Cal.5th at p.                    540 [noting         that Barrett   v.   Rosenthal, supra,
22   40 Cal.4th 33 voiced “qualms”                          that   Zemn’s          interpretation        0f section 230 provides blanket
23   immunity         for those        who      intentionally redistribute defamatory statements, but held “these

24   concerns were 0f 110 legal consequence” where principles 0f statutory intelpretation compelled
                                                                                                    a
25


26
     speciﬁcally override dei‘endants’ decisions t0 disable certain videos 01‘ channels in “Restricted                                   Moda,” conﬁrming
     that “RestrictedMode” is a tool made available t0 users rather than a unilateral ban.

     7
28     See People v. Williams (1997) 16 Cal.4th 153, 190 (“Decisions Oflower federal courts intemreting
                                                                                                            federal law ars
     not binding 0n state c0urts.”); Elliott u Albright (1989) 209 Cal.App.3d 1028, 1034
                                                                                           (although at times entitled t0
     great weight, the decisions 0f the lower federal courts 0n federal questions are merely
                                                                                             persuasive).




     Finger    Urlivcrsily   v.   Google LLC,    er 01,,   Superior   Com? ofCalifbmia, County QfSanm Clam. Case NO‘ 19CV340667                                     17
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       broad construction].)               And   while     it is   not this Court’s role t0 judge the            Wisdom 0f the policy
       embodied by section 230,                 there are     good reasons     t0 support             As   the   couﬁ   in Levitt
                                                                                                it.                                 v.   Yelp!

       Inc.   (ND.     Ca1., Oct. 26, 201          1,    N0. C-10-1321      EMC)      2011     WL 5079526 reasoned,
                    traditional editorial functions often include subjectivejudgments informed by
                    political and ﬁnancial considerations. [Citation] Determining what motives are
                    permissible and what are not could prove problematic. Indeed, from
                                                                                            a policy
                    perspective, permitting litigation and scrutinﬁzing] motive could result in
                                                                                                 the
                    “death by ten thousand duck-bites” against which the Ninth
                                                                                Circuit cautioned in
                    interpreting § 230(c)(1). [(Faz‘r Housing Council
                                                                        0f San Fernando Valley v.
                    RoommareSCom, LLC,                   supra, 521 F.3d     at p.   1174.)]


                    One 0f Congres[s]’s purposes                   in enacting §230(0) was t0 avoid the chilling effect
                    0f imposing          liability 011   providers     by both safeguarding the “diversity 0f political
                    discourse  and myriad avenues for intellectual activity” on the one hand, and
                “1‘61110V[ing] disincentives for the development and
                                                                       utilization 0f blocking and
                ﬁltering technologies” 0n the other hand.                 see also S.Rep. N0. 104~
                                                          §§ 230(3),                           (b);
                230,   86 (1996) (C0nfRep.), available at 1996
                         at                                                              WL 54191, at *[194]              (describing
                pulpose 0f section 230 t0 protect providers from                         liability “for actions t0 restrict 0r
                to enable restrictﬁon] 0f access t0 objectionable online material”).
                                                                                                                   For that reason,
                “[C]lose cases           must be resolved in favor 0f immunity, lest we cut the heart out
                0f section           230 ....” [(Faz'r Housing Councii 0f San. Fernando Valley v.
                RoommatesCom, LLC,                      supra, 521 F.3d     at p.    1174.)]


                As           by the case at bar, ﬁnding a bad faith exception t0 immunity under
                       illustrated

               § 230(c)(1) could force Yelp t0 defend its editorial decisions in the future on a
               case by case basis and reveal how it decides what t0 publish and
                                                                                     what not t0
               publish. Such exposure could lead Yelp t0 resist ﬁltering out
                                                                                  false/unreliable
               reviews (as someone could claim an improper motive for its                    01'                  decision),             t0
               immediately remove a1] negative reviews about which businesses complained
                                                                                           (as
               failure t0 d0 so could expose Yelp t0 a business’s claim that
                                                                             Yelp was strong-
               anning the business for advertising money). The Ninth Circuit has made it clear
               that the       need
                             t0 defend against a proliferation 0f lawsuits, regardless 0f
                                                                                          whether
               the provider ultimately prevails, undermines the pulpose 0f section
                                                                                   230.



     (Levitt   v.    Yelp! Ina, supra, 201          1    WL 5079526, at *8—9.)          In the Court’s view, these concerns are

     particularly salient here,             where the challenged sewices are by deﬁnition more curated than
25
     defendants’ core service and could not exist without                           more robust screening by defendants.
26
               In opposition t0 defendants’ demurrer, Prager cites a                           number 0f cases          that   afﬁrm the
27
     principle applied in Fair              Housing Council Qf‘San Fernando Valley                     v.   RoommatesCom, LLC,
28
     supra, 521 F.3d          1   157,   which held       that a service provider is not entitled t0              CDA     immunity with




     Prager Universiﬁy v. Goog/e LLC, e! (IL, Superior Cour! 0fCa/{fbrnim County ofSanta CM/‘a,
                                                                                                 CaSe N0. 1 9CV340667                            18
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          regard t0 content              it    develops    itself.   However,     this principle is inapposite here.             Prager does not

          allege that defendants developed any 0f Prager’s content 0r
                                                                      appended any                                       commentary        t0   itﬁto
          the contrary, they allege the content                      became completely          invisible in “Restricted         Mode”     0r   was
          simply demonetized. Applying                        CDA      immunity under these Circumstances does not conﬂict with

         Roommates. (See FairHousing Council ofSan Fernando Valley                                         v.   Roommates, Com, LLC,
         supra, 521 F.3d at p. 1163 [in enacting                        CDA immunity,           “Congress sought         t0   immunize
         the removal 0f user-generated content, not the creation 0f content”].)8


                   Finally, Prager contends that applying                        CDA       immunity here would          constitute an unlawful

         prior restraint 011            its    speech    in Violation   0f the   First    Amendment. However,                a federal   couﬁ has
         already held that defendants’ conduct does not Violate the First                                Amendment, and           this   Court

         agrees With that analysis for the reasons discussed in connection with                                  its   analysis 0f Prager’s

         claim under the California Constitution. Moreover, Prager does not allege
                                                                                   that defendants

         prevented       it   from engaging              in speech,   even   011 their    own   p1atf01‘m——again,       it   contends that certain

         videos were excluded from “Restricted                          Mode”     and/or were demonetized.

                   The        C0111“:   consequently ﬁnds that section 230(c)(2v)(B) bars Prager’s claims related t0

         “Restricted      Mode” and                 section 230(c)(1) bars       all   0f its claims, with the possible exception 0f

         those based          011 its   own promises and             representations,       which are discussed below.9

                   C. Breach Ofthe Implied Covenant 0f Good Faith and Fair Dealing
                                                                                   and Fraud                                             Under
                   the   UCL

20
                  Finally, Prager correctly urges that                     some        California authority holds section 230(c)(1) 0f
21
     the    CDA does not apply t0 claims based 0n a defendant’s own promises and representations t0                                                a
22
     plaintiff, rather            than        its   role as a publisher.     (See Demetriades       v.   Yelp, Inc. (2014)        228
23
     Cal.App.4th 294,               3 13 [this         immunity does not apply where “plaintiffseeks                    t0    hold Yelp liable
24
     for    its   own    statements regarding the accuracy 0f its ﬁlter”]; but see Hassell                              v.    Bird, supra, 5
25
     Cal.5th at p. 542 [disapproving 0f “creative pleading” in an attempt
                                                                          t0 avoid section 230
26

     8
27     Although it does 1101 bring a claim for defamation, Prager appears t0 suggest
                                                                                     that defendants have defamed it by
     removing its content from “Restricted Mode” 0r demonetizing it. Such a claim
                                                                                      would likely be foreclosed by the
28   ruling in Bartholomew v. YouTube, LLC. (2017) 17 Cal,App.5th
                                                                       1217, 1234.

     9
         The Court   thus does not address defendants’ argument that Prager’s claims
                                                                                     are barred by the First                       Amendment.



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       immunity].) This authority does not apply t0 the Court’s ﬁnding 0f immunity under section

       230(c)(2)(B). In any event, Prager’s claims asserting this type 0f theory—namely,                                                 its     claim for

       breach 0f the implied covenant 0f good                             faith   and   fair     dealing and   its   claim under the fraud prong

       0f the   UCL¥d0 not state a cause 0f action.
                   Prager does not and cannot state a claim for breach 0f the implied covenant
                                                                                               0f good faith
       and   fair   dealing in light 0f the express provisions 0f YouTube’s Terms 0f
                                                                                     Service, which provide

      that   “YouTube            reserves the right t0                remove Content without prior notice” and which                        also allow

      YouTube           t0 “discontinue              any aspect 0f the Sewice               at   any time.” (See Declaration of Brian

      Willem, Ex.           1;   Songﬁ Inc.          v.   Googfe, Inc,     (ND.      Cal. 201 5) 108 F.Supp.3d 876, 885 [plaintiff

      could not state a claim for Violation 0f the covenant 0f good faith and                                        fair   dealing based 0n

      content removal in light 0f YouTube’S Terms 0f Service].) Similarly, YouTube’s
                                                                                     AdSense
      Telms 0f Service reserve                   the right “t0 refuse 0r limit your access t0 the Services.”
                                                                                                             (Declaration

      ofBrian Willem, Ex.                 8;   see Sweet         v.   Google    Inc. (N.D. Ca1.,      Mar.     7,   2018, N0. 17-CV-03953—

      EMC)      201 8     WL       1184777,          at   *9-10 [plaintiff could not state a claim for Violation 0f
                                                                                                                    the covenant

      0f good       faith    and   fair   dealing based 0n demonitization in light 0f similar resewation 0f rights
                                                                                                                   in

      YouTube’s Partner Program Telms].) “[C]0uﬁs                                    are not at liberty t0          imply a covenant directly             at

      odds with a contract’s express grant 0f discretionary power except                                        in those relatively rare

      instances         when     reading the provision literally would, contrary t0 the parties’ clear
                                                                                                       intention,

     result in      an unenforceable, illusory agreement.” (Third Story Music,                                      Inc. v, Wairs (1     995) 41

     Cal.App.4th 798, 808.) That                          is   not the case here, and Prager does not contend that                      it is.    (See
21
     Sweet    v.    Google Ina, supra, 2018                      WL 1184777, at *9-10 [applying Third Storyl)
22
                As      t0 the    UCL fraud claim,                t0 the extent     it is   based 0n the “four essential freedoms” set
23   forth   above and similar statements, these statements are non—actionable                                        puffel‘y.    (See
24
     Demetriades          v.     Yelp, Ina, supra,              228 Cal.App.4th         at p. 3 11 [“ ‘a   statement that         is   quantiﬁable,
25
     that   makes a claim           as t0 the “speciﬁc 0r absolute characteﬁstics                        0f a product,”        may be       an
26   actionable statement 0f fact while a general, subjective claim about a
                                                                            product                                           is 11011-acti011able

27                  ”
     puffery,’          quoting Newcal Industries, Inc.                    v.   Ikon Ofﬁce Solution (9th Cir.2008) 513 F.3d 1038,
28
     1053];   nger University                   v.   Google LLC, supra, 201 8                WL 1471939, at *1          1   [“None 0f the




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      statements about YouTube’s Viewpoint neutrality identiﬁed by Plaintiff resembles the kinds 0f

      ‘quantiﬁable’ statements about the ‘speciﬁc or absolute characteristics of a product’ that are

      actionable under the                 Lanham         Act.”].)


                Prager also alleges that defendants represented that “the ‘same standards apply equally t0

      all’   when   it     comes     t0 the content regulation              0n YouTube.” (FAC,                  1]   85; see also        id.   at   ‘1]   13.)

      While    this    statement           is   arguably more than mere pufﬁng (see Demetriades                                v.   Yelp, Ina, supra,

      228 Cal.App.4th             at p. 3       1   1-3 12), Prager    does not allege that      it   suffered a loss 0f money                       01‘



      property as a result ofits reliance 0n this statement. “There are innumerable ways in which

      economic injury from unfair competition                            may be shown,” including where                        a plaintiff “ha[s] a

      present 0r future propeﬁy interest diminished.” (sz'kser Corp.                                       v.   Superior Court (Benson)

      (201 1) 51 Ca1.4th 310, 323; see alsoAIborzz'an                          v.   JPMorgan Chase Bank, NA. (2015) 23S

      Cal.App.4th 29, 38              [UCL           “unlawful” plaintiffs established standing by alleging diminished

      credit score         caused by defendant’s false negative reporting                        t0 credit agencies,                even where they

     never    made payments 0n                      the loan at issue].)     The    “lost   income, reduced viewership, and damage

     t0 brand, reputation,             and goodwill”            that   Prager alleges (FAC,           1]   157) would certainly satisfy this

     requirement           if there   were a causal connection between Prager’s alleged reliance 0n defendants”

     statement in participating in the                      YouTube      service and these harms.                However, these                injuries

     cannot have resulted from Prager’s decision t0 use YouTube: they could only have been caused

     by YouTube’s              later decisions t0 restrict and/or              demonetize Prager’s content. (See Prager

     Universizj/      v.      Google LLC, 51mm, 201 8                  WL   1471 93 9,   at *1   1—12 [“Plaintiff has not sufﬁciently

     alleged that        it   ‘has   been       01‘ is   likely t0   be injured as the      result   0f the’ statements about YouTube’s

22   viewpoint neutrality. [Citation]                        As   discussed above, any         harm        that Plaintiff suffered                  was
23   caused by Defendants’ decisions t0 limit access t0 some 0f Plaintiff’s Videos.”].) These                                                             later

24   decisions by          YouTube could                 not have been relied 0n by Prager. (See                     I’d.   at *1   l   [“Although

25   Plaintiff asserts that           it   has suffered injury in the form 0f ‘lower viewership, decreased ad

     revenue, a reduction in advertisers Willing t0 purchase advertisements                                           shown on          Plaintiff” s

27
     Videos, diverted viewership, and                       damage      t0 its brand, reputation           and goodwill,”                  nothing in

28   Plaintiff’s    complaint suggests that                   this   harm ﬂowed       directly   ﬁ‘om Defendants’ publication 0f




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       their policies         and guidelines. Instead, any harm that Plaintiff suffered was caused
                                                                                                   by Defendants’
       decisions t0 limit access t0              some 0f Plaintiff’s Videos        ....”].)    Moreover, recognizing   this   theory

       would appear           to conﬂict with principles 0f defamation              law as recently discussed    in   Bartholomew
       v.    YouTube, LLC. (2017) 17 Cal.App.5th 1217.

                     Prager thus      fails t0 state   a cause of action based 0n the implied covenant 0f             good    faith

       and    fair   dealing    01'   the fraud prong 0f the        UCL.
                 D. Conclusion and Order

                 For    all   these reasons, the       demumer       t0 the ﬁrst   through fourth causes 0f action     is

       SUSTAINED WITHOUT LEAVE TO AMEND.


      III.    Motion     for Preliminary Injunction


                 As    discussed above, Prager has not               shown   a reasonable probability     0f success on the
      merits in this action.            Its   motion for   a    preliminary injunction    is   consequently   DENIED.       (See San
      Francisco NewspaperPrinting C0.                      v.   Superior Court (Miller) (1985) 170 Cal.App.3d 438, 442.)



                IT IS    SO ORDERED.


      Dated:     ﬂgﬁm                              $
                                                                              Honorable Brian C. Walsh
                                                                                                      C.
                                                                              Judge 0f the Superior Court



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     Prager Universal) v. Googlc LLC, er 171,. Superior Court ofCalffbmia, County                                              22
                                                                                  ofSa/Im Clam, Case N0. l9CV340667
     OrderAﬂer Hearing 0n October 25, 2019 [Demzm'er 10 the First Amended Compiaim and
                                                                                             Moiionfor Preliminary Injunction]
                                                                                                                                 2979
